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                                                   Shidler Portfolio

                                                 May Receivers Report

                                           Prepared by: Jeffrey Kolessar



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                                                                                                    Executive Summary
                                                                                             Shidler Portfolio – May 2022
May Income & Expense – Consolidated
                                                                                                                    Consolidated
                                                                                                        Consolidated Statement of Operations
                                                                                                         For the Month Ending May 31, 2022
                                               Current Month                                                                                                                         Year to Date
                       Actual                     Budget                        Actual                                                                       Actual                     Budget                        Actual
                      May 2022                   May 2022                      May 2021                                                                    May 2022                   May 2022                      May 2021
                     89,373                     89,373                        89,373                             Total Available Rooms                    435,333                     435,333                      435,333
                     58,345                     51,081                        52,411                                   Rooms Sold                         273,679                     228,130                      225,272
                     65.28%                     57.15%                        58.64%                                   Occupancy                           62.87%                      52.40%                       51.75%
                    $129.35                    $135.58                       $108.95                          Average Daily Rate (ADR)                    $137.20                     $138.19                      $109.41
                     $84.44                     $77.49                        $63.89                     Revenue Per Available Room (ReVPAR)               $86.25                      $72.42                       $56.62
                                                                                                                        Revenue
                7,547,088.60      95.65%   6,925,494.51         95.87%   5,710,037.73      96.49%                         Rooms                      37,549,395.47     96.42%   31,524,747.99        96.13%   24,647,487.62     96.91%
                  176,487.63       2.24%     173,332.82          2.40%      51,733.39       0.87%                  Food and Beverage                    632,231.05      1.62%      716,961.47         2.19%      210,313.39      0.83%
                  166,634.16       2.11%     125,018.34          1.73%     156,024.75       2.64%          Total Other Operated Departments             761,356.21      1.96%      552,170.63         1.68%      574,912.99      2.26%
                7,890,210.39     100.00%   7,223,845.67        100.00%   5,917,795.87     100.00%                      Total Revenue                 38,942,982.73    100.00%   32,793,880.09       100.00%   25,432,714.00    100.00%
                                                                                                               Departmental Expenses
                2,007,668.10      25.45%   1,872,668.46         25.92%   1,287,376.99      21.75%                       Rooms                         9,656,287.74     24.80%    8,799,127.14        26.83%    5,668,769.05     22.29%
                  176,761.44       2.24%     156,346.12          2.16%      71,289.71       1.20%                 Food and Beverage                     674,512.65      1.73%      716,913.32         2.19%      299,728.25      1.18%
                   45,243.74       0.57%      34,133.59          0.47%      71,083.45       1.20%             Other Operated Departments                205,626.42      0.53%      151,816.68         0.46%      348,352.69      1.37%
                2,229,673.28      28.26%   2,063,148.17         28.56%   1,429,750.15      24.16%             Total Departmental Expenses            10,536,426.81     27.06%    9,667,857.14        29.48%    6,316,849.99     24.84%
                                                                                                           Undistributed Operating Expenses
                  619,425.71       7.85%     572,642.32          7.93%     619,190.11      10.46%               Administrative and General            3,555,082.26      9.13%    3,154,533.70         9.62%    2,679,218.58     10.53%
                  164,655.54       2.09%     131,347.33          1.82%      37,825.91       0.64%           Information & Telecommunications            737,062.99      1.89%      520,928.65         1.59%      192,748.91      0.76%
                1,178,021.56      14.93%   1,020,513.97         14.13%     874,381.01      14.78%                   Sales and Marketing               5,012,162.22     12.87%    4,731,385.32        14.43%    3,896,112.84     15.32%
                  464,513.64       5.89%     394,502.47          5.46%     372,587.95       6.30%          Property Operation and Maintenance         2,261,976.49      5.81%    2,033,915.23         6.20%    1,597,777.87      6.28%
                  337,165.86       4.27%     370,762.82          5.13%     283,262.29       4.79%                         Utilities                   1,526,997.93      3.92%    1,624,647.14         4.95%    1,373,483.13      5.40%
                2,763,782.31      35.03%   2,489,768.91         34.47%   2,187,247.27      36.96%               Total Undistributed Expenses         13,093,281.89     33.62%   12,065,410.04        36.79%    9,739,341.33     38.29%
                2,896,754.80      36.71%   2,670,928.59         36.97%   2,300,798.45      38.88%                 Gross Operating Profit             15,313,274.03     39.32%   11,060,612.91        33.73%    9,376,522.68     36.87%
                 247,707.09        3.14%    216,715.39           3.00%    184,347.98        3.12%                 Management Fees                     1,224,004.29      3.14%     988,004.70          3.01%     837,201.81       3.29%
                2,649,047.71      33.57%   2,454,213.20         33.97%   2,116,450.47      35.76%   Income Before Non Operating Income And Expense   14,089,269.74     36.18%   10,072,608.21        30.71%    8,539,320.87     33.58%
                                                                                                                Non Operating Expense
                  947,195.16      12.00%     962,926.87         13.33%   1,003,299.12      16.95%                          Rent                       4,711,760.11     12.10%    4,787,054.67        14.60%    4,558,911.83     17.93%
                  476,975.87       6.05%     402,503.88          5.57%     526,801.88       8.90%               Property and Other Taxes              1,666,167.09      4.28%    2,035,541.40         6.21%    2,291,554.45      9.01%
                  166,917.86       2.12%     169,455.25          2.35%     115,156.67       1.95%                       Insurance                       909,892.14      2.34%      853,037.92         2.60%      564,958.38      2.22%
                 (800,253.65)    -10.14%      63,598.00          0.88%      86,027.96       1.45%                   Owner's Expense                     451,367.75      1.16%    1,451,712.00         4.43%      232,609.29      0.91%
                  790,835.24      10.02%   1,598,484.00         22.13%   1,731,285.63      29.26%             Total Non Operating Expenses            7,739,187.09     19.87%    9,127,345.99        27.83%    7,648,033.95     30.07%
                1,858,212.47      23.55%    855,729.20          11.85%    385,164.84        6.51%                Net Operating Income                 6,350,082.65     16.31%     945,262.22          2.88%     891,286.92       3.50%




Summary

Total revenues exceeded budget for the month by $666K (+9%) and were nearly $2M improved from the same month a year ago. Growth came through
rooms, primarily occupancy this month, as the portfolio attained a 66.3% occupancy at $129.35 against a budget of 57.1% and an ADR of $135.58. The
seasonal decline in occupancy was anticipated from April but was not as severe as originally budgeted in many markets. ADR levels continued to be far
over prior year, this month up by just over $20. Food & Beverage revenues were just $3K over budget, but more than triple a year ago. Profit was up
$226K to the budget and generally in line as a percentage, while the year over year improvement approached $600K. Year to date GOP of $15.3M
(39.3%) is more than $4M over budget and $6M over the same period in 2021. NOI was recorded as improved by $1M this month but included $800K in
prior year adjustments from the Hersha portfolio.
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Industry Outlook

There was notable slowing in the recovery pace in May, influenced both by the relatively strong performance in May of 2021 and the inflationary concerns
beginning to rise in May 2022. The percentage of growth in Occupancy, ADR and RevPAR all declined from the April year over year results to the May year
over year results. The national Occupancy level dropped slightly month to month, and the ADR was stagnant. Of more concern was overall demand versus
2019, which in April had been essentially flat but in May was down by nearly 4%, which when combined with the Supply increase resulted in an occupancy
decline approaching 7%. Signs of recovery in the Corporate Transient segment and in various Group segments were noted, and leisure continues to drive
the overall performance, but the corporate/group gains did not outpace the leisure declines. With negative press about the cost of summer travel
becoming more prevalent, and inflation continuing to rise, some forecasts for the summer months have been modestly pulled back on demand projections,
though ADRs should remain high.

May occupancy was 65.1% (down from April’s 65.5%) at an ADR of $149.91 (up $.01 from April), resulting in a RevPAR still just shy of the $100 mark.
Occupancy was down compared to May 2019, but ADR was improved by nearly $18. Top 25 Markets are now leading the recovery, posting higher
occupancy (69.6% to 62.9%) and ADR ($177.77 vs $135.22) than the combined other US markets. Occupancy gains were weighted toward the upper chain
scales, as economy fell year over year and midscale was flat. All regions showed occupancy growth and double-digit ADR growth. Urban locations posted
RevPAR growth of nearly 100%, while the original recovery leaders such as interstate and small town/metro saw growth under 20% in May.

 US Industry STR                 May 2022                 May 2021             May 2022 vs 2021           T3 2022 vs 2021         May 2022 vs 2019
 Supply                                                                             +2.2%                     +2.9%                    +3.2%
 Demand                                                                            +12.5%                     +17.3%                   -3.8%
 Occupancy                         65.1%                    59.1%                  +10.1%                     +13.9%                   -6.8%
 ADR                              $149.91                  $118.26                 +26.8%                     +32.7%                   +9.9%
 RevPAR                            $97.53                   $69.88                 +39.6%                     +51.2%                   +2.3%
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May STR Performance – Consolidated

                                                                                                        Comp Set                                                    Comp Set                                                  Hotel %             Comp Set                RevPar
                                                                      Hotel   Hotel % Occ Comp Set        % Occ  Occupancy Occ Index %         Hotel % ADR Comp Set  % ADR               ADR       ADR Index %     Hotel      RevPar     Comp Set % RevPar     RevPar    Index %
                                                                    Occupancy   Change Occupancy         Change    Index     Change Hotel ADR.   Change      ADR.    Change             Index.       Change       RevPar.     Change      RevPar.  Change      Index.     Change
                                                MONTH PORTFOLIO      64.8%         11.4%      64.7%     11.8%       100.2%     -0.3%      $129.48     19.1%      $124.33     21.6%     104.1%        -2.1%        $83.92      32.7%      $80.45      36.0%     104.3%    -2.4%
                                                   T3 PORTFOLIO      66.2%         15.9%      66.2%     16.4%       100.0%     -0.4%      $134.99     24.7%      $132.89     29.8%     101.6%        -3.9%        $89.35      44.6%      $87.93      51.1%     101.6%    -4.3%
                                                  YTD PORTFOLIO      62.0%         19.8%      63.7%     21.2%        97.3%     -1.2%      $136.50     27.3%      $133.72     32.4%     102.1%        -3.8%        $84.62      52.6%      $85.20      60.5%      99.3%    -5.0%
                                                  T12 PORTFOLIO      60.3%         41.9%      61.5%     38.1%        98.1%      2.7%      $123.59     21.0%      $119.90     27.6%     103.1%        -5.2%        $74.56      71.7%      $73.71      76.3%     101.2%    -2.6%

                                                                   Values

                                                                                                        Comp Set                                                       Comp Set                                               Hotel %             Comp Set                RevPar
                                                                      Hotel   Hotel % Occ Comp Set               Occupancy Occ Index %            Hotel % ADR Comp Set                   ADR       ADR Index %     Hotel                 Comp Set              RevPar
                              MONTH                                 Occupancy   Change Occupancy
                                                                                                          % Occ
                                                                                                                   Index     Change
                                                                                                                                       Hotel ADR.
                                                                                                                                                    Change      ADR.
                                                                                                                                                                        % ADR
                                                                                                                                                                                        Index.       Change       RevPar.
                                                                                                                                                                                                                              RevPar
                                                                                                                                                                                                                                          RevPar.
                                                                                                                                                                                                                                                  % RevPar
                                                                                                                                                                                                                                                               Index.
                                                                                                                                                                                                                                                                         Index %
                                                                                                         Change                                                         Change                                                Change               Change                 Change

Comfort Inn Near Ft Bragg - Fayetteville                                    35.2      -30.3      55.8        -4.0       63.1      -27.4       80.00        6.1       78.16       5.6       102.3            0.5       28.15      -26.1       43.57       1.4      64.6       -27.1
Courtyard Alexandria Pentagon South                                         67.6      155.8      72.2        78.6       93.6       43.3      139.83       70.3      155.86      60.5        89.7            6.1       94.52      335.7      112.57     186.5      84.0        52.1
Courtyard Chicago St Charles                                                76.6       19.6      63.9        15.3      119.8        3.7      125.30       34.5      119.96      23.7       104.5            8.7       96.01       60.9       76.69      42.6     125.2        12.8
Courtyard Houston Brookhollow                                               38.3      -26.0      48.8        -5.4       78.5      -21.8       93.05       24.8       99.97      12.2        93.1           11.3       35.62       -7.6       48.76       6.1      73.1       -12.9
Courtyard Wilmington Downtown                                               52.7       11.7      55.9        20.1       94.3       -7.0      145.00       40.6      125.53      20.2       115.5           17.0       76.40       57.0       70.16      44.4     108.9         8.7
Fairfield Inn & Suites Naples                                               50.3      -10.4      62.4         7.3       80.6      -16.6      128.95       12.9      107.23      -5.4       120.3           19.5       64.88        1.2       66.90       1.5      97.0        -0.3
Fairfield Inn & Suites Orlando Near Universal Orlando Resort                81.6       21.0      78.1        10.4      104.5        9.6       95.30        4.0      104.57      23.1        91.1          -15.5       77.76       25.9       81.68      35.9      95.2        -7.4
Hampton by Hilton Inn & Suites Clermont                                     81.2       -0.1      74.4         7.3      109.2       -6.9      159.83       16.3      143.91      27.1       111.1           -8.5      129.85       16.1      107.04      36.4     121.3       -14.9
Hampton by Hilton Inn & Suites Fort Myers Estero/FGCU                       59.8       -5.6      80.0         1.7       74.8       -7.2      123.62       13.4      130.42      19.0        94.8           -4.7       73.99        7.0      104.40      20.9      70.9       -11.5
Hampton by Hilton Inn & Suites Stuart-North                                 79.4        3.2      69.6        -7.8      114.1       12.0      128.34        8.0      114.90      10.1       111.7           -1.9      101.88       11.5       79.96       1.4     127.4         9.9
Hampton by Hilton Inn Atlanta-Perimeter Center                              66.8       45.6      70.7        11.2       94.5       31.0      102.70       20.4      106.07      19.4        96.8            0.8       68.64       75.3       75.01      32.8      91.5        32.1
Hampton by Hilton Inn Charlotte-University Place                            69.2       63.3      58.6        14.0      118.0       43.2      119.22       26.9       98.79      14.2       120.7           11.1       82.47      107.2       57.90      30.1     142.4        59.2
Hampton by Hilton Inn Raleigh/Cary                                          54.5        6.9      62.3        -1.4       87.4        8.4      106.78       28.3      104.17      28.6       102.5           -0.2       58.16       37.2       64.94      26.8      89.5         8.2
Hilton Garden Inn Atlanta North Alpharetta                                  72.7       45.2      63.3        31.5      114.8       10.4      120.11       26.3      111.07      26.4       108.1           -0.1       87.32       83.4       70.36      66.2     124.1        10.3
Hilton Garden Inn San Antonio Airport                                       57.9      -16.8      61.4        -4.0       94.2      -13.4      120.02       19.4      106.70       5.9       112.5           12.8       69.46       -0.7       65.54       1.7     106.0        -2.4
Homewood Suites by Hilton Houston Clearlake                                 78.2       -4.5      47.8       -33.1      163.5       42.7      118.31       19.5      108.32      18.1       109.2            1.2       92.47       14.1       51.78     -20.9     178.6        44.3
Homewood Suites by Hilton Phoenix Metro Center                              69.4       22.6      61.9        -6.1      112.1       30.6      115.95        7.3       96.48      12.2       120.2           -4.4       80.42       31.5       59.71       5.3     134.7        24.9
Homewood Suites by Hilton Raleigh Crabtree Valley                           75.5       29.9      74.8        19.8      100.9        8.5      117.23       10.4      119.75      18.2        97.9           -6.6       88.52       43.5       89.61      41.6      98.8         1.3
Hyatt House Pleasant Hill                                                   85.8       12.6      62.5        26.5      137.2      -11.0      176.36       11.5      157.72      23.4       111.8           -9.7      151.28       25.6       98.62      56.1     153.4       -19.6
Hyatt House Pleasanton                                                      89.9       27.4      61.3        39.1      146.8       -8.4      156.97       18.2      154.67      43.4       101.5          -17.5      141.19       50.6       94.75      99.5     149.0       -24.5
Hyatt House Scottsdale Old Town                                             61.5        3.8      76.9         7.2       80.1       -3.2      191.64       22.3      159.87      26.9       119.9           -3.6      117.94       27.0      122.89      36.1      96.0        -6.7
Residence Inn Greenbelt                                                     60.4      -21.4      56.3        40.8      107.4      -44.2      131.90        1.5      108.57      20.8       121.5          -16.0       79.67      -20.2       61.08      70.1     130.4       -53.1
SpringHill Suites Naples                                                    53.2      -14.7      63.0        11.7       84.5      -23.6      125.86       15.0      116.38      -2.4       108.1           17.8       66.95       -2.0       73.27       9.0      91.4       -10.0



Summary

Occupancy declined from April to May due to the demand shifts in the warm weather locations within the portfolio, though overall the occupancy index
remained generally flat and modestly above fair share. Occupancy for the portfolio was 64.8% at an ADR of $129.48 – while ADR was down about $3
versus the prior month, the ADR Index returned to over fair share ending at a 104.1 compared to 99.6 in April. RevPAR Index rose just over 4% from
month to month, ending May at 104.3 against April’s 100.0. Florida and Arizona occupancy fell from 80% to 67.5% and 64.9% respectively, but the
California properties were very strong at 87.8%. Positive sub-market year over year demand change was heaviest for Courtyard Alexandria, Residence
Greenbelt and Fairfield Orlando, while there were declines in sub-market demand in Fayetteville, Naples, Fort Myers, Stuart, San Antonio and Houston.
Homewood Suites Clearlake posted the strongest occupancy and RevPAR index this month, and Residence Inn Greenbelt the strongest ADR Index.
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Comfort Inn Fayetteville
    •   35.2% Occupancy; $80.23 ADR; $28.28 RevPAR (-4% vs April); $155,591 Total Revenues; -$7,136 GOP; -$23,614 NOI
    •   Budget: 46.2% Occupancy; $82.44 ADR; $38.06 RevPAR; $208,639 Total Revenues; $55,895 GOP; $33,354 NOI
    •   Guest internet, alarm panel and phone system repairs in process.

Courtyard Alexandria Pentagon South

    •   67.7% Occupancy; $139.30 ADR; $94.37 RevPAR (+13% vs April); $675,650 Total Revenues; $305,533 GOP; $466,307 NOI
    •   Budget: 64.2% Occupancy; $120.43 ADR; $77.31 RevPAR; $612,313 Total Revenues; $223,787; $130,455 NOI
    •   Reviewing all systems and making any necessary upgrades in anticipation of fire inspection in early August.
    •   Credit below the line due to clearing old Hersha balances per audit.

Courtyard Chicago St Charles
    •   76.7% Occupancy; $125.10 ADR; $95.98 RevPAR (+21% vs April); $395,286 Revenues; $166,129 GOP; $111,308 NOI
    •   Budget: 53.6% Occupancy; $147.45 ADR; $79.05 RevPAR; $324,870 Total Revenues; $133,789 GOP; $71,333 NOI
    •   11 wedding groups hosted this month, along with 7 corporate groups. Overall ADR improved $32 from last year.
    •   New DOS starting in mid-June.

Courtyard Houston Brookhollow
    •   39.3% Occupancy; $90.91 ADR; $35.73 RevPAR (-8% vs April); $237,792 Total Revenues; $32,774 GOP; -$75,356 NOI
    •   Budget: 35.8% Occupancy; $128.18 ADR; $45.88 RevPAR; $298,253 Total Revenues; $91,631 GOP; -$4,598 NOI
    •   Offshore Technology Conference had significant attendance issues and did not create expected market demand.

Fairfield Inn & Suites Naples
    •   50.7% Occupancy; $127.98 ADR; $64.88 RevPAR (-38% vs April); $221,500 Total Revenues; $40,512 GOP; -$12,202 NOI
    •   Budget: 45.5% Occupancy; $121.40 ADR; $55.18 RevPAR; $188,978 Total Revenues; $27,483 GOP; -$24,831 NOI
    •   Took advantage of lower demand to complete some HVAC repairs through operations, impacting margins somewhat.

Fairfield Inn & Suites Orlando Universal

    •   81.8% Occupancy; $95.04 ADR; $77.76 RevPAR (-28% vs April); $283,491 Total Revenues; $100,742 GOP; $39,943 NOI
    •   Budget: 60.2% Occupancy; $113.28 ADR; $68.17 RevPAR; $247,489 Total Revenues; $65,674 GOP; $5,311 NOI
    •   Stronger margin achieved even with lower ADR position than originally budgeted.
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Hampton Inn & Suites Clermont
   •   81.2% Occupancy; $160.49 ADR; $130.38 RevPAR (-11% vs April); $362,119 Total Revenues; $168,286 GOP; $110,385 NOI
   •   Budget: 64.5% Occupancy; $174.86 ADR; $112.75 RevPAR; $308,768 Total Revenues; $151,952 GOP; $102,128 NOI
   •   Continued strong transient performance, with was 93% of all occupancy in May, over 40% of which was at rack rate.

Hampton Inn & Suites Fort Myers Estero FGCU

   •   58.5% Occupancy; $126.58 ADR; $74.11 RevPAR (-38% vs April); $225,345 Total Revenues; $61,873 GOP; $14,400 NOI
   •   Budget: 60.9% Occupancy; $121.90 ADR; $74.25 RevPAR; $218,639 Total Revenues; $50,156 GOP; -$4,241 NOI
   •   Receiving continued meeting room income from CDR Maguire, administering the Monoclonal vaccine.

Hampton Inn & Suites Stuart North
   •   78.9% Occupancy; $129.73 ADR; $102.40 RevPAR (-21% vs April); $328,904 Total Revenues; $148,055 GOP; $80,887 NOI
   •   Budget: 55.4% Occupancy; $171.08 ADR; $94.80 RevPAR; $301,362 Total Revenues; $129,744 GOP; $72,876 NOI
   •   Construction crews continue to deliver large volumes of room nights. Two ice machines will need to be replaced.

Hampton Inn Atlanta Perimeter Center
   •   66.5% Occupancy; $103.45 ADR; $68.75 RevPAR (+8% vs April); $284,305 Total Revenues; $57,065 GOP; -$8,910 NOI
   •   Budget: 44.4% Occupancy; $108.33 ADR; $48.10 RevPAR; $198,173 Total Revenues; $46,390 GOP; -$21,533 NOI
   •   Contract labor costs include prior month invoices, negatively impacting margins. Heavy R&M investment this month also.

Hampton Inn Charlotte University Place
   •   68.5% Occupancy; $121.03 ADR; $82.92 RevPAR (+4% vs April); $327,583 Total Revenues; $139,884 GOP; $75,972 NOI
   •   Budget: 58.9% Occupancy; $101.52 ADR; $59.75 RevPAR; $236,477 Total Revenues; $65,317 GOP; $6,843 NOI
   •   HVAC repairs and computer replacements completed out of operating funds had some impact on margin.

Hampton Inn Raleigh Cary
   •   55.5% Occupancy; $106.69 ADR; $58.11 RevPAR (-6% vs April); $234,802 Total Revenues; $75,514 GOP; $24,751 NOI
   •   Budget: 47.2% Occupancy; $101.53 ADR; $47.96 RevPAR; $194,073 Total Revenues; $45,961 GOP; -$9,215 NOI
   •   Some last-minute demand from Carolina Hurricane playoff games before they were eliminated.
   •   Outdoor pool needs to be resurfaced.
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Hilton Garden Inn Atlanta North/Alpharetta
   •   72.6% Occupancy; $120.32 ADR; $87.37 RevPAR (+24% vs April); $515,754 Total Revenues; $235,372 GOP; $139,235 NOI
   •   Budget: 36.7% Occupancy; $149.59 ADR; $54.87 RevPAR; $317,611 Total Revenues; $73,528 GOP; -$17,768 NOI
   •   Corporate travel doubled from April to May, with good pace moving forward as well. Lobby HVAC being replaced.

Hilton Garden Inn San Antonio Airport

   •   57.1% Occupancy; $121.70 ADR; $69.46 RevPAR (-26% vs April); $277,864 Total Revenues; $38,078 GOP; -$51,719 NOI
   •   Budget: 63.0% Occupancy; $110.21 ADR; $69.43 RevPAR; $269,280 Total Revenues; $73,675 GOP; $17,467 NOI
   •   Additional taxes of $24K hit the statement this month impacting NOI.

Homewood Suites Houston Clear Lake NASA

   •   78.4% Occupancy; $118.51 ADR; $92.95 RevPAR (+3% vs April); $266,616 Total Revenues; $112,942 GOP; -$48,169 NOI
   •   Budget: 74.1% Occupancy; $112.04 ADR; $83.01 RevPAR; $238,597 Total Revenues; $93,244 GOP; -$7,776 NOI
   •   HVAC unit for fitness center and lobby approved, as well as additional guestroom VTAC units.

Homewood Suites Phoenix Metro Center

   •   69.7% Occupancy; $116.35 ADR; $81.11 RevPAR (-22% vs April); $322,867 Total Revenues; $85,087 GOP; $36,206 NOI
   •   Budget: 59.0% Occupancy; $121.95 ADR; $72.00 RevPAR; $285,326 Total Revenues; $91,392 GOP; $46,523 NOI
   •   Tub refinishing and parking lot resurfacing may be required before next season, along with replacement of some fitness equipment.

Homewood Suites Raleigh Crabtree Valley
   •   75.2% Occupancy; $118.02 ADR; $88.70 RevPAR (-3% vs April); $383,389 Total Revenues; $169,337 GOP; $45,432 NOI
   •   Budget: 70.8% Occupancy; $126.79 ADR; $89.83 RevPAR; $388,225 Total Revenues; $153,003 GOP; $84,437 NOI
   •   Significant elevator work contracted in May.

Hyatt House Pleasant Hill
   •   84.8% Occupancy; $178.82 ADR; $151.56 RevPAR (+20% vs April); $675,296 Total Revenues; $354,090 GOP; $512,962 NOI
   •   Budget: 78.0% Occupancy; $193.49 ADR; $150.85 RevPAR; $674,170 Total Revenues; $344,421 GOP; $160,403 NOI
   •   6 VTAC units currently down, a replacement order for 2 will have to be completed in June; 4 were ordered in May.
   •   Credit below the line due to clearing old Hersha balances per audit.
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Hyatt House Pleasanton
    •   90.0% Occupancy; $158.12 ADR; $142.26 RevPAR (+9% vs April); $577,002 Total Revenues; $255,878 GOP; $378,973 NOI
    •   Budget: 63.0% Occupancy; $167.01 ADR; $105.18 RevPAR; $426,916 Total Revenues; $168,935 GOP; -$9,421 NOI
    •   Culver Group produced 539 more rooms than anticipated. Other corporate room nights reached 790 rooms sold.
    •   Credit below the line due to clearing old Hersha balances per audit.

Hyatt House Scottsdale Old Town
    •   61.6% Occupancy; $191.77 ADR; $118.03 RevPAR (-36% vs April); $622,941 Total Revenues; $207,395 GOP; $311,788 NOI
    •   Budget: 69.4% Occupancy; $166.90 ADR; $115.92 RevPAR; $600,583 Total Revenues; $306,800 GOP; $166,296 NOI
    •   Credit below the line due to clearing old Hersha balances per audit.
    •   NCAA baseball and golf tournaments performed better than anticipated.
Residence Inn Greenbelt

    •   60.4% Occupancy; $131.85 ADR; $79.68 RevPAR (+40% vs April); $299,467 Total Revenues; $101,342 GOP; -$131,423 NOI
    •   Budget: 66.5% Occupancy; $192.89 ADR; $128.23 RevPAR; $478,666 Total Revenues; $244,418 GOP; $71,141 NOI
    •   Continuing ramp up from renovations, revenues up 40% month over month.
    •   ADR from graduation much less than anticipated, yet the property finished #1 in ADR in their set with a 120+ RevPAR Index.

Springhill Suites Naples
    •   53.4% Occupancy; $125.71 ADR; $67.11 RevPAR (-27% vs April); $216,647 Total Revenues; $48,000 GOP; $998 NOI
    •   Budget: 58.7% Occupancy; $110.11 ADR; $64.60 RevPAR; $206,437 Total Revenues; $33,734 GOP; -$13,454 NOI
    •   Surveillance system repaired; two new cameras to be installed in June.
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Property Taxes

Property Tax Appeals are active at the following properties:

    •   Hyatt House Pleasanton – Valuation $47.5M for 2021, Target value TBD; 2019 appeal remains open
    •   Fairfield Orlando – Valuation $6.9M for 2021, appeal filed
    •   Hampton Stuart – Valuation $8.61M, appeal filed
    •   Residence Inn Greenbelt – Valuation $28.36M appealed; 2021 & 2020 appeals remain open
    •   Homewood Suites Houston Clear Lake – 2022 Valuation $6.97M, target $6.26M; 2021 appeal also remains open
    •   Courtyard Brookhollow – 2022 Valuation $7.5M appealed; 2021 Valuation $6.21M, down from $6.47M, Target $5.3M, filed additional appeal
    •   Hilton Garden Inn San Antonio – Valuation $8.2M, appeal filed with target valuation $6.75M-7.5M
    •   Courtyard Alexandria, no appeal was filed, valuation reduced from $9.7M to $8.9M by taxing authorities

Receiver is paying Personal Property Taxes. All other Real Estate taxes will be funded directly by Wells.



Legal

No new concerns.



Marketing

The portfolio offering was released at the end of May and introduced during the NYU Hospitality Conference the first week of June. JLL is handling all
requests for information and will formulate timing for the first round of offers.



Distribution

A June distribution of approximately $1.9M is anticipated from the end of May cash position.
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Capital Expense

Partial build back of 30 rooms at the Comfort Ft Bragg using existing FF&E continued.

Small projects are being addressed as necessary to protect the assets or to enhance guest experience with a short-term ROI using operational cash. No
request for capital adjustment was made in association with the distribution this month.
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                                                                                                     Consolidated
                                                                                         Consolidated Statement of Operations
                                                                                          For the Month Ending May 31, 2022
                               Current Month                                                                                                                          Year to Date
       Actual                      Budget                       Actual                                                                       Actual                     Budget                         Actual
      May 2022                   May 2022                      May 2021                                                                     May 2022                   May 2022                       May 2021

     89,373                     89,373                        89,373                            Total Available Rooms                     435,333                     435,333                       435,333
     58,345                     51,081                        52,411                                 Rooms Sold                           273,679                     228,130                       225,272
     65.28%                     57.15%                        58.64%                                  Occupancy                            62.87%                      52.40%                        51.75%
    $129.35                    $135.58                       $108.95                           Average Daily Rate (ADR)                   $137.20                     $138.19                       $109.41
     $84.44                     $77.49                        $63.89                     Revenue Per Available Room (ReVPAR)               $86.25                      $72.42                        $56.62

                                                                                                        Revenue
7,547,088.60      95.65%   6,925,494.51         95.87%   5,710,037.73      96.49%                        Rooms                       37,549,395.47      96.42%   31,524,747.99        96.13%   24,647,487.62      96.91%
  176,487.63       2.24%     173,332.82          2.40%      51,733.39       0.87%                   Food and Beverage                   632,231.05       1.62%      716,961.47         2.19%      210,313.39       0.83%
  166,634.16       2.11%     125,018.34          1.73%     156,024.75       2.64%           Total Other Operated Departments            761,356.21       1.96%      552,170.63         1.68%      574,912.99       2.26%

7,890,210.39     100.00%   7,223,845.67        100.00%   5,917,795.87     100.00%                     Total Revenue                  38,942,982.73     100.00%   32,793,880.09       100.00%   25,432,714.00     100.00%

                                                                                                Departmental Expenses
2,007,668.10      25.45%   1,872,668.46         25.92%   1,287,376.99      21.75%                       Rooms                         9,656,287.74      24.80%    8,799,127.14        26.83%    5,668,769.05      22.29%
  176,761.44       2.24%     156,346.12          2.16%      71,289.71       1.20%                 Food and Beverage                     674,512.65       1.73%      716,913.32         2.19%      299,728.25       1.18%
   45,243.74       0.57%      34,133.59          0.47%      71,083.45       1.20%             Other Operated Departments                205,626.42       0.53%      151,816.68         0.46%      348,352.69       1.37%

2,229,673.28      28.26%   2,063,148.17         28.56%   1,429,750.15      24.16%              Total Departmental Expenses           10,536,426.81      27.06%    9,667,857.14        29.48%    6,316,849.99      24.84%

                                                                                            Undistributed Operating Expenses
  619,425.71       7.85%     572,642.32          7.93%    619,190.11       10.46%               Administrative and General            3,555,082.26       9.13%    3,154,533.70         9.62%    2,679,218.58      10.53%
  164,655.54       2.09%     131,347.33          1.82%     37,825.91        0.64%           Information & Telecommunications            737,062.99       1.89%      520,928.65         1.59%      192,748.91       0.76%
1,178,021.56      14.93%   1,020,513.97         14.13%    874,381.01       14.78%                   Sales and Marketing               5,012,162.22      12.87%    4,731,385.32        14.43%    3,896,112.84      15.32%
  464,513.64       5.89%     394,502.47          5.46%    372,587.95        6.30%          Property Operation and Maintenance         2,261,976.49       5.81%    2,033,915.23         6.20%    1,597,777.87       6.28%
  337,165.86       4.27%     370,762.82          5.13%    283,262.29        4.79%                          Utilities                  1,526,997.93       3.92%    1,624,647.14         4.95%    1,373,483.13       5.40%

2,763,782.31      35.03%   2,489,768.91         34.47%   2,187,247.27      36.96%              Total Undistributed Expenses          13,093,281.89      33.62%   12,065,410.04        36.79%    9,739,341.33      38.29%

2,896,754.80      36.71%   2,670,928.59         36.97%   2,300,798.45      38.88%                 Gross Operating Profit             15,313,274.03      39.32%   11,060,612.91        33.73%    9,376,522.68      36.87%

 247,707.09        3.14%    216,715.39           3.00%    184,347.98        3.12%                 Management Fees                     1,224,004.29       3.14%     988,004.70          3.01%     837,201.81        3.29%

2,649,047.71      33.57%   2,454,213.20         33.97%   2,116,450.47      35.76%   Income Before Non Operating Income And Expense   14,089,269.74      36.18%   10,072,608.21        30.71%    8,539,320.87      33.58%

                                                                                                Non Operating Expense
  947,195.16      12.00%    962,926.87          13.33%   1,003,299.12      16.95%                         Rent                        4,711,760.11      12.10%    4,787,054.67        14.60%    4,558,911.83      17.93%
  476,975.87       6.05%    402,503.88           5.57%     526,801.88       8.90%               Property and Other Taxes              1,666,167.09       4.28%    2,035,541.40         6.21%    2,291,554.45       9.01%
  166,917.86       2.12%    169,455.25           2.35%     115,156.67       1.95%                      Insurance                        909,892.14       2.34%      853,037.92         2.60%      564,958.38       2.22%
 (800,253.65)    -10.14%     63,598.00           0.88%      86,027.96       1.45%                   Owner's Expense                     451,367.75       1.16%    1,451,712.00         4.43%      232,609.29       0.91%

 790,835.24       10.02%   1,598,484.00         22.13%   1,731,285.63      29.26%             Total Non Operating Expenses            7,739,187.09      19.87%    9,127,345.99        27.83%    7,648,033.95      30.07%


1,858,212.47      23.55%    855,729.20          11.85%    385,164.84        6.51%                Net Operating Income                 6,350,082.65      16.31%     945,262.22          2.88%     891,286.92        3.50%

         -         0.00%            -            0.00%           -          0.00%            Depreciation and Amortization                     -         0.00%             -           0.00%             -         0.00%
         -         0.00%            -            0.00%    465,388.05        7.86%                       Interest                               -         0.00%             -           0.00%    2,326,940.25       9.15%
         -         0.00%            -            0.00%           -          0.00%                 Benefit Allocation                           -         0.00%             -           0.00%             -         0.00%
                   0.00%            -            0.00%           -          0.00%                   Lease Proceeds                             -         0.00%             -           0.00%             -         0.00%
         -         0.00%            -            0.00%           -          0.00%                        Other                                 -         0.00%             -           0.00%             -         0.00%

1,858,212.47      23.55%    855,729.20          11.85%     (80,223.21)     -1.36%           Adjusted Net Operating Income             6,350,082.65      16.31%     945,262.22          2.88%   (1,435,653.33)     -5.64%
                                                                                      Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 12 of 776
                                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget      %           Variance   PTD Last Year     %           Variance                                                               YTD      %        YTD Budget %                Variance   YTD Last Year    %            Variance

                                                                                                               Statistics
           176.00                   176.00                     0.00         176.00                      0.00   # Rooms                                                  176.00                    176.00                     0.00         176.00                      0.00
         5,456.00                 5,456.00                     0.00       5,456.00                      0.00   Available Rooms                                       26,576.00                 26,576.00                     0.00      26,576.00                      0.00
         1,923.00                 2,519.00                  -596.00       2,784.00                   -861.00   Room Nights Sold                                       9,116.00                 10,291.00                -1,175.00      11,103.00                 -1,987.00
          35.25%                   46.17%                  -10.92%         51.03%                   -15.78%    Occupancy %                                             34.30%                    38.72%                   -4.42%         41.78%                    -7.48%
            80.23                    82.44                    -2.21          74.67                      5.56   ADR                                                       78.59                     80.17                    -1.58          70.59                      8.00
            28.28                    38.06                    -9.78          38.10                     -9.82   RevPar                                                    26.96                     31.04                    -4.09          29.49                     -2.53

                                                                                                               Summary V.11
                                                                                                               Revenue
       154,279.17    99.16%    207,659.22     99.53%     -53,380.05     207,869.07     98.42%     -53,589.90   Rooms                                                716,422.07     99.19%     825,048.44    99.51%    -108,626.37     783,759.59    98.38%      -67,337.52
             0.00     0.00%          0.00      0.00%           0.00           0.00      0.00%           0.00   F&B                                                        0.00      0.00%           0.00     0.00%           0.00           0.00     0.00%            0.00
         1,311.73     0.84%        979.30      0.47%         332.43       3,337.39      1.58%      -2,025.66   Other Departments                                      5,836.45      0.81%       4,089.75     0.49%       1,746.70      12,939.62     1.62%       -7,103.17

      155,590.90    100.00%    208,638.52    100.00%    -53,047.62     211,206.46     100.00%    -55,615.56    Total Operating Revenue                             722,258.52     100.00%    829,138.19 100.00%      -106,879.67     796,699.21 100.00%        -74,440.69

                                                                                                               Departmental Expenses
        63,897.19    41.42%     68,527.69     33.00%      -4,630.50      42,431.56     20.41%     21,465.63    Rooms                                                281,484.38     39.29%     315,785.95    38.27%     -34,301.57     204,000.38    26.03%      77,484.00
             0.00     0.00%          0.00      0.00%           0.00           0.00      0.00%          0.00    F&B                                                        0.00      0.00%           0.00     0.00%           0.00           0.00     0.00%           0.00
         1,305.51    99.53%        587.58     60.00%         717.93         660.38     19.79%        645.13    Other Departments                                      5,340.43     91.50%       2,453.85    60.00%       2,886.58      10,632.41    82.17%      -5,291.98

       65,202.70     41.91%     69,115.27    33.13%      -3,912.57      43,091.94     20.40%      22,110.76    Total Departmental Expenses                         286,824.81     39.71%     318,239.80    38.38%     -31,414.99     214,632.79     26.94%      72,192.02

       90,388.20     58.09%    139,523.25    66.87%     -49,135.05     168,114.52     79.60%     -77,726.32    Total Departmental Profit                           435,433.71     60.29%     510,898.39    61.62%     -75,464.68     582,066.42     73.06%    -146,632.71

                                                                                                               Undistributed Operating Expenses
        19,127.40    12.29%     17,179.89      8.23%      1,947.51       23,158.99     10.97%     -4,031.59    A&G                                                  115,428.81     15.98%      93,052.50    11.22%      22,376.31     100,557.43    12.62%       14,871.38
         7,853.84     5.05%      4,154.70      1.99%      3,699.14            0.00      0.00%      7,853.84    IT                                                    45,437.35      6.29%      22,693.50     2.74%      22,743.85           0.00     0.00%       45,437.35
         7,786.18     5.00%      8,467.20      4.06%       -681.02        7,601.70      3.60%        184.48    S&M                                                   39,034.20      5.40%      39,260.60     4.74%        -226.40      46,748.04     5.87%       -7,713.84
        22,642.44    14.55%     25,957.40     12.44%     -3,314.96       27,459.71     13.00%     -4,817.27    Franchise Fees                                        77,072.11     10.67%     103,131.05    12.44%     -26,058.94     115,812.06    14.54%      -38,739.95
        27,911.98    17.94%     14,858.04      7.12%     13,053.94       11,302.15      5.35%     16,609.83    R&M                                                  117,441.53     16.26%      75,462.36     9.10%      41,979.17      52,942.46     6.65%       64,499.07
        12,201.93     7.84%     13,010.70      6.24%       -808.77        6,524.34      3.09%      5,677.59    Utilities                                             57,705.43      7.99%      55,235.25     6.66%       2,470.18      58,045.13     7.29%         -339.70

       97,523.77     62.68%     83,627.93    40.08%      13,895.84      76,046.89     36.01%      21,476.88    Total Undistributed Expenses                        452,119.43     62.60%     388,835.26    46.90%      63,284.17     374,105.12     46.96%      78,014.31

       -7,135.57     -4.59%     55,895.32    26.79%     -63,030.89      92,067.63     43.59%     -99,203.20    Gross Operating Profit                               -16,685.72     -2.31%    122,063.13    14.72%    -138,748.85     207,961.30     26.10%    -224,647.02
         5,167.73      3.32%      6,259.16     3.00%      -1,091.43       6,836.19      3.24%      -1,668.46   Management Fees                                        25,521.28      3.53%     26,162.94     3.16%        -641.66      28,516.41      3.58%      -2,995.13
      -12,303.30     -7.91%     49,636.16    23.79%     -61,939.46      85,231.44     40.35%     -97,534.74    Income Before Non-Operating Income and Expenses      -42,207.00     -5.84%     95,900.19    11.57%    -138,107.19     179,444.89     22.52%    -221,651.89

                                                                                                               Non-Operating Income and Expenses
         6,021.08      3.87%      6,844.00     3.28%       -822.92          338.57      0.16%      5,682.51    Insurance                                             30,571.90      4.23%      34,220.00     4.13%     -3,648.10        2,303.11      0.29%     28,268.79
             0.00      0.00%          0.00     0.00%          0.00            0.00      0.00%          0.00    Leases & Rent                                              0.00      0.00%           0.00     0.00%          0.00            0.00      0.00%          0.00
       136,405.01     87.67%        800.00     0.38%    135,605.01            0.00      0.00%    136,405.01    Other                                                200,281.68     27.73%       4,000.00     0.48%    196,281.68       19,872.24      2.49%    180,409.44
      142,426.09     91.54%      7,644.00     3.66%    134,782.09          338.57      0.16%    142,087.52     Total Non-Operating Income and Expenses             230,853.58     31.96%      38,220.00     4.61%    192,633.58       22,175.35      2.78%    208,678.23

     -154,729.39    -99.45%     41,992.16    20.13%    -196,721.55      84,892.87     40.19%    -239,622.26    EBITDA                                              -273,060.58    -37.81%     57,680.19     6.96%    -330,740.77     157,269.54     19.74%    -430,330.12
             0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%           0.00   Interest                                                    0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%           0.00
         8,825.98      5.67%      8,638.52     4.14%         187.46       7,935.05      3.76%         890.93   Taxes                                                  26,696.26      3.70%     43,192.60     5.21%     -16,496.34      39,675.24      4.98%     -12,978.98
        8,825.98      5.67%      8,638.52     4.14%         187.46       7,935.05      3.76%         890.93    Interest, Taxes, Depreciation and Amortization        26,696.26      3.70%     43,192.60     5.21%     -16,496.34      39,675.24      4.98%     -12,978.98

     -163,555.37 -105.12%       33,353.64    15.99%    -196,909.01      76,957.82     36.44%    -240,513.19    Net Income                                          -299,756.84    -41.50%     14,487.59     1.75%    -314,244.43     117,594.30     14.76%    -417,351.14




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                                                                                               Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year    %          Variance                                                                 YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                          Statistics
           176.00                  176.00                  0.00          176.00                   0.00    # Rooms                                                  176.00                    176.00                     0.00         176.00                     0.00
         5,456.00                5,456.00                  0.00        5,456.00                   0.00    Available Rooms                                       26,576.00                 26,576.00                     0.00      26,576.00                     0.00
         1,923.00                2,519.00               -596.00        2,784.00                -861.00    Room Nights Sold                                       9,116.00                 10,291.00                -1,175.00      11,103.00                -1,987.00
             0.35                    0.46                 -0.11            0.51                  -0.16    Occupancy %                                                0.34                      0.39                    -0.04           0.42                    -0.07
            80.23                   82.44                 -2.21           74.67                   5.56    ADR                                                       78.59                     80.17                    -1.58          70.59                     8.00
            28.28                   38.06                 -9.78           38.10                  -9.82    RevPar                                                    26.96                     31.04                    -4.09          29.49                    -2.53

                                                                                                          Summary
                                                                                                          Revenue:
       154,279.17    99.16%    207,659.22   99.53%    -53,380.05     207,869.07     98.42%   -53,589.90   Rooms                                                716,422.07      99.19%    825,048.44     99.51%   -108,626.37     783,759.59    98.38%     -67,337.52
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%         0.00   Food                                                       0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%         0.00   Beverage                                                   0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%         0.00   Other F&B Revenue                                          0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%         0.00   Telephone                                                  0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
         1,311.73     0.84%        979.30    0.47%        332.43       3,337.39      1.58%    -2,025.66   Other                                                  5,836.45       0.81%      4,089.75      0.49%      1,746.70      12,939.62     1.62%      -7,103.17

       155,590.90   100.00%    208,638.52   100.00%   -53,047.62     211,206.46    100.00%   -55,615.56   Total Revenue                                        722,258.52      100.00%   829,138.19   100.00%    -106,879.67     796,699.21    100.00%    -74,440.69



                                                                                                          Cost of Sales:
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Food                                                          0.00    0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Beverage                                                      0.00    0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Other F&B                                                     0.00    0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00     0.00%         0.00          272.59      8.17%     -272.59    Telephone                                                     0.00    0.00%          0.00      0.00%          0.00       9,126.86    70.53%      -9,126.86
         1,305.51    99.53%       587.58    60.00%       717.93          387.79     11.62%      917.72    Other                                                     5,340.43   91.50%      2,453.85     60.00%      2,886.58         830.85     6.42%       4,509.58

         1,305.51    99.53%       587.58    60.00%       717.93          660.38     19.79%      645.13    Total Cost of Sales                                       5,340.43   91.50%      2,453.85     60.00%      2,886.58       9,957.71    76.96%      -4,617.28



                                                                                                          Payroll:
        30,273.71    19.62%     36,230.10   17.45%     -5,956.39      21,815.64     10.49%    8,458.07    Rooms                                                135,140.92      18.86%    167,731.93     20.33%    -32,591.01     118,363.59    15.10%     16,777.33
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%        0.00    F&B                                                        0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%        0.00    Other                                                      0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%          0.00
         7,193.50     4.62%      8,035.85    3.85%       -842.35       6,629.70      3.14%      563.80    A&G                                                   37,315.54       5.17%     39,276.57      4.74%     -1,961.03      36,209.88     4.54%      1,105.66
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%        0.00    IT                                                         0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%          0.00
         3,406.46     2.19%      3,265.30    1.57%        141.16       3,846.16      1.82%     -439.70    S&M                                                   16,592.96       2.30%     15,988.43      1.93%        604.53      16,768.72     2.10%       -175.76
        12,391.24     7.96%      8,867.16    4.25%      3,524.08       4,894.88      2.32%    7,496.36    R&M                                                   52,314.02       7.24%     43,294.04      5.22%      9,019.98      18,353.63     2.30%     33,960.39
        53,264.91    34.23%     56,398.41   27.03%     -3,133.50      37,186.38     17.61%   16,078.53    Total Salaries and Wages                             241,363.44      33.42%    266,290.97     32.12%    -24,927.53     189,695.82    23.81%     51,667.62

        14,922.59     9.59%     11,070.04    5.31%     3,852.55        8,430.03      3.99%    6,492.56    Total Taxes and Benefits                              71,577.67       9.91%     67,891.02      8.19%      3,686.65      24,890.46     3.12%     46,687.21
        68,187.50    43.82%     67,468.45   32.34%       719.05       45,616.41     21.60%   22,571.09    Total Labor Costs                                    312,941.11      43.33%    334,181.99     40.30%    -21,240.88     214,586.28    26.93%     98,354.83



                                                                                                          Direct Expenses:
        27,557.60    17.86%     25,235.78   12.15%      2,321.82      15,780.41      7.59%   11,777.19    Rooms                                                110,000.34      15.35%    104,497.39     12.67%      5,502.95      69,804.99     8.91%      40,195.35
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%        0.00    F&B                                                        0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%        0.00    Telephone                                                  0.00       0.00%          0.00      0.00%          0.00         674.70     5.21%        -674.70
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%        0.00    Other                                                      0.00       0.00%          0.00      0.00%          0.00           0.00     0.00%           0.00
        22,642.44    14.55%     25,957.40   12.44%     -3,314.96      27,459.71     13.00%   -4,817.27    Franchise Fees                                        77,072.11      10.67%    103,131.05     12.44%    -26,058.94     115,812.06    14.54%     -38,739.95
         9,660.19     6.21%      7,586.34    3.64%      2,073.85      14,608.59      6.92%   -4,948.40    A&G                                                   61,540.55       8.52%     40,343.78      4.87%     21,196.77      59,189.30     7.43%       2,351.25
         7,853.84     5.05%      4,154.70    1.99%      3,699.14           0.00      0.00%    7,853.84    IT                                                    45,437.35       6.29%     22,693.50      2.74%     22,743.85           0.00     0.00%      45,437.35
         2,912.16     1.87%      4,161.25    1.99%     -1,249.09       3,309.56      1.57%     -397.40    S&M                                                   18,423.38       2.55%     19,711.25      2.38%     -1,287.87      28,142.48     3.53%      -9,719.10
        10,405.30     6.69%      4,581.00    2.20%      5,824.30       5,179.43      2.45%    5,225.87    R&M                                                   50,483.54       6.99%     24,827.00      2.99%     25,656.54      32,525.26     4.08%      17,958.28
        12,201.93     7.84%     13,010.70    6.24%       -808.77       6,524.34      3.09%    5,677.59    Utilities                                             57,705.43       7.99%     55,235.25      6.66%      2,470.18      58,045.13     7.29%        -339.70

        93,233.46    59.92%     84,687.17   40.59%     8,546.29       72,862.04     34.50%   20,371.42    Total Direct Expense                                 420,662.70      58.24%    370,439.22     44.68%    50,223.48      364,193.92    45.71%     56,468.78

        -7,135.57     -4.59%    55,895.32   26.79%    -63,030.89      92,067.63     43.59%   -99,203.20   Gross Operating Profit                                -16,685.72      -2.31%   122,063.13     14.72%   -138,748.85     207,961.30    26.10%    -224,647.02

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                                                                                      Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 14 of 776
                                                                                                   Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %           PTD Budget   %           Variance   PTD Last Year    %           Variance                                                               YTD     %        YTD Budget %               Variance   YTD Last Year   %           Variance




                                                                                                              Fixed Costs
         8,825.98         5.67%     8,638.52   4.14%         187.46       7,935.05     3.76%         890.93   Taxes                                                 26,696.26     3.70%     43,192.60     5.21%     -16,496.34      39,675.24    4.98%     -12,978.98
         6,021.08         3.87%     6,844.00   3.28%        -822.92         338.57     0.16%       5,682.51   Insurance                                             30,571.90     4.23%     34,220.00     4.13%      -3,648.10       2,303.11    0.29%      28,268.79
             0.00         0.00%         0.00   0.00%           0.00           0.00     0.00%           0.00   Leases & Rent                                              0.00     0.00%          0.00     0.00%           0.00           0.00    0.00%           0.00
         5,167.73         3.32%     6,259.16   3.00%      -1,091.43       6,836.19     3.24%      -1,668.46   Management Fees                                       25,521.28     3.53%     26,162.94     3.16%        -641.66      28,516.41    3.58%      -2,995.13

        20,014.79    12.86%        21,741.68   10.42%     -1,726.89      15,109.81     7.15%       4,904.98   Total Fixed Expenses                                  82,789.44    11.46%    103,575.54     12.49%    -20,786.10      70,494.76    8.85%     12,294.68

       -27,150.36    -17.45%       34,153.64   16.37%    -61,304.00      76,957.82     36.44%   -104,108.18   Net Operating Profit                                  -99,475.16   -13.77%    18,487.59     2.23%    -117,962.75     137,466.54    17.25%   -236,941.70



             0.00         0.00%         0.00   0.00%           0.00           0.00     0.00%           0.00   Non Recurring Cost                                    21,469.13     2.97%          0.00     0.00%     21,469.13        8,160.00    1.02%     13,309.13



       -27,150.36    -17.45%       34,153.64   16.37%    -61,304.00      76,957.82     36.44%   -104,108.18   Net Operating Income                                 -120,944.29   -16.75%    18,487.59     2.23%    -139,431.88     129,306.54    16.23%   -250,250.83

       136,405.01    87.67%            0.00    0.00%    136,405.01            0.00     0.00%    136,405.01    Capital Reserve                                      178,812.55    24.76%          0.00     0.00%    178,812.55       11,712.24    1.47%    167,100.31
             0.00     0.00%          800.00    0.38%       -800.00            0.00     0.00%          0.00    (Gain)/Loss-Insurance                                      0.00     0.00%      4,000.00     0.48%     -4,000.00            0.00    0.00%          0.00

      -163,555.37   -105.12%       33,353.64   15.99%   -196,909.01      76,957.82     36.44%   -240,513.19   Adjusted NOI                                         -299,756.84   -41.50%    14,487.59     1.75%    -314,244.43     117,594.30    14.76%   -417,351.14




      -163,555.37   -105.12%       33,353.64   15.99%   -196,909.01      76,957.82     36.44%   -240,513.19   Net Profit/(Loss)                                    -299,756.84   -41.50%    14,487.59     1.75%    -314,244.43     117,594.30    14.76%   -417,351.14




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                                                                                       Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 15 of 776
                                                                                                   Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %           PTD Budget      %         Variance   PTD Last Year     %         Variance                                                                 YTD     %        YTD Budget %                Variance   YTD Last Year    %         Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
         3,242.40     2.10%         6,012.58      2.90%    -2,770.18       5,446.10      2.62%    -2,203.70   Corporate Transient                                   11,220.80        1.57%    28,065.98      3.40%     -16,845.18      28,394.64     3.62%   -17,173.84
        15,748.61    10.21%        20,287.20      9.77%    -4,538.59      26,710.53     12.85%   -10,961.92   Advanced Purchase                                     91,392.16       12.76%    92,976.89     11.27%      -1,584.73      99,216.74    12.66%    -7,824.58
        27,314.69    17.70%        23,151.42     11.15%     4,163.27      13,421.35      6.46%    13,893.34   Qualified Discounts                                  113,814.75       15.89%    92,878.65     11.26%      20,936.10      63,791.44     8.14%    50,023.31
             0.00     0.00%             0.00      0.00%         0.00           0.00      0.00%         0.00   FIT(Flexible Independent Travel)                          87.20        0.01%         0.00      0.00%          87.20           0.00     0.00%        87.20
            81.75     0.05%         2,295.75      1.11%    -2,214.00       1,559.70      0.75%    -1,477.95   Consortia Transient                                    2,347.52        0.33%    14,915.18      1.81%     -12,567.66       7,826.02     1.00%    -5,478.50
           720.00     0.47%         1,344.00      0.65%      -624.00       1,286.00      0.62%      -566.00   Employee                                               2,134.24        0.30%     7,306.31      0.89%      -5,172.07       5,918.00     0.76%    -3,783.76
             0.00     0.00%             0.00      0.00%         0.00           0.00      0.00%         0.00   Leisure Transient                                          0.00        0.00%         0.00      0.00%           0.00       7,257.17     0.93%    -7,257.17
           756.00     0.49%           540.00      0.26%       216.00         169.00      0.08%       587.00   Travel Agent/Friends & Family                          2,512.80        0.35%     3,186.00      0.39%        -673.20       1,477.00     0.19%     1,035.80
           536.00     0.35%           230.50      0.11%       305.50         105.50      0.05%       430.50   Leisure Package Transient                              1,910.00        0.27%     2,755.54      0.33%        -845.54       1,249.50     0.16%       660.50
         1,997.68     1.29%         1,326.08      0.64%       671.60         799.87      0.38%     1,197.81   Member Reward Stay                                    11,665.49        1.63%     6,028.77      0.73%       5,636.72       4,315.03     0.55%     7,350.46
             0.00     0.00%             0.00      0.00%         0.00           0.00      0.00%         0.00   Non Qualified Discounts                                    0.00        0.00%    11,791.92      1.43%     -11,791.92           0.00     0.00%         0.00
        26,557.92    17.21%        44,348.22     21.36%   -17,790.30      48,295.50     23.23%   -21,737.58   Internet/E-Commerce                                  118,136.05       16.49%   134,128.66     16.26%     -15,992.61     152,917.11    19.51%   -34,781.06
         2,902.61     1.88%         2,406.24      1.16%       496.37       2,406.15      1.16%       496.46   E-Commerce Opaque                                      8,614.04        1.20%    16,887.21      2.05%      -8,273.17      12,925.27     1.65%    -4,311.23
             0.00     0.00%             0.00      0.00%         0.00           0.00      0.00%         0.00   Other Transient                                            0.00        0.00%         0.00      0.00%           0.00       8,925.45     1.14%    -8,925.45
         7,580.61     4.91%        17,335.92      8.35%    -9,755.31      17,336.20      8.34%    -9,755.59   Government Transient                                  52,202.36        7.29%    59,914.92      7.26%      -7,712.56      62,391.97     7.96%   -10,189.61
        14,551.35     9.43%        22,131.03     10.66%    -7,579.68      22,131.16     10.65%    -7,579.81   Rack Transient                                        75,664.90       10.56%    98,521.56     11.94%     -22,856.66      85,487.85    10.91%    -9,822.95
        42,172.22    27.34%        59,723.28     28.76%   -17,551.06      59,576.54     28.66%   -17,404.32   Local Negotiated Transient                           187,875.86       26.22%   212,229.86     25.72%     -24,354.00     206,633.06    26.36%   -18,757.20

      144,161.84     93.44%       201,132.22    96.86%    -56,970.38    199,243.60     95.85%    -55,081.76   Total Transient Room Revenue                        679,578.17       94.86%    781,587.45    94.73%    -102,009.28     748,726.25     95.53%   -69,148.08

                                                                                                              Group Room Revenue
             0.00         0.00%      5,127.00     2.47%    -5,127.00           0.00      0.00%         0.00   Corporate Group                                            0.00        0.00%    24,498.99     2.97%      -24,498.99       2,300.95     0.29%    -2,300.95
         6,945.00         4.50%          0.00     0.00%     6,945.00         656.00      0.32%     6,289.00   Government Group                                      15,567.00        2.17%     1,035.00     0.13%       14,532.00      15,614.00     1.99%       -47.00
             0.00         0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00   Tour & Travel Group                                    1,680.00        0.23%       432.00     0.05%        1,248.00           0.00     0.00%     1,680.00
             0.00         0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00   SMERF Group                                            1,258.58        0.18%    11,395.00     1.38%      -10,136.42           0.00     0.00%     1,258.58
             0.00         0.00%          0.00     0.00%         0.00       4,671.00      2.25%    -4,671.00   Sports Group                                           4,150.00        0.58%         0.00     0.00%        4,150.00       5,411.00     0.69%    -1,261.00

        6,945.00      4.50%         5,127.00     2.47%     1,818.00       5,327.00      2.56%     1,618.00    Total Group Room Revenue                             22,655.58        3.16%     37,360.99     4.53%     -14,705.41      23,325.95     2.98%      -670.37

                                                                                                              Contract Room Revenue

             0.00     0.00%             0.00     0.00%         0.00            0.00     0.00%         0.00    Total Contract Room Revenue                                  0.00     0.00%          0.00     0.00%           0.00            0.00    0.00%         0.00

                                                                                                              Other Room Revenue
         2,169.41         1.41%       500.00      0.24%     1,669.41       2,260.60      1.09%       -91.19   No-Show Rooms                                             9,140.31     1.28%      2,500.00    0.30%       6,640.31        6,529.67     0.83%     2,610.64
           686.00         0.44%       900.00      0.43%      -214.00       1,037.87      0.50%      -351.87   Pet/Smoking/Damage Fees                                   4,929.69     0.69%      3,600.00    0.44%       1,329.69        5,177.72     0.66%      -248.03

        2,855.41      1.85%         1,400.00     0.67%     1,455.41       3,298.47      1.59%      -443.06    Total Other Room Revenue                             14,070.00        1.96%      6,100.00     0.74%       7,970.00      11,707.39     1.49%     2,362.61

           316.92         0.21%          0.00     0.00%       316.92           0.00      0.00%       316.92   Less: Allowances                                           118.32      0.02%          0.00    0.00%         118.32            0.00     0.00%       118.32

      154,279.17    100.00%       207,659.22    100.00%   -53,380.05    207,869.07     100.00%   -53,589.90   Total Room Revenue                                  716,422.07       100.00%   825,048.44 100.00%      -108,626.37     783,759.59 100.00%      -67,337.52

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         2,981.31      1.93%         3,269.06     1.57%      -287.75       2,052.00      0.99%       929.31   Front Office Management                               12,309.94        1.72%     16,004.37     1.94%      -3,694.43      13,543.20     1.73%    -1,233.26
         3,114.17      2.02%         3,089.75     1.49%        24.42       2,736.00      1.32%       378.17   Housekeeping Management                               15,169.36        2.12%     14,973.33     1.81%         196.03      13,543.20     1.73%     1,626.16
        6,095.48      3.95%         6,358.81     3.06%      -263.33       4,788.00      2.30%     1,307.48    Total Rooms Management                               27,479.30        3.84%     30,977.70     3.75%      -3,498.40      27,086.40     3.46%       392.90
         5,440.99      3.53%         5,394.00     2.60%        46.99       3,889.54      1.87%     1,551.45   Front Office Agents                                   31,874.05        4.45%     26,274.00     3.18%       5,600.05      24,678.56     3.15%     7,195.49
         3,896.45      2.53%         2,976.00     1.43%       920.45       2,728.00      1.31%     1,168.45   Night Auditors                                        12,421.25        1.73%     14,496.00     1.76%      -2,074.75       9,433.55     1.20%     2,987.70
         2,265.43      1.47%         2,046.00     0.99%       219.43          52.50      0.03%     2,212.93   Breakfast Attendant                                    3,678.09        0.51%      9,966.00     1.21%      -6,287.91          52.50     0.01%     3,625.59
       11,602.87      7.52%        10,416.00     5.02%     1,186.87       6,670.04      3.21%     4,932.83    Total Rooms Front Office                             47,973.39        6.70%     50,736.00     6.15%      -2,762.61      34,164.61     4.36%    13,808.78
             0.00      0.00%         1,408.29     0.68%    -1,408.29       1,122.88      0.54%    -1,122.88   Housekeeping Supervisors                               4,806.59        0.67%      6,859.73     0.83%      -2,053.14       5,522.38     0.70%      -715.79
        10,577.78      6.86%        12,591.00     6.06%    -2,013.22       4,632.70      2.23%     5,945.08   Room Attendants                                       45,314.90        6.33%     52,582.50     6.37%      -7,267.60      35,683.99     4.55%     9,630.91
             0.00      0.00%         2,728.00     1.31%    -2,728.00       2,189.27      1.05%    -2,189.27   Housepersons                                           1,180.91        0.16%     13,288.00     1.61%     -12,107.09       7,599.58     0.97%    -6,418.67
         1,997.58      1.29%         2,728.00     1.31%      -730.42       2,412.75      1.16%      -415.17   Laundry Attendants                                     8,385.83        1.17%     13,288.00     1.61%      -4,902.17       8,306.63     1.06%        79.20
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                                                                                                   Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %           PTD Budget     %          Variance   PTD Last Year    %           Variance                                                             YTD     %       YTD Budget %               Variance   YTD Last Year    %           Variance

       12,575.36      8.15%        19,455.29    9.37%     -6,879.93      10,357.60      4.98%     2,217.76     Total Rooms Housekeeping                            59,688.23    8.33%     86,018.23    10.43%    -26,330.00      57,112.58     7.29%       2,575.65

       30,273.71     19.62%        36,230.10    17.45%    -5,956.39      21,815.64     10.49%     8,458.07     Total Rooms Salary and Wages                       135,140.92    18.86%   167,731.93    20.33%    -32,591.01     118,363.59     15.10%    16,777.33

                                                                                                               PR Taxes and Benefits
         2,282.96      1.48%         2,898.22    1.40%       -615.26       1,753.11      0.84%        529.85   FICA                                                 10,608.18    1.48%     14,023.53     1.70%     -3,415.35       8,468.55     1.08%      2,139.63
            70.66      0.05%            34.10    0.02%         36.56          81.03      0.04%        -10.37   Federal Unemployment Tax                                575.41    0.08%        479.68     0.06%         95.73         523.81     0.07%         51.60
           298.41      0.19%            75.77    0.04%        222.64         229.18      0.11%         69.23   State Unemployment Tax                                1,385.64    0.19%      1,558.36     0.19%       -172.72       1,107.00     0.14%        278.64
        2,652.03      1.72%         3,008.09    1.45%       -356.06       2,063.32      0.99%        588.71    Total Payroll Taxes                                 12,569.23    1.75%     16,061.57     1.95%     -3,492.34      10,099.36     1.29%      2,469.87
             0.00      0.00%         1,400.00    0.67%     -1,400.00         975.60      0.47%       -975.60   Holiday                                               1,135.28    0.16%      2,800.00     0.34%     -1,664.72       3,541.60     0.45%     -2,406.32
             0.00      0.00%           248.87    0.12%       -248.87         778.00      0.37%       -778.00   Vacation                                              2,847.88    0.40%      1,055.21     0.13%      1,792.67       1,672.00     0.21%      1,175.88
             0.00      0.00%             0.00    0.00%          0.00           0.00      0.00%          0.00   Sick Pay                                                  0.00    0.00%          0.00     0.00%          0.00          80.00     0.01%        -80.00
             0.00     0.00%         1,648.87    0.79%     -1,648.87       1,753.60      0.84%     -1,753.60    Total Supplemental Pay                               3,983.16    0.56%      3,855.21     0.47%        127.95       5,293.60     0.68%     -1,310.44
         1,503.53      0.97%           964.85    0.46%        538.68           0.00      0.00%      1,503.53   Worker's Compensation                                 7,558.31    1.06%      4,739.85     0.57%      2,818.46           0.00     0.00%      7,558.31
         1,910.32      1.24%         1,440.00    0.69%        470.32       1,018.59      0.49%        891.73   Group Insurance                                       8,546.92    1.19%      7,200.00     0.87%      1,346.92         438.84     0.06%      8,108.08
             0.00      0.00%             0.00    0.00%          0.00           0.00      0.00%          0.00   Bonus and Incentive Pay                               3,685.50    0.51%     11,700.00     1.42%     -8,014.50           0.00     0.00%      3,685.50
        3,413.85      2.21%         2,404.85    1.16%      1,009.00       1,018.59      0.49%      2,395.26    Total Other Benefits                                19,790.73    2.76%     23,639.85     2.87%     -3,849.12         438.84     0.06%     19,351.89

        6,065.88      3.93%         7,061.81    3.40%      -995.93        4,835.51      2.33%     1,230.37     Total Rooms PR Taxes and Benefits                   36,343.12    5.07%     43,556.63     5.28%     -7,213.51      15,831.80     2.02%     20,511.32

       36,339.59     23.55%        43,291.91    20.85%    -6,952.32      26,651.15     12.82%     9,688.44     Total Rooms Labor Costs                            171,484.04    23.94%   211,288.56    25.61%    -39,804.52     134,195.39     17.12%    37,288.65

                                                                                                               Other Expenses
         4,124.28         2.67%     8,394.00     4.04%    -4,269.72        4,887.25     2.35%       -762.97    Breakfast /Comp Cost                                 20,647.36    2.88%    35,055.00     4.25%    -14,407.64       14,224.33     1.81%      6,423.03
         1,525.13         0.99%     1,119.20     0.54%       405.93          546.27     0.26%        978.86    Cleaning Supplies                                     8,541.30    1.19%     4,674.00     0.57%      3,867.30        3,293.24     0.42%      5,248.06
           102.27         0.07%        75.00     0.04%        27.27            0.00     0.00%        102.27    Decorations & Plants                                    395.95    0.06%       375.00     0.05%         20.95            0.00     0.00%        395.95
             0.00         0.00%        48.00     0.02%       -48.00            0.00     0.00%          0.00    Dues and Subscriptions                                   87.74    0.01%       224.00     0.03%       -136.26        1,131.87     0.14%     -1,044.13
         2,155.55         1.40%     2,098.50     1.01%        57.05        1,047.30     0.50%      1,108.25    Guest Supplies                                       10,022.38    1.40%     8,763.75     1.06%      1,258.63        7,453.64     0.95%      2,568.74
             0.00         0.00%         0.00     0.00%         0.00           43.87     0.02%        -43.87    In-House Entertainment                                    0.00    0.00%         0.00     0.00%          0.00          131.61     0.02%       -131.61
             0.00         0.00%         0.00     0.00%         0.00        1,729.68     0.83%     -1,729.68    Internet/Web Expense                                      0.00    0.00%         0.00     0.00%          0.00        4,351.77     0.56%     -4,351.77
         1,623.52         1.05%       783.44     0.38%       840.08        1,977.64     0.95%       -354.12    Laundry                                               4,239.51    0.59%     3,271.80     0.40%        967.71        3,817.29     0.49%        422.22
         3,058.14         1.98%     1,678.80     0.81%     1,379.34        1,331.02     0.64%      1,727.12    Linen                                                 7,955.71    1.11%     7,011.00     0.85%        944.71        3,617.31     0.46%      4,338.40
             0.00         0.00%        10.00     0.00%       -10.00            0.00     0.00%          0.00    Meals and Entertainment                                   0.00    0.00%        50.00     0.01%        -50.00            0.00     0.00%          0.00
             0.00         0.00%         0.00     0.00%         0.00          218.26     0.10%       -218.26    Office Equipment                                          0.00    0.00%         0.00     0.00%          0.00          626.59     0.08%       -626.59
             0.00         0.00%       150.00     0.07%      -150.00            0.00     0.00%          0.00    Operating Supplies                                      235.80    0.03%       750.00     0.09%       -514.20            0.00     0.00%        235.80
             0.00         0.00%        10.00     0.00%       -10.00            0.00     0.00%          0.00    Printing and Stationery                               1,003.20    0.14%        50.00     0.01%        953.20            0.00     0.00%      1,003.20
         1,623.65         1.05%     1,868.93     0.90%      -245.28            0.00     0.00%      1,623.65    Reservation Expense                                   3,752.50    0.52%     7,425.44     0.90%     -3,672.94            0.00     0.00%      3,752.50
             0.00         0.00%        50.00     0.02%       -50.00            0.00     0.00%          0.00    Rooms Promotion                                           0.00    0.00%       250.00     0.03%       -250.00            0.00     0.00%          0.00
         5,051.32         3.27%     2,522.29     1.21%     2,529.03        2,463.96     1.19%      2,587.36    Television Cable                                     15,044.42    2.10%    12,611.45     1.53%      2,432.97       12,915.31     1.65%      2,129.11
         1,103.54         0.72%       102.54     0.05%     1,001.00          491.40     0.24%        612.14    Travel Agent Comm - Group Rooms                       8,934.62    1.25%       747.22     0.09%      8,187.40        3,102.99     0.40%      5,831.63
         7,190.20         4.66%     6,325.08     3.05%       865.12          405.68     0.20%      6,784.52    Travel Agent Comm - Transient Rooms                  29,139.85    4.07%    22,738.73     2.76%      6,401.12       14,500.96     1.85%     14,638.89
             0.00         0.00%         0.00     0.00%         0.00          638.08     0.31%       -638.08    Uniforms                                                  0.00    0.00%       500.00     0.06%       -500.00          638.08     0.08%       -638.08

       27,557.60     17.86%        25,235.78    12.15%    2,321.82       15,780.41      7.59%    11,777.19     Total Rooms Other Expenses                         110,000.34    15.35%   104,497.39    12.67%     5,502.95       69,804.99     8.91%     40,195.35

       63,897.19     41.42%        68,527.69    33.00%    -4,630.50      42,431.56     20.41%    21,465.63     Total Rooms Expenses                               281,484.38    39.29%   315,785.95    38.27%    -34,301.57     204,000.38     26.03%    77,484.00

       90,381.98     58.58%       139,131.53    67.00%   -48,749.55     165,437.51     79.59%    -75,055.53    Total Rooms Profit (Loss)                          434,937.69    60.71%   509,262.49    61.73%    -74,324.80     579,759.21     73.97%   -144,821.52




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                                                                                 Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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                                                                                                         As of 5/31/2022
              PTD     %   PTD Budget   %   Variance    PTD Last Year    %        Variance                                                                YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                            Room Sale Stats
                                                                                            Tranisent Rooms
            37.00              67.00         -30.00           67.00                -30.00   Room Stat - Corporate Transient                          133.00             369.00       -236.00          384.00           -251.00
           181.00             237.00         -56.00          281.00               -100.00   Room Stat - Advanced Purchase                          1,093.00           1,198.00       -105.00        1,279.00           -186.00
           329.00               0.00         329.00          160.00                169.00   Room Stat - Qualified Discounts                        1,393.00               0.00      1,393.00          839.00            554.00
             0.00               0.00           0.00            0.00                  0.00   Room Stat - FIT(Flexible Independent Travel)               1.00               0.00          1.00            0.00              1.00
             1.00              25.00         -24.00           17.00                -16.00   Room Stat - Consortia Rate Transient                      28.00             172.00       -144.00          102.00            -74.00
            18.00              32.00         -14.00           32.00                -14.00   Room Stat - Employee                                      51.00             191.00       -140.00          150.00            -99.00
             0.00               0.00           0.00            0.00                  0.00   Room Stat - Leisure Transient                              0.00               0.00          0.00           73.00            -73.00
             4.00               2.00           2.00            1.00                  3.00   Room Stat - Package Transient                             15.00              27.00        -12.00           10.00              5.00
            15.00              10.00           5.00           10.00                  5.00   Room Stat - Travel Agent/Friends & Family                 45.00              59.00        -14.00           46.00             -1.00
            59.00              32.00          27.00           26.00                 33.00   Room Stat - Member Reward Stay                           387.00             202.00        185.00          156.00            231.00
           323.00             577.00        -254.00          615.00               -292.00   Room Stat - Internet                                   1,477.00           1,896.00       -419.00        2,131.00           -654.00
             0.00               0.00           0.00            0.00                  0.00   Room Stat - Other Transient                                0.00               0.00          0.00          132.00           -132.00
            41.00              36.00           5.00           49.00                 -8.00   Room Stat - E-Commerce Opaque                            121.00             288.00       -167.00          244.00           -123.00
            81.00             204.00        -123.00          204.00               -123.00   Room Stat - Government Rate Transient                    608.00             747.00       -139.00          773.00           -165.00
           142.00             241.00         -99.00          241.00                -99.00   Room Stat - Rack Rate Transient                          761.00           1,147.00       -386.00          976.00           -215.00
           609.00             981.00        -372.00        1,008.00               -399.00   Room Stat - Local Negotiated Transient                 2,728.00           3,451.00       -723.00        3,472.00           -744.00
        1,840.00           2,444.00        -604.00        2,711.00               -871.00    Total Transient Rooms Sold                            8,841.00           9,747.00       -906.00       10,767.00         -1,926.00

                                                                                            Group Rooms
            0.00              75.00          -75.00            0.00                 0.00    Room Stat - Corporate Group Rooms                            0.00           366.00       -366.00           42.00            -42.00
           83.00               0.00           83.00           49.00                34.00    Room Stat - Government Group                               175.00            15.00        160.00          260.00            -85.00
            0.00               0.00            0.00            0.00                 0.00    Room Stat - Tour & Travel Group                             23.00             8.00         15.00            0.00             23.00
            0.00               0.00            0.00            0.00                 0.00    Room Stat - SMERF Group                                     15.00           155.00       -140.00            0.00             15.00
            0.00               0.00            0.00           24.00               -24.00    Room Stat - Sports Group                                    62.00             0.00         62.00           34.00             28.00
           83.00              75.00            8.00           73.00               10.00     Total Group Rooms Sold                                    275.00           544.00       -269.00          336.00            -61.00

                                                                                            Contract Rooms
             0.00              0.00           0.00             0.00                 0.00    Total Contract Rooms Sold                                   0.00             0.00           0.00            0.00             0.00

        1,923.00           2,519.00        -596.00        2,784.00               -861.00    Total Rooms Sold                                      9,116.00          10,291.00      -1,175.00      11,103.00         -1,987.00
            32.00              0.00           32.00           28.00                  4.00   Room Stat - Comp Rooms                                   256.00              0.00          256.00          49.00            207.00
        1,955.00           2,519.00        -564.00        2,812.00               -857.00    Total Rooms Occupied                                  9,372.00          10,291.00        -919.00      11,152.00         -1,780.00
         3,093.00              0.00        3,093.00        2,284.00                809.00   Room Stat - Out of Order                              15,333.00              0.00       15,333.00      11,375.00          3,958.00

                                                                                            ADR
            87.63             89.74            -2.11          81.29                 6.35    Corporate Transient ADR                                    84.37            76.06            8.31          73.94            10.42
            87.01             85.60             1.41          95.06                -8.05    Advanced Purchase ADR                                      83.62            77.61            6.01          77.57             6.04
            83.02              0.00           83.02           83.88                -0.86    Qualified Discount ADR                                     81.70             0.00          81.70           76.03             5.67
             0.00              0.00             0.00           0.00                 0.00    FIT ADR                                                    87.20             0.00          87.20            0.00            87.20
            81.75             91.83          -10.08           91.75               -10.00    Consortia ADR                                              83.84            86.72           -2.88          76.73             7.11
            40.00             42.00            -2.00          40.19                -0.19    Employee ADR                                               41.85            38.25            3.59          39.45             2.39
             0.00              0.00             0.00           0.00                 0.00    Leisure ADR                                                 0.00             0.00            0.00          99.41           -99.41
            50.40             54.00            -3.60          16.90                33.50    Travel Agent/Friends & Family ADR                          55.84            54.00            1.84          32.11            23.73
             0.00              0.00             0.00           0.00                 0.00    Leisure Package ADR                                         0.00             0.00            0.00          17.12           -17.12
            33.86             41.44            -7.58          30.76                 3.09    Member Reward Stay ADR                                     30.14            29.85            0.30          27.66             2.48
             0.00              0.00             0.00           0.00                 0.00    Golf Pkg ADR                                                0.00             0.00            0.00           0.00             0.00
             0.00              0.00             0.00           0.00                 0.00    Non Qualified ADR                                           0.00             0.00            0.00           0.00             0.00
            82.22             76.86             5.36          78.53                 3.69    Internet ADR                                               79.98            70.74            9.24          71.76             8.23
            70.80             66.84             3.96          49.11                21.69    E-Commerce Opaque ADR                                      71.19            58.64          12.55           52.97            18.22
             0.00              0.00             0.00           0.00                 0.00    Other Transient ADR                                         0.00             0.00            0.00          67.62           -67.62
             0.00              0.00             0.00           0.00                 0.00    Airline Distressed Passenger ADR                            0.00             0.00            0.00           0.00             0.00
            93.59             84.98             8.61          84.98                 8.61    Government ADR                                             85.86            80.21            5.65          80.71             5.15
           102.47             91.83           10.64           91.83                10.64    Rack ADR                                                   99.43            85.89          13.53           87.59            11.84
            69.25             60.88             8.37          59.10                10.14    Local Negotiated ADR                                       68.87            61.50            7.37          59.51             9.36
            78.35             82.30           -3.95           73.49                 4.85    Total Transient ADR                                        76.87            80.19          -3.32           69.54             7.33

             0.00              68.36         -68.36            0.00                 0.00    Corporate Group ADR                                         0.00             66.94        -66.94           54.78           -54.78
             0.00               0.00           0.00            0.00                 0.00    Leisure Group ADR                                           0.00              0.00          0.00            0.00             0.00
            83.67               0.00          83.67           13.39                70.29    Government Group ADR                                       88.95             69.00         19.95           60.05            28.90
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                                                                                Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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                                                                                                        As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year    %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00               0.00           0.00            0.00                  0.00   Tour & Travel Group ADR                                   73.04           54.00        19.04            0.00          73.04
            0.00               0.00           0.00            0.00                  0.00   Association Group ADR                                      0.00            0.00         0.00            0.00           0.00
            0.00               0.00           0.00            0.00                  0.00   City Wide Group ADR                                        0.00            0.00         0.00            0.00           0.00
            0.00               0.00           0.00            0.00                  0.00   SMERF Group ADR                                           83.91           73.52        10.39            0.00          83.91
            0.00               0.00           0.00          194.63               -194.63   Sports Group ADR                                          66.94            0.00        66.94          159.15         -92.21
            0.00               0.00           0.00            0.00                  0.00   Other Group ADR                                            0.00            0.00         0.00            0.00           0.00
           83.67              68.36          15.31           72.97                 10.70   Total Group ADR                                           82.38           68.68        13.71           69.42         12.96

             0.00              0.00           0.00            0.00                 0.00    Airline Crew ADR                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Other Contract ADR                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Contract ADR                                         0.00            0.00         0.00            0.00           0.00

           80.23              82.44          -2.21           74.67                 5.56    Total ADR                                                 78.59           80.17        -1.58           70.59           8.00




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                                                                                             Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                               P&L - Dual Summary Pages
                                                                                                                     As of 5/31/2022
              PTD     %           PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        F&B Summary
                                                                                                        Revenue
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Outlet Food Revenue                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Banquet and Catering Food Revenue                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Outlet Beverage Revenue                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Banquet and Catering Beverage Revenue                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Outlet Other Revenue                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Banquet and Catering Other Revenue                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%       0.00    Total F&B Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Food Purchases                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Beverage Purchases                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Cedit Employee Meals                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Credit House Charges                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Credit In-House Promotions                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Audio Visual Cost of Sales                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Other Cost of Sales                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%       0.00    Total F&B Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%       0.00    F&B Gross Profit                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll
                                                                                                        Salaries and Wages
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Management                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Non-Management                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%       0.00    Total F&B Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        PR Taxes and Benefits
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Payroll Taxes                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Supplemental Pay                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%      0.00    Other Benefits                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%       0.00    Total F&B PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%       0.00    Total F&B Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Audio Visual Supplies                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Banquet Expense                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Bar Expense/Promos                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Bar Supplies                                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    China                                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Cleaning Supplies                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Communication Expense                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Contract Cleaning                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Contract Labor                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Decorations & Plants                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Dues and Subscriptions                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Equipment Rental                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Food and Beverage Advertising                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Glassware                                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Guest Loss/Damage                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Guest Supplies                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    In-House Entertainment                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Kitchen/Cooking Fuel                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Kitchen Equipment                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Laundry - Outside Expense                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Laundry Allocation                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Licenses/Permits                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Linen                                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%       0.00    Linen Rental                                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                          Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                            P&L - Dual Summary Pages
                                                                                                                  As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Maintenance Contracts                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Meals and Entertainment                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Menus                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Miscellaneous Expense                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Music and Entertainment                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Office Equipment                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Office Supplies                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Operating Supplies                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Paper/Plastic Supplies                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Printing and Stationery                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Silverware                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Software Expense/Maintenance                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Television Cable                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Training                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Travel                                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Uniforms                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Utensils                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total F&B Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total F&B Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total F&B Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                  P&L - Dual Summary Pages
                                                                                                        As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year    %        Variance                                                             YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                           F&B Stats
                                                                                           Restaurant 1
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 1 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 1 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                           Restaurant 2
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 2 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 2 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                           Room Service
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Room Service Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Room Service Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                           Banquets
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Banquets Covers                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Banquets Avg Check                                        0.00            0.00         0.00            0.00           0.00

                                                                                           Catering
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Catering Covers                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Catering Avg Check                                        0.00            0.00         0.00            0.00           0.00

                                                                                           Restaurant 3
             0.00               0.00          0.00            0.00                 0.00    Breakfast Avg Check                                       0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                 0.00    Lunch Avg Check                                           0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                 0.00    Dinner Avg Check                                          0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                 0.00    Brunch Avg Check                                          0.00             0.00        0.00            0.00           0.00
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              PTD     %   PTD Budget   %   Variance   PTD Last Year    %        Variance                                                             YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 3 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 3 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                           Restaurant 4
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 4 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 4 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                           Restaurant 5
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 5 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 5 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                           Bar 1
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Bar 1 Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Bar 1 Avg Check                                           0.00            0.00         0.00            0.00           0.00

                                                                                           Bar 2
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Bar 2 Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Bar 2 Avg Check                                           0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                 0.00    Total Covers                                              0.00            0.00         0.00            0.00           0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year    %        Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                   Food Admin
                                                                                                   Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Food Admin Cost of Sales                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Expenses
                                                                                                   Payroll Expense
                                                                                                   Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Food Admin Management                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Food Admin Non-Management                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Food Admin Salaries and Wages                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Food Admin PR Taxes and Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Food Admin Payroll                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Food Admin Other Expenses                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Food Admin Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Departmental Costs                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget   %       Variance   PTD Last Year    %        Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00     0.00%       0.00    Less Adjustments                                          0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00     0.00%       0.00    Total Beverage Admin Revenue                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Sales

             0.00     0.00%            0.00    0.00%      0.00            0.00     0.00%       0.00    Total Beverage Admin Cost of Sales                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00     0.00%       0.00    Total Beverage Admin Other Expenses                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00     0.00%       0.00    Total Beverage Admin Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00     0.00%       0.00    Departmental Costs                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Restaurant 1
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 1 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 1 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 1 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 1 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Restaurant 2
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 2 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 2 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 2 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 2 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                          Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Room Service
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Room Service Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Room Service Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Other Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Room Service Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Banquets
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Banquets Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Banquets Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Other Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Non-Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                 0.00    Total Banquets Salaries and Wages                         0.00                 0.00                  0.00            0.00                0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                 0.00    Total Banquet Benefits                                    0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Payroll                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Other Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Banquets Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Catering
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Catering Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Catering Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Other Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Catering Gross Profit                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Non-Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Salaries and Wages                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering PR Taxes and Benefits                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Payroll                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Other Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Restaurant 3
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 3 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 3 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 3 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Payroll Taxes and Benefits             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Restaurant 4
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 4 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restauarnt 4 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                          Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Restaurant 5
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 5 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 5 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 5 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Bar 1
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Bar 1 Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Bar 1 Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                                                  As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Bar 2
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Bar 2 Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Bar 2 Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expenses
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                     Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Telephone Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Telephone Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

                                                                                                     Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00          272.59      0.00%    -272.59   Cost of Sales - Local Calls                               0.00    0.00%        0.00       0.00%      0.00        4,083.60     0.00%    -4,083.60
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%       0.00   Cost of Sales - Long Distance                             0.00    0.00%        0.00       0.00%      0.00        5,043.26     0.00%    -5,043.26
             0.00     0.00%         0.00    0.00%       0.00         272.59      0.00%    -272.59    Total Telephone Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00       9,126.86     0.00%    -9,126.86

             0.00     0.00%         0.00    0.00%       0.00        -272.59      0.00%     272.59    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00      -9,126.86     0.00%    9,126.86

                                                                                                     Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Operating Supplies                                        0.00    0.00%        0.00       0.00%      0.00          161.92     0.00%     -161.92
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Telephone Equipment                                       0.00    0.00%        0.00       0.00%      0.00          512.78     0.00%     -512.78
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Telephone Other Expenses                            0.00   0.00%         0.00      0.00%       0.00         674.70     0.00%     -674.70

             0.00     0.00%         0.00    0.00%       0.00        -272.59      0.00%     272.59    Total Telephone Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00      -9,801.56     0.00%    9,801.56




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %         Variance                                                              YTD     %        YTD Budget %            Variance   YTD Last Year    %           Variance

                                                                                                         Minor Operating
                                                                                                         Income
             0.00     0.00%          0.00     0.00%       0.00            0.00     0.00%          0.00   Total Rental Income                                       0.00     0.00%          0.00  0.00%           0.00           0.00     0.00%           0.00
            91.98      7.01%         0.00      0.00%     91.98            0.00      0.00%        91.98   Vending Commissions-Soda & Snack Machines               148.29      2.54%         0.00   0.00%        148.29           0.00      0.00%        148.29
             0.00      0.00%         0.00      0.00%      0.00            0.00      0.00%         0.00   Vending Commissions Other                                 1.16      0.02%         0.00   0.00%          1.16           0.00      0.00%          1.16
            91.98     7.01%          0.00     0.00%      91.98            0.00     0.00%         91.98   Total Vending Commission Income                        149.45      2.56%          0.00  0.00%        149.45            0.00     0.00%        149.45
             0.00      0.00%         0.00      0.00%      0.00          448.71     13.44%      -448.71   Cancellation Fee - Rooms                                350.53      6.01%         0.00   0.00%        350.53         901.29      6.97%       -550.76
             0.00     0.00%          0.00     0.00%       0.00         448.71     13.44%      -448.71    Total Cancellation Fee Income                          350.53      6.01%          0.00  0.00%        350.53         901.29      6.97%       -550.76
             0.00      0.00%         0.00      0.00%      0.00            0.00      0.00%         0.00   Guest Laundry                                             0.00      0.00%         0.00   0.00%          0.00           2.00      0.02%         -2.00
           299.00     22.79%         0.00      0.00%    299.00          900.00     26.97%      -601.00   Telephone Revenue                                       399.00      6.84%         0.00   0.00%        399.00       3,322.30     25.68%     -2,923.30
             0.00      0.00%         0.00      0.00%      0.00            0.00      0.00%         0.00   Other Revenue 3                                         203.74      3.49%         0.00   0.00%        203.74           0.00      0.00%        203.74
           920.75     70.19%       979.30    100.00%    -58.55          910.68     27.29%        10.07   Gift Shop Sales                                       4,733.73     81.11%     4,089.75 100.00%        643.98       3,935.03     30.41%        798.70
             0.00      0.00%         0.00      0.00%      0.00        1,078.00     32.30%    -1,078.00   Pet Fees                                                  0.00      0.00%         0.00   0.00%          0.00       4,779.00     36.93%     -4,779.00
        1,219.75     92.99%       979.30    100.00%    240.45        2,888.68     86.56%    -1,668.93    Total Other Income                                   5,336.47     91.43%     4,089.75 100.00%      1,246.72      12,038.33     93.03%     -6,701.86

        1,311.73    100.00%       979.30    100.00%    332.43        3,337.39     100.00%   -2,025.66    Total Minor Operating Income                         5,836.45     100.00%    4,089.75 100.00%      1,746.70      12,939.62 100.00%        -7,103.17

                                                                                                         Cost of Sales
         1,305.51     99.53%       587.58     60.00%    717.93          387.79     11.62%      917.72    Cost of Sales - Gift Shop                             5,340.43     91.50%     2,453.85    60.00%    2,886.58         830.85      6.42%     4,509.58
        1,305.51     99.53%       587.58     60.00%    717.93          387.79     11.62%      917.72     Total Minor Operated Cost of Sales                   5,340.43     91.50%     2,453.85    60.00%    2,886.58         830.85      6.42%     4,509.58

             6.22     0.47%       391.72     40.00%    -385.50       2,949.60     88.38%    -2,943.38    Total Minor Operated Profit (Loss)                       496.02    8.50%     1,635.90    40.00%    -1,139.88     12,108.77     93.58%    -11,612.75




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              PTD     %       PTD Budget   %       Variance   PTD Last Year    %        Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                   Arcade
                                                                                                   Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Revenue                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Expenses
                                                                                                   Payroll Expense
                                                                                                   Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Non-Management                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Salaries and Wages                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade PR Taxes and Benefits                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Payroll                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Other Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Expenses                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Profit (Loss)                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                        Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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              PTD     %       PTD Budget   %       Variance   PTD Last Year    %        Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                   Waterpark
                                                                                                   Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Revenue                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Expenses
                                                                                                   Payroll Expense
                                                                                                   Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Waterpark Management                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Waterpark Non-Management                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Salaries and Wages                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark PR Taxes and Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Payroll                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Other Expenses                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Profit (Loss)                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %        Variance   PTD Last Year    %         Variance                                                             YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                          Franchise Fees
             0.00         0.00%         0.00    0.00%        0.00          64.20     0.03%       -64.20   Franchise Fees - IT Fees                                  0.00    0.00%         0.00     0.00%         0.00         321.00     0.04%      -321.00
         8,678.01         5.58%    12,459.55    5.97%   -3,781.54      11,740.65     5.56%    -3,062.64   Franchise Fees - Royalty & Licenses                  40,258.23    5.57%    49,502.90     5.97%    -9,244.67      50,926.14     6.39%   -10,667.91
             0.00         0.00%         0.00    0.00%        0.00       2,239.00     1.06%    -2,239.00   Franchise Fees - Other                                    0.00    0.00%         0.00     0.00%         0.00       4,642.45     0.58%    -4,642.45
             0.00         0.00%         0.00    0.00%        0.00       1,506.36     0.71%    -1,506.36   Franchise Fees - Reservations-GDS                         0.00    0.00%         0.00     0.00%         0.00       7,591.41     0.95%    -7,591.41
         8,051.09         5.17%     5,191.48    2.49%    2,859.61       3,882.49     1.84%     4,168.60   Franchise Fees - Frequent Guest                       9,381.27    1.30%    20,626.21     2.49%   -11,244.94      17,089.14     2.14%    -7,707.87
         5,913.34         3.80%     8,306.37    3.98%   -2,393.03       8,027.01     3.80%    -2,113.67   Franchise Fees - Marketing Contributions             27,432.61    3.80%    33,001.94     3.98%    -5,569.33      35,241.92     4.42%    -7,809.31

       22,642.44     14.55%       25,957.40    12.44%   -3,314.96     27,459.71     13.00%   -4,817.27    Total Franchise Fees                                77,072.11    10.67%   103,131.05   12.44%    -26,058.94    115,812.06     14.54%   -38,739.95




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              PTD     %        PTD Budget   %          Variance   PTD Last Year    %          Variance                                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                         A&G
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         5,535.71      3.56%     5,307.85    2.54%       227.86       5,000.00      2.37%      535.71    Management- A&G                                      26,964.28     3.73%    25,988.57      3.13%       975.71      24,903.20      3.13%     2,061.08
        5,535.71      3.56%     5,307.85    2.54%       227.86       5,000.00      2.37%      535.71     Total A&G Management                                26,964.28     3.73%    25,988.57      3.13%       975.71      24,903.20      3.13%     2,061.08
         1,657.79      1.07%     2,728.00    1.31%    -1,070.21       1,629.70      0.77%       28.09    Security Agents                                      10,351.26     1.43%    13,288.00      1.60%    -2,936.74      11,306.68      1.42%      -955.42
        1,657.79      1.07%     2,728.00    1.31%    -1,070.21       1,629.70      0.77%        28.09    Total A&G Non-Management                            10,351.26     1.43%    13,288.00      1.60%    -2,936.74      11,306.68      1.42%      -955.42
        7,193.50      4.62%     8,035.85    3.85%      -842.35       6,629.70      3.14%      563.80     Total A&G Salaries and Wages                        37,315.54     5.17%    39,276.57      4.74%    -1,961.03      36,209.88      4.54%     1,105.66
                                                                                                         PR Taxes and Benefits
           542.52      0.35%       631.01    0.30%       -88.49         556.54      0.26%       -14.02   FICA                                                  2,930.25     0.41%     3,456.14      0.42%      -525.89       2,596.45      0.33%       333.80
            16.77      0.01%         7.42    0.00%         9.35          25.72      0.01%        -8.95   Federal Unemployment Tax                                168.34     0.02%       119.40      0.01%        48.94         159.63      0.02%         8.71
            70.92      0.05%        16.50    0.01%        54.42          72.76      0.03%        -1.84   State Unemployment Tax                                  386.40     0.05%       395.38      0.05%        -8.98         339.41      0.04%        46.99
          630.21      0.41%       654.93    0.31%       -24.72         655.02      0.31%       -24.81    Total Payroll Taxes                                  3,484.99     0.48%     3,970.92      0.48%      -485.93       3,095.49      0.39%       389.50
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Holiday                                                  85.12     0.01%         0.00      0.00%        85.12         381.76      0.05%      -296.64
            85.12      0.05%       212.70    0.10%     -127.58          425.60      0.20%     -340.48    Vacation                                                245.12     0.03%       901.85      0.11%      -656.73       1,176.32      0.15%      -931.20
             0.00      0.00%         0.00    0.00%         0.00         335.12      0.16%     -335.12    Sick Pay                                                  0.00     0.00%         0.00      0.00%         0.00         335.12      0.04%      -335.12
            85.12     0.05%       212.70    0.10%     -127.58          760.72      0.36%     -675.60     Total Supplemental Pay                                 330.24     0.05%       901.85      0.11%      -571.61       1,893.20      0.24%    -1,562.96
           358.62      0.23%       210.07    0.10%      148.55            0.00      0.00%      358.62    Worker's Compensation                                 2,095.93     0.29%     1,159.38      0.14%       936.55           0.00      0.00%     2,095.93
         1,199.76      0.77%       480.00    0.23%      719.76          504.96      0.24%      694.80    Group Insurance                                       8,430.31     1.17%     2,400.00      0.29%     6,030.31         169.56      0.02%     8,260.75
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Bonus and Incentive Pay                               2,231.25     0.31%     5,000.00      0.60%    -2,768.75           0.00      0.00%     2,231.25
        1,558.38      1.00%       690.07    0.33%      868.31          504.96      0.24%    1,053.42     Total Other Benefits                                12,757.49     1.77%     8,559.38      1.03%     4,198.11         169.56      0.02%    12,587.93
        2,273.71      1.46%     1,557.70    0.75%      716.01        1,920.70      0.91%      353.01     Total A&G PR Taxes and Benefits                     16,572.72     2.29%    13,432.15      1.62%     3,140.57       5,158.25      0.65%    11,414.47
        9,467.21      6.08%     9,593.55    4.60%     -126.34        8,550.40      4.05%      916.81     Total A&G Payroll                                   53,888.26     7.46%    52,708.72      6.36%     1,179.54      41,368.13      5.19%    12,520.13
                                                                                                         Other Expenses
             0.00      0.00%         0.00    0.00%        0.00        1,000.00      0.47%    -1,000.00   Accounting/Audit Fees                                     0.00     0.00%         0.00     0.00%          0.00       5,000.00      0.63%    -5,000.00
           432.77      0.28%         0.00    0.00%      432.77            0.00      0.00%       432.77   Bad Debt Provision                                   11,119.03     1.54%         0.00     0.00%     11,119.03         510.75      0.06%    10,608.28
         1,173.90      0.75%       600.00    0.29%      573.90          696.51      0.33%       477.39   Bank Charges                                          4,957.26     0.69%     3,000.00     0.36%      1,957.26       3,522.36      0.44%     1,434.90
           -19.00     -0.01%         0.00    0.00%      -19.00        2,381.44      1.13%    -2,400.44   Cash Over/Short                                       4,989.00     0.69%         0.00     0.00%      4,989.00      10,069.99      1.26%    -5,080.99
         1,000.00      0.64%     1,000.00    0.48%        0.00            0.00      0.00%     1,000.00   Central Office - Accounting Fees                      5,000.00     0.69%     5,000.00     0.60%          0.00         417.69      0.05%     4,582.31
             0.00      0.00%         0.00    0.00%        0.00          260.00      0.12%      -260.00   Central Office - IT Fees                                  0.00     0.00%         0.00     0.00%          0.00       1,530.00      0.19%    -1,530.00
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00   Communication Expense                                     0.00     0.00%         0.00     0.00%          0.00         110.89      0.01%      -110.89
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00   Contract Labor                                            0.00     0.00%         0.00     0.00%          0.00       2,875.00      0.36%    -2,875.00
         4,370.58      2.81%     4,590.05    2.20%     -219.47        5,284.93      2.50%      -914.35   Credit Card Commission                               17,126.10     2.37%    18,241.05     2.20%     -1,114.95       9,918.52      1.24%     7,207.58
             0.00      0.00%         0.00    0.00%        0.00        1,008.00      0.48%    -1,008.00   Data Processing                                         752.00     0.10%         0.00     0.00%        752.00       4,712.00      0.59%    -3,960.00
            43.87      0.03%         0.00    0.00%       43.87           19.95      0.01%        23.92   Dues and Subscriptions                                  387.74     0.05%     2,000.00     0.24%     -1,612.26       1,719.95      0.22%    -1,332.21
           212.10      0.14%       150.00    0.07%       62.10           48.11      0.02%       163.99   Employee Relations                                    1,768.08     0.24%     1,545.00     0.19%        223.08         341.56      0.04%     1,426.52
           402.00      0.26%         0.00    0.00%      402.00            0.00      0.00%       402.00   Licenses/Permits                                        445.87     0.06%         0.00     0.00%        445.87           0.00      0.00%       445.87
           144.33      0.09%         0.00    0.00%      144.33            0.00      0.00%       144.33   Meals and Entertainment                                 188.48     0.03%         0.00     0.00%        188.48           0.00      0.00%       188.48
           -24.11     -0.02%         0.00    0.00%      -24.11           65.52      0.03%       -89.63   Miscellaneous Expense                                   285.61     0.04%         0.00     0.00%        285.61       1,781.82      0.22%    -1,496.21
             0.00      0.00%         0.00    0.00%        0.00          504.93      0.24%      -504.93   Office Equipment                                          0.00     0.00%         0.00     0.00%          0.00       1,450.32      0.18%    -1,450.32
             0.00      0.00%         0.00    0.00%        0.00          139.08      0.07%      -139.08   Office Supplies                                           0.00     0.00%         0.00     0.00%          0.00       1,118.80      0.14%    -1,118.80
           372.51      0.24%         0.00    0.00%      372.51            0.00      0.00%       372.51   Operating Supplies                                    2,218.31     0.31%         0.00     0.00%      2,218.31         247.16      0.03%     1,971.15
             0.00      0.00%       646.29    0.31%     -646.29          146.33      0.07%      -146.33   Payroll Service Fees                                  1,065.93     0.15%     3,217.73     0.39%     -2,151.80         770.03      0.10%       295.90
           -18.93     -0.01%         0.00    0.00%      -18.93           31.90      0.02%       -50.83   Postage                                                 263.30     0.04%         0.00     0.00%        263.30          66.55      0.01%       196.75
           191.00      0.12%       150.00    0.07%       41.00          664.00      0.31%      -473.00   Professional Fees - Legal                             1,925.27     0.27%       750.00     0.09%      1,175.27       1,164.64      0.15%       760.63
             0.00      0.00%         0.00    0.00%        0.00           90.00      0.04%       -90.00   Professional Fees - Other                             4,088.00     0.57%       650.00     0.08%      3,438.00         680.47      0.09%     3,407.53
           338.95      0.22%       150.00    0.07%      188.95          150.00      0.07%       188.95   Recruitment Advertising                               1,146.85     0.16%       750.00     0.09%        396.85         680.00      0.09%       466.85
             0.00      0.00%         0.00    0.00%        0.00           61.90      0.03%       -61.90   Recruitment - Other                                       0.00     0.00%         0.00     0.00%          0.00         884.00      0.11%      -884.00
             0.00      0.00%       300.00    0.14%     -300.00            0.00      0.00%         0.00   Security - Outside                                        0.00     0.00%     1,500.00     0.18%     -1,500.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00        1,962.69      0.93%    -1,962.69   Software Expense/Maintenance                              0.00     0.00%         0.00     0.00%          0.00       6,610.71      0.83%    -6,610.71
             0.00      0.00%         0.00    0.00%        0.00           93.30      0.04%       -93.30   Training                                              2,695.00     0.37%     3,690.00     0.45%       -995.00       1,838.30      0.23%       856.70
         1,040.22      0.67%         0.00    0.00%    1,040.22            0.00      0.00%     1,040.22   Travel                                                1,118.72     0.15%         0.00     0.00%      1,118.72       1,167.79      0.15%       -49.07
        9,660.19      6.21%     7,586.34    3.64%    2,073.85       14,608.59      6.92%    -4,948.40    Total A&G Other Expenses                            61,540.55     8.52%    40,343.78     4.87%     21,196.77      59,189.30      7.43%     2,351.25
       19,127.40     12.29%    17,179.89    8.23%    1,947.51       23,158.99     10.97%    -4,031.59    Total A&G Expenses                                 115,428.81    15.98%    93,052.50    11.22%     22,376.31     100,557.43     12.62%    14,871.38




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                                                                                           Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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                                                                                                                   As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year    %         Variance                                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Management                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Non-Management                                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Salaries and Wages                              0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Payroll Taxes                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Supplemental Pay                                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Other Benefits                                     0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT PR Taxes and Benefits                           0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Payroll                                         0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                       Cost of Services
            60.00      0.04%       130.00    0.06%      -70.00           0.00      0.00%       60.00   Cost of Cell Phones                                     177.59    0.02%       650.00      0.08%      -472.41           0.00     0.00%       177.59
         2,523.91      1.62%     1,000.00    0.48%    1,523.91           0.00      0.00%    2,523.91   Cost of Internet Services                            25,218.26    3.49%     5,000.00      0.60%    20,218.26           0.00     0.00%    25,218.26
           636.68      0.41%       350.00    0.17%      286.68           0.00      0.00%      636.68   Cost of Calls                                         5,887.94    0.82%     1,750.00      0.21%     4,137.94           0.00     0.00%     5,887.94
        3,220.59      2.07%     1,480.00    0.71%    1,740.59            0.00     0.00%    3,220.59    Total IT Cost of Services                           31,283.79    4.33%     7,400.00      0.89%    23,883.79            0.00    0.00%    31,283.79

                                                                                                       System Costs
         2,002.69      1.29%     2,040.70    0.98%      -38.01           0.00      0.00%    2,002.69   Administrative & General                              3,883.45    0.54%     4,123.50      0.50%      -240.05           0.00     0.00%     3,883.45
             0.00      0.00%        50.00    0.02%      -50.00           0.00      0.00%        0.00   Human Resources                                           0.00    0.00%       250.00      0.03%      -250.00           0.00     0.00%         0.00
           360.00      0.23%       280.00    0.13%       80.00           0.00      0.00%      360.00   Information Systems                                   1,700.00    0.24%     1,400.00      0.17%       300.00           0.00     0.00%     1,700.00
           176.00      0.11%       176.00    0.08%        0.00           0.00      0.00%      176.00   Property Ops & Maintenance                              880.00    0.12%       880.00      0.11%         0.00           0.00     0.00%       880.00
         2,094.56      1.35%        64.00    0.03%    2,030.56           0.00      0.00%    2,094.56   Rooms                                                 6,499.58    0.90%       320.00      0.04%     6,179.58           0.00     0.00%     6,499.58
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Sales & Marketing                                         0.00    0.00%     8,000.00      0.96%    -8,000.00           0.00     0.00%         0.00
             0.00      0.00%        64.00    0.03%      -64.00           0.00      0.00%        0.00   Telecommunications                                    1,190.53    0.16%       320.00      0.04%       870.53           0.00     0.00%     1,190.53
        4,633.25      2.98%     2,674.70    1.28%    1,958.55            0.00     0.00%    4,633.25    Total IT Systems                                    14,153.56    1.96%    15,293.50      1.84%    -1,139.94            0.00    0.00%    14,153.56

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Other Expenses                                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        7,853.84      5.05%     4,154.70    1.99%    3,699.14            0.00     0.00%    7,853.84    Total IT Expenses                                   45,437.35    6.29%    22,693.50      2.74%    22,743.85            0.00    0.00%    45,437.35




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              PTD     %        PTD Budget   %          Variance   PTD Last Year    %         Variance                                                              YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                         S&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         3,406.46      2.19%     3,265.30    1.57%      141.16        3,076.92      1.46%      329.54    Sales Managers                                       16,592.96    2.30%    15,988.43      1.93%      604.53       15,999.48     2.01%       593.48
        3,406.46      2.19%     3,265.30    1.57%      141.16        3,076.92      1.46%      329.54     Total S&M Management                                16,592.96    2.30%    15,988.43      1.93%      604.53       15,999.48     2.01%       593.48
             0.00      0.00%         0.00    0.00%        0.00          769.24      0.36%     -769.24    Administrative Assistant                                  0.00    0.00%         0.00      0.00%        0.00          769.24     0.10%      -769.24
             0.00     0.00%          0.00   0.00%         0.00         769.24      0.36%     -769.24     Total S&M Non-Management                                  0.00   0.00%          0.00     0.00%         0.00         769.24     0.10%      -769.24

        3,406.46      2.19%     3,265.30    1.57%      141.16        3,846.16      1.82%     -439.70     Total S&M Salaries and Wages                        16,592.96    2.30%    15,988.43      1.93%      604.53       16,768.72     2.10%      -175.76

                                                                                                         PR Taxes and Benefits
           256.89      0.17%       298.14    0.14%       -41.25         248.21      0.12%         8.68   FICA                                                    547.08    0.08%     1,342.42      0.16%     -795.34        1,153.06     0.14%      -605.98
            -0.12      0.00%         3.51    0.00%        -3.63          11.47      0.01%       -11.59   Federal Unemployment Tax                                 17.96    0.00%        47.88      0.01%      -29.92           71.51     0.01%       -53.55
            11.59      0.01%         7.79    0.00%         3.80          32.45      0.02%       -20.86   State Unemployment Tax                                  805.71    0.11%       148.24      0.02%      657.47          150.74     0.02%       654.97
          268.36      0.17%       309.44    0.15%       -41.08         292.13      0.14%       -23.77    Total Payroll Taxes                                  1,370.75    0.19%     1,538.54      0.19%     -167.79        1,375.31     0.17%         -4.56
             0.00      0.00%         0.00    0.00%         0.00         153.85      0.07%     -153.85    Holiday                                                   0.00    0.00%         0.00      0.00%        0.00          461.53     0.06%      -461.53
             0.00      0.00%       131.96    0.06%     -131.96            0.00      0.00%         0.00   Vacation                                                 98.63    0.01%       559.51      0.07%     -460.88            0.00     0.00%        98.63
             0.00     0.00%       131.96    0.06%     -131.96          153.85      0.07%     -153.85     Total Supplemental Pay                                   98.63   0.01%       559.51      0.07%     -460.88          461.53     0.06%      -362.90
           169.13      0.11%        99.25    0.05%        69.88           0.00      0.00%      169.13    Worker's Compensation                                   801.08    0.11%       462.87      0.06%      338.21            0.00     0.00%       801.08
            30.07      0.02%         0.00    0.00%        30.07           0.00      0.00%        30.07   Group Insurance                                          78.22    0.01%         0.00      0.00%       78.22            0.00     0.00%        78.22
         1,000.00      0.64%       500.00    0.24%      500.00            0.00      0.00%    1,000.00    Bonus and Incentive Pay                               1,669.18    0.23%     1,000.00      0.12%      669.18            0.00     0.00%     1,669.18
        1,199.20      0.77%       599.25    0.29%      599.95             0.00     0.00%    1,199.20     Total Other Benefits                                 2,548.48    0.35%     1,462.87      0.18%    1,085.61             0.00    0.00%     2,548.48
        1,467.56      0.94%     1,040.65    0.50%      426.91          445.98      0.21%    1,021.58     Total S&M PR Taxes and Benefits                      4,017.86    0.56%     3,560.92      0.43%      456.94        1,836.84     0.23%     2,181.02

        4,874.02      3.13%     4,305.95    2.06%      568.07        4,292.14      2.03%      581.88     Total S&M Payroll                                   20,610.82    2.85%    19,549.35      2.36%    1,061.47       18,605.56     2.34%     2,005.26

                                                                                                         Other Expenses
           815.00      0.52%       815.00    0.39%         0.00           0.00      0.00%      815.00    Advertising-Web/Internet                              3,355.00    0.46%     2,980.00      0.36%       375.00           0.00     0.00%     3,355.00
             0.00      0.00%         0.00    0.00%         0.00          48.40      0.02%      -48.40    Communication Expense                                     0.00    0.00%         0.00      0.00%         0.00          48.40     0.01%       -48.40
         2,004.08      1.29%     3,215.00    1.54%    -1,210.92       2,283.00      1.08%     -278.92    Dues and Subscriptions                               14,843.83    2.06%    16,075.00      1.94%    -1,231.17      14,915.00     1.87%       -71.17
             0.00      0.00%         0.00    0.00%         0.00         880.00      0.42%     -880.00    GDS Marketing Advert & Sales                              0.00    0.00%         0.00      0.00%         0.00       1,665.00     0.21%    -1,665.00
             0.00      0.00%        20.00    0.01%       -20.00           0.00      0.00%        0.00    Meals and Entertainment                                   0.00    0.00%       100.00      0.01%      -100.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00          20.31      0.01%      -20.31    Office Supplies                                           0.00    0.00%         0.00      0.00%         0.00         394.25     0.05%      -394.25
            93.08      0.06%        75.00    0.04%        18.08           0.00      0.00%       93.08    Operating Supplies                                       93.08    0.01%       375.00      0.05%      -281.92           0.00     0.00%        93.08
             0.00      0.00%         6.25    0.00%        -6.25           0.00      0.00%        0.00    Postage                                                   0.00    0.00%        31.25      0.00%       -31.25          59.95     0.01%       -59.95
             0.00      0.00%        20.00    0.01%       -20.00           0.00      0.00%        0.00    Printing and Stationery                                  38.39    0.01%       100.00      0.01%       -61.61          45.39     0.01%        -7.00
             0.00      0.00%        10.00    0.00%       -10.00           0.00      0.00%        0.00    Promotions - In-house                                     0.00    0.00%        50.00      0.01%       -50.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%        0.00    Software Expense/Maintenance                              0.00    0.00%         0.00      0.00%         0.00      10,186.64     1.28%   -10,186.64
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%        0.00    Training                                                  0.00    0.00%         0.00      0.00%         0.00         750.00     0.09%      -750.00
             0.00      0.00%         0.00    0.00%         0.00          77.85      0.04%      -77.85    Travel                                                   93.08    0.01%         0.00      0.00%        93.08          77.85     0.01%        15.23
        2,912.16      1.87%     4,161.25    1.99%    -1,249.09       3,309.56      1.57%     -397.40     Total S&M Other Expenses                            18,423.38    2.55%    19,711.25      2.38%    -1,287.87      28,142.48     3.53%    -9,719.10

        7,786.18      5.00%     8,467.20    4.06%     -681.02        7,601.70      3.60%      184.48     Total S&M Expenses                                  39,034.20    5.40%    39,260.60      4.74%     -226.40       46,748.04     5.87%    -7,713.84




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              PTD     %        PTD Budget   %          Variance    PTD Last Year    %          Variance                                                             YTD     %       YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          R&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         4,003.43      2.57%     4,084.30    1.96%        -80.87           0.00      0.00%     4,003.43   Division Management                                  19,498.83    2.70%    19,996.89      2.41%      -498.06           0.00     0.00%    19,498.83
        4,003.43      2.57%     4,084.30    1.96%        -80.87            0.00     0.00%     4,003.43    Total R&M Management                                19,498.83    2.70%    19,996.89      2.41%      -498.06            0.00    0.00%    19,498.83
             0.00      0.00%         0.00    0.00%          0.00       2,391.43      1.13%    -2,391.43   Engineering Supervisor                                    0.00    0.00%         0.00      0.00%         0.00       8,351.79     1.05%    -8,351.79
         8,387.81      5.39%     4,782.86    2.29%     3,604.95        2,503.45      1.19%     5,884.36   Engineers 1                                          32,815.19    4.54%    23,297.15      2.81%     9,518.04      10,001.84     1.26%    22,813.35
        8,387.81      5.39%     4,782.86    2.29%     3,604.95        4,894.88      2.32%     3,492.93    Total R&M Non-Management                            32,815.19    4.54%    23,297.15      2.81%     9,518.04      18,353.63     2.30%    14,461.56

       12,391.24      7.96%     8,867.16    4.25%     3,524.08        4,894.88      2.32%     7,496.36    Total R&M Salaries and Wages                        52,314.02    7.24%    43,294.04      5.22%     9,019.98      18,353.63     2.30%    33,960.39

                                                                                                          PR Taxes and Benefits
           932.99      0.60%       678.34    0.33%       254.65          359.27      0.17%       573.72   FICA                                                  4,085.98    0.57%     3,312.01      0.40%       773.97       1,259.05     0.16%     2,826.93
            29.57      0.02%         7.98    0.00%        21.59           16.64      0.01%        12.93   Federal Unemployment Tax                                224.81    0.03%       119.09      0.01%       105.72          74.37     0.01%       150.44
           121.95      0.08%        17.73    0.01%       104.22           46.97      0.02%        74.98   State Unemployment Tax                                  538.28    0.07%       372.32      0.04%       165.96         164.59     0.02%       373.69
        1,084.51      0.70%       704.05    0.34%       380.46          422.88      0.20%       661.63    Total Payroll Taxes                                  4,849.07    0.67%     3,803.42      0.46%     1,045.65       1,498.01     0.19%     3,351.06
             0.00      0.00%         0.00    0.00%         0.00          300.00      0.14%      -300.00   Holiday                                                 877.60    0.12%         0.00      0.00%       877.60         396.00     0.05%       481.60
             0.00     0.00%          0.00   0.00%          0.00         300.00      0.14%      -300.00    Total Supplemental Pay                                 877.60    0.12%          0.00     0.00%       877.60         396.00     0.05%       481.60
           583.05      0.37%       225.83    0.11%       357.22            0.00      0.00%       583.05   Worker's Compensation                                 2,616.32    0.36%     1,137.90      0.14%     1,478.42           0.00     0.00%     2,616.32
         3,447.88      2.22%       480.00    0.23%     2,967.88          504.96      0.24%     2,942.92   Group Insurance                                       6,300.98    0.87%     2,400.00      0.29%     3,900.98         169.56     0.02%     6,131.42
        4,030.93      2.59%       705.83    0.34%     3,325.10          504.96      0.24%     3,525.97    Total Other Benefits                                 8,917.30    1.23%     3,537.90      0.43%     5,379.40         169.56     0.02%     8,747.74
        5,115.44      3.29%     1,409.88    0.68%     3,705.56        1,227.84      0.58%     3,887.60    Total R&M PR Taxes and Benefits                     14,643.97    2.03%     7,341.32      0.89%     7,302.65       2,063.57     0.26%    12,580.40

       17,506.68     11.25%    10,277.04    4.93%     7,229.64        6,122.72      2.90%    11,383.96    Total R&M Payroll                                   66,957.99    9.27%    50,635.36      6.11%    16,322.63      20,417.20     2.56%    46,540.79

                                                                                                          Other Expenses
            97.93      0.06%       500.00    0.24%      -402.07          202.23      0.10%      -104.30   Air Conditioning and Refrigeration                    2,062.78    0.29%       500.00      0.06%     1,562.78         220.41     0.03%     1,842.37
           446.29      0.29%       700.00    0.34%      -253.71          285.51      0.14%       160.78   Building                                             12,126.14    1.68%     3,500.00      0.42%     8,626.14         585.86     0.07%    11,540.28
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Communication Expense                                     0.00    0.00%         0.00      0.00%         0.00         135.00     0.02%      -135.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Contract Labor                                            0.00    0.00%     3,000.00      0.36%    -3,000.00           0.00     0.00%         0.00
             0.00      0.00%        35.00    0.02%       -35.00            0.00      0.00%         0.00   Curtains and Drapes                                       0.00    0.00%       175.00      0.02%      -175.00           0.00     0.00%         0.00
           179.76      0.12%       120.00    0.06%        59.76            0.00      0.00%       179.76   Electric Bulbs                                        1,752.60    0.24%       600.00      0.07%     1,152.60       1,460.49     0.18%       292.11
             0.00      0.00%       500.00    0.24%      -500.00        1,005.90      0.48%    -1,005.90   Electrical and Mechanical                             5,260.75    0.73%     2,500.00      0.30%     2,760.75       4,878.00     0.61%       382.75
           743.21      0.48%       450.00    0.22%       293.21          413.43      0.20%       329.78   Elevator Maintenance Contracts                        6,925.92    0.96%     2,250.00      0.27%     4,675.92      10,001.83     1.26%    -3,075.91
         3,198.32      2.06%         0.00    0.00%     3,198.32            0.00      0.00%     3,198.32   Fire Safety Equipment                                 5,507.51    0.76%     1,500.00      0.18%     4,007.51       1,568.09     0.20%     3,939.42
             0.00      0.00%       100.00    0.05%      -100.00            0.00      0.00%         0.00   Floor and Carpet Maintenance                            699.41    0.10%       500.00      0.06%       199.41           0.00     0.00%       699.41
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Furniture                                               428.21    0.06%         0.00      0.00%       428.21           0.00     0.00%       428.21
           200.00      0.13%       550.00    0.26%      -350.00          528.00      0.25%      -328.00   Grounds and Landscaping                                 858.89    0.12%     2,800.00      0.34%    -1,941.11       3,168.00     0.40%    -2,309.11
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Kitchen Equipment Repairs                               164.26    0.02%         0.00      0.00%       164.26           0.00     0.00%       164.26
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Laundry Equipment Repairs                               184.31    0.03%         0.00      0.00%       184.31         768.81     0.10%      -584.50
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Licenses/Permits                                        635.00    0.09%         0.00      0.00%       635.00           0.00     0.00%       635.00
             0.00      0.00%         0.00    0.00%         0.00          925.04      0.44%      -925.04   Locks and Keys                                            0.00    0.00%         0.00      0.00%         0.00       1,888.64     0.24%    -1,888.64
            85.45      0.05%         0.00    0.00%        85.45            0.00      0.00%        85.45   Operating Supplies                                      389.70    0.05%         0.00      0.00%       389.70         199.31     0.03%       190.39
         2,637.79      1.70%       150.00    0.07%     2,487.79           10.18      0.00%     2,627.61   Painting and Decorating                               3,059.32    0.42%       750.00      0.09%     2,309.32          88.18     0.01%     2,971.14
         2,404.76      1.55%       250.00    0.12%     2,154.76          675.00      0.32%     1,729.76   Pest Control                                          4,597.57    0.64%     1,250.00      0.15%     3,347.57       3,755.11     0.47%       842.46
             0.00      0.00%       150.00    0.07%      -150.00          742.59      0.35%      -742.59   Plumbing and Heating                                  3,751.54    0.52%       750.00      0.09%     3,001.54       1,499.99     0.19%     2,251.55
             0.00      0.00%       676.00    0.32%      -676.00            0.00      0.00%         0.00   Pool Service- Contract                                    0.00    0.00%     2,252.00      0.27%    -2,252.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Radio and Television Repair                              51.64    0.01%         0.00      0.00%        51.64           0.00     0.00%        51.64
            20.24      0.01%         0.00    0.00%        20.24            0.00      0.00%        20.24   Tools                                                    20.24    0.00%         0.00      0.00%        20.24          60.59     0.01%       -40.35
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Training                                                  0.00    0.00%         0.00      0.00%         0.00         300.00     0.04%      -300.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%         0.00   Travel                                                   50.00    0.01%       500.00      0.06%      -450.00           0.00     0.00%        50.00
           391.55      0.25%       400.00    0.19%        -8.45          391.55      0.19%         0.00   Waste Removal                                         1,957.75    0.27%     2,000.00      0.24%       -42.25       1,946.95     0.24%        10.80
       10,405.30      6.69%     4,581.00    2.20%     5,824.30        5,179.43      2.45%     5,225.87    Total R&M Other Expenses                            50,483.54    6.99%    24,827.00      2.99%    25,656.54      32,525.26     4.08%    17,958.28

       27,911.98     17.94%    14,858.04    7.12%    13,053.94       11,302.15      5.35%    16,609.83    Total R&M Expenses                                 117,441.53    16.26%   75,462.36      9.10%    41,979.17      52,942.46     6.65%    64,499.07




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                                                                                          Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                            P&L - Dual Summary Pages
                                                                                                                  As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year    %         Variance                                                             YTD    %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                      Utilities
         4,082.00      2.62%     4,896.50    2.35%    -814.50       1,359.38      0.64%    2,722.62   Water                                                19,175.41    2.65%    20,448.75      2.47%   -1,273.34      14,784.35     1.86%    4,391.06
         7,058.61      4.54%     6,995.00    3.35%      63.61       3,251.84      1.54%    3,806.77   Electricity                                          31,807.43    4.40%    29,212.50      3.52%    2,594.93      31,993.35     4.02%     -185.92
             0.00      0.00%         0.00    0.00%       0.00           0.00      0.00%        0.00   Fuel Oil                                                  0.00    0.00%       900.00      0.11%     -900.00           0.00     0.00%        0.00
         1,061.32      0.68%     1,119.20    0.54%     -57.88         706.16      0.33%      355.16   Gas - Natural HLP                                     6,722.59    0.93%     4,674.00      0.56%    2,048.59       4,305.58     0.54%    2,417.01
             0.00      0.00%         0.00    0.00%       0.00       1,206.96      0.57%   -1,206.96   Sewer                                                     0.00    0.00%         0.00      0.00%        0.00       6,961.85     0.87%   -6,961.85
       12,201.93      7.84%    13,010.70    6.24%    -808.77       6,524.34      3.09%    5,677.59    Total Utilities                                     57,705.43    7.99%    55,235.25      6.66%    2,470.18      58,045.13     7.29%     -339.70




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                                                                                                 Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %           Variance    PTD Last Year    %           Variance                                                              YTD     %        YTD Budget %               Variance    YTD Last Year   %           Variance

                                                                                                             Fixed
           692.53      0.45%       638.52    0.31%          54.01           0.00      0.00%         692.53   Personal Property Taxes                               3,462.65     0.48%     3,192.60      0.39%         270.05           0.00     0.00%       3,462.65
         8,133.45      5.23%     8,000.00    3.83%         133.45       7,935.05      3.76%         198.40   Real Estate Taxes                                    23,233.61     3.22%    40,000.00      4.82%    -16,766.39       39,675.24     4.98%    -16,441.63
        8,825.98      5.67%     8,638.52    4.14%         187.46       7,935.05      3.76%         890.93    Total Taxes                                         26,696.26     3.70%    43,192.60      5.21%    -16,496.34       39,675.24     4.98%    -12,978.98
           208.33      0.13%         0.00    0.00%         208.33           0.00      0.00%         208.33   Insurance                                             1,041.65     0.14%         0.00      0.00%       1,041.65           0.00     0.00%       1,041.65
             0.00      0.00%         0.00    0.00%           0.00          78.43      0.04%         -78.43   Insurance - Crime                                         0.00     0.00%         0.00      0.00%           0.00         392.14     0.05%        -392.14
           705.67      0.45%       125.00    0.06%         580.67           0.00      0.00%         705.67   Insurance - Employment                                3,528.35     0.49%       625.00      0.08%       2,903.35           0.00     0.00%       3,528.35
         3,303.67      2.12%     1,848.00    0.89%       1,455.67           0.00      0.00%       3,303.67   Insurance - General Liability                        16,984.85     2.35%     9,240.00      1.11%       7,744.85       1,041.08     0.13%      15,943.77
         1,710.33      1.10%     1,631.17    0.78%          79.16         260.14      0.12%       1,450.19   Insurance - Property                                  8,551.65     1.18%     8,155.85      0.98%         395.80         869.89     0.11%       7,681.76
            93.08      0.06%     3,239.83    1.55%      -3,146.75           0.00      0.00%          93.08   Insurance - Umbrella                                    465.40     0.06%    16,199.15      1.95%    -15,733.75            0.00     0.00%         465.40
        6,021.08      3.87%     6,844.00    3.28%        -822.92         338.57      0.16%       5,682.51    Total Insurance                                     30,571.90     4.23%    34,220.00      4.13%      -3,648.10       2,303.11     0.29%     28,268.79
             0.00     0.00%          0.00   0.00%            0.00           0.00     0.00%            0.00   Total Leases & Rent                                       0.00    0.00%          0.00     0.00%            0.00           0.00    0.00%            0.00
         5,167.73      3.32%     6,259.16    3.00%      -1,091.43       6,836.19      3.24%      -1,668.46   Management Fee - Base                                25,521.28     3.53%    26,162.94      3.16%        -641.66      28,516.41     3.58%      -2,995.13
        5,167.73      3.32%     6,259.16    3.00%      -1,091.43       6,836.19      3.24%      -1,668.46    Total Management Fees                               25,521.28     3.53%    26,162.94      3.16%        -641.66      28,516.41     3.58%      -2,995.13
       136,405.01     87.67%         0.00    0.00%    136,405.01            0.00      0.00%    136,405.01    Capital Reserve                                     178,812.55    24.76%         0.00      0.00%    178,812.55       11,712.24     1.47%    167,100.31
             0.00      0.00%       800.00    0.38%        -800.00           0.00      0.00%           0.00   (Gain)/Loss-Insurance                                     0.00     0.00%     4,000.00      0.48%      -4,000.00           0.00     0.00%           0.00
             0.00      0.00%         0.00    0.00%           0.00           0.00      0.00%           0.00   Non Recurring Cost                                   21,469.13     2.97%         0.00      0.00%      21,469.13       8,160.00     1.02%      13,309.13
      136,405.01     87.67%       800.00    0.38%    135,605.01             0.00     0.00%    136,405.01     Total Other Non-Operating                          200,281.68    27.73%     4,000.00      0.48%    196,281.68       19,872.24     2.49%    180,409.44




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                                                                                                 Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %          Variance                                                                YTD     %          YTD Budget %               Variance   YTD Last Year     %           Variance

                                                                                                             Statistics
           121.00                   121.00                   0.00          121.00                     0.00   # Rooms                                                   121.00                    121.00                     0.00         121.00                      0.00
         3,751.00                 3,751.00                   0.00        3,751.00                     0.00   Available Rooms                                        18,271.00                 18,271.00                     0.00      18,271.00                      0.00
         2,878.00                 2,011.00                 867.00        2,399.00                   479.00   Room Nights Sold                                       11,827.00                  8,807.00                 3,020.00       7,984.00                  3,843.00
          76.73%                   53.61%                 23.11%          63.96%                   12.77%    Occupancy %                                              64.73%                    48.20%                   16.53%         43.70%                    21.03%
           125.10                   147.45                 -22.35           92.70                    32.39   ADR                                                       106.52                    124.04                   -17.52          84.08                     22.44
            95.98                    79.05                  16.93           59.29                    36.69   RevPar                                                     68.95                     59.79                     9.16          36.74                     32.21

                                                                                                             Summary V.11
                                                                                                             Revenue
       360,032.96    91.08%     296,512.00    91.27%    63,520.96      222,397.26     94.91%    137,635.70   Rooms                                                1,259,864.23    90.37%    1,092,460.14    91.11%   167,404.09      671,298.04     95.65%     588,566.19
        27,047.01     6.84%      22,684.75     6.98%     4,362.26        3,561.77      1.52%     23,485.24   F&B                                                     91,432.91     6.56%       81,444.75     6.79%     9,988.16        4,695.80      0.67%      86,737.11
         8,206.14     2.08%       5,673.17     1.75%     2,532.97        8,357.19      3.57%       -151.05   Other Departments                                       42,843.97     3.07%       25,167.85     2.10%    17,676.12       25,831.67      3.68%      17,012.30

      395,286.11    100.00%    324,869.92    100.00%   70,416.19      234,316.22     100.00%   160,969.89    Total Operating Revenue                             1,394,141.11    100.00%   1,199,072.74 100.00%      195,068.37     701,825.51 100.00%        692,315.60

                                                                                                             Departmental Expenses
        74,128.56    20.59%      61,161.50    20.63%    12,967.06       52,208.12     23.48%     21,920.44   Rooms                                                 307,643.13     24.42%     259,251.76     23.73%    48,391.37      196,315.96     29.24%     111,327.17
        30,998.80   114.61%      19,729.01    86.97%    11,269.79       10,729.97    301.25%     20,268.83   F&B                                                   113,097.60    123.69%      84,877.22    104.21%    28,220.38       26,534.96    565.08%      86,562.64
         4,590.79    55.94%       2,324.25    40.97%     2,266.54        4,762.71     56.99%       -171.92   Other Departments                                      13,581.92     31.70%       8,534.25     33.91%     5,047.67       22,488.20     87.06%      -8,906.28

      109,718.15     27.76%     83,214.76    25.61%    26,503.39       67,700.80     28.89%     42,017.35    Total Departmental Expenses                          434,322.65     31.15%     352,663.23     29.41%     81,659.42     245,339.12     34.96%     188,983.53

      285,567.96     72.24%    241,655.16    74.39%    43,912.80      166,615.42     71.11%    118,952.54    Total Departmental Profit                            959,818.46     68.85%     846,409.51     70.59%    113,408.95     456,486.39     65.04%     503,332.07

                                                                                                             Undistributed Operating Expenses
        28,880.96     7.31%      29,858.39     9.19%      -977.43       32,844.59     14.02%     -3,963.63   A&G                                                   171,274.25     12.29%     139,700.44     11.65%    31,573.81      105,479.47     15.03%      65,794.78
         6,426.88     1.63%       5,892.95     1.81%       533.93            0.00      0.00%      6,426.88   IT                                                     36,578.59      2.62%      23,384.75      1.95%    13,193.84            0.00      0.00%      36,578.59
         8,110.10     2.05%      12,002.46     3.69%    -3,892.36       12,665.85      5.41%     -4,555.75   S&M                                                    61,107.38      4.38%      61,112.28      5.10%        -4.90       58,798.19      8.38%       2,309.19
        43,356.88    10.97%      31,726.78     9.77%    11,630.10       26,157.19     11.16%     17,199.69   Franchise Fees                                        153,212.99     10.99%     116,893.23      9.75%    36,319.76       90,890.44     12.95%      62,322.55
        20,256.99     5.12%      17,242.78     5.31%     3,014.21       20,615.00      8.80%       -358.01   R&M                                                    97,746.75      7.01%      84,280.45      7.03%    13,466.30       81,748.52     11.65%      15,998.23
        12,407.23     3.14%      11,143.00     3.43%     1,264.23       11,806.02      5.04%        601.21   Utilities                                              62,500.02      4.48%      57,411.00      4.79%     5,089.02       59,105.81      8.42%       3,394.21

      119,439.04     30.22%    107,866.36    33.20%    11,572.68      104,088.65     44.42%     15,350.39    Total Undistributed Expenses                         582,419.98     41.78%     482,782.15     40.26%     99,637.83     396,022.43     56.43%     186,397.55

      166,128.92     42.03%    133,788.80    41.18%    32,340.12       62,526.77     26.68%    103,602.15    Gross Operating Profit                               377,398.48     27.07%     363,627.36     30.33%     13,771.12      60,463.96      8.62%     316,934.52
        12,358.58      3.13%      9,746.10     3.00%     2,612.48        7,529.49      3.21%      4,829.09   Management Fees                                        44,324.23      3.18%      35,972.18      3.00%      8,352.05      28,201.75      4.02%      16,122.48
      153,770.34     38.90%    124,042.70    38.18%    29,727.64       54,997.28     23.47%     98,773.06    Income Before Non-Operating Income and Expenses      333,074.25     23.89%     327,655.18     27.33%      5,419.07      32,262.21      4.60%     300,812.04

                                                                                                             Non-Operating Income and Expenses
         6,087.26      1.54%      7,419.17     2.28%     -1,331.91       3,988.57      1.70%      2,098.69   Insurance                                              32,861.56      2.36%      37,095.85      3.09%     -4,234.29      23,942.85      3.41%       8,918.71
        20,878.12      5.28%     19,094.00     5.88%      1,784.12      18,674.00      7.97%      2,204.12   Leases & Rent                                          98,294.90      7.05%      93,790.00      7.82%      4,504.90      95,693.74     13.63%       2,601.16
             0.00      0.00%     10,700.00     3.29%    -10,700.00           0.00      0.00%          0.00   Other                                                  27,083.72      1.94%      21,930.00      1.83%      5,153.72       7,580.37      1.08%      19,503.35
       26,965.38      6.82%     37,213.17    11.45%    -10,247.79      22,662.57      9.67%      4,302.81    Total Non-Operating Income and Expenses              158,240.18     11.35%     152,815.85     12.74%      5,424.33     127,216.96     18.13%      31,023.22

      126,804.96     32.08%     86,829.53    26.73%    39,975.43       32,334.71     13.80%     94,470.25    EBITDA                                               174,834.07     12.54%     174,839.33     14.58%         -5.26     -94,954.75     -13.53%    269,788.82
             0.00      0.00%          0.00     0.00%        0.00             0.00      0.00%         0.00    Interest                                                    0.00      0.00%           0.00      0.00%         0.00            0.00       0.00%          0.00
        15,497.00      3.92%     15,497.00     4.77%        0.00        15,497.00      6.61%         0.00    Taxes                                                  77,485.00      5.56%      77,485.00      6.46%         0.00       73,340.80      10.45%      4,144.20
       15,497.00      3.92%     15,497.00     4.77%         0.00       15,497.00      6.61%          0.00    Interest, Taxes, Depreciation and Amortization        77,485.00      5.56%      77,485.00      6.46%          0.00      73,340.80      10.45%      4,144.20

      111,307.96     28.16%     71,332.53    21.96%    39,975.43       16,837.71      7.19%     94,470.25    Net Income                                            97,349.07      6.98%      97,354.33      8.12%         -5.26    -168,295.55     -23.98%    265,644.62




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                                                                                            Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                                P&L - Dual Summary Pages
                                                                                                                      As of 5/31/2022
             PTD      %       PTD Budget    %         Variance   PTD Last Year    %          Variance                                                               YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                        Statistics
           121.00                 121.00                 0.00          121.00                   0.00    # Rooms                                                   121.00                  121.00                    0.00         121.00                    0.00
         3,751.00               3,751.00                 0.00        3,751.00                   0.00    Available Rooms                                        18,271.00               18,271.00                    0.00      18,271.00                    0.00
         2,878.00               2,011.00               867.00        2,399.00                 479.00    Room Nights Sold                                       11,827.00                8,807.00                3,020.00       7,984.00                3,843.00
             0.77                   0.54                 0.23            0.64                   0.13    Occupancy %                                                 0.65                    0.48                    0.17           0.44                    0.21
           125.10                 147.45               -22.35           92.70                  32.39    ADR                                                       106.52                  124.04                  -17.52          84.08                   22.44
            95.98                  79.05                16.93           59.29                  36.69    RevPar                                                     68.95                   59.79                    9.16          36.74                   32.21

                                                                                                        Summary
                                                                                                        Revenue:
       360,032.96    91.08%   296,512.00   91.27%    63,520.96     222,397.26     94.91%   137,635.70   Rooms                                               1,259,864.23   90.37%    1,092,460.14    91.11%   167,404.09     671,298.04    95.65%    588,566.19
        17,263.26     4.37%    15,724.00    4.84%     1,539.26       2,611.77      1.11%    14,651.49   Food                                                   59,275.41    4.25%       56,866.00     4.74%     2,409.41       2,845.80     0.41%     56,429.61
         7,718.75     1.95%     6,210.75    1.91%     1,508.00           0.00      0.00%     7,718.75   Beverage                                               25,467.50    1.83%       22,478.75     1.87%     2,988.75           0.00     0.00%     25,467.50
         2,065.00     0.52%       750.00    0.23%     1,315.00         950.00      0.41%     1,115.00   Other F&B Revenue                                       6,690.00    0.48%        2,100.00     0.18%     4,590.00       1,850.00     0.26%      4,840.00
             0.00     0.00%         0.00    0.00%         0.00         236.51      0.10%      -236.51   Telephone                                                   0.00    0.00%            0.00     0.00%         0.00         318.39     0.05%       -318.39
         8,206.14     2.08%     5,673.17    1.75%     2,532.97       8,120.68      3.47%        85.46   Other                                                  42,843.97    3.07%       25,167.85     2.10%    17,676.12      25,513.28     3.64%     17,330.69

       395,286.11   100.00%   324,869.92   100.00%   70,416.19     234,316.22    100.00%   160,969.89   Total Revenue                                       1,394,141.11   100.00%   1,199,072.74   100.00%   195,068.37     701,825.51    100.00%   692,315.60



                                                                                                        Cost of Sales:
        10,622.02    61.53%     5,346.16   34.00%     5,275.86       2,071.25     79.30%     8,550.77   Food                                                   38,571.59   65.07%      19,334.44     34.00%    19,237.15       7,309.35    256.85%    31,262.24
         1,637.16    21.21%     1,490.58   24.00%       146.58           0.00      0.00%     1,637.16   Beverage                                                8,050.56   31.61%       5,394.90     24.00%     2,655.66           0.00      0.00%     8,050.56
           271.38    13.14%         0.00    0.00%       271.38           0.00      0.00%       271.38   Other F&B                                                 271.38    4.06%           0.00      0.00%       271.38           0.00      0.00%       271.38
             0.00     0.00%         0.00    0.00%         0.00       1,106.82     13.24%    -1,106.82   Telephone                                                   0.00    0.00%           0.00      0.00%         0.00       8,199.85     31.74%    -8,199.85
         4,590.79    55.94%     2,324.25   40.97%     2,266.54       1,957.89     23.43%     2,632.90   Other                                                  13,581.92   31.70%       8,534.25     33.91%     5,047.67       5,115.85     19.80%     8,466.07

        17,121.35   208.64%     9,160.99   161.48%    7,960.36       5,135.96     61.46%    11,985.39   Total Cost of Sales                                    60,475.45   141.15%     33,263.59    132.17%    27,211.86      20,625.05    79.84%     39,850.40



                                                                                                        Payroll:
        43,856.81    12.18%    39,898.15   13.46%     3,958.66      28,741.08     12.92%    15,115.73   Rooms                                                 181,022.31   14.37%     166,338.84     15.23%    14,683.47     113,921.57     16.97%    67,100.74
        11,315.25    41.84%    10,092.00   44.49%     1,223.25       5,029.60    141.21%     6,285.65   F&B                                                    42,405.68   46.38%      45,501.00     55.87%    -3,095.32       6,533.86    139.14%    35,871.82
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Other                                                       0.00    0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
        11,656.82     2.95%    11,585.94    3.57%        70.88      11,092.60      4.73%       564.22   A&G                                                    55,657.38    3.99%      56,721.43      4.73%    -1,064.05      41,917.19      5.97%    13,740.19
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   IT                                                          0.00    0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
         3,542.43     0.90%     6,572.49    2.02%    -3,030.06       6,463.26      2.76%    -2,920.83   S&M                                                    29,098.31    2.09%      31,885.36      2.66%    -2,787.05      28,408.98      4.05%       689.33
         6,918.57     1.75%     7,417.80    2.28%      -499.23       7,347.32      3.14%      -428.75   R&M                                                    35,423.01    2.54%      36,226.17      3.02%      -803.16      35,862.79      5.11%      -439.78
        77,289.88    19.55%    75,566.38   23.26%     1,723.50      58,673.86     25.04%    18,616.02   Total Salaries and Wages                              343,606.69   24.65%     336,672.80     28.08%     6,933.89     226,644.39     32.29%   116,962.30

        15,753.81     3.99%    14,419.03    4.44%     1,334.78      29,932.48     12.77%   -14,178.67   Total Taxes and Benefits                              109,385.08    7.85%      75,827.74      6.32%    33,557.34      53,708.90     7.65%     55,676.18
        93,043.69    23.54%    89,985.41   27.70%     3,058.28      88,606.34     37.81%     4,437.35   Total Labor Costs                                     452,991.77   32.49%     412,500.54     34.40%    40,491.23     280,353.29    39.95%    172,638.48



                                                                                                        Direct Expenses:
        22,169.83     6.16%    15,706.45    5.30%     6,463.38      13,782.09      6.20%     8,387.74   Rooms                                                  95,021.82    7.54%      65,289.45     5.98%     29,732.37      59,595.97      8.88%    35,425.85
         5,119.47    18.93%     1,255.00    5.53%     3,864.47       2,685.23     75.39%     2,434.24   F&B                                                    14,658.44   16.03%       6,440.00     7.91%      8,218.44      11,591.99    246.86%     3,066.45
             0.00     0.00%         0.00    0.00%         0.00       1,698.00     20.32%    -1,698.00   Telephone                                                   0.00    0.00%           0.00     0.00%          0.00       9,172.50     35.51%    -9,172.50
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Other                                                       0.00    0.00%           0.00     0.00%          0.00           0.00      0.00%         0.00
        43,356.88    10.97%    31,726.78    9.77%    11,630.10      26,157.19     11.16%    17,199.69   Franchise Fees                                        153,212.99   10.99%     116,893.23     9.75%     36,319.76      90,890.44     12.95%    62,322.55
        15,383.44     3.89%    13,693.12    4.21%     1,690.32      12,686.37      5.41%     2,697.07   A&G                                                    73,504.93    5.27%      58,562.72     4.88%     14,942.21      51,220.17      7.30%    22,284.76
         6,426.88     1.63%     5,892.95    1.81%       533.93           0.00      0.00%     6,426.88   IT                                                     36,578.59    2.62%      23,384.75     1.95%     13,193.84           0.00      0.00%    36,578.59
         3,184.88     0.81%     3,600.00    1.11%      -415.12       2,693.24      1.15%       491.64   S&M                                                    16,259.88    1.17%      19,135.00     1.60%     -2,875.12      23,985.59      3.42%    -7,725.71
        10,943.54     2.77%     8,917.42    2.74%     2,026.12       6,539.01      2.79%     4,404.53   R&M                                                    51,538.74    3.70%      42,565.10     3.55%      8,973.64      34,820.74      4.96%    16,718.00
        12,407.23     3.14%    11,143.00    3.43%     1,264.23      11,806.02      5.04%       601.21   Utilities                                              62,500.02    4.48%      57,411.00     4.79%      5,089.02      59,105.81      8.42%     3,394.21

       118,992.15    30.10%    91,934.72   28.30%    27,057.43      78,047.15     33.31%    40,945.00   Total Direct Expense                                  503,275.41   36.10%     389,681.25     32.50%   113,594.16     340,383.21    48.50%    162,892.20

       166,128.92    42.03%   133,788.80   41.18%    32,340.12      62,526.77     26.68%   103,602.15   Gross Operating Profit                                377,398.48   27.07%     363,627.36     30.33%    13,771.12      60,463.96     8.62%    316,934.52

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                                                                                           Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                               P&L - Dual Summary Pages
                                                                                                                     As of 5/31/2022
             PTD      %       PTD Budget   %          Variance   PTD Last Year    %         Variance                                                               YTD    %        YTD Budget %             Variance   YTD Last Year    %          Variance




                                                                                                       Fixed Costs
        15,497.00     3.92%    15,497.00   4.77%          0.00      15,497.00     6.61%         0.00   Taxes                                                  77,485.00   5.56%     77,485.00     6.46%         0.00      73,340.80    10.45%      4,144.20
         6,087.26     1.54%     7,419.17   2.28%     -1,331.91       3,988.57     1.70%     2,098.69   Insurance                                              32,861.56   2.36%     37,095.85     3.09%    -4,234.29      23,942.85     3.41%      8,918.71
        20,878.12     5.28%    19,094.00   5.88%      1,784.12      18,674.00     7.97%     2,204.12   Leases & Rent                                          98,294.90   7.05%     93,790.00     7.82%     4,504.90      95,693.74    13.63%      2,601.16
        12,358.58     3.13%     9,746.10   3.00%      2,612.48       7,529.49     3.21%     4,829.09   Management Fees                                        44,324.23   3.18%     35,972.18     3.00%     8,352.05      28,201.75     4.02%     16,122.48

        54,820.96    13.87%    51,756.27   15.93%    3,064.69       45,689.06     19.50%    9,131.90   Total Fixed Expenses                                  252,965.69   18.14%   244,343.03     20.38%   8,622.66      221,179.14    31.51%     31,786.55

       111,307.96    28.16%    82,032.53   25.25%   29,275.43       16,837.71     7.19%    94,470.25   Net Operating Profit                                  124,432.79   8.93%    119,284.33     9.95%    5,148.46     -160,715.18    -22.90%   285,147.97



             0.00     0.00%         0.00   0.00%         0.00            0.00     0.00%         0.00   Owner's Expense                                             0.00   0.00%          0.00     0.00%        0.00          949.17     0.14%       -949.17



       111,307.96    28.16%    82,032.53   25.25%   29,275.43       16,837.71     7.19%    94,470.25   Net Operating Income                                  124,432.79   8.93%    119,284.33     9.95%    5,148.46     -161,664.35    -23.03%   286,097.14

             0.00     0.00%    10,700.00   3.29%    -10,700.00           0.00     0.00%         0.00   Capital Reserve                                        27,083.72   1.94%     21,930.00     1.83%    5,153.72        6,631.20     0.94%     20,452.52

       111,307.96    28.16%    71,332.53   21.96%   39,975.43       16,837.71     7.19%    94,470.25   Adjusted NOI                                           97,349.07   6.98%     97,354.33     8.12%        -5.26    -168,295.55    -23.98%   265,644.62




       111,307.96    28.16%    71,332.53   21.96%   39,975.43       16,837.71     7.19%    94,470.25   Net Profit/(Loss)                                      97,349.07   6.98%     97,354.33     8.12%        -5.26    -168,295.55    -23.98%   265,644.62




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                                                                                   Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 49 of 776
                                                                                               Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget     %         Variance   PTD Last Year     %          Variance                                                                  YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                           Rooms
                                                                                                           Room Revenue
                                                                                                           Transient Room Revenue
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Corporate Transient                                    12,105.00        0.96%           0.00      0.00%    12,105.00       16,793.84     2.50%    -4,688.84
             0.00     0.00%     16,080.00     5.42%   -16,080.00           0.00      0.00%          0.00   Advanced Purchase                                           0.00        0.00%      55,490.00      5.08%   -55,490.00       13,848.14     2.06%   -13,848.14
        18,401.94     5.11%     32,895.00    11.09%   -14,493.06      17,069.96      7.68%      1,331.98   Qualified Discounts                                    68,209.79        5.41%      48,282.00      4.42%    19,927.79       33,528.71     4.99%    34,681.08
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Consortia Transient                                         0.00        0.00%           0.00      0.00%         0.00          791.90     0.12%      -791.90
           684.00     0.19%      1,764.00     0.59%    -1,080.00         896.00      0.40%       -212.00   Employee                                                4,127.35        0.33%       7,691.00      0.70%    -3,563.65        4,661.10     0.69%      -533.75
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Leisure Transient                                           0.00        0.00%           0.00      0.00%         0.00          470.75     0.07%      -470.75
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Leisure Package Transient                                   0.00        0.00%         556.00      0.05%      -556.00        1,018.00     0.15%    -1,018.00
         6,873.32     1.91%      3,914.00     1.32%     2,959.32       5,002.00      2.25%      1,871.32   Member Reward Stay                                     17,430.79        1.38%      11,833.00      1.08%     5,597.79       12,879.00     1.92%     4,551.79
        42,388.00    11.77%     26,460.00     8.92%    15,928.00      25,176.00     11.32%     17,212.00   Non Qualified Discounts                               193,354.05       15.35%      66,952.20      6.13%   126,401.85       67,153.07    10.00%   126,200.98
        25,070.14     6.96%     28,536.00     9.62%    -3,465.86      37,090.15     16.68%    -12,020.01   Internet/E-Commerce                                   118,049.51        9.37%     105,482.50      9.66%    12,567.01      112,073.34    16.70%     5,976.17
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Other Transient                                             0.00        0.00%           0.00      0.00%         0.00          302.19     0.05%      -302.19
         6,624.00     1.84%      6,175.00     2.08%       449.00       2,898.00      1.30%      3,726.00   Government Transient                                   22,656.00        1.80%      20,100.00      1.84%     2,556.00        7,626.00     1.14%    15,030.00
       127,273.06    35.35%     75,600.00    25.50%    51,673.06      84,875.08     38.16%     42,397.98   Rack Transient                                        476,518.79       37.82%     393,513.80     36.02%    83,004.99      262,415.56    39.09%   214,103.23
        50,052.50    13.90%     47,080.00    15.88%     2,972.50      18,809.72      8.46%     31,242.78   Local Negotiated Transient                            167,161.33       13.27%     231,706.64     21.21%   -64,545.31       73,883.41    11.01%    93,277.92

      277,366.96     77.04%    238,504.00   80.44%    38,862.96     191,816.91     86.25%     85,550.05    Total Transient Room Revenue                        1,079,612.61      85.69%     941,607.14    86.19%     138,005.47     607,445.01     90.49%   472,167.60

                                                                                                           Group Room Revenue
        81,115.00    22.53%     13,328.00     4.49%    67,787.00      25,392.00     11.42%    55,723.00    Corporate Group                                       174,137.00       13.82%      24,140.00     2.21%    149,997.00       53,585.00     7.98%   120,552.00
             0.00     0.00%     40,200.00    13.56%   -40,200.00       5,177.00      2.33%    -5,177.00    SMERF Group                                               248.00        0.02%      94,844.00     8.68%    -94,596.00        9,182.20     1.37%    -8,934.20
             0.00     0.00%      2,580.00     0.87%    -2,580.00           0.00      0.00%         0.00    Sports Group                                                0.00        0.00%      24,040.00     2.20%    -24,040.00            0.00     0.00%         0.00

       81,115.00     22.53%     56,108.00   18.92%    25,007.00      30,569.00     13.75%     50,546.00    Total Group Room Revenue                             174,385.00       13.84%     143,024.00    13.09%      31,361.00      62,767.20     9.35%    111,617.80

                                                                                                           Contract Room Revenue

             0.00     0.00%          0.00    0.00%         0.00            0.00     0.00%          0.00    Total Contract Room Revenue                                   0.00     0.00%           0.00      0.00%          0.00            0.00    0.00%          0.00

                                                                                                           Other Room Revenue
             4.00     0.00%        633.00     0.21%     -629.00          391.00      0.18%      -387.00    No-Show Rooms                                              2,315.26     0.18%       2,292.00     0.21%         23.26        1,867.23     0.28%       448.03
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Early/Late Departure Fees                                      0.00     0.00%         250.00     0.02%       -250.00            0.00     0.00%         0.00
         1,600.00     0.44%      1,267.00     0.43%      333.00            0.00      0.00%     1,600.00    Pet/Smoking/Damage Fees                                    5,306.49     0.42%       4,587.00     0.42%        719.49            0.00     0.00%     5,306.49
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Cot/Rollaway Revenue                                           0.00     0.00%         450.00     0.04%       -450.00            0.00     0.00%         0.00

        1,604.00      0.45%      1,900.00    0.64%      -296.00         391.00      0.18%      1,213.00    Total Other Room Revenue                                7,621.75       0.60%       7,579.00      0.69%         42.75       1,867.23     0.28%      5,754.52

           -53.00     -0.01%         0.00     0.00%       -53.00        -379.65     -0.17%       326.65    Less: Allowances                                       -1,755.13       -0.14%         250.00     0.02%      -2,005.13        -781.40    -0.12%      -973.73

      360,032.96    100.00%    296,512.00   100.00%   63,520.96     222,397.26     100.00%   137,635.70    Total Room Revenue                                  1,259,864.23      100.00%   1,092,460.14 100.00%      167,404.09     671,298.04 100.00%      588,566.19

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00      0.00%         0.00     0.00%         0.00         104.40      0.05%       -104.40   Front Office Management                                     0.00        0.00%           0.00      0.00%          0.00       6,577.44     0.98%    -6,577.44
         3,662.09      1.02%     3,512.15     1.18%       149.94       3,425.83      1.54%        236.26   Housekeeping Management                                17,837.95        1.42%      17,195.84      1.57%        642.11       3,425.83     0.51%    14,412.12
        3,662.09      1.02%     3,512.15     1.18%       149.94       3,530.23      1.59%        131.86    Total Rooms Management                                17,837.95        1.42%      17,195.84      1.57%        642.11      10,003.27     1.49%     7,834.68
         8,648.22      2.40%     6,185.00     2.09%     2,463.22       7,051.96      3.17%      1,596.26   Front Office Agents                                    35,750.47        2.84%      30,126.00      2.76%      5,624.47      37,099.55     5.53%    -1,349.08
            10.80      0.00%         0.00     0.00%        10.80           0.00      0.00%         10.80   Front Office Agents Overtime                               10.80        0.00%           0.00      0.00%         10.80           0.00     0.00%        10.80
         2,147.15      0.60%     3,596.00     1.21%    -1,448.85       3,534.00      1.59%     -1,386.85   Night Auditors                                         15,140.40        1.20%      17,516.00      1.60%     -2,375.60      10,895.61     1.62%     4,244.79
            35.88      0.01%         0.00     0.00%        35.88           0.00      0.00%         35.88   Night Auditors Overtime                                    35.88        0.00%           0.00      0.00%         35.88           0.00     0.00%        35.88
       10,842.05      3.01%     9,781.00     3.30%     1,061.05      10,585.96      4.76%        256.09    Total Rooms Front Office                              50,937.55        4.04%      47,642.00      4.36%      3,295.55      47,995.16     7.15%     2,942.39
         4,249.43      1.18%     2,500.00     0.84%     1,749.43         853.00      0.38%      3,396.43   Housekeeping Supervisors                               13,562.70        1.08%      13,806.00      1.26%       -243.30      11,092.75     1.65%     2,469.95
             0.83      0.00%         0.00     0.00%         0.83           0.00      0.00%          0.83   Housekeeping Supervisors Overtime                           0.83        0.00%           0.00      0.00%          0.83           0.00     0.00%         0.83
        10,026.20      2.78%    14,175.00     4.78%    -4,148.80       9,027.89      4.06%        998.31   Room Attendants                                        51,171.32        4.06%      49,616.00      4.54%      1,555.32      38,193.39     5.69%    12,977.93
         4,780.88      1.33%         0.00     0.00%     4,780.88           0.00      0.00%      4,780.88   Room Attendants Overtime                                4,780.88        0.38%           0.00      0.00%      4,780.88           0.00     0.00%     4,780.88
         5,214.53      1.45%     5,642.00     1.90%      -427.47       2,070.00      0.93%      3,144.53   Housepersons                                           29,304.85        2.33%      23,322.00      2.13%      5,982.85       3,963.00     0.59%    25,341.85
         2,628.02      0.73%         0.00     0.00%     2,628.02           0.00      0.00%      2,628.02   Housepersons Overtime                                   2,628.02        0.21%           0.00      0.00%      2,628.02           0.00     0.00%     2,628.02
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                                                                                               Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget     %         Variance   PTD Last Year    %           Variance                                                               YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance

         2,417.98      0.67%      4,288.00    1.45%    -1,870.02       2,674.00      1.20%       -256.02   Laundry Attendants                                     10,763.41    0.85%     14,757.00     1.35%     -3,993.59       2,674.00     0.40%      8,089.41
            34.80      0.01%          0.00    0.00%        34.80           0.00      0.00%         34.80   Laundry Attendants Overtime                                34.80    0.00%          0.00     0.00%         34.80           0.00     0.00%         34.80
       29,352.67      8.15%     26,605.00    8.97%     2,747.67      14,624.89      6.58%     14,727.78    Total Rooms Housekeeping                             112,246.81    8.91%    101,501.00     9.29%     10,745.81      55,923.14     8.33%     56,323.67

       43,856.81     12.18%     39,898.15    13.46%    3,958.66      28,741.08     12.92%     15,115.73    Total Rooms Salary and Wages                         181,022.31    14.37%   166,338.84    15.23%     14,683.47     113,921.57     16.97%    67,100.74

                                                                                                           PR Taxes and Benefits
         3,349.16      0.93%      3,074.39    1.04%       274.77       2,053.90      0.92%      1,295.26   FICA                                                   12,775.32    1.01%     12,793.27     1.17%        -17.95       8,498.46     1.27%      4,276.86
           116.30      0.03%         36.17    0.01%        80.13          61.44      0.03%         54.86   Federal Unemployment Tax                                  549.26    0.04%        431.08     0.04%        118.18         348.99     0.05%        200.27
         1,088.04      0.30%        275.29    0.09%       812.75         515.73      0.23%        572.31   State Unemployment Tax                                  4,851.33    0.39%      4,649.35     0.43%        201.98       2,748.37     0.41%      2,102.96
        4,553.50      1.26%      3,385.85    1.14%     1,167.65       2,631.07      1.18%      1,922.43    Total Payroll Taxes                                   18,175.91    1.44%     17,873.70     1.64%        302.21      11,595.82     1.73%      6,580.09
             0.00      0.00%        150.00    0.05%      -150.00           0.00      0.00%          0.00   Holiday                                                     0.00    0.00%        300.00     0.03%       -300.00           0.00     0.00%          0.00
           128.00      0.04%        139.91    0.05%       -11.91           0.00      0.00%        128.00   Vacation                                                  128.00    0.01%        593.22     0.05%       -465.22           0.00     0.00%        128.00
          128.00      0.04%        289.91    0.10%      -161.91            0.00     0.00%        128.00    Total Supplemental Pay                                   128.00    0.01%        893.22     0.08%       -765.22            0.00    0.00%        128.00
         1,583.45      0.44%      1,531.14    0.52%        52.31       1,123.58      0.51%        459.87   Worker's Compensation                                   7,328.07    0.58%      7,106.55     0.65%        221.52       5,535.66     0.82%      1,792.41
             0.00      0.00%          0.00    0.00%         0.00           0.00      0.00%          0.00   Payroll Tax/Benefit Allocation                              0.00    0.00%          0.00     0.00%          0.00        -178.75    -0.03%        178.75
         1,836.97      0.51%        350.00    0.12%     1,486.97       5,930.30      2.67%     -4,093.33   Group Insurance                                         5,957.02    0.47%      1,750.00     0.16%      4,207.02       5,845.69     0.87%        111.33
             0.00      0.00%          0.00    0.00%         0.00           0.00      0.00%          0.00   Bonus and Incentive Pay                                    10.00    0.00%          0.00     0.00%         10.00           0.00     0.00%         10.00
        3,420.42      0.95%      1,881.14    0.63%     1,539.28       7,053.88      3.17%     -3,633.46    Total Other Benefits                                  13,295.09    1.06%      8,856.55     0.81%      4,438.54      11,202.60     1.67%      2,092.49

        8,101.92      2.25%      5,556.90    1.87%     2,545.02       9,684.95      4.35%     -1,583.03    Total Rooms PR Taxes and Benefits                     31,599.00    2.51%     27,623.47     2.53%      3,975.53      22,798.42     3.40%      8,800.58

       51,958.73     14.43%     45,455.05    15.33%    6,503.68      38,426.03     17.28%     13,532.70    Total Rooms Labor Costs                              212,621.31    16.88%   193,962.31    17.75%     18,659.00     136,719.99     20.37%    75,901.32

                                                                                                           Other Expenses
         1,226.20     0.34%       2,054.16    0.69%     -827.96          299.83     0.13%         926.37   Breakfast /Comp Cost                                    7,400.74    0.59%      8,108.91    0.74%        -708.17       7,825.12     1.17%      -424.38
           743.29     0.21%       1,268.00    0.43%     -524.71        1,899.52     0.85%      -1,156.23   Cleaning Supplies                                       4,687.68    0.37%      5,005.50    0.46%        -317.82       5,841.37     0.87%    -1,153.69
             0.00     0.00%          50.00    0.02%      -50.00            0.00     0.00%           0.00   Contract Cleaning                                       2,904.00    0.23%      2,600.00    0.24%         304.00           0.00     0.00%     2,904.00
             0.00     0.00%          35.00    0.01%      -35.00           99.00     0.04%         -99.00   Dues and Subscriptions                                      0.00    0.00%        175.00    0.02%        -175.00         495.00     0.07%      -495.00
         2,669.14     0.74%       2,891.04    0.98%     -221.90        3,123.00     1.40%        -453.86   Guest Supplies                                         11,381.50    0.90%     11,412.54    1.04%         -31.04       8,117.60     1.21%     3,263.90
             0.00     0.00%           0.00    0.00%        0.00          393.25     0.18%        -393.25   Internet/Web Expense                                        0.00    0.00%          0.00    0.00%           0.00       1,573.00     0.23%    -1,573.00
           739.86     0.21%         608.64    0.21%      131.22          812.06     0.37%         -72.20   Laundry                                                 3,644.12    0.29%      2,402.64    0.22%       1,241.48       2,287.67     0.34%     1,356.45
             0.00     0.00%           0.00    0.00%        0.00          487.19     0.22%        -487.19   Laundry Allocation                                          0.00    0.00%          0.00    0.00%           0.00         487.19     0.07%      -487.19
         5,031.59     1.40%       1,217.28    0.41%    3,814.31          981.16     0.44%       4,050.43   Linen                                                  13,598.06    1.08%      4,805.28    0.44%       8,792.78       3,063.28     0.46%    10,534.78
         1,105.20     0.31%           0.00    0.00%    1,105.20            0.00     0.00%       1,105.20   Operating Supplies                                      2,737.33    0.22%          0.00    0.00%       2,737.33           0.00     0.00%     2,737.33
             0.00     0.00%           0.00    0.00%        0.00           21.78     0.01%         -21.78   Printing and Stationery                                   356.44    0.03%          0.00    0.00%         356.44          21.78     0.00%       334.66
           134.62     0.04%           0.00    0.00%      134.62            0.00     0.00%         134.62   Reservation Expense                                       635.10    0.05%          0.00    0.00%         635.10           0.00     0.00%       635.10
             0.00     0.00%           0.00    0.00%        0.00            0.00     0.00%           0.00   Rooms Promotion                                         1,034.32    0.08%          0.00    0.00%       1,034.32          36.20     0.01%       998.12
         1,946.42     0.54%       1,900.00    0.64%       46.42        1,891.97     0.85%          54.45   Television Cable                                       10,144.42    0.81%      9,500.00    0.87%         644.42       9,482.10     1.41%       662.32
             0.00     0.00%          35.00    0.01%      -35.00            0.00     0.00%           0.00   Training                                                  111.92    0.01%        175.00    0.02%         -63.08         219.00     0.03%      -107.08
            19.93     0.01%           0.00    0.00%       19.93            0.00     0.00%          19.93   Transportation                                             44.96    0.00%          0.00    0.00%          44.96           0.00     0.00%        44.96
           963.90     0.27%       1,038.00    0.35%      -74.10            0.00     0.00%         963.90   Travel Agent Comm - Group Rooms                         6,103.21    0.48%      2,645.95    0.24%       3,457.26       7,865.00     1.17%    -1,761.79
         5,088.46     1.41%       4,409.33    1.49%      679.13        3,287.70     1.48%       1,800.76   Travel Agent Comm - Transient Rooms                    24,345.95    1.93%     17,558.63    1.61%       6,787.32      11,387.89     1.70%    12,958.06
           461.34     0.13%         200.00    0.07%      261.34          485.63     0.22%         -24.29   Uniforms                                                1,521.19    0.12%        900.00    0.08%         621.19         893.77     0.13%       627.42
         2,039.88     0.57%           0.00    0.00%    2,039.88            0.00     0.00%       2,039.88   Walked Guests                                           4,370.88    0.35%          0.00    0.00%       4,370.88           0.00     0.00%     4,370.88

       22,169.83      6.16%     15,706.45    5.30%     6,463.38      13,782.09      6.20%      8,387.74    Total Rooms Other Expenses                            95,021.82    7.54%     65,289.45     5.98%     29,732.37      59,595.97     8.88%     35,425.85

       74,128.56     20.59%     61,161.50    20.63%   12,967.06      52,208.12     23.48%     21,920.44    Total Rooms Expenses                                 307,643.13    24.42%   259,251.76    23.73%     48,391.37     196,315.96     29.24%   111,327.17

      285,904.40     79.41%    235,350.50    79.37%   50,553.90     170,189.14     76.52%    115,715.26    Total Rooms Profit (Loss)                            952,221.10    75.58%   833,208.38    76.27%    119,012.72     474,982.08     70.76%   477,239.02




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                                                                                 Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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                                                                                                           As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year    %        Variance                                                                  YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
             0.00                0.00          0.00            0.00                   0.00   Room Stat - Corporate Transient                           113.00               0.00        113.00         243.00          -130.00
             0.00              120.00       -120.00            0.00                   0.00   Room Stat - Advanced Purchase                               0.00             460.00       -460.00         156.00          -156.00
           128.00                0.00        128.00          177.00                -49.00    Room Stat - Qualified Discounts                           593.00               0.00        593.00         370.00           223.00
             0.00                0.00          0.00            0.00                   0.00   Room Stat - Consortia Rate Transient                        0.00               0.00          0.00           1.00            -1.00
            12.00               36.00        -24.00           16.00                  -4.00   Room Stat - Employee                                       73.00             154.00        -81.00          85.00           -12.00
             0.00                0.00          0.00            0.00                   0.00   Room Stat - Leisure Transient                               0.00               0.00          0.00           4.00            -4.00
             0.00                0.00          0.00            0.00                   0.00   Room Stat - Package Transient                               0.00               4.00         -4.00           7.00            -7.00
           211.00              103.00        108.00          125.00                 86.00    Room Stat - Member Reward Stay                            575.00             305.00        270.00         318.00           257.00
           406.00                0.00        406.00          310.00                 96.00    Room Stat - Non-Qualified Discounts                     2,347.00               0.00      2,347.00         907.00         1,440.00
           173.00              290.00       -117.00          417.00               -244.00    Room Stat - Internet                                    1,017.00           1,220.00       -203.00       1,436.00          -419.00
             0.00                0.00          0.00            0.00                   0.00   Room Stat - Other Transient                                 0.00               0.00          0.00           1.00            -1.00
            69.00               65.00          4.00           31.00                 38.00    Room Stat - Government Rate Transient                     236.00             211.00         25.00          84.00           152.00
           777.00              525.00        252.00          848.00                -71.00    Room Stat - Rack Rate Transient                         3,745.00           3,069.00        676.00       2,864.00           881.00
           448.00              440.00          8.00          220.00                228.00    Room Stat - Local Negotiated Transient                  1,619.00           2,242.00       -623.00         982.00           637.00
        2,224.00            1,579.00        645.00        2,144.00                  80.00    Total Transient Rooms Sold                            10,318.00           7,665.00      2,653.00       7,458.00         2,860.00

                                                                                             Group Rooms
           654.00              112.00        542.00          255.00                399.00    Room Stat - Corporate Group Rooms                       1,507.00             209.00     1,298.00          479.00        1,028.00
             0.00              300.00       -300.00            0.00                  0.00    Room Stat - SMERF Group                                     2.00             768.00      -766.00           47.00          -45.00
             0.00               20.00        -20.00            0.00                  0.00    Room Stat - Sports Group                                    0.00             165.00      -165.00            0.00            0.00
          654.00              432.00        222.00          255.00                399.00     Total Group Rooms Sold                                 1,509.00           1,142.00       367.00          526.00          983.00

                                                                                             Contract Rooms
             0.00               0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                                    0.00             0.00          0.00            0.00            0.00

        2,878.00            2,011.00        867.00        2,399.00                479.00     Total Rooms Sold                                      11,827.00           8,807.00      3,020.00       7,984.00         3,843.00
           34.00                0.00         34.00            16.00                 18.00    Room Stat - Comp Rooms                                     67.00              0.00          67.00          22.00           45.00
        2,912.00            2,011.00        901.00        2,415.00                497.00     Total Rooms Occupied                                  11,894.00           8,807.00      3,087.00       8,006.00         3,888.00
           53.00                0.00         53.00           179.00               -126.00    Room Stat - Out of Order                                  919.00              0.00         919.00         870.00           49.00

                                                                                             ADR
             0.00                0.00           0.00           0.00                  0.00    Corporate Transient ADR                                     107.12             0.00       107.12           69.11           38.01
             0.00              134.00       -134.00            0.00                  0.00    Advanced Purchase ADR                                         0.00           120.63      -120.63           88.77          -88.77
           143.77                0.00        143.77           96.44                47.32     Qualified Discount ADR                                      115.02             0.00       115.02           90.62           24.41
             0.00                0.00           0.00           0.00                  0.00    FIT ADR                                                       0.00             0.00          0.00           0.00            0.00
             0.00                0.00           0.00           0.00                  0.00    Consortia ADR                                                 0.00             0.00          0.00         791.90         -791.90
            57.00               49.00           8.00          56.00                  1.00    Employee ADR                                                 56.54            49.94          6.60          54.84            1.70
             0.00                0.00           0.00           0.00                  0.00    Leisure ADR                                                   0.00             0.00          0.00         117.69         -117.69
             0.00                0.00           0.00           0.00                  0.00    Travel Agent/Friends & Family ADR                             0.00             0.00          0.00           0.00            0.00
             0.00                0.00           0.00           0.00                  0.00    Leisure Package ADR                                           0.00             0.00          0.00         254.50         -254.50
            32.57               38.00          -5.43          40.02                 -7.44    Member Reward Stay ADR                                       30.31            38.80         -8.48          40.50          -10.19
             0.00                0.00           0.00           0.00                  0.00    Golf Pkg ADR                                                  0.00             0.00          0.00           0.00            0.00
           104.40                0.00        104.40           81.21                23.19     Non Qualified ADR                                            82.38             0.00        82.38           74.04            8.34
           144.91               98.40         46.51           88.95                55.97     Internet ADR                                                116.08            86.46        29.62           78.05           38.03
             0.00                0.00           0.00           0.00                  0.00    E-Commerce Opaque ADR                                         0.00             0.00          0.00           0.00            0.00
             0.00                0.00           0.00           0.00                  0.00    Other Transient ADR                                           0.00             0.00          0.00         302.19         -302.19
             0.00                0.00           0.00           0.00                  0.00    Airline Distressed Passenger ADR                              0.00             0.00          0.00           0.00            0.00
            96.00               95.00           1.00          93.48                  2.52    Government ADR                                               96.00            95.26          0.74          90.79            5.21
           163.80              144.00         19.80          100.09                63.71     Rack ADR                                                    127.24           128.22         -0.98          91.63           35.62
           111.72              107.00           4.72          85.50                26.23     Local Negotiated ADR                                        103.25           103.35         -0.10          75.24           28.01
          124.72              151.05         -26.33           89.47                35.25     Total Transient ADR                                        104.63           122.85        -18.21           81.45           23.19

           124.03             119.00           5.03           99.58                 24.45    Corporate Group ADR                                        115.55           115.50          0.05          111.87            3.68
             0.00               0.00           0.00            0.00                  0.00    Leisure Group ADR                                            0.00             0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                  0.00    Government Group ADR                                         0.00             0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                  0.00    Tour & Travel Group ADR                                      0.00             0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                  0.00    Association Group ADR                                        0.00             0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                  0.00    City Wide Group ADR                                          0.00             0.00          0.00            0.00            0.00
             0.00             134.00        -134.00            0.00                  0.00    SMERF Group ADR                                            124.00           123.49          0.51          195.37          -71.37
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                                                                                 Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %    PTD Budget   %   Variance   PTD Last Year    %        Variance                                                                 YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00               129.00       -129.00           0.00                  0.00    Sports Group ADR                                              0.00           145.70     -145.70           0.00            0.00
            0.00                 0.00          0.00           0.00                  0.00    Other Group ADR                                               0.00             0.00        0.00           0.00            0.00
          124.03              129.88          -5.85         119.88                  4.15    Total Group ADR                                             115.56          125.24        -9.68         119.33           -3.77

             0.00               0.00           0.00            0.00                 0.00    Airline Crew ADR                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Other Contract ADR                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Contract ADR                                            0.00            0.00         0.00            0.00           0.00

          125.10              147.45         -22.35           92.70                32.39    Total ADR                                                   106.52          124.04       -17.52           84.08          22.44




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                                                                                               Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget     %         Variance   PTD Last Year     %          Variance                                                                  YTD      %        YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                           F&B Summary
                                                                                                           Revenue
        13,981.59     51.69%    14,374.00     63.36%     -392.41       2,611.77      73.33%    11,369.82   Outlet Food Revenue                                    54,518.15        59.63%    52,016.00  63.87%       2,502.15        2,845.80  60.60%       51,672.35
         3,281.67     12.13%     1,350.00      5.95%    1,931.67           0.00       0.00%     3,281.67   Banquet and Catering Food Revenue                       4,757.26         5.20%     4,850.00   5.95%         -92.74            0.00   0.00%        4,757.26
         7,667.75     28.35%     6,210.75     27.38%    1,457.00           0.00       0.00%     7,667.75   Outlet Beverage Revenue                                25,346.50        27.72%    22,478.75  27.60%       2,867.75            0.00   0.00%       25,346.50
            51.00      0.19%         0.00      0.00%       51.00           0.00       0.00%        51.00   Banquet and Catering Beverage Revenue                     121.00         0.13%         0.00   0.00%         121.00            0.00   0.00%          121.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Outlet Other Revenue                                        0.00         0.00%         0.00   0.00%           0.00            0.00   0.00%            0.00
         2,065.00      7.63%       750.00      3.31%    1,315.00         950.00      26.67%     1,115.00   Banquet and Catering Other Revenue                      6,690.00         7.32%     2,100.00   2.58%       4,590.00        1,850.00  39.40%        4,840.00
       27,047.01    100.00%    22,684.75    100.00%    4,362.26       3,561.77     100.00%    23,485.24    Total F&B Revenue                                     91,432.91       100.00%    81,444.75 100.00%       9,988.16        4,695.80 100.00%       86,737.11

                                                                                                           Cost of Sales
        10,622.02     39.27%     5,346.16     23.57%    5,275.86       2,071.25      58.15%     8,550.77   Food Purchases                                         38,571.59        42.19%    19,334.44    23.74%    19,237.15        7,309.35 155.66%       31,262.24
         1,637.16      6.05%     1,490.58      6.57%      146.58           0.00       0.00%     1,637.16   Beverage Purchases                                      8,050.56         8.80%     5,394.90     6.62%     2,655.66            0.00   0.00%        8,050.56
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Cedit Employee Meals                                        0.00         0.00%         0.00     0.00%         0.00            0.00   0.00%            0.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Credit House Charges                                        0.00         0.00%         0.00     0.00%         0.00            0.00   0.00%            0.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Credit In-House Promotions                                  0.00         0.00%         0.00     0.00%         0.00            0.00   0.00%            0.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Audio Visual Cost of Sales                                  0.00         0.00%         0.00     0.00%         0.00            0.00   0.00%            0.00
           271.38      1.00%         0.00      0.00%      271.38           0.00       0.00%       271.38   Other Cost of Sales                                       271.38         0.30%         0.00     0.00%       271.38            0.00   0.00%          271.38
       12,530.56     46.33%     6,836.74     30.14%    5,693.82       2,071.25      58.15%    10,459.31    Total F&B Cost of Sales                               46,893.53        51.29%    24,729.34    30.36%    22,164.19        7,309.35 155.66%       39,584.18

       14,516.45     53.67%    15,848.01     69.86%    -1,331.56      1,490.52      41.85%    13,025.93    F&B Gross Profit                                      44,539.38        48.71%    56,715.41    69.64%    -12,176.03      -2,613.55     -55.66%   47,152.93

                                                                                                           Expenses
                                                                                                           Payroll
                                                                                                           Salaries and Wages
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Management                                                  0.00         0.00%         0.00     0.00%          0.00           0.00   0.00%            0.00
        11,315.25     41.84%    10,092.00     44.49%    1,223.25       5,029.60     141.21%     6,285.65   Non-Management                                         42,405.68        46.38%    45,501.00    55.87%     -3,095.32       6,533.86 139.14%       35,871.82
       11,315.25     41.84%    10,092.00     44.49%    1,223.25       5,029.60     141.21%     6,285.65    Total F&B Salaries and Wages                          42,405.68        46.38%    45,501.00    55.87%     -3,095.32       6,533.86 139.14%       35,871.82
                                                                                                           PR Taxes and Benefits
         1,485.41      5.49%     1,147.92      5.06%      337.49         728.94      20.47%       756.47   Payroll Taxes                                           6,339.12         6.93%     6,216.81     7.63%       122.31          873.06     18.59%     5,466.06
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Supplemental Pay                                            0.00         0.00%         0.00     0.00%         0.00            0.00      0.00%         0.00
           548.11      2.03%       397.35      1.75%      150.76         214.95       6.03%       333.16   Other Benefits                                          2,800.83         3.06%     1,990.07     2.44%       810.76          226.70      4.83%     2,574.13
        2,033.52      7.52%     1,545.27      6.81%      488.25         943.89      26.50%     1,089.63    Total F&B PR Taxes and Benefits                        9,139.95        10.00%     8,206.88    10.08%       933.07        1,099.76     23.42%     8,040.19

       13,348.77     49.35%    11,637.27     51.30%    1,711.50       5,973.49     167.71%     7,375.28    Total F&B Payroll                                     51,545.63        56.38%    53,707.88    65.94%     -2,162.25       7,633.62 162.56%       43,912.01

                                                                                                           Other Expenses
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Audio Visual Supplies                                          0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
           225.54     0.83%         0.00      0.00%       225.54           0.00      0.00%        225.54   Banquet Expense                                              225.54     0.25%         0.00      0.00%       225.54            0.00      0.00%       225.54
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Bar Expense/Promos                                             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Bar Supplies                                                   0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
         1,152.12     4.26%        65.00      0.29%     1,087.12           0.00      0.00%      1,152.12   China                                                      1,208.23     1.32%       325.00      0.40%       883.23            0.00      0.00%     1,208.23
           201.68     0.75%       135.00      0.60%        66.68         196.17      5.51%          5.51   Cleaning Supplies                                          2,105.55     2.30%       675.00      0.83%     1,430.55          652.50     13.90%     1,453.05
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Communication Expense                                          0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Contract Cleaning                                              0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Contract Labor                                                 0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Decorations & Plants                                          39.42     0.04%         0.00      0.00%        39.42            0.00      0.00%        39.42
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Dues and Subscriptions                                         0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Equipment Rental                                               0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Food and Beverage Advertising                                  0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%        50.00      0.22%       -50.00           0.00      0.00%          0.00   Glassware                                                    318.51     0.35%       250.00      0.31%        68.51            0.00      0.00%       318.51
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Guest Loss/Damage                                              0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%        40.00      0.18%       -40.00           0.00      0.00%          0.00   Guest Supplies                                               234.37     0.26%       200.00      0.25%        34.37            0.00      0.00%       234.37
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   In-House Entertainment                                         0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Kitchen/Cooking Fuel                                           0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
         1,328.91     4.91%        70.00      0.31%     1,258.91           0.00      0.00%      1,328.91   Kitchen Equipment                                          1,492.59     1.63%       350.00      0.43%     1,142.59            0.00      0.00%     1,492.59
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Laundry - Outside Expense                                      0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Laundry Allocation                                             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Licenses/Permits                                           2,000.00     2.19%       165.00      0.20%     1,835.00        4,550.00     96.90%    -2,550.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Linen                                                          0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
             0.00     0.00%         0.00      0.00%         0.00           0.00      0.00%          0.00   Linen Rental                                                   0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00
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                                                                                           Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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                                                                                                                     As of 5/31/2022
             PTD      %        PTD Budget    %        Variance   PTD Last Year     %        Variance                                                               YTD     %        YTD Budget %              Variance   YTD Last Year   %        Variance

             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Maintenance Contracts                                       0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Meals and Entertainment                                     0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
           351.12      1.30%        95.00    0.42%      256.12           0.00      0.00%      351.12   Menus                                                     752.99     0.82%       475.00      0.58%       277.99         253.90   5.41%       499.09
            70.67      0.26%         0.00    0.00%       70.67       1,045.13     29.34%     -974.46   Miscellaneous Expense                                     500.13     0.55%         0.00      0.00%       500.13       3,873.39  82.49%    -3,373.26
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Music and Entertainment                                     0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Office Equipment                                            0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Office Supplies                                             0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Operating Supplies                                          0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
         1,530.94      5.66%       800.00    3.53%      730.94       1,213.73     34.08%      317.21   Paper/Plastic Supplies                                  4,694.49     5.13%     4,000.00      4.91%       694.49       1,945.60  41.43%     2,748.89
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Printing and Stationery                                     0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00         152.37      4.28%     -152.37   Silverware                                                  0.00     0.00%         0.00      0.00%         0.00         152.37   3.24%      -152.37
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Software Expense/Maintenance                                0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Television Cable                                            0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Training                                                   21.00     0.02%         0.00      0.00%        21.00          86.40   1.84%       -65.40
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Travel                                                      0.00     0.00%         0.00      0.00%         0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00   Uniforms                                                   70.03     0.08%         0.00      0.00%        70.03           0.00   0.00%        70.03
           258.49      0.96%         0.00    0.00%      258.49          77.83      2.19%      180.66   Utensils                                                  995.59     1.09%         0.00      0.00%       995.59          77.83   1.66%       917.76
        5,119.47     18.93%     1,255.00    5.53%    3,864.47       2,685.23     75.39%    2,434.24    Total F&B Other Expenses                              14,658.44    16.03%     6,440.00      7.91%     8,218.44      11,591.99 246.86%     3,066.45

       18,468.24     68.28%    12,892.27    56.83%   5,575.97       8,658.72     243.10%   9,809.52    Total F&B Expenses                                    66,204.07    72.41%    60,147.88    73.85%      6,056.19      19,225.61 409.42%    46,978.46

       -3,951.79    -14.61%     2,955.74    13.03%   -6,907.53     -7,168.20 -201.25%      3,216.41    Total F&B Profit (Loss)                              -21,664.69    -23.69%   -3,432.47      -4.21%   -18,232.22    -21,839.16 -465.08%     174.47




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                                                                                 Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                     P&L - Dual Summary Pages
                                                                                                           As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year    %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                            F&B Stats
                                                                                            Restaurant 1
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Restaurant 1 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Restaurant 1 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 2
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Restaurant 2 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Restaurant 2 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                            Room Service
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Room Service Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Room Service Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                            Banquets
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Banquets Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Banquets Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                            Catering
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Catering Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Catering Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 3
             0.00                0.00          0.00            0.00                 0.00    Breakfast Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                 0.00    Lunch Avg Check                                             0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                 0.00    Dinner Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                 0.00    Brunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
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             PTD      %    PTD Budget   %   Variance   PTD Last Year    %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Restaurant 3 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Restaurant 3 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 4
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Restaurant 4 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Restaurant 4 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 5
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Restaurant 5 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Restaurant 5 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                            Bar 1
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Bar 1 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Bar 1 Avg Check                                             0.00            0.00         0.00            0.00           0.00

                                                                                            Bar 2
             0.00               0.00           0.00            0.00                 0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Total Bar 2 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                 0.00    Bar 2 Avg Check                                             0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                 0.00    Total Covers                                                0.00            0.00         0.00            0.00           0.00




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                                                                                              Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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                                                                                                                        As of 5/31/2022
             PTD      %        PTD Budget    %          Variance   PTD Last Year     %         Variance                                                                  YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                          Food Admin
                                                                                                          Cost of Sales
        10,622.02    39.27%      5,346.16   23.57%     5,275.86        2,071.25     58.15%    8,550.77    Food Purchases                                         38,571.59       42.19%    19,334.44     23.74%   19,237.15        7,309.35    155.66%   31,262.24
         1,637.16     6.05%      1,490.58    6.57%       146.58            0.00      0.00%    1,637.16    Beverage Purchases                                      8,050.56        8.80%     5,394.90      6.62%    2,655.66            0.00      0.00%    8,050.56
           271.38     1.00%          0.00    0.00%       271.38            0.00      0.00%      271.38    Other Cost of Sales                                       271.38        0.30%         0.00      0.00%      271.38            0.00      0.00%      271.38

       12,530.56     46.33%     6,836.74    30.14%     5,693.82       2,071.25     58.15%    10,459.31    Total Food Admin Cost of Sales                        46,893.53       51.29%    24,729.34    30.36%     22,164.19       7,309.35 155.66%       39,584.18

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%          0.00    0.00%          0.00           0.00     0.00%          0.00   Total Food Admin Management                                 0.00       0.00%          0.00    0.00%           0.00           0.00     0.00%          0.00
         2,926.95     10.82%     2,883.00    12.71%        43.95       2,332.36     65.48%       594.59   Cooks-Line Cooks                                       15,390.74       16.83%    14,003.00    17.19%      1,387.74       3,305.29     70.39%    12,085.45
         3,178.57     11.75%         0.00     0.00%     3,178.57           0.00      0.00%     3,178.57   Cooks-Line Cooks Overtime                               3,178.57        3.48%         0.00     0.00%      3,178.57           0.00      0.00%     3,178.57
        6,105.52     22.57%     2,883.00    12.71%     3,222.52       2,332.36     65.48%     3,773.16    Total Food Admin Non-Management                       18,569.31       20.31%    14,003.00    17.19%      4,566.31       3,305.29     70.39%    15,264.02

        6,105.52     22.57%     2,883.00    12.71%     3,222.52       2,332.36     65.48%     3,773.16    Total Food Admin Salaries and Wages                   18,569.31       20.31%    14,003.00    17.19%      4,566.31       3,305.29     70.39%    15,264.02

                                                                                                          PR Taxes and Benefits

           627.29      2.32%       220.55     0.97%      406.74            0.00      0.00%      627.29    FICA                                                         627.29     0.69%     1,071.24      1.32%      -443.95           0.00      0.00%       627.29
             0.00      0.00%         2.59     0.01%       -2.59            0.00      0.00%        0.00    Federal Unemployment Tax                                       0.00     0.00%        38.43      0.05%       -38.43           0.00      0.00%         0.00
            92.94      0.34%        19.75     0.09%       73.19            0.00      0.00%       92.94    State Unemployment Tax                                        92.94     0.10%       411.67      0.51%      -318.73           0.00      0.00%        92.94
          720.23      2.66%       242.89     1.07%      477.34             0.00     0.00%      720.23     Total Payroll Taxes                                         720.23     0.79%     1,521.34      1.87%      -801.11            0.00     0.00%       720.23
             0.00     0.00%          0.00    0.00%         0.00            0.00     0.00%         0.00    Total Supplemental Pay                                         0.00    0.00%          0.00     0.00%          0.00           0.00     0.00%          0.00
           548.11      2.03%       109.84     0.48%      438.27            0.00      0.00%      548.11    Worker's Compensation                                        548.11     0.60%       599.38      0.74%       -51.27           0.00      0.00%       548.11
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Bonus and Incentive Pay                                      150.00     0.16%         0.00      0.00%       150.00           0.00      0.00%       150.00
          548.11      2.03%       109.84     0.48%      438.27             0.00     0.00%      548.11     Total Other Benefits                                        698.11     0.76%       599.38      0.74%         98.73           0.00     0.00%       698.11

        7,373.86     27.26%     3,235.73    14.26%     4,138.13       2,332.36     65.48%     5,041.50    Total Food Admin PR Taxes and Benefits                19,987.65       21.86%    16,123.72    19.80%      3,863.93       3,305.29     70.39%    16,682.36

       13,479.38     49.84%     6,118.73    26.97%     7,360.65       4,664.72     130.97%    8,814.66    Total Food Admin Payroll                              38,556.96       42.17%    30,126.72    36.99%      8,430.24       6,610.58 140.78%       31,946.38

                                                                                                          Other Expenses
           225.54     0.83%         0.00     0.00%       225.54            0.00      0.00%      225.54    Banquet Expense                                              225.54     0.25%         0.00     0.00%       225.54            0.00     0.00%        225.54
         1,152.12     4.26%        65.00     0.29%     1,087.12            0.00      0.00%    1,152.12    China                                                      1,208.23     1.32%       325.00     0.40%       883.23            0.00     0.00%      1,208.23
           201.68     0.75%       135.00     0.60%        66.68          196.17      5.51%        5.51    Cleaning Supplies                                          2,105.55     2.30%       675.00     0.83%     1,430.55          652.50    13.90%      1,453.05
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Decorations & Plants                                          39.42     0.04%         0.00     0.00%        39.42            0.00     0.00%         39.42
             0.00     0.00%        50.00     0.22%       -50.00            0.00      0.00%        0.00    Glassware                                                    318.51     0.35%       250.00     0.31%        68.51            0.00     0.00%        318.51
             0.00     0.00%        40.00     0.18%       -40.00            0.00      0.00%        0.00    Guest Supplies                                               234.37     0.26%       200.00     0.25%        34.37            0.00     0.00%        234.37
         1,328.91     4.91%        70.00     0.31%     1,258.91            0.00      0.00%    1,328.91    Kitchen Equipment                                          1,492.59     1.63%       350.00     0.43%     1,142.59            0.00     0.00%      1,492.59
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Licenses/Permits                                           2,000.00     2.19%       165.00     0.20%     1,835.00            0.00     0.00%      2,000.00
           351.12     1.30%        95.00     0.42%       256.12            0.00      0.00%      351.12    Menus                                                        752.99     0.82%       475.00     0.58%       277.99          253.90     5.41%        499.09
            70.67     0.26%         0.00     0.00%        70.67            0.00      0.00%       70.67    Miscellaneous Expense                                        500.13     0.55%         0.00     0.00%       500.13            0.00     0.00%        500.13
         1,530.94     5.66%       800.00     3.53%       730.94        1,213.73     34.08%      317.21    Paper/Plastic Supplies                                     4,694.49     5.13%     4,000.00     4.91%       694.49        1,945.60    41.43%      2,748.89
             0.00     0.00%         0.00     0.00%         0.00          152.37      4.28%     -152.37    Silverware                                                     0.00     0.00%         0.00     0.00%         0.00          152.37     3.24%       -152.37
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Training                                                      21.00     0.02%         0.00     0.00%        21.00           86.40     1.84%        -65.40
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Uniforms                                                      70.03     0.08%         0.00     0.00%        70.03            0.00     0.00%         70.03
           258.49     0.96%         0.00     0.00%       258.49           77.83      2.19%      180.66    Utensils                                                     995.59     1.09%         0.00     0.00%       995.59           77.83     1.66%        917.76

        5,119.47     18.93%     1,255.00     5.53%     3,864.47       1,640.10     46.05%     3,479.37    Total Food Admin Other Expenses                       14,658.44       16.03%     6,440.00      7.91%     8,218.44       3,168.60     67.48%    11,489.84

       18,598.85     68.76%     7,373.73    32.51%    11,225.12       6,304.82     177.01%   12,294.03    Total Food Admin Expenses                             53,215.40       58.20%    36,566.72    44.90%     16,648.68       9,779.18 208.25%       43,436.22

       31,129.41    115.09%    14,210.47    62.64%    16,918.94       8,376.07     235.17%   22,753.34    Departmental Costs                                   100,108.93       109.49%   61,296.06    75.26%     38,812.87      17,088.53 363.91%       83,020.40




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             PTD      %       PTD Budget   %       Variance   PTD Last Year    %         Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %        Variance

                                                                                                    Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00     0.00%        0.00    Less Adjustments                                           0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%        0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%        0.00    Total Beverage Admin Revenue                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%       0.00

                                                                                                    Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%        0.00    Total Beverage Admin Cost of Sales                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%       0.00

                                                                                                    Expenses
                                                                                                    Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00     0.00%         0.00   Licenses/Permits                                           0.00   0.00%         0.00     0.00%      0.00        4,550.00    0.00%   -4,550.00
             0.00     0.00%         0.00   0.00%      0.00        1,045.13     0.00%    -1,045.13   Miscellaneous Expense                                      0.00   0.00%         0.00     0.00%      0.00        3,873.39    0.00%   -3,873.39

             0.00     0.00%        0.00    0.00%      0.00       1,045.13      0.00%   -1,045.13    Total Beverage Admin Other Expenses                        0.00   0.00%        0.00      0.00%      0.00       8,423.39     0.00%   -8,423.39

             0.00     0.00%        0.00    0.00%      0.00       1,045.13      0.00%   -1,045.13    Total Beverage Admin Expenses                              0.00   0.00%        0.00      0.00%      0.00       8,423.39     0.00%   -8,423.39

             0.00     0.00%        0.00    0.00%      0.00      -1,045.13      0.00%    1,045.13    Departmental Costs                                         0.00   0.00%        0.00      0.00%      0.00      -8,423.39     0.00%   8,423.39




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                                                                                               Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %          Variance                                                               YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                            Restaurant 1
                                                                                                            Food Revenue
         8,295.50    46.20%     11,408.00    55.42%   -3,112.50        2,601.77     99.62%     5,693.73     Food-Breakfast                                        32,331.91    47.67%    41,281.00     55.41%   -8,949.09        2,835.80    99.65%    29,496.11
            86.75     0.48%          0.00     0.00%       86.75           24.00      0.92%        62.75     Food-Lunch                                               608.01     0.90%         0.00      0.00%      608.01           24.00     0.84%       584.01
         2,120.24    11.81%      2,966.00    14.41%     -845.76            0.00      0.00%     2,120.24     Food-Dinner                                            9,880.60    14.57%    10,735.00     14.41%     -854.40            0.00     0.00%     9,880.60
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00     Food-Brunch                                              250.15     0.37%         0.00      0.00%      250.15            0.00     0.00%       250.15
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00     Food-Late Night                                            6.95     0.01%         0.00      0.00%        6.95            0.00     0.00%         6.95

       10,502.49     58.49%    14,374.00    69.83%    -3,871.51       2,625.77     100.54%     7,876.72     Restaurant 1 Food Revenue                            43,077.62    63.51%    52,016.00    69.83%     -8,938.38       2,859.80 100.49%       40,217.82
          -214.70     -1.20%        0.00      0.00%      -214.70         -14.00      -0.54%      -200.70    Food-Adjustments-A&G                                    -594.36    -0.88%        0.00      0.00%       -594.36         -14.00  -0.49%         -580.36
          -214.70     -1.20%        0.00      0.00%      -214.70         -14.00      -0.54%      -200.70    Less: Allowances                                        -594.36    -0.88%        0.00      0.00%       -594.36         -14.00  -0.49%         -580.36

       10,287.79     57.30%    14,374.00    69.83%    -4,086.21       2,611.77     100.00%     7,676.02     Total Restaurant 1 Food Revenue                      42,483.26    62.63%    52,016.00    69.83%     -9,532.74       2,845.80 100.00%       39,637.46

                                                                                                            Beverage Revenue
         3,372.00    18.78%      2,382.90    11.58%      989.10            0.00      0.00%     3,372.00     Liquor                                                11,175.25    16.48%     8,624.50     11.58%    2,550.75            0.00     0.00%    11,175.25
         1,748.75     9.74%      1,622.40     7.88%      126.35            0.00      0.00%     1,748.75     Beer                                                   6,566.75     9.68%     5,872.00      7.88%      694.75            0.00     0.00%     6,566.75
         2,547.00    14.19%      2,205.45    10.71%      341.55            0.00      0.00%     2,547.00     Wine                                                   7,604.50    11.21%     7,982.25     10.72%     -377.75            0.00     0.00%     7,604.50

        7,667.75     42.70%     6,210.75    30.17%    1,457.00             0.00      0.00%     7,667.75     Restaurant 1 Beverage Revenue                        25,346.50    37.37%    22,478.75    30.17%     2,867.75             0.00     0.00%    25,346.50
            0.00       0.00%        0.00      0.00%       0.00             0.00       0.00%        0.00     Less: Allowances                                          0.00      0.00%        0.00      0.00%        0.00             0.00      0.00%        0.00

        7,667.75     42.70%     6,210.75    30.17%    1,457.00             0.00      0.00%     7,667.75     Total Restaurant 1 Beverage Revenue                  25,346.50    37.37%    22,478.75    30.17%     2,867.75             0.00     0.00%    25,346.50

       17,955.54    100.00%    20,584.75    100.00%   -2,629.21       2,611.77     100.00%    15,343.77     Total Restaurant 1 Revenue                           67,829.76    100.00%   74,494.75 100.00%       -6,664.99       2,845.80 100.00%       64,983.96

                                                                                                            Cost of Sales

             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%         0.00     Total Restaurant 1 Cost of Sales                          0.00     0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

       17,955.54    100.00%    20,584.75    100.00%   -2,629.21       2,611.77     100.00%    15,343.77     Restaurant 1 Gross Profit                            67,829.76    100.00%   74,494.75 100.00%       -6,664.99       2,845.80 100.00%       64,983.96

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%          0.00    Total Restaurant 1 Management                              0.00    0.00%          0.00    0.00%           0.00           0.00  0.00%             0.00
         5,209.73     29.01%     5,859.00    28.46%     -649.27        2,697.24     103.27%     2,512.49    Servers                                               23,836.37    35.14%    26,648.00    35.77%     -2,811.63       3,228.57 113.45%       20,607.80
        5,209.73     29.01%     5,859.00    28.46%     -649.27        2,697.24     103.27%     2,512.49     Total Restaurant 1 Non-Management                    23,836.37    35.14%    26,648.00    35.77%     -2,811.63       3,228.57 113.45%       20,607.80

        5,209.73     29.01%     5,859.00    28.46%     -649.27        2,697.24     103.27%     2,512.49     Total Restaurant 1 Salaries and Wages                23,836.37    35.14%    26,648.00    35.77%     -2,811.63       3,228.57 113.45%       20,607.80

                                                                                                            PR Taxes and Benefits
           553.72      3.08%       684.42     3.32%     -130.70          569.70      21.81%       -15.98    FICA                                                   3,916.86     5.77%     2,893.39      3.88%    1,023.47          679.68     23.88%     3,237.18
            13.71      0.08%         8.05     0.04%        5.66           17.22       0.66%         -3.51   Federal Unemployment Tax                                 167.30     0.25%        94.58      0.13%       72.72           19.68      0.69%       147.62
           197.75      1.10%        61.28     0.30%      136.47          142.02       5.44%        55.73    State Unemployment Tax                                 1,534.73     2.26%     1,035.93      1.39%      498.80          173.70      6.10%     1,361.03
          765.18      4.26%       753.75     3.66%        11.43         728.94      27.91%         36.24    Total Payroll Taxes                                   5,618.89     8.28%     4,023.90      5.40%    1,594.99          873.06     30.68%     4,745.83
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%           0.00   Total Supplemental Pay                                     0.00    0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00      0.00%       223.22     1.08%     -223.22          214.95       8.23%      -214.95    Worker's Compensation                                  2,062.72     3.04%     1,135.42      1.52%      927.30          226.70      7.97%     1,836.02
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%          0.00   Bonus and Incentive Pay                                   40.00     0.06%         0.00      0.00%       40.00            0.00      0.00%        40.00
             0.00     0.00%       223.22     1.08%     -223.22          214.95       8.23%      -214.95     Total Other Benefits                                  2,102.72     3.10%     1,135.42      1.52%      967.30          226.70      7.97%     1,876.02

          765.18      4.26%       976.97     4.75%     -211.79          943.89      36.14%      -178.71     Total Restaurant 1 PR Taxes and Benefits              7,721.61    11.38%     5,159.32      6.93%    2,562.29        1,099.76     38.65%     6,621.85

        5,974.91     33.28%     6,835.97    33.21%     -861.06        3,641.13     139.41%     2,333.78     Total Restaurant 1 Payroll                           31,557.98    46.53%    31,807.32    42.70%      -249.34        4,328.33 152.10%       27,229.65

                                                                                                            Other Expenses
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%         0.00     Total Restaurant 1 Other Expenses                         0.00     0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

        5,974.91     33.28%     6,835.97    33.21%     -861.06        3,641.13     139.41%     2,333.78     Total Restaurant 1 Expenses                          31,557.98    46.53%    31,807.32    42.70%      -249.34        4,328.33 152.10%       27,229.65
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             PTD      %       PTD Budget    %        Variance   PTD Last Year     %         Variance                                                              YTD     %       YTD Budget %          Variance   YTD Last Year     %         Variance


       11,980.63     66.72%   13,748.78    66.79%   -1,768.15     -1,029.36     -39.41%   13,009.99    Total Restaurant 1 Profit (Loss)                      36,271.78   53.47%   42,687.43   57.30%   -6,415.65     -1,482.53     -52.10%   37,754.31




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             PTD      %        PTD Budget   %         Variance   PTD Last Year    %         Variance                                                               YTD      %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                       Restaurant 2
                                                                                                       Food Revenue
         3,693.80   100.00%          0.00   0.00%    3,693.80            0.00     0.00%    3,693.80    Food-Breakfast                                         12,034.89   100.00%          0.00     0.00%    12,034.89            0.00    0.00%    12,034.89

        3,693.80    100.00%         0.00    0.00%    3,693.80            0.00     0.00%    3,693.80    Restaurant 2 Food Revenue                             12,034.89    100.00%         0.00      0.00%    12,034.89            0.00    0.00%    12,034.89
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%       0.00    Less: Allowances                                           0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00

        3,693.80    100.00%         0.00    0.00%    3,693.80            0.00     0.00%    3,693.80    Total Restaurant 2 Food Revenue                       12,034.89    100.00%         0.00      0.00%    12,034.89            0.00    0.00%    12,034.89

                                                                                                       Beverage Revemue

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Restaurant 2 Beverage Revenue                              0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00      0.00%       0.00    Less: Allowances                                           0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 Beverage Revenue                        0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        3,693.80    100.00%         0.00    0.00%    3,693.80            0.00     0.00%    3,693.80    Total Restaurant 2 Revenue                            12,034.89    100.00%         0.00      0.00%    12,034.89            0.00    0.00%    12,034.89

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 Cost of Sales                           0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        3,693.80    100.00%         0.00    0.00%    3,693.80            0.00     0.00%    3,693.80    Restaurant 2 Gross Profit                             12,034.89    100.00%         0.00      0.00%    12,034.89            0.00    0.00%    12,034.89

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 Management                              0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 Non-Management                          0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 Salaries and Wages                      0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Payroll Taxes                                        0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Supplemental Pay                                     0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Other Benefits                                       0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 PR Taxes and Benefits                   0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 Payroll                                 0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 Other Expenses                          0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Restaurant 2 Expenses                                0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        3,693.80    100.00%         0.00    0.00%    3,693.80            0.00     0.00%    3,693.80    Total Restaurant 2 Profit (Loss)                      12,034.89    100.00%         0.00      0.00%    12,034.89            0.00    0.00%    12,034.89




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             PTD      %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Room Service
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Room Service Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Room Service Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Room Service Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Room Service Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %        Variance                                                                  YTD     %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                         Banquets
                                                                                                         Food Revenue
         2,612.00    48.39%       650.00     30.95%    1,962.00            0.00      0.00%   2,612.00    Food-Breakfast                                             3,887.00    33.60%     2,250.00     32.37%    1,637.00            0.00    0.00%    3,887.00
           660.00    12.23%       250.00     11.90%      410.00            0.00      0.00%     660.00    Food-Lunch                                                   660.00     5.71%       900.00     12.95%     -240.00            0.00    0.00%      660.00
             0.00     0.00%         0.00      0.00%        0.00            0.00      0.00%       0.00    Food-Dinner                                                  540.00     4.67%         0.00      0.00%      540.00            0.00    0.00%      540.00
             0.00     0.00%         0.00      0.00%        0.00            0.00      0.00%       0.00    Food-Late Night                                             -318.52    -2.75%         0.00      0.00%     -318.52            0.00    0.00%     -318.52
             0.00     0.00%       450.00     21.43%     -450.00            0.00      0.00%       0.00    Food-Breaks                                                   35.00     0.30%     1,700.00     24.46%   -1,665.00            0.00    0.00%       35.00

        3,272.00     60.62%     1,350.00    64.29%    1,922.00             0.00     0.00%    3,272.00    Banquets Food Revenue                                  4,803.48       41.52%     4,850.00    69.78%        -46.52            0.00    0.00%    4,803.48
            9.67       0.18%        0.00      0.00%       9.67             0.00      0.00%       9.67    Food-Adjustments-A&G                                      -46.22       -0.40%        0.00      0.00%        -46.22           0.00     0.00%      -46.22
            9.67       0.18%        0.00      0.00%       9.67             0.00      0.00%       9.67    Less: Allowances                                          -46.22       -0.40%        0.00      0.00%        -46.22           0.00     0.00%      -46.22

        3,281.67     60.80%     1,350.00    64.29%    1,931.67             0.00     0.00%    3,281.67    Total Banquets Food Revenue                            4,757.26       41.12%     4,850.00    69.78%        -92.74            0.00    0.00%    4,757.26

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00     0.00%         0.00            0.00     0.00%        0.00    Banquets Beverage Revenue                                     0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
            51.00      0.94%        0.00      0.00%       51.00            0.00      0.00%      51.00    Beverage-Adjustments-A&G                                    121.00      1.05%        0.00       0.00%      121.00            0.00     0.00%     121.00
            51.00      0.94%        0.00      0.00%       51.00            0.00      0.00%      51.00    Less: Allowances                                            121.00      1.05%        0.00       0.00%      121.00            0.00     0.00%     121.00

           51.00      0.94%         0.00     0.00%        51.00            0.00     0.00%       51.00    Total Banquets Beverage Revenue                             121.00     1.05%         0.00      0.00%      121.00             0.00    0.00%     121.00

                                                                                                         Other Revenue
           390.00     7.23%         0.00      0.00%      390.00            0.00      0.00%     390.00    Audio/Visual Income                                          690.00     5.96%         0.00      0.00%      690.00          100.00     5.41%     590.00
         1,675.00    31.03%       750.00     35.71%      925.00          950.00    100.00%     725.00    Public Room Rental                                         6,000.00    51.87%     2,100.00     30.22%    3,900.00        1,750.00    94.59%   4,250.00

        2,065.00     38.26%       750.00    35.71%    1,315.00          950.00     100.00%   1,115.00    Total Banquets Other Revenue                           6,690.00       57.83%     2,100.00    30.22%     4,590.00        1,850.00 100.00%      4,840.00

        5,397.67    100.00%     2,100.00    100.00%   3,297.67          950.00     100.00%   4,447.67    Total Banquets Revenue                                11,568.26       100.00%    6,950.00 100.00%       4,618.26        1,850.00 100.00%      9,718.26

                                                                                                         Cost of Sales

             0.00     0.00%         0.00     0.00%         0.00            0.00     0.00%        0.00    Total Banquets Cost of Sales                                  0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

        5,397.67    100.00%     2,100.00    100.00%   3,297.67          950.00     100.00%   4,447.67    Gross Profit                                          11,568.26       100.00%    6,950.00 100.00%       4,618.26        1,850.00 100.00%      9,718.26

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00     0.00%         0.00            0.00     0.00%        0.00    Total Banquets Management                                     0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

             0.00      0.00%       337.50    16.07%      -337.50           0.00      0.00%       0.00    Supervisors                                                   0.00      0.00%     1,212.50    17.45%     -1,212.50           0.00     0.00%       0.00
             0.00      0.00%       337.50    16.07%      -337.50           0.00      0.00%       0.00    Hosts/Greeters/Captains/Order Takers                          0.00      0.00%     1,212.50    17.45%     -1,212.50           0.00     0.00%       0.00
             0.00      0.00%       337.50    16.07%      -337.50           0.00      0.00%       0.00    Servers                                                       0.00      0.00%     1,212.50    17.45%     -1,212.50           0.00     0.00%       0.00
             0.00      0.00%       337.50    16.07%      -337.50           0.00      0.00%       0.00    Housemen                                                      0.00      0.00%     1,212.50    17.45%     -1,212.50           0.00     0.00%       0.00
             0.00     0.00%     1,350.00    64.29%    -1,350.00            0.00     0.00%        0.00    Total Banquets Non-Management                                 0.00     0.00%     4,850.00    69.78%     -4,850.00            0.00    0.00%        0.00

             0.00               1,350.00              -1,350.00            0.00                  0.00    Total Banquets Salaries and Wages                             0.00               4,850.00               -4,850.00            0.00                 0.00

                                                                                                         PR Taxes and Benefits
             0.00      0.00%       137.36     6.54%     -137.36            0.00      0.00%       0.00    FICA                                                          0.00      0.00%       493.47      7.10%     -493.47            0.00     0.00%       0.00
             0.00      0.00%         1.62     0.08%        -1.62           0.00      0.00%       0.00    Federal Unemployment Tax                                      0.00      0.00%        14.81      0.21%      -14.81            0.00     0.00%       0.00
             0.00      0.00%        12.30     0.59%       -12.30           0.00      0.00%       0.00    State Unemployment Tax                                        0.00      0.00%       163.29      2.35%     -163.29            0.00     0.00%       0.00
             0.00     0.00%       151.28     7.20%     -151.28             0.00     0.00%        0.00    Total Payroll Taxes                                           0.00     0.00%       671.57      9.66%     -671.57             0.00    0.00%        0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00     0.00%        0.00    Total Supplemental Pay                                        0.00     0.00%          0.00     0.00%         0.00            0.00    0.00%        0.00
             0.00      0.00%        64.29     3.06%       -64.29           0.00      0.00%       0.00    Worker's Compensation                                         0.00      0.00%       255.27      3.67%     -255.27            0.00     0.00%       0.00
             0.00     0.00%         64.29    3.06%       -64.29            0.00     0.00%        0.00    Total Other Benefits                                          0.00     0.00%       255.27      3.67%     -255.27             0.00    0.00%        0.00

             0.00                 215.57               -215.57             0.00                  0.00    Total Banquet Benefits                                        0.00                 926.84                -926.84             0.00                 0.00
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                                                                                          Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %       PTD Budget    %        Variance   PTD Last Year     %        Variance                                                              YTD     %        YTD Budget %             Variance   YTD Last Year   %        Variance


             0.00     0.00%    1,565.57    74.55%   -1,565.57           0.00     0.00%        0.00    Total Banquets Payroll                                     0.00    0.00%     5,776.84   83.12%     -5,776.84            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%        0.00    0.00%        0.00            0.00     0.00%        0.00    Total Banquets Other Expenses                              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00     0.00%    1,565.57    74.55%   -1,565.57           0.00     0.00%        0.00    Total Banquets Expenses                                    0.00    0.00%     5,776.84   83.12%     -5,776.84            0.00    0.00%       0.00

        5,397.67    100.00%      534.43    25.45%   4,863.24         950.00     100.00%   4,447.67    Total Banquets Profit (Loss)                          11,568.26   100.00%    1,173.16   16.88%     10,395.10       1,850.00 100.00%     9,718.26




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                                                                                          Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Catering
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Catering Food Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Catering Beverage Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Other Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Catering Gross Profit                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Management                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Non-Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Salaries and Wages                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering PR Taxes and Benefits                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Catering Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Restaurant 3
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 3 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 3 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 3 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Payroll Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 3 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Restaurant 4
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 4 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restauarnt 4 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 4 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Restaurant 5
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 5 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 5 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Restaurant 5 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Restaurant 5 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                                                    As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Bar 1
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Bar 1 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Bar 1 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 1 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year    %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                     Bar 2
                                                                                                     Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Bar 2 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Bar 2 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Expenses
                                                                                                     Payroll Expenses
                                                                                                     Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%       0.00    Total Bar 2 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                        Telephone
             0.00     0.00%          0.00   0.00%       0.00          217.79     92.08%      -217.79    Local and Long Distance Revenue                            0.00   0.00%          0.00     0.00%       0.00          284.19    89.26%     -284.19
             0.00     0.00%          0.00   0.00%       0.00           18.72      7.92%       -18.72    Other Telephone Revenue                                    0.00   0.00%          0.00     0.00%       0.00           34.20    10.74%      -34.20

             0.00     0.00%         0.00    0.00%       0.00         236.51     100.00%     -236.51     Telephone Revenue                                          0.00   0.00%         0.00      0.00%       0.00         318.39 100.00%        -318.39
             0.00      0.00%        0.00     0.00%      0.00           0.00        0.00%       0.00     Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00           0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%       0.00         236.51     100.00%     -236.51     Total Telephone Revenue                                    0.00   0.00%         0.00      0.00%       0.00         318.39 100.00%        -318.39

                                                                                                        Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00          613.98     259.60%      -613.98   Cost of Sales - Local Calls                                0.00    0.00%        0.00       0.00%      0.00        5,770.46 1,812.39%    -5,770.46
             0.00      0.00%        0.00     0.00%      0.00          492.84     208.38%      -492.84   Cost of Sales - Long Distance                              0.00    0.00%        0.00       0.00%      0.00        2,429.39 763.02%      -2,429.39
             0.00     0.00%         0.00    0.00%       0.00       1,106.82     467.98%    -1,106.82    Total Telephone Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00       8,199.852,575.41%     -8,199.85

             0.00     0.00%         0.00    0.00%       0.00        -870.31 -367.98%         870.31     Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00      -7,881.46
                                                                                                                                                                                                                                -2,475.41%      7,881.46

                                                                                                        Other Expenses
             0.00      0.00%        0.00     0.00%      0.00        1,698.00     717.94%    -1,698.00   Internet/Web Expense                                       0.00    0.00%        0.00       0.00%      0.00        9,172.50 2,880.90%    -9,172.50
             0.00     0.00%         0.00    0.00%       0.00       1,698.00     717.94%    -1,698.00    Total Telephone Other Expenses                             0.00   0.00%         0.00      0.00%       0.00       9,172.502,880.90%     -9,172.50

             0.00     0.00%         0.00    0.00%       0.00      -2,568.31-1,085.92%      2,568.31     Total Telephone Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00     -17,053.96
                                                                                                                                                                                                                                -5,356.31%     17,053.96




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             PTD      %        PTD Budget     %        Variance   PTD Last Year     %         Variance                                                               YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                          Minor Operating
                                                                                                          Income
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%          0.00   Rental Income - Gift Shop                                  0.00     0.00%         0.00     0.00%         0.00          61.16      0.24%        -61.16
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%           0.00   Total Rental Income                                        0.00    0.00%          0.00    0.00%          0.00          61.16     0.24%        -61.16
            26.19      0.32%        20.00     0.35%        6.19          76.32      0.94%        -50.13   Vending Commissions-Soda & Snack Machines                203.86     0.48%       100.00     0.40%       103.86         128.18      0.50%         75.68
            26.19     0.32%         20.00    0.35%         6.19          76.32     0.94%        -50.13    Total Vending Commission Income                         203.86     0.48%       100.00     0.40%       103.86         128.18      0.50%         75.68
         3,660.65     44.61%       883.00    15.56%    2,777.65       1,611.11     19.84%     2,049.54    Cancellation Fee - Rooms                              24,369.76    56.88%     2,948.00    11.71%    21,421.76       2,296.53      9.00%    22,073.23
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%          0.00   Cancellation Fee - Other                                   0.00     0.00%         0.00     0.00%         0.00        -270.00     -1.06%       270.00
        3,660.65     44.61%       883.00    15.56%    2,777.65       1,611.11     19.84%     2,049.54     Total Cancellation Fee Income                        24,369.76    56.88%     2,948.00    11.71%    21,421.76       2,026.53      7.94%    22,343.23
             0.00      0.00%        50.00     0.88%      -50.00           0.00      0.00%          0.00   Guest Laundry                                            193.00     0.45%       250.00     0.99%       -57.00         376.55      1.48%      -183.55
            19.99      0.24%        29.00     0.51%       -9.01          59.97      0.74%        -39.98   In-Room Movie Revenue                                    199.90     0.47%       159.00     0.63%        40.90         159.92      0.63%         39.98
             0.00      0.00%       125.00     2.20%     -125.00           0.00      0.00%          0.00   Internet Access                                            0.00     0.00%       625.00     2.48%      -625.00           0.00      0.00%          0.00
             0.00      0.00%        79.17     1.40%      -79.17         150.00      1.85%      -150.00    Telephone Revenue                                        830.62     1.94%       395.85     1.57%       434.77       5,562.82     21.80%    -4,732.20
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%          0.00   Other Revenue 3                                          419.50     0.98%     4,450.00    17.68%    -4,030.50         260.00      1.02%       159.50
         4,499.31     54.83%     4,487.00    79.09%       12.31       5,098.28     62.78%      -598.97    Gift Shop Sales                                       16,627.33    38.81%    16,240.00    64.53%       387.33      12,933.12     50.69%     3,694.21
             0.00      0.00%         0.00     0.00%        0.00       1,125.00     13.85%    -1,125.00    Pet Fees                                                   0.00     0.00%         0.00     0.00%         0.00       4,005.00     15.70%    -4,005.00
        4,519.30     55.07%     4,770.17    84.08%     -250.87       6,433.25     79.22%    -1,913.95     Total Other Income                                   18,270.35    42.64%    22,119.85    87.89%    -3,849.50      23,297.41     91.31%    -5,027.06

        8,206.14    100.00%     5,673.17    100.00%   2,532.97       8,120.68     100.00%       85.46     Total Minor Operating Income                         42,843.97    100.00%   25,167.85 100.00%      17,676.12      25,513.28 100.00%       17,330.69

                                                                                                          Cost of Sales
             0.00      0.00%        25.00     0.44%      -25.00           0.00      0.00%        0.00     Cost of Sales - Internet Access                            0.00     0.00%       125.00     0.50%      -125.00           0.00      0.00%         0.00
             0.00      0.00%        34.00     0.60%      -34.00           0.00      0.00%        0.00     Cost of Sales - Guest Laundry                            161.78     0.38%       170.00     0.68%        -8.22           0.00      0.00%       161.78
            17.99      0.22%        21.75     0.38%       -3.76         125.93      1.55%     -107.94     Cost of Sales - In-Room Movie Revenue                    179.90     0.42%       119.25     0.47%        60.65         161.91      0.63%        17.99
         4,572.80     55.72%     2,243.50    39.55%    2,329.30       1,831.96     22.56%    2,740.84     Cost of Sales - Gift Shop                             13,240.24    30.90%     8,120.00    32.26%     5,120.24       4,953.94     19.42%     8,286.30
        4,590.79     55.94%     2,324.25    40.97%    2,266.54       1,957.89     24.11%    2,632.90      Total Minor Operated Cost of Sales                   13,581.92    31.70%     8,534.25    33.91%     5,047.67       5,115.85     20.05%     8,466.07

        3,615.35     44.06%     3,348.92    59.03%     266.43        6,162.79     75.89%    -2,547.44     Total Minor Operated Profit (Loss)                   29,262.05    68.30%    16,633.60    66.09%    12,628.45      20,397.43     79.95%     8,864.62




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             PTD      %       PTD Budget   %       Variance   PTD Last Year    %        Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                   Arcade
                                                                                                   Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Revenue                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Expenses
                                                                                                   Payroll Expense
                                                                                                   Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Non-Management                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Salaries and Wages                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade PR Taxes and Benefits                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Payroll                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Other Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Expenses                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Arcade Profit (Loss)                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year    %        Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                   Waterpark
                                                                                                   Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Revenue                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Expenses
                                                                                                   Payroll Expense
                                                                                                   Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Waterpark Management                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Waterpark Non-Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                   Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%       0.00    Total Waterpark Profit (Loss)                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %         Variance   PTD Last Year    %         Variance                                                               YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                      Franchise Fees
             0.00     0.00%         0.00   0.00%        0.00          211.94     0.09%     -211.94    Franchise Fees - IT Fees                                    0.00    0.00%         0.00     0.00%        0.00        1,025.85     0.15%   -1,025.85
        21,607.40     5.47%    15,122.11   4.65%    6,485.29       13,428.43     5.73%    8,178.97    Franchise Fees - Royalty & Licenses                    76,026.31    5.45%    55,715.47     4.65%   20,310.84       42,632.10     6.07%   33,394.21
             0.00     0.00%         0.00   0.00%        0.00          171.35     0.07%     -171.35    Franchise Fees - Other                                      0.00    0.00%         0.00     0.00%        0.00        3,600.19     0.51%   -3,600.19
             0.00     0.00%         0.00   0.00%        0.00          316.90     0.14%     -316.90    Franchise Fees - Reservations-GDS                           0.00    0.00%         0.00     0.00%        0.00        1,307.80     0.19%   -1,307.80
         6,634.08     1.68%     5,930.24   1.83%      703.84        2,235.33     0.95%    4,398.75    Franchise Fees - Frequent Guest                        19,482.39    1.40%    21,849.20     1.82%   -2,366.81        6,308.22     0.90%   13,174.17
        15,115.40     3.82%    10,674.43   3.29%    4,440.97        9,793.24     4.18%    5,322.16    Franchise Fees - Marketing Contributions               57,704.29    4.14%    39,328.56     3.28%   18,375.73       32,970.17     4.70%   24,734.12
             0.00     0.00%         0.00   0.00%        0.00            0.00     0.00%        0.00    Franchise Fees - Reservations-Central                       0.00    0.00%         0.00     0.00%        0.00        3,046.11     0.43%   -3,046.11

       43,356.88     10.97%   31,726.78    9.77%   11,630.10      26,157.19     11.16%   17,199.69    Total Franchise Fees                                 153,212.99    10.99%   116,893.23     9.75%   36,319.76      90,890.44     12.95%   62,322.55




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             PTD      %        PTD Budget   %          Variance    PTD Last Year    %          Variance                                                               YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                          A&G
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
        11,656.82      2.95%    11,585.94    3.57%       70.88        11,092.60      4.73%      564.22    Management- A&G                                        55,657.38     3.99%     56,721.43     4.73%    -1,064.05      41,917.19      5.97%    13,740.19
       11,656.82      2.95%    11,585.94    3.57%        70.88       11,092.60      4.73%      564.22     Total A&G Management                                  55,657.38     3.99%     56,721.43     4.73%    -1,064.05      41,917.19      5.97%    13,740.19
             0.00     0.00%          0.00   0.00%         0.00             0.00     0.00%         0.00    Total A&G Non-Management                                    0.00    0.00%           0.00    0.00%          0.00           0.00     0.00%          0.00
       11,656.82      2.95%    11,585.94    3.57%        70.88       11,092.60      4.73%      564.22     Total A&G Salaries and Wages                          55,657.38     3.99%     56,721.43     4.73%    -1,064.05      41,917.19      5.97%    13,740.19
                                                                                                          PR Taxes and Benefits
           813.29      0.21%     1,101.83    0.34%      -288.54          818.03      0.35%        -4.74   FICA                                                    5,465.66     0.39%      5,390.31     0.45%        75.35       2,394.88      0.34%     3,070.78
            -6.90      0.00%        12.96    0.00%        -19.86          24.68      0.01%       -31.58   Federal Unemployment Tax                                  201.16     0.01%        193.76     0.02%         7.40         131.52      0.02%        69.64
          -125.56     -0.03%        98.66    0.03%      -224.22          204.00      0.09%      -329.56   State Unemployment Tax                                  1,682.98     0.12%      2,074.66     0.17%      -391.68       1,052.54      0.15%       630.44
          680.83      0.17%     1,213.45    0.37%      -532.62        1,046.71      0.45%      -365.88    Total Payroll Taxes                                    7,349.80     0.53%      7,658.73     0.64%      -308.93       3,578.94      0.51%     3,770.86
           364.48      0.09%       454.38    0.14%        -89.90           0.00      0.00%       364.48   Vacation                                                  364.48     0.03%      1,926.57     0.16%    -1,562.09           0.00      0.00%       364.48
          364.48      0.09%       454.38    0.14%        -89.90            0.00     0.00%       364.48    Total Supplemental Pay                                   364.48     0.03%      1,926.57     0.16%    -1,562.09            0.00     0.00%       364.48
           456.76      0.12%       548.75    0.17%        -91.99         360.01      0.15%        96.75   Worker's Compensation                                   3,624.41     0.26%      3,017.24     0.25%       607.17       2,109.83      0.30%     1,514.58
           338.63      0.09%         0.00    0.00%       338.63        7,658.90      3.27%    -7,320.27   Group Insurance                                         2,454.81     0.18%          0.00     0.00%     2,454.81       6,653.34      0.95%    -4,198.53
             0.00      0.00%     2,362.75    0.73%    -2,362.75            0.00      0.00%         0.00   Bonus and Incentive Pay                                28,318.44     2.03%     11,813.75     0.99%    16,504.69           0.00      0.00%    28,318.44
          795.39      0.20%     2,911.50    0.90%    -2,116.11        8,018.91      3.42%    -7,223.52    Total Other Benefits                                  34,397.66     2.47%     14,830.99     1.24%    19,566.67       8,763.17      1.25%    25,634.49
        1,840.70      0.47%     4,579.33    1.41%    -2,738.63        9,065.62      3.87%    -7,224.92    Total A&G PR Taxes and Benefits                       42,111.94     3.02%     24,416.29     2.04%    17,695.65      12,342.11      1.76%    29,769.83
       13,497.52      3.41%    16,165.27    4.98%    -2,667.75       20,158.22      8.60%    -6,660.70    Total A&G Payroll                                     97,769.32     7.01%     81,137.72     6.77%    16,631.60      54,259.30      7.73%    43,510.02
                                                                                                          Other Expenses
             0.00      0.00%         0.00    0.00%        0.00         1,000.00      0.43%    -1,000.00   Accounting/Audit Fees                                       0.00     0.00%          0.00     0.00%         0.00       5,000.00      0.71%    -5,000.00
           762.48      0.19%         0.00    0.00%      762.48         2,771.07      1.18%    -2,008.59   Bad Debt Provision                                      5,115.85     0.37%          0.00     0.00%     5,115.85       4,776.33      0.68%       339.52
         1,176.90      0.30%       600.00    0.18%      576.90           571.99      0.24%       604.91   Bank Charges                                            5,640.83     0.40%      3,000.00     0.25%     2,640.83       3,146.75      0.45%     2,494.08
            -0.02      0.00%         0.00    0.00%       -0.02            -0.78      0.00%         0.76   Cash Over/Short                                          -339.75    -0.02%          0.00     0.00%      -339.75          -0.80      0.00%      -338.95
             0.00      0.00%         0.00    0.00%        0.00             0.00      0.00%         0.00   Central Office - Travel Rebilled                            0.00     0.00%          0.00     0.00%         0.00         205.92      0.03%      -205.92
         1,000.00      0.25%     1,000.00    0.31%        0.00             0.00      0.00%     1,000.00   Central Office - Accounting Fees                        5,000.00     0.36%      5,000.00     0.42%         0.00           0.00      0.00%     5,000.00
             0.00      0.00%         0.00    0.00%        0.00           360.00      0.15%      -360.00   Central Office - IT Fees                                    0.00     0.00%          0.00     0.00%         0.00       2,350.00      0.33%    -2,350.00
        11,296.21      2.86%     8,803.98    2.71%    2,492.23         3,927.33      1.68%     7,368.88   Credit Card Commission                                 43,157.73     3.10%     32,494.87     2.71%    10,662.86      14,227.14      2.03%    28,930.59
           218.56      0.06%         0.00    0.00%      218.56            43.56      0.02%       175.00   Dues and Subscriptions                                  2,162.80     0.16%          0.00     0.00%     2,162.80       3,437.80      0.49%    -1,275.00
           174.59      0.04%       225.00    0.07%      -50.41            34.05      0.01%       140.54   Employee Relations                                      1,800.07     0.13%      1,570.00     0.13%       230.07         376.03      0.05%     1,424.04
             0.00      0.00%        44.00    0.01%      -44.00             0.00      0.00%         0.00   Licenses/Permits                                          650.00     0.05%      2,970.00     0.25%    -2,320.00       1,819.91      0.26%    -1,169.91
          -330.94     -0.08%         0.00    0.00%     -330.94          -256.92     -0.11%       -74.02   Miscellaneous Expense                                    -960.01    -0.07%          0.00     0.00%      -960.01         671.49      0.10%    -1,631.50
             0.00      0.00%         0.00    0.00%        0.00           790.49      0.34%      -790.49   Office Supplies                                             0.00     0.00%          0.00     0.00%         0.00       1,709.33      0.24%    -1,709.33
           385.81      0.10%       101.00    0.03%      284.81             0.00      0.00%       385.81   Operating Supplies                                      2,088.73     0.15%        366.00     0.03%     1,722.73          62.00      0.01%     2,026.73
           400.00      0.10%       539.14    0.17%     -139.14           138.56      0.06%       261.44   Payroll Service Fees                                    1,731.00     0.12%      2,490.85     0.21%      -759.85         608.98      0.09%     1,122.02
            76.89      0.02%        76.00    0.02%        0.89             0.00      0.00%        76.89   Postage                                                   527.77     0.04%        274.00     0.02%       253.77         164.02      0.02%       363.75
           150.00      0.04%       350.00    0.11%     -200.00         1,225.38      0.52%    -1,075.38   Professional Fees - Legal                               2,034.27     0.15%      1,750.00     0.15%       284.27       5,633.14      0.80%    -3,598.87
            44.01      0.01%         0.00    0.00%       44.01            90.00      0.04%       -45.99   Professional Fees - Other                               1,729.00     0.12%        650.00     0.05%     1,079.00       1,281.47      0.18%       447.53
            28.95      0.01%        62.00    0.02%      -33.05             0.00      0.00%        28.95   Recruitment Advertising                                   218.95     0.02%        310.00     0.03%       -91.05         190.00      0.03%        28.95
             0.00      0.00%         0.00    0.00%        0.00            28.95      0.01%       -28.95   Recruitment - Other                                         0.00     0.00%          0.00     0.00%         0.00         542.15      0.08%      -542.15
             0.00      0.00%       300.00    0.09%     -300.00             0.00      0.00%         0.00   Security - Outside                                          0.00     0.00%      1,500.00     0.13%    -1,500.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00         1,962.69      0.84%    -1,962.69   Software Expense/Maintenance                                0.00     0.00%          0.00     0.00%         0.00       4,913.45      0.70%    -4,913.45
             0.00      0.00%     1,592.00    0.49%   -1,592.00             0.00      0.00%         0.00   Training                                                2,947.69     0.21%      6,187.00     0.52%    -3,239.31          40.00      0.01%     2,907.69
             0.00      0.00%         0.00    0.00%        0.00             0.00      0.00%         0.00   Uniforms                                                    0.00     0.00%          0.00     0.00%         0.00          65.06      0.01%       -65.06
       15,383.44      3.89%    13,693.12    4.21%    1,690.32        12,686.37      5.41%     2,697.07    Total A&G Other Expenses                              73,504.93     5.27%     58,562.72     4.88%    14,942.21      51,220.17      7.30%    22,284.76
       28,880.96      7.31%    29,858.39    9.19%     -977.43        32,844.59     14.02%    -3,963.63    Total A&G Expenses                                   171,274.25    12.29%    139,700.44    11.65%    31,573.81     105,479.47     15.03%    65,794.78




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             PTD      %        PTD Budget   %         Variance   PTD Last Year    %         Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Management                                         0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Non-Management                                     0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Salaries and Wages                                 0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT PR Taxes and Benefits                              0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Payroll                                            0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                       Cost of Services
             0.00      0.00%       125.00    0.04%     -125.00           0.00      0.00%        0.00   Cost of Cell Phones                                       300.00    0.02%       625.00      0.05%      -325.00           0.00     0.00%       300.00
         2,129.97      0.54%     2,091.25    0.64%       38.72           0.00      0.00%    2,129.97   Cost of Internet Services                              12,748.97    0.91%    10,456.25      0.87%     2,292.72           0.00     0.00%    12,748.97
           534.16      0.14%     1,285.00    0.40%     -750.84           0.00      0.00%      534.16   Cost of Calls                                           9,494.71    0.68%     6,425.00      0.54%     3,069.71           0.00     0.00%     9,494.71
        2,664.13      0.67%     3,501.25    1.08%     -837.12            0.00     0.00%    2,664.13    Total IT Cost of Services                             22,543.68    1.62%    17,506.25      1.46%     5,037.43            0.00    0.00%    22,543.68

                                                                                                       System Costs
         2,002.69      0.51%     2,040.70    0.63%      -38.01           0.00      0.00%    2,002.69   Administrative & General                                3,883.45    0.28%     4,123.50      0.34%      -240.05           0.00     0.00%     3,883.45
         1,136.23      0.29%         0.00    0.00%    1,136.23           0.00      0.00%    1,136.23   Food & Beverage                                         4,022.77    0.29%         0.00      0.00%     4,022.77           0.00     0.00%     4,022.77
             0.00      0.00%        50.00    0.02%      -50.00           0.00      0.00%        0.00   Human Resources                                             0.00    0.00%       250.00      0.02%      -250.00           0.00     0.00%         0.00
           260.00      0.07%       180.00    0.06%       80.00           0.00      0.00%      260.00   Information Systems                                     1,300.00    0.09%       900.00      0.08%       400.00           0.00     0.00%     1,300.00
           121.00      0.03%       121.00    0.04%        0.00           0.00      0.00%      121.00   Property Ops & Maintenance                                605.00    0.04%       605.00      0.05%         0.00           0.00     0.00%       605.00
           242.83      0.06%         0.00    0.00%      242.83           0.00      0.00%      242.83   Rooms                                                   4,162.93    0.30%         0.00      0.00%     4,162.93           0.00     0.00%     4,162.93
        3,762.75      0.95%     2,391.70    0.74%    1,371.05            0.00     0.00%    3,762.75    Total IT Systems                                      13,974.15    1.00%     5,878.50      0.49%     8,095.65            0.00    0.00%    13,974.15

                                                                                                       Other Expenses
             0.00      0.00%        0.00     0.00%       0.00            0.00      0.00%       0.00    Operating Supplies                                         60.76    0.00%        0.00       0.00%       60.76            0.00     0.00%       60.76
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%        0.00    Total IT Other Expenses                                    60.76   0.00%         0.00      0.00%        60.76            0.00    0.00%        60.76

        6,426.88      1.63%     5,892.95    1.81%     533.93             0.00     0.00%    6,426.88    Total IT Expenses                                     36,578.59    2.62%    23,384.75      1.95%    13,193.84            0.00    0.00%    36,578.59




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                                                                                             Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                       As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year    %          Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                         S&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
           150.69      0.04%     4,658.49    1.43%    -4,507.80       4,671.26      1.99%    -4,520.57   Division Management                                    18,232.97    1.31%    22,691.36      1.89%    -4,458.39      22,512.45     3.21%    -4,279.48
          150.69      0.04%     4,658.49    1.43%    -4,507.80       4,671.26      1.99%    -4,520.57    Total S&M Management                                  18,232.97    1.31%    22,691.36      1.89%    -4,458.39      22,512.45     3.21%    -4,279.48
         2,670.84      0.68%     1,914.00    0.59%       756.84       1,792.00      0.76%       878.84   Administrative Assistant                               10,144.44    0.73%     9,194.00      0.77%       950.44       5,896.53     0.84%     4,247.91
           720.90      0.18%         0.00    0.00%       720.90           0.00      0.00%       720.90   Sales Admin Overtime                                      720.90    0.05%         0.00      0.00%       720.90           0.00     0.00%       720.90
        3,391.74      0.86%     1,914.00    0.59%     1,477.74       1,792.00      0.76%     1,599.74    Total S&M Non-Management                              10,865.34    0.78%     9,194.00      0.77%     1,671.34       5,896.53     0.84%     4,968.81

        3,542.43      0.90%     6,572.49    2.02%    -3,030.06       6,463.26      2.76%    -2,920.83    Total S&M Salaries and Wages                          29,098.31    2.09%    31,885.36      2.66%    -2,787.05      28,408.98     4.05%       689.33

                                                                                                         PR Taxes and Benefits
           295.51      0.07%       572.72    0.18%     -277.21          344.37      0.15%       -48.86   FICA                                                    2,738.39    0.20%     2,788.85      0.23%       -50.46       1,629.64     0.23%     1,108.75
            -4.69      0.00%         6.74    0.00%      -11.43           10.29      0.00%       -14.98   Federal Unemployment Tax                                  115.11    0.01%       100.08      0.01%        15.03          72.12     0.01%        42.99
            30.38      0.01%        51.28    0.02%      -20.90           86.63      0.04%       -56.25   State Unemployment Tax                                  1,023.48    0.07%     1,072.74      0.09%       -49.26         577.78     0.08%       445.70
          321.20      0.08%       630.74    0.19%     -309.54          441.29      0.19%      -120.09    Total Payroll Taxes                                    3,876.98    0.28%     3,961.67      0.33%       -84.69       2,279.54     0.32%     1,597.44
           144.00      0.04%         0.00    0.00%      144.00            0.00      0.00%       144.00   Holiday                                                   144.00    0.01%         0.00      0.00%      144.00            0.00     0.00%       144.00
           144.00      0.04%         0.00    0.00%      144.00            0.00      0.00%       144.00   Vacation                                                  144.00    0.01%         0.00      0.00%      144.00            0.00     0.00%       144.00
          288.00      0.07%          0.00   0.00%      288.00             0.00     0.00%       288.00    Total Supplemental Pay                                   288.00    0.02%          0.00     0.00%      288.00             0.00    0.00%       288.00
           182.70      0.05%       285.23    0.09%     -102.53          184.09      0.08%        -1.39   Worker's Compensation                                   1,690.64    0.12%     1,560.25      0.13%      130.39        1,130.30     0.16%       560.34
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00   Payroll Tax/Benefit Allocation                              0.00    0.00%         0.00      0.00%         0.00         178.75     0.03%      -178.75
           590.89      0.15%         0.00    0.00%      590.89        2,883.97      1.23%    -2,293.08   Group Insurance                                         2,581.07    0.19%         0.00      0.00%    2,581.07        2,815.03     0.40%      -233.96
             0.00      0.00%       914.00    0.28%     -914.00            0.00      0.00%         0.00   Bonus and Incentive Pay                                 7,312.50    0.52%     4,570.00      0.38%    2,742.50            0.00     0.00%     7,312.50
          773.59      0.20%     1,199.23    0.37%     -425.64        3,068.06      1.31%    -2,294.47    Total Other Benefits                                  11,584.21    0.83%     6,130.25      0.51%    5,453.96        4,124.08     0.59%     7,460.13
        1,382.79      0.35%     1,829.97    0.56%     -447.18        3,509.35      1.50%    -2,126.56    Total S&M PR Taxes and Benefits                       15,749.19    1.13%    10,091.92      0.84%    5,657.27        6,403.62     0.91%     9,345.57

        4,925.22      1.25%     8,402.46    2.59%    -3,477.24       9,972.61      4.26%    -5,047.39    Total S&M Payroll                                     44,847.50    3.22%    41,977.28      3.50%    2,870.22       34,812.60     4.96%    10,034.90

                                                                                                         Other Expenses
             0.00      0.00%         0.00    0.00%        0.00          440.00      0.19%     -440.00    Advertising General                                         0.00    0.00%         0.00      0.00%         0.00       1,420.00     0.20%    -1,420.00
           815.00      0.21%     1,065.00    0.33%     -250.00            0.00      0.00%      815.00    Advertising-Web/Internet                                3,513.43    0.25%     4,230.00      0.35%      -716.57           0.00     0.00%     3,513.43
             0.00      0.00%        50.00    0.02%      -50.00          170.24      0.07%     -170.24    Brochures                                                   0.00    0.00%       250.00      0.02%      -250.00         170.24     0.02%      -170.24
         1,721.45      0.44%     1,570.00    0.48%      151.45        1,088.00      0.46%      633.45    Dues and Subscriptions                                  9,081.75    0.65%     9,935.00      0.83%      -853.25      19,270.40     2.75%   -10,188.65
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    GDS Marketing Advert & Sales                              123.09    0.01%         0.00      0.00%       123.09           0.00     0.00%       123.09
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Miscellaneous Expense                                   1,233.81    0.09%         0.00      0.00%     1,233.81           0.00     0.00%     1,233.81
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Office Supplies                                             0.00    0.00%         0.00      0.00%         0.00         734.70     0.10%      -734.70
           392.48      0.10%         0.00    0.00%      392.48            0.00      0.00%      392.48    Operating Supplies                                        414.07    0.03%         0.00      0.00%       414.07           0.00     0.00%       414.07
             0.00      0.00%       100.00    0.03%     -100.00            0.00      0.00%        0.00    Promotions - In-house                                      81.84    0.01%       500.00      0.04%      -418.16         238.29     0.03%      -156.45
           255.95      0.06%       640.00    0.20%     -384.05            0.00      0.00%      255.95    Promotion - Outside                                       594.71    0.04%     1,450.00      0.12%      -855.29         406.96     0.06%       187.75
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Trade Shows                                                 0.00    0.00%       400.00      0.03%      -400.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00          995.00      0.42%     -995.00    Training                                                1,217.18    0.09%       995.00      0.08%       222.18       1,745.00     0.25%      -527.82
             0.00      0.00%       175.00    0.05%     -175.00            0.00      0.00%        0.00    Travel                                                      0.00    0.00%     1,375.00      0.11%    -1,375.00           0.00     0.00%         0.00
        3,184.88      0.81%     3,600.00    1.11%     -415.12        2,693.24      1.15%      491.64     Total S&M Other Expenses                              16,259.88    1.17%    19,135.00      1.60%    -2,875.12      23,985.59     3.42%    -7,725.71

        8,110.10      2.05%    12,002.46    3.69%    -3,892.36      12,665.85      5.41%    -4,555.75    Total S&M Expenses                                    61,107.38    4.38%    61,112.28      5.10%        -4.90      58,798.19     8.38%     2,309.19




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                                                                                            Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                                P&L - Dual Summary Pages
                                                                                                                      As of 5/31/2022
             PTD      %        PTD Budget   %         Variance   PTD Last Year    %          Variance                                                               YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                        R&M
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
         4,683.66      1.18%     4,629.80    1.43%       53.86       4,683.66      2.00%        0.00    Division Management                                    22,813.94    1.64%    22,666.17      1.89%      147.77      22,572.21     3.22%       241.73
        4,683.66      1.18%     4,629.80    1.43%        53.86      4,683.66      2.00%         0.00    Total R&M Management                                  22,813.94    1.64%    22,666.17      1.89%      147.77      22,572.21     3.22%       241.73
         2,183.71      0.55%     2,788.00    0.86%     -604.29       2,663.66      1.14%     -479.95    Engineers 1                                            12,557.87    0.90%    13,560.00      1.13%   -1,002.13      13,290.58     1.89%      -732.71
            51.20      0.01%         0.00    0.00%       51.20           0.00      0.00%       51.20    Engineers 1 Overtime                                       51.20    0.00%         0.00      0.00%       51.20           0.00     0.00%        51.20
        2,234.91      0.57%     2,788.00    0.86%     -553.09       2,663.66      1.14%     -428.75     Total R&M Non-Management                              12,609.07    0.90%    13,560.00      1.13%     -950.93      13,290.58     1.89%      -681.51

        6,918.57      1.75%     7,417.80    2.28%     -499.23       7,347.32      3.14%     -428.75     Total R&M Salaries and Wages                          35,423.01    2.54%    36,226.17      3.02%     -803.16      35,862.79     5.11%      -439.78

                                                                                                        PR Taxes and Benefits
           548.61      0.14%       567.46    0.17%      -18.85         541.64      0.23%         6.97   FICA                                                    2,652.88    0.19%     2,771.30      0.23%     -118.42       2,594.67     0.37%        58.21
            -4.14      0.00%         6.68    0.00%      -10.82          16.18      0.01%       -20.32   Federal Unemployment Tax                                   97.45    0.01%        99.67      0.01%       -2.22         116.58     0.02%       -19.13
            26.21      0.01%        50.81    0.02%      -24.60         136.28      0.06%      -110.07   State Unemployment Tax                                    876.00    0.06%     1,066.90      0.09%     -190.90         924.81     0.13%       -48.81
          570.68      0.14%       624.95    0.19%      -54.27         694.10      0.30%      -123.42    Total Payroll Taxes                                    3,626.33    0.26%     3,937.87      0.33%     -311.54       3,636.06     0.52%         -9.73
           659.60      0.17%         0.00    0.00%      659.60           0.00      0.00%       659.60   Vacation                                                  659.60    0.05%         0.00      0.00%      659.60           0.00     0.00%       659.60
          659.60      0.17%          0.00   0.00%      659.60            0.00     0.00%       659.60    Total Supplemental Pay                                   659.60    0.05%          0.00     0.00%      659.60            0.00    0.00%       659.60
           274.06      0.07%       282.61    0.09%       -8.55         291.35      0.12%       -17.29   Worker's Compensation                                   1,586.45    0.11%     1,551.31      0.13%       35.14       1,786.47     0.25%      -200.02
           890.54      0.23%         0.00    0.00%      890.54       5,743.22      2.45%    -4,852.68   Group Insurance                                         4,912.62    0.35%         0.00      0.00%    4,912.62       5,642.46     0.80%      -729.84
        1,164.60      0.29%       282.61    0.09%      881.99       6,034.57      2.58%    -4,869.97    Total Other Benefits                                   6,499.07    0.47%     1,551.31      0.13%    4,947.76       7,428.93     1.06%      -929.86
        2,394.88      0.61%       907.56    0.28%    1,487.32       6,728.67      2.87%    -4,333.79    Total R&M PR Taxes and Benefits                       10,785.00    0.77%     5,489.18      0.46%    5,295.82      11,064.99     1.58%      -279.99

        9,313.45      2.36%     8,325.36    2.56%     988.09       14,075.99      6.01%    -4,762.54    Total R&M Payroll                                     46,208.01    3.31%    41,715.35      3.48%    4,492.66      46,927.78     6.69%      -719.77

                                                                                                        Other Expenses
            45.08      0.01%       333.00    0.10%     -287.92         524.25      0.22%     -479.17    Air Conditioning and Refrigeration                         45.08    0.00%     1,665.00      0.14%   -1,619.92         836.14     0.12%      -791.06
         1,282.37      0.32%       500.00    0.15%      782.37       1,218.73      0.52%       63.64    Building                                                3,020.20    0.22%     2,500.00      0.21%      520.20       1,261.27     0.18%     1,758.93
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00    Contract Labor                                              0.00    0.00%     3,000.00      0.25%   -3,000.00           0.00     0.00%         0.00
             0.00      0.00%        10.00    0.00%      -10.00           0.00      0.00%        0.00    Curtains and Drapes                                         0.00    0.00%        50.00      0.00%      -50.00           0.00     0.00%         0.00
           286.23      0.07%       294.00    0.09%       -7.77        -418.95     -0.18%      705.18    Electric Bulbs                                            805.35    0.06%     1,065.00      0.09%     -259.65       1,042.92     0.15%      -237.57
           787.34      0.20%       335.75    0.10%      451.59         213.68      0.09%      573.66    Electrical and Mechanical                               1,407.65    0.10%     1,678.75      0.14%     -271.10       1,505.99     0.21%       -98.34
         1,705.97      0.43%       300.00    0.09%    1,405.97           0.00      0.00%    1,705.97    Elevator Maintenance Contracts                          2,735.18    0.20%     3,600.00      0.30%     -864.82       3,613.10     0.51%      -877.92
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00    Equipment Maintenance                                       0.00    0.00%         0.00      0.00%        0.00       1,646.40     0.23%    -1,646.40
             0.00      0.00%       300.00    0.09%     -300.00         346.79      0.15%     -346.79    Fire Safety Equipment                                   3,407.91    0.24%     1,650.00      0.14%    1,757.91       2,849.29     0.41%       558.62
             0.00      0.00%        50.00    0.02%      -50.00           0.00      0.00%        0.00    Floor and Carpet Maintenance                                0.00    0.00%     2,700.00      0.23%   -2,700.00          37.10     0.01%       -37.10
           309.52      0.08%        75.00    0.02%      234.52         396.00      0.17%      -86.48    Furniture                                                 370.74    0.03%       375.00      0.03%       -4.26         423.35     0.06%       -52.61
         1,380.00      0.35%     2,500.00    0.77%   -1,120.00       1,532.43      0.65%     -152.43    Grounds and Landscaping                                 6,329.04    0.45%     9,900.00      0.83%   -3,570.96       6,843.35     0.98%      -514.31
           659.36      0.17%        75.00    0.02%      584.36           0.00      0.00%      659.36    Kitchen Equipment Repairs                               1,080.33    0.08%       375.00      0.03%      705.33       2,449.56     0.35%    -1,369.23
           249.80      0.06%       191.67    0.06%       58.13           0.00      0.00%      249.80    Laundry Equipment Repairs                               2,552.49    0.18%       958.35      0.08%    1,594.14           0.00     0.00%     2,552.49
             0.00      0.00%       150.00    0.05%     -150.00         150.00      0.06%     -150.00    Licenses/Permits                                          150.00    0.01%       300.00      0.03%     -150.00         300.00     0.04%      -150.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00    Locks and Keys                                              0.00    0.00%         0.00      0.00%        0.00         221.75     0.03%      -221.75
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00    Office Supplies                                             0.00    0.00%         0.00      0.00%        0.00          32.52     0.00%       -32.52
            82.90      0.02%       215.00    0.07%     -132.10         325.19      0.14%     -242.29    Operating Supplies                                        889.00    0.06%       779.00      0.06%      110.00         814.03     0.12%        74.97
             0.00      0.00%        15.00    0.00%      -15.00          22.45      0.01%      -22.45    Painting and Decorating                                 1,090.43    0.08%        75.00      0.01%    1,015.43          64.89     0.01%     1,025.54
           144.00      0.04%       220.00    0.07%      -76.00         131.00      0.06%       13.00    Pest Control                                            1,233.00    0.09%     1,100.00      0.09%      133.00         818.75     0.12%       414.25
         2,045.27      0.52%       683.00    0.21%    1,362.27         943.53      0.40%    1,101.74    Plumbing and Heating                                   13,789.56    0.99%     2,544.00      0.21%   11,245.56       3,722.08     0.53%    10,067.48
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00    Pool Chemicals                                              0.00    0.00%         0.00      0.00%        0.00         290.79     0.04%      -290.79
           592.68      0.15%       535.00    0.16%       57.68         532.28      0.23%       60.40    Pool Service- Contract                                  5,291.90    0.38%     2,675.00      0.22%    2,616.90       2,661.40     0.38%     2,630.50
           215.91      0.05%        25.00    0.01%      190.91           0.00      0.00%      215.91    Radio and Television Repair                             3,439.71    0.25%       125.00      0.01%    3,314.71           0.00     0.00%     3,439.71
             0.00      0.00%         0.00    0.00%        0.00          32.64      0.01%      -32.64    Signage                                                     0.00    0.00%         0.00      0.00%        0.00         292.34     0.04%      -292.34
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00    Snow Removal                                                0.00    0.00%         0.00      0.00%        0.00       1,560.00     0.22%    -1,560.00
           251.31      0.06%        50.00    0.02%      201.31          62.37      0.03%      188.94    Tools                                                     421.73    0.03%       250.00      0.02%      171.73         202.26     0.03%       219.47
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%        0.00    Travel                                                      0.00    0.00%       500.00      0.04%     -500.00           0.00     0.00%         0.00
             0.00      0.00%        35.00    0.01%      -35.00           0.00      0.00%        0.00    Uniforms                                                    0.00    0.00%       175.00      0.01%     -175.00           0.00     0.00%         0.00
             0.00      0.00%       275.00    0.08%     -275.00           0.00      0.00%        0.00    Vehicle Maintenance & Repairs                               0.00    0.00%     1,375.00      0.11%   -1,375.00           0.00     0.00%         0.00
           905.80      0.23%       350.00    0.11%      555.80         526.62      0.22%      379.18    Waste Removal                                           3,479.44    0.25%     1,750.00      0.15%    1,729.44       1,331.46     0.19%     2,147.98
             0.00      0.00%     1,400.00    0.43%   -1,400.00           0.00      0.00%        0.00    Window Cleaning                                             0.00    0.00%     1,400.00      0.12%   -1,400.00           0.00     0.00%         0.00
       10,943.54      2.77%     8,917.42    2.74%    2,026.12       6,539.01      2.79%    4,404.53     Total R&M Other Expenses                              51,538.74    3.70%    42,565.10      3.55%    8,973.64      34,820.74     4.96%    16,718.00


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             PTD      %       PTD Budget   %        Variance   PTD Last Year    %        Variance                                                               YTD    %       YTD Budget %             Variance   YTD Last Year    %         Variance

       20,256.99      5.12%   17,242.78    5.31%   3,014.21      20,615.00      8.80%    -358.01    Total R&M Expenses                                     97,746.75   7.01%   84,280.45      7.03%   13,466.30      81,748.52     11.65%   15,998.23




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             PTD      %        PTD Budget   %         Variance   PTD Last Year    %         Variance                                                               YTD    %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                       Utilities
         2,502.03      0.63%     1,100.00    0.34%    1,402.03       1,191.95      0.51%    1,310.08   Water                                                   9,175.67    0.66%     3,350.00      0.28%    5,825.67       2,870.66     0.41%    6,305.01
         7,977.73      2.02%     7,853.00    2.42%      124.73       8,361.39      3.57%     -383.66   Electricity                                            45,356.86    3.25%    44,915.00      3.75%      441.86      47,418.39     6.76%   -2,061.53
         1,927.47      0.49%       790.00    0.24%    1,137.47         893.41      0.38%    1,034.06   Gas - Natural HLP                                       7,967.49    0.57%     4,536.00      0.38%    3,431.49       4,268.88     0.61%    3,698.61
             0.00      0.00%         0.00    0.00%        0.00       1,359.27      0.58%   -1,359.27   Sewer                                                       0.00    0.00%         0.00      0.00%        0.00       4,547.88     0.65%   -4,547.88
             0.00      0.00%     1,400.00    0.43%   -1,400.00           0.00      0.00%        0.00   Steam                                                       0.00    0.00%     4,610.00      0.38%   -4,610.00           0.00     0.00%        0.00
       12,407.23      3.14%    11,143.00    3.43%    1,264.23      11,806.02      5.04%      601.21    Total Utilities                                       62,500.02    4.48%    57,411.00      4.79%    5,089.02      59,105.81     8.42%    3,394.21




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                                                                                             Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %        PTD Budget   %           Variance   PTD Last Year    %         Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                         Fixed
        15,497.00      3.92%    15,497.00    4.77%          0.00      15,497.00      6.61%        0.00   Real Estate Taxes                                      77,485.00    5.56%    77,485.00      6.46%         0.00      73,340.80     10.45%     4,144.20
       15,497.00      3.92%    15,497.00    4.77%           0.00     15,497.00      6.61%         0.00   Total Taxes                                           77,485.00    5.56%    77,485.00      6.46%          0.00     73,340.80     10.45%     4,144.20
           414.67      0.10%       414.67    0.13%          0.00           0.00      0.00%      414.67   Insurance                                               2,073.35    0.15%     2,073.35      0.17%         0.00           0.00      0.00%     2,073.35
           311.13      0.08%       400.25    0.12%        -89.12         250.00      0.11%       61.13   Insurance - Automobile                                  1,866.78    0.13%     2,001.25      0.17%      -134.47       1,250.00      0.18%       616.78
            46.00      0.01%        46.00    0.01%          0.00           0.00      0.00%       46.00   Insurance - Crime                                         230.00    0.02%       230.00      0.02%         0.00           0.00      0.00%       230.00
           526.50      0.13%       526.50    0.16%          0.00          59.71      0.03%      466.79   Insurance - Employment                                  2,632.50    0.19%     2,632.50      0.22%         0.00         298.56      0.04%     2,333.94
         2,299.21      0.58%     1,455.58    0.45%        843.63       1,178.86      0.50%    1,120.35   Insurance - General Liability                          13,610.18    0.98%     7,277.90      0.61%     6,332.28       6,894.29      0.98%     6,715.89
         2,425.75      0.61%     2,313.42    0.71%        112.33       2,500.00      1.07%      -74.25   Insurance - Property                                   12,128.75    0.87%    11,567.10      0.96%       561.65      15,500.00      2.21%    -3,371.25
            64.00      0.02%     2,262.75    0.70%     -2,198.75           0.00      0.00%       64.00   Insurance - Umbrella                                      320.00    0.02%    11,313.75      0.94%   -10,993.75           0.00      0.00%       320.00
        6,087.26      1.54%     7,419.17    2.28%     -1,331.91       3,988.57      1.70%    2,098.69    Total Insurance                                       32,861.56    2.36%    37,095.85      3.09%    -4,234.29      23,942.85      3.41%     8,918.71
        19,094.00      4.83%    19,094.00    5.88%          0.00      18,674.00      7.97%      420.00   Ground Lease Expense                                   93,790.00    6.73%    93,790.00      7.82%         0.00      91,726.00     13.07%     2,064.00
         1,784.12      0.45%         0.00    0.00%      1,784.12           0.00      0.00%    1,784.12   Vehicle Leases                                          4,504.90    0.32%         0.00      0.00%     4,504.90       3,967.74      0.57%       537.16
       20,878.12      5.28%    19,094.00    5.88%      1,784.12      18,674.00      7.97%    2,204.12    Total Leases & Rent                                   98,294.90    7.05%    93,790.00      7.82%     4,504.90      95,693.74     13.63%     2,601.16
        12,358.58      3.13%     9,746.10    3.00%      2,612.48       7,529.49      3.21%    4,829.09   Management Fee - Base                                  44,324.23    3.18%    35,972.18      3.00%     8,352.05      28,201.75      4.02%    16,122.48
       12,358.58      3.13%     9,746.10    3.00%      2,612.48       7,529.49      3.21%    4,829.09    Total Management Fees                                 44,324.23    3.18%    35,972.18      3.00%     8,352.05      28,201.75      4.02%    16,122.48
             0.00      0.00%    10,700.00    3.29%    -10,700.00           0.00      0.00%        0.00   Capital Reserve                                        27,083.72    1.94%    21,930.00      1.83%     5,153.72       6,631.20      0.94%    20,452.52
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%        0.00   Owner's Expense                                             0.00    0.00%         0.00      0.00%         0.00         949.17      0.14%      -949.17
             0.00     0.00%    10,700.00    3.29%    -10,700.00            0.00     0.00%         0.00   Total Other Non-Operating                             27,083.72    1.94%    21,930.00      1.83%     5,153.72       7,580.37      1.08%    19,503.35




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              PTD     %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                                              YTD      %          YTD Budget %               Variance   YTD Last Year     %           Variance

                                                                                                              Statistics
           197.00                   197.00                   0.00          197.00                      0.00   # Rooms                                                 197.00                     197.00                    0.00          197.00                      0.00
         6,107.00                 6,107.00                   0.00        6,107.00                      0.00   Available Rooms                                      29,747.00                  29,747.00                    0.00       29,747.00                      0.00
         2,400.00                 2,186.00                 214.00        3,162.00                   -762.00   Room Nights Sold                                     12,475.00                   9,139.00                3,336.00       10,425.00                  2,050.00
          39.30%                   35.79%                  3.50%          51.78%                   -12.48%    Occupancy %                                            41.94%                     30.72%                  11.21%          35.05%                     6.89%
            90.91                   128.18                 -37.27           74.41                     16.50   ADR                                                      84.46                     116.62                  -32.16           72.73                     11.73
            35.73                    45.88                 -10.15           38.53                     -2.80   RevPar                                                   35.42                      35.83                   -0.41           25.49                      9.93

                                                                                                              Summary V.11
                                                                                                              Revenue
       218,183.79    91.75%    280,193.45     93.94%   -62,009.66      235,291.35     95.50%    -17,107.56    Rooms                                              1,053,592.98    92.40%     1,065,782.94    93.59%   -12,189.96      758,178.26     95.23%    295,414.72
        13,175.05     5.54%     14,500.00      4.86%    -1,324.95        1,625.84      0.66%     11,549.21    F&B                                                   50,752.49     4.45%        59,400.00     5.22%    -8,647.51        6,141.73      0.77%     44,610.76
         6,432.78     2.71%      3,560.00      1.19%     2,872.78        9,461.19      3.84%     -3,028.41    Other Departments                                     35,881.95     3.15%        13,551.00     1.19%    22,330.95       31,860.44      4.00%      4,021.51

      237,791.62    100.00%    298,253.45    100.00%   -60,461.83     246,378.38     100.00%     -8,586.76    Total Operating Revenue                           1,140,227.42    100.00%    1,138,733.94 100.00%        1,493.48     796,180.43 100.00%        344,046.99

                                                                                                              Departmental Expenses
        57,533.61    26.37%     63,666.49     22.72%     -6,132.88      61,901.29     26.31%     -4,367.68    Rooms                                               261,658.07     24.83%      273,843.02     25.69%   -12,184.95      202,386.82     26.69%     59,271.25
        21,666.29   164.45%     14,729.20    101.58%      6,937.09       5,050.60    310.65%     16,615.69    F&B                                                  70,751.85    139.41%       72,152.70    121.47%    -1,400.85       23,405.26    381.09%     47,346.59
         2,018.87    31.38%      2,284.45     64.17%       -265.58       4,018.48     42.47%     -1,999.61    Other Departments                                    14,958.72     41.69%        8,660.40     63.91%     6,298.32       14,889.36     46.73%         69.36

       81,218.77     34.16%     80,680.14    27.05%        538.63      70,970.37     28.81%     10,248.40     Total Departmental Expenses                        347,368.64     30.46%      354,656.12     31.14%     -7,287.48     240,681.44     30.23%     106,687.20

      156,572.85     65.84%    217,573.31    72.95%    -61,000.46     175,408.01     71.19%     -18,835.16    Total Departmental Profit                          792,858.78     69.54%      784,077.82     68.86%      8,780.96     555,498.99     69.77%     237,359.79

                                                                                                              Undistributed Operating Expenses
        28,851.94    12.13%     23,378.34      7.84%      5,473.60      31,753.49     12.89%      -2,901.55   A&G                                                 168,073.01     14.74%      137,406.15     12.07%    30,666.86      124,800.31     15.67%     43,272.70
         6,683.80     2.81%      6,465.20      2.17%        218.60           0.00      0.00%       6,683.80   IT                                                   30,014.24      2.63%       26,246.00      2.30%     3,768.24            0.00      0.00%     30,014.24
        16,629.95     6.99%     22,848.97      7.66%     -6,219.02      12,280.20      4.98%       4,349.75   S&M                                                  73,987.94      6.49%       82,128.67      7.21%    -8,140.73       63,074.74      7.92%     10,913.20
        29,283.35    12.31%     34,239.64     11.48%     -4,956.29      30,914.90     12.55%      -1,631.55   Franchise Fees                                      138,108.39     12.11%      130,238.68     11.44%     7,869.71      105,933.85     13.31%     32,174.54
        25,800.62    10.85%     17,751.40      5.95%      8,049.22      17,685.02      7.18%       8,115.60   R&M                                                 101,000.20      8.86%       96,615.52      8.48%     4,384.68       56,073.06      7.04%     44,927.14
        16,548.88     6.96%     21,258.84      7.13%     -4,709.96      14,646.28      5.94%       1,902.60   Utilities                                            73,353.12      6.43%       80,247.83      7.05%    -6,894.71       61,073.61      7.67%     12,279.51

      123,798.54     52.06%    125,942.39    42.23%     -2,143.85     107,279.89     43.54%     16,518.65     Total Undistributed Expenses                       584,536.90     51.26%      552,882.85     48.55%    31,654.05      410,955.57     51.62%     173,581.33

       32,774.31     13.78%     91,630.92    30.72%    -58,856.61      68,128.12     27.65%     -35,353.81    Gross Operating Profit                             208,321.88     18.27%      231,194.97     20.30%    -22,873.09     144,543.42     18.15%      63,778.46
         7,633.75      3.21%      8,947.60     3.00%     -1,313.85       7,891.35      3.20%        -257.60   Management Fees                                      36,705.57      3.22%       34,162.01      3.00%      2,543.56      30,964.69      3.89%       5,740.88
       25,140.56     10.57%     82,683.32    27.72%    -57,542.76      60,236.77     24.45%     -35,096.21    Income Before Non-Operating Income and Expenses    171,616.31     15.05%      197,032.96     17.30%    -25,416.65     113,578.73     14.27%      58,037.58

                                                                                                              Non-Operating Income and Expenses
         8,608.89      3.62%     13,791.00     4.62%     -5,182.11       9,188.28      3.73%       -579.39    Insurance                                            48,878.58      4.29%       68,955.00      6.06%    -20,076.42      45,941.43      5.77%       2,937.15
        55,355.00     23.28%     55,355.00    18.56%          0.00      53,873.00     21.87%      1,482.00    Leases & Rent                                       270,847.00     23.75%      270,847.00     23.78%          0.00     263,597.00     33.11%       7,250.00
             0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00    Other                                                 7,306.30      0.64%            0.00      0.00%      7,306.30      15,435.39      1.94%      -8,129.09
       63,963.89     26.90%     69,146.00    23.18%     -5,182.11      63,061.28     25.60%        902.61     Total Non-Operating Income and Expenses            327,031.88     28.68%      339,802.00     29.84%    -12,770.12     324,973.82     40.82%       2,058.06

      -38,823.33    -16.33%     13,537.32     4.54%    -52,360.65      -2,824.51      -1.15%    -35,998.82    EBITDA                                            -155,415.57     -13.63%    -142,769.04 -12.54%       -12,646.53    -211,395.09     -26.55%     55,979.52
             0.00      0.00%          0.00     0.00%          0.00           0.00       0.00%          0.00   Interest                                                  0.00       0.00%           0.00   0.00%             0.00           0.00       0.00%          0.00
        36,533.11     15.36%     18,135.00     6.08%     18,398.11      18,135.00       7.36%     18,398.11   Taxes                                               109,073.11       9.57%      90,675.00   7.96%        18,398.11      90,675.00      11.39%     18,398.11
       36,533.11     15.36%     18,135.00     6.08%     18,398.11      18,135.00       7.36%     18,398.11    Interest, Taxes, Depreciation and Amortization     109,073.11       9.57%      90,675.00   7.96%        18,398.11      90,675.00      11.39%     18,398.11

      -75,356.44    -31.69%     -4,597.68     -1.54%   -70,758.76     -20,959.51      -8.51%    -54,396.93    Net Income                                        -264,488.68     -23.20%    -233,444.04 -20.50%       -31,044.64    -302,070.09     -37.94%     37,581.41




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              PTD     %       PTD Budget    %          Variance   PTD Last Year    %          Variance                                                              YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                         Statistics
           197.00                 197.00                  0.00          197.00                   0.00    # Rooms                                                 197.00                   197.00                   0.00          197.00                    0.00
         6,107.00               6,107.00                  0.00        6,107.00                   0.00    Available Rooms                                      29,747.00                29,747.00                   0.00       29,747.00                    0.00
         2,400.00               2,186.00                214.00        3,162.00                -762.00    Room Nights Sold                                     12,475.00                 9,139.00               3,336.00       10,425.00                2,050.00
             0.39                   0.36                  0.04            0.52                  -0.12    Occupancy %                                               0.42                     0.31                   0.11            0.35                    0.07
            90.91                 128.18                -37.27           74.41                  16.50    ADR                                                      84.46                   116.62                 -32.16           72.73                   11.73
            35.73                  45.88                -10.15           38.53                  -2.80    RevPar                                                   35.42                    35.83                  -0.41           25.49                    9.93

                                                                                                         Summary
                                                                                                         Revenue:
       218,183.79    91.75%   280,193.45   93.94%    -62,009.66     235,291.35     95.50%   -17,107.56   Rooms                                              1,053,592.98   92.40%    1,065,782.94    93.59%   -12,189.96     758,178.26    95.23%    295,414.72
         8,025.55     3.38%     9,000.00    3.02%       -974.45         410.64      0.17%     7,614.91   Food                                                  32,441.60    2.85%       37,500.00     3.29%    -5,058.40       1,293.59     0.16%     31,148.01
         2,247.00     0.94%     5,000.00    1.68%     -2,753.00         975.20      0.40%     1,271.80   Beverage                                               9,170.19    0.80%       19,700.00     1.73%   -10,529.81       2,443.90     0.31%      6,726.29
         2,902.50     1.22%       500.00    0.17%      2,402.50         240.00      0.10%     2,662.50   Other F&B Revenue                                      9,140.70    0.80%        2,200.00     0.19%     6,940.70       2,404.24     0.30%      6,736.46
             0.00     0.00%         0.00    0.00%          0.00          39.43      0.02%       -39.43   Telephone                                                  0.00    0.00%            0.00     0.00%         0.00         188.79     0.02%       -188.79
         6,432.78     2.71%     3,560.00    1.19%      2,872.78       9,421.76      3.82%    -2,988.98   Other                                                 35,881.95    3.15%       13,551.00     1.19%    22,330.95      31,671.65     3.98%      4,210.30

       237,791.62   100.00%   298,253.45   100.00%   -60,461.83     246,378.38    100.00%    -8,586.76   Total Revenue                                      1,140,227.42   100.00%   1,138,733.94   100.00%    1,493.48      796,180.43    100.00%   344,046.99



                                                                                                         Cost of Sales:
         5,646.87    70.36%     2,700.00   30.00%     2,946.87          514.74    125.35%     5,132.13   Food                                                 20,719.71    63.87%      11,250.00     30.00%    9,469.71        2,846.51    220.05%    17,873.20
         3,264.78   145.30%     1,150.00   23.00%     2,114.78        1,176.13    120.60%     2,088.65   Beverage                                              6,659.41    72.62%       4,531.00     23.00%    2,128.41        1,870.73     76.55%     4,788.68
           150.62     5.19%         0.00    0.00%       150.62           65.33     27.22%        85.29   Other F&B                                               618.35     6.76%           0.00      0.00%      618.35          134.41      5.59%       483.94
             0.00     0.00%         0.00    0.00%         0.00        1,560.32     16.49%    -1,560.32   Telephone                                                 0.00     0.00%           0.00      0.00%        0.00        7,758.83     24.35%    -7,758.83
         2,018.87    31.38%     2,284.45   64.17%      -265.58        1,965.66     20.78%        53.21   Other                                                14,958.72    41.69%       8,660.40     63.91%    6,298.32        5,160.12     16.20%     9,798.60

        11,081.14   172.26%     6,134.45   172.32%    4,946.69        5,282.18     55.83%    5,798.96    Total Cost of Sales                                  42,956.19    119.72%     24,441.40    180.37%   18,514.79       17,770.60    55.78%     25,185.59



                                                                                                         Payroll:
        33,436.21    15.32%    37,059.33   13.23%     -3,623.12      28,710.43     12.20%    4,725.78    Rooms                                               148,590.02    14.10%     162,444.86     15.24%   -13,854.84     118,147.64    15.58%     30,442.38
         8,944.74    67.89%     7,688.00   53.02%      1,256.74       1,833.87    112.80%    7,110.87    F&B                                                  28,237.34    55.64%      37,448.00     63.04%    -9,210.66       4,544.05    73.99%     23,693.29
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%        0.00    Other                                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        12,377.80     5.21%     9,807.17    3.29%      2,570.63       9,313.19      3.78%    3,064.61    A&G                                                  47,691.72     4.18%      48,013.08      4.22%      -321.36      49,592.92     6.23%     -1,901.20
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%        0.00    IT                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         6,935.33     2.92%     7,012.79    2.35%        -77.46       5,535.71      2.25%    1,399.62    S&M                                                  31,631.32     2.77%      34,290.51      3.01%    -2,659.19      26,428.57     3.32%      5,202.75
         8,938.93     3.76%     9,346.26    3.13%       -407.33       6,446.80      2.62%    2,492.13    R&M                                                  31,745.81     2.78%      45,616.33      4.01%   -13,870.52      21,743.53     2.73%     10,002.28
        70,633.01    29.70%    70,913.55   23.78%       -280.54      51,840.00     21.04%   18,793.01    Total Salaries and Wages                            287,896.21    25.25%     327,812.78     28.79%   -39,916.57     220,456.71    27.69%     67,439.50

        18,170.05     7.64%    22,439.82    7.52%     -4,269.77      28,019.01     11.37%    -9,848.96   Total Taxes and Benefits                             91,568.22     8.03%     104,321.12      9.16%   -12,752.90      46,009.54     5.78%     45,558.68
        88,803.06    37.34%    93,353.37   31.30%     -4,550.31      79,859.01     32.41%     8,944.05   Total Labor Costs                                   379,464.43    33.28%     432,133.90     37.95%   -52,669.47     266,466.25    33.47%    112,998.18



                                                                                                         Direct Expenses:
        17,449.67     8.00%    20,784.05    7.42%     -3,334.38      15,906.35      6.76%     1,543.32   Rooms                                                82,833.19     7.86%      80,696.90      7.57%    2,136.29       58,318.39      7.69%    24,514.80
         1,306.89     9.92%     1,990.76   13.73%       -683.87       1,101.43     67.75%       205.46   F&B                                                   6,940.76    13.68%      12,598.80     21.21%   -5,658.04       13,300.79    216.56%    -6,360.03
             0.00     0.00%         0.00    0.00%          0.00         492.50      5.21%      -492.50   Telephone                                                 0.00     0.00%           0.00      0.00%        0.00        1,970.41      6.18%    -1,970.41
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00   Other                                                     0.00     0.00%           0.00      0.00%        0.00            0.00      0.00%         0.00
        29,283.35    12.31%    34,239.64   11.48%     -4,956.29      30,914.90     12.55%    -1,631.55   Franchise Fees                                      138,108.39    12.11%     130,238.68     11.44%    7,869.71      105,933.85     13.31%    32,174.54
        13,732.76     5.78%    11,816.22    3.96%      1,916.54      17,695.59      7.18%    -3,962.83   A&G                                                  88,623.73     7.77%      58,182.46      5.11%   30,441.27       65,154.00      8.18%    23,469.73
         6,683.80     2.81%     6,465.20    2.17%        218.60           0.00      0.00%     6,683.80   IT                                                   30,014.24     2.63%      26,246.00      2.30%    3,768.24            0.00      0.00%    30,014.24
         4,544.28     1.91%     3,596.00    1.21%        948.28       2,814.22      1.14%     1,730.06   S&M                                                  24,570.86     2.15%      19,383.00      1.70%    5,187.86       30,675.68      3.85%    -6,104.82
        15,583.48     6.55%     6,984.00    2.34%      8,599.48       9,537.80      3.87%     6,045.68   R&M                                                  65,040.63     5.70%      43,370.00      3.81%   21,670.63       30,973.43      3.89%    34,067.20
        16,548.88     6.96%    21,258.84    7.13%     -4,709.96      14,646.28      5.94%     1,902.60   Utilities                                            73,353.12     6.43%      80,247.83      7.05%   -6,894.71       61,073.61      7.67%    12,279.51

       105,133.11    44.21%   107,134.71   35.92%     -2,001.60      93,109.07     37.79%   12,024.04    Total Direct Expense                                509,484.92    44.68%     450,963.67     39.60%   58,521.25      367,400.16    46.15%    142,084.76

        32,774.31    13.78%    91,630.92   30.72%    -58,856.61      68,128.12     27.65%   -35,353.81   Gross Operating Profit                              208,321.88    18.27%     231,194.97     20.30%   -22,873.09     144,543.42    18.15%     63,778.46

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                                                                                               Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
              PTD     %           PTD Budget   %          Variance   PTD Last Year    %          Variance                                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %         Variance




                                                                                                            Fixed Costs
        36,533.11    15.36%        18,135.00    6.08%   18,398.11       18,135.00      7.36%   18,398.11    Taxes                                               109,073.11    9.57%     90,675.00      7.96%    18,398.11      90,675.00    11.39%    18,398.11
         8,608.89     3.62%        13,791.00    4.62%   -5,182.11        9,188.28      3.73%     -579.39    Insurance                                            48,878.58    4.29%     68,955.00      6.06%   -20,076.42      45,941.43     5.77%     2,937.15
        55,355.00    23.28%        55,355.00   18.56%        0.00       53,873.00     21.87%    1,482.00    Leases & Rent                                       270,847.00   23.75%    270,847.00     23.78%         0.00     263,597.00    33.11%     7,250.00
         7,633.75     3.21%         8,947.60    3.00%   -1,313.85        7,891.35      3.20%     -257.60    Management Fees                                      36,705.57    3.22%     34,162.01      3.00%     2,543.56      30,964.69     3.89%     5,740.88

       108,130.75    45.47%        96,228.60   32.26%   11,902.15       89,087.63     36.16%   19,043.12    Total Fixed Expenses                                465,504.26   40.83%    464,639.01     40.80%      865.25      431,178.12    54.16%    34,326.14

       -75,356.44    -31.69%       -4,597.68   -1.54%   -70,758.76     -20,959.51     -8.51%   -54,396.93   Net Operating Profit                               -257,182.38   -22.56%   -233,444.04   -20.50%   -23,738.34    -286,634.70    -36.00%   29,452.32



             0.00         0.00%         0.00   0.00%         0.00            0.00     0.00%         0.00    Owner's Expense                                           0.00    0.00%           0.00    0.00%         0.00          949.17     0.12%      -949.17
             0.00         0.00%         0.00   0.00%         0.00            0.00     0.00%         0.00    Prior Owner's Expense                                     0.00    0.00%           0.00    0.00%         0.00          317.20     0.04%      -317.20



       -75,356.44    -31.69%       -4,597.68   -1.54%   -70,758.76     -20,959.51     -8.51%   -54,396.93   Net Operating Income                               -257,182.38   -22.56%   -233,444.04   -20.50%   -23,738.34    -287,901.07    -36.16%   30,718.69

             0.00         0.00%         0.00   0.00%         0.00            0.00     0.00%         0.00    Capital Reserve                                       7,306.30    0.64%           0.00    0.00%     7,306.30       14,169.02     1.78%    -6,862.72

       -75,356.44    -31.69%       -4,597.68   -1.54%   -70,758.76     -20,959.51     -8.51%   -54,396.93   Adjusted NOI                                       -264,488.68   -23.20%   -233,444.04   -20.50%   -31,044.64    -302,070.09    -37.94%   37,581.41




       -75,356.44    -31.69%       -4,597.68   -1.54%   -70,758.76     -20,959.51     -8.51%   -54,396.93   Net Profit/(Loss)                                  -264,488.68   -23.20%   -233,444.04   -20.50%   -31,044.64    -302,070.09    -37.94%   37,581.41




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                                                                                                 Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %           PTD Budget     %         Variance   PTD Last Year     %         Variance                                                              YTD     %          YTD Budget %                Variance   YTD Last Year    %          Variance

                                                                                                             Rooms
                                                                                                             Room Revenue
                                                                                                             Transient Room Revenue
             0.00     0.00%        29,625.00    10.57%   -29,625.00      22,748.38      9.67%   -22,748.38   Corporate Transient                                   40,047.99     3.80%     103,613.00      9.72%    -63,565.01       64,119.72     8.46%   -24,071.73
        13,150.79     6.03%        27,250.00     9.73%   -14,099.21      18,024.78      7.66%    -4,873.99   Advanced Purchase                                     64,600.12     6.13%     157,117.00     14.74%    -92,516.88       97,809.25    12.90%   -33,209.13
        17,878.70     8.19%        28,593.36    10.20%   -10,714.66      16,126.85      6.85%     1,751.85   Qualified Discounts                                   77,706.95     7.38%     104,509.52      9.81%    -26,802.57       39,299.55     5.18%    38,407.40
         6,297.00     2.89%         5,912.00     2.11%       385.00       5,928.00      2.52%       369.00   Employee                                              23,340.20     2.22%      25,045.57      2.35%     -1,705.37       16,291.00     2.15%     7,049.20
             0.00     0.00%             0.00     0.00%         0.00           0.00      0.00%         0.00   Leisure Transient                                          0.00     0.00%           0.00      0.00%          0.00        8,569.68     1.13%    -8,569.68
           213.00     0.10%         2,064.40     0.74%    -1,851.40       2,064.40      0.88%    -1,851.40   Travel Agent/Friends & Family                          7,624.28     0.72%       8,263.00      0.78%       -638.72        9,514.60     1.25%    -1,890.32
         1,212.00     0.56%             0.00     0.00%     1,212.00       9,567.00      4.07%    -8,355.00   Leisure Package Transient                             13,910.00     1.32%           0.00      0.00%     13,910.00       19,548.00     2.58%    -5,638.00
         3,018.30     1.38%         3,689.00     1.32%      -670.70       4,896.10      2.08%    -1,877.80   Member Reward Stay                                    17,520.70     1.66%      11,407.00      1.07%      6,113.70       13,147.00     1.73%     4,373.70
        22,147.00    10.15%        66,490.00    23.73%   -44,343.00           0.00      0.00%    22,147.00   Non Qualified Discounts                               45,182.00     4.29%     185,906.40     17.44%   -140,724.40            0.00     0.00%    45,182.00
        31,587.82    14.48%             0.00     0.00%    31,587.82           0.00      0.00%    31,587.82   Internet/E-Commerce                                   76,794.05     7.29%           0.00      0.00%     76,794.05            0.00     0.00%    76,794.05
           142.35     0.07%             0.00     0.00%       142.35      60,942.61     25.90%   -60,800.26   E-Commerce Opaque                                    100,786.62     9.57%           0.00      0.00%    100,786.62      148,104.52    19.53%   -47,317.90
             0.00     0.00%             0.00     0.00%         0.00           0.00      0.00%         0.00   Other Transient                                            0.00     0.00%           0.00      0.00%          0.00       21,429.54     2.83%   -21,429.54
         1,407.00     0.64%         1,014.99     0.36%       392.01         936.00      0.40%       471.00   Government Transient                                   7,994.00     0.76%       2,810.99      0.26%      5,183.01        2,360.00     0.31%     5,634.00
        83,802.82    38.41%       108,069.00    38.57%   -24,266.18      84,665.37     35.98%      -862.55   Rack Transient                                       399,177.00    37.89%     419,679.00     39.38%    -20,502.00      285,522.31    37.66%   113,654.69
        11,311.18     5.18%             0.00     0.00%    11,311.18           0.00      0.00%    11,311.18   Local Negotiated Transient                            31,060.37     2.95%           0.00      0.00%     31,060.37           69.00     0.01%    30,991.37

      192,167.96     88.08%       272,707.75   97.33%    -80,539.79    225,899.49     96.01%    -33,731.53   Total Transient Room Revenue                        905,744.28    85.97%    1,018,351.48   95.55%     -112,607.20     725,784.17     95.73%   179,960.11

                                                                                                             Group Room Revenue
        12,951.00         5.94%     4,760.00     1.70%     8,191.00       8,546.00      3.63%     4,405.00   Corporate Group                                      108,222.52    10.27%       4,760.00     0.45%     103,462.52       28,625.00     3.78%    79,597.52
             0.00         0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00   Leisure Group                                              0.00     0.00%           0.00     0.00%           0.00          158.00     0.02%      -158.00
             0.00         0.00%     1,400.00     0.50%    -1,400.00           0.00      0.00%         0.00   SMERF Group                                                0.00     0.00%      17,525.00     1.64%     -17,525.00            0.00     0.00%         0.00
             0.00         0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00   Sports Group                                               0.00     0.00%      19,875.00     1.86%     -19,875.00            0.00     0.00%         0.00

       12,951.00      5.94%         6,160.00    2.20%     6,791.00       8,546.00      3.63%     4,405.00    Total Group Room Revenue                            108,222.52    10.27%      42,160.00      3.96%     66,062.52       28,783.00     3.80%     79,439.52

                                                                                                             Contract Room Revenue
        11,311.18         5.18%       725.70     0.26%    10,585.48         972.30      0.41%    10,338.88   Other Contract                                        31,775.88     3.02%       2,271.46     0.21%      29,504.42        3,204.90     0.42%    28,570.98

       11,311.18      5.18%          725.70     0.26%    10,585.48         972.30      0.41%    10,338.88    Total Contract Room Revenue                          31,775.88     3.02%        2,271.46     0.21%     29,504.42        3,204.90     0.42%     28,570.98

                                                                                                             Other Room Revenue
         1,171.90         0.54%       250.00     0.09%       921.90         658.56      0.28%       513.34   No-Show Rooms                                          7,451.55     0.71%       1,250.00     0.12%       6,201.55        5,130.07     0.68%      2,321.48
           930.95         0.43%       350.00     0.12%       580.95           0.00      0.00%       930.95   Pet/Smoking/Damage Fees                                2,130.95     0.20%       1,750.00     0.16%         380.95            0.00     0.00%      2,130.95

        2,102.85      0.96%          600.00     0.21%     1,502.85         658.56      0.28%     1,444.29    Total Other Room Revenue                               9,582.50    0.91%        3,000.00     0.28%       6,582.50       5,130.07     0.68%      4,452.43

          -349.20     -0.16%            0.00     0.00%      -349.20        -785.00     -0.33%       435.80   Less: Allowances                                      -1,732.20    -0.16%           0.00     0.00%       -1,732.20      -4,723.88    -0.62%      2,991.68

      218,183.79    100.00%       280,193.45   100.00%   -62,009.66    235,291.35     100.00%   -17,107.56   Total Room Revenue                                 1,053,592.98   100.00%   1,065,782.94 100.00%       -12,189.96     758,178.26 100.00%      295,414.72

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         3,832.42      1.76%            0.00     0.00%     3,832.42           0.00      0.00%     3,832.42   Front Office Management                               18,667.59     1.77%           0.00      0.00%      18,667.59           0.00     0.00%     18,667.59
             0.00      0.00%        4,494.95     1.60%    -4,494.95         219.78      0.09%      -219.78   Housekeeping Management                                    0.00     0.00%      22,005.99      2.06%     -22,005.99       6,153.84     0.81%     -6,153.84
        3,832.42      1.76%        4,494.95     1.60%      -662.53         219.78      0.09%     3,612.64    Total Rooms Management                               18,667.59     1.77%      22,005.99      2.06%      -3,338.40       6,153.84     0.81%     12,513.75
         7,427.15      3.40%        3,826.29     1.37%     3,600.86       8,832.29      3.75%    -1,405.14   Front Office Agents                                   35,306.00     3.35%      18,637.73      1.75%      16,668.27      46,744.49     6.17%    -11,438.49
           806.66      0.37%            0.00     0.00%       806.66           0.00      0.00%       806.66   Front Office Agents Overtime                             806.66     0.08%           0.00      0.00%         806.66           0.00     0.00%        806.66
         1,684.59      0.77%        2,480.00     0.89%      -795.41           0.00      0.00%     1,684.59   Front Office Supervisors                               6,073.49     0.58%      12,080.00      1.13%      -6,006.51           0.00     0.00%      6,073.49
           110.16      0.05%            0.00     0.00%       110.16           0.00      0.00%       110.16   Front Office Supervisors Overtime                        110.16     0.01%           0.00      0.00%         110.16           0.00     0.00%        110.16
             0.00      0.00%        3,224.00     1.15%    -3,224.00           0.00      0.00%         0.00   Night Auditors                                             0.00     0.00%      15,704.00      1.47%     -15,704.00           0.00     0.00%          0.00
       10,028.56      4.60%        9,530.29     3.40%       498.27       8,832.29      3.75%     1,196.27    Total Rooms Front Office                             42,296.31     4.01%      46,421.73      4.36%      -4,125.42      46,744.49     6.17%     -4,448.18
             0.00      0.00%          992.00     0.35%      -992.00           0.00      0.00%         0.00   Housekeeping Supervisors                                   0.00     0.00%       4,832.00      0.45%      -4,832.00           0.00     0.00%          0.00
        12,401.81      5.68%       16,586.09     5.92%    -4,184.28      19,658.36      8.35%    -7,256.55   Room Attendants                                       71,650.82     6.80%      62,609.14      5.87%       9,041.68      65,249.31     8.61%      6,401.51
         4,032.53      1.85%            0.00     0.00%     4,032.53           0.00      0.00%     4,032.53   Room Attendants Overtime                               4,032.53     0.38%           0.00      0.00%       4,032.53           0.00     0.00%      4,032.53
           836.72      0.38%        2,728.00     0.97%    -1,891.28           0.00      0.00%       836.72   Housepersons                                           6,623.64     0.63%      13,288.00      1.25%      -6,664.36           0.00     0.00%      6,623.64
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                                                                                                  Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD     %           PTD Budget     %          Variance   PTD Last Year    %           Variance                                                             YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance

            89.70      0.04%             0.00    0.00%         89.70          0.00       0.00%        89.70    Housepersons Overtime                                    89.70    0.01%          0.00     0.00%         89.70          0.00      0.00%         89.70
         1,597.33      0.73%         2,728.00    0.97%     -1,130.67          0.00       0.00%     1,597.33    Laundry Attendants                                    4,612.29    0.44%     13,288.00     1.25%     -8,675.71          0.00      0.00%      4,612.29
           617.14      0.28%             0.00    0.00%        617.14          0.00       0.00%       617.14    Laundry Attendants Overtime                             617.14    0.06%          0.00     0.00%        617.14          0.00      0.00%        617.14
       19,575.23      8.97%        23,034.09    8.22%     -3,458.86      19,658.36      8.35%        -83.13    Total Rooms Housekeeping                            87,626.12    8.32%     94,017.14     8.82%     -6,391.02      65,249.31     8.61%     22,376.81

       33,436.21     15.32%        37,059.33    13.23%    -3,623.12      28,710.43     12.20%      4,725.78    Total Rooms Salary and Wages                       148,590.02    14.10%   162,444.86    15.24%    -13,854.84     118,147.64     15.58%    30,442.38

                                                                                                               PR Taxes and Benefits
         2,549.86      1.17%         2,860.65    1.02%      -310.79        2,231.81      0.95%        318.05   FICA                                                 11,321.20    1.07%     12,720.05     1.19%    -1,398.85        7,842.41     1.03%      3,478.79
            76.73      0.04%            33.65    0.01%        43.08           70.09      0.03%          6.64   Federal Unemployment Tax                                563.54    0.05%        423.82     0.04%       139.72          411.80     0.05%        151.74
           557.82      0.26%            74.79    0.03%       483.03          142.20      0.06%        415.62   State Unemployment Tax                                2,952.92    0.28%      1,360.67     0.13%     1,592.25          806.98     0.11%      2,145.94
        3,184.41      1.46%         2,969.09    1.06%       215.32        2,444.10      1.04%        740.31    Total Payroll Taxes                                 14,837.66    1.41%     14,504.54     1.36%       333.12        9,061.19     1.20%      5,776.47
             0.00      0.00%           150.00    0.05%      -150.00            0.00      0.00%          0.00   Holiday                                                   0.00    0.00%        300.00     0.03%      -300.00            0.00     0.00%          0.00
           296.64      0.14%           176.28    0.06%       120.36            0.00      0.00%        296.64   Vacation                                                296.64    0.03%        747.43     0.07%      -450.79            0.00     0.00%        296.64
          296.64      0.14%           326.28    0.12%        -29.64            0.00     0.00%        296.64    Total Supplemental Pay                                 296.64    0.03%      1,047.43     0.10%      -750.79             0.00    0.00%        296.64
         1,592.98      0.73%         2,058.74    0.73%      -465.76        3,343.54      1.42%     -1,750.56   Worker's Compensation                                 6,337.08    0.60%     10,054.29     0.94%    -3,717.21        6,986.60     0.92%       -649.52
         1,573.70      0.72%           469.00    0.17%     1,104.70       11,496.87      4.89%     -9,923.17   Group Insurance                                       7,488.48    0.71%      2,345.00     0.22%     5,143.48        9,873.00     1.30%     -2,384.52
             0.00      0.00%             0.00    0.00%         0.00            0.00      0.00%          0.00   Bonus and Incentive Pay                               1,275.00    0.12%      2,750.00     0.26%    -1,475.00            0.00     0.00%      1,275.00
        3,166.68      1.45%         2,527.74    0.90%       638.94       14,840.41      6.31%    -11,673.73    Total Other Benefits                                15,100.56    1.43%     15,149.29     1.42%        -48.73      16,859.60     2.22%     -1,759.04

        6,647.73      3.05%         5,823.11    2.08%       824.62       17,284.51      7.35%    -10,636.78    Total Rooms PR Taxes and Benefits                   30,234.86    2.87%     30,701.26     2.88%      -466.40       25,920.79     3.42%      4,314.07

       40,083.94     18.37%        42,882.44    15.30%    -2,798.50      45,994.94     19.55%     -5,911.00    Total Rooms Labor Costs                            178,824.88    16.97%   193,146.12    18.12%    -14,321.24     144,068.43     19.00%    34,756.45

                                                                                                               Other Expenses
         1,026.09         0.47%        346.80    0.12%       679.29        1,722.59     0.73%        -696.50   Breakfast /Comp Cost                                  3,721.58    0.35%     1,309.10     0.12%      2,412.48        3,909.00     0.52%      -187.42
           305.43         0.14%      1,734.00    0.62%    -1,428.57          464.97     0.20%        -159.54   Cleaning Supplies                                     2,313.66    0.22%     6,545.50     0.61%     -4,231.84        3,150.70     0.42%      -837.04
             0.00         0.00%      2,400.00    0.86%    -2,400.00            0.00     0.00%           0.00   Contract Cleaning                                         0.00    0.00%     7,200.00     0.68%     -7,200.00            0.00     0.00%         0.00
             0.00         0.00%        544.00    0.19%      -544.00            0.00     0.00%           0.00   Dues and Subscriptions                                    0.00    0.00%       720.00     0.07%       -720.00            0.00     0.00%         0.00
           905.05         0.41%      3,468.00    1.24%    -2,562.95        1,955.05     0.83%      -1,050.00   Guest Supplies                                       11,050.58    1.05%    13,091.00     1.23%     -2,040.42        6,708.24     0.88%     4,342.34
             0.00         0.00%          0.00    0.00%         0.00        1,208.55     0.51%      -1,208.55   Internet/Web Expense                                      0.00    0.00%         0.00     0.00%          0.00        6,060.88     0.80%    -6,060.88
         1,768.22         0.81%        867.00    0.31%       901.22          876.03     0.37%         892.19   Laundry                                               5,963.98    0.57%     3,272.75     0.31%      2,691.23        3,311.84     0.44%     2,652.14
         1,807.19         0.83%      2,080.80    0.74%      -273.61        2,520.38     1.07%        -713.19   Linen                                                10,141.92    0.96%     7,854.60     0.74%      2,287.32        5,060.46     0.67%     5,081.46
             0.00         0.00%          0.00    0.00%         0.00            0.00     0.00%           0.00   Office Equipment                                          0.00    0.00%         0.00     0.00%          0.00           46.83     0.01%       -46.83
             0.00         0.00%        125.00    0.04%      -125.00            0.00     0.00%           0.00   Operating Supplies                                        0.00    0.00%       625.00     0.06%       -625.00            0.00     0.00%         0.00
             0.00         0.00%         75.00    0.03%       -75.00            0.00     0.00%           0.00   Printing and Stationery                                   0.00    0.00%       375.00     0.04%       -375.00            0.00     0.00%         0.00
           659.02         0.30%        500.00    0.18%       159.02            0.00     0.00%         659.02   Reservation Expense                                   2,732.70    0.26%     2,500.00     0.23%        232.70            0.00     0.00%     2,732.70
             0.00         0.00%          0.00    0.00%         0.00            0.00     0.00%           0.00   Rooms Promotion                                         127.89    0.01%         0.00     0.00%        127.89           90.74     0.01%        37.15
         3,399.29         1.56%      3,347.00    1.19%        52.29        3,346.54     1.42%          52.75   Television Cable                                     16,996.45    1.61%    16,735.00     1.57%        261.45       16,632.70     2.19%       363.75
            23.94         0.01%        123.20    0.04%       -99.26          537.65     0.23%        -513.71   Travel Agent Comm - Group Rooms                       6,970.09    0.66%       843.20     0.08%      6,126.89        2,178.98     0.29%     4,791.11
         7,555.44         3.46%      4,923.25    1.76%     2,632.19        3,225.89     1.37%       4,329.55   Travel Agent Comm - Transient Rooms                  22,280.90    2.11%    18,375.75     1.72%      3,905.15       10,934.29     1.44%    11,346.61
             0.00         0.00%        250.00    0.09%      -250.00           48.70     0.02%         -48.70   Uniforms                                                533.44    0.05%     1,250.00     0.12%       -716.56          233.73     0.03%       299.71

       17,449.67      8.00%        20,784.05    7.42%     -3,334.38      15,906.35      6.76%      1,543.32    Total Rooms Other Expenses                          82,833.19    7.86%     80,696.90     7.57%     2,136.29       58,318.39     7.69%     24,514.80

       57,533.61     26.37%        63,666.49    22.72%    -6,132.88      61,901.29     26.31%     -4,367.68    Total Rooms Expenses                               261,658.07    24.83%   273,843.02    25.69%    -12,184.95     202,386.82     26.69%    59,271.25

      160,650.18     73.63%       216,526.96    77.28%   -55,876.78     173,390.06     73.69%    -12,739.88    Total Rooms Profit (Loss)                          791,934.91    75.17%   791,939.92    74.31%         -5.01     555,791.44     73.31%   236,143.47




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                                                                                                         As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year    %        Variance                                                                YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                           Room Sale Stats
                                                                                           Tranisent Rooms
             0.00             395.00       -395.00          318.00               -318.00   Room Stat - Corporate Transient                          578.00           1,378.00       -800.00         964.00         -386.00
           128.00             322.00       -194.00          241.00               -113.00   Room Stat - Advanced Purchase                            677.00           1,856.00     -1,179.00       1,351.00         -674.00
           175.00               0.00        175.00          214.00                -39.00   Room Stat - Qualified Discounts                          845.00               0.00        845.00         540.00          305.00
           101.00             105.00          -4.00         105.00                 -4.00   Room Stat - Employee                                     383.00             442.00        -59.00         303.00           80.00
             0.00               0.00           0.00         101.00               -101.00   Room Stat - Leisure Transient                              0.00               0.00          0.00         652.00         -652.00
            10.00               0.00         10.00            0.00                 10.00   Room Stat - Package Transient                             91.00               0.00         91.00           0.00           91.00
             3.00              25.00        -22.00           25.00                -22.00   Room Stat - Travel Agent/Friends & Family                 96.00             121.00        -25.00         162.00          -66.00
           211.00             217.00          -6.00         152.00                 59.00   Room Stat - Member Reward Stay                           777.00             671.00        106.00         371.00          406.00
           276.00               0.00        276.00            0.00                276.00   Room Stat - Non-Qualified Discounts                      572.00               0.00        572.00           0.00          572.00
           237.00               0.00        237.00            0.00                237.00   Room Stat - Internet                                     580.00               0.00        580.00           0.00          580.00
             0.00               0.00           0.00           0.00                  0.00   Room Stat - Other Transient                                0.00               0.00          0.00          38.00          -38.00
             2.00               0.00           2.00         855.00               -853.00   Room Stat - E-Commerce Opaque                          1,293.00               0.00      1,293.00       2,150.00         -857.00
            13.00              10.00           3.00           9.00                  4.00   Room Stat - Government Rate Transient                     81.00              30.00         51.00          25.00           56.00
           812.00           1,041.00       -229.00          997.00               -185.00   Room Stat - Rack Rate Transient                        4,195.00           4,065.00        130.00       3,358.00          837.00
           142.00               0.00        142.00            0.00                142.00   Room Stat - Local Negotiated Transient                   393.00               0.00        393.00           0.00          393.00
        2,110.00           2,115.00          -5.00       3,017.00               -907.00    Total Transient Rooms Sold                           10,561.00           8,563.00      1,998.00       9,914.00          647.00

                                                                                           Group Rooms
           135.00             40.00          95.00          130.00                 5.00    Room Stat - Corporate Group Rooms                      1,458.00              40.00     1,418.00          460.00           998.00
             0.00              0.00           0.00            0.00                 0.00    Room Stat - Leisure Group                                  0.00               0.00         0.00            2.00            -2.00
            13.00              0.00          13.00            0.00                13.00    Room Stat - Government Group                              55.00               0.00        55.00            0.00            55.00
             0.00             20.00         -20.00            0.00                 0.00    Room Stat - SMERF Group                                    0.00             235.00      -235.00            0.00             0.00
             0.00              0.00           0.00            0.00                 0.00    Room Stat - Sports Group                                   0.00             265.00      -265.00            0.00             0.00
          148.00              60.00         88.00          130.00                 18.00    Total Group Rooms Sold                                1,513.00             540.00       973.00          462.00         1,051.00

                                                                                           Contract Rooms
           142.00             11.00         131.00           15.00                127.00   Room Stat - Other Contract                               401.00             36.00        365.00           49.00          352.00
          142.00              11.00        131.00            15.00               127.00    Total Contract Rooms Sold                               401.00              36.00       365.00            49.00         352.00

        2,400.00           2,186.00        214.00        3,162.00               -762.00    Total Rooms Sold                                     12,475.00           9,139.00      3,336.00      10,425.00         2,050.00
             6.00              0.00           6.00            3.00                  3.00   Room Stat - Comp Rooms                                    45.00              0.00          45.00          89.00           -44.00
        2,406.00           2,186.00        220.00        3,165.00               -759.00    Total Rooms Occupied                                 12,520.00           9,139.00      3,381.00      10,514.00         2,006.00
           728.00              0.00         728.00          951.00               -223.00   Room Stat - Out of Order                               4,242.00              0.00       4,242.00       7,592.00        -3,350.00

                                                                                           ADR
             0.00              75.00         -75.00          71.54               -71.54    Corporate Transient ADR                                     69.29            75.19         -5.90          66.51            2.77
           102.74              84.63          18.11          74.79                27.95    Advanced Purchase ADR                                       95.42            84.65        10.77           72.40           23.02
           102.16               0.00        102.16           75.36                26.80    Qualified Discount ADR                                      91.96             0.00        91.96           72.78           19.18
             0.00               0.00           0.00           0.00                  0.00   FIT ADR                                                      0.00             0.00          0.00           0.00            0.00
             0.00               0.00           0.00           0.00                  0.00   Consortia ADR                                                0.00             0.00          0.00           0.00            0.00
            62.35              56.30           6.04          56.46                  5.89   Employee ADR                                                60.94            56.66          4.28          53.77            7.17
             0.00               0.00           0.00           0.00                  0.00   Leisure ADR                                                  0.00             0.00          0.00          13.14          -13.14
            71.00              82.58         -11.58          82.58               -11.58    Travel Agent/Friends & Family ADR                           79.42            68.29        11.13           58.73           20.69
             0.00               0.00           0.00          94.72               -94.72    Leisure Package ADR                                          0.00             0.00          0.00          29.98          -29.98
            14.30              17.00          -2.70          32.21               -17.91    Member Reward Stay ADR                                      22.55            17.00          5.55          35.44          -12.89
             0.00               0.00           0.00           0.00                  0.00   Golf Pkg ADR                                                 0.00             0.00          0.00           0.00            0.00
            80.24               0.00          80.24           0.00                80.24    Non Qualified ADR                                           78.99             0.00        78.99            0.00           78.99
           133.28               0.00        133.28            0.00               133.28    Internet ADR                                               132.40             0.00       132.40            0.00          132.40
            71.18               0.00          71.18          71.28                 -0.10   E-Commerce Opaque ADR                                       77.95             0.00        77.95           68.89            9.06
             0.00               0.00           0.00           0.00                  0.00   Other Transient ADR                                          0.00             0.00          0.00         563.94         -563.94
             0.00               0.00           0.00           0.00                  0.00   Airline Distressed Passenger ADR                             0.00             0.00          0.00           0.00            0.00
           108.23             101.50           6.73         104.00                  4.23   Government ADR                                              98.69            93.70          4.99          94.40            4.29
           103.21             103.81          -0.61          84.92                18.29    Rack ADR                                                    95.16           103.24         -8.09          85.03           10.13
            79.66               0.00          79.66           0.00                79.66    Local Negotiated ADR                                        79.03             0.00        79.03            0.00           79.03
            91.07            128.94         -37.86           74.88                16.20    Total Transient ADR                                         85.76          118.92        -33.16           73.21           12.56

            95.93            119.00         -23.07           65.74                30.19    Corporate Group ADR                                         74.23          119.00        -44.77           62.23           12.00
             0.00              0.00           0.00            0.00                 0.00    Leisure Group ADR                                            0.00            0.00          0.00           79.00          -79.00
             0.00              0.00           0.00            0.00                 0.00    Government Group ADR                                         0.00            0.00          0.00            0.00            0.00
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                                                                               Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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              PTD     %   PTD Budget   %   Variance   PTD Last Year    %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00               0.00            0.00           0.00                 0.00    Tour & Travel Group ADR                                     0.00            0.00         0.00            0.00           0.00
            0.00               0.00            0.00           0.00                 0.00    Association Group ADR                                       0.00            0.00         0.00            0.00           0.00
            0.00               0.00            0.00           0.00                 0.00    City Wide Group ADR                                         0.00            0.00         0.00            0.00           0.00
            0.00              70.00          -70.00           0.00                 0.00    SMERF Group ADR                                             0.00           74.57       -74.57            0.00           0.00
            0.00               0.00            0.00           0.00                 0.00    Sports Group ADR                                            0.00           75.00       -75.00            0.00           0.00
            0.00               0.00            0.00           0.00                 0.00    Other Group ADR                                             0.00            0.00         0.00            0.00           0.00
           87.51             102.67         -15.16           65.74                21.77    Total Group ADR                                            71.53           78.07        -6.55           62.30           9.23

            0.00               0.00           0.00            0.00                 0.00    Airline Crew ADR                                            0.00            0.00         0.00            0.00           0.00
           79.66              65.97          13.68           64.82                14.84    Other Contract ADR                                         79.24           63.10        16.15           65.41          13.84
           79.66              65.97          13.68           64.82                14.84    Total Contract ADR                                         79.24           63.10        16.15           65.41          13.84

           90.91             128.18         -37.27           74.41                16.50    Total ADR                                                  84.46          116.62       -32.16           72.73          11.73




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                                                                                                  Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD     %           PTD Budget     %          Variance   PTD Last Year     %          Variance                                                               YTD      %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                               F&B Summary
                                                                                                               Revenue
         6,963.05     52.85%        9,000.00     62.07%    -2,036.95         410.64      25.26%     6,552.41   Outlet Food Revenue                                  31,272.91       61.62%    37,500.00  63.13%      -6,227.09        1,106.19  18.01%       30,166.72
         1,062.50      8.06%            0.00      0.00%     1,062.50           0.00       0.00%     1,062.50   Banquet and Catering Food Revenue                     1,168.69        2.30%         0.00   0.00%       1,168.69          187.40   3.05%          981.29
         2,247.00     17.05%        5,000.00     34.48%    -2,753.00         975.20      59.98%     1,271.80   Outlet Beverage Revenue                               9,170.19       18.07%    19,700.00  33.16%     -10,529.81        2,443.90  39.79%        6,726.29
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%         0.00   Banquet and Catering Beverage Revenue                     0.00        0.00%         0.00   0.00%           0.00            0.00   0.00%            0.00
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%         0.00   Outlet Other Revenue                                      0.00        0.00%         0.00   0.00%           0.00            0.00   0.00%            0.00
         2,902.50     22.03%          500.00      3.45%     2,402.50         240.00      14.76%     2,662.50   Banquet and Catering Other Revenue                    9,140.70       18.01%     2,200.00   3.70%       6,940.70        2,404.24  39.15%        6,736.46
       13,175.05    100.00%       14,500.00    100.00%    -1,324.95       1,625.84     100.00%    11,549.21    Total F&B Revenue                                   50,752.49      100.00%    59,400.00 100.00%      -8,647.51        6,141.73 100.00%       44,610.76

                                                                                                               Cost of Sales
         5,646.87     42.86%        2,700.00     18.62%    2,946.87          514.74      31.66%     5,132.13   Food Purchases                                       20,719.71       40.83%    11,250.00    18.94%     9,469.71        2,846.51     46.35%    17,873.20
         3,264.78     24.78%        1,150.00      7.93%    2,114.78        1,176.13      72.34%     2,088.65   Beverage Purchases                                    6,659.41       13.12%     4,531.00     7.63%     2,128.41        1,870.73     30.46%     4,788.68
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Cedit Employee Meals                                      0.00        0.00%         0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Credit House Charges                                      0.00        0.00%         0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Credit In-House Promotions                                0.00        0.00%         0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Audio Visual Cost of Sales                                0.00        0.00%         0.00     0.00%         0.00            0.00      0.00%         0.00
           150.62      1.14%            0.00      0.00%      150.62           65.33       4.02%        85.29   Other Cost of Sales                                     618.35        1.22%         0.00     0.00%       618.35          134.41      2.19%       483.94
        9,062.27     68.78%        3,850.00     26.55%    5,212.27        1,756.20     108.02%     7,306.07    Total F&B Cost of Sales                             27,997.47       55.16%    15,781.00    26.57%    12,216.47        4,851.65     78.99%    23,145.82

        4,112.78     31.22%       10,650.00     73.45%    -6,537.22        -130.36      -8.02%     4,243.14    F&B Gross Profit                                    22,755.02       44.84%    43,619.00    73.43%    -20,863.98       1,290.08     21.01%    21,464.94

                                                                                                               Expenses
                                                                                                               Payroll
                                                                                                               Salaries and Wages
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Management                                                0.00        0.00%         0.00     0.00%          0.00           0.00      0.00%         0.00
         8,944.74     67.89%        7,688.00     53.02%    1,256.74        1,833.87     112.80%     7,110.87   Non-Management                                       28,237.34       55.64%    37,448.00    63.04%     -9,210.66       4,544.05     73.99%    23,693.29
        8,944.74     67.89%        7,688.00     53.02%    1,256.74        1,833.87     112.80%     7,110.87    Total F&B Salaries and Wages                        28,237.34       55.64%    37,448.00    63.04%     -9,210.66       4,544.05     73.99%    23,693.29
                                                                                                               PR Taxes and Benefits
         1,154.24      8.76%          777.17      5.36%      377.07          152.41       9.37%     1,001.83   Payroll Taxes                                         3,452.89        6.80%     4,035.86     6.79%      -582.97          412.89      6.72%     3,040.00
            88.00      0.67%            0.00      0.00%       88.00            0.00       0.00%        88.00   Supplemental Pay                                         88.00        0.17%         0.00     0.00%        88.00            0.00      0.00%        88.00
         1,110.15      8.43%          423.27      2.92%      686.88          206.69      12.71%       903.46   Other Benefits                                        4,035.39        7.95%     2,289.04     3.85%     1,746.35          295.88      4.82%     3,739.51
        2,352.39     17.85%        1,200.44      8.28%    1,151.95          359.10      22.09%     1,993.29    Total F&B PR Taxes and Benefits                      7,576.28       14.93%     6,324.90    10.65%     1,251.38          708.77     11.54%     6,867.51

       11,297.13     85.75%        8,888.44     61.30%    2,408.69        2,192.97     134.88%     9,104.16    Total F&B Payroll                                   35,813.62       70.57%    43,772.90    73.69%     -7,959.28       5,252.82     85.53%    30,560.80

                                                                                                               Other Expenses
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Audio Visual Supplies                                       0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Banquet Expense                                             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Bar Expense/Promos                                          0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Bar Supplies                                                0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%       75.00      0.52%       -75.00            0.00      0.00%         0.00    China                                                       0.00     0.00%        375.00     0.63%      -375.00            0.00      0.00%         0.00
            19.90         0.15%      175.00      1.21%      -155.10            0.00      0.00%        19.90    Cleaning Supplies                                         635.72     1.25%        875.00     1.47%      -239.28          252.96      4.12%       382.76
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Communication Expense                                       0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Contract Cleaning                                         492.90     0.97%          0.00     0.00%       492.90            0.00      0.00%       492.90
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Contract Labor                                              0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Decorations & Plants                                        0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Dues and Subscriptions                                      0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
           116.21         0.88%      110.76      0.76%         5.45            0.00      0.00%       116.21    Equipment Rental                                          581.56     1.15%        553.80     0.93%        27.76          332.28      5.41%       249.28
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Food and Beverage Advertising                               0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%      100.00      0.69%      -100.00            0.00      0.00%         0.00    Glassware                                                 215.34     0.42%        500.00     0.84%      -284.66            0.00      0.00%       215.34
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Guest Loss/Damage                                           0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
           226.52         1.72%       75.00      0.52%       151.52            0.00      0.00%       226.52    Guest Supplies                                            226.52     0.45%        375.00     0.63%      -148.48          843.72     13.74%      -617.20
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    In-House Entertainment                                      0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%       80.00      0.55%       -80.00            0.00      0.00%         0.00    Kitchen/Cooking Fuel                                        0.00     0.00%        400.00     0.67%      -400.00            0.00      0.00%         0.00
           181.76         1.38%        0.00      0.00%       181.76            0.00      0.00%       181.76    Kitchen Equipment                                         813.90     1.60%          0.00     0.00%       813.90           97.94      1.59%       715.96
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Laundry - Outside Expense                                   0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Laundry Allocation                                          0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Licenses/Permits                                            0.00     0.00%      4,500.00     7.58%    -4,500.00        7,010.00    114.14%    -7,010.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Linen                                                       0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00         0.00%        0.00      0.00%         0.00            0.00      0.00%         0.00    Linen Rental                                                0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
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                                                                                            Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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                                                                                                                      As of 5/31/2022
              PTD     %        PTD Budget    %         Variance   PTD Last Year     %        Variance                                                              YTD     %        YTD Budget %              Variance   YTD Last Year   %        Variance

             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Maintenance Contracts                                      0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Meals and Entertainment                                    0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%       400.00     2.76%     -400.00           0.00      0.00%        0.00   Menus                                                     85.11     0.17%       800.00     1.35%       -714.89           0.00   0.00%        85.11
            65.17      0.49%         0.00     0.00%       65.17         898.13     55.24%     -832.96   Miscellaneous Expense                                    327.73     0.65%         0.00     0.00%        327.73       4,075.39  66.36%    -3,747.66
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Music and Entertainment                                    0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Office Equipment                                           0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Office Supplies                                            0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Operating Supplies                                         0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
           590.19      4.48%       725.00     5.00%     -134.81         203.30     12.50%      386.89   Paper/Plastic Supplies                                 3,169.85     6.25%     2,970.00     5.00%        199.85         569.49   9.27%     2,600.36
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Printing and Stationery                                    0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Silverware                                                 0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Software Expense/Maintenance                               0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Television Cable                                           0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Training                                                  26.58     0.05%         0.00     0.00%         26.58           0.00   0.00%        26.58
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00   Travel                                                     0.00     0.00%         0.00     0.00%          0.00           0.00   0.00%         0.00
           107.14      0.81%       225.00     1.55%     -117.86           0.00      0.00%      107.14   Uniforms                                                 356.28     0.70%     1,125.00     1.89%       -768.72         119.01   1.94%       237.27
             0.00      0.00%        25.00     0.17%      -25.00           0.00      0.00%        0.00   Utensils                                                   9.27     0.02%       125.00     0.21%       -115.73           0.00   0.00%         9.27
        1,306.89      9.92%     1,990.76    13.73%     -683.87       1,101.43     67.75%      205.46    Total F&B Other Expenses                              6,940.76    13.68%    12,598.80    21.21%     -5,658.04      13,300.79 216.56%    -6,360.03

       12,604.02     95.67%    10,879.20    75.03%    1,724.82       3,294.40     202.63%   9,309.62    Total F&B Expenses                                   42,754.38    84.24%    56,371.70    94.90%    -13,617.32      18,553.61 302.09%    24,200.77

       -8,491.24    -64.45%      -229.20    -1.58%    -8,262.04     -3,424.76 -210.65%      -5,066.48   Total F&B Profit (Loss)                             -19,999.36    -39.41%   -12,752.70 -21.47%      -7,246.66     -17,263.53 -281.09%   -2,735.83




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                                                                               Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                   P&L - Dual Summary Pages
                                                                                                         As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year    %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                           F&B Stats
                                                                                           Restaurant 1
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 1 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 1 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                           Restaurant 2
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 2 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 2 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                           Room Service
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Room Service Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Room Service Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                           Banquets
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Banquets Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Banquets Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                           Catering
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Catering Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Catering Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                           Restaurant 3
             0.00               0.00          0.00            0.00                 0.00    Breakfast Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                 0.00    Lunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                 0.00    Dinner Avg Check                                           0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                 0.00    Brunch Avg Check                                           0.00             0.00        0.00            0.00           0.00
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              PTD     %   PTD Budget   %   Variance   PTD Last Year    %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 3 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 3 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                           Restaurant 4
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 4 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 4 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                           Restaurant 5
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Restaurant 5 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Restaurant 5 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                           Bar 1
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Bar 1 Covers                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Bar 1 Avg Check                                            0.00            0.00         0.00            0.00           0.00

                                                                                           Bar 2
             0.00              0.00           0.00            0.00                 0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Total Bar 2 Covers                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                 0.00    Bar 2 Avg Check                                            0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                 0.00    Total Covers                                               0.00            0.00         0.00            0.00           0.00




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              PTD     %           PTD Budget    %         Variance   PTD Last Year     %         Variance                                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                            Food Admin
                                                                                                            Cost of Sales
         5,646.87    42.86%         2,700.00   18.62%    2,946.87          514.74     31.66%    5,132.13    Food Purchases                                       20,719.71    40.83%    11,250.00     18.94%    9,469.71        2,846.51    46.35%    17,873.20
         3,264.78    24.78%         1,150.00    7.93%    2,114.78            0.00      0.00%    3,264.78    Beverage Purchases                                    6,659.41    13.12%     4,531.00      7.63%    2,128.41            0.00     0.00%     6,659.41
           150.62     1.14%             0.00    0.00%      150.62           65.33      4.02%       85.29    Other Cost of Sales                                     618.35     1.22%         0.00      0.00%      618.35          134.41     2.19%       483.94

        9,062.27     68.78%        3,850.00    26.55%    5,212.27         580.07     35.68%     8,482.20    Total Food Admin Cost of Sales                      27,997.47    55.16%    15,781.00    26.57%     12,216.47       2,980.92     48.54%    25,016.55

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%             0.00    0.00%         0.00           0.00     0.00%          0.00   Total Food Admin Management                               0.00    0.00%          0.00    0.00%           0.00           0.00     0.00%          0.00
         3,878.14     29.44%        2,480.00    17.10%    1,398.14       1,235.21     75.97%     2,642.93   Cooks-Line Cooks                                     15,843.13    31.22%    12,080.00    20.34%      3,763.13       3,945.39     64.24%    11,897.74
           242.08      1.84%            0.00     0.00%      242.08           0.00      0.00%       242.08   Cooks-Line Cooks Overtime                               242.08     0.48%         0.00     0.00%        242.08           0.00      0.00%       242.08
        4,120.22     31.27%        2,480.00    17.10%    1,640.22       1,235.21     75.97%     2,885.01    Total Food Admin Non-Management                     16,085.21    31.69%    12,080.00    20.34%      4,005.21       3,945.39     64.24%    12,139.82

        4,120.22     31.27%        2,480.00    17.10%    1,640.22       1,235.21     75.97%     2,885.01    Total Food Admin Salaries and Wages                 16,085.21    31.69%    12,080.00    20.34%      4,005.21       3,945.39     64.24%    12,139.82

                                                                                                            PR Taxes and Benefits

           514.33      3.90%          189.72     1.31%     324.61            0.00      0.00%       514.33   FICA                                                    514.33     1.01%       924.12      1.56%      -409.79           0.00      0.00%       514.33
             0.00      0.00%            2.23     0.02%      -2.23            0.00      0.00%         0.00   Federal Unemployment Tax                                  0.00     0.00%        33.19      0.06%       -33.19           0.00      0.00%         0.00
             0.00      0.00%            4.96     0.03%      -4.96            0.00      0.00%         0.00   State Unemployment Tax                                    0.00     0.00%       103.84      0.17%      -103.84           0.00      0.00%         0.00
          514.33      3.90%          196.91     1.36%     317.42             0.00     0.00%       514.33    Total Payroll Taxes                                    514.33     1.01%     1,061.15      1.79%      -546.82            0.00     0.00%       514.33
             0.00     0.00%             0.00    0.00%        0.00            0.00     0.00%          0.00   Total Supplemental Pay                                    0.00    0.00%          0.00     0.00%          0.00           0.00     0.00%          0.00
           484.82      3.68%          136.54     0.94%     348.28            0.00      0.00%       484.82   Worker's Compensation                                   484.82     0.96%       738.40      1.24%      -253.58           0.00      0.00%       484.82
           625.33      4.75%            0.00     0.00%     625.33            0.00      0.00%       625.33   Group Insurance                                       3,224.61     6.35%         0.00      0.00%     3,224.61           0.00      0.00%     3,224.61
        1,110.15      8.43%          136.54     0.94%     973.61             0.00     0.00%     1,110.15    Total Other Benefits                                 3,709.43     7.31%       738.40      1.24%     2,971.03            0.00     0.00%     3,709.43

        5,744.70     43.60%        2,813.45    19.40%    2,931.25       1,235.21     75.97%     4,509.49    Total Food Admin PR Taxes and Benefits              20,308.97    40.02%    13,879.55    23.37%      6,429.42       3,945.39     64.24%    16,363.58

        9,864.92     74.88%        5,293.45    36.51%    4,571.47       2,470.42     151.95%    7,394.50    Total Food Admin Payroll                            36,394.18    71.71%    25,959.55    43.70%     10,434.63       7,890.78 128.48%       28,503.40

                                                                                                            Other Expenses
             0.00         0.00%       75.00     0.52%      -75.00            0.00      0.00%        0.00    China                                                     0.00     0.00%       375.00     0.63%       -375.00           0.00     0.00%          0.00
            19.90         0.15%      175.00     1.21%     -155.10            0.00      0.00%       19.90    Cleaning Supplies                                       635.72     1.25%       875.00     1.47%       -239.28         252.96     4.12%        382.76
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%        0.00    Contract Cleaning                                       492.90     0.97%         0.00     0.00%        492.90           0.00     0.00%        492.90
           116.21         0.88%      110.76     0.76%        5.45            0.00      0.00%      116.21    Equipment Rental                                        581.56     1.15%       553.80     0.93%         27.76         332.28     5.41%        249.28
             0.00         0.00%      100.00     0.69%     -100.00            0.00      0.00%        0.00    Glassware                                               215.34     0.42%       500.00     0.84%       -284.66           0.00     0.00%        215.34
           226.52         1.72%       75.00     0.52%      151.52            0.00      0.00%      226.52    Guest Supplies                                          226.52     0.45%       375.00     0.63%       -148.48         843.72    13.74%       -617.20
             0.00         0.00%       80.00     0.55%      -80.00            0.00      0.00%        0.00    Kitchen/Cooking Fuel                                      0.00     0.00%       400.00     0.67%       -400.00           0.00     0.00%          0.00
           181.76         1.38%        0.00     0.00%      181.76            0.00      0.00%      181.76    Kitchen Equipment                                       813.90     1.60%         0.00     0.00%        813.90          97.94     1.59%        715.96
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%        0.00    Licenses/Permits                                          0.00     0.00%     4,500.00     7.58%     -4,500.00          17.00     0.28%        -17.00
             0.00         0.00%      400.00     2.76%     -400.00            0.00      0.00%        0.00    Menus                                                    85.11     0.17%       800.00     1.35%       -714.89           0.00     0.00%         85.11
            65.17         0.49%        0.00     0.00%       65.17            0.00      0.00%       65.17    Miscellaneous Expense                                   327.73     0.65%         0.00     0.00%        327.73           0.00     0.00%        327.73
           590.19         4.48%      725.00     5.00%     -134.81          203.30     12.50%      386.89    Paper/Plastic Supplies                                3,169.85     6.25%     2,970.00     5.00%        199.85         569.49     9.27%      2,600.36
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%        0.00    Training                                                 26.58     0.05%         0.00     0.00%         26.58           0.00     0.00%         26.58
           107.14         0.81%      225.00     1.55%     -117.86            0.00      0.00%      107.14    Uniforms                                                356.28     0.70%     1,125.00     1.89%       -768.72         119.01     1.94%        237.27
             0.00         0.00%       25.00     0.17%      -25.00            0.00      0.00%        0.00    Utensils                                                  9.27     0.02%       125.00     0.21%       -115.73           0.00     0.00%          9.27

        1,306.89      9.92%        1,990.76    13.73%     -683.87         203.30     12.50%     1,103.59    Total Food Admin Other Expenses                      6,940.76    13.68%    12,598.80    21.21%     -5,658.04       2,232.40     36.35%     4,708.36

       11,171.81     84.80%        7,284.21    50.24%    3,887.60       2,673.72     164.45%    8,498.09    Total Food Admin Expenses                           43,334.94    85.38%    38,558.35    64.91%      4,776.59      10,123.18 164.83%       33,211.76

       20,234.08    153.58%       11,134.21    76.79%    9,099.87       3,253.79     200.13%   16,980.29    Departmental Costs                                  71,332.41    140.55%   54,339.35    91.48%     16,993.06      13,104.10 213.36%       58,228.31




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              PTD     %           PTD Budget   %       Variance   PTD Last Year    %         Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %         Variance

                                                                                                        Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00     0.00%        0.00    Less Adjustments                                          0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%         0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00     0.00%        0.00    Total Beverage Admin Revenue                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%        0.00

                                                                                                        Cost of Sales
             0.00         0.00%         0.00   0.00%      0.00        1,176.13     0.00%    -1,176.13   Beverage Purchases                                        0.00   0.00%         0.00     0.00%      0.00        1,870.73    0.00%    -1,870.73

             0.00     0.00%            0.00    0.00%      0.00       1,176.13      0.00%   -1,176.13    Total Beverage Admin Cost of Sales                        0.00   0.00%        0.00      0.00%      0.00       1,870.73     0.00%    -1,870.73

                                                                                                        Expenses
                                                                                                        Other Expenses
             0.00         0.00%         0.00   0.00%      0.00            0.00     0.00%        0.00    Licenses/Permits                                          0.00   0.00%         0.00     0.00%      0.00        6,993.00    0.00%    -6,993.00
             0.00         0.00%         0.00   0.00%      0.00          898.13     0.00%     -898.13    Miscellaneous Expense                                     0.00   0.00%         0.00     0.00%      0.00        4,075.39    0.00%    -4,075.39

             0.00     0.00%            0.00    0.00%      0.00         898.13      0.00%     -898.13    Total Beverage Admin Other Expenses                       0.00   0.00%        0.00      0.00%      0.00      11,068.39     0.00%   -11,068.39

             0.00     0.00%            0.00    0.00%      0.00         898.13      0.00%     -898.13    Total Beverage Admin Expenses                             0.00   0.00%        0.00      0.00%      0.00      11,068.39     0.00%   -11,068.39

             0.00     0.00%            0.00    0.00%      0.00        -898.13      0.00%     898.13     Departmental Costs                                        0.00   0.00%        0.00      0.00%      0.00     -11,068.39     0.00%   11,068.39




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              PTD     %        PTD Budget     %         Variance   PTD Last Year     %        Variance                                                              YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                         Restaurant 1
                                                                                                         Food Revenue
         5,143.60    55.82%      6,000.00    42.86%     -856.40            0.00      0.00%    5,143.60   Food-Breakfast                                        22,812.57    56.41%    27,400.00     47.90%     -4,587.43          24.00     0.70%    22,788.57
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%        0.00   Food-Lunch                                               605.50     1.50%         0.00      0.00%        605.50           0.00     0.00%       605.50
         1,988.51    21.58%      3,000.00    21.43%   -1,011.49          509.45     36.76%    1,479.06   Food-Dinner                                            8,518.88    21.06%    10,100.00     17.66%     -1,581.12       1,239.45    36.35%     7,279.43

        7,132.11     77.41%     9,000.00    64.29%    -1,867.89         509.45     36.76%    6,622.66    Restaurant 1 Food Revenue                            31,936.95    78.97%    37,500.00    65.56%      -5,563.05       1,263.45     37.06%    30,673.50
          -165.27     -1.79%        0.00      0.00%      -165.27         -89.49     -6.46%      -75.78   Food-Adjustments-A&G                                    -665.77    -1.65%        0.00      0.00%        -665.77        -209.38     -6.14%      -456.39
             0.00      0.00%        0.00      0.00%         0.00          -9.32     -0.67%        9.32   Food-Adjustments-A&P                                       0.00     0.00%        0.00      0.00%           0.00          -9.32     -0.27%         9.32
          -165.27     -1.79%        0.00      0.00%      -165.27         -98.81     -7.13%      -66.46   Less: Allowances                                        -665.77    -1.65%        0.00      0.00%        -665.77        -218.70     -6.41%      -447.07

        6,966.84     75.61%     9,000.00    64.29%    -2,033.16         410.64     29.63%    6,556.20    Total Restaurant 1 Food Revenue                      31,271.18    77.32%    37,500.00    65.56%      -6,228.82       1,044.75     30.64%    30,226.43

                                                                                                         Beverage Revenue
         1,119.50    12.15%      2,000.00    14.29%     -880.50          614.00     44.31%     505.50    Liquor                                                 4,368.38    10.80%     7,300.00     12.76%     -2,931.62       1,585.00    46.49%      2,783.38
           721.50     7.83%      1,500.00    10.71%     -778.50          196.20     14.16%     525.30    Beer                                                   2,625.31     6.49%     6,200.00     10.84%     -3,574.69         376.70    11.05%      2,248.61
           406.00     4.41%      1,500.00    10.71%   -1,094.00          165.00     11.91%     241.00    Wine                                                   2,176.50     5.38%     6,200.00     10.84%     -4,023.50         403.20    11.83%      1,773.30

        2,247.00     24.39%     5,000.00    35.71%    -2,753.00         975.20     70.37%    1,271.80    Restaurant 1 Beverage Revenue                         9,170.19    22.68%    19,700.00    34.44%     -10,529.81       2,364.90     69.36%     6,805.29
            0.00       0.00%        0.00      0.00%        0.00           0.00       0.00%       0.00    Less: Allowances                                          0.00      0.00%        0.00      0.00%          0.00           0.00       0.00%        0.00

        2,247.00     24.39%     5,000.00    35.71%    -2,753.00         975.20     70.37%    1,271.80    Total Restaurant 1 Beverage Revenue                   9,170.19    22.68%    19,700.00    34.44%     -10,529.81       2,364.90     69.36%     6,805.29

        9,213.84    100.00%    14,000.00    100.00%   -4,786.16       1,385.84     100.00%   7,828.00    Total Restaurant 1 Revenue                           40,441.37    100.00%   57,200.00 100.00%       -16,758.63       3,409.65 100.00%       37,031.72

                                                                                                         Cost of Sales

             0.00     0.00%         0.00     0.00%         0.00            0.00     0.00%        0.00    Total Restaurant 1 Cost of Sales                           0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

        9,213.84    100.00%    14,000.00    100.00%   -4,786.16       1,385.84     100.00%   7,828.00    Restaurant 1 Gross Profit                            40,441.37    100.00%   57,200.00 100.00%       -16,758.63       3,409.65 100.00%       37,031.72

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%          0.00    0.00%         0.00            0.00     0.00%         0.00   Total Restaurant 1 Management                              0.00    0.00%          0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00      0.00%     2,604.00    18.60%   -2,604.00            0.00      0.00%        0.00   Bartenders                                                 0.00     0.00%    12,684.00    22.17%     -12,684.00           0.00      0.00%         0.00
         4,486.74     48.70%     2,604.00    18.60%    1,882.74          598.66     43.20%    3,888.08   Servers                                               11,814.35    29.21%    12,684.00    22.17%        -869.65         598.66     17.56%    11,215.69
           337.78      3.67%         0.00     0.00%      337.78            0.00      0.00%      337.78   Servers Overtime - Rest. 1                               337.78     0.84%         0.00     0.00%         337.78           0.00      0.00%       337.78
        4,824.52     52.36%     5,208.00    37.20%     -383.48          598.66     43.20%    4,225.86    Total Restaurant 1 Non-Management                    12,152.13    30.05%    25,368.00    44.35%     -13,215.87         598.66     17.56%    11,553.47

        4,824.52     52.36%     5,208.00    37.20%     -383.48          598.66     43.20%    4,225.86    Total Restaurant 1 Salaries and Wages                12,152.13    30.05%    25,368.00    44.35%     -13,215.87         598.66     17.56%    11,553.47

                                                                                                         PR Taxes and Benefits
           316.33      3.43%       559.06     3.99%     -242.73          139.17     10.04%      177.16   FICA                                                   1,779.38     4.40%     2,597.02      4.54%       -817.64         371.48     10.89%     1,407.90
            50.97      0.55%         6.58     0.05%       44.39            4.37      0.32%       46.60   Federal Unemployment Tax                                 428.65     1.06%        91.52      0.16%        337.13          13.48      0.40%       415.17
           272.61      2.96%        14.62     0.10%      257.99            8.87      0.64%      263.74   State Unemployment Tax                                   730.53     1.81%       286.17      0.50%        444.36          27.93      0.82%       702.60
          639.91      6.95%       580.26     4.14%        59.65         152.41     11.00%      487.50    Total Payroll Taxes                                   2,938.56     7.27%     2,974.71      5.20%         -36.15        412.89     12.11%     2,525.67
            88.00      0.96%         0.00     0.00%       88.00            0.00      0.00%       88.00   Vacation                                                  88.00     0.22%         0.00      0.00%         88.00           0.00      0.00%        88.00
            88.00     0.96%          0.00    0.00%        88.00            0.00     0.00%        88.00   Total Supplemental Pay                                    88.00    0.22%          0.00     0.00%          88.00           0.00     0.00%         88.00
             0.00      0.00%       286.73     2.05%     -286.73          206.69     14.91%     -206.69   Worker's Compensation                                    719.41     1.78%     1,550.64      2.71%       -831.23         295.88      8.68%       423.53
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00   Group Insurance                                         -393.45    -0.97%         0.00      0.00%       -393.45           0.00      0.00%      -393.45
             0.00     0.00%       286.73     2.05%     -286.73          206.69     14.91%     -206.69    Total Other Benefits                                    325.96     0.81%     1,550.64      2.71%     -1,224.68         295.88      8.68%         30.08

          727.91      7.90%       866.99     6.19%     -139.08          359.10     25.91%      368.81    Total Restaurant 1 PR Taxes and Benefits              3,352.52     8.29%     4,525.35      7.91%     -1,172.83         708.77     20.79%     2,643.75

        5,552.43     60.26%     6,074.99    43.39%     -522.56          957.76     69.11%    4,594.67    Total Restaurant 1 Payroll                           15,504.65    38.34%    29,893.35    52.26%     -14,388.70       1,307.43     38.34%    14,197.22

                                                                                                         Other Expenses
             0.00     0.00%         0.00     0.00%         0.00            0.00     0.00%        0.00    Total Restaurant 1 Other Expenses                          0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00
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              PTD     %       PTD Budget    %        Variance   PTD Last Year    %         Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year    %         Variance


        5,552.43     60.26%    6,074.99    43.39%    -522.56         957.76     69.11%    4,594.67    Total Restaurant 1 Expenses                         15,504.65   38.34%   29,893.35   52.26%   -14,388.70      1,307.43     38.34%   14,197.22

        3,661.41     39.74%    7,925.01    56.61%   -4,263.60        428.08     30.89%    3,233.33    Total Restaurant 1 Profit (Loss)                    24,936.72   61.66%   27,306.65   47.74%    -2,369.93      2,102.22     61.66%   22,834.50




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              PTD     %           PTD Budget   %        Variance   PTD Last Year    %         Variance                                                              YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 2
                                                                                                         Food Revenue
            -3.79   100.00%             0.00   0.00%      -3.79            0.00     0.00%       -3.79    Food-Breakfast                                             1.73   100.00%          0.00     0.00%       1.73            0.00    0.00%       1.73

            -3.79   100.00%            0.00    0.00%      -3.79            0.00     0.00%       -3.79    Restaurant 2 Food Revenue                                  1.73   100.00%         0.00      0.00%       1.73            0.00    0.00%       1.73
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%       0.00    Less: Allowances                                           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            -3.79   100.00%            0.00    0.00%      -3.79            0.00     0.00%       -3.79    Total Restaurant 2 Food Revenue                            1.73   100.00%         0.00      0.00%       1.73            0.00    0.00%       1.73

                                                                                                         Beverage Revemue
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%        0.00    Liquor                                                     0.00     0.00%          0.00     0.00%       0.00           36.00    45.57%    -36.00
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%        0.00    Beer                                                       0.00     0.00%          0.00     0.00%       0.00           43.00    54.43%    -43.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Restaurant 2 Beverage Revenue                              0.00     0.00%         0.00      0.00%       0.00           79.00 100.00%      -79.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%       0.00    Less: Allowances                                           0.00      0.00%        0.00       0.00%      0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 Beverage Revenue                        0.00     0.00%         0.00      0.00%       0.00           79.00 100.00%      -79.00

            -3.79   100.00%            0.00    0.00%      -3.79            0.00     0.00%       -3.79    Total Restaurant 2 Revenue                                 1.73   100.00%         0.00      0.00%       1.73           79.00 100.00%      -77.27

                                                                                                         Cost of Sales

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 Cost of Sales                           0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            -3.79   100.00%            0.00    0.00%      -3.79            0.00     0.00%       -3.79    Restaurant 2 Gross Profit                                  1.73   100.00%         0.00      0.00%       1.73           79.00 100.00%      -77.27

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 Management                              0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 Non-Management                          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 Salaries and Wages                      0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Payroll Taxes                                        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Supplemental Pay                                     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Other Benefits                                       0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 PR Taxes and Benefits                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 Payroll                                 0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 Other Expenses                          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Restaurant 2 Expenses                                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            -3.79   100.00%            0.00    0.00%      -3.79            0.00     0.00%       -3.79    Total Restaurant 2 Profit (Loss)                           1.73   100.00%         0.00      0.00%       1.73           79.00 100.00%      -77.27




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              PTD     %           PTD Budget   %        Variance   PTD Last Year    %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year    %        Variance

                                                                                                         Room Service
                                                                                                         Food Revenue
             0.00         0.00%         0.00   0.00%       0.00            0.00     0.00%        0.00    Food-Dinner                                                0.00   0.00%          0.00     0.00%       0.00           61.44    100.00%    -61.44

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Room Service Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00           61.44 100.00%       -61.44
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00    0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Food Revenue                            0.00   0.00%         0.00      0.00%       0.00           61.44 100.00%       -61.44

                                                                                                         Beverage Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Room Service Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00      0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%      0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

                                                                                                         Other Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Other Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Revenue                                 0.00   0.00%         0.00      0.00%       0.00           61.44 100.00%       -61.44

                                                                                                         Cost of Sales

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Room Service Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00           61.44 100.00%       -61.44

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Management                              0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00     0.00%        0.00    Total Room Service Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00           61.44 100.00%       -61.44




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %         Variance                                                              YTD     %        YTD Budget %             Variance   YTD Last Year    %        Variance

                                                                                                         Banquets
                                                                                                         Food Revenue
             0.00     0.00%          0.00     0.00%       0.00            0.00      0.00%         0.00   Food-Breakfast                                            56.19     0.55%         0.00     0.00%       56.19           43.80     1.69%      12.39
         1,012.50    25.54%          0.00     0.00%   1,012.50            0.00      0.00%     1,012.50   Food-Lunch                                             1,012.50     9.82%         0.00     0.00%    1,012.50          143.60     5.54%     868.90
            50.00     1.26%          0.00     0.00%      50.00            0.00      0.00%        50.00   Food-Brunch                                               50.00     0.48%         0.00     0.00%       50.00            0.00     0.00%      50.00
             0.00     0.00%          0.00     0.00%       0.00            0.00      0.00%         0.00   Food-Breaks                                               50.00     0.48%         0.00     0.00%       50.00            0.00     0.00%      50.00

        1,062.50     26.80%         0.00     0.00%    1,062.50            0.00      0.00%    1,062.50    Banquets Food Revenue                                 1,168.69    11.34%         0.00      0.00%    1,168.69         187.40     7.23%     981.29
            0.00       0.00%        0.00      0.00%       0.00            0.00       0.00%       0.00    Less: Allowances                                          0.00      0.00%        0.00       0.00%       0.00           0.00      0.00%      0.00

        1,062.50     26.80%         0.00     0.00%    1,062.50            0.00      0.00%    1,062.50    Total Banquets Food Revenue                           1,168.69    11.34%         0.00      0.00%    1,168.69         187.40     7.23%     981.29

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Banquets Beverage Revenue                                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00      0.00%       0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Beverage Revenue                            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                         Other Revenue
             0.00     0.00%         0.00      0.00%       0.00            0.00      0.00%         0.00   Audio/Visual Income                                        0.00     0.00%         0.00     0.00%        0.00          225.00     8.68%    -225.00
           652.50    16.46%         0.00      0.00%     652.50           40.00     16.67%       612.50   Other Revenue                                          1,759.90    17.07%         0.00     0.00%    1,759.90          130.00     5.02%   1,629.90
             0.00     0.00%         0.00      0.00%       0.00            0.00      0.00%         0.00   Setup Fee                                                  0.00     0.00%         0.00     0.00%        0.00          249.24     9.62%    -249.24
         2,250.00    56.75%       500.00    100.00%   1,750.00          200.00     83.33%     2,050.00   Public Room Rental                                     7,380.80    71.59%     2,200.00   100.00%    5,180.80        1,800.00    69.45%   5,580.80

        2,902.50     73.20%       500.00    100.00%   2,402.50         240.00     100.00%    2,662.50    Total Banquets Other Revenue                          9,140.70    88.66%     2,200.00 100.00%       6,940.70       2,404.24     92.77%   6,736.46

        3,965.00    100.00%       500.00    100.00%   3,465.00         240.00     100.00%    3,725.00    Total Banquets Revenue                               10,309.39    100.00%    2,200.00 100.00%       8,109.39       2,591.64 100.00%      7,717.75

                                                                                                         Cost of Sales

             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Cost of Sales                               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        3,965.00    100.00%       500.00    100.00%   3,465.00         240.00     100.00%    3,725.00    Gross Profit                                         10,309.39    100.00%    2,200.00 100.00%       8,109.39       2,591.64 100.00%      7,717.75

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Management                                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Non-Management                              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00                   0.00                  0.00            0.00                   0.00    Total Banquets Salaries and Wages                          0.00                  0.00                   0.00            0.00                 0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00                   0.00                  0.00            0.00                   0.00    Total Banquet Benefits                                     0.00                  0.00                   0.00            0.00                 0.00

             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Payroll                                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Other Expenses                              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Expenses                                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00


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              PTD     %       PTD Budget     %        Variance   PTD Last Year     %        Variance                                                              YTD    %        YTD Budget %         Variance   YTD Last Year   %      Variance

        3,965.00    100.00%      500.00    100.00%   3,465.00         240.00     100.00%   3,725.00    Total Banquets Profit (Loss)                         10,309.39   100.00%    2,200.00 100.00%   8,109.39       2,591.64 100.00%   7,717.75




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Catering
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Catering Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Catering Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Catering Gross Profit                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 3
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 3 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 3 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 3 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Payroll Taxes and Benefits              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 4
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 4 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restauarnt 4 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 5
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 5 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 5 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 5 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 1
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Bar 1 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Bar 1 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Expenses                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Bar 2 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Bar 2 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expenses
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Expenses                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %          Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                           Telephone
             0.00         0.00%         0.00   0.00%       0.00           24.25     61.50%       -24.25    Local and Long Distance Revenue                           0.00   0.00%          0.00     0.00%       0.00          177.94    94.25%     -177.94
             0.00         0.00%         0.00   0.00%       0.00           15.18     38.50%       -15.18    Other Telephone Revenue                                   0.00   0.00%          0.00     0.00%       0.00           10.85     5.75%      -10.85

             0.00     0.00%            0.00    0.00%       0.00           39.43    100.00%       -39.43    Telephone Revenue                                         0.00   0.00%         0.00      0.00%       0.00         188.79 100.00%       -188.79
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00           0.00    0.00%         0.00
             0.00     0.00%            0.00    0.00%       0.00           39.43    100.00%       -39.43    Total Telephone Revenue                                   0.00   0.00%         0.00      0.00%       0.00         188.79 100.00%       -188.79

                                                                                                           Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00        1,560.32 3,957.19%      -1,560.32   Cost of Sales - Local Calls                               0.00    0.00%        0.00       0.00%      0.00        7,758.83 4,109.77%    -7,758.83
             0.00     0.00%            0.00    0.00%       0.00       1,560.323,957.19%       -1,560.32    Total Telephone Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00       7,758.834,109.77%     -7,758.83

             0.00     0.00%            0.00    0.00%       0.00      -1,520.89-3,857.19%      1,520.89     Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00      -7,570.04
                                                                                                                                                                                                                                  -4,009.77%     7,570.04

                                                                                                           Other Expenses
             0.00      0.00%           0.00     0.00%      0.00          492.50 1,249.05%       -492.50    Internet/Web Expense                                      0.00    0.00%        0.00       0.00%      0.00        1,962.89 1,039.72%    -1,962.89
             0.00      0.00%           0.00     0.00%      0.00            0.00     0.00%          0.00    Miscellaneous Expense                                     0.00    0.00%        0.00       0.00%      0.00            7.52     3.98%        -7.52
             0.00     0.00%            0.00    0.00%       0.00         492.501,249.05%        -492.50     Total Telephone Other Expenses                            0.00   0.00%         0.00      0.00%       0.00       1,970.411,043.70%     -1,970.41

             0.00     0.00%            0.00    0.00%       0.00      -2,013.39-5,106.24%      2,013.39     Total Telephone Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00      -9,540.45
                                                                                                                                                                                                                                  -5,053.47%     9,540.45




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              PTD     %        PTD Budget     %         Variance   PTD Last Year     %          Variance                                                             YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                           Minor Operating
                                                                                                           Income
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Total Rental Income                                       0.00    0.00%          0.00  0.00%            0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00         108.13       1.15%      -108.13   Vending Commissions-Soda & Snack Machines                 0.00     0.00%         0.00   0.00%           0.00       1,331.10      4.20%    -1,331.10
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Vending Commissions Other                               132.31     0.37%         0.00   0.00%         132.31          66.00      0.21%        66.31
             0.00     0.00%          0.00     0.00%         0.00        108.13       1.15%      -108.13    Total Vending Commission Income                        132.31     0.37%          0.00  0.00%         132.31       1,397.10      4.41%    -1,264.79
         1,115.00     17.33%         0.00      0.00%    1,115.00         731.46       7.76%       383.54   Cancellation Fee - Rooms                              7,918.12    22.07%         0.00   0.00%       7,918.12       5,947.67     18.78%     1,970.45
        1,115.00     17.33%          0.00     0.00%    1,115.00         731.46       7.76%       383.54    Total Cancellation Fee Income                        7,918.12    22.07%          0.00  0.00%       7,918.12       5,947.67     18.78%     1,970.45
             0.00      0.00%        55.00      1.54%      -55.00           0.00       0.00%         0.00   Guest Laundry                                            71.72     0.20%       275.00   2.03%        -203.28          79.28      0.25%        -7.56
           368.90      5.73%        25.00      0.70%      343.90         598.99       6.36%      -230.09   Internet Access                                       2,155.64     6.01%       125.00   0.92%       2,030.64       1,288.70      4.07%       866.94
            14.88      0.23%        12.00      0.34%        2.88       1,216.63      12.91%    -1,201.75   Telephone Revenue                                       984.89     2.74%        60.00   0.44%         924.89       4,457.70     14.07%    -3,472.81
         1,105.58     17.19%         0.00      0.00%    1,105.58          -0.01       0.00%     1,105.59   Other Revenue 3                                       4,574.69    12.75%         0.00   0.00%       4,574.69          92.51      0.29%     4,482.18
         3,831.42     59.56%     3,468.00     97.42%      363.42       5,694.74      60.44%    -1,863.32   Gift Shop Sales                                      20,047.58    55.87%    13,091.00  96.61%       6,956.58      15,036.87     47.48%     5,010.71
             0.00      0.00%         0.00      0.00%        0.00         771.82       8.19%      -771.82   Other Revenue 6                                           0.00     0.00%         0.00   0.00%           0.00       2,471.82      7.80%    -2,471.82
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Pet Fees                                                  0.00     0.00%         0.00   0.00%           0.00         500.00      1.58%      -500.00
            -3.00     -0.05%         0.00      0.00%       -3.00         300.00       3.18%      -303.00   Other Revenue 7                                          -3.00    -0.01%         0.00   0.00%          -3.00         400.00      1.26%      -403.00
        5,317.78     82.67%     3,560.00    100.00%    1,757.78       8,582.17      91.09%    -3,264.39    Total Other Income                                  27,831.52    77.56%    13,551.00 100.00%      14,280.52      24,326.88     76.81%     3,504.64

        6,432.78    100.00%     3,560.00    100.00%    2,872.78       9,421.76     100.00%    -2,988.98    Total Minor Operating Income                        35,881.95    100.00%   13,551.00 100.00%      22,330.95      31,671.65 100.00%       4,210.30

                                                                                                           Cost of Sales
             0.00      0.00%        30.25      0.85%      -30.25           0.00       0.00%        0.00    Cost of Sales - Guest Laundry                             0.00     0.00%       151.25     1.12%      -151.25           0.00      0.00%        0.00
         2,018.87     31.38%     2,254.20     63.32%     -235.33       1,965.66      20.86%       53.21    Cost of Sales - Gift Shop                            14,958.72    41.69%     8,509.15    62.79%     6,449.57       5,160.12     16.29%    9,798.60
        2,018.87     31.38%     2,284.45     64.17%     -265.58       1,965.66      20.86%        53.21    Total Minor Operated Cost of Sales                  14,958.72    41.69%     8,660.40    63.91%     6,298.32       5,160.12     16.29%    9,798.60

        4,413.91     68.62%     1,275.55     35.83%    3,138.36       7,456.10      79.14%    -3,042.19    Total Minor Operated Profit (Loss)                  20,923.23    58.31%     4,890.60    36.09%    16,032.63      26,511.53     83.71%    -5,588.30




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Arcade
                                                                                                    Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Revenue                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Non-Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Salaries and Wages                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade PR Taxes and Benefits                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Payroll                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Other Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Expenses                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Profit (Loss)                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Waterpark
                                                                                                    Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Revenue                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Management                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Non-Management                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Profit (Loss)                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %        Variance   PTD Last Year     %        Variance                                                              YTD     %       YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                          Franchise Fees
             0.00         0.00%         0.00    0.00%        0.00         250.82      0.10%     -250.82   Franchise Fees - IT Fees                                   0.00    0.00%         0.00     0.00%       0.00        1,233.12     0.15%   -1,233.12
        13,053.16         5.49%    16,083.10    5.39%   -3,029.94      14,128.90      5.73%   -1,075.74   Franchise Fees - Royalty & Licenses                   63,727.01    5.59%    61,175.94     5.37%   2,551.07       46,148.89     5.80%   17,578.12
             0.00         0.00%         0.00    0.00%        0.00         739.66      0.30%     -739.66   Franchise Fees - Other                                     0.00    0.00%         0.00     0.00%       0.00        3,721.48     0.47%   -3,721.48
             0.00         0.00%         0.00    0.00%        0.00         112.50      0.05%     -112.50   Franchise Fees - Reservations-GDS                          0.00    0.00%         0.00     0.00%       0.00        1,540.70     0.19%   -1,540.70
         4,497.84         1.89%     3,586.48    1.20%      911.36       4,148.39      1.68%      349.45   Franchise Fees - Frequent Guest                       16,578.79    1.45%    13,642.03     1.20%   2,936.76        8,915.20     1.12%    7,663.59
        11,732.35         4.93%    14,570.06    4.89%   -2,837.71      11,534.63      4.68%      197.72   Franchise Fees - Marketing Contributions              57,802.59    5.07%    55,420.71     4.87%   2,381.88       44,374.46     5.57%   13,428.13

       29,283.35     12.31%       34,239.64    11.48%   -4,956.29     30,914.90      12.55%   -1,631.55   Total Franchise Fees                                138,108.39    12.11%   130,238.68   11.44%    7,869.71     105,933.85     13.31%   32,174.54




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %          Variance                                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                         A&G
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
        12,377.80      5.21%     9,807.17    3.29%    2,570.63       9,313.19       3.78%    3,064.61    Management- A&G                                      47,691.72     4.18%     48,013.08     4.22%      -321.36      49,592.92      6.23%    -1,901.20
       12,377.80      5.21%     9,807.17    3.29%    2,570.63       9,313.19       3.78%    3,064.61     Total A&G Management                                47,691.72     4.18%     48,013.08     4.22%      -321.36      49,592.92      6.23%    -1,901.20
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%         0.00    Total A&G Non-Management                                  0.00    0.00%           0.00    0.00%          0.00           0.00     0.00%          0.00
       12,377.80      5.21%     9,807.17    3.29%    2,570.63       9,313.19       3.78%    3,064.61     Total A&G Salaries and Wages                        47,691.72     4.18%     48,013.08     4.22%      -321.36      49,592.92      6.23%    -1,901.20
                                                                                                         PR Taxes and Benefits
           931.12      0.39%       779.67    0.26%      151.45         701.35       0.28%       229.77   FICA                                                  4,889.79     0.43%      5,289.50     0.46%      -399.71       3,725.42      0.47%     1,164.37
            31.85      0.01%         9.17    0.00%       22.68          22.19       0.01%         9.66   Federal Unemployment Tax                                224.93     0.02%        171.51     0.02%        53.42         199.41      0.03%        25.52
           139.24      0.06%        20.38    0.01%      118.86          44.82       0.02%        94.42   State Unemployment Tax                                1,096.73     0.10%        621.74     0.05%       474.99         390.84      0.05%       705.89
        1,102.21      0.46%       809.22    0.27%      292.99         768.36       0.31%       333.85    Total Payroll Taxes                                  6,211.45     0.54%      6,082.75     0.53%       128.70       4,315.67      0.54%     1,895.78
             0.00      0.00%       384.62    0.13%     -384.62           0.00       0.00%         0.00   Vacation                                                  0.00     0.00%      1,630.79     0.14%    -1,630.79           0.00      0.00%         0.00
             0.00     0.00%       384.62    0.13%     -384.62            0.00      0.00%          0.00   Total Supplemental Pay                                    0.00    0.00%      1,630.79     0.14%    -1,630.79            0.00     0.00%          0.00
           519.45      0.22%       561.11    0.19%      -41.66       1,096.61       0.45%      -577.16   Worker's Compensation                                 3,056.75     0.27%      3,997.07     0.35%      -940.32       3,260.65      0.41%      -203.90
         1,119.72      0.47%         0.00    0.00%    1,119.72       2,879.74       1.17%    -1,760.02   Group Insurance                                       5,206.03     0.46%          0.00     0.00%     5,206.03       2,477.07      0.31%     2,728.96
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%         0.00   Bonus and Incentive Pay                              17,283.33     1.52%     19,500.00     1.71%    -2,216.67           0.00      0.00%    17,283.33
        1,639.17      0.69%       561.11    0.19%    1,078.06       3,976.35       1.61%    -2,337.18    Total Other Benefits                                25,546.11     2.24%     23,497.07     2.06%     2,049.04       5,737.72      0.72%    19,808.39
        2,741.38      1.15%     1,754.95    0.59%      986.43       4,744.71       1.93%    -2,003.33    Total A&G PR Taxes and Benefits                     31,757.56     2.79%     31,210.61     2.74%       546.95      10,053.39      1.26%    21,704.17
       15,119.18      6.36%    11,562.12    3.88%    3,557.06      14,057.90       5.71%     1,061.28    Total A&G Payroll                                   79,449.28     6.97%     79,223.69     6.96%       225.59      59,646.31      7.49%    19,802.97
                                                                                                         Other Expenses
             0.00      0.00%         0.00    0.00%        0.00       1,000.00       0.41%    -1,000.00   Accounting/Audit Fees                                     0.00     0.00%          0.00     0.00%         0.00       7,000.00      0.88%    -7,000.00
         1,599.50      0.67%         0.00    0.00%    1,599.50       2,786.18       1.13%    -1,186.68   Bad Debt Provision                                   13,870.15     1.22%          0.00     0.00%    13,870.15       7,740.64      0.97%     6,129.51
         1,198.16      0.50%       820.00    0.27%      378.16         698.78       0.28%       499.38   Bank Charges                                          5,020.65     0.44%      4,100.00     0.36%       920.65       3,522.18      0.44%     1,498.47
            95.06      0.04%         0.00    0.00%       95.06         -17.06      -0.01%       112.12   Cash Over/Short                                         181.78     0.02%          0.00     0.00%       181.78          45.40      0.01%       136.38
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%         0.00   Central Office - Travel Rebilled                         77.71     0.01%        250.00     0.02%      -172.29           0.00      0.00%        77.71
         1,000.00      0.42%     1,000.00    0.34%        0.00           0.00       0.00%     1,000.00   Central Office - Accounting Fees                      5,000.00     0.44%      5,000.00     0.44%         0.00         160.00      0.02%     4,840.00
             0.00      0.00%         0.00    0.00%        0.00         410.00       0.17%      -410.00   Central Office - IT Fees                                  0.00     0.00%          0.00     0.00%         0.00       1,490.00      0.19%    -1,490.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%         0.00   Communication Expense                                     0.00     0.00%          0.00     0.00%         0.00         180.00      0.02%      -180.00
         7,434.71      3.13%     7,158.08    2.40%      276.63       5,233.70       2.12%     2,201.01   Credit Card Commission                               36,498.14     3.20%     27,329.61     2.40%     9,168.53      14,956.10      1.88%    21,542.04
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%         0.00   Data Processing                                           0.00     0.00%          0.00     0.00%         0.00       2,500.00      0.31%    -2,500.00
            44.38      0.02%         0.00    0.00%       44.38         134.38       0.05%       -90.00   Dues and Subscriptions                                  221.90     0.02%        259.00     0.02%       -37.10         401.90      0.05%      -180.00
           237.44      0.10%       450.00    0.15%     -212.56           0.00       0.00%       237.44   Employee Relations                                    1,899.08     0.17%      2,220.00     0.19%      -320.92         993.65      0.12%       905.43
             0.00      0.00%       160.00    0.05%     -160.00           0.00       0.00%         0.00   Equipment Rental                                        333.06     0.03%        800.00     0.07%      -466.94           0.00      0.00%       333.06
             0.00      0.00%         0.00    0.00%        0.00         428.96       0.17%      -428.96   Licenses/Permits                                        709.47     0.06%          0.00     0.00%       709.47         428.96      0.05%       280.51
             0.00      0.00%         0.00    0.00%        0.00          14.18       0.01%       -14.18   Meals and Entertainment                                   0.00     0.00%          0.00     0.00%         0.00         147.92      0.02%      -147.92
          -161.50     -0.07%         0.00    0.00%     -161.50        -136.44      -0.06%       -25.06   Miscellaneous Expense                                  -862.64    -0.08%          0.00     0.00%      -862.64        -506.26     -0.06%      -356.38
             0.00      0.00%         0.00    0.00%        0.00         341.47       0.14%      -341.47   Office Supplies                                           0.00     0.00%          0.00     0.00%         0.00         919.91      0.12%      -919.91
           170.00      0.07%         0.00    0.00%      170.00           0.00       0.00%       170.00   Operating Supplies                                    1,845.07     0.16%          0.00     0.00%     1,845.07           0.00      0.00%     1,845.07
           350.00      0.15%       503.14    0.17%     -153.14         138.56       0.06%       211.44   Payroll Service Fees                                  1,514.57     0.13%      2,508.85     0.22%      -994.28         668.94      0.08%       845.63
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%         0.00   Postage                                                 299.94     0.03%        250.00     0.02%        49.94          97.30      0.01%       202.64
            62.50      0.03%       150.00    0.05%      -87.50         225.00       0.09%      -162.50   Professional Fees - Legal                             1,809.27     0.16%        750.00     0.07%     1,059.27       9,234.80      1.16%    -7,425.53
            44.01      0.02%         0.00    0.00%       44.01           0.00       0.00%        44.01   Professional Fees - Other                             1,814.00     0.16%        650.00     0.06%     1,164.00       1,864.57      0.23%       -50.57
             0.00      0.00%        75.00    0.03%      -75.00           0.00       0.00%         0.00   Recruitment Advertising                                 194.75     0.02%        375.00     0.03%      -180.25           0.00      0.00%       194.75
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%         0.00   Recruitment - Other                                       0.00     0.00%          0.00     0.00%         0.00         790.95      0.10%      -790.95
         1,658.50      0.70%     1,400.00    0.47%      258.50       4,425.60       1.80%    -2,767.10   Security - Outside                                   16,321.50     1.43%      7,000.00     0.61%     9,321.50       5,946.90      0.75%    10,374.60
             0.00      0.00%         0.00    0.00%        0.00       1,937.69       0.79%    -1,937.69   Software Expense/Maintenance                              0.00     0.00%          0.00     0.00%         0.00       5,788.45      0.73%    -5,788.45
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%         0.00   Training                                              1,875.33     0.16%      5,190.00     0.46%    -3,314.67         175.33      0.02%     1,700.00
             0.00      0.00%         0.00    0.00%        0.00          74.59       0.03%       -74.59   Travel                                                    0.00     0.00%      1,500.00     0.13%    -1,500.00         313.54      0.04%      -313.54
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%         0.00   Uniforms                                                  0.00     0.00%          0.00     0.00%         0.00         292.82      0.04%      -292.82
       13,732.76      5.78%    11,816.22    3.96%    1,916.54      17,695.59       7.18%    -3,962.83    Total A&G Other Expenses                            88,623.73     7.77%     58,182.46     5.11%    30,441.27      65,154.00      8.18%    23,469.73
       28,851.94     12.13%    23,378.34    7.84%    5,473.60      31,753.49      12.89%    -2,901.55    Total A&G Expenses                                 168,073.01    14.74%    137,406.15    12.07%    30,666.86     124,800.31     15.67%    43,272.70




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Management                                        0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Non-Management                                    0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Salaries and Wages                                0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT PR Taxes and Benefits                             0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Payroll                                           0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                       Cost of Services
            60.00      0.03%       210.00    0.07%    -150.00           0.00       0.00%       60.00   Cost of Cell Phones                                      420.00    0.04%     1,050.00      0.09%      -630.00           0.00     0.00%       420.00
         1,749.60      0.74%     1,792.50    0.60%     -42.90           0.00       0.00%    1,749.60   Cost of Internet Services                              8,551.00    0.75%     8,962.50      0.79%      -411.50           0.00     0.00%     8,551.00
         1,016.56      0.43%     1,495.00    0.50%    -478.44           0.00       0.00%    1,016.56   Cost of Calls                                          6,513.48    0.57%     7,475.00      0.66%      -961.52           0.00     0.00%     6,513.48
        2,826.16      1.19%     3,497.50    1.17%    -671.34            0.00      0.00%    2,826.16    Total IT Cost of Services                            15,484.48    1.36%    17,487.50      1.54%    -2,003.02            0.00    0.00%    15,484.48

                                                                                                       System Costs
         2,127.07      0.89%     2,040.70    0.68%     86.37            0.00       0.00%    2,127.07   Administrative & General                               3,978.59    0.35%     4,123.50      0.36%     -144.91            0.00     0.00%     3,978.59
             0.00      0.00%       175.00    0.06%   -175.00            0.00       0.00%        0.00   Energy Management                                          0.00    0.00%       875.00      0.08%     -875.00            0.00     0.00%         0.00
             0.00      0.00%        75.00    0.03%    -75.00            0.00       0.00%        0.00   Food & Beverage                                            0.00    0.00%       375.00      0.03%     -375.00            0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%    -50.00            0.00       0.00%        0.00   Human Resources                                            0.00    0.00%       250.00      0.02%     -250.00            0.00     0.00%         0.00
           543.66      0.23%       180.00    0.06%    363.66            0.00       0.00%      543.66   Information Systems                                    2,383.66    0.21%       900.00      0.08%    1,483.66            0.00     0.00%     2,383.66
             0.00      0.00%         0.00    0.00%      0.00            0.00       0.00%        0.00   Other                                                    405.42    0.04%         0.00      0.00%      405.42            0.00     0.00%       405.42
           210.00      0.09%       197.00    0.07%     13.00            0.00       0.00%      210.00   Property Ops & Maintenance                               998.00    0.09%       985.00      0.09%       13.00            0.00     0.00%       998.00
           281.49      0.12%       250.00    0.08%     31.49            0.00       0.00%      281.49   Rooms                                                  6,068.67    0.53%     1,250.00      0.11%    4,818.67            0.00     0.00%     6,068.67
        3,162.22      1.33%     2,967.70    1.00%    194.52             0.00      0.00%    3,162.22    Total IT Systems                                     13,834.34    1.21%     8,758.50      0.77%    5,075.84             0.00    0.00%    13,834.34

                                                                                                       Other Expenses
           695.42      0.29%        0.00     0.00%    695.42            0.00       0.00%      695.42   Miscellaneous                                            695.42    0.06%        0.00       0.00%      695.42            0.00     0.00%       695.42
          695.42      0.29%         0.00    0.00%    695.42             0.00      0.00%      695.42    Total IT Other Expenses                                 695.42    0.06%         0.00      0.00%      695.42             0.00    0.00%       695.42

        6,683.80      2.81%     6,465.20    2.17%    218.60             0.00      0.00%    6,683.80    Total IT Expenses                                    30,014.24    2.63%    26,246.00      2.30%    3,768.24             0.00    0.00%    30,014.24




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                                                                                             Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                         S&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         6,935.33      2.92%     5,312.22    1.78%     1,623.11       5,535.71       2.25%    1,399.62   Division Management                                   31,631.32    2.77%    26,007.09      2.28%      5,624.23      26,428.57     3.32%     5,202.75
        6,935.33      2.92%     5,312.22    1.78%     1,623.11       5,535.71       2.25%    1,399.62    Total S&M Management                                 31,631.32    2.77%    26,007.09      2.28%      5,624.23      26,428.57     3.32%     5,202.75
             0.00      0.00%     1,700.57    0.57%    -1,700.57           0.00       0.00%        0.00   Administrative Assistant                                   0.00    0.00%     8,283.42      0.73%     -8,283.42           0.00     0.00%         0.00
             0.00     0.00%     1,700.57    0.57%    -1,700.57            0.00      0.00%         0.00   Total S&M Non-Management                                   0.00   0.00%     8,283.42      0.73%     -8,283.42            0.00    0.00%          0.00

        6,935.33      2.92%     7,012.79    2.35%       -77.46       5,535.71       2.25%    1,399.62    Total S&M Salaries and Wages                         31,631.32    2.77%    34,290.51      3.01%     -2,659.19      26,428.57     3.32%     5,202.75

                                                                                                         PR Taxes and Benefits
           715.36      0.30%     1,298.29    0.44%      -582.93         416.92       0.17%      298.44   FICA                                                   3,040.97    0.27%     4,182.56      0.37%     -1,141.59       1,643.30     0.21%     1,397.67
           145.98      0.06%        15.27    0.01%       130.71          13.09       0.01%      132.89   Federal Unemployment Tax                                 416.39    0.04%       143.45      0.01%        272.94          97.20     0.01%       319.19
            13.13      0.01%        33.94    0.01%       -20.81          26.52       0.01%      -13.39   State Unemployment Tax                                   724.05    0.06%       419.35      0.04%        304.70         189.30     0.02%       534.75
          874.47      0.37%     1,347.50    0.45%      -473.03         456.53       0.19%      417.94    Total Payroll Taxes                                   4,181.41    0.37%     4,745.36      0.42%       -563.95       1,929.80     0.24%     2,251.61
             0.00      0.00%       208.33    0.07%      -208.33           0.00       0.00%        0.00   Vacation                                                   0.00    0.00%       883.32      0.08%       -883.32           0.00     0.00%         0.00
             0.00     0.00%       208.33    0.07%      -208.33            0.00      0.00%         0.00   Total Supplemental Pay                                     0.00   0.00%       883.32      0.08%       -883.32            0.00    0.00%          0.00
           415.56      0.17%       934.35    0.31%      -518.79         594.00       0.24%     -178.44   Worker's Compensation                                  1,650.94    0.14%     3,326.48      0.29%     -1,675.54       1,563.62     0.20%        87.32
           496.56      0.21%         0.00    0.00%       496.56       2,879.74       1.17%   -2,383.18   Group Insurance                                        2,652.16    0.23%         0.00      0.00%      2,652.16       2,477.07     0.31%       175.09
         3,363.75      1.41%     9,750.00    3.27%    -6,386.25           0.00       0.00%    3,363.75   Bonus and Incentive Pay                                9,301.25    0.82%    19,500.00      1.71%    -10,198.75           0.00     0.00%     9,301.25
        4,275.87      1.80%    10,684.35    3.58%    -6,408.48       3,473.74       1.41%      802.13    Total Other Benefits                                 13,604.35    1.19%    22,826.48      2.00%     -9,222.13       4,040.69     0.51%     9,563.66
        5,150.34      2.17%    12,240.18    4.10%    -7,089.84       3,930.27       1.60%    1,220.07    Total S&M PR Taxes and Benefits                      17,785.76    1.56%    28,455.16      2.50%    -10,669.40       5,970.49     0.75%    11,815.27

       12,085.67      5.08%    19,252.97    6.46%    -7,167.30       9,465.98       3.84%    2,619.69    Total S&M Payroll                                    49,417.08    4.33%    62,745.67      5.51%    -13,328.59      32,399.06     4.07%    17,018.02

                                                                                                         Other Expenses
             0.00      0.00%       250.00    0.08%     -250.00          440.00       0.18%     -440.00   Advertising General                                        0.00    0.00%     1,250.00      0.11%     -1,250.00       1,420.00     0.18%    -1,420.00
         1,374.81      0.58%     1,490.00    0.50%     -115.19            0.00       0.00%    1,374.81   Advertising-Web/Internet                               4,844.81    0.42%     6,355.00      0.56%     -1,510.19           0.00     0.00%     4,844.81
             0.00      0.00%         0.00    0.00%        0.00           60.00       0.02%      -60.00   Communication Expense                                      0.00    0.00%         0.00      0.00%          0.00         300.00     0.04%      -300.00
           500.00      0.21%         0.00    0.00%      500.00            0.00       0.00%      500.00   Contract Labor                                           500.00    0.04%         0.00      0.00%        500.00           0.00     0.00%       500.00
         2,427.20      1.02%     1,681.00    0.56%      746.20        2,265.66       0.92%      161.54   Dues and Subscriptions                                16,417.06    1.44%    10,903.00      0.96%      5,514.06      19,305.52     2.42%    -2,888.46
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   GDS Marketing Advert & Sales                            -272.33   -0.02%         0.00      0.00%       -272.33           0.00     0.00%      -272.33
             0.00      0.00%        50.00    0.02%      -50.00           46.78       0.02%      -46.78   Meals and Entertainment                                  206.86    0.02%       250.00      0.02%        -43.14          91.78     0.01%       115.08
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Office Supplies                                            0.00    0.00%         0.00      0.00%          0.00         363.32     0.05%      -363.32
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Operating Supplies                                     1,320.01    0.12%         0.00      0.00%      1,320.01           0.00     0.00%     1,320.01
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Postage                                                    0.00    0.00%         0.00      0.00%          0.00         145.69     0.02%      -145.69
           147.54      0.06%        50.00    0.02%       97.54            0.00       0.00%      147.54   Printing and Stationery                                  147.54    0.01%       250.00      0.02%       -102.46         125.57     0.02%        21.97
             0.00      0.00%        75.00    0.03%      -75.00            0.00       0.00%        0.00   Promotions - In-house                                     75.00    0.01%       375.00      0.03%       -300.00          43.53     0.01%        31.47
            84.38      0.04%         0.00    0.00%       84.38            0.00       0.00%       84.38   Promotion - Outside                                       84.38    0.01%         0.00      0.00%         84.38           0.00     0.00%        84.38
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Software Expense/Maintenance                               0.00    0.00%         0.00      0.00%          0.00       7,021.41     0.88%    -7,021.41
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Training                                               1,237.18    0.11%         0.00      0.00%      1,237.18       1,745.00     0.22%      -507.82
            10.35      0.00%         0.00    0.00%       10.35            1.78       0.00%        8.57   Travel                                                    10.35    0.00%         0.00      0.00%         10.35         113.86     0.01%      -103.51
        4,544.28      1.91%     3,596.00    1.21%      948.28        2,814.22       1.14%    1,730.06    Total S&M Other Expenses                             24,570.86    2.15%    19,383.00      1.70%      5,187.86      30,675.68     3.85%    -6,104.82

       16,629.95      6.99%    22,848.97    7.66%    -6,219.02      12,280.20       4.98%    4,349.75    Total S&M Expenses                                   73,987.94    6.49%    82,128.67      7.21%     -8,140.73      63,074.74     7.92%    10,913.20




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                                                                                             Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget   %         Variance    PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                         R&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         4,258.25      1.79%     3,677.69    1.23%      580.56        3,832.42       1.56%      425.83   Division Management                                    7,967.05    0.70%    18,004.91      1.58%    -10,037.86       7,046.90     0.89%       920.15
        4,258.25      1.79%     3,677.69    1.23%      580.56        3,832.42       1.56%      425.83    Total R&M Management                                  7,967.05    0.70%    18,004.91      1.58%    -10,037.86       7,046.90     0.89%       920.15
         4,366.90      1.84%     5,668.57    1.90%   -1,301.67        2,614.38       1.06%    1,752.52   Engineers 1                                           23,464.98    2.06%    27,611.42      2.42%     -4,146.44      14,696.63     1.85%     8,768.35
           313.78      0.13%         0.00    0.00%      313.78            0.00       0.00%      313.78   Engineers 1 Overtime                                     313.78    0.03%         0.00      0.00%        313.78           0.00     0.00%       313.78
        4,680.68      1.97%     5,668.57    1.90%     -987.89        2,614.38       1.06%    2,066.30    Total R&M Non-Management                             23,778.76    2.09%    27,611.42      2.42%     -3,832.66      14,696.63     1.85%     9,082.13

        8,938.93      3.76%     9,346.26    3.13%     -407.33        6,446.80       2.62%    2,492.13    Total R&M Salaries and Wages                         31,745.81    2.78%    45,616.33      4.01%    -13,870.52      21,743.53     2.73%    10,002.28

                                                                                                         PR Taxes and Benefits
           695.59      0.29%       726.08    0.24%       -30.49         662.63       0.27%       32.96   FICA                                                   2,411.91    0.21%     3,545.11      0.31%     -1,133.20       1,494.88     0.19%       917.03
            11.18      0.00%         8.54    0.00%         2.64          20.85       0.01%       -9.67   Federal Unemployment Tax                                  98.46    0.01%       127.45      0.01%        -28.99          71.64     0.01%        26.82
           121.25      0.05%        18.98    0.01%      102.27           42.22       0.02%       79.03   State Unemployment Tax                                   556.39    0.05%       398.50      0.03%        157.89         146.35     0.02%       410.04
          828.02      0.35%       753.60    0.25%        74.42         725.70       0.29%      102.32    Total Payroll Taxes                                   3,066.76    0.27%     4,071.06      0.36%     -1,004.30       1,712.87     0.22%     1,353.89
             0.00      0.00%       145.00    0.05%     -145.00            0.00       0.00%        0.00   Vacation                                                   0.00    0.00%       725.00      0.06%       -725.00           0.00     0.00%         0.00
             0.00     0.00%       145.00    0.05%     -145.00             0.00      0.00%         0.00   Total Supplemental Pay                                     0.00   0.00%       725.00      0.06%       -725.00            0.00    0.00%          0.00
           450.19      0.19%       522.54    0.18%       -72.35         974.72       0.40%     -524.53   Worker's Compensation                                  1,147.00    0.10%     2,833.13      0.25%     -1,686.13       1,643.23     0.21%      -496.23
          450.19      0.19%       522.54    0.18%       -72.35         974.72       0.40%     -524.53    Total Other Benefits                                  1,147.00    0.10%     2,833.13      0.25%     -1,686.13       1,643.23     0.21%      -496.23
        1,278.21      0.54%     1,421.14    0.48%     -142.93        1,700.42       0.69%     -422.21    Total R&M PR Taxes and Benefits                       4,213.76    0.37%     7,629.19      0.67%     -3,415.43       3,356.10     0.42%       857.66

       10,217.14      4.30%    10,767.40    3.61%     -550.26        8,147.22       3.31%    2,069.92    Total R&M Payroll                                    35,959.57    3.15%    53,245.52      4.68%    -17,285.95      25,099.63     3.15%    10,859.94

                                                                                                         Other Expenses
         1,832.78      0.77%       300.00    0.10%    1,532.78          124.48       0.05%    1,708.30   Air Conditioning and Refrigeration                     3,130.37    0.27%     1,500.00      0.13%     1,630.37          616.65     0.08%     2,513.72
           661.96      0.28%       125.00    0.04%      536.96            0.00       0.00%      661.96   Building                                              10,426.26    0.91%       625.00      0.05%     9,801.26        4,771.11     0.60%     5,655.15
             0.00      0.00%         0.00    0.00%        0.00          343.71       0.14%     -343.71   Communication Expense                                      0.00    0.00%         0.00      0.00%         0.00          343.71     0.04%      -343.71
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Contract Labor                                         5,500.00    0.48%     5,500.00      0.48%         0.00            0.00     0.00%     5,500.00
         1,525.36      0.64%       200.00    0.07%    1,325.36        1,198.12       0.49%      327.24   Electric Bulbs                                         4,713.04    0.41%     1,000.00      0.09%     3,713.04        3,222.38     0.40%     1,490.66
             0.00      0.00%       175.00    0.06%     -175.00            0.00       0.00%        0.00   Electrical and Mechanical                                721.06    0.06%       875.00      0.08%      -153.94          916.91     0.12%      -195.85
           859.40      0.36%     1,400.00    0.47%     -540.60            0.00       0.00%      859.40   Elevator Maintenance Contracts                         1,841.56    0.16%     7,000.00      0.61%    -5,158.44            8.39     0.00%     1,833.17
             0.00      0.00%         0.00    0.00%        0.00          110.76       0.04%     -110.76   Equipment Rental                                           0.00    0.00%         0.00      0.00%         0.00          110.76     0.01%      -110.76
         1,287.65      0.54%       275.00    0.09%    1,012.65        1,445.33       0.59%     -157.68   Fire Safety Equipment                                  4,291.59    0.38%     3,825.00      0.34%       466.59        5,253.71     0.66%      -962.12
             0.00      0.00%       100.00    0.03%     -100.00            0.00       0.00%        0.00   Floor and Carpet Maintenance                             866.48    0.08%       500.00      0.04%       366.48           56.19     0.01%       810.29
           257.12      0.11%         0.00    0.00%      257.12            0.00       0.00%      257.12   Furniture                                              4,163.32    0.37%         0.00      0.00%     4,163.32            0.00     0.00%     4,163.32
         1,650.00      0.69%     1,500.00    0.50%      150.00        1,442.27       0.59%      207.73   Grounds and Landscaping                                8,453.64    0.74%     7,500.00      0.66%       953.64        4,392.27     0.55%     4,061.37
         2,072.02      0.87%       125.00    0.04%    1,947.02            0.00       0.00%    2,072.02   Kitchen Equipment Repairs                              2,482.02    0.22%       625.00      0.05%     1,857.02            0.00     0.00%     2,482.02
             0.00      0.00%       125.00    0.04%     -125.00            0.00       0.00%        0.00   Laundry Equipment Repairs                                  0.00    0.00%       625.00      0.05%      -625.00          574.90     0.07%      -574.90
            25.00      0.01%         0.00    0.00%       25.00            0.00       0.00%       25.00   Licenses/Permits                                         147.06    0.01%         0.00      0.00%       147.06        1,362.14     0.17%    -1,215.08
             0.00      0.00%         0.00    0.00%        0.00        1,079.42       0.44%   -1,079.42   Locks and Keys                                             0.00    0.00%         0.00      0.00%         0.00        1,169.29     0.15%    -1,169.29
             0.00      0.00%       100.00    0.03%     -100.00            0.00       0.00%        0.00   Miscellaneous Expense                                      0.00    0.00%       500.00      0.04%      -500.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00          616.73       0.25%     -616.73   Office Supplies                                            0.00    0.00%         0.00      0.00%         0.00          616.73     0.08%      -616.73
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Operating Supplies                                         0.00    0.00%         0.00      0.00%         0.00            7.01     0.00%        -7.01
             0.00      0.00%       200.00    0.07%     -200.00            0.00       0.00%        0.00   Painting and Decorating                                   95.15    0.01%     1,000.00      0.09%      -904.85          122.56     0.02%       -27.41
           639.78      0.27%       794.00    0.27%     -154.22          487.13       0.20%      152.65   Pest Control                                           1,930.14    0.17%     3,970.00      0.35%    -2,039.86        1,506.86     0.19%       423.28
         3,172.07      1.33%       200.00    0.07%    2,972.07        2,050.75       0.83%    1,121.32   Plumbing and Heating                                  10,853.10    0.95%     1,000.00      0.09%     9,853.10        2,738.88     0.34%     8,114.22
             0.00      0.00%         0.00    0.00%        0.00          211.82       0.09%     -211.82   Pool Chemicals                                             0.00    0.00%         0.00      0.00%         0.00          691.46     0.09%      -691.46
           261.04      0.11%       450.00    0.15%     -188.96            0.00       0.00%      261.04   Pool Service- Contract                                 1,059.36    0.09%     2,250.00      0.20%    -1,190.64          386.46     0.05%       672.90
             0.00      0.00%       100.00    0.03%     -100.00            0.00       0.00%        0.00   Radio and Television Repair                                0.00    0.00%       500.00      0.04%      -500.00            0.00     0.00%         0.00
           332.05      0.14%        75.00    0.03%      257.05           11.89       0.00%      320.16   Tools                                                    714.58    0.06%       375.00      0.03%       339.58           11.89     0.00%       702.69
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Travel                                                     0.00    0.00%       500.00      0.04%      -500.00            0.00     0.00%         0.00
             0.00      0.00%       250.00    0.08%     -250.00            0.00       0.00%        0.00   Uniforms                                                   0.00    0.00%     1,250.00      0.11%    -1,250.00           16.22     0.00%       -16.22
         1,007.25      0.42%       415.00    0.14%      592.25          415.39       0.17%      591.86   Waste Removal                                          3,651.90    0.32%     2,075.00      0.18%     1,576.90        2,076.95     0.26%     1,574.95
             0.00      0.00%        75.00    0.03%      -75.00            0.00       0.00%        0.00   Water Treatment                                            0.00    0.00%       375.00      0.03%      -375.00            0.00     0.00%         0.00
       15,583.48      6.55%     6,984.00    2.34%    8,599.48        9,537.80       3.87%    6,045.68    Total R&M Other Expenses                             65,040.63    5.70%    43,370.00      3.81%    21,670.63       30,973.43     3.89%    34,067.20

       25,800.62     10.85%    17,751.40    5.95%    8,049.22       17,685.02       7.18%    8,115.60    Total R&M Expenses                                  101,000.20    8.86%    96,615.52      8.48%      4,384.68      56,073.06     7.04%    44,927.14



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                                                                                             Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                         Utilities
         3,162.24      1.33%     5,375.40    1.80%    -2,213.16       4,124.05       1.67%     -961.81   Water                                                 21,785.10    1.91%    20,291.05      1.78%     1,494.05      15,917.55     2.00%     5,867.55
        12,560.97      5.28%    14,045.40    4.71%    -1,484.43       9,719.98       3.95%    2,840.99   Electricity                                           47,438.62    4.16%    53,018.55      4.66%    -5,579.93      40,127.18     5.04%     7,311.44
           825.67      0.35%     1,838.04    0.62%    -1,012.37         802.25       0.33%       23.42   Gas - Natural HLP                                      4,129.40    0.36%     6,938.23      0.61%    -2,808.83       5,028.88     0.63%      -899.48
       16,548.88      6.96%    21,258.84    7.13%    -4,709.96      14,646.28       5.94%    1,902.60    Total Utilities                                      73,353.12    6.43%    80,247.83      7.05%    -6,894.71      61,073.61     7.67%    12,279.51




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                                                                                   Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 118 of 776
                                                                                              Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                                  P&L - Dual Summary Pages
                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %          Variance                                                             YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                           Fixed
        18,135.00      7.63%    18,135.00     6.08%         0.00      18,135.00       7.36%         0.00   Real Estate Taxes                                    90,675.00     7.95%     90,675.00     7.96%          0.00      90,675.00     11.39%         0.00
        18,398.11      7.74%         0.00     0.00%    18,398.11           0.00       0.00%    18,398.11   Other Business Taxes                                 18,398.11     1.61%          0.00     0.00%     18,398.11           0.00      0.00%    18,398.11
       36,533.11     15.36%    18,135.00     6.08%    18,398.11      18,135.00       7.36%    18,398.11    Total Taxes                                        109,073.11     9.57%     90,675.00     7.96%     18,398.11      90,675.00     11.39%    18,398.11
           350.08      0.15%         0.00     0.00%       350.08           0.00       0.00%       350.08   Insurance                                             1,750.40     0.15%          0.00     0.00%      1,750.40           0.00      0.00%     1,750.40
            31.67      0.01%       380.00     0.13%      -348.33           0.00       0.00%        31.67   Insurance - Crime                                       158.35     0.01%      1,900.00     0.17%     -1,741.65           0.00      0.00%       158.35
           361.92      0.15%     4,343.00     1.46%    -3,981.08          97.14       0.04%       264.78   Insurance - Employment                                1,809.60     0.16%     21,715.00     1.91%    -19,905.40         485.71      0.06%     1,323.89
         3,743.38      1.57%     3,616.00     1.21%       127.38       1,791.14       0.73%     1,952.24   Insurance - General Liability                        22,159.03     1.94%     18,080.00     1.59%      4,079.03       8,955.72      1.12%    13,203.31
         4,017.67      1.69%     4,201.00     1.41%      -183.33       3,800.00       1.54%       217.67   Insurance - Property                                 22,480.35     1.97%     21,005.00     1.84%      1,475.35      19,000.00      2.39%     3,480.35
           104.17      0.04%     1,251.00     0.42%    -1,146.83       3,500.00       1.42%    -3,395.83   Insurance - Umbrella                                    520.85     0.05%      6,255.00     0.55%     -5,734.15      17,500.00      2.20%   -16,979.15
        8,608.89      3.62%    13,791.00     4.62%    -5,182.11       9,188.28       3.73%      -579.39    Total Insurance                                     48,878.58     4.29%     68,955.00     6.06%    -20,076.42      45,941.43      5.77%     2,937.15
        55,355.00     23.28%    55,355.00    18.56%         0.00      53,873.00      21.87%     1,482.00   Ground Lease Expense                                270,847.00    23.75%    270,847.00    23.78%          0.00     263,597.00     33.11%     7,250.00
       55,355.00     23.28%    55,355.00    18.56%          0.00     53,873.00      21.87%     1,482.00    Total Leases & Rent                                270,847.00    23.75%    270,847.00    23.78%           0.00    263,597.00     33.11%     7,250.00
         7,633.75      3.21%     8,947.60     3.00%    -1,313.85       7,891.35       3.20%      -257.60   Management Fee - Base                                36,705.57     3.22%     34,162.01     3.00%      2,543.56      30,964.69      3.89%     5,740.88
        7,633.75      3.21%     8,947.60     3.00%    -1,313.85       7,891.35       3.20%      -257.60    Total Management Fees                               36,705.57     3.22%     34,162.01     3.00%      2,543.56      30,964.69      3.89%     5,740.88
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Capital Reserve                                       7,306.30     0.64%          0.00     0.00%      7,306.30      14,169.02      1.78%    -6,862.72
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Owner's Expense                                           0.00     0.00%          0.00     0.00%          0.00         949.17      0.12%      -949.17
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Prior Owner's Expense                                     0.00     0.00%          0.00     0.00%          0.00         317.20      0.04%      -317.20
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%          0.00   Total Other Non-Operating                            7,306.30     0.64%           0.00    0.00%      7,306.30      15,435.39      1.94%    -8,129.09




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                                                                                                   Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %          Variance                                                                  YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             Statistics
           109.00                   109.00                   0.00          109.00                     0.00   # Rooms                                                      109.00                   109.00                     0.00         109.00                     0.00
         3,379.00                 3,379.00                   0.00        3,379.00                     0.00   Available Rooms                                           16,459.00                16,459.00                     0.00      16,459.00                     0.00
         1,713.00                 1,536.00                 177.00        1,817.00                  -104.00   Room Nights Sold                                          11,239.00                 9,707.00                 1,532.00       9,709.00                 1,530.00
          50.70%                   45.46%                  5.24%          53.77%                   -3.08%    Occupancy %                                                 68.28%                   58.98%                    9.31%         58.99%                    9.30%
           127.98                   121.40                   6.58          119.26                     8.71   ADR                                                          173.79                   178.36                    -4.57         133.35                    40.44
            64.88                    55.18                   9.69           64.13                     0.75   RevPar                                                       118.67                   105.19                    13.48          78.66                    40.01

                                                                                                             Summary V.11
                                                                                                             Revenue
       219,223.21    98.97%    186,464.85     98.67%    32,758.36      216,700.54     98.17%      2,522.67   Rooms                                                  1,953,240.43    98.86%    1,731,329.60    99.05%    221,910.83    1,294,738.79   98.34%     658,501.64
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%          0.00   F&B                                                            0.00     0.00%            0.00     0.00%          0.00            0.00    0.00%           0.00
         2,276.46     1.03%      2,513.50      1.33%      -237.04        4,049.90      1.83%     -1,773.44   Other Departments                                         22,498.62     1.14%       16,593.90     0.95%      5,904.72       21,877.22    1.66%         621.40

      221,499.67    100.00%    188,978.35    100.00%    32,521.32     220,750.44     100.00%       749.23    Total Operating Revenue                               1,975,739.05    100.00%   1,747,923.50 100.00%      227,815.55    1,316,616.01 100.00%      659,123.04

                                                                                                             Departmental Expenses
        82,137.32    37.47%     70,657.45     37.89%    11,479.87       66,091.12     30.50%     16,046.20   Rooms                                                    432,532.20    22.14%     407,574.71     23.54%     24,957.49     274,795.93    21.22%     157,736.27
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%          0.00   F&B                                                            0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%           0.00
         2,679.78   117.72%        796.88     31.70%     1,882.90        3,019.44     74.56%       -339.66   Other Departments                                         10,438.89    46.40%       5,027.40     30.30%      5,411.49      16,184.75    73.98%      -5,745.86

       84,817.10     38.29%     71,454.33    37.81%     13,362.77      69,110.56      31.31%    15,706.54    Total Departmental Expenses                             442,971.09    22.42%     412,602.11     23.61%     30,368.98     290,980.68     22.10%    151,990.41

      136,682.57     61.71%    117,524.02    62.19%     19,158.55     151,639.88      68.69%    -14,957.31   Total Departmental Profit                             1,532,767.96    77.58%    1,335,321.39    76.39%    197,446.57    1,025,635.33    77.90%    507,132.63

                                                                                                             Undistributed Operating Expenses
        21,618.57     9.76%     24,227.55     12.82%     -2,608.98      26,430.01     11.97%     -4,811.44   A&G                                                      181,989.49     9.21%     149,458.72      8.55%     32,530.77     129,648.16     9.85%      52,341.33
         4,819.88     2.18%      4,711.70      2.49%        108.18           0.00      0.00%      4,819.88   IT                                                        25,567.47     1.29%      17,478.50      1.00%      8,088.97           0.00     0.00%      25,567.47
        12,779.01     5.77%     11,705.96      6.19%      1,073.05       7,117.79      3.22%      5,661.22   S&M                                                       52,179.77     2.64%      54,413.60      3.11%     -2,233.83      31,902.58     2.42%      20,277.19
        23,780.63    10.74%     21,936.72     11.61%      1,843.91      25,939.54     11.75%     -2,158.91   Franchise Fees                                           162,937.61     8.25%     190,849.86     10.92%    -27,912.25     145,353.84    11.04%      17,583.77
        17,517.84     7.91%     16,508.33      8.74%      1,009.51      27,112.39     12.28%     -9,594.55   R&M                                                      153,207.48     7.75%      88,731.77      5.08%     64,475.71      84,143.05     6.39%      69,064.43
        15,654.37     7.07%     10,950.50      5.79%      4,703.87      11,453.29      5.19%      4,201.08   Utilities                                                 73,871.51     3.74%      69,175.70      3.96%      4,695.81      57,557.31     4.37%      16,314.20

       96,170.30     43.42%     90,040.76    47.65%      6,129.54      98,053.02      44.42%     -1,882.72   Total Undistributed Expenses                            649,753.33    32.89%     570,108.15     32.62%     79,645.18     448,604.94     34.07%    201,148.39

       40,512.27     18.29%     27,483.26    14.54%     13,029.01      53,586.86      24.27%    -13,074.59   Gross Operating Profit                                  883,014.63    44.69%     765,213.24     43.78%    117,801.39     577,030.39     43.83%    305,984.24
         7,144.99      3.23%      5,669.35     3.00%      1,475.64       7,122.51       3.23%        22.48   Management Fees                                           61,772.18     3.13%      51,699.70      2.96%     10,072.48      41,998.46      3.19%     19,773.72
       33,367.28     15.06%     21,813.91    11.54%     11,553.37      46,464.35      21.05%    -13,097.07   Income Before Non-Operating Income and Expenses         821,242.45    41.57%     713,513.54     40.82%    107,728.91     535,031.93     40.64%    286,210.52

                                                                                                             Non-Operating Income and Expenses
         6,162.51      2.78%      7,237.75     3.83%     -1,075.24       6,439.43       2.92%      -276.92   Insurance                                                 36,823.05     1.86%      36,188.75      2.07%        634.30      31,355.00      2.38%      5,468.05
        30,008.00     13.55%     30,008.00    15.88%          0.00      29,204.00      13.23%       804.00   Leases & Rent                                            152,299.21     7.71%     154,840.00      8.86%     -2,540.79     146,020.00     11.09%      6,279.21
             0.00      0.00%          0.00     0.00%          0.00           0.00       0.00%         0.00   Other                                                     15,425.92     0.78%           0.00      0.00%     15,425.92         949.17      0.07%     14,476.75
       36,170.51     16.33%     37,245.75    19.71%     -1,075.24      35,643.43      16.15%       527.08    Total Non-Operating Income and Expenses                 204,548.18    10.35%     191,028.75     10.93%     13,519.43     178,324.17     13.54%     26,224.01

       -2,803.23     -1.27%    -15,431.84     -8.17%    12,628.61      10,820.92       4.90%    -13,624.15   EBITDA                                                  616,694.27    31.21%     522,484.79     29.89%     94,209.48     356,707.76     27.09%    259,986.51
             0.00      0.00%          0.00      0.00%        0.00            0.00       0.00%         0.00   Interest                                                       0.00     0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
         9,399.00      4.24%      9,399.00      4.97%        0.00        9,399.00       4.26%         0.00   Taxes                                                     46,995.00     2.38%      52,496.84      3.00%     -5,501.84      48,689.84      3.70%     -1,694.84
        9,399.00      4.24%      9,399.00      4.97%         0.00       9,399.00       4.26%          0.00   Interest, Taxes, Depreciation and Amortization           46,995.00     2.38%      52,496.84      3.00%     -5,501.84      48,689.84      3.70%     -1,694.84

      -12,202.23     -5.51%    -24,830.84    -13.14%    12,628.61       1,421.92       0.64%    -13,624.15   Net Income                                              569,699.27    28.83%     469,987.95     26.89%     99,711.32     308,017.92     23.39%    261,681.35




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                                                                                              Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                                P&L - Dual Summary Pages
                                                                                                                      As of 5/31/2022
             PTD      %       PTD Budget    %         Variance   PTD Last Year     %          Variance                                                                 YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                         Statistics
           109.00                 109.00                 0.00          109.00                    0.00    # Rooms                                                     109.00                  109.00                    0.00         109.00                    0.00
         3,379.00               3,379.00                 0.00        3,379.00                    0.00    Available Rooms                                          16,459.00               16,459.00                    0.00      16,459.00                    0.00
         1,713.00               1,536.00               177.00        1,817.00                 -104.00    Room Nights Sold                                         11,239.00                9,707.00                1,532.00       9,709.00                1,530.00
             0.51                   0.45                 0.05            0.54                   -0.03    Occupancy %                                                   0.68                    0.59                    0.09           0.59                    0.09
           127.98                 121.40                 6.58          119.26                    8.71    ADR                                                         173.79                  178.36                   -4.57         133.35                   40.44
            64.88                  55.18                 9.69           64.13                    0.75    RevPar                                                      118.67                  105.19                   13.48          78.66                   40.01

                                                                                                         Summary
                                                                                                         Revenue:
       219,223.21    98.97%   186,464.85   98.67%    32,758.36     216,700.54     98.17%      2,522.67   Rooms                                                 1,953,240.43   98.86%    1,731,329.60    99.05%   221,910.83   1,294,738.79    98.34%    658,501.64
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Food                                                          0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Beverage                                                      0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Other F&B Revenue                                             0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Telephone                                                     0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         2,276.46     1.03%     2,513.50    1.33%      -237.04       4,049.90      1.83%     -1,773.44   Other                                                    22,498.62    1.14%       16,593.90     0.95%     5,904.72      21,877.22     1.66%        621.40

       221,499.67   100.00%   188,978.35   100.00%   32,521.32     220,750.44     100.00%      749.23    Total Revenue                                         1,975,739.05   100.00%   1,747,923.50   100.00%   227,815.55   1,316,616.01    100.00%   659,123.04



                                                                                                         Cost of Sales:
             0.00     0.00%        0.00     0.00%         0.00           0.00      0.00%         0.00    Food                                                          0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00           0.00      0.00%         0.00    Beverage                                                      0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00           0.00      0.00%         0.00    Other F&B                                                     0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00         792.87     19.58%      -792.87    Telephone                                                     0.00    0.00%            0.00     0.00%         0.00       3,791.89    17.33%     -3,791.89
         2,679.78   117.72%      796.88    31.70%     1,882.90       1,013.45     25.02%     1,666.33    Other                                                    10,438.89   46.40%        5,027.40    30.30%     5,411.49       7,541.75    34.47%      2,897.14

         2,679.78   117.72%      796.88    31.70%     1,882.90       1,806.32     44.60%       873.46    Total Cost of Sales                                      10,438.89   46.40%        5,027.40    30.30%     5,411.49      11,333.64    51.81%       -894.75



                                                                                                         Payroll:
        40,205.02    18.34%    40,502.16   21.72%      -297.14      31,677.90     14.62%     8,527.12    Rooms                                                   209,243.91   10.71%     212,501.81     12.27%    -3,257.90     141,866.50    10.96%     67,377.41
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    F&B                                                           0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    Other                                                         0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         7,283.85     3.29%    10,022.29    5.30%    -2,738.44       7,734.15      3.50%      -450.30    A&G                                                      45,790.62    2.32%      49,068.81      2.81%    -3,278.19      40,937.78     3.11%      4,852.84
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    IT                                                            0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         4,301.18     1.94%     4,614.74    2.44%      -313.56       4,575.69      2.07%      -274.51    S&M                                                      23,432.29    1.19%      22,554.09      1.29%       878.20      17,495.15     1.33%      5,937.14
         6,900.64     3.12%     8,359.90    4.42%    -1,459.26       5,579.09      2.53%     1,321.55    R&M                                                      33,987.87    1.72%      40,784.05      2.33%    -6,796.18      29,570.92     2.25%      4,416.95
        58,690.69    26.50%    63,499.09   33.60%    -4,808.40      49,566.83     22.45%     9,123.86    Total Salaries and Wages                                312,454.69   15.81%     324,908.76     18.59%   -12,454.07     229,870.35    17.46%     82,584.34

        18,411.87     8.31%    16,883.76    8.93%     1,528.11      32,220.43     14.60%    -13,808.56   Total Taxes and Benefits                                 95,994.41    4.86%     100,258.96      5.74%    -4,264.55      57,160.31     4.34%     38,834.10
        77,102.56    34.81%    80,382.85   42.54%    -3,280.29      81,787.26     37.05%     -4,684.70   Total Labor Costs                                       408,449.10   20.67%     425,167.72     24.32%   -16,718.62     287,030.66    21.80%    121,418.44



                                                                                                         Direct Expenses:
        32,152.61    14.67%    20,929.14   11.22%    11,223.47      19,820.66      9.15%    12,331.95    Rooms                                                   180,360.66    9.23%     145,586.36      8.41%    34,774.30     104,568.23     8.08%     75,792.43
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    F&B                                                           0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00       1,213.12     29.95%    -1,213.12    Telephone                                                     0.00    0.00%           0.00      0.00%         0.00       4,851.11    22.17%     -4,851.11
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    Other                                                         0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        23,780.63    10.74%    21,936.72   11.61%     1,843.91      25,939.54     11.75%    -2,158.91    Franchise Fees                                          162,937.61    8.25%     190,849.86     10.92%   -27,912.25     145,353.84    11.04%     17,583.77
        10,612.66     4.79%    11,442.60    6.05%      -829.94      12,508.70      5.67%    -1,896.04    A&G                                                     103,868.32    5.26%      69,706.94      3.99%    34,161.38      76,130.21     5.78%     27,738.11
         4,819.88     2.18%     4,711.70    2.49%       108.18           0.00      0.00%     4,819.88    IT                                                       25,567.47    1.29%      17,478.50      1.00%     8,088.97           0.00     0.00%     25,567.47
         5,073.42     2.29%     4,347.00    2.30%       726.42       2,041.06      0.92%     3,032.36    S&M                                                      18,604.24    0.94%      22,437.00      1.28%    -3,832.76      12,919.57     0.98%      5,684.67
         9,111.49     4.11%     5,997.70    3.17%     3,113.79      10,593.63      4.80%    -1,482.14    R&M                                                     108,626.62    5.50%      37,280.78      2.13%    71,345.84      39,841.05     3.03%     68,785.57
        15,654.37     7.07%    10,950.50    5.79%     4,703.87      11,453.29      5.19%     4,201.08    Utilities                                                73,871.51    3.74%      69,175.70      3.96%     4,695.81      57,557.31     4.37%     16,314.20

       101,205.06    45.69%    80,315.36   42.50%    20,889.70      83,570.00     37.86%    17,635.06    Total Direct Expense                                    673,836.43   34.11%     552,515.14     31.61%   121,321.29     441,221.32    33.51%    232,615.11

        40,512.27    18.29%    27,483.26   14.54%    13,029.01      53,586.86     24.27%    -13,074.59   Gross Operating Profit                                  883,014.63   44.69%     765,213.24     43.78%   117,801.39     577,030.39    43.83%    305,984.24

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                                                                                              Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                                P&L - Dual Summary Pages
                                                                                                                      As of 5/31/2022
             PTD      %        PTD Budget    %         Variance   PTD Last Year     %         Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance




                                                                                                         Fixed Costs
         9,399.00     4.24%      9,399.00    4.97%         0.00       9,399.00      4.26%        0.00    Taxes                                                    46,995.00   2.38%     52,496.84     3.00%     -5,501.84      48,689.84     3.70%    -1,694.84
         6,162.51     2.78%      7,237.75    3.83%    -1,075.24       6,439.43      2.92%     -276.92    Insurance                                                36,823.05   1.86%     36,188.75     2.07%        634.30      31,355.00     2.38%     5,468.05
        30,008.00    13.55%     30,008.00   15.88%         0.00      29,204.00     13.23%      804.00    Leases & Rent                                           152,299.21   7.71%    154,840.00     8.86%     -2,540.79     146,020.00    11.09%     6,279.21
         7,144.99     3.23%      5,669.35    3.00%     1,475.64       7,122.51      3.23%       22.48    Management Fees                                          61,772.18   3.13%     51,699.70     2.96%     10,072.48      41,998.46     3.19%    19,773.72

        52,714.50    23.80%     52,314.10   27.68%      400.40       52,164.94     23.63%      549.56    Total Fixed Expenses                                    297,889.44   15.08%   295,225.29     16.89%     2,664.15     268,063.30    20.36%    29,826.14

       -12,202.23     -5.51%   -24,830.84   -13.14%   12,628.61       1,421.92      0.64%   -13,624.15   Net Operating Profit                                    585,125.19   29.62%   469,987.95     26.89%   115,137.24     308,967.09    23.47%   276,158.10



             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%        0.00    Owner's Expense                                               0.00   0.00%          0.00     0.00%          0.00         949.17    0.07%       -949.17



       -12,202.23     -5.51%   -24,830.84   -13.14%   12,628.61       1,421.92      0.64%   -13,624.15   Net Operating Income                                    585,125.19   29.62%   469,987.95     26.89%   115,137.24     308,017.92    23.39%   277,107.27

             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%        0.00    Capital Reserve                                          15,425.92   0.78%          0.00     0.00%     15,425.92           0.00    0.00%     15,425.92

       -12,202.23     -5.51%   -24,830.84   -13.14%   12,628.61       1,421.92      0.64%   -13,624.15   Adjusted NOI                                            569,699.27   28.83%   469,987.95     26.89%    99,711.32     308,017.92    23.39%   261,681.35




       -12,202.23     -5.51%   -24,830.84   -13.14%   12,628.61       1,421.92      0.64%   -13,624.15   Net Profit/(Loss)                                       569,699.27   28.83%   469,987.95     26.89%    99,711.32     308,017.92    23.39%   261,681.35




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                                                                                                 Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %          Variance                                                                 YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                            Rooms
                                                                                                            Room Revenue
                                                                                                            Transient Room Revenue
        40,169.80    18.32%     22,058.00     11.83%    18,111.80      15,974.40      7.37%     24,195.40   Corporate Transient                                     309,284.66    15.83%     208,730.00     12.06%   100,554.66      175,985.15    13.59%   133,299.51
        21,064.10     9.61%     24,316.60     13.04%    -3,252.50      14,320.81      6.61%      6,743.29   Advanced Purchase                                       247,755.00    12.68%     282,199.60     16.30%   -34,444.60      159,991.66    12.36%    87,763.34
        15,609.25     7.12%     28,844.25     15.47%   -13,235.00      25,808.87     11.91%    -10,199.62   Qualified Discounts                                     224,100.94    11.47%     293,907.00     16.98%   -69,806.06      133,383.46    10.30%    90,717.48
         5,526.00     2.52%      2,790.00      1.50%     2,736.00       3,771.00      1.74%      1,755.00   Employee                                                 21,371.43     1.09%      15,120.00      0.87%     6,251.43       20,975.25     1.62%       396.18
         2,244.00     1.02%      5,518.00      2.96%    -3,274.00       6,757.00      3.12%     -4,513.00   Travel Agent/Friends & Family                            26,812.85     1.37%      34,986.00      2.02%    -8,173.15       26,021.35     2.01%       791.50
         8,465.10     3.86%          0.00      0.00%     8,465.10      21,493.05      9.92%    -13,027.95   Leisure Package Transient                                59,142.50     3.03%      37,394.00      2.16%    21,748.50       44,054.79     3.40%    15,087.71
         3,904.00     1.78%      3,162.00      1.70%       742.00       4,920.00      2.27%     -1,016.00   Member Reward Stay                                       45,964.95     2.35%      26,588.00      1.54%    19,376.95       34,679.00     2.68%    11,285.95
        20,789.07     9.48%     26,299.00     14.10%    -5,509.93      42,568.60     19.64%    -21,779.53   Internet/E-Commerce                                     182,609.74     9.35%     273,211.00     15.78%   -90,601.26      136,488.61    10.54%    46,121.13
         1,988.50     0.91%      2,604.00      1.40%      -615.50         607.25      0.28%      1,381.25   E-Commerce Opaque                                         4,119.72     0.21%       2,604.00      0.15%     1,515.72        5,802.95     0.45%    -1,683.23
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%          0.00   Other Transient                                               0.00     0.00%           0.00      0.00%         0.00        2,821.67     0.22%    -2,821.67
         5,193.45     2.37%      2,759.00      1.48%     2,434.45       4,007.90      1.85%      1,185.55   Government Transient                                     33,310.50     1.71%      32,158.00      1.86%     1,152.50       49,616.90     3.83%   -16,306.40
        68,628.25    31.31%     51,987.00     27.88%    16,641.25      62,006.82     28.61%      6,621.43   Rack Transient                                          621,291.19    31.81%     356,538.00     20.59%   264,753.19      399,849.96    30.88%   221,441.23
             0.00     0.00%          0.00      0.00%         0.00         953.65      0.44%       -953.65   Local Negotiated Transient                                    0.00     0.00%           0.00      0.00%         0.00          953.65     0.07%      -953.65

      193,581.52     88.30%    170,337.85    91.35%    23,243.67     203,189.35      93.77%    -9,607.83    Total Transient Room Revenue                         1,775,763.48    90.91%    1,563,435.60   90.30%     212,327.88    1,190,624.40    91.96%   585,139.08

                                                                                                            Group Room Revenue
        26,284.00    11.99%          0.00      0.00%    26,284.00           0.00      0.00%     26,284.00   Corporate Group                                         152,102.00     7.79%           0.00     0.00%    152,102.00        2,144.00     0.17%   149,958.00
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%          0.00   Leisure Group                                                 0.00     0.00%      24,600.00     1.42%    -24,600.00            0.00     0.00%         0.00
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%          0.00   SMERF Group                                                   0.00     0.00%       5,012.00     0.29%     -5,012.00            0.00     0.00%         0.00
             0.00     0.00%     14,927.00      8.01%   -14,927.00      12,328.00      5.69%    -12,328.00   Sports Group                                             59,517.00     3.05%     130,982.00     7.57%    -71,465.00       98,772.00     7.63%   -39,255.00
             0.00     0.00%          0.00      0.00%         0.00       1,975.00      0.91%     -1,975.00   To Be Group - Do Not Post                                     0.00     0.00%           0.00     0.00%          0.00        4,798.01     0.37%    -4,798.01

       26,284.00     11.99%     14,927.00     8.01%    11,357.00      14,303.00       6.60%    11,981.00    Total Group Room Revenue                               211,619.00    10.83%     160,594.00      9.28%     51,025.00     105,714.01     8.16%    105,904.99

                                                                                                            Contract Room Revenue
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%         0.00    Other Contract                                                0.00     0.00%           0.00     0.00%          0.00         -358.00    -0.03%       358.00

             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Total Contract Room Revenue                                  0.00     0.00%            0.00     0.00%          0.00        -358.00     -0.03%       358.00

                                                                                                            Other Room Revenue
         1,258.92     0.57%       1,200.00     0.64%       58.92        1,153.50      0.53%       105.42    No-Show Rooms                                            13,576.69     0.70%       7,300.00     0.42%      6,276.69        8,438.15     0.65%      5,138.54
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%         0.00    Pet/Smoking/Damage Fees                                     750.00     0.04%           0.00     0.00%        750.00            0.00     0.00%        750.00

        1,258.92      0.57%      1,200.00     0.64%        58.92       1,153.50       0.53%       105.42    Total Other Room Revenue                                14,326.69     0.73%        7,300.00     0.42%      7,026.69        8,438.15    0.65%      5,888.54

        -1,901.23     -0.87%          0.00     0.00%    -1,901.23      -1,945.31      -0.90%       44.08    Less: Allowances                                        -48,468.74    -2.48%           0.00     0.00%     -48,468.74      -9,679.77    -0.75%    -38,788.97

      219,223.21    100.00%    186,464.85    100.00%   32,758.36     216,700.54     100.00%     2,522.67    Total Room Revenue                                   1,953,240.43    100.00%   1,731,329.60 100.00%      221,910.83    1,294,738.79 100.00%     658,501.64

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00      0.00%          0.00     0.00%         0.00           0.00       0.00%         0.00   Division Management                                       6,181.18     0.32%           0.00      0.00%      6,181.18           0.00     0.00%      6,181.18
         1,964.27      0.90%      2,104.84     1.13%      -140.57       2,129.11       0.98%      -164.84   Housekeeping Management                                   4,024.72     0.21%      10,183.21      0.59%     -6,158.49       6,318.11     0.49%     -2,293.39
        1,964.27      0.90%      2,104.84     1.13%      -140.57       2,129.11       0.98%      -164.84    Total Rooms Management                                  10,205.90     0.52%      10,183.21      0.59%          22.69      6,318.11     0.49%      3,887.79
         7,537.58      3.44%      7,068.00     3.79%       469.58      11,601.25       5.35%    -4,063.67   Front Office Agents                                      55,392.92     2.84%      34,428.00      1.99%     20,964.92      49,627.32     3.83%      5,765.60
         2,476.86      1.13%          0.00     0.00%     2,476.86           0.00       0.00%     2,476.86   Front Office Agents Overtime                              2,476.86     0.13%           0.00      0.00%      2,476.86           0.00     0.00%      2,476.86
             0.00      0.00%      1,505.71     0.81%    -1,505.71           0.00       0.00%         0.00   Front Office Supervisors                                      0.00     0.00%       7,334.27      0.42%     -7,334.27           0.00     0.00%          0.00
         2,513.87      1.15%      3,968.00     2.13%    -1,454.13           0.00       0.00%     2,513.87   Night Auditors                                            7,469.46     0.38%      19,328.00      1.12%    -11,858.54           0.00     0.00%      7,469.46
         2,369.28      1.08%          0.00     0.00%     2,369.28           0.00       0.00%     2,369.28   Night Auditors Overtime                                   2,369.28     0.12%           0.00      0.00%      2,369.28           0.00     0.00%      2,369.28
         2,347.34      1.07%      3,381.21     1.81%    -1,033.87           0.00       0.00%     2,347.34   Breakfast Attendant                                       5,982.77     0.31%      16,469.77      0.95%    -10,487.00           0.00     0.00%      5,982.77
            64.57      0.03%          0.00     0.00%        64.57           0.00       0.00%        64.57   Breakfast Attendant Overtime                                 64.57     0.00%           0.00      0.00%         64.57           0.00     0.00%         64.57
       17,309.50      7.90%     15,922.92     8.54%     1,386.58      11,601.25       5.35%     5,708.25    Total Rooms Front Office                                73,755.86     3.78%      77,560.04      4.48%     -3,804.18      49,627.32     3.83%     24,128.54
         1,326.00      0.60%      3,968.00     2.13%    -2,642.00           0.00       0.00%     1,326.00   Housekeeping Supervisors                                  3,675.78     0.19%      19,328.00      1.12%    -15,652.22       2,527.00     0.20%      1,148.78
           588.43      0.27%          0.00     0.00%       588.43           0.00       0.00%       588.43   Housekeeping Supervisors Overtime                           588.43     0.03%           0.00      0.00%        588.43           0.00     0.00%        588.43
        13,447.52      6.13%     10,570.40     5.67%     2,877.12      17,947.54       8.28%    -4,500.02   Room Attendants                                         105,628.91     5.41%      66,774.56      3.86%     38,854.35      83,394.07     6.44%     22,234.84
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                                                                                                   Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
             PTD      %        PTD Budget     %          Variance    PTD Last Year     %           Variance                                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

           339.19      0.15%          0.00     0.00%       339.19           0.00        0.00%       339.19    Room Attendants Overtime                                    339.19    0.02%           0.00      0.00%        339.19          0.00      0.00%        339.19
         3,072.48      1.40%      3,472.00     1.86%      -399.52           0.00        0.00%     3,072.48    Housepersons                                              8,751.09    0.45%      16,912.00      0.98%     -8,160.91          0.00      0.00%      8,751.09
           260.63      0.12%          0.00     0.00%       260.63           0.00        0.00%       260.63    Housepersons Overtime                                       260.63    0.01%           0.00      0.00%        260.63          0.00      0.00%        260.63
             0.00      0.00%        992.00     0.53%      -992.00           0.00        0.00%         0.00    Public Area Attendants                                        0.00    0.00%       4,832.00      0.28%     -4,832.00          0.00      0.00%          0.00
         1,897.00      0.87%      3,472.00     1.86%    -1,575.00           0.00        0.00%     1,897.00    Laundry Attendants                                        6,038.12    0.31%      16,912.00      0.98%    -10,873.88          0.00      0.00%      6,038.12
       20,931.25      9.55%     22,474.40    12.05%    -1,543.15       17,947.54       8.28%     2,983.71     Total Rooms Housekeeping                               125,282.15    6.41%     124,758.56      7.21%        523.59      85,921.07     6.64%     39,361.08

       40,205.02     18.34%     40,502.16    21.72%      -297.14       31,677.90      14.62%     8,527.12     Total Rooms Salary and Wages                           209,243.91    10.71%    212,501.81    12.27%      -3,257.90     141,866.50     10.96%    67,377.41

                                                                                                              PR Taxes and Benefits
         3,260.06      1.49%      3,224.35     1.73%         35.71       2,236.88       1.03%      1,023.18   FICA                                                     16,888.10    0.86%      16,753.25      0.97%        134.85       8,925.49     0.69%      7,962.61
            27.96      0.01%         37.93     0.02%         -9.97          51.07       0.02%        -23.11   Federal Unemployment Tax                                    651.40    0.03%         615.84      0.04%         35.56         427.87     0.03%        223.53
           130.76      0.06%        227.60     0.12%        -96.84         229.76       0.11%        -99.00   State Unemployment Tax                                    2,936.21    0.15%       5,182.46      0.30%     -2,246.25       1,925.40     0.15%      1,010.81
        3,418.78      1.56%      3,489.88     1.87%        -71.10       2,517.71       1.16%        901.07    Total Payroll Taxes                                     20,475.71    1.05%      22,551.55      1.30%     -2,075.84      11,278.76     0.87%      9,196.95
             0.00      0.00%      1,560.00     0.84%    -1,560.00            0.00       0.00%          0.00   Holiday                                                       0.00    0.00%       3,120.00      0.18%     -3,120.00           0.00     0.00%          0.00
         2,482.30      1.13%         82.14     0.04%     2,400.16            0.00       0.00%      2,482.30   Vacation                                                  2,482.30    0.13%         348.27      0.02%      2,134.03           0.00     0.00%      2,482.30
           228.00      0.10%        112.00     0.06%       116.00            0.00       0.00%        228.00   Sick Pay                                                    228.00    0.01%         560.00      0.03%       -332.00           0.00     0.00%        228.00
        2,710.30      1.24%      1,754.14     0.94%       956.16             0.00      0.00%      2,710.30    Total Supplemental Pay                                   2,710.30    0.14%       4,028.27      0.23%     -1,317.97            0.00    0.00%      2,710.30
         3,103.80      1.42%      2,843.13     1.52%       260.67        3,340.63       1.54%       -236.83   Worker's Compensation                                    12,004.89    0.61%      14,211.72      0.82%     -2,206.83       8,648.44     0.67%      3,356.45
             0.00      0.00%          0.00     0.00%          0.00         233.14       0.11%       -233.14   Payroll Tax/Benefit Allocation                                0.00    0.00%           0.00      0.00%          0.00         958.69     0.07%       -958.69
           546.81      0.25%      1,139.00     0.61%      -592.19        8,501.08       3.92%     -7,954.27   Group Insurance                                           4,090.90    0.21%       5,695.00      0.33%     -1,604.10       7,475.31     0.58%     -3,384.41
             0.00      0.00%          0.00     0.00%          0.00           0.00       0.00%          0.00   Bonus and Incentive Pay                                   3,645.83    0.19%       3,000.00      0.17%        645.83           0.00     0.00%      3,645.83
        3,650.61      1.67%      3,982.13     2.14%      -331.52       12,074.85       5.57%     -8,424.24    Total Other Benefits                                    19,741.62    1.01%      22,906.72      1.32%     -3,165.10      17,082.44     1.32%      2,659.18

        9,779.69      4.46%      9,226.15     4.95%       553.54       14,592.56       6.73%     -4,812.87    Total Rooms PR Taxes and Benefits                       42,927.63    2.20%      49,486.54      2.86%     -6,558.91      28,361.20     2.19%     14,566.43

       49,984.71     22.80%     49,728.31    26.67%       256.40       46,270.46      21.35%     3,714.25     Total Rooms Labor Costs                                252,171.54    12.91%    261,988.35    15.13%      -9,816.81     170,227.70     13.15%    81,943.84

                                                                                                              Other Expenses
        11,999.24     5.47%       8,597.50    4.61%      3,401.74        8,281.14      3.82%      3,718.10    Breakfast /Comp Cost                                     65,815.60    3.37%      56,032.50     3.24%      9,783.10       39,788.07     3.07%    26,027.53
         2,356.95     1.08%       1,267.00    0.68%      1,089.95          771.22      0.36%      1,585.73    Cleaning Supplies                                         7,364.42    0.38%       8,003.80     0.46%       -639.38        5,033.91     0.39%     2,330.51
             0.00     0.00%           0.00    0.00%          0.00            0.00      0.00%          0.00    Contract Cleaning                                             0.00    0.00%       3,500.00     0.20%     -3,500.00            0.00     0.00%         0.00
             0.00     0.00%          76.00    0.04%        -76.00            0.00      0.00%          0.00    Dues and Subscriptions                                        0.00    0.00%       1,385.00     0.08%     -1,385.00            0.00     0.00%         0.00
            54.48     0.02%          37.00    0.02%         17.48            0.00      0.00%         54.48    Equipment Rental                                             54.48    0.00%         185.00     0.01%       -130.52            0.00     0.00%        54.48
         1,023.85     0.47%       2,172.00    1.16%     -1,148.15        2,520.13      1.16%     -1,496.28    Guest Supplies                                           15,673.40    0.80%      13,720.80     0.79%      1,952.60       13,970.98     1.08%     1,702.42
             0.00     0.00%           0.00    0.00%          0.00            0.00      0.00%          0.00    In-House Entertainment                                        0.00    0.00%           0.00     0.00%          0.00          283.55     0.02%      -283.55
         1,496.78     0.68%         633.50    0.34%        863.28          348.23      0.16%      1,148.55    Laundry                                                   1,684.63    0.09%       4,001.90     0.23%     -2,317.27        3,217.04     0.25%    -1,532.41
         1,652.23     0.75%       1,520.40    0.82%        131.83        1,714.66      0.79%        -62.43    Linen                                                    19,712.29    1.01%       9,604.56     0.55%     10,107.73        7,028.51     0.54%    12,683.78
           400.00     0.18%           0.00    0.00%        400.00            0.00      0.00%        400.00    Miscellaneous Expense                                       750.76    0.04%           0.00     0.00%        750.76            0.00     0.00%       750.76
           655.18     0.30%         724.00    0.39%        -68.82            0.00      0.00%        655.18    Operating Supplies                                        4,552.50    0.23%       5,673.60     0.33%     -1,121.10            0.00     0.00%     4,552.50
             0.00     0.00%         108.60    0.06%       -108.60            0.00      0.00%          0.00    Printing and Stationery                                       0.00    0.00%         686.04     0.04%       -686.04            0.00     0.00%         0.00
           239.27     0.11%         934.40    0.50%       -695.13            0.00      0.00%        239.27    Reservation Expense                                       1,524.49    0.08%       5,244.16     0.30%     -3,719.67            0.00     0.00%     1,524.49
             0.00     0.00%          90.50    0.05%        -90.50            0.00      0.00%          0.00    Rooms Promotion                                             205.02    0.01%         571.70     0.03%       -366.68            0.00     0.00%       205.02
         1,471.14     0.67%       1,441.00    0.77%         30.14        1,440.65      0.66%         30.49    Television Cable                                          8,796.35    0.45%       7,205.00     0.42%      1,591.35        5,762.60     0.45%     3,033.75
             0.00     0.00%           0.00    0.00%          0.00            0.00      0.00%          0.00    Travel                                                       25.98    0.00%           0.00     0.00%         25.98            0.00     0.00%        25.98
         2,238.69     1.02%         298.54    0.16%      1,940.15        1,798.45      0.83%        440.24    Travel Agent Comm - Group Rooms                           9,758.31    0.50%       2,719.88     0.16%      7,038.43        7,102.55     0.55%     2,655.76
         6,760.48     3.08%       2,828.70    1.52%      3,931.78        2,946.18      1.36%      3,814.30    Travel Agent Comm - Transient Rooms                      42,920.75    2.20%      25,752.42     1.49%     17,168.33       22,073.03     1.70%    20,847.72
             0.00     0.00%         200.00    0.11%       -200.00            0.00      0.00%          0.00    Uniforms                                                   -382.64   -0.02%       1,300.00     0.08%     -1,682.64            0.00     0.00%      -382.64
         1,804.32     0.82%           0.00    0.00%      1,804.32            0.00      0.00%      1,804.32    Walked Guests                                             1,904.32    0.10%           0.00     0.00%      1,904.32          307.99     0.02%     1,596.33

       32,152.61     14.67%     20,929.14    11.22%    11,223.47       19,820.66       9.15%    12,331.95     Total Rooms Other Expenses                             180,360.66    9.23%     145,586.36      8.41%     34,774.30     104,568.23     8.08%     75,792.43

       82,137.32     37.47%     70,657.45    37.89%    11,479.87       66,091.12      30.50%    16,046.20     Total Rooms Expenses                                   432,532.20    22.14%    407,574.71    23.54%      24,957.49     274,795.93     21.22%   157,736.27

      137,085.89     62.53%    115,807.40    62.11%    21,278.49      150,609.42      69.50%    -13,523.53    Total Rooms Profit (Loss)                            1,520,708.23    77.86%   1,323,754.89   76.46%     196,953.34    1,019,942.86    78.78%   500,765.37




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                                                                                  Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                                    YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
           406.00              269.00        137.00          196.00                 210.00   Room Stat - Corporate Transient                           2,288.00            1,661.00        627.00       1,458.00           830.00
           134.00              236.00       -102.00          113.00                  21.00   Room Stat - Advanced Purchase                             1,037.00            1,763.00       -726.00       1,059.00           -22.00
           109.00                0.00        109.00          177.00                 -68.00   Room Stat - Qualified Discounts                             966.00                0.00        966.00         860.00           106.00
           118.00               62.00         56.00           77.00                  41.00   Room Stat - Employee                                        466.00              336.00        130.00         482.00           -16.00
             0.00                0.00          0.00          196.00                -196.00   Room Stat - Package Transient                               126.00              210.00        -84.00         373.00          -247.00
            30.00               62.00        -32.00           63.00                 -33.00   Room Stat - Travel Agent/Friends & Family                   240.00              274.00        -34.00         246.00            -6.00
           121.00               93.00         28.00          109.00                  12.00   Room Stat - Member Reward Stay                            1,416.00              782.00        634.00         846.00           570.00
           128.00              221.00        -93.00          301.00                -173.00   Room Stat - Internet                                        745.00            1,470.00       -725.00         925.00          -180.00
            23.00               31.00         -8.00            5.00                  18.00   Room Stat - E-Commerce Opaque                                35.00               31.00          4.00          62.00           -27.00
            33.00               31.00          2.00           29.00                   4.00   Room Stat - Government Rate Transient                       155.00              232.00        -77.00         388.00          -233.00
           445.00              403.00         42.00          429.00                  16.00   Room Stat - Rack Rate Transient                           2,635.00            1,947.00        688.00       2,246.00           389.00
        1,547.00            1,408.00        139.00        1,695.00                -148.00    Total Transient Rooms Sold                              10,109.00            8,706.00      1,403.00       8,945.00         1,164.00

                                                                                             Group Rooms
           166.00                0.00        166.00            0.00                166.00    Room Stat - Corporate Group Rooms                              835.00             0.00       835.00           40.00          795.00
             0.00                0.00          0.00            0.00                  0.00    Room Stat - Leisure Group                                        0.00           150.00      -150.00            0.00            0.00
             0.00                0.00          0.00            0.00                  0.00    Room Stat - SMERF Group                                          0.00            28.00       -28.00            0.00            0.00
             0.00              128.00       -128.00          100.00               -100.00    Room Stat - Sports Group                                       295.00           823.00      -528.00          702.00         -407.00
             0.00                0.00          0.00           24.00                -24.00    Room Stat - Other Group                                          0.00             0.00         0.00           24.00          -24.00
          166.00              128.00          38.00         124.00                  42.00    Total Group Rooms Sold                                      1,130.00         1,001.00       129.00          766.00          364.00

                                                                                             Contract Rooms
             0.00               0.00           0.00            -2.00                 2.00    Room Stat - Other Contract                                      0.00             0.00          0.00            -2.00           2.00
             0.00               0.00           0.00           -2.00                  2.00    Total Contract Rooms Sold                                       0.00             0.00          0.00           -2.00            2.00

        1,713.00            1,536.00        177.00        1,817.00                -104.00    Total Rooms Sold                                        11,239.00            9,707.00      1,532.00       9,709.00         1,530.00
            12.00               0.00          12.00          67.00                  -55.00   Room Stat - Comp Rooms                                      123.00              20.00         103.00         118.00             5.00
        1,725.00            1,536.00        189.00        1,884.00                -159.00    Total Rooms Occupied                                    11,362.00            9,727.00      1,635.00       9,827.00         1,535.00
           124.00               0.00         124.00          88.00                   36.00   Room Stat - Out of Order                                    649.00               0.00         649.00         451.00           198.00

                                                                                             ADR
            98.94               82.00         16.94           81.50                 17.44    Corporate Transient ADR                                       135.18            125.67          9.51         120.70           14.47
           157.19              103.04         54.16          126.73                 30.46    Advanced Purchase ADR                                         238.92            160.07        78.85          151.08           87.84
           143.20                0.00        143.20          145.81                 -2.61    Qualified Discount ADR                                        231.99              0.00       231.99          155.10           76.89
             0.00                0.00          0.00            0.00                  0.00    FIT ADR                                                         0.00              0.00          0.00           0.00             0.00
             0.00                0.00          0.00            0.00                  0.00    Consortia ADR                                                   0.00              0.00          0.00           0.00             0.00
            46.83               45.00          1.83           48.97                 -2.14    Employee ADR                                                   45.86             45.00          0.86          43.52             2.34
             0.00                0.00          0.00            0.00                  0.00    Leisure ADR                                                     0.00              0.00          0.00           0.00             0.00
            74.80               89.00        -14.20          107.25                -32.45    Travel Agent/Friends & Family ADR                             111.72            127.69       -15.97          105.78             5.94
             0.00                0.00          0.00            0.00                  0.00    Leisure Package ADR                                             0.00              0.00          0.00           0.00             0.00
            32.26               34.00         -1.74           45.14                -12.87    Member Reward Stay ADR                                         32.46             34.00         -1.54          40.99            -8.53
             0.00                0.00          0.00            0.00                  0.00    Golf Pkg ADR                                                    0.00              0.00          0.00           0.00             0.00
             0.00                0.00          0.00            0.00                  0.00    Non Qualified ADR                                               0.00              0.00          0.00           0.00             0.00
           162.41              119.00         43.41          141.42                 20.99    Internet ADR                                                  245.11            185.86        59.26          147.56           97.56
            86.46               84.00          2.46          121.45                -34.99    E-Commerce Opaque ADR                                         117.71             84.00        33.71           93.60           24.11
             0.00                0.00          0.00            0.00                  0.00    Other Transient ADR                                             0.00              0.00          0.00           0.00             0.00
             0.00                0.00          0.00            0.00                  0.00    Airline Distressed Passenger ADR                                0.00              0.00          0.00           0.00             0.00
           157.38               89.00         68.38          138.20                 19.17    Government ADR                                                214.91            138.61        76.29          127.88           87.03
           154.22              129.00         25.22          144.54                  9.68    Rack ADR                                                      235.78            183.12        52.66          178.03           57.76
             0.00                0.00          0.00            0.00                  0.00    Local Negotiated ADR                                            0.00              0.00          0.00           0.00             0.00
          125.13              120.98           4.15         119.88                   5.26    Total Transient ADR                                          175.66            179.58         -3.92         133.11            42.56

           158.34                0.00        158.34            0.00                158.34    Corporate Group ADR                                           182.16             0.00        182.16           53.60          128.56
             0.00                0.00          0.00            0.00                  0.00    Leisure Group ADR                                               0.00           164.00       -164.00            0.00            0.00
             0.00                0.00          0.00            0.00                  0.00    Government Group ADR                                            0.00             0.00          0.00            0.00            0.00
             0.00                0.00          0.00            0.00                  0.00    Tour & Travel Group ADR                                         0.00             0.00          0.00            0.00            0.00
             0.00                0.00          0.00            0.00                  0.00    Association Group ADR                                           0.00             0.00          0.00            0.00            0.00
             0.00                0.00          0.00            0.00                  0.00    City Wide Group ADR                                             0.00             0.00          0.00            0.00            0.00
             0.00                0.00          0.00            0.00                  0.00    SMERF Group ADR                                                 0.00           179.00       -179.00            0.00            0.00
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                                                                                  Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                                  YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00               116.62       -116.62          123.28               -123.28    Sports Group ADR                                             201.75           159.15       42.60          140.70          61.05
            0.00                 0.00          0.00           82.29                -82.29    Other Group ADR                                                0.00             0.00        0.00          199.92        -199.92
          158.34              116.62          41.72         115.35                  42.99    Total Group ADR                                             187.27           160.43        26.84         138.01           49.27

             0.00               0.00           0.00            0.00                  0.00    Airline Crew ADR                                              0.00             0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                  0.00    Other Contract ADR                                            0.00             0.00         0.00          179.00         -179.00
             0.00               0.00           0.00            0.00                  0.00    Total Contract ADR                                            0.00             0.00         0.00         179.00         -179.00

          127.98              121.40           6.58         119.26                   8.71    Total ADR                                                   173.79           178.36        -4.57         133.35           40.44




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                                                                                           Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      F&B Summary
                                                                                                      Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Food Revenue                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Food Revenue                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Beverage Revenue                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Beverage Revenue                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Other Revenue                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Other Revenue                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Revenue                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Food Purchases                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Beverage Purchases                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Cedit Employee Meals                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Credit House Charges                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Credit In-House Promotions                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Audio Visual Cost of Sales                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Other Cost of Sales                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Cost of Sales                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    F&B Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll
                                                                                                      Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Management                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Non-Management                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Salaries and Wages                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Payroll Taxes                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Supplemental Pay                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Other Benefits                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B PR Taxes and Benefits                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Payroll                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Audio Visual Supplies                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Banquet Expense                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Bar Expense/Promos                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Bar Supplies                                                0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    China                                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Cleaning Supplies                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Communication Expense                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Contract Cleaning                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Contract Labor                                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Decorations & Plants                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Dues and Subscriptions                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Equipment Rental                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Food and Beverage Advertising                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Glassware                                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Guest Loss/Damage                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Guest Supplies                                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    In-House Entertainment                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Kitchen/Cooking Fuel                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Kitchen Equipment                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Laundry - Outside Expense                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Laundry Allocation                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Licenses/Permits                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Linen                                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Linen Rental                                                0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                           Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                             P&L - Dual Summary Pages
                                                                                                                   As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Maintenance Contracts                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Meals and Entertainment                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Menus                                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Miscellaneous Expense                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Music and Entertainment                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Office Equipment                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Office Supplies                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Operating Supplies                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Paper/Plastic Supplies                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Printing and Stationery                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Silverware                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Software Expense/Maintenance                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Television Cable                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Training                                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Travel                                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Uniforms                                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Utensils                                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Other Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Expenses                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Profit (Loss)                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                  Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                    P&L - Dual Summary Pages
                                                                                                          As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 2
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Room Service
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Room Service Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Room Service Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Banquets
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Banquets Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Banquets Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                             Catering
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Catering Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Catering Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 3
             0.00                0.00          0.00            0.00                  0.00    Breakfast Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Lunch Avg Check                                             0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Dinner Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Brunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 4
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 5
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 1
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                             0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 2
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                             0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                  0.00    Total Covers                                                0.00            0.00         0.00            0.00           0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Food Admin
                                                                                                    Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Cost of Sales                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Management                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Non-Management                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Less Adjustments                                            0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Revenue                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Cost of Sales                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Other Expenses                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Room Service
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Banquets
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Banquets Food Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Banquets Beverage Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Other Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Management                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Non-Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                  0.00    Total Banquets Salaries and Wages                           0.00                 0.00                  0.00            0.00                0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                  0.00    Total Banquet Benefits                                      0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Catering
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Food Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Beverage Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Gross Profit                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Management                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Non-Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Salaries and Wages                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering PR Taxes and Benefits                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 3
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 4
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 4 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restauarnt 4 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 5
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expenses
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                        Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Telephone Revenue                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Telephone Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

                                                                                                        Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00          792.87       0.00%     -792.87    Cost of Sales - Local Calls                                 0.00    0.00%        0.00       0.00%      0.00        3,791.89     0.00%    -3,791.89
             0.00     0.00%         0.00    0.00%       0.00         792.87       0.00%     -792.87     Total Telephone Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00       3,791.89     0.00%    -3,791.89

             0.00     0.00%         0.00    0.00%       0.00        -792.87       0.00%      792.87     Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00      -3,791.89     0.00%    3,791.89

                                                                                                        Other Expenses
             0.00      0.00%        0.00     0.00%      0.00        1,123.12       0.00%    -1,123.12   Internet/Web Expense                                        0.00    0.00%        0.00       0.00%      0.00        4,671.11     0.00%    -4,671.11
             0.00      0.00%        0.00     0.00%      0.00           90.00       0.00%       -90.00   Miscellaneous Expense                                       0.00    0.00%        0.00       0.00%      0.00          180.00     0.00%      -180.00
             0.00     0.00%         0.00    0.00%       0.00       1,213.12       0.00%    -1,213.12    Total Telephone Other Expenses                              0.00   0.00%         0.00      0.00%       0.00       4,851.11     0.00%    -4,851.11

             0.00     0.00%         0.00    0.00%       0.00      -2,005.99       0.00%    2,005.99     Total Telephone Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00      -8,643.00     0.00%    8,643.00




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             PTD      %        PTD Budget     %        Variance   PTD Last Year     %          Variance                                                                 YTD     %        YTD Budget %             Variance    YTD Last Year    %          Variance

                                                                                                          Minor Operating
                                                                                                          Income
             0.00      0.00%       200.00     7.96%     -200.00           0.00       0.00%         0.00   Rental Income - Other                                       989.02     4.40%     1,000.00     6.03%        -10.98         925.00      4.23%        64.02
             0.00     0.00%       200.00     7.96%     -200.00            0.00      0.00%          0.00   Total Rental Income                                        989.02     4.40%     1,000.00     6.03%        -10.98         925.00      4.23%         64.02
             0.00      0.00%         0.00     0.00%        0.00         200.75       4.96%      -200.75   Vending Commissions Other                                   230.50     1.02%         0.00     0.00%       230.50          514.00      2.35%      -283.50
             0.00     0.00%          0.00    0.00%         0.00        200.75       4.96%      -200.75    Total Vending Commission Income                            230.50     1.02%          0.00    0.00%       230.50          514.00      2.35%      -283.50
         1,019.55     44.79%       750.00    29.84%      269.55       1,329.94      32.84%      -310.39   Cancellation Fee - Rooms                                 13,739.44    61.07%     5,750.00    34.65%     7,989.44        7,387.84     33.77%     6,351.60
        1,019.55     44.79%       750.00    29.84%      269.55       1,329.94      32.84%      -310.39    Total Cancellation Fee Income                           13,739.44    61.07%     5,750.00    34.65%     7,989.44        7,387.84     33.77%     6,351.60
             0.00      0.00%       181.00     7.20%     -181.00           0.00       0.00%         0.00   Guest Laundry                                                 0.00     0.00%     1,143.40     6.89%    -1,143.40            6.00      0.03%         -6.00
             0.00      0.00%        25.00     0.99%      -25.00           9.98       0.25%        -9.98   Internet Access                                               0.00     0.00%       125.00     0.75%      -125.00          229.54      1.05%      -229.54
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%         0.00   Cots/Cribs/Rollaways                                          0.00     0.00%         0.00     0.00%          0.00          20.00      0.09%       -20.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%         0.00   Telephone Revenue                                            -0.01     0.00%         0.00     0.00%         -0.01           0.00      0.00%         -0.01
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%         0.00   Parking Revenue                                               0.00     0.00%         0.00     0.00%          0.00         150.00      0.69%      -150.00
         1,256.91     55.21%     1,357.50    54.01%     -100.59       2,509.23      61.96%    -1,252.32   Gift Shop Sales                                           7,539.67    33.51%     8,575.50    51.68%    -1,035.83       12,394.84     56.66%    -4,855.17
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%         0.00   Pet Fees                                                      0.00     0.00%         0.00     0.00%          0.00         250.00      1.14%      -250.00
        1,256.91     55.21%     1,563.50    62.20%     -306.59       2,519.21      62.20%    -1,262.30    Total Other Income                                       7,539.66    33.51%     9,843.90    59.32%    -2,304.24       13,050.38     59.65%    -5,510.72

        2,276.46    100.00%     2,513.50    100.00%    -237.04       4,049.90     100.00%    -1,773.44    Total Minor Operating Income                            22,498.62    100.00%   16,593.90 100.00%      5,904.72        21,877.22 100.00%          621.40

                                                                                                          Cost of Sales
             0.00      0.00%         5.00     0.20%       -5.00           0.00       0.00%        0.00    Cost of Sales - Internet Access                               0.00     0.00%        25.00     0.15%      -25.00             0.00      0.00%        0.00
             0.00      0.00%        45.25     1.80%      -45.25           0.00       0.00%        0.00    Cost of Sales - Guest Laundry                                 0.00     0.00%       285.87     1.72%     -285.87            36.97      0.17%      -36.97
         2,679.78    117.72%       746.63    29.70%    1,933.15       1,013.45      25.02%    1,666.33    Cost of Sales - Gift Shop                                10,438.89    46.40%     4,716.53    28.42%    5,722.36         7,504.78     34.30%    2,934.11
        2,679.78    117.72%       796.88    31.70%    1,882.90       1,013.45      25.02%    1,666.33     Total Minor Operated Cost of Sales                      10,438.89    46.40%     5,027.40    30.30%    5,411.49         7,541.75     34.47%    2,897.14

         -403.32    -17.72%     1,716.62    68.30%    -2,119.94      3,036.45      74.98%    -3,439.77    Total Minor Operated Profit (Loss)                      12,059.73    53.60%    11,566.50    69.70%       493.23       14,335.47     65.53%    -2,275.74




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Arcade
                                                                                                    Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Revenue                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Non-Management                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Salaries and Wages                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade PR Taxes and Benefits                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Payroll                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Other Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Expenses                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Profit (Loss)                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Waterpark
                                                                                                    Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Revenue                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Management                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Non-Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Profit (Loss)                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %        Variance   PTD Last Year     %        Variance                                                                  YTD    %        YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                      Franchise Fees
             0.00     0.00%         0.00    0.00%       0.00           52.58      0.02%      -52.58   Franchise Fees - IT Fees                                       0.00    0.00%         0.00     0.00%         0.00         330.38     0.03%      -330.38
        12,057.29     5.44%    10,255.57    5.43%   1,801.72        8,048.68      3.65%    4,008.61   Franchise Fees - Royalty & Licenses                      107,946.08    5.46%    93,870.14     5.37%    14,075.94      67,186.71     5.10%    40,759.37
             0.00     0.00%         0.00    0.00%       0.00          340.00      0.15%     -340.00   Franchise Fees - Other                                         0.00    0.00%         0.00     0.00%         0.00       3,235.10     0.25%    -3,235.10
             0.00     0.00%         0.00    0.00%       0.00          142.80      0.06%     -142.80   Franchise Fees - Reservations-GDS                              0.00    0.00%         0.00     0.00%         0.00       3,722.55     0.28%    -3,722.55
         1,473.59     0.67%     1,920.59    1.02%    -447.00        7,751.15      3.51%   -6,277.56   Franchise Fees - Frequent Guest                          -29,619.02   -1.50%    18,362.32     1.05%   -47,981.34      14,407.73     1.09%   -44,026.75
        10,249.75     4.63%     9,760.56    5.16%     489.19        9,604.33      4.35%      645.42   Franchise Fees - Marketing Contributions                  84,610.55    4.28%    78,617.40     4.50%     5,993.15      56,471.37     4.29%    28,139.18

       23,780.63     10.74%   21,936.72    11.61%   1,843.91      25,939.54      11.75%   -2,158.91   Total Franchise Fees                                    162,937.61    8.25%    190,849.86   10.92%    -27,912.25    145,353.84     11.04%   17,583.77




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             PTD      %        PTD Budget    %          Variance   PTD Last Year     %          Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         7,283.85      3.29%    10,022.29     5.30%    -2,738.44       7,734.15       3.50%     -450.30    Management- A&G                                          45,790.62    2.32%     49,068.81     2.81%    -3,278.19      40,937.78     3.11%     4,852.84
        7,283.85      3.29%    10,022.29     5.30%    -2,738.44       7,734.15       3.50%     -450.30     Total A&G Management                                    45,790.62    2.32%     49,068.81     2.81%    -3,278.19      40,937.78     3.11%     4,852.84
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%         0.00    Total A&G Non-Management                                      0.00   0.00%           0.00    0.00%          0.00           0.00    0.00%          0.00
        7,283.85      3.29%    10,022.29     5.30%    -2,738.44       7,734.15       3.50%     -450.30     Total A&G Salaries and Wages                            45,790.62    2.32%     49,068.81     2.81%    -3,278.19      40,937.78     3.11%     4,852.84
                                                                                                           PR Taxes and Benefits
           611.96      0.28%       797.08     0.42%      -185.12       1,170.96       0.53%      -559.00   FICA                                                      4,867.45    0.25%      4,967.48     0.28%      -100.03       5,625.38     0.43%      -757.93
            -8.43      0.00%         9.38     0.00%       -17.81          26.69       0.01%       -35.12   Federal Unemployment Tax                                    142.48    0.01%        194.76     0.01%       -52.28         289.14     0.02%      -146.66
           -37.92     -0.02%        56.26     0.03%       -94.18         120.08       0.05%      -158.00   State Unemployment Tax                                      641.13    0.03%      1,560.83     0.09%      -919.70       1,301.15     0.10%      -660.02
          565.61      0.26%       862.72     0.46%      -297.11       1,317.73       0.60%      -752.12    Total Payroll Taxes                                      5,651.06    0.29%      6,723.07     0.38%    -1,072.01       7,215.67     0.55%    -1,564.61
         1,774.77      0.80%       397.10     0.21%     1,377.67           0.00       0.00%     1,774.77   Vacation                                                  1,774.77    0.09%      1,683.70     0.10%        91.07           0.00     0.00%     1,774.77
           221.85      0.10%         0.00     0.00%       221.85           0.00       0.00%       221.85   Sick Pay                                                    221.85    0.01%          0.00     0.00%       221.85           0.00     0.00%       221.85
        1,996.62      0.90%       397.10     0.21%     1,599.52            0.00      0.00%     1,996.62    Total Supplemental Pay                                   1,996.62    0.10%      1,683.70     0.10%       312.92            0.00    0.00%     1,996.62
           545.68      0.25%       702.84     0.37%      -157.16       2,633.49       1.19%    -2,087.81   Worker's Compensation                                     1,554.68    0.08%      4,094.20     0.23%    -2,539.52       6,451.77     0.49%    -4,897.09
             0.00      0.00%         0.00     0.00%         0.00        -591.66      -0.27%       591.66   Payroll Tax/Benefit Allocation                                0.00    0.00%          0.00     0.00%         0.00      -3,210.61    -0.24%     3,210.61
           614.15      0.28%       800.00     0.42%      -185.85       2,827.60       1.28%    -2,213.45   Group Insurance                                           4,805.27    0.24%      4,000.00     0.23%       805.27       2,123.34     0.16%     2,681.93
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Bonus and Incentive Pay                                  18,322.92    0.93%     14,182.00     0.81%     4,140.92           0.00     0.00%    18,322.92
        1,159.83      0.52%     1,502.84     0.80%      -343.01       4,869.43       2.21%    -3,709.60    Total Other Benefits                                    24,682.87    1.25%     22,276.20     1.27%     2,406.67       5,364.50     0.41%    19,318.37
        3,722.06      1.68%     2,762.66     1.46%       959.40       6,187.16       2.80%    -2,465.10    Total A&G PR Taxes and Benefits                         32,330.55    1.64%     30,682.97     1.76%     1,647.58      12,580.17     0.96%    19,750.38
       11,005.91      4.97%    12,784.95     6.77%    -1,779.04      13,921.31       6.31%    -2,915.40    Total A&G Payroll                                       78,121.17    3.95%     79,751.78     4.56%    -1,630.61      53,517.95     4.06%    24,603.22
                                                                                                           Other Expenses
             0.00      0.00%         0.00     0.00%         0.00       1,000.00       0.45%    -1,000.00   Accounting/Audit Fees                                         0.00    0.00%          0.00     0.00%         0.00       7,000.00     0.53%    -7,000.00
           358.28      0.16%         0.00     0.00%       358.28       1,267.42       0.57%      -909.14   Bad Debt Provision                                       18,029.70    0.91%          0.00     0.00%    18,029.70       3,190.56     0.24%    14,839.14
         1,047.46      0.47%       795.00     0.42%       252.46         711.81       0.32%       335.65   Bank Charges                                              4,482.78    0.23%      3,975.00     0.23%       507.78       3,809.17     0.29%       673.61
           712.16      0.32%         0.00     0.00%       712.16          -0.10       0.00%       712.26   Cash Over/Short                                             720.64    0.04%          0.00     0.00%       720.64         112.74     0.01%       607.90
             0.00      0.00%       250.00     0.13%      -250.00           0.00       0.00%         0.00   Central Office - Travel Rebilled                          1,194.29    0.06%        500.00     0.03%       694.29           0.00     0.00%     1,194.29
         1,000.00      0.45%     1,000.00     0.53%         0.00           0.00       0.00%     1,000.00   Central Office - Accounting Fees                          5,000.00    0.25%      5,000.00     0.29%         0.00           0.00     0.00%     5,000.00
             0.00      0.00%         0.00     0.00%         0.00         360.00       0.16%      -360.00   Central Office - IT Fees                                      0.00    0.00%          0.00     0.00%         0.00       1,800.00     0.14%    -1,800.00
             0.00      0.00%         0.00     0.00%         0.00          50.00       0.02%       -50.00   Communication Expense                                         0.00    0.00%          0.00     0.00%         0.00         150.00     0.01%      -150.00
         5,081.74      2.29%     4,724.46     2.50%       357.28       4,727.12       2.14%       354.62   Credit Card Commission                                   58,454.94    2.96%     43,083.09     2.46%    15,371.85      28,590.81     2.17%    29,864.13
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Data Processing                                               0.00    0.00%          0.00     0.00%         0.00         206.49     0.02%      -206.49
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Donations                                                   321.00    0.02%        600.00     0.03%      -279.00           0.00     0.00%       321.00
            76.25      0.03%        50.00     0.03%        26.25       2,114.25       0.96%    -2,038.00   Dues and Subscriptions                                      569.38    0.03%        250.00     0.01%       319.38       5,201.39     0.40%    -4,632.01
           181.61      0.08%       775.00     0.41%      -593.39         928.10       0.42%      -746.49   Employee Relations                                        2,900.76    0.15%      2,820.00     0.16%        80.76       1,145.08     0.09%     1,755.68
             0.00      0.00%         0.00     0.00%         0.00          37.71       0.02%       -37.71   Equipment Rental                                              0.00    0.00%          0.00     0.00%         0.00         185.85     0.01%      -185.85
             0.00      0.00%         0.00     0.00%         0.00         305.00       0.14%      -305.00   Internet/Web Expense                                          0.00    0.00%          0.00     0.00%         0.00         305.00     0.02%      -305.00
           525.00      0.24%       375.00     0.20%       150.00         145.00       0.07%       380.00   Licenses/Permits                                            525.00    0.03%        375.00     0.02%       150.00         790.00     0.06%      -265.00
             0.00      0.00%        50.00     0.03%       -50.00           0.00       0.00%         0.00   Meals and Entertainment                                       0.00    0.00%        250.00     0.01%      -250.00         135.33     0.01%      -135.33
           -40.58     -0.02%        90.00     0.05%      -130.58      -1,133.39      -0.51%     1,092.81   Miscellaneous Expense                                       149.73    0.01%        450.00     0.03%      -300.27      -1,009.44    -0.08%     1,159.17
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Office Equipment                                              0.00    0.00%          0.00     0.00%         0.00       1,723.63     0.13%    -1,723.63
             0.00      0.00%         0.00     0.00%         0.00        -321.21      -0.15%       321.21   Office Supplies                                               0.00    0.00%          0.00     0.00%         0.00       3,405.62     0.26%    -3,405.62
           357.24      0.16%       150.00     0.08%       207.24           0.00       0.00%       357.24   Operating Supplies                                        2,921.61    0.15%        825.00     0.05%     2,096.61           0.00     0.00%     2,921.61
             0.00      0.00%       503.14     0.27%      -503.14         146.33       0.07%      -146.33   Payroll Service Fees                                      1,076.28    0.05%      2,508.85     0.14%    -1,432.57         692.82     0.05%       383.46
             0.00      0.00%        10.00     0.01%       -10.00           0.00       0.00%         0.00   Postage                                                     400.26    0.02%         50.00     0.00%       350.26         420.81     0.03%       -20.55
             0.00      0.00%       250.00     0.13%      -250.00           0.00       0.00%         0.00   Professional Fees - Legal                                 2,024.77    0.10%      1,250.00     0.07%       774.77       3,376.07     0.26%    -1,351.30
            44.01      0.02%         0.00     0.00%        44.01           0.00       0.00%        44.01   Professional Fees - Other                                 1,714.00    0.09%        650.00     0.04%     1,064.00       1,510.22     0.11%       203.78
         1,240.00      0.56%         0.00     0.00%     1,240.00           0.00       0.00%     1,240.00   Recruitment Advertising                                   1,297.90    0.07%        900.00     0.05%       397.90         790.00     0.06%       507.90
             0.00      0.00%         0.00     0.00%         0.00         173.70       0.08%      -173.70   Recruitment - Other                                           0.00    0.00%          0.00     0.00%         0.00         810.90     0.06%      -810.90
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Security - In-house Expense                                   0.00    0.00%          0.00     0.00%         0.00         395.00     0.03%      -395.00
             0.00      0.00%       600.00     0.32%      -600.00           0.00       0.00%         0.00   Security - Outside                                            0.00    0.00%      2,400.00     0.14%    -2,400.00           0.00     0.00%         0.00
             0.00      0.00%         0.00     0.00%         0.00       1,980.38       0.90%    -1,980.38   Software Expense/Maintenance                                  0.00    0.00%          0.00     0.00%         0.00      10,447.57     0.79%   -10,447.57
             0.00      0.00%       995.00     0.53%      -995.00           0.00       0.00%         0.00   Training                                                  1,949.19    0.10%      2,695.00     0.15%      -745.81          97.01     0.01%     1,852.18
            29.49      0.01%       775.00     0.41%      -745.51          16.58       0.01%        12.91   Travel                                                      136.09    0.01%        875.00     0.05%      -738.91         580.24     0.04%      -444.15
             0.00      0.00%        50.00     0.03%       -50.00           0.00       0.00%         0.00   Uniforms                                                      0.00    0.00%        250.00     0.01%      -250.00         267.34     0.02%      -267.34
       10,612.66      4.79%    11,442.60     6.05%      -829.94      12,508.70       5.67%    -1,896.04    Total A&G Other Expenses                               103,868.32    5.26%     69,706.94     3.99%    34,161.38      76,130.21     5.78%    27,738.11
       21,618.57      9.76%    24,227.55    12.82%    -2,608.98      26,430.01      11.97%    -4,811.44    Total A&G Expenses                                     181,989.49    9.21%    149,458.72     8.55%    32,530.77     129,648.16     9.85%    52,341.33




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                                                                                                                    As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                                    YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Management                                             0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Non-Management                                         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Salaries and Wages                                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                             0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                          0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT PR Taxes and Benefits                                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Payroll                                                0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                       Cost of Services
            50.00      0.02%       100.00    0.05%     -50.00           0.00       0.00%       50.00   Cost of Cell Phones                                         310.00       0.02%       500.00      0.03%     -190.00           0.00     0.00%       310.00
         1,047.84      0.47%     1,192.00    0.63%    -144.16           0.00       0.00%    1,047.84   Cost of Internet Services                                11,185.49       0.57%     5,960.00      0.34%    5,225.49           0.00     0.00%    11,185.49
         1,028.95      0.46%       980.00    0.52%      48.95           0.00       0.00%    1,028.95   Cost of Calls                                             5,525.58       0.28%     4,900.00      0.28%      625.58           0.00     0.00%     5,525.58
        2,126.79      0.96%     2,272.00    1.20%    -145.21            0.00      0.00%    2,126.79    Total IT Cost of Services                               17,021.07       0.86%    11,360.00      0.65%    5,661.07            0.00    0.00%    17,021.07

                                                                                                       System Costs
         2,040.38      0.92%     2,040.70    1.08%     -0.32            0.00       0.00%    2,040.38   Administrative & General                                     4,151.90    0.21%     4,123.50      0.24%       28.40           0.00     0.00%     4,151.90
             0.00      0.00%        50.00    0.03%    -50.00            0.00       0.00%        0.00   Human Resources                                                  0.00    0.00%       250.00      0.01%     -250.00           0.00     0.00%         0.00
           460.00      0.21%       240.00    0.13%    220.00            0.00       0.00%      460.00   Information Systems                                          2,300.00    0.12%     1,200.00      0.07%    1,100.00           0.00     0.00%     2,300.00
             0.00      0.00%         0.00    0.00%      0.00            0.00       0.00%        0.00   Other                                                           80.99    0.00%         0.00      0.00%       80.99           0.00     0.00%        80.99
           109.00      0.05%       109.00    0.06%      0.00            0.00       0.00%      109.00   Property Ops & Maintenance                                     654.00    0.03%       545.00      0.03%      109.00           0.00     0.00%       654.00
            83.71      0.04%         0.00    0.00%     83.71            0.00       0.00%       83.71   Rooms                                                        1,321.85    0.07%         0.00      0.00%    1,321.85           0.00     0.00%     1,321.85
        2,693.09      1.22%     2,439.70    1.29%    253.39             0.00      0.00%    2,693.09    Total IT Systems                                            8,508.74    0.43%     6,118.50      0.35%    2,390.24            0.00    0.00%     8,508.74

                                                                                                       Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Other Equipment                                                37.66     0.00%        0.00       0.00%      37.66            0.00     0.00%       37.66
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Other Expenses                                        37.66    0.00%         0.00      0.00%       37.66            0.00    0.00%        37.66

        4,819.88      2.18%     4,711.70    2.49%    108.18             0.00      0.00%    4,819.88    Total IT Expenses                                       25,567.47       1.29%    17,478.50      1.00%    8,088.97            0.00    0.00%    25,567.47




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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                        S&M
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
         3,479.04      1.57%         0.00    0.00%    3,479.04       3,193.68       1.45%      285.36   Division Management                                      15,841.69    0.80%         0.00      0.00%    15,841.69       8,196.14     0.62%     7,645.55
             0.00      0.00%     3,064.74    1.62%   -3,064.74           0.00       0.00%        0.00   Sales Managers                                                0.00    0.00%    15,004.09      0.86%   -15,004.09       6,104.00     0.46%    -6,104.00
        3,479.04      1.57%     3,064.74    1.62%      414.30       3,193.68       1.45%      285.36    Total S&M Management                                    15,841.69    0.80%    15,004.09      0.86%       837.60      14,300.14     1.09%     1,541.55
           702.14      0.32%     1,550.00    0.82%     -847.86       1,382.01       0.63%     -679.87   Administrative Assistant                                  7,470.60    0.38%     7,550.00      0.43%       -79.40       3,195.01     0.24%     4,275.59
           120.00      0.05%         0.00    0.00%      120.00           0.00       0.00%      120.00   Sales Admin Overtime                                        120.00    0.01%         0.00      0.00%       120.00           0.00     0.00%       120.00
          822.14      0.37%     1,550.00    0.82%     -727.86       1,382.01       0.63%     -559.87    Total S&M Non-Management                                 7,590.60    0.38%     7,550.00      0.43%         40.60      3,195.01     0.24%     4,395.59

        4,301.18      1.94%     4,614.74    2.44%     -313.56       4,575.69       2.07%     -274.51    Total S&M Salaries and Wages                            23,432.29    1.19%    22,554.09      1.29%       878.20      17,495.15     1.33%     5,937.14

                                                                                                        PR Taxes and Benefits
           439.51      0.20%       462.82    0.24%      -23.31           0.00       0.00%      439.51   FICA                                                      2,016.88    0.10%     1,965.57      0.11%        51.31         165.47     0.01%     1,851.41
             0.00      0.00%         5.44    0.00%       -5.44           0.00       0.00%        0.00   Federal Unemployment Tax                                     79.72    0.00%        69.97      0.00%         9.75           0.00     0.00%        79.72
             0.00      0.00%        32.67    0.02%      -32.67           0.00       0.00%        0.00   State Unemployment Tax                                      358.74    0.02%       580.17      0.03%      -221.43           0.00     0.00%       358.74
          439.51      0.20%       500.93    0.27%      -61.42            0.00      0.00%      439.51    Total Payroll Taxes                                      2,455.34    0.12%     2,615.71      0.15%      -160.37         165.47     0.01%     2,289.87
             0.00      0.00%       140.00    0.07%    -140.00            0.00       0.00%        0.00   Holiday                                                       0.00    0.00%       280.00      0.02%      -280.00           0.00     0.00%         0.00
           412.66      0.19%       120.19    0.06%     292.47            0.00       0.00%      412.66   Vacation                                                    412.66    0.02%       509.61      0.03%       -96.95           0.00     0.00%       412.66
          412.66      0.19%       260.19    0.14%     152.47             0.00      0.00%      412.66    Total Supplemental Pay                                     412.66    0.02%       789.61      0.05%      -376.95            0.00    0.00%       412.66
           499.61      0.23%       408.10    0.22%       91.51           0.00       0.00%      499.61   Worker's Compensation                                     2,178.05    0.11%     1,667.19      0.10%       510.86           0.00     0.00%     2,178.05
             0.00      0.00%         0.00    0.00%        0.00         501.04       0.23%     -501.04   Payroll Tax/Benefit Allocation                                0.00    0.00%         0.00      0.00%         0.00       1,322.39     0.10%    -1,322.39
           412.00      0.19%       400.00    0.21%       12.00           0.00       0.00%      412.00   Group Insurance                                           2,050.31    0.10%     2,000.00      0.11%        50.31           0.00     0.00%     2,050.31
         1,640.63      0.74%     1,175.00    0.62%     465.63            0.00       0.00%    1,640.63   Bonus and Incentive Pay                                   3,046.88    0.15%     2,350.00      0.13%       696.88           0.00     0.00%     3,046.88
        2,552.24      1.15%     1,983.10    1.05%     569.14          501.04       0.23%    2,051.20    Total Other Benefits                                     7,275.24    0.37%     6,017.19      0.34%     1,258.05       1,322.39     0.10%     5,952.85
        3,404.41      1.54%     2,744.22    1.45%     660.19          501.04       0.23%    2,903.37    Total S&M PR Taxes and Benefits                         10,143.24    0.51%     9,422.51      0.54%       720.73       1,487.86     0.11%     8,655.38

        7,705.59      3.48%     7,358.96    3.89%     346.63        5,076.73       2.30%    2,628.86    Total S&M Payroll                                       33,575.53    1.70%    31,976.60      1.83%     1,598.93      18,983.01     1.44%    14,592.52

                                                                                                        Other Expenses
             0.00      0.00%         0.00    0.00%       0.00          440.00       0.20%     -440.00   Advertising General                                           0.00    0.00%         0.00      0.00%         0.00       1,420.00     0.11%    -1,420.00
           815.00      0.37%       815.00    0.43%       0.00            0.00       0.00%      815.00   Advertising-Web/Internet                                  3,285.00    0.17%     2,980.00      0.17%       305.00           0.00     0.00%     3,285.00
           150.00      0.07%         0.00    0.00%     150.00            0.00       0.00%      150.00   Billboards                                                  750.00    0.04%         0.00      0.00%       750.00           0.00     0.00%       750.00
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%        0.00   Brochures                                                     0.00    0.00%       300.00      0.02%      -300.00           0.00     0.00%         0.00
         3,420.00      1.54%     1,972.00    1.04%   1,448.00        1,088.00       0.49%    2,332.00   Dues and Subscriptions                                   10,002.50    0.51%    11,362.00      0.65%    -1,359.50       6,940.00     0.53%     3,062.50
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%        0.00   GDS Marketing Advert & Sales                              1,027.10    0.05%         0.00      0.00%     1,027.10           0.00     0.00%     1,027.10
             0.00      0.00%        50.00    0.03%     -50.00            0.00       0.00%        0.00   Meals and Entertainment                                       0.00    0.00%       250.00      0.01%      -250.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%        0.00   Miscellaneous Expense                                        38.24    0.00%         0.00      0.00%        38.24           0.00     0.00%        38.24
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%        0.00   Office Supplies                                               0.00    0.00%         0.00      0.00%         0.00          53.75     0.00%       -53.75
             0.00      0.00%       100.00    0.05%    -100.00            0.00       0.00%        0.00   Operating Supplies                                          777.66    0.04%       500.00      0.03%       277.66           0.00     0.00%       777.66
            11.60      0.01%        10.00    0.01%       1.60            0.00       0.00%       11.60   Postage                                                      11.60    0.00%        50.00      0.00%       -38.40           0.00     0.00%        11.60
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%        0.00   Printing and Stationery                                       0.00    0.00%       150.00      0.01%      -150.00           0.00     0.00%         0.00
           200.00      0.09%       200.00    0.11%       0.00          269.80       0.12%      -69.80   Promotions - In-house                                     1,245.22    0.06%     1,000.00      0.06%       245.22         269.80     0.02%       975.42
           476.82      0.22%     1,150.00    0.61%    -673.18          243.26       0.11%      233.56   Promotion - Outside                                       1,326.92    0.07%     2,800.00      0.16%    -1,473.08         243.26     0.02%     1,083.66
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%        0.00   Software Expense/Maintenance                                  0.00    0.00%         0.00      0.00%         0.00       2,247.76     0.17%    -2,247.76
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%        0.00   Trade Shows                                                   0.00    0.00%     1,800.00      0.10%    -1,800.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%        0.00   Training                                                    140.00    0.01%       995.00      0.06%      -855.00       1,745.00     0.13%    -1,605.00
             0.00      0.00%        50.00    0.03%     -50.00            0.00       0.00%        0.00   Travel                                                        0.00    0.00%       250.00      0.01%      -250.00           0.00     0.00%         0.00
        5,073.42      2.29%     4,347.00    2.30%     726.42        2,041.06       0.92%    3,032.36    Total S&M Other Expenses                                18,604.24    0.94%    22,437.00      1.28%    -3,832.76      12,919.57     0.98%     5,684.67

       12,779.01      5.77%    11,705.96    6.19%    1,073.05       7,117.79       3.22%    5,661.22    Total S&M Expenses                                      52,179.77    2.64%    54,413.60      3.11%    -2,233.83      31,902.58     2.42%    20,277.19




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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %          Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          R&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         2,631.93      1.19%     2,549.61    1.35%        82.32       2,555.29       1.16%       76.64    Division Management                                      13,383.04    0.68%    12,482.32      0.71%       900.72      12,541.59     0.95%       841.45
        2,631.93      1.19%     2,549.61    1.35%         82.32      2,555.29       1.16%        76.64    Total R&M Management                                    13,383.04    0.68%    12,482.32      0.71%       900.72      12,541.59     0.95%       841.45
             0.00      0.00%     1,594.29    0.84%    -1,594.29           0.00       0.00%        0.00    Engineering Supervisor                                        0.00    0.00%     7,765.73      0.44%    -7,765.73           0.00     0.00%         0.00
         3,266.55      1.47%     4,216.00    2.23%      -949.45       3,023.80       1.37%      242.75    Engineers 1                                              19,602.67    0.99%    20,536.00      1.17%      -933.33      17,029.33     1.29%     2,573.34
         1,002.16      0.45%         0.00    0.00%     1,002.16           0.00       0.00%    1,002.16    Engineers 1 Overtime                                      1,002.16    0.05%         0.00      0.00%     1,002.16           0.00     0.00%     1,002.16
        4,268.71      1.93%     5,810.29    3.07%    -1,541.58       3,023.80       1.37%    1,244.91     Total R&M Non-Management                                20,604.83    1.04%    28,301.73      1.62%    -7,696.90      17,029.33     1.29%     3,575.50

        6,900.64      3.12%     8,359.90    4.42%    -1,459.26       5,579.09       2.53%    1,321.55     Total R&M Salaries and Wages                            33,987.87    1.72%    40,784.05      2.33%    -6,796.18      29,570.92     2.25%     4,416.95

                                                                                                          PR Taxes and Benefits
           499.36      0.23%       672.43    0.36%     -173.07          776.31       0.35%      -276.95   FICA                                                      2,166.92    0.11%     3,239.71      0.19%    -1,072.79       3,698.99     0.28%    -1,532.07
             -5.04     0.00%         7.91    0.00%       -12.95          17.64       0.01%       -22.68   Federal Unemployment Tax                                    -15.87    0.00%       116.73      0.01%      -132.60         191.21     0.01%      -207.08
           -22.69     -0.01%        47.47    0.03%       -70.16          79.38       0.04%      -102.07   State Unemployment Tax                                      386.05    0.02%       983.61      0.06%      -597.56         860.42     0.07%      -474.37
          471.63      0.21%       727.81    0.39%     -256.18          873.33       0.40%      -401.70    Total Payroll Taxes                                      2,537.10    0.13%     4,340.05      0.25%    -1,802.95       4,750.62     0.36%    -2,213.52
              0.00     0.00%       195.00    0.10%     -195.00            0.00       0.00%         0.00   Holiday                                                       0.00    0.00%       390.00      0.02%      -390.00           0.00     0.00%         0.00
              0.00     0.00%       175.00    0.09%     -175.00            0.00       0.00%         0.00   Vacation                                                      0.00    0.00%       875.00      0.05%      -875.00           0.00     0.00%         0.00
            68.00      0.03%        60.00    0.03%         8.00           0.00       0.00%        68.00   Sick Pay                                                     68.00    0.00%       300.00      0.02%      -232.00           0.00     0.00%        68.00
            68.00     0.03%       430.00    0.23%     -362.00             0.00      0.00%         68.00   Total Supplemental Pay                                       68.00   0.00%     1,565.00      0.09%    -1,497.00            0.00    0.00%         68.00
           451.28      0.20%       592.92    0.31%     -141.64        1,735.99       0.79%    -1,284.71   Worker's Compensation                                     1,261.01    0.06%     2,761.89      0.16%    -1,500.88       4,148.30     0.32%    -2,887.29
              0.00     0.00%         0.00    0.00%         0.00        -512.00      -0.23%       512.00   Payroll Tax/Benefit Allocation                                0.00    0.00%         0.00      0.00%         0.00      -1,921.06    -0.15%     1,921.06
           514.80      0.23%       400.00    0.21%      114.80        8,842.35       4.01%    -8,327.55   Group Insurance                                           6,726.88    0.34%     2,000.00      0.11%     4,726.88       7,753.22     0.59%    -1,026.34
          966.08      0.44%       992.92    0.53%       -26.84      10,066.34       4.56%    -9,100.26    Total Other Benefits                                     7,987.89    0.40%     4,761.89      0.27%     3,226.00       9,980.46     0.76%    -1,992.57
        1,505.71      0.68%     2,150.73    1.14%     -645.02       10,939.67       4.96%    -9,433.96    Total R&M PR Taxes and Benefits                         10,592.99    0.54%    10,666.94      0.61%        -73.95     14,731.08     1.12%    -4,138.09

        8,406.35      3.80%    10,510.63    5.56%    -2,104.28      16,518.76       7.48%    -8,112.41    Total R&M Payroll                                       44,580.86    2.26%    51,450.99      2.94%    -6,870.13      44,302.00     3.36%       278.86

                                                                                                          Other Expenses
         3,625.49      1.64%       271.50    0.14%    3,353.99        2,840.90       1.29%       784.59   Air Conditioning and Refrigeration                        9,139.66    0.46%     4,215.10      0.24%     4,924.56       5,703.68     0.43%     3,435.98
           232.16      0.10%       452.50    0.24%     -220.34        3,000.00       1.36%    -2,767.84   Building                                                  2,590.84    0.13%     2,858.50      0.16%      -267.66       6,039.38     0.46%    -3,448.54
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Contract Labor                                                0.00    0.00%     3,000.00      0.17%    -3,000.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Curtains and Drapes                                         153.63    0.01%         0.00      0.00%       153.63           0.00     0.00%       153.63
          -222.14     -0.10%       253.40    0.13%     -475.54          646.16       0.29%      -868.30   Electric Bulbs                                            1,031.96    0.05%     1,600.76      0.09%      -568.80       2,103.83     0.16%    -1,071.87
             0.00      0.00%       235.30    0.12%     -235.30            0.00       0.00%         0.00   Electrical and Mechanical                                   561.48    0.03%     1,486.42      0.09%      -924.94       2,146.65     0.16%    -1,585.17
         1,245.37      0.56%     1,200.00    0.63%       45.37        1,197.46       0.54%        47.91   Elevator Maintenance Contracts                            2,637.68    0.13%     2,900.00      0.17%      -262.32       2,394.92     0.18%       242.76
             0.00      0.00%         0.00    0.00%        0.00          313.38       0.14%      -313.38   Equipment Maintenance                                         0.00    0.00%         0.00      0.00%         0.00         582.35     0.04%      -582.35
             0.00      0.00%         0.00    0.00%        0.00          103.70       0.05%      -103.70   Equipment Rental                                              0.00    0.00%       400.00      0.02%      -400.00         103.70     0.01%      -103.70
             0.00      0.00%        50.00    0.03%      -50.00       -1,020.00      -0.46%     1,020.00   Fire Safety Equipment                                     4,592.34    0.23%       845.00      0.05%     3,747.34       4,106.33     0.31%       486.01
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Floor and Carpet Maintenance                                936.13    0.05%         0.00      0.00%       936.13          16.87     0.00%       919.26
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Furniture                                                   770.48    0.04%         0.00      0.00%       770.48           0.00     0.00%       770.48
         1,152.12      0.52%     1,000.00    0.53%      152.12          975.00       0.44%       177.12   Grounds and Landscaping                                   7,115.75    0.36%     5,300.00      0.30%     1,815.75       4,920.00     0.37%     2,195.75
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Kitchen Equipment Repairs                                   161.49    0.01%     1,000.00      0.06%      -838.51         364.74     0.03%      -203.25
             0.00      0.00%       100.00    0.05%     -100.00            0.00       0.00%         0.00   Laundry Equipment Repairs                                    78.00    0.00%       500.00      0.03%      -422.00           0.00     0.00%        78.00
             0.00      0.00%       100.00    0.05%     -100.00            0.00       0.00%         0.00   Licenses/Permits                                              0.00    0.00%       500.00      0.03%      -500.00           0.00     0.00%         0.00
            81.66      0.04%         0.00    0.00%       81.66            0.00       0.00%        81.66   Miscellaneous Expense                                     1,916.75    0.10%         0.00      0.00%     1,916.75           0.00     0.00%     1,916.75
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Office Supplies                                               0.00    0.00%         0.00      0.00%         0.00          46.64     0.00%       -46.64
             0.00      0.00%        50.00    0.03%      -50.00            0.00       0.00%         0.00   Operating Supplies                                          861.05    0.04%       250.00      0.01%       611.05           0.00     0.00%       861.05
           316.71      0.14%        50.00    0.03%      266.71            0.00       0.00%       316.71   Painting and Decorating                                     711.27    0.04%       250.00      0.01%       461.27          71.39     0.01%       639.88
           187.25      0.08%       510.00    0.27%     -322.75        1,096.75       0.50%      -909.50   Pest Control                                              2,881.40    0.15%     2,550.00      0.15%       331.40       3,449.07     0.26%      -567.67
            95.32      0.04%       100.00    0.05%       -4.68        1,149.25       0.52%    -1,053.93   Plumbing and Heating                                     59,803.86    3.03%       500.00      0.03%    59,303.86       1,265.77     0.10%    58,538.09
           397.55      0.18%       425.00    0.22%      -27.45          275.00       0.12%       122.55   Pool Service- Contract                                    1,590.20    0.08%     2,125.00      0.12%      -534.80       1,100.00     0.08%       490.20
             0.00      0.00%        50.00    0.03%      -50.00           16.03       0.01%       -16.03   Tools                                                       439.59    0.02%       750.00      0.04%      -310.41         767.56     0.06%      -327.97
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Travel                                                        0.00    0.00%       500.00      0.03%      -500.00          53.98     0.00%       -53.98
             0.00      0.00%        50.00    0.03%      -50.00            0.00       0.00%         0.00   Uniforms                                                      0.00    0.00%       250.00      0.01%      -250.00           0.00     0.00%         0.00
         2,000.00      0.90%     1,100.00    0.58%      900.00            0.00       0.00%     2,000.00   Waste Removal                                            10,653.06    0.54%     5,500.00      0.31%     5,153.06       4,604.19     0.35%     6,048.87
        9,111.49      4.11%     5,997.70    3.17%    3,113.79       10,593.63       4.80%    -1,482.14    Total R&M Other Expenses                               108,626.62    5.50%    37,280.78      2.13%    71,345.84      39,841.05     3.03%    68,785.57

       17,517.84      7.91%    16,508.33    8.74%    1,009.51       27,112.39      12.28%    -9,594.55    Total R&M Expenses                                     153,207.48    7.75%    88,731.77      5.08%    64,475.71      84,143.05     6.39%    69,064.43
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                                                                                 Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 151 of 776
                                                                                             Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                               P&L - Dual Summary Pages
                                                                                                                     As of 5/31/2022
             PTD      %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                        Utilities
         3,897.93      1.76%     3,439.00    1.82%      458.93       1,355.31       0.61%    2,542.62   Water                                                    22,214.05    1.12%    21,724.60      1.24%       489.45      14,025.94     1.07%     8,188.11
         9,066.20      4.09%     5,882.50    3.11%    3,183.70       6,449.50       2.92%    2,616.70   Electricity                                              39,061.27    1.98%    37,160.50      2.13%     1,900.77      29,386.99     2.23%     9,674.28
         2,690.24      1.21%         0.00    0.00%    2,690.24           0.00       0.00%    2,690.24   Fuel - Other                                             12,596.19    0.64%         0.00      0.00%    12,596.19           0.00     0.00%    12,596.19
             0.00      0.00%     1,629.00    0.86%   -1,629.00           0.00       0.00%        0.00   Gas - Natural HLP                                             0.00    0.00%    10,290.60      0.59%   -10,290.60           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00       2,060.34       0.93%   -2,060.34   Propane Tanks/Fuel                                            0.00    0.00%         0.00      0.00%         0.00      10,672.30     0.81%   -10,672.30
             0.00      0.00%         0.00    0.00%        0.00       1,588.14       0.72%   -1,588.14   Sewer                                                         0.00    0.00%         0.00      0.00%         0.00       3,472.08     0.26%    -3,472.08
       15,654.37      7.07%    10,950.50    5.79%    4,703.87      11,453.29       5.19%    4,201.08    Total Utilities                                         73,871.51    3.74%    69,175.70      3.96%     4,695.81      57,557.31     4.37%    16,314.20




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                                                                                               Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                       As of 5/31/2022
             PTD      %        PTD Budget    %          Variance   PTD Last Year     %         Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                          Fixed
         1,269.00      0.57%     1,269.00     0.67%         0.00       1,269.00       0.57%        0.00   Personal Property Taxes                                   6,345.00    0.32%     11,846.84     0.68%    -5,501.84       8,039.84      0.61%    -1,694.84
         8,130.00      3.67%     8,130.00     4.30%         0.00       8,130.00       3.68%        0.00   Real Estate Taxes                                        40,650.00    2.06%     40,650.00     2.33%         0.00      40,650.00      3.09%         0.00
        9,399.00      4.24%     9,399.00     4.97%          0.00      9,399.00       4.26%         0.00   Total Taxes                                             46,995.00    2.38%     52,496.84     3.00%    -5,501.84      48,689.84      3.70%    -1,694.84
           388.83      0.18%       388.83     0.21%         0.00           0.00       0.00%      388.83   Insurance                                                 1,944.15    0.10%      1,944.15     0.11%         0.00           0.00      0.00%     1,944.15
            40.25      0.02%        40.25     0.02%         0.00           0.00       0.00%       40.25   Insurance - Crime                                           201.25    0.01%        201.25     0.01%         0.00           0.00      0.00%       201.25
           460.67      0.21%       460.67     0.24%         0.00         238.86       0.11%      221.81   Insurance - Employment                                    2,303.35    0.12%      2,303.35     0.13%         0.00         836.00      0.06%     1,467.35
         2,071.17      0.94%     1,311.25     0.69%       759.92       1,222.57       0.55%      848.60   Insurance - General Liability                            12,260.35    0.62%      6,556.25     0.38%     5,704.10       5,629.00      0.43%     6,631.35
         3,143.92      1.42%     2,998.33     1.59%       145.59       2,998.00       1.36%      145.92   Insurance - Property                                     19,825.60    1.00%     14,991.65     0.86%     4,833.95      14,990.00      1.14%     4,835.60
            57.67      0.03%     2,038.42     1.08%    -1,980.75       1,980.00       0.90%   -1,922.33   Insurance - Umbrella                                        288.35    0.01%     10,192.10     0.58%    -9,903.75       9,900.00      0.75%    -9,611.65
        6,162.51      2.78%     7,237.75     3.83%    -1,075.24       6,439.43       2.92%     -276.92    Total Insurance                                         36,823.05    1.86%     36,188.75     2.07%       634.30      31,355.00      2.38%     5,468.05
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%        0.00   POA Dues                                                  2,259.21    0.11%      4,800.00     0.27%    -2,540.79           0.00      0.00%     2,259.21
        30,008.00     13.55%    30,008.00    15.88%         0.00      29,204.00      13.23%      804.00   Ground Lease Expense                                    150,040.00    7.59%    150,040.00     8.58%         0.00     146,020.00     11.09%     4,020.00
       30,008.00     13.55%    30,008.00    15.88%          0.00     29,204.00      13.23%      804.00    Total Leases & Rent                                    152,299.21    7.71%    154,840.00     8.86%    -2,540.79     146,020.00     11.09%     6,279.21
         7,144.99      3.23%     5,669.35     3.00%     1,475.64       7,122.51       3.23%       22.48   Management Fee - Base                                    61,772.18    3.13%     51,699.70     2.96%    10,072.48      41,998.46      3.19%    19,773.72
        7,144.99      3.23%     5,669.35     3.00%     1,475.64       7,122.51       3.23%        22.48   Total Management Fees                                   61,772.18    3.13%     51,699.70     2.96%    10,072.48      41,998.46      3.19%    19,773.72
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%        0.00   Capital Reserve                                          15,425.92    0.78%          0.00     0.00%    15,425.92           0.00      0.00%    15,425.92
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%        0.00   Owner's Expense                                               0.00    0.00%          0.00     0.00%         0.00         949.17      0.07%      -949.17
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%         0.00   Total Other Non-Operating                               15,425.92    0.78%           0.00    0.00%    15,425.92         949.17      0.07%    14,476.75




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                                                                                               Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget      %         Variance   PTD Last Year     %             Variance                                                                  YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                               Statistics
           116.00                   116.00                   0.00         116.00                        0.00   # Rooms                                                     116.00                    116.00                     0.00         116.00                     0.00
         3,596.00                 3,596.00                   0.00       3,596.00                        0.00   Available Rooms                                          17,516.00                 17,516.00                     0.00      17,516.00                     0.00
         2,942.00                 2,164.00                 778.00       2,431.00                      511.00   Room Nights Sold                                         13,759.00                 10,508.00                 3,251.00       9,467.00                 4,292.00
          81.81%                   60.18%                 21.64%         67.60%                      14.21%    Occupancy %                                                78.55%                    59.99%                   18.56%         54.05%                   24.50%
            95.04                   113.28                 -18.24          91.37                        3.68   ADR                                                         112.46                    110.86                     1.60          84.66                    27.81
            77.76                    68.17                   9.59          61.77                       15.99   RevPar                                                       88.34                     66.51                    21.83          45.75                    42.59

                                                                                                               Summary V.11
                                                                                                               Revenue
       279,616.48     98.63%   245,136.60     99.05%   34,479.88      222,110.58     98.64%        57,505.90   Rooms                                                  1,547,375.09    98.81%    1,164,956.76    99.07%    382,418.33     801,432.90    98.80%     745,942.19
             0.00      0.00%         0.00      0.00%        0.00            0.00      0.00%             0.00   F&B                                                            0.00     0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
         3,874.07      1.37%     2,352.90      0.95%    1,521.17        3,062.07      1.36%           812.00   Other Departments                                         18,706.09     1.19%       10,957.00     0.93%      7,749.09       9,728.05     1.20%       8,978.04

      283,490.55    100.00%    247,489.50    100.00%   36,001.05     225,172.65     100.00%       58,317.90    Total Operating Revenue                               1,566,081.18    100.00%   1,175,913.76 100.00%      390,167.42     811,160.95 100.00%       754,920.23

                                                                                                               Departmental Expenses
        81,633.48     29.19%    81,903.57     33.41%     -270.09       39,749.66     17.90%        41,883.82   Rooms                                                   371,401.62     24.00%     395,383.30     33.94%    -23,981.68     178,088.21     22.22%    193,313.41
             0.00      0.00%         0.00      0.00%        0.00            0.00      0.00%             0.00   F&B                                                           0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
         1,480.63     38.22%       989.60     42.06%      491.03        2,768.80     90.42%        -1,288.17   Other Departments                                         6,079.50     32.50%       4,568.02     41.69%      1,511.48      10,763.02    110.64%     -4,683.52

       83,114.11     29.32%     82,893.17    33.49%       220.94      42,518.46      18.88%       40,595.65    Total Departmental Expenses                            377,481.12     24.10%     399,951.32     34.01%    -22,470.20     188,851.23     23.28%    188,629.89

      200,376.44     70.68%    164,596.33    66.51%    35,780.11     182,654.19      81.12%       17,722.25    Total Departmental Profit                             1,188,600.06    75.90%     775,962.44     65.99%    412,637.62     622,309.72     76.72%    566,290.34

                                                                                                               Undistributed Operating Expenses
        30,751.54     10.85%    22,998.24      9.29%     7,753.30      21,046.72      9.35%         9,704.82   A&G                                                     153,989.12      9.83%     146,264.24     12.44%      7,724.88      91,776.38    11.31%      62,212.74
         5,599.98      1.98%     4,515.70      1.82%     1,084.28           0.00      0.00%         5,599.98   IT                                                       22,376.10      1.43%      16,498.50      1.40%      5,877.60           0.00     0.00%      22,376.10
         8,292.24      2.93%    12,844.09      5.19%    -4,551.85       8,534.71      3.79%          -242.47   S&M                                                      50,331.32      3.21%      61,768.53      5.25%    -11,437.21      46,808.09     5.77%       3,523.23
        21,754.11      7.67%    27,621.90     11.16%    -5,867.79      38,763.85     17.22%       -17,009.74   Franchise Fees                                           42,638.05      2.72%     131,411.39     11.18%    -88,773.34     116,593.45    14.37%     -73,955.40
        20,007.35      7.06%    17,087.57      6.90%     2,919.78      13,831.35      6.14%         6,176.00   R&M                                                      71,812.57      4.59%      82,162.54      6.99%    -10,349.97      58,418.46     7.20%      13,394.11
        13,228.79      4.67%    13,854.40      5.60%      -625.61       8,394.15      3.73%         4,834.64   Utilities                                                61,844.34      3.95%      63,952.00      5.44%     -2,107.66      45,867.01     5.65%      15,977.33

       99,634.01     35.15%     98,921.90    39.97%       712.11      90,570.78      40.22%        9,063.23    Total Undistributed Expenses                           402,991.50     25.73%     502,057.20     42.70%    -99,065.70     359,463.39     44.31%     43,528.11

      100,742.43     35.54%     65,674.43    26.54%    35,068.00      92,083.41      40.89%        8,659.02    Gross Operating Profit                                 785,608.56     50.16%     273,905.24     23.29%    511,703.32     262,846.33     32.40%    522,762.23
         9,004.72      3.18%      7,424.69     3.00%     1,580.03       7,249.11       3.22%        1,755.61   Management Fees                                          49,482.43      3.16%      35,277.41      3.00%     14,205.02      30,122.18      3.71%     19,360.25
       91,737.71     32.36%     58,249.74    23.54%    33,487.97      84,834.30      37.68%        6,903.41    Income Before Non-Operating Income and Expenses        736,126.13     47.00%     238,627.83     20.29%    497,498.30     232,724.15     28.69%    503,401.98

                                                                                                               Non-Operating Income and Expenses
         6,664.58      2.35%      7,808.42     3.16%    -1,143.84       6,617.14       2.94%           47.44   Insurance                                                35,349.67      2.26%      39,042.10      3.32%     -3,692.43      33,085.70      4.08%      2,263.97
        28,904.00     10.20%     28,904.00    11.68%         0.00      28,131.00      12.49%          773.00   Leases & Rent                                           144,520.00      9.23%     144,520.00     12.29%          0.00     140,655.00     17.34%      3,865.00
             0.00      0.00%          0.00     0.00%         0.00           0.00       0.00%            0.00   Other                                                    14,352.60      0.92%           0.00      0.00%     14,352.60      13,622.86      1.68%        729.74
       35,568.58     12.55%     36,712.42    14.83%    -1,143.84      34,748.14      15.43%          820.44    Total Non-Operating Income and Expenses                194,222.27     12.40%     183,562.10     15.61%     10,660.17     187,363.56     23.10%      6,858.71

       56,169.13     19.81%     21,537.32     8.70%    34,631.81      50,086.16      22.24%        6,082.97    EBITDA                                                 541,903.86     34.60%      55,065.73      4.68%    486,838.13      45,360.59      5.59%    496,543.27
             0.00      0.00%          0.00     0.00%        0.00            0.00       0.00%           0.00    Interest                                                      0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
        16,226.00      5.72%     16,226.00     6.56%        0.00       16,226.00       7.21%           0.00    Taxes                                                    81,130.00      5.18%      92,805.81      7.89%    -11,675.81      90,600.81     11.17%     -9,470.81
       16,226.00      5.72%     16,226.00     6.56%         0.00      16,226.00       7.21%            0.00    Interest, Taxes, Depreciation and Amortization          81,130.00      5.18%      92,805.81      7.89%    -11,675.81      90,600.81     11.17%     -9,470.81

       39,943.13     14.09%      5,311.32     2.15%    34,631.81      33,860.16      15.04%        6,082.97    Net Income                                             460,773.86     29.42%      -37,740.08     -3.21%   498,513.94     -45,240.22     -5.58%    506,014.08




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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %             Variance                                                                  YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Statistics
           116.00                  116.00                  0.00          116.00                       0.00    # Rooms                                                     116.00                   116.00                     0.00         116.00                    0.00
         3,596.00                3,596.00                  0.00        3,596.00                       0.00    Available Rooms                                          17,516.00                17,516.00                     0.00      17,516.00                    0.00
         2,942.00                2,164.00                778.00        2,431.00                     511.00    Room Nights Sold                                         13,759.00                10,508.00                 3,251.00       9,467.00                4,292.00
             0.82                    0.60                  0.22            0.68                       0.14    Occupancy %                                                   0.79                     0.60                     0.19           0.54                    0.25
            95.04                  113.28                -18.24           91.37                       3.68    ADR                                                         112.46                   110.86                     1.60          84.66                   27.81
            77.76                   68.17                  9.59           61.77                      15.99    RevPar                                                       88.34                    66.51                    21.83          45.75                   42.59

                                                                                                              Summary
                                                                                                              Revenue:
       279,616.48     98.63%   245,136.60   99.05%    34,479.88      222,110.58     98.64%        57,505.90   Rooms                                                  1,547,375.09   98.81%    1,164,956.76    99.07%   382,418.33      801,432.90    98.80%    745,942.19
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Food                                                           0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Beverage                                                       0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Other F&B Revenue                                              0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Telephone                                                      0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
         3,874.07      1.37%     2,352.90    0.95%     1,521.17        3,062.07      1.36%           812.00   Other                                                     18,706.09    1.19%       10,957.00     0.93%     7,749.09        9,728.05     1.20%      8,978.04

       283,490.55   100.00%    247,489.50   100.00%   36,001.05      225,172.65     100.00%       58,317.90   Total Revenue                                          1,566,081.18   100.00%   1,175,913.76   100.00%   390,167.42      811,160.95    100.00%   754,920.23



                                                                                                              Cost of Sales:
             0.00      0.00%        0.00     0.00%         0.00            0.00      0.00%             0.00   Food                                                           0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%         0.00            0.00      0.00%             0.00   Beverage                                                       0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%         0.00            0.00      0.00%             0.00   Other F&B                                                      0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%         0.00          880.51     28.76%          -880.51   Telephone                                                      0.00    0.00%            0.00     0.00%          0.00       3,609.79    37.11%     -3,609.79
         1,480.63     38.22%      989.60    42.06%       491.03          929.65     30.36%           550.98   Other                                                      6,079.50   32.50%        4,568.02    41.69%      1,511.48       2,017.15    20.74%      4,062.35

         1,480.63     38.22%      989.60    42.06%       491.03        1,810.16     59.12%          -329.53   Total Cost of Sales                                        6,079.50   32.50%        4,568.02    41.69%      1,511.48       5,626.94    57.84%       452.56



                                                                                                              Payroll:
        15,921.90      5.69%    45,013.83   18.36%    -29,091.93       7,889.98      3.55%         8,031.92   Rooms                                                    76,332.08     4.93%     215,728.58     18.52%   -139,396.50      26,878.85     3.35%     49,453.23
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%             0.00   F&B                                                           0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%             0.00   Other                                                         0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         8,696.15      3.07%    10,382.61    4.20%     -1,686.46       5,187.02      2.30%         3,509.13   A&G                                                      49,671.37     3.17%      59,660.46      5.07%     -9,989.09      28,188.98     3.48%     21,482.39
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%             0.00   IT                                                            0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         4,492.32      1.58%     4,901.65    1.98%       -409.33       3,499.75      1.55%           992.57   S&M                                                      24,268.01     1.55%      23,998.34      2.04%        269.67      17,809.24     2.20%      6,458.77
         6,992.50      2.47%     6,972.73    2.82%         19.77       3,755.43      1.67%         3,237.07   R&M                                                      33,962.77     2.17%      34,076.58      2.90%       -113.81      18,098.74     2.23%     15,864.03
        36,102.87     12.74%    67,270.82   27.18%    -31,167.95      20,332.18      9.03%        15,770.69   Total Salaries and Wages                                184,234.23    11.76%     333,463.96     28.36%   -149,229.73      90,975.81    11.22%     93,258.42

        10,313.20      3.64%    13,826.18    5.59%     -3,512.98      13,303.05      5.91%        -2,989.85   Total Taxes and Benefits                                 33,239.83     2.12%      91,594.28      7.79%    -58,354.45      34,582.26     4.26%     -1,342.43
        46,416.07     16.37%    81,097.00   32.77%    -34,680.93      33,635.23     14.94%        12,780.84   Total Labor Costs                                       217,474.06    13.89%     425,058.24     36.15%   -207,584.18     125,558.07    15.48%     91,915.99



                                                                                                              Direct Expenses:
        62,549.21     22.37%    27,994.39   11.42%    34,554.82       26,373.67     11.87%        36,175.54   Rooms                                                   288,226.19    18.63%     134,123.09     11.51%   154,103.10      140,374.20    17.52%    147,851.99
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   F&B                                                           0.00     0.00%           0.00      0.00%         0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00          958.64     31.31%          -958.64   Telephone                                                     0.00     0.00%           0.00      0.00%         0.00        5,136.08    52.80%     -5,136.08
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Other                                                         0.00     0.00%           0.00      0.00%         0.00            0.00     0.00%          0.00
        21,754.11      7.67%    27,621.90   11.16%    -5,867.79       38,763.85     17.22%       -17,009.74   Franchise Fees                                           42,638.05     2.72%     131,411.39     11.18%   -88,773.34      116,593.45    14.37%    -73,955.40
        17,966.08      6.34%    10,316.32    4.17%     7,649.76       10,457.06      4.64%         7,509.02   A&G                                                      85,724.92     5.47%      58,203.91      4.95%    27,521.01       51,266.67     6.32%     34,458.25
         5,599.98      1.98%     4,515.70    1.82%     1,084.28            0.00      0.00%         5,599.98   IT                                                       22,376.10     1.43%      16,498.50      1.40%     5,877.60            0.00     0.00%     22,376.10
         2,015.10      0.71%     6,732.32    2.72%    -4,717.22        3,874.00      1.72%        -1,858.90   S&M                                                      21,445.42     1.37%      27,339.17      2.32%    -5,893.75       23,337.23     2.88%     -1,891.81
        11,738.15      4.14%     8,693.44    3.51%     3,044.71        8,822.48      3.92%         2,915.67   R&M                                                      34,664.04     2.21%      40,854.20      3.47%    -6,190.16       34,554.97     4.26%        109.07
        13,228.79      4.67%    13,854.40    5.60%      -625.61        8,394.15      3.73%         4,834.64   Utilities                                                61,844.34     3.95%      63,952.00      5.44%    -2,107.66       45,867.01     5.65%     15,977.33

       134,851.42     47.57%    99,728.47   40.30%    35,122.95       97,643.85     43.36%        37,207.57   Total Direct Expense                                    556,919.06    35.56%     472,382.26     40.17%    84,536.80      417,129.61    51.42%    139,789.45

       100,742.43     35.54%    65,674.43   26.54%    35,068.00       92,083.41     40.89%         8,659.02   Gross Operating Profit                                  785,608.56    50.16%     273,905.24     23.29%   511,703.32      262,846.33    32.40%    522,762.23

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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance




                                                                                                           Fixed Costs
        16,226.00      5.72%    16,226.00    6.56%        0.00      16,226.00      7.21%           0.00    Taxes                                                    81,130.00   5.18%     92,805.81      7.89%   -11,675.81      90,600.81    11.17%    -9,470.81
         6,664.58      2.35%     7,808.42    3.16%   -1,143.84       6,617.14      2.94%          47.44    Insurance                                                35,349.67   2.26%     39,042.10      3.32%    -3,692.43      33,085.70     4.08%     2,263.97
        28,904.00     10.20%    28,904.00   11.68%        0.00      28,131.00     12.49%         773.00    Leases & Rent                                           144,520.00   9.23%    144,520.00     12.29%         0.00     140,655.00    17.34%     3,865.00
         9,004.72      3.18%     7,424.69    3.00%    1,580.03       7,249.11      3.22%       1,755.61    Management Fees                                          49,482.43   3.16%     35,277.41      3.00%    14,205.02      30,122.18     3.71%    19,360.25

        60,799.30     21.45%    60,363.11   24.39%     436.19       58,223.25     25.86%       2,576.05    Total Fixed Expenses                                    310,482.10   19.83%   311,645.32     26.50%    -1,163.22     294,463.69    36.30%    16,018.41

        39,943.13     14.09%     5,311.32   2.15%    34,631.81      33,860.16     15.04%       6,082.97    Net Operating Profit                                    475,126.46   30.34%   -37,740.08     -3.21%   512,866.54     -31,617.36    -3.90%   506,743.82



             0.00      0.00%         0.00   0.00%         0.00           0.00      0.00%           0.00    Owner's Expense                                               0.00   0.00%          0.00     0.00%          0.00         949.16    0.12%       -949.16



        39,943.13     14.09%     5,311.32   2.15%    34,631.81      33,860.16     15.04%       6,082.97    Net Operating Income                                    475,126.46   30.34%   -37,740.08     -3.21%   512,866.54     -32,566.52    -4.01%   507,692.98

             0.00      0.00%         0.00   0.00%         0.00           0.00      0.00%           0.00    Capital Reserve                                          14,352.60   0.92%          0.00     0.00%     14,352.60      12,673.70    1.56%      1,678.90

        39,943.13     14.09%     5,311.32   2.15%    34,631.81      33,860.16     15.04%       6,082.97    Adjusted NOI                                            460,773.86   29.42%   -37,740.08     -3.21%   498,513.94     -45,240.22    -5.58%   506,014.08




        39,943.13     14.09%     5,311.32   2.15%    34,631.81      33,860.16     15.04%       6,082.97    Net Profit/(Loss)                                       460,773.86   29.42%   -37,740.08     -3.21%   498,513.94     -45,240.22    -5.58%   506,014.08




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                                                                                               Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget      %         Variance   PTD Last Year     %             Variance                                                                 YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
             0.00      0.00%     7,347.00      3.00%    -7,347.00      24,394.34     10.98%       -24,394.34   Corporate Transient                                      16,375.84     1.06%     131,449.00     11.28%   -115,073.16      32,534.14     4.06%   -16,158.30
        56,976.20     20.38%    57,722.00     23.55%      -745.80      36,699.82     16.52%        20,276.38   Advanced Purchase                                       315,476.50    20.39%     200,284.00     17.19%    115,192.50     169,532.67    21.15%   145,943.83
        27,798.25      9.94%    21,594.60      8.81%     6,203.65      14,923.00      6.72%        12,875.25   Qualified Discounts                                     157,516.95    10.18%      86,444.00      7.42%     71,072.95      67,472.70     8.42%    90,044.25
             0.00      0.00%         0.00      0.00%         0.00           0.00      0.00%             0.00   FIT(Flexible Independent Travel)                              0.00     0.00%       7,476.00      0.64%     -7,476.00           0.00     0.00%         0.00
         2,970.00      1.06%     3,534.00      1.44%      -564.00       2,866.00      1.29%           104.00   Employee                                                 13,654.50     0.88%      13,412.92      1.15%        241.58      17,242.96     2.15%    -3,588.46
         1,674.25      0.60%       249.00      0.10%     1,425.25         248.10      0.11%         1,426.15   Travel Agent/Friends & Family                             5,601.75     0.36%       1,595.84      0.14%      4,005.91       1,152.75     0.14%     4,449.00
         2,140.00      0.77%         0.00      0.00%     2,140.00         357.00      0.16%         1,783.00   Leisure Package Transient                                 3,429.15     0.22%           0.00      0.00%      3,429.15         669.00     0.08%     2,760.15
        14,520.00      5.19%     9,424.00      3.84%     5,096.00      11,115.00      5.00%         3,405.00   Member Reward Stay                                       74,710.02     4.83%      39,118.00      3.36%     35,592.02      50,490.00     6.30%    24,220.02
             0.00      0.00%    14,756.00      6.02%   -14,756.00         984.00      0.44%          -984.00   Non Qualified Discounts                                   6,147.01     0.40%      17,726.00      1.52%    -11,578.99       1,804.00     0.23%     4,343.01
        50,703.93     18.13%         0.00      0.00%    50,703.93           0.00      0.00%        50,703.93   Internet/E-Commerce                                     194,848.85    12.59%      22,960.00      1.97%    171,888.85      13,276.77     1.66%   181,572.08
           469.95      0.17%    19,592.00      7.99%   -19,122.05      19,092.99      8.60%       -18,623.04   E-Commerce Opaque                                         3,568.99     0.23%      59,573.00      5.11%    -56,004.01      68,327.62     8.53%   -64,758.63
             0.00      0.00%         0.00      0.00%         0.00           0.00      0.00%             0.00   Other Transient                                               0.00     0.00%           0.00      0.00%          0.00       3,604.61     0.45%    -3,604.61
         4,384.00      1.57%     5,704.00      2.33%    -1,320.00       5,776.00      2.60%        -1,392.00   Government Transient                                     93,887.00     6.07%      46,581.00      4.00%     47,306.00      16,059.15     2.00%    77,827.85
        72,030.05     25.76%    74,400.00     30.35%    -2,369.95      72,403.73     32.60%          -373.68   Rack Transient                                          391,575.92    25.31%     336,835.00     28.91%     54,740.92     216,144.70    26.97%   175,431.22
             0.00      0.00%         0.00      0.00%         0.00           0.00      0.00%             0.00   Local Negotiated Transient                                    0.00     0.00%           0.00      0.00%          0.00       1,687.85     0.21%    -1,687.85

      233,666.63     83.57%    214,322.60    87.43%    19,344.03     188,859.98      85.03%       44,806.65    Total Transient Room Revenue                          1,276,792.48   82.51%     963,454.76    82.70%     313,337.72     659,998.92     82.35%   616,793.56

                                                                                                               Group Room Revenue
         6,747.00      2.41%        100.00     0.04%     6,647.00       6,175.00      2.78%          572.00    Corporate Group                                         101,783.00     6.58%      24,995.00     2.15%      76,788.00      55,454.05     6.92%    46,328.95
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00    Tour & Travel Group                                           0.00     0.00%      35,636.00     3.06%     -35,636.00           0.00     0.00%         0.00
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00    SMERF Group                                                 149.00     0.01%      19,995.00     1.72%     -19,846.00           0.00     0.00%       149.00
             0.00      0.00%      2,814.00     1.15%    -2,814.00           0.00      0.00%            0.00    Sports Group                                                129.00     0.01%      41,182.00     3.54%     -41,053.00           0.00     0.00%       129.00

        6,747.00      2.41%      2,914.00     1.19%     3,833.00       6,175.00       2.78%          572.00    Total Group Room Revenue                               102,061.00     6.60%     121,808.00    10.46%     -19,747.00      55,454.05     6.92%     46,606.95

                                                                                                               Contract Room Revenue
        41,890.58     14.98%    27,900.00     11.38%   13,990.58       26,927.59     12.12%        14,962.99   Other Contract                                          177,953.54    11.50%      79,694.00     6.84%     98,259.54       83,537.24    10.42%    94,416.30

       41,890.58     14.98%     27,900.00    11.38%    13,990.58      26,927.59      12.12%       14,962.99    Total Contract Room Revenue                            177,953.54    11.50%      79,694.00      6.84%     98,259.54      83,537.24     10.42%    94,416.30

                                                                                                               Other Room Revenue
             0.00      0.00%          0.00     0.00%        0.00          740.53      0.33%          -740.53   No-Show Rooms                                                23.28     0.00%           0.00     0.00%         23.28        2,418.76     0.30%     -2,395.48
             0.00      0.00%          0.00     0.00%        0.00            0.00      0.00%             0.00   Early/Late Departure Fees                                   349.30     0.02%           0.00     0.00%        349.30            0.00     0.00%        349.30

             0.00     0.00%          0.00     0.00%         0.00         740.53       0.33%         -740.53    Total Other Room Revenue                                   372.58     0.02%           0.00      0.00%        372.58       2,418.76     0.30%     -2,046.18

        -2,687.73     -0.96%          0.00     0.00%    -2,687.73        -592.52      -0.27%       -2,095.21   Less: Allowances                                         -9,804.51    -0.63%           0.00     0.00%      -9,804.51          23.93     0.00%     -9,828.44

      279,616.48    100.00%    245,136.60    100.00%   34,479.88     222,110.58     100.00%       57,505.90    Total Room Revenue                                    1,547,375.09   100.00%   1,164,956.76 100.00%      382,418.33     801,432.90 100.00%      745,942.19

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00     0.00%           0.00    0.00%          0.00           0.00      0.00%             0.00   Total Rooms Management                                        0.00    0.00%            0.00     0.00%           0.00           0.00    0.00%           0.00
         1,541.57      0.55%      7,936.00     3.24%    -6,394.43       6,791.94       3.06%       -5,250.37   Front Office Agents                                      37,335.05     2.41%      38,656.00      3.32%     -1,320.95      25,780.81     3.22%     11,554.24
           334.26      0.12%          0.00     0.00%       334.26           0.00       0.00%          334.26   Front Office Agents Overtime                                334.26     0.02%           0.00      0.00%        334.26           0.00     0.00%        334.26
         2,362.50      0.84%      2,657.14     1.08%      -294.64           0.00       0.00%        2,362.50   Front Office Supervisors                                  5,132.68     0.33%      12,942.85      1.11%     -7,810.17           0.00     0.00%      5,132.68
            12.04      0.00%          0.00     0.00%        12.04           0.00       0.00%           12.04   Front Office Supervisors Overtime                            12.04     0.00%           0.00      0.00%         12.04           0.00     0.00%         12.04
         3,440.00      1.23%      3,596.00     1.47%      -156.00           0.00       0.00%        3,440.00   Night Auditors                                            3,440.00     0.22%      17,516.00      1.50%    -14,076.00           0.00     0.00%      3,440.00
           115.12      0.04%          0.00     0.00%       115.12           0.00       0.00%          115.12   Night Auditors Overtime                                     115.12     0.01%           0.00      0.00%        115.12           0.00     0.00%        115.12
         2,486.25      0.89%      3,720.00     1.52%    -1,233.75           0.00       0.00%        2,486.25   Breakfast Attendant                                       7,156.85     0.46%      18,120.00      1.56%    -10,963.15           0.00     0.00%      7,156.85
           220.19      0.08%          0.00     0.00%       220.19           0.00       0.00%          220.19   Breakfast Attendant Overtime                                220.19     0.01%           0.00      0.00%        220.19           0.00     0.00%        220.19
       10,511.93      3.76%     17,909.14     7.31%    -7,397.21       6,791.94       3.06%        3,719.99    Total Rooms Front Office                                53,746.19     3.47%      87,234.85      7.49%    -33,488.66      25,780.81     3.22%     27,965.38
         2,442.06      0.87%      2,834.29     1.16%      -392.23           0.00       0.00%        2,442.06   Housekeeping Supervisors                                  7,490.36     0.48%      13,805.73      1.19%     -6,315.37           0.00     0.00%      7,490.36
         1,413.54      0.51%          0.00     0.00%     1,413.54           0.00       0.00%        1,413.54   Housekeeping Supervisors Overtime                         1,413.54     0.09%           0.00      0.00%      1,413.54           0.00     0.00%      1,413.54
         1,184.86      0.42%     13,854.40     5.65%   -12,669.54       1,098.04       0.49%           86.82   Room Attendants                                           9,776.88     0.63%      63,952.00      5.49%    -54,175.12       1,098.04     0.14%      8,678.84
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                                                                                                Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                                        P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD     %        PTD Budget     %           Variance   PTD Last Year     %             Variance                                                                  YTD     %        YTD Budget %                Variance   YTD Last Year    %          Variance

            27.86      0.01%          0.00     0.00%         27.86          0.00        0.00%           27.86   Room Attendants Overtime                                     27.86     0.00%           0.00     0.00%          27.86          0.00      0.00%         27.86
          -277.64     -0.10%      3,472.00     1.42%     -3,749.64          0.00        0.00%         -277.64   Housepersons                                                299.00     0.02%      16,912.00     1.45%     -16,613.00          0.00      0.00%        299.00
          -209.46     -0.07%      3,472.00     1.42%     -3,681.46          0.00        0.00%         -209.46   Public Area Attendants                                    2,749.50     0.18%      16,912.00     1.45%     -14,162.50          0.00      0.00%      2,749.50
           828.75      0.30%      3,472.00     1.42%     -2,643.25          0.00        0.00%          828.75   Laundry Attendants                                          828.75     0.05%      16,912.00     1.45%     -16,083.25          0.00      0.00%        828.75
        5,409.97      1.93%     27,104.69    11.06%    -21,694.72       1,098.04       0.49%        4,311.93    Total Rooms Housekeeping                                22,585.89     1.46%     128,493.73    11.03%    -105,907.84       1,098.04     0.14%     21,487.85

       15,921.90      5.69%     45,013.83    18.36%    -29,091.93       7,889.98       3.55%        8,031.92    Total Rooms Salary and Wages                            76,332.08     4.93%     215,728.58    18.52%    -139,396.50      26,878.85     3.35%     49,453.23

                                                                                                                PR Taxes and Benefits
         1,226.17      0.44%      3,477.49     1.42%     -2,251.32         590.70       0.27%          635.47   FICA                                                       5,780.46     0.37%     16,573.66     1.42%     -10,793.20       2,043.34     0.25%      3,737.12
            36.25      0.01%         40.91     0.02%         -4.66          22.56       0.01%           13.69   Federal Unemployment Tax                                     217.61     0.01%        590.60     0.05%        -372.99          87.59     0.01%        130.02
           163.12      0.06%        245.47     0.10%        -82.35         101.50       0.05%           61.62   State Unemployment Tax                                       979.34     0.06%      4,994.70     0.43%      -4,015.36         394.12     0.05%        585.22
        1,425.54      0.51%      3,763.87     1.54%     -2,338.33         714.76       0.32%          710.78    Total Payroll Taxes                                       6,977.41     0.45%     22,158.96     1.90%     -15,181.55       2,525.05     0.32%      4,452.36
             0.00      0.00%        432.00     0.18%       -432.00           0.00       0.00%            0.00   Holiday                                                        0.00     0.00%        864.00     0.07%        -864.00           0.00     0.00%          0.00
             0.00      0.00%          6.00     0.00%         -6.00           0.00       0.00%            0.00   Vacation                                                       0.00     0.00%         30.00     0.00%         -30.00           0.00     0.00%          0.00
             0.00      0.00%        112.00     0.05%       -112.00           0.00       0.00%            0.00   Sick Pay                                                       0.00     0.00%        560.00     0.05%        -560.00           0.00     0.00%          0.00
             0.00     0.00%        550.00     0.22%       -550.00            0.00      0.00%             0.00   Total Supplemental Pay                                         0.00    0.00%      1,454.00     0.12%      -1,454.00            0.00    0.00%           0.00
         1,736.83      0.62%      2,956.48     1.21%     -1,219.65       1,687.45       0.76%           49.38   Worker's Compensation                                       -134.06    -0.01%     13,793.67     1.18%     -13,927.73       5,101.33     0.64%     -5,235.39
             0.00      0.00%      1,625.00     0.66%     -1,625.00       3,083.80       1.39%       -3,083.80   Group Insurance                                                0.00     0.00%      8,125.00     0.70%      -8,125.00       3,208.78     0.40%     -3,208.78
        1,736.83      0.62%      4,581.48     1.87%     -2,844.65       4,771.25       2.15%       -3,034.42    Total Other Benefits                                       -134.06    -0.01%     21,918.67     1.88%     -22,052.73       8,310.11     1.04%     -8,444.17

        3,162.37      1.13%      8,895.35     3.63%     -5,732.98       5,486.01       2.47%       -2,323.64    Total Rooms PR Taxes and Benefits                         6,843.35    0.44%      45,531.63     3.91%     -38,688.28      10,835.16     1.35%     -3,991.81

       19,084.27      6.83%     53,909.18    21.99%    -34,824.91      13,375.99       6.02%        5,708.28    Total Rooms Labor Costs                                 83,175.43     5.38%     261,260.21    22.43%    -178,084.78      37,714.01     4.71%     45,461.42

                                                                                                                Other Expenses
        12,896.59      4.61%    11,751.50     4.79%      1,145.09        5,927.04      2.67%         6,969.55   Breakfast /Comp Cost                                     60,127.81     3.89%      54,245.00    4.66%       5,882.81       27,345.56     3.41%    32,782.25
           534.51      0.19%     1,979.20     0.81%     -1,444.69          283.12      0.13%           251.39   Cleaning Supplies                                         5,798.71     0.37%       9,136.00    0.78%      -3,337.29        3,370.55     0.42%     2,428.16
             0.00      0.00%         0.00     0.00%          0.00            0.00      0.00%             0.00   Contract Cleaning                                         2,770.00     0.18%         969.00    0.08%       1,801.00            0.00     0.00%     2,770.00
        31,918.60     11.42%         0.00     0.00%     31,918.60       13,860.49      6.24%        18,058.11   Contract Labor                                          139,775.42     9.03%           0.00    0.00%     139,775.42       73,790.06     9.21%    65,985.36
             0.00      0.00%         0.00     0.00%          0.00            0.00      0.00%             0.00   Decorations & Plants                                        125.57     0.01%           0.00    0.00%         125.57            0.00     0.00%       125.57
            44.73      0.02%        44.73     0.02%          0.00           44.73      0.02%             0.00   Dues and Subscriptions                                      764.73     0.05%         223.65    0.02%         541.08           44.73     0.01%       720.00
             0.00      0.00%        33.40     0.01%        -33.40            0.00      0.00%             0.00   Equipment Rental                                              0.00     0.00%         167.00    0.01%        -167.00            0.00     0.00%         0.00
           -79.32     -0.03%         0.00     0.00%        -79.32            0.00      0.00%           -79.32   Guest Loss/Damage                                             0.00     0.00%           0.00    0.00%           0.00            0.00     0.00%         0.00
         2,837.09      1.01%     2,968.80     1.21%       -131.71          341.97      0.15%         2,495.12   Guest Supplies                                           14,136.77     0.91%      13,704.00    1.18%         432.77        5,150.70     0.64%     8,986.07
           774.99      0.28%       742.20     0.30%         32.79          135.54      0.06%           639.45   Laundry                                                   3,290.90     0.21%       3,426.00    0.29%        -135.10        1,724.15     0.22%     1,566.75
           808.95      0.29%     2,078.16     0.85%     -1,269.21            0.00      0.00%           808.95   Linen                                                    10,279.87     0.66%       9,592.80    0.82%         687.07        2,257.63     0.28%     8,022.24
            50.00      0.02%        30.00     0.01%         20.00            0.00      0.00%            50.00   Meals and Entertainment                                      72.37     0.00%         150.00    0.01%         -77.63            0.00     0.00%        72.37
           433.06      0.15%         0.00     0.00%        433.06           79.97      0.04%           353.09   Miscellaneous Expense                                       533.06     0.03%           0.00    0.00%         533.06           79.97     0.01%       453.09
         2,061.83      0.74%       989.60     0.40%      1,072.23            0.00      0.00%         2,061.83   Operating Supplies                                        5,960.23     0.39%       5,368.00    0.46%         592.23            0.00     0.00%     5,960.23
             0.00      0.00%       148.44     0.06%       -148.44            0.00      0.00%             0.00   Printing and Stationery                                       0.00     0.00%         685.20    0.06%        -685.20           25.08     0.00%       -25.08
           232.22      0.08%     1,093.76     0.45%       -861.54            0.00      0.00%           232.22   Reservation Expense                                       1,625.95     0.11%       5,240.80    0.45%      -3,614.85            0.00     0.00%     1,625.95
             0.00      0.00%       123.70     0.05%       -123.70            0.00      0.00%             0.00   Rooms Promotion                                               0.00     0.00%         571.00    0.05%        -571.00            0.00     0.00%         0.00
         1,917.19      0.69%     1,858.01     0.76%         59.18        1,858.01      0.84%            59.18   Television Cable                                          9,601.25     0.62%       9,290.05    0.80%         311.20        9,313.82     1.16%       287.43
             0.00      0.00%         0.00     0.00%          0.00            0.00      0.00%             0.00   Transportation                                                6.90     0.00%           0.00    0.00%           6.90            0.00     0.00%         6.90
         2,847.82      1.02%        58.28     0.02%      2,789.54          542.80      0.24%         2,305.02   Travel Agent Comm - Group Rooms                           9,666.85     0.62%       2,436.16    0.21%       7,230.69        5,150.24     0.64%     4,516.61
         5,270.95      1.89%     3,894.61     1.59%      1,376.34        3,300.00      1.49%         1,970.95   Travel Agent Comm - Transient Rooms                      21,088.66     1.36%      17,618.43    1.51%       3,470.23       12,121.71     1.51%     8,966.95
             0.00      0.00%       200.00     0.08%       -200.00            0.00      0.00%             0.00   Uniforms                                                    549.30     0.04%       1,300.00    0.11%        -750.70            0.00     0.00%       549.30
             0.00      0.00%         0.00     0.00%          0.00            0.00      0.00%             0.00   Walked Guests                                             2,051.84     0.13%           0.00    0.00%       2,051.84            0.00     0.00%     2,051.84

       62,549.21     22.37%     27,994.39    11.42%    34,554.82       26,373.67      11.87%       36,175.54    Total Rooms Other Expenses                             288,226.19     18.63%    134,123.09    11.51%    154,103.10      140,374.20     17.52%   147,851.99

       81,633.48     29.19%     81,903.57    33.41%       -270.09      39,749.66      17.90%       41,883.82    Total Rooms Expenses                                   371,401.62     24.00%    395,383.30    33.94%     -23,981.68     178,088.21     22.22%   193,313.41

      197,983.00     70.81%    163,233.03    66.59%    34,749.97      182,360.92      82.10%       15,622.08    Total Rooms Profit (Loss)                             1,175,973.47    76.00%    769,573.46    66.06%    406,400.01      623,344.69     77.78%   552,628.78




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                                                                              Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                      P&L - Dual Summary Pages
                                                                                                           As of 5/31/2022
              PTD     %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                 YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
             0.00               93.00        -93.00            0.00                   0.00    Room Stat - Corporate Transient                             115.00         1,591.00     -1,476.00         152.00           -37.00
           501.00              434.00         67.00          494.00                   7.00    Room Stat - Advanced Purchase                             2,296.00         1,592.00        704.00       1,999.00           297.00
           249.00                0.00        249.00          195.00                  54.00    Room Stat - Qualified Discounts                           1,157.00             0.00      1,157.00         787.00           370.00
             0.00                0.00          0.00            0.00                   0.00    Room Stat - FIT(Flexible Independent Travel)                  0.00            84.00        -84.00           0.00             0.00
            66.00               93.00        -27.00           79.00                 -13.00    Room Stat - Employee                                        281.00           337.00        -56.00         446.00          -165.00
             0.00                0.00          0.00            3.00                  -3.00    Room Stat - Leisure Transient                                 0.00             0.00          0.00           6.00            -6.00
            14.00                0.00         14.00            0.00                  14.00    Room Stat - Package Transient                                23.00             0.00         23.00           0.00            23.00
            19.00                3.00         16.00            3.00                  16.00    Room Stat - Travel Agent/Friends & Family                    64.00            16.00         48.00          12.00            52.00
           438.00              248.00        190.00          323.00                 115.00    Room Stat - Member Reward Stay                            2,267.00           934.00      1,333.00       1,197.00         1,070.00
             0.00                0.00          0.00            6.00                  -6.00    Room Stat - Non-Qualified Discounts                          50.00             0.00         50.00          11.00            39.00
           457.00                0.00        457.00            0.00                 457.00    Room Stat - Internet                                      1,422.00           164.00      1,258.00         189.00         1,233.00
             0.00                0.00          0.00            0.00                   0.00    Room Stat - Other Transient                                   0.00             0.00          0.00          28.00           -28.00
             7.00              248.00       -241.00          243.00                -236.00    Room Stat - E-Commerce Opaque                                54.00           773.00       -719.00         765.00          -711.00
            34.00               62.00        -28.00           64.00                 -30.00    Room Stat - Government Rate Transient                       691.00           415.00        276.00         137.00           554.00
           585.00              496.00         89.00          498.00                  87.00    Room Stat - Rack Rate Transient                           2,608.00         2,345.00        263.00       1,923.00           685.00
        2,370.00            1,677.00        693.00        1,908.00                 462.00     Total Transient Rooms Sold                              11,028.00         8,251.00      2,777.00       7,652.00         3,376.00

                                                                                              Group Rooms
           53.00                1.00          52.00           56.00                   -3.00   Room Stat - Corporate Group Rooms                           720.00           191.00        529.00         573.00          147.00
            0.00                0.00           0.00            0.00                    0.00   Room Stat - Tour & Travel Group                               0.00           472.00       -472.00           0.00            0.00
            0.00                0.00           0.00            0.00                    0.00   Room Stat - SMERF Group                                       1.00           155.00       -154.00           0.00            1.00
            0.00               21.00         -21.00            0.00                    0.00   Room Stat - Sports Group                                      1.00           282.00       -281.00           0.00            1.00
           53.00               22.00         31.00            56.00                  -3.00    Total Group Rooms Sold                                     722.00         1,100.00       -378.00         573.00          149.00

                                                                                              Contract Rooms
           519.00              465.00         54.00          467.00                  52.00    Room Stat - Other Contract                                2,009.00         1,157.00       852.00        1,242.00          767.00
          519.00              465.00          54.00         467.00                   52.00    Total Contract Rooms Sold                                2,009.00         1,157.00       852.00        1,242.00          767.00

        2,942.00            2,164.00        778.00        2,431.00                 511.00     Total Rooms Sold                                        13,759.00        10,508.00      3,251.00       9,467.00         4,292.00
            0.00                0.00          0.00            7.00                   -7.00    Room Stat - Comp Rooms                                       3.00             0.00          3.00            9.00            -6.00
        2,942.00            2,164.00        778.00        2,438.00                 504.00     Total Rooms Occupied                                    13,762.00        10,508.00      3,254.00       9,476.00         4,286.00
           10.00                0.00         10.00           44.00                  -34.00    Room Stat - Out of Order                                    64.00             0.00         64.00          158.00           -94.00

                                                                                              ADR
             0.00               79.00         -79.00           0.00                    0.00   Corporate Transient ADR                                     142.40            82.62        59.78          214.04          -71.64
           113.72              133.00         -19.28          74.29                  39.43    Advanced Purchase ADR                                       137.40           125.81        11.60           84.81           52.59
           111.64                0.00        111.64           76.53                  35.11    Qualified Discount ADR                                      136.14             0.00       136.14           85.73           50.41
             0.00                0.00           0.00           0.00                    0.00   FIT ADR                                                       0.00            89.00       -89.00            0.00             0.00
             0.00                0.00           0.00           0.00                    0.00   Consortia ADR                                                 0.00             0.00          0.00           0.00             0.00
            45.00               38.00           7.00          36.28                    8.72   Employee ADR                                                 48.59            39.80          8.79          38.66             9.93
             0.00                0.00           0.00           0.00                    0.00   Leisure ADR                                                   0.00             0.00          0.00           0.00             0.00
            88.12               83.00           5.12          82.70                    5.42   Travel Agent/Friends & Family ADR                            87.53            99.74       -12.21           96.06            -8.54
             0.00                0.00           0.00         119.00                -119.00    Leisure Package ADR                                           0.00             0.00          0.00         111.50         -111.50
            33.15               38.00          -4.85          34.41                   -1.26   Member Reward Stay ADR                                       32.96            41.88         -8.93          42.18            -9.22
             0.00                0.00           0.00           0.00                    0.00   Golf Pkg ADR                                                  0.00             0.00          0.00           0.00             0.00
             0.00                0.00           0.00         164.00                -164.00    Non Qualified ADR                                           122.94             0.00       122.94          164.00          -41.06
           110.95                0.00        110.95            0.00                 110.95    Internet ADR                                                137.02           140.00         -2.98          70.25           66.78
            67.14               79.00         -11.86          78.57                 -11.44    E-Commerce Opaque ADR                                        66.09            77.07       -10.97           89.32          -23.22
             0.00                0.00           0.00           0.00                    0.00   Other Transient ADR                                           0.00             0.00          0.00         128.74         -128.74
             0.00                0.00           0.00           0.00                    0.00   Airline Distressed Passenger ADR                              0.00             0.00          0.00           0.00             0.00
           128.94               92.00          36.94          90.25                  38.69    Government ADR                                              135.87           112.24        23.63          117.22           18.65
           123.13              150.00         -26.87         145.39                 -22.26    Rack ADR                                                    150.14           143.64          6.50         112.40           37.74
             0.00                0.00           0.00           0.00                    0.00   Local Negotiated ADR                                          0.00             0.00          0.00           0.00             0.00
            98.59             127.80         -29.21           98.98                  -0.39    Total Transient ADR                                        115.78           116.77         -0.99           86.25           29.53

           127.30             100.00          27.30          110.27                  17.03    Corporate Group ADR                                        141.37           130.86         10.50           96.78           44.59
             0.00               0.00           0.00            0.00                   0.00    Leisure Group ADR                                            0.00             0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                   0.00    Government Group ADR                                         0.00             0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                   0.00    Tour & Travel Group ADR                                      0.00            75.50        -75.50            0.00            0.00
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                                                                              Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                      P&L - Dual Summary Pages
                                                                                                           As of 5/31/2022
              PTD     %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                 YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                 0.00          0.00           0.00                    0.00    Association Group ADR                                         0.00             0.00        0.00            0.00           0.00
            0.00                 0.00          0.00           0.00                    0.00    City Wide Group ADR                                           0.00             0.00        0.00            0.00           0.00
            0.00                 0.00          0.00           0.00                    0.00    SMERF Group ADR                                             149.00           129.00       20.00            0.00         149.00
            0.00               134.00       -134.00           0.00                    0.00    Sports Group ADR                                            129.00           146.04      -17.04            0.00         129.00
            0.00                 0.00          0.00           0.00                    0.00    Other Group ADR                                               0.00             0.00        0.00            0.00           0.00
          127.30              132.45          -5.15         110.27                   17.03    Total Group ADR                                            141.36           110.73       30.62            96.78          44.58

            0.00                0.00           0.00            0.00                   0.00    Airline Crew ADR                                             0.00             0.00         0.00            0.00           0.00
           80.71               60.00          20.71           57.66                  23.05    Other Contract ADR                                          88.58            68.88        19.70           67.26          21.32
           80.71               60.00          20.71           57.66                  23.05    Total Contract ADR                                          88.58            68.88        19.70           67.26          21.32

           95.04              113.28         -18.24           91.37                   3.68    Total ADR                                                  112.46           110.86         1.60           84.66          27.81




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                                                                                           Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           F&B Summary
                                                                                                           Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Food Revenue                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Food Revenue                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Beverage Revenue                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Beverage Revenue                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Other Revenue                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Other Revenue                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Revenue                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Food Purchases                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Beverage Purchases                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Cedit Employee Meals                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Credit House Charges                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Credit In-House Promotions                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Audio Visual Cost of Sales                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Other Cost of Sales                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Cost of Sales                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    F&B Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll
                                                                                                           Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Management                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Non-Management                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Salaries and Wages                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Payroll Taxes                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Supplemental Pay                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Other Benefits                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B PR Taxes and Benefits                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Payroll                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Audio Visual Supplies                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Banquet Expense                                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Bar Expense/Promos                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Bar Supplies                                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    China                                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Cleaning Supplies                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Communication Expense                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Contract Cleaning                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Contract Labor                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Decorations & Plants                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Dues and Subscriptions                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Equipment Rental                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Food and Beverage Advertising                                0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Glassware                                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Loss/Damage                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Supplies                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    In-House Entertainment                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen/Cooking Fuel                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen Equipment                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Laundry - Outside Expense                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Laundry Allocation                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Licenses/Permits                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Linen                                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Linen Rental                                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Maintenance Contracts                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Meals and Entertainment                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Menus                                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Miscellaneous Expense                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Music and Entertainment                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Office Equipment                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Office Supplies                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Operating Supplies                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Paper/Plastic Supplies                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Printing and Stationery                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Silverware                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Software Expense/Maintenance                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Television Cable                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Training                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Travel                                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Uniforms                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Utensils                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Other Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Expenses                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Profit (Loss)                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                 YTD   %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Room Service
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Room Service Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Room Service Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Banquets
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Banquets Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Banquets Avg Check                                           0.00            0.00         0.00            0.00           0.00

                                                                                              Catering
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Catering Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Catering Avg Check                                           0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                0.00          0.00            0.00                   0.00    Breakfast Avg Check                                          0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Lunch Avg Check                                              0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Dinner Avg Check                                             0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Brunch Avg Check                                             0.00             0.00        0.00            0.00           0.00
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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                 YTD   %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Bar 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                              0.00            0.00         0.00            0.00           0.00

                                                                                              Bar 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                              0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                   0.00    Total Covers                                                 0.00            0.00         0.00            0.00           0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                                 YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Cost of Sales                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Management                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Non-Management                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %       Variance   PTD Last Year     %            Variance                                                                 YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Less Adjustments                                             0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Revenue                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Cost of Sales                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Other Expenses                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Room Service
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Other Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Banquets
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Banquets Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Banquets Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Management                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                       0.00    Total Banquets Salaries and Wages                            0.00                 0.00                  0.00            0.00                0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                       0.00    Total Banquet Benefits                                       0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Catering
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Gross Profit                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Management                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Payroll Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 4 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restauarnt 4 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 1 Food Revenue                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 1 Beverage Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Other Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Cost of Sales                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Non-Management                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Salaries and Wages                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 PR Taxes and Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Payroll                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Other Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Expenses                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Profit (Loss)                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 2 Food Revenue                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 2 Beverage Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Other Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Cost of Sales                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Non-Management                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Salaries and Wages                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 PR Taxes and Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Payroll                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Other Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Expenses                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Profit (Loss)                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                                 YTD   %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                           Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Telephone Revenue                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Telephone Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

                                                                                                           Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00          880.51       0.00%         -880.51   Cost of Sales - Local Calls                                  0.00    0.00%        0.00       0.00%      0.00        3,609.79     0.00%    -3,609.79
             0.00     0.00%         0.00    0.00%       0.00         880.51       0.00%         -880.51    Total Telephone Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00       3,609.79     0.00%    -3,609.79

             0.00     0.00%         0.00    0.00%       0.00        -880.51       0.00%         880.51     Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00      -3,609.79     0.00%    3,609.79

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%      0.00          958.64       0.00%         -958.64   Internet/Web Expense                                         0.00    0.00%        0.00       0.00%      0.00        5,136.08     0.00%    -5,136.08
             0.00     0.00%         0.00    0.00%       0.00         958.64       0.00%         -958.64    Total Telephone Other Expenses                               0.00   0.00%         0.00      0.00%       0.00       5,136.08     0.00%    -5,136.08

             0.00     0.00%         0.00    0.00%       0.00      -1,839.15       0.00%        1,839.15    Total Telephone Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00      -8,745.87     0.00%    8,745.87




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %             Variance                                                                 YTD     %        YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                             Minor Operating
                                                                                                             Income
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%            0.00    Total Rental Income                                           0.00    0.00%          0.00    0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00    Vending Commissions Other                                     0.00     0.00%         0.00     0.00%        0.00         830.50      8.54%     -830.50
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%            0.00    Total Vending Commission Income                               0.00    0.00%          0.00    0.00%         0.00        830.50      8.54%     -830.50
         1,283.00     33.12%       250.00    10.63%    1,033.00         647.05      21.13%         635.95    Cancellation Fee - Rooms                                  5,433.92    29.05%     1,250.00    11.41%    4,183.92       1,931.23     19.85%    3,502.69
        1,283.00     33.12%       250.00    10.63%    1,033.00         647.05      21.13%         635.95     Total Cancellation Fee Income                            5,433.92    29.05%     1,250.00    11.41%    4,183.92       1,931.23     19.85%    3,502.69
             0.00      0.00%       247.40    10.51%     -247.40           0.00       0.00%           0.00    Guest Laundry                                               770.75     4.12%     1,142.00    10.42%     -371.25           0.00      0.00%      770.75
            22.28      0.58%         0.00     0.00%       22.28           0.00       0.00%          22.28    In-Room Movie Revenue                                       155.96     0.83%         0.00     0.00%      155.96          89.12      0.92%       66.84
             0.00      0.00%         0.00     0.00%        0.00         144.00       4.70%        -144.00    Telephone Revenue                                             0.00     0.00%         0.00     0.00%        0.00         394.00      4.05%     -394.00
         2,568.79     66.31%     1,855.50    78.86%      713.29       2,271.02      74.17%         297.77    Gift Shop Sales                                          12,345.46    66.00%     8,565.00    78.17%    3,780.46       6,483.20     66.64%    5,862.26
        2,591.07     66.88%     2,102.90    89.37%      488.17       2,415.02      78.87%         176.05     Total Other Income                                      13,272.17    70.95%     9,707.00    88.59%    3,565.17       6,966.32     71.61%    6,305.85

        3,874.07    100.00%     2,352.90    100.00%   1,521.17       3,062.07     100.00%         812.00     Total Minor Operating Income                            18,706.09    100.00%   10,957.00 100.00%      7,749.09       9,728.05 100.00%       8,978.04

                                                                                                             Cost of Sales
             0.00      0.00%        61.85     2.63%     -61.85            2.00       0.07%          -2.00    Cost of Sales - Guest Laundry                                 0.00     0.00%       285.51     2.61%     -285.51           2.00      0.02%       -2.00
            20.28      0.52%         0.00     0.00%      20.28            0.00       0.00%          20.28    Cost of Sales - In-Room Movie Revenue                       191.34     1.02%         0.00     0.00%      191.34         194.36      2.00%       -3.02
         1,460.35     37.70%       927.75    39.43%     532.60          927.65      30.29%         532.70    Cost of Sales - Gift Shop                                 5,888.16    31.48%     4,282.51    39.08%    1,605.65       1,820.79     18.72%    4,067.37
        1,480.63     38.22%       989.60    42.06%     491.03          929.65      30.36%         550.98     Total Minor Operated Cost of Sales                       6,079.50    32.50%     4,568.02    41.69%    1,511.48       2,017.15     20.74%    4,062.35

        2,393.44     61.78%     1,363.30    57.94%    1,030.14       2,132.42      69.64%         261.02     Total Minor Operated Profit (Loss)                      12,626.59    67.50%     6,388.98    58.31%    6,237.61       7,710.90     79.26%    4,915.69




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                                 YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Revenue                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Non-Management                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Salaries and Wages                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade PR Taxes and Benefits                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Payroll                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Other Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Expenses                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Profit (Loss)                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                                 YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Revenue                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Management                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Non-Management                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Salaries and Wages                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark PR Taxes and Benefits                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Payroll                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Other Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Expenses                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Profit (Loss)                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget    %        Variance   PTD Last Year     %            Variance                                                                  YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           Franchise Fees
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Franchise Fees - IT Fees                                       0.00    0.00%         0.00     0.00%          0.00         355.15     0.04%       -355.15
        15,378.92      5.42%    12,256.83    4.95%    3,122.09      12,218.62      5.43%        3,160.30   Franchise Fees - Royalty & Licenses                       85,103.91    5.43%    58,247.84     4.95%     26,856.07      43,997.45     5.42%     41,106.46
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Franchise Fees - Other                                         0.00    0.00%         0.00     0.00%          0.00       3,984.80     0.49%     -3,984.80
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Franchise Fees - Reservations-GDS                              0.00    0.00%         0.00     0.00%          0.00         516.80     0.06%       -516.80
        -6,492.85     -2.29%     2,524.91    1.02%   -9,017.76      16,545.23      7.35%      -23,038.08   Franchise Fees - Frequent Guest                         -111,694.81   -7.13%    11,999.06     1.02%   -123,693.87      29,194.19     3.60%   -140,889.00
        12,868.04      4.54%    12,840.16    5.19%       27.88      10,000.00      4.44%        2,868.04   Franchise Fees - Marketing Contributions                  69,228.95    4.42%    61,164.49     5.20%      8,064.46      38,545.06     4.75%     30,683.89

       21,754.11      7.67%    27,621.90    11.16%   -5,867.79     38,763.85      17.22%     -17,009.74    Total Franchise Fees                                    42,638.05     2.72%    131,411.39   11.18%    -88,773.34     116,593.45     14.37%   -73,955.40




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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                                 YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         8,696.15      3.07%    10,382.61    4.20%    -1,686.46       5,187.02       2.30%        3,509.13   Management- A&G                                          49,671.37    3.17%     59,660.46     5.07%     -9,989.09      27,249.86      3.36%    22,421.51
        8,696.15      3.07%    10,382.61    4.20%    -1,686.46       5,187.02       2.30%        3,509.13    Total A&G Management                                    49,671.37    3.17%     59,660.46     5.07%     -9,989.09      27,249.86      3.36%    22,421.51
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Accounting Staff                                              0.00    0.00%          0.00     0.00%          0.00         939.12      0.12%      -939.12
             0.00     0.00%          0.00   0.00%          0.00           0.00      0.00%             0.00   Total A&G Non-Management                                      0.00   0.00%           0.00    0.00%           0.00        939.12      0.12%      -939.12
        8,696.15      3.07%    10,382.61    4.20%    -1,686.46       5,187.02       2.30%        3,509.13    Total A&G Salaries and Wages                            49,671.37    3.17%     59,660.46     5.07%     -9,989.09      28,188.98      3.48%    21,482.39
                                                                                                             PR Taxes and Benefits
           799.16      0.28%       827.75    0.33%      -28.59          571.09       0.25%          228.07   FICA                                                      4,635.52    0.30%      5,700.49     0.48%     -1,064.97       2,330.72      0.29%     2,304.80
            -5.24      0.00%         9.74    0.00%      -14.98           21.33       0.01%          -26.57   Federal Unemployment Tax                                    138.49    0.01%        230.42     0.02%        -91.93         101.19      0.01%        37.30
           -23.58     -0.01%        58.43    0.02%      -82.01           95.90       0.04%         -119.48   State Unemployment Tax                                      623.27    0.04%      1,811.50     0.15%     -1,188.23         455.38      0.06%       167.89
          770.34      0.27%       895.92    0.36%     -125.58          688.32       0.31%            82.02   Total Payroll Taxes                                      5,397.28    0.34%      7,742.41     0.66%     -2,345.13       2,887.29      0.36%     2,509.99
         1,538.46      0.54%       437.66    0.18%    1,100.80            0.00       0.00%        1,538.46   Vacation                                                  1,538.46    0.10%      1,855.68     0.16%       -317.22           0.00      0.00%     1,538.46
           180.77      0.06%         0.00    0.00%      180.77            0.00       0.00%          180.77   Sick Pay                                                    180.77    0.01%          0.00     0.00%        180.77           0.00      0.00%       180.77
        1,719.23      0.61%       437.66    0.18%    1,281.57             0.00      0.00%        1,719.23    Total Supplemental Pay                                   1,719.23    0.11%      1,855.68     0.16%       -136.45            0.00     0.00%     1,719.23
         1,157.89      0.41%       703.73    0.28%      454.16        2,462.50       1.09%       -1,304.61   Worker's Compensation                                       566.15    0.04%      4,491.78     0.38%     -3,925.63       7,181.62      0.89%    -6,615.47
           441.85      0.16%       262.00    0.11%      179.85          189.82       0.08%          252.03   Group Insurance                                           1,040.17    0.07%      1,310.00     0.11%       -269.83         189.82      0.02%       850.35
             0.00      0.00%         0.00    0.00%        0.00        2,062.00       0.92%       -2,062.00   Bonus and Incentive Pay                                   9,870.00    0.63%     13,000.00     1.11%     -3,130.00       2,062.00      0.25%     7,808.00
        1,599.74      0.56%       965.73    0.39%      634.01        4,714.32       2.09%       -3,114.58    Total Other Benefits                                    11,476.32    0.73%     18,801.78     1.60%     -7,325.46       9,433.44      1.16%     2,042.88
        4,089.31      1.44%     2,299.31    0.93%    1,790.00        5,402.64       2.40%       -1,313.33    Total A&G PR Taxes and Benefits                         18,592.83    1.19%     28,399.87     2.42%     -9,807.04      12,320.73      1.52%     6,272.10
       12,785.46      4.51%    12,681.92    5.12%      103.54       10,589.66       4.70%        2,195.80    Total A&G Payroll                                       68,264.20    4.36%     88,060.33     7.49%    -19,796.13      40,509.71      4.99%    27,754.49
                                                                                                             Other Expenses
             0.00      0.00%         0.00    0.00%        0.00        1,000.00       0.44%       -1,000.00   Accounting/Audit Fees                                         0.00    0.00%          0.00     0.00%         0.00        7,000.00      0.86%    -7,000.00
         8,085.24      2.85%         0.00    0.00%    8,085.24          334.14       0.15%        7,751.10   Bad Debt Provision                                       16,892.12    1.08%          0.00     0.00%    16,892.12        3,136.46      0.39%    13,755.66
         1,109.82      0.39%       825.58    0.33%      284.24          714.89       0.32%          394.93   Bank Charges                                              4,287.78    0.27%      4,127.90     0.35%       159.88        3,511.03      0.43%       776.75
            -0.25      0.00%         0.00    0.00%       -0.25           -8.00       0.00%            7.75   Cash Over/Short                                             -44.87    0.00%          0.00     0.00%       -44.87          219.21      0.03%      -264.08
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Central Office - Travel Rebilled                            885.47    0.06%        500.00     0.04%       385.47            0.00      0.00%       885.47
         1,000.00      0.35%     1,000.00    0.40%        0.00            0.00       0.00%        1,000.00   Central Office - Accounting Fees                          5,000.00    0.32%      5,000.00     0.43%         0.00            0.00      0.00%     5,000.00
             0.00      0.00%         0.00    0.00%        0.00          260.00       0.12%         -260.00   Central Office - IT Fees                                      0.00    0.00%          0.00     0.00%         0.00        1,200.00      0.15%    -1,200.00
             0.00      0.00%         0.00    0.00%        0.00           75.00       0.03%          -75.00   Communication Expense                                         0.00    0.00%          0.00     0.00%         0.00          300.00      0.04%      -300.00
         6,069.30      2.14%     6,187.24    2.50%     -117.94        4,118.55       1.83%        1,950.75   Credit Card Commission                                   46,033.37    2.94%     29,397.86     2.50%    16,635.51       16,067.89      1.98%    29,965.48
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Data Processing                                               0.00    0.00%          0.00     0.00%         0.00          206.49      0.03%      -206.49
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Donations                                                     0.00    0.00%        600.00     0.05%      -600.00            0.00      0.00%         0.00
             0.00      0.00%       100.00    0.04%     -100.00            0.00       0.00%            0.00   Dues and Subscriptions                                       83.07    0.01%        500.00     0.04%      -416.93          178.92      0.02%       -95.85
           127.42      0.04%       500.00    0.20%     -372.58            0.00       0.00%          127.42   Employee Relations                                        1,389.07    0.09%      2,270.00     0.19%      -880.93            0.00      0.00%     1,389.07
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Licenses/Permits                                            323.00    0.02%      2,057.50     0.17%    -1,734.50          777.50      0.10%      -454.50
            44.67      0.02%        25.00    0.01%       19.67            0.00       0.00%           44.67   Meals and Entertainment                                     144.67    0.01%        125.00     0.01%        19.67           93.39      0.01%        51.28
           222.72      0.08%        90.00    0.04%      132.72           -4.13       0.00%          226.85   Miscellaneous Expense                                       209.33    0.01%        450.00     0.04%      -240.67          -83.01     -0.01%       292.34
             0.00      0.00%         0.00    0.00%        0.00        1,748.05       0.78%       -1,748.05   Office Equipment                                              0.00    0.00%          0.00     0.00%         0.00        1,867.56      0.23%    -1,867.56
             0.00      0.00%         0.00    0.00%        0.00           42.59       0.02%          -42.59   Office Supplies                                               0.00    0.00%          0.00     0.00%         0.00        1,664.12      0.21%    -1,664.12
           302.10      0.11%        50.00    0.02%      252.10           25.09       0.01%          277.01   Operating Supplies                                          800.62    0.05%        250.00     0.02%       550.62          314.73      0.04%       485.89
           600.00      0.21%       737.14    0.30%     -137.14           98.19       0.04%          501.81   Payroll Service Fees                                      1,821.81    0.12%      3,678.85     0.31%    -1,857.04          463.01      0.06%     1,358.80
            54.98      0.02%        76.36    0.03%      -21.38            0.00       0.00%           54.98   Postage                                                     483.74    0.03%        381.80     0.03%       101.94          130.07      0.02%       353.67
             0.00      0.00%       350.00    0.14%     -350.00            0.00       0.00%            0.00   Professional Fees - Legal                                 1,734.27    0.11%      1,750.00     0.15%       -15.73        3,293.07      0.41%    -1,558.80
            44.01      0.02%         0.00    0.00%       44.01           90.00       0.04%          -45.99   Professional Fees - Other                                 2,124.00    0.14%        650.00     0.06%     1,474.00        1,738.97      0.21%       385.03
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Recruitment Advertising                                     821.35    0.05%        900.00     0.08%       -78.65            0.00      0.00%       821.35
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Recruitment - Other                                           0.00    0.00%          0.00     0.00%         0.00          423.60      0.05%      -423.60
             0.00      0.00%       300.00    0.12%     -300.00            0.00       0.00%            0.00   Security - Outside                                            0.00    0.00%      1,500.00     0.13%    -1,500.00            0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00        1,962.69       0.87%       -1,962.69   Software Expense/Maintenance                                  0.00    0.00%          0.00     0.00%         0.00        7,545.76      0.93%    -7,545.76
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Training                                                  2,156.10    0.14%      3,690.00     0.31%    -1,533.90        1,084.10      0.13%     1,072.00
           306.07      0.11%        25.00    0.01%      281.07            0.00       0.00%          306.07   Travel                                                      580.02    0.04%        125.00     0.01%       455.02           37.90      0.00%       542.12
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%            0.00   Uniforms                                                      0.00    0.00%        250.00     0.02%      -250.00           95.90      0.01%       -95.90
       17,966.08      6.34%    10,316.32    4.17%    7,649.76       10,457.06       4.64%        7,509.02    Total A&G Other Expenses                                85,724.92    5.47%     58,203.91     4.95%    27,521.01       51,266.67      6.32%    34,458.25
       30,751.54     10.85%    22,998.24    9.29%    7,753.30       21,046.72       9.35%        9,704.82    Total A&G Expenses                                     153,989.12    9.83%    146,264.24    12.44%     7,724.88       91,776.38     11.31%    62,212.74




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                                                                                            Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %             Variance                                                                 YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                            IT
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Management                                          0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Non-Management                                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Salaries and Wages                                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total Payroll Taxes                                          0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total Supplemental Pay                                       0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total Other Benefits                                         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT PR Taxes and Benefits                               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Payroll                                             0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                            Cost of Services
           310.00      0.11%       195.00    0.08%     115.00            0.00       0.00%          310.00   Cost of Cell Phones                                       1,140.00    0.07%       975.00      0.08%      165.00           0.00     0.00%     1,140.00
         1,209.27      0.43%       974.00    0.39%     235.27            0.00       0.00%        1,209.27   Cost of Internet Services                                 6,056.72    0.39%     4,870.00      0.41%    1,186.72           0.00     0.00%     6,056.72
         1,396.34      0.49%       900.00    0.36%     496.34            0.00       0.00%        1,396.34   Cost of Calls                                             6,088.99    0.39%     4,500.00      0.38%    1,588.99           0.00     0.00%     6,088.99
        2,915.61      1.03%     2,069.00    0.84%     846.61             0.00      0.00%        2,915.61    Total IT Cost of Services                               13,285.71    0.85%    10,345.00      0.88%    2,940.71            0.00    0.00%    13,285.71

                                                                                                            System Costs
         2,022.69      0.71%     2,040.70    0.82%     -18.01            0.00       0.00%        2,022.69   Administrative & General                                  4,063.45    0.26%     4,123.50      0.35%      -60.05           0.00     0.00%     4,063.45
             0.00      0.00%        50.00    0.02%     -50.00            0.00       0.00%            0.00   Human Resources                                               0.00    0.00%       250.00      0.02%     -250.00           0.00     0.00%         0.00
           460.00      0.16%       240.00    0.10%     220.00            0.00       0.00%          460.00   Information Systems                                       2,300.00    0.15%     1,200.00      0.10%    1,100.00           0.00     0.00%     2,300.00
           116.00      0.04%       116.00    0.05%       0.00            0.00       0.00%          116.00   Property Ops & Maintenance                                  580.00    0.04%       580.00      0.05%        0.00           0.00     0.00%       580.00
            85.68      0.03%         0.00    0.00%      85.68            0.00       0.00%           85.68   Rooms                                                     1,920.62    0.12%         0.00      0.00%    1,920.62           0.00     0.00%     1,920.62
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%            0.00   Telecommunications                                          226.32    0.01%         0.00      0.00%      226.32           0.00     0.00%       226.32
        2,684.37      0.95%     2,446.70    0.99%     237.67             0.00      0.00%        2,684.37    Total IT Systems                                         9,090.39    0.58%     6,153.50      0.52%    2,936.89            0.00    0.00%     9,090.39

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Other Expenses                                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

        5,599.98      1.98%     4,515.70    1.82%    1,084.28            0.00      0.00%        5,599.98    Total IT Expenses                                       22,376.10    1.43%    16,498.50      1.40%    5,877.60            0.00    0.00%    22,376.10




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                                                                                             Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                                 YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         4,492.32      1.58%         0.00    0.00%    4,492.32        3,499.75       1.55%         992.57    Division Management                                      24,268.01    1.55%         0.00      0.00%    24,268.01       17,809.24     2.20%    6,458.77
             0.00      0.00%     4,901.65    1.98%   -4,901.65            0.00       0.00%           0.00    Sales Managers                                                0.00    0.00%    23,998.34      2.04%   -23,998.34            0.00     0.00%        0.00
        4,492.32      1.58%     4,901.65    1.98%     -409.33        3,499.75       1.55%         992.57     Total S&M Management                                    24,268.01    1.55%    23,998.34      2.04%       269.67       17,809.24     2.20%    6,458.77
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%            0.00    Total S&M Non-Management                                      0.00   0.00%          0.00     0.00%          0.00            0.00    0.00%         0.00

        4,492.32      1.58%     4,901.65    1.98%     -409.33        3,499.75       1.55%         992.57     Total S&M Salaries and Wages                            24,268.01    1.55%    23,998.34      2.04%       269.67       17,809.24     2.20%    6,458.77

                                                                                                             PR Taxes and Benefits
           355.89      0.13%       389.84    0.16%       -33.95         261.92       0.12%          93.97    FICA                                                      1,936.72    0.12%     2,174.29      0.18%       -237.57       1,356.59     0.17%       580.13
            -2.48      0.00%         4.59    0.00%        -7.07           9.90       0.00%         -12.38    Federal Unemployment Tax                                     40.61    0.00%        77.39      0.01%        -36.78          62.69     0.01%       -22.08
           -11.14      0.00%        27.52    0.01%       -38.66          44.56       0.02%         -55.70    State Unemployment Tax                                      182.82    0.01%       649.00      0.06%       -466.18         282.15     0.03%       -99.33
          342.27      0.12%       421.95    0.17%       -79.68         316.38       0.14%           25.89    Total Payroll Taxes                                      2,160.15    0.14%     2,900.68      0.25%       -740.53       1,701.43     0.21%       458.72
           669.23      0.24%       194.24    0.08%      474.99            0.00       0.00%         669.23    Vacation                                                    669.23    0.04%       823.58      0.07%       -154.35           0.00     0.00%       669.23
          669.23      0.24%       194.24    0.08%      474.99             0.00      0.00%         669.23     Total Supplemental Pay                                     669.23    0.04%       823.58      0.07%       -154.35            0.00    0.00%       669.23
           801.62      0.28%       331.43    0.13%      470.19          844.58       0.38%         -42.96    Worker's Compensation                                       289.03    0.02%     1,794.26      0.15%     -1,505.23       3,960.19     0.49%    -3,671.16
           -28.30     -0.01%       262.50    0.11%     -290.80            0.00       0.00%         -28.30    Group Insurance                                             181.54    0.01%     1,312.50      0.11%     -1,130.96           0.00     0.00%       181.54
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Bonus and Incentive Pay                                   1,317.94    0.08%     3,600.00      0.31%     -2,282.06           0.00     0.00%     1,317.94
          773.32      0.27%       593.93    0.24%      179.39          844.58       0.38%         -71.26     Total Other Benefits                                     1,788.51    0.11%     6,706.76      0.57%     -4,918.25       3,960.19     0.49%    -2,171.68
        1,784.82      0.63%     1,210.12    0.49%      574.70        1,160.96       0.52%         623.86     Total S&M PR Taxes and Benefits                          4,617.89    0.29%    10,431.02      0.89%     -5,813.13       5,661.62     0.70%    -1,043.73

        6,277.14      2.21%     6,111.77    2.47%      165.37        4,660.71       2.07%        1,616.43    Total S&M Payroll                                       28,885.90    1.84%    34,429.36      2.93%     -5,543.46      23,470.86     2.89%    5,415.04

                                                                                                             Other Expenses
             0.00      0.00%         0.00    0.00%         0.00         440.00       0.20%         -440.00   Advertising General                                           0.00    0.00%         0.00      0.00%          0.00       1,420.00     0.18%    -1,420.00
           815.00      0.29%     1,315.00    0.53%      -500.00           0.00       0.00%          815.00   Advertising-Web/Internet                                  3,596.01    0.23%     5,480.00      0.47%     -1,883.99           0.00     0.00%     3,596.01
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Brochures                                                     0.00    0.00%       300.00      0.03%       -300.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00         120.00       0.05%         -120.00   Communication Expense                                         0.00    0.00%         0.00      0.00%          0.00         305.00     0.04%      -305.00
         1,652.00      0.58%     4,157.32    1.68%    -2,505.32       3,314.00       1.47%       -1,662.00   Dues and Subscriptions                                   14,534.40    0.93%    15,864.17      1.35%     -1,329.77      19,495.16     2.40%    -4,960.76
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   GDS Marketing Advert & Sales                                842.86    0.05%         0.00      0.00%        842.86           0.00     0.00%       842.86
            17.42      0.01%        50.00    0.02%       -32.58           0.00       0.00%           17.42   Meals and Entertainment                                     162.33    0.01%       250.00      0.02%        -87.67           0.00     0.00%       162.33
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Miscellaneous Expense                                        94.41    0.01%         0.00      0.00%         94.41           0.00     0.00%        94.41
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Office Supplies                                               0.00    0.00%         0.00      0.00%          0.00          22.72     0.00%       -22.72
            44.70      0.02%       100.00    0.04%       -55.30           0.00       0.00%           44.70   Operating Supplies                                          472.70    0.03%       500.00      0.04%        -27.30           0.00     0.00%       472.70
             0.00      0.00%        10.00    0.00%       -10.00           0.00       0.00%            0.00   Postage                                                       0.00    0.00%        50.00      0.00%        -50.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Printing and Stationery                                      89.51    0.01%       150.00      0.01%        -60.49           0.00     0.00%        89.51
          -308.00     -0.11%       200.00    0.08%      -508.00           0.00       0.00%         -308.00   Promotions - In-house                                       327.40    0.02%     1,000.00      0.09%       -672.60          45.74     0.01%       281.66
          -210.00     -0.07%       850.00    0.34%    -1,060.00           0.00       0.00%         -210.00   Promotion - Outside                                         140.33    0.01%     2,500.00      0.21%     -2,359.67           0.00     0.00%       140.33
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Software Expense/Maintenance                                  0.00    0.00%         0.00      0.00%          0.00       1,250.00     0.15%    -1,250.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Training                                                  1,175.00    0.08%       995.00      0.08%        180.00         750.00     0.09%       425.00
             3.98      0.00%        50.00    0.02%       -46.02           0.00       0.00%            3.98   Travel                                                       10.47    0.00%       250.00      0.02%       -239.53          48.61     0.01%       -38.14
        2,015.10      0.71%     6,732.32    2.72%    -4,717.22       3,874.00       1.72%       -1,858.90    Total S&M Other Expenses                                21,445.42    1.37%    27,339.17      2.32%     -5,893.75      23,337.23     2.88%    -1,891.81

        8,292.24      2.93%    12,844.09    5.19%    -4,551.85       8,534.71       3.79%         -242.47    Total S&M Expenses                                      50,331.32    3.21%    61,768.53      5.25%    -11,437.21      46,808.09     5.77%    3,523.23




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                                                                                             Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %         Variance    PTD Last Year     %             Variance                                                                 YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             R&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         4,684.06      1.65%     4,492.73    1.82%      191.33        3,755.43       1.67%          928.63   Division Management                                      22,815.95    1.46%    21,996.58      1.87%       819.37       18,098.74     2.23%     4,717.21
        4,684.06      1.65%     4,492.73    1.82%      191.33        3,755.43       1.67%          928.63    Total R&M Management                                    22,815.95    1.46%    21,996.58      1.87%       819.37       18,098.74     2.23%     4,717.21
         2,302.86      0.81%     2,480.00    1.00%     -177.14            0.00       0.00%        2,302.86   Engineers 1                                              11,141.24    0.71%    12,080.00      1.03%      -938.76            0.00     0.00%    11,141.24
             5.58      0.00%         0.00    0.00%        5.58            0.00       0.00%            5.58   Engineers 1 Overtime                                          5.58    0.00%         0.00      0.00%         5.58            0.00     0.00%         5.58
        2,308.44      0.81%     2,480.00    1.00%     -171.56             0.00      0.00%        2,308.44    Total R&M Non-Management                                11,146.82    0.71%    12,080.00      1.03%      -933.18             0.00    0.00%    11,146.82

        6,992.50      2.47%     6,972.73    2.82%       19.77        3,755.43       1.67%        3,237.07    Total R&M Salaries and Wages                            33,962.77    2.17%    34,076.58      2.90%      -113.81       18,098.74     2.23%    15,864.03

                                                                                                             PR Taxes and Benefits
           538.24      0.19%       541.98    0.22%        -3.74         281.47       0.13%          256.77   FICA                                                      2,571.33    0.16%     2,623.99      0.22%        -52.66       1,378.71     0.17%     1,192.62
            -3.39      0.00%         6.38    0.00%        -9.77          10.70       0.00%          -14.09   Federal Unemployment Tax                                     81.68    0.01%        94.55      0.01%        -12.87          63.62     0.01%        18.06
           -15.23     -0.01%        38.26    0.02%       -53.49          48.09       0.02%          -63.32   State Unemployment Tax                                      367.58    0.02%       796.84      0.07%       -429.26         286.27     0.04%        81.31
          519.62      0.18%       586.62    0.24%       -67.00         340.26       0.15%          179.36    Total Payroll Taxes                                      3,020.59    0.19%     3,515.38      0.30%       -494.79       1,728.60     0.21%     1,291.99
             0.00      0.00%       112.00    0.05%     -112.00            0.00       0.00%            0.00   Holiday                                                       0.00    0.00%       224.00      0.02%       -224.00           0.00     0.00%         0.00
             0.00     0.00%       112.00    0.05%     -112.00             0.00      0.00%             0.00   Total Supplemental Pay                                        0.00   0.00%       224.00      0.02%       -224.00            0.00    0.00%          0.00
           757.08      0.27%       460.78    0.19%      296.30          913.18       0.41%         -156.10   Worker's Compensation                                       165.17    0.01%     2,182.38      0.19%     -2,017.21       4,036.15     0.50%    -3,870.98
             0.00      0.00%       262.00    0.11%     -262.00            0.00       0.00%            0.00   Group Insurance                                               0.00    0.00%     1,310.00      0.11%     -1,310.00           0.00     0.00%         0.00
          757.08      0.27%       722.78    0.29%        34.30         913.18       0.41%         -156.10    Total Other Benefits                                       165.17    0.01%     3,492.38      0.30%     -3,327.21       4,036.15     0.50%    -3,870.98
        1,276.70      0.45%     1,421.40    0.57%     -144.70        1,253.44       0.56%            23.26   Total R&M PR Taxes and Benefits                          3,185.76    0.20%     7,231.76      0.61%     -4,046.00       5,764.75     0.71%    -2,578.99

        8,269.20      2.92%     8,394.13    3.39%     -124.93        5,008.87       2.22%        3,260.33    Total R&M Payroll                                       37,148.53    2.37%    41,308.34      3.51%     -4,159.81      23,863.49     2.94%    13,285.04

                                                                                                             Other Expenses
         1,321.05      0.47%     2,843.52    1.15%   -1,522.47            0.00       0.00%        1,321.05   Air Conditioning and Refrigeration                        4,195.96    0.27%     6,717.60      0.57%     -2,521.64       1,586.75     0.20%     2,609.21
         1,776.75      0.63%         0.00    0.00%    1,776.75            0.00       0.00%        1,776.75   Audio Visual Repair                                       1,776.75    0.11%         0.00      0.00%      1,776.75           0.00     0.00%     1,776.75
             0.00      0.00%       618.50    0.25%     -618.50        3,000.00       1.33%       -3,000.00   Building                                                    560.86    0.04%     2,855.00      0.24%     -2,294.14       3,860.62     0.48%    -3,299.76
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Communication Expense                                         0.00    0.00%         0.00      0.00%          0.00         150.00     0.02%      -150.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Contract Labor                                                0.00    0.00%     3,000.00      0.26%     -3,000.00           0.00     0.00%         0.00
           143.09      0.05%       346.36    0.14%     -203.27          138.15       0.06%            4.94   Electric Bulbs                                              557.17    0.04%     1,598.80      0.14%     -1,041.63         914.72     0.11%      -357.55
             0.00      0.00%       321.62    0.13%     -321.62            0.00       0.00%            0.00   Electrical and Mechanical                                   500.52    0.03%     1,484.60      0.13%       -984.08         467.26     0.06%        33.26
         1,215.99      0.43%       576.62    0.23%      639.37            0.00       0.00%        1,215.99   Elevator Maintenance Contracts                            4,762.79    0.30%     2,883.10      0.25%      1,879.69       3,137.84     0.39%     1,624.95
             0.00      0.00%       175.00    0.07%     -175.00          158.16       0.07%         -158.16   Equipment Rental                                              0.00    0.00%       875.00      0.07%       -875.00         959.92     0.12%      -959.92
         2,284.85      0.81%       100.00    0.04%    2,184.85            0.00       0.00%        2,284.85   Fire Safety Equipment                                     5,261.81    0.34%     2,200.00      0.19%      3,061.81       2,568.05     0.32%     2,693.76
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Floor and Carpet Maintenance                                  0.00    0.00%         0.00      0.00%          0.00       1,065.00     0.13%    -1,065.00
           702.82      0.25%         0.00    0.00%      702.82            0.00       0.00%          702.82   Furniture                                                   702.82    0.04%         0.00      0.00%        702.82           0.00     0.00%       702.82
           696.00      0.25%       996.00    0.40%     -300.00          696.00       0.31%            0.00   Grounds and Landscaping                                   3,480.00    0.22%     4,180.00      0.36%       -700.00       3,628.04     0.45%      -148.04
             0.00      0.00%       100.00    0.04%     -100.00            0.00       0.00%            0.00   Kitchen Equipment Repairs                                     0.00    0.00%       500.00      0.04%       -500.00         185.00     0.02%      -185.00
             0.00      0.00%       100.00    0.04%     -100.00            0.00       0.00%            0.00   Laundry Equipment Repairs                                   303.78    0.02%       500.00      0.04%       -196.22           0.00     0.00%       303.78
           400.00      0.14%         0.00    0.00%      400.00            0.00       0.00%          400.00   Licenses/Permits                                            850.00    0.05%         0.00      0.00%        850.00           0.00     0.00%       850.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Locks and Keys                                                0.00    0.00%         0.00      0.00%          0.00          31.92     0.00%       -31.92
             0.00      0.00%       100.00    0.04%     -100.00            0.00       0.00%            0.00   Miscellaneous Expense                                        99.75    0.01%       500.00      0.04%       -400.25           0.00     0.00%        99.75
           485.11      0.17%        50.00    0.02%      435.11          702.99       0.31%         -217.88   Operating Supplies                                        1,954.80    0.12%       250.00      0.02%      1,704.80         702.99     0.09%     1,251.81
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%            0.00   Painting and Decorating                                      63.66    0.00%       250.00      0.02%       -186.34          52.77     0.01%        10.89
           784.91      0.28%       273.00    0.11%      511.91        1,029.43       0.46%         -244.52   Pest Control                                              1,842.46    0.12%     3,041.00      0.26%     -1,198.54       2,193.48     0.27%      -351.02
             0.00      0.00%       247.40    0.10%     -247.40            0.00       0.00%            0.00   Plumbing and Heating                                         70.81    0.00%     1,142.00      0.10%     -1,071.19         345.26     0.04%      -274.45
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Pool Chemicals                                                0.00    0.00%         0.00      0.00%          0.00          11.53     0.00%       -11.53
           750.00      0.26%       750.00    0.30%        0.00          750.00       0.33%            0.00   Pool Service- Contract                                    3,750.00    0.24%     3,750.00      0.32%          0.00       2,579.80     0.32%     1,170.20
             0.00      0.00%        75.00    0.03%      -75.00            0.00       0.00%            0.00   Tools                                                         0.00    0.00%       375.00      0.03%       -375.00           0.00     0.00%         0.00
             0.00      0.00%        25.00    0.01%      -25.00            0.00       0.00%            0.00   Travel                                                        6.90    0.00%       625.00      0.05%       -618.10           8.96     0.00%        -2.06
             0.00      0.00%       200.00    0.08%     -200.00            0.00       0.00%            0.00   Uniforms                                                      0.00    0.00%       400.00      0.03%       -400.00           0.00     0.00%         0.00
         1,177.58      0.42%       745.42    0.30%      432.16        2,347.75       1.04%       -1,170.17   Waste Removal                                             3,923.20    0.25%     3,727.10      0.32%        196.10      10,105.06     1.25%    -6,181.86
       11,738.15      4.14%     8,693.44    3.51%    3,044.71        8,822.48       3.92%        2,915.67    Total R&M Other Expenses                                34,664.04    2.21%    40,854.20      3.47%     -6,190.16      34,554.97     4.26%       109.07

       20,007.35      7.06%    17,087.57    6.90%    2,919.78       13,831.35       6.14%        6,176.00    Total R&M Expenses                                      71,812.57    4.59%    82,162.54      6.99%    -10,349.97      58,418.46     7.20%    13,394.11




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                                                                                            Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %             Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            Utilities
         3,889.82      1.37%     6,185.00    2.50%   -2,295.18       2,704.92       1.20%        1,184.90   Water                                                    26,185.53    1.67%    28,550.00      2.43%    -2,364.47      17,653.10     2.18%     8,532.43
         7,871.04      2.78%     6,185.00    2.50%    1,686.04       4,785.51       2.13%        3,085.53   Electricity                                              27,735.31    1.77%    28,550.00      2.43%      -814.69      23,228.67     2.86%     4,506.64
         1,467.93      0.52%     1,484.40    0.60%      -16.47         903.72       0.40%          564.21   Gas - Natural HLP                                         7,923.50    0.51%     6,852.00      0.58%     1,071.50       4,985.24     0.61%     2,938.26
       13,228.79      4.67%    13,854.40    5.60%     -625.61       8,394.15       3.73%        4,834.64    Total Utilities                                         61,844.34    3.95%    63,952.00      5.44%    -2,107.66      45,867.01     5.65%    15,977.33




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                                                                                              Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %             Variance                                                                 YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Fixed
           735.00      0.26%       735.00     0.30%         0.00         735.00       0.33%            0.00   Personal Property Taxes                                   3,675.00    0.23%     15,350.81     1.31%    -11,675.81      13,145.81      1.62%    -9,470.81
        15,491.00      5.46%    15,491.00     6.26%         0.00      15,491.00       6.88%            0.00   Real Estate Taxes                                        77,455.00    4.95%     77,455.00     6.59%          0.00      77,455.00      9.55%         0.00
       16,226.00      5.72%    16,226.00     6.56%          0.00     16,226.00       7.21%             0.00   Total Taxes                                             81,130.00    5.18%     92,805.81     7.89%    -11,675.81      90,600.81     11.17%    -9,470.81
           427.50      0.15%       427.50     0.17%         0.00           0.00       0.00%          427.50   Insurance                                                 2,137.50    0.14%      2,137.50     0.18%          0.00           0.00      0.00%     2,137.50
            48.92      0.02%        48.92     0.02%         0.00           0.00       0.00%           48.92   Insurance - Crime                                           244.60    0.02%        244.60     0.02%          0.00           0.00      0.00%       244.60
           559.33      0.20%       559.33     0.23%         0.00         130.71       0.06%          428.62   Insurance - Employment                                    2,796.68    0.18%      2,796.65     0.24%          0.03         653.55      0.08%     2,143.13
         2,204.08      0.78%     1,395.42     0.56%       808.66       1,171.43       0.52%        1,032.65   Insurance - General Liability                            13,047.14    0.83%      6,977.10     0.59%      6,070.04       5,857.15      0.72%     7,189.99
         3,363.42      1.19%     3,208.00     1.30%       155.42       3,207.00       1.42%          156.42   Insurance - Property                                     16,817.10    1.07%     16,040.00     1.36%        777.10      16,035.00      1.98%       782.10
            61.33      0.02%     2,169.25     0.88%    -2,107.92       2,108.00       0.94%       -2,046.67   Insurance - Umbrella                                        306.65    0.02%     10,846.25     0.92%    -10,539.60      10,540.00      1.30%   -10,233.35
        6,664.58      2.35%     7,808.42     3.16%    -1,143.84       6,617.14       2.94%            47.44   Total Insurance                                         35,349.67    2.26%     39,042.10     3.32%     -3,692.43      33,085.70      4.08%     2,263.97
        28,904.00     10.20%    28,904.00    11.68%         0.00      28,131.00      12.49%          773.00   Ground Lease Expense                                    144,520.00    9.23%    144,520.00    12.29%          0.00     140,655.00     17.34%     3,865.00
       28,904.00     10.20%    28,904.00    11.68%          0.00     28,131.00      12.49%          773.00    Total Leases & Rent                                    144,520.00    9.23%    144,520.00    12.29%           0.00    140,655.00     17.34%     3,865.00
         9,004.72      3.18%     7,424.69     3.00%     1,580.03       7,249.11       3.22%        1,755.61   Management Fee - Base                                    49,482.43    3.16%     35,277.41     3.00%     14,205.02      30,122.18      3.71%    19,360.25
        9,004.72      3.18%     7,424.69     3.00%     1,580.03       7,249.11       3.22%        1,755.61    Total Management Fees                                   49,482.43    3.16%     35,277.41     3.00%     14,205.02      30,122.18      3.71%    19,360.25
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Capital Reserve                                          14,352.60    0.92%          0.00     0.00%     14,352.60      12,673.70      1.56%     1,678.90
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Owner's Expense                                               0.00    0.00%          0.00     0.00%          0.00         949.16      0.12%      -949.16
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%             0.00   Total Other Non-Operating                               14,352.60    0.92%           0.00    0.00%     14,352.60      13,622.86      1.68%       729.74




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                                                                                                Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget      %         Variance   PTD Last Year     %           Variance                                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             Statistics
            87.00                    87.00                   0.00          87.00                      0.00   # Rooms                                                   87.00                    87.00                     0.00          87.00                    0.00
         2,697.00                 2,697.00                   0.00       2,697.00                      0.00   Available Rooms                                       13,137.00                13,137.00                     0.00      13,137.00                    0.00
         2,191.00                 1,739.00                 452.00       2,194.00                     -3.00   Room Nights Sold                                      11,368.00                10,043.00                 1,325.00      10,586.00                  782.00
          81.24%                   64.48%                 16.76%         81.35%                    -0.11%    Occupancy %                                             86.53%                   76.45%                   10.09%         80.58%                   5.95%
           160.49                   174.86                 -14.37         137.44                     23.05   ADR                                                      168.99                   150.58                    18.41         121.80                   47.19
           130.38                   112.75                  17.63         111.81                     18.57   RevPar                                                   146.23                   115.11                    31.12          98.15                   48.09

                                                                                                             Summary V.11
                                                                                                             Revenue
       351,626.27    97.10%     304,083.82    98.48%   47,542.45      301,540.25     98.42%     50,086.02    Rooms                                              1,921,085.79    97.86%    1,512,256.82    98.47%    408,828.97    1,289,339.46   98.69%     631,746.33
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%          0.00    F&B                                                        0.00     0.00%            0.00     0.00%          0.00            0.00    0.00%           0.00
        10,493.15     2.90%       4,683.71     1.52%    5,809.44        4,856.34      1.58%      5,636.81    Other Departments                                     42,019.02     2.14%       23,501.85     1.53%     18,517.17       17,148.21    1.31%      24,870.81

      362,119.42    100.00%    308,767.53    100.00%   53,351.89     306,396.59     100.00%    55,722.83     Total Operating Revenue                           1,963,104.81    100.00%   1,535,758.67 100.00%      427,346.14    1,306,487.67 100.00%      656,617.14

                                                                                                             Departmental Expenses
        77,376.40    22.01%      60,401.25    19.86%   16,975.15       47,920.31     15.89%     29,456.09    Rooms                                               326,513.39     17.00%     314,565.16     20.80%     11,948.23     211,959.66    16.44%     114,553.73
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%          0.00    F&B                                                       0.00      0.00%           0.00      0.00%          0.00          49.23     0.00%         -49.23
           992.22     9.46%       1,227.10    26.20%     -234.88        2,647.06     54.51%     -1,654.84    Other Departments                                     5,036.14     11.99%       6,174.38     26.27%     -1,138.24      14,290.97    83.34%      -9,254.83

       78,368.62     21.64%     61,628.35    19.96%    16,740.27      50,567.37      16.50%    27,801.25     Total Departmental Expenses                        331,549.53     16.89%     320,739.54     20.88%     10,809.99     226,299.86     17.32%    105,249.67

      283,750.80     78.36%    247,139.18    80.04%    36,611.62     255,829.22      83.50%    27,921.58     Total Departmental Profit                         1,631,555.28    83.11%    1,215,019.13    79.12%    416,536.15    1,080,187.81    82.68%    551,367.47

                                                                                                             Undistributed Operating Expenses
        25,387.12     7.01%      19,079.60     6.18%     6,307.52      18,063.19      5.90%      7,323.93    A&G                                                 143,986.75      7.33%     109,156.70      7.11%     34,830.05      81,905.31     6.27%      62,081.44
         5,871.48     1.62%       5,845.84     1.89%        25.64           0.00      0.00%      5,871.48    IT                                                   23,182.01      1.18%      23,149.20      1.51%         32.81           0.00     0.00%      23,182.01
        10,246.72     2.83%      10,177.80     3.30%        68.92       6,335.13      2.07%      3,911.59    S&M                                                  45,385.58      2.31%      59,346.57      3.86%    -13,960.99      33,727.76     2.58%      11,657.82
        46,214.04    12.76%      38,139.88    12.35%     8,074.16      37,906.10     12.37%      8,307.94    Franchise Fees                                      250,778.69     12.77%     190,128.18     12.38%     60,650.51     169,111.96    12.94%      81,666.73
        15,448.73     4.27%      10,993.30     3.56%     4,455.43       6,520.69      2.13%      8,928.04    R&M                                                  65,071.90      3.31%      63,867.62      4.16%      1,204.28      41,780.43     3.20%      23,291.47
        12,296.94     3.40%      10,951.00     3.55%     1,345.94       9,280.46      3.03%      3,016.48    Utilities                                            50,581.35      2.58%      44,918.00      2.92%      5,663.35      43,142.88     3.30%       7,438.47

      115,465.03     31.89%     95,187.42    30.83%    20,277.61      78,105.57      25.49%    37,359.46     Total Undistributed Expenses                       578,986.28     29.49%     490,566.27     31.94%     88,420.01     369,668.34     28.29%    209,317.94

      168,285.77     46.47%    151,951.76    49.21%    16,334.01     177,723.65      58.00%     -9,437.88    Gross Operating Profit                            1,052,569.00    53.62%     724,452.86     47.17%    328,116.14     710,519.47     54.38%    342,049.53
        11,363.58      3.14%      9,263.03     3.00%     2,100.55       9,691.90       3.16%      1,671.68   Management Fees                                       61,393.14     3.13%      46,072.78      3.00%     15,320.36      41,694.63      3.19%     19,698.51
      156,922.19     43.33%    142,688.73    46.21%    14,233.46     168,031.75      54.84%    -11,109.56    Income Before Non-Operating Income and Expenses     991,175.86    50.49%     678,380.08     44.17%    312,795.78     668,824.84     51.19%    322,351.02

                                                                                                             Non-Operating Income and Expenses
         5,433.21      1.50%      6,186.83     2.00%      -753.62         180.86       0.06%      5,252.35   Insurance                                            27,618.08      1.41%      30,934.15      2.01%     -3,316.07         904.28      0.07%     26,713.80
        26,919.00      7.43%     27,103.67     8.78%      -184.67      26,198.00       8.55%        721.00   Leases & Rent                                       134,595.00      6.86%     135,518.35      8.82%       -923.35     130,990.00     10.03%      3,605.00
         6,985.91      1.93%          0.00     0.00%     6,985.91      16,614.27       5.42%     -9,628.36   Other                                                12,255.83      0.62%           0.00      0.00%     12,255.83      17,563.44      1.34%     -5,307.61
       39,338.12     10.86%     33,290.50    10.78%     6,047.62      42,993.13      14.03%     -3,655.01    Total Non-Operating Income and Expenses            174,468.91      8.89%     166,452.50     10.84%      8,016.41     149,457.72     11.44%     25,011.19

      117,584.07     32.47%    109,398.23    35.43%     8,185.84     125,038.62      40.81%     -7,454.55    EBITDA                                             816,706.95     41.60%     511,927.58     33.33%    304,779.37     519,367.12     39.75%    297,339.83
             0.00      0.00%          0.00     0.00%         0.00           0.00       0.00%          0.00   Interest                                                  0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
         7,198.70      1.99%      7,270.24     2.35%       -71.54       6,842.50       2.23%        356.20   Taxes                                                35,993.50      1.83%      42,195.55      2.75%     -6,202.05      40,056.85      3.07%     -4,063.35
        7,198.70      1.99%      7,270.24     2.35%       -71.54       6,842.50       2.23%        356.20    Interest, Taxes, Depreciation and Amortization      35,993.50      1.83%      42,195.55      2.75%     -6,202.05      40,056.85      3.07%     -4,063.35

      110,385.37     30.48%    102,127.99    33.08%     8,257.38     118,196.12      38.58%     -7,810.75    Net Income                                         780,713.45     39.77%     469,732.03     30.59%    310,981.42     479,310.27     36.69%    301,403.18




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                                                                                                Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD     %           PTD Budget    %         Variance   PTD Last Year     %         Variance                                                               YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                            Statistics
            87.00                      87.00                 0.00           87.00                   0.00    # Rooms                                                   87.00                    87.00                    0.00          87.00                   0.00
         2,697.00                   2,697.00                 0.00        2,697.00                   0.00    Available Rooms                                       13,137.00                13,137.00                    0.00      13,137.00                   0.00
         2,191.00                   1,739.00               452.00        2,194.00                  -3.00    Room Nights Sold                                      11,368.00                10,043.00                1,325.00      10,586.00                 782.00
             0.81                       0.64                 0.17            0.81                   0.00    Occupancy %                                                0.87                     0.76                    0.10           0.81                   0.06
           160.49                     174.86               -14.37          137.44                  23.05    ADR                                                      168.99                   150.58                   18.41         121.80                  47.19
           130.38                     112.75                17.63          111.81                  18.57    RevPar                                                   146.23                   115.11                   31.12          98.15                  48.09

                                                                                                            Summary
                                                                                                            Revenue:
       351,626.27    97.10%       304,083.82   98.48%    47,542.45     301,540.25     98.42%    50,086.02   Rooms                                               1,921,085.79   97.86%    1,512,256.82    98.47%   408,828.97   1,289,339.46    98.69%    631,746.33
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%         0.00   Food                                                        0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%         0.00   Beverage                                                    0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%         0.00   Other F&B Revenue                                           0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%             0.00    0.00%         0.00          21.97      0.01%       -21.97   Telephone                                                   0.00    0.00%            0.00     0.00%         0.00          94.54     0.01%        -94.54
        10,493.15     2.90%         4,683.71    1.52%     5,809.44       4,834.37      1.58%     5,658.78   Other                                                  42,019.02    2.14%       23,501.85     1.53%    18,517.17      17,053.67     1.31%     24,965.35

       362,119.42   100.00%       308,767.53   100.00%   53,351.89     306,396.59     100.00%   55,722.83   Total Revenue                                       1,963,104.81   100.00%   1,535,758.67   100.00%   427,346.14   1,306,487.67    100.00%   656,617.14



                                                                                                            Cost of Sales:
             0.00         0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Food                                                        0.00    0.00%            0.00     0.00%         0.00          49.23     0.00%        -49.23
             0.00         0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Beverage                                                    0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Other F&B                                                   0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%         0.00    0.00%         0.00         666.03     13.71%      -666.03   Telephone                                                   0.00    0.00%            0.00     0.00%         0.00       3,299.27    19.24%     -3,299.27
           992.22         9.46%     1,227.10   26.20%      -234.88         573.03     11.80%       419.19   Other                                                   5,036.14   11.99%        6,174.38    26.27%    -1,138.24       3,676.70    21.44%      1,359.44

           992.22         9.46%     1,227.10   26.20%      -234.88       1,239.06     25.51%      -246.84   Total Cost of Sales                                     5,036.14   11.99%        6,174.38    26.27%    -1,138.24       7,025.20    40.97%     -1,989.06



                                                                                                            Payroll:
        45,553.56    12.96%        34,765.88   11.43%    10,787.68      28,587.54      9.48%    16,966.02   Rooms                                                159,486.53     8.30%     170,906.69     11.30%   -11,420.16     125,789.60     9.76%     33,696.93
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%         0.00   F&B                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%         0.00   Other                                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         9,911.31     2.74%         6,057.63    1.96%     3,853.68       5,948.46      1.94%     3,962.85   A&G                                                   34,773.02     1.77%      29,123.14      1.90%     5,649.88      28,667.73     2.19%      6,105.29
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%         0.00   IT                                                         0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         5,076.34     1.40%         4,944.93    1.60%       131.41       4,258.51      1.39%       817.83   S&M                                                   21,345.79     1.09%      23,966.19      1.56%    -2,620.40      15,386.33     1.18%      5,959.46
         7,724.64     2.13%         5,216.20    1.69%     2,508.44       3,766.06      1.23%     3,958.58   R&M                                                   28,913.37     1.47%      25,386.54      1.65%     3,526.83      18,149.97     1.39%     10,763.40
        68,265.85    18.85%        50,984.64   16.51%    17,281.21      42,560.57     13.89%    25,705.28   Total Salaries and Wages                             244,518.71    12.46%     249,382.56     16.24%    -4,863.85     187,993.63    14.39%     56,525.08

        16,292.98     4.50%        10,854.56    3.52%     5,438.42       2,694.32      0.88%    13,598.66   Total Taxes and Benefits                             103,776.15     5.29%      77,208.77      5.03%    26,567.38      16,449.42     1.26%     87,326.73
        84,558.83    23.35%        61,839.20   20.03%    22,719.63      45,254.89     14.77%    39,303.94   Total Labor Costs                                    348,294.86    17.74%     326,591.33     21.27%    21,703.53     204,443.05    15.65%    143,851.81



                                                                                                            Direct Expenses:
        22,274.23     6.33%        19,170.00    6.30%     3,104.23      16,838.35      5.58%     5,435.88   Rooms                                                110,620.65     5.76%     102,247.47      6.76%     8,373.18      73,028.46     5.66%     37,592.19
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%         0.00   F&B                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%             0.00    0.00%         0.00       1,408.00     28.99%    -1,408.00   Telephone                                                  0.00     0.00%           0.00      0.00%         0.00       7,315.00    42.66%     -7,315.00
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%         0.00   Other                                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        46,214.04    12.76%        38,139.88   12.35%     8,074.16      37,906.10     12.37%     8,307.94   Franchise Fees                                       250,778.69    12.77%     190,128.18     12.38%    60,650.51     169,111.96    12.94%     81,666.73
        12,365.99     3.41%        11,448.56    3.71%       917.43      11,534.40      3.76%       831.59   A&G                                                   78,403.56     3.99%      62,347.06      4.06%    16,056.50      49,716.87     3.81%     28,686.69
         5,871.48     1.62%         5,845.84    1.89%        25.64           0.00      0.00%     5,871.48   IT                                                    23,182.01     1.18%      23,149.20      1.51%        32.81           0.00     0.00%     23,182.01
         2,836.51     0.78%         3,608.00    1.17%      -771.49       2,908.80      0.95%       -72.29   S&M                                                   13,485.02     0.69%      23,585.40      1.54%   -10,100.38      19,048.22     1.46%     -5,563.20
         6,423.41     1.77%         4,586.19    1.49%     1,837.22       2,302.88      0.75%     4,120.53   R&M                                                   30,153.53     1.54%      32,164.79      2.09%    -2,011.26      23,136.56     1.77%      7,016.97
        12,296.94     3.40%        10,951.00    3.55%     1,345.94       9,280.46      3.03%     3,016.48   Utilities                                             50,581.35     2.58%      44,918.00      2.92%     5,663.35      43,142.88     3.30%      7,438.47

       108,282.60    29.90%        93,749.47   30.36%    14,533.13      82,178.99     26.82%    26,103.61   Total Direct Expense                                 557,204.81    28.38%     478,540.10     31.16%    78,664.71     384,499.95    29.43%    172,704.86

       168,285.77    46.47%       151,951.76   49.21%    16,334.01     177,723.65     58.00%    -9,437.88   Gross Operating Profit                              1,052,569.00   53.62%     724,452.86     47.17%   328,116.14     710,519.47    54.38%    342,049.53

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                                                                                              Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                                        As of 5/31/2022
              PTD     %           PTD Budget   %         Variance   PTD Last Year     %         Variance                                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance




                                                                                                           Fixed Costs
         7,198.70         1.99%     7,270.24   2.35%       -71.54       6,842.50      2.23%      356.20    Taxes                                                35,993.50   1.83%     42,195.55     2.75%     -6,202.05      40,056.85     3.07%    -4,063.35
         5,433.21         1.50%     6,186.83   2.00%      -753.62         180.86      0.06%    5,252.35    Insurance                                            27,618.08   1.41%     30,934.15     2.01%     -3,316.07         904.28     0.07%    26,713.80
        26,919.00         7.43%    27,103.67   8.78%      -184.67      26,198.00      8.55%      721.00    Leases & Rent                                       134,595.00   6.86%    135,518.35     8.82%       -923.35     130,990.00    10.03%     3,605.00
        11,363.58         3.14%     9,263.03   3.00%     2,100.55       9,691.90      3.16%    1,671.68    Management Fees                                      61,393.14   3.13%     46,072.78     3.00%     15,320.36      41,694.63     3.19%    19,698.51

        50,914.49    14.06%        49,823.77   16.14%    1,090.72      42,913.26     14.01%    8,001.23    Total Fixed Expenses                                259,599.72   13.22%   254,720.83     16.59%     4,878.89     213,645.76    16.35%    45,953.96

       117,371.28    32.41%       102,127.99   33.08%   15,243.29     134,810.39     44.00%   -17,439.11   Net Operating Profit                                792,969.28   40.39%   469,732.03     30.59%   323,237.25     496,873.71    38.03%   296,095.57



             0.00         0.00%         0.00   0.00%         0.00           0.00      0.00%        0.00    Owner's Expense                                           0.00   0.00%          0.00     0.00%          0.00         949.17    0.07%       -949.17



       117,371.28    32.41%       102,127.99   33.08%   15,243.29     134,810.39     44.00%   -17,439.11   Net Operating Income                                792,969.28   40.39%   469,732.03     30.59%   323,237.25     495,924.54    37.96%   297,044.74

         6,985.91         1.93%         0.00   0.00%     6,985.91      16,614.27      5.42%    -9,628.36   Capital Reserve                                      12,255.83   0.62%          0.00     0.00%     12,255.83      16,614.27    1.27%     -4,358.44

       110,385.37    30.48%       102,127.99   33.08%    8,257.38     118,196.12     38.58%    -7,810.75   Adjusted NOI                                        780,713.45   39.77%   469,732.03     30.59%   310,981.42     479,310.27    36.69%   301,403.18




       110,385.37    30.48%       102,127.99   33.08%    8,257.38     118,196.12     38.58%    -7,810.75   Net Profit/(Loss)                                   780,713.45   39.77%   469,732.03     30.59%   310,981.42     479,310.27    36.69%   301,403.18




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                                                                                                   Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                                        P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD     %           PTD Budget      %         Variance   PTD Last Year     %          Variance                                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
         7,867.57     2.24%         4,230.78      1.39%     3,636.79       4,230.55      1.40%      3,637.02   Corporate Transient                                   76,086.27     3.96%      24,114.78      1.59%    51,971.49       16,455.38     1.28%     59,630.89
         2,021.94     0.58%         2,380.00      0.78%      -358.06           0.00      0.00%      2,021.94   Advanced Purchase                                      5,473.81     0.28%       5,672.00      0.38%      -198.19            0.00     0.00%      5,473.81
        13,969.36     3.97%        67,007.25     22.04%   -53,037.89      59,105.67     19.60%    -45,136.31   Qualified Discounts                                   69,891.97     3.64%     143,499.25      9.49%   -73,607.28      203,498.01    15.78%   -133,606.04
         5,605.05     1.59%         2,043.14      0.67%     3,561.91       2,041.48      0.68%      3,563.57   FIT(Flexible Independent Travel)                      36,782.84     1.91%       8,567.14      0.57%    28,215.70        6,266.05     0.49%     30,516.79
         3,953.42     1.12%         1,310.06      0.43%     2,643.36       1,310.05      0.43%      2,643.37   Consortia Transient                                   28,956.05     1.51%       8,427.06      0.56%    20,528.99        4,375.84     0.34%     24,580.21
         2,900.20     0.82%         1,954.25      0.64%       945.95       2,068.10      0.69%        832.10   Employee                                              16,052.30     0.84%       6,659.25      0.44%     9,393.05        5,861.95     0.45%     10,190.35
        11,857.29     3.37%             0.00      0.00%    11,857.29       4,751.02      1.58%      7,106.27   Leisure Package Transient                             72,783.94     3.79%     122,535.00      8.10%   -49,751.06       25,524.00     1.98%     47,259.94
         8,034.20     2.28%         7,726.20      2.54%       308.00       8,239.59      2.73%       -205.39   Member Reward Stay                                    61,585.32     3.21%      22,153.20      1.46%    39,432.12       21,710.51     1.68%     39,874.81
        45,894.70    13.05%        27,105.15      8.91%    18,789.55      26,776.11      8.88%     19,118.59   Internet/E-Commerce                                  199,686.30    10.39%     190,009.15     12.56%     9,677.15       94,682.94     7.34%    105,003.36
             0.00     0.00%             0.00      0.00%         0.00           0.00      0.00%          0.00   E-Commerce Opaque                                          0.00     0.00%      30,122.00      1.99%   -30,122.00          800.90     0.06%       -800.90
             0.00     0.00%             0.00      0.00%         0.00           0.00      0.00%          0.00   Other Transient                                            0.00     0.00%           0.00      0.00%         0.00      220,938.07    17.14%   -220,938.07
         7,408.64     2.11%         5,640.50      1.85%     1,768.14       5,273.70      1.75%      2,134.94   Government Transient                                  50,051.54     2.61%      30,378.50      2.01%    19,673.04       20,177.47     1.56%     29,874.07
       143,322.11    40.76%        67,511.23     22.20%    75,810.88      67,472.17     22.38%     75,849.94   Rack Transient                                       742,392.93    38.64%     391,864.23     25.91%   350,528.70      262,293.23    20.34%    480,099.70
        73,399.81    20.87%        50,186.26     16.50%    23,213.55      47,382.60     15.71%     26,017.21   Local Negotiated Transient                           366,929.74    19.10%     280,976.26     18.58%    85,953.48      274,193.36    21.27%     92,736.38

      326,234.29     92.78%       237,094.82    77.97%    89,139.47     228,651.04      75.83%    97,583.25    Total Transient Room Revenue                       1,726,673.01   89.88%    1,264,977.82   83.65%     461,695.19    1,156,777.71    89.72%   569,895.30

                                                                                                               Group Room Revenue
             0.00         0.00%    14,319.00      4.71%   -14,319.00      14,190.00      4.71%    -14,190.00   Corporate Group                                       25,336.50     1.32%      14,319.00      0.95%     11,017.50      14,190.00     1.10%    11,146.50
        24,719.00         7.03%    52,670.00     17.32%   -27,951.00      58,244.00     19.32%    -33,525.00   SMERF Group                                          168,927.85     8.79%     232,460.00     15.37%    -63,532.15     118,921.48     9.22%    50,006.37

       24,719.00      7.03%        66,989.00    22.03%    -42,270.00     72,434.00      24.02%    -47,715.00   Total Group Room Revenue                            194,264.35    10.11%     246,779.00    16.32%     -52,514.65     133,111.48     10.32%    61,152.87

                                                                                                               Contract Room Revenue

             0.00     0.00%             0.00     0.00%         0.00            0.00      0.00%         0.00    Total Contract Room Revenue                                0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                               Other Room Revenue
         1,083.99         0.31%          0.00     0.00%     1,083.99         978.83      0.32%        105.16   No-Show Rooms                                          2,789.66     0.15%         250.00     0.02%      2,539.66        1,701.73     0.13%      1,087.93
             0.00         0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Pet/Smoking/Damage Fees                                  200.00     0.01%           0.00     0.00%        200.00            0.00     0.00%        200.00

        1,083.99      0.31%             0.00     0.00%     1,083.99         978.83       0.32%       105.16    Total Other Room Revenue                               2,989.66    0.16%         250.00      0.02%      2,739.66        1,701.73    0.13%      1,287.93

          -411.01     -0.12%             0.00     0.00%      -411.01        -523.62      -0.17%       112.61   Less: Allowances                                      -2,841.23    -0.15%         250.00     0.02%      -3,091.23      -2,251.46    -0.17%      -589.77

      351,626.27    100.00%       304,083.82    100.00%   47,542.45     301,540.25     100.00%    50,086.02    Total Room Revenue                                 1,921,085.79   100.00%   1,512,256.82 100.00%      408,828.97    1,289,339.46 100.00%     631,746.33

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
         1,529.82      0.44%             0.00     0.00%     1,529.82           0.00       0.00%     1,529.82   Division Management                                    2,838.21     0.15%           0.00      0.00%      2,838.21           0.00     0.00%      2,838.21
         2,677.18      0.76%         3,084.17     1.01%      -406.99       3,029.13       1.00%      -351.95   Front Office Management                               13,368.91     0.70%      15,005.68      0.99%     -1,636.77      11,862.50     0.92%      1,506.41
         4,428.41      1.26%         3,084.17     1.01%     1,344.24       3,029.14       1.00%     1,399.27   Housekeeping Management                               16,520.20     0.86%      15,005.68      0.99%      1,514.52      14,733.01     1.14%      1,787.19
        8,635.41      2.46%         6,168.34     2.03%     2,467.07       6,058.27       2.01%     2,577.14    Total Rooms Management                               32,727.32     1.70%      30,011.36      1.98%      2,715.96      26,595.51     2.06%      6,131.81
         5,974.87      1.70%         3,942.49     1.30%     2,032.38       6,452.38       2.14%      -477.51   Front Office Agents                                   17,716.45     0.92%      19,203.74      1.27%     -1,487.29      29,837.12     2.31%    -12,120.67
             0.00      0.00%         2,736.86     0.90%    -2,736.86           0.00       0.00%         0.00   Front Office Supervisors                                   0.00     0.00%      13,331.15      0.88%    -13,331.15           0.00     0.00%          0.00
         3,971.85      1.13%         3,705.12     1.22%       266.73       2,445.46       0.81%     1,526.39   Night Auditors                                        19,300.22     1.00%      18,047.52      1.19%      1,252.70      12,013.07     0.93%      7,287.15
         3,221.04      0.92%         2,604.00     0.86%       617.04       1,617.51       0.54%     1,603.53   Breakfast Attendant                                   11,641.48     0.61%      12,684.00      0.84%     -1,042.52       1,617.51     0.13%     10,023.97
       13,167.76      3.74%        12,988.47     4.27%       179.29      10,515.35       3.49%     2,652.41    Total Rooms Front Office                             48,658.15     2.53%      63,266.41      4.18%    -14,608.26      43,467.70     3.37%      5,190.45
             0.00      0.00%         2,072.57     0.68%    -2,072.57           0.00       0.00%         0.00   Housekeeping Supervisors                                   0.00     0.00%      10,095.42      0.67%    -10,095.42           0.00     0.00%          0.00
        16,615.44      4.73%         9,940.50     3.27%     6,674.94       9,833.44       3.26%     6,782.00   Room Attendants                                       57,838.28     3.01%      50,017.50      3.31%      7,820.78      45,216.55     3.51%     12,621.73
         7,134.95      2.03%         3,596.00     1.18%     3,538.95       2,180.48       0.72%     4,954.47   Laundry Attendants                                    20,262.78     1.05%      17,516.00      1.16%      2,746.78      10,509.84     0.82%      9,752.94
       23,750.39      6.75%        15,609.07     5.13%     8,141.32      12,013.92       3.98%    11,736.47    Total Rooms Housekeeping                             78,101.06     4.07%      77,628.92      5.13%        472.14      55,726.39     4.32%     22,374.67

       45,553.56     12.96%        34,765.88    11.43%    10,787.68      28,587.54       9.48%    16,966.02    Total Rooms Salary and Wages                        159,486.53     8.30%     170,906.69    11.30%     -11,420.16     125,789.60     9.76%     33,696.93



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                                                                                                 Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %           PTD Budget     %         Variance   PTD Last Year     %          Variance                                                             YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              PR Taxes and Benefits
         3,607.50      1.03%         2,752.82    0.91%       854.68       2,053.61       0.68%     1,553.89   FICA                                                 13,507.57    0.70%      13,960.01      0.92%       -452.44       9,019.96     0.70%      4,487.61
            86.46      0.02%            32.39    0.01%        54.07          43.89       0.01%        42.57   Federal Unemployment Tax                                580.48    0.03%         508.52      0.03%         71.96         448.51     0.03%        131.97
           389.06      0.11%           194.32    0.06%       194.74         197.56       0.07%       191.50   State Unemployment Tax                                2,612.19    0.14%       4,255.43      0.28%     -1,643.24       2,018.29     0.16%        593.90
        4,083.02      1.16%         2,979.53    0.98%     1,103.49       2,295.06       0.76%     1,787.96    Total Payroll Taxes                                 16,700.24    0.87%      18,723.96      1.24%     -2,023.72      11,486.76     0.89%      5,213.48
             0.00      0.00%           973.20    0.32%      -973.20           0.00       0.00%         0.00   Holiday                                                 977.12    0.05%       1,946.40      0.13%       -969.28           0.00     0.00%        977.12
         1,878.02      0.53%           241.29    0.08%     1,636.73           0.00       0.00%     1,878.02   Vacation                                              5,747.54    0.30%       1,023.07      0.07%      4,724.47           0.00     0.00%      5,747.54
        1,878.02      0.53%         1,214.49    0.40%       663.53            0.00      0.00%     1,878.02    Total Supplemental Pay                               6,724.66    0.35%       2,969.47      0.20%      3,755.19            0.00    0.00%      6,724.66
         1,997.60      0.57%         1,921.35    0.63%        76.25       1,110.00       0.37%       887.60   Worker's Compensation                                 9,751.26    0.51%       9,381.33      0.62%        369.93       5,573.80     0.43%      4,177.46
         1,589.97      0.45%           350.00    0.12%     1,239.97        -910.64      -0.30%     2,500.61   Group Insurance                                       9,002.85    0.47%       1,750.00      0.12%      7,252.85      -3,918.96    -0.30%     12,921.81
             0.00      0.00%             0.00    0.00%         0.00           0.00       0.00%         0.00   Bonus and Incentive Pay                              14,227.20    0.74%       8,586.24      0.57%      5,640.96           0.00     0.00%     14,227.20
        3,587.57      1.02%         2,271.35    0.75%     1,316.22         199.36       0.07%     3,388.21    Total Other Benefits                                32,981.31    1.72%      19,717.57      1.30%     13,263.74       1,654.84     0.13%     31,326.47

        9,548.61      2.72%         6,465.37    2.13%     3,083.24       2,494.42       0.83%     7,054.19    Total Rooms PR Taxes and Benefits                   56,406.21    2.94%      41,411.00      2.74%     14,995.21      13,141.60     1.02%     43,264.61

       55,102.17     15.67%        41,231.25    13.56%   13,870.92      31,081.96      10.31%    24,020.21    Total Rooms Labor Costs                            215,892.74    11.24%    212,317.69    14.04%       3,575.05     138,931.20     10.78%    76,961.54

                                                                                                              Other Expenses
         7,637.65         2.17%     6,847.90     2.25%       789.75       6,533.66      2.17%     1,103.99    Breakfast /Comp Cost                                 34,609.24    1.80%      34,456.50     2.28%         152.74      24,231.33     1.88%    10,377.91
         1,049.00         0.30%       773.15     0.25%       275.85         645.12      0.21%       403.88    Cleaning Supplies                                     4,729.27    0.25%       3,890.25     0.26%         839.02       4,261.31     0.33%       467.96
             0.00         0.00%         0.00     0.00%         0.00          90.00      0.03%       -90.00    Communication Expense                                     0.00    0.00%           0.00     0.00%           0.00          90.00     0.01%       -90.00
            54.57         0.02%        55.00     0.02%        -0.43          54.57      0.02%         0.00    Dues and Subscriptions                                  272.85    0.01%       1,280.00     0.08%      -1,007.15         272.85     0.02%         0.00
             0.00         0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00    Guest Loss/Damage                                       188.43    0.01%           0.00     0.00%         188.43           0.00     0.00%       188.43
         1,737.09         0.49%     1,104.50     0.36%       632.59       2,404.71      0.80%      -667.62    Guest Supplies                                        8,808.85    0.46%       5,557.50     0.37%       3,251.35       9,138.48     0.71%      -329.63
           793.30         0.23%     1,038.23     0.34%      -244.93         792.37      0.26%         0.93    Laundry                                               3,639.47    0.19%       5,224.05     0.35%      -1,584.58       3,964.66     0.31%      -325.19
         1,529.32         0.43%     1,148.68     0.38%       380.64       1,036.23      0.34%       493.09    Linen                                                11,648.93    0.61%       5,779.80     0.38%       5,869.13       3,586.75     0.28%     8,062.18
           190.95         0.05%       331.35     0.11%      -140.40           0.00      0.00%       190.95    Operating Supplies                                    1,963.20    0.10%       2,267.25     0.15%        -304.05           0.00     0.00%     1,963.20
             0.00         0.00%       176.72     0.06%      -176.72           0.00      0.00%         0.00    Printing and Stationery                                   0.00    0.00%         889.20     0.06%        -889.20          29.33     0.00%       -29.33
           750.87         0.21%       132.54     0.04%       618.33           0.00      0.00%       750.87    Reservation Expense                                   2,433.64    0.13%         666.90     0.04%       1,766.74           0.00     0.00%     2,433.64
            84.53         0.02%         0.00     0.00%        84.53           0.00      0.00%        84.53    Rooms Promotion                                         325.48    0.02%           0.00     0.00%         325.48           0.00     0.00%       325.48
         1,569.54         0.45%     1,555.00     0.51%        14.54       1,606.46      0.53%       -36.92    Television Cable                                      7,935.85    0.41%       7,775.00     0.51%         160.85       7,750.00     0.60%       185.85
            30.00         0.01%         0.00     0.00%        30.00           0.00      0.00%        30.00    Training                                                258.20    0.01%           0.00     0.00%         258.20           0.00     0.00%       258.20
             0.00         0.00%     2,009.67     0.66%    -2,009.67           0.00      0.00%         0.00    Travel Agent Comm - Group Rooms                           0.00    0.00%       7,403.37     0.49%      -7,403.37         176.30     0.01%      -176.30
         6,847.41         1.95%     3,997.26     1.31%     2,850.15       3,675.23      1.22%     3,172.18    Travel Agent Comm - Transient Rooms                  33,807.24    1.76%      25,857.65     1.71%       7,949.59      19,527.45     1.51%    14,279.79
             0.00         0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00    Uniforms                                                  0.00    0.00%       1,200.00     0.08%      -1,200.00           0.00     0.00%         0.00

       22,274.23      6.33%        19,170.00    6.30%     3,104.23      16,838.35       5.58%     5,435.88    Total Rooms Other Expenses                         110,620.65    5.76%     102,247.47      6.76%      8,373.18      73,028.46     5.66%     37,592.19

       77,376.40     22.01%        60,401.25    19.86%   16,975.15      47,920.31      15.89%    29,456.09    Total Rooms Expenses                               326,513.39    17.00%    314,565.16    20.80%      11,948.23     211,959.66     16.44%   114,553.73

      274,249.87     77.99%       243,682.57    80.14%   30,567.30     253,619.94      84.11%    20,629.93    Total Rooms Profit (Loss)                         1,594,572.40   83.00%   1,197,691.66   79.20%     396,880.74    1,077,379.80    83.56%   517,192.60




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                                                                                Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                     P&L - Dual Summary Pages
                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                                 YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                            Room Sale Stats
                                                                                            Tranisent Rooms
            54.00              37.00         17.00           37.00                 17.00    Room Stat - Corporate Transient                          562.00              191.00        371.00         135.00           427.00
            10.00              20.00        -10.00            0.00                 10.00    Room Stat - Advanced Purchase                             36.00               48.00        -12.00           0.00            36.00
            71.00               0.00         71.00          419.00               -348.00    Room Stat - Qualified Discounts                          362.00                0.00        362.00       1,556.00        -1,194.00
            37.00              14.00         23.00           14.00                 23.00    Room Stat - FIT(Flexible Independent Travel)             218.00               71.00        147.00          55.00           163.00
            21.00               8.00         13.00            8.00                 13.00    Room Stat - Consortia Rate Transient                     133.00               66.00         67.00          34.00            99.00
            61.00              47.00         14.00           47.00                 14.00    Room Stat - Employee                                     306.00              142.00        164.00         113.00           193.00
             0.00               0.00          0.00            0.00                  0.00    Room Stat - Leisure Transient                              0.00                0.00          0.00          20.00           -20.00
            66.00               0.00         66.00           26.00                 40.00    Room Stat - Package Transient                            396.00              855.00       -459.00         161.00           235.00
            70.00              70.00          0.00           73.00                 -3.00    Room Stat - Member Reward Stay                           452.00              228.00        224.00         231.00           221.00
           254.00             190.00         64.00          188.00                 66.00    Room Stat - Internet                                   1,016.00            1,386.00       -370.00         691.00           325.00
             0.00               0.00          0.00            0.00                  0.00    Room Stat - Other Transient                                0.00                0.00          0.00       2,129.00        -2,129.00
             0.00               0.00          0.00            0.00                  0.00    Room Stat - E-Commerce Opaque                              0.00              258.00       -258.00           6.00            -6.00
            51.00              45.00          6.00           45.00                  6.00    Room Stat - Government Rate Transient                    349.00              259.00         90.00         182.00           167.00
           740.00             390.00        350.00          390.00                350.00    Room Stat - Rack Rate Transient                        3,476.00            2,347.00      1,129.00       1,685.00         1,791.00
           615.00             427.00        188.00          412.00                203.00    Room Stat - Local Negotiated Transient                 2,883.00            2,491.00        392.00       2,596.00           287.00
        2,050.00           1,248.00        802.00        1,659.00                391.00     Total Transient Rooms Sold                           10,189.00            8,342.00      1,847.00       9,594.00           595.00

                                                                                            Group Rooms
             0.00             111.00        -111.00         111.00                -111.00   Room Stat - Corporate Group Rooms                        169.00              111.00         58.00         111.00           58.00
           141.00             380.00        -239.00         424.00                -283.00   Room Stat - SMERF Group                                1,010.00            1,590.00       -580.00         881.00          129.00
          141.00             491.00        -350.00         535.00                -394.00    Total Group Rooms Sold                                1,179.00            1,701.00       -522.00         992.00          187.00

                                                                                            Contract Rooms
             0.00              0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                                    0.00             0.00          0.00            0.00            0.00

        2,191.00           1,739.00        452.00        2,194.00                  -3.00    Total Rooms Sold                                     11,368.00           10,043.00      1,325.00      10,586.00          782.00
            0.00               0.00          0.00            0.00                    0.00   Room Stat - Comp Rooms                                    1.00                0.00          1.00            0.00            1.00
        2,191.00           1,739.00        452.00        2,194.00                  -3.00    Total Rooms Occupied                                 11,369.00           10,043.00      1,326.00      10,586.00          783.00
           12.00               0.00         12.00           13.00                   -1.00   Room Stat - Out of Order                                 25.00                0.00         25.00          217.00         -192.00

                                                                                            ADR
           145.70             114.35         31.35          114.34                 31.36    Corporate Transient ADR                                     135.38           126.26         9.13          121.89            13.49
           202.19             119.00         83.19            0.00                202.19    Advanced Purchase ADR                                       152.05           118.17        33.88            0.00           152.05
           196.75               0.00        196.75          141.06                 55.69    Qualified Discount ADR                                      193.07             0.00       193.07          130.78            62.29
           151.49             145.94          5.55          145.82                  5.67    FIT ADR                                                     168.73           120.66        48.06          113.93            54.80
           188.26             163.76         24.50          163.76                 24.50    Consortia ADR                                               217.71           127.68        90.03          128.70            89.01
            47.54              41.58          5.96           44.00                  3.54    Employee ADR                                                 52.46            46.90         5.56           51.88             0.58
             0.00               0.00          0.00            0.00                  0.00    Leisure ADR                                                   0.00             0.00         0.00            0.00             0.00
             0.00               0.00          0.00            0.00                  0.00    Travel Agent/Friends & Family ADR                             0.00             0.00         0.00            0.00             0.00
             0.00               0.00          0.00            0.00                  0.00    Leisure Package ADR                                           0.00             0.00         0.00        1,276.20        -1,276.20
           114.77             110.37          4.40          112.87                  1.90    Member Reward Stay ADR                                      136.25            97.16        39.09           93.98            42.27
             0.00               0.00          0.00            0.00                  0.00    Golf Pkg ADR                                                  0.00             0.00         0.00            0.00             0.00
             0.00               0.00          0.00            0.00                  0.00    Non Qualified ADR                                             0.00             0.00         0.00            0.00             0.00
           180.69             142.66         38.03          142.43                 38.26    Internet ADR                                                196.54           137.09        59.45          137.02            59.52
             0.00               0.00          0.00            0.00                  0.00    E-Commerce Opaque ADR                                         0.00           116.75      -116.75          133.48          -133.48
             0.00               0.00          0.00            0.00                  0.00    Other Transient ADR                                           0.00             0.00         0.00          103.78          -103.78
             0.00               0.00          0.00            0.00                  0.00    Airline Distressed Passenger ADR                              0.00             0.00         0.00            0.00             0.00
           145.27             125.34         19.92          117.19                 28.07    Government ADR                                              143.41           117.29        26.12          110.87            32.55
           193.68             173.11         20.57          173.01                 20.67    Rack ADR                                                    213.58           166.96        46.61          155.66            57.91
           119.35             117.53          1.82          115.01                  4.34    Local Negotiated ADR                                        127.27           112.80        14.48          105.62            21.65
          159.14             189.98         -30.84         137.82                  21.31    Total Transient ADR                                        169.46           151.64         17.82         120.57             48.89

             0.00            129.00        -129.00          127.84               -127.84    Corporate Group ADR                                        149.92           129.00         20.92          127.84           22.08
             0.00              0.00           0.00            0.00                  0.00    Leisure Group ADR                                            0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                  0.00    Government Group ADR                                         0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                  0.00    Tour & Travel Group ADR                                      0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                  0.00    Association Group ADR                                        0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                  0.00    City Wide Group ADR                                          0.00             0.00          0.00            0.00            0.00
           175.31            138.61          36.71          137.37                 37.94    SMERF Group ADR                                            167.26           146.20         21.05          134.98           32.27
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                                                                                Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                     P&L - Dual Summary Pages
                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                                YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00               0.00           0.00           0.00                   0.00    Sports Group ADR                                             0.00            0.00         0.00           0.00            0.00
            0.00               0.00           0.00           0.00                   0.00    Other Group ADR                                              0.00            0.00         0.00           0.00            0.00
          175.31             136.43          38.88         135.39                  39.92    Total Group ADR                                            164.77          145.08        19.69         134.18           30.59

             0.00              0.00           0.00            0.00                  0.00    Airline Crew ADR                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Other Contract ADR                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Contract ADR                                           0.00            0.00         0.00            0.00           0.00

          160.49             174.86         -14.37         137.44                  23.05    Total ADR                                                  168.99          150.58        18.41         121.80           47.19




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                                                                                              Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                                        As of 5/31/2022
              PTD     %           PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          F&B Summary
                                                                                                          Revenue
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Outlet Food Revenue                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Banquet and Catering Food Revenue                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Outlet Beverage Revenue                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Banquet and Catering Beverage Revenue                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Outlet Other Revenue                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Banquet and Catering Other Revenue                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%        0.00    Total F&B Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Food Purchases                                             0.00    0.00%        0.00       0.00%      0.00           49.23     0.00%     -49.23
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Beverage Purchases                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Cedit Employee Meals                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Credit House Charges                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Credit In-House Promotions                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Audio Visual Cost of Sales                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Other Cost of Sales                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%        0.00    Total F&B Cost of Sales                                    0.00   0.00%         0.00      0.00%       0.00           49.23    0.00%     -49.23

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%        0.00    F&B Gross Profit                                           0.00   0.00%         0.00      0.00%       0.00          -49.23    0.00%      49.23

                                                                                                          Expenses
                                                                                                          Payroll
                                                                                                          Salaries and Wages
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Management                                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Non-Management                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%        0.00    Total F&B Salaries and Wages                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          PR Taxes and Benefits
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Payroll Taxes                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Supplemental Pay                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%       0.00    Other Benefits                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%        0.00    Total F&B PR Taxes and Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%        0.00    Total F&B Payroll                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Audio Visual Supplies                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Banquet Expense                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Bar Expense/Promos                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Bar Supplies                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    China                                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Cleaning Supplies                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Communication Expense                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Contract Cleaning                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Contract Labor                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Decorations & Plants                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Dues and Subscriptions                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Equipment Rental                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Food and Beverage Advertising                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Glassware                                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Guest Loss/Damage                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Guest Supplies                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    In-House Entertainment                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Kitchen/Cooking Fuel                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Kitchen Equipment                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Laundry - Outside Expense                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Laundry Allocation                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Licenses/Permits                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Linen                                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%        0.00    Linen Rental                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                           Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Maintenance Contracts                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Meals and Entertainment                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Menus                                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Miscellaneous Expense                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Music and Entertainment                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Office Equipment                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Office Supplies                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Operating Supplies                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Paper/Plastic Supplies                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Printing and Stationery                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Silverware                                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Software Expense/Maintenance                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Television Cable                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Training                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Travel                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Uniforms                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Utensils                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total F&B Other Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total F&B Expenses                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total F&B Profit (Loss)                                    0.00   0.00%         0.00      0.00%       0.00          -49.23    0.00%      49.23




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                                                                                Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                            F&B Stats
                                                                                            Restaurant 1
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 2
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                            Room Service
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Room Service Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Room Service Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                            Banquets
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Banquets Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Banquets Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                            Catering
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Catering Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Catering Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 3
             0.00               0.00          0.00            0.00                  0.00    Breakfast Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Lunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Dinner Avg Check                                           0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Brunch Avg Check                                           0.00             0.00        0.00            0.00           0.00
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 4
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 5
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                            Bar 1
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                            0.00            0.00         0.00            0.00           0.00

                                                                                            Bar 2
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                            0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                  0.00    Total Covers                                               0.00            0.00         0.00            0.00           0.00




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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %        Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Food Purchases                                             0.00   0.00%         0.00     0.00%      0.00           49.23    0.00%    -49.23

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Cost of Sales                             0.00   0.00%        0.00      0.00%      0.00           49.23    0.00%    -49.23

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Non-Management                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Salaries and Wages                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin PR Taxes and Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Payroll                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Other Expenses                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                         0.00   0.00%        0.00      0.00%      0.00           49.23    0.00%    -49.23




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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %        Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Less Adjustments                                           0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Revenue                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Sales

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Cost of Sales                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Other Expenses                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 1
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 1 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 1 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 1 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 1 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 2 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 2 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 2 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 2 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Room Service
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Room Service Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Room Service Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Other Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Room Service Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Room Service Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Banquets
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Banquets Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Banquets Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                   0.00    Total Banquets Salaries and Wages                          0.00                 0.00                  0.00            0.00                0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                   0.00    Total Banquet Benefits                                     0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Catering
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Catering Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Catering Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Catering Gross Profit                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Catering Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 3
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 3 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 3 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 3 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Payroll Taxes and Benefits              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 3 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 4
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 4 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restauarnt 4 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 4 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 5
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 5 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 5 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Restaurant 5 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Restaurant 5 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 1
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Bar 1 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Bar 1 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Expenses                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 1 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Bar 2 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Bar 2 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expenses
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Expenses                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Bar 2 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %          Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                           Telephone
             0.00         0.00%         0.00   0.00%       0.00           21.97     100.00%      -21.97    Local and Long Distance Revenue                           0.00   0.00%          0.00     0.00%       0.00           94.54    100.00%      -94.54

             0.00     0.00%            0.00    0.00%       0.00           21.97    100.00%       -21.97    Telephone Revenue                                         0.00   0.00%         0.00      0.00%       0.00           94.54 100.00%         -94.54
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00    0.00%          0.00
             0.00     0.00%            0.00    0.00%       0.00           21.97    100.00%       -21.97    Total Telephone Revenue                                   0.00   0.00%         0.00      0.00%       0.00           94.54 100.00%         -94.54

                                                                                                           Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00          646.47 2,942.51%       -646.47    Cost of Sales - Local Calls                               0.00    0.00%        0.00       0.00%      0.00        3,228.78 3,415.25%     -3,228.78
             0.00      0.00%           0.00     0.00%      0.00           19.56    89.03%        -19.56    Cost of Sales - Long Distance                             0.00    0.00%        0.00       0.00%      0.00           70.49    74.56%        -70.49
             0.00     0.00%            0.00    0.00%       0.00         666.033,031.54%        -666.03     Total Telephone Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00       3,299.273,489.81%      -3,299.27

             0.00     0.00%            0.00    0.00%       0.00        -644.06-2,931.54%        644.06     Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00      -3,204.73
                                                                                                                                                                                                                                  -3,389.81%       3,204.73

                                                                                                           Other Expenses
             0.00      0.00%           0.00     0.00%      0.00        1,408.00 6,408.74%      -1,408.00   Internet/Web Expense                                      0.00    0.00%        0.00       0.00%      0.00        7,090.00 7,499.47%     -7,090.00
             0.00      0.00%           0.00     0.00%      0.00            0.00     0.00%           0.00   Telephone Equipment                                       0.00    0.00%        0.00       0.00%      0.00          225.00 237.99%         -225.00
             0.00     0.00%            0.00    0.00%       0.00       1,408.006,408.74%       -1,408.00    Total Telephone Other Expenses                            0.00   0.00%         0.00      0.00%       0.00       7,315.007,737.47%      -7,315.00

             0.00     0.00%            0.00    0.00%       0.00      -2,052.06-9,340.28%      2,052.06     Total Telephone Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00     -10,519.73
                                                                                                                                                                                                                                 -11,127.28%      10,519.73




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %         Variance                                                              YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                         Minor Operating
                                                                                                         Income
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%        0.00   Rental Income - Gift Shop                                  8.41     0.02%         0.00     0.00%         8.41           0.00      0.00%         8.41
         5,620.00     53.56%     2,000.00    42.70%    3,620.00       1,900.00      39.30%    3,720.00   Rental Income - Other                                 25,090.00    59.71%    10,000.00    42.55%    15,090.00       3,525.00     20.67%    21,565.00
        5,620.00     53.56%     2,000.00    42.70%    3,620.00       1,900.00      39.30%    3,720.00    Total Rental Income                                  25,098.41    59.73%    10,000.00    42.55%    15,098.41       3,525.00     20.67%    21,573.41
           358.00      3.41%         0.00     0.00%      358.00         192.00       3.97%      166.00   Vending Commissions Other                              1,635.00     3.89%         0.00     0.00%     1,635.00       1,150.00      6.74%       485.00
          358.00      3.41%          0.00    0.00%      358.00         192.00       3.97%      166.00    Total Vending Commission Income                       1,635.00     3.89%          0.00    0.00%     1,635.00       1,150.00      6.74%       485.00
           414.34      3.95%         0.00     0.00%      414.34           0.00       0.00%      414.34   Cancellation Fee - Rooms                                 414.34     0.99%         0.00     0.00%       414.34           0.00      0.00%       414.34
          414.34      3.95%          0.00    0.00%      414.34            0.00      0.00%      414.34    Total Cancellation Fee Income                           414.34     0.99%          0.00    0.00%       414.34            0.00     0.00%       414.34
            20.00      0.19%       242.99     5.19%     -222.99          40.00       0.83%      -20.00   Guest Laundry                                            112.00     0.27%     1,222.65     5.20%    -1,110.65         699.00      4.10%      -587.00
            29.70      0.28%        55.00     1.17%      -25.30          19.80       0.41%        9.90   Internet Access                                          252.45     0.60%       275.00     1.17%       -22.55         306.90      1.80%       -54.45
           628.91      5.99%       154.63     3.30%      474.28         227.08       4.70%      401.83   Telephone Revenue                                        705.10     1.68%       778.05     3.31%       -72.95       1,607.57      9.43%      -902.47
           600.00      5.72%         0.00     0.00%      600.00           0.00       0.00%      600.00   Other Revenue 3                                        1,375.03     3.27%         0.00     0.00%     1,375.03           0.00      0.00%     1,375.03
         2,822.20     26.90%     2,231.09    47.64%      591.11       2,455.49      50.79%      366.71   Gift Shop Sales                                       12,426.69    29.57%    11,226.15    47.77%     1,200.54       9,565.20     56.09%     2,861.49
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%        0.00   Pet Fees                                                   0.00     0.00%         0.00     0.00%         0.00         200.00      1.17%      -200.00
        4,100.81     39.08%     2,683.71    57.30%    1,417.10       2,742.37      56.73%    1,358.44    Total Other Income                                   14,871.27    35.39%    13,501.85    57.45%     1,369.42      12,378.67     72.59%     2,492.60

       10,493.15    100.00%     4,683.71    100.00%   5,809.44       4,834.37     100.00%    5,658.78    Total Minor Operating Income                         42,019.02    100.00%   23,501.85 100.00%      18,517.17      17,053.67 100.00%       24,965.35

                                                                                                         Cost of Sales
           992.22      9.46%     1,227.10    26.20%     -234.88         573.03      11.85%     419.19    Cost of Sales - Gift Shop                              5,036.14    11.99%     6,174.38    26.27%    -1,138.24       3,676.70     21.56%     1,359.44
          992.22      9.46%     1,227.10    26.20%     -234.88         573.03      11.85%     419.19     Total Minor Operated Cost of Sales                    5,036.14    11.99%     6,174.38    26.27%    -1,138.24       3,676.70     21.56%     1,359.44

        9,500.93     90.54%     3,456.61    73.80%    6,044.32       4,261.34      88.15%    5,239.59    Total Minor Operated Profit (Loss)                   36,982.88    88.01%    17,327.47    73.73%    19,655.41      13,376.97     78.44%    23,605.91




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Arcade
                                                                                                    Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Revenue                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Non-Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Salaries and Wages                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade PR Taxes and Benefits                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Payroll                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Other Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Expenses                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Profit (Loss)                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Waterpark
                                                                                                    Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Revenue                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Management                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Non-Management                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Profit (Loss)                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %        Variance   PTD Last Year     %        Variance                                                              YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                          Franchise Fees
             0.00         0.00%         0.00    0.00%       0.00        1,360.77      0.44%   -1,360.77   Franchise Fees - IT Fees                                   0.00    0.00%         0.00     0.00%        0.00        6,129.59     0.47%   -6,129.59
        21,122.42         5.83%    18,245.03    5.91%   2,877.39       18,092.41      5.90%    3,030.01   Franchise Fees - Royalty & Licenses                  115,282.22    5.87%    90,735.41     5.91%   24,546.81       77,441.61     5.93%   37,840.61
        11,010.00         3.04%     7,731.50    2.50%   3,278.50        6,270.68      2.05%    4,739.32   Franchise Fees - Frequent Guest                       58,641.62    2.99%    38,902.50     2.53%   19,739.12       33,442.17     2.56%   25,199.45
        14,081.62         3.89%    12,163.35    3.94%   1,918.27       12,061.61      3.94%    2,020.01   Franchise Fees - Marketing Contributions              76,854.85    3.91%    60,490.27     3.94%   16,364.58       51,627.76     3.95%   25,227.09
             0.00         0.00%         0.00    0.00%       0.00          120.63      0.04%     -120.63   Franchise Fees - Reservations-Central                      0.00    0.00%         0.00     0.00%        0.00          470.83     0.04%     -470.83

       46,214.04     12.76%       38,139.88    12.35%   8,074.16      37,906.10      12.37%   8,307.94    Total Franchise Fees                                250,778.69    12.77%   190,128.18   12.38%    60,650.51     169,111.96     12.94%   81,666.73




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                        A&G
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
         9,911.31      2.74%     6,057.63    1.96%    3,853.68       5,948.46       1.94%    3,962.85   Management- A&G                                       34,773.02    1.77%     29,123.14     1.90%     5,649.88      28,667.73     2.19%     6,105.29
        9,911.31      2.74%     6,057.63    1.96%    3,853.68       5,948.46       1.94%    3,962.85    Total A&G Management                                 34,773.02    1.77%     29,123.14     1.90%     5,649.88      28,667.73     2.19%     6,105.29
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%         0.00   Total A&G Non-Management                                   0.00   0.00%           0.00    0.00%          0.00           0.00    0.00%          0.00
        9,911.31      2.74%     6,057.63    1.96%    3,853.68       5,948.46       1.94%    3,962.85    Total A&G Salaries and Wages                         34,773.02    1.77%     29,123.14     1.90%     5,649.88      28,667.73     2.19%     6,105.29
                                                                                                        PR Taxes and Benefits
           737.14      0.20%       481.45    0.16%      255.69         427.33       0.14%      309.81   FICA                                                   3,695.20    0.19%      2,945.62     0.19%       749.58       2,053.05     0.16%     1,642.15
            17.66      0.00%         5.66    0.00%       12.00           9.13       0.00%        8.53   Federal Unemployment Tax                                 138.50    0.01%        114.84     0.01%        23.66         104.47     0.01%        34.03
            79.50      0.02%        33.98    0.01%       45.52          41.12       0.01%       38.38   State Unemployment Tax                                   623.30    0.03%        920.45     0.06%      -297.15         470.16     0.04%       153.14
          834.30      0.23%       521.09    0.17%      313.21         477.58       0.16%      356.72    Total Payroll Taxes                                   4,457.00    0.23%      3,980.91     0.26%       476.09       2,627.68     0.20%     1,829.32
             0.00      0.00%       235.79    0.08%     -235.79           0.00       0.00%        0.00   Vacation                                                   0.00    0.00%        999.75     0.07%      -999.75           0.00     0.00%         0.00
             0.00     0.00%       235.79    0.08%     -235.79            0.00      0.00%         0.00   Total Supplemental Pay                                     0.00   0.00%        999.75     0.07%      -999.75            0.00    0.00%          0.00
           411.77      0.11%       336.03    0.11%       75.74         235.97       0.08%      175.80   Worker's Compensation                                  2,045.22    0.10%      1,921.34     0.13%       123.88       1,428.26     0.11%       616.96
         1,863.75      0.51%       480.50    0.16%    1,383.25        -133.22      -0.04%    1,996.97   Group Insurance                                        9,588.67    0.49%      2,402.50     0.16%     7,186.17        -535.23    -0.04%    10,123.90
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Bonus and Incentive Pay                               14,719.28    0.75%      8,382.00     0.55%     6,337.28           0.00     0.00%    14,719.28
        2,275.52      0.63%       816.53    0.26%    1,458.99         102.75       0.03%    2,172.77    Total Other Benefits                                 26,353.17    1.34%     12,705.84     0.83%    13,647.33         893.03     0.07%    25,460.14
        3,109.82      0.86%     1,573.41    0.51%    1,536.41         580.33       0.19%    2,529.49    Total A&G PR Taxes and Benefits                      30,810.17    1.57%     17,686.50     1.15%    13,123.67       3,520.71     0.27%    27,289.46
       13,021.13      3.60%     7,631.04    2.47%    5,390.09       6,528.79       2.13%    6,492.34    Total A&G Payroll                                    65,583.19    3.34%     46,809.64     3.05%    18,773.55      32,188.44     2.46%    33,394.75
                                                                                                        Other Expenses
             0.00      0.00%         0.00    0.00%        0.00       1,000.00       0.33%   -1,000.00   Accounting/Audit Fees                                      0.00    0.00%          0.00     0.00%         0.00       5,000.00     0.38%    -5,000.00
          -118.99     -0.03%         0.00    0.00%     -118.99           0.00       0.00%     -118.99   Bad Debt Provision                                     5,263.88    0.27%          0.00     0.00%     5,263.88         226.35     0.02%     5,037.53
         1,069.51      0.30%       785.00    0.25%      284.51         659.57       0.22%      409.94   Bank Charges                                           4,695.58    0.24%      3,925.00     0.26%       770.58       3,310.11     0.25%     1,385.47
            -0.01      0.00%         0.00    0.00%       -0.01         -83.88      -0.03%       83.87   Cash Over/Short                                         -179.63   -0.01%          0.00     0.00%      -179.63         -83.87    -0.01%       -95.76
             0.00      0.00%       200.00    0.06%     -200.00           0.00       0.00%        0.00   Central Office - Travel Rebilled                           0.00    0.00%        600.00     0.04%      -600.00           0.00     0.00%         0.00
         1,000.00      0.28%     1,000.00    0.32%        0.00           0.00       0.00%    1,000.00   Central Office - Accounting Fees                       5,000.00    0.25%      5,000.00     0.33%         0.00           0.00     0.00%     5,000.00
             0.00      0.00%         0.00    0.00%        0.00         260.00       0.08%     -260.00   Central Office - IT Fees                                   0.00    0.00%          0.00     0.00%         0.00       1,000.00     0.08%    -1,000.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Classified Advertising                                     0.00    0.00%          0.00     0.00%         0.00         190.00     0.01%      -190.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Communication Expense                                      0.00    0.00%          0.00     0.00%         0.00          75.00     0.01%       -75.00
         9,659.36      2.67%     7,410.42    2.40%    2,248.94       7,306.38       2.38%    2,352.98   Credit Card Commission                                50,849.01    2.59%     36,858.21     2.40%    13,990.80      27,059.23     2.07%    23,789.78
             0.00      0.00%         0.00    0.00%        0.00         114.60       0.04%     -114.60   Data Processing                                            0.00    0.00%          0.00     0.00%         0.00         458.40     0.04%      -458.40
             0.00      0.00%        90.00    0.03%      -90.00         113.33       0.04%     -113.33   Dues and Subscriptions                                   150.00    0.01%        450.00     0.03%      -300.00         453.32     0.03%      -303.32
           544.00      0.15%       600.00    0.19%      -56.00          87.00       0.03%      457.00   Employee Relations                                     2,204.82    0.11%      3,270.00     0.21%    -1,065.18          87.00     0.01%     2,117.82
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Equipment Rental                                           0.00    0.00%          0.00     0.00%         0.00          74.90     0.01%       -74.90
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Licenses/Permits                                         138.75    0.01%        795.00     0.05%      -656.25           0.00     0.00%       138.75
            22.02      0.01%       100.00    0.03%      -77.98           0.00       0.00%       22.02   Meals and Entertainment                                   22.02    0.00%        500.00     0.03%      -477.98         112.09     0.01%       -90.07
            78.15      0.02%         0.00    0.00%       78.15         -40.38      -0.01%      118.53   Miscellaneous Expense                                    -50.51    0.00%          0.00     0.00%       -50.51        -109.79    -0.01%        59.28
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Office Equipment                                           0.00    0.00%          0.00     0.00%         0.00         340.25     0.03%      -340.25
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Office Supplies                                            0.00    0.00%          0.00     0.00%         0.00         385.73     0.03%      -385.73
            67.95      0.02%        75.00    0.02%       -7.05           0.00       0.00%       67.95   Operating Supplies                                       390.40    0.02%        375.00     0.02%        15.40           0.00     0.00%       390.40
             0.00      0.00%       413.14    0.13%     -413.14         126.14       0.04%     -126.14   Payroll Service Fees                                     784.05    0.04%      2,058.85     0.13%    -1,274.80         601.20     0.05%       182.85
             0.00      0.00%        25.00    0.01%      -25.00           0.00       0.00%        0.00   Postage                                                  212.13    0.01%        125.00     0.01%        87.13         213.25     0.02%        -1.12
            44.00      0.01%       350.00    0.11%     -306.00           0.00       0.00%       44.00   Professional Fees - Legal                              1,778.26    0.09%      1,750.00     0.11%        28.26         362.31     0.03%     1,415.95
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Professional Fees - Other                              3,335.86    0.17%        650.00     0.04%     2,685.86       1,488.97     0.11%     1,846.89
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Recruitment Advertising                                  842.75    0.04%        300.00     0.02%       542.75           0.00     0.00%       842.75
             0.00      0.00%         0.00    0.00%        0.00          28.95       0.01%      -28.95   Recruitment - Other                                        0.00    0.00%          0.00     0.00%         0.00         752.00     0.06%      -752.00
             0.00      0.00%       300.00    0.10%     -300.00           0.00       0.00%        0.00   Security - Outside                                         0.00    0.00%      1,500.00     0.10%    -1,500.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00       1,962.69       0.64%   -1,962.69   Software Expense/Maintenance                               0.00    0.00%          0.00     0.00%         0.00       7,563.45     0.58%    -7,563.45
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Training                                               2,695.00    0.14%      3,690.00     0.24%      -995.00          85.00     0.01%     2,610.00
             0.00      0.00%       100.00    0.03%     -100.00           0.00       0.00%        0.00   Travel                                                   271.19    0.01%        500.00     0.03%      -228.81          71.97     0.01%       199.22
       12,365.99      3.41%    11,448.56    3.71%      917.43      11,534.40       3.76%      831.59    Total A&G Other Expenses                             78,403.56    3.99%     62,347.06     4.06%    16,056.50      49,716.87     3.81%    28,686.69
       25,387.12      7.01%    19,079.60    6.18%    6,307.52      18,063.19       5.90%    7,323.93    Total A&G Expenses                                  143,986.75    7.33%    109,156.70     7.11%    34,830.05      81,905.31     6.27%    62,081.44




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                                                                                           Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                                P&L - Dual Summary Pages
                                                                                                                     As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Management                                        0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Non-Management                                    0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Salaries and Wages                                0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT PR Taxes and Benefits                             0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Payroll                                           0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                       Cost of Services
           125.00      0.03%       175.00    0.06%     -50.00           0.00       0.00%      125.00   Cost of Cell Phones                                      550.00    0.03%       875.00      0.06%     -325.00           0.00     0.00%       550.00
         1,100.00      0.30%     1,450.13    0.47%   -350.13            0.00       0.00%    1,100.00   Cost of Internet Services                              6,234.49    0.32%     7,250.65      0.47%   -1,016.16           0.00     0.00%     6,234.49
           983.78      0.27%       650.00    0.21%    333.78            0.00       0.00%      983.78   Cost of Calls                                          3,921.56    0.20%     3,250.00      0.21%      671.56           0.00     0.00%     3,921.56
        2,208.78      0.61%     2,275.13    0.74%     -66.35            0.00      0.00%    2,208.78    Total IT Cost of Services                            10,706.05    0.55%    11,375.65      0.74%     -669.60            0.00    0.00%    10,706.05

                                                                                                       System Costs
         2,002.69      0.55%     2,040.70    0.66%    -38.01            0.00       0.00%    2,002.69   Administrative & General                               3,883.45    0.20%     4,123.50      0.27%    -240.05            0.00     0.00%     3,883.45
             0.00      0.00%         0.00    0.00%      0.00            0.00       0.00%        0.00   Hardware                                                 292.46    0.01%         0.00      0.00%     292.46            0.00     0.00%       292.46
             0.00      0.00%        50.00    0.02%    -50.00            0.00       0.00%        0.00   Human Resources                                            0.00    0.00%       250.00      0.02%    -250.00            0.00     0.00%         0.00
           360.00      0.10%       180.00    0.06%    180.00            0.00       0.00%      360.00   Information Systems                                    1,800.00    0.09%       900.00      0.06%     900.00            0.00     0.00%     1,800.00
            87.00      0.02%        87.00    0.03%      0.00            0.00       0.00%       87.00   Property Ops & Maintenance                               435.00    0.02%       435.00      0.03%       0.00            0.00     0.00%       435.00
         1,213.01      0.33%     1,213.01    0.39%      0.00            0.00       0.00%    1,213.01   Rooms                                                  6,065.05    0.31%     6,065.05      0.39%       0.00            0.00     0.00%     6,065.05
        3,662.70      1.01%     3,570.71    1.16%      91.99            0.00      0.00%    3,662.70    Total IT Systems                                     12,475.96    0.64%    11,773.55      0.77%     702.41             0.00    0.00%    12,475.96

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Other Expenses                                    0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

        5,871.48      1.62%     5,845.84    1.89%      25.64            0.00      0.00%    5,871.48    Total IT Expenses                                    23,182.01    1.18%    23,149.20      1.51%       32.81            0.00    0.00%    23,182.01




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                                                                                            Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                      As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                        S&M
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
         5,076.34      1.40%         0.00    0.00%    5,076.34       4,258.51       1.39%     817.83    Division Management                                   21,345.79    1.09%         0.00      0.00%    21,345.79       15,386.33     1.18%      5,959.46
             0.00      0.00%     4,944.93    1.60%   -4,944.93           0.00       0.00%       0.00    Sales Managers                                             0.00    0.00%    23,966.19      1.56%   -23,966.19            0.00     0.00%          0.00
        5,076.34      1.40%     4,944.93    1.60%      131.41       4,258.51       1.39%     817.83     Total S&M Management                                 21,345.79    1.09%    23,966.19      1.56%    -2,620.40       15,386.33     1.18%      5,959.46
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%        0.00    Total S&M Non-Management                                   0.00   0.00%          0.00     0.00%          0.00            0.00    0.00%           0.00

        5,076.34      1.40%     4,944.93    1.60%     131.41        4,258.51       1.39%     817.83     Total S&M Salaries and Wages                         21,345.79    1.09%    23,966.19      1.56%     -2,620.40      15,386.33     1.18%      5,959.46

                                                                                                        PR Taxes and Benefits
           500.26      0.14%       393.08    0.13%     107.18          305.92       0.10%      194.34   FICA                                                   2,147.39    0.11%     2,129.09      0.14%         18.30       1,112.16      0.09%     1,035.23
            11.99      0.00%         4.62    0.00%       7.37            6.54       0.00%        5.45   Federal Unemployment Tax                                  70.50    0.00%        75.26      0.00%         -4.76          48.02      0.00%        22.48
            53.95      0.01%        27.75    0.01%      26.20           29.43       0.01%       24.52   State Unemployment Tax                                   317.26    0.02%       633.65      0.04%       -316.39         216.11      0.02%       101.15
          566.20      0.16%       425.45    0.14%     140.75          341.89       0.11%      224.31    Total Payroll Taxes                                   2,535.15    0.13%     2,838.00      0.18%       -302.85       1,376.29      0.11%     1,158.86
             0.00      0.00%       193.42    0.06%    -193.42            0.00       0.00%        0.00   Vacation                                                 484.56    0.02%       820.10      0.05%       -335.54           0.00      0.00%       484.56
             0.00     0.00%       193.42    0.06%    -193.42             0.00      0.00%         0.00   Total Supplemental Pay                                  484.56    0.02%       820.10      0.05%       -335.54            0.00     0.00%       484.56
           210.90      0.06%       274.36    0.09%     -63.46          168.93       0.06%       41.97   Worker's Compensation                                  1,103.81    0.06%     1,433.68      0.09%       -329.87         602.92      0.05%       500.89
           506.77      0.14%       731.64    0.24%    -224.87       -1,343.00      -0.44%    1,849.77   Group Insurance                                        2,781.25    0.14%     3,658.20      0.24%       -876.95      -2,686.00     -0.21%     5,467.25
         1,050.00      0.29%         0.00    0.00%   1,050.00            0.00       0.00%    1,050.00   Bonus and Incentive Pay                                3,650.00    0.19%     3,045.00      0.20%        605.00           0.00      0.00%     3,650.00
        1,767.67      0.49%     1,006.00    0.33%     761.67       -1,174.07      -0.38%    2,941.74    Total Other Benefits                                  7,535.06    0.38%     8,136.88      0.53%       -601.82      -2,083.08     -0.16%     9,618.14
        2,333.87      0.64%     1,624.87    0.53%     709.00         -832.18      -0.27%    3,166.05    Total S&M PR Taxes and Benefits                      10,554.77    0.54%    11,794.98      0.77%     -1,240.21        -706.79     -0.05%    11,261.56

        7,410.21      2.05%     6,569.80    2.13%     840.41        3,426.33       1.12%    3,983.88    Total S&M Payroll                                    31,900.56    1.63%    35,761.17      2.33%     -3,860.61      14,679.54     1.12%     17,221.02

                                                                                                        Other Expenses
             0.00      0.00%         0.00    0.00%        0.00         470.80       0.15%     -470.80   Advertising General                                        0.00    0.00%         0.00      0.00%          0.00       1,512.40     0.12%     -1,512.40
           815.00      0.23%       815.00    0.26%        0.00           0.00       0.00%      815.00   Advertising-Web/Internet                               2,980.00    0.15%     2,980.00      0.19%          0.00        -533.64    -0.04%      3,513.64
         1,876.54      0.52%     1,933.00    0.63%      -56.46       1,088.00       0.36%      788.54   Dues and Subscriptions                                 9,453.79    0.48%    15,160.40      0.99%     -5,706.61      14,707.82     1.13%     -5,254.03
             0.00      0.00%       100.00    0.03%     -100.00           0.00       0.00%        0.00   Meals and Entertainment                                    0.00    0.00%       500.00      0.03%       -500.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Office Supplies                                            0.00    0.00%         0.00      0.00%          0.00         266.64     0.02%       -266.64
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%        0.00   Operating Supplies                                       111.26    0.01%       250.00      0.02%       -138.74           0.00     0.00%        111.26
             0.00      0.00%        10.00    0.00%      -10.00           0.00       0.00%        0.00   Postage                                                    0.00    0.00%        50.00      0.00%        -50.00           0.00     0.00%          0.00
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%        0.00   Printing and Stationery                                    0.00    0.00%       400.00      0.03%       -400.00           0.00     0.00%          0.00
           144.97      0.04%       200.00    0.06%      -55.03           0.00       0.00%      144.97   Promotions - In-house                                    389.97    0.02%     1,000.00      0.07%       -610.03           0.00     0.00%        389.97
             0.00      0.00%       350.00    0.11%     -350.00           0.00       0.00%        0.00   Promotion - Outside                                        0.00    0.00%     1,750.00      0.11%     -1,750.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00       1,350.00       0.44%   -1,350.00   Software Expense/Maintenance                               0.00    0.00%         0.00      0.00%          0.00       1,350.00     0.10%     -1,350.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Training                                                 550.00    0.03%       995.00      0.06%       -445.00       1,745.00     0.13%     -1,195.00
             0.00      0.00%       100.00    0.03%     -100.00           0.00       0.00%        0.00   Travel                                                     0.00    0.00%       500.00      0.03%       -500.00           0.00     0.00%          0.00
        2,836.51      0.78%     3,608.00    1.17%     -771.49       2,908.80       0.95%       -72.29   Total S&M Other Expenses                             13,485.02    0.69%    23,585.40      1.54%    -10,100.38      19,048.22     1.46%     -5,563.20

       10,246.72      2.83%    10,177.80    3.30%       68.92       6,335.13       2.07%    3,911.59    Total S&M Expenses                                   45,385.58    2.31%    59,346.57      3.86%    -13,960.99      33,727.76     2.58%     11,657.82




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                                                                                            Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                                      As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                        R&M
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
         5,505.72      1.52%     3,834.49    1.24%    1,671.23       3,766.06       1.23%    1,739.66   Division Management                                   20,661.03    1.05%    18,656.27      1.21%    2,004.76       18,149.97     1.39%      2,511.06
        5,505.72      1.52%     3,834.49    1.24%    1,671.23       3,766.06       1.23%    1,739.66    Total R&M Management                                 20,661.03    1.05%    18,656.27      1.21%    2,004.76       18,149.97     1.39%      2,511.06
         2,218.92      0.61%     1,381.71    0.45%      837.21           0.00       0.00%    2,218.92   Engineers 1                                            8,252.34    0.42%     6,730.27      0.44%    1,522.07            0.00     0.00%      8,252.34
        2,218.92      0.61%     1,381.71    0.45%      837.21            0.00      0.00%    2,218.92    Total R&M Non-Management                              8,252.34    0.42%     6,730.27      0.44%    1,522.07             0.00    0.00%      8,252.34

        7,724.64      2.13%     5,216.20    1.69%    2,508.44       3,766.06       1.23%    3,958.58    Total R&M Salaries and Wages                         28,913.37    1.47%    25,386.54      1.65%    3,526.83       18,149.97     1.39%     10,763.40

                                                                                                        PR Taxes and Benefits
           574.51      0.16%       399.04    0.13%      175.47         270.55       0.09%     303.96    FICA                                                   2,140.17    0.11%     1,942.07      0.13%      198.10        1,299.82      0.10%       840.35
            13.77      0.00%         4.69    0.00%        9.08           5.78       0.00%       7.99    Federal Unemployment Tax                                  95.96    0.00%        69.49      0.00%       26.47           66.14      0.01%        29.82
            61.96      0.02%        28.17    0.01%       33.79          26.03       0.01%      35.93    State Unemployment Tax                                   431.86    0.02%       587.31      0.04%     -155.45          297.65      0.02%       134.21
          650.24      0.18%       431.90    0.14%      218.34         302.36       0.10%     347.88     Total Payroll Taxes                                   2,667.99    0.14%     2,598.87      0.17%        69.12       1,663.61      0.13%     1,004.38
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%        0.00    Total Supplemental Pay                                     0.00   0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
           228.73      0.06%       278.51    0.09%      -49.78         149.39       0.05%      79.34    Worker's Compensation                                  1,228.46    0.06%     1,314.92      0.09%      -86.46          831.44      0.06%       397.02
           421.71      0.12%       480.50    0.16%      -58.79           0.00       0.00%     421.71    Group Insurance                                        2,108.55    0.11%     2,402.50      0.16%     -293.95       -2,001.15     -0.15%     4,109.70
          650.44      0.18%       759.01    0.25%     -108.57         149.39       0.05%     501.05     Total Other Benefits                                  3,337.01    0.17%     3,717.42      0.24%     -380.41       -1,169.71     -0.09%     4,506.72
        1,300.68      0.36%     1,190.91    0.39%      109.77         451.75       0.15%     848.93     Total R&M PR Taxes and Benefits                       6,005.00    0.31%     6,316.29      0.41%     -311.29          493.90      0.04%     5,511.10

        9,025.32      2.49%     6,407.11    2.08%    2,618.21       4,217.81       1.38%    4,807.51    Total R&M Payroll                                    34,918.37    1.78%    31,702.83      2.06%    3,215.54       18,643.87     1.43%     16,274.50

                                                                                                        Other Expenses
           872.86      0.24%       154.63    0.05%      718.23         240.00       0.08%      632.86   Air Conditioning and Refrigeration                     3,038.84    0.15%     3,153.05      0.21%      -114.21       1,564.25     0.12%      1,474.59
           643.59      0.18%       441.80    0.14%      201.79         308.72       0.10%      334.87   Building                                               3,635.92    0.19%     2,223.00      0.14%     1,412.92       6,156.01     0.47%     -2,520.09
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Communication Expense                                      0.00    0.00%         0.00      0.00%         0.00          90.00     0.01%        -90.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Contract Labor                                             0.00    0.00%     3,000.00      0.20%    -3,000.00           0.00     0.00%          0.00
           392.45      0.11%       143.59    0.05%      248.86           0.00       0.00%      392.45   Electric Bulbs                                         1,064.64    0.05%       722.49      0.05%       342.15         428.93     0.03%        635.71
             0.00      0.00%        44.18    0.01%      -44.18           0.00       0.00%        0.00   Electrical and Mechanical                                 42.78    0.00%       222.30      0.01%      -179.52           0.00     0.00%         42.78
         1,627.18      0.45%     1,147.00    0.37%      480.18         365.37       0.12%    1,261.81   Elevator Maintenance Contracts                         9,417.35    0.48%     2,294.00      0.15%     7,123.35       1,461.48     0.11%      7,955.87
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Fire Safety Equipment                                    763.00    0.04%     1,488.00      0.10%      -725.00         671.00     0.05%         92.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Floor and Carpet Maintenance                             131.76    0.01%         0.00      0.00%       131.76           0.00     0.00%        131.76
             0.00      0.00%        44.18    0.01%      -44.18           0.00       0.00%        0.00   Furniture                                                  0.00    0.00%     1,722.30      0.11%    -1,722.30           0.00     0.00%          0.00
           765.00      0.21%       765.00    0.25%        0.00           0.00       0.00%      765.00   Grounds and Landscaping                                4,015.00    0.20%     5,875.00      0.38%    -1,860.00       3,477.13     0.27%        537.87
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Indoor Plant Maintenance                                 290.00    0.01%         0.00      0.00%       290.00           0.00     0.00%        290.00
             0.00      0.00%       110.45    0.04%     -110.45           0.00       0.00%        0.00   Kitchen Equipment Repairs                                  0.00    0.00%       555.75      0.04%      -555.75           0.00     0.00%          0.00
             0.00      0.00%       220.90    0.07%     -220.90           0.00       0.00%        0.00   Laundry Equipment Repairs                                  0.00    0.00%     1,111.50      0.07%    -1,111.50           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Licenses/Permits                                         175.00    0.01%         0.00      0.00%       175.00           0.00     0.00%        175.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Locks and Keys                                             0.00    0.00%         0.00      0.00%         0.00         612.38     0.05%       -612.38
             0.00      0.00%        25.00    0.01%      -25.00           0.00       0.00%        0.00   Operating Supplies                                       158.61    0.01%       125.00      0.01%        33.61           0.00     0.00%        158.61
           111.37      0.03%       110.45    0.04%        0.92          19.86       0.01%       91.51   Painting and Decorating                                  332.42    0.02%       555.75      0.04%      -223.33          19.86     0.00%        312.56
           187.50      0.05%       187.25    0.06%        0.25         371.70       0.12%     -184.20   Pest Control                                           1,578.50    0.08%     1,578.25      0.10%         0.25       4,238.23     0.32%     -2,659.73
           863.43      0.24%       176.72    0.06%      686.71           0.00       0.00%      863.43   Plumbing and Heating                                     978.43    0.05%     1,163.20      0.08%      -184.77       1,349.01     0.10%       -370.58
           550.00      0.15%       550.00    0.18%        0.00         550.00       0.18%        0.00   Pool Service- Contract                                 2,750.00    0.14%     2,750.00      0.18%         0.00       1,650.00     0.13%      1,100.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%        0.00   Radio and Television Repair                                0.00    0.00%       800.00      0.05%      -800.00           0.00     0.00%          0.00
            69.99      0.02%        50.00    0.02%       19.99           0.00       0.00%       69.99   Tools                                                     81.08    0.00%       250.00      0.02%      -168.92           0.00     0.00%         81.08
             0.00      0.00%        25.00    0.01%      -25.00           0.00       0.00%        0.00   Travel                                                     0.00    0.00%       625.00      0.04%      -625.00         105.61     0.01%       -105.61
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%        0.00   Uniforms                                                   0.00    0.00%       250.00      0.02%      -250.00           0.00     0.00%          0.00
           340.04      0.09%       340.04    0.11%        0.00         447.23       0.15%     -107.19   Waste Removal                                          1,700.20    0.09%     1,700.20      0.11%         0.00       1,312.67     0.10%        387.53
        6,423.41      1.77%     4,586.19    1.49%    1,837.22       2,302.88       0.75%    4,120.53    Total R&M Other Expenses                             30,153.53    1.54%    32,164.79      2.09%    -2,011.26      23,136.56     1.77%      7,016.97

       15,448.73      4.27%    10,993.30    3.56%    4,455.43       6,520.69       2.13%    8,928.04    Total R&M Expenses                                   65,071.90    3.31%    63,867.62      4.16%    1,204.28       41,780.43     3.20%     23,291.47




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                              YTD    %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                        Utilities
         1,463.91      0.40%     1,214.00    0.39%      249.91         631.97       0.21%      831.94   Water                                                  6,821.02    0.35%     6,147.00      0.40%      674.02       6,077.02     0.47%      744.00
         9,033.84      2.49%     8,320.00    2.69%      713.84       6,912.26       2.26%    2,121.58   Electricity                                           35,875.31    1.83%    31,756.00      2.07%    4,119.31      29,999.79     2.30%    5,875.52
         1,799.19      0.50%     1,417.00    0.46%      382.19         985.78       0.32%      813.41   Gas - Natural HLP                                      7,885.02    0.40%     7,015.00      0.46%      870.02       6,315.62     0.48%    1,569.40
             0.00      0.00%         0.00    0.00%        0.00         750.45       0.24%     -750.45   Sewer                                                      0.00    0.00%         0.00      0.00%        0.00         750.45     0.06%     -750.45
       12,296.94      3.40%    10,951.00    3.55%    1,345.94       9,280.46       3.03%    3,016.48    Total Utilities                                      50,581.35    2.58%    44,918.00      2.92%    5,663.35      43,142.88     3.30%    7,438.47




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                                                                                            Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %          Variance                                                             YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                         Fixed
           178.62      0.05%       487.03    0.16%     -308.41           0.00       0.00%       178.62   Personal Property Taxes                                 893.10    0.05%      8,279.50     0.54%    -7,386.40       5,844.35      0.45%    -4,951.25
         7,020.08      1.94%     6,783.21    2.20%      236.87       6,842.50       2.23%       177.58   Real Estate Taxes                                    35,100.40    1.79%     33,916.05     2.21%     1,184.35      34,212.50      2.62%       887.90
        7,198.70      1.99%     7,270.24    2.35%       -71.54      6,842.50       2.23%       356.20    Total Taxes                                         35,993.50    1.83%     42,195.55     2.75%    -6,202.05      40,056.85      3.07%    -4,063.35
            95.58      0.03%       337.25    0.11%     -241.67           0.00       0.00%        95.58   Insurance                                               477.92    0.02%      1,686.25     0.11%    -1,208.33           0.00      0.00%       477.92
            62.08      0.02%        28.75    0.01%       33.33           0.00       0.00%        62.08   Insurance - Crime                                       310.40    0.02%        143.75     0.01%       166.65           0.00      0.00%       310.40
           329.00      0.09%       329.00    0.11%        0.00          52.29       0.02%       276.71   Insurance - Employment                                1,645.00    0.08%      1,645.00     0.11%         0.00         261.42      0.02%     1,383.58
         1,945.47      0.54%     1,046.58    0.34%      898.89         128.57       0.04%     1,816.90   Insurance - General Liability                        10,179.35    0.52%      5,232.90     0.34%     4,946.45         642.86      0.05%     9,536.49
         2,955.08      0.82%     2,818.33    0.91%      136.75           0.00       0.00%     2,955.08   Insurance - Property                                 14,775.41    0.75%     14,091.65     0.92%       683.76           0.00      0.00%    14,775.41
            46.00      0.01%     1,626.92    0.53%   -1,580.92           0.00       0.00%        46.00   Insurance - Umbrella                                    230.00    0.01%      8,134.60     0.53%    -7,904.60           0.00      0.00%       230.00
        5,433.21      1.50%     6,186.83    2.00%     -753.62         180.86       0.06%     5,252.35    Total Insurance                                     27,618.08    1.41%     30,934.15     2.01%    -3,316.07         904.28      0.07%    26,713.80
        26,919.00      7.43%    27,103.67    8.78%     -184.67      26,198.00       8.55%       721.00   Ground Lease Expense                                134,595.00    6.86%    135,518.35     8.82%      -923.35     130,990.00     10.03%     3,605.00
       26,919.00      7.43%    27,103.67    8.78%     -184.67      26,198.00       8.55%       721.00    Total Leases & Rent                                134,595.00    6.86%    135,518.35     8.82%      -923.35     130,990.00     10.03%     3,605.00
        11,363.58      3.14%     9,263.03    3.00%    2,100.55       9,691.90       3.16%     1,671.68   Management Fee - Base                                61,393.14    3.13%     46,072.78     3.00%    15,320.36      41,694.63      3.19%    19,698.51
       11,363.58      3.14%     9,263.03    3.00%    2,100.55       9,691.90       3.16%     1,671.68    Total Management Fees                               61,393.14    3.13%     46,072.78     3.00%    15,320.36      41,694.63      3.19%    19,698.51
         6,985.91      1.93%         0.00    0.00%    6,985.91      16,614.27       5.42%    -9,628.36   Capital Reserve                                      12,255.83    0.62%          0.00     0.00%    12,255.83      16,614.27      1.27%    -4,358.44
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%         0.00   Owner's Expense                                           0.00    0.00%          0.00     0.00%         0.00         949.17      0.07%      -949.17
        6,985.91      1.93%          0.00   0.00%    6,985.91      16,614.27       5.42%    -9,628.36    Total Other Non-Operating                           12,255.83    0.62%           0.00    0.00%    12,255.83      17,563.44      1.34%    -5,307.61




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             PTD      %        PTD Budget      %         Variance   PTD Last Year     %             Variance                                                                YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                               Statistics
            94.00                    94.00                   0.00          94.00                        0.00   # Rooms                                                     94.00                    94.00                     0.00          94.00                     0.00
         2,914.00                 2,914.00                   0.00       2,914.00                        0.00   Available Rooms                                         14,194.00                14,194.00                     0.00      14,194.00                     0.00
         1,706.00                 1,775.00                 -69.00       1,845.00                     -139.00   Room Nights Sold                                        11,135.00                 9,873.00                 1,262.00       8,693.00                 2,442.00
          58.54%                   60.91%                 -2.37%         63.32%                      -4.77%    Occupancy %                                               78.45%                   69.56%                    8.89%         61.24%                   17.20%
           126.58                   121.90                   4.68         109.19                       17.39   ADR                                                        187.39                   152.24                    35.15         125.75                    61.65
            74.11                    74.25                  -0.14          69.13                        4.98   RevPar                                                     147.01                   105.90                    41.11          77.01                    69.99

                                                                                                               Summary V.11
                                                                                                               Revenue
       215,949.01    95.83%    216,370.00     98.96%      -420.99     201,451.12     97.12%        14,497.89   Rooms                                                2,086,630.14    98.93%    1,503,083.95    99.17%    583,546.19   1,093,124.25    97.47%     993,505.89
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%             0.00   F&B                                                          0.00     0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
         9,396.25     4.17%      2,269.50      1.04%     7,126.75       5,965.67      2.88%         3,430.58   Other Departments                                       22,674.66     1.07%       12,635.50     0.83%     10,039.16      28,395.11     2.53%      -5,720.45

      225,345.26    100.00%    218,639.50    100.00%    6,705.76     207,416.79     100.00%       17,928.47    Total Operating Revenue                             2,109,304.80    100.00%   1,515,719.45 100.00%      593,585.35    1,121,519.36 100.00%      987,785.44

                                                                                                               Departmental Expenses
        72,476.16    33.56%     77,930.36     36.02%    -5,454.20      51,286.42     25.46%        21,189.74   Rooms                                                 437,299.87     20.96%     433,807.91     28.86%      3,491.96     245,545.80    22.46%     191,754.07
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%             0.00   F&B                                                         0.00      0.00%           0.00      0.00%          0.00         326.07     0.00%        -326.07
         1,403.29    14.93%      1,263.34     55.67%       139.95       3,525.50     59.10%        -2,122.21   Other Departments                                       6,173.71     27.23%       7,044.03     55.75%       -870.32      16,345.27    57.56%     -10,171.56

       73,879.45     32.79%     79,193.70    36.22%    -5,314.25      54,811.92      26.43%       19,067.53    Total Departmental Expenses                          443,473.58     21.02%     440,851.94     29.09%      2,621.64     262,217.14     23.38%    181,256.44

      151,465.81     67.21%    139,445.80    63.78%    12,020.01     152,604.87      73.57%       -1,139.06    Total Departmental Profit                           1,665,831.22    78.98%    1,074,867.51    70.91%    590,963.71     859,302.22     76.62%    806,529.00

                                                                                                               Undistributed Operating Expenses
        19,825.34     8.80%     21,672.82      9.91%    -1,847.48      21,589.33     10.41%        -1,763.99   A&G                                                   173,312.45      8.22%     135,403.02      8.93%     37,909.43     107,510.73     9.59%      65,801.72
         5,836.99     2.59%      5,966.70      2.73%      -129.71           0.00      0.00%         5,836.99   IT                                                     28,576.08      1.35%      23,753.50      1.57%      4,822.58           0.00     0.00%      28,576.08
         9,732.62     4.32%      8,502.10      3.89%     1,230.52       5,009.61      2.42%         4,723.01   S&M                                                    41,776.27      1.98%      47,908.97      3.16%     -6,132.70      28,911.05     2.58%      12,865.22
        24,080.42    10.69%     28,128.10     12.87%    -4,047.68      40,825.42     19.68%       -16,745.00   Franchise Fees                                        255,839.13     12.13%     195,400.92     12.89%     60,438.21     163,651.92    14.59%      92,187.21
        20,390.66     9.05%     15,273.51      6.99%     5,117.15      14,614.72      7.05%         5,775.94   R&M                                                    92,480.36      4.38%      85,815.83      5.66%      6,664.53      61,064.99     5.44%      31,415.37
         9,726.69     4.32%      9,746.50      4.46%       -19.81      10,776.73      5.20%        -1,050.04   Utilities                                              49,769.43      2.36%      54,388.50      3.59%     -4,619.07      43,780.56     3.90%       5,988.87

       89,592.72     39.76%     89,289.73    40.84%       302.99      92,815.81      44.75%       -3,223.09    Total Undistributed Expenses                         641,753.72     30.42%     542,670.74     35.80%     99,082.98     404,919.25     36.10%    236,834.47

       61,873.09     27.46%     50,156.07    22.94%    11,717.02      59,789.06      28.83%        2,084.03    Gross Operating Profit                              1,024,077.50    48.55%     532,196.77     35.11%    491,880.73     454,382.97     40.51%    569,694.53
         7,260.35      3.22%      6,559.19     3.00%       701.16       6,722.50       3.24%          537.85   Management Fees                                         65,778.95     3.12%      45,471.59      3.00%     20,307.36      37,191.15      3.32%     28,587.80
       54,612.74     24.24%     43,596.88    19.94%    11,015.86      53,066.56      25.58%        1,546.18    Income Before Non-Operating Income and Expenses       958,298.55    45.43%     486,725.18     32.11%    471,573.37     417,191.82     37.20%    541,106.73

                                                                                                               Non-Operating Income and Expenses
         5,876.38      2.61%      7,030.92     3.22%    -1,154.54         191.29       0.09%        5,685.09   Insurance                                              31,649.51      1.50%      35,154.60      2.32%     -3,505.09         956.42      0.09%     30,693.09
        24,271.00     10.77%     24,270.82    11.10%         0.18      23,621.00      11.39%          650.00   Leases & Rent                                         121,355.00      5.75%     121,354.10      8.01%          0.90     118,105.00     10.53%      3,250.00
             0.00      0.00%      6,500.00     2.97%    -6,500.00       2,144.19       1.03%       -2,144.19   Other                                                       0.00      0.00%      37,060.00      2.45%    -37,060.00       3,158.28      0.28%     -3,158.28
       30,147.38     13.38%     37,801.74    17.29%    -7,654.36      25,956.48      12.51%        4,190.90    Total Non-Operating Income and Expenses              153,004.51      7.25%     193,568.70     12.77%    -40,564.19     122,219.70     10.90%     30,784.81

       24,465.36     10.86%      5,795.14     2.65%    18,670.22      27,110.08      13.07%       -2,644.72    EBITDA                                               805,294.04     38.18%     293,156.48     19.34%    512,137.56     294,972.12     26.30%    510,321.92
             0.00      0.00%          0.00     0.00%        0.00            0.00       0.00%            0.00   Interest                                                    0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
        10,064.97      4.47%     10,036.51     4.59%       28.46        7,906.64       3.81%        2,158.33   Taxes                                                  50,324.85      2.39%      50,182.55      3.31%        142.30      16,205.72      1.44%     34,119.13
       10,064.97      4.47%     10,036.51     4.59%        28.46       7,906.64       3.81%        2,158.33    Interest, Taxes, Depreciation and Amortization        50,324.85      2.39%      50,182.55      3.31%        142.30      16,205.72      1.44%     34,119.13

       14,400.39      6.39%     -4,241.37     -1.94%   18,641.76      19,203.44       9.26%       -4,803.05    Net Income                                           754,969.19     35.79%     242,973.93     16.03%    511,995.26     278,766.40     24.86%    476,202.79




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                                                                                            Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
             PTD      %       PTD Budget    %         Variance   PTD Last Year     %             Variance                                                                YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                            Statistics
            94.00                  94.00                  0.00          94.00                        0.00   # Rooms                                                    94.00                    94.00                    0.00          94.00                    0.00
         2,914.00               2,914.00                  0.00       2,914.00                        0.00   Available Rooms                                        14,194.00                14,194.00                    0.00      14,194.00                    0.00
         1,706.00               1,775.00                -69.00       1,845.00                     -139.00   Room Nights Sold                                       11,135.00                 9,873.00                1,262.00       8,693.00                2,442.00
             0.59                   0.61                 -0.02           0.63                       -0.05   Occupancy %                                                 0.78                     0.70                    0.09           0.61                    0.17
           126.58                 121.90                  4.68         109.19                       17.39   ADR                                                       187.39                   152.24                   35.15         125.75                   61.65
            74.11                  74.25                 -0.14          69.13                        4.98   RevPar                                                    147.01                   105.90                   41.11          77.01                   69.99

                                                                                                            Summary
                                                                                                            Revenue:
       215,949.01    95.83%   216,370.00   98.96%      -420.99     201,451.12     97.12%        14,497.89   Rooms                                                2,086,630.14   98.93%    1,503,083.95    99.17%   583,546.19   1,093,124.25    97.47%    993,505.89
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Food                                                         0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Beverage                                                     0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Other F&B Revenue                                            0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Telephone                                                    0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         9,396.25     4.17%     2,269.50    1.04%     7,126.75       5,965.67      2.88%         3,430.58   Other                                                   22,674.66    1.07%       12,635.50     0.83%    10,039.16      28,395.11     2.53%     -5,720.45

       225,345.26   100.00%   218,639.50   100.00%    6,705.76     207,416.79     100.00%       17,928.47   Total Revenue                                        2,109,304.80   100.00%   1,515,719.45   100.00%   593,585.35   1,121,519.36    100.00%   987,785.44



                                                                                                            Cost of Sales:
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00   Food                                                         0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00   Beverage                                                     0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00   Other F&B                                                    0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00          751.82     12.60%          -751.82   Telephone                                                    0.00    0.00%            0.00     0.00%         0.00       4,009.01    14.12%     -4,009.01
         1,403.29    14.93%     1,263.34   55.67%      139.95        1,433.18     24.02%           -29.89   Other                                                    6,173.71   27.23%        7,044.03    55.75%      -870.32       5,518.76    19.44%        654.95

         1,403.29    14.93%     1,263.34   55.67%      139.95        2,185.00     36.63%          -781.71   Total Cost of Sales                                      6,173.71   27.23%        7,044.03    55.75%      -870.32       9,527.77    33.55%     -3,354.06



                                                                                                            Payroll:
        41,633.58    19.28%    44,151.67   20.41%    -2,518.09      31,800.64     15.79%         9,832.94   Rooms                                                 218,616.74    10.48%     213,892.95     14.23%     4,723.79     130,978.88    11.98%     87,637.86
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   F&B                                                         0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Other                                                       0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         9,674.00     4.29%     9,312.98    4.26%       361.02       9,112.63      4.39%           561.37   A&G                                                    48,649.31     2.31%      45,278.29      2.99%     3,371.02      41,647.48     3.71%      7,001.83
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   IT                                                          0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         1,820.37     0.81%     3,269.06    1.50%    -1,448.69       2,997.05      1.44%        -1,176.68   S&M                                                    15,486.10     0.73%      16,004.37      1.06%      -518.27      11,114.99     0.99%      4,371.11
         8,348.12     3.70%     8,085.97    3.70%       262.15       5,480.80      2.64%         2,867.32   R&M                                                    32,936.61     1.56%      39,356.20      2.60%    -6,419.59      29,205.58     2.60%      3,731.03
        61,476.07    27.28%    64,819.68   29.65%    -3,343.61      49,391.12     23.81%        12,084.95   Total Salaries and Wages                              315,688.76    14.97%     314,531.81     20.75%     1,156.95     212,946.93    18.99%    102,741.83

        10,425.11     4.63%    10,152.08    4.64%       273.03       5,427.60      2.62%         4,997.51   Total Taxes and Benefits                               74,145.21     3.52%      74,000.12      4.88%       145.09      28,644.67     2.55%     45,500.54
        71,901.18    31.91%    74,971.76   34.29%    -3,070.58      54,818.72     26.43%        17,082.46   Total Labor Costs                                     389,833.97    18.48%     388,531.93     25.63%     1,302.04     241,591.60    21.54%    148,242.37



                                                                                                            Direct Expenses:
        24,743.73    11.46%    27,946.66   12.92%    -3,202.93      15,066.95      7.48%         9,676.78   Rooms                                                 184,373.71     8.84%     188,148.78     12.52%    -3,775.07      93,511.92     8.55%     90,861.79
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   F&B                                                         0.00     0.00%           0.00      0.00%         0.00         326.07     0.00%       -326.07
             0.00     0.00%         0.00    0.00%         0.00       1,340.50     22.47%        -1,340.50   Telephone                                                   0.00     0.00%           0.00      0.00%         0.00       6,817.50    24.01%     -6,817.50
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Other                                                       0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        24,080.42    10.69%    28,128.10   12.87%    -4,047.68      40,825.42     19.68%       -16,745.00   Franchise Fees                                        255,839.13    12.13%     195,400.92     12.89%    60,438.21     163,651.92    14.59%     92,187.21
         8,435.20     3.74%    10,370.94    4.74%    -1,935.74      12,245.50      5.90%        -3,810.30   A&G                                                    95,688.75     4.54%      65,502.14      4.32%    30,186.61      64,017.63     5.71%     31,671.12
         5,836.99     2.59%     5,966.70    2.73%      -129.71           0.00      0.00%         5,836.99   IT                                                     28,576.08     1.35%      23,753.50      1.57%     4,822.58           0.00     0.00%     28,576.08
         6,331.89     2.81%     4,347.43    1.99%     1,984.46       1,592.88      0.77%         4,739.01   S&M                                                    20,010.32     0.95%      21,742.58      1.43%    -1,732.26      16,008.65     1.43%      4,001.67
        11,012.78     4.89%     5,742.00    2.63%     5,270.78       8,776.03      4.23%         2,236.75   R&M                                                    54,962.20     2.61%      39,010.30      2.57%    15,951.90      27,902.77     2.49%     27,059.43
         9,726.69     4.32%     9,746.50    4.46%       -19.81      10,776.73      5.20%        -1,050.04   Utilities                                              49,769.43     2.36%      54,388.50      3.59%    -4,619.07      43,780.56     3.90%      5,988.87

        90,167.70    40.01%    92,248.33   42.19%    -2,080.63      90,624.01     43.69%          -456.31   Total Direct Expense                                  689,219.62    32.68%     587,946.72     38.79%   101,272.90     416,017.02    37.09%    273,202.60

        61,873.09    27.46%    50,156.07   22.94%    11,717.02      59,789.06     28.83%         2,084.03   Gross Operating Profit                               1,024,077.50   48.55%     532,196.77     35.11%   491,880.73     454,382.97    40.51%    569,694.53

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                                                                                          Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
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                                                                                                                        As of 5/31/2022
             PTD      %       PTD Budget   %         Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance




                                                                                                          Fixed Costs
        10,064.97     4.47%    10,036.51    4.59%       28.46       7,906.64      3.81%       2,158.33    Taxes                                                  50,324.85   2.39%     50,182.55     3.31%        142.30      16,205.72     1.44%    34,119.13
         5,876.38     2.61%     7,030.92    3.22%   -1,154.54         191.29      0.09%       5,685.09    Insurance                                              31,649.51   1.50%     35,154.60     2.32%     -3,505.09         956.42     0.09%    30,693.09
        24,271.00    10.77%    24,270.82   11.10%        0.18      23,621.00     11.39%         650.00    Leases & Rent                                         121,355.00   5.75%    121,354.10     8.01%          0.90     118,105.00    10.53%     3,250.00
         7,260.35     3.22%     6,559.19    3.00%      701.16       6,722.50      3.24%         537.85    Management Fees                                        65,778.95   3.12%     45,471.59     3.00%     20,307.36      37,191.15     3.32%    28,587.80

        47,472.70    21.07%    47,897.44   21.91%     -424.74      38,441.43     18.53%       9,031.27    Total Fixed Expenses                                  269,108.31   12.76%   252,162.84     16.64%    16,945.47     172,458.29    15.38%    96,650.02

        14,400.39     6.39%     2,258.63   1.03%    12,141.76      21,347.63     10.29%       -6,947.24   Net Operating Profit                                  754,969.19   35.79%   280,033.93     18.48%   474,935.26     281,924.68    25.14%   473,044.51



             0.00     0.00%         0.00   0.00%         0.00           0.00      0.00%            0.00   Owner's Expense                                             0.00   0.00%          0.00     0.00%          0.00      -1,087.92    -0.10%     1,087.92
             0.00     0.00%         0.00   0.00%         0.00           0.00      0.00%            0.00   Prior Owner's Expense                                       0.00   0.00%          0.00     0.00%          0.00         635.01     0.06%      -635.01
             0.00     0.00%         0.00   0.00%         0.00       2,144.19      1.03%       -2,144.19   Non Recurring Cost                                          0.00   0.00%          0.00     0.00%          0.00       3,611.19     0.32%    -3,611.19



        14,400.39     6.39%     2,258.63   1.03%    12,141.76      19,203.44      9.26%       -4,803.05   Net Operating Income                                  754,969.19   35.79%   280,033.93     18.48%   474,935.26     278,766.40    24.86%   476,202.79

             0.00     0.00%     6,500.00   2.97%    -6,500.00           0.00      0.00%           0.00    Capital Reserve                                             0.00   0.00%     37,060.00     2.45%    -37,060.00           0.00    0.00%          0.00

        14,400.39     6.39%    -4,241.37   -1.94%   18,641.76      19,203.44      9.26%       -4,803.05   Adjusted NOI                                          754,969.19   35.79%   242,973.93     16.03%   511,995.26     278,766.40    24.86%   476,202.79




        14,400.39     6.39%    -4,241.37   -1.94%   18,641.76      19,203.44      9.26%       -4,803.05   Net Profit/(Loss)                                     754,969.19   35.79%   242,973.93     16.03%   511,995.26     278,766.40    24.86%   476,202.79




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                                                                                               Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
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                                                                                                                             As of 5/31/2022
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %             Variance                                                               YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
        52,720.46    24.41%     27,423.00     12.67%   25,297.46       27,139.56     13.47%        25,580.90   Corporate Transient                                   392,222.19    18.80%      78,585.00      5.23%    313,637.19     133,921.23    12.25%    258,300.96
             0.00     0.00%      6,138.00      2.84%   -6,138.00            0.00      0.00%             0.00   Advanced Purchase                                           0.00     0.00%      56,419.00      3.75%    -56,419.00           0.00     0.00%          0.00
         6,733.03     3.12%     15,965.00      7.38%   -9,231.97        2,935.07      1.46%         3,797.96   Qualified Discounts                                    66,237.00     3.17%     100,049.00      6.66%    -33,812.00      20,099.44     1.84%     46,137.56
         2,994.00     1.39%      3,379.00      1.56%     -385.00            0.00      0.00%         2,994.00   FIT(Flexible Independent Travel)                       19,427.61     0.93%      18,048.00      1.20%      1,379.61         788.00     0.07%     18,639.61
         2,352.63     1.09%          0.00      0.00%    2,352.63        1,233.11      0.61%         1,119.52   Consortia Transient                                    43,191.20     2.07%           0.00      0.00%     43,191.20       9,943.78     0.91%     33,247.42
             0.00     0.00%      1,015.00      0.47%   -1,015.00            0.00      0.00%             0.00   Employee                                                    0.00     0.00%      10,185.00      0.68%    -10,185.00          35.00     0.00%        -35.00
             0.00     0.00%          0.00      0.00%        0.00            0.00      0.00%             0.00   Leisure Transient                                           0.00     0.00%           0.00      0.00%          0.00       2,195.99     0.20%     -2,195.99
           782.25     0.36%      4,898.00      2.26%   -4,115.75            0.00      0.00%           782.25   Travel Agent/Friends & Family                          11,983.36     0.57%      32,772.00      2.18%    -20,788.64           0.00     0.00%     11,983.36
             0.00     0.00%          0.00      0.00%        0.00            0.00      0.00%             0.00   Leisure Package Transient                               6,893.76     0.33%           0.00      0.00%      6,893.76           0.00     0.00%      6,893.76
             0.00     0.00%      2,542.00      1.17%   -2,542.00          709.45      0.35%          -709.45   Member Reward Stay                                      5,362.47     0.26%      21,820.95      1.45%    -16,458.48       2,882.38     0.26%      2,480.09
             0.00     0.00%          0.00      0.00%        0.00            0.00      0.00%             0.00   Non Qualified Discounts                                     0.00     0.00%       3,470.00      0.23%     -3,470.00           0.00     0.00%          0.00
        25,729.55    11.91%     29,512.00     13.64%   -3,782.45        6,574.35      3.26%        19,155.20   Internet/E-Commerce                                   156,434.44     7.50%     338,578.00     22.53%   -182,143.56      54,557.16     4.99%    101,877.28
             0.00     0.00%      3,069.00      1.42%   -3,069.00            0.00      0.00%             0.00   E-Commerce Opaque                                     125,829.52     6.03%      13,037.00      0.87%    112,792.52           0.00     0.00%    125,829.52
             0.00     0.00%          0.00      0.00%        0.00      108,637.19     53.93%      -108,637.19   Other Transient                                             0.00     0.00%           0.00      0.00%          0.00     509,356.78    46.60%   -509,356.78
             0.00     0.00%      3,565.00      1.65%   -3,565.00        1,638.00      0.81%        -1,638.00   Government Transient                                   32,633.00     1.56%      17,036.00      1.13%     15,597.00      27,242.60     2.49%      5,390.40
        88,112.53    40.80%     79,230.00     36.62%    8,882.53       23,609.44     11.72%        64,503.09   Rack Transient                                        895,485.85    42.92%     618,498.00     41.15%    276,987.85     132,587.90    12.13%    762,897.95
        26,160.56    12.11%     33,858.00     15.65%   -7,697.44       22,526.36     11.18%         3,634.20   Local Negotiated Transient                            141,731.52     6.79%     123,344.00      8.21%     18,387.52      93,550.77     8.56%     48,180.75

      205,585.01     95.20%    210,594.00    97.33%    -5,008.99     195,002.53      96.80%       10,582.48    Total Transient Room Revenue                        1,897,431.92   90.93%    1,431,841.95   95.26%     465,589.97     987,161.03     90.31%   910,270.89

                                                                                                               Group Room Revenue
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%             0.00   Corporate Group                                             0.00     0.00%           0.00     0.00%          0.00        1,874.00     0.17%    -1,874.00
             0.00     0.00%           0.00     0.00%        0.00          564.00      0.28%          -564.00   Tour & Travel Group                                    11,184.03     0.54%           0.00     0.00%     11,184.03        8,719.50     0.80%     2,464.53
         2,720.00     1.26%           0.00     0.00%    2,720.00            0.00      0.00%         2,720.00   Association Group                                      18,309.00     0.88%           0.00     0.00%     18,309.00            0.00     0.00%    18,309.00
         7,294.00     3.38%       5,576.00     2.58%    1,718.00        5,298.32      2.63%         1,995.68   SMERF Group                                           158,031.04     7.57%      69,742.00     4.64%     88,289.04       94,141.75     8.61%    63,889.29

       10,014.00      4.64%      5,576.00     2.58%    4,438.00        5,862.32       2.91%        4,151.68    Total Group Room Revenue                             187,524.07     8.99%      69,742.00      4.64%    117,782.07     104,735.25     9.58%     82,788.82

                                                                                                               Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00    Total Contract Room Revenue                                 0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                               Other Room Revenue
             0.00     0.00%          0.00      0.00%        0.00          764.27      0.38%         -764.27    No-Show Rooms                                               0.00     0.00%         250.00     0.02%        -250.00       2,649.92     0.24%     -2,649.92
           350.00     0.16%        200.00      0.09%      150.00            0.00      0.00%          350.00    Pet/Smoking/Damage Fees                                 2,700.00     0.13%       1,000.00     0.07%       1,700.00           0.00     0.00%      2,700.00

          350.00      0.16%        200.00     0.09%      150.00          764.27       0.38%         -414.27    Total Other Room Revenue                                2,700.00    0.13%        1,250.00     0.08%      1,450.00       2,649.92     0.24%         50.08

             0.00     0.00%           0.00     0.00%        0.00         -178.00      -0.09%         178.00    Less: Allowances                                       -1,025.85    -0.05%         250.00     0.02%      -1,275.85      -1,421.95    -0.13%       396.10

      215,949.01    100.00%    216,370.00    100.00%    -420.99      201,451.12     100.00%       14,497.89    Total Room Revenue                                  2,086,630.14   100.00%   1,503,083.95 100.00%      583,546.19    1,093,124.25 100.00%     993,505.89

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
         2,097.52      0.97%      2,974.73     1.37%      -877.21           0.00       0.00%        2,097.52   Housekeeping Management                                11,496.58     0.55%       5,654.83      0.38%      5,841.75       1,653.85     0.15%      9,842.73
        2,097.52      0.97%      2,974.73     1.37%      -877.21            0.00      0.00%        2,097.52    Total Rooms Management                                11,496.58     0.55%       5,654.83      0.38%      5,841.75       1,653.85     0.15%      9,842.73
        10,846.86      5.02%      6,678.29     3.09%     4,168.57       3,882.81       1.93%        6,964.05   Front Office Agents                                    52,952.05     2.54%      32,529.73      2.16%     20,422.32      36,046.73     3.30%     16,905.32
             0.00      0.00%      2,409.14     1.11%    -2,409.14           0.00       0.00%            0.00   Front Office Supervisors                                    0.00     0.00%      11,734.85      0.78%    -11,734.85           0.00     0.00%          0.00
           780.78      0.36%      3,968.00     1.83%    -3,187.22       5,033.87       2.50%       -4,253.09   Night Auditors                                         10,657.79     0.51%      19,328.00      1.29%     -8,670.21      17,322.90     1.58%     -6,665.11
           935.57      0.43%      1,036.29     0.48%      -100.72         806.14       0.40%          129.43   Drivers                                                 4,684.53     0.22%       5,047.73      0.34%       -363.20       3,936.60     0.36%        747.93
         2,899.83      1.34%      5,243.43     2.42%    -2,343.60       3,075.19       1.53%         -175.36   Breakfast Attendant                                    15,268.21     0.73%      25,540.58      1.70%    -10,272.37       9,398.02     0.86%      5,870.19
       15,463.04      7.16%     19,335.15     8.94%    -3,872.11      12,798.01       6.35%        2,665.03    Total Rooms Front Office                              83,562.58     4.00%      94,180.89      6.27%    -10,618.31      66,704.25     6.10%     16,858.33
             0.00      0.00%      3,146.50     1.45%    -3,146.50           0.00       0.00%            0.00   Housekeeping Supervisors                                    0.00     0.00%      15,326.50      1.02%    -15,326.50           0.00     0.00%          0.00
        13,949.05      6.46%     10,808.00     5.00%     3,141.05      11,460.49       5.69%        2,488.56   Room Attendants                                        93,432.24     4.48%      60,312.00      4.01%     33,120.24      44,339.00     4.06%     49,093.24
             0.00      0.00%      3,224.00     1.49%    -3,224.00           0.00       0.00%            0.00   Housepersons                                                0.00     0.00%      15,704.00      1.04%    -15,704.00           0.00     0.00%          0.00
         8,658.65      4.01%      1,439.29     0.67%     7,219.36       5,775.76       2.87%        2,882.89   Public Area Attendants                                 14,114.73     0.68%       7,010.73      0.47%      7,104.00      12,564.35     1.15%      1,550.38
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                                                                                              Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
             PTD      %        PTD Budget     %         Variance   PTD Last Year     %             Variance                                                               YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

         1,465.32      0.68%      3,224.00     1.49%   -1,758.68       1,766.38       0.88%         -301.06   Laundry Attendants                                     16,010.61    0.77%      15,704.00      1.04%        306.61       5,717.43     0.52%     10,293.18
       24,073.02     11.15%     21,841.79    10.09%    2,231.23      19,002.63       9.43%        5,070.39    Total Rooms Housekeeping                             123,557.58    5.92%     114,057.23      7.59%      9,500.35      62,620.78     5.73%     60,936.80

       41,633.58     19.28%     44,151.67    20.41%    -2,518.09     31,800.64      15.79%        9,832.94    Total Rooms Salary and Wages                         218,616.74    10.48%    213,892.95    14.23%       4,723.79     130,978.88     11.98%    87,637.86

                                                                                                              PR Taxes and Benefits
         3,239.73      1.50%      3,396.07     1.57%     -156.34       2,332.25       1.16%          907.48   FICA                                                   16,893.80    0.81%      16,415.91      1.09%        477.89       9,927.23     0.91%      6,966.57
           128.29      0.06%         39.95     0.02%       88.34          85.75       0.04%           42.54   Federal Unemployment Tax                                  894.45    0.04%         576.83      0.04%        317.62         552.66     0.05%        341.79
           577.45      0.27%        239.72     0.11%      337.73         385.97       0.19%          191.48   State Unemployment Tax                                  4,024.96    0.19%       4,898.47      0.33%       -873.51       2,487.17     0.23%      1,537.79
        3,945.47      1.83%      3,675.74     1.70%      269.73       2,803.97       1.39%        1,141.50    Total Payroll Taxes                                   21,813.21    1.05%      21,891.21      1.46%         -78.00     12,967.06     1.19%      8,846.15
             0.00      0.00%        150.00     0.07%     -150.00           0.00       0.00%            0.00   Holiday                                                 1,242.64    0.06%         300.00      0.02%        942.64           0.00     0.00%      1,242.64
           530.00      0.25%         87.05     0.04%      442.95           0.00       0.00%          530.00   Vacation                                                1,453.92    0.07%         369.09      0.02%      1,084.83           0.00     0.00%      1,453.92
          530.00      0.25%        237.05     0.11%      292.95            0.00      0.00%          530.00    Total Supplemental Pay                                 2,696.56    0.13%         669.09      0.04%      2,027.47            0.00    0.00%      2,696.56
         1,623.38      0.75%      1,569.24     0.73%       54.14       1,682.80       0.84%          -59.42   Worker's Compensation                                   8,931.53    0.43%       7,455.88      0.50%      1,475.65       8,383.98     0.77%        547.55
             0.00      0.00%        350.00     0.16%     -350.00         -67.94      -0.03%           67.94   Group Insurance                                           868.12    0.04%       1,750.00      0.12%       -881.88        -296.04    -0.03%      1,164.16
        1,623.38      0.75%      1,919.24     0.89%     -295.86       1,614.86       0.80%             8.52   Total Other Benefits                                   9,799.65    0.47%       9,205.88      0.61%        593.77       8,087.94     0.74%      1,711.71

        6,098.85      2.82%      5,832.03     2.70%      266.82       4,418.83       2.19%        1,680.02    Total Rooms PR Taxes and Benefits                     34,309.42    1.64%      31,766.18      2.11%      2,543.24      21,055.00     1.93%     13,254.42

       47,732.43     22.10%     49,983.70    23.10%    -2,251.27     36,219.47      17.98%       11,512.96    Total Rooms Labor Costs                              252,926.16    12.12%    245,659.13    16.34%       7,267.03     152,033.88     13.91%   100,892.28

                                                                                                              Other Expenses
         6,012.06     2.78%       8,685.00    4.01%    -2,672.94       5,981.08      2.97%           30.98    Breakfast /Comp Cost                                   52,524.71    2.52%      48,465.00     3.22%       4,059.71      30,714.66     2.81%    21,810.05
         1,654.84     0.77%       1,544.00    0.71%       110.84       2,337.03      1.16%         -682.19    Cleaning Supplies                                      14,925.87    0.72%       8,616.00     0.57%       6,309.87       4,952.49     0.45%     9,973.38
             0.00     0.00%           0.00    0.00%         0.00          90.00      0.04%          -90.00    Communication Expense                                       0.00    0.00%           0.00     0.00%           0.00         180.00     0.02%      -180.00
           134.14     0.06%          25.00    0.01%       109.14           0.00      0.00%          134.14    Decorations & Plants                                      134.14    0.01%         125.00     0.01%           9.14           0.00     0.00%       134.14
             0.00     0.00%          55.00    0.03%       -55.00           0.00      0.00%            0.00    Dues and Subscriptions                                    128.87    0.01%         275.00     0.02%        -146.13         450.00     0.04%      -321.13
             0.00     0.00%           0.00    0.00%         0.00           0.00      0.00%            0.00    Guest Loss/Damage                                           0.00    0.00%           0.00     0.00%           0.00         129.43     0.01%      -129.43
         3,659.91     1.69%       2,412.50    1.11%     1,247.41       1,777.43      0.88%        1,882.48    Guest Supplies                                         16,947.71    0.81%      13,462.50     0.90%       3,485.21      14,340.01     1.31%     2,607.70
             0.00     0.00%           0.00    0.00%         0.00          87.34      0.04%          -87.34    In-House Entertainment                                      0.00    0.00%           0.00     0.00%           0.00         174.68     0.02%      -174.68
         4,052.45     1.88%         579.00    0.27%     3,473.45         190.99      0.09%        3,861.46    Laundry                                                 7,494.17    0.36%       3,231.00     0.21%       4,263.17       1,585.15     0.15%     5,909.02
             0.00     0.00%           0.00    0.00%         0.00          44.68      0.02%          -44.68    Laundry Allocation                                          0.00    0.00%           0.00     0.00%           0.00          44.68     0.00%       -44.68
         2,202.97     1.02%       1,158.00    0.54%     1,044.97       1,252.02      0.62%          950.95    Linen                                                  14,519.94    0.70%       6,462.00     0.43%       8,057.94       3,689.16     0.34%    10,830.78
             0.00     0.00%           0.00    0.00%         0.00           2.13      0.00%           -2.13    Miscellaneous Expense                                       0.00    0.00%           0.00     0.00%           0.00           2.13     0.00%        -2.13
             0.00     0.00%           0.00    0.00%         0.00          49.99      0.02%          -49.99    Office Equipment                                            0.00    0.00%           0.00     0.00%           0.00          49.99     0.00%       -49.99
             0.00     0.00%         772.00    0.36%      -772.00           0.00      0.00%            0.00    Operating Supplies                                        234.62    0.01%       4,308.00     0.29%      -4,073.38         132.05     0.01%       102.57
             0.00     0.00%         482.50    0.22%      -482.50         311.86      0.15%         -311.86    Printing and Stationery                                   537.74    0.03%       2,692.50     0.18%      -2,154.76       1,425.30     0.13%      -887.56
           300.00     0.14%         115.80    0.05%       184.20           0.00      0.00%          300.00    Reservation Expense                                     2,500.66    0.12%         646.20     0.04%       1,854.46           0.00     0.00%     2,500.66
             0.00     0.00%         135.10    0.06%      -135.10           0.00      0.00%            0.00    Rooms Promotion                                             0.00    0.00%         753.90     0.05%        -753.90           0.00     0.00%         0.00
         2,028.31     0.94%       2,042.00    0.94%       -13.69       2,032.35      1.01%           -4.04    Television Cable                                       10,181.55    0.49%      10,210.00     0.68%         -28.45       9,944.44     0.91%       237.11
             0.00     0.00%           0.00    0.00%         0.00           0.00      0.00%            0.00    Training                                                  393.00    0.02%           0.00     0.00%         393.00         750.00     0.07%      -357.00
             0.00     0.00%         154.40    0.07%      -154.40           0.00      0.00%            0.00    Transportation                                             58.00    0.00%         861.60     0.06%        -803.60          40.00     0.00%        18.00
         1,930.45     0.89%         111.52    0.05%     1,818.93         826.40      0.41%        1,104.05    Travel Agent Comm - Group Rooms                        14,824.31    0.71%       1,394.84     0.09%      13,429.47      10,864.49     0.99%     3,959.82
         2,596.17     1.20%       9,424.84    4.36%    -6,828.67          83.65      0.04%        2,512.52    Travel Agent Comm - Transient Rooms                    46,811.55    2.24%      84,895.24     5.65%     -38,083.69      13,821.37     1.26%    32,990.18
           172.43     0.08%         250.00    0.12%       -77.57           0.00      0.00%          172.43    Uniforms                                                  799.92    0.04%       1,750.00     0.12%        -950.08           0.00     0.00%       799.92
             0.00     0.00%           0.00    0.00%         0.00           0.00      0.00%            0.00    Walked Guests                                           1,356.95    0.07%           0.00     0.00%       1,356.95         221.89     0.02%     1,135.06

       24,743.73     11.46%     27,946.66    12.92%    -3,202.93     15,066.95       7.48%        9,676.78    Total Rooms Other Expenses                           184,373.71    8.84%     188,148.78    12.52%      -3,775.07      93,511.92     8.55%     90,861.79

       72,476.16     33.56%     77,930.36    36.02%    -5,454.20     51,286.42      25.46%       21,189.74    Total Rooms Expenses                                 437,299.87    20.96%    433,807.91    28.86%       3,491.96     245,545.80     22.46%   191,754.07

      143,472.85     66.44%    138,439.64    63.98%    5,033.21     150,164.70      74.54%       -6,691.85    Total Rooms Profit (Loss)                           1,649,330.27   79.04%   1,069,276.04   71.14%     580,054.23     847,578.45     77.54%   801,751.82




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                                                                              Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                               YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                               Room Sale Stats
                                                                                               Tranisent Rooms
           484.00              277.00        207.00          264.00                  220.00    Room Stat - Corporate Transient                        2,333.00           735.00      1,598.00       1,206.00         1,127.00
             0.00               62.00         -62.00           0.00                    0.00    Room Stat - Advanced Purchase                              0.00           461.00       -461.00           0.00             0.00
            71.00                0.00          71.00          16.00                   55.00    Room Stat - Qualified Discounts                          297.00             0.00        297.00      -1,001.88         1,298.88
            25.00               31.00          -6.00           0.00                   25.00    Room Stat - FIT(Flexible Independent Travel)              98.00           132.00        -34.00           7.00            91.00
            16.00                0.00          16.00           1.00                   15.00    Room Stat - Consortia Rate Transient                     135.00             0.00        135.00          46.00            89.00
             0.00               29.00         -29.00           1.00                   -1.00    Room Stat - Employee                                       0.00           291.00       -291.00           2.00            -2.00
             0.00                0.00           0.00           1.00                   -1.00    Room Stat - Leisure Transient                              0.00             0.00          0.00          50.00           -50.00
             0.00                0.00           0.00           0.00                    0.00    Room Stat - Package Transient                            111.00             0.00        111.00           0.00           111.00
             5.00               62.00         -57.00           0.00                    5.00    Room Stat - Travel Agent/Friends & Family                 57.00           355.00       -298.00           0.00            57.00
             0.00               31.00         -31.00           8.00                   -8.00    Room Stat - Member Reward Stay                            69.00           271.00       -202.00          37.00            32.00
            16.00                0.00          16.00           0.00                   16.00    Room Stat - Non-Qualified Discounts                       27.00             0.00         27.00           0.00            27.00
           143.00              248.00       -105.00           53.00                   90.00    Room Stat - Internet                                     752.00         2,212.00     -1,460.00          -2.99           754.99
             0.00                0.00           0.00       1,014.00               -1,014.00    Room Stat - Other Transient                                0.00             0.00          0.00       5,582.87        -5,582.87
             0.00               31.00         -31.00           0.00                    0.00    Room Stat - E-Commerce Opaque                            671.00           143.00        528.00           0.00           671.00
             0.00               31.00         -31.00          14.00                  -14.00    Room Stat - Government Rate Transient                    191.00           130.00         61.00         234.00           -43.00
           594.00              570.00          24.00         154.00                  440.00    Room Stat - Rack Rate Transient                        4,076.00         3,402.00        674.00         791.00         3,285.00
           282.00              342.00         -60.00         262.00                   20.00    Room Stat - Local Negotiated Transient                 1,207.00         1,196.00         11.00         901.00           306.00
        1,636.00            1,714.00         -78.00       1,788.00                 -152.00     Total Transient Rooms Sold                           10,024.00         9,328.00        696.00       7,852.00         2,172.00

                                                                                               Group Rooms
            0.00                0.00           0.00            0.00                    0.00    Room Stat - Corporate Group Rooms                          0.00             0.00         0.00           16.00           -16.00
            0.00                0.00           0.00            0.00                    0.00    Room Stat - Government Group                               3.00             0.00         3.00            0.00             3.00
            0.00                0.00           0.00            4.00                   -4.00    Room Stat - Tour & Travel Group                           56.00             0.00        56.00           62.00            -6.00
           20.00                0.00          20.00            0.00                  20.00     Room Stat - Association Group                            104.00             0.00       104.00            0.00           104.00
           50.00               61.00         -11.00           53.00                   -3.00    Room Stat - SMERF Group                                  948.00           545.00       403.00          763.00           185.00
           70.00               61.00           9.00           57.00                  13.00     Total Group Rooms Sold                                1,111.00           545.00       566.00          841.00           270.00

                                                                                               Contract Rooms
             0.00               0.00           0.00            0.00                    0.00    Total Contract Rooms Sold                                 0.00             0.00          0.00            0.00             0.00

        1,706.00            1,775.00         -69.00       1,845.00                 -139.00     Total Rooms Sold                                     11,135.00         9,873.00      1,262.00       8,693.00         2,442.00
            31.00               0.00          31.00            5.00                   26.00    Room Stat - Comp Rooms                                    78.00            0.00          78.00          79.00            -1.00
        1,737.00            1,775.00         -38.00       1,850.00                 -113.00     Total Rooms Occupied                                 11,213.00         9,873.00      1,340.00       8,772.00         2,441.00
           226.00               0.00         226.00          387.00                 -161.00    Room Stat - Out of Order                                 859.00            0.00         859.00       1,404.00          -545.00

                                                                                               ADR
           108.93               99.00          9.93          102.80                     6.13   Corporate Transient ADR                                  168.12           106.92        61.20          111.05            57.07
             0.00               99.00        -99.00            0.00                     0.00   Advanced Purchase ADR                                      0.00           122.38      -122.38            0.00              0.00
            94.83                0.00         94.83          183.44                  -88.61    Qualified Discount ADR                                   223.02             0.00       223.02          -20.06           243.08
           119.76              109.00         10.76            0.00                  119.76    FIT ADR                                                  198.24           136.73        61.51          112.57            85.67
           147.04                0.00        147.04        1,233.11               -1,086.07    Consortia ADR                                            319.93             0.00       319.93          216.17           103.77
             0.00               35.00        -35.00            0.00                     0.00   Employee ADR                                               0.00            35.00       -35.00           17.50           -17.50
             0.00                0.00          0.00            0.00                     0.00   Leisure ADR                                                0.00             0.00          0.00          43.92           -43.92
           156.45               79.00         77.45            0.00                  156.45    Travel Agent/Friends & Family ADR                        210.23            92.32       117.92            0.00           210.23
             0.00                0.00          0.00            0.00                     0.00   Leisure Package ADR                                        0.00             0.00          0.00           0.00              0.00
             0.00               82.00        -82.00           88.68                  -88.68    Member Reward Stay ADR                                    77.72            80.52         -2.80          77.90             -0.19
             0.00                0.00          0.00            0.00                     0.00   Golf Pkg ADR                                               0.00             0.00          0.00           0.00              0.00
             0.00                0.00          0.00            0.00                     0.00   Non Qualified ADR                                          0.00             0.00          0.00           0.00              0.00
           179.93              119.00         60.93          124.04                   55.88    Internet ADR                                             208.02           153.06        54.96      -18,246.54        18,454.57
             0.00               99.00        -99.00            0.00                     0.00   E-Commerce Opaque ADR                                    187.53            91.17        96.36            0.00           187.53
             0.00                0.00          0.00          107.14                 -107.14    Other Transient ADR                                        0.00             0.00          0.00          91.24           -91.24
             0.00                0.00          0.00            0.00                     0.00   Airline Distressed Passenger ADR                           0.00             0.00          0.00           0.00              0.00
             0.00              115.00       -115.00          117.00                 -117.00    Government ADR                                           170.85           131.05        39.81          116.42            54.43
           148.34              139.00          9.34          153.31                    -4.97   Rack ADR                                                 219.70           181.80        37.89          167.62            52.08
            92.77               99.00         -6.23           85.98                     6.79   Local Negotiated ADR                                     117.42           103.13        14.29          103.83            13.59
          125.66              122.87           2.80         109.06                    16.60    Total Transient ADR                                     189.29           153.50         35.79         125.72             63.57

             0.00                0.00          0.00            0.00                    0.00    Corporate Group ADR                                        0.00             0.00         0.00          117.13          -117.13
             0.00                0.00          0.00            0.00                    0.00    Leisure Group ADR                                          0.00             0.00         0.00            0.00             0.00
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                                                                              Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                   0.00    Government Group ADR                                        0.00             0.00        0.00            0.00           0.00
             0.00               0.00           0.00          141.00                -141.00    Tour & Travel Group ADR                                   199.71             0.00      199.71          140.64          59.08
           136.00               0.00         136.00            0.00                 136.00    Association Group ADR                                     176.05             0.00      176.05            0.00         176.05
             0.00               0.00           0.00            0.00                   0.00    City Wide Group ADR                                         0.00             0.00        0.00            0.00           0.00
           145.88              91.41          54.47           99.97                  45.91    SMERF Group ADR                                           166.70           127.97       38.73          123.38          43.32
             0.00               0.00           0.00            0.00                   0.00    Sports Group ADR                                            0.00             0.00        0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Other Group ADR                                             0.00             0.00        0.00            0.00           0.00
          143.06               91.41          51.65         102.85                   40.21    Total Group ADR                                          168.79           127.97        40.82         124.54           44.25

             0.00               0.00           0.00            0.00                   0.00    Airline Crew ADR                                           0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Other Contract ADR                                         0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Contract ADR                                         0.00             0.00         0.00            0.00           0.00

          126.58              121.90           4.68         109.19                   17.39    Total ADR                                                187.39           152.24        35.15         125.75           61.65




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                                                                                           Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           F&B Summary
                                                                                                           Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Food Revenue                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Food Revenue                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Beverage Revenue                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Beverage Revenue                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Other Revenue                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Other Revenue                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Food Purchases                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Beverage Purchases                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Cedit Employee Meals                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Credit House Charges                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Credit In-House Promotions                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Audio Visual Cost of Sales                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Other Cost of Sales                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Cost of Sales                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    F&B Gross Profit                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll
                                                                                                           Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Management                                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Non-Management                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Salaries and Wages                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Payroll Taxes                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Supplemental Pay                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Other Benefits                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B PR Taxes and Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Payroll                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Audio Visual Supplies                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Banquet Expense                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Bar Expense/Promos                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Bar Supplies                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    China                                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Cleaning Supplies                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Communication Expense                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Contract Cleaning                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Contract Labor                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Decorations & Plants                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Dues and Subscriptions                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Equipment Rental                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Food and Beverage Advertising                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Glassware                                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Loss/Damage                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Supplies                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    In-House Entertainment                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen/Cooking Fuel                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen Equipment                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Laundry - Outside Expense                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Laundry Allocation                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Licenses/Permits                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Linen                                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Linen Rental                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                           Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Maintenance Contracts                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Meals and Entertainment                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Menus                                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Miscellaneous Expense                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Music and Entertainment                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Office Equipment                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Office Supplies                                            0.00    0.00%        0.00       0.00%      0.00            8.51     0.00%      -8.51
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Operating Supplies                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Paper/Plastic Supplies                                     0.00    0.00%        0.00       0.00%      0.00          317.56     0.00%    -317.56
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Printing and Stationery                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Silverware                                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Software Expense/Maintenance                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Television Cable                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Training                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Travel                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Uniforms                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Utensils                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Other Expenses                                   0.00   0.00%         0.00      0.00%       0.00         326.07     0.00%    -326.07

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Expenses                                         0.00   0.00%         0.00      0.00%       0.00         326.07     0.00%    -326.07

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Profit (Loss)                                    0.00   0.00%         0.00      0.00%       0.00        -326.07     0.00%    326.07




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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                              Room Service
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Room Service Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Room Service Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                              Banquets
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Banquets Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Banquets Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                              Catering
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Catering Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Catering Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                0.00          0.00            0.00                   0.00    Breakfast Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Lunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Dinner Avg Check                                           0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Brunch Avg Check                                           0.00             0.00        0.00            0.00           0.00
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                              Bar 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                            0.00            0.00         0.00            0.00           0.00

                                                                                              Bar 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                            0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                   0.00    Total Covers                                               0.00            0.00         0.00            0.00           0.00




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                                                                                                                      As of 5/31/2022
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Cost of Sales                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Non-Management                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Salaries and Wages                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin PR Taxes and Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Payroll                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Paper/Plastic Supplies                                     0.00   0.00%         0.00     0.00%      0.00          317.56    0.00%   -317.56

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Other Expenses                            0.00   0.00%        0.00      0.00%      0.00         317.56     0.00%   -317.56

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Expenses                                  0.00   0.00%        0.00      0.00%      0.00         317.56     0.00%   -317.56

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                                         0.00   0.00%        0.00      0.00%      0.00         317.56     0.00%   -317.56




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Less Adjustments                                           0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Revenue                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Cost of Sales                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Other Expenses                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Room Service
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Other Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Banquets
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Banquets Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Banquets Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                       0.00    Total Banquets Salaries and Wages                          0.00                 0.00                  0.00            0.00                0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                       0.00    Total Banquet Benefits                                     0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Catering
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Gross Profit                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Payroll Taxes and Benefits              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 4 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restauarnt 4 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 1 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 1 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Expenses                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 2 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 2 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Office Supplies                                            0.00    0.00%        0.00       0.00%      0.00            8.51     0.00%      -8.51
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00            8.51    0.00%      -8.51

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Expenses                                       0.00   0.00%         0.00      0.00%       0.00            8.51    0.00%      -8.51

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00           -8.51    0.00%       8.51




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                           Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Telephone Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Telephone Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

                                                                                                           Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00          751.82       0.00%         -751.82   Cost of Sales - Local Calls                                0.00    0.00%        0.00       0.00%      0.00        3,258.67     0.00%    -3,258.67
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Cost of Sales - Long Distance                              0.00    0.00%        0.00       0.00%      0.00          750.34     0.00%      -750.34
             0.00     0.00%         0.00    0.00%       0.00         751.82       0.00%         -751.82    Total Telephone Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00       4,009.01     0.00%    -4,009.01

             0.00     0.00%         0.00    0.00%       0.00        -751.82       0.00%         751.82     Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00      -4,009.01     0.00%     4,009.01

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%      0.00        1,340.50       0.00%       -1,340.50   Internet/Web Expense                                       0.00    0.00%        0.00       0.00%      0.00        6,662.50     0.00%    -6,662.50
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Telephone Equipment                                        0.00    0.00%        0.00       0.00%      0.00          155.00     0.00%      -155.00
             0.00     0.00%         0.00    0.00%       0.00       1,340.50       0.00%       -1,340.50    Total Telephone Other Expenses                             0.00   0.00%         0.00      0.00%       0.00       6,817.50     0.00%    -6,817.50

             0.00     0.00%         0.00    0.00%       0.00      -2,092.32       0.00%        2,092.32    Total Telephone Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00     -10,826.51     0.00%    10,826.51




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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %             Variance                                                               YTD     %        YTD Budget %             Variance   YTD Last Year    %           Variance

                                                                                                              Minor Operating
                                                                                                              Income
         6,750.00     71.84%         0.00      0.00%    6,750.00       2,500.00      41.91%        4,250.00   Rental Income - Other                                   9,425.00    41.57%         0.00   0.00%       9,425.00       2,500.00      8.80%      6,925.00
        6,750.00     71.84%          0.00     0.00%    6,750.00       2,500.00      41.91%        4,250.00    Total Rental Income                                    9,425.00    41.57%          0.00  0.00%       9,425.00       2,500.00      8.80%      6,925.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%            0.00   Vending Commissions-Soda & Snack Machines                 210.00     0.93%         0.00   0.00%         210.00            0.00     0.00%        210.00
             0.00      0.00%         0.00      0.00%        0.00         370.00       6.20%         -370.00   Vending Commissions Other                                 938.00     4.14%         0.00   0.00%         938.00         601.95      2.12%        336.05
             0.00     0.00%          0.00     0.00%         0.00        370.00       6.20%         -370.00    Total Vending Commission Income                        1,148.00     5.06%          0.00  0.00%       1,148.00         601.95      2.12%        546.05
         1,007.02     10.72%         0.00      0.00%    1,007.02           0.00       0.00%        1,007.02   Cancellation Fee - Rooms                                4,814.94    21.23%         0.00   0.00%       4,814.94           -7.56    -0.03%      4,822.50
        1,007.02     10.72%          0.00     0.00%    1,007.02            0.00      0.00%        1,007.02    Total Cancellation Fee Income                          4,814.94    21.23%          0.00  0.00%       4,814.94           -7.56    -0.03%      4,822.50
             0.00      0.00%       250.90     11.06%     -250.90           0.00       0.00%            0.00   Guest Laundry                                               0.00     0.00%     1,400.10  11.08%      -1,400.10         178.50      0.63%       -178.50
            14.85      0.16%        50.00      2.20%      -35.15          89.10       1.49%          -74.25   Internet Access                                           148.50     0.65%       250.00   1.98%        -101.50         356.40      1.26%       -207.90
             0.00      0.00%         0.00      0.00%        0.00         875.00      14.67%         -875.00   Telephone Revenue                                           0.00     0.00%         0.00   0.00%           0.00       1,061.14      3.74%     -1,061.14
           500.00      5.32%         0.00      0.00%      500.00           0.00       0.00%          500.00   Other Revenue 3                                           856.00     3.78%         0.00   0.00%         856.00          22.24      0.08%        833.76
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%            0.00   Other Revenue 4                                             0.00     0.00%         0.00   0.00%           0.00      14,432.38     50.83%    -14,432.38
         1,124.38     11.97%     1,968.60     86.74%     -844.22       2,081.57      34.89%         -957.19   Gift Shop Sales                                         6,282.22    27.71%    10,985.40  86.94%      -4,703.18       8,700.06     30.64%     -2,417.84
             0.00      0.00%         0.00      0.00%        0.00          50.00       0.84%          -50.00   Pet Fees                                                    0.00     0.00%         0.00   0.00%           0.00         300.00      1.06%       -300.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%            0.00   Other Revenue 7                                             0.00     0.00%         0.00   0.00%           0.00         250.00      0.88%       -250.00
        1,639.23     17.45%     2,269.50    100.00%     -630.27       3,095.67      51.89%       -1,456.44    Total Other Income                                     7,286.72    32.14%    12,635.50 100.00%      -5,348.78      25,300.72     89.10%    -18,014.00

        9,396.25    100.00%     2,269.50    100.00%    7,126.75       5,965.67     100.00%        3,430.58    Total Minor Operating Income                          22,674.66    100.00%   12,635.50 100.00%      10,039.16      28,395.11 100.00%        -5,720.45

                                                                                                              Cost of Sales
             0.00      0.00%        10.00      0.44%     -10.00            0.00       0.00%            0.00   Cost of Sales - Internet Access                             0.00     0.00%        50.00     0.40%       -50.00           0.00      0.00%          0.00
             0.00      0.00%       170.61      7.52%    -170.61            0.00       0.00%            0.00   Cost of Sales - Guest Laundry                               0.00     0.00%       952.06     7.53%      -952.06           0.00      0.00%          0.00
         1,403.29     14.93%     1,082.73     47.71%     320.56        1,433.18      24.02%          -29.89   Cost of Sales - Gift Shop                               6,173.71    27.23%     6,041.97    47.82%       131.74       5,518.76     19.44%        654.95
        1,403.29     14.93%     1,263.34     55.67%     139.95        1,433.18      24.02%          -29.89    Total Minor Operated Cost of Sales                     6,173.71    27.23%     7,044.03    55.75%      -870.32       5,518.76     19.44%        654.95

        7,992.96     85.07%     1,006.16     44.33%    6,986.80       4,532.49      75.98%        3,460.47    Total Minor Operated Profit (Loss)                    16,500.95    72.77%     5,591.47    44.25%    10,909.48      22,876.35     80.56%     -6,375.40




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Revenue                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Non-Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Salaries and Wages                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade PR Taxes and Benefits                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Payroll                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Other Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Expenses                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Profit (Loss)                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Revenue                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Management                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Non-Management                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Profit (Loss)                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %         Variance   PTD Last Year     %            Variance                                                               YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                           Franchise Fees
             0.00     0.00%         0.00    0.00%         0.00       1,277.26      0.62%       -1,277.26   Franchise Fees - IT Fees                                    0.00    0.00%         0.00     0.00%        0.00        5,109.04     0.46%    -5,109.04
             0.00     0.00%    12,982.20    5.94%   -12,982.20      12,087.06      5.83%      -12,087.06   Franchise Fees - Royalty & Licenses                   112,248.53    5.32%    90,185.04     5.95%   22,063.49       65,686.75     5.86%    46,561.78
             0.00     0.00%         0.00    0.00%         0.00       7,172.62      3.46%       -7,172.62   Franchise Fees - Reservations-GDS                           0.00    0.00%         0.00     0.00%        0.00       13,397.66     1.19%   -13,397.66
             0.00     0.00%         0.00    0.00%         0.00          59.42      0.03%          -59.42   Franchise Fees - Equipment                                  0.00    0.00%         0.00     0.00%        0.00           59.42     0.01%       -59.42
        24,080.42    10.69%     6,491.10    2.97%    17,589.32      12,171.02      5.87%       11,909.40   Franchise Fees - Frequent Guest                        68,758.19    3.26%    45,092.52     2.97%   23,665.67       32,788.26     2.92%    35,969.93
             0.00     0.00%     8,654.80    3.96%    -8,654.80       8,058.04      3.88%       -8,058.04   Franchise Fees - Marketing Contributions               74,832.41    3.55%    60,123.36     3.97%   14,709.05       45,971.97     4.10%    28,860.44
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Franchise Fees - Reservations-Central                       0.00    0.00%         0.00     0.00%        0.00          638.82     0.06%      -638.82

       24,080.42     10.69%   28,128.10    12.87%   -4,047.68      40,825.42      19.68%     -16,745.00    Total Franchise Fees                                 255,839.13    12.13%   195,400.92   12.89%    60,438.21     163,651.92     14.59%   92,187.21




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             PTD      %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         5,827.16      2.59%     9,312.98    4.26%    -3,485.82       9,112.63       4.39%       -3,285.47   Management- A&G                                        40,055.93    1.90%     45,278.29     2.99%    -5,222.36      41,647.48     3.71%     -1,591.55
        5,827.16      2.59%     9,312.98    4.26%    -3,485.82       9,112.63       4.39%       -3,285.47    Total A&G Management                                  40,055.93    1.90%     45,278.29     2.99%    -5,222.36      41,647.48     3.71%     -1,591.55
         3,846.84      1.71%         0.00    0.00%     3,846.84           0.00       0.00%        3,846.84   Administrative Assistant                                8,593.38    0.41%          0.00     0.00%     8,593.38           0.00     0.00%      8,593.38
        3,846.84      1.71%          0.00   0.00%     3,846.84            0.00      0.00%        3,846.84    Total A&G Non-Management                               8,593.38    0.41%           0.00    0.00%     8,593.38            0.00    0.00%      8,593.38
        9,674.00      4.29%     9,312.98    4.26%       361.02       9,112.63       4.39%          561.37    Total A&G Salaries and Wages                          48,649.31    2.31%     45,278.29     2.99%     3,371.02      41,647.48     3.71%      7,001.83
                                                                                                             PR Taxes and Benefits
           738.01      0.33%       740.36    0.34%        -2.35         668.26       0.32%           69.75   FICA                                                    5,075.15    0.24%      4,538.41     0.30%       536.74       3,104.95      0.28%     1,970.20
            29.25      0.01%         8.71    0.00%       20.54           24.57       0.01%            4.68   Federal Unemployment Tax                                  244.52    0.01%        176.70     0.01%        67.82         140.61      0.01%       103.91
           131.67      0.06%        52.26    0.02%       79.41          110.54       0.05%           21.13   State Unemployment Tax                                  1,100.32    0.05%      1,420.41     0.09%      -320.09         632.73      0.06%       467.59
          898.93      0.40%       801.33    0.37%        97.60         803.37       0.39%            95.56   Total Payroll Taxes                                    6,419.99    0.30%      6,135.52     0.40%       284.47       3,878.29      0.35%     2,541.70
             0.00      0.00%       364.97    0.17%     -364.97            0.00       0.00%            0.00   Vacation                                                    0.00    0.00%      1,547.47     0.10%    -1,547.47           0.00      0.00%         0.00
             0.00     0.00%       364.97    0.17%     -364.97             0.00      0.00%             0.00   Total Supplemental Pay                                      0.00   0.00%      1,547.47     0.10%    -1,547.47            0.00     0.00%          0.00
           346.44      0.15%       342.10    0.16%         4.34         467.19       0.23%         -120.75   Worker's Compensation                                   2,896.36    0.14%      2,037.10     0.13%       859.26       1,935.34      0.17%       961.02
           470.77      0.21%       480.50    0.22%        -9.73      -1,039.36      -0.50%        1,510.13   Group Insurance                                         1,763.04    0.08%      2,402.50     0.16%      -639.46      -3,968.01     -0.35%     5,731.05
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Bonus and Incentive Pay                                17,895.00    0.85%     12,500.00     0.82%     5,395.00           0.00      0.00%    17,895.00
          817.21      0.36%       822.60    0.38%        -5.39        -572.17      -0.28%        1,389.38    Total Other Benefits                                  22,554.40    1.07%     16,939.60     1.12%     5,614.80      -2,032.67     -0.18%    24,587.07
        1,716.14      0.76%     1,988.90    0.91%     -272.76          231.20       0.11%        1,484.94    Total A&G PR Taxes and Benefits                       28,974.39    1.37%     24,622.59     1.62%     4,351.80       1,845.62      0.16%    27,128.77
       11,390.14      5.05%    11,301.88    5.17%        88.26       9,343.83       4.50%        2,046.31    Total A&G Payroll                                     77,623.70    3.68%     69,900.88     4.61%     7,722.82      43,493.10      3.88%    34,130.60
                                                                                                             Other Expenses
             0.00      0.00%         0.00    0.00%         0.00       1,000.00       0.48%       -1,000.00   Accounting/Audit Fees                                       0.00    0.00%          0.00     0.00%         0.00       3,000.00     0.27%     -3,000.00
        -4,968.33     -2.20%       125.00    0.06%    -5,093.33       1,180.71       0.57%       -6,149.04   Bad Debt Provision                                      2,947.75    0.14%        625.00     0.04%     2,322.75       1,455.70     0.13%      1,492.05
         1,076.25      0.48%       715.00    0.33%       361.25         589.18       0.28%          487.07   Bank Charges                                            4,625.36    0.22%      3,575.00     0.24%     1,050.36       2,701.28     0.24%      1,924.08
          -427.47     -0.19%         0.00    0.00%      -427.47      -1,687.73      -0.81%        1,260.26   Cash Over/Short                                           -26.14    0.00%          0.00     0.00%       -26.14         155.34     0.01%       -181.48
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Central Office - Travel Rebilled                            0.00    0.00%        250.00     0.02%      -250.00           0.00     0.00%          0.00
         1,000.00      0.44%     1,000.00    0.46%         0.00           0.00       0.00%        1,000.00   Central Office - Accounting Fees                        5,000.00    0.24%      5,000.00     0.33%         0.00           0.00     0.00%      5,000.00
             0.00      0.00%         0.00    0.00%         0.00         260.00       0.13%         -260.00   Central Office - IT Fees                                    0.00    0.00%          0.00     0.00%         0.00       1,100.00     0.10%     -1,100.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Classified Advertising                                      0.00    0.00%          0.00     0.00%         0.00         490.00     0.04%       -490.00
         7,265.27      3.22%     5,495.80    2.51%     1,769.47       7,915.14       3.82%         -649.87   Credit Card Commission                                 56,963.24    2.70%     38,178.34     2.52%    18,784.90      26,150.33     2.33%     30,812.91
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Donations                                                   0.00    0.00%        300.00     0.02%      -300.00           0.00     0.00%          0.00
           142.87      0.06%        50.00    0.02%        92.87           0.00       0.00%          142.87   Dues and Subscriptions                                    859.70    0.04%        250.00     0.02%       609.70         687.60     0.06%        172.10
         2,115.87      0.94%       450.00    0.21%     1,665.87         154.55       0.07%        1,961.32   Employee Relations                                      7,146.01    0.34%      2,270.00     0.15%     4,876.01         461.29     0.04%      6,684.72
             0.00      0.00%       277.00    0.13%      -277.00           0.00       0.00%            0.00   Equipment Rental                                            0.00    0.00%      1,385.00     0.09%    -1,385.00           0.00     0.00%          0.00
             0.00      0.00%       600.00    0.27%      -600.00          39.95       0.02%          -39.95   Licenses/Permits                                          138.75    0.01%        689.95     0.05%      -551.20          39.95     0.00%         98.80
             0.00      0.00%       100.00    0.05%      -100.00          77.77       0.04%          -77.77   Meals and Entertainment                                    97.96    0.00%        500.00     0.03%      -402.04         875.95     0.08%       -777.99
           -38.64     -0.02%        90.00    0.04%      -128.64          13.21       0.01%          -51.85   Miscellaneous Expense                                    -151.96   -0.01%        450.00     0.03%      -601.96          42.47     0.00%       -194.43
             0.00      0.00%         0.00    0.00%         0.00          37.90       0.02%          -37.90   Office Equipment                                            0.00    0.00%          0.00     0.00%         0.00       2,023.18     0.18%     -2,023.18
             0.00      0.00%         0.00    0.00%         0.00         123.55       0.06%         -123.55   Office Supplies                                             0.00    0.00%          0.00     0.00%         0.00         786.01     0.07%       -786.01
           407.29      0.18%       150.00    0.07%       257.29           0.00       0.00%          407.29   Operating Supplies                                      3,440.61    0.16%        750.00     0.05%     2,690.61           0.00     0.00%      3,440.61
             0.00      0.00%       593.14    0.27%      -593.14         143.22       0.07%         -143.22   Payroll Service Fees                                    1,016.51    0.05%      2,958.85     0.20%    -1,942.34         693.78     0.06%        322.73
            50.09      0.02%         0.00    0.00%        50.09        -377.89      -0.18%          427.98   Postage                                                   299.19    0.01%          0.00     0.00%       299.19         618.61     0.06%       -319.42
             0.00      0.00%       350.00    0.16%      -350.00         415.00       0.20%         -415.00   Professional Fees - Legal                                 332.00    0.02%      1,750.00     0.12%    -1,418.00         569.81     0.05%       -237.81
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Professional Fees - Other                               4,079.27    0.19%        650.00     0.04%     3,429.27       1,488.97     0.13%      2,590.30
           253.95      0.11%         0.00    0.00%       253.95         150.00       0.07%          103.95   Recruitment Advertising                                 2,799.33    0.13%        600.00     0.04%     2,199.33       5,870.00     0.52%     -3,070.67
             0.00      0.00%         0.00    0.00%         0.00         137.05       0.07%         -137.05   Recruitment - Other                                         0.00    0.00%          0.00     0.00%         0.00         891.12     0.08%       -891.12
             0.00      0.00%       300.00    0.14%      -300.00           0.00       0.00%            0.00   Security - Outside                                          0.00    0.00%      1,500.00     0.10%    -1,500.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00       2,073.89       1.00%       -2,073.89   Software Expense/Maintenance                                0.00    0.00%          0.00     0.00%         0.00       8,950.15     0.80%     -8,950.15
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Training                                                3,897.25    0.18%      2,695.00     0.18%     1,202.25         750.00     0.07%      3,147.25
         1,558.05      0.69%        25.00    0.01%     1,533.05           0.00       0.00%        1,558.05   Travel                                                  2,223.92    0.11%        875.00     0.06%     1,348.92       4,162.24     0.37%     -1,938.32
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%            0.00   Uniforms                                                    0.00    0.00%        250.00     0.02%      -250.00          53.85     0.00%        -53.85
        8,435.20      3.74%    10,370.94    4.74%    -1,935.74      12,245.50       5.90%       -3,810.30    Total A&G Other Expenses                              95,688.75    4.54%     65,502.14     4.32%    30,186.61      64,017.63     5.71%     31,671.12
       19,825.34      8.80%    21,672.82    9.91%    -1,847.48      21,589.33      10.41%       -1,763.99    Total A&G Expenses                                   173,312.45    8.22%    135,403.02     8.93%    37,909.43     107,510.73     9.59%     65,801.72




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                                                                                                                    P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           IT
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total IT Management                                        0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total IT Non-Management                                    0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total IT Salaries and Wages                                0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total IT PR Taxes and Benefits                             0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total IT Payroll                                           0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                           Cost of Services
            60.00      0.03%       160.00    0.07%    -100.00           0.00       0.00%           60.00   Cost of Cell Phones                                       240.00    0.01%       800.00      0.05%      -560.00           0.00     0.00%       240.00
           750.00      0.33%     1,340.00    0.61%    -590.00           0.00       0.00%          750.00   Cost of Internet Services                               3,699.74    0.18%     6,700.00      0.44%    -3,000.26           0.00     0.00%     3,699.74
         1,108.04      0.49%       750.00    0.34%     358.04           0.00       0.00%        1,108.04   Cost of Calls                                           5,538.58    0.26%     3,750.00      0.25%     1,788.58           0.00     0.00%     5,538.58
        1,918.04      0.85%     2,250.00    1.03%    -331.96            0.00      0.00%        1,918.04    Total IT Cost of Services                              9,478.32    0.45%    11,250.00      0.74%    -1,771.68            0.00    0.00%     9,478.32

                                                                                                           System Costs
         2,002.69      0.89%     2,040.70    0.93%    -38.01            0.00       0.00%        2,002.69   Administrative & General                                4,063.45    0.19%     4,123.50      0.27%      -60.05            0.00     0.00%     4,063.45
             0.00      0.00%        50.00    0.02%    -50.00            0.00       0.00%            0.00   Human Resources                                             0.00    0.00%       250.00      0.02%     -250.00            0.00     0.00%         0.00
           360.00      0.16%       180.00    0.08%    180.00            0.00       0.00%          360.00   Information Systems                                     1,800.00    0.09%       900.00      0.06%      900.00            0.00     0.00%     1,800.00
            94.00      0.04%        94.00    0.04%      0.00            0.00       0.00%           94.00   Property Ops & Maintenance                                470.00    0.02%       470.00      0.03%        0.00            0.00     0.00%       470.00
         1,277.26      0.57%     1,277.00    0.58%      0.26            0.00       0.00%        1,277.26   Rooms                                                   6,386.30    0.30%     6,385.00      0.42%        1.30            0.00     0.00%     6,386.30
           185.00      0.08%         0.00    0.00%    185.00            0.00       0.00%          185.00   Telecommunications                                      6,378.01    0.30%         0.00      0.00%    6,378.01            0.00     0.00%     6,378.01
        3,918.95      1.74%     3,641.70    1.67%    277.25             0.00      0.00%        3,918.95    Total IT Systems                                      19,097.76    0.91%    12,128.50      0.80%    6,969.26             0.00    0.00%    19,097.76

                                                                                                           Other Expenses
             0.00      0.00%       75.00     0.03%     -75.00           0.00       0.00%           0.00    Operating Supplies                                         0.00     0.00%       375.00      0.02%     -375.00            0.00     0.00%        0.00
             0.00     0.00%        75.00    0.03%     -75.00            0.00      0.00%            0.00    Total IT Other Expenses                                    0.00    0.00%       375.00      0.02%     -375.00             0.00    0.00%         0.00

        5,836.99      2.59%     5,966.70    2.73%    -129.71            0.00      0.00%        5,836.99    Total IT Expenses                                     28,576.08    1.35%    23,753.50      1.57%    4,822.58             0.00    0.00%    28,576.08




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                                                                                             Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %           Variance

                                                                                                              S&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00    Division Management                                    1,424.59     0.07%         0.00      0.00%    1,424.59          424.05     0.04%      1,000.54
         2,198.79      0.98%     3,269.06    1.50%    -1,070.27           0.00       0.00%        2,198.79    Sales Managers                                        14,104.08     0.67%    16,004.37      1.06%   -1,900.29            0.00     0.00%     14,104.08
        2,198.79      0.98%     3,269.06    1.50%    -1,070.27            0.00      0.00%        2,198.79     Total S&M Management                                 15,528.67     0.74%    16,004.37      1.06%     -475.70          424.05     0.04%     15,104.62
          -378.42     -0.17%         0.00    0.00%      -378.42       2,997.05       1.44%       -3,375.47    Administrative Assistant                                  -42.57    0.00%         0.00      0.00%       -42.57      10,690.94     0.95%    -10,733.51
         -378.42     -0.17%          0.00   0.00%      -378.42       2,997.05       1.44%       -3,375.47     Total S&M Non-Management                                 -42.57    0.00%          0.00     0.00%       -42.57      10,690.94     0.95%    -10,733.51

        1,820.37      0.81%     3,269.06    1.50%    -1,448.69       2,997.05       1.44%       -1,176.68     Total S&M Salaries and Wages                         15,486.10     0.73%    16,004.37      1.06%     -518.27       11,114.99     0.99%      4,371.11

                                                                                                              PR Taxes and Benefits
           138.87      0.06%       259.89    0.12%     -121.02          219.79       0.11%           -80.92   FICA                                                   1,190.69     0.06%     1,633.12      0.11%      -442.43         824.60     0.07%        366.09
             5.46      0.00%         3.06    0.00%        2.40            8.08       0.00%            -2.62   Federal Unemployment Tax                                  64.85     0.00%        74.28      0.00%        -9.43          43.17     0.00%         21.68
            24.55      0.01%        18.35    0.01%        6.20           36.36       0.02%           -11.81   State Unemployment Tax                                   291.83     0.01%       591.43      0.04%      -299.60         194.30     0.02%         97.53
          168.88      0.07%       281.30    0.13%     -112.42          264.23       0.13%           -95.35    Total Payroll Taxes                                   1,547.37     0.07%     2,298.83      0.15%      -751.46       1,062.07     0.09%        485.30
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Holiday                                                  136.00     0.01%         0.00      0.00%       136.00           0.00     0.00%        136.00
             0.00      0.00%       128.21    0.06%     -128.21            0.00       0.00%             0.00   Vacation                                                   0.00     0.00%       543.61      0.04%      -543.61           0.00     0.00%          0.00
             0.00     0.00%       128.21    0.06%     -128.21             0.00      0.00%              0.00   Total Supplemental Pay                                  136.00     0.01%       543.61      0.04%      -407.61            0.00    0.00%        136.00
            98.29      0.04%       120.09    0.05%      -21.80          155.45       0.07%           -57.16   Worker's Compensation                                    656.91     0.03%       739.53      0.05%       -82.62         725.34     0.06%        -68.43
         1,313.19      0.58%       356.01    0.16%      957.18            0.00       0.00%        1,313.19    Group Insurance                                        3,939.57     0.19%     1,780.05      0.12%     2,159.52           0.00     0.00%      3,939.57
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Bonus and Incentive Pay                                    0.00     0.00%     4,800.00      0.32%    -4,800.00           0.00     0.00%          0.00
        1,411.48      0.63%       476.10    0.22%      935.38          155.45       0.07%        1,256.03     Total Other Benefits                                  4,596.48     0.22%     7,319.58      0.48%    -2,723.10         725.34     0.06%      3,871.14
        1,580.36      0.70%       885.61    0.41%      694.75          419.68       0.20%        1,160.68     Total S&M PR Taxes and Benefits                       6,279.85     0.30%    10,162.02      0.67%    -3,882.17       1,787.41     0.16%      4,492.44

        3,400.73      1.51%     4,154.67    1.90%     -753.94        3,416.73       1.65%          -16.00     Total S&M Payroll                                    21,765.95     1.03%    26,166.39      1.73%    -4,400.44      12,902.40     1.15%      8,863.55

                                                                                                              Other Expenses
             0.00      0.00%         0.00    0.00%        0.00          468.60       0.23%         -468.60    Advertising General                                        0.00     0.00%         0.00      0.00%         0.00       2,555.80     0.23%     -2,555.80
           815.00      0.36%       815.00    0.37%        0.00            0.00       0.00%          815.00    Advertising-Web/Internet                               3,606.36     0.17%     2,980.00      0.20%       626.36           0.00     0.00%      3,606.36
           188.33      0.08%         0.00    0.00%      188.33            0.00       0.00%          188.33    Billboards                                               941.65     0.04%         0.00      0.00%       941.65           0.00     0.00%        941.65
         2,509.53      1.11%     2,076.00    0.95%      433.53        1,088.00       0.52%        1,421.53    Dues and Subscriptions                                10,784.32     0.51%    11,139.00      0.73%      -354.68      12,125.61     1.08%     -1,341.29
            67.40      0.03%        50.00    0.02%       17.40            0.00       0.00%           67.40    Meals and Entertainment                                  191.40     0.01%       250.00      0.02%       -58.60          23.56     0.00%        167.84
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Miscellaneous Expense                                      0.00     0.00%         0.00      0.00%         0.00         100.00     0.01%       -100.00
             0.00      0.00%       100.00    0.05%     -100.00            0.00       0.00%            0.00    Operating Supplies                                       591.08     0.03%       500.00      0.03%        91.08           0.00     0.00%        591.08
             0.00      0.00%        10.00    0.00%      -10.00            0.00       0.00%            0.00    Postage                                                    0.00     0.00%        50.00      0.00%       -50.00          11.19     0.00%        -11.19
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%            0.00    Printing and Stationery                                    0.00     0.00%       325.00      0.02%      -325.00           0.00     0.00%          0.00
             0.00      0.00%       321.43    0.15%     -321.43            0.00       0.00%            0.00    Promotions - In-house                                      0.00     0.00%     1,578.58      0.10%    -1,578.58           0.00     0.00%          0.00
           251.63      0.11%       850.00    0.39%     -598.37            2.00       0.00%          249.63    Promotion - Outside                                    1,160.60     0.06%     2,500.00      0.16%    -1,339.40           2.00     0.00%      1,158.60
             0.00      0.00%         0.00    0.00%        0.00           16.14       0.01%          -16.14    Radio & Television Advertising                             0.00     0.00%         0.00      0.00%         0.00          16.14     0.00%        -16.14
         2,500.00      1.11%         0.00    0.00%    2,500.00            0.00       0.00%        2,500.00    Trade Shows                                            2,500.00     0.12%         0.00      0.00%     2,500.00           0.00     0.00%      2,500.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Training                                                   0.00     0.00%     1,295.00      0.09%    -1,295.00         995.00     0.09%       -995.00
             0.00      0.00%        75.00    0.03%      -75.00           18.14       0.01%          -18.14    Travel                                                   234.91     0.01%     1,125.00      0.07%      -890.09         179.35     0.02%         55.56
        6,331.89      2.81%     4,347.43    1.99%    1,984.46        1,592.88       0.77%        4,739.01     Total S&M Other Expenses                             20,010.32     0.95%    21,742.58      1.43%    -1,732.26      16,008.65     1.43%      4,001.67

        9,732.62      4.32%     8,502.10    3.89%    1,230.52        5,009.61       2.42%        4,723.01     Total S&M Expenses                                   41,776.27     1.98%    47,908.97      3.16%    -6,132.70      28,911.05     2.58%    12,865.22




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                                                                                             Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             R&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         1,594.43      0.71%     5,428.83    2.48%    -3,834.40       5,480.80       2.64%       -3,886.37   Division Management                                    22,605.48    1.07%    26,413.35      1.74%    -3,807.87      26,413.90     2.36%    -3,808.42
        1,594.43      0.71%     5,428.83    2.48%    -3,834.40       5,480.80       2.64%       -3,886.37    Total R&M Management                                  22,605.48    1.07%    26,413.35      1.74%    -3,807.87      26,413.90     2.36%    -3,808.42
         6,753.69      3.00%     2,657.14    1.22%     4,096.55           0.00       0.00%        6,753.69   Engineers 1                                            10,331.13    0.49%    12,942.85      0.85%    -2,611.72       2,791.68     0.25%     7,539.45
        6,753.69      3.00%     2,657.14    1.22%     4,096.55            0.00      0.00%        6,753.69    Total R&M Non-Management                              10,331.13    0.49%    12,942.85      0.85%    -2,611.72       2,791.68     0.25%     7,539.45

        8,348.12      3.70%     8,085.97    3.70%      262.15        5,480.80       2.64%        2,867.32    Total R&M Salaries and Wages                          32,936.61    1.56%    39,356.20      2.60%    -6,419.59      29,205.58     2.60%     3,731.03

                                                                                                             PR Taxes and Benefits
           636.91      0.28%       627.76    0.29%        9.15          401.92       0.19%         234.99    FICA                                                    2,510.52    0.12%     3,029.12      0.20%      -518.60       1,958.51     0.17%      552.01
            25.35      0.01%         7.39    0.00%       17.96           14.77       0.01%          10.58    Federal Unemployment Tax                                  136.60    0.01%       108.60      0.01%        28.00         114.89     0.01%       21.71
           114.11      0.05%        44.31    0.02%       69.80           66.48       0.03%          47.63    State Unemployment Tax                                    614.73    0.03%       916.58      0.06%      -301.85         517.03     0.05%       97.70
          776.37      0.34%       679.46    0.31%        96.91         483.17       0.23%         293.20     Total Payroll Taxes                                    3,261.85    0.15%     4,054.30      0.27%      -792.45       2,590.43     0.23%      671.42
             0.00      0.00%       120.00    0.05%     -120.00            0.00       0.00%           0.00    Holiday                                                     0.00    0.00%       240.00      0.02%      -240.00           0.00     0.00%        0.00
             0.00     0.00%       120.00    0.05%     -120.00             0.00      0.00%            0.00    Total Supplemental Pay                                      0.00   0.00%       240.00      0.02%      -240.00            0.00    0.00%         0.00
           253.39      0.11%       290.07    0.13%      -36.68          280.99       0.14%         -27.60    Worker's Compensation                                   1,319.70    0.06%     1,374.98      0.09%       -55.28       1,772.48     0.16%     -452.78
             0.00      0.00%       356.01    0.16%     -356.01         -406.27      -0.20%         406.27    Group Insurance                                             0.00    0.00%     1,780.05      0.12%    -1,780.05        -406.27    -0.04%      406.27
          253.39      0.11%       646.08    0.30%     -392.69         -125.28      -0.06%         378.67     Total Other Benefits                                   1,319.70    0.06%     3,155.03      0.21%    -1,835.33       1,366.21     0.12%       -46.51
        1,029.76      0.46%     1,445.54    0.66%     -415.78          357.89       0.17%         671.87     Total R&M PR Taxes and Benefits                        4,581.55    0.22%     7,449.33      0.49%    -2,867.78       3,956.64     0.35%      624.91

        9,377.88      4.16%     9,531.51    4.36%     -153.63        5,838.69       2.81%        3,539.19    Total R&M Payroll                                     37,518.16    1.78%    46,805.53      3.09%    -9,287.37      33,162.22     2.96%     4,355.94

                                                                                                             Other Expenses
         2,964.61      1.32%       887.80    0.41%    2,076.81        1,629.86       0.79%        1,334.75   Air Conditioning and Refrigeration                     12,862.01    0.61%     4,954.20      0.33%     7,907.81       3,666.85     0.33%     9,195.16
         1,177.27      0.52%       579.00    0.26%      598.27        3,026.31       1.46%       -1,849.04   Building                                                4,445.09    0.21%     3,231.00      0.21%     1,214.09       3,106.89     0.28%     1,338.20
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Contract Labor                                              0.00    0.00%     3,000.00      0.20%    -3,000.00           0.00     0.00%         0.00
             0.00      0.00%       154.40    0.07%     -154.40            0.00       0.00%            0.00   Curtains and Drapes                                       667.41    0.03%       861.60      0.06%      -194.19           0.00     0.00%       667.41
           877.34      0.39%       231.60    0.11%      645.74         -195.96      -0.09%        1,073.30   Electric Bulbs                                          1,577.52    0.07%     1,292.40      0.09%       285.12       1,650.58     0.15%       -73.06
           724.95      0.32%       270.20    0.12%      454.75          389.67       0.19%          335.28   Electrical and Mechanical                               2,636.50    0.12%     1,507.80      0.10%     1,128.70         520.76     0.05%     2,115.74
             0.00      0.00%         0.00    0.00%        0.00        1,410.30       0.68%       -1,410.30   Elevator Maintenance Contracts                          3,006.60    0.14%     1,410.30      0.09%     1,596.30       2,820.60     0.25%       186.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Equipment Maintenance                                       0.00    0.00%         0.00      0.00%         0.00       1,423.65     0.13%    -1,423.65
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Equipment Rental                                            0.00    0.00%       600.00      0.04%      -600.00         642.10     0.06%      -642.10
           960.83      0.43%       341.00    0.16%      619.83            0.00       0.00%          960.83   Fire Safety Equipment                                  -1,852.29   -0.09%     3,664.00      0.24%    -5,516.29          44.79     0.00%    -1,897.08
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Floor and Carpet Maintenance                              328.81    0.02%         0.00      0.00%       328.81          76.65     0.01%       252.16
             0.00      0.00%       154.40    0.07%     -154.40            0.00       0.00%            0.00   Furniture                                                   0.00    0.00%       861.60      0.06%      -861.60           0.00     0.00%         0.00
             0.00      0.00%       900.00    0.41%     -900.00          525.00       0.25%         -525.00   Grounds and Landscaping                                 4,388.04    0.21%     5,200.00      0.34%      -811.96       2,625.00     0.23%     1,763.04
            65.16      0.03%       135.10    0.06%      -69.94            0.00       0.00%           65.16   Kitchen Equipment Repairs                                 447.68    0.02%       753.90      0.05%      -306.22         114.07     0.01%       333.61
             0.00      0.00%       115.80    0.05%     -115.80           25.85       0.01%          -25.85   Laundry Equipment Repairs                               2,772.70    0.13%       646.20      0.04%     2,126.50         417.47     0.04%     2,355.23
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Licenses/Permits                                          268.00    0.01%       201.00      0.01%        67.00           0.00     0.00%       268.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Locks and Keys                                              0.00    0.00%         0.00      0.00%         0.00         585.03     0.05%      -585.03
             0.00      0.00%         0.00    0.00%        0.00           17.99       0.01%          -17.99   Miscellaneous Expense                                       0.00    0.00%         0.00      0.00%         0.00          17.99     0.00%       -17.99
             0.00      0.00%         0.00    0.00%        0.00          202.31       0.10%         -202.31   Office Supplies                                             0.00    0.00%         0.00      0.00%         0.00         642.76     0.06%      -642.76
           382.25      0.17%        50.00    0.02%      332.25           63.27       0.03%          318.98   Operating Supplies                                        724.74    0.03%       250.00      0.02%       474.74         208.01     0.02%       516.73
             0.00      0.00%       193.00    0.09%     -193.00            0.00       0.00%            0.00   Painting and Decorating                                   196.61    0.01%     1,077.00      0.07%      -880.39         197.38     0.02%        -0.77
           282.75      0.13%       283.00    0.13%       -0.25          282.75       0.14%            0.00   Pest Control                                            3,011.27    0.14%     1,415.00      0.09%     1,596.27       1,956.90     0.17%     1,054.37
           586.46      0.26%       173.70    0.08%      412.76          218.57       0.11%          367.89   Plumbing and Heating                                    2,907.33    0.14%       969.30      0.06%     1,938.03         887.89     0.08%     2,019.44
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Pool Chemicals                                              0.00    0.00%         0.00      0.00%         0.00          70.01     0.01%       -70.01
         1,072.21      0.48%       350.00    0.16%      722.21          350.00       0.17%          722.21   Pool Service- Contract                                  8,039.00    0.38%     1,750.00      0.12%     6,289.00       1,400.00     0.12%     6,639.00
             0.00      0.00%        75.00    0.03%      -75.00            0.00       0.00%            0.00   Radio and Television Repair                               339.74    0.02%       375.00      0.02%       -35.26         145.96     0.01%       193.78
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Signage                                                     0.00    0.00%         0.00      0.00%         0.00         116.17     0.01%      -116.17
           415.03      0.18%        50.00    0.02%      365.03            0.00       0.00%          415.03   Tools                                                     547.03    0.03%       250.00      0.02%       297.03         111.01     0.01%       436.02
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Travel                                                      0.00    0.00%       500.00      0.03%      -500.00         105.61     0.01%      -105.61
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%            0.00   Uniforms                                                    0.00    0.00%       250.00      0.02%      -250.00           0.00     0.00%         0.00
             0.00      0.00%       100.00    0.05%     -100.00           60.00       0.03%          -60.00   Vehicle Maintenance & Repairs                             479.12    0.02%       750.00      0.05%      -270.88         902.62     0.08%      -423.50
         1,503.92      0.67%       648.00    0.30%      855.92          770.11       0.37%          733.81   Waste Removal                                           7,169.29    0.34%     3,240.00      0.21%     3,929.29       3,446.02     0.31%     3,723.27
       11,012.78      4.89%     5,742.00    2.63%    5,270.78        8,776.03       4.23%        2,236.75    Total R&M Other Expenses                              54,962.20    2.61%    39,010.30      2.57%    15,951.90      27,902.77     2.49%    27,059.43

       20,390.66      9.05%    15,273.51    6.99%    5,117.15       14,614.72       7.05%        5,775.94    Total R&M Expenses                                    92,480.36    4.38%    85,815.83      5.66%     6,664.53      61,064.99     5.44%    31,415.37
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                                                                                            Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                            Utilities
         2,159.47      0.96%     3,184.50    1.46%   -1,025.03       2,995.95       1.44%         -836.48   Water                                                  14,923.27    0.71%    17,770.50      1.17%    -2,847.23       9,500.21     0.85%    5,423.06
         6,602.58      2.93%     5,712.80    2.61%      889.78       5,084.67       2.45%        1,517.91   Electricity                                            29,383.72    1.39%    31,879.20      2.10%    -2,495.48      22,779.79     2.03%    6,603.93
           964.64      0.43%       849.20    0.39%      115.44       1,139.20       0.55%         -174.56   Gas - Natural HLP                                       5,462.44    0.26%     4,738.80      0.31%       723.64       4,287.17     0.38%    1,175.27
             0.00      0.00%         0.00    0.00%        0.00       1,556.91       0.75%       -1,556.91   Sewer                                                       0.00    0.00%         0.00      0.00%         0.00       7,213.39     0.64%   -7,213.39
        9,726.69      4.32%     9,746.50    4.46%       -19.81     10,776.73       5.20%       -1,050.04    Total Utilities                                       49,769.43    2.36%    54,388.50      3.59%    -4,619.07      43,780.56     3.90%    5,988.87




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                                                                                              Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
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                                                                                                                            As of 5/31/2022
             PTD      %        PTD Budget    %          Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Fixed
           452.93      0.20%       472.80     0.22%       -19.87           0.00       0.00%          452.93   Personal Property Taxes                                 2,264.65    0.11%      2,364.00     0.16%        -99.35       5,663.40      0.50%    -3,398.75
         9,612.04      4.27%     9,563.71     4.37%        48.33       7,906.64       3.81%        1,705.40   Real Estate Taxes                                      48,060.20    2.28%     47,818.55     3.15%        241.65      10,542.32      0.94%    37,517.88
       10,064.97      4.47%    10,036.51     4.59%         28.46      7,906.64       3.81%        2,158.33    Total Taxes                                           50,324.85    2.39%     50,182.55     3.31%        142.30      16,205.72      1.44%    34,119.13
           313.41      0.14%       350.08     0.16%       -36.67           0.00       0.00%          313.41   Insurance                                               1,567.05    0.07%      1,750.40     0.12%       -183.35           0.00      0.00%     1,567.05
           311.25      0.14%       400.25     0.18%       -89.00           0.00       0.00%          311.25   Insurance - Automobile                                  1,867.50    0.09%      2,001.25     0.13%       -133.75           0.00      0.00%     1,867.50
            68.34      0.03%        31.67     0.01%        36.67           0.00       0.00%           68.34   Insurance - Crime                                         341.70    0.02%        158.35     0.01%        183.35           0.00      0.00%       341.70
           361.92      0.16%       361.92     0.17%         0.00          52.29       0.03%          309.63   Insurance - Employment                                  1,809.60    0.09%      1,809.60     0.12%          0.00         261.42      0.02%     1,548.18
         1,707.63      0.76%     1,130.75     0.52%       576.88         139.00       0.07%        1,568.63   Insurance - General Liability                          10,494.51    0.50%      5,653.75     0.37%      4,840.76         695.00      0.06%     9,799.51
         3,064.08      1.36%     2,998.33     1.37%        65.75           0.00       0.00%        3,064.08   Insurance - Property                                   15,320.40    0.73%     14,991.65     0.99%        328.75           0.00      0.00%    15,320.40
            49.75      0.02%     1,757.92     0.80%    -1,708.17           0.00       0.00%           49.75   Insurance - Umbrella                                      248.75    0.01%      8,789.60     0.58%     -8,540.85           0.00      0.00%       248.75
        5,876.38      2.61%     7,030.92     3.22%    -1,154.54         191.29       0.09%        5,685.09    Total Insurance                                       31,649.51    1.50%     35,154.60     2.32%     -3,505.09         956.42      0.09%    30,693.09
        24,271.00     10.77%    24,270.82    11.10%         0.18      23,621.00      11.39%          650.00   Ground Lease Expense                                  121,355.00    5.75%    121,354.10     8.01%          0.90     118,105.00     10.53%     3,250.00
       24,271.00     10.77%    24,270.82    11.10%          0.18     23,621.00      11.39%          650.00    Total Leases & Rent                                  121,355.00    5.75%    121,354.10     8.01%           0.90    118,105.00     10.53%     3,250.00
         7,260.35      3.22%     6,559.19     3.00%       701.16       6,722.50       3.24%          537.85   Management Fee - Base                                  65,778.95    3.12%     45,471.59     3.00%     20,307.36      37,191.15      3.32%    28,587.80
        7,260.35      3.22%     6,559.19     3.00%       701.16       6,722.50       3.24%          537.85    Total Management Fees                                 65,778.95    3.12%     45,471.59     3.00%     20,307.36      37,191.15      3.32%    28,587.80
             0.00      0.00%     6,500.00     2.97%    -6,500.00           0.00       0.00%            0.00   Capital Reserve                                             0.00    0.00%     37,060.00     2.45%    -37,060.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Owner's Expense                                             0.00    0.00%          0.00     0.00%          0.00      -1,087.92     -0.10%     1,087.92
             0.00      0.00%         0.00     0.00%         0.00       2,144.19       1.03%       -2,144.19   Non Recurring Cost                                          0.00    0.00%          0.00     0.00%          0.00       3,611.19      0.32%    -3,611.19
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Prior Owner's Expense                                       0.00    0.00%          0.00     0.00%          0.00         635.01      0.06%      -635.01
             0.00     0.00%     6,500.00     2.97%    -6,500.00       2,144.19       1.03%       -2,144.19    Total Other Non-Operating                                   0.00   0.00%     37,060.00     2.45%    -37,060.00       3,158.28      0.28%    -3,158.28




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                                                                                               Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget      %         Variance   PTD Last Year     %           Variance                                                                YTD    %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             Statistics
           102.00                   102.00                   0.00         102.00                      0.00   # Rooms                                                   102.00                   102.00                     0.00         102.00                     0.00
         3,162.00                 3,162.00                   0.00       3,162.00                      0.00   Available Rooms                                        15,402.00                15,402.00                     0.00      15,402.00                     0.00
         2,496.00                 1,752.11                 743.89       2,422.00                     74.00   Room Nights Sold                                       13,166.00                 9,331.11                 3,834.89      11,134.00                 2,032.00
          78.94%                   55.41%                 23.53%         76.60%                     2.34%    Occupancy %                                              85.48%                   60.58%                   24.90%         72.29%                   13.19%
           129.73                   171.08                 -41.35         119.33                     10.40   ADR                                                       167.80                   183.26                   -15.46         126.56                    41.24
           102.40                    94.80                   7.61          91.40                     11.00   RevPar                                                    143.44                   111.02                    32.42          91.49                    51.95

                                                                                                             Summary V.11
                                                                                                             Revenue
       323,800.36     98.45%    299,752.50    99.47%    24,047.86     289,018.82     99.22%     34,781.54    Rooms                                               2,209,230.35    98.87%    1,709,973.84    99.53%    499,256.51    1,409,066.03   98.55%     800,164.32
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00    F&B                                                         0.00     0.00%            0.00     0.00%          0.00            0.00    0.00%           0.00
         5,104.08      1.55%      1,609.02     0.53%     3,495.06       2,275.88      0.78%      2,828.20    Other Departments                                      25,316.22     1.13%        8,133.92     0.47%     17,182.30       20,740.19    1.45%       4,576.03

      328,904.44    100.00%    301,361.52    100.00%   27,542.92     291,294.70     100.00%     37,609.74    Total Operating Revenue                            2,234,546.57    100.00%   1,718,107.76 100.00%      516,438.81    1,429,806.22 100.00%      804,740.35

                                                                                                             Departmental Expenses
        72,563.36     22.41%     84,551.92    28.21%   -11,988.56      49,933.21      17.28%    22,630.15    Rooms                                                 384,814.37    17.42%     432,395.03     25.29%    -47,580.66     258,146.20    18.32%     126,668.17
             0.00      0.00%          0.00     0.00%         0.00           0.00       0.00%         0.00    F&B                                                         0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%           0.00
         1,398.19     27.39%        777.14    48.30%       621.05       2,966.46     130.34%    -1,568.27    Other Departments                                       6,760.82    26.71%       3,935.60     48.39%      2,825.22      17,704.12    85.36%     -10,943.30

       73,961.55     22.49%     85,329.06    28.31%    -11,367.51     52,899.67      18.16%     21,061.88    Total Departmental Expenses                          391,575.19    17.52%     436,330.63     25.40%    -44,755.44     275,850.32     19.29%    115,724.87

      254,942.89     77.51%    216,032.46    71.69%    38,910.43     238,395.03      81.84%     16,547.86    Total Departmental Profit                          1,842,971.38    82.48%    1,281,777.13    74.60%    561,194.25    1,153,955.90    80.71%    689,015.48

                                                                                                             Undistributed Operating Expenses
        22,164.98      6.74%     21,621.60     7.17%       543.38      21,819.86      7.49%         345.12   A&G                                                   140,209.37     6.27%     121,630.94     7.08%      18,578.43      94,314.54     6.60%      45,894.83
         4,237.35      1.29%      2,917.70     0.97%     1,319.65           0.00      0.00%       4,237.35   IT                                                     24,150.95     1.08%       8,508.50     0.50%      15,642.45           0.00     0.00%      24,150.95
         8,518.29      2.59%     12,035.61     3.99%    -3,517.32       7,366.39      2.53%       1,151.90   S&M                                                    50,458.83     2.26%      58,784.16     3.42%      -8,325.33      42,174.17     2.95%       8,284.66
        44,654.81     13.58%     27,301.84     9.06%    17,352.97      53,597.63     18.40%      -8,942.82   Franchise Fees                                        296,986.16    13.29%     142,116.35     8.27%     154,869.81     174,435.17    12.20%     122,550.99
        16,285.87      4.95%     14,571.30     4.84%     1,714.57      22,669.42      7.78%      -6,383.55   R&M                                                   101,215.30     4.53%      79,847.54     4.65%      21,367.76      69,456.81     4.86%      31,758.49
        11,026.24      3.35%      7,840.70     2.60%     3,185.54      10,945.30      3.76%          80.94   Utilities                                              49,024.07     2.19%      39,712.40     2.31%       9,311.67      45,309.64     3.17%       3,714.43

      106,887.54     32.50%     86,288.75    28.63%    20,598.79     116,398.60      39.96%     -9,511.06    Total Undistributed Expenses                         662,044.68    29.63%     450,599.89     26.23%    211,444.79     425,690.33     29.77%    236,354.35

      148,055.35     45.01%    129,743.71    43.05%    18,311.64     121,996.43      41.88%     26,058.92    Gross Operating Profit                             1,180,926.70    52.85%     831,177.24     48.38%    349,749.46     728,265.57     50.93%    452,661.13
        10,367.12      3.15%      9,040.85     3.00%     1,326.27       9,237.82       3.17%      1,129.30   Management Fees                                        67,048.94     3.00%      51,543.23      3.00%     15,505.71      45,393.18      3.17%     21,655.76
      137,688.23     41.86%    120,702.86    40.05%    16,985.37     112,758.61      38.71%     24,929.62    Income Before Non-Operating Income and Expenses    1,113,877.76    49.85%     779,634.01     45.38%    334,243.75     682,872.39     47.76%    431,005.37

                                                                                                             Non-Operating Income and Expenses
         6,219.40      1.89%      7,090.58     2.35%      -871.18         210.42       0.07%      6,008.98   Insurance                                              32,615.28     1.46%      35,452.90      2.06%     -2,837.62       1,052.16      0.07%     31,563.12
        26,919.00      8.18%     26,918.60     8.93%         0.40      26,198.00       8.99%        721.00   Leases & Rent                                         134,595.00     6.02%     134,593.00      7.83%          2.00     130,990.00      9.16%      3,605.00
        10,025.00      3.05%          0.00     0.00%    10,025.00           0.00       0.00%     10,025.00   Other                                                  10,025.00     0.45%           0.00      0.00%     10,025.00      -1,754.16     -0.12%     11,779.16
       43,163.40     13.12%     34,009.18    11.29%     9,154.22      26,408.42       9.07%     16,754.98    Total Non-Operating Income and Expenses              177,235.28     7.93%     170,045.90      9.90%      7,189.38     130,288.00      9.11%     46,947.28

       94,524.83     28.74%     86,693.68    28.77%     7,831.15      86,350.19      29.64%      8,174.64    EBITDA                                               936,642.48    41.92%     609,588.11     35.48%    327,054.37     552,584.39     38.65%    384,058.09
             0.00      0.00%          0.00     0.00%         0.00           0.00       0.00%          0.00   Interest                                                    0.00     0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
        13,638.09      4.15%     13,818.09     4.59%      -180.00      13,430.58       4.61%        207.51   Taxes                                                  68,190.45     3.05%      69,090.45      4.02%       -900.00      73,194.48      5.12%     -5,004.03
       13,638.09      4.15%     13,818.09     4.59%      -180.00      13,430.58       4.61%        207.51    Interest, Taxes, Depreciation and Amortization        68,190.45     3.05%      69,090.45      4.02%       -900.00      73,194.48      5.12%     -5,004.03

       80,886.74     24.59%     72,875.59    24.18%     8,011.15      72,919.61      25.03%      7,967.13    Net Income                                           868,452.03    38.86%     540,497.66     31.46%    327,954.37     479,389.91     33.53%    389,062.12




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                                                                                             Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget    %         Variance   PTD Last Year     %           Variance                                                                YTD    %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           Statistics
           102.00                  102.00                 0.00          102.00                     0.00    # Rooms                                                  102.00                   102.00                    0.00         102.00                    0.00
         3,162.00                3,162.00                 0.00        3,162.00                     0.00    Available Rooms                                       15,402.00                15,402.00                    0.00      15,402.00                    0.00
         2,496.00                1,752.11               743.89        2,422.00                    74.00    Room Nights Sold                                      13,166.00                 9,331.11                3,834.89      11,134.00                2,032.00
             0.79                    0.55                 0.24            0.77                     0.02    Occupancy %                                                0.85                     0.61                    0.25           0.72                    0.13
           129.73                  171.08               -41.35          119.33                    10.40    ADR                                                      167.80                   183.26                  -15.46         126.56                   41.24
           102.40                   94.80                 7.61           91.40                    11.00    RevPar                                                   143.44                   111.02                   32.42          91.49                   51.95

                                                                                                           Summary
                                                                                                           Revenue:
       323,800.36     98.45%   299,752.50   99.47%    24,047.86     289,018.82     99.22%     34,781.54    Rooms                                               2,209,230.35   98.87%    1,709,973.84    99.53%   499,256.51   1,409,066.03    98.55%    800,164.32
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    Food                                                        0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    Beverage                                                    0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    Other F&B Revenue                                           0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    Telephone                                                   0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         5,104.08      1.55%     1,609.02    0.53%     3,495.06       2,275.88      0.78%      2,828.20    Other                                                  25,316.22    1.13%        8,133.92     0.47%    17,182.30      20,740.19     1.45%      4,576.03

       328,904.44   100.00%    301,361.52   100.00%   27,542.92     291,294.70     100.00%    37,609.74    Total Revenue                                       2,234,546.57   100.00%   1,718,107.76   100.00%   516,438.81   1,429,806.22    100.00%   804,740.35



                                                                                                           Cost of Sales:
             0.00      0.00%        0.00     0.00%        0.00            0.00      0.00%           0.00   Food                                                        0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%        0.00            0.00      0.00%           0.00   Beverage                                                    0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%        0.00            0.00      0.00%           0.00   Other F&B                                                   0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%        0.00        2,006.87     88.18%      -2,006.87   Telephone                                                   0.00    0.00%            0.00     0.00%         0.00      11,266.89    54.32%    -11,266.89
         1,398.19     27.39%      777.14    48.30%      621.05          599.09     26.32%         799.10   Other                                                   6,760.82   26.71%        3,935.60    48.39%     2,825.22       4,574.73    22.06%      2,186.09

         1,398.19     27.39%      777.14    48.30%      621.05        2,605.96     114.50%     -1,207.77   Total Cost of Sales                                     6,760.82   26.71%        3,935.60    48.39%     2,825.22      15,841.62    76.38%     -9,080.80



                                                                                                           Payroll:
        35,754.59     11.04%    40,094.28   13.38%    -4,339.69      34,404.47     11.90%      1,350.12    Rooms                                                186,650.62     8.45%     197,893.77     11.57%   -11,243.15     153,249.98    10.88%     33,400.64
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    F&B                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    Other                                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         5,601.39      1.70%     5,375.03    1.78%       226.36       5,438.64      1.87%        162.75    A&G                                                   27,310.38     1.22%      26,314.95      1.53%       995.43      26,210.48     1.83%      1,099.90
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    IT                                                         0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         5,109.91      1.55%     5,278.72    1.75%      -168.81       4,598.89      1.58%        511.02    S&M                                                   27,720.93     1.24%      25,844.71      1.50%     1,876.22      22,163.39     1.55%      5,557.54
         5,953.48      1.81%     7,589.25    2.52%    -1,635.77       5,918.07      2.03%         35.41    R&M                                                   30,069.62     1.35%      37,058.24      2.16%    -6,988.62      24,389.14     1.71%      5,680.48
        52,419.37     15.94%    58,337.28   19.36%    -5,917.91      50,360.07     17.29%      2,059.30    Total Salaries and Wages                             271,751.55    12.16%     287,111.67     16.71%   -15,360.12     226,012.99    15.81%     45,738.56

        11,808.00      3.59%    11,988.12    3.98%      -180.12       6,689.29      2.30%      5,118.71    Total Taxes and Benefits                              74,638.52     3.34%      67,942.30      3.95%     6,696.22      31,330.13     2.19%     43,308.39
        64,227.37     19.53%    70,325.40   23.34%    -6,098.03      57,049.36     19.58%      7,178.01    Total Labor Costs                                    346,390.07    15.50%     355,053.97     20.67%    -8,663.90     257,343.12    18.00%     89,046.95



                                                                                                           Direct Expenses:
        28,563.33      8.82%    37,575.94   12.54%    -9,012.61      11,002.31      3.81%     17,561.02    Rooms                                                156,427.23     7.08%     196,320.60     11.48%   -39,893.37      82,491.00     5.85%     73,936.23
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    F&B                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00         360.50     15.84%       -360.50    Telephone                                                  0.00     0.00%           0.00      0.00%         0.00       1,862.50     8.98%     -1,862.50
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00    Other                                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        44,654.81     13.58%    27,301.84    9.06%    17,352.97      53,597.63     18.40%     -8,942.82    Franchise Fees                                       296,986.16    13.29%     142,116.35      8.27%   154,869.81     174,435.17    12.20%    122,550.99
        14,773.18      4.49%    14,897.26    4.94%      -124.08      15,715.94      5.40%       -942.76    A&G                                                   92,631.89     4.15%      79,305.87      4.62%    13,326.02      64,337.68     4.50%     28,294.21
         4,237.35      1.29%     2,917.70    0.97%     1,319.65           0.00      0.00%      4,237.35    IT                                                    24,150.95     1.08%       8,508.50      0.50%    15,642.45           0.00     0.00%     24,150.95
         2,793.04      0.85%     4,036.00    1.34%    -1,242.96       2,109.05      0.72%        683.99    S&M                                                   15,168.70     0.68%      24,588.00      1.43%    -9,419.30      16,491.57     1.15%     -1,322.87
         9,175.58      2.79%     5,945.83    1.97%     3,229.75      15,912.22      5.46%     -6,736.64    R&M                                                   66,079.98     2.96%      37,389.23      2.18%    28,690.75      43,428.35     3.04%     22,651.63
        11,026.24      3.35%     7,840.70    2.60%     3,185.54      10,945.30      3.76%         80.94    Utilities                                             49,024.07     2.19%      39,712.40      2.31%     9,311.67      45,309.64     3.17%      3,714.43

       115,223.53     35.03%   100,515.27   33.35%    14,708.26     109,642.95     37.64%      5,580.58    Total Direct Expense                                 700,468.98    31.35%     527,940.95     30.73%   172,528.03     428,355.91    29.96%    272,113.07

       148,055.35     45.01%   129,743.71   43.05%    18,311.64     121,996.43     41.88%     26,058.92    Gross Operating Profit                              1,180,926.70   52.85%     831,177.24     48.38%   349,749.46     728,265.57    50.93%    452,661.13

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                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %          Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance




                                                                                                         Fixed Costs
        13,638.09      4.15%    13,818.09   4.59%      -180.00      13,430.58      4.61%       207.51    Taxes                                                 68,190.45     3.05%     69,090.45     4.02%       -900.00      73,194.48    5.12%     -5,004.03
         6,219.40      1.89%     7,090.58   2.35%      -871.18         210.42      0.07%     6,008.98    Insurance                                             32,615.28     1.46%     35,452.90     2.06%     -2,837.62       1,052.16    0.07%     31,563.12
        26,919.00      8.18%    26,918.60   8.93%         0.40      26,198.00      8.99%       721.00    Leases & Rent                                        134,595.00     6.02%    134,593.00     7.83%          2.00     130,990.00    9.16%      3,605.00
        10,367.12      3.15%     9,040.85   3.00%     1,326.27       9,237.82      3.17%     1,129.30    Management Fees                                       67,048.94     3.00%     51,543.23     3.00%     15,505.71      45,393.18    3.17%     21,655.76

        57,143.61     17.37%    56,868.12   18.87%     275.49       49,076.82     16.85%     8,066.79    Total Fixed Expenses                                 302,449.67     13.54%   290,679.58     16.92%    11,770.09     250,629.82    17.53%    51,819.85

        90,911.74     27.64%    72,875.59   24.18%   18,036.15      72,919.61     25.03%    17,992.13    Net Operating Profit                                 878,477.03     39.31%   540,497.66     31.46%   337,979.37     477,635.75    33.41%   400,841.28



             0.00      0.00%         0.00   0.00%         0.00           0.00      0.00%         0.00    Owner's Expense                                              0.00   0.00%          0.00     0.00%          0.00         949.17     0.07%      -949.17
             0.00      0.00%         0.00   0.00%         0.00           0.00      0.00%         0.00    Prior Owner's Expense                                        0.00   0.00%          0.00     0.00%          0.00      -2,703.33    -0.19%     2,703.33



        90,911.74     27.64%    72,875.59   24.18%   18,036.15      72,919.61     25.03%    17,992.13    Net Operating Income                                 878,477.03     39.31%   540,497.66     31.46%   337,979.37     479,389.91    33.53%   399,087.12

        10,025.00      3.05%         0.00   0.00%    10,025.00           0.00      0.00%    10,025.00    Capital Reserve                                       10,025.00     0.45%          0.00     0.00%     10,025.00           0.00    0.00%     10,025.00

        80,886.74     24.59%    72,875.59   24.18%    8,011.15      72,919.61     25.03%     7,967.13    Adjusted NOI                                         868,452.03     38.86%   540,497.66     31.46%   327,954.37     479,389.91    33.53%   389,062.12




        80,886.74     24.59%    72,875.59   24.18%    8,011.15      72,919.61     25.03%     7,967.13    Net Profit/(Loss)                                    868,452.03     38.86%   540,497.66     31.46%   327,954.37     479,389.91    33.53%   389,062.12




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                                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget      %         Variance    PTD Last Year     %           Variance                                                                YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
        52,995.51     16.37%    16,332.00      5.45%    36,663.51       15,073.74      5.22%      37,921.77   Corporate Transient                                   232,663.38     10.53%     136,552.78      7.99%     96,110.60      65,905.75     4.68%    166,757.63
             0.00      0.00%    24,644.91      8.22%   -24,644.91            0.00      0.00%           0.00   Advanced Purchase                                           0.00      0.00%      81,048.44      4.74%    -81,048.44           0.00     0.00%          0.00
        92,027.70     28.42%    88,570.22     29.55%     3,457.48      178,586.76     61.79%     -86,559.06   Qualified Discounts                                   484,976.10     21.95%     417,053.86     24.39%     67,922.24     868,581.00    61.64%   -383,604.90
         4,758.18      1.47%    21,872.49      7.30%   -17,114.31        6,775.35      2.34%      -2,017.17   Consortia Transient                                    38,238.39      1.73%     141,553.82      8.28%   -103,315.43      35,314.19     2.51%      2,924.20
             0.00      0.00%     2,418.00      0.81%    -2,418.00            0.00      0.00%           0.00   Employee                                                    0.00      0.00%      11,700.00      0.68%    -11,700.00       1,342.00     0.10%     -1,342.00
             0.00      0.00%         0.00      0.00%         0.00          126.75      0.04%        -126.75   Leisure Transient                                           0.00      0.00%           0.00      0.00%          0.00         238.50     0.02%       -238.50
             0.00      0.00%     5,518.00      1.84%    -5,518.00            0.00      0.00%           0.00   Travel Agent/Friends & Family                               0.00      0.00%      31,497.00      1.84%    -31,497.00           0.00     0.00%          0.00
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%           0.00   Leisure Package Transient                                   0.00      0.00%           0.00      0.00%          0.00         100.50     0.01%       -100.50
             0.00      0.00%    10,256.00      3.42%   -10,256.00            0.00      0.00%           0.00   Member Reward Stay                                          0.00      0.00%      66,518.48      3.89%    -66,518.48       9,114.71     0.65%     -9,114.71
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%           0.00   Non Qualified Discounts                                     0.00      0.00%      22,099.95      1.29%    -22,099.95           0.00     0.00%          0.00
         1,729.78      0.53%    31,086.96     10.37%   -29,357.18          506.25      0.18%       1,223.53   Internet/E-Commerce                                    23,023.60      1.04%     126,424.13      7.39%   -103,400.53       1,564.76     0.11%     21,458.84
             0.00      0.00%    21,050.13      7.02%   -21,050.13            0.00      0.00%           0.00   E-Commerce Opaque                                           0.00      0.00%     133,886.75      7.83%   -133,886.75       1,052.93     0.07%     -1,052.93
             0.00      0.00%         0.00      0.00%         0.00          111.75      0.04%        -111.75   Other Transient                                             0.00      0.00%           0.00      0.00%          0.00         111.75     0.01%       -111.75
        10,555.00      3.26%    11,433.00      3.81%      -878.00        4,429.00      1.53%       6,126.00   Government Transient                                  118,977.00      5.39%      67,424.00      3.94%     51,553.00      28,192.86     2.00%     90,784.14
       120,813.81     37.31%    41,576.29     13.87%    79,237.52       68,837.80     23.82%      51,976.01   Rack Transient                                        895,835.89     40.55%     302,654.29     17.70%    593,181.60     304,976.68    21.64%    590,859.21
        26,323.00      8.13%    18,064.50      6.03%     8,258.50        8,520.44      2.95%      17,802.56   Local Negotiated Transient                            222,020.73     10.05%     133,711.34      7.82%     88,309.39      56,905.04     4.04%    165,115.69

      309,202.98     95.49%    292,822.50    97.69%    16,380.48      282,967.84      97.91%     26,235.14    Total Transient Room Revenue                       2,015,735.09     91.24%    1,672,124.84   97.79%     343,610.25    1,373,400.67    97.47%   642,334.42

                                                                                                              Group Room Revenue
        12,933.00      3.99%      6,930.00     2.31%    6,003.00         5,985.00      2.07%      6,948.00    SMERF Group                                           185,223.20      8.38%      36,299.00     2.12%    148,924.20       35,317.00     2.51%   149,906.20
             0.00      0.00%          0.00     0.00%        0.00             0.00      0.00%          0.00    Sports Group                                                0.00      0.00%           0.00     0.00%          0.00          169.00     0.01%      -169.00

       12,933.00      3.99%      6,930.00     2.31%     6,003.00        5,985.00       2.07%      6,948.00    Total Group Room Revenue                             185,223.20      8.38%      36,299.00      2.12%    148,924.20      35,486.00     2.52%    149,737.20

                                                                                                              Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00             0.00      0.00%          0.00    Total Contract Room Revenue                                  0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                              Other Room Revenue
             0.00      0.00%          0.00     0.00%        0.00            65.98      0.02%        -65.98    No-Show Rooms                                           4,179.68      0.19%         250.00     0.01%       3,929.68         179.36     0.01%      4,000.32
             0.00      0.00%          0.00     0.00%        0.00             0.00      0.00%          0.00    Early/Late Departure Fees                                 150.00      0.01%         250.00     0.01%        -100.00           0.00     0.00%        150.00
         1,664.38      0.51%          0.00     0.00%    1,664.38             0.00      0.00%      1,664.38    Pet/Smoking/Damage Fees                                 3,849.78      0.17%         350.00     0.02%       3,499.78           0.00     0.00%      3,849.78
             0.00      0.00%          0.00     0.00%        0.00             0.00      0.00%          0.00    Cot/Rollaway Revenue                                        0.00      0.00%         450.00     0.03%        -450.00           0.00     0.00%          0.00

        1,664.38      0.51%          0.00     0.00%     1,664.38            65.98      0.02%      1,598.40    Total Other Room Revenue                               8,179.46      0.37%        1,300.00     0.08%      6,879.46         179.36     0.01%      8,000.10

             0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%          0.00    Less: Allowances                                           92.60      0.00%         250.00     0.01%       -157.40            0.00     0.00%        92.60

      323,800.36    100.00%    299,752.50    100.00%   24,047.86      289,018.82     100.00%     34,781.54    Total Room Revenue                                 2,209,230.35     100.00%   1,709,973.84 100.00%      499,256.51    1,409,066.03 100.00%     800,164.32

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         3,406.59      1.05%      3,431.49     1.14%        -24.90       2,828.29       0.98%        578.30   Front Office Management                                16,593.39      0.75%      16,800.26      0.98%       -206.87      10,475.99     0.74%      6,117.40
             0.00      0.00%          0.00     0.00%          0.00       3,186.81       1.10%     -3,186.81   Housekeeping Management                                     0.00      0.00%           0.00      0.00%          0.00      13,340.65     0.95%    -13,340.65
        3,406.59      1.05%      3,431.49     1.14%        -24.90       6,015.10       2.08%     -2,608.51    Total Rooms Management                                16,593.39      0.75%      16,800.26      0.98%       -206.87      23,816.64     1.69%     -7,223.25
         6,692.94      2.07%      7,936.00     2.65%    -1,243.06        4,472.41       1.55%      2,220.53   Front Office Agents                                    34,050.42      1.54%      38,656.00      2.26%     -4,605.58      29,504.92     2.09%      4,545.50
             0.00      0.00%      3,968.00     1.32%    -3,968.00        4,016.71       1.39%     -4,016.71   Night Auditors                                         17,362.13      0.79%      19,328.00      1.13%     -1,965.87      18,492.96     1.31%     -1,130.83
         1,750.38      0.54%      2,559.71     0.85%      -809.33        2,776.39       0.96%     -1,026.01   Breakfast Attendant                                    12,162.73      0.55%      12,468.27      0.73%       -305.54       9,293.97     0.66%      2,868.76
        8,443.32      2.61%     14,463.71     4.83%    -6,020.39       11,265.51       3.90%     -2,822.19    Total Rooms Front Office                              63,575.28      2.88%      70,452.27      4.12%     -6,876.99      57,291.85     4.07%      6,283.43
             0.00      0.00%      2,745.71     0.92%    -2,745.71        4,178.10       1.45%     -4,178.10   Housekeeping Supervisors                               19,860.51      0.90%      13,374.27      0.78%      6,486.24      14,783.36     1.05%      5,077.15
        19,501.05      6.02%     12,943.37     4.32%     6,557.68        6,782.92       2.35%     12,718.13   Room Attendants                                        66,664.32      3.02%      65,556.97      3.83%      1,107.35      36,192.05     2.57%     30,472.27
         4,120.77      1.27%      3,100.00     1.03%     1,020.77        2,664.20       0.92%      1,456.57   Housepersons                                           11,998.46      0.54%      15,100.00      0.88%     -3,101.54       8,836.19     0.63%      3,162.27
           282.86      0.09%      3,410.00     1.14%    -3,127.14        3,498.64       1.21%     -3,215.78   Laundry Attendants                                      7,958.66      0.36%      16,610.00      0.97%     -8,651.34      12,329.89     0.88%     -4,371.23
       23,904.68      7.38%     22,199.08     7.41%     1,705.60       17,123.86       5.92%      6,780.82    Total Rooms Housekeeping                             106,481.95      4.82%     110,641.24      6.47%     -4,159.29      72,141.49     5.12%     34,340.46


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              PTD     %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                                                YTD    %         YTD Budget %               Variance   YTD Last Year    %          Variance

       35,754.59     11.04%     40,094.28    13.38%    -4,339.69      34,404.47      11.90%      1,350.12    Total Rooms Salary and Wages                         186,650.62    8.45%     197,893.77    11.57%     -11,243.15     153,249.98     10.88%    33,400.64

                                                                                                             PR Taxes and Benefits
         2,747.42      0.85%      3,191.70    1.06%       -444.28       2,601.20       0.90%        146.22   FICA                                                   14,526.08    0.66%      15,756.72      0.92%     -1,230.64      11,471.19     0.81%      3,054.89
            32.31      0.01%         37.55    0.01%         -5.24          83.91       0.03%        -51.60   Federal Unemployment Tax                                1,027.34    0.05%         563.28      0.03%        464.06         612.13     0.04%        415.21
           145.45      0.04%        225.30    0.08%        -79.85         377.53       0.13%       -232.08   State Unemployment Tax                                  2,630.30    0.12%       4,805.20      0.28%     -2,174.90       2,754.52     0.20%       -124.22
        2,925.18      0.90%      3,454.55    1.15%       -529.37       3,062.64       1.06%       -137.46    Total Payroll Taxes                                   18,183.72    0.82%      21,125.20      1.24%     -2,941.48      14,837.84     1.05%      3,345.88
             0.00      0.00%      1,486.00    0.50%     -1,486.00           0.00       0.00%          0.00   Holiday                                                 1,424.00    0.06%       2,972.00      0.17%     -1,548.00           0.00     0.00%      1,424.00
           384.00      0.12%        135.63    0.05%        248.37           0.00       0.00%        384.00   Vacation                                                1,552.00    0.07%         575.07      0.03%        976.93           0.00     0.00%      1,552.00
          384.00      0.12%      1,621.63    0.54%     -1,237.63            0.00      0.00%        384.00    Total Supplemental Pay                                 2,976.00    0.13%       3,547.07      0.21%       -571.07            0.00    0.00%      2,976.00
         1,493.40      0.46%      1,455.52    0.49%         37.88       1,881.87       0.65%       -388.47   Worker's Compensation                                   8,837.98    0.40%       7,258.39      0.42%      1,579.59       9,293.40     0.66%       -455.42
         3,442.86      1.06%        350.00    0.12%      3,092.86        -418.08      -0.14%      3,860.94   Group Insurance                                        10,088.82    0.46%       1,750.00      0.10%      8,338.82      -1,726.02    -0.12%     11,814.84
             0.00      0.00%          0.00    0.00%          0.00           0.00       0.00%          0.00   Bonus and Incentive Pay                                 1,650.00    0.07%       4,500.00      0.26%     -2,850.00           0.00     0.00%      1,650.00
        4,936.26      1.52%      1,805.52    0.60%      3,130.74       1,463.79       0.51%      3,472.47    Total Other Benefits                                  20,576.80    0.93%      13,508.39      0.79%      7,068.41       7,567.38     0.54%     13,009.42

        8,245.44      2.55%      6,881.70    2.30%     1,363.74        4,526.43       1.57%      3,719.01    Total Rooms PR Taxes and Benefits                     41,736.52    1.89%      38,180.66      2.23%      3,555.86      22,405.22     1.59%     19,331.30

       44,000.03     13.59%     46,975.98    15.67%    -2,975.95      38,930.90      13.47%      5,069.13    Total Rooms Labor Costs                              228,387.14    10.34%    236,074.43    13.81%      -7,687.29     175,655.20     12.47%    52,731.94

                                                                                                             Other Expenses
        11,789.93      3.64%    10,578.72     3.53%     1,211.21        4,872.25      1.69%      6,917.68    Breakfast /Comp Cost                                  65,570.90     2.97%      53,580.22     3.13%      11,990.68      31,967.07     2.27%    33,603.83
         2,655.76      0.82%     1,866.83     0.62%       788.93          865.99      0.30%      1,789.77    Cleaning Supplies                                     11,836.17     0.54%       9,455.33     0.55%       2,380.84       3,459.20     0.25%     8,376.97
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%          0.00    Contract Labor                                             0.00     0.00%           0.00     0.00%           0.00           8.72     0.00%        -8.72
           147.75      0.05%        42.00     0.01%       105.75            0.00      0.00%        147.75    Dues and Subscriptions                                   265.95     0.01%         210.00     0.01%          55.95           0.00     0.00%       265.95
         2,205.73      0.68%     3,111.39     1.04%      -905.66        1,505.68      0.52%        700.05    Guest Supplies                                         8,547.52     0.39%      15,758.89     0.92%      -7,211.37       9,054.40     0.64%      -506.88
             0.00      0.00%       622.28     0.21%      -622.28          624.39      0.22%       -624.39    Laundry                                                2,159.26     0.10%       3,151.78     0.18%        -992.52       3,296.20     0.23%    -1,136.94
             0.00      0.00%         0.00     0.00%         0.00           40.55      0.01%        -40.55    Laundry Allocation                                         0.00     0.00%           0.00     0.00%           0.00          40.55     0.00%       -40.55
           919.70      0.28%     1,244.56     0.42%      -324.86        1,083.19      0.37%       -163.49    Linen                                                  6,761.16     0.31%       6,303.56     0.37%         457.60       3,430.06     0.24%     3,331.10
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%          0.00    Linen Rental                                               0.00     0.00%           0.00     0.00%           0.00       1,257.83     0.09%    -1,257.83
             0.00      0.00%         0.00     0.00%         0.00          147.75      0.05%       -147.75    Newspaper                                                  0.00     0.00%           0.00     0.00%           0.00         177.30     0.01%      -177.30
             0.00      0.00%         0.00     0.00%         0.00          362.08      0.13%       -362.08    Office Equipment                                           0.00     0.00%           0.00     0.00%           0.00         391.90     0.03%      -391.90
             0.00      0.00%       871.19     0.29%      -871.19            0.00      0.00%          0.00    Operating Supplies                                       420.53     0.02%       5,412.49     0.32%      -4,991.96           0.00     0.00%       420.53
             0.00      0.00%       124.46     0.04%      -124.46            0.00      0.00%          0.00    Printing and Stationery                                    0.00     0.00%         630.36     0.04%        -630.36           0.00     0.00%         0.00
         1,606.48      0.50%     2,997.53     1.00%    -1,391.05            0.00      0.00%      1,606.48    Reservation Expense                                    3,908.69     0.18%      17,099.75     1.00%     -13,191.06           0.00     0.00%     3,908.69
             0.00      0.00%        80.00     0.03%       -80.00            0.00      0.00%          0.00    Rooms Promotion                                          372.33     0.02%         400.00     0.02%         -27.67           0.00     0.00%       372.33
         1,529.98      0.47%     1,500.00     0.50%        29.98        1,500.43      0.52%         29.55    Television Cable                                       7,649.90     0.35%       7,500.00     0.44%         149.90       4,501.29     0.32%     3,148.61
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%          0.00    Training                                                 124.00     0.01%           0.00     0.00%         124.00           0.00     0.00%       124.00
             0.00      0.00%       138.60     0.05%      -138.60            0.00      0.00%          0.00    Travel Agent Comm - Group Rooms                            0.00     0.00%         725.98     0.04%        -725.98         504.63     0.04%      -504.63
         7,614.14      2.35%    14,198.38     4.74%    -6,584.24            0.00      0.00%      7,614.14    Travel Agent Comm - Transient Rooms                   47,740.81     2.16%      75,092.24     4.39%     -27,351.43      23,572.40     1.67%    24,168.41
            93.86      0.03%       200.00     0.07%      -106.14            0.00      0.00%         93.86    Uniforms                                                 610.03     0.03%       1,000.00     0.06%        -389.97         651.06     0.05%       -41.03
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%          0.00    Walked Guests                                            459.98     0.02%           0.00     0.00%         459.98         178.39     0.01%       281.59

       28,563.33      8.82%     37,575.94    12.54%    -9,012.61      11,002.31       3.81%     17,561.02    Total Rooms Other Expenses                           156,427.23    7.08%     196,320.60    11.48%     -39,893.37      82,491.00     5.85%     73,936.23

       72,563.36     22.41%     84,551.92    28.21%   -11,988.56      49,933.21      17.28%     22,630.15    Total Rooms Expenses                                 384,814.37    17.42%    432,395.03    25.29%     -47,580.66     258,146.20     18.32%   126,668.17

      251,237.00     77.59%    215,200.58    71.79%   36,036.42      239,085.61      82.72%     12,151.39    Total Rooms Profit (Loss)                          1,824,415.98    82.58%   1,277,578.81   74.71%     546,837.17    1,150,919.83    81.68%   673,496.15




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                                                                                                            As of 5/31/2022
              PTD     %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                YTD    %   YTD Budget %    Variance    YTD Last Year   %    Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
           451.00              134.00        317.00          126.00                 325.00    Room Stat - Corporate Transient                         1,509.00            932.00        577.00          485.00         1,024.00
             0.00              183.00       -183.00            0.00                   0.00    Room Stat - Advanced Purchase                               0.00            555.00       -555.00            0.00             0.00
           712.00                0.00        712.00        1,538.00                -826.00    Room Stat - Qualified Discounts                         2,961.00              0.00      2,961.00        6,839.00        -3,878.00
            34.00              162.00       -128.00           55.00                 -21.00    Room Stat - Consortia Rate Transient                      194.00            944.00       -750.00          256.00           -62.00
             0.00               62.00        -62.00            0.00                   0.00    Room Stat - Employee                                        0.00            300.00       -300.00           36.00           -36.00
             0.00                0.00          0.00            0.00                   0.00    Room Stat - Leisure Transient                               0.00              0.00          0.00            2.00            -2.00
             0.00               62.00        -62.00            0.00                   0.00    Room Stat - Travel Agent/Friends & Family                   0.00            327.00       -327.00            1.00            -1.00
             0.00              114.00       -114.00            0.00                   0.00    Room Stat - Member Reward Stay                              0.00            696.00       -696.00          183.00          -183.00
             0.00                0.00          0.00            0.00                   0.00    Room Stat - Non-Qualified Discounts                         0.00              0.00          0.00           49.00           -49.00
             0.00              229.00       -229.00            0.00                   0.00    Room Stat - Internet                                        1.00            870.00       -869.00         -163.00           164.00
             0.00              154.00       -154.00            0.00                   0.00    Room Stat - E-Commerce Opaque                               0.00            911.00       -911.00            8.00            -8.00
            93.00              103.00        -10.00           35.00                  58.00    Room Stat - Government Rate Transient                     828.00            470.00        358.00          252.00           576.00
           844.00              299.11        544.89          513.00                 331.00    Room Stat - Rack Rate Transient                         4,706.00          1,906.11      2,799.89        2,261.00         2,445.00
           257.00              180.00         77.00           90.00                 167.00    Room Stat - Local Negotiated Transient                  1,645.00          1,169.00        476.00          592.00         1,053.00
        2,391.00            1,682.11        708.89        2,357.00                   34.00    Total Transient Rooms Sold                            11,844.00          9,080.11      2,763.89       10,801.00         1,043.00

                                                                                              Group Rooms
           105.00              70.00          35.00           65.00                  40.00    Room Stat - SMERF Group                                 1,322.00            251.00      1,071.00          333.00           989.00
          105.00               70.00          35.00           65.00                  40.00    Total Group Rooms Sold                                 1,322.00            251.00      1,071.00          333.00           989.00

                                                                                              Contract Rooms
             0.00               0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                                    0.00            0.00           0.00            0.00            0.00

        2,496.00            1,752.11        743.89        2,422.00                  74.00     Total Rooms Sold                                      13,166.00          9,331.11      3,834.89       11,134.00         2,032.00
             2.00               0.00           2.00            4.00                  -2.00    Room Stat - Comp Rooms                                      4.00             0.00           4.00            8.00            -4.00
        2,498.00            1,752.11        745.89        2,426.00                  72.00     Total Rooms Occupied                                  13,170.00          9,331.11      3,838.89       11,142.00         2,028.00
           100.00               0.00         100.00          119.00                 -19.00    Room Stat - Out of Order                                  372.00             0.00         372.00          135.00           237.00

                                                                                              ADR
           117.51              121.88          -4.37         119.63                  -2.13    Corporate Transient ADR                                  154.18             146.52           7.67         135.89            18.30
             0.00              134.67       -134.67            0.00                   0.00    Advanced Purchase ADR                                      0.00             146.03       -146.03            0.00             0.00
           129.25                0.00        129.25          116.12                  13.14    Qualified Discount ADR                                   163.79               0.00        163.79          127.00            36.78
             0.00                0.00           0.00           0.00                   0.00    FIT ADR                                                    0.00               0.00           0.00           0.00             0.00
           139.95              135.02           4.93         123.19                  16.76    Consortia ADR                                            197.11             149.95          47.15         137.95            59.16
             0.00               39.00         -39.00           0.00                   0.00    Employee ADR                                               0.00              39.00         -39.00          37.28           -37.28
             0.00                0.00           0.00           0.00                   0.00    Leisure ADR                                                0.00               0.00           0.00         119.25          -119.25
             0.00               89.00         -89.00           0.00                   0.00    Travel Agent/Friends & Family ADR                          0.00              96.32         -96.32           0.00             0.00
             0.00                0.00           0.00           0.00                   0.00    Leisure Package ADR                                        0.00               0.00           0.00          50.25           -50.25
             0.00               89.96         -89.96           0.00                   0.00    Member Reward Stay ADR                                     0.00              95.57         -95.57          49.81           -49.81
             0.00                0.00           0.00           0.00                   0.00    Golf Pkg ADR                                               0.00               0.00           0.00           0.00             0.00
             0.00                0.00           0.00           0.00                   0.00    Non Qualified ADR                                          0.00               0.00           0.00           0.00             0.00
             0.00              135.75       -135.75            0.00                   0.00    Internet ADR                                          23,023.60             145.32     22,878.28           -9.60        23,033.20
             0.00              136.69       -136.69            0.00                   0.00    E-Commerce Opaque ADR                                      0.00             146.97       -146.97          131.62          -131.62
             0.00                0.00           0.00           0.00                   0.00    Other Transient ADR                                        0.00               0.00           0.00           0.00             0.00
             0.00                0.00           0.00           0.00                   0.00    Airline Distressed Passenger ADR                           0.00               0.00           0.00           0.00             0.00
           113.49              111.00           2.49         126.54                 -13.05    Government ADR                                           143.69             143.46           0.24         111.88            31.82
           143.14              139.00           4.14         134.19                   8.96    Rack ADR                                                 190.36             158.78          31.58         134.89            55.47
           102.42              100.36           2.07          94.67                   7.75    Local Negotiated ADR                                     134.97             114.38          20.59          96.12            38.84
          129.32              174.08         -44.76         120.05                    9.27    Total Transient ADR                                     170.19             184.15         -13.96         127.15             43.04

             0.00                0.00          0.00            0.00                   0.00    Corporate Group ADR                                        0.00              0.00           0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    Leisure Group ADR                                          0.00              0.00           0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    Government Group ADR                                       0.00              0.00           0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    Tour & Travel Group ADR                                    0.00              0.00           0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    Association Group ADR                                      0.00              0.00           0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    City Wide Group ADR                                        0.00              0.00           0.00            0.00            0.00
           123.17               99.00         24.17           92.08                  31.09    SMERF Group ADR                                          140.11            144.62          -4.51          106.06           34.05
             0.00                0.00          0.00            0.00                   0.00    Sports Group ADR                                           0.00              0.00           0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    Other Group ADR                                            0.00              0.00           0.00            0.00            0.00
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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

          123.17               99.00          24.17           92.08                  31.09    Total Group ADR                                         140.11             144.62        -4.51         106.56           33.54

             0.00               0.00           0.00            0.00                   0.00    Airline Crew ADR                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Other Contract ADR                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Contract ADR                                           0.00            0.00         0.00            0.00           0.00

          129.73              171.08         -41.35         119.33                   10.40    Total ADR                                               167.80             183.26       -15.46         126.56           41.24




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                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         F&B Summary
                                                                                                         Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Outlet Food Revenue                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Banquet and Catering Food Revenue                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Outlet Beverage Revenue                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Banquet and Catering Beverage Revenue                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Outlet Other Revenue                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Banquet and Catering Other Revenue                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total F&B Revenue                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Food Purchases                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Beverage Purchases                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Cedit Employee Meals                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Credit House Charges                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Credit In-House Promotions                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Audio Visual Cost of Sales                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Other Cost of Sales                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total F&B Cost of Sales                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    F&B Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll
                                                                                                         Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Management                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Non-Management                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total F&B Salaries and Wages                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Payroll Taxes                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Supplemental Pay                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Other Benefits                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total F&B PR Taxes and Benefits                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total F&B Payroll                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Audio Visual Supplies                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Banquet Expense                                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Bar Expense/Promos                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Bar Supplies                                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    China                                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Cleaning Supplies                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Communication Expense                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Contract Cleaning                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Contract Labor                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Decorations & Plants                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Dues and Subscriptions                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Equipment Rental                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Food and Beverage Advertising                                0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Glassware                                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Guest Loss/Damage                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Guest Supplies                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    In-House Entertainment                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Kitchen/Cooking Fuel                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Kitchen Equipment                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Laundry - Outside Expense                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Laundry Allocation                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Licenses/Permits                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Linen                                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%          0.00    Linen Rental                                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Maintenance Contracts                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Meals and Entertainment                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Menus                                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Miscellaneous Expense                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Music and Entertainment                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Office Equipment                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Office Supplies                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Operating Supplies                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Paper/Plastic Supplies                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Printing and Stationery                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Silverware                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Software Expense/Maintenance                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Television Cable                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Training                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Travel                                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Uniforms                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Utensils                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total F&B Other Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total F&B Expenses                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total F&B Profit (Loss)                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Room Service
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Room Service Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Room Service Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Banquets
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Banquets Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Banquets Avg Check                                           0.00            0.00         0.00            0.00           0.00

                                                                                              Catering
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Catering Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Catering Avg Check                                           0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                0.00          0.00            0.00                   0.00    Breakfast Avg Check                                          0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Lunch Avg Check                                              0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Dinner Avg Check                                             0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Brunch Avg Check                                             0.00             0.00        0.00            0.00           0.00
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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                              Bar 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                              0.00            0.00         0.00            0.00           0.00

                                                                                              Bar 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                           0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                              0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                   0.00    Total Covers                                                 0.00            0.00         0.00            0.00           0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %          Variance                                                                YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Food Admin
                                                                                                      Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Food Admin Cost of Sales                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Food Admin Management                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Food Admin Non-Management                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Food Admin Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Payroll Taxes                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Supplemental Pay                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Other Benefits                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Food Admin PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Food Admin Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Food Admin Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Food Admin Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Departmental Costs                                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %       Variance   PTD Last Year     %          Variance                                                                YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00      0.00%         0.00    Less Adjustments                                             0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%         0.00    Total Beverage Admin Revenue                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%         0.00    Total Beverage Admin Cost of Sales                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%         0.00    Total Beverage Admin Other Expenses                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%         0.00    Total Beverage Admin Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%         0.00    Departmental Costs                                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 1
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 1 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 1 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 1 Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 1 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 2
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 2 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 2 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 2 Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 2 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Room Service
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Room Service Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Room Service Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Other Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Room Service Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Room Service Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Banquets
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Banquets Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Banquets Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Management                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                     0.00    Total Banquets Salaries and Wages                            0.00                 0.00                  0.00            0.00                0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                     0.00    Total Banquet Benefits                                       0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Banquets Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Catering
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Catering Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Catering Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Catering Gross Profit                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Management                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Catering Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 3
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 3 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 3 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 3 Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Payroll Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 4
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 4 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restauarnt 4 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 4 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 5
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 5 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 5 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 5 Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 5 Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 1
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Bar 1 Food Revenue                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Bar 1 Beverage Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Other Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Cost of Sales                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Non-Management                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Salaries and Wages                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 PR Taxes and Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Payroll                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Other Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Expenses                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 1 Profit (Loss)                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 2
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Bar 2 Food Revenue                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Bar 2 Beverage Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Other Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Cost of Sales                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expenses
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Non-Management                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Salaries and Wages                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 PR Taxes and Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Payroll                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Other Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Expenses                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Bar 2 Profit (Loss)                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %            Variance   YTD Last Year   %           Variance

                                                                                                         Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Telephone Revenue                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Telephone Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00

                                                                                                         Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00        2,006.87       0.00%     -2,006.87   Cost of Sales - Local Calls                                  0.00    0.00%        0.00       0.00%      0.00       11,266.89     0.00%    -11,266.89
             0.00     0.00%         0.00    0.00%       0.00       2,006.87       0.00%     -2,006.87    Total Telephone Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00      11,266.89     0.00%    -11,266.89

             0.00     0.00%         0.00    0.00%       0.00      -2,006.87       0.00%      2,006.87    Gross Profit                                                 0.00   0.00%         0.00      0.00%       0.00     -11,266.89     0.00%    11,266.89

                                                                                                         Other Expenses
             0.00      0.00%        0.00     0.00%      0.00          360.50       0.00%      -360.50    Internet/Web Expense                                         0.00    0.00%        0.00       0.00%      0.00        1,802.50     0.00%     -1,802.50
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Telephone Equipment                                          0.00    0.00%        0.00       0.00%      0.00           60.00     0.00%        -60.00
             0.00     0.00%         0.00    0.00%       0.00         360.50       0.00%      -360.50     Total Telephone Other Expenses                               0.00   0.00%         0.00      0.00%       0.00       1,862.50     0.00%     -1,862.50

             0.00     0.00%         0.00    0.00%       0.00      -2,367.37       0.00%      2,367.37    Total Telephone Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00     -13,129.39     0.00%    13,129.39




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                           Minor Operating
                                                                                                           Income
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%          0.00   Rental Income - Gift Shop                                   0.00     0.00%         0.00     0.00%         0.00        -209.53     -1.01%       209.53
           550.00     10.78%         0.00     0.00%      550.00         150.00       6.59%        400.00   Rental Income - Other                                   2,950.00    11.65%         0.00     0.00%     2,950.00       1,125.00      5.42%     1,825.00
          550.00     10.78%          0.00    0.00%      550.00         150.00       6.59%        400.00    Total Rental Income                                    2,950.00    11.65%          0.00    0.00%     2,950.00         915.47      4.41%     2,034.53
           162.00      3.17%         0.00     0.00%      162.00         140.00       6.15%         22.00   Vending Commissions-Soda & Snack Machines               1,043.00     4.12%         0.00     0.00%     1,043.00         140.00      0.68%       903.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%          0.00   Vending Commissions Other                                   0.00     0.00%         0.00     0.00%         0.00         383.51      1.85%      -383.51
          162.00      3.17%          0.00    0.00%      162.00         140.00       6.15%          22.00   Total Vending Commission Income                        1,043.00     4.12%          0.00    0.00%     1,043.00         523.51      2.52%       519.49
         2,312.91     45.31%       200.00    12.43%    2,112.91           0.00       0.00%      2,312.91   Cancellation Fee - Rooms                                9,737.95    38.47%     1,000.00    12.29%     8,737.95       1,592.25      7.68%     8,145.70
        2,312.91     45.31%       200.00    12.43%    2,112.91            0.00      0.00%      2,312.91    Total Cancellation Fee Income                          9,737.95    38.47%     1,000.00    12.29%     8,737.95       1,592.25      7.68%     8,145.70
             0.00      0.00%       124.46     7.74%     -124.46           0.00       0.00%          0.00   Guest Laundry                                               0.00     0.00%       630.36     7.75%      -630.36         166.00      0.80%      -166.00
            74.25      1.45%        40.00     2.49%       34.25          69.30       3.04%          4.95   Internet Access                                           391.05     1.54%       200.00     2.46%       191.05         712.80      3.44%      -321.75
             0.00      0.00%         0.00     0.00%        0.00         125.00       5.49%       -125.00   Telephone Revenue                                         150.00     0.59%         0.00     0.00%       150.00       6,720.72     32.40%    -6,570.72
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%          0.00   Other Revenue 3                                         2,686.99    10.61%         0.00     0.00%     2,686.99         450.00      2.17%     2,236.99
         2,004.92     39.28%     1,244.56    77.35%      760.36       1,791.58      78.72%        213.34   Gift Shop Sales                                         8,357.23    33.01%     6,303.56    77.50%     2,053.67       9,659.44     46.57%    -1,302.21
        2,079.17     40.74%     1,409.02    87.57%      670.15       1,985.88      87.26%          93.29   Total Other Income                                    11,585.27    45.76%     7,133.92    87.71%     4,451.35      17,708.96     85.38%    -6,123.69

        5,104.08    100.00%     1,609.02    100.00%   3,495.06       2,275.88     100.00%      2,828.20    Total Minor Operating Income                          25,316.22    100.00%    8,133.92 100.00%      17,182.30      20,740.19 100.00%       4,576.03

                                                                                                           Cost of Sales
             0.00      0.00%         8.00     0.50%      -8.00            0.00       0.00%         0.00    Cost of Sales - Internet Access                             0.00     0.00%        40.00     0.49%       -40.00           0.00      0.00%        0.00
             0.00      0.00%        84.63     5.26%     -84.63            0.00       0.00%         0.00    Cost of Sales - Guest Laundry                               0.00     0.00%       428.64     5.27%      -428.64           0.00      0.00%        0.00
             0.00      0.00%         0.00     0.00%       0.00           97.14       4.27%       -97.14    Cost of Sales - Cots & Cribs                                0.00     0.00%         0.00     0.00%         0.00          97.14      0.47%      -97.14
         1,398.19     27.39%       684.51    42.54%     713.68          501.95      22.06%       896.24    Cost of Sales - Gift Shop                               6,760.82    26.71%     3,466.96    42.62%     3,293.86       4,477.59     21.59%    2,283.23
        1,398.19     27.39%       777.14    48.30%     621.05          599.09      26.32%       799.10     Total Minor Operated Cost of Sales                     6,760.82    26.71%     3,935.60    48.39%     2,825.22       4,574.73     22.06%    2,186.09

        3,705.89     72.61%       831.88    51.70%    2,874.01       1,676.79      73.68%      2,029.10    Total Minor Operated Profit (Loss)                    18,555.40    73.29%     4,198.32    51.61%    14,357.08      16,165.46     77.94%    2,389.94




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %          Variance                                                                YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Arcade
                                                                                                      Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Arcade Revenue                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Arcade Non-Management                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Arcade Salaries and Wages                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Payroll Taxes                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Supplemental Pay                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Other Benefits                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Arcade PR Taxes and Benefits                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Arcade Payroll                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Arcade Other Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Arcade Expenses                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Arcade Profit (Loss)                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                        Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %          Variance                                                                YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Waterpark
                                                                                                      Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Waterpark Revenue                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Waterpark Management                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Waterpark Non-Management                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Waterpark Salaries and Wages                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Payroll Taxes                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Supplemental Pay                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Other Benefits                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Waterpark PR Taxes and Benefits                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Waterpark Payroll                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Waterpark Other Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Waterpark Expenses                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%         0.00    Total Waterpark Profit (Loss)                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %           Variance                                                                YTD    %       YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                          Franchise Fees
             0.00      0.00%         0.00   0.00%        0.00        1,212.98       0.42%     -1,212.98   Franchise Fees - IT Fees                                   0.00     0.00%         0.00     0.00%         0.00        1,212.98     0.08%    -1,212.98
        19,458.32      5.92%    15,084.01   5.01%    4,374.31       17,341.11       5.95%      2,117.21   Franchise Fees - Royalty & Licenses                  132,889.91     5.95%    76,399.09     4.45%    56,490.82      101,882.61     7.13%    31,007.30
             0.00      0.00%         0.00   0.00%        0.00          134.82       0.05%       -134.82   Franchise Fees - Other                                     0.00     0.00%         0.00     0.00%         0.00          134.82     0.01%      -134.82
             0.00      0.00%         0.00   0.00%        0.00          482.00       0.17%       -482.00   Franchise Fees - Reservations-GDS                          0.00     0.00%         0.00     0.00%         0.00          482.00     0.03%      -482.00
             0.00      0.00%         0.00   0.00%        0.00           52.28       0.02%        -52.28   Franchise Fees - Equipment                                 0.00     0.00%         0.00     0.00%         0.00        3,691.22     0.26%    -3,691.22
        12,224.29      3.72%     6,222.78   2.06%    6,001.51       23,181.61       7.96%    -10,957.32   Franchise Fees - Frequent Guest                       75,502.93     3.38%    31,517.78     1.83%    43,985.15       41,645.75     2.91%    33,857.18
        12,972.20      3.94%     5,995.05   1.99%    6,977.15       11,560.74       3.97%      1,411.46   Franchise Fees - Marketing Contributions              88,593.32     3.96%    34,199.48     1.99%    54,393.84       25,753.70     1.80%    62,839.62
             0.00      0.00%         0.00   0.00%        0.00         -367.91      -0.13%        367.91   Franchise Fees - Reservations-Central                      0.00     0.00%         0.00     0.00%         0.00         -367.91    -0.03%       367.91

       44,654.81     13.58%    27,301.84    9.06%   17,352.97      53,597.63      18.40%     -8,942.82    Total Franchise Fees                                 296,986.16    13.29%   142,116.35     8.27%   154,869.81     174,435.17     12.20%   122,550.99




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                                                                                            Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance    PTD Last Year     %           Variance                                                                YTD   %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         5,601.39      1.70%     5,375.03    1.78%     226.36        5,438.64       1.87%        162.75    Management- A&G                                       27,310.38    1.22%     26,314.95     1.53%       995.43      26,210.48     1.83%     1,099.90
        5,601.39      1.70%     5,375.03    1.78%     226.36        5,438.64       1.87%        162.75     Total A&G Management                                 27,310.38    1.22%     26,314.95     1.53%       995.43      26,210.48     1.83%     1,099.90
             0.00     0.00%          0.00   0.00%        0.00            0.00      0.00%           0.00    Total A&G Non-Management                                   0.00   0.00%           0.00    0.00%          0.00           0.00    0.00%          0.00
        5,601.39      1.70%     5,375.03    1.78%     226.36        5,438.64       1.87%        162.75     Total A&G Salaries and Wages                         27,310.38    1.22%     26,314.95     1.53%       995.43      26,210.48     1.83%     1,099.90
                                                                                                           PR Taxes and Benefits
           424.58      0.13%       427.36    0.14%       -2.78         411.19       0.14%          13.39   FICA                                                   2,943.32    0.13%      2,685.46     0.16%       257.86       1,960.16     0.14%       983.16
             5.36      0.00%         5.03    0.00%        0.33          13.27       0.00%          -7.91   Federal Unemployment Tax                                 176.57    0.01%         88.98     0.01%        87.59         108.04     0.01%        68.53
            24.10      0.01%        30.17    0.01%       -6.07          59.66       0.02%         -35.56   State Unemployment Tax                                   504.90    0.02%        844.66     0.05%      -339.76         486.17     0.03%        18.73
          454.04      0.14%       462.56    0.15%       -8.52         484.12       0.17%         -30.08    Total Payroll Taxes                                   3,624.79    0.16%      3,619.10     0.21%          5.69      2,554.37     0.18%     1,070.42
             0.00      0.00%       211.36    0.07%    -211.36            0.00       0.00%           0.00   Vacation                                                   0.00    0.00%        896.17     0.05%      -896.17           0.00     0.00%         0.00
             0.00     0.00%       211.36    0.07%    -211.36             0.00      0.00%            0.00   Total Supplemental Pay                                     0.00   0.00%        896.17     0.05%      -896.17            0.00    0.00%          0.00
           220.49      0.07%       194.89    0.06%      25.60          294.60       0.10%         -74.11   Worker's Compensation                                  2,104.23    0.09%      1,199.35     0.07%       904.88       1,722.49     0.12%       381.74
         1,115.88      0.34%       480.50    0.16%     635.38         -113.44      -0.04%      1,229.32    Group Insurance                                        3,078.08    0.14%      2,402.50     0.14%       675.58        -510.48    -0.04%     3,588.56
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                               11,460.00    0.51%      7,893.00     0.46%     3,567.00           0.00     0.00%    11,460.00
        1,336.37      0.41%       675.39    0.22%     660.98          181.16       0.06%      1,155.21     Total Other Benefits                                 16,642.31    0.74%     11,494.85     0.67%     5,147.46       1,212.01     0.08%    15,430.30
        1,790.41      0.54%     1,349.31    0.45%     441.10          665.28       0.23%      1,125.13     Total A&G PR Taxes and Benefits                      20,267.10    0.91%     16,010.12     0.93%     4,256.98       3,766.38     0.26%    16,500.72
        7,391.80      2.25%     6,724.34    2.23%     667.46        6,103.92       2.10%      1,287.88     Total A&G Payroll                                    47,577.48    2.13%     42,325.07     2.46%     5,252.41      29,976.86     2.10%    17,600.62
                                                                                                           Other Expenses
             0.00      0.00%         0.00    0.00%       0.00        1,000.00       0.34%     -1,000.00    Accounting/Audit Fees                                      0.00    0.00%          0.00     0.00%         0.00       5,000.00     0.35%    -5,000.00
           980.15      0.30%       866.00    0.29%     114.15          283.20       0.10%        696.95    Bad Debt Provision                                     9,106.08    0.41%      4,330.00     0.25%     4,776.08       1,900.54     0.13%     7,205.54
         1,093.37      0.33%       785.00    0.26%     308.37          705.08       0.24%        388.29    Bank Charges                                           4,880.54    0.22%      3,925.00     0.23%       955.54       3,409.37     0.24%     1,471.17
            -0.60      0.00%         0.00    0.00%      -0.60          773.17       0.27%       -773.77    Cash Over/Short                                         -227.54   -0.01%          0.00     0.00%      -227.54         617.24     0.04%      -844.78
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%          0.00    Central Office - Travel Rebilled                           0.00    0.00%        500.00     0.03%      -500.00           0.00     0.00%         0.00
         1,000.00      0.30%     1,000.00    0.33%       0.00            0.00       0.00%      1,000.00    Central Office - Accounting Fees                       5,000.00    0.22%      5,000.00     0.29%         0.00           0.00     0.00%     5,000.00
             0.00      0.00%         0.00    0.00%       0.00          160.00       0.05%       -160.00    Central Office - IT Fees                                   0.00    0.00%          0.00     0.00%         0.00         800.00     0.06%      -800.00
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%          0.00    Communication Expense                                      0.00    0.00%          0.00     0.00%         0.00          60.00     0.00%       -60.00
        10,564.37      3.21%     8,438.12    2.80%   2,126.25        9,819.35       3.37%        745.02    Credit Card Commission                                56,400.21    2.52%     48,107.02     2.80%     8,293.19      33,960.84     2.38%    22,439.37
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%          0.00    Data Processing                                            0.00    0.00%          0.00     0.00%         0.00         206.49     0.01%      -206.49
             0.00      0.00%       100.00    0.03%    -100.00            0.00       0.00%          0.00    Donations                                                  0.00    0.00%        500.00     0.03%      -500.00           0.00     0.00%         0.00
            43.67      0.01%        50.00    0.02%      -6.33            0.00       0.00%         43.67    Dues and Subscriptions                                    87.34    0.00%        250.00     0.01%      -162.66           0.00     0.00%        87.34
           449.76      0.14%       450.00    0.15%      -0.24           37.16       0.01%        412.60    Employee Relations                                     2,547.47    0.11%      3,270.00     0.19%      -722.53         565.65     0.04%     1,981.82
           125.00      0.04%       175.00    0.06%     -50.00          175.00       0.06%        -50.00    Licenses/Permits                                         807.42    0.04%        550.00     0.03%       257.42         475.00     0.03%       332.42
             0.00      0.00%        50.00    0.02%     -50.00            0.00       0.00%          0.00    Meals and Entertainment                                   53.65    0.00%        250.00     0.01%      -196.35          94.19     0.01%       -40.54
          -174.46     -0.05%        90.00    0.03%    -264.46          313.10       0.11%       -487.56    Miscellaneous Expense                                    153.11    0.01%        450.00     0.03%      -296.89         352.24     0.02%      -199.13
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%          0.00    Office Equipment                                           0.00    0.00%          0.00     0.00%         0.00         830.70     0.06%      -830.70
             0.00      0.00%         0.00    0.00%       0.00          338.66       0.12%       -338.66    Office Supplies                                            0.00    0.00%          0.00     0.00%         0.00       1,491.40     0.10%    -1,491.40
           680.32      0.21%       150.00    0.05%     530.32            0.00       0.00%        680.32    Operating Supplies                                     3,480.36    0.16%        750.00     0.04%     2,730.36           0.00     0.00%     3,480.36
             0.00      0.00%       413.14    0.14%    -413.14          218.13       0.07%       -218.13    Payroll Service Fees                                     934.10    0.04%      2,058.85     0.12%    -1,124.75         802.85     0.06%       131.25
            11.60      0.00%        10.00    0.00%       1.60            0.00       0.00%         11.60    Postage                                                  499.37    0.02%         50.00     0.00%       449.37         311.68     0.02%       187.69
             0.00      0.00%       200.00    0.07%    -200.00            0.00       0.00%          0.00    Professional Fees - Legal                              1,734.27    0.08%      1,000.00     0.06%       734.27         154.81     0.01%     1,579.46
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%          0.00    Professional Fees - Other                              3,511.13    0.16%        650.00     0.04%     2,861.13       1,488.97     0.10%     2,022.16
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%          0.00    Recruitment Advertising                                   86.85    0.00%        600.00     0.03%      -513.15           0.00     0.00%        86.85
             0.00      0.00%         0.00    0.00%       0.00          145.80       0.05%       -145.80    Recruitment - Other                                        0.00    0.00%          0.00     0.00%         0.00         850.65     0.06%      -850.65
             0.00      0.00%       300.00    0.10%    -300.00            0.00       0.00%          0.00    Security - Outside                                         0.00    0.00%      1,500.00     0.09%    -1,500.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%       0.00        1,937.69       0.67%     -1,937.69    Software Expense/Maintenance                               0.00    0.00%          0.00     0.00%         0.00       5,466.52     0.38%    -5,466.52
             0.00      0.00%       995.00    0.33%    -995.00            0.00       0.00%          0.00    Training                                               2,695.00    0.12%      3,690.00     0.21%      -995.00       3,250.00     0.23%      -555.00
             0.00      0.00%       775.00    0.26%    -775.00         -190.40      -0.07%        190.40    Travel                                                   882.53    0.04%      1,625.00     0.09%      -742.47       2,248.54     0.16%    -1,366.01
             0.00      0.00%        50.00    0.02%     -50.00            0.00       0.00%          0.00    Uniforms                                                   0.00    0.00%        250.00     0.01%      -250.00           0.00     0.00%         0.00
       14,773.18      4.49%    14,897.26    4.94%    -124.08       15,715.94       5.40%       -942.76     Total A&G Other Expenses                             92,631.89    4.15%     79,305.87     4.62%    13,326.02      64,337.68     4.50%    28,294.21
       22,164.98      6.74%    21,621.60    7.17%     543.38       21,819.86       7.49%        345.12     Total A&G Expenses                                  140,209.37    6.27%    121,630.94     7.08%    18,578.43      94,314.54     6.60%    45,894.83




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          IT
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total IT Management                                          0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total IT Non-Management                                      0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total IT Salaries and Wages                                  0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total IT PR Taxes and Benefits                               0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total IT Payroll                                             0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                          Cost of Services
             0.00      0.00%       160.00    0.05%     -160.00           0.00       0.00%          0.00   Cost of Cell Phones                                       120.00     0.01%       800.00      0.05%     -680.00            0.00     0.00%       120.00
          -413.36     -0.13%       360.00    0.12%     -773.36           0.00       0.00%       -413.36   Cost of Internet Services                                 832.09     0.04%     1,800.00      0.10%     -967.91            0.00     0.00%       832.09
         2,311.02      0.70%         0.00    0.00%    2,311.02           0.00       0.00%      2,311.02   Cost of Calls                                          10,673.16     0.48%         0.00      0.00%   10,673.16            0.00     0.00%    10,673.16
        1,897.66      0.58%       520.00    0.17%    1,377.66            0.00      0.00%      1,897.66    Total IT Cost of Services                             11,625.25     0.52%     2,600.00      0.15%    9,025.25             0.00    0.00%    11,625.25

                                                                                                          System Costs
         1,977.69      0.60%     2,040.70    0.68%      -63.01           0.00       0.00%      1,977.69   Administrative & General                                3,758.45     0.17%     4,123.50      0.24%      -365.05           0.00     0.00%     3,758.45
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%          0.00   Hardware                                                1,106.48     0.05%         0.00      0.00%     1,106.48           0.00     0.00%     1,106.48
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%          0.00   Human Resources                                             0.00     0.00%       250.00      0.01%      -250.00           0.00     0.00%         0.00
           260.00      0.08%       205.00    0.07%       55.00           0.00       0.00%        260.00   Information Systems                                     1,300.00     0.06%     1,025.00      0.06%       275.00           0.00     0.00%     1,300.00
           102.00      0.03%       102.00    0.03%        0.00           0.00       0.00%        102.00   Property Ops & Maintenance                                510.00     0.02%       510.00      0.03%         0.00           0.00     0.00%       510.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%          0.00   Rooms                                                   5,839.08     0.26%         0.00      0.00%     5,839.08           0.00     0.00%     5,839.08
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%          0.00   Telecommunications                                         11.69     0.00%         0.00      0.00%        11.69           0.00     0.00%        11.69
        2,339.69      0.71%     2,397.70    0.80%      -58.01            0.00      0.00%      2,339.69    Total IT Systems                                      12,525.70     0.56%     5,908.50      0.34%     6,617.20            0.00    0.00%    12,525.70

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%          0.00    Total IT Other Expenses                                      0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        4,237.35      1.29%     2,917.70    0.97%    1,319.65            0.00      0.00%      4,237.35    Total IT Expenses                                     24,150.95     1.08%     8,508.50      0.50%    15,642.45            0.00    0.00%    24,150.95




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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %           Variance                                                                YTD   %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           S&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         5,109.91      1.55%         0.00    0.00%    5,109.91        4,598.89       1.58%       511.02    Division Management                                    27,720.93    1.24%         0.00      0.00%    27,720.93      22,163.39     1.55%    5,557.54
             0.00      0.00%     5,278.72    1.75%   -5,278.72            0.00       0.00%         0.00    Sales Managers                                              0.00    0.00%    25,844.71      1.50%   -25,844.71           0.00     0.00%        0.00
        5,109.91      1.55%     5,278.72    1.75%     -168.81        4,598.89       1.58%       511.02     Total S&M Management                                  27,720.93    1.24%    25,844.71      1.50%     1,876.22      22,163.39     1.55%    5,557.54
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%          0.00    Total S&M Non-Management                                    0.00   0.00%          0.00     0.00%          0.00           0.00    0.00%         0.00

        5,109.91      1.55%     5,278.72    1.75%     -168.81        4,598.89       1.58%       511.02     Total S&M Salaries and Wages                          27,720.93    1.24%    25,844.71      1.50%     1,876.22      22,163.39     1.55%    5,557.54

                                                                                                           PR Taxes and Benefits
           387.33      0.12%       547.53    0.18%      -160.20         347.69       0.12%         39.64   FICA                                                    2,478.21    0.11%     2,300.40      0.13%       177.81       1,657.49     0.12%      820.72
             4.88      0.00%         6.44    0.00%        -1.56          11.21       0.00%         -6.33   Federal Unemployment Tax                                  143.24    0.01%        81.46      0.00%        61.78          91.35     0.01%       51.89
            21.99      0.01%        38.65    0.01%       -16.66          50.44       0.02%        -28.45   State Unemployment Tax                                    380.46    0.02%       674.51      0.04%      -294.05         411.08     0.03%      -30.62
          414.20      0.13%       592.62    0.20%      -178.42         409.34       0.14%           4.86   Total Payroll Taxes                                    3,001.91    0.13%     3,056.37      0.18%        -54.46      2,159.92     0.15%      841.99
             0.00      0.00%       209.58    0.07%      -209.58           0.00       0.00%          0.00   Vacation                                                    0.00    0.00%       888.62      0.05%      -888.62           0.00     0.00%        0.00
             0.00     0.00%       209.58    0.07%      -209.58            0.00      0.00%           0.00   Total Supplemental Pay                                      0.00   0.00%       888.62      0.05%      -888.62            0.00    0.00%         0.00
           201.14      0.06%       249.69    0.08%       -48.55         249.11       0.09%        -47.97   Worker's Compensation                                   1,367.29    0.06%     1,068.96      0.06%       298.33       1,359.29     0.10%        8.00
             0.00      0.00%     1,669.00    0.55%    -1,669.00           0.00       0.00%          0.00   Bonus and Incentive Pay                                 3,200.00    0.14%     3,337.50      0.19%      -137.50           0.00     0.00%    3,200.00
          201.14      0.06%     1,918.69    0.64%    -1,717.55         249.11       0.09%        -47.97    Total Other Benefits                                   4,567.29    0.20%     4,406.46      0.26%       160.83       1,359.29     0.10%    3,208.00
          615.34      0.19%     2,720.89    0.90%    -2,105.55         658.45       0.23%        -43.11    Total S&M PR Taxes and Benefits                        7,569.20    0.34%     8,351.45      0.49%      -782.25       3,519.21     0.25%    4,049.99

        5,725.25      1.74%     7,999.61    2.65%    -2,274.36       5,257.34       1.80%       467.91     Total S&M Payroll                                     35,290.13    1.58%    34,196.16      1.99%     1,093.97      25,682.60     1.80%    9,607.53

                                                                                                           Other Expenses
             0.00      0.00%         0.00    0.00%         0.00         468.60       0.16%      -468.60    Advertising General                                       939.63    0.04%         0.00      0.00%       939.63       1,505.80     0.11%      -566.17
           815.00      0.25%       815.00    0.27%         0.00           0.00       0.00%       815.00    Advertising-Web/Internet                                2,980.00    0.13%     2,980.00      0.17%         0.00           0.00     0.00%     2,980.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Brochures                                                   0.00    0.00%       300.00      0.02%      -300.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00          60.00       0.02%       -60.00    Communication Expense                                       0.00    0.00%         0.00      0.00%         0.00          60.00     0.00%       -60.00
         1,978.04      0.60%     2,041.00    0.68%       -62.96       1,437.53       0.49%       540.51    Dues and Subscriptions                                 11,244.35    0.50%    14,363.00      0.84%    -3,118.65      13,738.29     0.96%    -2,493.94
             0.00      0.00%        50.00    0.02%       -50.00          40.00       0.01%       -40.00    Meals and Entertainment                                     0.00    0.00%       250.00      0.01%      -250.00          89.56     0.01%       -89.56
             0.00      0.00%         0.00    0.00%         0.00          57.78       0.02%       -57.78    Office Supplies                                             0.00    0.00%         0.00      0.00%         0.00          57.78     0.00%       -57.78
             0.00      0.00%        75.00    0.02%       -75.00           0.00       0.00%         0.00    Operating Supplies                                          4.72    0.00%       375.00      0.02%      -370.28           0.00     0.00%         4.72
             0.00      0.00%        10.00    0.00%       -10.00           9.30       0.00%        -9.30    Postage                                                     0.00    0.00%        50.00      0.00%       -50.00           9.30     0.00%        -9.30
             0.00      0.00%        20.00    0.01%       -20.00           0.00       0.00%         0.00    Printing and Stationery                                     0.00    0.00%       100.00      0.01%      -100.00           0.00     0.00%         0.00
             0.00      0.00%       175.00    0.06%      -175.00           0.00       0.00%         0.00    Promotions - In-house                                       0.00    0.00%       875.00      0.05%      -875.00           0.00     0.00%         0.00
             0.00      0.00%       800.00    0.27%      -800.00           0.00       0.00%         0.00    Promotion - Outside                                         0.00    0.00%     2,250.00      0.13%    -2,250.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Trade Shows                                                 0.00    0.00%     1,800.00      0.10%    -1,800.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Training                                                    0.00    0.00%       995.00      0.06%      -995.00         995.00     0.07%      -995.00
             0.00      0.00%        50.00    0.02%       -50.00          35.84       0.01%       -35.84    Travel                                                      0.00    0.00%       250.00      0.01%      -250.00          35.84     0.00%       -35.84
        2,793.04      0.85%     4,036.00    1.34%    -1,242.96       2,109.05       0.72%       683.99     Total S&M Other Expenses                              15,168.70    0.68%    24,588.00      1.43%    -9,419.30      16,491.57     1.15%    -1,322.87

        8,518.29      2.59%    12,035.61    3.99%    -3,517.32       7,366.39       2.53%      1,151.90    Total S&M Expenses                                    50,458.83    2.26%    58,784.16      3.42%    -8,325.33      42,174.17     2.95%    8,284.66




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                                                                                             Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %           Variance                                                                YTD   %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           R&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         3,856.69      1.17%     3,621.25    1.20%       235.44       3,666.28       1.26%       190.41    Division Management                                    18,474.52    0.83%    17,730.24      1.03%       744.28      17,669.53     1.24%        804.99
        3,856.69      1.17%     3,621.25    1.20%       235.44       3,666.28       1.26%       190.41     Total R&M Management                                  18,474.52    0.83%    17,730.24      1.03%       744.28      17,669.53     1.24%        804.99
         2,096.79      0.64%     3,968.00    1.32%    -1,871.21       2,251.79       0.77%      -155.00    Engineers 1                                            11,595.10    0.52%    19,328.00      1.12%    -7,732.90       6,719.61     0.47%      4,875.49
        2,096.79      0.64%     3,968.00    1.32%    -1,871.21       2,251.79       0.77%      -155.00     Total R&M Non-Management                              11,595.10    0.52%    19,328.00      1.12%    -7,732.90       6,719.61     0.47%      4,875.49

        5,953.48      1.81%     7,589.25    2.52%    -1,635.77       5,918.07       2.03%         35.41    Total R&M Salaries and Wages                          30,069.62    1.35%    37,058.24      2.16%    -6,988.62      24,389.14     1.71%      5,680.48

                                                                                                           PR Taxes and Benefits
           495.60      0.15%       590.37    0.20%       -94.77         447.43       0.15%        48.17    FICA                                                    2,344.11    0.10%     2,854.54      0.17%      -510.43       1,825.65      0.13%       518.46
             6.36      0.00%         6.95    0.00%        -0.59          14.42       0.00%        -8.06    Federal Unemployment Tax                                  170.17    0.01%       102.83      0.01%        67.34         100.15      0.01%        70.02
            28.63      0.01%        41.67    0.01%       -13.04          64.86       0.02%       -36.23    State Unemployment Tax                                    416.99    0.02%       866.73      0.05%      -449.74         450.62      0.03%       -33.63
          530.59      0.16%       638.99    0.21%     -108.40          526.71       0.18%          3.88    Total Payroll Taxes                                    2,931.27    0.13%     3,824.10      0.22%      -892.83       2,376.42      0.17%       554.85
             0.00      0.00%       128.00    0.04%     -128.00            0.00       0.00%         0.00    Holiday                                                   248.00    0.01%       256.00      0.01%        -8.00           0.00      0.00%       248.00
           372.00      0.11%         0.00    0.00%      372.00            0.00       0.00%       372.00    Vacation                                                  372.00    0.02%         0.00      0.00%       372.00           0.00      0.00%       372.00
          372.00      0.11%       128.00    0.04%      244.00             0.00      0.00%       372.00     Total Supplemental Pay                                   620.00    0.03%       256.00      0.01%       364.00            0.00     0.00%       620.00
           254.22      0.08%       269.23    0.09%       -15.01         312.42       0.11%       -58.20    Worker's Compensation                                   1,428.75    0.06%     1,319.97      0.08%       108.78       1,429.82      0.10%        -1.07
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Group Insurance                                            85.68    0.00%         0.00      0.00%        85.68      -2,166.92     -0.15%     2,252.60
          254.22      0.08%       269.23    0.09%       -15.01         312.42       0.11%       -58.20     Total Other Benefits                                   1,514.43    0.07%     1,319.97      0.08%       194.46        -737.10     -0.05%     2,251.53
        1,156.81      0.35%     1,036.22    0.34%      120.59          839.13       0.29%       317.68     Total R&M PR Taxes and Benefits                        5,065.70    0.23%     5,400.07      0.31%      -334.37       1,639.32      0.11%     3,426.38

        7,110.29      2.16%     8,625.47    2.86%    -1,515.18       6,757.20       2.32%       353.09     Total R&M Payroll                                     35,135.32    1.57%    42,458.31      2.47%    -7,322.99      26,028.46     1.82%      9,106.86

                                                                                                           Other Expenses
         1,009.93      0.31%       622.28    0.21%      387.65        3,935.47       1.35%     -2,925.54   Air Conditioning and Refrigeration                      6,730.34    0.30%     5,651.78      0.33%     1,078.56       6,781.72     0.47%        -51.38
             0.00      0.00%         0.00    0.00%        0.00        1,334.98       0.46%     -1,334.98   Audio Visual Repair                                         0.00    0.00%         0.00      0.00%         0.00       1,334.98     0.09%     -1,334.98
           771.08      0.23%       622.28    0.21%      148.80          307.43       0.11%        463.65   Building                                               12,997.50    0.58%     3,151.78      0.18%     9,845.72         688.40     0.05%     12,309.10
             0.00      0.00%         0.00    0.00%        0.00        1,085.58       0.37%     -1,085.58   Contract Labor                                              0.00    0.00%     3,000.00      0.17%    -3,000.00       1,085.58     0.08%     -1,085.58
             0.00      0.00%        74.67    0.02%      -74.67            0.00       0.00%          0.00   Curtains and Drapes                                         0.00    0.00%       378.21      0.02%      -378.21           0.00     0.00%          0.00
           175.47      0.05%       298.69    0.10%     -123.22            0.00       0.00%        175.47   Electric Bulbs                                          1,582.57    0.07%     1,512.85      0.09%        69.72         305.81     0.02%      1,276.76
           449.73      0.14%       298.69    0.10%      151.04          525.58       0.18%        -75.85   Electrical and Mechanical                               4,851.87    0.22%     1,512.85      0.09%     3,339.02       1,636.58     0.11%      3,215.29
             0.00      0.00%         0.00    0.00%        0.00        1,581.28       0.54%     -1,581.28   Elevator Maintenance Contracts                          2,916.00    0.13%     1,450.00      0.08%     1,466.00       2,371.92     0.17%        544.08
             0.00      0.00%         0.00    0.00%        0.00           43.67       0.01%        -43.67   Equipment Rental                                            0.00    0.00%         0.00      0.00%         0.00         218.35     0.02%       -218.35
           450.13      0.14%       472.93    0.16%      -22.80          326.16       0.11%        123.97   Fire Safety Equipment                                   5,143.34    0.23%     2,395.35      0.14%     2,747.99         697.70     0.05%      4,445.64
            31.92      0.01%         0.00    0.00%       31.92            0.00       0.00%         31.92   Floor and Carpet Maintenance                               37.54    0.00%         0.00      0.00%        37.54          94.65     0.01%        -57.11
             0.00      0.00%        74.67    0.02%      -74.67          765.04       0.26%       -765.04   Furniture                                                 325.87    0.01%       378.21      0.02%       -52.34       1,905.30     0.13%     -1,579.43
         1,746.11      0.53%     1,350.00    0.45%      396.11            0.00       0.00%      1,746.11   Grounds and Landscaping                                10,814.37    0.48%     6,750.00      0.39%     4,064.37       8,127.95     0.57%      2,686.42
             0.00      0.00%        74.67    0.02%      -74.67            0.00       0.00%          0.00   Kitchen Equipment Repairs                                 519.53    0.02%       378.21      0.02%       141.32         338.55     0.02%        180.98
           867.31      0.26%       224.02    0.07%      643.29          189.75       0.07%        677.56   Laundry Equipment Repairs                               1,947.52    0.09%     1,134.64      0.07%       812.88         189.75     0.01%      1,757.77
             0.00      0.00%       100.00    0.03%     -100.00            0.00       0.00%          0.00   Licenses/Permits                                          910.67    0.04%       500.00      0.03%       410.67           0.00     0.00%        910.67
             0.00      0.00%         0.00    0.00%        0.00           54.28       0.02%        -54.28   Locks and Keys                                              0.00    0.00%         0.00      0.00%         0.00         371.88     0.03%       -371.88
             0.00      0.00%         0.00    0.00%        0.00          246.54       0.08%       -246.54   Maintenance Contracts                                       0.00    0.00%         0.00      0.00%         0.00         318.08     0.02%       -318.08
           230.58      0.07%        50.00    0.02%      180.58          106.18       0.04%        124.40   Operating Supplies                                        511.65    0.02%       250.00      0.01%       261.65         106.18     0.01%        405.47
            91.96      0.03%        74.67    0.02%       17.29           68.42       0.02%         23.54   Painting and Decorating                                   264.95    0.01%       378.21      0.02%      -113.26         377.63     0.03%       -112.68
           617.70      0.19%       200.00    0.07%      417.70          479.26       0.16%        138.44   Pest Control                                            1,828.57    0.08%     1,000.00      0.06%       828.57       4,592.19     0.32%     -2,763.62
           587.58      0.18%       398.26    0.13%      189.32        1,108.55       0.38%       -520.97   Plumbing and Heating                                    3,255.08    0.15%     2,017.14      0.12%     1,237.94       3,091.39     0.22%        163.69
             0.00      0.00%         0.00    0.00%        0.00        2,828.12       0.97%     -2,828.12   Pool Chemicals                                              0.00    0.00%         0.00      0.00%         0.00       3,259.22     0.23%     -3,259.22
           405.30      0.12%       100.00    0.03%      305.30            0.00       0.00%        405.30   Pool Service- Contract                                  2,039.10    0.09%       500.00      0.03%     1,539.10           0.00     0.00%      2,039.10
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%          0.00   Tools                                                     374.61    0.02%       250.00      0.01%       124.61          30.93     0.00%        343.68
             0.00      0.00%        25.00    0.01%      -25.00            0.00       0.00%          0.00   Travel                                                      0.00    0.00%       625.00      0.04%      -625.00           0.00     0.00%          0.00
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%          0.00   Uniforms                                                    0.00    0.00%       250.00      0.01%      -250.00           0.00     0.00%          0.00
         1,740.78      0.53%       660.00    0.22%    1,080.78          925.93       0.32%        814.85   Waste Removal                                           9,028.90    0.40%     3,300.00      0.19%     5,728.90       5,503.61     0.38%      3,525.29
             0.00      0.00%       125.00    0.04%     -125.00            0.00       0.00%          0.00   Window Cleaning                                             0.00    0.00%       625.00      0.04%      -625.00           0.00     0.00%          0.00
        9,175.58      2.79%     5,945.83    1.97%    3,229.75       15,912.22       5.46%     -6,736.64    Total R&M Other Expenses                              66,079.98    2.96%    37,389.23      2.18%    28,690.75      43,428.35     3.04%     22,651.63

       16,285.87      4.95%    14,571.30    4.84%    1,714.57       22,669.42       7.78%     -6,383.55    Total R&M Expenses                                   101,215.30    4.53%    79,847.54      4.65%    21,367.76      69,456.81     4.86%     31,758.49



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                                                                                            Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %           Variance                                                                YTD   %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                          Utilities
         2,004.21      0.61%         0.00    0.00%    2,004.21       1,210.47       0.42%        793.74   Water                                                   9,335.36    0.42%         0.00      0.00%    9,335.36       6,731.09     0.47%    2,604.27
         8,111.66      2.47%     6,571.25    2.18%    1,540.41       6,576.69       2.26%      1,534.97   Electricity                                            35,041.74    1.57%    33,282.77      1.94%    1,758.97      27,640.82     1.93%    7,400.92
           910.37      0.28%     1,269.45    0.42%     -359.08         934.55       0.32%        -24.18   Gas - Natural HLP                                       4,646.97    0.21%     6,429.63      0.37%   -1,782.66       4,574.02     0.32%       72.95
             0.00      0.00%         0.00    0.00%        0.00       2,223.59       0.76%     -2,223.59   Sewer                                                       0.00    0.00%         0.00      0.00%        0.00       6,363.71     0.45%   -6,363.71
       11,026.24      3.35%     7,840.70    2.60%    3,185.54      10,945.30       3.76%          80.94   Total Utilities                                       49,024.07    2.19%    39,712.40      2.31%    9,311.67      45,309.64     3.17%    3,714.43




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                                                                                             Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %           Variance                                                                YTD   %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           Fixed
           403.35      0.12%       503.47    0.17%      -100.12           0.00       0.00%        403.35   Personal Property Taxes                                 2,016.75    0.09%      2,517.35     0.15%      -500.60        6,041.58     0.42%    -4,024.83
        13,234.74      4.02%    13,314.62    4.42%       -79.88      13,430.58       4.61%       -195.84   Real Estate Taxes                                      66,173.70    2.96%     66,573.10     3.87%      -399.40       67,152.90     4.70%      -979.20
       13,638.09      4.15%    13,818.09    4.59%      -180.00      13,430.58       4.61%        207.51    Total Taxes                                           68,190.45    3.05%     69,090.45     4.02%      -900.00      73,194.48      5.12%    -5,004.03
           519.49      0.16%       356.50    0.12%       162.99           0.00       0.00%        519.49   Insurance                                               1,993.46    0.09%      1,782.50     0.10%       210.96            0.00     0.00%     1,993.46
            71.41      0.02%        33.08    0.01%        38.33           0.00       0.00%         71.41   Insurance - Crime                                         357.07    0.02%        165.40     0.01%       191.67            0.00     0.00%       357.07
           378.42      0.12%       378.42    0.13%         0.00          59.71       0.02%        318.71   Insurance - Employment                                  1,892.10    0.08%      1,892.10     0.11%         0.00          298.58     0.02%     1,593.52
         1,853.25      0.56%     1,227.00    0.41%       626.25         150.71       0.05%      1,702.54   Insurance - General Liability                          11,388.50    0.51%      6,135.00     0.36%     5,253.50          753.58     0.05%    10,634.92
         3,342.83      1.02%     3,188.08    1.06%       154.75           0.00       0.00%      3,342.83   Insurance - Property                                   16,714.15    0.75%     15,940.40     0.93%       773.75            0.00     0.00%    16,714.15
            54.00      0.02%     1,907.50    0.63%    -1,853.50           0.00       0.00%         54.00   Insurance - Umbrella                                      270.00    0.01%      9,537.50     0.56%    -9,267.50            0.00     0.00%       270.00
        6,219.40      1.89%     7,090.58    2.35%      -871.18         210.42       0.07%      6,008.98    Total Insurance                                       32,615.28    1.46%     35,452.90     2.06%    -2,837.62        1,052.16     0.07%    31,563.12
        26,919.00      8.18%    26,918.60    8.93%         0.40      26,198.00       8.99%        721.00   Ground Lease Expense                                  134,595.00    6.02%    134,593.00     7.83%         2.00     130,990.00      9.16%     3,605.00
       26,919.00      8.18%    26,918.60    8.93%          0.40     26,198.00       8.99%        721.00    Total Leases & Rent                                  134,595.00    6.02%    134,593.00     7.83%          2.00    130,990.00      9.16%     3,605.00
        10,367.12      3.15%     9,040.85    3.00%     1,326.27       9,237.82       3.17%      1,129.30   Management Fee - Base                                  67,048.94    3.00%     51,543.23     3.00%    15,505.71       45,393.18     3.17%    21,655.76
       10,367.12      3.15%     9,040.85    3.00%     1,326.27       9,237.82       3.17%      1,129.30    Total Management Fees                                 67,048.94    3.00%     51,543.23     3.00%    15,505.71      45,393.18      3.17%    21,655.76
        10,025.00      3.05%         0.00    0.00%    10,025.00           0.00       0.00%     10,025.00   Capital Reserve                                        10,025.00    0.45%          0.00     0.00%    10,025.00            0.00     0.00%    10,025.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%          0.00   Owner's Expense                                             0.00    0.00%          0.00     0.00%         0.00          949.17     0.07%      -949.17
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%          0.00   Prior Owner's Expense                                       0.00    0.00%          0.00     0.00%         0.00       -2,703.33    -0.19%     2,703.33
       10,025.00      3.05%          0.00   0.00%    10,025.00            0.00      0.00%     10,025.00    Total Other Non-Operating                             10,025.00    0.45%           0.00    0.00%    10,025.00       -1,754.16    -0.12%    11,779.16




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                                                                                                Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                                        P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD     %        PTD Budget      %          Variance   PTD Last Year     %             Variance                                                               YTD     %          YTD Budget %                Variance   YTD Last Year     %           Variance

                                                                                                                Statistics
           131.00                   131.00                    0.00         131.00                       0.00    # Rooms                                                  131.00                    131.00                     0.00          131.00                      0.00
         4,061.00                 4,061.00                    0.00       4,061.00                       0.00    Available Rooms                                       19,781.00                 19,781.00                     0.00       19,781.00                      0.00
         2,699.00                 1,803.00                  896.00       1,851.00                     848.00    Room Nights Sold                                      10,844.00                  8,080.44                 2,763.56        7,094.00                  3,750.00
          66.46%                   44.40%                  22.06%         45.58%                     20.88%     Occupancy %                                             54.82%                    40.85%                   13.97%          35.86%                    18.96%
           103.45                   108.33                   -4.88          85.58                      17.86    ADR                                                       98.32                    107.51                    -9.19           77.77                     20.56
            68.75                    48.10                   20.66          39.01                      29.74    RevPar                                                    53.90                     43.92                     9.98           27.89                     26.01

                                                                                                                Summary V.11
                                                                                                                Revenue
       279,203.20     98.21%   195,314.06     98.56%    83,889.14      158,417.60     97.92%      120,785.60    Rooms                                               1,066,227.14    97.70%     868,722.73     98.49%    197,504.41      551,689.27     97.21%     514,537.87
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    F&B                                                         0.00     0.00%           0.00      0.00%          0.00        7,555.00      1.33%      -7,555.00
         5,101.88      1.79%     2,858.74      1.44%     2,243.14        3,373.17      2.08%        1,728.71    Other Departments                                      25,092.40     2.30%      13,317.21      1.51%     11,775.19        8,264.39      1.46%      16,828.01

      284,305.08    100.00%    198,172.80    100.00%    86,132.28     161,790.77     100.00%     122,514.31     Total Operating Revenue                            1,091,319.54    100.00%    882,039.94 100.00%        209,279.60     567,508.66 100.00%        523,810.88

                                                                                                                Departmental Expenses
       119,814.26     42.91%    61,066.98     31.27%    58,747.28       53,867.02      34.00%      65,947.24    Rooms                                                412,187.32     38.66%     289,131.50     33.28%    123,055.82      214,244.87     38.83%     197,942.45
             0.00      0.00%         0.00      0.00%         0.00            0.00       0.00%           0.00    F&B                                                        0.00      0.00%           0.00      0.00%          0.00            0.00      0.00%           0.00
           821.31     16.10%     1,250.43     43.74%      -429.12        5,338.08     158.25%      -4,516.77    Other Departments                                      6,165.37     24.57%       5,617.44     42.18%        547.93       22,368.51    270.66%     -16,203.14

      120,635.57     42.43%     62,317.41    31.45%     58,318.16      59,205.10      36.59%      61,430.47     Total Departmental Expenses                         418,352.69     38.33%     294,748.94     33.42%     123,603.75     236,613.38     41.69%     181,739.31

      163,669.51     57.57%    135,855.39    68.55%     27,814.12     102,585.67      63.41%      61,083.84     Total Departmental Profit                           672,966.85     61.67%     587,291.00     66.58%      85,675.85     330,895.28     58.31%     342,071.57

                                                                                                                Undistributed Operating Expenses
        19,330.44      6.80%    21,769.66     10.99%    -2,439.22       23,579.96     14.57%       -4,249.52    A&G                                                  133,664.52     12.25%     116,630.01     13.22%     17,034.51       95,052.31     16.75%      38,612.21
         7,350.78      2.59%     6,935.70      3.50%       415.08            0.00      0.00%        7,350.78    IT                                                    33,188.69      3.04%      28,598.50      3.24%      4,590.19            0.00      0.00%      33,188.69
        12,072.43      4.25%     9,211.31      4.65%     2,861.12        7,385.97      4.57%        4,686.46    S&M                                                   37,253.53      3.41%      41,351.75      4.69%     -4,098.22       37,094.45      6.54%         159.08
        33,862.58     11.91%    23,437.68     11.83%    10,424.90       25,013.10     15.46%        8,849.48    Franchise Fees                                       145,085.60     13.29%     104,246.72     11.82%     40,838.88       77,577.39     13.67%      67,508.21
        19,023.11      6.69%    13,781.53      6.95%     5,241.58        8,763.32      5.42%       10,259.79    R&M                                                  117,508.97     10.77%      74,664.27      8.46%     42,844.70       53,999.55      9.52%      63,509.42
        14,964.96      5.26%    14,329.90      7.23%       635.06       14,784.63      9.14%          180.33    Utilities                                             60,337.76      5.53%      64,375.61      7.30%     -4,037.85       58,058.25     10.23%       2,279.51

      106,604.30     37.50%     89,465.78    45.15%     17,138.52      79,526.98      49.15%      27,077.32     Total Undistributed Expenses                        527,039.07     48.29%     429,866.86     48.74%      97,172.21     321,781.95     56.70%     205,257.12

       57,065.21     20.07%     46,389.61    23.41%     10,675.60      23,058.69      14.25%      34,006.52     Gross Operating Profit                              145,927.78     13.37%     157,424.14     17.85%     -11,496.36       9,113.33       1.61%    136,814.45
         9,029.16      3.18%      5,945.18     3.00%      3,083.98       4,991.02       3.08%       4,038.14    Management Fees                                       35,233.18      3.23%      26,461.19      3.00%       8,771.99      24,884.49       4.38%     10,348.69
       48,036.05     16.90%     40,444.43    20.41%      7,591.62      18,067.67      11.17%      29,968.38     Income Before Non-Operating Income and Expenses     110,694.60     10.14%     130,962.95     14.85%     -20,268.35     -15,771.16      -2.78%    126,465.76

                                                                                                                Non-Operating Income and Expenses
         5,392.26      1.90%      6,434.25     3.25%     -1,041.99       5,060.71       3.13%          331.55   Insurance                                             24,075.57      2.21%      32,171.25      3.65%      -8,095.68       9,890.52      1.74%      14,185.05
        33,881.00     11.92%     34,814.00    17.57%       -933.00     121,227.10      74.93%      -87,346.10   Leases & Rent                                        165,777.00     15.19%     170,442.84     19.32%      -4,665.84     161,342.00     28.43%       4,435.00
         6,162.50      2.17%      5,000.00     2.52%      1,162.50           0.00       0.00%        6,162.50   Other                                                 15,695.50      1.44%       5,000.00      0.57%      10,695.50         974.70      0.17%      14,720.80
       45,435.76     15.98%     46,248.25    23.34%       -812.49     126,287.81      78.06%      -80,852.05    Total Non-Operating Income and Expenses             205,548.07     18.83%     207,614.09     23.54%      -2,066.02     172,207.22     30.34%      33,340.85

        2,600.29      0.91%     -5,803.82     -2.93%     8,404.11    -108,220.14     -66.89%     110,820.43     EBITDA                                               -94,853.47     -8.69%     -76,651.14     -8.69%    -18,202.33    -187,978.38     -33.12%     93,124.91
             0.00      0.00%          0.00      0.00%         0.00           0.00       0.00%           0.00    Interest                                                    0.00      0.00%           0.00      0.00%          0.00           0.00       0.00%          0.00
        11,510.00      4.05%     15,729.00      7.94%    -4,219.00      65,491.51      40.48%     -53,981.51    Taxes                                                  57,550.00      5.27%      78,645.00      8.92%    -21,095.00      78,000.00      13.74%    -20,450.00
       11,510.00      4.05%     15,729.00      7.94%    -4,219.00      65,491.51      40.48%     -53,981.51     Interest, Taxes, Depreciation and Amortization        57,550.00      5.27%      78,645.00      8.92%    -21,095.00      78,000.00      13.74%    -20,450.00

       -8,909.71     -3.13%    -21,532.82    -10.87%    12,623.11    -173,711.65 -107.37%        164,801.94     Net Income                                         -152,403.47     -13.97%    -155,296.14 -17.61%         2,892.67    -265,978.38     -46.87%    113,574.91




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                                                                                              Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %            Variance                                                                YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                             Statistics
           131.00                  131.00                  0.00          131.00                      0.00    # Rooms                                                   131.00                  131.00                    0.00         131.00                    0.00
         4,061.00                4,061.00                  0.00        4,061.00                      0.00    Available Rooms                                        19,781.00               19,781.00                    0.00      19,781.00                    0.00
         2,699.00                1,803.00                896.00        1,851.00                    848.00    Room Nights Sold                                       10,844.00                8,080.44                2,763.56       7,094.00                3,750.00
             0.66                    0.44                  0.22            0.46                      0.21    Occupancy %                                                 0.55                    0.41                    0.14           0.36                    0.19
           103.45                  108.33                 -4.88           85.58                     17.86    ADR                                                        98.32                  107.51                   -9.19          77.77                   20.56
            68.75                   48.10                 20.66           39.01                     29.74    RevPar                                                     53.90                   43.92                    9.98          27.89                   26.01

                                                                                                             Summary
                                                                                                             Revenue:
       279,203.20     98.21%   195,314.06   98.56%    83,889.14      158,417.60     97.92%      120,785.60   Rooms                                                1,066,227.14   97.70%    868,722.73     98.49%   197,504.41     551,689.27    97.21%    514,537.87
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Food                                                         0.00    0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Beverage                                                     0.00    0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Other F&B Revenue                                            0.00    0.00%          0.00      0.00%         0.00       7,555.00     1.33%     -7,555.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Telephone                                                    0.00    0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         5,101.88      1.79%     2,858.74    1.44%     2,243.14        3,373.17      2.08%        1,728.71   Other                                                   25,092.40    2.30%     13,317.21      1.51%    11,775.19       8,264.39     1.46%     16,828.01

       284,305.08   100.00%    198,172.80   100.00%   86,132.28      161,790.77     100.00%     122,514.31   Total Revenue                                        1,091,319.54   100.00%   882,039.94   100.00%    209,279.60     567,508.66    100.00%   523,810.88



                                                                                                             Cost of Sales:
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Food                                                         0.00    0.00%          0.00      0.00%        0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Beverage                                                     0.00    0.00%          0.00      0.00%        0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Other F&B                                                    0.00    0.00%          0.00      0.00%        0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00          168.16      4.99%         -168.16   Telephone                                                    0.00    0.00%          0.00      0.00%        0.00        1,176.19    14.23%     -1,176.19
           821.31     16.10%     1,250.43   43.74%      -429.12        1,890.29     56.04%       -1,068.98   Other                                                    6,165.37   24.57%      5,617.44     42.18%      547.93        4,836.02    58.52%      1,329.35

           821.31     16.10%     1,250.43   43.74%      -429.12        2,058.45     61.02%       -1,237.14   Total Cost of Sales                                      6,165.37   24.57%      5,617.44     42.18%      547.93        6,012.21    72.75%       153.16



                                                                                                             Payroll:
        23,138.93      8.29%    32,339.79   16.56%     -9,200.86      27,647.86     17.45%       -4,508.93   Rooms                                                  98,597.41     9.25%    153,730.57     17.70%   -55,133.16     124,113.96    22.50%    -25,516.55
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   F&B                                                         0.00     0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other                                                       0.00     0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
        10,879.13      3.83%    10,778.16    5.44%        100.97      10,038.46      6.20%          840.67   A&G                                                    54,395.68     4.98%     52,773.16      5.98%     1,622.52      30,069.21     5.30%     24,326.47
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   IT                                                          0.00     0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         4,120.88      1.45%     4,209.32    2.12%        -88.44       3,653.85      2.26%          467.03   S&M                                                    16,566.03     1.52%     20,479.95      2.32%    -3,913.92      20,576.96     3.63%     -4,010.93
         6,770.42      2.38%     8,499.11    4.29%     -1,728.69       5,520.09      3.41%        1,250.33   R&M                                                    44,440.58     4.07%     41,505.37      4.71%     2,935.21      19,490.60     3.43%     24,949.98
        44,909.36     15.80%    55,826.38   28.17%    -10,917.02      46,860.26     28.96%       -1,950.90   Total Salaries and Wages                              213,999.70    19.61%    268,489.05     30.44%   -54,489.35     194,250.73    34.23%     19,748.97

         8,033.01      2.83%    10,817.47    5.46%     -2,784.46       6,580.84      4.07%        1,452.17   Total Taxes and Benefits                               46,200.25     4.23%     61,673.47      6.99%   -15,473.22      35,743.35     6.30%     10,456.90
        52,942.37     18.62%    66,643.85   33.63%    -13,701.48      53,441.10     33.03%         -498.73   Total Labor Costs                                     260,199.95    23.84%    330,162.52     37.43%   -69,962.57     229,994.08    40.53%     30,205.87



                                                                                                             Direct Expenses:
        93,429.55     33.46%    22,754.03   11.65%    70,675.52       22,220.81     14.03%       71,208.74   Rooms                                                 290,909.34    27.28%    101,559.16     11.69%   189,350.18      71,346.59     12.93%   219,562.75
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   F&B                                                         0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00        3,279.63     97.23%       -3,279.63   Telephone                                                   0.00     0.00%          0.00      0.00%         0.00      16,356.30    197.91%   -16,356.30
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Other                                                       0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%         0.00
        33,862.58     11.91%    23,437.68   11.83%    10,424.90       25,013.10     15.46%        8,849.48   Franchise Fees                                        145,085.60    13.29%    104,246.72     11.82%    40,838.88      77,577.39     13.67%    67,508.21
         6,914.04      2.43%     9,153.77    4.62%    -2,239.73       12,237.73      7.56%       -5,323.69   A&G                                                    69,556.77     6.37%     48,311.70      5.48%    21,245.07      56,189.67      9.90%    13,367.10
         7,350.78      2.59%     6,935.70    3.50%       415.08            0.00      0.00%        7,350.78   IT                                                     33,188.69     3.04%     28,598.50      3.24%     4,590.19           0.00      0.00%    33,188.69
         5,706.77      2.01%     3,060.50    1.54%     2,646.27        3,323.63      2.05%        2,383.14   S&M                                                    16,040.79     1.47%     14,657.50      1.66%     1,383.29      11,116.61      1.96%     4,924.18
        11,247.51      3.96%     4,217.33    2.13%     7,030.18        2,373.00      1.47%        8,874.51   R&M                                                    63,907.49     5.86%     27,086.65      3.07%    36,820.84      31,744.23      5.59%    32,163.26
        14,964.96      5.26%    14,329.90    7.23%       635.06       14,784.63      9.14%          180.33   Utilities                                              60,337.76     5.53%     64,375.61      7.30%    -4,037.85      58,058.25     10.23%     2,279.51

       173,476.19     61.02%    83,888.91   42.33%    89,587.28       83,232.53     51.44%       90,243.66   Total Direct Expense                                  679,026.44    62.22%    388,835.84     44.08%   290,190.60     322,389.04    56.81%    356,637.40

        57,065.21     20.07%    46,389.61   23.41%    10,675.60       23,058.69     14.25%       34,006.52   Gross Operating Profit                                145,927.78    13.37%    157,424.14     17.85%   -11,496.36       9,113.33     1.61%    136,814.45

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                                                                                                Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                             As of 5/31/2022
              PTD     %           PTD Budget    %         Variance   PTD Last Year     %             Variance                                                              YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance




                                                                                                                Fixed Costs
        11,510.00      4.05%       15,729.00    7.94%    -4,219.00      65,491.51     40.48%       -53,981.51   Taxes                                                 57,550.00    5.27%     78,645.00      8.92%   -21,095.00      78,000.00    13.74%    -20,450.00
         5,392.26      1.90%        6,434.25    3.25%    -1,041.99       5,060.71      3.13%           331.55   Insurance                                             24,075.57    2.21%     32,171.25      3.65%    -8,095.68       9,890.52     1.74%     14,185.05
        33,881.00     11.92%       34,814.00   17.57%      -933.00     121,227.10     74.93%       -87,346.10   Leases & Rent                                        165,777.00   15.19%    170,442.84     19.32%    -4,665.84     161,342.00    28.43%      4,435.00
         9,029.16      3.18%        5,945.18    3.00%     3,083.98       4,991.02      3.08%         4,038.14   Management Fees                                       35,233.18    3.23%     26,461.19      3.00%     8,771.99      24,884.49     4.38%     10,348.69

        59,812.42     21.04%       62,922.43   31.75%    -3,110.01     196,770.34     121.62%     -136,957.92   Total Fixed Expenses                                 282,635.75   25.90%    307,720.28     34.89%   -25,084.53     274,117.01    48.30%      8,518.74

        -2,747.21     -0.97%      -16,532.82    -8.34%   13,785.61    -173,711.65    -107.37%     170,964.44    Net Operating Profit                                -136,707.97   -12.53%   -150,296.14   -17.04%   13,588.17     -265,003.68    -46.70%   128,295.71



             0.00         0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Owner's Expense                                            0.00    0.00%           0.00    0.00%         0.00          949.17     0.17%       -949.17
             0.00         0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Prior Owner's Expense                                      0.00    0.00%           0.00    0.00%         0.00           25.53     0.00%        -25.53



        -2,747.21     -0.97%      -16,532.82    -8.34%   13,785.61    -173,711.65    -107.37%     170,964.44    Net Operating Income                                -136,707.97   -12.53%   -150,296.14   -17.04%   13,588.17     -265,978.38    -46.87%   129,270.41

         6,162.50         2.17%     5,000.00    2.52%     1,162.50           0.00      0.00%         6,162.50   Capital Reserve                                       15,695.50    1.44%       5,000.00    0.57%    10,695.50            0.00     0.00%     15,695.50

        -8,909.71     -3.13%      -21,532.82   -10.87%   12,623.11    -173,711.65    -107.37%     164,801.94    Adjusted NOI                                        -152,403.47   -13.97%   -155,296.14   -17.61%    2,892.67     -265,978.38    -46.87%   113,574.91




        -8,909.71     -3.13%      -21,532.82   -10.87%   12,623.11    -173,711.65    -107.37%     164,801.94    Net Profit/(Loss)                                   -152,403.47   -13.97%   -155,296.14   -17.61%    2,892.67     -265,978.38    -46.87%   113,574.91




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                                                                                                  Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                                          P&L - Dual Summary Pages
                                                                                                                               As of 5/31/2022
              PTD     %           PTD Budget      %         Variance   PTD Last Year     %            Variance                                                               YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                 Rooms
                                                                                                                 Room Revenue
                                                                                                                 Transient Room Revenue
        25,666.04      9.19%        8,342.00      4.27%    17,324.04       3,187.96      2.01%       22,478.08   Corporate Transient                                    93,543.52     8.77%    59,013.46      6.79%    34,530.06       40,682.20     7.37%    52,861.32
        13,752.13      4.93%        2,907.00      1.49%    10,845.13           0.00      0.00%       13,752.13   Advanced Purchase                                      22,401.83     2.10%    27,247.70      3.14%    -4,845.87            0.00     0.00%    22,401.83
        90,341.60     32.36%       13,709.37      7.02%    76,632.23           0.00      0.00%       90,341.60   Qualified Discounts                                   212,238.76    19.91%    65,435.91      7.53%   146,802.85        4,360.16     0.79%   207,878.60
         2,861.17      1.02%        2,907.00      1.49%       -45.83         394.43      0.25%        2,466.74   Consortia Transient                                     6,976.90     0.65%    23,562.58      2.71%   -16,585.68       16,498.87     2.99%    -9,521.97
           845.00      0.30%            0.00      0.00%       845.00           0.00      0.00%          845.00   Employee                                                6,981.70     0.65%         0.00      0.00%     6,981.70        2,178.95     0.39%     4,802.75
             0.00      0.00%            0.00      0.00%         0.00      47,505.03     29.99%      -47,505.03   Leisure Transient                                           0.00     0.00%         0.00      0.00%         0.00       47,536.32     8.62%   -47,536.32
        10,329.90      3.70%            0.00      0.00%    10,329.90           0.00      0.00%       10,329.90   Travel Agent/Friends & Family                          15,321.72     1.44%         0.00      0.00%    15,321.72            0.00     0.00%    15,321.72
             0.00      0.00%            0.00      0.00%         0.00       2,161.36      1.36%       -2,161.36   Leisure Package Transient                              39,292.38     3.69%         0.00      0.00%    39,292.38        2,432.00     0.44%    36,860.38
         7,942.54      2.84%            0.00      0.00%     7,942.54           0.00      0.00%        7,942.54   Member Reward Stay                                     15,209.46     1.43%         0.00      0.00%    15,209.46            0.00     0.00%    15,209.46
        76,602.54     27.44%       56,189.98     28.77%    20,412.56       1,001.64      0.63%       75,600.90   Internet/E-Commerce                                   282,159.09    26.46%   230,562.95     26.54%    51,596.14       19,920.57     3.61%   262,238.52
             0.00      0.00%       24,012.86     12.29%   -24,012.86           0.00      0.00%            0.00   E-Commerce Opaque                                           0.00     0.00%    84,406.31      9.72%   -84,406.31        1,928.72     0.35%    -1,928.72
             0.00      0.00%            0.00      0.00%         0.00         476.37      0.30%         -476.37   Other Transient                                             0.00     0.00%         0.00      0.00%         0.00       95,135.84    17.24%   -95,135.84
             0.00      0.00%        1,683.00      0.86%    -1,683.00           0.00      0.00%            0.00   Government Transient                                    1,600.36     0.15%     9,009.00      1.04%    -7,408.64          744.36     0.13%       856.00
        40,856.75     14.63%       70,786.85     36.24%   -29,930.10     100,867.51     63.67%      -60,010.76   Rack Transient                                        335,914.08    31.50%   266,702.86     30.70%    69,211.22      287,945.95    52.19%    47,968.13
         6,210.27      2.22%        8,342.00      4.27%    -2,131.73       2,386.51      1.51%        3,823.76   Local Negotiated Transient                              6,537.55     0.61%    59,607.46      6.86%   -53,069.91        7,893.72     1.43%    -1,356.17

      275,407.94     98.64%       188,880.06    96.71%    86,527.88     157,980.81      99.72%     117,427.13    Total Transient Room Revenue                        1,038,177.35   97.37%    825,548.23    95.03%    212,629.12     527,257.66     95.57%   510,919.69

                                                                                                                 Group Room Revenue
             0.00         0.00%      4,104.00     2.10%    -4,104.00           0.00      0.00%            0.00   Corporate Group                                             0.00     0.00%     6,084.00     0.70%      -6,084.00       3,297.00     0.60%     -3,297.00
             0.00         0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Leisure Group                                               0.00     0.00%     6,040.00     0.70%      -6,040.00           0.00     0.00%          0.00
             0.00         0.00%      1,980.00     1.01%    -1,980.00           0.00      0.00%            0.00   Tour & Travel Group                                         0.00     0.00%    10,006.50     1.15%     -10,006.50           0.00     0.00%          0.00
         3,564.00         1.28%          0.00     0.00%     3,564.00           0.00      0.00%        3,564.00   SMERF Group                                            25,875.00     2.43%     1,780.00     0.20%      24,095.00       7,160.00     1.30%     18,715.00
             0.00         0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Sports Group                                                0.00     0.00%    17,514.00     2.02%     -17,514.00         750.00     0.14%       -750.00
             0.00         0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   To Be Group - Do Not Post                                   0.00     0.00%         0.00     0.00%           0.00      10,410.00     1.89%    -10,410.00

        3,564.00      1.28%         6,084.00     3.11%    -2,520.00            0.00      0.00%       3,564.00    Total Group Room Revenue                              25,875.00     2.43%     41,424.50     4.77%    -15,549.50      21,617.00     3.92%      4,258.00

                                                                                                                 Contract Room Revenue

             0.00     0.00%             0.00     0.00%         0.00            0.00      0.00%           0.00    Total Contract Room Revenue                                 0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                                 Other Room Revenue
           -17.85     -0.01%          250.00      0.13%     -267.85          794.34      0.50%         -812.19   No-Show Rooms                                             425.72     0.04%      1,250.00    0.14%       -824.28        2,039.07     0.37%     -1,613.35
             0.00      0.00%            0.00      0.00%        0.00          192.80      0.12%         -192.80   Early/Late Departure Fees                                   0.00     0.00%          0.00    0.00%          0.00          800.78     0.15%       -800.78
           594.00      0.21%          100.00      0.05%      494.00            0.00      0.00%          594.00   Pet/Smoking/Damage Fees                                 2,476.29     0.23%        500.00    0.06%      1,976.29          492.81     0.09%      1,983.48

          576.15      0.21%           350.00     0.18%       226.15         987.14       0.62%        -410.99    Total Other Room Revenue                                2,902.01    0.27%      1,750.00     0.20%      1,152.01       3,332.66     0.60%       -430.65

          -344.89     -0.12%             0.00     0.00%     -344.89         -550.35      -0.35%        205.46    Less: Allowances                                         -727.22    -0.07%          0.00    0.00%       -727.22         -518.05    -0.09%      -209.17

      279,203.20    100.00%       195,314.06    100.00%   83,889.14     158,417.60     100.00%     120,785.60    Total Room Revenue                                  1,066,227.14   100.00%   868,722.73 100.00%      197,504.41     551,689.27 100.00%      514,537.87

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
             0.00      0.00%             0.00     0.00%         0.00      -2,215.38     -1.40%        2,215.38   Front Office Management                                     0.00     0.00%          0.00     0.00%          0.00      14,030.77     2.54%    -14,030.77
             0.00      0.00%         3,267.77     1.67%    -3,267.77       2,557.71      1.61%       -2,557.71   Housekeeping Management                                11,431.69     1.07%     15,998.91     1.84%     -4,567.22      15,050.04     2.73%     -3,618.35
             0.00     0.00%         3,267.77     1.67%    -3,267.77         342.33      0.22%         -342.33    Total Rooms Management                                11,431.69     1.07%     15,998.91     1.84%     -4,567.22      29,080.81     5.27%    -17,649.12
         7,284.13      2.61%         4,145.14     2.12%     3,138.99      10,725.54      6.77%       -3,441.41   Front Office Agents                                    33,189.93     3.11%     20,190.85     2.32%     12,999.08      39,657.14     7.19%     -6,467.21
             0.00      0.00%         2,657.14     1.36%    -2,657.14           0.00      0.00%            0.00   Front Office Supervisors                                    0.00     0.00%     12,942.85     1.49%    -12,942.85           0.00     0.00%          0.00
         2,168.99      0.78%         3,472.00     1.78%    -1,303.01           0.00      0.00%        2,168.99   Night Auditors                                         10,782.68     1.01%     16,912.00     1.95%     -6,129.32           0.00     0.00%     10,782.68
         1,951.03      0.70%         2,232.00     1.14%      -280.97           0.00      0.00%        1,951.03   Breakfast Attendant                                     8,561.90     0.80%     10,872.00     1.25%     -2,310.10           0.00     0.00%      8,561.90
       11,404.15      4.08%        12,506.28     6.40%    -1,102.13      10,725.54      6.77%          678.61    Total Rooms Front Office                              52,534.51     4.93%     60,917.70     7.01%     -8,383.19      39,657.14     7.19%     12,877.37
         6,699.11      2.40%             0.00     0.00%     6,699.11           0.00      0.00%        6,699.11   Housekeeping Supervisors                               11,542.50     1.08%          0.00     0.00%     11,542.50           0.00     0.00%     11,542.50
         4,057.75      1.45%        10,241.74     5.24%    -6,183.99      16,579.99     10.47%      -12,522.24   Room Attendants                                        12,283.95     1.15%     46,009.96     5.30%    -33,726.01      55,376.01    10.04%    -43,092.06
             0.00      0.00%         2,976.00     1.52%    -2,976.00           0.00      0.00%            0.00   Housepersons                                                0.00     0.00%     14,496.00     1.67%    -14,496.00           0.00     0.00%          0.00
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                                                                                               Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget     %          Variance   PTD Last Year     %             Variance                                                              YTD     %       YTD Budget %               Variance   YTD Last Year    %           Variance

           977.92      0.35%      3,348.00    1.71%     -2,370.08          0.00        0.00%          977.92   Laundry Attendants                                    10,804.76    1.01%     16,308.00     1.88%     -5,503.24          0.00       0.00%     10,804.76
       11,734.78      4.20%     16,565.74    8.48%     -4,830.96      16,579.99      10.47%       -4,845.21    Total Rooms Housekeeping                             34,631.21    3.25%     76,813.96     8.84%    -42,182.75      55,376.01     10.04%    -20,744.80

       23,138.93      8.29%     32,339.79    16.56%    -9,200.86      27,647.86      17.45%       -4,508.93    Total Rooms Salary and Wages                         98,597.41    9.25%    153,730.57    17.70%    -55,133.16     124,113.96     22.50%    -25,516.55

                                                                                                               PR Taxes and Benefits
         1,906.91      0.68%      2,572.24    1.32%       -665.33       1,505.67       0.95%         401.24    FICA                                                   8,546.27    0.80%     12,362.55     1.42%     -3,816.28       7,640.98      1.39%        905.29
            54.41      0.02%         30.26    0.02%         24.15         103.08       0.07%         -48.67    Federal Unemployment Tax                                 394.27    0.04%        437.30     0.05%        -43.03         517.30      0.09%       -123.03
           327.30      0.12%        181.57    0.09%        145.73         589.72       0.37%        -262.42    State Unemployment Tax                                 2,104.94    0.20%      3,724.46     0.43%     -1,619.52       2,722.47      0.49%       -617.53
        2,288.62      0.82%      2,784.07    1.43%       -495.45       2,198.47       1.39%           90.15    Total Payroll Taxes                                  11,045.48    1.04%     16,524.31     1.90%     -5,478.83      10,880.75      1.97%        164.73
             0.00      0.00%        150.00    0.08%       -150.00           0.00       0.00%           0.00    Holiday                                                    0.00    0.00%        300.00     0.03%       -300.00           0.00      0.00%          0.00
             0.00      0.00%        129.49    0.07%       -129.49           0.00       0.00%           0.00    Vacation                                                   0.00    0.00%        549.04     0.06%       -549.04           0.00      0.00%          0.00
             0.00     0.00%        279.49    0.14%       -279.49            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%        849.04     0.10%       -849.04            0.00     0.00%           0.00
           905.38      0.32%      1,429.60    0.73%       -524.22       2,309.97       1.46%      -1,404.59    Worker's Compensation                                  5,499.41    0.52%      7,068.42     0.81%     -1,569.01       6,077.14      1.10%       -577.73
            51.78      0.02%        480.00    0.25%       -428.22        -510.09      -0.32%         561.87    Group Insurance                                          310.68    0.03%      2,400.00     0.28%     -2,089.32       1,826.43      0.33%     -1,515.75
             0.00      0.00%      1,000.00    0.51%     -1,000.00           0.00       0.00%           0.00    Bonus and Incentive Pay                                5,825.00    0.55%      7,000.00     0.81%     -1,175.00           0.00      0.00%      5,825.00
          957.16      0.34%      2,909.60    1.49%     -1,952.44       1,799.88       1.14%        -842.72     Total Other Benefits                                 11,635.09    1.09%     16,468.42     1.90%     -4,833.33       7,903.57      1.43%      3,731.52

        3,245.78      1.16%      5,973.16    3.06%     -2,727.38       3,998.35       2.52%        -752.57     Total Rooms PR Taxes and Benefits                    22,680.57    2.13%     33,841.77     3.90%    -11,161.20      18,784.32      3.40%      3,896.25

       26,384.71      9.45%     38,312.95    19.62%   -11,928.24      31,646.21      19.98%       -5,261.50    Total Rooms Labor Costs                             121,277.98    11.37%   187,572.34    21.59%    -66,294.36     142,898.28     25.90%    -21,620.30

                                                                                                               Other Expenses
        12,724.00      4.56%      7,852.00    4.02%     4,872.00        3,471.60      2.19%        9,252.40    Breakfast /Comp Cost                                  47,684.60    4.47%    35,274.30     4.06%     12,410.30       13,834.59     2.51%     33,850.01
         2,664.21      0.95%      1,079.65    0.55%     1,584.56           99.98      0.06%        2,564.23    Cleaning Supplies                                     10,937.87    1.03%     4,850.22     0.56%      6,087.65        3,245.02     0.59%      7,692.85
           200.00      0.07%          0.00    0.00%       200.00        1,635.25      1.03%       -1,435.25    Contract Cleaning                                      5,608.66    0.53%         0.00     0.00%      5,608.66        2,805.50     0.51%      2,803.16
        44,129.17     15.81%          0.00    0.00%    44,129.17        2,201.00      1.39%       41,928.17    Contract Labor                                       122,124.80   11.45%         0.00     0.00%    122,124.80       10,806.64     1.96%    111,318.16
             0.00      0.00%          0.00    0.00%         0.00            0.00      0.00%            0.00    Decorations & Plants                                      48.48    0.00%         0.00     0.00%         48.48            0.00     0.00%         48.48
           319.53      0.11%          0.00    0.00%       319.53            0.00      0.00%          319.53    Equipment Rental                                         319.53    0.03%         0.00     0.00%        319.53            0.00     0.00%        319.53
             0.00      0.00%          0.00    0.00%         0.00          114.79      0.07%         -114.79    Guest Loss/Damage                                          0.00    0.00%         0.00     0.00%          0.00          114.79     0.02%       -114.79
         6,014.06      2.15%      2,061.15    1.06%     3,952.91        2,129.39      1.34%        3,884.67    Guest Supplies                                        17,256.28    1.62%     9,259.51     1.07%      7,996.77        6,016.25     1.09%     11,240.03
             0.00      0.00%          0.00    0.00%         0.00          458.50      0.29%         -458.50    Internet/Web Expense                                     175.04    0.02%         0.00     0.00%        175.04        2,172.09     0.39%     -1,997.05
             0.00      0.00%        687.05    0.35%      -687.05          546.87      0.35%         -546.87    Laundry                                                4,886.16    0.46%     3,086.51     0.36%      1,799.65        2,244.13     0.41%      2,642.03
         7,636.77      2.74%      1,177.80    0.60%     6,458.97        2,528.78      1.60%        5,107.99    Linen                                                 12,545.13    1.18%     5,291.14     0.61%      7,253.99        8,305.18     1.51%      4,239.95
             0.00      0.00%          0.00    0.00%         0.00            0.00      0.00%            0.00    Office Equipment                                           0.00    0.00%         0.00     0.00%          0.00          572.16     0.10%       -572.16
         1,293.98      0.46%          0.00    0.00%     1,293.98            0.00      0.00%        1,293.98    Operating Supplies                                     1,819.29    0.17%         0.00     0.00%      1,819.29            0.00     0.00%      1,819.29
             0.00      0.00%        100.00    0.05%      -100.00            0.00      0.00%            0.00    Printing and Stationery                                    0.00    0.00%       500.00     0.06%       -500.00            0.00     0.00%          0.00
         5,648.50      2.02%      1,171.88    0.60%     4,476.62           14.03      0.01%        5,634.47    Reservation Expense                                   13,362.65    1.25%     5,212.33     0.60%      8,150.32           14.03     0.00%     13,348.62
         2,854.22      1.02%      1,385.00    0.71%     1,469.22        1,385.34      0.87%        1,468.88    Television Cable                                       7,100.25    0.67%     6,925.00     0.80%        175.25        6,893.61     1.25%        206.64
           475.00      0.17%        332.14    0.17%       142.86            0.00      0.00%          475.00    Transportation                                         1,485.00    0.14%     1,617.85     0.19%       -132.85            0.00     0.00%      1,485.00
             0.00      0.00%        365.04    0.19%      -365.04            0.00      0.00%            0.00    Travel Agent Comm - Group Rooms                            0.00    0.00%     2,485.47     0.29%     -2,485.47           40.37     0.01%        -40.37
         8,470.11      3.03%      6,442.32    3.30%     2,027.79        7,361.10      4.65%        1,109.01    Travel Agent Comm - Transient Rooms                   44,482.77    4.17%    26,556.83     3.06%     17,925.94       14,008.05     2.54%     30,474.72
         1,000.00      0.36%        100.00    0.05%       900.00          274.18      0.17%          725.82    Uniforms                                               1,072.83    0.10%       500.00     0.06%        572.83          274.18     0.05%        798.65

       93,429.55     33.46%     22,754.03    11.65%   70,675.52       22,220.81      14.03%      71,208.74     Total Rooms Other Expenses                          290,909.34    27.28%   101,559.16    11.69%    189,350.18      71,346.59     12.93%    219,562.75

      119,814.26     42.91%     61,066.98    31.27%   58,747.28       53,867.02      34.00%      65,947.24     Total Rooms Expenses                                412,187.32    38.66%   289,131.50    33.28%    123,055.82     214,244.87     38.83%    197,942.45

      159,388.94     57.09%    134,247.08    68.73%   25,141.86      104,550.58      66.00%      54,838.36     Total Rooms Profit (Loss)                           654,039.82    61.34%   579,591.23    66.72%     74,448.59     337,444.40     61.17%    316,595.42




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                                                                             Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
           300.00              80.00        220.00           62.00                 238.00    Room Stat - Corporate Transient                        1,135.00           622.00        513.00         700.00           435.00
           124.00              30.00         94.00            0.00                 124.00    Room Stat - Advanced Purchase                            208.00           296.00        -88.00           0.00           208.00
           682.00               0.00        682.00            0.00                 682.00    Room Stat - Qualified Discounts                        1,791.00             0.00      1,791.00          51.00         1,740.00
            21.00              30.00         -9.00            5.00                  16.00    Room Stat - Consortia Rate Transient                      59.00           218.00       -159.00         210.00          -151.00
            26.00               0.00         26.00            0.00                  26.00    Room Stat - Employee                                     163.00             0.00        163.00          20.00           143.00
             0.00               0.00          0.00          547.00                -547.00    Room Stat - Leisure Transient                              0.00             0.00          0.00         548.00          -548.00
             0.00               0.00          0.00            0.00                   0.00    Room Stat - Package Transient                            382.00             0.00        382.00           3.00           379.00
           121.00               0.00        121.00            0.00                 121.00    Room Stat - Travel Agent/Friends & Family                178.00             0.00        178.00           0.00           178.00
           120.00               0.00        120.00            0.00                 120.00    Room Stat - Member Reward Stay                           225.00             0.00        225.00           6.00           219.00
             0.00               0.00          0.00            1.00                  -1.00    Room Stat - Golf Pkg Transient                             0.00             0.00          0.00           1.00            -1.00
           858.00             558.00        300.00            1.00                 857.00    Room Stat - Internet                                   2,991.00         2,325.87        665.13         187.00         2,804.00
             0.00               0.00          0.00            4.00                  -4.00    Room Stat - Other Transient                                0.00             0.00          0.00       1,256.00        -1,256.00
             0.00             310.00       -310.00           11.00                 -11.00    Room Stat - E-Commerce Opaque                              0.00         1,103.50     -1,103.50         116.00          -116.00
             0.00              18.00        -18.00            0.00                   0.00    Room Stat - Government Rate Transient                     15.00            92.00        -77.00           9.00             6.00
           387.00             641.00       -254.00        1,220.00                -833.00    Room Stat - Rack Rate Transient                        3,441.00         2,433.07      1,007.93       3,725.00          -284.00
             0.00              80.00        -80.00            0.00                   0.00    Room Stat - Local Negotiated Transient                     0.00           628.00       -628.00          47.00           -47.00
        2,639.00           1,747.00        892.00        1,851.00                 788.00     Total Transient Rooms Sold                           10,588.00         7,718.44      2,869.56       6,879.00         3,709.00

                                                                                             Group Rooms
            0.00              36.00         -36.00            0.00                  0.00     Room Stat - Corporate Group Rooms                          0.00            56.00        -56.00          41.00          -41.00
            0.00               0.00           0.00            0.00                  0.00     Room Stat - Leisure Group                                  0.00            60.00        -60.00           0.00            0.00
            0.00              20.00         -20.00            0.00                  0.00     Room Stat - Tour & Travel Group                            0.00           100.00       -100.00           0.00            0.00
           60.00               0.00          60.00            0.00                 60.00     Room Stat - SMERF Group                                  256.00            20.00        236.00          54.00          202.00
            0.00               0.00           0.00            0.00                  0.00     Room Stat - Sports Group                                   0.00           126.00       -126.00          20.00          -20.00
            0.00               0.00           0.00            0.00                  0.00     Room Stat - Other Group                                    0.00             0.00          0.00         100.00         -100.00
           60.00              56.00           4.00            0.00                 60.00     Total Group Rooms Sold                                  256.00           362.00       -106.00         215.00            41.00

                                                                                             Contract Rooms
             0.00              0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                                 0.00             0.00          0.00            0.00            0.00

        2,699.00           1,803.00        896.00        1,851.00                 848.00     Total Rooms Sold                                     10,844.00         8,080.44      2,763.56       7,094.00         3,750.00
            0.00               0.00          0.00             0.00                   0.00    Room Stat - Comp Rooms                                    0.00             0.00          0.00            1.00            -1.00
        2,699.00           1,803.00        896.00        1,851.00                 848.00     Total Rooms Occupied                                 10,844.00         8,080.44      2,763.56       7,095.00         3,749.00
            0.00               0.00          0.00           344.00                -344.00    Room Stat - Out of Order                                  0.00             0.00          0.00          916.00          -916.00

                                                                                             ADR
            85.55             104.28        -18.72           51.42                  34.13    Corporate Transient ADR                                  82.42             94.88       -12.46           58.12           24.30
           110.90              96.90         14.00            0.00                 110.90    Advanced Purchase ADR                                   107.70             92.05        15.65            0.00          107.70
           132.47               0.00        132.47            0.00                 132.47    Qualified Discount ADR                                  118.50              0.00       118.50           85.49           33.01
             0.00               0.00           0.00           0.00                    0.00   FIT ADR                                                   0.00              0.00          0.00           0.00             0.00
           136.25              96.90         39.35           78.89                  57.36    Consortia ADR                                           118.25            108.09        10.17           78.57           39.69
            32.50               0.00         32.50            0.00                  32.50    Employee ADR                                             42.83              0.00        42.83          108.95          -66.11
             0.00               0.00           0.00          86.85                 -86.85    Leisure ADR                                               0.00              0.00          0.00          86.75          -86.75
            85.37               0.00         85.37            0.00                  85.37    Travel Agent/Friends & Family ADR                        86.08              0.00        86.08            0.00           86.08
             0.00               0.00           0.00           3.95                   -3.95   Leisure Package ADR                                       0.00              0.00          0.00           4.44            -4.44
            66.19               0.00         66.19            0.00                  66.19    Member Reward Stay ADR                                   67.60              0.00        67.60            0.00           67.60
             0.00               0.00           0.00           0.00                    0.00   Golf Pkg ADR                                              0.00              0.00          0.00           0.00             0.00
             0.00               0.00           0.00           0.00                    0.00   Non Qualified ADR                                         0.00              0.00          0.00           0.00             0.00
            89.28             100.70        -11.42        1,001.64                -912.36    Internet ADR                                             94.34             99.13         -4.79         106.53          -12.19
             0.00              77.46        -77.46            0.00                    0.00   E-Commerce Opaque ADR                                     0.00             76.49       -76.49           16.63          -16.63
             0.00               0.00           0.00         119.09                -119.09    Other Transient ADR                                       0.00              0.00          0.00          75.75          -75.75
             0.00               0.00           0.00           0.00                    0.00   Airline Distressed Passenger ADR                          0.00              0.00          0.00           0.00             0.00
             0.00              93.50        -93.50            0.00                    0.00   Government ADR                                          106.69             97.92          8.77          82.71           23.98
           105.57             110.43          -4.86          82.68                  22.89    Rack ADR                                                 97.62            109.62       -11.99           77.30           20.32
             0.00             104.28       -104.28            0.00                    0.00   Local Negotiated ADR                                      0.00             94.92       -94.92          167.95         -167.95
          104.36             108.12          -3.76           85.35                  19.01    Total Transient ADR                                      98.05           106.96         -8.91           76.65           21.40

             0.00            114.00        -114.00            0.00                   0.00    Corporate Group ADR                                        0.00          108.64       -108.64           80.41          -80.41
             0.00              0.00           0.00            0.00                   0.00    Leisure Group ADR                                          0.00          100.67       -100.67            0.00            0.00
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                                                                             Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00               0.00            0.00           0.00                  0.00    Government Group ADR                                       0.00             0.00        0.00            0.00           0.00
            0.00              99.00          -99.00           0.00                  0.00    Tour & Travel Group ADR                                    0.00           100.07     -100.07            0.00           0.00
            0.00               0.00            0.00           0.00                  0.00    Association Group ADR                                      0.00             0.00        0.00            0.00           0.00
            0.00               0.00            0.00           0.00                  0.00    City Wide Group ADR                                        0.00             0.00        0.00            0.00           0.00
           59.40               0.00           59.40           0.00                 59.40    SMERF Group ADR                                          101.07            89.00       12.07          132.59         -31.52
            0.00               0.00            0.00           0.00                  0.00    Sports Group ADR                                           0.00           139.00     -139.00           37.50         -37.50
            0.00               0.00            0.00           0.00                  0.00    Other Group ADR                                            0.00             0.00        0.00          104.10        -104.10
           59.40             108.64         -49.24            0.00                 59.40    Total Group ADR                                         101.07           114.43       -13.36         100.54            0.53

             0.00              0.00           0.00            0.00                  0.00    Airline Crew ADR                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Other Contract ADR                                        0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Contract ADR                                        0.00             0.00         0.00            0.00           0.00

          103.45             108.33          -4.88           85.58                 17.86    Total ADR                                                98.32           107.51        -9.19           77.77          20.56




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                                                                                              Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                           As of 5/31/2022
              PTD     %           PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                             F&B Summary
                                                                                                             Revenue
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Food Revenue                                       0.00     0.00%        0.00       0.00%      0.00            0.00   0.00%           0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Food Revenue                         0.00     0.00%        0.00       0.00%      0.00            0.00   0.00%           0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Beverage Revenue                                   0.00     0.00%        0.00       0.00%      0.00            0.00   0.00%           0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Beverage Revenue                     0.00     0.00%        0.00       0.00%      0.00            0.00   0.00%           0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Other Revenue                                      0.00     0.00%        0.00       0.00%      0.00            0.00   0.00%           0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Other Revenue                        0.00     0.00%        0.00       0.00%      0.00        7,555.00 100.00%      -7,555.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Revenue                                         0.00    0.00%         0.00      0.00%       0.00       7,555.00 100.00%      -7,555.00

                                                                                                             Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Food Purchases                                            0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Beverage Purchases                                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Cedit Employee Meals                                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Credit House Charges                                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Credit In-House Promotions                                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Audio Visual Cost of Sales                                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Other Cost of Sales                                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Cost of Sales                                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    F&B Gross Profit                                          0.00    0.00%         0.00      0.00%       0.00       7,555.00 100.00%      -7,555.00

                                                                                                             Expenses
                                                                                                             Payroll
                                                                                                             Salaries and Wages
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Management                                                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Non-Management                                            0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Salaries and Wages                              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
                                                                                                             PR Taxes and Benefits
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Payroll Taxes                                             0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Supplemental Pay                                          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Other Benefits                                            0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B PR Taxes and Benefits                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Payroll                                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

                                                                                                             Other Expenses
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Audio Visual Supplies                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Banquet Expense                                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Bar Expense/Promos                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Bar Supplies                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    China                                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Cleaning Supplies                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Communication Expense                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Contract Cleaning                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Contract Labor                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Decorations & Plants                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Dues and Subscriptions                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Equipment Rental                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Food and Beverage Advertising                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Glassware                                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Guest Loss/Damage                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Guest Supplies                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    In-House Entertainment                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Kitchen/Cooking Fuel                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Kitchen Equipment                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Laundry - Outside Expense                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Laundry Allocation                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Licenses/Permits                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Linen                                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Linen Rental                                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%         0.00
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                                                                                           Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %         Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Maintenance Contracts                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Meals and Entertainment                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Menus                                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Miscellaneous Expense                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Music and Entertainment                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Equipment                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Supplies                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Operating Supplies                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Paper/Plastic Supplies                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Printing and Stationery                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Silverware                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Software Expense/Maintenance                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Television Cable                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Training                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Travel                                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Uniforms                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Utensils                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00       7,555.00 100.00%      -7,555.00




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                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                            F&B Stats
                                                                                            Restaurant 1
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                                 0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                    0.00             0.00         0.00            0.00           0.00

                                                                                            Restaurant 2
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                                 0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                    0.00             0.00         0.00            0.00           0.00

                                                                                            Room Service
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Room Service Covers                                 0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Room Service Avg Check                                    0.00             0.00         0.00            0.00           0.00

                                                                                            Banquets
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Banquets Covers                                     0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Banquets Avg Check                                        0.00             0.00         0.00            0.00           0.00

                                                                                            Catering
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Catering Covers                                     0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Catering Avg Check                                        0.00             0.00         0.00            0.00           0.00

                                                                                            Restaurant 3
             0.00               0.00          0.00            0.00                  0.00    Breakfast Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Lunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Dinner Avg Check                                           0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Brunch Avg Check                                           0.00             0.00        0.00            0.00           0.00
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                                                                             Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                              YTD   %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 4
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 5
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                            Bar 1
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                           0.00            0.00         0.00            0.00           0.00

                                                                                            Bar 2
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                           0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                  0.00    Total Covers                                              0.00            0.00         0.00            0.00           0.00




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                                                                                        Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                                P&L - Dual Summary Pages
                                                                                                                     As of 5/31/2022
              PTD     %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                                              YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Food Admin
                                                                                                       Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Food Admin Cost of Sales                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Food Admin Management                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Food Admin Non-Management                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Food Admin Salaries and Wages                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Food Admin PR Taxes and Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Food Admin Payroll                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Food Admin Other Expenses                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Food Admin Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Departmental Costs                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                            Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %           Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                           Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%          0.00    Less Adjustments                                           0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Revenue                              0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                           Cost of Sales

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Cost of Sales                        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                           Expenses
                                                                                                           Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Other Expenses                       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Expenses                             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Departmental Costs                                        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                           Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Room Service
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                             Banquets
                                                                                                             Food Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Food Revenue                                     0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00     0.00%        0.00       0.00%      0.00            0.00      0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Food Revenue                               0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                             Beverage Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Beverage Revenue                                 0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00     0.00%        0.00       0.00%      0.00            0.00      0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Beverage Revenue                           0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                             Other Revenue
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Other Revenue                                              0.00   0.00%          0.00     0.00%       0.00        7,555.00    100.00%   -7,555.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Revenue                              0.00    0.00%         0.00      0.00%       0.00       7,555.00 100.00%       -7,555.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Revenue                                    0.00    0.00%         0.00      0.00%       0.00       7,555.00 100.00%       -7,555.00

                                                                                                             Cost of Sales

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Cost of Sales                              0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                              0.00    0.00%         0.00      0.00%       0.00       7,555.00 100.00%       -7,555.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Management                                 0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Non-Management                             0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00                      0.00                0.00            0.00                      0.00    Total Banquets Salaries and Wages                         0.00                  0.00                  0.00            0.00                  0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00                      0.00                0.00            0.00                      0.00    Total Banquet Benefits                                    0.00                  0.00                  0.00            0.00                  0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Payroll                                    0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                             Other Expenses
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Expenses                             0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Expenses                                   0.00    0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Profit (Loss)                              0.00    0.00%         0.00      0.00%       0.00       7,555.00 100.00%       -7,555.00




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                                                                                           Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Catering
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Gross Profit                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Non-Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Salaries and Wages                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering PR Taxes and Benefits                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Payroll                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 3
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 4
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 4 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restauarnt 4 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 5
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                              YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expenses
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                             YTD   %        YTD Budget %            Variance   YTD Last Year   %           Variance

                                                                                                           Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Telephone Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Telephone Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00

                                                                                                           Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00          168.16       0.00%        -168.16    Cost of Sales - Local Calls                              0.00    0.00%        0.00       0.00%      0.00          756.40     0.00%       -756.40
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Cost of Sales - Long Distance                            0.00    0.00%        0.00       0.00%      0.00          419.79     0.00%       -419.79
             0.00     0.00%         0.00    0.00%       0.00         168.16       0.00%        -168.16     Total Telephone Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00       1,176.19     0.00%     -1,176.19

             0.00     0.00%         0.00    0.00%       0.00        -168.16       0.00%         168.16     Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00      -1,176.19     0.00%      1,176.19

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%      0.00        3,279.63       0.00%       -3,279.63   Internet/Web Expense                                     0.00    0.00%        0.00       0.00%      0.00       16,356.30     0.00%    -16,356.30
             0.00     0.00%         0.00    0.00%       0.00       3,279.63       0.00%       -3,279.63    Total Telephone Other Expenses                           0.00   0.00%         0.00      0.00%       0.00      16,356.30     0.00%    -16,356.30

             0.00     0.00%         0.00    0.00%       0.00      -3,447.79       0.00%       3,447.79     Total Telephone Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00     -17,532.49     0.00%    17,532.49




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %             Variance                                                              YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                             Minor Operating
                                                                                                             Income
         1,067.02     20.91%       850.00    29.73%      217.02       1,482.79      43.96%        -415.77    Rental Income - Other                                 10,637.40    42.39%     4,250.00    31.91%     6,387.40       1,482.79     17.94%     9,154.61
        1,067.02     20.91%       850.00    29.73%      217.02       1,482.79      43.96%        -415.77     Total Rental Income                                  10,637.40    42.39%     4,250.00    31.91%     6,387.40       1,482.79     17.94%     9,154.61
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00    Vending Commissions Other                                  0.00     0.00%         0.00     0.00%         0.00          69.50      0.84%        -69.50
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%            0.00    Total Vending Commission Income                            0.00    0.00%          0.00    0.00%          0.00          69.50     0.84%        -69.50
           373.28      7.32%         0.00     0.00%      373.28         732.77      21.72%        -359.49    Cancellation Fee - Rooms                               1,641.44     6.54%         0.00     0.00%     1,641.44       2,437.03     29.49%      -795.59
          373.28      7.32%          0.00    0.00%      373.28         732.77      21.72%        -359.49     Total Cancellation Fee Income                         1,641.44     6.54%          0.00    0.00%     1,641.44       2,437.03     29.49%      -795.59
             0.00      0.00%        85.00     2.97%      -85.00           0.00       0.00%           0.00    Guest Laundry                                              0.00     0.00%       425.00     3.19%      -425.00           0.00      0.00%          0.00
             9.90      0.19%         0.00     0.00%        9.90           0.00       0.00%           9.90    Interest Earned                                           25.52     0.10%         0.00     0.00%        25.52           0.00      0.00%         25.52
             0.00      0.00%         0.00     0.00%        0.00          12.98       0.38%         -12.98    In-Room Movie Revenue                                      0.00     0.00%         0.00     0.00%         0.00          12.98      0.16%        -12.98
            89.10      1.75%         0.00     0.00%       89.10          69.30       2.05%          19.80    Internet Access                                          133.65     0.53%         0.00     0.00%       133.65         267.31      3.23%      -133.66
             0.00      0.00%         0.00     0.00%        0.00          47.89       1.42%         -47.89    Telephone Revenue                                      1,093.23     4.36%         0.00     0.00%     1,093.23          57.89      0.70%     1,035.34
           437.48      8.57%         0.00     0.00%      437.48           0.00       0.00%         437.48    Other Revenue 3                                        1,149.96     4.58%         0.00     0.00%     1,149.96           0.00      0.00%     1,149.96
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00    Other Revenue 4                                          166.08     0.66%         0.00     0.00%       166.08           0.00      0.00%       166.08
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00    Parking Revenue                                           35.21     0.14%         0.00     0.00%        35.21           0.00      0.00%         35.21
         3,125.10     61.25%     1,923.74    67.29%    1,201.36       1,027.44      30.46%       2,097.66    Gift Shop Sales                                       10,209.91    40.69%     8,642.21    64.90%     1,567.70       3,936.89     47.64%     6,273.02
        3,661.58     71.77%     2,008.74    70.27%    1,652.84       1,157.61      34.32%       2,503.97     Total Other Income                                   12,813.56    51.07%     9,067.21    68.09%     3,746.35       4,275.07     51.73%     8,538.49

        5,101.88    100.00%     2,858.74    100.00%   2,243.14       3,373.17     100.00%       1,728.71     Total Minor Operating Income                         25,092.40    100.00%   13,317.21 100.00%      11,775.19       8,264.39 100.00%       16,828.01

                                                                                                             Cost of Sales
           821.31     16.10%     1,250.43    43.74%     -429.12       1,890.29      56.04%       -1,068.98   Cost of Sales - Gift Shop                              6,165.37    24.57%     5,617.44    42.18%      547.93        4,836.02     58.52%     1,329.35
          821.31     16.10%     1,250.43    43.74%     -429.12       1,890.29      56.04%       -1,068.98    Total Minor Operated Cost of Sales                    6,165.37    24.57%     5,617.44    42.18%      547.93        4,836.02     58.52%     1,329.35

        4,280.57     83.90%     1,608.31    56.26%    2,672.26       1,482.88      43.96%       2,797.69     Total Minor Operated Profit (Loss)                   18,927.03    75.43%     7,699.77    57.82%    11,227.26       3,428.37     41.48%    15,498.66




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                                              YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Arcade
                                                                                                       Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Revenue                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Non-Management                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Salaries and Wages                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade PR Taxes and Benefits                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Payroll                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Other Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Expenses                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Profit (Loss)                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                                              YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Waterpark
                                                                                                       Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Revenue                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Waterpark Management                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Waterpark Non-Management                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Salaries and Wages                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark PR Taxes and Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Payroll                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Other Expenses                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Profit (Loss)                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %         Variance   PTD Last Year     %           Variance                                                               YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                              Franchise Fees
             0.00         0.00%         0.00    0.00%        0.00        1,333.92      0.82%      -1,333.92   Franchise Fees - IT Fees                                    0.00    0.00%         0.00     0.00%        0.00        4,512.76     0.80%   -4,512.76
        16,745.46         5.89%    13,671.98    6.90%    3,073.48       15,944.44      9.85%         801.02   Franchise Fees - Royalty & Licenses                    83,737.48    7.67%    60,810.58     6.89%   22,926.90       41,882.94     7.38%   41,854.54
             0.00         0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Franchise Fees - Other                                      0.00    0.00%         0.00     0.00%        0.00          684.76     0.12%     -684.76
             0.00         0.00%         0.00    0.00%        0.00          548.32      0.34%        -548.32   Franchise Fees - Reservations-GDS                           0.00    0.00%         0.00     0.00%        0.00        9,382.88     1.65%   -9,382.88
             0.00         0.00%         0.00    0.00%        0.00          106.40      0.07%        -106.40   Franchise Fees - Equipment                                  0.00    0.00%         0.00     0.00%        0.00          929.32     0.16%     -929.32
         5,953.97         2.09%     5,859.42    2.96%       94.55        7,080.02      4.38%      -1,126.05   Franchise Fees - Frequent Guest                        24,609.88    2.26%    26,061.68     2.95%   -1,451.80       20,184.73     3.56%    4,425.15
        11,163.15         3.93%     3,906.28    1.97%    7,256.87            0.00      0.00%      11,163.15   Franchise Fees - Marketing Contributions               36,738.24    3.37%    17,374.46     1.97%   19,363.78            0.00     0.00%   36,738.24

       33,862.58     11.91%       23,437.68    11.83%   10,424.90      25,013.10      15.46%      8,849.48    Total Franchise Fees                                 145,085.60    13.29%   104,246.72   11.82%    40,838.88      77,577.39     13.67%   67,508.21




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              PTD     %        PTD Budget    %          Variance   PTD Last Year     %             Variance                                                              YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                              A&G
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
        10,879.13      3.83%    10,778.16     5.44%      100.97       10,038.46       6.20%         840.67    Management- A&G                                       54,395.68     4.98%     52,773.16     5.98%     1,622.52      30,069.21      5.30%    24,326.47
       10,879.13      3.83%    10,778.16     5.44%      100.97       10,038.46       6.20%         840.67     Total A&G Management                                 54,395.68     4.98%     52,773.16     5.98%     1,622.52      30,069.21      5.30%    24,326.47
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%            0.00    Total A&G Non-Management                                   0.00    0.00%           0.00    0.00%          0.00           0.00     0.00%          0.00
       10,879.13      3.83%    10,778.16     5.44%      100.97       10,038.46       6.20%         840.67     Total A&G Salaries and Wages                         54,395.68     4.98%     52,773.16     5.98%     1,622.52      30,069.21      5.30%    24,326.47
                                                                                                              PR Taxes and Benefits
           899.55      0.32%       857.64     0.43%        41.91         540.26       0.33%         359.29    FICA                                                   4,743.73     0.43%      4,560.03     0.52%       183.70       2,010.24      0.35%     2,733.49
            25.77      0.01%        10.09     0.01%        15.68          35.66       0.02%          -9.89    Federal Unemployment Tax                                 195.81     0.02%        159.05     0.02%        36.76         128.46      0.02%        67.35
           154.11      0.05%        60.54     0.03%        93.57         203.97       0.13%         -49.86    State Unemployment Tax                                 1,147.70     0.11%      1,402.42     0.16%      -254.72         670.50      0.12%       477.20
        1,079.43      0.38%       928.27     0.47%      151.16          779.89       0.48%         299.54     Total Payroll Taxes                                   6,087.24     0.56%      6,121.50     0.69%        -34.26      2,809.20      0.50%     3,278.04
             0.00      0.00%       432.80     0.22%     -432.80            0.00       0.00%           0.00    Vacation                                                   0.00     0.00%      1,835.07     0.21%    -1,835.07           0.00      0.00%         0.00
             0.00     0.00%       432.80     0.22%     -432.80             0.00      0.00%            0.00    Total Supplemental Pay                                     0.00    0.00%      1,835.07     0.21%    -1,835.07            0.00     0.00%          0.00
           457.84      0.16%       476.66     0.24%       -18.82         523.88       0.32%         -66.04    Worker's Compensation                                  2,901.74     0.27%      2,588.58     0.29%       313.16       1,675.23      0.30%     1,226.51
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00    Group Insurance                                           73.09     0.01%          0.00     0.00%        73.09       4,309.00      0.76%    -4,235.91
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00    Bonus and Incentive Pay                                  650.00     0.06%      5,000.00     0.57%    -4,350.00           0.00      0.00%       650.00
          457.84      0.16%       476.66     0.24%       -18.82         523.88       0.32%         -66.04     Total Other Benefits                                  3,624.83     0.33%      7,588.58     0.86%    -3,963.75       5,984.23      1.05%    -2,359.40
        1,537.27      0.54%     1,837.73     0.93%     -300.46        1,303.77       0.81%         233.50     Total A&G PR Taxes and Benefits                       9,712.07     0.89%     15,545.15     1.76%    -5,833.08       8,793.43      1.55%       918.64
       12,416.40      4.37%    12,615.89     6.37%     -199.49       11,342.23       7.01%       1,074.17     Total A&G Payroll                                    64,107.75     5.87%     68,318.31     7.75%    -4,210.56      38,862.64      6.85%    25,245.11
                                                                                                              Other Expenses
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Accounting/Audit Fees                                      0.00     0.00%          0.00     0.00%         0.00       7,000.00      1.23%    -7,000.00
        -5,731.20     -2.02%         0.00     0.00%    -5,731.20         898.87       0.56%       -6,630.07   Bad Debt Provision                                       163.48     0.01%          0.00     0.00%       163.48       3,361.82      0.59%    -3,198.34
         1,062.39      0.37%       775.00     0.39%       287.39         711.22       0.44%          351.17   Bank Charges                                           4,574.47     0.42%      3,875.00     0.44%       699.47       6,938.57      1.22%    -2,364.10
          -154.67     -0.05%         0.00     0.00%      -154.67         218.64       0.14%         -373.31   Cash Over/Short                                        2,085.80     0.19%          0.00     0.00%     2,085.80       1,860.86      0.33%       224.94
             0.00      0.00%       150.00     0.08%      -150.00           0.00       0.00%            0.00   Central Office - Travel Rebilled                           0.00     0.00%        450.00     0.05%      -450.00         359.35      0.06%      -359.35
         1,000.00      0.35%     1,000.00     0.50%         0.00           0.00       0.00%        1,000.00   Central Office - Accounting Fees                       5,000.00     0.46%      5,000.00     0.57%         0.00           0.00      0.00%     5,000.00
             0.00      0.00%         0.00     0.00%         0.00         160.00       0.10%         -160.00   Central Office - IT Fees                                   0.00     0.00%          0.00     0.00%         0.00         800.00      0.14%      -800.00
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Communication Expense                                      0.00     0.00%          0.00     0.00%         0.00          50.00      0.01%       -50.00
         5,969.99      2.10%     4,161.63     2.10%     1,808.36       2,806.74       1.73%        3,163.25   Credit Card Commission                                26,063.90     2.39%     18,522.85     2.10%     7,541.05       6,012.91      1.06%    20,050.99
            44.18      0.02%         0.00     0.00%        44.18           0.00       0.00%           44.18   Dues and Subscriptions                                   176.72     0.02%          0.00     0.00%       176.72           0.00      0.00%       176.72
             0.00      0.00%       250.00     0.13%      -250.00         338.56       0.21%         -338.56   Employee Relations                                     2,755.83     0.25%      2,045.00     0.23%       710.83         760.93      0.13%     1,994.90
             0.00      0.00%         0.00     0.00%         0.00          44.18       0.03%          -44.18   Equipment Rental                                           0.00     0.00%          0.00     0.00%         0.00         513.88      0.09%      -513.88
           310.37      0.11%         0.00     0.00%       310.37          50.00       0.03%          260.37   Licenses/Permits                                       1,458.41     0.13%          0.00     0.00%     1,458.41       2,110.00      0.37%      -651.59
             0.00      0.00%         0.00     0.00%         0.00          94.26       0.06%          -94.26   Meals and Entertainment                                    0.00     0.00%          0.00     0.00%         0.00         814.07      0.14%      -814.07
          -672.97     -0.24%         0.00     0.00%      -672.97        -548.71      -0.34%         -124.26   Miscellaneous Expense                                 -4,752.30    -0.44%          0.00     0.00%    -4,752.30      -1,208.71     -0.21%    -3,543.59
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Office Equipment                                         335.91     0.03%          0.00     0.00%       335.91       3,168.87      0.56%    -2,832.96
             0.00      0.00%         0.00     0.00%         0.00         258.98       0.16%         -258.98   Office Supplies                                            0.00     0.00%          0.00     0.00%         0.00         719.96      0.13%      -719.96
         1,124.58      0.40%       150.00     0.08%       974.58           0.00       0.00%        1,124.58   Operating Supplies                                     4,470.49     0.41%        750.00     0.09%     3,720.49           0.00      0.00%     4,470.49
             0.00      0.00%       467.14     0.24%      -467.14         147.56       0.09%         -147.56   Payroll Service Fees                                   1,340.49     0.12%      2,328.85     0.26%      -988.36         689.90      0.12%       650.59
            18.81      0.01%         0.00     0.00%        18.81          28.89       0.02%          -10.08   Postage                                                  410.26     0.04%          0.00     0.00%       410.26         171.47      0.03%       238.79
           373.50      0.13%       150.00     0.08%       223.50         237.00       0.15%          136.50   Professional Fees - Legal                              2,642.76     0.24%        750.00     0.09%     1,892.76       2,093.56      0.37%       549.20
           198.21      0.07%     1,600.00     0.81%    -1,401.79         483.47       0.30%         -285.26   Professional Fees - Other                             13,042.02     1.20%      8,650.00     0.98%     4,392.02       5,166.47      0.91%     7,875.55
           675.00      0.24%       150.00     0.08%       525.00       3,990.00       2.47%       -3,315.00   Recruitment Advertising                                3,115.00     0.29%        750.00     0.09%     2,365.00       4,860.00      0.86%    -1,745.00
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Recruitment - Other                                        0.00     0.00%          0.00     0.00%         0.00         521.10      0.09%      -521.10
             0.00      0.00%       300.00     0.15%      -300.00           0.00       0.00%            0.00   Security - Outside                                         0.00     0.00%      1,500.00     0.17%    -1,500.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%         0.00       1,955.38       1.21%       -1,955.38   Software Expense/Maintenance                               0.00     0.00%          0.00     0.00%         0.00       5,041.52      0.89%    -5,041.52
             0.00      0.00%         0.00     0.00%         0.00          12.95       0.01%          -12.95   Training                                               3,044.02     0.28%      3,690.00     0.42%      -645.98         762.95      0.13%     2,281.07
         2,695.85      0.95%         0.00     0.00%     2,695.85         349.74       0.22%        2,346.11   Travel                                                 3,629.51     0.33%          0.00     0.00%     3,629.51       3,620.19      0.64%         9.32
        6,914.04      2.43%     9,153.77     4.62%    -2,239.73      12,237.73       7.56%       -5,323.69    Total A&G Other Expenses                             69,556.77     6.37%     48,311.70     5.48%    21,245.07      56,189.67      9.90%    13,367.10
       19,330.44      6.80%    21,769.66    10.99%    -2,439.22      23,579.96      14.57%       -4,249.52    Total A&G Expenses                                  133,664.52    12.25%    116,630.01    13.22%    17,034.51      95,052.31     16.75%    38,612.21




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                          IT
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Management                                        0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Non-Management                                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Salaries and Wages                                0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                        0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                       0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT PR Taxes and Benefits                             0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Payroll                                           0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                          Cost of Services
         2,593.19      0.91%     3,200.00    1.61%    -606.81           0.00       0.00%       2,593.19   Cost of Internet Services                              16,788.01    1.54%    16,000.00      1.81%      788.01           0.00     0.00%    16,788.01
           188.96      0.07%         0.00    0.00%     188.96           0.00       0.00%         188.96   Cost of Calls                                           1,105.99    0.10%         0.00      0.00%    1,105.99           0.00     0.00%     1,105.99
        2,782.15      0.98%     3,200.00    1.61%    -417.85            0.00      0.00%       2,782.15    Total IT Cost of Services                             17,894.00    1.64%    16,000.00      1.81%    1,894.00            0.00    0.00%    17,894.00

                                                                                                          System Costs
         1,995.38      0.70%     2,040.70    1.03%    -45.32            0.00       0.00%       1,995.38   Administrative & General                                3,731.52    0.34%     4,123.50      0.47%     -391.98           0.00     0.00%     3,731.52
             0.00      0.00%        50.00    0.03%    -50.00            0.00       0.00%           0.00   Human Resources                                             0.00    0.00%       250.00      0.03%     -250.00           0.00     0.00%         0.00
           373.33      0.13%       180.00    0.09%    193.33            0.00       0.00%         373.33   Information Systems                                     2,169.65    0.20%       900.00      0.10%    1,269.65           0.00     0.00%     2,169.65
           131.00      0.05%       131.00    0.07%       0.00           0.00       0.00%         131.00   Property Ops & Maintenance                                655.00    0.06%       655.00      0.07%        0.00           0.00     0.00%       655.00
         1,333.92      0.47%     1,334.00    0.67%      -0.08           0.00       0.00%       1,333.92   Rooms                                                   8,003.52    0.73%     6,670.00      0.76%    1,333.52           0.00     0.00%     8,003.52
        3,833.63      1.35%     3,735.70    1.89%      97.93            0.00      0.00%       3,833.63    Total IT Systems                                      14,559.69    1.33%    12,598.50      1.43%    1,961.19            0.00    0.00%    14,559.69

                                                                                                          Other Expenses
           735.00      0.26%        0.00     0.00%    735.00            0.00       0.00%         735.00   Other Equipment                                           735.00    0.07%        0.00       0.00%     735.00            0.00     0.00%       735.00
          735.00      0.26%         0.00    0.00%    735.00             0.00      0.00%         735.00    Total IT Other Expenses                                  735.00    0.07%         0.00      0.00%     735.00             0.00    0.00%       735.00

        7,350.78      2.59%     6,935.70    3.50%    415.08             0.00      0.00%       7,350.78    Total IT Expenses                                     33,188.69    3.04%    28,598.50      3.24%    4,590.19            0.00    0.00%    33,188.69




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              PTD     %        PTD Budget   %         Variance    PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00      0.00%         0.00    0.00%        0.00        3,653.85       2.26%      -3,653.85    Division Management                                      467.11    0.04%         0.00      0.00%       467.11      20,576.96     3.63%   -20,109.85
         4,120.88      1.45%     4,209.32    2.12%      -88.44            0.00       0.00%       4,120.88    Sales Managers                                        16,098.92    1.48%    20,479.95      2.32%    -4,381.03           0.00     0.00%    16,098.92
        4,120.88      1.45%     4,209.32    2.12%      -88.44        3,653.85       2.26%         467.03     Total S&M Management                                 16,566.03    1.52%    20,479.95      2.32%    -3,913.92      20,576.96     3.63%    -4,010.93
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%            0.00    Total S&M Non-Management                                   0.00   0.00%          0.00     0.00%          0.00           0.00    0.00%          0.00

        4,120.88      1.45%     4,209.32    2.12%      -88.44        3,653.85       2.26%         467.03     Total S&M Salaries and Wages                         16,566.03    1.52%    20,479.95      2.32%    -3,913.92      20,576.96     3.63%    -4,010.93

                                                                                                             PR Taxes and Benefits
           340.74      0.12%       418.14    0.21%       -77.40         213.38       0.13%         127.36    FICA                                                   1,459.59    0.13%     1,782.62      0.20%      -323.03       1,417.44     0.25%        42.15
             9.76      0.00%         4.92    0.00%         4.84          15.45       0.01%           -5.69   Federal Unemployment Tax                                  49.92    0.00%        62.78      0.01%       -12.86          86.64     0.02%       -36.72
            58.38      0.02%        29.52    0.01%        28.86          88.22       0.05%         -29.84    State Unemployment Tax                                   315.70    0.03%       522.75      0.06%      -207.05         453.64     0.08%      -137.94
          408.88      0.14%       452.58    0.23%       -43.70         317.05       0.20%           91.83    Total Payroll Taxes                                   1,825.21    0.17%     2,368.15      0.27%      -542.94       1,957.72     0.34%      -132.51
             0.00      0.00%       164.66    0.08%     -164.66            0.00       0.00%            0.00   Vacation                                                   0.00    0.00%       698.16      0.08%      -698.16           0.00     0.00%         0.00
             0.00     0.00%       164.66    0.08%     -164.66             0.00      0.00%             0.00   Total Supplemental Pay                                     0.00   0.00%       698.16      0.08%      -698.16            0.00    0.00%          0.00
           173.42      0.06%       232.39    0.12%       -58.97         362.79       0.22%        -189.37    Worker's Compensation                                    841.66    0.08%     1,023.90      0.12%      -182.24       1,044.59     0.18%      -202.93
            -4.19      0.00%         0.00    0.00%        -4.19        -271.35      -0.17%         267.16    Group Insurance                                          288.17    0.03%         0.00      0.00%       288.17       2,398.57     0.42%    -2,110.40
         1,666.67      0.59%     1,091.86    0.55%      574.81            0.00       0.00%       1,666.67    Bonus and Incentive Pay                                1,691.67    0.16%     2,124.09      0.24%      -432.42           0.00     0.00%     1,691.67
        1,835.90      0.65%     1,324.25    0.67%      511.65            91.44      0.06%       1,744.46     Total Other Benefits                                  2,821.50    0.26%     3,147.99      0.36%      -326.49       3,443.16     0.61%      -621.66
        2,244.78      0.79%     1,941.49    0.98%      303.29          408.49       0.25%       1,836.29     Total S&M PR Taxes and Benefits                       4,646.71    0.43%     6,214.30      0.70%    -1,567.59       5,400.88     0.95%      -754.17

        6,365.66      2.24%     6,150.81    3.10%     214.85         4,062.34       2.51%       2,303.32     Total S&M Payroll                                    21,212.74    1.94%    26,694.25      3.03%    -5,481.51      25,977.84     4.58%    -4,765.10

                                                                                                             Other Expenses
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Advertising General                                      900.00    0.08%         0.00      0.00%      900.00            0.00     0.00%       900.00
         1,341.45      0.47%     1,315.00    0.66%       26.45          440.00       0.27%         901.45    Advertising-Web/Internet                               2,606.45    0.24%     5,480.00      0.62%   -2,873.55          440.00     0.08%     2,166.45
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Brochures                                                  0.00    0.00%       250.00      0.03%     -250.00            0.00     0.00%         0.00
         3,978.50      1.40%     1,695.50    0.86%    2,283.00        1,225.93       0.76%       2,752.57    Dues and Subscriptions                                10,864.90    1.00%     8,477.50      0.96%    2,387.40        8,964.06     1.58%     1,900.84
             0.00      0.00%         0.00    0.00%        0.00          662.70       0.41%        -662.70    GDS Marketing Advert & Sales                               0.00    0.00%         0.00      0.00%        0.00          662.70     0.12%      -662.70
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Meals and Entertainment                                    0.00    0.00%       200.00      0.02%     -200.00            0.00     0.00%         0.00
           386.82      0.14%         0.00    0.00%      386.82            0.00       0.00%         386.82    Operating Supplies                                     1,660.85    0.15%         0.00      0.00%    1,660.85            0.00     0.00%     1,660.85
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Printing and Stationery                                    8.59    0.00%         0.00      0.00%        8.59            0.00     0.00%         8.59
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Promotions - In-house                                      0.00    0.00%         0.00      0.00%        0.00           54.85     0.01%       -54.85
             0.00      0.00%        50.00    0.03%      -50.00            0.00       0.00%           0.00    Promotion - Outside                                        0.00    0.00%       250.00      0.03%     -250.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00          995.00       0.61%        -995.00    Training                                                   0.00    0.00%         0.00      0.00%        0.00          995.00     0.18%      -995.00
        5,706.77      2.01%     3,060.50    1.54%    2,646.27        3,323.63       2.05%       2,383.14     Total S&M Other Expenses                             16,040.79    1.47%    14,657.50      1.66%    1,383.29       11,116.61     1.96%     4,924.18

       12,072.43      4.25%     9,211.31    4.65%    2,861.12        7,385.97       4.57%       4,686.46     Total S&M Expenses                                   37,253.53    3.41%    41,351.75      4.69%    -4,098.22      37,094.45     6.54%       159.08




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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                              YTD     %       YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             R&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         4,285.72      1.51%     4,247.68    2.14%        38.04       5,365.39       3.32%       -1,079.67   Division Management                                   21,428.57    1.96%    20,796.79      2.36%       631.78       7,096.16     1.25%    14,332.41
        4,285.72      1.51%     4,247.68    2.14%         38.04      5,365.39       3.32%       -1,079.67    Total R&M Management                                 21,428.57    1.96%    20,796.79      2.36%       631.78       7,096.16     1.25%    14,332.41
         2,484.70      0.87%     4,251.43    2.15%    -1,766.73         154.70       0.10%        2,330.00   Engineers 1                                           23,012.01    2.11%    20,708.58      2.35%     2,303.43      12,394.44     2.18%    10,617.57
        2,484.70      0.87%     4,251.43    2.15%    -1,766.73         154.70       0.10%        2,330.00    Total R&M Non-Management                             23,012.01    2.11%    20,708.58      2.35%     2,303.43      12,394.44     2.18%    10,617.57

        6,770.42      2.38%     8,499.11    4.29%    -1,728.69       5,520.09       3.41%       1,250.33     Total R&M Salaries and Wages                         44,440.58    4.07%    41,505.37      4.71%     2,935.21      19,490.60     3.43%    24,949.98

                                                                                                             PR Taxes and Benefits
           560.39      0.20%       650.18    0.33%       -89.79         276.75       0.17%         283.64    FICA                                                   3,873.50    0.35%     3,175.15      0.36%       698.35       1,316.54     0.23%     2,556.96
            16.37      0.01%         7.65    0.00%         8.72          19.84       0.01%          -3.47    Federal Unemployment Tax                                 162.46    0.01%       114.18      0.01%        48.28          80.17     0.01%        82.29
            95.47      0.03%        45.90    0.02%        49.57         113.28       0.07%         -17.81    State Unemployment Tax                                   952.58    0.09%       963.79      0.11%       -11.21         423.37     0.07%       529.21
          672.23      0.24%       703.73    0.36%       -31.50         409.87       0.25%         262.36     Total Payroll Taxes                                   4,988.54    0.46%     4,253.12      0.48%       735.42       1,820.08     0.32%     3,168.46
             0.00     0.00%          0.00   0.00%          0.00           0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%          0.00     0.00%          0.00           0.00    0.00%          0.00
           332.95      0.12%       361.36    0.18%       -28.41         460.36       0.28%        -127.41    Worker's Compensation                                  2,447.36    0.22%     1,819.13      0.21%       628.23         944.64     0.17%     1,502.72
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Bonus and Incentive Pay                                1,725.00    0.16%         0.00      0.00%     1,725.00           0.00     0.00%     1,725.00
          332.95      0.12%       361.36    0.18%       -28.41         460.36       0.28%        -127.41     Total Other Benefits                                  4,172.36    0.38%     1,819.13      0.21%     2,353.23         944.64     0.17%     3,227.72
        1,005.18      0.35%     1,065.09    0.54%       -59.91         870.23       0.54%         134.95     Total R&M PR Taxes and Benefits                       9,160.90    0.84%     6,072.25      0.69%     3,088.65       2,764.72     0.49%     6,396.18

        7,775.60      2.73%     9,564.20    4.83%    -1,788.60       6,390.32       3.95%       1,385.28     Total R&M Payroll                                    53,601.48    4.91%    47,577.62      5.39%     6,023.86      22,255.32     3.92%    31,346.16

                                                                                                             Other Expenses
           595.67      0.21%       300.00    0.15%      295.67            0.00       0.00%         595.67    Air Conditioning and Refrigeration                       595.67    0.05%     1,500.00      0.17%      -904.33         260.87     0.05%       334.80
             0.00      0.00%       500.00    0.25%     -500.00            0.00       0.00%           0.00    Building                                              30,198.26    2.77%     2,500.00      0.28%    27,698.26       4,992.84     0.88%    25,205.42
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Contract Labor                                             0.00    0.00%     3,000.00      0.34%    -3,000.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Dues and Subscriptions                                     0.00    0.00%         0.00      0.00%         0.00       3,000.00     0.53%    -3,000.00
         1,826.68      0.64%       100.00    0.05%    1,726.68            0.00       0.00%       1,826.68    Electric Bulbs                                         3,461.64    0.32%       500.00      0.06%     2,961.64          40.30     0.01%     3,421.34
            23.41      0.01%       250.00    0.13%     -226.59            0.00       0.00%          23.41    Electrical and Mechanical                              1,978.57    0.18%     1,250.00      0.14%       728.57           0.00     0.00%     1,978.57
           140.66      0.05%       567.33    0.29%     -426.67            0.00       0.00%         140.66    Elevator Maintenance Contracts                         1,999.34    0.18%     2,836.65      0.32%      -837.31       9,259.00     1.63%    -7,259.66
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Equipment Maintenance                                      0.00    0.00%         0.00      0.00%         0.00       1,009.75     0.18%    -1,009.75
         3,012.75      1.06%       300.00    0.15%    2,712.75            0.00       0.00%       3,012.75    Fire Safety Equipment                                  5,751.62    0.53%     4,900.00      0.56%       851.62       4,807.40     0.85%       944.22
             0.00      0.00%        75.00    0.04%      -75.00            0.00       0.00%           0.00    Floor and Carpet Maintenance                               0.00    0.00%       375.00      0.04%      -375.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Furniture                                              1,266.01    0.12%         0.00      0.00%     1,266.01           0.00     0.00%     1,266.01
           944.07      0.33%       600.00    0.30%      344.07            0.00       0.00%         944.07    Grounds and Landscaping                                1,528.10    0.14%     3,000.00      0.34%    -1,471.90       1,517.94     0.27%        10.16
             0.00      0.00%       100.00    0.05%     -100.00            0.00       0.00%           0.00    Laundry Equipment Repairs                              2,157.91    0.20%       500.00      0.06%     1,657.91         951.57     0.17%     1,206.34
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Licenses/Permits                                          75.00    0.01%         0.00      0.00%        75.00           0.00     0.00%        75.00
             0.00      0.00%         0.00    0.00%        0.00          142.92       0.09%        -142.92    Locks and Keys                                             0.00    0.00%         0.00      0.00%         0.00         189.42     0.03%      -189.42
            77.40      0.03%         0.00    0.00%       77.40            0.00       0.00%          77.40    Operating Supplies                                     1,034.48    0.09%         0.00      0.00%     1,034.48           0.00     0.00%     1,034.48
             0.00      0.00%       150.00    0.08%     -150.00            0.00       0.00%           0.00    Painting and Decorating                                    0.00    0.00%       750.00      0.09%      -750.00          98.08     0.02%       -98.08
           270.52      0.10%       250.00    0.13%       20.52          250.00       0.15%          20.52    Pest Control                                           1,270.52    0.12%     1,250.00      0.14%        20.52       1,707.74     0.30%      -437.22
         2,690.93      0.95%       150.00    0.08%    2,540.93           21.53       0.01%       2,669.40    Plumbing and Heating                                   9,838.21    0.90%       750.00      0.09%     9,088.21         371.53     0.07%     9,466.68
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Pool Chemicals                                             0.00    0.00%         0.00      0.00%         0.00         105.84     0.02%      -105.84
         1,219.05      0.43%       300.00    0.15%      919.05        1,368.00       0.85%        -148.95    Pool Service- Contract                                 1,219.05    0.11%       600.00      0.07%       619.05       1,368.00     0.24%      -148.95
          -142.06     -0.05%         0.00    0.00%     -142.06          218.20       0.13%        -360.26    Tools                                                    200.28    0.02%         0.00      0.00%       200.28         218.20     0.04%       -17.92
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Travel                                                     0.00    0.00%       500.00      0.06%      -500.00           0.00     0.00%         0.00
           216.08      0.08%         0.00    0.00%      216.08            0.00       0.00%         216.08    Uniforms                                                 216.08    0.02%         0.00      0.00%       216.08           0.00     0.00%       216.08
             0.00      0.00%       200.00    0.10%     -200.00            0.00       0.00%           0.00    Vehicle Maintenance & Repairs                           -745.00   -0.07%     1,000.00      0.11%    -1,745.00           0.00     0.00%      -745.00
           372.35      0.13%       375.00    0.19%       -2.65          372.35       0.23%           0.00    Waste Removal                                          1,861.75    0.17%     1,875.00      0.21%       -13.25       1,845.75     0.33%        16.00
       11,247.51      3.96%     4,217.33    2.13%    7,030.18        2,373.00       1.47%       8,874.51     Total R&M Other Expenses                             63,907.49    5.86%    27,086.65      3.07%    36,820.84      31,744.23     5.59%    32,163.26

       19,023.11      6.69%    13,781.53    6.95%    5,241.58        8,763.32       5.42%      10,259.79     Total R&M Expenses                                  117,508.97    10.77%   74,664.27      8.46%    42,844.70      53,999.55     9.52%    63,509.42




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year    %         Variance

                                                                                                          Utilities
         5,641.35      1.98%     5,692.70    2.87%    -51.35        6,107.02       3.77%        -465.67   Water                                                  22,474.17    2.06%    25,573.87      2.90%    -3,099.70      12,960.99      2.28%    9,513.18
         7,472.89      2.63%     7,557.55    3.81%    -84.66        6,312.07       3.90%       1,160.82   Electricity                                            33,531.21    3.07%    33,951.52      3.85%      -420.31      31,055.78      5.47%    2,475.43
         1,850.72      0.65%     1,079.65    0.54%    771.07          746.80       0.46%       1,103.92   Gas - Natural HLP                                       4,332.38    0.40%     4,850.22      0.55%      -517.84       5,032.52      0.89%     -700.14
             0.00      0.00%         0.00    0.00%      0.00        1,618.74       1.00%      -1,618.74   Sewer                                                       0.00    0.00%         0.00      0.00%         0.00       9,008.96      1.59%   -9,008.96
       14,964.96      5.26%    14,329.90    7.23%    635.06       14,784.63       9.14%         180.33    Total Utilities                                       60,337.76    5.53%    64,375.61      7.30%    -4,037.85      58,058.25     10.23%    2,279.51




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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %             Variance                                                              YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                              Fixed
           510.00      0.18%       637.00     0.32%      -127.00       3,000.00       1.85%       -2,490.00   Personal Property Taxes                                2,550.00     0.23%      3,185.00     0.36%       -635.00       3,000.00      0.53%       -450.00
        11,000.00      3.87%    15,092.00     7.62%    -4,092.00      62,491.51      38.62%      -51,491.51   Real Estate Taxes                                     55,000.00     5.04%     75,460.00     8.56%    -20,460.00      75,000.00     13.22%    -20,000.00
       11,510.00      4.05%    15,729.00     7.94%    -4,219.00      65,491.51      40.48%      -53,981.51    Total Taxes                                          57,550.00     5.27%     78,645.00     8.92%    -21,095.00      78,000.00     13.74%    -20,450.00
           350.08      0.12%       405.00     0.20%       -54.92           0.00       0.00%          350.08   Insurance                                              1,750.40     0.16%      2,025.00     0.23%       -274.60       4,829.81      0.85%     -3,079.41
           362.98      0.13%       170.00     0.09%       192.98           0.00       0.00%          362.98   Insurance - Automobile                                 1,400.07     0.13%        850.00     0.10%        550.07           0.00      0.00%      1,400.07
            31.67      0.01%         0.00     0.00%        31.67           0.00       0.00%           31.67   Insurance - Crime                                        158.35     0.01%          0.00     0.00%        158.35           0.00      0.00%        158.35
           361.92      0.13%        70.00     0.04%       291.92          67.14       0.04%          294.78   Insurance - Employment                                 1,809.60     0.17%        350.00     0.04%      1,459.60          67.14      0.01%      1,742.46
            42.68      0.02%     1,025.00     0.52%      -982.32       1,293.57       0.80%       -1,250.89   Insurance - General Liability                          3,083.20     0.28%      5,125.00     0.58%     -2,041.80       1,293.57      0.23%      1,789.63
         4,173.68      1.47%     2,383.75     1.20%     1,789.93       1,400.00       0.87%        2,773.68   Insurance - Property                                  15,527.70     1.42%     11,918.75     1.35%      3,608.95       1,400.00      0.25%     14,127.70
            69.25      0.02%     2,380.50     1.20%    -2,311.25       2,300.00       1.42%       -2,230.75   Insurance - Umbrella                                     346.25     0.03%     11,902.50     1.35%    -11,556.25       2,300.00      0.41%     -1,953.75
        5,392.26      1.90%     6,434.25     3.25%    -1,041.99       5,060.71       3.13%          331.55    Total Insurance                                      24,075.57     2.21%     32,171.25     3.65%     -8,095.68       9,890.52      1.74%     14,185.05
        33,881.00     11.92%    33,881.00    17.10%         0.00     121,227.10      74.93%      -87,346.10   Ground Lease Expense                                 165,777.00    15.19%    165,777.84    18.79%         -0.84     161,342.00     28.43%      4,435.00
             0.00      0.00%       933.00     0.47%      -933.00           0.00       0.00%            0.00   Vehicle Leases                                             0.00     0.00%      4,665.00     0.53%     -4,665.00           0.00      0.00%          0.00
       33,881.00     11.92%    34,814.00    17.57%      -933.00     121,227.10      74.93%      -87,346.10    Total Leases & Rent                                 165,777.00    15.19%    170,442.84    19.32%     -4,665.84     161,342.00     28.43%      4,435.00
         9,029.16      3.18%     5,945.18     3.00%     3,083.98       4,991.02       3.08%        4,038.14   Management Fee - Base                                 35,233.18     3.23%     26,461.19     3.00%      8,771.99      24,884.49      4.38%     10,348.69
        9,029.16      3.18%     5,945.18     3.00%     3,083.98       4,991.02       3.08%        4,038.14    Total Management Fees                                35,233.18     3.23%     26,461.19     3.00%      8,771.99      24,884.49      4.38%     10,348.69
         6,162.50      2.17%     5,000.00     2.52%     1,162.50           0.00       0.00%        6,162.50   Capital Reserve                                       15,695.50     1.44%      5,000.00     0.57%     10,695.50           0.00      0.00%     15,695.50
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Owner's Expense                                            0.00     0.00%          0.00     0.00%          0.00         949.17      0.17%       -949.17
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Prior Owner's Expense                                      0.00     0.00%          0.00     0.00%          0.00          25.53      0.00%        -25.53
        6,162.50      2.17%     5,000.00     2.52%     1,162.50            0.00      0.00%        6,162.50    Total Other Non-Operating                            15,695.50     1.44%      5,000.00     0.57%     10,695.50         974.70      0.17%     14,720.80




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                                                                                               Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget      %         Variance   PTD Last Year     %             Variance                                                                YTD     %         YTD Budget %                Variance   YTD Last Year     %           Variance

                                                                                                               Statistics
           126.00                   126.00                  0.00          126.00                        0.00   # Rooms                                                   126.00                   126.00                      0.00         126.00                      0.00
         3,906.00                 3,906.00                  0.00        3,906.00                        0.00   Available Rooms                                        19,026.00                19,026.00                      0.00      19,026.00                      0.00
         2,676.00                 2,299.00                377.00        1,655.00                    1,021.00   Room Nights Sold                                       11,111.00                 9,719.00                  1,392.00       6,368.00                  4,743.00
          68.51%                   58.86%                 9.65%          42.37%                      26.14%    Occupancy %                                              58.40%                   51.08%                     7.32%         33.47%                    24.93%
           121.03                   101.52                 19.51           93.95                       27.08   ADR                                                       108.57                    89.96                     18.61          80.45                     28.12
            82.92                    59.75                 23.16           39.81                       43.11   RevPar                                                     63.40                    45.96                     17.45          26.93                     36.48

                                                                                                               Summary V.11
                                                                                                               Revenue
       323,874.56     98.87%   233,401.57     98.70%   90,472.99      155,487.26     98.27%       168,387.30   Rooms                                                1,206,337.74    98.30%    874,341.38     98.49%    331,996.36      512,333.72     98.02%     694,004.02
             0.00      0.00%         0.00      0.00%        0.00            0.00      0.00%             0.00   F&B                                                        -38.72     0.00%          0.00      0.00%        -38.72            0.00      0.00%         -38.72
         3,708.16      1.13%     3,075.00      1.30%      633.16        2,737.27      1.73%           970.89   Other Departments                                       20,869.73     1.70%     13,375.00      1.51%      7,494.73       10,326.02      1.98%      10,543.71

      327,582.72    100.00%    236,476.57    100.00%   91,106.15     158,224.53     100.00%      169,358.19    Total Operating Revenue                             1,227,168.75    100.00%   887,716.38 100.00%       339,452.37      522,659.74 100.00%        704,509.01

                                                                                                               Departmental Expenses
        91,579.83     28.28%    76,933.33     32.96%   14,646.50       31,126.09      20.02%       60,453.74   Rooms                                                 397,846.13     32.98%    318,684.95     36.45%     79,161.18      176,948.93     34.54%     220,897.20
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   F&B                                                         0.00      0.00%          0.00      0.00%          0.00            0.00      0.00%           0.00
           471.35     12.71%       855.00     27.80%     -383.65        5,318.93     194.32%       -4,847.58   Other Departments                                       6,459.63     30.95%      3,275.00     24.49%      3,184.63       25,660.58    248.50%     -19,200.95

       92,051.18     28.10%     77,788.33    32.89%    14,262.85      36,445.02      23.03%       55,606.16    Total Departmental Expenses                          404,305.76     32.95%    321,959.95    36.27%       82,345.81     202,609.51     38.77%     201,696.25

      235,531.54     71.90%    158,688.24    67.11%    76,843.30     121,779.51      76.97%      113,752.03    Total Departmental Profit                            822,862.99     67.05%    565,756.43    63.73%     257,106.56      320,050.23     61.23%     502,812.76

                                                                                                               Undistributed Operating Expenses
        18,065.87      5.51%    20,239.04      8.56%    -2,173.17      14,430.96      9.12%         3,634.91   A&G                                                   121,090.15      9.87%    109,479.82     12.33%      11,610.33      82,133.92     15.71%      38,956.23
         6,225.56      1.90%    10,003.70      4.23%    -3,778.14           0.00      0.00%         6,225.56   IT                                                     22,111.35      1.80%     43,938.50      4.95%     -21,827.15           0.00      0.00%      22,111.35
         8,993.34      2.75%     6,708.67      2.84%     2,284.67       5,684.99      3.59%         3,308.35   S&M                                                    37,541.00      3.06%     32,808.35      3.70%       4,732.65      33,629.03      6.43%       3,911.97
        35,983.53     10.98%    28,288.27     11.96%     7,695.26      20,769.31     13.13%        15,214.22   Franchise Fees                                        151,401.92     12.34%    105,970.19     11.94%      45,431.73      74,889.13     14.33%      76,512.79
        16,363.61      5.00%    15,563.77      6.58%       799.84      15,289.67      9.66%         1,073.94   R&M                                                    73,550.48      5.99%     80,830.00      9.11%      -7,279.52      60,234.14     11.52%      13,316.34
        10,015.37      3.06%    12,567.68      5.31%    -2,552.31       7,083.62      4.48%         2,931.75   Utilities                                              49,454.70      4.03%     52,928.44      5.96%      -3,473.74      33,862.47      6.48%      15,592.23

       95,647.28     29.20%     93,371.13    39.48%     2,276.15      63,258.55      39.98%       32,388.73    Total Undistributed Expenses                         455,149.60     37.09%    425,955.30    47.98%       29,194.30     284,748.69     54.48%     170,400.91

      139,884.26     42.70%     65,317.11    27.62%    74,567.15      58,520.96      36.99%       81,363.30    Gross Operating Profit                               367,713.39     29.96%    139,801.13    15.75%     227,912.26       35,301.54      6.75%     332,411.85
        10,327.48      3.15%      7,094.30     3.00%     3,233.18       5,246.74       3.32%        5,080.74   Management Fees                                        39,313.42      3.20%     27,330.03     3.08%      11,983.39       25,246.74      4.83%      14,066.68
      129,556.78     39.55%     58,222.81    24.62%    71,333.97      53,274.22      33.67%       76,282.56    Income Before Non-Operating Income and Expenses      328,399.97     26.76%    112,471.10    12.67%     215,928.87       10,054.80      1.92%     318,345.17

                                                                                                               Non-Operating Income and Expenses
        10,042.30      3.07%      7,126.33     3.01%     2,915.97         877.25       0.55%        9,165.05   Insurance                                              50,210.30      4.09%     35,631.65     4.01%       14,578.65       3,587.95      0.69%      46,622.35
        33,947.35     10.36%     35,047.25    14.82%    -1,099.90      33,258.20      21.02%          689.15   Leases & Rent                                         170,355.88     13.88%    171,609.09    19.33%       -1,253.21     165,247.44     31.62%       5,108.44
             0.00      0.00%          0.00     0.00%         0.00      34,918.08      22.07%      -34,918.08   Other                                                   7,719.64      0.63%    388,232.00    43.73%     -380,512.36      43,474.27      8.32%     -35,754.63
       43,989.65     13.43%     42,173.58    17.83%     1,816.07      69,053.53      43.64%      -25,063.88    Total Non-Operating Income and Expenses              228,285.82     18.60%    595,472.74    67.08%     -367,186.92     212,309.66     40.62%      15,976.16

       85,567.13     26.12%     16,049.23     6.79%    69,517.90     -15,779.31      -9.97%      101,346.44    EBITDA                                               100,114.15      8.16%    -483,001.64 -54.41%      583,115.79     -202,254.86     -38.70%    302,369.01
             0.00      0.00%          0.00     0.00%         0.00           0.00       0.00%            0.00   Interest                                                    0.00      0.00%           0.00   0.00%            0.00            0.00       0.00%          0.00
         9,595.00      2.93%      9,206.08     3.89%       388.92       9,206.08       5.82%          388.92   Taxes                                                  47,975.00      3.91%      46,030.40   5.19%        1,944.60       46,030.40       8.81%      1,944.60
        9,595.00      2.93%      9,206.08     3.89%       388.92       9,206.08       5.82%          388.92    Interest, Taxes, Depreciation and Amortization        47,975.00      3.91%      46,030.40   5.19%        1,944.60       46,030.40       8.81%      1,944.60

       75,972.13     23.19%      6,843.15     2.89%    69,128.98     -24,985.39     -15.79%      100,957.52    Net Income                                            52,139.15      4.25%    -529,032.04 -59.59%      581,171.19     -248,285.26     -47.50%    300,424.41




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                                                                                              Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %             Variance                                                                YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                              Statistics
           126.00                  126.00                  0.00          126.00                        0.00   # Rooms                                                   126.00                  126.00                    0.00         126.00                    0.00
         3,906.00                3,906.00                  0.00        3,906.00                        0.00   Available Rooms                                        19,026.00               19,026.00                    0.00      19,026.00                    0.00
         2,676.00                2,299.00                377.00        1,655.00                    1,021.00   Room Nights Sold                                       11,111.00                9,719.00                1,392.00       6,368.00                4,743.00
             0.69                    0.59                  0.10            0.42                        0.26   Occupancy %                                                 0.58                    0.51                    0.07           0.33                    0.25
           121.03                  101.52                 19.51           93.95                       27.08   ADR                                                       108.57                   89.96                   18.61          80.45                   28.12
            82.92                   59.75                 23.16           39.81                       43.11   RevPar                                                     63.40                   45.96                   17.45          26.93                   36.48

                                                                                                              Summary
                                                                                                              Revenue:
       323,874.56     98.87%   233,401.57   98.70%    90,472.99      155,487.26     98.27%       168,387.30   Rooms                                                1,206,337.74   98.30%    874,341.38     98.49%   331,996.36     512,333.72    98.02%    694,004.02
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Food                                                         0.00    0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Beverage                                                     0.00    0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Other F&B Revenue                                          -38.72    0.00%          0.00      0.00%       -38.72           0.00     0.00%        -38.72
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Telephone                                                    0.00    0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         3,708.16      1.13%     3,075.00    1.30%       633.16        2,737.27      1.73%           970.89   Other                                                   20,869.73    1.70%     13,375.00      1.51%     7,494.73      10,326.02     1.98%     10,543.71

       327,582.72   100.00%    236,476.57   100.00%   91,106.15      158,224.53     100.00%      169,358.19   Total Revenue                                        1,227,168.75   100.00%   887,716.38   100.00%    339,452.37     522,659.74    100.00%   704,509.01



                                                                                                              Cost of Sales:
             0.00      0.00%        0.00     0.00%         0.00            0.00       0.00%            0.00   Food                                                         0.00    0.00%          0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%        0.00     0.00%         0.00            0.00       0.00%            0.00   Beverage                                                     0.00    0.00%          0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%        0.00     0.00%         0.00            0.00       0.00%            0.00   Other F&B                                                    0.00    0.00%          0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%        0.00     0.00%         0.00        2,871.73     104.91%       -2,871.73   Telephone                                                    0.00    0.00%          0.00      0.00%         0.00      13,797.69    133.62%   -13,797.69
           471.35     12.71%      855.00    27.80%      -383.65          466.20      17.03%            5.15   Other                                                    6,459.63   30.95%      3,275.00     24.49%     3,184.63       1,957.89     18.96%     4,501.74

           471.35     12.71%      855.00    27.80%      -383.65        3,337.93     121.94%       -2,866.58   Total Cost of Sales                                      6,459.63   30.95%      3,275.00     24.49%     3,184.63      15,755.58    152.58%    -9,295.95



                                                                                                              Payroll:
        35,002.05     10.81%    42,195.60   18.08%     -7,193.55      21,537.11     13.85%        13,464.94   Rooms                                                 156,672.50    12.99%    175,588.07     20.08%   -18,915.57     103,291.18    20.16%     53,381.32
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%             0.00   F&B                                                         0.00     0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%             0.00   Other                                                       0.00     0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         5,357.13      1.64%     8,663.82    3.66%     -3,306.69       5,384.62      3.40%           -27.49   A&G                                                    42,527.30     3.47%     42,362.98      4.77%       164.32      25,192.33     4.82%     17,334.97
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%             0.00   IT                                                          0.00     0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00         964.29      0.61%          -964.29   S&M                                                         0.00     0.00%          0.00      0.00%         0.00      11,292.58     2.16%    -11,292.58
         7,972.17      2.43%     9,367.58    3.96%     -1,395.41       5,369.50      3.39%         2,602.67   R&M                                                    39,636.37     3.23%     45,750.53      5.15%    -6,114.16      22,767.21     4.36%     16,869.16
        48,331.35     14.75%    60,227.00   25.47%    -11,895.65      33,255.52     21.02%        15,075.83   Total Salaries and Wages                              238,836.17    19.46%    263,701.58     29.71%   -24,865.41     162,543.30    31.10%     76,292.87

         8,516.04      2.60%     8,414.19    3.56%        101.85      -1,937.27     -1.22%        10,453.31   Total Taxes and Benefits                               43,007.96     3.50%     49,437.52      5.57%    -6,429.56      39,483.38     7.55%      3,524.58
        56,847.39     17.35%    68,641.19   29.03%    -11,793.80      31,318.25     19.79%        25,529.14   Total Labor Costs                                     281,844.13    22.97%    313,139.10     35.27%   -31,294.97     202,026.68    38.65%     79,817.45



                                                                                                              Direct Expenses:
        50,759.78     15.67%    29,196.30   12.51%    21,563.48       12,148.10      7.81%        38,611.68   Rooms                                                 213,005.66    17.66%    117,955.10     13.49%    95,050.56      48,977.28     9.56%    164,028.38
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   F&B                                                         0.00     0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00        1,981.00     72.37%        -1,981.00   Telephone                                                   0.00     0.00%          0.00      0.00%         0.00       9,905.00    95.92%     -9,905.00
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%             0.00   Other                                                       0.00     0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
        35,983.53     10.98%    28,288.27   11.96%     7,695.26       20,769.31     13.13%        15,214.22   Franchise Fees                                        151,401.92    12.34%    105,970.19     11.94%    45,431.73      74,889.13    14.33%     76,512.79
        11,400.43      3.48%    10,290.05    4.35%     1,110.38        8,916.45      5.64%         2,483.98   A&G                                                    70,779.95     5.77%     49,711.77      5.60%    21,068.18      51,642.27     9.88%     19,137.68
         6,225.56      1.90%    10,003.70    4.23%    -3,778.14            0.00      0.00%         6,225.56   IT                                                     22,111.35     1.80%     43,938.50      4.95%   -21,827.15           0.00     0.00%     22,111.35
         8,971.92      2.74%     6,708.67    2.84%     2,263.25        5,028.04      3.18%         3,943.88   S&M                                                    37,519.58     3.06%     32,808.35      3.70%     4,711.23      20,259.20     3.88%     17,260.38
         7,023.13      2.14%     4,608.60    1.95%     2,414.53        9,120.87      5.76%        -2,097.74   R&M                                                    26,878.44     2.19%     28,188.80      3.18%    -1,310.36      30,040.59     5.75%     -3,162.15
        10,015.37      3.06%    12,567.68    5.31%    -2,552.31        7,083.62      4.48%         2,931.75   Utilities                                              49,454.70     4.03%     52,928.44      5.96%    -3,473.74      33,862.47     6.48%     15,592.23

       130,379.72     39.80%   101,663.27   42.99%    28,716.45       65,047.39     41.11%        65,332.33   Total Direct Expense                                  571,151.60    46.54%    431,501.15     48.61%   139,650.45     269,575.94    51.58%    301,575.66

       139,884.26     42.70%    65,317.11   27.62%    74,567.15       58,520.96     36.99%        81,363.30   Gross Operating Profit                                367,713.39    29.96%    139,801.13     15.75%   227,912.26      35,301.54     6.75%    332,411.85

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                                                                                               Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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                                                                                                                            As of 5/31/2022
              PTD     %           PTD Budget   %         Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance




                                                                                                               Fixed Costs
         9,595.00      2.93%        9,206.08    3.89%      388.92       9,206.08      5.82%           388.92   Taxes                                                  47,975.00    3.91%    46,030.40      5.19%     1,944.60       46,030.40     8.81%      1,944.60
        10,042.30      3.07%        7,126.33    3.01%    2,915.97         877.25      0.55%         9,165.05   Insurance                                              50,210.30    4.09%    35,631.65      4.01%    14,578.65        3,587.95     0.69%     46,622.35
        33,947.35     10.36%       35,047.25   14.82%   -1,099.90      33,258.20     21.02%           689.15   Leases & Rent                                         170,355.88   13.88%   171,609.09     19.33%    -1,253.21      165,247.44    31.62%      5,108.44
        10,327.48      3.15%        7,094.30    3.00%    3,233.18       5,246.74      3.32%         5,080.74   Management Fees                                        39,313.42    3.20%    27,330.03      3.08%    11,983.39       25,246.74     4.83%     14,066.68

        63,912.13     19.51%       58,473.96   24.73%    5,438.17      48,588.27     30.71%        15,323.86   Total Fixed Expenses                                  307,854.60   25.09%   280,601.17     31.61%    27,253.43      240,112.53    45.94%     67,742.07

        75,972.13     23.19%        6,843.15   2.89%    69,128.98       9,932.69      6.28%        66,039.44   Net Operating Profit                                   59,858.79   4.88%    -140,800.04   -15.86%   200,658.83     -204,810.99    -39.19%   264,669.78



             0.00         0.00%         0.00   0.00%         0.00           0.00      0.00%             0.00   Owner's Expense                                             0.00   0.00%           0.00    0.00%           0.00         949.17      0.18%      -949.17
             0.00         0.00%         0.00   0.00%         0.00           0.00      0.00%             0.00   Extraordinary Expense                                       0.00   0.00%           0.00    0.00%           0.00      -1,422.92     -0.27%     1,422.92



        75,972.13     23.19%        6,843.15   2.89%    69,128.98       9,932.69      6.28%        66,039.44   Net Operating Income                                   59,858.79   4.88%    -140,800.04   -15.86%   200,658.83     -204,337.24    -39.10%   264,196.03

             0.00         0.00%         0.00   0.00%         0.00      34,918.08     22.07%       -34,918.08   Capital Reserve                                         7,719.64   0.63%    388,232.00     43.73%   -380,512.36      43,948.02     8.41%    -36,228.38

        75,972.13     23.19%        6,843.15   2.89%    69,128.98     -24,985.39     -15.79%      100,957.52   Adjusted NOI                                           52,139.15   4.25%    -529,032.04   -59.59%   581,171.19     -248,285.26    -47.50%   300,424.41




        75,972.13     23.19%        6,843.15   2.89%    69,128.98     -24,985.39     -15.79%      100,957.52   Net Profit/(Loss)                                      52,139.15   4.25%    -529,032.04   -59.59%   581,171.19     -248,285.26    -47.50%   300,424.41




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                                                                                                   Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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                                                                                                                                As of 5/31/2022
              PTD     %           PTD Budget      %          Variance   PTD Last Year     %             Variance                                                               YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                   Rooms
                                                                                                                   Room Revenue
                                                                                                                   Transient Room Revenue
        30,360.50      9.37%        9,200.00      3.94%     21,160.50       9,633.21      6.20%        20,727.29   Corporate Transient                                   107,519.82     8.91%    43,052.20      4.92%     64,467.62      32,631.75     6.37%     74,888.07
             0.00      0.00%            0.00      0.00%          0.00           0.00      0.00%             0.00   Advanced Purchase                                         311.64     0.03%         0.00      0.00%        311.64           0.00     0.00%        311.64
        27,634.19      8.53%        2,938.17      1.26%     24,696.02           0.00      0.00%        27,634.19   Qualified Discounts                                    42,564.68     3.53%     8,572.23      0.98%     33,992.45           0.00     0.00%     42,564.68
             0.00      0.00%            0.00      0.00%          0.00           0.00      0.00%             0.00   FIT(Flexible Independent Travel)                           93.00     0.01%         0.00      0.00%         93.00           0.00     0.00%         93.00
        10,178.17      3.14%       11,700.00      5.01%     -1,521.83         616.00      0.40%         9,562.17   Consortia Transient                                    24,845.71     2.06%    37,188.00      4.25%    -12,342.29       3,214.14     0.63%     21,631.57
             0.00      0.00%            0.00      0.00%          0.00           0.00      0.00%             0.00   Employee                                                1,685.80     0.14%         0.00      0.00%      1,685.80           0.00     0.00%      1,685.80
             0.00      0.00%            0.00      0.00%          0.00      91,377.24     58.77%       -91,377.24   Leisure Transient                                           0.00     0.00%         0.00      0.00%          0.00     342,695.72    66.89%   -342,695.72
             0.00      0.00%            0.00      0.00%          0.00           0.00      0.00%             0.00   Travel Agent/Friends & Family                             154.70     0.01%         0.00      0.00%        154.70           0.00     0.00%        154.70
         4,946.62      1.53%            0.00      0.00%      4,946.62           0.00      0.00%         4,946.62   Leisure Package Transient                              17,635.53     1.46%         0.00      0.00%     17,635.53           0.00     0.00%     17,635.53
             0.00      0.00%            0.00      0.00%          0.00           0.00      0.00%             0.00   Member Reward Stay                                        636.92     0.05%         0.00      0.00%        636.92           0.00     0.00%        636.92
           193.50      0.06%            0.00      0.00%        193.50           0.00      0.00%           193.50   Non Qualified Discounts                                   747.42     0.06%         0.00      0.00%        747.42           0.00     0.00%        747.42
           439.50      0.14%       29,760.00     12.75%    -29,320.50           0.00      0.00%           439.50   Internet/E-Commerce                                    12,314.22     1.02%   239,751.00     27.42%   -227,436.78       1,473.64     0.29%     10,840.58
         1,449.99      0.45%       26,655.85     11.42%    -25,205.86           0.00      0.00%         1,449.99   E-Commerce Opaque                                       3,761.24     0.31%   105,141.06     12.03%   -101,379.82           0.00     0.00%      3,761.24
             0.00      0.00%            0.00      0.00%          0.00       2,329.43      1.50%        -2,329.43   Other Transient                                         5,342.71     0.44%         0.00      0.00%      5,342.71       8,006.34     1.56%     -2,663.63
         4,331.00      1.34%        4,600.00      1.97%       -269.00       1,120.92      0.72%         3,210.08   Government Transient                                   18,279.59     1.52%    15,212.00      1.74%      3,067.59       1,469.92     0.29%     16,809.67
       166,990.84     51.56%      110,670.00     47.42%     56,320.84      37,428.92     24.07%       129,561.92   Rack Transient                                        696,156.75    57.71%   289,522.00     33.11%    406,634.75      95,275.80    18.60%    600,880.95
        70,243.72     21.69%       16,217.55      6.95%     54,026.17         349.80      0.22%        69,893.92   Local Negotiated Transient                            218,900.08    18.15%    63,247.89      7.23%    155,652.19       6,866.02     1.34%    212,034.06

      316,768.03     97.81%       211,741.57    90.72%    105,026.46     142,855.52      91.88%      173,912.51    Total Transient Room Revenue                        1,150,949.81   95.41%    801,686.38    91.69%    349,263.43     491,633.33     95.96%   659,316.48

                                                                                                                   Group Room Revenue
             0.00         0.00%         0.00      0.00%          0.00           0.00      0.00%             0.00   Tour & Travel Group                                     2,997.00     0.25%         0.00     0.00%       2,997.00           0.00     0.00%     2,997.00
         1,888.86         0.58%    18,360.00      7.87%    -16,471.14      12,734.00      8.19%       -10,845.14   SMERF Group                                            45,776.14     3.79%    42,810.00     4.90%       2,966.14      16,723.00     3.26%    29,053.14
             0.00         0.00%     3,300.00      1.41%     -3,300.00           0.00      0.00%             0.00   Sports Group                                                0.00     0.00%    29,345.00     3.36%     -29,345.00           0.00     0.00%         0.00

        1,888.86      0.58%        21,660.00     9.28%    -19,771.14      12,734.00       8.19%      -10,845.14    Total Group Room Revenue                              48,773.14     4.04%     72,155.00     8.25%    -23,381.86      16,723.00     3.26%     32,050.14

                                                                                                                   Contract Room Revenue

             0.00     0.00%             0.00     0.00%          0.00            0.00      0.00%            0.00    Total Contract Room Revenue                                 0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                                   Other Room Revenue
         4,984.90         1.54%          0.00     0.00%     4,984.90          701.94      0.45%         4,282.96   No-Show Rooms                                          10,112.37     0.84%       250.00     0.03%       9,862.37       5,049.09     0.99%      5,063.28
           970.30         0.30%          0.00     0.00%       970.30            0.00      0.00%           970.30   Pet/Smoking/Damage Fees                                 1,748.23     0.14%         0.00     0.00%       1,748.23         650.00     0.13%      1,098.23

        5,955.20      1.84%             0.00     0.00%      5,955.20         701.94       0.45%        5,253.26    Total Other Room Revenue                              11,860.60     0.98%        250.00     0.03%     11,610.60       5,699.09     1.11%      6,161.51

          -737.53     -0.23%             0.00     0.00%      -737.53         -804.20      -0.52%           66.67   Less: Allowances                                       -5,245.81    -0.43%       250.00     0.03%      -5,495.81      -1,721.70    -0.34%     -3,524.11

      323,874.56    100.00%       233,401.57    100.00%    90,472.99     155,487.26     100.00%      168,387.30    Total Room Revenue                                  1,206,337.74   100.00%   874,341.38 100.00%      331,996.36     512,333.72 100.00%      694,004.02

                                                                                                                   Expenses
                                                                                                                   Payroll Expense
                                                                                                                   Salaries and Wages
         3,791.20      1.17%         3,906.85     1.67%       -115.65           0.00       0.00%        3,791.20   Division Management                                    17,049.43     1.41%     18,198.14     2.08%     -1,148.71           0.00     0.00%     17,049.43
             0.00      0.00%             0.00     0.00%          0.00       3,153.84       2.03%       -3,153.84   Front Office Management                                     0.00     0.00%          0.00     0.00%          0.00       7,570.90     1.48%     -7,570.90
         3,214.28      0.99%         3,595.96     1.54%       -381.68       3,307.69       2.13%          -93.41   Housekeeping Management                                16,304.28     1.35%     17,604.79     2.01%     -1,300.51      16,963.76     3.31%       -659.48
        7,005.48      2.16%         7,502.81     3.21%       -497.33       6,461.53       4.16%          543.95    Total Rooms Management                                33,353.71     2.76%     35,802.93     4.09%     -2,449.22      24,534.66     4.79%      8,819.05
         8,121.73      2.51%         4,251.43     1.82%      3,870.30       3,754.07       2.41%        4,367.66   Front Office Agents                                    27,819.21     2.31%     20,708.58     2.37%      7,110.63      26,037.01     5.08%      1,782.20
         7,295.17      2.25%         3,613.36     1.55%      3,681.81       2,719.27       1.75%        4,575.90   Night Auditors                                         25,692.52     2.13%     17,600.56     2.01%      8,091.96      12,098.69     2.36%     13,593.83
             0.00      0.00%         5,952.00     2.55%     -5,952.00           0.00       0.00%            0.00   Drivers                                                     0.00     0.00%      5,952.00     0.68%     -5,952.00           0.00     0.00%          0.00
         1,240.86      0.38%         3,224.00     1.38%     -1,983.14           0.00       0.00%        1,240.86   Breakfast Attendant                                     4,815.19     0.40%     15,704.00     1.80%    -10,888.81           0.00     0.00%      4,815.19
       16,657.76      5.14%        17,040.79     7.30%       -383.03       6,473.34       4.16%       10,184.42    Total Rooms Front Office                              58,326.92     4.84%     59,965.14     6.86%     -1,638.22      38,135.70     7.44%     20,191.22
         3,390.24      1.05%         2,480.00     1.06%        910.24         832.00       0.54%        2,558.24   Housekeeping Supervisors                               13,389.67     1.11%     12,080.00     1.38%      1,309.67       3,684.57     0.72%      9,705.10
         3,869.67      1.19%         9,344.00     4.00%     -5,474.33       4,864.45       3.13%         -994.78   Room Attendants                                        28,131.72     2.33%     39,352.00     4.50%    -11,220.28      23,826.01     4.65%      4,305.71
         1,984.69      0.61%         2,852.00     1.22%       -867.31       2,489.79       1.60%         -505.10   Housepersons                                           12,745.72     1.06%     13,892.00     1.59%     -1,146.28      11,267.95     2.20%      1,477.77
         2,094.21      0.65%         2,976.00     1.28%       -881.79         416.00       0.27%        1,678.21   Laundry Attendants                                     10,724.76     0.89%     14,496.00     1.66%     -3,771.24       1,842.29     0.36%      8,882.47
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                                                                                                 Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %           PTD Budget     %         Variance   PTD Last Year     %             Variance                                                               YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance

       11,338.81      3.50%        17,652.00    7.56%    -6,313.19       8,602.24       5.53%        2,736.57    Total Rooms Housekeeping                              64,991.87    5.39%     79,820.00     9.13%    -14,828.13      40,620.82     7.93%     24,371.05

       35,002.05     10.81%        42,195.60    18.08%   -7,193.55      21,537.11      13.85%       13,464.94    Total Rooms Salary and Wages                         156,672.50    12.99%   175,588.07    20.08%    -18,915.57     103,291.18     20.16%    53,381.32

                                                                                                                 PR Taxes and Benefits
         2,623.68      0.81%         3,250.56    1.39%     -626.88        1,664.50       1.07%          959.18   FICA                                                   11,903.58    0.99%     13,502.64     1.54%     -1,599.06       8,097.80     1.58%      3,805.78
            23.03      0.01%            38.24    0.02%      -15.21           33.18       0.02%          -10.15   Federal Unemployment Tax                                  482.82    0.04%        462.91     0.05%         19.91         423.05     0.08%         59.77
           342.49      0.11%            84.98    0.04%      257.51          217.58       0.14%          124.91   State Unemployment Tax                                  1,556.02    0.13%      1,448.80     0.17%        107.22       1,081.31     0.21%        474.71
        2,989.20      0.92%         3,373.78    1.45%     -384.58        1,915.26       1.23%        1,073.94    Total Payroll Taxes                                   13,942.42    1.16%     15,414.35     1.76%     -1,471.93       9,602.16     1.87%      4,340.26
             0.00      0.00%           150.00    0.06%     -150.00            0.00       0.00%            0.00   Holiday                                                   736.00    0.06%        300.00     0.03%        436.00         469.52     0.09%        266.48
             0.00      0.00%           141.03    0.06%     -141.03          360.90       0.23%         -360.90   Vacation                                                  600.00    0.05%        597.97     0.07%          2.03       3,814.27     0.74%     -3,214.27
             0.00      0.00%             0.00    0.00%        0.00            0.00       0.00%            0.00   Sick Pay                                                  380.00    0.03%          0.00     0.00%        380.00       1,819.24     0.36%     -1,439.24
             0.00     0.00%           291.03    0.12%     -291.03          360.90       0.23%         -360.90    Total Supplemental Pay                                 1,716.00    0.14%        897.97     0.10%        818.03       6,103.03     1.19%     -4,387.03
           925.97      0.29%         1,526.62    0.65%     -600.65       -3,971.74      -2.55%        4,897.71   Worker's Compensation                                   6,026.34    0.50%      7,079.46     0.81%     -1,053.12       6,604.46     1.29%       -578.12
         1,902.83      0.59%           350.00    0.15%    1,552.83         -863.54      -0.56%        2,766.37   Group Insurance                                         6,483.21    0.54%      1,750.00     0.20%      4,733.21       2,370.82     0.46%      4,112.39
        2,828.80      0.87%         1,876.62    0.80%      952.18       -4,835.28      -3.11%        7,664.08    Total Other Benefits                                  12,509.55    1.04%      8,829.46     1.01%      3,680.09       8,975.28     1.75%      3,534.27

        5,818.00      1.80%         5,541.43    2.37%      276.57       -2,559.12      -1.65%        8,377.12    Total Rooms PR Taxes and Benefits                     28,167.97    2.33%     25,141.78     2.88%      3,026.19      24,680.47     4.82%      3,487.50

       40,820.05     12.60%        47,737.03    20.45%   -6,916.98      18,977.99      12.21%       21,842.06    Total Rooms Labor Costs                              184,840.47    15.32%   200,729.85    22.96%    -15,889.38     127,971.65     24.98%    56,868.82

                                                                                                                 Other Expenses
        14,148.76         4.37%     7,475.20     3.20%    6,673.56        3,666.09      2.36%        10,482.67   Breakfast /Comp Cost                                   51,926.41    4.30%    31,481.60     3.60%      20,444.81      11,612.13     2.27%    40,314.28
         2,619.67         0.81%     1,752.00     0.75%      867.67          353.99      0.23%         2,265.68   Cleaning Supplies                                      10,753.28    0.89%     7,378.50     0.84%       3,374.78       3,653.17     0.71%     7,100.11
        16,373.91         5.06%         0.00     0.00%   16,373.91            0.00      0.00%        16,373.91   Contract Labor                                         60,918.01    5.05%         0.00     0.00%      60,918.01           0.00     0.00%    60,918.01
            85.75         0.03%       195.00     0.08%     -109.25          190.80      0.12%          -105.05   Dues and Subscriptions                                    560.66    0.05%       975.00     0.11%        -414.34         660.34     0.13%       -99.68
             0.00         0.00%         0.00     0.00%        0.00            0.00      0.00%             0.00   Guest Loss/Damage                                         224.71    0.02%         0.00     0.00%         224.71           0.00     0.00%       224.71
         3,942.19         1.22%     2,920.00     1.25%    1,022.19        2,412.62      1.55%         1,529.57   Guest Supplies                                         13,798.08    1.14%    12,297.50     1.41%       1,500.58       6,931.43     1.35%     6,866.65
         1,602.13         0.49%       500.00     0.21%    1,102.13          416.43      0.27%         1,185.70   Laundry                                                 4,084.55    0.34%     2,500.00     0.29%       1,584.55       1,956.11     0.38%     2,128.44
         1,211.62         0.37%     3,737.60     1.60%   -2,525.98        1,120.88      0.72%            90.74   Linen                                                  14,065.90    1.17%    15,740.80     1.80%      -1,674.90       6,804.46     1.33%     7,261.44
            19.15         0.01%       150.00     0.06%     -130.85            0.00      0.00%            19.15   Printing and Stationery                                    38.30    0.00%       450.00     0.05%        -411.70       1,113.68     0.22%    -1,075.38
           354.20         0.11%     7,002.05     3.00%   -6,647.85            0.00      0.00%           354.20   Reservation Expense                                    12,413.21    1.03%    26,230.24     3.00%     -13,817.03        -670.00    -0.13%    13,083.21
             0.00         0.00%       700.80     0.30%     -700.80            0.00      0.00%             0.00   Rooms Promotion                                           712.80    0.06%     2,951.40     0.34%      -2,238.60         223.55     0.04%       489.25
         1,590.75         0.49%     1,598.00     0.68%       -7.25        1,567.46      1.01%            23.29   Television Cable                                        7,936.48    0.66%     7,990.00     0.91%         -53.52       7,810.05     1.52%       126.43
             0.00         0.00%         0.00     0.00%        0.00            0.00      0.00%             0.00   Training                                                    0.00    0.00%         0.00     0.00%           0.00         119.60     0.02%      -119.60
             0.00         0.00%       100.00     0.04%     -100.00            0.00      0.00%             0.00   Transportation                                         13,510.00    1.12%       500.00     0.06%      13,010.00          29.20     0.01%    13,480.80
             0.00         0.00%       162.45     0.07%     -162.45            0.00      0.00%             0.00   Travel Agent Comm - Group Rooms                           220.50    0.02%       541.17     0.06%        -320.67         331.80     0.06%      -111.30
         8,811.65         2.72%     2,718.20     1.16%    6,093.45        2,270.02      1.46%         6,541.63   Travel Agent Comm - Transient Rooms                    21,842.77    1.81%     7,993.89     0.91%      13,848.88       8,251.95     1.61%    13,590.82
             0.00         0.00%        85.00     0.04%      -85.00            0.00      0.00%             0.00   Uniforms                                                    0.00    0.00%       425.00     0.05%        -425.00           0.00     0.00%         0.00
             0.00         0.00%       100.00     0.04%     -100.00          149.81      0.10%          -149.81   Walked Guests                                               0.00    0.00%       500.00     0.06%        -500.00         149.81     0.03%      -149.81

       50,759.78     15.67%        29,196.30    12.51%   21,563.48      12,148.10       7.81%       38,611.68    Total Rooms Other Expenses                           213,005.66    17.66%   117,955.10    13.49%     95,050.56      48,977.28     9.56%    164,028.38

       91,579.83     28.28%        76,933.33    32.96%   14,646.50      31,126.09      20.02%       60,453.74    Total Rooms Expenses                                 397,846.13    32.98%   318,684.95    36.45%     79,161.18     176,948.93     34.54%   220,897.20

      232,294.73     71.72%       156,468.24    67.04%   75,826.49     124,361.17      79.98%      107,933.56    Total Rooms Profit (Loss)                            808,491.61    67.02%   555,656.43    63.55%    252,835.18     335,384.79     65.46%   473,106.82




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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                               YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
           241.00             115.00        126.00          106.00                  135.00   Room Stat - Corporate Transient                         1,012.00           519.00        493.00         360.00           652.00
             0.00               0.00          0.00            0.00                    0.00   Room Stat - Advanced Purchase                               3.00             0.00          3.00           0.00             3.00
           253.00               0.00        253.00            0.00                  253.00   Room Stat - Qualified Discounts                           419.00             0.00        419.00           0.00           419.00
             0.00               0.00          0.00            0.00                    0.00   Room Stat - FIT(Flexible Independent Travel)                1.00             0.00          1.00           0.00             1.00
            85.00              90.00         -5.00            4.00                   81.00   Room Stat - Consortia Rate Transient                      211.00           372.00       -161.00          34.00           177.00
             0.00               0.00          0.00            0.00                    0.00   Room Stat - Employee                                       45.00             0.00         45.00           0.00            45.00
             0.00               0.00          0.00        1,088.00               -1,088.00   Room Stat - Leisure Transient                               0.00             0.00          0.00       4,623.00        -4,623.00
             0.00               0.00          0.00            0.00                    0.00   Room Stat - Travel Agent/Friends & Family                   2.00             0.00          2.00           0.00             2.00
             0.00               0.00          0.00            0.00                    0.00   Room Stat - Member Reward Stay                             11.00             0.00         11.00           0.00            11.00
             2.00               0.00          2.00            0.00                    2.00   Room Stat - Non-Qualified Discounts                         7.00             0.00          7.00           0.00             7.00
             1.00             372.00       -371.00            0.00                    1.00   Room Stat - Internet                                       66.00         2,893.00     -2,827.00           0.00            66.00
             0.00               0.00          0.00            0.00                    0.00   Room Stat - Other Transient                                68.00             0.00         68.00         107.00           -39.00
            16.00             337.00       -321.00            0.00                   16.00   Room Stat - E-Commerce Opaque                              90.00         1,444.00     -1,354.00           0.00            90.00
            34.00              40.00         -6.00           10.00                   24.00   Room Stat - Government Rate Transient                     150.00           162.00        -12.00          14.00           136.00
         1,318.00             930.00        388.00          319.00                  999.00   Room Stat - Rack Rate Transient                         6,186.00         2,749.00      3,437.00         924.00         5,262.00
           714.00             205.00        509.00            4.00                  710.00   Room Stat - Local Negotiated Transient                  2,407.00           865.00      1,542.00         137.00         2,270.00
        2,664.00           2,089.00        575.00        1,531.00                1,133.00    Total Transient Rooms Sold                            10,678.00         9,004.00      1,674.00       6,199.00         4,479.00

                                                                                             Group Rooms
           12.00              180.00        -168.00         124.00                 -112.00   Room Stat - SMERF Group                                   433.00           430.00          3.00         169.00          264.00
            0.00               30.00         -30.00           0.00                    0.00   Room Stat - Sports Group                                    0.00           285.00       -285.00           0.00            0.00
           12.00             210.00        -198.00         124.00                 -112.00    Total Group Rooms Sold                                   433.00           715.00       -282.00         169.00          264.00

                                                                                             Contract Rooms
             0.00              0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                                  0.00             0.00          0.00            0.00            0.00

        2,676.00           2,299.00        377.00        1,655.00                1,021.00    Total Rooms Sold                                      11,111.00         9,719.00      1,392.00       6,368.00         4,743.00
             1.00              0.00           1.00            8.00                   -7.00   Room Stat - Comp Rooms                                     83.00            0.00          83.00          12.00            71.00
        2,677.00           2,299.00        378.00        1,663.00                1,014.00    Total Rooms Occupied                                  11,194.00         9,719.00      1,475.00       6,380.00         4,814.00
           310.00              0.00         310.00          855.00                 -545.00   Room Stat - Out of Order                                2,689.00            0.00       2,689.00       1,483.00         1,206.00

                                                                                             ADR
           125.98              80.00         45.98           90.88                  35.10    Corporate Transient ADR                                   106.24           82.95         23.29           90.64           15.60
             0.00               0.00          0.00            0.00                   0.00    Advanced Purchase ADR                                     103.88            0.00        103.88            0.00          103.88
           109.23               0.00        109.23            0.00                 109.23    Qualified Discount ADR                                    101.59            0.00        101.59            0.00          101.59
             0.00               0.00          0.00            0.00                   0.00    FIT ADR                                                    93.00            0.00         93.00            0.00           93.00
           119.74             130.00        -10.26          154.00                 -34.26    Consortia ADR                                             117.75           99.97         17.78           94.53           23.22
             0.00               0.00          0.00            0.00                   0.00    Employee ADR                                               37.46            0.00         37.46            0.00           37.46
             0.00               0.00          0.00           83.99                 -83.99    Leisure ADR                                                 0.00            0.00          0.00           74.13          -74.13
             0.00               0.00          0.00            0.00                   0.00    Travel Agent/Friends & Family ADR                          77.35            0.00         77.35            0.00           77.35
             0.00               0.00          0.00            0.00                   0.00    Leisure Package ADR                                         0.00            0.00          0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Member Reward Stay ADR                                     57.90            0.00         57.90            0.00           57.90
             0.00               0.00          0.00            0.00                   0.00    Golf Pkg ADR                                                0.00            0.00          0.00            0.00            0.00
            96.75               0.00         96.75            0.00                  96.75    Non Qualified ADR                                         106.77            0.00        106.77            0.00          106.77
           439.50              80.00        359.50            0.00                 439.50    Internet ADR                                              186.58           82.87        103.71            0.00          186.58
            90.62              79.10         11.53            0.00                  90.62    E-Commerce Opaque ADR                                      41.79           72.81        -31.02            0.00           41.79
             0.00               0.00          0.00            0.00                   0.00    Other Transient ADR                                        78.57            0.00         78.57           74.83            3.74
             0.00               0.00          0.00            0.00                   0.00    Airline Distressed Passenger ADR                            0.00            0.00          0.00            0.00            0.00
           127.38             115.00         12.38          112.09                  15.29    Government ADR                                            121.86           93.90         27.96          104.99           16.87
           126.70             119.00          7.70          117.33                   9.37    Rack ADR                                                  112.54          105.32          7.22          103.11            9.43
            98.38              79.11         19.27           87.45                  10.93    Local Negotiated ADR                                       90.94           73.12         17.82           50.12           40.83
          118.91             101.36          17.55           93.31                  25.60    Total Transient ADR                                      107.79            89.04         18.75           79.31           28.48

             0.00               0.00          0.00            0.00                   0.00    Corporate Group ADR                                         0.00             0.00         0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Leisure Group ADR                                           0.00             0.00         0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Government Group ADR                                        0.00             0.00         0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Tour & Travel Group ADR                                     0.00             0.00         0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Association Group ADR                                       0.00             0.00         0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    City Wide Group ADR                                         0.00             0.00         0.00            0.00            0.00
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

           157.41             102.00         55.41          102.69                  54.71    SMERF Group ADR                                           105.72            99.56        6.16           98.95           6.77
             0.00             110.00       -110.00            0.00                   0.00    Sports Group ADR                                            0.00           102.96     -102.96            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Other Group ADR                                             0.00             0.00        0.00            0.00           0.00
          157.41             103.14          54.26         102.69                   54.71    Total Group ADR                                          112.64           100.92        11.72           98.95          13.69

             0.00              0.00           0.00            0.00                   0.00    Airline Crew ADR                                           0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Other Contract ADR                                         0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Contract ADR                                         0.00             0.00         0.00            0.00           0.00

          121.03             101.52          19.51           93.95                  27.08    Total ADR                                                108.57            89.96        18.61           80.45          28.12




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %             Variance                                                               YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                              F&B Summary
                                                                                                              Revenue
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Food Revenue                                         0.00      0.00%        0.00       0.00%       0.00           0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Food Revenue                           0.00      0.00%        0.00       0.00%       0.00           0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Beverage Revenue                                     0.00      0.00%        0.00       0.00%       0.00           0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Beverage Revenue                       0.00      0.00%        0.00       0.00%       0.00           0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Other Revenue                                        0.00      0.00%        0.00       0.00%       0.00           0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Other Revenue                        -38.72    100.00%        0.00       0.00%     -38.72           0.00     0.00%     -38.72
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Revenue                                        -38.72    100.00%         0.00      0.00%     -38.72            0.00    0.00%     -38.72

                                                                                                              Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Food Purchases                                             0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Beverage Purchases                                         0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Cedit Employee Meals                                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Credit House Charges                                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Credit In-House Promotions                                 0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Audio Visual Cost of Sales                                 0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Other Cost of Sales                                        0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Cost of Sales                                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    F&B Gross Profit                                         -38.72    100.00%         0.00      0.00%     -38.72            0.00    0.00%     -38.72

                                                                                                              Expenses
                                                                                                              Payroll
                                                                                                              Salaries and Wages
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Management                                                 0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Non-Management                                             0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Salaries and Wages                               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                              PR Taxes and Benefits
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Payroll Taxes                                              0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Supplemental Pay                                           0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Other Benefits                                             0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B PR Taxes and Benefits                            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Payroll                                          0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                              Other Expenses
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Audio Visual Supplies                                      0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Banquet Expense                                            0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Bar Expense/Promos                                         0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Bar Supplies                                               0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    China                                                      0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Cleaning Supplies                                          0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Communication Expense                                      0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Contract Cleaning                                          0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Contract Labor                                             0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Decorations & Plants                                       0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Dues and Subscriptions                                     0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Equipment Rental                                           0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Food and Beverage Advertising                              0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Glassware                                                  0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Loss/Damage                                          0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Supplies                                             0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    In-House Entertainment                                     0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen/Cooking Fuel                                       0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen Equipment                                          0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Laundry - Outside Expense                                  0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Laundry Allocation                                         0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Licenses/Permits                                           0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Linen                                                      0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Linen Rental                                               0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Maintenance Contracts                                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Meals and Entertainment                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Menus                                                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Miscellaneous Expense                                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Music and Entertainment                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Office Equipment                                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Office Supplies                                            0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Operating Supplies                                         0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Paper/Plastic Supplies                                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Printing and Stationery                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Silverware                                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Software Expense/Maintenance                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Television Cable                                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Training                                                   0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Travel                                                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Uniforms                                                   0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Utensils                                                   0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Other Expenses                                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Expenses                                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Profit (Loss)                                  -38.72   100.00%        0.00      0.00%     -38.72            0.00    0.00%     -38.72




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                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                             Room Service
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Room Service Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Room Service Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                             Banquets
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Banquets Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Banquets Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                             Catering
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Catering Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Catering Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 3
             0.00               0.00          0.00            0.00                   0.00    Breakfast Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Lunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Dinner Avg Check                                           0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Brunch Avg Check                                           0.00             0.00        0.00            0.00           0.00
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 4
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 5
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 1
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                            0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                            0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                   0.00    Total Covers                                               0.00            0.00         0.00            0.00           0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Cost of Sales                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Non-Management                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Salaries and Wages                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin PR Taxes and Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Payroll                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Other Expenses                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %            Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                            Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Less Adjustments                                           0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Revenue                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                            Cost of Sales

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Cost of Sales                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                            Expenses
                                                                                                            Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Other Expenses                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Room Service
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Other Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %             Variance                                                               YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                              Banquets
                                                                                                              Food Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Banquets Food Revenue                                      0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Food Revenue                                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                              Beverage Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Banquets Beverage Revenue                                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Beverage Revenue                            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                              Other Revenue
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Setup Fee                                                 -38.72   100.00%         0.00     0.00%     -38.72            0.00    0.00%     -38.72

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Other Revenue                             -38.72    100.00%        0.00      0.00%     -38.72            0.00    0.00%     -38.72

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Revenue                                   -38.72    100.00%        0.00      0.00%     -38.72            0.00    0.00%     -38.72

                                                                                                              Cost of Sales

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Cost of Sales                               0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                             -38.72    100.00%        0.00      0.00%     -38.72            0.00    0.00%     -38.72

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Management                                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Non-Management                              0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                      0.00                0.00            0.00                       0.00    Total Banquets Salaries and Wages                          0.00                   0.00                  0.00            0.00                0.00

                                                                                                              PR Taxes and Benefits
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                      0.00                0.00            0.00                       0.00    Total Banquet Benefits                                     0.00                   0.00                  0.00            0.00                0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Payroll                                     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                              Other Expenses
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Other Expenses                              0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Expenses                                    0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Profit (Loss)                             -38.72    100.00%        0.00      0.00%     -38.72            0.00    0.00%     -38.72




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Catering
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Gross Profit                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Payroll Taxes and Benefits              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 4 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restauarnt 4 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 1 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 1 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Expenses                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 2 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 2 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Expenses                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %           Variance

                                                                                                           Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Telephone Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Telephone Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00

                                                                                                           Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00        2,855.74       0.00%       -2,855.74   Cost of Sales - Local Calls                                0.00    0.00%        0.00       0.00%      0.00       13,718.63     0.00%    -13,718.63
             0.00      0.00%        0.00     0.00%      0.00           15.99       0.00%          -15.99   Cost of Sales - Long Distance                              0.00    0.00%        0.00       0.00%      0.00           79.06     0.00%        -79.06
             0.00     0.00%         0.00    0.00%       0.00       2,871.73       0.00%       -2,871.73    Total Telephone Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00      13,797.69     0.00%    -13,797.69

             0.00     0.00%         0.00    0.00%       0.00      -2,871.73       0.00%        2,871.73    Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00     -13,797.69     0.00%    13,797.69

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%      0.00          441.00       0.00%         -441.00   Internet/Web Expense                                       0.00    0.00%        0.00       0.00%      0.00        2,205.00     0.00%     -2,205.00
             0.00      0.00%        0.00     0.00%      0.00        1,540.00       0.00%       -1,540.00   Telephone Equipment                                        0.00    0.00%        0.00       0.00%      0.00        7,700.00     0.00%     -7,700.00
             0.00     0.00%         0.00    0.00%       0.00       1,981.00       0.00%       -1,981.00    Total Telephone Other Expenses                             0.00   0.00%         0.00      0.00%       0.00       9,905.00     0.00%     -9,905.00

             0.00     0.00%         0.00    0.00%       0.00      -4,852.73       0.00%        4,852.73    Total Telephone Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00     -23,702.69     0.00%    23,702.69




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %             Variance                                                               YTD     %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                             Minor Operating
                                                                                                             Income
           300.76      8.11%       850.00    27.64%     -549.24         773.34      28.25%         -472.58   Rental Income - Other                                   3,453.37    16.55%     4,250.00    31.78%     -796.63       1,992.49     19.30%     1,460.88
          300.76      8.11%       850.00    27.64%     -549.24         773.34      28.25%         -472.58    Total Rental Income                                    3,453.37    16.55%     4,250.00    31.78%     -796.63       1,992.49     19.30%     1,460.88
           100.00      2.70%         0.00     0.00%      100.00           0.00       0.00%          100.00   Vending Commissions Other                                 100.00     0.48%         0.00     0.00%      100.00          15.64      0.15%        84.36
          100.00      2.70%          0.00    0.00%      100.00            0.00      0.00%          100.00    Total Vending Commission Income                          100.00     0.48%          0.00    0.00%      100.00           15.64     0.15%         84.36
           511.50     13.79%       500.00    16.26%       11.50         126.11       4.61%          385.39   Cancellation Fee - Rooms                                4,378.08    20.98%     2,500.00    18.69%    1,878.08         663.27      6.42%     3,714.81
          511.50     13.79%       500.00    16.26%        11.50        126.11       4.61%          385.39    Total Cancellation Fee Income                          4,378.08    20.98%     2,500.00    18.69%    1,878.08         663.27      6.42%     3,714.81
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%            0.00   In-Room Movie Revenue                                     116.16     0.56%         0.00     0.00%      116.16           0.00      0.00%       116.16
             0.00      0.00%        25.00     0.81%      -25.00          19.80       0.72%          -19.80   Internet Access                                             1.86     0.01%       125.00     0.93%     -123.14         103.95      1.01%      -102.09
           -60.80     -1.64%         0.00     0.00%      -60.80           0.00       0.00%          -60.80   Telephone Revenue                                           8.55     0.04%         0.00     0.00%        8.55          25.76      0.25%       -17.21
         2,856.70     77.04%     1,700.00    55.28%    1,156.70       1,818.02      66.42%        1,038.68   Gift Shop Sales                                        12,361.69    59.23%     6,500.00    48.60%    5,861.69       7,124.91     69.00%     5,236.78
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%            0.00   Pet Fees                                                  450.02     2.16%         0.00     0.00%      450.02         400.00      3.87%        50.02
        2,795.90     75.40%     1,725.00    56.10%    1,070.90       1,837.82      67.14%          958.08    Total Other Income                                    12,938.28    62.00%     6,625.00    49.53%    6,313.28       7,654.62     74.13%     5,283.66

        3,708.16    100.00%     3,075.00    100.00%    633.16        2,737.27     100.00%          970.89    Total Minor Operating Income                          20,869.73    100.00%   13,375.00 100.00%      7,494.73      10,326.02 100.00%       10,543.71

                                                                                                             Cost of Sales
             0.00      0.00%         5.00     0.16%       -5.00           0.00       0.00%           0.00    Cost of Sales - Internet Access                             0.00     0.00%        25.00     0.19%      -25.00           0.00      0.00%         0.00
           471.35     12.71%       850.00    27.64%     -378.65         466.20      17.03%           5.15    Cost of Sales - Gift Shop                               6,459.63    30.95%     3,250.00    24.30%    3,209.63       1,957.89     18.96%     4,501.74
          471.35     12.71%       855.00    27.80%     -383.65         466.20      17.03%            5.15    Total Minor Operated Cost of Sales                     6,459.63    30.95%     3,275.00    24.49%    3,184.63       1,957.89     18.96%     4,501.74

        3,236.81     87.29%     2,220.00    72.20%    1,016.81       2,271.07      82.97%          965.74    Total Minor Operated Profit (Loss)                    14,410.10    69.05%    10,100.00    75.51%    4,310.10       8,368.13     81.04%     6,041.97




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Revenue                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Non-Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Salaries and Wages                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade PR Taxes and Benefits                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Payroll                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Other Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Expenses                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Profit (Loss)                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                        Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Revenue                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Management                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Non-Management                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Profit (Loss)                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %        Variance   PTD Last Year     %            Variance                                                               YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                              Franchise Fees
             0.00         0.00%         0.00    0.00%        0.00       1,271.10      0.80%       -1,271.10   Franchise Fees - IT Fees                                    0.00    0.00%         0.00     0.00%        0.00        6,204.65     1.19%   -6,204.65
        19,358.62         5.91%    13,677.33    5.78%    5,681.29       9,336.81      5.90%       10,021.81   Franchise Fees - Royalty & Licenses                    72,442.52    5.90%    51,236.41     5.77%   21,206.11       30,594.19     5.85%   41,848.33
             0.00         0.00%         0.00    0.00%        0.00         172.59      0.11%         -172.59   Franchise Fees - Other                                     -0.01    0.00%         0.00     0.00%       -0.01        1,892.86     0.36%   -1,892.87
             0.00         0.00%         0.00    0.00%        0.00         714.59      0.45%         -714.59   Franchise Fees - Reservations-GDS                           0.00    0.00%         0.00     0.00%        0.00        1,675.16     0.32%   -1,675.16
         3,719.17         1.14%     5,601.64    2.37%   -1,882.47       1,932.78      1.22%        1,786.39   Franchise Fees - Frequent Guest                        30,302.79    2.47%    20,984.20     2.36%    9,318.59       12,153.44     2.33%   18,149.35
        12,905.74         3.94%     9,009.30    3.81%    3,896.44       6,224.54      3.93%        6,681.20   Franchise Fees - Marketing Contributions               48,656.62    3.96%    33,749.58     3.80%   14,907.04       20,025.41     3.83%   28,631.21
             0.00         0.00%         0.00    0.00%        0.00       1,116.90      0.71%       -1,116.90   Franchise Fees - Reservations-Central                       0.00    0.00%         0.00     0.00%        0.00        2,343.42     0.45%   -2,343.42

       35,983.53     10.98%       28,288.27    11.96%   7,695.26      20,769.31      13.13%      15,214.22    Total Franchise Fees                                 151,401.92    12.34%   105,970.19   11.94%    45,431.73      74,889.13     14.33%   76,512.79




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                                                                                              Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget   %          Variance    PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              A&G
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         5,357.13      1.64%     6,538.11    2.76%    -1,180.98        5,384.62       3.40%          -27.49   Management- A&G                                        42,527.30    3.47%     32,008.71     3.61%     10,518.59      25,192.33      4.82%    17,334.97
        5,357.13      1.64%     6,538.11    2.76%    -1,180.98        5,384.62       3.40%          -27.49    Total A&G Management                                  42,527.30    3.47%     32,008.71     3.61%     10,518.59      25,192.33      4.82%    17,334.97
             0.00      0.00%     2,125.71    0.90%    -2,125.71            0.00       0.00%            0.00   Security Agents                                             0.00    0.00%     10,354.27     1.17%    -10,354.27           0.00      0.00%         0.00
             0.00     0.00%     2,125.71    0.90%    -2,125.71             0.00      0.00%             0.00   Total A&G Non-Management                                    0.00   0.00%     10,354.27     1.17%    -10,354.27            0.00     0.00%          0.00
        5,357.13      1.64%     8,663.82    3.66%    -3,306.69        5,384.62       3.40%          -27.49    Total A&G Salaries and Wages                          42,527.30    3.47%     42,362.98     4.77%        164.32      25,192.33      4.82%    17,334.97
                                                                                                              PR Taxes and Benefits
           378.85      0.12%       682.40    0.29%      -303.55          670.98       0.42%         -292.13   FICA                                                    3,197.23    0.26%      3,935.95     0.44%       -738.72       2,163.14      0.41%     1,034.09
             1.53      0.00%         8.03    0.00%         -6.50          14.18       0.01%          -12.65   Federal Unemployment Tax                                  131.77    0.01%        133.79     0.02%         -2.02          98.07      0.02%        33.70
            49.52      0.02%        17.84    0.01%        31.68           87.69       0.06%          -38.17   State Unemployment Tax                                    417.95    0.03%        453.49     0.05%        -35.54         283.00      0.05%       134.95
          429.90      0.13%       708.27    0.30%      -278.37          772.85       0.49%         -342.95    Total Payroll Taxes                                    3,746.95    0.31%      4,523.23     0.51%       -776.28       2,544.21      0.49%     1,202.74
             0.00      0.00%       256.41    0.11%      -256.41            0.00       0.00%            0.00   Vacation                                                    0.00    0.00%      1,087.18     0.12%     -1,087.18       1,884.62      0.36%    -1,884.62
             0.00     0.00%       256.41    0.11%      -256.41             0.00      0.00%             0.00   Total Supplemental Pay                                      0.00   0.00%      1,087.18     0.12%     -1,087.18       1,884.62      0.36%    -1,884.62
           188.43      0.06%       320.49    0.14%      -132.06         -991.59      -0.63%        1,180.02   Worker's Compensation                                   1,660.48    0.14%      2,039.66     0.23%       -379.18       1,164.69      0.22%       495.79
           689.98      0.21%         0.00    0.00%       689.98          348.63       0.22%          341.35   Group Insurance                                         2,375.47    0.19%          0.00     0.00%      2,375.47       1,859.70      0.36%       515.77
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%            0.00   Bonus and Incentive Pay                                     0.00    0.00%      8,000.00     0.90%     -8,000.00      -3,518.90     -0.67%     3,518.90
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%            0.00   Other Benefits                                              0.00    0.00%          0.00     0.00%          0.00       1,365.00      0.26%    -1,365.00
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%            0.00   Union Benefits                                              0.00    0.00%      1,755.00     0.20%     -1,755.00           0.00      0.00%         0.00
          878.41      0.27%       320.49    0.14%       557.92         -642.96      -0.41%        1,521.37    Total Other Benefits                                   4,035.95    0.33%     11,794.66     1.33%     -7,758.71         870.49      0.17%     3,165.46
        1,308.31      0.40%     1,285.17    0.54%         23.14         129.89       0.08%        1,178.42    Total A&G PR Taxes and Benefits                        7,782.90    0.63%     17,405.07     1.96%     -9,622.17       5,299.32      1.01%     2,483.58
        6,665.44      2.03%     9,948.99    4.21%    -3,283.55        5,514.51       3.49%        1,150.93    Total A&G Payroll                                     50,310.20    4.10%     59,768.05     6.73%     -9,457.85      30,491.65      5.83%    19,818.55
                                                                                                              Other Expenses
             0.00      0.00%     1,000.00    0.42%    -1,000.00        1,000.00       0.63%       -1,000.00   Accounting/Audit Fees                                   2,325.00    0.19%      5,000.00     0.56%    -2,675.00        7,000.00      1.34%    -4,675.00
           707.24      0.22%         0.00    0.00%       707.24         -500.56      -0.32%        1,207.80   Bad Debt Provision                                      3,330.14    0.27%          0.00     0.00%     3,330.14        1,109.08      0.21%     2,221.06
         1,325.51      0.40%     1,000.00    0.42%       325.51          731.23       0.46%          594.28   Bank Charges                                            5,233.98    0.43%      5,000.00     0.56%       233.98        3,404.81      0.65%     1,829.17
           -29.99     -0.01%         0.00    0.00%       -29.99           -0.52       0.00%          -29.47   Cash Over/Short                                          -110.88   -0.01%          0.00     0.00%      -110.88            1.84      0.00%      -112.72
         1,000.00      0.31%     1,000.00    0.42%         0.00            0.00       0.00%        1,000.00   Central Office - Accounting Fees                        4,000.00    0.33%      5,000.00     0.56%    -1,000.00            0.00      0.00%     4,000.00
             0.00      0.00%         0.00    0.00%         0.00           75.00       0.05%          -75.00   Communication Expense                                       0.00    0.00%          0.00     0.00%         0.00          350.00      0.07%      -350.00
         8,189.73      2.50%     5,911.91    2.50%     2,277.82        3,602.80       2.28%        4,586.93   Credit Card Commission                                 32,688.27    2.66%     22,192.92     2.50%    10,495.35       12,312.75      2.36%    20,375.52
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   Data Processing                                             0.00    0.00%          0.00     0.00%         0.00           37.13      0.01%       -37.13
           113.33      0.03%         0.00    0.00%       113.33            0.00       0.00%          113.33   Dues and Subscriptions                                    453.32    0.04%          0.00     0.00%       453.32            0.00      0.00%       453.32
             0.00      0.00%        75.00    0.03%       -75.00            0.00       0.00%            0.00   Employee Relations                                      1,192.36    0.10%      1,670.00     0.19%      -477.64          140.34      0.03%     1,052.02
             0.00      0.00%         0.00    0.00%         0.00          260.00       0.16%         -260.00   Internet/Web Expense                                        0.00    0.00%          0.00     0.00%         0.00        1,100.00      0.21%    -1,100.00
             0.00      0.00%         0.00    0.00%         0.00          240.00       0.15%         -240.00   Licenses/Permits                                          120.00    0.01%          0.00     0.00%       120.00        1,472.00      0.28%    -1,352.00
           211.09      0.06%         0.00    0.00%       211.09          -10.45      -0.01%          221.54   Miscellaneous Expense                                     381.68    0.03%          0.00     0.00%       381.68          998.01      0.19%      -616.33
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   Office Equipment                                            0.00    0.00%          0.00     0.00%         0.00          341.04      0.07%      -341.04
             0.00      0.00%         0.00    0.00%         0.00          305.32       0.19%         -305.32   Office Supplies                                             0.00    0.00%          0.00     0.00%         0.00        1,397.88      0.27%    -1,397.88
         1,548.52      0.47%       275.00    0.12%     1,273.52            0.00       0.00%        1,548.52   Operating Supplies                                      2,909.31    0.24%      1,375.00     0.15%     1,534.31            0.00      0.00%     2,909.31
           151.30      0.05%       503.14    0.21%      -351.84          123.04       0.08%           28.26   Payroll Service Fees                                      957.39    0.08%      2,508.85     0.28%    -1,551.46          616.90      0.12%       340.49
             0.00      0.00%        75.00    0.03%       -75.00            0.00       0.00%            0.00   Postage                                                   307.46    0.03%        375.00     0.04%       -67.54          471.96      0.09%      -164.50
             0.00      0.00%       350.00    0.15%      -350.00           75.00       0.05%          -75.00   Professional Fees - Legal                               2,009.26    0.16%      1,750.00     0.20%       259.26        7,656.83      1.46%    -5,647.57
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   Professional Fees - Other                               2,862.00    0.23%        650.00     0.07%     2,212.00        1,234.47      0.24%     1,627.53
           173.70      0.05%       100.00    0.04%        73.70            0.00       0.00%          173.70   Recruitment Advertising                                 4,334.41    0.35%        500.00     0.06%     3,834.41          760.00      0.15%     3,574.41
             0.00      0.00%         0.00    0.00%         0.00           57.90       0.04%          -57.90   Recruitment - Other                                       345.64    0.03%          0.00     0.00%       345.64          742.00      0.14%      -396.36
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   Security - Outside                                      1,474.38    0.12%          0.00     0.00%     1,474.38            0.00      0.00%     1,474.38
             0.00      0.00%         0.00    0.00%         0.00        1,962.69       1.24%       -1,962.69   Software Expense/Maintenance                                0.00    0.00%          0.00     0.00%         0.00        7,538.45      1.44%    -7,538.45
        -1,990.00     -0.61%         0.00    0.00%    -1,990.00          995.00       0.63%       -2,985.00   Training                                                2,695.00    0.22%      3,690.00     0.42%      -995.00        2,814.80      0.54%      -119.80
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   Travel                                                  3,271.23    0.27%          0.00     0.00%     3,271.23          141.98      0.03%     3,129.25
       11,400.43      3.48%    10,290.05    4.35%     1,110.38        8,916.45       5.64%        2,483.98    Total A&G Other Expenses                              70,779.95    5.77%     49,711.77     5.60%    21,068.18       51,642.27      9.88%    19,137.68
       18,065.87      5.51%    20,239.04    8.56%    -2,173.17       14,430.96       9.12%        3,634.91    Total A&G Expenses                                   121,090.15    9.87%    109,479.82    12.33%    11,610.33       82,133.92     15.71%    38,956.23




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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             IT
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wags
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00    Total IT Management                                        0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00    Total IT Non-Management                                    0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00    Total IT Salaries and Wages                                0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00    Total Payroll Taxes                                        0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00    Total Supplemental Pay                                     0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00    Total Other Benefits                                       0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00    Total IT PR Taxes and Benefits                             0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00    Total IT Payroll                                           0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                             Cost of Services
             0.00      0.00%       110.00    0.05%      -110.00           0.00       0.00%            0.00   Cost of Cell Phones                                       150.00    0.01%       550.00      0.06%       -400.00           0.00     0.00%       150.00
         2,121.70      0.65%     2,000.00    0.85%       121.70           0.00       0.00%        2,121.70   Cost of Internet Services                               6,001.98    0.49%    10,000.00      1.13%     -3,998.02           0.00     0.00%     6,001.98
           531.32      0.16%     3,000.00    1.27%    -2,468.68           0.00       0.00%          531.32   Cost of Calls                                           5,146.17    0.42%    15,000.00      1.69%     -9,853.83           0.00     0.00%     5,146.17
        2,653.02      0.81%     5,110.00    2.16%    -2,456.98            0.00      0.00%        2,653.02    Total IT Cost of Services                             11,298.15    0.92%    25,550.00      2.88%    -14,251.85            0.00    0.00%    11,298.15

                                                                                                             System Costs
         2,022.69      0.62%     2,040.70    0.86%      -18.01            0.00       0.00%        2,022.69   Administrative & General                                3,980.76    0.32%     4,123.50      0.46%       -142.74           0.00     0.00%     3,980.76
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%            0.00   Human Resources                                             0.00    0.00%       250.00      0.03%       -250.00           0.00     0.00%         0.00
           260.00      0.08%       180.00    0.08%       80.00            0.00       0.00%          260.00   Information Systems                                     1,608.69    0.13%       900.00      0.10%        708.69           0.00     0.00%     1,608.69
           126.00      0.04%       126.00    0.05%        0.00            0.00       0.00%          126.00   Property Ops & Maintenance                                504.00    0.04%       630.00      0.07%       -126.00           0.00     0.00%       504.00
         1,163.85      0.36%     1,272.00    0.54%     -108.15            0.00       0.00%        1,163.85   Rooms                                                   4,655.40    0.38%     6,360.00      0.72%     -1,704.60           0.00     0.00%     4,655.40
             0.00      0.00%       500.00    0.21%     -500.00            0.00       0.00%            0.00   Sales & Marketing                                           0.00    0.00%     2,500.00      0.28%     -2,500.00           0.00     0.00%         0.00
        3,572.54      1.09%     4,168.70    1.76%     -596.16             0.00      0.00%        3,572.54    Total IT Systems                                      10,748.85    0.88%    14,763.50      1.66%     -4,014.65            0.00    0.00%    10,748.85

                                                                                                             Other Expenses
             0.00      0.00%       725.00    0.31%     -725.00            0.00       0.00%           0.00    Miscellaneous                                             64.35     0.01%     3,625.00      0.41%     -3,560.65           0.00     0.00%       64.35
             0.00     0.00%       725.00    0.31%     -725.00             0.00      0.00%            0.00    Total IT Other Expenses                                   64.35    0.01%     3,625.00      0.41%     -3,560.65            0.00    0.00%        64.35

        6,225.56      1.90%    10,003.70    4.23%    -3,778.14            0.00      0.00%        6,225.56    Total IT Expenses                                     22,111.35    1.80%    43,938.50      4.95%    -21,827.15            0.00    0.00%    22,111.35




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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %             Variance   YTD Last Year   %           Variance

                                                                                                            S&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00      0.00%        0.00     0.00%       0.00          964.29       0.61%         -964.29   Division Management                                        0.00     0.00%        0.00       0.00%       0.00        9,422.75     1.80%     -9,422.75
             0.00      0.00%        0.00     0.00%       0.00            0.00       0.00%            0.00   Sales Managers                                             0.00     0.00%        0.00       0.00%       0.00        1,869.83     0.36%     -1,869.83
             0.00     0.00%         0.00    0.00%        0.00         964.29       0.61%         -964.29    Total S&M Management                                       0.00    0.00%         0.00      0.00%        0.00      11,292.58     2.16%    -11,292.58
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00   Total S&M Non-Management                                   0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%           0.00

             0.00     0.00%         0.00    0.00%        0.00         964.29       0.61%         -964.29    Total S&M Salaries and Wages                               0.00    0.00%         0.00      0.00%        0.00      11,292.58     2.16%    -11,292.58

                                                                                                            PR Taxes and Benefits
            0.00       0.00%        0.00     0.00%       0.00          121.38       0.08%         -121.38   FICA                                                       0.00     0.00%        0.00       0.00%       0.00          910.78     0.17%       -910.78
            0.00       0.00%        0.00     0.00%       0.00            2.01       0.00%           -2.01   Federal Unemployment Tax                                   0.00     0.00%        0.00       0.00%       0.00           47.29     0.01%        -47.29
            0.00       0.00%        0.00     0.00%       0.00           15.87       0.01%          -15.87   State Unemployment Tax                                     0.00     0.00%        0.00       0.00%       0.00          119.18     0.02%       -119.18
            0.00      0.00%         0.00    0.00%        0.00         139.26       0.09%         -139.26    Total Payroll Taxes                                        0.00    0.00%         0.00      0.00%        0.00       1,077.25     0.21%     -1,077.25
            0.00       0.00%        0.00     0.00%       0.00            0.00       0.00%            0.00   Holiday                                                    0.00     0.00%        0.00       0.00%       0.00          136.00     0.03%       -136.00
            0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00   Total Supplemental Pay                                     0.00    0.00%         0.00      0.00%        0.00         136.00     0.03%       -136.00
            0.00       0.00%        0.00     0.00%       0.00         -446.60      -0.28%          446.60   Worker's Compensation                                      0.00     0.00%        0.00       0.00%       0.00          864.00     0.17%       -864.00
           21.42       0.01%        0.00     0.00%      21.42            0.00       0.00%           21.42   Group Insurance                                           21.42     0.00%        0.00       0.00%      21.42            0.00     0.00%         21.42
           21.42      0.01%         0.00    0.00%       21.42        -446.60      -0.28%          468.02    Total Other Benefits                                      21.42    0.00%         0.00      0.00%       21.42         864.00     0.17%       -842.58
           21.42      0.01%         0.00    0.00%       21.42        -307.34      -0.19%          328.76    Total S&M PR Taxes and Benefits                           21.42    0.00%         0.00      0.00%       21.42       2,077.25     0.40%     -2,055.83

           21.42      0.01%         0.00    0.00%       21.42         656.95       0.42%         -635.53    Total S&M Payroll                                         21.42    0.00%         0.00      0.00%       21.42      13,369.83     2.56%    -13,348.41

                                                                                                            Other Expenses
           150.00      0.05%         0.00    0.00%      150.00           0.00       0.00%          150.00   Advertising General                                       750.00    0.06%         0.00      0.00%      750.00           0.00     0.00%       750.00
           900.00      0.27%       815.00    0.34%       85.00         440.00       0.28%          460.00   Advertising-Web/Internet                                3,065.00    0.25%     2,980.00      0.34%       85.00       2,895.00     0.55%       170.00
         6,422.72      1.96%     4,166.67    1.76%    2,256.05       2,649.87       1.67%        3,772.85   Contract Labor                                         25,452.58    2.07%    20,833.35      2.35%    4,619.23       2,649.87     0.51%    22,802.71
         1,499.20      0.46%     1,577.00    0.67%      -77.80       1,388.17       0.88%          111.03   Dues and Subscriptions                                  8,252.00    0.67%     8,245.00      0.93%        7.00       8,572.51     1.64%      -320.51
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%            0.00   Equipment Rental                                            0.00    0.00%         0.00      0.00%        0.00        -200.00    -0.04%       200.00
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%            0.00   Meals and Entertainment                                     0.00    0.00%       250.00      0.03%     -250.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%            0.00   Office Equipment                                            0.00    0.00%         0.00      0.00%        0.00          64.98     0.01%       -64.98
             0.00      0.00%        25.00    0.01%      -25.00           0.00       0.00%            0.00   Operating Supplies                                          0.00    0.00%       125.00      0.01%     -125.00           8.53     0.00%        -8.53
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%            0.00   Promotions - In-house                                       0.00    0.00%         0.00      0.00%        0.00         110.28     0.02%      -110.28
             0.00      0.00%        75.00    0.03%      -75.00           0.00       0.00%            0.00   Promotion - Outside                                         0.00    0.00%       375.00      0.04%     -375.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%            0.00   Software Expense/Maintenance                                0.00    0.00%         0.00      0.00%        0.00       5,608.03     1.07%    -5,608.03
             0.00      0.00%         0.00    0.00%        0.00         550.00       0.35%         -550.00   Training                                                    0.00    0.00%         0.00      0.00%        0.00         550.00     0.11%      -550.00
        8,971.92      2.74%     6,708.67    2.84%    2,263.25       5,028.04       3.18%        3,943.88    Total S&M Other Expenses                              37,519.58    3.06%    32,808.35      3.70%    4,711.23      20,259.20     3.88%    17,260.38

        8,993.34      2.75%     6,708.67    2.84%    2,284.67       5,684.99       3.59%        3,308.35    Total S&M Expenses                                    37,541.00    3.06%    32,808.35      3.70%    4,732.65      33,629.03     6.43%      3,911.97




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                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year    %         Variance

                                                                                                             R&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         4,945.05      1.51%     4,903.58    2.07%        41.47       4,400.00       2.78%          545.05   Division Management                                    25,010.98    2.04%    24,006.53      2.70%     1,004.45      21,685.71     4.15%     3,325.27
        4,945.05      1.51%     4,903.58    2.07%         41.47      4,400.00       2.78%          545.05    Total R&M Management                                  25,010.98    2.04%    24,006.53      2.70%     1,004.45      21,685.71     4.15%     3,325.27
         3,027.12      0.92%     4,464.00    1.89%    -1,436.88         969.50       0.61%        2,057.62   Engineers 1                                            14,625.39    1.19%    21,744.00      2.45%    -7,118.61       1,081.50     0.21%    13,543.89
        3,027.12      0.92%     4,464.00    1.89%    -1,436.88         969.50       0.61%        2,057.62    Total R&M Non-Management                              14,625.39    1.19%    21,744.00      2.45%    -7,118.61       1,081.50     0.21%    13,543.89

        7,972.17      2.43%     9,367.58    3.96%    -1,395.41       5,369.50       3.39%        2,602.67    Total R&M Salaries and Wages                          39,636.37    3.23%    45,750.53      5.15%    -6,114.16      22,767.21     4.36%    16,869.16

                                                                                                             PR Taxes and Benefits
           597.32      0.18%       751.41    0.32%     -154.09          392.41       0.25%          204.91   FICA                                                    3,002.10    0.24%     3,569.50      0.40%     -567.40        1,804.26     0.35%     1,197.84
             4.96      0.00%         8.84    0.00%        -3.88          14.32       0.01%           -9.36   Federal Unemployment Tax                                  109.46    0.01%       129.00      0.01%      -19.54           97.70     0.02%        11.76
            78.07      0.02%        19.64    0.01%       58.43           72.52       0.05%            5.55   State Unemployment Tax                                    390.46    0.03%       401.67      0.05%      -11.21          257.28     0.05%       133.18
          680.35      0.21%       779.89    0.33%       -99.54         479.25       0.30%          201.10    Total Payroll Taxes                                    3,502.02    0.29%     4,100.17      0.46%     -598.15        2,159.24     0.41%     1,342.78
             0.00      0.00%       454.80    0.19%     -454.80            0.00       0.00%            0.00   Holiday                                                   112.00    0.01%       909.60      0.10%     -797.60            0.00     0.00%       112.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00   Vacation                                                    0.00    0.00%         0.00      0.00%        0.00        1,320.00     0.25%    -1,320.00
             0.00     0.00%       454.80    0.19%     -454.80             0.00      0.00%             0.00   Total Supplemental Pay                                   112.00    0.01%       909.60      0.10%     -797.60        1,320.00     0.25%    -1,208.00
           225.43      0.07%       352.90    0.15%     -127.47         -780.25      -0.49%        1,005.68   Worker's Compensation                                   1,545.83    0.13%     1,880.90      0.21%     -335.07        1,398.53     0.27%       147.30
           462.53      0.14%         0.00    0.00%      462.53        1,100.30       0.70%         -637.77   Group Insurance                                         1,875.82    0.15%         0.00      0.00%    1,875.82        2,548.57     0.49%      -672.75
          687.96      0.21%       352.90    0.15%      335.06          320.05       0.20%          367.91    Total Other Benefits                                   3,421.65    0.28%     1,880.90      0.21%    1,540.75        3,947.10     0.76%      -525.45
        1,368.31      0.42%     1,587.59    0.67%     -219.28          799.30       0.51%          569.01    Total R&M PR Taxes and Benefits                        7,035.67    0.57%     6,890.67      0.78%      145.00        7,426.34     1.42%      -390.67

        9,340.48      2.85%    10,955.17    4.63%    -1,614.69       6,168.80       3.90%        3,171.68    Total R&M Payroll                                     46,672.04    3.80%    52,641.20      5.93%    -5,969.16      30,193.55     5.78%    16,478.49

                                                                                                             Other Expenses
         1,483.00      0.45%     1,075.00    0.45%      408.00          771.13       0.49%          711.87   Air Conditioning and Refrigeration                      6,213.77    0.51%     4,675.00      0.53%     1,538.77       2,323.73     0.44%     3,890.04
           390.58      0.12%       500.00    0.21%     -109.42        1,826.29       1.15%       -1,435.71   Building                                                2,420.86    0.20%     2,500.00      0.28%       -79.14       5,499.91     1.05%    -3,079.05
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Contract Labor                                              0.00    0.00%     3,000.00      0.34%    -3,000.00           0.00     0.00%         0.00
           108.61      0.03%        90.00    0.04%       18.61           90.00       0.06%           18.61   Dues and Subscriptions                                    388.61    0.03%       450.00      0.05%       -61.39         180.00     0.03%       208.61
           379.95      0.12%       175.00    0.07%      204.95           61.50       0.04%          318.45   Electric Bulbs                                          1,568.30    0.13%       875.00      0.10%       693.30       1,087.42     0.21%       480.88
         1,638.60      0.50%       200.00    0.08%    1,438.60            3.47       0.00%        1,635.13   Electrical and Mechanical                               2,536.82    0.21%     1,000.00      0.11%     1,536.82         985.54     0.19%     1,551.28
           333.73      0.10%       325.00    0.14%        8.73          320.90       0.20%           12.83   Elevator Maintenance Contracts                          1,642.97    0.13%     1,625.00      0.18%        17.97       1,515.20     0.29%       127.77
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Equipment Maintenance                                      64.20    0.01%         0.00      0.00%        64.20           0.00     0.00%        64.20
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Fire Safety Equipment                                     220.00    0.02%       600.00      0.07%      -380.00       2,975.74     0.57%    -2,755.74
             0.00      0.00%       100.00    0.04%     -100.00            0.00       0.00%            0.00   Floor and Carpet Maintenance                                0.00    0.00%       500.00      0.06%      -500.00           0.00     0.00%         0.00
             0.00      0.00%       100.00    0.04%     -100.00          229.22       0.14%         -229.22   Furniture                                                   0.00    0.00%       500.00      0.06%      -500.00         229.22     0.04%      -229.22
           400.00      0.12%       800.00    0.34%     -400.00        4,003.17       2.53%       -3,603.17   Grounds and Landscaping                                 3,150.00    0.26%     5,400.00      0.61%    -2,250.00       6,498.01     1.24%    -3,348.01
             0.00      0.00%        35.00    0.01%      -35.00            0.00       0.00%            0.00   Kitchen Equipment Repairs                                   0.00    0.00%       175.00      0.02%      -175.00           0.00     0.00%         0.00
           195.11      0.06%         0.00    0.00%      195.11            0.00       0.00%          195.11   Laundry Equipment Repairs                                 343.09    0.03%         0.00      0.00%       343.09           0.00     0.00%       343.09
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Licenses/Permits                                          400.00    0.03%       530.00      0.06%      -130.00         530.00     0.10%      -130.00
             0.00      0.00%         0.00    0.00%        0.00          -60.24      -0.04%           60.24   Locks and Keys                                            317.03    0.03%         0.00      0.00%       317.03         770.92     0.15%      -453.89
           800.69      0.24%         0.00    0.00%      800.69          559.12       0.35%          241.57   Operating Supplies                                      1,586.13    0.13%         0.00      0.00%     1,586.13       1,055.46     0.20%       530.67
           196.89      0.06%        75.00    0.03%      121.89           85.74       0.05%          111.15   Painting and Decorating                                   362.83    0.03%       375.00      0.04%       -12.17         491.33     0.09%      -128.50
           175.00      0.05%       175.00    0.07%        0.00          175.00       0.11%            0.00   Pest Control                                              700.00    0.06%       875.00      0.10%      -175.00       1,306.65     0.25%      -606.65
           119.72      0.04%       233.60    0.10%     -113.88          226.83       0.14%         -107.11   Plumbing and Heating                                    1,326.97    0.11%       983.80      0.11%       343.17       1,334.08     0.26%        -7.11
             0.00      0.00%         0.00    0.00%        0.00          139.18       0.09%         -139.18   Pool Chemicals                                              0.00    0.00%         0.00      0.00%         0.00         609.71     0.12%      -609.71
             0.00      0.00%       100.00    0.04%     -100.00            0.00       0.00%            0.00   Pool Service- Contract                                      0.00    0.00%       500.00      0.06%      -500.00         525.06     0.10%      -525.06
             0.00      0.00%        25.00    0.01%      -25.00            0.00       0.00%            0.00   Radio and Television Repair                                 0.00    0.00%       125.00      0.01%      -125.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Signage                                                     0.00    0.00%         0.00      0.00%         0.00         292.16     0.06%      -292.16
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Snow Removal                                              450.00    0.04%         0.00      0.00%       450.00           0.00     0.00%       450.00
           149.88      0.05%         0.00    0.00%      149.88            0.00       0.00%          149.88   Tools                                                     149.88    0.01%         0.00      0.00%       149.88           0.00     0.00%       149.88
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Travel                                                      0.00    0.00%       500.00      0.06%      -500.00           0.00     0.00%         0.00
             0.00      0.00%       125.00    0.05%     -125.00          246.66       0.16%         -246.66   Vehicle Maintenance & Repairs                              20.00    0.00%       625.00      0.07%      -605.00         246.66     0.05%      -226.66
           651.37      0.20%       475.00    0.20%      176.37          442.90       0.28%          208.47   Waste Removal                                           3,016.98    0.25%     2,375.00      0.27%       641.98       1,583.79     0.30%     1,433.19
        7,023.13      2.14%     4,608.60    1.95%    2,414.53        9,120.87       5.76%       -2,097.74    Total R&M Other Expenses                              26,878.44    2.19%    28,188.80      3.18%    -1,310.36      30,040.59     5.75%    -3,162.15

       16,363.61      5.00%    15,563.77    6.58%      799.84       15,289.67       9.66%        1,073.94    Total R&M Expenses                                    73,550.48    5.99%    80,830.00      9.11%    -7,279.52      60,234.14     11.52%   13,316.34



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                                                                                             Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             Utilities
         4,420.72      1.35%     5,840.00    2.47%    -1,419.28         776.38       0.49%        3,644.34   Water                                                  22,535.04    1.84%    24,595.00      2.77%    -2,059.96       2,437.58     0.47%    20,097.46
         3,404.72      1.04%     4,391.68    1.86%      -986.96       3,064.30       1.94%          340.42   Electricity                                            16,846.40    1.37%    18,495.44      2.08%    -1,649.04       9,777.51     1.87%     7,068.89
         2,189.93      0.67%     2,336.00    0.99%      -146.07         889.55       0.56%        1,300.38   Gas - Natural HLP                                      10,073.26    0.82%     9,838.00      1.11%       235.26       7,980.54     1.53%     2,092.72
             0.00      0.00%         0.00    0.00%         0.00       2,353.39       1.49%       -2,353.39   Sewer                                                       0.00    0.00%         0.00      0.00%         0.00      13,666.84     2.61%   -13,666.84
       10,015.37      3.06%    12,567.68    5.31%    -2,552.31       7,083.62       4.48%        2,931.75    Total Utilities                                       49,454.70    4.03%    52,928.44      5.96%    -3,473.74      33,862.47     6.48%    15,592.23




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                                                                                              Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %             Variance                                                               YTD     %        YTD Budget %                Variance    YTD Last Year    %           Variance

                                                                                                              Fixed
           395.00      0.12%       905.44     0.38%      -510.44           0.00       0.00%          395.00   Personal Property Taxes                                 1,975.00     0.16%      4,527.20     0.51%       -2,552.20           0.00      0.00%      1,975.00
         9,200.00      2.81%     8,300.64     3.51%       899.36       9,206.08       5.82%           -6.08   Real Estate Taxes                                      46,000.00     3.75%     41,503.20     4.68%        4,496.80      46,030.40      8.81%        -30.40
        9,595.00      2.93%     9,206.08     3.89%       388.92       9,206.08       5.82%          388.92    Total Taxes                                           47,975.00     3.91%     46,030.40     5.19%        1,944.60      46,030.40      8.81%      1,944.60
         1,409.00      0.43%       650.00     0.27%       759.00         623.82       0.39%          785.18   Insurance                                               7,045.00     0.57%      3,250.00     0.37%        3,795.00       2,320.80      0.44%      4,724.20
           366.00      0.11%       470.25     0.20%      -104.25           0.00       0.00%          366.00   Insurance - Automobile                                  1,830.00     0.15%      2,351.25     0.26%         -521.25           0.00      0.00%      1,830.00
           118.41      0.04%       118.42     0.05%        -0.01           0.00       0.00%          118.41   Insurance - Crime                                         592.05     0.05%        592.10     0.07%           -0.05           0.00      0.00%        592.05
           246.75      0.08%       246.75     0.10%         0.00          67.14       0.04%          179.61   Insurance - Employment                                  1,233.75     0.10%      1,233.75     0.14%            0.00         335.71      0.06%        898.04
         2,679.67      0.82%     1,515.75     0.64%     1,163.92         186.29       0.12%        2,493.38   Insurance - General Liability                          13,398.35     1.09%      7,578.75     0.85%        5,819.60         931.44      0.18%     12,466.91
         2,266.40      0.69%     1,768.91     0.75%       497.49           0.00       0.00%        2,266.40   Insurance - Property                                   11,332.40     0.92%      8,844.55     1.00%        2,487.85           0.00      0.00%     11,332.40
         2,956.07      0.90%     2,356.25     1.00%       599.82           0.00       0.00%        2,956.07   Insurance - Umbrella                                   14,778.75     1.20%     11,781.25     1.33%        2,997.50           0.00      0.00%     14,778.75
       10,042.30      3.07%     7,126.33     3.01%     2,915.97         877.25       0.55%        9,165.05    Total Insurance                                       50,210.30     4.09%     35,631.65     4.01%      14,578.65        3,587.95      0.69%     46,622.35
             0.00      0.00%         0.00     0.00%         0.00         178.25       0.11%         -178.25   Fixed Leases                                              574.44     0.05%          0.00     0.00%          574.44         879.44      0.17%       -305.00
        32,974.00     10.07%    33,881.00    14.33%      -907.00      32,092.00      20.28%          882.00   Ground Lease Expense                                  164,870.00    13.43%    165,777.84    18.67%         -907.84     160,460.00     30.70%      4,410.00
             0.00      0.00%       178.25     0.08%      -178.25           0.00       0.00%            0.00   Operating Leases                                            0.00     0.00%        891.25     0.10%         -891.25           0.00      0.00%          0.00
           973.35      0.30%       988.00     0.42%       -14.65         987.95       0.62%          -14.60   Vehicle Leases                                          4,911.44     0.40%      4,940.00     0.56%          -28.56       3,908.00      0.75%      1,003.44
       33,947.35     10.36%    35,047.25    14.82%    -1,099.90      33,258.20      21.02%          689.15    Total Leases & Rent                                  170,355.88    13.88%    171,609.09    19.33%       -1,253.21     165,247.44     31.62%      5,108.44
        10,327.48      3.15%     7,094.30     3.00%     3,233.18       5,246.74       3.32%        5,080.74   Management Fee - Base                                  39,313.42     3.20%     27,330.03     3.08%       11,983.39      25,246.74      4.83%     14,066.68
       10,327.48      3.15%     7,094.30     3.00%     3,233.18       5,246.74       3.32%        5,080.74    Total Management Fees                                 39,313.42     3.20%     27,330.03     3.08%      11,983.39       25,246.74      4.83%     14,066.68
             0.00      0.00%         0.00     0.00%         0.00      34,918.08      22.07%      -34,918.08   Capital Reserve                                         7,719.64     0.63%    388,232.00    43.73%    -380,512.36       43,948.02      8.41%    -36,228.38
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Owner's Expense                                             0.00     0.00%          0.00     0.00%            0.00         949.17      0.18%       -949.17
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Extraordinary Expense                                       0.00     0.00%          0.00     0.00%            0.00      -1,422.92     -0.27%      1,422.92
             0.00     0.00%          0.00    0.00%          0.00     34,918.08      22.07%      -34,918.08    Total Other Non-Operating                              7,719.64     0.63%    388,232.00    43.73%    -380,512.36       43,474.27      8.32%    -35,754.63




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                                                                                                   Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget      %          Variance   PTD Last Year     %          Variance                                                                 YTD     %         YTD Budget %                Variance   YTD Last Year     %           Variance

                                                                                                             Statistics
           129.00                   129.00                   0.00          129.00                    0.00    # Rooms                                                    129.00                   129.00                      0.00         129.00                      0.00
         3,999.00                 3,999.00                   0.00        3,999.00                    0.00    Available Rooms                                         19,479.00                19,479.00                      0.00      19,479.00                      0.00
         2,178.00                 1,889.00                 289.00        2,039.00                  139.00    Room Nights Sold                                         9,273.00                 7,676.00                  1,597.00       7,737.00                  1,536.00
          54.46%                   47.24%                  7.23%          50.99%                   3.48%     Occupancy %                                               47.61%                   39.41%                     8.20%         39.72%                     7.89%
           106.69                   101.53                   5.16           83.17                   23.52    ADR                                                        101.54                    96.78                      4.76          79.57                     21.97
            58.11                    47.96                  10.15           42.41                   15.70    RevPar                                                      48.34                    38.14                     10.20          31.60                     16.73

                                                                                                             Summary V.11
                                                                                                             Revenue
       232,367.34     98.96%   191,790.00     98.82%    40,577.34      169,579.25     98.79%    62,788.09    Rooms                                                941,554.40       98.55%    742,887.00     98.72%    198,667.40      615,595.53     98.38%     325,958.87
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%         0.00    F&B                                                        0.00        0.00%          0.00      0.00%          0.00        1,990.00      0.32%      -1,990.00
         2,434.31      1.04%     2,283.40      1.18%       150.91        2,081.42      1.21%       352.89    Other Departments                                     13,809.92        1.45%      9,654.60      1.28%      4,155.32        8,159.03      1.30%       5,650.89

      234,801.65    100.00%    194,073.40    100.00%    40,728.25     171,660.67     100.00%    63,140.98    Total Operating Revenue                             955,364.32       100.00%   752,541.60 100.00%       202,822.72      625,744.56 100.00%        329,619.76

                                                                                                             Departmental Expenses
        71,468.00     30.76%    62,655.68     32.67%      8,812.32      30,295.85      17.87%   41,172.15    Rooms                                                309,245.04       32.84%    282,334.31     38.01%     26,910.73      129,347.66     21.01%     179,897.38
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%        0.00    F&B                                                        0.00        0.00%          0.00      0.00%          0.00          600.27     30.16%        -600.27
           912.89     37.50%       902.46     39.52%         10.43       3,420.53     164.34%   -2,507.64    Other Departments                                      3,488.60       25.26%      3,626.75     37.56%       -138.15       13,208.31    161.89%      -9,719.71

       72,380.89     30.83%     63,558.14    32.75%      8,822.75      33,716.38      19.64%    38,664.51    Total Departmental Expenses                         312,733.64       32.73%    285,961.06    38.00%       26,772.58     143,156.24     22.88%     169,577.40

      162,420.76     69.17%    130,515.26    67.25%     31,905.50     137,944.29      80.36%    24,476.47    Total Departmental Profit                           642,630.68       67.27%    466,580.54    62.00%     176,050.14      482,588.32     77.12%     160,042.36

                                                                                                             Undistributed Operating Expenses
        18,142.04      7.73%    18,033.97      9.29%       108.07       31,065.06     18.10%    -12,923.02   A&G                                                   93,555.47        9.79%    101,846.07     13.53%      -8,290.60     114,380.68     18.28%     -20,825.21
         6,016.57      2.56%     7,733.37      3.98%    -1,716.80            0.00      0.00%      6,016.57   IT                                                    23,947.99        2.51%     30,754.85      4.09%      -6,806.86           0.00      0.00%      23,947.99
         5,513.78      2.35%     9,309.18      4.80%    -3,795.40        7,374.67      4.30%     -1,860.89   S&M                                                   30,176.18        3.16%     49,659.14      6.60%     -19,482.96      42,925.76      6.86%     -12,749.58
        39,325.86     16.75%    26,379.60     13.59%    12,946.26       22,934.88     13.36%     16,390.98   Franchise Fees                                       136,607.05       14.30%    106,012.40     14.09%      30,594.65     104,295.95     16.67%      32,311.10
         7,771.15      3.31%    12,311.51      6.34%    -4,540.36        8,080.15      4.71%       -309.00   R&M                                                   53,277.43        5.58%     63,367.11      8.42%     -10,089.68      40,490.67      6.47%      12,786.76
        10,137.47      4.32%    10,786.80      5.56%      -649.33        8,473.52      4.94%      1,663.95   Utilities                                             43,153.26        4.52%     43,349.20      5.76%        -195.94      45,557.78      7.28%      -2,404.52

       86,906.87     37.01%     84,554.43    43.57%      2,352.44      77,928.28      45.40%     8,978.59    Total Undistributed Expenses                        380,717.38       39.85%    394,988.77    52.49%      -14,271.39     347,650.84     55.56%      33,066.54

       75,513.89     32.16%     45,960.83    23.68%     29,553.06      60,016.01      34.96%    15,497.88    Gross Operating Profit                              261,913.30       27.42%     71,591.77      9.51%    190,321.53      134,937.48     21.56%     126,975.82
         7,544.06      3.21%      5,822.20     3.00%      1,721.86       5,649.82       3.29%     1,894.24   Management Fees                                       32,327.38        3.38%     25,515.22      3.39%      6,812.16       26,479.63      4.23%       5,847.75
       67,969.83     28.95%     40,138.63    20.68%     27,831.20      54,366.19      31.67%    13,603.64    Income Before Non-Operating Income and Expenses     229,585.92       24.03%     46,076.55      6.12%    183,509.37      108,457.85     17.33%     121,128.07

                                                                                                             Non-Operating Income and Expenses
         4,639.20      1.98%      6,063.59     3.12%     -1,424.39         246.71       0.14%     4,392.49   Insurance                                             25,339.70        2.65%     30,317.95     4.03%       -4,978.25       1,233.58      0.20%      24,106.12
        29,465.00     12.55%     29,464.88    15.18%          0.12      27,773.00      16.18%     1,692.00   Leases & Rent                                        143,893.00       15.06%    143,891.60    19.12%            1.40     138,865.00     22.19%       5,028.00
             0.00      0.00%      5,000.00     2.58%     -5,000.00       1,789.32       1.04%    -1,789.32   Other                                                   -899.61       -0.09%    102,000.00    13.55%     -102,899.61      -4,800.96     -0.77%       3,901.35
       34,104.20     14.52%     40,528.47    20.88%     -6,424.27      29,809.03      17.37%     4,295.17    Total Non-Operating Income and Expenses             168,333.09       17.62%    276,209.55    36.70%     -107,876.46     135,297.62     21.62%      33,035.47

       33,865.63     14.42%       -389.84     -0.20%    34,255.47      24,557.16      14.31%     9,308.47    EBITDA                                                  61,252.83     6.41%    -230,133.00 -30.58%      291,385.83      -26,839.77      -4.29%     88,092.60
             0.00      0.00%          0.00      0.00%         0.00           0.00       0.00%         0.00   Interest                                                      0.00     0.00%           0.00   0.00%            0.00            0.00       0.00%          0.00
         9,114.13      3.88%      8,824.68      4.55%       289.45      10,341.00       6.02%    -1,226.87   Taxes                                                    45,570.65     4.77%      44,123.40   5.86%        1,447.25       54,782.19       8.75%     -9,211.54
        9,114.13      3.88%      8,824.68      4.55%       289.45      10,341.00       6.02%    -1,226.87    Interest, Taxes, Depreciation and Amortization          45,570.65     4.77%      44,123.40   5.86%        1,447.25       54,782.19       8.75%     -9,211.54

       24,751.50     10.54%     -9,214.52     -4.75%    33,966.02      14,216.16       8.28%    10,535.34    Net Income                                              15,682.18     1.64%    -274,256.40 -36.44%      289,938.58      -81,621.96     -13.04%     97,304.14




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                                                                                               Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                                P&L - Dual Summary Pages
                                                                                                                      As of 5/31/2022
              PTD     %        PTD Budget    %         Variance   PTD Last Year     %         Variance                                                                YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                         Statistics
           129.00                  129.00                 0.00          129.00                   0.00    # Rooms                                                    129.00                 129.00                    0.00         129.00                    0.00
         3,999.00                3,999.00                 0.00        3,999.00                   0.00    Available Rooms                                         19,479.00              19,479.00                    0.00      19,479.00                    0.00
         2,178.00                1,889.00               289.00        2,039.00                 139.00    Room Nights Sold                                         9,273.00               7,676.00                1,597.00       7,737.00                1,536.00
             0.54                    0.47                 0.07            0.51                   0.03    Occupancy %                                                  0.48                   0.39                    0.08           0.40                    0.08
           106.69                  101.53                 5.16           83.17                  23.52    ADR                                                        101.54                  96.78                    4.76          79.57                   21.97
            58.11                   47.96                10.15           42.41                  15.70    RevPar                                                      48.34                  38.14                   10.20          31.60                   16.73

                                                                                                         Summary
                                                                                                         Revenue:
       232,367.34     98.96%   191,790.00   98.82%    40,577.34     169,579.25     98.79%    62,788.09   Rooms                                               941,554.40      98.55%    742,887.00     98.72%   198,667.40     615,595.53    98.38%    325,958.87
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Food                                                      0.00       0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Beverage                                                  0.00       0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Other F&B Revenue                                         0.00       0.00%          0.00      0.00%         0.00       1,990.00     0.32%     -1,990.00
             0.00      0.00%         0.00    0.00%         0.00          12.75      0.01%       -12.75   Telephone                                                 0.00       0.00%          0.00      0.00%         0.00          33.75     0.01%        -33.75
         2,434.31      1.04%     2,283.40    1.18%       150.91       2,068.67      1.21%       365.64   Other                                                13,809.92       1.45%      9,654.60      1.28%     4,155.32       8,125.28     1.30%      5,684.64

       234,801.65   100.00%    194,073.40   100.00%   40,728.25     171,660.67     100.00%   63,140.98   Total Revenue                                       955,364.32      100.00%   752,541.60   100.00%    202,822.72     625,744.56    100.00%   329,619.76



                                                                                                         Cost of Sales:
             0.00      0.00%        0.00     0.00%        0.00            0.00      0.00%         0.00   Food                                                         0.00    0.00%          0.00      0.00%         0.00         151.77     0.00%       -151.77
             0.00      0.00%        0.00     0.00%        0.00            0.00      0.00%         0.00   Beverage                                                     0.00    0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%        0.00            0.00      0.00%         0.00   Other F&B                                                    0.00    0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%        0.00        1,204.34     57.86%    -1,204.34   Telephone                                                    0.00    0.00%          0.00      0.00%         0.00       5,993.11    73.45%     -5,993.11
           912.89     37.50%      902.46    39.52%       10.43          965.43     46.38%       -52.54   Other                                                    3,488.60   25.26%      3,626.75     37.56%      -138.15       2,161.40    26.49%      1,327.20

           912.89     37.50%      902.46    39.52%       10.43        2,169.77     104.24%   -1,256.88   Total Cost of Sales                                      3,488.60   25.26%      3,626.75     37.56%      -138.15       8,306.28    101.80%    -4,817.68



                                                                                                         Payroll:
        42,412.34     18.25%    37,148.79   19.37%     5,263.55      16,166.42      9.53%    26,245.92   Rooms                                               164,977.38      17.52%    172,023.24     23.16%    -7,045.86      68,097.48    11.06%     96,879.90
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   F&B                                                       0.00       0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Other                                                     0.00       0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         7,026.11      2.99%     6,941.95    3.58%        84.16      12,123.22      7.06%    -5,097.11   A&G                                                  34,223.94       3.58%     33,988.93      4.52%       235.01      56,984.12     9.11%    -22,760.18
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   IT                                                        0.00       0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%     3,974.57    2.05%    -3,974.57       3,950.62      2.30%    -3,950.62   S&M                                                  11,431.79       1.20%     19,392.61      2.58%    -7,960.82      18,270.81     2.92%     -6,839.02
         1,191.10      0.51%     6,251.69    3.22%    -5,060.59       1,667.17      0.97%      -476.07   R&M                                                  26,978.19       2.82%     30,541.66      4.06%    -3,563.47      13,128.64     2.10%     13,849.55
        50,629.55     21.56%    54,317.00   27.99%    -3,687.45      33,907.43     19.75%    16,722.12   Total Salaries and Wages                            237,611.30      24.87%    255,946.44     34.01%   -18,335.14     156,481.05    25.01%     81,130.25

         7,012.34      2.99%    11,183.47    5.76%    -4,171.13       6,052.75      3.53%       959.59   Total Taxes and Benefits                             43,463.79       4.55%     69,277.18      9.21%   -25,813.39      29,936.70     4.78%     13,527.09
        57,641.89     24.55%    65,500.47   33.75%    -7,858.58      39,960.18     23.28%    17,681.71   Total Labor Costs                                   281,075.09      29.42%    325,223.62     43.22%   -44,148.53     186,417.75    29.79%     94,657.34



                                                                                                         Direct Expenses:
        23,741.82     10.22%    19,586.97   10.21%     4,154.85      10,739.10      6.33%    13,002.72   Rooms                                               115,472.23      12.26%     80,629.15     10.85%    34,843.08      46,119.39     7.49%     69,352.84
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   F&B                                                       0.00       0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00       1,250.76     60.09%    -1,250.76   Telephone                                                 0.00       0.00%          0.00      0.00%         0.00       5,053.80    61.94%     -5,053.80
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00   Other                                                     0.00       0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
        39,325.86     16.75%    26,379.60   13.59%    12,946.26      22,934.88     13.36%    16,390.98   Franchise Fees                                      136,607.05      14.30%    106,012.40     14.09%    30,594.65     104,295.95    16.67%     32,311.10
         9,715.79      4.14%     8,535.90    4.40%     1,179.89      17,195.08     10.02%    -7,479.29   A&G                                                  51,971.72       5.44%     43,703.86      5.81%     8,267.86      48,908.36     7.82%      3,063.36
         6,016.57      2.56%     7,733.37    3.98%    -1,716.80           0.00      0.00%     6,016.57   IT                                                   23,947.99       2.51%     30,754.85      4.09%    -6,806.86           0.00     0.00%     23,947.99
         5,513.78      2.35%     4,252.00    2.19%     1,261.78       2,891.32      1.68%     2,622.46   S&M                                                  16,276.65       1.70%     22,475.00      2.99%    -6,198.35      21,459.29     3.43%     -5,182.64
         6,281.69      2.68%     4,435.00    2.29%     1,846.69       6,030.05      3.51%       251.64   R&M                                                  21,458.43       2.25%     25,175.00      3.35%    -3,716.57      24,688.48     3.95%     -3,230.05
        10,137.47      4.32%    10,786.80    5.56%      -649.33       8,473.52      4.94%     1,663.95   Utilities                                            43,153.26       4.52%     43,349.20      5.76%      -195.94      45,557.78     7.28%     -2,404.52

       100,732.98     42.90%    81,709.64   42.10%    19,023.34      69,514.71     40.50%    31,218.27   Total Direct Expense                                408,887.33      42.80%    352,099.46     46.79%    56,787.87     296,083.05    47.32%    112,804.28

        75,513.89     32.16%    45,960.83   23.68%    29,553.06      60,016.01     34.96%    15,497.88   Gross Operating Profit                              261,913.30      27.42%     71,591.77     9.51%    190,321.53     134,937.48    21.56%    126,975.82

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                                                                                                Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                                       As of 5/31/2022
              PTD     %           PTD Budget   %         Variance   PTD Last Year     %        Variance                                                                YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance




                                                                                                          Fixed Costs
         9,114.13      3.88%        8,824.68    4.55%      289.45      10,341.00      6.02%   -1,226.87   Taxes                                                45,570.65       4.77%    44,123.40      5.86%      1,447.25      54,782.19     8.75%     -9,211.54
         4,639.20      1.98%        6,063.59    3.12%   -1,424.39         246.71      0.14%    4,392.49   Insurance                                            25,339.70       2.65%    30,317.95      4.03%     -4,978.25       1,233.58     0.20%     24,106.12
        29,465.00     12.55%       29,464.88   15.18%        0.12      27,773.00     16.18%    1,692.00   Leases & Rent                                       143,893.00      15.06%   143,891.60     19.12%          1.40     138,865.00    22.19%      5,028.00
         7,544.06      3.21%        5,822.20    3.00%    1,721.86       5,649.82      3.29%    1,894.24   Management Fees                                      32,327.38       3.38%    25,515.22      3.39%      6,812.16      26,479.63     4.23%      5,847.75

        50,762.39     21.62%       50,175.35   25.85%     587.04       44,010.53     25.64%    6,751.86   Total Fixed Expenses                                247,130.73      25.87%   243,848.17     32.40%      3,282.56     221,360.40    35.38%     25,770.33

        24,751.50     10.54%       -4,214.52   -2.17%   28,966.02      16,005.48      9.32%    8,746.02   Net Operating Profit                                    14,782.57   1.55%    -172,256.40   -22.89%   187,038.97      -86,422.92    -13.81%   101,205.49



             0.00         0.00%         0.00   0.00%         0.00           0.00      0.00%        0.00   Owner's Expense                                              0.00    0.00%          0.00    0.00%          0.00        2,797.17      0.45%    -2,797.17
             0.00         0.00%         0.00   0.00%         0.00         493.32      0.29%     -493.32   Prior Owner's Expense                                     -899.61   -0.09%          0.00    0.00%       -899.61      -12,113.74     -1.94%    11,214.13



        24,751.50     10.54%       -4,214.52   -2.17%   28,966.02      15,512.16      9.04%    9,239.34   Net Operating Income                                    15,682.18   1.64%    -172,256.40   -22.89%   187,938.58      -77,106.35    -12.32%    92,788.53

             0.00         0.00%     5,000.00   2.58%    -5,000.00       1,296.00      0.75%   -1,296.00   Capital Reserve                                              0.00   0.00%    102,000.00     13.55%   -102,000.00       4,515.61     0.72%     -4,515.61

        24,751.50     10.54%       -9,214.52   -4.75%   33,966.02      14,216.16      8.28%   10,535.34   Adjusted NOI                                            15,682.18   1.64%    -274,256.40   -36.44%   289,938.58      -81,621.96    -13.04%    97,304.14




        24,751.50     10.54%       -9,214.52   -4.75%   33,966.02      14,216.16      8.28%   10,535.34   Net Profit/(Loss)                                       15,682.18   1.64%    -274,256.40   -36.44%   289,938.58      -81,621.96    -13.04%    97,304.14




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                                                                                                      Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                                             As of 5/31/2022
              PTD     %           PTD Budget      %         Variance   PTD Last Year     %          Variance                                                                  YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
        28,880.45     12.43%       15,360.00      8.01%   13,520.45       10,318.72      6.08%     18,561.73   Corporate Transient                                  121,522.28        12.91%    57,902.00      7.79%    63,620.28       29,451.63     4.78%     92,070.65
         6,527.71      2.81%        9,379.00      4.89%   -2,851.29            0.00      0.00%      6,527.71   Advanced Purchase                                     19,535.16         2.07%    31,757.00      4.27%   -12,221.84          137.56     0.02%     19,397.60
        16,763.47      7.21%       22,724.00     11.85%   -5,960.53       71,749.66     42.31%    -54,986.19   Qualified Discounts                                   58,788.49         6.24%    79,518.00     10.70%   -20,729.51      143,934.47    23.38%    -85,145.98
         1,418.01      0.61%        4,900.00      2.55%   -3,481.99        1,308.63      0.77%        109.38   Consortia Transient                                   12,033.04         1.28%    22,372.00      3.01%   -10,338.96        4,694.00     0.76%      7,339.04
         6,963.43      3.00%        1,085.00      0.57%    5,878.43          700.00      0.41%      6,263.43   Employee                                              24,099.34         2.56%     5,285.00      0.71%    18,814.34        2,065.00     0.34%     22,034.34
             0.00      0.00%            0.00      0.00%        0.00            0.00      0.00%          0.00   Leisure Transient                                          0.00         0.00%         0.00      0.00%         0.00        2,363.33     0.38%     -2,363.33
             0.00      0.00%            0.00      0.00%        0.00           80.60      0.05%        -80.60   Travel Agent/Friends & Family                          1,182.80         0.13%         0.00      0.00%     1,182.80        2,692.30     0.44%     -1,509.50
             0.00      0.00%            0.00      0.00%        0.00            0.00      0.00%          0.00   Leisure Package Transient                                  0.00         0.00%         0.00      0.00%         0.00        1,501.32     0.24%     -1,501.32
        16,210.74      6.98%        1,872.00      0.98%   14,338.74        3,420.34      2.02%     12,790.40   Member Reward Stay                                    54,073.22         5.74%     7,704.00      1.04%    46,369.22        7,430.02     1.21%     46,643.20
            89.25      0.04%            0.00      0.00%       89.25            0.00      0.00%         89.25   Non Qualified Discounts                                   89.25         0.01%         0.00      0.00%        89.25            0.00     0.00%         89.25
        27,376.42     11.78%       30,408.00     15.85%   -3,031.58       23,984.77     14.14%      3,391.65   Internet/E-Commerce                                   97,681.19        10.37%   123,970.00     16.69%   -26,288.81       69,506.38    11.29%     28,174.81
             0.00      0.00%            0.00      0.00%        0.00          187.08      0.11%       -187.08   E-Commerce Opaque                                          0.00         0.00%         0.00      0.00%         0.00        1,246.69     0.20%     -1,246.69
             0.00      0.00%            0.00      0.00%        0.00       18,388.11     10.84%    -18,388.11   Other Transient                                            0.00         0.00%         0.00      0.00%         0.00      142,704.87    23.18%   -142,704.87
         3,147.72      1.35%        3,432.00      1.79%     -284.28        1,852.00      1.09%      1,295.72   Government Transient                                  13,422.78         1.43%    12,673.00      1.71%       749.78        5,206.44     0.85%      8,216.34
       104,934.43     45.16%       72,592.00     37.85%   32,342.43        3,871.53      2.28%    101,062.90   Rack Transient                                       380,622.81        40.42%   273,946.00     36.88%   106,676.81       59,682.41     9.70%    320,940.40
        16,897.71      7.27%       20,202.00     10.53%   -3,304.29       16,258.55      9.59%        639.16   Local Negotiated Transient                            90,857.96         9.65%    86,394.00     11.63%     4,463.96       80,334.58    13.05%     10,523.38

      229,209.34     98.64%       181,954.00    94.87%    47,255.34     152,119.99      89.70%    77,089.35    Total Transient Room Revenue                         873,908.32       92.82%    701,521.00    94.43%    172,387.32     552,951.00     89.82%   320,957.32

                                                                                                               Group Room Revenue
           552.00         0.24%      2,040.00     1.06%    -1,488.00      13,938.00      8.22%    -13,386.00   Corporate Group                                           1,410.18      0.15%    10,540.00     1.42%     -9,129.82       39,170.48     6.36%    -37,760.30
             0.00         0.00%          0.00     0.00%         0.00         334.47      0.20%       -334.47   Leisure Group                                                 0.00      0.00%         0.00     0.00%          0.00          836.39     0.14%       -836.39
             0.00         0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Government Group                                              0.00      0.00%         0.00     0.00%          0.00          108.30     0.02%       -108.30
           346.50         0.15%          0.00     0.00%       346.50           0.00      0.00%        346.50   Tour & Travel Group                                       1,970.41      0.21%         0.00     0.00%      1,970.41          129.75     0.02%      1,840.66
             0.00         0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Association Group                                           522.39      0.06%         0.00     0.00%        522.39        8,073.00     1.31%     -7,550.61
         2,340.00         1.01%      3,366.00     1.76%    -1,026.00       3,171.71      1.87%       -831.71   SMERF Group                                              48,466.38      5.15%    13,186.00     1.77%     35,280.38        6,826.86     1.11%     41,639.52
             0.00         0.00%      4,080.00     2.13%    -4,080.00           0.00      0.00%          0.00   Sports Group                                             15,096.50      1.60%    15,890.00     2.14%       -793.50        6,935.00     1.13%      8,161.50

        3,238.50      1.39%         9,486.00     4.95%    -6,247.50      17,444.18      10.29%    -14,205.68   Total Group Room Revenue                                 67,465.86     7.17%     39,616.00     5.33%     27,849.86      62,079.78     10.08%     5,386.08

                                                                                                               Contract Room Revenue

             0.00     0.00%             0.00     0.00%         0.00            0.00      0.00%         0.00    Total Contract Room Revenue                                   0.00     0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                               Other Room Revenue
           108.00         0.05%       250.00      0.13%     -142.00          147.95      0.09%        -39.95   No-Show Rooms                                               401.45      0.04%      1,250.00    0.17%       -848.55          299.27     0.05%       102.18
             0.00         0.00%       100.00      0.05%     -100.00            0.00      0.00%          0.00   Pet/Smoking/Damage Fees                                       0.00      0.00%        500.00    0.07%       -500.00          398.37     0.06%      -398.37

          108.00      0.05%           350.00     0.18%      -242.00         147.95       0.09%        -39.95   Total Other Room Revenue                                    401.45     0.04%      1,750.00     0.24%     -1,348.55         697.64     0.11%       -296.19

          -188.50     -0.08%             0.00     0.00%     -188.50         -132.87      -0.08%       -55.63   Less: Allowances                                           -221.23     -0.02%          0.00    0.00%       -221.23         -132.89    -0.02%        -88.34

      232,367.34    100.00%       191,790.00    100.00%   40,577.34     169,579.25     100.00%    62,788.09    Total Room Revenue                                   941,554.40       100.00%   742,887.00 100.00%      198,667.40     615,595.53 100.00%      325,958.87

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00      0.00%             0.00     0.00%         0.00           0.00       0.00%         0.00   Division Management                                       -3,538.46    -0.38%          0.00     0.00%     -3,538.46           0.00     0.00%     -3,538.46
             0.00      0.00%         3,269.06     1.70%    -3,269.06           0.00       0.00%         0.00   Front Office Management                                    9,230.76     0.98%     16,004.37     2.15%     -6,773.61           0.00     0.00%      9,230.76
         3,538.46      1.52%         3,758.30     1.96%      -219.84           0.00       0.00%     3,538.46   Housekeeping Management                                   17,692.30     1.88%     18,400.29     2.48%       -707.99       4,578.84     0.74%     13,113.46
        3,538.46      1.52%         7,027.36     3.66%    -3,488.90            0.00      0.00%     3,538.46    Total Rooms Management                                   23,384.60     2.48%     34,404.66     4.63%    -11,020.06       4,578.84     0.74%     18,805.76
         8,303.28      3.57%         4,145.14     2.16%     4,158.14       3,518.73       2.07%     4,784.55   Front Office Agents                                       20,628.01     2.19%     20,190.85     2.72%        437.16      17,582.91     2.86%      3,045.10
             0.00      0.00%         2,834.29     1.48%    -2,834.29       5,468.19       3.22%    -5,468.19   Front Office Supervisors                                  14,202.58     1.51%     13,805.73     1.86%        396.85      10,945.73     1.78%      3,256.85
             0.00      0.00%         3,224.00     1.68%    -3,224.00           0.00       0.00%         0.00   Night Auditors                                             9,082.47     0.96%     15,704.00     2.11%     -6,621.53       6,642.97     1.08%      2,439.50
         2,913.96      1.25%         2,418.00     1.26%       495.96           0.00       0.00%     2,913.96   Breakfast Attendant                                       13,138.14     1.40%     11,778.00     1.59%      1,360.14           0.00     0.00%     13,138.14
       11,217.24      4.83%        12,621.43     6.58%    -1,404.19       8,986.92       5.30%     2,230.32    Total Rooms Front Office                                 57,051.20     6.06%     61,478.58     8.28%     -4,427.38      35,171.61     5.71%     21,879.59
         3,917.58      1.69%           992.00     0.52%     2,925.58         911.20       0.54%     3,006.38   Housekeeping Supervisors                                  15,543.95     1.65%      4,832.00     0.65%     10,711.95       4,264.49     0.69%     11,279.46
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                                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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              PTD     %           PTD Budget     %         Variance   PTD Last Year     %          Variance                                                                 YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance

        23,739.06     10.22%        10,680.00    5.57%    13,059.06       4,355.18       2.57%    19,383.88   Room Attendants                                          62,278.36    6.61%     42,920.00     5.78%     19,358.36      15,682.34     2.55%     46,596.02
             0.00      0.00%         2,976.00    1.55%    -2,976.00       1,913.12       1.13%    -1,913.12   Housepersons                                              4,819.02    0.51%     14,496.00     1.95%     -9,676.98       8,400.20     1.36%     -3,581.18
             0.00      0.00%         2,852.00    1.49%    -2,852.00           0.00       0.00%         0.00   Laundry Attendants                                        1,900.25    0.20%     13,892.00     1.87%    -11,991.75           0.00     0.00%      1,900.25
       27,656.64     11.90%        17,500.00    9.12%    10,156.64       7,179.50       4.23%    20,477.14    Total Rooms Housekeeping                                84,541.58    8.98%     76,140.00    10.25%      8,401.58      28,347.03     4.60%     56,194.55

       42,412.34     18.25%        37,148.79    19.37%    5,263.55      16,166.42       9.53%    26,245.92    Total Rooms Salary and Wages                        164,977.38       17.52%   172,023.24    23.16%     -7,045.86      68,097.48     11.06%    96,879.90

                                                                                                              PR Taxes and Benefits
         3,133.69      1.35%         2,901.66    1.51%       232.03       1,178.70       0.70%     1,954.99   FICA                                                     12,734.15    1.35%     13,480.50     1.81%       -746.35       5,030.35     0.82%      7,703.80
            63.71      0.03%            34.14    0.02%        29.57          58.45       0.03%         5.26   Federal Unemployment Tax                                    586.22    0.06%        464.44     0.06%        121.78         272.54     0.04%        313.68
           387.62      0.17%            75.86    0.04%       311.76         154.07       0.09%       233.55   State Unemployment Tax                                    1,647.80    0.18%      1,472.66     0.20%        175.14         657.53     0.11%        990.27
        3,585.02      1.54%         3,011.66    1.57%       573.36       1,391.22       0.82%     2,193.80    Total Payroll Taxes                                     14,968.17    1.59%     15,417.60     2.08%       -449.43       5,960.42     0.97%      9,007.75
             0.00      0.00%           500.00    0.26%      -500.00           0.00       0.00%         0.00   Holiday                                                   1,287.76    0.14%      1,000.00     0.13%        287.76         553.52     0.09%        734.24
             0.00      0.00%           276.76    0.14%      -276.76           0.00       0.00%         0.00   Vacation                                                      0.00    0.00%      1,173.46     0.16%     -1,173.46           0.00     0.00%          0.00
             0.00     0.00%           776.76    0.41%      -776.76            0.00      0.00%          0.00   Total Supplemental Pay                                   1,287.76    0.14%      2,173.46     0.29%       -885.70         553.52     0.09%        734.24
         2,083.18      0.90%         2,131.50    1.11%       -48.32       1,999.11       1.18%        84.07   Worker's Compensation                                     9,091.65    0.97%     10,090.86     1.36%       -999.21       8,616.85     1.40%        474.80
          -354.36     -0.15%             0.00    0.00%      -354.36           0.00       0.00%      -354.36   Group Insurance                                            -741.20   -0.08%          0.00     0.00%       -741.20           0.00     0.00%       -741.20
             0.00      0.00%             0.00    0.00%         0.00           0.00       0.00%         0.00   Bonus and Incentive Pay                                   4,189.05    0.44%      2,000.00     0.27%      2,189.05           0.00     0.00%      4,189.05
        1,728.82      0.74%         2,131.50    1.11%      -402.68       1,999.11       1.18%      -270.29    Total Other Benefits                                    12,539.50    1.33%     12,090.86     1.63%        448.64       8,616.85     1.40%      3,922.65

        5,313.84      2.29%         5,919.92    3.09%      -606.08       3,390.33       2.00%     1,923.51    Total Rooms PR Taxes and Benefits                       28,795.43    3.06%     29,681.92     4.00%       -886.49      15,130.79     2.46%     13,664.64

       47,726.18     20.54%        43,068.71    22.46%    4,657.47      19,556.75      11.53%    28,169.43    Total Rooms Labor Costs                             193,772.81       20.58%   201,705.16    27.15%     -7,932.35      83,228.27     13.52%   110,544.54

                                                                                                              Other Expenses
         7,427.38         3.20%      8,544.00    4.45%    -1,116.62       5,206.68      3.07%      2,220.70   Breakfast /Comp Cost                                    39,918.10     4.24%    34,336.00     4.62%      5,582.10       19,070.61     3.10%    20,847.49
           408.52         0.18%      1,602.00    0.84%    -1,193.48       1,055.51      0.62%       -646.99   Cleaning Supplies                                        4,762.29     0.51%     6,438.00     0.87%     -1,675.71        5,650.60     0.92%      -888.31
             0.00         0.00%          0.00    0.00%         0.00           0.00      0.00%          0.00   Contract Labor                                           3,894.78     0.41%         0.00     0.00%      3,894.78            0.00     0.00%     3,894.78
             0.00         0.00%          0.00    0.00%         0.00           0.00      0.00%          0.00   Decorations & Plants                                        18.18     0.00%         0.00     0.00%         18.18            0.00     0.00%        18.18
             0.00         0.00%         45.00    0.02%       -45.00           0.00      0.00%          0.00   Dues and Subscriptions                                       0.00     0.00%       225.00     0.03%       -225.00           60.00     0.01%       -60.00
         3,461.68         1.49%      1,922.40    1.00%     1,539.28       1,576.92      0.93%      1,884.76   Guest Supplies                                           6,748.99     0.72%     7,725.60     1.04%       -976.61        5,196.23     0.84%     1,552.76
             0.00         0.00%          0.00    0.00%         0.00         451.50      0.27%       -451.50   Internet/Web Expense                                         0.00     0.00%         0.00     0.00%          0.00        3,489.50     0.57%    -3,489.50
           421.45         0.18%        534.00    0.28%      -112.55         259.17      0.15%        162.28   Laundry                                                  2,804.97     0.30%     2,146.00     0.29%        658.97        1,431.87     0.23%     1,373.10
             0.00         0.00%          0.00    0.00%         0.00         136.48      0.08%       -136.48   Laundry Allocation                                           0.00     0.00%         0.00     0.00%          0.00          136.48     0.02%      -136.48
           541.78         0.23%      1,174.80    0.61%      -633.02         301.36      0.18%        240.42   Linen                                                    2,366.66     0.25%     4,721.20     0.64%     -2,354.54        1,383.51     0.22%       983.15
             0.00         0.00%          0.00    0.00%         0.00           0.00      0.00%          0.00   Office Equipment                                             0.00     0.00%         0.00     0.00%          0.00           27.32     0.00%       -27.32
             0.00         0.00%          0.00    0.00%         0.00           0.00      0.00%          0.00   Operating Supplies                                         569.74     0.06%         0.00     0.00%        569.74            0.00     0.00%       569.74
             0.00         0.00%         20.00    0.01%       -20.00           0.00      0.00%          0.00   Printing and Stationery                                      0.00     0.00%       100.00     0.01%       -100.00          201.26     0.03%      -201.26
           691.41         0.30%        183.33    0.10%       508.08           0.00      0.00%        691.41   Reservation Expense                                      2,559.48     0.27%       916.65     0.12%      1,642.83            0.00     0.00%     2,559.48
         1,774.77         0.76%      1,775.00    0.93%        -0.23       1,751.48      1.03%         23.29   Television Cable                                         8,856.68     0.94%     8,875.00     1.19%        -18.32        8,721.99     1.42%       134.69
             0.00         0.00%          0.00    0.00%         0.00           0.00      0.00%          0.00   Transportation                                               0.00     0.00%         0.00     0.00%          0.00           30.30     0.00%       -30.30
             0.00         0.00%          0.00    0.00%         0.00           0.00      0.00%          0.00   Travel                                                     607.20     0.06%         0.00     0.00%        607.20            0.00     0.00%       607.20
             0.00         0.00%        194.46    0.10%      -194.46           0.00      0.00%          0.00   Travel Agent Comm - Group Rooms                            930.00     0.10%       812.14     0.11%        117.86            0.00     0.00%       930.00
         9,014.83         3.88%      3,491.98    1.82%     5,522.85           0.00      0.00%      9,014.83   Travel Agent Comm - Transient Rooms                     41,435.16     4.40%    13,833.56     1.86%     27,601.60          521.00     0.08%    40,914.16
             0.00         0.00%        100.00    0.05%      -100.00           0.00      0.00%          0.00   Uniforms                                                     0.00     0.00%       500.00     0.07%       -500.00          198.72     0.03%      -198.72

       23,741.82     10.22%        19,586.97    10.21%    4,154.85      10,739.10       6.33%    13,002.72    Total Rooms Other Expenses                          115,472.23       12.26%    80,629.15    10.85%     34,843.08      46,119.39     7.49%     69,352.84

       71,468.00     30.76%        62,655.68    32.67%    8,812.32      30,295.85      17.87%    41,172.15    Total Rooms Expenses                                309,245.04       32.84%   282,334.31    38.01%     26,910.73     129,347.66     21.01%   179,897.38

      160,899.34     69.24%       129,134.32    67.33%   31,765.02     139,283.40      82.13%    21,615.94    Total Rooms Profit (Loss)                           632,309.36       67.16%   460,552.69    61.99%    171,756.67     486,247.87     78.99%   146,061.49




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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                                YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                            Room Sale Stats
                                                                                            Tranisent Rooms
           280.00             160.00        120.00          108.00                172.00    Room Stat - Corporate Transient                          1,208.00           638.00        570.00         351.00           857.00
            53.00             113.00        -60.00            0.00                 53.00    Room Stat - Advanced Purchase                              165.00           382.00       -217.00           2.00           163.00
           137.00               0.00        137.00          742.00               -605.00    Room Stat - Qualified Discounts                            517.00             0.00        517.00       1,558.00        -1,041.00
             1.00               0.00          1.00            0.00                  1.00    Room Stat - FIT(Flexible Independent Travel)                 1.00             0.00          1.00           0.00             1.00
             8.00              50.00        -42.00           13.00                 -5.00    Room Stat - Consortia Rate Transient                        86.00           232.00       -146.00          52.00            34.00
           104.00              31.00         73.00           20.00                 84.00    Room Stat - Employee                                       405.00           151.00        254.00          59.00           346.00
             0.00               0.00          0.00            0.00                  0.00    Room Stat - Leisure Transient                                0.00             0.00          0.00          23.00           -23.00
             0.00               0.00          0.00            0.00                  0.00    Room Stat - Package Transient                                0.00             0.00          0.00          10.00           -10.00
             0.00               0.00          0.00            1.00                 -1.00    Room Stat - Travel Agent/Friends & Family                   12.00             0.00         12.00          35.00           -23.00
           340.00              78.00        262.00          142.00                198.00    Room Stat - Member Reward Stay                           1,171.00           321.00        850.00         267.00           904.00
             1.00               0.00          1.00            0.00                  1.00    Room Stat - Non-Qualified Discounts                          3.00             0.00          3.00           0.00             3.00
           225.00             362.00       -137.00          294.00                -69.00    Room Stat - Internet                                       842.00         1,503.00       -661.00         869.00           -27.00
             0.00               0.00          0.00          196.00               -196.00    Room Stat - Other Transient                                  0.00             0.00          0.00       1,837.00        -1,837.00
             0.00               0.00          0.00            2.00                 -2.00    Room Stat - E-Commerce Opaque                                0.00             0.00          0.00          14.00           -14.00
            28.00              44.00        -16.00           24.00                  4.00    Room Stat - Government Rate Transient                      113.00           164.00        -51.00          67.00            46.00
           782.00             698.00         84.00           40.00                742.00    Room Stat - Rack Rate Transient                          3,022.00         2,696.00        326.00         663.00         2,359.00
           194.00             259.00        -65.00          212.00                -18.00    Room Stat - Local Negotiated Transient                   1,062.00         1,155.00        -93.00       1,132.00           -70.00
        2,153.00           1,795.00        358.00        1,794.00                359.00     Total Transient Rooms Sold                              8,607.00         7,242.00      1,365.00       6,939.00         1,668.00

                                                                                            Group Rooms
            3.00              20.00          -17.00         202.00                -199.00   Room Stat - Corporate Group Rooms                          19.00            120.00      -101.00          510.00          -491.00
            0.00               0.00            0.00           4.00                  -4.00   Room Stat - Leisure Group                                   0.00              0.00         0.00            9.00            -9.00
            0.00               0.00            0.00           0.00                   0.00   Room Stat - Government Group                                6.00              0.00         6.00            1.00             5.00
            3.00               0.00            3.00           0.00                   3.00   Room Stat - Tour & Travel Group                            18.00              0.00        18.00            2.00            16.00
            0.00               0.00            0.00           0.00                   0.00   Room Stat - Association Group                               6.00              0.00         6.00          100.00           -94.00
           19.00              34.00          -15.00          39.00                 -20.00   Room Stat - SMERF Group                                   501.00            144.00       357.00           87.00           414.00
            0.00              40.00          -40.00           0.00                   0.00   Room Stat - Sports Group                                  116.00            170.00       -54.00           89.00            27.00
           25.00              94.00         -69.00         245.00                -220.00    Total Group Rooms Sold                                   666.00            434.00       232.00          798.00          -132.00

                                                                                            Contract Rooms
             0.00              0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                                   0.00             0.00          0.00            0.00            0.00

        2,178.00           1,889.00        289.00        2,039.00                139.00     Total Rooms Sold                                        9,273.00         7,676.00      1,597.00       7,737.00         1,536.00
             2.00              0.00           2.00            0.00                  2.00    Room Stat - Comp Rooms                                      33.00            0.00          33.00          10.00            23.00
        2,180.00           1,889.00        291.00        2,039.00                141.00     Total Rooms Occupied                                    9,306.00         7,676.00      1,630.00       7,747.00         1,559.00
           984.00              0.00         984.00        1,562.00               -578.00    Room Stat - Out of Order                                 5,481.00            0.00       5,481.00       1,896.00         3,585.00

                                                                                            ADR
           103.14              96.00          7.14           95.54                  7.60    Corporate Transient ADR                                   100.60            90.76          9.84           83.91           16.69
           123.16              83.00         40.16            0.00                123.16    Advanced Purchase ADR                                     118.39            83.13         35.26           68.78           49.61
           122.36               0.00        122.36           96.70                 25.66    Qualified Discount ADR                                    113.71             0.00        113.71           92.38           21.33
             0.00               0.00          0.00            0.00                  0.00    FIT ADR                                                     0.00             0.00          0.00            0.00            0.00
           177.25              98.00         79.25          100.66                 76.59    Consortia ADR                                             139.92            96.43         43.49           90.27           49.65
            66.96              35.00         31.96           35.00                 31.96    Employee ADR                                               59.50            35.00         24.50           35.00           24.50
             0.00               0.00          0.00            0.00                  0.00    Leisure ADR                                                 0.00             0.00          0.00          102.75         -102.75
             0.00               0.00          0.00           80.60                -80.60    Travel Agent/Friends & Family ADR                          98.57             0.00         98.57           76.92           21.64
             0.00               0.00          0.00            0.00                  0.00    Leisure Package ADR                                         0.00             0.00          0.00           65.27          -65.27
            47.68              24.00         23.68           24.09                 23.59    Member Reward Stay ADR                                     46.18            24.00         22.18           27.83           18.35
             0.00               0.00          0.00            0.00                  0.00    Golf Pkg ADR                                                0.00             0.00          0.00            0.00            0.00
            89.25               0.00         89.25            0.00                 89.25    Non Qualified ADR                                          29.75             0.00         29.75            0.00           29.75
           121.67              84.00         37.67           81.58                 40.09    Internet ADR                                              116.01            82.48         33.53           79.98           36.03
             0.00               0.00          0.00           93.54                -93.54    E-Commerce Opaque ADR                                       0.00             0.00          0.00           89.05          -89.05
             0.00               0.00          0.00           93.82                -93.82    Other Transient ADR                                         0.00             0.00          0.00           77.68          -77.68
             0.00               0.00          0.00            0.00                  0.00    Airline Distressed Passenger ADR                            0.00             0.00          0.00            0.00            0.00
           112.42              78.00         34.42           77.17                 35.25    Government ADR                                            118.79            77.27         41.51           77.71           41.08
           134.19             104.00         30.19           96.79                 37.40    Rack ADR                                                  125.95           101.61         24.34           90.02           35.93
            87.10              78.00          9.10           76.69                 10.41    Local Negotiated ADR                                       85.55            74.80         10.75           70.97           14.59
          106.46             101.37           5.09           84.79                 21.67    Total Transient ADR                                      101.53             96.87          4.67           79.69           21.85


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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

           184.00             102.00         82.00           69.00                115.00    Corporate Group ADR                                       74.22           87.83       -13.61           76.80           -2.58
             0.00               0.00          0.00           83.62                -83.62    Leisure Group ADR                                          0.00            0.00         0.00           92.93         -92.93
             0.00               0.00          0.00            0.00                  0.00    Government Group ADR                                       0.00            0.00         0.00          108.30        -108.30
           115.50               0.00        115.50            0.00                115.50    Tour & Travel Group ADR                                  109.47            0.00       109.47           64.88          44.59
             0.00               0.00          0.00            0.00                  0.00    Association Group ADR                                     87.07            0.00        87.07           80.73            6.34
             0.00               0.00          0.00            0.00                  0.00    City Wide Group ADR                                        0.00            0.00         0.00            0.00            0.00
           123.16              99.00         24.16           81.33                 41.83    SMERF Group ADR                                           96.74           91.57         5.17           78.47          18.27
             0.00             102.00       -102.00            0.00                  0.00    Sports Group ADR                                         130.14           93.47        36.67           77.92          52.22
             0.00               0.00          0.00            0.00                  0.00    Other Group ADR                                            0.00            0.00         0.00            0.00            0.00
          129.54             100.91          28.63           71.20                 58.34    Total Group ADR                                         101.30            91.28        10.02           77.79          23.51

             0.00              0.00           0.00            0.00                  0.00    Airline Crew ADR                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Other Contract ADR                                        0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Contract ADR                                        0.00             0.00         0.00            0.00           0.00

          106.69             101.53           5.16           83.17                 23.52    Total ADR                                               101.54            96.78         4.76           79.57          21.97




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                                                                                               Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                                      As of 5/31/2022
              PTD     %           PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                         F&B Summary
                                                                                                         Revenue
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Food Revenue                                     0.00    0.00%        0.00       0.00%      0.00            0.00   0.00%            0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Food Revenue                       0.00    0.00%        0.00       0.00%      0.00            0.00   0.00%            0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Beverage Revenue                                 0.00    0.00%        0.00       0.00%      0.00            0.00   0.00%            0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Beverage Revenue                   0.00    0.00%        0.00       0.00%      0.00            0.00   0.00%            0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Other Revenue                                    0.00    0.00%        0.00       0.00%      0.00            0.00   0.00%            0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Other Revenue                      0.00    0.00%        0.00       0.00%      0.00        1,990.00 100.00%       -1,990.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Revenue                                       0.00   0.00%         0.00      0.00%       0.00       1,990.00 100.00%       -1,990.00

                                                                                                         Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Food Purchases                                          0.00    0.00%        0.00       0.00%      0.00          151.77      7.63%     -151.77
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Beverage Purchases                                      0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Cedit Employee Meals                                    0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Credit House Charges                                    0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Credit In-House Promotions                              0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Audio Visual Cost of Sales                              0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Other Cost of Sales                                     0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00         151.77      7.63%     -151.77

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    F&B Gross Profit                                        0.00   0.00%         0.00      0.00%       0.00       1,838.23     92.37%    -1,838.23

                                                                                                         Expenses
                                                                                                         Payroll
                                                                                                         Salaries and Wages
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Management                                              0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Non-Management                                          0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00
                                                                                                         PR Taxes and Benefits
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Payroll Taxes                                           0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Supplemental Pay                                        0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Other Benefits                                          0.00    0.00%        0.00       0.00%      0.00          448.50     22.54%     -448.50
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00         448.50     22.54%     -448.50

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Payroll                                       0.00   0.00%         0.00      0.00%       0.00         448.50     22.54%     -448.50

                                                                                                         Other Expenses
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Audio Visual Supplies                                   0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Banquet Expense                                         0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Bar Expense/Promos                                      0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Bar Supplies                                            0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    China                                                   0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Cleaning Supplies                                       0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Communication Expense                                   0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Contract Cleaning                                       0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Contract Labor                                          0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Decorations & Plants                                    0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Dues and Subscriptions                                  0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Equipment Rental                                        0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Food and Beverage Advertising                           0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Glassware                                               0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Guest Loss/Damage                                       0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Guest Supplies                                          0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    In-House Entertainment                                  0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Kitchen/Cooking Fuel                                    0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Kitchen Equipment                                       0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Laundry - Outside Expense                               0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Laundry Allocation                                      0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Licenses/Permits                                        0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Linen                                                   0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Linen Rental                                            0.00   0.00%          0.00     0.00%       0.00            0.00     0.00%         0.00
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                                                                                            Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                                   As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year    %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Maintenance Contracts                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Meals and Entertainment                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Menus                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Miscellaneous Expense                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Music and Entertainment                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Office Equipment                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Office Supplies                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Operating Supplies                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Paper/Plastic Supplies                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Printing and Stationery                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Silverware                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Software Expense/Maintenance                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Television Cable                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Training                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Travel                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Uniforms                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Utensils                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Expenses                                      0.00   0.00%         0.00      0.00%       0.00         448.50     22.54%    -448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00       1,389.73     69.84%   -1,389.73




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                                                                                                         As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                           YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                            F&B Stats
                                                                                            Restaurant 1
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 2
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                            Room Service
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Room Service Covers                               0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Room Service Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                            Banquets
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Banquets Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Banquets Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                            Catering
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Catering Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Catering Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 3
             0.00               0.00          0.00            0.00                  0.00    Breakfast Avg Check                                     0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Lunch Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Dinner Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00    Brunch Avg Check                                        0.00             0.00        0.00            0.00           0.00
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                                                                                  Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                         As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                           YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 4
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                            Restaurant 5
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                            Bar 1
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                            Bar 2
             0.00              0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                         0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                  0.00    Total Covers                                            0.00            0.00         0.00            0.00           0.00




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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %        Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Food Purchases                                          0.00   0.00%         0.00     0.00%      0.00          151.77    7.63%   -151.77

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Cost of Sales                          0.00   0.00%        0.00      0.00%      0.00         151.77     7.63%   -151.77

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Management                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Non-Management                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Salaries and Wages                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin PR Taxes and Benefits                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Payroll                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Other Expenses                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                      0.00   0.00%        0.00      0.00%      0.00         151.77     7.63%   -151.77




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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %        Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Less Adjustments                                        0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Revenue                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Sales

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Cost of Sales                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Other Expenses                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Expenses                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Worker's Compensation                                   0.00    0.00%        0.00       0.00%      0.00          448.50     0.00%    -448.50
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00         448.50     0.00%    -448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00         448.50     0.00%    -448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Payroll                              0.00   0.00%         0.00      0.00%       0.00         448.50     0.00%    -448.50

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Expenses                             0.00   0.00%         0.00      0.00%       0.00         448.50     0.00%    -448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00        -448.50     0.00%    448.50




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Room Service
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                               Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                                      As of 5/31/2022
              PTD     %           PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                         Banquets
                                                                                                         Food Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Banquets Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                         Beverage Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Banquets Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                         Other Revenue
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%       0.00    Public Room Rental                                      0.00   0.00%          0.00     0.00%       0.00        1,990.00    100.00%   -1,990.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Other Revenue                            0.00   0.00%         0.00      0.00%       0.00       1,990.00 100.00%       -1,990.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Revenue                                  0.00   0.00%         0.00      0.00%       0.00       1,990.00 100.00%       -1,990.00

                                                                                                         Cost of Sales

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00       1,990.00 100.00%       -1,990.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Management                               0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00                      0.00                0.00            0.00                  0.00    Total Banquets Salaries and Wages                       0.00                 0.00                  0.00            0.00                  0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00                      0.00                0.00            0.00                  0.00    Total Banquet Benefits                                  0.00                 0.00                  0.00            0.00                  0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                         Other Expenses
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00       1,990.00 100.00%       -1,990.00




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                                                                                            Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Catering
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 3
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll Taxes and Benefits           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 4
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 4 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restauarnt 4 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                            Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 5
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                            Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                            Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expenses
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                                 Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %          Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                           Telephone
             0.00         0.00%         0.00   0.00%       0.00           12.75     100.00%      -12.75    Local and Long Distance Revenue                         0.00   0.00%          0.00     0.00%       0.00           33.75    100.00%      -33.75

             0.00     0.00%            0.00    0.00%       0.00           12.75    100.00%       -12.75    Telephone Revenue                                       0.00   0.00%         0.00      0.00%       0.00           33.75 100.00%         -33.75
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00    0.00%          0.00
             0.00     0.00%            0.00    0.00%       0.00           12.75    100.00%       -12.75    Total Telephone Revenue                                 0.00   0.00%         0.00      0.00%       0.00           33.75 100.00%         -33.75

                                                                                                           Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00            0.25     1.96%          -0.25   Cost of Sales - Local Calls                             0.00    0.00%        0.00       0.00%      0.00          360.50 1,068.15%       -360.50
             0.00      0.00%           0.00     0.00%      0.00        1,204.09 9,443.84%      -1,204.09   Cost of Sales - Long Distance                           0.00    0.00%        0.00       0.00%      0.00        5,632.6116,689.21%     -5,632.61
             0.00     0.00%            0.00    0.00%       0.00       1,204.349,445.80%       -1,204.34    Total Telephone Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00       5,993.11
                                                                                                                                                                                                                                17,757.36%      -5,993.11

             0.00     0.00%            0.00    0.00%       0.00      -1,191.59-9,345.80%      1,191.59     Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00      -5,959.36
                                                                                                                                                                                                                               -17,657.36%       5,959.36

                                                                                                           Other Expenses
             0.00      0.00%           0.00     0.00%      0.00        1,250.76 9,809.88%      -1,250.76   Internet/Web Expense                                    0.00    0.00%        0.00       0.00%      0.00        4,983.8014,766.81%     -4,983.80
             0.00      0.00%           0.00     0.00%      0.00            0.00     0.00%           0.00   Software Expense/Maintenance                            0.00    0.00%        0.00       0.00%      0.00           70.00 207.41%          -70.00
             0.00     0.00%            0.00    0.00%       0.00       1,250.769,809.88%       -1,250.76    Total Telephone Other Expenses                          0.00   0.00%         0.00      0.00%       0.00       5,053.80
                                                                                                                                                                                                                                14,974.22%      -5,053.80

             0.00     0.00%            0.00    0.00%       0.00      -2,442.35
                                                                            -19,155.69%       2,442.35     Total Telephone Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00     -11,013.16
                                                                                                                                                                                                                               -32,631.59%      11,013.16




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              PTD     %        PTD Budget     %       Variance   PTD Last Year     %          Variance                                                                 YTD     %        YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                         Minor Operating
                                                                                                         Income
           210.00      8.63%       850.00    37.23%    -640.00       2,100.00     101.51%    -1,890.00   Rental Income - Other                                     4,327.01    31.33%     3,850.00    39.88%      477.01       2,100.00     25.85%    2,227.01
          210.00      8.63%       850.00    37.23%    -640.00       2,100.00     101.51%    -1,890.00    Total Rental Income                                      4,327.01    31.33%     3,850.00    39.88%      477.01       2,100.00     25.85%    2,227.01
             0.00     0.00%          0.00    0.00%        0.00           0.00      0.00%          0.00   Total Vending Commission Income                               0.00    0.00%          0.00    0.00%         0.00           0.00     0.00%         0.00
           934.20     38.38%         0.00     0.00%     934.20         311.01      15.03%       623.19   Cancellation Fee - Rooms                                  3,314.42    24.00%         0.00     0.00%    3,314.42         489.76      6.03%    2,824.66
          934.20     38.38%          0.00    0.00%     934.20         311.01      15.03%       623.19    Total Cancellation Fee Income                            3,314.42    24.00%          0.00    0.00%    3,314.42         489.76      6.03%    2,824.66
             0.00      0.00%         0.00     0.00%       0.00           0.00       0.00%         0.00   Guest Laundry                                                 4.00     0.03%         0.00     0.00%        4.00           0.00      0.00%        4.00
             0.00      0.00%         0.00     0.00%       0.00           0.60       0.03%        -0.60   Cash Over/Short                                               0.00     0.00%         0.00     0.00%        0.00           0.60      0.01%       -0.60
            44.55      1.83%        45.00     1.97%      -0.45          84.15       4.07%       -39.60   Internet Access                                             524.70     3.80%       225.00     2.33%      299.70         475.20      5.85%       49.50
             0.00      0.00%         0.00     0.00%       0.00          17.72       0.86%       -17.72   Telephone Revenue                                            21.34     0.15%         0.00     0.00%       21.34       1,093.64     13.46%   -1,072.30
           670.98     27.56%         0.00     0.00%     670.98           0.00       0.00%       670.98   Other Revenue 3                                           1,711.10    12.39%         0.00     0.00%    1,711.10          72.00      0.89%    1,639.10
             0.00      0.00%         0.00     0.00%       0.00      -1,650.00     -79.76%     1,650.00   Other Revenue 4                                               0.00     0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00
           574.58     23.60%     1,388.40    60.80%    -813.82       1,205.19      58.26%      -630.61   Gift Shop Sales                                           3,907.35    28.29%     5,579.60    57.79%   -1,672.25       4,703.25     57.88%     -795.90
             0.00      0.00%         0.00     0.00%       0.00           0.00       0.00%         0.00   Other Revenue 7                                               0.00     0.00%         0.00     0.00%        0.00        -809.17     -9.96%      809.17
        1,290.11     53.00%     1,433.40    62.77%    -143.29        -342.34     -16.55%     1,632.45    Total Other Income                                       6,168.49    44.67%     5,804.60    60.12%      363.89       5,535.52     68.13%      632.97

        2,434.31    100.00%     2,283.40    100.00%   150.91        2,068.67     100.00%      365.64     Total Minor Operating Income                            13,809.92    100.00%    9,654.60 100.00%      4,155.32       8,125.28 100.00%       5,684.64

                                                                                                         Cost of Sales
           912.89     37.50%       902.46    39.52%     10.43          965.43      46.67%       -52.54   Cost of Sales - Gift Shop                                 3,488.60    25.26%     3,626.75    37.56%     -138.15       2,161.40     26.60%    1,327.20
          912.89     37.50%       902.46    39.52%      10.43         965.43      46.67%       -52.54    Total Minor Operated Cost of Sales                       3,488.60    25.26%     3,626.75    37.56%     -138.15       2,161.40     26.60%    1,327.20

        1,521.42     62.50%     1,380.94    60.48%    140.48        1,103.24      53.33%      418.18     Total Minor Operated Profit (Loss)                      10,321.32    74.74%     6,027.85    62.44%    4,293.47       5,963.88     73.40%    4,357.44




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Arcade
                                                                                                    Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Revenue                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Non-Management                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Profit (Loss)                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Waterpark
                                                                                                    Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Revenue                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Non-Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Salaries and Wages                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark PR Taxes and Benefits                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Payroll                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Other Expenses                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Profit (Loss)                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %         Variance   PTD Last Year     %         Variance                                                                YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                            Franchise Fees
             0.00         0.00%         0.00    0.00%        0.00        1,277.00      0.74%   -1,277.00    Franchise Fees - IT Fees                                     0.00    0.00%         0.00     0.00%        0.00        3,831.00     0.61%   -3,831.00
        14,010.04         5.97%    14,311.20    7.37%     -301.16       10,193.41      5.94%    3,816.63    Franchise Fees - Royalty & Licenses                     56,883.39    5.95%    57,512.80     7.64%     -629.41       64,000.93    10.23%   -7,117.54
             0.00         0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Franchise Fees - Reservations-GDS                            0.00    0.00%         0.00     0.00%        0.00         -284.80    -0.05%      284.80
             0.00         0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Franchise Fees - Equipment                                   0.00    0.00%         0.00     0.00%        0.00        3,831.00     0.61%   -3,831.00
        15,975.75         6.80%     5,874.00    3.03%   10,101.75        4,668.85      2.72%   11,306.90    Franchise Fees - Frequent Guest                         41,801.33    4.38%    23,606.00     3.14%   18,195.33       19,659.47     3.14%   22,141.86
         9,340.07         3.98%     6,194.40    3.19%    3,145.67        6,795.62      3.96%    2,544.45    Franchise Fees - Marketing Contributions                37,922.33    3.97%    24,893.60     3.31%   13,028.73       13,258.35     2.12%   24,663.98

       39,325.86     16.75%       26,379.60    13.59%   12,946.26      22,934.88      13.36%   16,390.98    Total Franchise Fees                                136,607.05      14.30%   106,012.40   14.09%    30,594.65     104,295.95     16.67%   32,311.10




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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %           Variance                                                                 YTD    %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         7,026.11      2.99%     6,941.95    3.58%       84.16        8,310.94       4.84%     -1,284.83   Management- A&G                                          34,223.94    3.58%     33,988.93     4.52%        235.01      53,171.84      8.50%    -18,947.90
        7,026.11      2.99%     6,941.95    3.58%        84.16       8,310.94       4.84%     -1,284.83    Total A&G Management                                    34,223.94    3.58%     33,988.93     4.52%        235.01      53,171.84      8.50%    -18,947.90
             0.00      0.00%         0.00    0.00%        0.00        3,812.28       2.22%     -3,812.28   Administrative Assistant                                      0.00    0.00%          0.00     0.00%          0.00       3,812.28      0.61%     -3,812.28
             0.00     0.00%          0.00   0.00%         0.00       3,812.28       2.22%     -3,812.28    Total A&G Non-Management                                      0.00   0.00%           0.00    0.00%           0.00      3,812.28      0.61%     -3,812.28
        7,026.11      2.99%     6,941.95    3.58%        84.16      12,123.22       7.06%     -5,097.11    Total A&G Salaries and Wages                            34,223.94    3.58%     33,988.93     4.52%        235.01      56,984.12      9.11%    -22,760.18
                                                                                                           PR Taxes and Benefits
           525.15      0.22%       552.27    0.28%       -27.12         883.66       0.51%       -358.51   FICA                                                      2,626.39    0.27%      3,455.08     0.46%       -828.69       4,207.53      0.67%     -1,581.14
            10.35      0.00%         6.50    0.00%         3.85          43.79       0.03%        -33.44   Federal Unemployment Tax                                    125.61    0.01%        114.62     0.02%         10.99         233.71      0.04%       -108.10
            64.77      0.03%        14.44    0.01%        50.33         115.50       0.07%        -50.73   State Unemployment Tax                                      340.49    0.04%        402.28     0.05%        -61.79         549.96      0.09%       -209.47
          600.27      0.26%       573.21    0.30%         27.06      1,042.95       0.61%       -442.68    Total Payroll Taxes                                      3,092.49    0.32%      3,971.98     0.53%       -879.49       4,991.20      0.80%     -1,898.71
             0.00      0.00%       277.23    0.14%      -277.23           0.00       0.00%          0.00   Vacation                                                      0.00    0.00%      1,175.45     0.16%     -1,175.45           0.00      0.00%          0.00
             0.00     0.00%       277.23    0.14%      -277.23            0.00      0.00%           0.00   Total Supplemental Pay                                        0.00   0.00%      1,175.45     0.16%     -1,175.45            0.00     0.00%           0.00
           443.41      0.19%       405.68    0.21%        37.73       1,430.97       0.83%       -987.56   Worker's Compensation                                     2,581.76    0.27%      2,505.85     0.33%         75.91       7,315.45      1.17%     -4,733.69
           356.46      0.15%     1,300.00    0.67%      -943.54        -727.16      -0.42%      1,083.62   Group Insurance                                             889.78    0.09%      6,500.00     0.86%     -5,610.22      -3,818.45     -0.61%      4,708.23
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%          0.00   Bonus and Incentive Pay                                     795.78    0.08%     10,000.00     1.33%     -9,204.22           0.00      0.00%        795.78
          799.87      0.34%     1,705.68    0.88%      -905.81         703.81       0.41%          96.06   Total Other Benefits                                     4,267.32    0.45%     19,005.85     2.53%    -14,738.53       3,497.00      0.56%        770.32
        1,400.14      0.60%     2,556.12    1.32%    -1,155.98       1,746.76       1.02%       -346.62    Total A&G PR Taxes and Benefits                          7,359.81    0.77%     24,153.28     3.21%    -16,793.47       8,488.20      1.36%     -1,128.39
        8,426.25      3.59%     9,498.07    4.89%    -1,071.82      13,869.98       8.08%     -5,443.73    Total A&G Payroll                                       41,583.75    4.35%     58,142.21     7.73%    -16,558.46      65,472.32     10.46%    -23,888.57
                                                                                                           Other Expenses
             0.00      0.00%         0.00    0.00%        0.00        1,000.00       0.58%     -1,000.00   Accounting/Audit Fees                                         0.00    0.00%          0.00     0.00%          0.00       7,000.00      1.12%     -7,000.00
           682.52      0.29%         0.00    0.00%      682.52            0.00       0.00%        682.52   Bad Debt Provision                                        1,094.13    0.11%          0.00     0.00%      1,094.13         357.24      0.06%        736.89
           734.84      0.31%       775.00    0.40%      -40.16          661.31       0.39%         73.53   Bank Charges                                              3,250.19    0.34%      3,875.00     0.51%       -624.81       3,202.07      0.51%         48.12
           -35.01     -0.01%         0.00    0.00%      -35.01            0.00       0.00%        -35.01   Cash Over/Short                                          -2,836.11   -0.30%          0.00     0.00%     -2,836.11         626.49      0.10%     -3,462.60
             0.00      0.00%        50.00    0.03%      -50.00            0.00       0.00%          0.00   Central Office - Travel Rebilled                              0.00    0.00%        250.00     0.03%       -250.00           0.00      0.00%          0.00
         1,000.00      0.43%     1,000.00    0.52%        0.00            0.00       0.00%      1,000.00   Central Office - Accounting Fees                          5,000.00    0.52%      5,000.00     0.66%          0.00           0.00      0.00%      5,000.00
             0.00      0.00%         0.00    0.00%        0.00          260.00       0.15%       -260.00   Central Office - IT Fees                                      0.00    0.00%          0.00     0.00%          0.00       1,817.69      0.29%     -1,817.69
             0.00      0.00%         0.00    0.00%        0.00          150.00       0.09%       -150.00   Communication Expense                                         0.00    0.00%          0.00     0.00%          0.00         240.00      0.04%       -240.00
         5,498.19      2.34%     4,657.76    2.40%      840.43        6,199.89       3.61%       -701.70   Credit Card Commission                                   26,940.66    2.82%     18,061.01     2.40%      8,879.65      10,798.08      1.73%     16,142.58
            43.97      0.02%       100.00    0.05%      -56.03            0.00       0.00%         43.97   Dues and Subscriptions                                       87.94    0.01%        500.00     0.07%       -412.06           0.00      0.00%         87.94
           271.89      0.12%       350.00    0.18%      -78.11          428.53       0.25%       -156.64   Employee Relations                                        2,125.15    0.22%      1,920.00     0.26%        205.15         562.47      0.09%      1,562.68
             0.00      0.00%         0.00    0.00%        0.00           43.97       0.03%        -43.97   Equipment Rental                                              0.00    0.00%          0.00     0.00%          0.00         398.30      0.06%       -398.30
           285.08      0.12%       100.00    0.05%      185.08            0.00       0.00%        285.08   Licenses/Permits                                            661.37    0.07%        500.00     0.07%        161.37         357.00      0.06%        304.37
             0.00      0.00%        25.00    0.01%      -25.00           46.48       0.03%        -46.48   Meals and Entertainment                                     137.63    0.01%        375.00     0.05%       -237.37         463.69      0.07%       -326.06
           -26.06     -0.01%         0.00    0.00%      -26.06           46.00       0.03%        -72.06   Miscellaneous Expense                                       -21.29    0.00%          0.00     0.00%        -21.29         292.91      0.05%       -314.20
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%          0.00   Office Equipment                                              0.00    0.00%          0.00     0.00%          0.00         830.70      0.13%       -830.70
             0.00      0.00%         0.00    0.00%        0.00          602.09       0.35%       -602.09   Office Supplies                                            -197.28   -0.02%          0.00     0.00%       -197.28       1,174.11      0.19%     -1,371.39
            45.87      0.02%       200.00    0.10%     -154.13            0.00       0.00%         45.87   Operating Supplies                                        1,880.29    0.20%      1,000.00     0.13%        880.29         218.74      0.03%      1,661.55
             0.00      0.00%       413.14    0.21%     -413.14          116.83       0.07%       -116.83   Payroll Service Fees                                      1,008.81    0.11%      2,058.85     0.27%     -1,050.04         390.26      0.06%        618.55
             0.00      0.00%        90.00    0.05%      -90.00            0.00       0.00%          0.00   Postage                                                     231.20    0.02%        450.00     0.06%       -218.80         277.88      0.04%        -46.68
           539.50      0.23%       150.00    0.08%      389.50            0.00       0.00%        539.50   Professional Fees - Legal                                 2,725.77    0.29%        750.00     0.10%      1,975.77         731.14      0.12%      1,994.63
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%          0.00   Professional Fees - Other                                 4,507.53    0.47%        650.00     0.09%      3,857.53       2,847.11      0.45%      1,660.42
           675.00      0.29%       300.00    0.15%      375.00        5,340.00       3.11%     -4,665.00   Recruitment Advertising                                   1,828.95    0.19%      1,500.00     0.20%        328.95       7,070.00      1.13%     -5,241.05
             0.00      0.00%         0.00    0.00%        0.00           86.85       0.05%        -86.85   Recruitment - Other                                           0.00    0.00%          0.00     0.00%          0.00         434.25      0.07%       -434.25
             0.00      0.00%       300.00    0.15%     -300.00            0.00       0.00%          0.00   Security - Outside                                            0.00    0.00%      1,500.00     0.20%     -1,500.00           0.00      0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00        1,962.69       1.14%     -1,962.69   Software Expense/Maintenance                                  0.00    0.00%          0.00     0.00%          0.00       6,745.76      1.08%     -6,745.76
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%          0.00   Training                                                  2,695.00    0.28%      5,189.00     0.69%     -2,494.00         750.00      0.12%      1,945.00
             0.00      0.00%        25.00    0.01%      -25.00            0.00       0.00%          0.00   Travel                                                      851.78    0.09%        125.00     0.02%        726.78       1,072.03      0.17%       -220.25
             0.00      0.00%         0.00    0.00%        0.00          250.44       0.15%       -250.44   Uniforms                                                      0.00    0.00%          0.00     0.00%          0.00         250.44      0.04%       -250.44
        9,715.79      4.14%     8,535.90    4.40%    1,179.89       17,195.08      10.02%     -7,479.29    Total A&G Other Expenses                                51,971.72    5.44%     43,703.86     5.81%      8,267.86      48,908.36      7.82%      3,063.36
       18,142.04      7.73%    18,033.97    9.29%      108.07       31,065.06      18.10%    -12,923.02    Total A&G Expenses                                      93,555.47    9.79%    101,846.07    13.53%     -8,290.60     114,380.68     18.28%    -20,825.21




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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                                 YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                         IT
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wags
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total IT Management                                          0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total IT Non-Management                                      0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total IT Salaries and Wages                                  0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total Payroll Taxes                                          0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total Supplemental Pay                                       0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total Other Benefits                                         0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total IT PR Taxes and Benefits                               0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total IT Payroll                                             0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                         Cost of Services
             0.00      0.00%       160.00    0.08%      -160.00           0.00       0.00%        0.00   Cost of Cell Phones                                         160.00    0.02%       800.00      0.11%       -640.00           0.00     0.00%       160.00
         1,134.00      0.48%     3,009.00    1.55%    -1,875.00           0.00       0.00%    1,134.00   Cost of Internet Services                                 4,397.35    0.46%    15,045.00      2.00%    -10,647.65           0.00     0.00%     4,397.35
         1,223.82      0.52%     1,200.00    0.62%        23.82           0.00       0.00%    1,223.82   Cost of Calls                                             6,749.26    0.71%     6,000.00      0.80%        749.26           0.00     0.00%     6,749.26
        2,357.82      1.00%     4,369.00    2.25%    -2,011.18            0.00      0.00%    2,357.82    Total IT Cost of Services                               11,306.61    1.18%    21,845.00      2.90%    -10,538.39            0.00    0.00%    11,306.61

                                                                                                         System Costs
         2,020.38      0.86%     2,040.70    1.05%      -20.32            0.00       0.00%    2,020.38   Administrative & General                                  3,971.90    0.42%     4,123.50      0.55%       -151.60           0.00     0.00%     3,971.90
             0.00      0.00%        50.00    0.03%      -50.00            0.00       0.00%        0.00   Human Resources                                               0.00    0.00%       250.00      0.03%       -250.00           0.00     0.00%         0.00
           260.00      0.11%       180.00    0.09%       80.00            0.00       0.00%      260.00   Information Systems                                       1,500.00    0.16%       900.00      0.12%        600.00           0.00     0.00%     1,500.00
           129.00      0.05%       129.00    0.07%        0.00            0.00       0.00%      129.00   Property Ops & Maintenance                                  645.00    0.07%       645.00      0.09%          0.00           0.00     0.00%       645.00
         1,249.37      0.53%       166.67    0.09%    1,082.70            0.00       0.00%    1,249.37   Rooms                                                     6,524.48    0.68%       833.35      0.11%      5,691.13           0.00     0.00%     6,524.48
             0.00      0.00%       798.00    0.41%     -798.00            0.00       0.00%        0.00   Sales & Marketing                                             0.00    0.00%     2,158.00      0.29%     -2,158.00           0.00     0.00%         0.00
        3,658.75      1.56%     3,364.37    1.73%      294.38             0.00      0.00%    3,658.75    Total IT Systems                                        12,641.38    1.32%     8,909.85      1.18%      3,731.53            0.00    0.00%    12,641.38

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%        0.00    Total IT Other Expenses                                      0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

        6,016.57      2.56%     7,733.37    3.98%    -1,716.80            0.00      0.00%    6,016.57    Total IT Expenses                                       23,947.99    2.51%    30,754.85      4.09%     -6,806.86            0.00    0.00%    23,947.99




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                                                                                                 Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                                  P&L - Dual Summary Pages
                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %          Variance    PTD Last Year     %          Variance                                                                 YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                           S&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00      0.00%     1,317.43    0.68%    -1,317.43        1,240.00       0.72%    -1,240.00   Division Management                                       5,650.68    0.59%     6,449.76      0.86%       -799.08       6,223.08     0.99%       -572.40
             0.00     0.00%     1,317.43    0.68%    -1,317.43        1,240.00       0.72%    -1,240.00    Total S&M Management                                     5,650.68    0.59%     6,449.76      0.86%       -799.08       6,223.08     0.99%       -572.40
             0.00      0.00%     2,657.14    1.37%    -2,657.14        2,710.62       1.58%    -2,710.62   Administrative Assistant                                  5,781.11    0.61%    12,942.85      1.72%     -7,161.74      12,047.73     1.93%     -6,266.62
             0.00     0.00%     2,657.14    1.37%    -2,657.14        2,710.62       1.58%    -2,710.62    Total S&M Non-Management                                 5,781.11    0.61%    12,942.85      1.72%     -7,161.74      12,047.73     1.93%     -6,266.62

             0.00     0.00%     3,974.57    2.05%    -3,974.57        3,950.62       2.30%    -3,950.62    Total S&M Salaries and Wages                            11,431.79    1.20%    19,392.61      2.58%     -7,960.82      18,270.81     2.92%     -6,839.02

                                                                                                           PR Taxes and Benefits
             0.00      0.00%       308.01    0.16%      -308.01          301.91       0.18%     -301.91    FICA                                                      1,440.87    0.15%     1,653.30      0.22%       -212.43       1,383.76     0.22%         57.11
             0.00      0.00%         3.62    0.00%         -3.62          10.27       0.01%      -10.27    Federal Unemployment Tax                                     32.59    0.00%        58.99      0.01%        -26.40          55.85     0.01%        -23.26
             0.00      0.00%         8.05    0.00%         -8.05          27.07       0.02%      -27.07    State Unemployment Tax                                       59.23    0.01%       183.58      0.02%       -124.35         131.28     0.02%        -72.05
             0.00     0.00%       319.68    0.16%      -319.68          339.25       0.20%     -339.25     Total Payroll Taxes                                      1,532.69    0.16%     1,895.87      0.25%       -363.18       1,570.89     0.25%        -38.20
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%        0.00    Holiday                                                     120.00    0.01%         0.00      0.00%        120.00         120.00     0.02%          0.00
             0.00      0.00%        51.67    0.03%        -51.67           0.00       0.00%        0.00    Vacation                                                    120.00    0.01%       219.08      0.03%        -99.08           0.00     0.00%       120.00
             0.00     0.00%         51.67   0.03%        -51.67            0.00      0.00%         0.00    Total Supplemental Pay                                     240.00    0.03%       219.08      0.03%          20.92        120.00     0.02%       120.00
             0.00      0.00%       226.26    0.12%      -226.26          363.46       0.21%     -363.46    Worker's Compensation                                       523.69    0.05%     1,251.58      0.17%       -727.89       2,107.68     0.34%    -1,583.99
             0.00      0.00%       485.00    0.25%      -485.00         -169.98      -0.10%      169.98    Group Insurance                                             171.36    0.02%     2,425.00      0.32%     -2,253.64        -602.91    -0.10%       774.27
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%        0.00    Bonus and Incentive Pay                                       0.00    0.00%     2,000.00      0.27%     -2,000.00           0.00     0.00%          0.00
             0.00     0.00%       711.26    0.37%      -711.26          193.48       0.11%     -193.48     Total Other Benefits                                       695.05    0.07%     5,676.58      0.75%     -4,981.53       1,504.77     0.24%      -809.72
             0.00     0.00%     1,082.61    0.56%    -1,082.61          532.73       0.31%     -532.73     Total S&M PR Taxes and Benefits                          2,467.74    0.26%     7,791.53      1.04%     -5,323.79       3,195.66     0.51%      -727.92

             0.00     0.00%     5,057.18    2.61%    -5,057.18        4,483.35       2.61%    -4,483.35    Total S&M Payroll                                       13,899.53    1.45%    27,184.14      3.61%    -13,284.61      21,466.47     3.43%     -7,566.94

                                                                                                           Other Expenses
             0.00      0.00%         0.00    0.00%        0.00           471.90       0.27%     -471.90    Advertising General                                         250.00    0.03%         0.00      0.00%        250.00       1,415.70     0.23%     -1,165.70
           865.00      0.37%     1,565.00    0.81%     -700.00           750.00       0.44%      115.00    Advertising-Web/Internet                                  3,030.00    0.32%     4,730.00      0.63%     -1,700.00       1,256.25     0.20%      1,773.75
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%        0.00    Brochures                                                     0.00    0.00%       275.00      0.04%       -275.00           0.00     0.00%          0.00
         4,648.78      1.98%     2,087.00    1.08%    2,561.78         1,669.42       0.97%    2,979.36    Dues and Subscriptions                                   12,996.65    1.36%    15,230.00      2.02%     -2,233.35      11,902.89     1.90%      1,093.76
             0.00      0.00%        50.00    0.03%      -50.00             0.00       0.00%        0.00    Meals and Entertainment                                       0.00    0.00%       250.00      0.03%       -250.00          50.59     0.01%        -50.59
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%        0.00    Office Supplies                                               0.00    0.00%         0.00      0.00%          0.00          72.89     0.01%        -72.89
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%        0.00    Postage                                                       0.00    0.00%        40.00      0.01%        -40.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%        0.00    Printing and Stationery                                       0.00    0.00%       175.00      0.02%       -175.00           0.00     0.00%          0.00
             0.00      0.00%        75.00    0.04%      -75.00             0.00       0.00%        0.00    Promotions - In-house                                         0.00    0.00%       375.00      0.05%       -375.00          53.99     0.01%        -53.99
             0.00      0.00%       350.00    0.18%     -350.00             0.00       0.00%        0.00    Promotion - Outside                                           0.00    0.00%     1,000.00      0.13%     -1,000.00          35.09     0.01%        -35.09
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%        0.00    Software Expense/Maintenance                                  0.00    0.00%         0.00      0.00%          0.00       5,608.03     0.90%     -5,608.03
             0.00      0.00%        75.00    0.04%      -75.00             0.00       0.00%        0.00    Trade Shows                                                   0.00    0.00%       150.00      0.02%       -150.00          46.46     0.01%        -46.46
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%        0.00    Training                                                      0.00    0.00%         0.00      0.00%          0.00         995.00     0.16%       -995.00
             0.00      0.00%        50.00    0.03%      -50.00             0.00       0.00%        0.00    Travel                                                        0.00    0.00%       250.00      0.03%       -250.00          22.40     0.00%        -22.40
        5,513.78      2.35%     4,252.00    2.19%    1,261.78         2,891.32       1.68%    2,622.46     Total S&M Other Expenses                                16,276.65    1.70%    22,475.00      2.99%     -6,198.35      21,459.29     3.43%     -5,182.64

        5,513.78      2.35%     9,309.18    4.80%    -3,795.40        7,374.67       4.30%    -1,860.89    Total S&M Expenses                                      30,176.18    3.16%    49,659.14      6.60%    -19,482.96      42,925.76     6.86%    -12,749.58




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                                                                                                Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %          Variance                                                                 YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                          R&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         1,353.84      0.58%     3,594.55    1.85%    -2,240.71           0.00       0.00%     1,353.84   Division Management                                      15,859.32    1.66%    17,598.81      2.34%    -1,739.49            0.00     0.00%    15,859.32
        1,353.84      0.58%     3,594.55    1.85%    -2,240.71            0.00      0.00%     1,353.84    Total R&M Management                                    15,859.32    1.66%    17,598.81      2.34%    -1,739.49             0.00    0.00%    15,859.32
          -162.74     -0.07%         0.00    0.00%      -162.74       1,667.17       0.97%    -1,829.91   Engineering Supervisor                                   11,118.87    1.16%         0.00      0.00%    11,118.87       10,409.57     1.66%       709.30
             0.00      0.00%     2,657.14    1.37%    -2,657.14           0.00       0.00%         0.00   Engineers 1                                                   0.00    0.00%    12,942.85      1.72%   -12,942.85        2,719.07     0.43%    -2,719.07
         -162.74     -0.07%     2,657.14    1.37%    -2,819.88       1,667.17       0.97%    -1,829.91    Total R&M Non-Management                                11,118.87    1.16%    12,942.85      1.72%    -1,823.98       13,128.64     2.10%    -2,009.77

        1,191.10      0.51%     6,251.69    3.22%    -5,060.59       1,667.17       0.97%     -476.07     Total R&M Salaries and Wages                            26,978.19    2.82%    30,541.66      4.06%     -3,563.47      13,128.64     2.10%    13,849.55

                                                                                                          PR Taxes and Benefits
            89.92      0.04%       493.55    0.25%      -403.63         121.67       0.07%       -31.75   FICA                                                      2,034.29    0.21%     2,367.03      0.31%       -332.74         970.75     0.16%     1,063.54
             0.03      0.00%         5.81    0.00%        -5.78           6.04       0.00%        -6.01   Federal Unemployment Tax                                    102.74    0.01%        85.41      0.01%         17.33          54.00     0.01%        48.74
            10.01      0.00%        12.90    0.01%        -2.89          15.90       0.01%        -5.89   State Unemployment Tax                                      265.21    0.03%       266.29      0.04%         -1.08         126.88     0.02%       138.33
            99.96     0.04%       512.26    0.26%      -412.30         143.61       0.08%       -43.65    Total Payroll Taxes                                      2,402.24    0.25%     2,718.73      0.36%       -316.49       1,151.63     0.18%     1,250.61
             0.00      0.00%       200.00    0.10%      -200.00           0.00       0.00%         0.00   Holiday                                                     240.00    0.03%       400.00      0.05%       -160.00         140.00     0.02%       100.00
             0.00     0.00%       200.00    0.10%      -200.00            0.00      0.00%          0.00   Total Supplemental Pay                                     240.00    0.03%       400.00      0.05%       -160.00         140.00     0.02%       100.00
           198.40      0.08%       362.56    0.19%      -164.16         239.32       0.14%       -40.92   Worker's Compensation                                     2,198.57    0.23%     1,781.72      0.24%        416.85       1,790.80     0.29%       407.77
             0.00      0.00%       550.00    0.28%      -550.00           0.00       0.00%         0.00   Group Insurance                                               0.00    0.00%     2,750.00      0.37%     -2,750.00        -408.88    -0.07%       408.88
          198.40      0.08%       912.56    0.47%      -714.16         239.32       0.14%       -40.92    Total Other Benefits                                     2,198.57    0.23%     4,531.72      0.60%     -2,333.15       1,381.92     0.22%       816.65
          298.36      0.13%     1,624.82    0.84%    -1,326.46         382.93       0.22%       -84.57    Total R&M PR Taxes and Benefits                          4,840.81    0.51%     7,650.45      1.02%     -2,809.64       2,673.55     0.43%     2,167.26

        1,489.46      0.63%     7,876.51    4.06%    -6,387.05       2,050.10       1.19%     -560.64     Total R&M Payroll                                       31,819.00    3.33%    38,192.11      5.08%     -6,373.11      15,802.19     2.53%    16,016.81

                                                                                                          Other Expenses
             0.00      0.00%       400.00    0.21%     -400.00            0.00       0.00%        0.00    Air Conditioning and Refrigeration                          300.98    0.03%     2,000.00      0.27%     -1,699.02         433.49     0.07%      -132.51
           868.61      0.37%       500.00    0.26%      368.61          121.56       0.07%      747.05    Building                                                  1,126.11    0.12%     2,500.00      0.33%     -1,373.89       1,572.59     0.25%      -446.48
             0.00      0.00%         0.00    0.00%        0.00          536.25       0.31%     -536.25    Contract Labor                                                0.00    0.00%     3,000.00      0.40%     -3,000.00         536.25     0.09%      -536.25
         1,876.88      0.80%         0.00    0.00%    1,876.88            0.00       0.00%    1,876.88    Dues and Subscriptions                                    2,176.88    0.23%         0.00      0.00%      2,176.88           0.00     0.00%     2,176.88
             0.00      0.00%       200.00    0.10%     -200.00           42.90       0.02%      -42.90    Electric Bulbs                                               53.64    0.01%     1,000.00      0.13%       -946.36       1,204.95     0.19%    -1,151.31
             0.00      0.00%        75.00    0.04%      -75.00          278.85       0.16%     -278.85    Electrical and Mechanical                                   120.92    0.01%       375.00      0.05%       -254.08         413.31     0.07%      -292.39
           535.00      0.23%       540.00    0.28%       -5.00          535.50       0.31%       -0.50    Elevator Maintenance Contracts                            2,981.05    0.31%     2,700.00      0.36%        281.05       3,209.11     0.51%      -228.06
             0.00      0.00%         0.00    0.00%        0.00          484.15       0.28%     -484.15    Equipment Maintenance                                         0.00    0.00%         0.00      0.00%          0.00         575.77     0.09%      -575.77
             0.00      0.00%       150.00    0.08%     -150.00            0.00       0.00%        0.00    Fire Safety Equipment                                     3,241.68    0.34%       850.00      0.11%      2,391.68       4,225.38     0.68%      -983.70
             0.00      0.00%       100.00    0.05%     -100.00            0.00       0.00%        0.00    Floor and Carpet Maintenance                                  0.00    0.00%       500.00      0.07%       -500.00          18.99     0.00%       -18.99
             0.00      0.00%       125.00    0.06%     -125.00            0.00       0.00%        0.00    Furniture                                                     0.00    0.00%       625.00      0.08%       -625.00         477.29     0.08%      -477.29
           685.00      0.29%       700.00    0.36%      -15.00        1,276.16       0.74%     -591.16    Grounds and Landscaping                                   3,560.93    0.37%     4,700.00      0.62%     -1,139.07       2,623.16     0.42%       937.77
             0.00      0.00%       225.00    0.12%     -225.00            0.00       0.00%        0.00    Kitchen Equipment Repairs                                   200.00    0.02%       325.00      0.04%       -125.00           0.00     0.00%       200.00
           502.24      0.21%        75.00    0.04%      427.24            0.00       0.00%      502.24    Laundry Equipment Repairs                                   502.24    0.05%       375.00      0.05%        127.24         193.08     0.03%       309.16
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00    Locks and Keys                                                0.00    0.00%         0.00      0.00%          0.00         233.92     0.04%      -233.92
             0.00      0.00%         0.00    0.00%        0.00           76.64       0.04%      -76.64    Miscellaneous Expense                                         0.00    0.00%         0.00      0.00%          0.00          76.64     0.01%       -76.64
             0.00      0.00%         0.00    0.00%        0.00          222.39       0.13%     -222.39    Operating Supplies                                            5.00    0.00%         0.00      0.00%          5.00         222.39     0.04%      -217.39
             0.00      0.00%        80.00    0.04%      -80.00            0.00       0.00%        0.00    Painting and Decorating                                     130.64    0.01%       400.00      0.05%       -269.36         312.69     0.05%      -182.05
            75.00      0.03%       180.00    0.09%     -105.00          175.00       0.10%     -100.00    Pest Control                                              1,550.00    0.16%       900.00      0.12%        650.00       1,000.30     0.16%       549.70
         1,417.89      0.60%       400.00    0.21%    1,017.89          174.15       0.10%    1,243.74    Plumbing and Heating                                      3,821.87    0.40%     2,000.00      0.27%      1,821.87       1,975.83     0.32%     1,846.04
             0.00      0.00%         0.00    0.00%        0.00          381.60       0.22%     -381.60    Pool Chemicals                                                0.00    0.00%         0.00      0.00%          0.00         944.34     0.15%      -944.34
             0.00      0.00%       250.00    0.13%     -250.00        1,300.95       0.76%   -1,300.95    Pool Service- Contract                                        0.00    0.00%       250.00      0.03%       -250.00       1,300.95     0.21%    -1,300.95
             0.00      0.00%        25.00    0.01%      -25.00            0.00       0.00%        0.00    Tools                                                        81.14    0.01%       125.00      0.02%        -43.86           0.00     0.00%        81.14
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00    Training                                                      0.00    0.00%         0.00      0.00%          0.00         731.59     0.12%      -731.59
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00    Travel                                                        0.00    0.00%       500.00      0.07%       -500.00           0.00     0.00%         0.00
             0.00      0.00%        10.00    0.01%      -10.00            0.00       0.00%        0.00    Uniforms                                                      0.00    0.00%        50.00      0.01%        -50.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00    Vehicle Maintenance & Repairs                                 0.00    0.00%         0.00      0.00%          0.00         194.99     0.03%      -194.99
           321.07      0.14%       400.00    0.21%      -78.93          423.95       0.25%     -102.88    Waste Removal                                             1,605.35    0.17%     2,000.00      0.27%       -394.65       2,211.47     0.35%      -606.12
        6,281.69      2.68%     4,435.00    2.29%    1,846.69        6,030.05       3.51%      251.64     Total R&M Other Expenses                                21,458.43    2.25%    25,175.00      3.35%     -3,716.57      24,688.48     3.95%    -3,230.05

        7,771.15      3.31%    12,311.51    6.34%    -4,540.36       8,080.15       4.71%     -309.00     Total R&M Expenses                                      53,277.43    5.58%    63,367.11      8.42%    -10,089.68      40,490.67     6.47%    12,786.76




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                                                                                             Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                              P&L - Dual Summary Pages
                                                                                                                    As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                                 YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                       Utilities
         3,656.15      1.56%     4,272.00    2.20%    -615.85         829.38       0.48%    2,826.77   Water                                                    19,853.07    2.08%    17,168.00      2.28%    2,685.07      13,723.72     2.19%     6,129.35
         5,191.88      2.21%     5,446.80    2.81%    -254.92       2,937.02       1.71%    2,254.86   Electricity                                              20,490.38    2.14%    21,889.20      2.91%   -1,398.82      22,215.09     3.55%    -1,724.71
         1,289.44      0.55%     1,068.00    0.55%     221.44       1,087.62       0.63%      201.82   Gas - Natural HLP                                         2,809.81    0.29%     4,292.00      0.57%   -1,482.19       5,999.47     0.96%    -3,189.66
             0.00      0.00%         0.00    0.00%       0.00       3,619.50       2.11%   -3,619.50   Sewer                                                         0.00    0.00%         0.00      0.00%        0.00       3,619.50     0.58%    -3,619.50
       10,137.47      4.32%    10,786.80    5.56%    -649.33       8,473.52       4.94%    1,663.95    Total Utilities                                         43,153.26    4.52%    43,349.20      5.76%     -195.94      45,557.78     7.28%    -2,404.52




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                                                                                                 Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                                  P&L - Dual Summary Pages
                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %          Variance                                                              YTD     %        YTD Budget %                Variance    YTD Last Year    %          Variance

                                                                                                           Fixed
           289.45      0.12%         0.00     0.00%       289.45           0.00       0.00%       289.45   Personal Property Taxes                                1,447.25     0.15%          0.00     0.00%        1,447.25        3,077.19     0.49%    -1,629.94
         8,824.68      3.76%     8,824.68     4.55%         0.00      10,341.00       6.02%    -1,516.32   Real Estate Taxes                                     44,123.40     4.62%     44,123.40     5.86%            0.00       51,705.00     8.26%    -7,581.60
        9,114.13      3.88%     8,824.68     4.55%       289.45      10,341.00       6.02%    -1,226.87    Total Taxes                                          45,570.65     4.77%     44,123.40     5.86%        1,447.25      54,782.19      8.75%    -9,211.54
           337.41      0.14%       382.42     0.20%       -45.01           0.00       0.00%       337.41   Insurance                                              1,687.05     0.18%      1,912.10     0.25%         -225.05            0.00     0.00%     1,687.05
            83.83      0.04%        38.83     0.02%        45.00           0.00       0.00%        83.83   Insurance - Crime                                        419.15     0.04%        194.15     0.03%          225.00            0.00     0.00%       419.15
           452.17      0.19%       444.17     0.23%         8.00          56.00       0.03%       396.17   Insurance - Employment                                 2,260.85     0.24%      2,220.85     0.30%           40.00          280.00     0.04%     1,980.85
         2,427.29      1.03%     1,574.33     0.81%       852.96         190.71       0.11%     2,236.58   Insurance - General Liability                         14,280.15     1.49%      7,871.65     1.05%        6,408.50          953.58     0.15%    13,326.57
         1,270.25      0.54%     1,211.42     0.62%        58.83           0.00       0.00%     1,270.25   Insurance - Property                                   6,351.25     0.66%      6,057.10     0.80%          294.15            0.00     0.00%     6,351.25
            68.25      0.03%     2,412.42     1.24%    -2,344.17           0.00       0.00%        68.25   Insurance - Umbrella                                     341.25     0.04%     12,062.10     1.60%     -11,720.85             0.00     0.00%       341.25
        4,639.20      1.98%     6,063.59     3.12%    -1,424.39         246.71       0.14%     4,392.49    Total Insurance                                      25,339.70     2.65%     30,317.95     4.03%       -4,978.25        1,233.58     0.20%    24,106.12
        29,465.00     12.55%    29,464.88    15.18%         0.12      27,773.00      16.18%     1,692.00   Ground Lease Expense                                 143,893.00    15.06%    143,891.60    19.12%            1.40     138,865.00     22.19%     5,028.00
       29,465.00     12.55%    29,464.88    15.18%          0.12     27,773.00      16.18%     1,692.00    Total Leases & Rent                                 143,893.00    15.06%    143,891.60    19.12%             1.40    138,865.00     22.19%     5,028.00
         7,544.06      3.21%     5,822.20     3.00%     1,721.86       5,649.82       3.29%     1,894.24   Management Fee - Base                                 32,327.38     3.38%     25,515.22     3.39%        6,812.16       26,479.63     4.23%     5,847.75
        7,544.06      3.21%     5,822.20     3.00%     1,721.86       5,649.82       3.29%     1,894.24    Total Management Fees                                32,327.38     3.38%     25,515.22     3.39%        6,812.16      26,479.63      4.23%     5,847.75
             0.00      0.00%     5,000.00     2.58%    -5,000.00       1,296.00       0.75%    -1,296.00   Capital Reserve                                            0.00     0.00%    102,000.00    13.55%    -102,000.00         4,515.61     0.72%    -4,515.61
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Owner's Expense                                            0.00     0.00%          0.00     0.00%            0.00        2,797.17     0.45%    -2,797.17
             0.00      0.00%         0.00     0.00%         0.00         493.32       0.29%      -493.32   Prior Owner's Expense                                   -899.61    -0.09%          0.00     0.00%         -899.61     -12,113.74     -1.94%    11,214.13
             0.00     0.00%     5,000.00     2.58%    -5,000.00       1,789.32       1.04%    -1,789.32    Total Other Non-Operating                              -899.61    -0.09%    102,000.00    13.55%    -102,899.61        -4,800.96    -0.77%     3,901.35




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                                                                                                 Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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                                                                                                                               As of 5/31/2022
              PTD     %        PTD Budget      %           Variance   PTD Last Year     %              Variance                                                                 YTD     %          YTD Budget %               Variance   YTD Last Year     %           Variance

                                                                                                                  Statistics
           164.00                   164.00                     0.00         164.00                         0.00   # Rooms                                                    164.00                    164.00                     0.00         164.00                      0.00
         5,084.00                 5,084.00                     0.00       5,084.00                         0.00   Available Rooms                                         24,764.00                 24,764.00                     0.00      24,764.00                      0.00
         3,692.00                 1,865.00                 1,827.00       2,561.00                     1,131.00   Room Nights Sold                                        13,656.00                  8,331.00                 5,325.00      11,744.00                  1,912.00
          72.62%                   36.68%                   35.94%         50.37%                       22.25%    Occupancy %                                               55.14%                    33.64%                   21.50%         47.42%                     7.72%
           120.32                   149.59                   -29.27          94.54                        25.78   ADR                                                        108.10                    152.43                   -44.33          78.46                     29.64
            87.37                    54.87                    32.50          47.62                        39.75   RevPar                                                      59.61                     51.28                     8.33          37.21                     22.40

                                                                                                                  Summary V.11
                                                                                                                  Revenue
       444,204.55    86.13%    278,980.00     87.84%     165,224.55     242,117.35     87.02%        202,087.20   Rooms                                                 1,476,207.17    86.87%    1,269,896.00    87.83%    206,311.17     921,411.73     88.61%     554,795.44
        59,101.35    11.46%     28,694.48      9.03%      30,406.87      23,036.23      8.28%         36,065.12   F&B                                                     170,612.06    10.04%      129,241.76     8.94%     41,370.30      71,791.99      6.90%      98,820.07
        12,448.40     2.41%      9,936.80      3.13%       2,511.60      13,081.50      4.70%           -633.10   Other Departments                                        52,590.90     3.09%       46,649.25     3.23%      5,941.65      46,646.67      4.49%       5,944.23

      515,754.30    100.00%    317,611.28    100.00%    198,143.02     278,235.08     100.00%       237,519.22    Total Operating Revenue                              1,699,410.13    100.00%   1,445,787.01 100.00%      253,623.12    1,039,850.39 100.00%       659,559.74

                                                                                                                  Departmental Expenses
        85,984.34    19.36%     86,292.20     30.93%        -307.86      68,462.81      28.28%        17,521.53   Rooms                                                  378,561.49     25.64%     410,533.19     32.33%    -31,971.70     306,828.06     33.30%      71,733.43
        36,885.65    62.41%     29,037.66    101.20%       7,847.99      24,586.40     106.73%        12,299.25   F&B                                                    123,020.17     72.11%     133,158.02    103.03%    -10,137.85      99,333.14    138.36%      23,687.03
         2,353.44    18.91%      2,283.60     22.98%          69.84       7,092.44      54.22%        -4,739.00   Other Departments                                       12,121.60     23.05%      10,516.00     22.54%      1,605.60      31,482.16     67.49%     -19,360.56

      125,223.43     24.28%    117,613.46    37.03%       7,609.97     100,141.65      35.99%        25,081.78    Total Departmental Expenses                           513,703.26     30.23%     554,207.21     38.33%    -40,503.95     437,643.36     42.09%      76,059.90

      390,530.87     75.72%    199,997.82    62.97%     190,533.05     178,093.43      64.01%       212,437.44    Total Departmental Profit                            1,185,706.87    69.77%     891,579.80     61.67%    294,127.07     602,207.03     57.91%     583,499.84

                                                                                                                  Undistributed Operating Expenses
        40,192.03     7.79%     32,150.94     10.12%       8,041.09      28,850.92     10.37%         11,341.11   A&G                                                    195,285.22     11.49%     192,972.61     13.35%      2,312.61     151,218.16     14.54%      44,067.06
         5,805.75     1.13%      5,534.70      1.74%         271.05           0.00      0.00%          5,805.75   IT                                                      24,537.14      1.44%      21,593.50      1.49%      2,943.64         -16.92      0.00%      24,554.06
        14,999.09     2.91%     18,621.41      5.86%      -3,622.32       9,496.03      3.41%          5,503.06   S&M                                                     86,998.16      5.12%      84,827.85      5.87%      2,170.31      38,183.65      3.67%      48,814.51
        55,540.52    10.77%     32,826.75     10.34%      22,713.77      34,108.29     12.26%         21,432.23   Franchise Fees                                         192,275.43     11.31%     151,167.50     10.46%     41,107.93     133,317.19     12.82%      58,958.24
        19,838.73     3.85%     17,224.64      5.42%       2,614.09      19,004.81      6.83%            833.92   R&M                                                     96,316.91      5.67%      98,169.45      6.79%     -1,852.54      87,626.10      8.43%       8,690.81
        18,782.73     3.64%     20,111.25      6.33%      -1,328.52      15,996.11      5.75%          2,786.62   Utilities                                               95,198.68      5.60%      92,612.50      6.41%      2,586.18      93,732.95      9.01%       1,465.73

      155,158.85     30.08%    126,469.69    39.82%      28,689.16     107,456.16      38.62%        47,702.69    Total Undistributed Expenses                          690,611.54     40.64%     641,343.41     44.36%     49,268.13     504,061.13     48.47%     186,550.41

      235,372.02     45.64%     73,528.13    23.15%     161,843.89      70,637.27      25.39%       164,734.75    Gross Operating Profit                                495,095.33     29.13%     250,236.39     17.31%    244,858.94      98,145.90      9.44%     396,949.43
        15,972.62      3.10%      9,528.34     3.00%       6,444.28       8,685.50       3.12%         7,287.12   Management Fees                                         53,280.17      3.14%      43,373.61      3.00%      9,906.56      33,501.38      3.22%      19,778.79
      219,399.40     42.54%     63,999.79    20.15%     155,399.61      61,951.77      22.27%       157,447.63    Income Before Non-Operating Income and Expenses       441,815.16     26.00%     206,862.78     14.31%    234,952.38      64,644.52      6.22%     377,170.64

                                                                                                                  Non-Operating Income and Expenses
         9,715.27      1.88%      8,694.50     2.74%       1,020.77       1,928.95       0.69%         7,786.32   Insurance                                               55,285.47      3.25%      43,472.50      3.01%     11,812.97      10,662.97      1.03%      44,622.50
        63,516.30     12.32%     63,515.84    20.00%           0.46      60,214.73      21.64%         3,301.57   Leases & Rent                                          310,818.52     18.29%     310,886.80     21.50%        -68.28     300,930.31     28.94%       9,888.21
             0.00      0.00%        598.00     0.19%        -598.00           0.00       0.00%             0.00   Other                                                   15,500.41      0.91%      19,490.00      1.35%     -3,989.59      22,503.14      2.16%      -7,002.73
       73,231.57     14.20%     72,808.34    22.92%         423.23      62,143.68      22.33%        11,087.89    Total Non-Operating Income and Expenses               381,604.40     22.46%     373,849.30     25.86%      7,755.10     334,096.42     32.13%      47,507.98

      146,167.83     28.34%     -8,808.55     -2.77%    154,976.38        -191.91      -0.07%       146,359.74    EBITDA                                                 60,210.76      3.54%    -166,986.52 -11.55%       227,197.28    -269,451.90     -25.91%    329,662.66
             0.00      0.00%          0.00      0.00%          0.00           0.00       0.00%             0.00   Interest                                                     0.00      0.00%           0.00   0.00%             0.00           0.00       0.00%          0.00
         6,932.36      1.34%      8,959.93      2.82%     -2,027.57      32,018.13      11.51%       -25,085.77   Taxes                                                   63,410.48      3.73%      44,799.65   3.10%        18,610.83     159,727.45      15.36%    -96,316.97
        6,932.36      1.34%      8,959.93      2.82%     -2,027.57      32,018.13      11.51%       -25,085.77    Interest, Taxes, Depreciation and Amortization         63,410.48      3.73%      44,799.65   3.10%        18,610.83     159,727.45      15.36%    -96,316.97

      139,235.47     27.00%    -17,768.48     -5.59%    157,003.95     -32,210.04     -11.58%       171,445.51    Net Income                                              -3,199.72     -0.19%   -211,786.17 -14.65%       208,586.45    -429,179.35     -41.27%    425,979.63




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                                                                                             Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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              PTD     %       PTD Budget    %          Variance   PTD Last Year     %              Variance                                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Statistics
           164.00                 164.00                   0.00         164.00                         0.00   # Rooms                                                    164.00                   164.00                     0.00         164.00                    0.00
         5,084.00               5,084.00                   0.00       5,084.00                         0.00   Available Rooms                                         24,764.00                24,764.00                     0.00      24,764.00                    0.00
         3,692.00               1,865.00               1,827.00       2,561.00                     1,131.00   Room Nights Sold                                        13,656.00                 8,331.00                 5,325.00      11,744.00                1,912.00
             0.73                   0.37                   0.36           0.50                         0.22   Occupancy %                                                  0.55                     0.34                     0.22           0.47                    0.08
           120.32                 149.59                 -29.27          94.54                        25.78   ADR                                                        108.10                   152.43                   -44.33          78.46                   29.64
            87.37                  54.87                  32.50          47.62                        39.75   RevPar                                                      59.61                    51.28                     8.33          37.21                   22.40

                                                                                                              Summary
                                                                                                              Revenue:
       444,204.55    86.13%   278,980.00   87.84%    165,224.55     242,117.35     87.02%        202,087.20   Rooms                                                 1,476,207.17   86.87%    1,269,896.00    87.83%   206,311.17      921,411.73    88.61%    554,795.44
        30,006.60     5.82%    15,968.00    5.03%     14,038.60      11,803.90      4.24%         18,202.70   Food                                                     93,829.65    5.52%       73,130.00     5.06%    20,699.65       36,510.31     3.51%     57,319.34
         5,137.11     1.00%     5,924.48    1.87%       -787.37       4,073.50      1.46%          1,063.61   Beverage                                                 20,207.11    1.19%       24,574.76     1.70%    -4,367.65       11,571.67     1.11%      8,635.44
        23,957.64     4.65%     6,802.00    2.14%     17,155.64       7,158.83      2.57%         16,798.81   Other F&B Revenue                                        56,575.30    3.33%       31,537.00     2.18%    25,038.30       23,710.01     2.28%     32,865.29
             0.00     0.00%         0.00    0.00%          0.00          49.00      0.02%            -49.00   Telephone                                                     0.00    0.00%            0.00     0.00%         0.00          314.00     0.03%       -314.00
        12,448.40     2.41%     9,936.80    3.13%      2,511.60      13,032.50      4.68%           -584.10   Other                                                    52,590.90    3.09%       46,649.25     3.23%     5,941.65       46,332.67     4.46%      6,258.23

       515,754.30   100.00%   317,611.28   100.00%   198,143.02     278,235.08     100.00%       237,519.22   Total Revenue                                         1,699,410.13   100.00%   1,445,787.01   100.00%   253,623.12    1,039,850.39    100.00%   659,559.74



                                                                                                              Cost of Sales:
         8,060.06    26.86%     5,908.16   37.00%      2,151.90       3,834.15     32.48%          4,225.91   Food                                                    30,420.18    32.42%      27,058.10     37.00%      3,362.08      22,375.64    61.29%      8,044.54
         1,862.90    36.26%     1,718.10   29.00%        144.80       2,535.95     62.25%           -673.05   Beverage                                                 8,784.17    43.47%       7,126.68     29.00%      1,657.49       6,802.46    58.79%      1,981.71
           140.03     0.58%        65.00    0.96%         75.03         117.84      1.65%             22.19   Other F&B                                                  345.52     0.61%         275.00      0.87%         70.52         811.11     3.42%       -465.59
             0.00     0.00%         0.00    0.00%          0.00       1,810.49     13.84%         -1,810.49   Telephone                                                    0.00     0.00%           0.00      0.00%          0.00      10,099.56    21.65%    -10,099.56
         2,353.44    18.91%     2,283.60   22.98%         69.84       1,502.60     11.49%            850.84   Other                                                   12,121.60    23.05%      10,516.00     22.54%      1,605.60       8,993.25    19.28%      3,128.35

        12,416.43    99.74%     9,974.86   100.38%     2,441.57       9,801.03     74.92%          2,615.40   Total Cost of Sales                                     51,671.47    98.25%      44,975.78     96.41%      6,695.69      49,082.02    105.22%     2,589.45



                                                                                                              Payroll:
        20,703.24     4.66%    29,632.22   10.62%     -8,928.98      20,302.84      8.39%            400.40   Rooms                                                  103,650.51     7.02%     144,038.82     11.34%    -40,388.31      98,874.18    10.73%      4,776.33
        19,730.12    33.38%    16,083.55   56.05%      3,646.57      13,018.99     56.52%          6,711.13   F&B                                                     57,011.12    33.42%      72,059.29     55.76%    -15,048.17      42,185.10    58.76%     14,826.02
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%              0.00   Other                                                        0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        13,759.06     2.67%    13,201.09    4.16%        557.97      12,857.00      4.62%            902.06   A&G                                                     66,226.92     3.90%      64,367.00      4.45%      1,859.92      59,038.97     5.68%      7,187.95
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%              0.00   IT                                                           0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        10,041.86     1.95%    10,006.20    3.15%         35.66       7,046.70      2.53%          2,995.16   S&M                                                     48,361.25     2.85%      48,586.83      3.36%       -225.58      23,686.87     2.28%     24,674.38
         5,566.12     1.08%     8,821.32    2.78%     -3,255.20       8,718.53      3.13%         -3,152.41   R&M                                                     35,501.43     2.09%      42,657.66      2.95%     -7,156.23      35,064.14     3.37%        437.29
        69,800.40    13.53%    77,744.38   24.48%     -7,943.98      61,944.06     22.26%          7,856.34   Total Salaries and Wages                               310,751.23    18.29%     371,709.60     25.71%    -60,958.37     258,849.26    24.89%     51,901.97

        15,918.56     3.09%    21,228.28    6.68%     -5,309.72       6,790.77      2.44%          9,127.79   Total Taxes and Benefits                                93,907.98     5.53%     135,719.83      9.39%    -41,811.85      46,027.21     4.43%     47,880.77
        85,718.96    16.62%    98,972.66   31.16%    -13,253.70      68,734.83     24.70%         16,984.13   Total Labor Costs                                      404,659.21    23.81%     507,429.43     35.10%   -102,770.22     304,876.47    29.32%     99,782.74



                                                                                                              Direct Expenses:
        60,074.74    13.52%    49,270.63   17.66%     10,804.11      45,757.25     18.90%         14,317.49   Rooms                                                  252,606.77    17.11%     222,072.18     17.49%    30,534.59      192,441.39    20.89%     60,165.38
         3,102.02     5.25%     1,775.61    6.19%      1,326.41       3,752.64     16.29%           -650.62   F&B                                                     11,487.46     6.73%       9,394.21      7.27%     2,093.25       16,022.36    22.32%     -4,534.90
             0.00     0.00%         0.00    0.00%          0.00       3,779.35     28.89%         -3,779.35   Telephone                                                    0.00     0.00%           0.00      0.00%         0.00       12,389.35    26.56%    -12,389.35
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%              0.00   Other                                                        0.00     0.00%           0.00      0.00%         0.00            0.00     0.00%          0.00
        55,540.52    10.77%    32,826.75   10.34%     22,713.77      34,108.29     12.26%         21,432.23   Franchise Fees                                         192,275.43    11.31%     151,167.50     10.46%    41,107.93      133,317.19    12.82%     58,958.24
        23,437.36     4.54%    15,276.26    4.81%      8,161.10      14,813.02      5.32%          8,624.34   A&G                                                     95,839.47     5.64%      80,895.89      5.60%    14,943.58       82,528.71     7.94%     13,310.76
         5,805.75     1.13%     5,534.70    1.74%        271.05           0.00      0.00%          5,805.75   IT                                                      24,537.14     1.44%      21,593.50      1.49%     2,943.64          -16.92     0.00%     24,554.06
         2,162.40     0.42%     3,640.43    1.15%     -1,478.03       1,557.30      0.56%            605.10   S&M                                                     20,747.58     1.22%      19,069.63      1.32%     1,677.95       10,222.63     0.98%     10,524.95
        13,341.37     2.59%     6,700.00    2.11%      6,641.37       9,297.99      3.34%          4,043.38   R&M                                                     55,291.59     3.25%      46,340.00      3.21%     8,951.59       47,108.34     4.53%      8,183.25
        18,782.73     3.64%    20,111.25    6.33%     -1,328.52      15,996.11      5.75%          2,786.62   Utilities                                               95,198.68     5.60%      92,612.50      6.41%     2,586.18       93,732.95     9.01%      1,465.73

       182,246.89    35.34%   135,135.63   42.55%     47,111.26     129,061.95     46.39%         53,184.94   Total Direct Expense                                   747,984.12    44.01%     643,145.41     44.48%   104,838.71      587,746.00    56.52%    160,238.12

       235,372.02    45.64%    73,528.13   23.15%    161,843.89      70,637.27     25.39%        164,734.75   Gross Operating Profit                                 495,095.33    29.13%     250,236.39     17.31%   244,858.94       98,145.90     9.44%    396,949.43

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                                                                                                Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                                         P&L - Dual Summary Pages
                                                                                                                              As of 5/31/2022
              PTD     %           PTD Budget   %          Variance   PTD Last Year     %              Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance




                                                                                                                 Fixed Costs
         6,932.36     1.34%         8,959.93    2.82%    -2,027.57      32,018.13     11.51%        -25,085.77   Taxes                                                   63,410.48    3.73%    44,799.65      3.10%    18,610.83     159,727.45    15.36%    -96,316.97
         9,715.27     1.88%         8,694.50    2.74%     1,020.77       1,928.95      0.69%          7,786.32   Insurance                                               55,285.47    3.25%    43,472.50      3.01%    11,812.97      10,662.97     1.03%     44,622.50
        63,516.30    12.32%        63,515.84   20.00%         0.46      60,214.73     21.64%          3,301.57   Leases & Rent                                          310,818.52   18.29%   310,886.80     21.50%       -68.28     300,930.31    28.94%      9,888.21
        15,972.62     3.10%         9,528.34    3.00%     6,444.28       8,685.50      3.12%          7,287.12   Management Fees                                         53,280.17    3.14%    43,373.61      3.00%     9,906.56      33,501.38     3.22%     19,778.79

        96,136.55    18.64%        90,698.61   28.56%     5,437.94     102,847.31     36.96%         -6,710.76   Total Fixed Expenses                                   482,794.64   28.41%   442,532.56     30.61%    40,262.08     504,822.11    48.55%    -22,027.47

       139,235.47    27.00%       -17,170.48   -5.41%   156,405.95     -32,210.04     -11.58%       171,445.51   Net Operating Profit                                    12,300.69   0.72%    -192,296.17   -13.30%   204,596.86    -406,676.21    -39.11%   418,976.90



             0.00         0.00%       80.00    0.03%        -80.00           0.00      0.00%              0.00   Owner's Expense                                              0.00   0.00%         400.00    0.03%       -400.00         949.17     0.09%       -949.17
             0.00         0.00%      518.00    0.16%       -518.00           0.00      0.00%              0.00   Prior Owner's Expense                                    3,216.78   0.19%       2,590.00    0.18%        626.78       6,210.97     0.60%     -2,994.19



       139,235.47    27.00%       -17,768.48   -5.59%   157,003.95     -32,210.04     -11.58%       171,445.51   Net Operating Income                                     9,083.91   0.53%    -195,286.17   -13.51%   204,370.08    -413,836.35    -39.80%   422,920.26

             0.00         0.00%         0.00   0.00%          0.00           0.00      0.00%              0.00   Capital Reserve                                         12,283.63   0.72%     16,500.00     1.14%     -4,216.37      15,343.00     1.48%     -3,059.37

       139,235.47    27.00%       -17,768.48   -5.59%   157,003.95     -32,210.04     -11.58%       171,445.51   Adjusted NOI                                            -3,199.72   -0.19%   -211,786.17   -14.65%   208,586.45    -429,179.35    -41.27%   425,979.63




       139,235.47    27.00%       -17,768.48   -5.59%   157,003.95     -32,210.04     -11.58%       171,445.51   Net Profit/(Loss)                                       -3,199.72   -0.19%   -211,786.17   -14.65%   208,586.45    -429,179.35    -41.27%   425,979.63




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                                                                                                Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                                         P&L - Dual Summary Pages
                                                                                                                              As of 5/31/2022
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %              Variance                                                                YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                 Rooms
                                                                                                                 Room Revenue
                                                                                                                 Transient Room Revenue
        52,303.56    11.77%     14,178.00      5.08%     38,125.56      10,310.15      4.26%         41,993.41   Corporate Transient                                    121,716.38     8.25%      80,369.00      6.33%     41,347.38      28,418.25     3.08%     93,298.13
         8,287.44     1.87%          0.00      0.00%      8,287.44           0.00      0.00%          8,287.44   Advanced Purchase                                       27,145.69     1.84%           0.00      0.00%     27,145.69           0.00     0.00%     27,145.69
        31,509.02     7.09%     70,940.00     25.43%    -39,430.98           0.00      0.00%         31,509.02   Qualified Discounts                                     95,633.61     6.48%     353,550.00     27.84%   -257,916.39           0.00     0.00%     95,633.61
        15,995.97     3.60%     20,264.00      7.26%     -4,268.03       5,982.04      2.47%         10,013.93   Consortia Transient                                     42,419.40     2.87%      80,746.00      6.36%    -38,326.60      16,490.23     1.79%     25,929.17
         6,403.56     1.44%      3,080.00      1.10%      3,323.56         949.00      0.39%          5,454.56   Employee                                                10,714.56     0.73%      12,670.00      1.00%     -1,955.44       7,527.50     0.82%      3,187.06
             0.00     0.00%          0.00      0.00%          0.00     100,078.09     41.33%       -100,078.09   Leisure Transient                                            0.00     0.00%           0.00      0.00%          0.00     472,348.77    51.26%   -472,348.77
         3,811.24     0.86%      5,170.00      1.85%     -1,358.76       2,782.20      1.15%          1,029.04   Travel Agent/Friends & Family                           19,845.89     1.34%      19,775.00      1.56%         70.89      24,117.91     2.62%     -4,272.02
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%              0.00   Leisure Package Transient                                  968.99     0.07%           0.00      0.00%        968.99           0.00     0.00%        968.99
         7,029.82     1.58%      1,950.00      0.70%      5,079.82       1,780.18      0.74%          5,249.64   Member Reward Stay                                      72,713.43     4.93%       9,100.00      0.72%     63,613.43       9,699.54     1.05%     63,013.89
             0.00     0.00%          0.00      0.00%          0.00          35.00      0.01%            -35.00   Non Qualified Discounts                                  1,470.87     0.10%           0.00      0.00%      1,470.87          35.00     0.00%      1,435.87
        62,239.76    14.01%          0.00      0.00%     62,239.76           0.00      0.00%         62,239.76   Internet/E-Commerce                                    165,022.02    11.18%           0.00      0.00%    165,022.02         526.92     0.06%    164,495.10
        31,416.42     7.07%          0.00      0.00%     31,416.42           0.00      0.00%         31,416.42   E-Commerce Opaque                                      118,973.21     8.06%           0.00      0.00%    118,973.21           0.00     0.00%    118,973.21
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%              0.00   Other Transient                                              0.00     0.00%           0.00      0.00%          0.00       2,681.19     0.29%     -2,681.19
         2,187.97     0.49%          0.00      0.00%      2,187.97           0.00      0.00%          2,187.97   Government Transient                                     5,061.97     0.34%           0.00      0.00%      5,061.97           0.00     0.00%      5,061.97
       127,694.05    28.75%    117,541.00     42.13%     10,153.05      78,179.31     32.29%         49,514.74   Rack Transient                                         535,036.78    36.24%     558,981.00     44.02%    -23,944.22     271,004.27    29.41%    264,032.51
        28,787.33     6.48%      3,999.00      1.43%     24,788.33       1,805.90      0.75%         26,981.43   Local Negotiated Transient                             104,380.90     7.07%      37,926.00      2.99%     66,454.90      10,894.68     1.18%     93,486.22

     377,666.14     85.02%     237,122.00    85.00%    140,544.14     201,901.87      83.39%       175,764.27    Total Transient Room Revenue                         1,321,103.70   89.49%    1,153,117.00   90.80%     167,986.70     843,744.26     91.57%   477,359.44

                                                                                                                 Group Room Revenue
        33,090.91     7.45%          0.00      0.00%     33,090.91       1,672.00      0.69%         31,418.91   Corporate Group                                         64,727.46     4.38%           0.00     0.00%      64,727.46       3,148.26     0.34%    61,579.20
        28,968.00     6.52%     24,463.00      8.77%      4,505.00      36,845.79     15.22%         -7,877.79   SMERF Group                                             78,269.50     5.30%      90,479.00     7.12%     -12,209.50      63,895.19     6.93%    14,374.31
             0.00     0.00%     16,395.00      5.88%    -16,395.00           0.00      0.00%              0.00   Sports Group                                                 0.00     0.00%      21,300.00     1.68%     -21,300.00         534.00     0.06%      -534.00

       62,058.91    13.97%      40,858.00    14.65%     21,200.91      38,517.79      15.91%        23,541.12    Total Group Room Revenue                              142,996.96     9.69%     111,779.00      8.80%     31,217.96      67,577.45     7.33%     75,419.51

                                                                                                                 Contract Room Revenue

            0.00     0.00%           0.00     0.00%          0.00            0.00      0.00%             0.00    Total Contract Room Revenue                                  0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                                 Other Room Revenue
         2,667.41     0.60%        750.00      0.27%     1,917.41        2,059.61      0.85%           607.80    No-Show Rooms                                           10,377.49     0.70%       3,500.00     0.28%       6,877.49      11,128.62     1.21%      -751.13
           847.11     0.19%        150.00      0.05%       697.11          175.00      0.07%           672.11    Early/Late Departure Fees                                1,660.02     0.11%         750.00     0.06%         910.02       1,540.00     0.17%       120.02
           250.00     0.06%        100.00      0.04%       150.00            0.00      0.00%           250.00    Pet/Smoking/Damage Fees                                    750.00     0.05%         500.00     0.04%         250.00         250.00     0.03%       500.00

        3,764.52     0.85%       1,000.00     0.36%      2,764.52       2,234.61       0.92%         1,529.91    Total Other Room Revenue                               12,787.51     0.87%        4,750.00     0.37%      8,037.51      12,918.62     1.40%       -131.11

          714.98      0.16%           0.00     0.00%       714.98         -536.92      -0.22%         1,251.90   Less: Allowances                                          -681.00    -0.05%         250.00     0.02%       -931.00       -2,828.60    -0.31%      2,147.60

     444,204.55     100.00%    278,980.00    100.00%   165,224.55     242,117.35     100.00%       202,087.20    Total Room Revenue                                   1,476,207.17   100.00%   1,269,896.00 100.00%      206,311.17     921,411.73 100.00%      554,795.44

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
         4,002.76     0.90%       4,291.93     1.54%       -289.17       3,966.23       1.64%            36.53   Housekeeping Management                                 14,719.83     1.00%      20,607.09      1.62%     -5,887.26      22,038.16     2.39%     -7,318.33
        4,002.76     0.90%       4,291.93     1.54%       -289.17       3,966.23       1.64%             36.53   Total Rooms Management                                 14,719.83     1.00%      20,607.09      1.62%     -5,887.26      22,038.16     2.39%     -7,318.33
         7,055.22     1.59%       6,430.29     2.30%        624.93       7,714.70       3.19%          -659.48   Front Office Agents                                     29,026.85     1.97%      31,321.73      2.47%     -2,294.88      36,610.82     3.97%     -7,583.97
             0.00     0.00%       2,790.00     1.00%     -2,790.00           0.00       0.00%             0.00   Front Office Supervisors                                 5,346.70     0.36%      13,590.00      1.07%     -8,243.30           0.00     0.00%      5,346.70
         4,832.09     1.09%       4,712.00     1.69%        120.09           0.00       0.00%         4,832.09   Night Auditors                                          23,079.15     1.56%      22,952.00      1.81%        127.15           0.00     0.00%     23,079.15
       11,887.31     2.68%      13,932.29     4.99%     -2,044.98       7,714.70       3.19%         4,172.61    Total Rooms Front Office                               57,452.70     3.89%      67,863.73      5.34%    -10,411.03      36,610.82     3.97%     20,841.88
             0.00     0.00%       2,657.14     0.95%     -2,657.14           0.00       0.00%             0.00   Housekeeping Supervisors                                 5,401.90     0.37%      12,942.85      1.02%     -7,540.95           0.00     0.00%      5,401.90
         2,419.32     0.54%           0.00     0.00%      2,419.32       8,621.91       3.56%        -6,202.59   Room Attendants                                          6,685.33     0.45%           0.00      0.00%      6,685.33      40,225.20     4.37%    -33,539.87
         2,393.85     0.54%       5,526.86     1.98%     -3,133.01           0.00       0.00%         2,393.85   Housepersons                                            12,504.34     0.85%      26,921.15      2.12%    -14,416.81           0.00     0.00%     12,504.34
             0.00     0.00%       3,224.00     1.16%     -3,224.00           0.00       0.00%             0.00   Laundry Attendants                                       6,886.41     0.47%      15,704.00      1.24%     -8,817.59           0.00     0.00%      6,886.41
        4,813.17     1.08%      11,408.00     4.09%     -6,594.83       8,621.91       3.56%        -3,808.74    Total Rooms Housekeeping                               31,477.98     2.13%      55,568.00      4.38%    -24,090.02      40,225.20     4.37%     -8,747.22

       20,703.24       4.66%    29,632.22    10.62%     -8,928.98      20,302.84       8.39%           400.40    Total Rooms Salary and Wages                          103,650.51     7.02%     144,038.82    11.34%     -40,388.31      98,874.18     10.73%     4,776.33
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                                                                                                  Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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              PTD     %           PTD Budget     %          Variance   PTD Last Year     %              Variance                                                                YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance


                                                                                                                   PR Taxes and Benefits
         1,557.25      0.35%         2,329.23    0.83%       -771.98       1,634.10       0.67%           -76.85   FICA                                                     7,741.34    0.52%     11,664.23     0.92%     -3,922.89       7,937.78     0.86%       -196.44
            24.49      0.01%            27.40    0.01%         -2.91          40.34       0.02%           -15.85   Federal Unemployment Tax                                   305.79    0.02%        413.51     0.03%       -107.72         375.10     0.04%        -69.31
           107.01      0.02%           164.42    0.06%        -57.41         249.97       0.10%          -142.96   State Unemployment Tax                                   1,630.77    0.11%      3,553.12     0.28%     -1,922.35       1,997.24     0.22%       -366.47
        1,688.75      0.38%         2,521.05    0.90%       -832.30       1,924.41       0.79%          -235.66    Total Payroll Taxes                                     9,677.90    0.66%     15,630.86     1.23%     -5,952.96      10,310.12     1.12%       -632.22
             0.00      0.00%           150.00    0.05%       -150.00           0.00       0.00%             0.00   Holiday                                                      0.00    0.00%        300.00     0.02%       -300.00       1,630.56     0.18%     -1,630.56
             0.00      0.00%           166.97    0.06%       -166.97         485.76       0.20%          -485.76   Vacation                                                     0.00    0.00%        707.95     0.06%       -707.95       1,039.26     0.11%     -1,039.26
             0.00     0.00%           316.97    0.11%       -316.97         485.76       0.20%          -485.76    Total Supplemental Pay                                       0.00   0.00%      1,007.95     0.08%     -1,007.95       2,669.82     0.29%     -2,669.82
           875.15      0.20%         1,701.33    0.61%       -826.18         829.03       0.34%            46.12   Worker's Compensation                                    6,344.49    0.43%      8,533.38     0.67%     -2,188.89       6,368.16     0.69%        -23.67
         2,642.46      0.59%         2,850.00    1.02%       -207.54        -836.48      -0.35%         3,478.94   Group Insurance                                          6,281.82    0.43%     14,250.00     1.12%     -7,968.18      -3,835.61    -0.42%     10,117.43
             0.00      0.00%             0.00    0.00%          0.00           0.00       0.00%             0.00   Bonus and Incentive Pay                                      0.00    0.00%      5,000.00     0.39%     -5,000.00           0.00     0.00%          0.00
        3,517.61      0.79%         4,551.33    1.63%     -1,033.72           -7.45      0.00%         3,525.06    Total Other Benefits                                   12,626.31    0.86%     27,783.38     2.19%    -15,157.07       2,532.55     0.27%     10,093.76

        5,206.36      1.17%         7,389.35    2.65%     -2,182.99       2,402.72       0.99%         2,803.64    Total Rooms PR Taxes and Benefits                      22,304.21    1.51%     44,422.19     3.50%    -22,117.98      15,512.49     1.68%      6,791.72

       25,909.60      5.83%        37,021.57    13.27%   -11,111.97      22,705.56       9.38%         3,204.04    Total Rooms Labor Costs                               125,954.72    8.53%    188,461.01    14.84%    -62,506.29     114,386.67     12.41%    11,568.05

                                                                                                                   Other Expenses
         7,701.10         1.73%     2,595.00     0.93%     5,106.10        4,245.00      1.75%          3,456.10   Breakfast /Comp Cost                                     9,808.18    0.66%    11,950.00     0.94%      -2,141.82      15,508.92     1.68%    -5,700.74
           427.60         0.10%     1,686.75     0.60%    -1,259.15           79.35      0.03%            348.25   Cleaning Supplies                                        3,139.03    0.21%     7,767.50     0.61%      -4,628.47       6,029.70     0.65%    -2,890.67
             0.00         0.00%         0.00     0.00%         0.00            0.00      0.00%              0.00   Contract Cleaning                                          773.00    0.05%         0.00     0.00%         773.00           0.00     0.00%       773.00
        32,323.24         7.28%    19,981.50     7.16%    12,341.74       23,055.01      9.52%          9,268.23   Contract Labor                                         136,491.03    9.25%    92,015.00     7.25%      44,476.03      98,800.67    10.72%    37,690.36
           646.91         0.15%       600.00     0.22%        46.91            0.00      0.00%            646.91   Decorations & Plants                                     1,703.72    0.12%     3,000.00     0.24%      -1,296.28           0.00     0.00%     1,703.72
            85.64         0.02%        86.00     0.03%        -0.36           85.64      0.04%              0.00   Dues and Subscriptions                                     386.73    0.03%     1,030.00     0.08%        -643.27         256.92     0.03%       129.81
            28.76         0.01%         0.00     0.00%        28.76            0.00      0.00%             28.76   Guest Loss/Damage                                          991.83    0.07%         0.00     0.00%         991.83           0.00     0.00%       991.83
         1,735.84         0.39%     3,243.75     1.16%    -1,507.91        3,108.05      1.28%         -1,372.21   Guest Supplies                                          11,415.28    0.77%    14,937.50     1.18%      -3,522.22      13,059.66     1.42%    -1,644.38
            67.73         0.02%       778.50     0.28%      -710.77          710.96      0.29%           -643.23   Laundry                                                  4,783.18    0.32%     3,585.00     0.28%       1,198.18       4,121.47     0.45%       661.71
           870.36         0.20%     2,465.25     0.88%    -1,594.89        1,441.44      0.60%           -571.08   Linen                                                   10,155.35    0.69%    11,352.50     0.89%      -1,197.15       9,521.03     1.03%       634.32
             0.00         0.00%     1,038.00     0.37%    -1,038.00          320.70      0.13%           -320.70   Operating Supplies                                         160.02    0.01%     4,780.00     0.38%      -4,619.98       6,156.73     0.67%    -5,996.71
         2,132.18         0.48%     1,297.50     0.47%       834.68            0.00      0.00%          2,132.18   Reservation Expense                                      5,692.05    0.39%     5,975.00     0.47%        -282.95           0.00     0.00%     5,692.05
           373.03         0.08%     1,297.50     0.47%      -924.47        4,157.75      1.72%         -3,784.72   Rooms Promotion                                         18,636.77    1.26%     5,975.00     0.47%      12,661.77       6,591.59     0.72%    12,045.18
             0.00         0.00%         0.00     0.00%         0.00            0.00      0.00%              0.00   Software Expense/Maintenance                                 0.00    0.00%         0.00     0.00%           0.00          77.50     0.01%       -77.50
         2,054.70         0.46%     2,116.00     0.76%       -61.30        1,955.23      0.81%             99.47   Television Cable                                        10,183.86    0.69%    10,580.00     0.83%        -396.14       9,452.69     1.03%       731.17
             0.00         0.00%       100.00     0.04%      -100.00           15.00      0.01%            -15.00   Transportation                                               0.00    0.00%       500.00     0.04%        -500.00          95.00     0.01%       -95.00
           328.30         0.07%     1,500.00     0.54%    -1,171.70          742.35      0.31%           -414.05   Travel Agent Comm - Group Rooms                          2,588.56    0.18%     1,500.00     0.12%       1,088.56       1,989.63     0.22%       598.93
        11,060.90         2.49%     9,484.88     3.40%     1,576.02        5,840.77      2.41%          5,220.13   Travel Agent Comm - Transient Rooms                     34,309.30    2.32%    46,124.68     3.63%     -11,815.38      20,779.88     2.26%    13,529.42
           238.45         0.05%     1,000.00     0.36%      -761.55            0.00      0.00%            238.45   Uniforms                                                 1,388.88    0.09%     1,000.00     0.08%         388.88           0.00     0.00%     1,388.88

       60,074.74     13.52%        49,270.63    17.66%    10,804.11      45,757.25      18.90%        14,317.49    Total Rooms Other Expenses                            252,606.77    17.11%   222,072.18    17.49%     30,534.59     192,441.39     20.89%    60,165.38

       85,984.34     19.36%        86,292.20    30.93%      -307.86      68,462.81      28.28%        17,521.53    Total Rooms Expenses                                  378,561.49    25.64%   410,533.19    32.33%    -31,971.70     306,828.06     33.30%    71,733.43

      358,220.21     80.64%       192,687.80    69.07%   165,532.41     173,654.54      71.72%       184,565.67    Total Rooms Profit (Loss)                            1,097,645.68   74.36%   859,362.81    67.67%    238,282.87     614,583.67     66.70%   483,062.01




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              PTD     %   PTD Budget   %    Variance   PTD Last Year     %         Variance                                                                YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
           399.00             102.00          297.00         102.00                  297.00   Room Stat - Corporate Transient                          1,027.00           581.00        446.00         365.00           662.00
            64.00               0.00           64.00           0.00                   64.00   Room Stat - Advanced Purchase                              239.00             0.00        239.00           0.00           239.00
           234.00               0.00          234.00           0.00                  234.00   Room Stat - Qualified Discounts                            864.00             0.00        864.00           0.00           864.00
             0.00               0.00            0.00           0.00                    0.00   Room Stat - FIT(Flexible Independent Travel)                 2.00             0.00          2.00           0.00             2.00
           126.00             136.00          -10.00          57.00                   69.00   Room Stat - Consortia Rate Transient                       356.00           549.00       -193.00         174.00           182.00
           110.00              88.00           22.00          27.00                   83.00   Room Stat - Employee                                       232.00           362.00       -130.00         243.00           -11.00
             0.00               0.00            0.00       1,073.00               -1,073.00   Room Stat - Leisure Transient                                0.00             0.00          0.00       6,099.00        -6,099.00
             0.00               0.00            0.00           0.00                    0.00   Room Stat - Package Transient                                8.00             0.00          8.00           0.00             8.00
            49.00              89.00          -40.00          41.00                    8.00   Room Stat - Travel Agent/Friends & Family                  255.00           362.00       -107.00         422.00          -167.00
            82.00              78.00            4.00          89.00                   -7.00   Room Stat - Member Reward Stay                             885.00           364.00        521.00         514.00           371.00
             3.00               0.00            3.00           0.00                    3.00   Room Stat - Non-Qualified Discounts                         15.00             0.00         15.00           0.00            15.00
           601.00               0.00          601.00           0.00                  601.00   Room Stat - Internet                                     1,655.00             0.00      1,655.00           9.00         1,646.00
           282.00               0.00          282.00           0.00                  282.00   Room Stat - E-Commerce Opaque                            1,204.00             0.00      1,204.00           0.00         1,204.00
            17.00               0.00           17.00           0.00                   17.00   Room Stat - Government Rate Transient                       47.00             0.00         47.00           5.00            42.00
           980.00             919.00           61.00         730.00                  250.00   Room Stat - Rack Rate Transient                          4,699.00         4,608.00         91.00       2,901.00         1,798.00
           218.00              31.00          187.00          25.00                  193.00   Room Stat - Local Negotiated Transient                     920.00           294.00        626.00         247.00           673.00
        3,165.00           1,443.00        1,722.00       2,144.00                1,021.00    Total Transient Rooms Sold                             12,408.00         7,120.00      5,288.00      10,979.00         1,429.00

                                                                                              Group Rooms
           270.00               0.00         270.00           17.00                 253.00    Room Stat - Corporate Group Rooms                          528.00             0.00       528.00           37.00          491.00
             0.00               0.00           0.00            0.00                   0.00    Room Stat - Association Group                               13.00             0.00        13.00            0.00           13.00
           257.00             267.00         -10.00          400.00                -143.00    Room Stat - SMERF Group                                    707.00         1,011.00      -304.00          722.00          -15.00
             0.00             155.00        -155.00            0.00                   0.00    Room Stat - Sports Group                                     0.00           200.00      -200.00            6.00           -6.00
          527.00             422.00         105.00          417.00                 110.00     Total Group Rooms Sold                                  1,248.00         1,211.00         37.00         765.00          483.00

                                                                                              Contract Rooms
             0.00              0.00            0.00            0.00                   0.00    Total Contract Rooms Sold                                   0.00             0.00          0.00            0.00            0.00

        3,692.00           1,865.00        1,827.00       2,561.00                1,131.00    Total Rooms Sold                                       13,656.00         8,331.00      5,325.00      11,744.00         1,912.00
            52.00              0.00            52.00          48.00                   4.00    Room Stat - Comp Rooms                                     171.00            0.00         171.00         138.00            33.00
        3,744.00           1,865.00        1,879.00       2,609.00                1,135.00    Total Rooms Occupied                                   13,827.00         8,331.00      5,496.00      11,882.00         1,945.00
           339.00              0.00           339.00         312.00                  27.00    Room Stat - Out of Order                                 2,311.00            0.00       2,311.00       1,206.00         1,105.00

                                                                                              ADR
           131.09             139.00           -7.91         101.08                  30.01    Corporate Transient ADR                                    118.52           138.33        -19.81          77.86           40.66
           129.49               0.00         129.49            0.00                 129.49    Advanced Purchase ADR                                      113.58             0.00       113.58            0.00          113.58
           134.65               0.00         134.65            0.00                 134.65    Qualified Discount ADR                                     110.69             0.00       110.69            0.00          110.69
             0.00               0.00            0.00           0.00                   0.00    FIT ADR                                                      0.00             0.00          0.00           0.00            0.00
           126.95             149.00          -22.05         104.95                  22.00    Consortia ADR                                              119.16           147.08        -27.92          94.77           24.38
            58.21              35.00           23.21          35.15                  23.07    Employee ADR                                                46.18            35.00         11.18          30.98           15.21
             0.00               0.00            0.00          93.27                 -93.27    Leisure ADR                                                  0.00             0.00          0.00          77.45          -77.45
            77.78              58.09           19.69          67.86                   9.92    Travel Agent/Friends & Family ADR                           77.83            54.63         23.20          57.15           20.68
             0.00               0.00            0.00           0.00                   0.00    Leisure Package ADR                                          0.00             0.00          0.00           0.00            0.00
            85.73              25.00           60.73          20.00                  65.73    Member Reward Stay ADR                                      82.16            25.00         57.16          18.87           63.29
             0.00               0.00            0.00           0.00                   0.00    Golf Pkg ADR                                                 0.00             0.00          0.00           0.00            0.00
             0.00               0.00            0.00           0.00                   0.00    Non Qualified ADR                                           98.06             0.00         98.06           0.00           98.06
           103.56               0.00         103.56            0.00                 103.56    Internet ADR                                                99.71             0.00         99.71          58.55           41.16
           111.41               0.00         111.41            0.00                 111.41    E-Commerce Opaque ADR                                       98.81             0.00         98.81           0.00           98.81
             0.00               0.00            0.00           0.00                   0.00    Other Transient ADR                                          0.00             0.00          0.00           0.00            0.00
             0.00               0.00            0.00           0.00                   0.00    Airline Distressed Passenger ADR                             0.00             0.00          0.00           0.00            0.00
           128.70               0.00         128.70            0.00                 128.70    Government ADR                                             107.70             0.00       107.70            0.00          107.70
           130.30             127.90            2.40         107.09                  23.21    Rack ADR                                                   113.86           121.31         -7.44          93.42           20.44
           132.05             129.00            3.05          72.24                  59.82    Local Negotiated ADR                                       113.46           129.00        -15.54          44.11           69.35
          119.33             164.33          -45.00           94.17                  25.16    Total Transient ADR                                       106.47           161.95        -55.48           76.85           29.62

           122.56               0.00         122.56           98.35                  24.21    Corporate Group ADR                                       122.59              0.00       122.59           85.09           37.50
             0.00               0.00           0.00            0.00                   0.00    Leisure Group ADR                                           0.00              0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                   0.00    Government Group ADR                                        0.00              0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                   0.00    Tour & Travel Group ADR                                     0.00              0.00         0.00            0.00            0.00
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                   0.00    Association Group ADR                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    City Wide Group ADR                                          0.00            0.00         0.00            0.00           0.00
           112.72             91.62          21.09           92.11                  20.60    SMERF Group ADR                                            110.71           89.49        21.21           88.50          22.21
             0.00            105.77        -105.77            0.00                   0.00    Sports Group ADR                                             0.00          106.50      -106.50           89.00         -89.00
             0.00              0.00           0.00            0.00                   0.00    Other Group ADR                                              0.00            0.00         0.00            0.00           0.00
          117.76              96.82          20.94           92.37                  25.39    Total Group ADR                                           114.58            92.30        22.28           88.34         26.24

             0.00              0.00           0.00            0.00                   0.00    Airline Crew ADR                                            0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Other Contract ADR                                          0.00             0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Contract ADR                                          0.00             0.00         0.00            0.00           0.00

          120.32             149.59         -29.27           94.54                  25.78    Total ADR                                                 108.10           152.43       -44.33           78.46          29.64




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              PTD     %           PTD Budget     %          Variance   PTD Last Year     %              Variance                                                                YTD      %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                   F&B Summary
                                                                                                                   Revenue
        10,693.60     18.09%       11,418.00     39.79%      -724.40       3,178.25      13.80%         7,515.35   Outlet Food Revenue                                     42,407.90     24.86%     52,580.00  40.68%     -10,172.10       16,778.41  23.37%       25,629.49
        19,313.00     32.68%        4,550.00     15.86%    14,763.00       8,625.65      37.44%        10,687.35   Banquet and Catering Food Revenue                       51,421.75     30.14%     20,550.00  15.90%      30,871.75       19,731.90  27.48%       31,689.85
         4,820.11      8.16%        4,424.48     15.42%       395.63       2,171.50       9.43%         2,648.61   Outlet Beverage Revenue                                 18,076.11     10.59%     20,374.76  15.76%      -2,298.65        9,389.67  13.08%        8,686.44
           317.00      0.54%        1,500.00      5.23%    -1,183.00       1,902.00       8.26%        -1,585.00   Banquet and Catering Beverage Revenue                    2,131.00      1.25%      4,200.00   3.25%      -2,069.00        2,182.00   3.04%          -51.00
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%             0.00   Outlet Other Revenue                                         0.00      0.00%          0.00   0.00%           0.00            0.00   0.00%            0.00
        23,957.64     40.54%        6,802.00     23.70%    17,155.64       7,158.83      31.08%        16,798.81   Banquet and Catering Other Revenue                      56,575.30     33.16%     31,537.00  24.40%      25,038.30       23,710.01  33.03%       32,865.29
       59,101.35    100.00%       28,694.48    100.00%    30,406.87      23,036.23     100.00%        36,065.12    Total F&B Revenue                                     170,612.06    100.00%    129,241.76 100.00%      41,370.30       71,791.99 100.00%       98,820.07

                                                                                                                   Cost of Sales
         8,060.06     13.64%        5,908.16     20.59%     2,151.90       3,834.15      16.64%         4,225.91   Food Purchases                                          30,420.18     17.83%     27,058.10    20.94%      3,362.08      22,375.64     31.17%     8,044.54
         1,862.90      3.15%        1,718.10      5.99%       144.80       2,535.95      11.01%          -673.05   Beverage Purchases                                       8,784.17      5.15%      7,126.68     5.51%      1,657.49       6,802.46      9.48%     1,981.71
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%             0.00   Cedit Employee Meals                                         0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%             0.00   Credit House Charges                                         0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%             0.00   Credit In-House Promotions                                   0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%         0.00
           140.03      0.24%           65.00      0.23%        75.03         117.84       0.51%            22.19   Audio Visual Cost of Sales                                 345.52      0.20%        275.00     0.21%         70.52         811.11      1.13%      -465.59
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%             0.00   Other Cost of Sales                                          0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%         0.00
       10,062.99     17.03%        7,691.26     26.80%     2,371.73       6,487.94      28.16%         3,575.05    Total F&B Cost of Sales                                39,549.87     23.18%     34,459.78    26.66%      5,090.09      29,989.21     41.77%     9,560.66

       49,038.36     82.97%       21,003.22     73.20%    28,035.14      16,548.29      71.84%        32,490.07    F&B Gross Profit                                      131,062.19     76.82%     94,781.98    73.34%    36,280.21       41,802.78     58.23%    89,259.41

                                                                                                                   Expenses
                                                                                                                   Payroll
                                                                                                                   Salaries and Wages
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%             0.00   Management                                               9,959.48      5.84%          0.00     0.00%      9,959.48           0.00      0.00%     9,959.48
        19,730.12     33.38%       16,083.55     56.05%     3,646.57      13,018.99      56.52%         6,711.13   Non-Management                                          47,051.64     27.58%     72,059.29    55.76%    -25,007.65      42,185.10     58.76%     4,866.54
       19,730.12     33.38%       16,083.55     56.05%     3,646.57      13,018.99      56.52%         6,711.13    Total F&B Salaries and Wages                           57,011.12     33.42%     72,059.29    55.76%    -15,048.17      42,185.10     58.76%    14,826.02
                                                                                                                   PR Taxes and Benefits
         2,241.20      3.79%        1,530.15      5.33%      711.05        1,345.97       5.84%           895.23   Payroll Taxes                                            7,852.86      4.60%      8,390.80     6.49%       -537.94       5,628.42      7.84%     2,224.44
             0.00      0.00%          150.00      0.52%     -150.00            0.00       0.00%             0.00   Supplemental Pay                                             0.00      0.00%        300.00     0.23%       -300.00       5,942.83      8.28%    -5,942.83
         1,749.32      2.96%        1,807.09      6.30%      -57.77          -19.14      -0.08%         1,768.46   Other Benefits                                           7,118.86      4.17%      8,553.94     6.62%     -1,435.08        -434.78     -0.61%     7,553.64
        3,990.52      6.75%        3,487.24     12.15%      503.28        1,326.83       5.76%         2,663.69    Total F&B PR Taxes and Benefits                        14,971.72      8.78%     17,244.74    13.34%     -2,273.02      11,136.47     15.51%     3,835.25

       23,720.64     40.14%       19,570.79     68.20%     4,149.85      14,345.82      62.28%         9,374.82    Total F&B Payroll                                      71,982.84     42.19%     89,304.03    69.10%    -17,321.19      53,321.57     74.27%    18,661.27

                                                                                                                   Other Expenses
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Audio Visual Supplies                                       10.68     0.01%           0.00    0.00%          10.68           0.00     0.00%         10.68
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Banquet Expense                                              0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Bar Expense/Promos                                           0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Bar Supplies                                                 0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   China                                                        0.00     0.00%         350.00    0.27%        -350.00           0.00     0.00%          0.00
            69.81         0.12%      401.72      1.40%       -331.91         190.92      0.83%           -121.11   Cleaning Supplies                                        1,802.65     1.06%       1,809.38    1.40%          -6.73       1,965.00     2.74%       -162.35
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Communication Expense                                        0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
            87.20         0.15%        0.00      0.00%         87.20         120.80      0.52%            -33.60   Contract Cleaning                                          393.10     0.23%         300.00    0.23%          93.10         275.80     0.38%        117.30
         2,263.45         3.83%        0.00      0.00%      2,263.45           0.00      0.00%          2,263.45   Contract Labor                                           5,106.37     2.99%           0.00    0.00%       5,106.37           0.00     0.00%      5,106.37
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Decorations & Plants                                         0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Dues and Subscriptions                                       0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
            81.80         0.14%      295.00      1.03%       -213.20       1,167.01      5.07%         -1,085.21   Equipment Rental                                           409.44     0.24%       1,475.00    1.14%      -1,065.56       1,486.08     2.07%     -1,076.64
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Food and Beverage Advertising                                0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Glassware                                                    0.00     0.00%         150.00    0.12%        -150.00         274.30     0.38%       -274.30
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Guest Loss/Damage                                            0.00     0.00%           0.00    0.00%           0.00         296.31     0.41%       -296.31
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Guest Supplies                                               0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   In-House Entertainment                                       0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Kitchen/Cooking Fuel                                         0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Kitchen Equipment                                            0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Laundry - Outside Expense                                    0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Laundry Allocation                                           0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%      505.00      1.76%       -505.00       1,103.96      4.79%         -1,103.96   Licenses/Permits                                            50.00     0.03%       2,525.00    1.95%      -2,475.00       7,619.80    10.61%     -7,569.80
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Linen                                                        0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00           0.00      0.00%              0.00   Linen Rental                                                 0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
6/6/2022 at 11:36:05 AM
                                                                                  Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 399 of 776
                                                                                             Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %         Variance   PTD Last Year     %              Variance                                                                YTD     %       YTD Budget %              Variance   YTD Last Year     %         Variance

             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Maintenance Contracts                                        0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Meals and Entertainment                                      0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Menus                                                        0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Miscellaneous Expense                                        0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Music and Entertainment                                      0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Office Equipment                                             0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Office Supplies                                              0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Operating Supplies                                           0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
           599.76      1.01%       573.89    2.00%       25.87        1,085.67       4.71%          -485.91   Paper/Plastic Supplies                                   2,980.06    1.75%     2,584.83      2.00%       395.23       3,718.63      5.18%      -738.57
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Printing and Stationery                                      0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Silverware                                                   0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Software Expense/Maintenance                                 0.00    0.00%         0.00      0.00%         0.00         232.50      0.32%      -232.50
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Television Cable                                             0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Training                                                     0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Travel                                                       0.00    0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Uniforms                                                    16.25    0.01%       200.00      0.15%      -183.75          42.14      0.06%       -25.89
             0.00      0.00%         0.00    0.00%        0.00           84.28       0.37%           -84.28   Utensils                                                   718.91    0.42%         0.00      0.00%       718.91         111.80      0.16%       607.11
        3,102.02      5.25%     1,775.61    6.19%     1,326.41       3,752.64      16.29%          -650.62    Total F&B Other Expenses                               11,487.46    6.73%     9,394.21      7.27%     2,093.25      16,022.36     22.32%    -4,534.90

       26,822.66     45.38%    21,346.40    74.39%    5,476.26      18,098.46      78.57%         8,724.20    Total F&B Expenses                                     83,470.30    48.92%   98,698.24    76.37%     -15,227.94     69,343.93     96.59%    14,126.37

       22,215.70     37.59%      -343.18    -1.20%   22,558.88      -1,550.17      -6.73%        23,765.87    Total F&B Profit (Loss)                                47,591.89    27.89%   -3,916.26      -3.03%   51,508.15     -27,541.15     -38.36%   75,133.04




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                                                                      Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 400 of 776
                                                                            Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                     P&L - Dual Summary Pages
                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
             0.00              0.00           0.00            0.00                   0.00    Food Stat- Food-Breakfast                                   0.00            0.00         0.00          627.00         -627.00
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00           26.76           -26.76
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers                                   0.00            0.00         0.00         627.00         -627.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                                      0.00            0.00         0.00           26.76          -26.76

                                                                                             Restaurant 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Room Service
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Room Service Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Room Service Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Banquets
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Banquets Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Banquets Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                             Catering
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Catering Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Catering Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 3
             0.00               0.00          0.00            0.00                   0.00    Breakfast Avg Check                                         0.00             0.00        0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Lunch Avg Check                                             0.00             0.00        0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Dinner Avg Check                                            0.00             0.00        0.00            0.00            0.00
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                                                                            Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 4
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 5
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 1
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                             0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                             0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                   0.00    Total Covers                                                0.00            0.00         0.00         627.00         -627.00




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                                                                                                                              As of 5/31/2022
              PTD     %           PTD Budget    %         Variance   PTD Last Year     %              Variance                                                                YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                 Food Admin
                                                                                                                 Cost of Sales
         8,060.06    13.64%         5,908.16   20.59%    2,151.90        3,834.15     16.64%          4,225.91   Food Purchases                                          30,420.18   17.83%     27,058.10     20.94%     3,362.08       22,375.64    31.17%     8,044.54
         1,862.90     3.15%         1,718.10    5.99%      144.80            0.00      0.00%          1,862.90   Beverage Purchases                                       8,500.17    4.98%      7,126.68      5.51%     1,373.49          925.81     1.29%     7,574.36
           140.03     0.24%            65.00    0.23%       75.03          117.84      0.51%             22.19   Audio Visual Cost of Sales                                 345.52    0.20%        275.00      0.21%        70.52          811.11     1.13%      -465.59

       10,062.99     17.03%        7,691.26    26.80%    2,371.73       3,951.99      17.16%         6,111.00    Total Food Admin Cost of Sales                         39,265.87    23.01%     34,459.78    26.66%      4,806.09      24,112.56     33.59%    15,153.31

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
             0.00      0.00%            0.00     0.00%        0.00           0.00       0.00%             0.00   Division Management                                      9,959.48     5.84%          0.00     0.00%      9,959.48           0.00      0.00%     9,959.48
             0.00     0.00%             0.00    0.00%         0.00           0.00      0.00%              0.00   Total Food Admin Management                             9,959.48     5.84%           0.00    0.00%      9,959.48            0.00     0.00%     9,959.48
         7,465.13     12.63%        7,599.43    26.48%     -134.30       6,206.71      26.94%         1,258.42   Cooks-Line Cooks                                        21,132.48    12.39%     33,016.58    25.55%    -11,884.10      19,270.75     26.84%     1,861.73
        7,465.13     12.63%        7,599.43    26.48%     -134.30       6,206.71      26.94%         1,258.42    Total Food Admin Non-Management                        21,132.48    12.39%     33,016.58    25.55%    -11,884.10      19,270.75     26.84%     1,861.73

        7,465.13     12.63%        7,599.43    26.48%     -134.30       6,206.71      26.94%         1,258.42    Total Food Admin Salaries and Wages                    31,091.96    18.22%     33,016.58    25.55%     -1,924.62      19,270.75     26.84%    11,821.21

                                                                                                                 PR Taxes and Benefits

         2,048.99      3.47%          592.83     2.07%    1,456.16         933.22       4.05%         1,115.77   FICA                                                     6,125.15     3.59%      2,548.72     1.97%      3,576.43       3,822.53      5.32%     2,302.62
            32.43      0.05%            6.97     0.02%       25.46          23.23       0.10%             9.20   Federal Unemployment Tax                                   217.82     0.13%         85.65     0.07%        132.17         174.23      0.24%        43.59
           159.71      0.27%           41.85     0.15%      117.86         144.64       0.63%            15.07   State Unemployment Tax                                   1,167.19     0.68%        739.52     0.57%        427.67         936.74      1.30%       230.45
        2,241.13      3.79%          641.65     2.24%    1,599.48       1,101.09       4.78%         1,140.04    Total Payroll Taxes                                     7,510.16     4.40%      3,373.89     2.61%      4,136.27       4,933.50      6.87%     2,576.66
             0.00      0.00%          150.00     0.52%     -150.00           0.00       0.00%             0.00   Holiday                                                      0.00     0.00%        300.00     0.23%       -300.00       1,171.44      1.63%    -1,171.44
             0.00      0.00%            0.00     0.00%        0.00           0.00       0.00%             0.00   Vacation                                                     0.00     0.00%          0.00     0.00%          0.00       4,771.39      6.65%    -4,771.39
             0.00     0.00%          150.00     0.52%     -150.00            0.00      0.00%              0.00   Total Supplemental Pay                                       0.00    0.00%        300.00     0.23%       -300.00       5,942.83      8.28%    -5,942.83
             0.00      0.00%          433.02     1.51%     -433.02           0.00       0.00%             0.00   Worker's Compensation                                        0.00     0.00%      1,861.28     1.44%     -1,861.28           0.00      0.00%         0.00
           779.25      1.32%          900.00     3.14%     -120.75        -422.24      -1.83%         1,201.49   Group Insurance                                          2,306.53     1.35%      4,500.00     3.48%     -2,193.47      -1,900.08     -2.65%     4,206.61
          779.25      1.32%        1,333.02     4.65%     -553.77        -422.24      -1.83%         1,201.49    Total Other Benefits                                    2,306.53     1.35%      6,361.28     4.92%     -4,054.75      -1,900.08     -2.65%     4,206.61

       10,485.51     17.74%        9,724.10    33.89%     761.41        6,885.56      29.89%         3,599.95    Total Food Admin PR Taxes and Benefits                 40,908.65    23.98%     43,051.75    33.31%     -2,143.10      28,247.00     39.35%    12,661.65

       17,950.64     30.37%       17,323.53    60.37%     627.11       13,092.27      56.83%         4,858.37    Total Food Admin Payroll                               72,000.61    42.20%     76,068.33    58.86%     -4,067.72      47,517.75     66.19%    24,482.86

                                                                                                                 Other Expenses
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%              0.00   Audio Visual Supplies                                       10.68    0.01%           0.00    0.00%          10.68           0.00     0.00%         10.68
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%              0.00   China                                                        0.00    0.00%         350.00    0.27%        -350.00           0.00     0.00%          0.00
            69.81         0.12%      401.72     1.40%     -331.91          190.92      0.83%           -121.11   Cleaning Supplies                                        1,802.65    1.06%       1,809.38    1.40%          -6.73       1,812.89     2.53%        -10.24
            87.20         0.15%        0.00     0.00%       87.20          120.80      0.52%            -33.60   Contract Cleaning                                          393.10    0.23%         300.00    0.23%          93.10         275.80     0.38%        117.30
         2,263.45         3.83%        0.00     0.00%    2,263.45            0.00      0.00%          2,263.45   Contract Labor                                           5,106.37    2.99%           0.00    0.00%       5,106.37           0.00     0.00%      5,106.37
            81.80         0.14%      295.00     1.03%     -213.20        1,167.01      5.07%         -1,085.21   Equipment Rental                                           409.44    0.24%       1,475.00    1.14%      -1,065.56       1,486.08     2.07%     -1,076.64
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%              0.00   Glassware                                                    0.00    0.00%         150.00    0.12%        -150.00           0.00     0.00%          0.00
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%              0.00   Guest Loss/Damage                                            0.00    0.00%           0.00    0.00%           0.00         296.31     0.41%       -296.31
             0.00         0.00%      505.00     1.76%     -505.00            0.00      0.00%              0.00   Licenses/Permits                                            50.00    0.03%       2,525.00    1.95%      -2,475.00           0.00     0.00%         50.00
           599.76         1.01%      573.89     2.00%       25.87        1,085.67      4.71%           -485.91   Paper/Plastic Supplies                                   2,980.06    1.75%       2,584.83    2.00%         395.23       3,637.42     5.07%       -657.36
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%              0.00   Software Expense/Maintenance                                 0.00    0.00%           0.00    0.00%           0.00         232.50     0.32%       -232.50
             0.00         0.00%        0.00     0.00%        0.00            0.00      0.00%              0.00   Uniforms                                                    16.25    0.01%         200.00    0.15%        -183.75          42.14     0.06%        -25.89
             0.00         0.00%        0.00     0.00%        0.00           84.28      0.37%            -84.28   Utensils                                                   718.91    0.42%           0.00    0.00%         718.91         111.80     0.16%        607.11

        3,102.02      5.25%        1,775.61     6.19%    1,326.41       2,648.68      11.50%           453.34    Total Food Admin Other Expenses                        11,487.46     6.73%      9,394.21     7.27%      2,093.25       7,894.94     11.00%     3,592.52

       21,052.66     35.62%       19,099.14    66.56%    1,953.52      15,740.95      68.33%         5,311.71    Total Food Admin Expenses                              83,488.07    48.93%     85,462.54    66.13%     -1,974.47      55,412.69     77.19%    28,075.38

       31,115.65     52.65%       26,790.40    93.36%    4,325.25      19,692.94      85.49%        11,422.71    Departmental Costs                                    122,753.94    71.95%    119,922.32    92.79%      2,831.62      79,525.25 110.77%       43,228.69




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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %             Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %        Variance

                                                                                                             Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%            0.00    Less Adjustments                                            0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%        0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%            0.00    Total Beverage Admin Revenue                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales
             0.00         0.00%         0.00   0.00%      0.00        2,535.95      0.00%        -2,535.95   Beverage Purchases                                        284.00   0.00%         0.00     0.00%    284.00        5,876.65    0.00%   -5,592.65

             0.00     0.00%            0.00    0.00%      0.00       2,535.95       0.00%       -2,535.95    Total Beverage Admin Cost of Sales                        284.00   0.00%        0.00      0.00%   284.00        5,876.65     0.00%   -5,592.65

                                                                                                             Expenses
                                                                                                             Other Expenses
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%            0.00    Glassware                                                   0.00   0.00%         0.00     0.00%      0.00          274.30    0.00%     -274.30
             0.00         0.00%         0.00   0.00%      0.00          600.00      0.00%         -600.00    Licenses/Permits                                            0.00   0.00%         0.00     0.00%      0.00        4,900.00    0.00%   -4,900.00

             0.00     0.00%            0.00    0.00%      0.00         600.00       0.00%         -600.00    Total Beverage Admin Other Expenses                         0.00   0.00%        0.00      0.00%      0.00       5,174.30     0.00%   -5,174.30

             0.00     0.00%            0.00    0.00%      0.00         600.00       0.00%         -600.00    Total Beverage Admin Expenses                               0.00   0.00%        0.00      0.00%      0.00       5,174.30     0.00%   -5,174.30

             0.00     0.00%            0.00    0.00%      0.00        -600.00       0.00%          600.00    Departmental Costs                                          0.00   0.00%        0.00      0.00%      0.00      -5,174.30     0.00%   5,174.30




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %              Variance                                                                YTD     %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                              Restaurant 1
                                                                                                              Food Revenue
         8,699.42    56.08%      6,617.25    48.07%   2,082.17        3,175.25     99.91%          5,524.17   Food-Breakfast                                          33,682.48    55.69%    30,472.50     48.07%     3,209.98      16,775.41    99.98%   16,907.07
         1,994.18    12.85%      2,724.75    19.79%    -730.57            3.00      0.09%          1,991.18   Food-Dinner                                              8,725.42    14.43%    12,547.50     19.79%    -3,822.08           3.00     0.02%    8,722.42

       10,693.60     68.93%     9,342.00    67.86%    1,351.60       3,178.25     100.00%         7,515.35    Restaurant 1 Food Revenue                              42,407.90    70.11%    43,020.00    67.86%       -612.10      16,778.41 100.00%      25,629.49
            0.00       0.00%        0.00      0.00%       0.00           0.00        0.00%            0.00    Less: Allowances                                            0.00      0.00%        0.00      0.00%         0.00           0.00    0.00%          0.00

       10,693.60     68.93%     9,342.00    67.86%    1,351.60       3,178.25     100.00%         7,515.35    Total Restaurant 1 Food Revenue                        42,407.90    70.11%    43,020.00    67.86%       -612.10      16,778.41 100.00%      25,629.49

                                                                                                              Beverage Revenue
         2,920.11    18.82%      1,946.25    14.14%     973.86            0.00      0.00%          2,920.11   Liquor                                                  10,953.11    18.11%     8,962.50     14.14%     1,990.61           0.00    0.00%    10,953.11
         1,016.00     6.55%      1,440.23    10.46%    -424.23            0.00      0.00%          1,016.00   Beer                                                     4,255.00     7.03%     6,632.26     10.46%    -2,377.26           0.00    0.00%     4,255.00
           884.00     5.70%      1,038.00     7.54%    -154.00            0.00      0.00%            884.00   Wine                                                     2,868.00     4.74%     4,780.00      7.54%    -1,912.00           0.00    0.00%     2,868.00

        4,820.11     31.07%     4,424.48    32.14%     395.63             0.00      0.00%         4,820.11    Restaurant 1 Beverage Revenue                          18,076.11    29.89%    20,374.76    32.14%     -2,298.65            0.00    0.00%    18,076.11
            0.00       0.00%        0.00      0.00%      0.00             0.00       0.00%            0.00    Less: Allowances                                            0.00      0.00%        0.00      0.00%         0.00            0.00     0.00%        0.00

        4,820.11     31.07%     4,424.48    32.14%     395.63             0.00      0.00%         4,820.11    Total Restaurant 1 Beverage Revenue                    18,076.11    29.89%    20,374.76    32.14%     -2,298.65            0.00    0.00%    18,076.11

       15,513.71    100.00%    13,766.48    100.00%   1,747.23       3,178.25     100.00%        12,335.46    Total Restaurant 1 Revenue                             60,484.01    100.00%   63,394.76 100.00%       -2,910.75      16,778.41 100.00%      43,705.60

                                                                                                              Cost of Sales

             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%             0.00    Total Restaurant 1 Cost of Sales                            0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

       15,513.71    100.00%    13,766.48    100.00%   1,747.23       3,178.25     100.00%        12,335.46    Restaurant 1 Gross Profit                              60,484.01    100.00%   63,394.76 100.00%       -2,910.75      16,778.41 100.00%      43,705.60

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%              0.00   Total Restaurant 1 Management                                0.00    0.00%          0.00    0.00%           0.00           0.00  0.00%            0.00
             0.00      0.00%     2,399.40    17.43%   -2,399.40           0.00       0.00%             0.00   Bartenders                                               1,043.08     1.72%    11,687.40    18.44%    -10,644.32           0.00   0.00%       1,043.08
        12,279.29     79.15%     4,570.29    33.20%    7,709.00       4,732.58     148.91%         7,546.71   Servers                                                 22,780.19    37.66%    20,261.73    31.96%      2,518.46      17,394.55 103.67%       5,385.64
       12,279.29     79.15%     6,969.69    50.63%    5,309.60       4,732.58     148.91%         7,546.71    Total Restaurant 1 Non-Management                      23,823.27    39.39%    31,949.13    50.40%     -8,125.86      17,394.55 103.67%       6,428.72

       12,279.29     79.15%     6,969.69    50.63%    5,309.60       4,732.58     148.91%         7,546.71    Total Restaurant 1 Salaries and Wages                  23,823.27    39.39%    31,949.13    50.40%     -8,125.86      17,394.55 103.67%       6,428.72

                                                                                                              PR Taxes and Benefits
             0.00      0.00%       691.15     5.02%     -691.15           0.00       0.00%             0.00   FICA                                                        79.93     0.13%     3,171.57      5.00%    -3,091.64           0.00     0.00%        79.93
             0.00      0.00%         8.13     0.06%       -8.13           0.00       0.00%             0.00   Federal Unemployment Tax                                     4.05     0.01%       109.65      0.17%      -105.60           0.00     0.00%         4.05
             0.00      0.00%        48.79     0.35%      -48.79           0.00       0.00%             0.00   State Unemployment Tax                                      21.08     0.03%       937.70      1.48%      -916.62           0.00     0.00%        21.08
             0.00     0.00%       748.07     5.43%     -748.07            0.00      0.00%              0.00   Total Payroll Taxes                                       105.06     0.17%     4,218.92      6.65%    -4,113.86            0.00    0.00%       105.06
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%              0.00   Total Supplemental Pay                                       0.00    0.00%          0.00     0.00%          0.00           0.00    0.00%          0.00
           970.07      6.25%       389.45     2.83%      580.62         357.42      11.25%           612.65   Worker's Compensation                                    4,812.33     7.96%     1,793.63      2.83%     3,018.70       1,317.13     7.85%     3,495.20
          970.07      6.25%       389.45     2.83%      580.62         357.42      11.25%           612.65    Total Other Benefits                                    4,812.33     7.96%     1,793.63      2.83%     3,018.70       1,317.13     7.85%     3,495.20

          970.07      6.25%     1,137.52     8.26%     -167.45         357.42      11.25%           612.65    Total Restaurant 1 PR Taxes and Benefits                4,917.39     8.13%     6,012.55      9.48%    -1,095.16       1,317.13     7.85%     3,600.26

       13,249.36     85.40%     8,107.21    58.89%    5,142.15       5,090.00     160.15%         8,159.36    Total Restaurant 1 Payroll                             28,740.66    47.52%    37,961.68    59.88%     -9,221.02      18,711.68 111.52%      10,028.98

                                                                                                              Other Expenses
             0.00      0.00%        0.00      0.00%       0.00            0.00       0.00%            0.00    Cleaning Supplies                                           0.00      0.00%        0.00       0.00%        0.00          152.11     0.91%      -152.11
             0.00      0.00%        0.00      0.00%       0.00            0.00       0.00%            0.00    Paper/Plastic Supplies                                      0.00      0.00%        0.00       0.00%        0.00           81.21     0.48%       -81.21
             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%             0.00    Total Restaurant 1 Other Expenses                           0.00     0.00%         0.00      0.00%         0.00         233.32     1.39%      -233.32

       13,249.36     85.40%     8,107.21    58.89%    5,142.15       5,090.00     160.15%         8,159.36    Total Restaurant 1 Expenses                            28,740.66    47.52%    37,961.68    59.88%     -9,221.02      18,945.00 112.91%       9,795.66



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                                                                                                                   P&L - Dual Summary Pages
                                                                                                                        As of 5/31/2022
              PTD     %       PTD Budget    %        Variance   PTD Last Year     %             Variance                                                               YTD     %       YTD Budget %          Variance   YTD Last Year     %         Variance

        2,264.35     14.60%    5,659.27    41.11%   -3,394.92     -1,911.75     -60.15%        4,176.10    Total Restaurant 1 Profit (Loss)                       31,743.35   52.48%   25,433.08   40.12%   6,310.27      -2,166.59     -12.91%   33,909.94




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                                                                                           Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 2
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 2 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 2 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 2 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                                                               As of 5/31/2022
              PTD     %           PTD Budget     %         Variance   PTD Last Year     %              Variance                                                               YTD    %        YTD Budget %             Variance   YTD Last Year   %        Variance

                                                                                                                  Room Service
                                                                                                                  Food Revenue
             0.00         0.00%     2,076.00   100.00%    -2,076.00           0.00      0.00%             0.00    Food-Dinner                                                 0.00   0.00%      9,560.00   100.00%    -9,560.00           0.00    0.00%       0.00

             0.00     0.00%        2,076.00    100.00%    -2,076.00           0.00      0.00%             0.00    Room Service Food Revenue                                   0.00   0.00%     9,560.00 100.00%       -9,560.00           0.00    0.00%       0.00
             0.00      0.00%           0.00       0.00%        0.00           0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00    0.00%           0.00           0.00     0.00%      0.00

             0.00     0.00%        2,076.00    100.00%    -2,076.00           0.00      0.00%             0.00    Total Room Service Food Revenue                             0.00   0.00%     9,560.00 100.00%       -9,560.00           0.00    0.00%       0.00

                                                                                                                  Beverage Revenue

             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Room Service Beverage Revenue                               0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00
             0.00      0.00%           0.00       0.00%       0.00            0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%       0.00            0.00     0.00%      0.00

             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Beverage Revenue                         0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

                                                                                                                  Other Revenue

             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Other Revenue                            0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00     0.00%        2,076.00    100.00%    -2,076.00           0.00      0.00%             0.00    Total Room Service Revenue                                  0.00   0.00%     9,560.00 100.00%       -9,560.00           0.00    0.00%       0.00

                                                                                                                  Cost of Sales

             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Cost of Sales                            0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00     0.00%        2,076.00    100.00%    -2,076.00           0.00      0.00%             0.00    Room Service Gross Profit                                   0.00   0.00%     9,560.00 100.00%       -9,560.00           0.00    0.00%       0.00

                                                                                                                  Expenses
                                                                                                                  Payroll Expense
                                                                                                                  Salaries and Wages
             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Management                               0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Non-Management                           0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Salaries and Wages                       0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

                                                                                                                  PR Taxes and Benefits
             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Payroll                                  0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

                                                                                                                  Other Expenses
             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Other Expenses                           0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00      0.00%        0.00            0.00      0.00%             0.00    Total Room Service Expenses                                 0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00     0.00%        2,076.00    100.00%    -2,076.00           0.00      0.00%             0.00    Total Room Service Profit (Loss)                            0.00   0.00%     9,560.00 100.00%       -9,560.00           0.00    0.00%       0.00




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                                                                                                                                As of 5/31/2022
              PTD      %          PTD Budget     %         Variance    PTD Last Year     %              Variance                                                                YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                                   Banquets
                                                                                                                   Food Revenue
         5,012.00     11.50%          750.00     5.84%    4,262.00           510.00      2.88%          4,502.00   Food-Breakfast                                          18,168.00    16.36%     3,400.00      6.04%   14,768.00        3,124.50     6.85%    15,043.50
         6,464.00     14.83%        2,250.00    17.51%    4,214.00         2,446.25     13.83%          4,017.75   Food-Lunch                                              18,151.75    16.35%    11,000.00     19.54%    7,151.75        7,555.50    16.56%    10,596.25
         6,637.00     15.23%          800.00     6.22%    5,837.00         4,867.40     27.52%          1,769.60   Food-Dinner                                             12,998.00    11.71%     2,100.00      3.73%   10,898.00        7,445.90    16.32%     5,552.10
         1,200.00      2.75%          750.00     5.84%      450.00           802.00      4.53%            398.00   Food-Breaks                                              2,104.00     1.89%     4,050.00      7.20%   -1,946.00        1,606.00     3.52%       498.00

       19,313.00     44.31%        4,550.00    35.40%    14,763.00        8,625.65      48.77%        10,687.35    Banquets Food Revenue                                  51,421.75    46.31%    20,550.00    36.51%     30,871.75      19,731.90     43.25%    31,689.85
            0.00       0.00%           0.00      0.00%        0.00            0.00        0.00%            0.00    Less: Allowances                                            0.00      0.00%        0.00      0.00%         0.00           0.00       0.00%        0.00

       19,313.00     44.31%        4,550.00    35.40%    14,763.00        8,625.65      48.77%        10,687.35    Total Banquets Food Revenue                            51,421.75    46.31%    20,550.00    36.51%     30,871.75      19,731.90     43.25%    31,689.85

                                                                                                                   Beverage Revenue
           100.00         0.23%      500.00      3.89%     -400.00             0.00      0.00%           100.00    Liquor                                                    860.00      0.77%     1,400.00     2.49%      -540.00            0.00     0.00%       860.00
           163.00         0.37%      500.00      3.89%     -337.00         1,090.00      6.16%          -927.00    Beer                                                      636.00      0.57%     1,400.00     2.49%      -764.00        1,230.00     2.70%      -594.00
            54.00         0.12%      500.00      3.89%     -446.00           812.00      4.59%          -758.00    Wine                                                      635.00      0.57%     1,400.00     2.49%      -765.00          952.00     2.09%      -317.00

          317.00      0.73%        1,500.00    11.67%    -1,183.00        1,902.00      10.75%        -1,585.00    Banquets Beverage Revenue                               2,131.00     1.92%     4,200.00      7.46%    -2,069.00       2,182.00      4.78%       -51.00
            0.00       0.00%           0.00      0.00%        0.00            0.00        0.00%            0.00    Less: Allowances                                            0.00      0.00%        0.00       0.00%        0.00           0.00       0.00%        0.00

          317.00      0.73%        1,500.00    11.67%    -1,183.00        1,902.00      10.75%        -1,585.00    Total Banquets Beverage Revenue                         2,131.00     1.92%     4,200.00      7.46%    -2,069.00       2,182.00      4.78%       -51.00

                                                                                                                   Other Revenue
         7,665.00     17.59%          650.00     5.06%    7,015.00         1,070.00      6.05%          6,595.00   Audio/Visual Income                                     13,650.00    12.29%     2,750.00      4.89%   10,900.00        2,160.00     4.73%    11,490.00
           459.86      1.06%            0.00     0.00%      459.86             0.00      0.00%            459.86   Other Revenue                                            2,472.73     2.23%         0.00      0.00%    2,472.73            0.00     0.00%     2,472.73
         6,632.78     15.22%        2,052.00    15.97%    4,580.78         1,938.83     10.96%          4,693.95   Setup Fee                                               12,030.15    10.83%     8,987.00     15.97%    3,043.15        5,785.44    12.68%     6,244.71
         9,200.00     21.11%        4,100.00    31.90%    5,100.00         4,150.00     23.46%          5,050.00   Public Room Rental                                      29,325.00    26.41%    19,800.00     35.18%    9,525.00       15,764.57    34.55%    13,560.43

       23,957.64     54.96%        6,802.00    52.93%    17,155.64        7,158.83      40.48%        16,798.81    Total Banquets Other Revenue                           57,477.88    51.77%    31,537.00    56.03%     25,940.88      23,710.01     51.97%    33,767.87

       43,587.64     100.00%      12,852.00    100.00%   30,735.64       17,686.48     100.00%        25,901.16    Total Banquets Revenue                                111,030.63    100.00%   56,287.00 100.00%       54,743.63      45,623.91 100.00%       65,406.72

                                                                                                                   Cost of Sales

             0.00     0.00%            0.00     0.00%         0.00             0.00      0.00%             0.00    Total Banquets Cost of Sales                                0.00     0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

       43,587.64     100.00%      12,852.00    100.00%   30,735.64       17,686.48     100.00%        25,901.16    Gross Profit                                          111,030.63    100.00%   56,287.00 100.00%       54,743.63      45,623.91 100.00%       65,406.72

                                                                                                                   Expenses
                                                                                                                   Payroll Expense
                                                                                                                   Salaries and Wages
             0.00     0.00%            0.00     0.00%         0.00             0.00      0.00%             0.00    Total Banquets Management                                   0.00     0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

              0.00      0.00%         181.50     1.41%      -181.50          970.98       5.49%          -970.98   Servers                                                      0.00     0.00%       742.50     1.32%       -742.50         970.98      2.13%      -970.98
            -14.30     -0.03%       1,332.93    10.37%    -1,347.23            0.00       0.00%           -14.30   Housemen                                                 2,095.89     1.89%     6,351.08    11.28%     -4,255.19           0.00      0.00%     2,095.89
           -14.30     -0.03%       1,514.43    11.78%    -1,528.73          970.98       5.49%          -985.28    Total Banquets Non-Management                           2,095.89     1.89%     7,093.58    12.60%     -4,997.69         970.98      2.13%     1,124.91

           -14.30                  1,514.43              -1,528.73          970.98                      -985.28    Total Banquets Salaries and Wages                       2,095.89               7,093.58               -4,997.69         970.98                1,124.91

                                                                                                                   PR Taxes and Benefits
             1.10      0.00%          129.74     1.01%      -128.64          95.81        0.54%           -94.71   FICA                                                       182.82     0.16%       599.46      1.07%      -416.64         95.81       0.21%      87.01
             0.02      0.00%            1.53     0.01%         -1.51          2.44        0.01%            -2.42   Federal Unemployment Tax                                     8.74     0.01%        20.80      0.04%       -12.06          2.44       0.01%       6.30
            -1.05      0.00%            9.16     0.07%        -10.21         15.39        0.09%           -16.44   State Unemployment Tax                                      46.08     0.04%       177.73      0.32%      -131.65         15.39       0.03%      30.69
             0.07     0.00%          140.43     1.09%      -140.36          113.64       0.64%          -113.57    Total Payroll Taxes                                       237.64     0.21%       797.99      1.42%      -560.35         113.64      0.25%      124.00
             0.00     0.00%             0.00    0.00%           0.00          0.00       0.00%              0.00   Total Supplemental Pay                                       0.00    0.00%          0.00     0.00%          0.00          0.00      0.00%        0.00
             0.00      0.00%           84.62     0.66%        -84.62          0.00        0.00%             0.00   Worker's Compensation                                        0.00     0.00%       399.03      0.71%      -399.03          0.00       0.00%       0.00
             0.00     0.00%            84.62    0.66%        -84.62           0.00       0.00%              0.00   Total Other Benefits                                         0.00    0.00%       399.03      0.71%      -399.03           0.00      0.00%        0.00

             0.07                    225.05                -224.98          113.64                      -113.57    Total Banquet Benefits                                    237.64               1,197.02                 -959.38         113.64                 124.00
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              PTD     %       PTD Budget    %         Variance   PTD Last Year     %             Variance                                                               YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance


           -14.23    -0.03%    1,739.48    13.53%   -1,753.71       1,084.62       6.13%       -1,098.85    Total Banquets Payroll                                  2,333.53   2.10%     8,290.60   14.73%     -5,957.07       1,084.62     2.38%     1,248.91

                                                                                                            Other Expenses
             0.00     0.00%        0.00    0.00%         0.00            0.00      0.00%            0.00    Total Banquets Other Expenses                               0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

           -14.23    -0.03%    1,739.48    13.53%   -1,753.71       1,084.62       6.13%       -1,098.85    Total Banquets Expenses                                 2,333.53   2.10%     8,290.60   14.73%     -5,957.07       1,084.62     2.38%     1,248.91

       43,601.87    100.03%   11,112.52    86.47%   32,489.35      16,601.86      93.87%       27,000.01    Total Banquets Profit (Loss)                          108,697.10   97.90%   47,996.40   85.27%     60,700.70      44,539.29     97.62%   64,157.81




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %              Variance                                                                YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                               Catering
                                                                                                               Food Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Catering Food Revenue                                       0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Food Revenue                                 0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                               Beverage Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Catering Beverage Revenue                                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Beverage Revenue                             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                               Other Revenue
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%             0.00    Other Revenue                                             -902.58   100.00%         0.00     0.00%    -902.58            0.00    0.00%    -902.58

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Other Revenue                             -902.58    100.00%        0.00      0.00%    -902.58            0.00    0.00%    -902.58

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Revenue                                   -902.58    100.00%        0.00      0.00%    -902.58            0.00    0.00%    -902.58

                                                                                                               Cost of Sales

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Cost of Sales                                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Catering Gross Profit                                    -902.58    100.00%        0.00      0.00%    -902.58            0.00    0.00%    -902.58

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Management                                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Non-Management                               0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Salaries and Wages                           0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                               PR Taxes and Benefits
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                         0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                      0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering PR Taxes and Benefits                        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Payroll                                      0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                               Other Expenses
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Other Expenses                               0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Expenses                                     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Profit (Loss)                             -902.58    100.00%        0.00      0.00%    -902.58            0.00    0.00%    -902.58




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 3
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 3 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 3 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 3 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Payroll Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 4
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 4 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restauarnt 4 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 5
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 5 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 5 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 5 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %              Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                                Bar 1
                                                                                                                Food Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00     Bar 1 Food Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%            0.00     Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%        0.00

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00     Total Bar 1 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

                                                                                                                Beverage Revenue
             0.00         0.00%         0.00   0.00%       0.00        1,454.00     66.96%         -1,454.00    Liquor                                                     0.00   0.00%          0.00     0.00%       0.00        5,645.57    60.13%    -5,645.57
             0.00         0.00%         0.00   0.00%       0.00          523.50     24.11%           -523.50    Beer                                                       0.00   0.00%          0.00     0.00%       0.00        1,570.20    16.72%    -1,570.20
             0.00         0.00%         0.00   0.00%       0.00          194.00      8.93%           -194.00    Wine                                                       0.00   0.00%          0.00     0.00%       0.00        2,173.90    23.15%    -2,173.90

             0.00     0.00%            0.00    0.00%       0.00       2,171.50     100.00%        -2,171.50     Bar 1 Beverage Revenue                                     0.00   0.00%         0.00      0.00%       0.00       9,389.67 100.00%       -9,389.67
             0.00      0.00%           0.00     0.00%      0.00           0.00        0.00%            0.00     Less: Adjustments                                          0.00    0.00%        0.00       0.00%      0.00           0.00    0.00%           0.00

             0.00     0.00%            0.00    0.00%       0.00       2,171.50     100.00%        -2,171.50     Total Bar 1 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00       9,389.67 100.00%       -9,389.67

                                                                                                                Other Revenue

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00     Total Bar 1 Other Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%            0.00    0.00%       0.00       2,171.50     100.00%        -2,171.50     Total Bar 1 Revenue                                        0.00   0.00%         0.00      0.00%       0.00       9,389.67 100.00%       -9,389.67

                                                                                                                Cost of Sales

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00     Total Bar 1 Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%            0.00    0.00%       0.00       2,171.50     100.00%        -2,171.50     Gross Profit                                               0.00   0.00%         0.00      0.00%       0.00       9,389.67 100.00%       -9,389.67

                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
             0.00      0.00%           0.00     0.00%      0.00        1,108.72      51.06%        -1,108.72    Bartenders                                                 0.00    0.00%        0.00       0.00%      0.00        4,548.82     48.44%    -4,548.82
             0.00     0.00%            0.00    0.00%       0.00       1,108.72      51.06%        -1,108.72     Total Bar 1 Non-Management                                 0.00   0.00%         0.00      0.00%       0.00       4,548.82     48.44%    -4,548.82

             0.00     0.00%            0.00    0.00%       0.00       1,108.72      51.06%        -1,108.72     Total Bar 1 Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00       4,548.82     48.44%    -4,548.82

                                                                                                                PR Taxes and Benefits
             0.00      0.00%           0.00     0.00%      0.00          111.23       5.12%          -111.23    FICA                                                       0.00    0.00%        0.00       0.00%      0.00          454.77      4.84%     -454.77
             0.00      0.00%           0.00     0.00%      0.00            2.77       0.13%             -2.77   Federal Unemployment Tax                                   0.00    0.00%        0.00       0.00%      0.00           18.99      0.20%      -18.99
             0.00      0.00%           0.00     0.00%      0.00           17.24       0.79%            -17.24   State Unemployment Tax                                     0.00    0.00%        0.00       0.00%      0.00          107.52      1.15%     -107.52
             0.00     0.00%            0.00    0.00%       0.00         131.24       6.04%          -131.24     Total Payroll Taxes                                        0.00   0.00%         0.00      0.00%       0.00         581.28      6.19%     -581.28
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%               0.00   Total Supplemental Pay                                     0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00
             0.00      0.00%           0.00     0.00%      0.00           45.68       2.10%            -45.68   Worker's Compensation                                      0.00    0.00%        0.00       0.00%      0.00          148.17      1.58%     -148.17
             0.00     0.00%            0.00    0.00%       0.00           45.68      2.10%            -45.68    Total Other Benefits                                       0.00   0.00%         0.00      0.00%       0.00         148.17      1.58%     -148.17

             0.00     0.00%            0.00    0.00%       0.00         176.92       8.15%          -176.92     Total Bar 1 PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00         729.45      7.77%     -729.45

             0.00     0.00%            0.00    0.00%       0.00       1,285.64      59.21%        -1,285.64     Total Bar 1 Payroll                                        0.00   0.00%         0.00      0.00%       0.00       5,278.27     56.21%    -5,278.27

                                                                                                                Other Expenses
             0.00      0.00%           0.00     0.00%      0.00          503.96      23.21%          -503.96    Licenses/Permits                                           0.00    0.00%        0.00       0.00%      0.00        2,719.80     28.97%    -2,719.80
             0.00     0.00%            0.00    0.00%       0.00         503.96      23.21%          -503.96     Total Bar 1 Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00       2,719.80     28.97%    -2,719.80

             0.00     0.00%            0.00    0.00%       0.00       1,789.60      82.41%        -1,789.60     Total Bar 1 Expenses                                       0.00   0.00%         0.00      0.00%       0.00       7,998.07     85.18%    -7,998.07

             0.00     0.00%            0.00    0.00%       0.00         381.90      17.59%          -381.90     Total Bar 1 Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00       1,391.60     14.82%    -1,391.60

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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Bar 2
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Bar 2 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Bar 2 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expenses
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %              Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year    %           Variance

                                                                                                               Telephone
             0.00         0.00%         0.00   0.00%       0.00           49.00     100.00%          -49.00    Local and Long Distance Revenue                             0.00   0.00%          0.00     0.00%       0.00          336.00    107.01%      -336.00

             0.00     0.00%            0.00    0.00%       0.00           49.00    100.00%           -49.00    Telephone Revenue                                           0.00   0.00%         0.00      0.00%       0.00         336.00 107.01%          -336.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%            0.00    Adjustments Long Distance                                   0.00    0.00%        0.00       0.00%      0.00          -22.00  -7.01%           22.00
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00          -22.00  -7.01%           22.00
             0.00     0.00%            0.00    0.00%       0.00           49.00    100.00%           -49.00    Total Telephone Revenue                                     0.00   0.00%         0.00      0.00%       0.00         314.00 100.00%          -314.00

                                                                                                               Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00        1,810.49 3,694.88%          -1,810.49   Cost of Sales - Local Calls                                 0.00    0.00%        0.00       0.00%      0.00       10,099.56 3,216.42%     -10,099.56
             0.00     0.00%            0.00    0.00%       0.00       1,810.493,694.88%           -1,810.49    Total Telephone Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00      10,099.563,216.42%      -10,099.56

             0.00     0.00%            0.00    0.00%       0.00      -1,761.49-3,594.88%           1,761.49    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00      -9,785.56
                                                                                                                                                                                                                                        -3,116.42%        9,785.56

                                                                                                               Other Expenses
             0.00      0.00%           0.00     0.00%      0.00        3,779.35 7,712.96%          -3,779.35   Internet/Web Expense                                        0.00    0.00%        0.00       0.00%      0.00       12,389.35 3,945.65%     -12,389.35
             0.00     0.00%            0.00    0.00%       0.00       3,779.357,712.96%           -3,779.35    Total Telephone Other Expenses                              0.00   0.00%         0.00      0.00%       0.00      12,389.353,945.65%      -12,389.35

             0.00     0.00%            0.00    0.00%       0.00      -5,540.84
                                                                            -11,307.84%            5,540.84    Total Telephone Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00     -22,174.91
                                                                                                                                                                                                                                        -7,062.07%      22,174.91




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %              Variance                                                                YTD     %        YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                              Minor Operating
                                                                                                              Income
         4,152.70     33.36%     4,031.75    40.57%      120.95       4,031.75      30.94%           120.95   Rental Income - Antennae                                20,763.50    39.48%    20,158.75    43.21%      604.75      20,158.75     43.51%      604.75
        4,152.70     33.36%     4,031.75    40.57%      120.95       4,031.75      30.94%           120.95    Total Rental Income                                    20,763.50    39.48%    20,158.75    43.21%      604.75      20,158.75     43.51%      604.75
           260.00      2.09%       260.00     2.62%        0.00         160.00       1.23%           100.00   Vending Commissions Other                                  812.75     1.55%     1,350.00     2.89%     -537.25       1,250.75      2.70%     -438.00
          260.00      2.09%       260.00     2.62%         0.00        160.00       1.23%           100.00    Total Vending Commission Income                           812.75     1.55%     1,350.00     2.89%     -537.25       1,250.75      2.70%     -438.00
         2,459.43     19.76%     1,000.00    10.06%    1,459.43         966.22       7.41%         1,493.21   Cancellation Fee - Rooms                                 6,318.15    12.01%     3,750.00     8.04%    2,568.15       3,065.73      6.62%    3,252.42
        2,459.43     19.76%     1,000.00    10.06%    1,459.43         966.22       7.41%         1,493.21    Total Cancellation Fee Income                           6,318.15    12.01%     3,750.00     8.04%    2,568.15       3,065.73      6.62%    3,252.42
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%             0.00   Guest Laundry                                               95.00     0.18%         0.00     0.00%       95.00           0.00      0.00%       95.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%             0.00   Interest Earned                                              0.00     0.00%         0.00     0.00%        0.00           4.95      0.01%       -4.95
           232.65      1.87%         0.00     0.00%      232.65          99.00       0.76%           133.65   Internet Access                                            737.55     1.40%         0.00     0.00%      737.55         712.80      1.54%       24.75
            42.00      0.34%        77.85     0.78%      -35.85         176.00       1.35%          -134.00   Telephone Revenue                                          957.00     1.82%       358.50     0.77%      598.50         -53.29     -0.12%    1,010.29
             0.00      0.00%         0.00     0.00%        0.00       3,445.50      26.44%        -3,445.50   Other Revenue 3                                              0.00     0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00
         5,301.62     42.59%     4,567.20    45.96%      734.42       4,154.03      31.87%         1,147.59   Gift Shop Sales                                         22,906.95    43.56%    21,032.00    45.09%    1,874.95      21,192.98     45.74%    1,713.97
        5,576.27     44.80%     4,645.05    46.75%      931.22       7,874.53      60.42%        -2,298.26    Total Other Income                                     24,696.50    46.96%    21,390.50    45.85%    3,306.00      21,857.44     47.18%    2,839.06

       12,448.40    100.00%     9,936.80    100.00%   2,511.60      13,032.50     100.00%          -584.10    Total Minor Operating Income                           52,590.90    100.00%   46,649.25 100.00%      5,941.65      46,332.67 100.00%       6,258.23

                                                                                                              Cost of Sales
             0.00      0.00%         0.00     0.00%       0.00            0.00       0.00%             0.00   Cost of Sales - Guest Laundry                               75.00     0.14%         0.00     0.00%       75.00           0.00      0.00%       75.00
         2,353.44     18.91%     2,283.60    22.98%      69.84        1,502.60      11.53%           850.84   Cost of Sales - Gift Shop                               12,046.60    22.91%    10,516.00    22.54%    1,530.60       8,993.25     19.41%    3,053.35
        2,353.44     18.91%     2,283.60    22.98%       69.84       1,502.60      11.53%           850.84    Total Minor Operated Cost of Sales                     12,121.60    23.05%    10,516.00    22.54%    1,605.60       8,993.25     19.41%    3,128.35

       10,094.96     81.09%     7,653.20    77.02%    2,441.76      11,529.90      88.47%        -1,434.94    Total Minor Operated Profit (Loss)                     40,469.30    76.95%    36,133.25    77.46%    4,336.05      37,339.42     80.59%    3,129.88




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %             Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Arcade
                                                                                                         Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Revenue                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Non-Management                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Salaries and Wages                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade PR Taxes and Benefits                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Payroll                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Other Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Expenses                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Profit (Loss)                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %             Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Waterpark
                                                                                                         Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Revenue                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Waterpark Management                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Waterpark Non-Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Profit (Loss)                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %         Variance   PTD Last Year     %             Variance                                                                YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                                Franchise Fees
             0.00         0.00%         0.00    0.00%        0.00           36.83      0.01%           -36.83   Franchise Fees - IT Fees                                     0.00    0.00%         0.00     0.00%        0.00          147.32     0.01%     -147.32
        24,431.28         4.74%    14,142.75    4.45%   10,288.53       13,367.78      4.80%        11,063.50   Franchise Fees - Royalty & Licenses                     81,189.92    4.78%    65,127.50     4.50%   16,062.42       50,792.83     4.88%   30,397.09
             0.00         0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00   Franchise Fees - Other                                       0.00    0.00%         0.00     0.00%        0.00        8,724.49     0.84%   -8,724.49
             0.00         0.00%         0.00    0.00%        0.00          260.27      0.09%          -260.27   Franchise Fees - Reservations-GDS                            0.00    0.00%         0.00     0.00%        0.00        4,031.87     0.39%   -4,031.87
        12,008.42         2.33%     8,693.25    2.74%    3,315.17        8,864.96      3.19%         3,143.46   Franchise Fees - Frequent Guest                         47,609.73    2.80%    40,032.50     2.77%    7,577.23       35,643.15     3.43%   11,966.58
        19,100.82         3.70%     9,990.75    3.15%    9,110.07       10,451.15      3.76%         8,649.67   Franchise Fees - Marketing Contributions                63,475.78    3.74%    46,007.50     3.18%   17,468.28       30,986.19     2.98%   32,489.59
             0.00         0.00%         0.00    0.00%        0.00        1,127.30      0.41%        -1,127.30   Franchise Fees - Reservations-Central                        0.00    0.00%         0.00     0.00%        0.00        2,991.34     0.29%   -2,991.34

       55,540.52     10.77%       32,826.75    10.34%   22,713.77      34,108.29      12.26%       21,432.23    Total Franchise Fees                                  192,275.43    11.31%   151,167.50   10.46%    41,107.93     133,317.19     12.82%   58,958.24




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              PTD     %        PTD Budget    %         Variance    PTD Last Year     %              Variance                                                                YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                               A&G
                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
        13,759.06      2.67%    13,201.09     4.16%     557.97         8,811.08       3.17%         4,947.98   Management- A&G                                         66,226.92     3.90%     64,367.00     4.45%      1,859.92      42,463.70      4.08%     23,763.22
       13,759.06      2.67%    13,201.09     4.16%     557.97         8,811.08       3.17%         4,947.98    Total A&G Management                                   66,226.92     3.90%     64,367.00     4.45%      1,859.92      42,463.70      4.08%     23,763.22
             0.00      0.00%         0.00     0.00%       0.00         4,045.92       1.45%        -4,045.92   Administrative Assistant                                     0.00     0.00%          0.00     0.00%          0.00      16,575.27      1.59%    -16,575.27
             0.00     0.00%          0.00    0.00%        0.00        4,045.92       1.45%        -4,045.92    Total A&G Non-Management                                     0.00    0.00%           0.00    0.00%           0.00     16,575.27      1.59%    -16,575.27
       13,759.06      2.67%    13,201.09     4.16%     557.97        12,857.00       4.62%           902.06    Total A&G Salaries and Wages                           66,226.92     3.90%     64,367.00     4.45%      1,859.92      59,038.97      5.68%      7,187.95
                                                                                                               PR Taxes and Benefits
         1,034.95      0.20%     1,049.72     0.33%       -14.77         817.15       0.29%           217.80   FICA                                                     6,293.12     0.37%      7,005.47     0.48%       -712.35       3,851.35      0.37%     2,441.77
            16.25      0.00%        12.35     0.00%         3.90          20.23       0.01%            -3.98   Federal Unemployment Tax                                   231.98     0.01%        227.07     0.02%          4.91         176.69      0.02%        55.29
            70.59      0.01%        74.10     0.02%        -3.51         125.79       0.05%           -55.20   State Unemployment Tax                                   1,253.27     0.07%      2,214.88     0.15%       -961.61         957.89      0.09%       295.38
        1,121.79      0.22%     1,136.17     0.36%       -14.38         963.17       0.35%           158.62    Total Payroll Taxes                                     7,778.37     0.46%      9,447.42     0.65%     -1,669.05       4,985.93      0.48%     2,792.44
             0.00      0.00%       520.68     0.16%     -520.68            0.00       0.00%             0.00   Vacation                                                     0.00     0.00%      2,207.68     0.15%     -2,207.68           0.00      0.00%         0.00
             0.00     0.00%       520.68     0.16%     -520.68             0.00      0.00%              0.00   Total Supplemental Pay                                       0.00    0.00%      2,207.68     0.15%     -2,207.68            0.00     0.00%          0.00
           575.62      0.11%       766.74     0.24%     -191.12          534.21       0.19%            41.41   Worker's Compensation                                    4,008.44     0.24%      4,804.62     0.33%       -796.18       3,718.73      0.36%       289.71
         1,298.20      0.25%     1,250.00     0.39%        48.20        -316.48      -0.11%         1,614.68   Group Insurance                                          4,397.66     0.26%      6,250.00     0.43%     -1,852.34         945.82      0.09%     3,451.84
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%             0.00   Bonus and Incentive Pay                                 17,034.36     1.00%     25,000.00     1.73%     -7,965.64           0.00      0.00%    17,034.36
        1,873.82      0.36%     2,016.74     0.63%     -142.92          217.73       0.08%         1,656.09    Total Other Benefits                                   25,440.46     1.50%     36,054.62     2.49%    -10,614.16       4,664.55      0.45%    20,775.91
        2,995.61      0.58%     3,673.59     1.16%     -677.98        1,180.90       0.42%         1,814.71    Total A&G PR Taxes and Benefits                        33,218.83     1.95%     47,709.72     3.30%    -14,490.89       9,650.48      0.93%    23,568.35
       16,754.67      3.25%    16,874.68     5.31%     -120.01       14,037.90       5.05%         2,716.77    Total A&G Payroll                                      99,445.75     5.85%    112,076.72     7.75%    -12,630.97      68,689.45      6.61%    30,756.30
                                                                                                               Other Expenses
             0.00      0.00%         0.00     0.00%        0.00        1,046.20       0.38%        -1,046.20   Accounting/Audit Fees                                        0.00     0.00%          0.00     0.00%         0.00        7,518.71      0.72%    -7,518.71
            44.30      0.01%         0.00     0.00%       44.30           60.12       0.02%           -15.82   Bad Debt Provision                                       1,840.97     0.11%          0.00     0.00%     1,840.97          796.09      0.08%     1,044.88
         1,262.55      0.24%       700.00     0.22%      562.55          644.46       0.23%           618.09   Bank Charges                                             4,852.73     0.29%      3,500.00     0.24%     1,352.73        3,246.22      0.31%     1,606.51
             0.00      0.00%         0.00     0.00%        0.00            0.76       0.00%            -0.76   Cash Over/Short                                            124.08     0.01%          0.00     0.00%       124.08         -104.53     -0.01%       228.61
         2,096.57      0.41%         0.00     0.00%    2,096.57            0.00       0.00%         2,096.57   Central Office - Travel Rebilled                         2,096.57     0.12%          0.00     0.00%     2,096.57          829.07      0.08%     1,267.50
         1,000.00      0.19%     1,000.00     0.31%        0.00            0.00       0.00%         1,000.00   Central Office - Accounting Fees                         5,000.00     0.29%      5,000.00     0.35%         0.00            0.00      0.00%     5,000.00
             0.00      0.00%         0.00     0.00%        0.00          160.00       0.06%          -160.00   Central Office - IT Fees                                     0.00     0.00%          0.00     0.00%         0.00          800.00      0.08%      -800.00
        14,440.73      2.80%     8,893.12     2.80%    5,547.61        7,359.45       2.65%         7,081.28   Credit Card Commission                                  47,842.32     2.82%     40,482.04     2.80%     7,360.28       28,800.46      2.77%    19,041.86
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%             0.00   Data Processing                                              0.00     0.00%          0.00     0.00%         0.00          461.25      0.04%      -461.25
             0.00      0.00%        40.00     0.01%      -40.00            0.00       0.00%             0.00   Donations                                                    0.00     0.00%        200.00     0.01%      -200.00            0.00      0.00%         0.00
           182.92      0.04%       350.00     0.11%     -167.08          332.83       0.12%          -149.91   Dues and Subscriptions                                   1,056.49     0.06%      2,920.00     0.20%    -1,863.51        2,868.91      0.28%    -1,812.42
             0.00      0.00%       575.00     0.18%     -575.00        1,004.00       0.36%        -1,004.00   Employee Relations                                         795.00     0.05%      3,420.00     0.24%    -2,625.00        1,928.43      0.19%    -1,133.43
           197.87      0.04%       250.00     0.08%      -52.13          213.22       0.08%           -15.35   Equipment Rental                                         1,135.92     0.07%      1,250.00     0.09%      -114.08        1,170.21      0.11%       -34.29
             0.00      0.00%         0.00     0.00%        0.00           55.00       0.02%           -55.00   Internet/Web Expense                                         0.00     0.00%          0.00     0.00%         0.00           55.00      0.01%       -55.00
           996.63      0.19%       200.00     0.06%      796.63          200.00       0.07%           796.63   Licenses/Permits                                         5,233.15     0.31%      3,450.00     0.24%     1,783.15        3,422.00      0.33%     1,811.15
             0.00      0.00%         0.00     0.00%        0.00           86.77       0.03%           -86.77   Meals and Entertainment                                      0.00     0.00%          0.00     0.00%         0.00           86.77      0.01%       -86.77
          -272.57     -0.05%         0.00     0.00%     -272.57         -969.16      -0.35%           696.59   Miscellaneous Expense                                   -2,647.95    -0.16%          0.00     0.00%    -2,647.95       -1,692.27     -0.16%      -955.68
             0.00      0.00%         0.00     0.00%        0.00          264.36       0.10%          -264.36   Office Equipment                                             0.00     0.00%          0.00     0.00%         0.00        2,014.51      0.19%    -2,014.51
             0.00      0.00%         0.00     0.00%        0.00           44.17       0.02%           -44.17   Office Supplies                                              0.00     0.00%          0.00     0.00%         0.00        1,469.78      0.14%    -1,469.78
           733.52      0.14%         0.00     0.00%      733.52            0.00       0.00%           733.52   Operating Supplies                                       3,054.49     0.18%          0.00     0.00%     3,054.49            0.00      0.00%     3,054.49
             0.00      0.00%       593.14     0.19%     -593.14          165.38       0.06%          -165.38   Payroll Service Fees                                       982.68     0.06%      2,958.85     0.20%    -1,976.17          639.72      0.06%       342.96
           113.96      0.02%       100.00     0.03%       13.96          126.68       0.05%           -12.72   Postage                                                    665.72     0.04%        500.00     0.03%       165.72          859.11      0.08%      -193.39
            41.50      0.01%       150.00     0.05%     -108.50          275.00       0.10%          -233.50   Professional Fees - Legal                                  561.00     0.03%        750.00     0.05%      -189.00        7,670.63      0.74%    -7,109.63
         1,204.00      0.23%     1,975.00     0.62%     -771.00        1,408.36       0.51%          -204.36   Professional Fees - Other                               15,237.17     0.90%     10,525.00     0.73%     4,712.17       11,382.72      1.09%     3,854.45
         1,125.00      0.22%       150.00     0.05%      975.00            0.00       0.00%         1,125.00   Recruitment Advertising                                  1,800.00     0.11%        750.00     0.05%     1,050.00          830.00      0.08%       970.00
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%             0.00   Recruitment - Other                                          0.00     0.00%          0.00     0.00%         0.00          665.85      0.06%      -665.85
             0.00      0.00%       300.00     0.09%     -300.00            0.00       0.00%             0.00   Security - Outside                                           0.00     0.00%      1,500.00     0.10%    -1,500.00            0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00        1,955.38       0.70%        -1,955.38   Software Expense/Maintenance                                 0.00     0.00%          0.00     0.00%         0.00        5,423.83      0.52%    -5,423.83
           270.38      0.05%         0.00     0.00%      270.38            0.00       0.00%           270.38   Training                                                 4,945.38     0.29%      3,690.00     0.26%     1,255.38          995.00      0.10%     3,950.38
             0.00      0.00%         0.00     0.00%        0.00          380.04       0.14%          -380.04   Travel                                                   1,263.75     0.07%          0.00     0.00%     1,263.75          391.24      0.04%       872.51
       23,437.36      4.54%    15,276.26     4.81%    8,161.10       14,813.02       5.32%         8,624.34    Total A&G Other Expenses                               95,839.47     5.64%     80,895.89     5.60%    14,943.58       82,528.71      7.94%    13,310.76
       40,192.03      7.79%    32,150.94    10.12%    8,041.09       28,850.92      10.37%        11,341.11    Total A&G Expenses                                    195,285.22    11.49%    192,972.61    13.35%     2,312.61      151,218.16     14.54%    44,067.06




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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                                YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                            IT
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total IT Management                                         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total IT Non-Management                                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total IT Salaries and Wages                                 0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                        0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total IT PR Taxes and Benefits                              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total IT Payroll                                            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                            Cost of Services
         1,818.10      0.35%     2,000.00    0.63%   -181.90            0.00       0.00%         1,818.10   Cost of Internet Services                               11,598.40    0.68%    10,000.00      0.69%    1,598.40           0.00     0.00%    11,598.40
         1,343.16      0.26%     1,100.00    0.35%    243.16            0.00       0.00%         1,343.16   Cost of Calls                                            5,413.61    0.32%     5,500.00      0.38%      -86.39           0.00     0.00%     5,413.61
        3,161.26      0.61%     3,100.00    0.98%      61.26            0.00      0.00%         3,161.26    Total IT Cost of Services                              17,012.01    1.00%    15,500.00      1.07%    1,512.01            0.00    0.00%    17,012.01

                                                                                                            System Costs
         2,015.38      0.39%     2,040.70    0.64%    -25.32            0.00       0.00%         2,015.38   Administrative & General                                 3,735.14    0.22%     4,123.50      0.29%     -388.36           0.00     0.00%     3,735.14
             0.00      0.00%        50.00    0.02%    -50.00            0.00       0.00%             0.00   Human Resources                                              0.00    0.00%       250.00      0.02%     -250.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%      0.00            0.00       0.00%             0.00   Information Security                                        36.83    0.00%         0.00      0.00%       36.83           0.00     0.00%        36.83
           260.00      0.05%       180.00    0.06%     80.00            0.00       0.00%           260.00   Information Systems                                      2,065.76    0.12%       900.00      0.06%    1,165.76           0.00     0.00%     2,065.76
           164.00      0.03%       164.00    0.05%      0.00            0.00       0.00%           164.00   Property Ops & Maintenance                                 656.00    0.04%       820.00      0.06%     -164.00           0.00     0.00%       656.00
           205.11      0.04%         0.00    0.00%    205.11            0.00       0.00%           205.11   Rooms                                                    1,031.40    0.06%         0.00      0.00%    1,031.40           0.00     0.00%     1,031.40
        2,644.49      0.51%     2,434.70    0.77%    209.79             0.00      0.00%         2,644.49    Total IT Systems                                        7,525.13    0.44%     6,093.50      0.42%    1,431.63            0.00    0.00%     7,525.13

                                                                                                            Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Equipment Rental                                            0.00     0.00%        0.00       0.00%       0.00           -16.92    0.00%       16.92
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total IT Other Expenses                                     0.00    0.00%         0.00      0.00%        0.00          -16.92    0.00%        16.92

        5,805.75      1.13%     5,534.70    1.74%    271.05             0.00      0.00%         5,805.75    Total IT Expenses                                      24,537.14    1.44%    21,593.50      1.49%    2,943.64          -16.92    0.00%    24,554.06




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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %              Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                              S&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         5,961.39      1.16%         0.00    0.00%    5,961.39        4,258.25       1.53%         1,703.14   Division Management                                     24,400.67    1.44%         0.00      0.00%    24,400.67      20,898.42     2.01%     3,502.25
         4,080.47      0.79%    10,006.20    3.15%   -5,925.73        2,788.45       1.00%         1,292.02   Sales Managers                                          23,960.58    1.41%    48,586.83      3.36%   -24,626.25       2,788.45     0.27%    21,172.13
       10,041.86      1.95%    10,006.20    3.15%        35.66       7,046.70       2.53%         2,995.16    Total S&M Management                                   48,361.25    2.85%    48,586.83      3.36%      -225.58      23,686.87     2.28%    24,674.38
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%              0.00   Total S&M Non-Management                                     0.00   0.00%          0.00     0.00%          0.00           0.00    0.00%          0.00

       10,041.86      1.95%    10,006.20    3.15%        35.66       7,046.70       2.53%         2,995.16    Total S&M Salaries and Wages                           48,361.25    2.85%    48,586.83      3.36%      -225.58      23,686.87     2.28%    24,674.38

                                                                                                              PR Taxes and Benefits
           755.31      0.15%       974.22    0.31%      -218.91         553.11       0.20%           202.20   FICA                                                     3,947.39    0.23%     4,184.23      0.29%      -236.84       1,850.65     0.18%     2,096.74
            11.87      0.00%        11.46    0.00%         0.41          13.82       0.00%            -1.95   Federal Unemployment Tax                                   159.09    0.01%       147.48      0.01%        11.61          81.52     0.01%        77.57
            52.57      0.01%        68.77    0.02%       -16.20          86.24       0.03%           -33.67   State Unemployment Tax                                     842.40    0.05%     1,230.89      0.09%      -388.49         442.02     0.04%       400.38
          819.75      0.16%     1,054.45    0.33%      -234.70         653.17       0.23%           166.58    Total Payroll Taxes                                     4,948.88    0.29%     5,562.60      0.38%      -613.72       2,374.19     0.23%     2,574.69
             0.00      0.00%       397.91    0.13%      -397.91           0.00       0.00%             0.00   Vacation                                                     0.00    0.00%     1,687.14      0.12%    -1,687.14       1,096.65     0.11%    -1,096.65
             0.00     0.00%       397.91    0.13%      -397.91            0.00      0.00%              0.00   Total Supplemental Pay                                       0.00   0.00%     1,687.14      0.12%    -1,687.14       1,096.65     0.11%    -1,096.65
           407.60      0.08%       711.60    0.22%      -304.00         238.86       0.09%           168.74   Worker's Compensation                                    2,985.85    0.18%     3,099.73      0.21%      -113.88         803.31     0.08%     2,182.54
           467.48      0.09%       480.00    0.15%       -12.52           0.00       0.00%           467.48   Group Insurance                                          3,154.60    0.19%     2,400.00      0.17%       754.60           0.00     0.00%     3,154.60
         1,100.00      0.21%     2,330.82    0.73%    -1,230.82           0.00       0.00%         1,100.00   Bonus and Incentive Pay                                  6,800.00    0.40%     4,421.92      0.31%     2,378.08           0.00     0.00%     6,800.00
        1,975.08      0.38%     3,522.42    1.11%    -1,547.34         238.86       0.09%         1,736.22    Total Other Benefits                                   12,940.45    0.76%     9,921.65      0.69%     3,018.80         803.31     0.08%    12,137.14
        2,794.83      0.54%     4,974.78    1.57%    -2,179.95         892.03       0.32%         1,902.80    Total S&M PR Taxes and Benefits                        17,889.33    1.05%    17,171.39      1.19%       717.94       4,274.15     0.41%    13,615.18

       12,836.69      2.49%    14,980.98    4.72%    -2,144.29       7,938.73       2.85%         4,897.96    Total S&M Payroll                                      66,250.58    3.90%    65,758.22      4.55%       492.36      27,961.02     2.69%    38,289.56

                                                                                                              Other Expenses
            13.20      0.00%         0.00    0.00%        13.20           0.00       0.00%           13.20    Advertising General                                         13.20    0.00%         0.00      0.00%        13.20           0.00     0.00%        13.20
           450.00      0.09%       815.00    0.26%      -365.00           0.00       0.00%          450.00    Advertising-Web/Internet                                 3,115.00    0.18%     2,980.00      0.21%       135.00         980.00     0.09%     2,135.00
           200.00      0.04%         0.00    0.00%       200.00           0.00       0.00%          200.00    Billboards                                               3,400.00    0.20%     2,400.00      0.17%     1,000.00           0.00     0.00%     3,400.00
         1,499.20      0.29%     1,749.00    0.55%      -249.80       1,445.20       0.52%           54.00    Dues and Subscriptions                                   9,889.48    0.58%     8,745.00      0.60%     1,144.48       7,394.75     0.71%     2,494.73
             0.00      0.00%       976.43    0.31%      -976.43           0.00       0.00%            0.00    GDS Marketing Advert & Sales                             4,269.20    0.25%     4,444.63      0.31%      -175.43         847.24     0.08%     3,421.96
             0.00      0.00%         0.00    0.00%         0.00         108.74       0.04%         -108.74    Office Supplies                                              0.00    0.00%         0.00      0.00%         0.00         191.99     0.02%      -191.99
             0.00      0.00%       100.00    0.03%      -100.00           0.00       0.00%            0.00    Operating Supplies                                           0.00    0.00%       500.00      0.03%      -500.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00    Promotions - In-house                                        0.00    0.00%         0.00      0.00%         0.00          26.73     0.00%       -26.73
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00    Public Relations                                            49.00    0.00%         0.00      0.00%        49.00           0.00     0.00%        49.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%            0.00    Training                                                     0.00    0.00%         0.00      0.00%         0.00         750.00     0.07%      -750.00
             0.00      0.00%         0.00    0.00%         0.00           3.36       0.00%           -3.36    Travel                                                      11.70    0.00%         0.00      0.00%        11.70          31.92     0.00%       -20.22
        2,162.40      0.42%     3,640.43    1.15%    -1,478.03       1,557.30       0.56%          605.10     Total S&M Other Expenses                               20,747.58    1.22%    19,069.63      1.32%     1,677.95      10,222.63     0.98%    10,524.95

       14,999.09      2.91%    18,621.41    5.86%    -3,622.32       9,496.03       3.41%         5,503.06    Total S&M Expenses                                     86,998.16    5.12%    84,827.85      5.87%     2,170.31      38,183.65     3.67%    48,814.51




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              PTD     %        PTD Budget   %          Variance    PTD Last Year     %              Variance                                                                YTD    %        YTD Budget %               Variance   YTD Last Year   %         Variance

                                                                                                                R&M
                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
         4,441.61      0.86%     4,463.61    1.41%        -22.00       4,343.57       1.56%            98.04    Division Management                                    21,255.41    1.25%    21,431.39      1.48%      -175.98       20,933.24     2.01%     322.17
        4,441.61      0.86%     4,463.61    1.41%        -22.00       4,343.57       1.56%             98.04    Total R&M Management                                  21,255.41    1.25%    21,431.39      1.48%      -175.98       20,933.24     2.01%     322.17
             0.00      0.00%     4,357.71    1.37%    -4,357.71            0.00       0.00%             0.00    Engineering Supervisor                                      0.00    0.00%    21,226.27      1.47%   -21,226.27            0.00     0.00%       0.00
         1,124.51      0.22%         0.00    0.00%     1,124.51        4,374.96       1.57%        -3,250.45    Engineers 1                                            14,246.02    0.84%         0.00      0.00%    14,246.02       14,130.90     1.36%     115.12
        1,124.51      0.22%     4,357.71    1.37%    -3,233.20        4,374.96       1.57%        -3,250.45     Total R&M Non-Management                              14,246.02    0.84%    21,226.27      1.47%    -6,980.25       14,130.90     1.36%     115.12

        5,566.12      1.08%     8,821.32    2.78%    -3,255.20        8,718.53       3.13%        -3,152.41     Total R&M Salaries and Wages                          35,501.43    2.09%    42,657.66      2.95%     -7,156.23      35,064.14     3.37%     437.29

                                                                                                                PR Taxes and Benefits
           420.28      0.08%       674.83    0.21%      -254.55          675.37       0.24%          -255.09    FICA                                                    2,649.35    0.16%     3,263.31      0.23%       -613.96       2,771.36     0.27%     -122.01
             5.57      0.00%         7.94    0.00%        -2.37           16.74       0.01%            -11.17   Federal Unemployment Tax                                  115.18    0.01%       116.41      0.01%         -1.23         126.03     0.01%      -10.85
            48.27      0.01%        47.64    0.01%         0.63          104.14       0.04%            -55.87   State Unemployment Tax                                    627.11    0.04%       985.38      0.07%       -358.27         677.53     0.07%      -50.42
          474.12      0.09%       730.41    0.23%      -256.29          796.25       0.29%          -322.13     Total Payroll Taxes                                    3,391.64    0.20%     4,365.10      0.30%       -973.46       3,574.92     0.34%     -183.28
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%              0.00   Holiday                                                     0.00    0.00%         0.00      0.00%          0.00         499.20     0.05%     -499.20
             0.00     0.00%          0.00   0.00%          0.00            0.00      0.00%               0.00   Total Supplemental Pay                                      0.00   0.00%          0.00     0.00%           0.00        499.20     0.05%     -499.20
           245.62      0.05%       492.91    0.16%      -247.29          243.94       0.09%              1.68   Worker's Compensation                                   1,736.44    0.10%     2,406.69      0.17%       -670.25       1,783.21     0.17%      -46.77
           211.50      0.04%       480.00    0.15%      -268.50          -51.90      -0.02%           263.40    Group Insurance                                           395.81    0.02%     2,400.00      0.17%     -2,004.19        -403.71    -0.04%      799.52
          457.12      0.09%       972.91    0.31%      -515.79          192.04       0.07%           265.08     Total Other Benefits                                   2,132.25    0.13%     4,806.69      0.33%     -2,674.44       1,379.50     0.13%      752.75
          931.24      0.18%     1,703.32    0.54%      -772.08          988.29       0.36%            -57.05    Total R&M PR Taxes and Benefits                        5,523.89    0.33%     9,171.79      0.63%     -3,647.90       5,453.62     0.52%        70.27

        6,497.36      1.26%    10,524.64    3.31%    -4,027.28        9,706.82       3.49%        -3,209.46     Total R&M Payroll                                     41,025.32    2.41%    51,829.45      3.58%    -10,804.13      40,517.76     3.90%     507.56

                                                                                                                Other Expenses
           150.00      0.03%       500.00    0.16%     -350.00           517.02       0.19%          -367.02    Air Conditioning and Refrigeration                      3,005.36    0.18%     1,500.00      0.10%     1,505.36        4,029.52     0.39%   -1,024.16
             0.00      0.00%       350.00    0.11%     -350.00             0.00       0.00%             0.00    Building                                                2,158.38    0.13%     1,750.00      0.12%       408.38            7.21     0.00%    2,151.17
         1,981.35      0.38%         0.00    0.00%    1,981.35         3,000.00       1.08%        -1,018.65    Contract Labor                                          3,772.62    0.22%     5,500.00      0.38%    -1,727.38        3,000.00     0.29%      772.62
           111.58      0.02%       150.00    0.05%      -38.42             0.00       0.00%           111.58    Electric Bulbs                                          2,588.34    0.15%       750.00      0.05%     1,838.34           31.83     0.00%    2,556.51
             0.00      0.00%       100.00    0.03%     -100.00             0.00       0.00%             0.00    Electrical and Mechanical                               1,246.75    0.07%       500.00      0.03%       746.75        1,706.04     0.16%     -459.29
           428.91      0.08%       430.00    0.14%       -1.09           417.17       0.15%            11.74    Elevator Maintenance Contracts                          3,820.23    0.22%     2,150.00      0.15%     1,670.23        2,190.85     0.21%    1,629.38
           292.36      0.06%       300.00    0.09%       -7.64           134.59       0.05%           157.77    Fire Safety Equipment                                   4,422.41    0.26%     8,750.00      0.61%    -4,327.59        7,571.08     0.73%   -3,148.67
         1,367.00      0.27%       850.00    0.27%      517.00             0.00       0.00%         1,367.00    Floor and Carpet Maintenance                            3,808.21    0.22%     4,250.00      0.29%      -441.79          137.68     0.01%    3,670.53
             0.00      0.00%         0.00    0.00%        0.00           926.65       0.33%          -926.65    Furniture                                                   0.00    0.00%         0.00      0.00%         0.00        1,115.12     0.11%   -1,115.12
         5,322.12      1.03%     1,400.00    0.44%    3,922.12         1,390.25       0.50%         3,931.87    Grounds and Landscaping                                12,746.62    0.75%     7,000.00      0.48%     5,746.62        9,461.25     0.91%    3,285.37
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%             0.00    Indoor Plant Maintenance                                1,146.91    0.07%         0.00      0.00%     1,146.91            0.00     0.00%    1,146.91
             0.00      0.00%       200.00    0.06%     -200.00             0.00       0.00%             0.00    Kitchen Equipment Repairs                                 643.68    0.04%     1,000.00      0.07%      -356.32        1,637.36     0.16%     -993.68
           621.12      0.12%       500.00    0.16%      121.12           608.20       0.22%            12.92    Laundry Equipment Repairs                               2,976.12    0.18%     2,500.00      0.17%       476.12        4,246.91     0.41%   -1,270.79
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%             0.00    Licenses/Permits                                          375.00    0.02%         0.00      0.00%       375.00            0.00     0.00%      375.00
             0.00      0.00%         0.00    0.00%        0.00           188.56       0.07%          -188.56    Locks and Keys                                            786.89    0.05%         0.00      0.00%       786.89        1,337.90     0.13%     -551.01
            26.60      0.01%       250.00    0.08%     -223.40             0.00       0.00%            26.60    Painting and Decorating                                   118.74    0.01%     1,250.00      0.09%    -1,131.26          266.20     0.03%     -147.46
         1,447.00      0.28%       275.00    0.09%    1,172.00           362.50       0.13%         1,084.50    Pest Control                                            2,833.56    0.17%     1,375.00      0.10%     1,458.56        1,455.56     0.14%    1,378.00
             0.00      0.00%       300.00    0.09%     -300.00             0.00       0.00%             0.00    Plumbing and Heating                                      250.46    0.01%     1,500.00      0.10%    -1,249.54          939.49     0.09%     -689.03
             0.00      0.00%         0.00    0.00%        0.00           120.49       0.04%          -120.49    Pool Chemicals                                              0.00    0.00%         0.00      0.00%         0.00        1,350.31     0.13%   -1,350.31
           164.35      0.03%       150.00    0.05%       14.35             0.00       0.00%           164.35    Pool Service- Contract                                  1,115.27    0.07%       750.00      0.05%       365.27            0.00     0.00%    1,115.27
           282.00      0.05%         0.00    0.00%      282.00           654.00       0.24%          -372.00    Radio and Television Repair                             2,199.00    0.13%         0.00      0.00%     2,199.00          654.00     0.06%    1,545.00
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%             0.00    Signage                                                    73.00    0.00%         0.00      0.00%        73.00        1,925.00     0.19%   -1,852.00
           363.22      0.07%       100.00    0.03%      263.22           343.05       0.12%            20.17    Tools                                                     399.48    0.02%       500.00      0.03%      -100.52          538.84     0.05%     -139.36
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%             0.00    Travel                                                      0.00    0.00%       500.00      0.03%      -500.00            0.00     0.00%        0.00
            57.61      0.01%       150.00    0.05%      -92.39             0.00       0.00%            57.61    Vehicle Maintenance & Repairs                             133.81    0.01%       750.00      0.05%      -616.19            0.00     0.00%      133.81
           726.15      0.14%       695.00    0.22%       31.15           635.51       0.23%            90.64    Waste Removal                                           4,670.75    0.27%     4,065.00      0.28%       605.75        3,506.19     0.34%    1,164.56
       13,341.37      2.59%     6,700.00    2.11%    6,641.37         9,297.99       3.34%         4,043.38     Total R&M Other Expenses                              55,291.59    3.25%    46,340.00      3.21%     8,951.59       47,108.34     4.53%    8,183.25

       19,838.73      3.85%    17,224.64    5.42%    2,614.09        19,004.81       6.83%           833.92     Total R&M Expenses                                    96,316.91    5.67%    98,169.45      6.79%     -1,852.54      87,626.10     8.43%    8,690.81




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                                                                                             Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %              Variance                                                                YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                              Utilities
         5,024.10      0.97%     5,190.00    1.63%      -165.90       1,082.67       0.39%         3,941.43   Water                                                   26,794.64    1.58%    23,900.00      1.65%    2,894.64       5,768.91     0.55%    21,025.73
             0.00      0.00%         0.00    0.00%         0.00          71.98       0.03%           -71.98   Electric Bulbs                                             109.53    0.01%         0.00      0.00%      109.53         645.02     0.06%      -535.49
        11,075.37      2.15%    12,975.00    4.09%    -1,899.63      12,100.14       4.35%        -1,024.77   Electricity                                             57,271.81    3.37%    59,750.00      4.13%   -2,478.19      61,739.32     5.94%    -4,467.51
         2,683.26      0.52%     1,946.25    0.61%       737.01       1,351.19       0.49%         1,332.07   Gas - Natural HLP                                       11,022.70    0.65%     8,962.50      0.62%    2,060.20       9,309.81     0.90%     1,712.89
             0.00      0.00%         0.00    0.00%         0.00       1,390.13       0.50%        -1,390.13   Sewer                                                        0.00    0.00%         0.00      0.00%        0.00      16,269.89     1.56%   -16,269.89
       18,782.73      3.64%    20,111.25    6.33%    -1,328.52      15,996.11       5.75%         2,786.62    Total Utilities                                        95,198.68    5.60%    92,612.50      6.41%    2,586.18      93,732.95     9.01%     1,465.73




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                                                                                              Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %              Variance                                                                YTD     %        YTD Budget %              Variance    YTD Last Year    %           Variance

                                                                                                               Fixed
         3,194.93      0.62%       725.73     0.23%     2,469.20       1,416.64       0.51%         1,778.29   Personal Property Taxes                                 15,974.65     0.94%      3,628.65     0.25%    12,346.00        6,720.00      0.65%       9,254.65
         3,737.43      0.72%     8,234.20     2.59%    -4,496.77      30,601.49      11.00%       -26,864.06   Real Estate Taxes                                       47,435.83     2.79%     41,171.00     2.85%     6,264.83      153,007.45     14.71%   -105,571.62
        6,932.36      1.34%     8,959.93     2.82%    -2,027.57      32,018.13      11.51%       -25,085.77    Total Taxes                                            63,410.48     3.73%     44,799.65     3.10%    18,610.83      159,727.45     15.36%    -96,316.97
           385.08      0.07%       446.75     0.14%       -61.67       1,578.23       0.57%        -1,193.15   Insurance                                                1,925.40     0.11%      2,233.75     0.15%      -308.35        8,909.38      0.86%      -6,983.98
           311.25      0.06%       400.25     0.13%       -89.00           0.00       0.00%           311.25   Insurance - Automobile                                   1,867.50     0.11%      2,001.25     0.14%      -133.75            0.00      0.00%       1,867.50
           114.92      0.02%        53.25     0.02%        61.67           0.00       0.00%           114.92   Insurance - Crime                                          574.60     0.03%        266.25     0.02%       308.35            0.00      0.00%         574.60
           608.75      0.12%       608.75     0.19%         0.00         108.29       0.04%           500.46   Insurance - Employment                                   3,043.75     0.18%      3,043.75     0.21%          0.00         541.44      0.05%       2,502.31
         2,978.43      0.58%     1,972.83     0.62%     1,005.60         242.43       0.09%         2,736.00   Insurance - General Liability                           18,309.85     1.08%      9,864.15     0.68%     8,445.70        1,212.15      0.12%      17,097.70
         2,249.92      0.44%     2,145.75     0.68%       104.17           0.00       0.00%         2,249.92   Insurance - Property                                    11,249.60     0.66%     10,728.75     0.74%       520.85            0.00      0.00%      11,249.60
         3,066.92      0.59%     3,066.92     0.97%         0.00           0.00       0.00%         3,066.92   Insurance - Umbrella                                    18,314.77     1.08%     15,334.60     1.06%     2,980.17            0.00      0.00%      18,314.77
        9,715.27      1.88%     8,694.50     2.74%     1,020.77       1,928.95       0.69%         7,786.32    Total Insurance                                        55,285.47     3.25%     43,472.50     3.01%    11,812.97       10,662.97      1.03%     44,622.50
        62,513.00     12.12%    62,512.84    19.68%         0.16      59,211.43      21.28%         3,301.57   Ground Lease Expense                                   305,873.00    18.00%    305,871.80    21.16%          1.20     296,057.15     28.47%       9,815.85
         1,003.30      0.19%     1,003.00     0.32%         0.30       1,003.30       0.36%             0.00   Vehicle Leases                                           4,945.52     0.29%      5,015.00     0.35%        -69.48       4,873.16      0.47%          72.36
       63,516.30     12.32%    63,515.84    20.00%          0.46     60,214.73      21.64%         3,301.57    Total Leases & Rent                                   310,818.52    18.29%    310,886.80    21.50%        -68.28     300,930.31     28.94%       9,888.21
        15,972.62      3.10%     9,528.34     3.00%     6,444.28       8,685.50       3.12%         7,287.12   Management Fee - Base                                   53,280.17     3.14%     43,373.61     3.00%     9,906.56       33,501.38      3.22%      19,778.79
       15,972.62      3.10%     9,528.34     3.00%     6,444.28       8,685.50       3.12%         7,287.12    Total Management Fees                                  53,280.17     3.14%     43,373.61     3.00%     9,906.56       33,501.38      3.22%     19,778.79
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%             0.00   Capital Reserve                                         12,283.63     0.72%     16,500.00     1.14%    -4,216.37       15,343.00      1.48%      -3,059.37
             0.00      0.00%        80.00     0.03%       -80.00           0.00       0.00%             0.00   Owner's Expense                                              0.00     0.00%        400.00     0.03%      -400.00          949.17      0.09%        -949.17
             0.00      0.00%       518.00     0.16%      -518.00           0.00       0.00%             0.00   Prior Owner's Expense                                    3,216.78     0.19%      2,590.00     0.18%       626.78        6,210.97      0.60%      -2,994.19
             0.00     0.00%       598.00     0.19%      -598.00            0.00      0.00%              0.00   Total Other Non-Operating                              15,500.41     0.91%     19,490.00     1.35%    -3,989.59       22,503.14      2.16%      -7,002.73




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                                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD     %        PTD Budget      %          Variance   PTD Last Year     %            Variance                                                                 YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                               Statistics
           117.00                   117.00                   0.00          117.00                       0.00   # Rooms                                                    117.00                    117.00                     0.00         117.00                     0.00
         3,627.00                 3,627.00                   0.00        3,627.00                       0.00   Available Rooms                                         17,667.00                 17,667.00                     0.00      17,667.00                     0.00
         2,070.00                 2,285.00                -215.00        2,429.00                    -359.00   Room Nights Sold                                        11,016.00                 11,241.00                  -225.00      11,352.00                  -336.00
          57.07%                   63.00%                 -5.93%          66.97%                     -9.90%    Occupancy %                                               62.35%                    63.63%                   -1.27%         64.26%                   -1.90%
           121.70                   110.21                  11.49          104.47                      17.23   ADR                                                        123.95                     98.91                    25.04          92.37                    31.57
            69.46                    69.43                   0.02           69.96                      -0.51   RevPar                                                      77.29                     62.93                    14.35          59.36                    17.93

                                                                                                               Summary V.11
                                                                                                               Revenue
       251,917.43     90.66%   251,832.62     93.52%        84.81      253,750.78     92.80%       -1,833.35   Rooms                                                 1,365,394.94    90.02%    1,111,797.15    92.82%    253,597.79   1,048,629.67    92.41%     316,765.27
        21,032.73      7.57%    15,484.45      5.75%     5,548.28       15,141.76      5.54%        5,890.97   F&B                                                     119,231.23     7.86%       76,360.57     6.37%     42,870.66      72,452.52     6.39%      46,778.71
         4,913.37      1.77%     1,963.00      0.73%     2,950.37        4,533.04      1.66%          380.33   Other Departments                                        32,163.42     2.12%        9,667.80     0.81%     22,495.62      13,631.21     1.20%      18,532.21

      277,863.53    100.00%    269,280.07    100.00%     8,583.46     273,425.58     100.00%       4,437.95    Total Operating Revenue                              1,516,789.59    100.00%   1,197,825.52 100.00%      318,964.07    1,134,713.40 100.00%      382,076.19

                                                                                                               Departmental Expenses
        77,357.63    30.71%     67,267.16     26.71%    10,090.47       61,719.15      24.32%      15,638.48   Rooms                                                  336,409.37     24.64%     337,766.87     30.38%     -1,357.50     240,518.80     22.94%     95,890.57
        30,256.81   143.86%     22,013.91    142.17%     8,242.90       25,540.87     168.68%       4,715.94   F&B                                                    167,026.95    140.09%     105,693.67    138.41%     61,333.28     133,869.07    184.77%     33,157.88
         3,099.05    63.07%      1,200.70     61.17%     1,898.35        3,079.92      67.94%          19.13   Other Departments                                       12,033.65     37.41%       5,907.82     61.11%      6,125.83      15,161.24    111.22%     -3,127.59

      110,713.49     39.84%     90,481.77    33.60%    20,231.72       90,339.94      33.04%      20,373.55    Total Departmental Expenses                           515,469.97     33.98%     449,368.36     37.52%     66,101.61     389,549.11     34.33%    125,920.86

      167,150.04     60.16%    178,798.30    66.40%    -11,648.26     183,085.64      66.96%     -15,935.60    Total Departmental Profit                            1,001,319.62    66.02%     748,457.16     62.48%    252,862.46     745,164.29     65.67%    256,155.33

                                                                                                               Undistributed Operating Expenses
        30,409.84     10.94%    23,991.08      8.91%     6,418.76       47,502.86     17.37%      -17,093.02   A&G                                                    157,110.95     10.36%     150,919.17     12.60%      6,191.78     151,347.94    13.34%       5,763.01
        10,516.85      3.78%     6,329.70      2.35%     4,187.15            0.00      0.00%       10,516.85   IT                                                      26,772.46      1.77%      25,568.50      2.13%      1,203.96           0.00     0.00%      26,772.46
         9,581.92      3.45%    13,477.19      5.00%    -3,895.27        8,553.31      3.13%        1,028.61   S&M                                                     50,421.13      3.32%      54,149.15      4.52%     -3,728.02      44,436.85     3.92%       5,984.28
        49,062.90     17.66%    28,960.76     10.75%    20,102.14       31,323.42     11.46%       17,739.48   Franchise Fees                                         166,332.28     10.97%     127,856.68     10.67%     38,475.60     137,737.07    12.14%      28,595.21
        17,408.34      6.27%    16,666.93      6.19%       741.41       18,500.27      6.77%       -1,091.93   R&M                                                     90,878.04      5.99%      89,012.13      7.43%      1,865.91      70,575.01     6.22%      20,303.03
        12,092.54      4.35%    15,697.95      5.83%    -3,605.41       10,087.46      3.69%        2,005.08   Utilities                                               60,567.72      3.99%      77,225.67      6.45%    -16,657.95      72,277.29     6.37%     -11,709.57

      129,072.39     46.45%    105,123.61    39.04%    23,948.78      115,967.32      42.41%      13,105.07    Total Undistributed Expenses                          552,082.58     36.40%     524,731.30     43.81%     27,351.28     476,374.16     41.98%     75,708.42

       38,077.65     13.70%     73,674.69    27.36%    -35,597.04      67,118.32      24.55%     -29,040.67    Gross Operating Profit                                449,237.04     29.62%     223,725.86     18.68%    225,511.18     268,790.13     23.69%    180,446.91
         8,835.63      3.18%      8,078.40     3.00%        757.23       8,202.77       3.00%         632.86   Management Fees                                         47,985.36      3.16%      35,934.76      3.00%     12,050.60      37,822.22      3.33%     10,163.14
       29,242.02     10.52%     65,596.29    24.36%    -36,354.27      58,915.55      21.55%     -29,673.53    Income Before Non-Operating Income and Expenses       401,251.68     26.45%     187,791.10     15.68%    213,460.58     230,967.91     20.35%    170,283.77

                                                                                                               Non-Operating Income and Expenses
         6,999.10      2.52%      2,562.33     0.95%      4,436.77         -51.86      -0.02%       7,050.96   Insurance                                               23,027.64      1.52%      12,811.65      1.07%     10,215.99       2,478.54      0.22%     20,549.10
        29,136.39     10.49%     29,942.00    11.12%       -805.61      29,136.39      10.66%           0.00   Leases & Rent                                          145,681.95      9.60%     147,086.00     12.28%     -1,404.05     141,876.52     12.50%      3,805.43
         4,367.47      1.57%          0.00     0.00%      4,367.47       2,794.83       1.02%       1,572.64   Other                                                  114,079.15      7.52%           0.00      0.00%    114,079.15       5,107.50      0.45%    108,971.65
       40,502.96     14.58%     32,504.33    12.07%      7,998.63      31,879.36      11.66%       8,623.60    Total Non-Operating Income and Expenses               282,788.74     18.64%     159,897.65     13.35%    122,891.09     149,462.56     13.17%    133,326.18

      -11,260.94     -4.05%     33,091.96    12.29%    -44,352.90      27,036.19       9.89%     -38,297.13    EBITDA                                                118,462.94      7.81%      27,893.45      2.33%     90,569.49      81,505.35      7.18%     36,957.59
             0.00      0.00%          0.00     0.00%          0.00           0.00       0.00%           0.00   Interest                                                     0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
        40,458.11     14.56%     15,625.44     5.80%     24,832.67      13,672.60       5.00%      26,785.51   Taxes                                                   20,554.96      1.36%      78,127.20      6.52%    -57,572.24      91,796.90      8.09%    -71,241.94
       40,458.11     14.56%     15,625.44     5.80%     24,832.67      13,672.60       5.00%      26,785.51    Interest, Taxes, Depreciation and Amortization         20,554.96      1.36%      78,127.20      6.52%    -57,572.24      91,796.90      8.09%    -71,241.94

      -51,719.05    -18.61%     17,466.52     6.49%    -69,185.57      13,363.59       4.89%     -65,082.64    Net Income                                             97,907.98      6.45%      -50,233.75     -4.19%   148,141.73     -10,291.55     -0.91%    108,199.53




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                                                                                              Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %            Variance                                                                 YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                             Statistics
           117.00                  117.00                  0.00          117.00                       0.00   # Rooms                                                    117.00                   117.00                    0.00         117.00                    0.00
         3,627.00                3,627.00                  0.00        3,627.00                       0.00   Available Rooms                                         17,667.00                17,667.00                    0.00      17,667.00                    0.00
         2,070.00                2,285.00               -215.00        2,429.00                    -359.00   Room Nights Sold                                        11,016.00                11,241.00                 -225.00      11,352.00                 -336.00
             0.57                    0.63                 -0.06            0.67                      -0.10   Occupancy %                                                  0.62                     0.64                   -0.01           0.64                   -0.02
           121.70                  110.21                 11.49          104.47                      17.23   ADR                                                        123.95                    98.91                   25.04          92.37                   31.57
            69.46                   69.43                  0.02           69.96                      -0.51   RevPar                                                      77.29                    62.93                   14.35          59.36                   17.93

                                                                                                             Summary
                                                                                                             Revenue:
       251,917.43     90.66%   251,832.62   93.52%        84.81      253,750.78     92.80%       -1,833.35   Rooms                                                 1,365,394.94   90.02%    1,111,797.15    92.82%   253,597.79   1,048,629.67    92.41%    316,765.27
        11,362.38      4.09%    10,142.95    3.77%     1,219.43       10,756.80      3.93%          605.58   Food                                                     73,132.04    4.82%       50,002.67     4.17%    23,129.37      50,418.99     4.44%     22,713.05
         6,084.35      2.19%     4,341.50    1.61%     1,742.85        4,384.96      1.60%        1,699.39   Beverage                                                 33,509.19    2.21%       21,357.90     1.78%    12,151.29      19,868.72     1.75%     13,640.47
         3,586.00      1.29%     1,000.00    0.37%     2,586.00            0.00      0.00%        3,586.00   Other F&B Revenue                                        12,590.00    0.83%        5,000.00     0.42%     7,590.00       2,164.81     0.19%     10,425.19
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Telephone                                                     0.00    0.00%            0.00     0.00%         0.00          89.77     0.01%        -89.77
         4,913.37      1.77%     1,963.00    0.73%     2,950.37        4,533.04      1.66%          380.33   Other                                                    32,163.42    2.12%        9,667.80     0.81%    22,495.62      13,541.44     1.19%     18,621.98

       277,863.53   100.00%    269,280.07   100.00%    8,583.46      273,425.58     100.00%       4,437.95   Total Revenue                                         1,516,789.59   100.00%   1,197,825.52   100.00%   318,964.07   1,134,713.40    100.00%   382,076.19



                                                                                                             Cost of Sales:
         8,241.10     72.53%     3,448.60   34.00%     4,792.50        4,443.91     41.31%        3,797.19   Food                                                    44,288.09    60.56%      17,000.91     34.00%    27,287.18      48,963.22    97.11%     -4,675.13
         1,287.33     21.16%     1,041.96   24.00%       245.37          518.16     11.82%          769.17   Beverage                                                 8,010.69    23.91%       5,125.89     24.00%     2,884.80       5,039.14    25.36%      2,971.55
           407.63     11.37%         0.00    0.00%       407.63          293.80      0.00%          113.83   Other F&B                                                2,247.25    17.85%           0.00      0.00%     2,247.25         770.54    35.59%      1,476.71
             0.00      0.00%         0.00    0.00%         0.00        1,650.77     36.42%       -1,650.77   Telephone                                                    0.00     0.00%           0.00      0.00%         0.00       8,324.04    61.07%     -8,324.04
         3,099.05     63.07%     1,200.70   61.17%     1,898.35        1,429.15     31.53%        1,669.90   Other                                                   12,033.65    37.41%       5,907.82     61.11%     6,125.83       4,892.61    35.89%      7,141.04

        13,035.11   265.30%      5,691.26   289.93%    7,343.85        8,335.79     183.89%       4,699.32   Total Cost of Sales                                     66,579.68    207.00%     28,034.62    289.98%    38,545.06      67,989.55    498.78%    -1,409.87



                                                                                                             Payroll:
        39,723.64     15.77%    38,314.67   15.21%     1,408.97       32,705.43     12.89%        7,018.21   Rooms                                                  177,522.95    13.00%     186,817.14     16.80%    -9,294.19     144,611.67    13.79%     32,911.28
        15,786.83     75.06%    12,718.86   82.14%     3,067.97       10,939.30     72.25%        4,847.53   F&B                                                     70,201.07    58.88%      61,953.15     81.13%     8,247.92      51,066.83    70.48%     19,134.24
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Other                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        14,908.30      5.37%    10,777.17    4.00%     4,131.13       10,901.11      3.99%        4,007.19   A&G                                                     54,212.64     3.57%      52,022.07      4.34%     2,190.57      47,059.02     4.15%      7,153.62
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   IT                                                           0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         6,074.19      2.19%     5,641.53    2.10%       432.66        5,706.04      2.09%          368.15   S&M                                                     25,732.38     1.70%      27,122.63      2.26%    -1,390.25      25,818.67     2.28%        -86.29
         5,654.86      2.04%     6,377.14    2.37%      -722.28        6,860.85      2.51%       -1,205.99   R&M                                                     26,110.39     1.72%      31,062.85      2.59%    -4,952.46      18,391.32     1.62%      7,719.07
        82,147.82     29.56%    73,829.37   27.42%     8,318.45       67,112.73     24.55%       15,035.09   Total Salaries and Wages                               353,779.43    23.32%     358,977.84     29.97%    -5,198.41     286,947.51    25.29%     66,831.92

        12,521.37      4.51%    15,019.29    5.58%     -2,497.92      11,706.00      4.28%          815.37   Total Taxes and Benefits                               100,076.89     6.60%     106,264.54      8.87%    -6,187.65      43,901.69     3.87%     56,175.20
        94,669.19     34.07%    88,848.66   32.99%      5,820.53      78,818.73     28.83%       15,850.46   Total Labor Costs                                      453,856.32    29.92%     465,242.38     38.84%   -11,386.06     330,849.20    29.16%    123,007.12



                                                                                                             Direct Expenses:
        30,649.53     12.17%    23,372.62    9.28%     7,276.91       23,118.23      9.11%        7,531.30   Rooms                                                  115,530.95     8.46%     112,096.59     10.08%     3,434.36      74,117.21     7.07%     41,413.74
         2,758.90     13.12%     3,025.00   19.54%      -266.10        7,584.86     50.09%       -4,825.96   F&B                                                     13,367.64    11.21%      11,525.00     15.09%     1,842.64      19,156.21    26.44%     -5,788.57
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Telephone                                                    0.00     0.00%           0.00      0.00%         0.00       1,944.59    14.27%     -1,944.59
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Other                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        49,062.90     17.66%    28,960.76   10.75%    20,102.14       31,323.42     11.46%       17,739.48   Franchise Fees                                         166,332.28    10.97%     127,856.68     10.67%    38,475.60     137,737.07    12.14%     28,595.21
        13,209.91      4.75%    11,076.14    4.11%     2,133.77       34,666.09     12.68%      -21,456.18   A&G                                                     91,358.02     6.02%      58,694.49      4.90%    32,663.53      97,244.20     8.57%     -5,886.18
        10,516.85      3.78%     6,329.70    2.35%     4,187.15            0.00      0.00%       10,516.85   IT                                                      26,772.46     1.77%      25,568.50      2.13%     1,203.96           0.00     0.00%     26,772.46
         3,176.04      1.14%     3,112.29    1.16%        63.75        1,975.34      0.72%        1,200.70   S&M                                                     16,572.18     1.09%      14,400.73      1.20%     2,171.45      15,180.78     1.34%      1,391.40
        10,614.91      3.82%     9,491.00    3.52%     1,123.91       10,397.34      3.80%          217.57   R&M                                                     56,615.30     3.73%      53,455.00      4.46%     3,160.30      49,427.17     4.36%      7,188.13
        12,092.54      4.35%    15,697.95    5.83%    -3,605.41       10,087.46      3.69%        2,005.08   Utilities                                               60,567.72     3.99%      77,225.67      6.45%   -16,657.95      72,277.29     6.37%    -11,709.57

       132,081.58     47.53%   101,065.46   37.53%    31,016.12      119,152.74     43.58%       12,928.84   Total Direct Expense                                   547,116.55    36.07%     480,822.66     40.14%    66,293.89     467,084.52    41.16%     80,032.03

        38,077.65     13.70%    73,674.69   27.36%    -35,597.04      67,118.32     24.55%      -29,040.67   Gross Operating Profit                                 449,237.04    29.62%     223,725.86     18.68%   225,511.18     268,790.13    23.69%    180,446.91

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                                                                                               Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                            As of 5/31/2022
              PTD     %           PTD Budget   %          Variance   PTD Last Year     %           Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance




                                                                                                              Fixed Costs
        40,458.11     14.56%       15,625.44    5.80%   24,832.67       13,672.60      5.00%      26,785.51   Taxes                                                   20,554.96   1.36%     78,127.20      6.52%   -57,572.24      91,796.90     8.09%   -71,241.94
         6,999.10      2.52%        2,562.33    0.95%    4,436.77          -51.86     -0.02%       7,050.96   Insurance                                               23,027.64   1.52%     12,811.65      1.07%    10,215.99       2,478.54     0.22%    20,549.10
        29,136.39     10.49%       29,942.00   11.12%     -805.61       29,136.39     10.66%           0.00   Leases & Rent                                          145,681.95   9.60%    147,086.00     12.28%    -1,404.05     141,876.52    12.50%     3,805.43
         8,835.63      3.18%        8,078.40    3.00%      757.23        8,202.77      3.00%         632.86   Management Fees                                         47,985.36   3.16%     35,934.76      3.00%    12,050.60      37,822.22     3.33%    10,163.14

        85,429.23     30.75%       56,208.17   20.87%   29,221.06       50,959.90     18.64%      34,469.33   Total Fixed Expenses                                   237,249.91   15.64%   273,959.61     22.87%   -36,709.70     273,974.18    24.14%   -36,724.27

       -47,351.58    -17.04%       17,466.52   6.49%    -64,818.10      16,158.42      5.91%     -63,510.00   Net Operating Profit                                   211,987.13   13.98%   -50,233.75     -4.19%   262,220.88      -5,184.05    -0.46%   217,171.18



             0.00         0.00%         0.00   0.00%         0.00            0.00      0.00%           0.00   Owner's Expense                                              0.00   0.00%          0.00     0.00%          0.00         949.17    0.08%       -949.17
             0.00         0.00%         0.00   0.00%         0.00        2,794.83      1.02%      -2,794.83   Non Recurring Cost                                       2,896.77   0.19%          0.00     0.00%      2,896.77       2,794.83    0.25%        101.94



       -47,351.58    -17.04%       17,466.52   6.49%    -64,818.10      13,363.59      4.89%     -60,715.17   Net Operating Income                                   209,090.36   13.79%   -50,233.75     -4.19%   259,324.11      -8,928.05    -0.79%   218,018.41

         4,367.47         1.57%         0.00   0.00%     4,367.47            0.00      0.00%       4,367.47   Capital Reserve                                        111,182.38   7.33%          0.00     0.00%    111,182.38       1,363.50    0.12%    109,818.88

       -51,719.05    -18.61%       17,466.52   6.49%    -69,185.57      13,363.59      4.89%     -65,082.64   Adjusted NOI                                            97,907.98   6.45%    -50,233.75     -4.19%   148,141.73     -10,291.55    -0.91%   108,199.53




       -51,719.05    -18.61%       17,466.52   6.49%    -69,185.57      13,363.59      4.89%     -65,082.64   Net Profit/(Loss)                                       97,907.98   6.45%    -50,233.75     -4.19%   148,141.73     -10,291.55    -0.91%   108,199.53




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                                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                             As of 5/31/2022
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %            Variance                                                                YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
        31,371.50    12.45%     19,130.34      7.60%    12,241.16       18,473.17      7.28%       12,898.33   Corporate Transient                                    147,002.04    10.77%      72,562.08      6.53%     74,439.96      67,463.01     6.43%     79,539.03
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Advanced Purchase                                           16.19     0.00%           0.00      0.00%         16.19         203.16     0.02%       -186.97
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Qualified Discounts                                          0.00     0.00%           0.00      0.00%          0.00      17,991.93     1.72%    -17,991.93
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   FIT(Flexible Independent Travel)                           367.90     0.03%           0.00      0.00%        367.90           0.00     0.00%        367.90
        12,014.36     4.77%     11,561.21      4.59%       453.15        9,271.74      3.65%        2,742.62   Consortia Transient                                     55,206.85     4.04%      38,796.21      3.49%     16,410.64      34,372.55     3.28%     20,834.30
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Leisure Transient                                            0.00     0.00%           0.00      0.00%          0.00       4,013.77     0.38%     -4,013.77
        49,101.64    19.49%     79,521.34     31.58%   -30,419.70       60,399.60     23.80%      -11,297.96   Internet/E-Commerce                                    281,602.87    20.62%     385,097.23     34.64%   -103,494.36     303,403.34    28.93%    -21,800.47
             0.00     0.00%          0.00      0.00%         0.00        2,665.81      1.05%       -2,665.81   Other Transient                                              0.00     0.00%           0.00      0.00%          0.00       7,749.06     0.74%     -7,749.06
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Airline Distressed Passenger                                 0.00     0.00%           0.00      0.00%          0.00       1,374.00     0.13%     -1,374.00
         2,528.00     1.00%      8,184.00      3.25%    -5,656.00        5,409.00      2.13%       -2,881.00   Government Transient                                    37,671.08     2.76%      21,080.00      1.90%     16,591.08      14,718.45     1.40%     22,952.63
        90,197.05    35.80%     86,660.51     34.41%     3,536.54       86,617.81     34.13%        3,579.24   Rack Transient                                         582,024.28    42.63%     382,880.83     34.44%    199,143.45     298,517.90    28.47%    283,506.38
        25,568.79    10.15%     14,510.22      5.76%    11,058.57       14,433.25      5.69%       11,135.54   Local Negotiated Transient                             134,010.39     9.81%      80,470.80      7.24%     53,539.59      75,212.59     7.17%     58,797.80

     210,781.34     83.67%     219,567.62    87.19%     -8,786.28     197,270.38      77.74%      13,510.96    Total Transient Room Revenue                         1,237,901.60   90.66%     980,887.15    88.23%     257,014.45     825,019.76     78.68%   412,881.84

                                                                                                               Group Room Revenue
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Corporate Group                                          2,682.00     0.20%           0.00     0.00%       2,682.00       4,933.00     0.47%     -2,251.00
         7,879.12     3.13%      1,840.00      0.73%     6,039.12          409.50      0.16%        7,469.62   Tour & Travel Group                                     11,992.51     0.88%       8,740.00     0.79%       3,252.51       1,755.00     0.17%     10,237.51
        32,910.88    13.06%     13,950.00      5.54%    18,960.88        8,624.67      3.40%       24,286.21   SMERF Group                                             90,839.88     6.65%      33,482.00     3.01%      57,357.88      45,088.03     4.30%     45,751.85
             0.00     0.00%      3,875.00      1.54%    -3,875.00            0.00      0.00%            0.00   Sports Group                                                 0.00     0.00%      27,288.00     2.45%     -27,288.00           0.00     0.00%          0.00

       40,790.00    16.19%      19,665.00     7.81%    21,125.00        9,034.17       3.56%      31,755.83    Total Group Room Revenue                              105,514.39     7.73%      69,510.00      6.25%     36,004.39      51,776.03     4.94%     53,738.36

                                                                                                               Contract Room Revenue
             0.00     0.00%          0.00      0.00%         0.00       44,929.62     17.71%      -44,929.62   Airline Crews Contract                                       0.00     0.00%           0.00     0.00%           0.00     164,789.32    15.71%   -164,789.32
         1,040.00     0.41%     12,400.00      4.92%   -11,360.00            0.00      0.00%        1,040.00   Other Contract                                          16,523.00     1.21%      60,400.00     5.43%     -43,877.00           0.00     0.00%     16,523.00

        1,040.00     0.41%      12,400.00     4.92%    -11,360.00      44,929.62      17.71%     -43,889.62    Total Contract Room Revenue                            16,523.00     1.21%      60,400.00      5.43%    -43,877.00     164,789.32     15.71%   -148,266.32

                                                                                                               Other Room Revenue
         2,169.62     0.86%        200.00      0.08%     1,969.62        2,416.61      0.95%         -246.99   No-Show Rooms                                           13,016.20     0.95%       1,000.00     0.09%     12,016.20       10,361.37     0.99%      2,654.83
           375.84     0.15%          0.00      0.00%       375.84            0.00      0.00%          375.84   Early/Late Departure Fees                                  629.84     0.05%           0.00     0.00%        629.84           95.00     0.01%        534.84
             0.00     0.00%          0.00      0.00%         0.00          100.00      0.04%         -100.00   Pet/Smoking/Damage Fees                                    230.75     0.02%           0.00     0.00%        230.75          400.00     0.04%       -169.25

        2,545.46     1.01%         200.00     0.08%     2,345.46        2,516.61       0.99%          28.85    Total Other Room Revenue                               13,876.79     1.02%       1,000.00      0.09%     12,876.79      10,856.37     1.04%       3,020.42

        -3,239.37    -1.29%           0.00     0.00%    -3,239.37            0.00      0.00%       -3,239.37   Less: Allowances                                        -8,420.84    -0.62%           0.00     0.00%      -8,420.84      -3,811.81    -0.36%      -4,609.03

     251,917.43     100.00%    251,832.62    100.00%        84.81     253,750.78     100.00%      -1,833.35    Total Room Revenue                                   1,365,394.94   100.00%   1,111,797.15 100.00%      253,597.79    1,048,629.67 100.00%     316,765.27

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
         3,307.70     1.31%       3,262.38     1.30%         45.32           0.00       0.00%       3,307.70   Housekeeping Management                                 16,976.11     1.24%      15,502.21      1.39%      1,473.90           0.00     0.00%     16,976.11
        3,307.70     1.31%       3,262.38     1.30%          45.32           0.00      0.00%       3,307.70    Total Rooms Management                                 16,976.11     1.24%      15,502.21      1.39%      1,473.90            0.00    0.00%     16,976.11
        10,770.80     4.28%       6,448.00     2.56%      4,322.80       7,088.13       2.79%       3,682.67   Front Office Agents                                     43,526.56     3.19%      31,408.00      2.82%     12,118.56      29,612.48     2.82%     13,914.08
             0.00     0.00%           0.00     0.00%          0.00           0.00       0.00%           0.00   Front Office Supervisors                                     0.00     0.00%           0.00      0.00%          0.00       7,297.45     0.70%     -7,297.45
         2,952.76     1.17%       3,224.00     1.28%       -271.24       3,100.83       1.22%        -148.07   Night Auditors                                          14,283.93     1.05%      15,704.00      1.41%     -1,420.07      14,716.83     1.40%       -432.90
         4,031.10     1.60%       5,456.00     2.17%     -1,424.90       5,455.94       2.15%      -1,424.84   Drivers                                                 19,741.97     1.45%      26,576.00      2.39%     -6,834.03      25,431.62     2.43%     -5,689.65
       17,754.66     7.05%      15,128.00     6.01%      2,626.66      15,644.90       6.17%       2,109.76    Total Rooms Front Office                               77,552.46     5.68%      73,688.00      6.63%      3,864.46      77,058.38     7.35%        494.08
         2,008.25     0.80%       1,594.29     0.63%        413.96       1,774.73       0.70%         233.52   Housekeeping Supervisors                                 9,195.67     0.67%       7,765.73      0.70%      1,429.94       9,516.52     0.91%       -320.85
        13,583.92     5.39%      11,882.00     4.72%      1,701.92      11,670.52       4.60%       1,913.40   Room Attendants                                         54,630.16     4.00%      58,453.20      5.26%     -3,823.04      46,128.84     4.40%      8,501.32
         1,716.30     0.68%       3,224.00     1.28%     -1,507.70         886.29       0.35%         830.01   Housepersons                                             9,676.34     0.71%      15,704.00      1.41%     -6,027.66         886.29     0.08%      8,790.05
         1,352.81     0.54%       3,224.00     1.28%     -1,871.19       2,728.99       1.08%      -1,376.18   Laundry Attendants                                       9,492.21     0.70%      15,704.00      1.41%     -6,211.79      11,021.64     1.05%     -1,529.43
       18,661.28     7.41%      19,924.29     7.91%     -1,263.01      17,060.53       6.72%       1,600.75    Total Rooms Housekeeping                               82,994.38     6.08%      97,626.93      8.78%    -14,632.55      67,553.29     6.44%     15,441.09

       39,723.64      15.77%    38,314.67    15.21%     1,408.97       32,705.43      12.89%       7,018.21    Total Rooms Salary and Wages                          177,522.95    13.00%     186,817.14    16.80%      -9,294.19     144,611.67     13.79%    32,911.28
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              PTD     %           PTD Budget     %         Variance   PTD Last Year     %            Variance                                                                YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance


                                                                                                                PR Taxes and Benefits
         3,771.73      1.50%         2,952.61    1.17%       819.12       3,770.50       1.49%           1.23   FICA                                                    15,162.83    1.11%     14,938.84     1.34%        223.99      12,303.59     1.17%      2,859.24
            17.78      0.01%            34.74    0.01%       -16.96       1,019.47       0.40%      -1,001.69   Federal Unemployment Tax                                   676.46    0.05%        515.63     0.05%        160.83       1,587.38     0.15%       -910.92
           258.15      0.10%           208.42    0.08%        49.73         642.45       0.25%        -384.30   State Unemployment Tax                                   3,598.04    0.26%      4,500.91     0.40%       -902.87       3,469.65     0.33%        128.39
        4,047.66      1.61%         3,195.77    1.27%       851.89       5,432.42       2.14%      -1,384.76    Total Payroll Taxes                                    19,437.33    1.42%     19,955.38     1.79%       -518.05      17,360.62     1.66%      2,076.71
             0.00      0.00%           150.00    0.06%      -150.00           0.00       0.00%           0.00   Holiday                                                  1,432.00    0.10%        300.00     0.03%      1,132.00       1,084.72     0.10%        347.28
         1,000.00      0.40%           126.38    0.05%       873.62           0.00       0.00%       1,000.00   Vacation                                                 3,842.00    0.28%        535.85     0.05%      3,306.15           0.00     0.00%      3,842.00
        1,000.00      0.40%           276.38    0.11%       723.62            0.00      0.00%       1,000.00    Total Supplemental Pay                                  5,274.00    0.39%        835.85     0.08%      4,438.15       1,084.72     0.10%      4,189.28
         1,850.56      0.73%         1,638.72    0.65%       211.84         848.59       0.33%       1,001.97   Worker's Compensation                                    9,365.93    0.69%      8,116.91     0.73%      1,249.02       4,364.38     0.42%      5,001.55
            86.24      0.03%           469.00    0.19%      -382.76        -385.52      -0.15%         471.76   Group Insurance                                          5,038.83    0.37%      2,345.00     0.21%      2,693.83      -1,019.80    -0.10%      6,058.63
             0.00      0.00%             0.00    0.00%         0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                                  4,239.38    0.31%      7,600.00     0.68%     -3,360.62           0.00     0.00%      4,239.38
        1,936.80      0.77%         2,107.72    0.84%      -170.92         463.07       0.18%       1,473.73    Total Other Benefits                                   18,644.14    1.37%     18,061.91     1.62%        582.23       3,344.58     0.32%     15,299.56

        6,984.46      2.77%         5,579.87    2.22%     1,404.59       5,895.49       2.32%       1,088.97    Total Rooms PR Taxes and Benefits                      43,355.47    3.18%     38,853.14     3.49%      4,502.33      21,789.92     2.08%     21,565.55

       46,708.10     18.54%        43,894.54    17.43%    2,813.56      38,600.92      15.21%       8,107.18    Total Rooms Labor Costs                               220,878.42    16.18%   225,670.28    20.30%     -4,791.86     166,401.59     15.87%    54,476.83

                                                                                                                Other Expenses
         2,441.29         0.97%     1,165.35     0.46%     1,275.94       1,754.08      0.69%          687.21   Breakfast /Comp Cost                                     9,099.18    0.67%     5,732.91     0.52%       3,366.27       3,389.45     0.32%     5,709.73
         3,483.56         1.38%     1,371.00     0.54%     2,112.56       2,404.56      0.95%        1,079.00   Cleaning Supplies                                        6,943.43    0.51%     6,744.60     0.61%         198.83       6,495.26     0.62%       448.17
             0.00         0.00%         0.00     0.00%         0.00          90.00      0.04%          -90.00   Communication Expense                                        0.00    0.00%         0.00     0.00%           0.00          90.00     0.01%       -90.00
           209.18         0.08%         0.00     0.00%       209.18           0.00      0.00%          209.18   Guest Loss/Damage                                          665.55    0.05%         0.00     0.00%         665.55           0.00     0.00%       665.55
         3,557.09         1.41%     2,856.25     1.13%       700.84       8,388.68      3.31%       -4,831.59   Guest Supplies                                          14,649.11    1.07%    14,051.25     1.26%         597.86      19,363.76     1.85%    -4,714.65
         1,427.25         0.57%       799.75     0.32%       627.50         858.20      0.34%          569.05   Laundry                                                  3,119.58    0.23%     3,934.35     0.35%        -814.77       2,382.48     0.23%       737.10
         3,954.38         1.57%     1,987.95     0.79%     1,966.43       2,199.87      0.87%        1,754.51   Linen                                                   10,464.83    0.77%     9,779.67     0.88%         685.16       8,842.34     0.84%     1,622.49
           850.01         0.34%         0.00     0.00%       850.01           0.00      0.00%          850.01   Operating Supplies                                       1,559.46    0.11%         0.00     0.00%       1,559.46           0.00     0.00%     1,559.46
         1,350.20         0.54%     2,266.49     0.90%      -916.29           0.00      0.00%        1,350.20   Reservation Expense                                     10,451.05    0.77%    10,006.17     0.90%         444.88           0.00     0.00%    10,451.05
             0.00         0.00%       434.15     0.17%      -434.15       2,731.87      1.08%       -2,731.87   Rooms Promotion                                          4,290.07    0.31%     2,135.79     0.19%       2,154.28       3,014.08     0.29%     1,275.99
         2,109.29         0.84%     2,016.00     0.80%        93.29       2,015.57      0.79%           93.72   Television Cable                                        10,181.47    0.75%    10,080.00     0.91%         101.47       8,640.06     0.82%     1,541.41
           685.00         0.27%     1,400.00     0.56%      -715.00       1,479.93      0.58%         -794.93   Transportation                                           4,103.39    0.30%     7,000.00     0.63%      -2,896.61       6,712.86     0.64%    -2,609.47
             0.00         0.00%         0.00     0.00%         0.00         200.00      0.08%         -200.00   Travel                                                       0.00    0.00%         0.00     0.00%           0.00         200.00     0.02%      -200.00
         2,291.90         0.91%       393.30     0.16%     1,898.60           0.00      0.00%        2,291.90   Travel Agent Comm - Group Rooms                          2,291.90    0.17%     1,390.20     0.13%         901.70           0.00     0.00%     2,291.90
         7,926.36         3.15%     8,557.38     3.40%      -631.02         995.47      0.39%        6,930.89   Travel Agent Comm - Transient Rooms                     36,720.88    2.69%    40,616.65     3.65%      -3,895.77      14,986.92     1.43%    21,733.96
           364.02         0.14%       125.00     0.05%       239.02           0.00      0.00%          364.02   Uniforms                                                   991.05    0.07%       625.00     0.06%         366.05           0.00     0.00%       991.05

       30,649.53     12.17%        23,372.62    9.28%     7,276.91      23,118.23       9.11%       7,531.30    Total Rooms Other Expenses                            115,530.95    8.46%    112,096.59    10.08%      3,434.36      74,117.21     7.07%     41,413.74

       77,357.63     30.71%        67,267.16    26.71%   10,090.47      61,719.15      24.32%      15,638.48    Total Rooms Expenses                                  336,409.37    24.64%   337,766.87    30.38%     -1,357.50     240,518.80     22.94%    95,890.57

      174,559.80     69.29%       184,565.46    73.29%   -10,005.66    192,031.63      75.68%     -17,471.83    Total Rooms Profit (Loss)                            1,028,985.57   75.36%   774,030.28    69.62%    254,955.29     808,110.87     77.06%   220,874.70




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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                YTD    %   YTD Budget %    Variance   YTD Last Year   %     Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
           245.00             159.00          86.00         150.00                  95.00    Room Stat - Corporate Transient                          1,111.00           699.00        412.00         628.00           483.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Qualified Discounts                              0.00             0.00          0.00         285.00          -285.00
            95.00              99.00          -4.00          75.00                  20.00    Room Stat - Consortia Rate Transient                       419.00           368.00         51.00         310.00           109.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Leisure Transient                                0.00             0.00          0.00          54.00           -54.00
           468.00             782.00        -314.00         592.00                -124.00    Room Stat - Internet                                     2,571.00         4,356.00     -1,785.00       3,486.00          -915.00
             0.00               0.00           0.00           1.00                   -1.00   Room Stat - Other Transient                                  0.00             0.00          0.00          94.00           -94.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Airline Distressed Passenger                     0.00             0.00          0.00          42.00           -42.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - E-Commerce Opaque                                0.00             0.00          0.00          90.00           -90.00
            21.00              66.00         -45.00          59.00                 -38.00    Room Stat - Government Rate Transient                      346.00           170.00        176.00         154.00           192.00
           656.00             678.00         -22.00         664.00                   -8.00   Room Stat - Rack Rate Transient                          4,178.00         3,287.00        891.00       2,556.00         1,622.00
           242.00             175.00          67.00         170.00                  72.00    Room Stat - Local Negotiated Transient                   1,513.00           962.00        551.00         897.00           616.00
        1,727.00           1,959.00        -232.00       1,711.00                   16.00    Total Transient Rooms Sold                             10,138.00         9,842.00        296.00       8,596.00         1,542.00

                                                                                             Group Rooms
             0.00               0.00          0.00            0.00                    0.00   Room Stat - Corporate Group Rooms                           18.00             0.00        18.00           48.00           -30.00
            90.00              16.00         74.00           10.00                   80.00   Room Stat - Tour & Travel Group                            112.00            76.00        36.00           31.00            81.00
           262.00             124.00        138.00           71.00                  191.00   Room Stat - SMERF Group                                    705.00           330.00       375.00          376.00           329.00
             0.00              31.00        -31.00            0.00                    0.00   Room Stat - Sports Group                                     0.00           238.00      -238.00            0.00             0.00
          352.00             171.00        181.00            81.00                 271.00    Total Group Rooms Sold                                    835.00           644.00       191.00          455.00           380.00

                                                                                             Contract Rooms
              0.00              0.00           0.00         637.00                 -637.00   Room Stat - Airline Crews Contract                          0.00              0.00          0.00       2,301.00         -2,301.00
             -9.00            155.00        -164.00           0.00                   -9.00   Room Stat - Other Contract                                 43.00            755.00       -712.00           0.00             43.00
            -9.00            155.00        -164.00         637.00                 -646.00    Total Contract Rooms Sold                                  43.00           755.00       -712.00       2,301.00         -2,258.00

        2,070.00           2,285.00        -215.00       2,429.00                 -359.00    Total Rooms Sold                                       11,016.00        11,241.00      -225.00       11,352.00          -336.00
             3.00              0.00            3.00           5.00                   -2.00   Room Stat - Comp Rooms                                      45.00            0.00         45.00          113.00           -68.00
        2,073.00           2,285.00        -212.00       2,434.00                 -361.00    Total Rooms Occupied                                   11,061.00        11,241.00      -180.00       11,465.00          -404.00
           354.00              0.00          354.00         146.00                  208.00   Room Stat - Out of Order                                 1,312.00            0.00      1,312.00          147.00         1,165.00

                                                                                             ADR
           128.05             120.32          7.73          123.15                    4.89   Corporate Transient ADR                                    132.32          103.81         28.51          107.43            24.89
             0.00               0.00          0.00            0.00                    0.00   Advanced Purchase ADR                                        0.00            0.00          0.00            0.00             0.00
             0.00               0.00          0.00            0.00                    0.00   Qualified Discount ADR                                       0.00            0.00          0.00           63.13           -63.13
             0.00               0.00          0.00            0.00                    0.00   FIT ADR                                                      0.00            0.00          0.00            0.00             0.00
           126.47             116.78          9.69          123.62                    2.84   Consortia ADR                                              131.76          105.42         26.33          110.88            20.88
             0.00               0.00          0.00            0.00                    0.00   Employee ADR                                                 0.00            0.00          0.00            0.00             0.00
             0.00               0.00          0.00            0.00                    0.00   Leisure ADR                                                  0.00            0.00          0.00           74.33           -74.33
             0.00               0.00          0.00            0.00                    0.00   Travel Agent/Friends & Family ADR                            0.00            0.00          0.00            0.00             0.00
             0.00               0.00          0.00            0.00                    0.00   Leisure Package ADR                                          0.00            0.00          0.00            0.00             0.00
             0.00               0.00          0.00            0.00                    0.00   Member Reward Stay ADR                                       0.00            0.00          0.00            0.00             0.00
             0.00               0.00          0.00            0.00                    0.00   Golf Pkg ADR                                                 0.00            0.00          0.00            0.00             0.00
             0.00               0.00          0.00            0.00                    0.00   Non Qualified ADR                                            0.00            0.00          0.00            0.00             0.00
           104.92             101.69          3.23          102.03                    2.89   Internet ADR                                               109.53           88.41         21.12           87.03            22.50
             0.00               0.00          0.00            0.00                    0.00   E-Commerce Opaque ADR                                        0.00            0.00          0.00            0.00             0.00
             0.00               0.00          0.00        2,665.81               -2,665.81   Other Transient ADR                                          0.00            0.00          0.00           82.44           -82.44
             0.00               0.00          0.00            0.00                    0.00   Airline Distressed Passenger ADR                             0.00            0.00          0.00           32.71           -32.71
           120.38             124.00         -3.62           91.68                   28.70   Government ADR                                             108.88          124.00        -15.12           95.57            13.30
           137.50             127.82          9.68          130.45                    7.05   Rack ADR                                                   139.31          116.48         22.82          116.79            22.52
           105.66              82.92         22.74           84.90                   20.75   Local Negotiated ADR                                        88.57           83.65          4.92           83.85             4.72
          122.05             112.08           9.97         115.30                     6.76   Total Transient ADR                                       122.11            99.66        22.44            95.98           26.13

             0.00              0.00           0.00            0.00                   0.00    Corporate Group ADR                                       149.00             0.00        149.00          102.77            46.23
             0.00              0.00           0.00            0.00                   0.00    Leisure Group ADR                                           0.00             0.00          0.00            0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Government Group ADR                                        0.00             0.00          0.00            0.00             0.00
            87.55            115.00         -27.45           40.95                  46.60    Tour & Travel Group ADR                                   107.08           115.00         -7.92           56.61            50.46
             0.00              0.00           0.00            0.00                   0.00    Association Group ADR                                       0.00             0.00          0.00            0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    City Wide Group ADR                                         0.00             0.00          0.00            0.00             0.00
           125.61            112.50          13.11          121.47                   4.14    SMERF Group ADR                                           128.85           101.46         27.39          119.91             8.94
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                                YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00              125.00       -125.00           0.00                    0.00    Sports Group ADR                                            0.00            114.66     -114.66           0.00            0.00
            0.00                0.00          0.00           0.00                    0.00    Other Group ADR                                             0.00              0.00        0.00           0.00            0.00
          115.88             115.00           0.88         111.53                    4.35    Total Group ADR                                           126.36           107.93        18.43         113.79           12.57

             0.00              0.00            0.00          70.53                  -70.53   Airline Crew ADR                                             0.00            0.00         0.00           71.62         -71.62
          -115.56             80.00         -195.56           0.00                 -115.56   Other Contract ADR                                         384.26           80.00       304.26            0.00         384.26
         -115.56              80.00        -195.56           70.53                -186.09    Total Contract ADR                                        384.26            80.00      304.26            71.62        312.64

          121.70             110.21          11.49         104.47                   17.23    Total ADR                                                 123.95            98.91        25.04           92.37          31.57




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              PTD     %           PTD Budget     %         Variance   PTD Last Year     %            Variance                                                                YTD      %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                                F&B Summary
                                                                                                                Revenue
        11,362.38     54.02%        8,842.95     57.11%    2,519.43      10,453.80      69.04%         908.58   Outlet Food Revenue                                     65,528.04     54.96%    43,502.67  56.97%      22,025.37      47,123.84  65.04%       18,404.20
             0.00      0.00%        1,300.00      8.40%   -1,300.00         303.00       2.00%        -303.00   Banquet and Catering Food Revenue                        7,604.00      6.38%     6,500.00   8.51%       1,104.00       3,295.15   4.55%        4,308.85
         6,084.35     28.93%        4,341.50     28.04%    1,742.85       4,384.96      28.96%       1,699.39   Outlet Beverage Revenue                                 33,509.19     28.10%    21,357.90  27.97%      12,151.29      19,868.72  27.42%       13,640.47
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%           0.00   Banquet and Catering Beverage Revenue                        0.00      0.00%         0.00   0.00%           0.00           0.00   0.00%            0.00
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%           0.00   Outlet Other Revenue                                         0.00      0.00%         0.00   0.00%           0.00           0.00   0.00%            0.00
         3,586.00     17.05%        1,000.00      6.46%    2,586.00           0.00       0.00%       3,586.00   Banquet and Catering Other Revenue                      12,590.00     10.56%     5,000.00   6.55%       7,590.00       2,164.81   2.99%       10,425.19
       21,032.73    100.00%       15,484.45    100.00%    5,548.28      15,141.76     100.00%       5,890.97    Total F&B Revenue                                     119,231.23    100.00%    76,360.57 100.00%      42,870.66      72,452.52 100.00%       46,778.71

                                                                                                                Cost of Sales
         8,241.10     39.18%        3,448.60     22.27%    4,792.50       4,443.91      29.35%       3,797.19   Food Purchases                                          44,288.09     37.14%    17,000.91    22.26%    27,287.18      48,963.22     67.58%    -4,675.13
         1,287.33      6.12%        1,041.96      6.73%      245.37         518.16       3.42%         769.17   Beverage Purchases                                       8,010.69      6.72%     5,125.89     6.71%     2,884.80       5,039.14      6.96%     2,971.55
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%           0.00   Cedit Employee Meals                                         0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%           0.00   Credit House Charges                                         0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%           0.00   Credit In-House Promotions                                   0.00      0.00%         0.00     0.00%         0.00        -346.68     -0.48%       346.68
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%           0.00   Audio Visual Cost of Sales                                   0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
           407.63      1.94%            0.00      0.00%      407.63         293.80       1.94%         113.83   Other Cost of Sales                                      2,247.25      1.88%         0.00     0.00%     2,247.25       1,117.22      1.54%     1,130.03
        9,936.06     47.24%        4,490.56     29.00%    5,445.50       5,255.87      34.71%       4,680.19    Total F&B Cost of Sales                                54,546.03     45.75%    22,126.80    28.98%    32,419.23      54,772.90     75.60%      -226.87

       11,096.67     52.76%       10,993.89     71.00%     102.78        9,885.89      65.29%       1,210.78    F&B Gross Profit                                       64,685.20     54.25%    54,233.77    71.02%    10,451.43      17,679.62     24.40%    47,005.58

                                                                                                                Expenses
                                                                                                                Payroll
                                                                                                                Salaries and Wages
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%           0.00   Management                                                   0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
        15,786.83     75.06%       12,718.86     82.14%    3,067.97      10,939.30      72.25%       4,847.53   Non-Management                                          70,201.07     58.88%    61,953.15    81.13%     8,247.92      51,066.83     70.48%    19,134.24
       15,786.83     75.06%       12,718.86     82.14%    3,067.97      10,939.30      72.25%       4,847.53    Total F&B Salaries and Wages                           70,201.07     58.88%    61,953.15    81.13%     8,247.92      51,066.83     70.48%    19,134.24
                                                                                                                PR Taxes and Benefits
         1,439.48      6.84%        1,239.47      8.00%     200.01        1,841.54      12.16%       -402.06    Payroll Taxes                                            7,445.82      6.24%     7,472.62     9.79%       -26.80       6,906.71      9.53%       539.11
           218.08      1.04%            0.00      0.00%     218.08            0.00       0.00%        218.08    Supplemental Pay                                         1,551.04      1.30%         0.00     0.00%     1,551.04         445.12      0.61%     1,105.92
           117.46      0.56%          540.02      3.49%    -422.56          -80.70      -0.53%        198.16    Other Benefits                                          19,915.35     16.70%     2,616.10     3.43%    17,299.25       1,521.30      2.10%    18,394.05
        1,775.02      8.44%        1,779.49     11.49%       -4.47       1,760.84      11.63%          14.18    Total F&B PR Taxes and Benefits                        28,912.21     24.25%    10,088.72    13.21%    18,823.49       8,873.13     12.25%    20,039.08

       17,561.85     83.50%       14,498.35     93.63%    3,063.50      12,700.14      83.87%       4,861.71    Total F&B Payroll                                      99,113.28     83.13%    72,041.87    94.34%    27,071.41      59,939.96     82.73%    39,173.32

                                                                                                                Other Expenses
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Audio Visual Supplies                                        0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Banquet Expense                                              0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Bar Expense/Promos                                           0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Bar Supplies                                                 0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%       75.00      0.48%      -75.00            0.00      0.00%            0.00   China                                                      179.91     0.15%        375.00     0.49%      -195.09           0.00     0.00%        179.91
           665.88         3.17%      150.00      0.97%      515.88          584.88      3.86%           81.00   Cleaning Supplies                                        3,304.63     2.77%        750.00     0.98%     2,554.63       1,179.72     1.63%      2,124.91
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Communication Expense                                        0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Contract Cleaning                                          554.62     0.47%          0.00     0.00%       554.62           0.00     0.00%        554.62
             0.00         0.00%        0.00      0.00%        0.00        3,322.95     21.95%       -3,322.95   Contract Labor                                             883.07     0.74%          0.00     0.00%       883.07       3,322.95     4.59%     -2,439.88
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Decorations & Plants                                         0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Dues and Subscriptions                                       0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Equipment Rental                                             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Food and Beverage Advertising                                0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%      100.00      0.65%     -100.00            0.00      0.00%            0.00   Glassware                                                   38.93     0.03%        500.00     0.65%      -461.07           0.00     0.00%         38.93
             0.00         0.00%        0.00      0.00%        0.00          140.58      0.93%         -140.58   Guest Loss/Damage                                            0.00     0.00%          0.00     0.00%         0.00         140.58     0.19%       -140.58
           270.54         1.29%        0.00      0.00%      270.54            0.00      0.00%          270.54   Guest Supplies                                           1,426.68     1.20%          0.00     0.00%     1,426.68           0.00     0.00%      1,426.68
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   In-House Entertainment                                       0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
           136.22         0.65%        0.00      0.00%      136.22            0.00      0.00%          136.22   Kitchen/Cooking Fuel                                       136.22     0.11%          0.00     0.00%       136.22           0.00     0.00%        136.22
             0.00         0.00%      700.00      4.52%     -700.00        1,767.96     11.68%       -1,767.96   Kitchen Equipment                                          613.89     0.51%      3,500.00     4.58%    -2,886.11       2,012.12     2.78%     -1,398.23
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Laundry - Outside Expense                                    0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Laundry Allocation                                           0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
           200.00         0.95%      900.00      5.81%     -700.00            0.00      0.00%          200.00   Licenses/Permits                                           220.00     0.18%        900.00     1.18%      -680.00       6,793.00     9.38%     -6,573.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Linen                                                        0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%        0.00            0.00      0.00%            0.00   Linen Rental                                                 0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00
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                                                                                  Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 435 of 776
                                                                                             Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget     %        Variance   PTD Last Year     %            Variance                                                                YTD     %        YTD Budget %             Variance   YTD Last Year     %         Variance

             0.00      0.00%         0.00     0.00%        0.00         503.06       3.32%        -503.06   Maintenance Contracts                                        0.00     0.00%         0.00     0.00%         0.00         503.06      0.69%      -503.06
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Meals and Entertainment                                      0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Menus                                                        0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Miscellaneous Expense                                      324.95     0.27%         0.00     0.00%       324.95           0.00      0.00%       324.95
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Music and Entertainment                                      0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Office Equipment                                             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Office Supplies                                              0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Operating Supplies                                           0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
         1,087.89      5.17%     1,000.00     6.46%       87.89       1,147.53       7.58%         -59.64   Paper/Plastic Supplies                                   5,020.06     4.21%     5,000.00     6.55%        20.06       4,397.10      6.07%       622.96
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Printing and Stationery                                      0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Silverware                                                   0.00     0.00%         0.00     0.00%         0.00           8.05      0.01%        -8.05
             0.00      0.00%         0.00     0.00%        0.00          37.13       0.25%         -37.13   Software Expense/Maintenance                                 0.00     0.00%         0.00     0.00%         0.00         718.86      0.99%      -718.86
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Television Cable                                           266.31     0.22%         0.00     0.00%       266.31           0.00      0.00%       266.31
             0.00      0.00%         0.00     0.00%        0.00          72.80       0.48%         -72.80   Training                                                     0.00     0.00%         0.00     0.00%         0.00          72.80      0.10%       -72.80
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Travel                                                       0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%        50.00     0.32%      -50.00           0.00       0.00%           0.00   Uniforms                                                     0.00     0.00%       250.00     0.33%      -250.00           0.00      0.00%         0.00
           398.37      1.89%        50.00     0.32%      348.37           7.97       0.05%         390.40   Utensils                                                   398.37     0.33%       250.00     0.33%       148.37           7.97      0.01%       390.40
        2,758.90     13.12%     3,025.00    19.54%     -266.10       7,584.86      50.09%      -4,825.96    Total F&B Other Expenses                               13,367.64    11.21%    11,525.00    15.09%     1,842.64      19,156.21     26.44%    -5,788.57

       20,320.75     96.61%    17,523.35    113.17%   2,797.40      20,285.00     133.97%          35.75    Total F&B Expenses                                    112,480.92    94.34%    83,566.87 109.44%      28,914.05      79,096.17 109.17%       33,384.75

       -9,224.08    -43.86%    -6,529.46    -42.17%   -2,694.62    -10,399.11     -68.68%       1,175.03    Total F&B Profit (Loss)                               -47,795.72    -40.09%   -29,333.10 -38.41%     -18,462.62    -61,416.55     -84.77%   13,620.83




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                                                                              Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                     P&L - Dual Summary Pages
                                                                                                           As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Room Service
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Room Service Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Room Service Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Banquets
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Banquets Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Banquets Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                             Catering
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Catering Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Catering Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 3
             0.00               0.00          0.00            0.00                   0.00    Breakfast Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Lunch Avg Check                                             0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Dinner Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Brunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
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                                                                              Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 4
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 5
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 1
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                             0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                             0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                   0.00    Total Covers                                                0.00            0.00         0.00            0.00           0.00




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                                                                                                 Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                              As of 5/31/2022
              PTD     %           PTD Budget     %         Variance   PTD Last Year     %            Variance                                                                YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                                Food Admin
                                                                                                                Cost of Sales
         8,241.10     39.18%        3,448.60    22.27%    4,792.50        4,443.91     29.35%        3,797.19   Food Purchases                                          44,288.09    37.14%    17,000.91     22.26%   27,287.18       48,963.22    67.58%     -4,675.13
         1,287.33      6.12%        1,041.96     6.73%      245.37            0.00      0.00%        1,287.33   Beverage Purchases                                       8,010.69     6.72%     5,125.89      6.71%    2,884.80            0.00     0.00%      8,010.69
             0.00      0.00%            0.00     0.00%        0.00            0.00      0.00%            0.00   Credit In-House Promotions Food Dept                         0.00     0.00%         0.00      0.00%        0.00         -346.68    -0.48%        346.68
           407.63      1.94%            0.00     0.00%      407.63          293.80      1.94%          113.83   Other Cost of Sales                                      2,247.25     1.88%         0.00      0.00%    2,247.25        1,117.22     1.54%      1,130.03

        9,936.06     47.24%        4,490.56    29.00%     5,445.50       4,737.71      31.29%       5,198.35    Total Food Admin Cost of Sales                         54,546.03    45.75%    22,126.80    28.98%     32,419.23      49,733.76     68.64%     4,812.27

                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
             0.00     0.00%             0.00    0.00%          0.00           0.00      0.00%            0.00   Total Food Admin Management                                  0.00    0.00%          0.00    0.00%           0.00           0.00     0.00%          0.00
         8,103.01     38.53%        6,696.00    43.24%     1,407.01       4,007.26      26.46%       4,095.75   Cooks-Line Cooks                                        34,083.81    28.59%    32,616.00    42.71%      1,467.81      26,300.26     36.30%     7,783.55
         4,157.38     19.77%            0.00     0.00%     4,157.38           0.00       0.00%       4,157.38   Service Charges Paid                                    19,605.97    16.44%         0.00     0.00%     19,605.97           0.00      0.00%    19,605.97
       12,260.39     58.29%        6,696.00    43.24%     5,564.39       4,007.26      26.46%       8,253.13    Total Food Admin Non-Management                        53,689.78    45.03%    32,616.00    42.71%     21,073.78      26,300.26     36.30%    27,389.52

       12,260.39     58.29%        6,696.00    43.24%     5,564.39       4,007.26      26.46%       8,253.13    Total Food Admin Salaries and Wages                    53,689.78    45.03%    32,616.00    42.71%     21,073.78      26,300.26     36.30%    27,389.52

                                                                                                                PR Taxes and Benefits

         1,334.10      6.34%          512.24     3.31%       821.86       1,278.24       8.44%          55.86   FICA                                                     5,794.41     4.86%     2,495.11      3.27%     3,299.30       4,907.07      6.77%       887.34
             6.72      0.03%            6.03     0.04%         0.69         372.93       2.46%        -366.21   Federal Unemployment Tax                                   257.07     0.22%        89.63      0.12%       167.44         613.23      0.85%      -356.16
            98.66      0.47%           36.16     0.23%        62.50         190.37       1.26%         -91.71   State Unemployment Tax                                   1,394.34     1.17%       757.00      0.99%       637.34       1,386.41      1.91%         7.93
        1,439.48      6.84%          554.43     3.58%       885.05       1,841.54      12.16%        -402.06    Total Payroll Taxes                                     7,445.82     6.24%     3,341.74      4.38%     4,104.08       6,906.71      9.53%       539.11
             0.00      0.00%            0.00     0.00%         0.00           0.00       0.00%           0.00   Holiday                                                    398.40     0.33%         0.00      0.00%       398.40         445.12      0.61%       -46.72
           218.08      1.04%            0.00     0.00%       218.08           0.00       0.00%         218.08   Vacation                                                 1,152.64     0.97%         0.00      0.00%     1,152.64           0.00      0.00%     1,152.64
          218.08      1.04%             0.00    0.00%       218.08            0.00      0.00%         218.08    Total Supplemental Pay                                  1,551.04     1.30%          0.00     0.00%     1,551.04         445.12      0.61%     1,105.92
           504.04      2.40%          284.30     1.84%       219.74           0.00       0.00%         504.04   Worker's Compensation                                    2,590.85     2.17%     1,377.28      1.80%     1,213.57           0.00      0.00%     2,590.85
          -386.58     -1.84%            0.00     0.00%      -386.58        -454.16      -3.00%          67.58   Group Insurance                                            391.79     0.33%         0.00      0.00%       391.79        -380.37     -0.52%       772.16
             0.00      0.00%            0.00     0.00%         0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                                 16,932.71    14.20%         0.00      0.00%    16,932.71           0.00      0.00%    16,932.71
          117.46      0.56%          284.30     1.84%      -166.84        -454.16      -3.00%         571.62    Total Other Benefits                                   19,915.35    16.70%     1,377.28      1.80%    18,538.07        -380.37     -0.52%    20,295.72

       14,035.41     66.73%        7,534.73    48.66%     6,500.68       5,394.64      35.63%       8,640.77    Total Food Admin PR Taxes and Benefits                 82,601.99    69.28%    37,335.02    48.89%     45,266.97      33,271.72     45.92%    49,330.27

       26,295.80    125.02%       14,230.73    91.90%    12,065.07       9,401.90      62.09%      16,893.90    Total Food Admin Payroll                              136,291.77    114.31%   69,951.02    91.61%     66,340.75      59,571.98     82.22%    76,719.79

                                                                                                                Other Expenses
             0.00         0.00%        75.00     0.48%      -75.00            0.00      0.00%            0.00   China                                                      179.91     0.15%       375.00     0.49%       -195.09           0.00     0.00%        179.91
           665.88         3.17%       150.00     0.97%      515.88          584.88      3.86%           81.00   Cleaning Supplies                                        3,304.63     2.77%       750.00     0.98%      2,554.63       1,179.72     1.63%      2,124.91
             0.00         0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Contract Cleaning                                          554.62     0.47%         0.00     0.00%        554.62           0.00     0.00%        554.62
             0.00         0.00%         0.00     0.00%        0.00        3,322.95     21.95%       -3,322.95   Contract Labor                                             883.07     0.74%         0.00     0.00%        883.07       3,322.95     4.59%     -2,439.88
             0.00         0.00%       100.00     0.65%     -100.00            0.00      0.00%            0.00   Glassware                                                   38.93     0.03%       500.00     0.65%       -461.07           0.00     0.00%         38.93
           270.54         1.29%         0.00     0.00%      270.54            0.00      0.00%          270.54   Guest Supplies                                           1,426.68     1.20%         0.00     0.00%      1,426.68           0.00     0.00%      1,426.68
           136.22         0.65%         0.00     0.00%      136.22            0.00      0.00%          136.22   Kitchen/Cooking Fuel                                       136.22     0.11%         0.00     0.00%        136.22           0.00     0.00%        136.22
             0.00         0.00%       700.00     4.52%     -700.00        1,767.96     11.68%       -1,767.96   Kitchen Equipment                                          613.89     0.51%     3,500.00     4.58%     -2,886.11       2,012.12     2.78%     -1,398.23
           200.00         0.95%       900.00     5.81%     -700.00            0.00      0.00%          200.00   Licenses/Permits                                           220.00     0.18%       900.00     1.18%       -680.00           0.00     0.00%        220.00
             0.00         0.00%         0.00     0.00%        0.00          503.06      3.32%         -503.06   Maintenance Contracts                                        0.00     0.00%         0.00     0.00%          0.00         503.06     0.69%       -503.06
             0.00         0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Miscellaneous Expense                                      324.95     0.27%         0.00     0.00%        324.95           0.00     0.00%        324.95
         1,087.89         5.17%     1,000.00     6.46%       87.89        1,147.53      7.58%          -59.64   Paper/Plastic Supplies                                   5,020.06     4.21%     5,000.00     6.55%         20.06       4,206.36     5.81%        813.70
             0.00         0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Silverware                                                   0.00     0.00%         0.00     0.00%          0.00           8.05     0.01%         -8.05
             0.00         0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Software Expense/Maintenance                                 0.00     0.00%         0.00     0.00%          0.00         519.60     0.72%       -519.60
             0.00         0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Television Cable                                           266.31     0.22%         0.00     0.00%        266.31           0.00     0.00%        266.31
             0.00         0.00%         0.00     0.00%        0.00           72.80      0.48%          -72.80   Training                                                     0.00     0.00%         0.00     0.00%          0.00          72.80     0.10%        -72.80
             0.00         0.00%        50.00     0.32%      -50.00            0.00      0.00%            0.00   Uniforms                                                     0.00     0.00%       250.00     0.33%       -250.00           0.00     0.00%          0.00
           398.37         1.89%        50.00     0.32%      348.37            7.97      0.05%          390.40   Utensils                                                   398.37     0.33%       250.00     0.33%        148.37           7.97     0.01%        390.40

        2,758.90     13.12%        3,025.00    19.54%      -266.10       7,407.15      48.92%      -4,648.25    Total Food Admin Other Expenses                        13,367.64    11.21%    11,525.00    15.09%      1,842.64      11,832.63     16.33%     1,535.01

       29,054.70    138.14%       17,255.73    111.44%   11,798.97      16,809.05     111.01%      12,245.65    Total Food Admin Expenses                             149,659.41    125.52%   81,476.02 106.70%       68,183.39      71,404.61     98.55%    78,254.80
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              PTD     %       PTD Budget     %         Variance   PTD Last Year     %           Variance                                                               YTD     %        YTD Budget %            Variance   YTD Last Year   %       Variance


       38,990.76    185.38%   21,746.29    140.44%   17,244.47      21,546.76     142.30%     17,444.00    Departmental Costs                                    204,205.44   171.27%   103,602.82 135.68%   100,602.62     121,138.37 167.20%   83,067.07




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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %           Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %        Variance

                                                                                                           Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%          0.00    Less Adjustments                                            0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%        0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Revenue                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales
             0.00         0.00%         0.00   0.00%      0.00          518.16      0.00%       -518.16    Beverage Purchases                                          0.00   0.00%         0.00     0.00%      0.00        5,039.14    0.00%   -5,039.14

             0.00     0.00%            0.00    0.00%      0.00         518.16       0.00%       -518.16    Total Beverage Admin Cost of Sales                          0.00   0.00%        0.00      0.00%      0.00       5,039.14     0.00%   -5,039.14

                                                                                                           Expenses
                                                                                                           Other Expenses
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%          0.00    Licenses/Permits                                            0.00   0.00%         0.00     0.00%      0.00        6,793.00    0.00%   -6,793.00
             0.00         0.00%         0.00   0.00%      0.00           37.13      0.00%        -37.13    Software Expense/Maintenance                                0.00   0.00%         0.00     0.00%      0.00          199.26    0.00%     -199.26

             0.00     0.00%            0.00    0.00%      0.00           37.13      0.00%        -37.13    Total Beverage Admin Other Expenses                         0.00   0.00%        0.00      0.00%      0.00       6,992.26     0.00%   -6,992.26

             0.00     0.00%            0.00    0.00%      0.00           37.13      0.00%        -37.13    Total Beverage Admin Expenses                               0.00   0.00%        0.00      0.00%      0.00       6,992.26     0.00%   -6,992.26

             0.00     0.00%            0.00    0.00%      0.00          -37.13      0.00%         37.13    Departmental Costs                                          0.00   0.00%        0.00      0.00%      0.00      -6,992.26     0.00%   6,992.26




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                                                                                             Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %            Variance                                                                YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                            Restaurant 1
                                                                                                            Food Revenue
         6,053.25     34.70%     4,775.65    36.22%   1,277.60        4,562.15     30.74%        1,491.10   Food-Breakfast                                          37,545.99    37.91%    23,493.69     36.22%    14,052.30       27,573.45    41.16%      9,972.54
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%            0.00   Food-Lunch                                                 220.00     0.22%         0.00      0.00%       220.00          128.75     0.19%         91.25
         5,309.13     30.43%     4,067.30    30.85%   1,241.83        5,891.65     39.70%         -582.52   Food-Dinner                                             27,954.82    28.23%    20,008.98     30.85%     7,945.84       19,421.64    28.99%      8,533.18

       11,362.38     65.13%     8,842.95    67.07%    2,519.43      10,453.80      70.45%         908.58    Restaurant 1 Food Revenue                              65,720.81    66.36%    43,502.67    67.07%     22,218.14       47,123.84     70.34%    18,596.97
            0.00       0.00%        0.00      0.00%       0.00           0.00        0.00%          0.00    Food-Adjustments-A&G                                      -192.77    -0.19%        0.00      0.00%       -192.77           0.00       0.00%      -192.77
            0.00       0.00%        0.00      0.00%       0.00           0.00        0.00%          0.00    Less: Allowances                                          -192.77    -0.19%        0.00      0.00%       -192.77           0.00       0.00%      -192.77

       11,362.38     65.13%     8,842.95    67.07%    2,519.43      10,453.80      70.45%         908.58    Total Restaurant 1 Food Revenue                        65,528.04    66.17%    43,502.67    67.07%     22,025.37       47,123.84     70.34%    18,404.20

                                                                                                            Beverage Revenue
         3,412.35     19.56%     2,559.20    19.41%     853.15        2,238.60     15.09%        1,173.75   Liquor                                                  18,051.16    18.23%    12,589.92     19.41%     5,461.24       11,754.66    17.55%      6,296.50
         1,939.00     11.11%     1,256.75     9.53%     682.25        1,684.37     11.35%          254.63   Beer                                                    10,994.85    11.10%     6,182.55      9.53%     4,812.30        6,074.97     9.07%      4,919.88
           733.00      4.20%       525.55     3.99%     207.45          461.99      3.11%          271.01   Wine                                                     4,493.50     4.54%     2,585.43      3.99%     1,908.07        2,039.09     3.04%      2,454.41

        6,084.35     34.87%     4,341.50    32.93%    1,742.85       4,384.96      29.55%       1,699.39    Restaurant 1 Beverage Revenue                          33,539.51    33.87%    21,357.90    32.93%     12,181.61       19,868.72     29.66%    13,670.79
            0.00       0.00%        0.00      0.00%       0.00           0.00        0.00%          0.00    Beverage-Adjustments-A&G                                   -30.32    -0.03%        0.00      0.00%        -30.32           0.00       0.00%       -30.32
            0.00       0.00%        0.00      0.00%       0.00           0.00        0.00%          0.00    Less: Allowances                                           -30.32    -0.03%        0.00      0.00%        -30.32           0.00       0.00%       -30.32

        6,084.35     34.87%     4,341.50    32.93%    1,742.85       4,384.96      29.55%       1,699.39    Total Restaurant 1 Beverage Revenue                    33,509.19    33.83%    21,357.90    32.93%     12,151.29       19,868.72     29.66%    13,640.47

       17,446.73    100.00%    13,184.45    100.00%   4,262.28      14,838.76     100.00%       2,607.97    Total Restaurant 1 Revenue                             99,037.23    100.00%   64,860.57 100.00%       34,176.66       66,992.56 100.00%       32,044.67

                                                                                                            Cost of Sales

             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 1 Cost of Sales                            0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

       17,446.73    100.00%    13,184.45    100.00%   4,262.28      14,838.76     100.00%       2,607.97    Restaurant 1 Gross Profit                              99,037.23    100.00%   64,860.57 100.00%       34,176.66       66,992.56 100.00%       32,044.67

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%            0.00   Total Restaurant 1 Management                                0.00    0.00%          0.00    0.00%            0.00           0.00     0.00%          0.00
         8,301.70     47.58%     2,480.00    18.81%    5,821.70           0.00       0.00%       8,301.70   Bartenders                                               8,301.70     8.38%    12,080.00    18.62%      -3,778.30           0.00      0.00%     8,301.70
         1,394.09      7.99%     3,542.86    26.87%   -2,148.77       6,527.96      43.99%      -5,133.87   Servers                                                  8,209.59     8.29%    17,257.15    26.61%      -9,047.56      24,362.49     36.37%   -16,152.90
        9,695.79     55.57%     6,022.86    45.68%    3,672.93       6,527.96      43.99%       3,167.83    Total Restaurant 1 Non-Management                      16,511.29    16.67%    29,337.15    45.23%     -12,825.86      24,362.49     36.37%    -7,851.20

        9,695.79     55.57%     6,022.86    45.68%    3,672.93       6,527.96      43.99%       3,167.83    Total Restaurant 1 Salaries and Wages                  16,511.29    16.67%    29,337.15    45.23%     -12,825.86      24,362.49     36.37%    -7,851.20

                                                                                                            PR Taxes and Benefits
             0.00      0.00%       612.04     4.64%     -612.04           0.00       0.00%           0.00   FICA                                                        0.00      0.00%     2,988.56      4.61%     -2,988.56           0.00      0.00%         0.00
             0.00      0.00%         7.20     0.05%       -7.20           0.00       0.00%           0.00   Federal Unemployment Tax                                    0.00      0.00%       105.11      0.16%       -105.11           0.00      0.00%         0.00
             0.00      0.00%        43.20     0.33%      -43.20           0.00       0.00%           0.00   State Unemployment Tax                                      0.00      0.00%       897.35      1.38%       -897.35           0.00      0.00%         0.00
             0.00     0.00%       662.44     5.02%     -662.44            0.00      0.00%            0.00   Total Payroll Taxes                                         0.00     0.00%     3,991.02      6.15%     -3,991.02            0.00     0.00%          0.00
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%            0.00   Total Supplemental Pay                                      0.00     0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%       255.72     1.94%     -255.72         373.46       2.52%        -373.46   Worker's Compensation                                       0.00      0.00%     1,238.82      1.91%     -1,238.82       1,897.91      2.83%    -1,897.91
             0.00     0.00%       255.72     1.94%     -255.72         373.46       2.52%        -373.46    Total Other Benefits                                        0.00     0.00%     1,238.82      1.91%     -1,238.82       1,897.91      2.83%    -1,897.91

             0.00     0.00%       918.16     6.96%     -918.16         373.46       2.52%        -373.46    Total Restaurant 1 PR Taxes and Benefits                    0.00     0.00%     5,229.84      8.06%     -5,229.84       1,897.91      2.83%    -1,897.91

        9,695.79     55.57%     6,941.02    52.65%    2,754.77       6,901.42      46.51%       2,794.37    Total Restaurant 1 Payroll                             16,511.29    16.67%    34,566.99    53.29%     -18,055.70      26,260.40     39.20%    -9,749.11

                                                                                                            Other Expenses
             0.00      0.00%        0.00      0.00%       0.00          140.58       0.95%        -140.58   Guest Loss/Damage                                           0.00      0.00%        0.00       0.00%         0.00          140.58      0.21%      -140.58
             0.00     0.00%         0.00     0.00%        0.00         140.58       0.95%        -140.58    Total Restaurant 1 Other Expenses                           0.00     0.00%         0.00      0.00%          0.00         140.58      0.21%      -140.58

        9,695.79     55.57%     6,941.02    52.65%    2,754.77       7,042.00      47.46%       2,653.79    Total Restaurant 1 Expenses                            16,511.29    16.67%    34,566.99    53.29%     -18,055.70      26,400.98     39.41%    -9,889.69
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                                                                                          Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                       As of 5/31/2022
              PTD     %       PTD Budget    %        Variance   PTD Last Year     %           Variance                                                               YTD     %       YTD Budget %           Variance   YTD Last Year    %         Variance


        7,750.94     44.43%    6,243.43    47.35%   1,507.51       7,796.76      52.54%        -45.82    Total Restaurant 1 Profit (Loss)                       82,525.94   83.33%   30,293.58   46.71%   52,232.36      40,591.58     60.59%   41,934.36




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                                                                                           Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                             Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Room Service
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Room Service Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%        0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Room Service Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Room Service Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%        0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Room Service Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Revenue

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Room Service Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Room Service Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Room Service Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Room Service Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Total Room Service Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
        -6,169.35      0.00%        0.00     0.00%    -6,169.35           0.00       0.00%      -6,169.35   Bartenders                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
       -6,169.35      0.00%         0.00    0.00%    -6,169.35            0.00      0.00%      -6,169.35    Total Room Service Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

       -6,169.35      0.00%         0.00    0.00%    -6,169.35            0.00      0.00%      -6,169.35    Total Room Service Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Room Service PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

       -6,169.35      0.00%         0.00    0.00%    -6,169.35            0.00      0.00%      -6,169.35    Total Room Service Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00      0.00%        0.00     0.00%        0.00            0.00       0.00%          0.00    Paper/Plastic Supplies                                      0.00    0.00%        0.00       0.00%      0.00          190.74     0.00%    -190.74
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Total Room Service Other Expenses                           0.00   0.00%         0.00      0.00%       0.00         190.74     0.00%    -190.74

       -6,169.35      0.00%         0.00    0.00%    -6,169.35            0.00      0.00%      -6,169.35    Total Room Service Expenses                                 0.00   0.00%         0.00      0.00%       0.00         190.74     0.00%    -190.74

        6,169.35      0.00%         0.00    0.00%    6,169.35             0.00      0.00%       6,169.35    Total Room Service Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00        -190.74     0.00%    190.74




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              PTD     %           PTD Budget     %        Variance   PTD Last Year     %            Variance                                                                YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                               Banquets
                                                                                                               Food Revenue
             0.00         0.00%         0.00     0.00%        0.00           0.00       0.00%          0.00    Food-Breakfast                                               0.00     0.00%         0.00      0.00%        0.00         606.90    11.12%      -606.90
             0.00         0.00%     1,000.00    43.48%   -1,000.00         303.00     100.00%       -303.00    Food-Lunch                                               7,393.00    36.61%     5,000.00     43.48%    2,393.00       2,346.00    42.97%     5,047.00
             0.00         0.00%       300.00    13.04%     -300.00           0.00       0.00%          0.00    Food-Breaks                                                211.00     1.04%     1,500.00     13.04%   -1,289.00         342.25     6.27%      -131.25

             0.00     0.00%        1,300.00    56.52%    -1,300.00        303.00     100.00%        -303.00    Banquets Food Revenue                                   7,604.00    37.65%     6,500.00    56.52%     1,104.00       3,295.15     60.35%     4,308.85
             0.00      0.00%           0.00      0.00%        0.00          0.00        0.00%          0.00    Less: Allowances                                            0.00      0.00%        0.00      0.00%        0.00           0.00       0.00%        0.00

             0.00     0.00%        1,300.00    56.52%    -1,300.00        303.00     100.00%        -303.00    Total Banquets Food Revenue                             7,604.00    37.65%     6,500.00    56.52%     1,104.00       3,295.15     60.35%     4,308.85

                                                                                                               Beverage Revenue

             0.00     0.00%            0.00     0.00%        0.00            0.00      0.00%           0.00    Banquets Beverage Revenue                                   0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00
             0.00      0.00%           0.00      0.00%       0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00      0.00%        0.00       0.00%       0.00            0.00      0.00%        0.00

             0.00     0.00%            0.00     0.00%        0.00            0.00      0.00%           0.00    Total Banquets Beverage Revenue                             0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

                                                                                                               Other Revenue
             0.00     0.00%             0.00     0.00%        0.00           0.00      0.00%            0.00   Audio/Visual Income                                        150.00     0.74%         0.00      0.00%     150.00            0.00     0.00%       150.00
             0.00     0.00%             0.00     0.00%        0.00           0.00      0.00%            0.00   Setup Fee                                                    0.00     0.00%         0.00      0.00%       0.00          639.81    11.72%      -639.81
         3,586.00   100.00%         1,000.00    43.48%    2,586.00           0.00      0.00%        3,586.00   Public Room Rental                                      12,440.00    61.60%     5,000.00     43.48%   7,440.00        1,525.00    27.93%    10,915.00

        3,586.00    100.00%        1,000.00    43.48%    2,586.00            0.00      0.00%       3,586.00    Total Banquets Other Revenue                           12,590.00    62.35%     5,000.00    43.48%     7,590.00       2,164.81     39.65%    10,425.19

        3,586.00    100.00%        2,300.00    100.00%   1,286.00         303.00     100.00%       3,283.00    Total Banquets Revenue                                 20,194.00    100.00%   11,500.00 100.00%       8,694.00       5,459.96 100.00%       14,734.04

                                                                                                               Cost of Sales

             0.00     0.00%            0.00     0.00%        0.00            0.00      0.00%           0.00    Total Banquets Cost of Sales                                0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

        3,586.00    100.00%        2,300.00    100.00%   1,286.00         303.00     100.00%       3,283.00    Gross Profit                                           20,194.00    100.00%   11,500.00 100.00%       8,694.00       5,459.96 100.00%       14,734.04

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00     0.00%            0.00     0.00%        0.00            0.00      0.00%           0.00    Total Banquets Management                                   0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

             0.00     0.00%            0.00     0.00%        0.00            0.00      0.00%           0.00    Total Banquets Non-Management                               0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

             0.00                      0.00                  0.00            0.00                      0.00    Total Banquets Salaries and Wages                           0.00                   0.00                   0.00            0.00                   0.00

                                                                                                               PR Taxes and Benefits
             0.00      0.00%          20.88      0.91%      -20.88           0.00       0.00%          0.00    FICA                                                        0.00      0.00%       104.40      0.91%     -104.40           0.00      0.00%        0.00
             0.00      0.00%           0.25      0.01%       -0.25           0.00       0.00%          0.00    Federal Unemployment Tax                                    0.00      0.00%         3.77      0.03%       -3.77           0.00      0.00%        0.00
             0.00      0.00%           1.47      0.06%       -1.47           0.00       0.00%          0.00    State Unemployment Tax                                      0.00      0.00%        31.69      0.28%      -31.69           0.00      0.00%        0.00
             0.00     0.00%           22.60     0.98%      -22.60            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00     0.00%       139.86      1.22%     -139.86            0.00     0.00%         0.00
             0.00     0.00%            0.00     0.00%         0.00           0.00      0.00%           0.00    Total Supplemental Pay                                      0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%            0.00     0.00%         0.00           0.00      0.00%           0.00    Total Other Benefits                                        0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00

             0.00                     22.60                -22.60            0.00                      0.00    Total Banquet Benefits                                      0.00                 139.86                -139.86            0.00                   0.00

             0.00     0.00%           22.60     0.98%      -22.60            0.00      0.00%           0.00    Total Banquets Payroll                                      0.00     0.00%       139.86      1.22%     -139.86            0.00     0.00%         0.00

                                                                                                               Other Expenses
             0.00     0.00%            0.00     0.00%        0.00            0.00      0.00%           0.00    Total Banquets Other Expenses                               0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

             0.00     0.00%           22.60     0.98%      -22.60            0.00      0.00%           0.00    Total Banquets Expenses                                     0.00     0.00%       139.86      1.22%     -139.86            0.00     0.00%         0.00

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              PTD     %       PTD Budget    %        Variance   PTD Last Year     %           Variance                                                               YTD     %        YTD Budget %          Variance   YTD Last Year   %       Variance


        3,586.00    100.00%    2,277.40    99.02%   1,308.60         303.00     100.00%      3,283.00    Total Banquets Profit (Loss)                           20,194.00   100.00%   11,360.14   98.78%   8,833.86       5,459.96 100.00%   14,734.04




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Catering
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Food Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Beverage Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Gross Profit                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Management                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Non-Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Salaries and Wages                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering PR Taxes and Benefits                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 3
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 4
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 4 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restauarnt 4 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 5
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00          404.08       0.00%        -404.08   Bartenders                                                  0.00    0.00%        0.00       0.00%      0.00          404.08     0.00%    -404.08
             0.00     0.00%         0.00    0.00%       0.00         404.08       0.00%        -404.08    Total Bar 1 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00         404.08     0.00%    -404.08

             0.00     0.00%         0.00    0.00%       0.00         404.08       0.00%        -404.08    Total Bar 1 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00         404.08     0.00%    -404.08

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Worker's Compensation                                       0.00    0.00%        0.00       0.00%      0.00            3.76     0.00%      -3.76
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            3.76    0.00%      -3.76

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            3.76    0.00%      -3.76

             0.00     0.00%         0.00    0.00%       0.00         404.08       0.00%        -404.08    Total Bar 1 Payroll                                         0.00   0.00%         0.00      0.00%       0.00         407.84     0.00%    -407.84

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00         404.08       0.00%        -404.08    Total Bar 1 Expenses                                        0.00   0.00%         0.00      0.00%       0.00         407.84     0.00%    -407.84

             0.00     0.00%         0.00    0.00%       0.00        -404.08       0.00%         404.08    Total Bar 1 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00        -407.84     0.00%    407.84




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expenses
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %            Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                             Telephone
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Local and Long Distance Revenue                             0.00   0.00%          0.00     0.00%       0.00           78.95    87.95%      -78.95
             0.00         0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Other Telephone Revenue                                     0.00   0.00%          0.00     0.00%       0.00           10.82    12.05%      -10.82

             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Telephone Revenue                                           0.00   0.00%         0.00      0.00%       0.00           89.77 100.00%        -89.77
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00    0.00%         0.00
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Telephone Revenue                                     0.00   0.00%         0.00      0.00%       0.00           89.77 100.00%        -89.77

                                                                                                             Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00          503.38       0.00%        -503.38   Cost of Sales - Local Calls                                 0.00    0.00%        0.00       0.00%      0.00        2,613.30 2,911.11%    -2,613.30
             0.00      0.00%           0.00     0.00%      0.00        1,147.39       0.00%      -1,147.39   Cost of Sales - Long Distance                               0.00    0.00%        0.00       0.00%      0.00        5,710.74 6,361.52%    -5,710.74
             0.00     0.00%            0.00    0.00%       0.00       1,650.77       0.00%      -1,650.77    Total Telephone Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00       8,324.049,272.63%     -8,324.04

             0.00     0.00%            0.00    0.00%       0.00      -1,650.77       0.00%       1,650.77    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00      -8,234.27
                                                                                                                                                                                                                                      -9,172.63%      8,234.27

                                                                                                             Other Expenses
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%          0.00    Internet/Web Expense                                        0.00    0.00%        0.00       0.00%      0.00        1,944.59 2,166.19%    -1,944.59
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%           0.00    Total Telephone Other Expenses                              0.00   0.00%         0.00      0.00%       0.00       1,944.592,166.19%     -1,944.59

             0.00     0.00%            0.00    0.00%       0.00      -1,650.77       0.00%       1,650.77    Total Telephone Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00     -10,178.86
                                                                                                                                                                                                                                     -11,338.82%     10,178.86




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              PTD     %        PTD Budget     %         Variance    PTD Last Year     %            Variance                                                                YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                              Minor Operating
                                                                                                              Income
            81.51      1.66%         0.00      0.00%       81.51          500.00      11.03%        -418.49   Rental Income - Other                                   10,043.85    31.23%         0.00   0.00%      10,043.85         975.00      7.20%     9,068.85
            81.51     1.66%          0.00     0.00%        81.51         500.00      11.03%        -418.49    Total Rental Income                                    10,043.85    31.23%          0.00  0.00%      10,043.85         975.00      7.20%     9,068.85
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Vending Commissions Other                                    0.00     0.00%         0.00   0.00%           0.00          49.75      0.37%        -49.75
             0.00     0.00%          0.00     0.00%          0.00           0.00      0.00%            0.00   Total Vending Commission Income                              0.00    0.00%          0.00  0.00%            0.00          49.75     0.37%        -49.75
         1,643.65     33.45%         0.00      0.00%    1,643.65        2,071.81      45.70%        -428.16   Cancellation Fee - Rooms                                 8,101.19    25.19%         0.00   0.00%       8,101.19       8,639.66     63.80%      -538.47
        1,643.65     33.45%          0.00     0.00%    1,643.65        2,071.81      45.70%        -428.16    Total Cancellation Fee Income                           8,101.19    25.19%          0.00  0.00%       8,101.19       8,639.66     63.80%      -538.47
            22.00      0.45%        25.00      1.27%        -3.00           0.00       0.00%          22.00   Guest Laundry                                               63.57     0.20%       125.00   1.29%         -61.43           0.00      0.00%         63.57
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Interest Earned                                              0.00     0.00%         0.00   0.00%           0.00         -14.85     -0.11%         14.85
            39.60      0.81%       100.00      5.09%      -60.40           84.15       1.86%         -44.55   Internet Access                                            405.90     1.26%       500.00   5.17%         -94.10         529.75      3.91%      -123.85
             0.00      0.00%        10.00      0.51%      -10.00            0.00       0.00%           0.00   Telephone Revenue                                            0.00     0.00%        50.00   0.52%         -50.00      -6,465.34    -47.74%     6,465.34
           670.50     13.65%         0.00      0.00%      670.50            0.00       0.00%         670.50   Other Revenue 3                                          1,568.41     4.88%         0.00   0.00%       1,568.41           0.00      0.00%     1,568.41
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Other Revenue 4                                              0.00     0.00%         0.00   0.00%           0.00          64.93      0.48%        -64.93
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Parking Revenue                                             35.00     0.11%         0.00   0.00%          35.00           0.00      0.00%         35.00
         2,456.11     49.99%     1,828.00     93.12%      628.11        1,877.08      41.41%         579.03   Gift Shop Sales                                         11,945.50    37.14%     8,992.80  93.02%       2,952.70       9,762.54     72.09%     2,182.96
        3,188.21     64.89%     1,963.00    100.00%    1,225.21        1,961.23      43.27%       1,226.98    Total Other Income                                     14,018.38    43.58%     9,667.80 100.00%       4,350.58       3,877.03     28.63%    10,141.35

        4,913.37    100.00%     1,963.00    100.00%    2,950.37        4,533.04     100.00%         380.33    Total Minor Operating Income                           32,163.42    100.00%    9,667.80 100.00%      22,495.62      13,541.44 100.00%       18,621.98

                                                                                                              Cost of Sales
            22.00      0.45%        12.50      0.64%        9.50            0.00       0.00%          22.00   Cost of Sales - Guest Laundry                               22.00     0.07%        62.50     0.65%       -40.50           0.00      0.00%        22.00
         3,077.05     62.63%     1,188.20     60.53%    1,888.85        1,429.15      31.53%       1,647.90   Cost of Sales - Gift Shop                               12,011.65    37.35%     5,845.32    60.46%     6,166.33       4,892.61     36.13%     7,119.04
        3,099.05     63.07%     1,200.70     61.17%    1,898.35        1,429.15      31.53%       1,669.90    Total Minor Operated Cost of Sales                     12,033.65    37.41%     5,907.82    61.11%     6,125.83       4,892.61     36.13%     7,141.04

        1,814.32     36.93%       762.30     38.83%    1,052.02        3,103.89      68.47%      -1,289.57    Total Minor Operated Profit (Loss)                     20,129.77    62.59%     3,759.98    38.89%    16,369.79       8,648.83     63.87%    11,480.94




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Arcade
                                                                                                       Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Revenue                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Non-Management                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Salaries and Wages                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade PR Taxes and Benefits                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Payroll                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Other Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Expenses                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Profit (Loss)                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Waterpark
                                                                                                       Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Revenue                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Waterpark Management                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Waterpark Non-Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Profit (Loss)                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %         Variance   PTD Last Year     %           Variance                                                                YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                              Franchise Fees
             0.00         0.00%         0.00    0.00%        0.00          665.32      0.24%        -665.32   Franchise Fees - IT Fees                                     0.00    0.00%         0.00     0.00%        0.00          781.66     0.07%     -781.66
        17,645.73         6.35%    15,865.46    5.89%    1,780.27       14,064.74      5.14%       3,580.99   Franchise Fees - Royalty & Licenses                     76,940.09    5.07%    70,043.22     5.85%    6,896.87       58,119.25     5.12%   18,820.84
             0.00         0.00%         0.00    0.00%        0.00           40.97      0.01%         -40.97   Franchise Fees - Other                                       0.00    0.00%         0.00     0.00%        0.00          157.12     0.01%     -157.12
             0.00         0.00%         0.00    0.00%        0.00        1,173.30      0.43%      -1,173.30   Franchise Fees - Reservations-GDS                            0.00    0.00%         0.00     0.00%        0.00        9,806.88     0.86%   -9,806.88
        17,081.87         6.15%     6,295.82    2.34%   10,786.05        4,383.03      1.60%      12,698.84   Franchise Fees - Frequent Guest                         41,056.24    2.71%    27,794.93     2.32%   13,261.31       22,922.68     2.02%   18,133.56
        14,335.30         5.16%     6,799.48    2.53%    7,535.82       10,996.06      4.02%       3,339.24   Franchise Fees - Marketing Contributions                48,335.95    3.19%    30,018.53     2.51%   18,317.42       45,949.48     4.05%    2,386.47

       49,062.90     17.66%       28,960.76    10.75%   20,102.14      31,323.42      11.46%     17,739.48    Total Franchise Fees                                  166,332.28    10.97%   127,856.68   10.67%    38,475.60     137,737.07     12.14%   28,595.21




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                                                YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
        14,908.30      5.37%    10,777.17    4.00%    4,131.13      10,901.11       3.99%       4,007.19   Management- A&G                                         54,212.64     3.57%     52,022.07     4.34%      2,190.57      47,059.02      4.15%     7,153.62
       14,908.30      5.37%    10,777.17    4.00%    4,131.13      10,901.11       3.99%       4,007.19    Total A&G Management                                   54,212.64     3.57%     52,022.07     4.34%      2,190.57      47,059.02      4.15%     7,153.62
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%            0.00   Total A&G Non-Management                                     0.00    0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
       14,908.30      5.37%    10,777.17    4.00%    4,131.13      10,901.11       3.99%       4,007.19    Total A&G Salaries and Wages                           54,212.64     3.57%     52,022.07     4.34%      2,190.57      47,059.02      4.15%     7,153.62
                                                                                                           PR Taxes and Benefits
         1,388.69      0.50%       856.60    0.32%      532.09       1,231.20       0.45%         157.49   FICA                                                     5,675.78     0.37%      6,074.39     0.51%       -398.61       4,062.84      0.36%     1,612.94
            12.05      0.00%        10.08    0.00%        1.97         314.88       0.12%        -302.83   Federal Unemployment Tax                                   196.53     0.01%        192.84     0.02%          3.69         489.23      0.04%      -292.70
           119.65      0.04%        60.47    0.02%       59.18          98.49       0.04%          21.16   State Unemployment Tax                                   1,065.51     0.07%      1,931.87     0.16%       -866.36         974.15      0.09%        91.36
        1,520.39      0.55%       927.15    0.34%      593.24       1,644.57       0.60%        -124.18    Total Payroll Taxes                                     6,937.82     0.46%      8,199.10     0.68%     -1,261.28       5,526.22      0.49%     1,411.60
             0.00      0.00%       420.20    0.16%     -420.20           0.00       0.00%           0.00   Vacation                                                     0.00     0.00%      1,781.65     0.15%     -1,781.65           0.00      0.00%         0.00
             0.00     0.00%       420.20    0.16%     -420.20            0.00      0.00%            0.00   Total Supplemental Pay                                       0.00    0.00%      1,781.65     0.15%     -1,781.65            0.00     0.00%          0.00
           565.72      0.20%       475.42    0.18%       90.30         291.09       0.11%         274.63   Worker's Compensation                                    2,704.95     0.18%      3,046.86     0.25%       -341.91       1,518.50      0.13%     1,186.45
           205.52      0.07%       315.00    0.12%     -109.48           0.00       0.00%         205.52   Group Insurance                                            205.52     0.01%      1,575.00     0.13%     -1,369.48           0.00      0.00%       205.52
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                                  1,692.00     0.11%     25,600.00     2.14%    -23,908.00           0.00      0.00%     1,692.00
          771.24      0.28%       790.42    0.29%       -19.18        291.09       0.11%         480.15    Total Other Benefits                                    4,602.47     0.30%     30,221.86     2.52%    -25,619.39       1,518.50      0.13%     3,083.97
        2,291.63      0.82%     2,137.77    0.79%      153.86       1,935.66       0.71%         355.97    Total A&G PR Taxes and Benefits                        11,540.29     0.76%     40,202.61     3.36%    -28,662.32       7,044.72      0.62%     4,495.57
       17,199.93      6.19%    12,914.94    4.80%    4,284.99      12,836.77       4.69%       4,363.16    Total A&G Payroll                                      65,752.93     4.34%     92,224.68     7.70%    -26,471.75      54,103.74      4.77%    11,649.19
                                                                                                           Other Expenses
             0.00      0.00%         0.00    0.00%        0.00       1,000.00       0.37%      -1,000.00   Accounting/Audit Fees                                        0.00     0.00%          0.00     0.00%         0.00        5,000.00      0.44%    -5,000.00
         1,772.12      0.64%         0.00    0.00%    1,772.12       2,012.78       0.74%        -240.66   Bad Debt Provision                                       9,749.13     0.64%          0.00     0.00%     9,749.13        4,185.53      0.37%     5,563.60
         1,220.33      0.44%       830.00    0.31%      390.33       1,984.37       0.73%        -764.04   Bank Charges                                             5,529.53     0.36%      4,150.00     0.35%     1,379.53        4,583.53      0.40%       946.00
             0.52      0.00%         0.00    0.00%        0.52       1,429.66       0.52%      -1,429.14   Cash Over/Short                                         -3,014.00    -0.20%          0.00     0.00%    -3,014.00       10,084.94      0.89%   -13,098.94
           128.13      0.05%       200.00    0.07%      -71.87           0.00       0.00%         128.13   Central Office - Travel Rebilled                           387.39     0.03%      1,000.00     0.08%      -612.61        1,064.34      0.09%      -676.95
         1,044.00      0.38%     1,000.00    0.37%       44.00           0.00       0.00%       1,044.00   Central Office - Accounting Fees                         5,044.00     0.33%      5,000.00     0.42%        44.00            0.00      0.00%     5,044.00
             0.00      0.00%         0.00    0.00%        0.00         160.00       0.06%        -160.00   Central Office - IT Fees                                     0.00     0.00%          0.00     0.00%         0.00          800.00      0.07%      -800.00
             0.00      0.00%         0.00    0.00%        0.00         450.90       0.16%        -450.90   Communication Expense                                        0.00     0.00%          0.00     0.00%         0.00          600.90      0.05%      -600.90
         6,900.30      2.48%     6,732.00    2.50%      168.30      13,583.83       4.97%      -6,683.53   Credit Card Commission                                  47,470.49     3.13%     29,945.64     2.50%    17,524.85       20,770.13      1.83%    26,700.36
             0.00      0.00%        89.00    0.03%      -89.00          88.77       0.03%         -88.77   Dues and Subscriptions                                      88.77     0.01%        445.00     0.04%      -356.23          177.54      0.02%       -88.77
           656.15      0.24%       250.00    0.09%      406.15         321.97       0.12%         334.18   Employee Relations                                       1,942.00     0.13%      2,045.00     0.17%      -103.00          731.56      0.06%     1,210.44
           253.75      0.09%         0.00    0.00%      253.75         253.75       0.09%           0.00   Equipment Rental                                         1,165.09     0.08%          0.00     0.00%     1,165.09        1,013.59      0.09%       151.50
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Licenses/Permits                                         1,720.00     0.11%      1,900.00     0.16%      -180.00        2,057.31      0.18%      -337.31
             0.00      0.00%        50.00    0.02%      -50.00         115.64       0.04%        -115.64   Meals and Entertainment                                      0.00     0.00%        250.00     0.02%      -250.00          968.40      0.09%      -968.40
            59.07      0.02%         0.00    0.00%       59.07       9,928.03       3.63%      -9,868.96   Miscellaneous Expense                                      296.29     0.02%          0.00     0.00%       296.29       11,002.93      0.97%   -10,706.64
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Office Equipment                                             0.00     0.00%          0.00     0.00%         0.00        1,092.45      0.10%    -1,092.45
             0.00      0.00%         0.00    0.00%        0.00         233.07       0.09%        -233.07   Office Supplies                                              0.00     0.00%          0.00     0.00%         0.00        3,333.06      0.29%    -3,333.06
         1,279.31      0.46%       500.00    0.19%      779.31           0.00       0.00%       1,279.31   Operating Supplies                                       3,037.15     0.20%      2,500.00     0.21%       537.15          344.22      0.03%     2,692.93
             0.00      0.00%       575.14    0.21%     -575.14         166.51       0.06%        -166.51   Payroll Service Fees                                     1,314.57     0.09%      2,868.85     0.24%    -1,554.28          841.28      0.07%       473.29
           276.23      0.10%        50.00    0.02%      226.23          24.82       0.01%         251.41   Postage                                                    705.80     0.05%        250.00     0.02%       455.80          215.46      0.02%       490.34
             0.00      0.00%       300.00    0.11%     -300.00         225.00       0.08%        -225.00   Professional Fees - Legal                               10,062.08     0.66%      1,500.00     0.13%     8,562.08        8,022.78      0.71%     2,039.30
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Professional Fees - Other                                3,437.27     0.23%        650.00     0.05%     2,787.27        2,109.68      0.19%     1,327.59
          -380.00     -0.14%       150.00    0.06%     -530.00           0.00       0.00%        -380.00   Recruitment Advertising                                   -190.00    -0.01%        750.00     0.06%      -940.00        4,630.00      0.41%    -4,820.00
             0.00      0.00%         0.00    0.00%        0.00        -555.05      -0.20%         555.05   Recruitment - Other                                          0.00     0.00%          0.00     0.00%         0.00           32.25      0.00%       -32.25
             0.00      0.00%       300.00    0.11%     -300.00           0.00       0.00%           0.00   Security - Outside                                           0.00     0.00%      1,500.00     0.13%    -1,500.00            0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00       2,037.69       0.75%      -2,037.69   Software Expense/Maintenance                                 0.00     0.00%          0.00     0.00%         0.00        9,155.27      0.81%    -9,155.27
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Training                                                 1,700.00     0.11%      3,690.00     0.31%    -1,990.00        1,500.00      0.13%       200.00
             0.00      0.00%        50.00    0.02%      -50.00       1,058.40       0.39%      -1,058.40   Travel                                                     865.47     0.06%        250.00     0.02%       615.47        2,781.10      0.25%    -1,915.63
             0.00      0.00%         0.00    0.00%        0.00         145.95       0.05%        -145.95   Uniforms                                                    46.99     0.00%          0.00     0.00%        46.99          145.95      0.01%       -98.96
       13,209.91      4.75%    11,076.14    4.11%    2,133.77      34,666.09      12.68%     -21,456.18    Total A&G Other Expenses                               91,358.02     6.02%     58,694.49     4.90%    32,663.53       97,244.20      8.57%    -5,886.18
       30,409.84     10.94%    23,991.08    8.91%    6,418.76      47,502.86      17.37%     -17,093.02    Total A&G Expenses                                    157,110.95    10.36%    150,919.17    12.60%     6,191.78      151,347.94     13.34%     5,763.01




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                                                YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                           IT
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Management                                         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Non-Management                                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Salaries and Wages                                 0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Payroll Taxes                                         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Supplemental Pay                                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Other Benefits                                        0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT PR Taxes and Benefits                              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Payroll                                            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                           Cost of Services
           120.00      0.04%       220.00    0.08%    -100.00            0.00       0.00%         120.00   Cost of Cell Phones                                        459.00    0.03%     1,100.00      0.09%     -641.00           0.00     0.00%       459.00
           523.30      0.19%       571.00    0.21%     -47.70            0.00       0.00%         523.30   Cost of Internet Services                                5,805.73    0.38%     2,855.00      0.24%    2,950.73           0.00     0.00%     5,805.73
         1,834.01      0.66%     1,651.00    0.61%     183.01            0.00       0.00%       1,834.01   Cost of Calls                                            4,963.70    0.33%     8,255.00      0.69%   -3,291.30           0.00     0.00%     4,963.70
        2,477.31      0.89%     2,442.00    0.91%       35.31            0.00      0.00%       2,477.31    Total IT Cost of Services                              11,228.43    0.74%    12,210.00      1.02%     -981.57            0.00    0.00%    11,228.43

                                                                                                           System Costs
         2,108.22      0.76%     2,040.70    0.76%       67.52           0.00       0.00%       2,108.22   Administrative & General                                 5,311.45    0.35%     4,123.50      0.34%    1,187.95           0.00     0.00%     5,311.45
           150.00      0.05%         0.00    0.00%      150.00           0.00       0.00%         150.00   Energy Management                                          200.00    0.01%         0.00      0.00%      200.00           0.00     0.00%       200.00
            38.62      0.01%       100.00    0.04%      -61.38           0.00       0.00%          38.62   Food & Beverage                                            191.61    0.01%       500.00      0.04%     -308.39           0.00     0.00%       191.61
            40.97      0.01%         0.00    0.00%       40.97           0.00       0.00%          40.97   Hardware                                                   463.88    0.03%         0.00      0.00%      463.88           0.00     0.00%       463.88
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%           0.00   Human Resources                                              0.00    0.00%       250.00      0.02%     -250.00           0.00     0.00%         0.00
           277.16      0.10%       180.00    0.07%       97.16           0.00       0.00%         277.16   Information Systems                                      1,317.16    0.09%       900.00      0.08%      417.16           0.00     0.00%     1,317.16
         1,091.52      0.39%         0.00    0.00%    1,091.52           0.00       0.00%       1,091.52   Other                                                    1,261.52    0.08%         0.00      0.00%    1,261.52           0.00     0.00%     1,261.52
           124.72      0.04%       117.00    0.04%        7.72           0.00       0.00%         124.72   Property Ops & Maintenance                                 592.72    0.04%       585.00      0.05%        7.72           0.00     0.00%       592.72
         3,711.92      1.34%       600.00    0.22%    3,111.92           0.00       0.00%       3,711.92   Rooms                                                    4,220.21    0.28%     3,000.00      0.25%    1,220.21           0.00     0.00%     4,220.21
           496.41      0.18%       800.00    0.30%     -303.59           0.00       0.00%         496.41   Sales & Marketing                                        1,985.48    0.13%     4,000.00      0.33%   -2,014.52           0.00     0.00%     1,985.48
        8,039.54      2.89%     3,887.70    1.44%    4,151.84            0.00      0.00%       8,039.54    Total IT Systems                                       15,544.03    1.02%    13,358.50      1.12%    2,185.53            0.00    0.00%    15,544.03

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Other Expenses                                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

       10,516.85      3.78%     6,329.70    2.35%    4,187.15            0.00      0.00%      10,516.85    Total IT Expenses                                      26,772.46    1.77%    25,568.50      2.13%    1,203.96            0.00    0.00%    26,772.46




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                                                                                             Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                            S&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         6,074.19      2.19%     5,641.53    2.10%      432.66        5,706.04       2.09%         368.15   Division Management                                     25,732.38    1.70%    27,122.63      2.26%    -1,390.25      25,818.67     2.28%      -86.29
        6,074.19      2.19%     5,641.53    2.10%      432.66        5,706.04       2.09%         368.15    Total S&M Management                                   25,732.38    1.70%    27,122.63      2.26%    -1,390.25      25,818.67     2.28%      -86.29
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%            0.00   Total S&M Non-Management                                     0.00   0.00%          0.00     0.00%          0.00           0.00    0.00%         0.00

        6,074.19      2.19%     5,641.53    2.10%      432.66        5,706.04       2.09%         368.15    Total S&M Salaries and Wages                           25,732.38    1.70%    27,122.63      2.26%    -1,390.25      25,818.67     2.28%      -86.29

                                                                                                            PR Taxes and Benefits
           509.97      0.18%       704.65    0.26%      -194.68         644.48       0.24%        -134.51   FICA                                                     2,074.95    0.14%     2,658.66      0.22%      -583.71       2,165.98     0.19%      -91.03
             2.19      0.00%         8.29    0.00%        -6.10          54.41       0.02%         -52.22   Federal Unemployment Tax                                   104.31    0.01%        92.59      0.01%        11.72         150.16     0.01%      -45.85
            35.79      0.01%        49.74    0.02%       -13.95          51.56       0.02%         -15.77   State Unemployment Tax                                     503.36    0.03%       755.00      0.06%      -251.64         532.52     0.05%      -29.16
          547.95      0.20%       762.68    0.28%      -214.73         750.45       0.27%        -202.50    Total Payroll Taxes                                     2,682.62    0.18%     3,506.25      0.29%      -823.63       2,848.66     0.25%     -166.04
             0.00      0.00%       219.60    0.08%      -219.60           0.00       0.00%           0.00   Vacation                                                     0.00    0.00%       931.10      0.08%      -931.10           0.00     0.00%        0.00
             0.00     0.00%       219.60    0.08%      -219.60            0.00      0.00%            0.00   Total Supplemental Pay                                       0.00   0.00%       931.10      0.08%      -931.10            0.00    0.00%         0.00
           276.67      0.10%       391.09    0.15%      -114.42         152.36       0.06%         124.31   Worker's Compensation                                    1,423.44    0.09%     1,488.44      0.12%       -65.00         703.10     0.06%      720.34
          -492.93     -0.18%         0.00    0.00%      -492.93         -30.88      -0.01%        -462.05   Group Insurance                                           -176.99   -0.01%         0.00      0.00%      -176.99        -114.36    -0.01%      -62.63
             0.00      0.00%     3,350.00    1.24%    -3,350.00           0.00       0.00%           0.00   Bonus and Incentive Pay                                  4,187.50    0.28%     6,700.00      0.56%    -2,512.50           0.00     0.00%    4,187.50
         -216.26     -0.08%     3,741.09    1.39%    -3,957.35         121.48       0.04%        -337.74    Total Other Benefits                                    5,433.95    0.36%     8,188.44      0.68%    -2,754.49         588.74     0.05%    4,845.21
          331.69      0.12%     4,723.37    1.75%    -4,391.68         871.93       0.32%        -540.24    Total S&M PR Taxes and Benefits                         8,116.57    0.54%    12,625.79      1.05%    -4,509.22       3,437.40     0.30%    4,679.17

        6,405.88      2.31%    10,364.90    3.85%    -3,959.02       6,577.97       2.41%        -172.09    Total S&M Payroll                                      33,848.95    2.23%    39,748.42      3.32%    -5,899.47      29,256.07     2.58%    4,592.88

                                                                                                            Other Expenses
             0.00      0.00%       200.00    0.07%     -200.00          476.30       0.17%        -476.30   Advertising General                                          0.00    0.00%     1,000.00      0.08%   -1,000.00        1,428.90     0.13%   -1,428.90
           868.79      0.31%       815.00    0.30%       53.79            0.00       0.00%         868.79   Advertising-Web/Internet                                 2,975.02    0.20%     2,980.00      0.25%       -4.98       -1,432.27    -0.13%    4,407.29
         1,479.61      0.53%     1,897.29    0.70%     -417.68        1,088.00       0.40%         391.61   Dues and Subscriptions                                   7,031.61    0.46%     9,420.73      0.79%   -2,389.12        7,663.00     0.68%     -631.39
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Office Supplies                                              0.00    0.00%         0.00      0.00%        0.00          144.69     0.01%     -144.69
            31.91      0.01%         0.00    0.00%       31.91            0.00       0.00%          31.91   Printing and Stationery                                     31.91    0.00%         0.00      0.00%       31.91            0.00     0.00%       31.91
           795.73      0.29%       200.00    0.07%      595.73           77.44       0.03%         718.29   Promotions - In-house                                    5,722.68    0.38%     1,000.00      0.08%    4,722.68          185.69     0.02%    5,536.99
             0.00      0.00%         0.00    0.00%        0.00          333.60       0.12%        -333.60   Software Expense/Maintenance                                 0.00    0.00%         0.00      0.00%        0.00        6,195.77     0.55%   -6,195.77
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Training                                                   550.00    0.04%         0.00      0.00%      550.00          995.00     0.09%     -445.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Travel                                                     260.96    0.02%         0.00      0.00%      260.96            0.00     0.00%      260.96
        3,176.04      1.14%     3,112.29    1.16%        63.75       1,975.34       0.72%       1,200.70    Total S&M Other Expenses                               16,572.18    1.09%    14,400.73      1.20%    2,171.45       15,180.78     1.34%    1,391.40

        9,581.92      3.45%    13,477.19    5.00%    -3,895.27       8,553.31       3.13%       1,028.61    Total S&M Expenses                                     50,421.13    3.32%    54,149.15      4.52%    -3,728.02      44,436.85     3.92%    5,984.28




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                                                                                            Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           R&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
           191.62      0.07%         0.00    0.00%      191.62       1,769.96       0.65%      -1,578.34   Division Management                                        191.62    0.01%         0.00      0.00%       191.62       3,473.13     0.31%    -3,281.51
          191.62      0.07%          0.00   0.00%      191.62       1,769.96       0.65%      -1,578.34    Total R&M Management                                      191.62    0.01%          0.00     0.00%       191.62       3,473.13     0.31%    -3,281.51
         3,227.76      1.16%     3,011.43    1.12%      216.33           0.00       0.00%       3,227.76   Engineering Supervisor                                  16,020.29    1.06%    14,668.58      1.22%     1,351.71           0.00     0.00%    16,020.29
         2,235.48      0.80%     3,365.71    1.25%   -1,130.23       5,090.89       1.86%      -2,855.41   Engineers 1                                              9,898.48    0.65%    16,394.27      1.37%    -6,495.79      14,918.19     1.31%    -5,019.71
        5,463.24      1.97%     6,377.14    2.37%     -913.90       5,090.89       1.86%         372.35    Total R&M Non-Management                               25,918.77    1.71%    31,062.85      2.59%    -5,144.08      14,918.19     1.31%    11,000.58

        5,654.86      2.04%     6,377.14    2.37%     -722.28       6,860.85       2.51%      -1,205.99    Total R&M Salaries and Wages                           26,110.39    1.72%    31,062.85      2.59%    -4,952.46      18,391.32     1.62%     7,719.07

                                                                                                           PR Taxes and Benefits
           439.26      0.16%       487.85    0.18%     -48.59          782.08       0.29%        -342.82   FICA                                                     2,073.31    0.14%     2,376.30      0.20%     -302.99        1,533.30     0.14%       540.01
             2.44      0.00%         5.74    0.00%      -3.30          213.21       0.08%        -210.77   Federal Unemployment Tax                                    93.50    0.01%        85.35      0.01%        8.15          305.00     0.03%      -211.50
            36.98      0.01%        34.44    0.01%       2.54          152.58       0.06%        -115.60   State Unemployment Tax                                     514.05    0.03%       720.94      0.06%     -206.89          387.99     0.03%       126.06
          478.68      0.17%       528.03    0.20%     -49.35        1,147.87       0.42%        -669.19    Total Payroll Taxes                                     2,680.86    0.18%     3,182.59      0.27%     -501.73        2,226.29     0.20%       454.57
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00   Holiday                                                    240.00    0.02%         0.00      0.00%      240.00          104.00     0.01%       136.00
           468.00      0.17%         0.00    0.00%     468.00            0.00       0.00%         468.00   Vacation                                                   468.00    0.03%         0.00      0.00%      468.00            0.00     0.00%       468.00
          468.00      0.17%          0.00   0.00%     468.00             0.00      0.00%         468.00    Total Supplemental Pay                                    708.00    0.05%          0.00     0.00%      708.00          104.00     0.01%       604.00
           283.67      0.10%       270.76    0.10%      12.91           94.21       0.03%         189.46   Worker's Compensation                                    1,318.13    0.09%     1,311.69      0.11%        6.44          426.23     0.04%       891.90
           -91.78     -0.03%         0.00    0.00%     -91.78            0.00       0.00%         -91.78   Group Insurance                                          3,445.36    0.23%         0.00      0.00%    3,445.36            0.00     0.00%     3,445.36
          191.89      0.07%       270.76    0.10%     -78.87            94.21      0.03%           97.68   Total Other Benefits                                    4,763.49    0.31%     1,311.69      0.11%    3,451.80          426.23     0.04%     4,337.26
        1,138.57      0.41%       798.79    0.30%     339.78        1,242.08       0.45%        -103.51    Total R&M PR Taxes and Benefits                         8,152.35    0.54%     4,494.28      0.38%    3,658.07        2,756.52     0.24%     5,395.83

        6,793.43      2.44%     7,175.93    2.66%     -382.50       8,102.93       2.96%      -1,309.50    Total R&M Payroll                                      34,262.74    2.26%    35,557.13      2.97%    -1,294.39      21,147.84     1.86%    13,114.90

                                                                                                           Other Expenses
         1,643.76      0.59%       750.00    0.28%      893.76          33.92       0.01%       1,609.84   Air Conditioning and Refrigeration                       3,196.29    0.21%     3,750.00      0.31%     -553.71        3,383.07     0.30%     -186.78
         2,553.47      0.92%       300.00    0.11%    2,253.47           0.00       0.00%       2,553.47   Building                                                11,360.08    0.75%     1,500.00      0.13%    9,860.08           79.55     0.01%   11,280.53
             0.00      0.00%         0.00    0.00%        0.00         231.77       0.08%        -231.77   Computer Maintenance Repairs & Maintenance                   0.00    0.00%         0.00      0.00%        0.00        1,016.20     0.09%   -1,016.20
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Contract Labor                                           6,555.30    0.43%     5,500.00      0.46%    1,055.30            0.00     0.00%    6,555.30
         1,013.80      0.36%         0.00    0.00%    1,013.80           0.00       0.00%       1,013.80   Curtains and Drapes                                      1,013.80    0.07%         0.00      0.00%    1,013.80            0.00     0.00%    1,013.80
             0.00      0.00%     1,000.00    0.37%   -1,000.00         450.00       0.16%        -450.00   Electric Bulbs                                           1,050.98    0.07%     5,000.00      0.42%   -3,949.02        5,456.70     0.48%   -4,405.72
           710.73      0.26%       250.00    0.09%      460.73         219.21       0.08%         491.52   Electrical and Mechanical                                1,065.52    0.07%     1,250.00      0.10%     -184.48        1,677.84     0.15%     -612.32
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Elevator Maintenance Contracts                             377.84    0.02%         0.00      0.00%      377.84          243.62     0.02%      134.22
             0.00      0.00%         0.00    0.00%        0.00         128.82       0.05%        -128.82   Equipment Maintenance                                        0.00    0.00%         0.00      0.00%        0.00          199.17     0.02%     -199.17
             0.00      0.00%       250.00    0.09%     -250.00         528.60       0.19%        -528.60   Equipment Rental                                             0.00    0.00%     1,250.00      0.10%   -1,250.00        1,699.85     0.15%   -1,699.85
           756.20      0.27%     1,250.00    0.46%     -493.80         351.81       0.13%         404.39   Fire Safety Equipment                                    8,803.93    0.58%     6,250.00      0.52%    2,553.93        8,928.43     0.79%     -124.50
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Floor and Carpet Maintenance                               123.85    0.01%         0.00      0.00%      123.85            0.00     0.00%      123.85
         1,853.78      0.67%     1,411.00    0.52%      442.78       3,428.33       1.25%      -1,574.55   Grounds and Landscaping                                  7,529.59    0.50%     7,055.00      0.59%      474.59        5,996.02     0.53%    1,533.57
           383.48      0.14%       365.00    0.14%       18.48         730.46       0.27%        -346.98   Indoor Plant Maintenance                                 1,935.65    0.13%     1,825.00      0.15%      110.65        2,191.38     0.19%     -255.73
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Kitchen Equipment Repairs                                  172.13    0.01%         0.00      0.00%      172.13            0.00     0.00%      172.13
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Laundry Equipment Repairs                                    0.00    0.00%         0.00      0.00%        0.00           33.23     0.00%      -33.23
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Locks and Keys                                               0.00    0.00%         0.00      0.00%        0.00          802.03     0.07%     -802.03
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Maintenance Contracts                                        0.00    0.00%         0.00      0.00%        0.00          201.83     0.02%     -201.83
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Miscellaneous Expense                                        8.09    0.00%         0.00      0.00%        8.09            0.00     0.00%        8.09
            44.53      0.02%       200.00    0.07%     -155.47          97.68       0.04%         -53.15   Operating Supplies                                         181.63    0.01%     1,000.00      0.08%     -818.37        1,188.80     0.10%   -1,007.17
           106.12      0.04%       100.00    0.04%        6.12          59.73       0.02%          46.39   Painting and Decorating                                    515.58    0.03%       500.00      0.04%       15.58          143.07     0.01%      372.51
           649.50      0.23%       400.00    0.15%      249.50         667.06       0.24%         -17.56   Pest Control                                             2,443.72    0.16%     2,000.00      0.17%      443.72        2,266.44     0.20%      177.28
            82.02      0.03%       550.00    0.20%     -467.98       1,229.45       0.45%      -1,147.43   Plumbing and Heating                                     1,877.76    0.12%     2,750.00      0.23%     -872.24        2,626.65     0.23%     -748.89
             0.00      0.00%         0.00    0.00%        0.00         348.03       0.13%        -348.03   Pool Chemicals                                               0.00    0.00%         0.00      0.00%        0.00        1,740.15     0.15%   -1,740.15
           358.48      0.13%       450.00    0.17%      -91.52         258.70       0.09%          99.78   Pool Service- Contract                                   3,452.96    0.23%     2,250.00      0.19%    1,202.96          258.70     0.02%    3,194.26
             0.00      0.00%       450.00    0.17%     -450.00         300.00       0.11%        -300.00   Radio and Television Repair                                  0.00    0.00%     2,250.00      0.19%   -2,250.00        3,171.10     0.28%   -3,171.10
             0.00      0.00%       400.00    0.15%     -400.00           0.00       0.00%           0.00   Tools                                                      232.45    0.02%     2,000.00      0.17%   -1,767.55          624.63     0.06%     -392.18
             0.00      0.00%       150.00    0.06%     -150.00           0.00       0.00%           0.00   Training                                                     0.00    0.00%       750.00      0.06%     -750.00            0.00     0.00%        0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Travel                                                       0.00    0.00%       500.00      0.04%     -500.00            0.00     0.00%        0.00
             0.00      0.00%       300.00    0.11%     -300.00         559.73       0.20%        -559.73   Vehicle Maintenance & Repairs                              893.70    0.06%     1,500.00      0.13%     -606.30        1,741.68     0.15%     -847.98
           459.04      0.17%       600.00    0.22%     -140.96         459.04       0.17%           0.00   Waste Removal                                            3,194.45    0.21%     3,000.00      0.25%      194.45        2,497.03     0.22%      697.42
             0.00      0.00%       315.00    0.12%     -315.00         315.00       0.12%        -315.00   Water Treatment                                            630.00    0.04%     1,575.00      0.13%     -945.00        1,260.00     0.11%     -630.00
       10,614.91      3.82%     9,491.00    3.52%    1,123.91      10,397.34       3.80%         217.57    Total R&M Other Expenses                               56,615.30    3.73%    53,455.00      4.46%    3,160.30       49,427.17     4.36%    7,188.13
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                                                                              Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 462 of 776
                                                                                        Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                               P&L - Dual Summary Pages
                                                                                                                     As of 5/31/2022
              PTD     %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                                               YTD    %       YTD Budget %            Variance   YTD Last Year   %         Variance


       17,408.34      6.27%   16,666.93    6.19%   741.41       18,500.27       6.77%     -1,091.93    Total R&M Expenses                                     90,878.04   5.99%   89,012.13      7.43%   1,865.91      70,575.01     6.22%   20,303.03




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                                                                                  Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 463 of 776
                                                                                             Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                                    P&L - Dual Summary Pages
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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                                                YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                            Utilities
         2,089.45      0.75%     4,455.75    1.65%    -2,366.30       3,085.57       1.13%        -996.12   Water                                                   20,959.98    1.38%    21,919.95      1.83%       -959.97      16,280.99     1.43%      4,678.99
         8,891.87      3.20%    10,282.50    3.82%    -1,390.63       3,909.92       1.43%       4,981.95   Electricity                                             34,825.19    2.30%    50,584.50      4.22%    -15,759.31      41,433.79     3.65%     -6,608.60
         1,111.22      0.40%       959.70    0.36%       151.52         774.27       0.28%         336.95   Gas - Natural HLP                                        4,782.55    0.32%     4,721.22      0.39%         61.33       4,259.46     0.38%        523.09
             0.00      0.00%         0.00    0.00%         0.00       2,317.70       0.85%      -2,317.70   Sewer                                                        0.00    0.00%         0.00      0.00%          0.00      10,303.05     0.91%    -10,303.05
       12,092.54      4.35%    15,697.95    5.83%    -3,605.41      10,087.46       3.69%       2,005.08    Total Utilities                                        60,567.72    3.99%    77,225.67      6.45%    -16,657.95      72,277.29     6.37%    -11,709.57




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                                                                                              Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %            Variance                                                                YTD    %        YTD Budget %               Variance    YTD Last Year    %           Variance

                                                                                                             Fixed
        16,318.36      5.87%    15,625.44     5.80%       692.92      13,672.60       5.00%       2,645.76   Real Estate Taxes                                       -3,584.79   -0.24%     78,127.20     6.52%    -81,711.99       91,796.90      8.09%    -95,381.69
        24,139.75      8.69%         0.00     0.00%    24,139.75           0.00       0.00%      24,139.75   Other Business Taxes                                    24,139.75    1.59%          0.00     0.00%      24,139.75           0.00      0.00%     24,139.75
       40,458.11     14.56%    15,625.44     5.80%    24,832.67      13,672.60       5.00%      26,785.51    Total Taxes                                            20,554.96    1.36%     78,127.20     6.52%    -57,572.24       91,796.90      8.09%    -71,241.94
           141.59      0.05%       229.00     0.09%       -87.41       1,146.42       0.42%      -1,004.83   Insurance - Automobile                                   1,005.67    0.07%      1,145.00     0.10%        -139.33       1,146.42      0.10%       -140.75
            48.92      0.02%         0.00     0.00%        48.92           0.00       0.00%          48.92   Insurance - Crime                                          244.56    0.02%          0.00     0.00%         244.56           0.00      0.00%        244.56
           303.89      0.11%        93.00     0.03%       210.89         279.82       0.10%          24.07   Insurance - Employment                                   1,519.45    0.10%        465.00     0.04%       1,054.45         466.40      0.04%      1,053.05
         4,524.61      1.63%       259.33     0.10%     4,265.28         519.44       0.19%       4,005.17   Insurance - General Liability                           10,357.51    0.68%      1,296.65     0.11%       9,060.86         865.72      0.08%      9,491.79
         1,918.17      0.69%     1,829.00     0.68%        89.17      -1,997.54      -0.73%       3,915.71   Insurance - Property                                     9,590.85    0.63%      9,145.00     0.76%         445.85           0.00      0.00%      9,590.85
            61.92      0.02%       152.00     0.06%       -90.08           0.00       0.00%          61.92   Insurance - Umbrella                                       309.60    0.02%        760.00     0.06%        -450.40           0.00      0.00%        309.60
        6,999.10      2.52%     2,562.33     0.95%     4,436.77          -51.86     -0.02%       7,050.96    Total Insurance                                        23,027.64    1.52%     12,811.65     1.07%     10,215.99        2,478.54      0.22%     20,549.10
        27,891.00     10.04%    28,547.00    10.60%      -656.00      27,891.00      10.20%           0.00   Ground Lease Expense                                   139,455.00    9.19%    140,111.00    11.70%        -656.00     136,894.96     12.06%      2,560.04
             0.00      0.00%       150.00     0.06%      -150.00           0.00       0.00%           0.00   Operating Leases                                             0.00    0.00%        750.00     0.06%        -750.00           0.00      0.00%          0.00
         1,245.39      0.45%     1,245.00     0.46%         0.39       1,245.39       0.46%           0.00   Vehicle Leases                                           6,226.95    0.41%      6,225.00     0.52%           1.95       4,981.56      0.44%      1,245.39
       29,136.39     10.49%    29,942.00    11.12%      -805.61      29,136.39      10.66%            0.00   Total Leases & Rent                                   145,681.95    9.60%    147,086.00    12.28%      -1,404.05     141,876.52     12.50%      3,805.43
         8,835.63      3.18%     8,078.40     3.00%       757.23       8,202.77       3.00%         632.86   Management Fee - Base                                   47,985.36    3.16%     35,934.76     3.00%      12,050.60      37,822.22      3.33%     10,163.14
        8,835.63      3.18%     8,078.40     3.00%       757.23       8,202.77       3.00%         632.86    Total Management Fees                                  47,985.36    3.16%     35,934.76     3.00%     12,050.60       37,822.22      3.33%     10,163.14
         4,367.47      1.57%         0.00     0.00%     4,367.47           0.00       0.00%       4,367.47   Capital Reserve                                        111,182.38    7.33%          0.00     0.00%    111,182.38        1,363.50      0.12%    109,818.88
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Owner's Expense                                              0.00    0.00%          0.00     0.00%           0.00         949.17      0.08%       -949.17
             0.00      0.00%         0.00     0.00%         0.00       2,794.83       1.02%      -2,794.83   Non Recurring Cost                                       2,896.77    0.19%          0.00     0.00%       2,896.77       2,794.83      0.25%        101.94
        4,367.47      1.57%          0.00    0.00%     4,367.47       2,794.83       1.02%       1,572.64    Total Other Non-Operating                             114,079.15    7.52%           0.00    0.00%    114,079.15        5,107.50      0.45%    108,971.65




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                                                                                                Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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                                                                                                                                As of 5/31/2022
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %               Variance                                                              YTD     %          YTD Budget %                Variance   YTD Last Year    %           Variance

                                                                                                                  Statistics
            92.00                    92.00                   0.00           92.00                          0.00   # Rooms                                                  92.00                     92.00                     0.00           92.00                    0.00
         2,852.00                 2,852.00                   0.00        2,852.00                          0.00   Available Rooms                                      13,892.00                 13,892.00                     0.00       13,892.00                    0.00
         2,237.00                 2,113.00                 124.00        2,343.00                       -106.00   Room Nights Sold                                     10,241.00                  9,431.00                   810.00       10,601.00                 -360.00
          78.44%                   74.09%                  4.35%          82.15%                        -3.72%    Occupancy %                                            73.72%                    67.89%                    5.83%          76.31%                  -2.59%
           118.51                   112.04                   6.47           98.76                         19.75   ADR                                                     114.24                    109.40                     4.84           93.18                   21.06
            92.95                    83.01                   9.94           81.13                         11.82   RevPar                                                   84.22                     74.27                     9.95           71.11                   13.11

                                                                                                                  Summary V.11
                                                                                                                  Revenue
       265,102.86    99.43%    236,746.51     99.22%    28,356.35      231,394.80     97.86%          33,708.06   Rooms                                              1,169,943.62    99.30%    1,031,724.23    99.18%    138,219.39      987,850.14    98.87%    182,093.48
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%               0.00   F&B                                                        0.00     0.00%            0.00     0.00%          0.00            0.00     0.00%          0.00
         1,513.31     0.57%      1,850.85      0.78%      -337.54        5,068.97      2.14%          -3,555.66   Other Departments                                      8,199.35     0.70%        8,535.35     0.82%       -336.00       11,308.38     1.13%     -3,109.03

      266,616.17    100.00%    238,597.36    100.00%   28,018.81      236,463.77     100.00%         30,152.40    Total Operating Revenue                           1,178,142.97    100.00%   1,040,259.58 100.00%      137,883.39      999,158.52 100.00%       178,984.45

                                                                                                                  Departmental Expenses
        54,894.88    20.71%     62,117.02     26.24%     -7,222.14      52,216.29      22.57%          2,678.59   Rooms                                               278,612.19     23.81%     299,378.35     29.02%     -20,766.16     189,623.77     19.20%     88,988.42
             0.00     0.00%          0.00      0.00%          0.00           0.00       0.00%              0.00   F&B                                                   3,249.03      0.00%           0.00      0.00%       3,249.03           0.00      0.00%      3,249.03
         2,027.68   133.99%      1,125.55     60.81%        902.13       5,326.29     105.08%         -3,298.61   Other Departments                                     8,356.90    101.92%       5,160.48     60.46%       3,196.42      33,073.94    292.47%    -24,717.04

       56,922.56     21.35%     63,242.57    26.51%     -6,320.01      57,542.58      24.33%           -620.02    Total Departmental Expenses                        290,218.12     24.63%     304,538.83     29.28%     -14,320.71     222,697.71     22.29%     67,520.41

      209,693.61     78.65%    175,354.79    73.49%    34,338.82      178,921.19      75.67%         30,772.42    Total Departmental Profit                          887,924.85     75.37%     735,720.75     70.72%    152,204.10      776,460.81     77.71%    111,464.04

                                                                                                                  Undistributed Operating Expenses
        20,402.87     7.65%     20,826.73      8.73%      -423.86       24,373.48     10.31%          -3,970.61   A&G                                                 137,902.64     11.71%     123,759.49     11.90%      14,143.15      80,907.01     8.10%     56,995.63
         5,002.11     1.88%      6,666.37      2.79%    -1,664.26            0.00      0.00%           5,002.11   IT                                                   22,950.77      1.95%      27,251.85      2.62%      -4,301.08           0.00     0.00%     22,950.77
        10,869.10     4.08%     12,393.95      5.19%    -1,524.85        1,706.47      0.72%           9,162.63   S&M                                                  50,886.63      4.32%      64,146.74      6.17%     -13,260.11      29,413.04     2.94%     21,473.59
        33,042.74    12.39%     22,609.29      9.48%    10,433.45       23,572.38      9.97%           9,470.36   Franchise Fees                                      115,223.99      9.78%      98,529.68      9.47%      16,694.31     113,605.44    11.37%      1,618.55
        21,098.27     7.91%     12,202.63      5.11%     8,895.64       18,369.86      7.77%           2,728.41   R&M                                                  83,498.12      7.09%      67,496.18      6.49%      16,001.94      56,967.83     5.70%     26,530.29
         6,336.36     2.38%      7,411.89      3.11%    -1,075.53        3,976.21      1.68%           2,360.15   Utilities                                            25,625.56      2.18%      33,509.19      3.22%      -7,883.63      23,165.66     2.32%      2,459.90

       96,751.45     36.29%     82,110.86    34.41%    14,640.59       71,998.40      30.45%         24,753.05    Total Undistributed Expenses                       436,087.71     37.01%     414,693.13     39.86%      21,394.58     304,058.98     30.43%    132,028.73

      112,942.16     42.36%     93,243.93    39.08%    19,698.23      106,922.79      45.22%          6,019.37    Gross Operating Profit                             451,837.14     38.35%     321,027.62     30.86%    130,809.52      472,401.83     47.28%    -20,564.69
         8,499.80      3.19%      7,157.92     3.00%     1,341.88        7,004.62       2.96%          1,495.18   Management Fees                                      37,854.88      3.21%      31,207.79      3.00%      6,647.09       31,912.00      3.19%      5,942.88
      104,442.36     39.17%     86,086.01    36.08%    18,356.35       99,918.17      42.26%          4,524.19    Income Before Non-Operating Income and Expenses    413,982.26     35.14%     289,819.83     27.86%    124,162.43      440,489.83     44.09%    -26,507.57

                                                                                                                  Non-Operating Income and Expenses
         6,738.63      2.53%      5,520.09     2.31%      1,218.54         192.00       0.08%          6,546.63   Insurance                                            20,348.49      1.73%      27,600.45      2.65%      -7,251.96         960.00      0.10%     19,388.49
        31,889.00     11.96%     32,846.10    13.77%       -957.10      31,889.00      13.49%              0.00   Leases & Rent                                       159,446.68     13.53%     160,403.78     15.42%        -957.10     155,733.00     15.59%      3,713.68
        10,998.20      4.13%     35,000.00    14.67%    -24,001.80       9,558.37       4.04%          1,439.83   Other                                                62,278.32      5.29%     234,000.00     22.49%    -171,721.68      28,574.81      2.86%     33,703.51
       49,625.83     18.61%     73,366.19    30.75%    -23,740.36      41,639.37      17.61%          7,986.46    Total Non-Operating Income and Expenses            242,073.49     20.55%     422,004.23     40.57%    -179,930.74     185,267.81     18.54%     56,805.68

       54,816.53     20.56%     12,719.82     5.33%    42,096.71       58,278.80      24.65%         -3,462.27    EBITDA                                             171,908.77     14.59%    -132,184.40 -12.71%       304,093.17      255,222.02     25.54%    -83,313.25
             0.00      0.00%          0.00     0.00%         0.00            0.00       0.00%              0.00   Interest                                                  0.00      0.00%           0.00   0.00%             0.00            0.00      0.00%          0.00
       102,986.51     38.63%     20,496.00     8.59%    82,490.51       40,985.00      17.33%         62,001.51   Taxes                                                 8,763.47      0.74%     102,480.00   9.85%       -93,716.53      102,470.90     10.26%    -93,707.43
      102,986.51     38.63%     20,496.00     8.59%    82,490.51       40,985.00      17.33%         62,001.51    Interest, Taxes, Depreciation and Amortization       8,763.47      0.74%     102,480.00   9.85%       -93,716.53      102,470.90     10.26%    -93,707.43

      -48,169.98    -18.07%     -7,776.18     -3.26%   -40,393.80      17,293.80       7.31%        -65,463.78    Net Income                                         163,145.30     13.85%    -234,664.40 -22.56%       397,809.70      152,751.12     15.29%     10,394.18




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                                                                                            Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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                                                                                                                            As of 5/31/2022
             PTD      %       PTD Budget    %         Variance   PTD Last Year     %               Variance                                                             YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                              Statistics
            92.00                  92.00                 0.00           92.00                          0.00   # Rooms                                                 92.00                    92.00                   0.00           92.00                    0.00
         2,852.00               2,852.00                 0.00        2,852.00                          0.00   Available Rooms                                     13,892.00                13,892.00                   0.00       13,892.00                    0.00
         2,237.00               2,113.00               124.00        2,343.00                       -106.00   Room Nights Sold                                    10,241.00                 9,431.00                 810.00       10,601.00                 -360.00
             0.78                   0.74                 0.04            0.82                         -0.04   Occupancy %                                              0.74                     0.68                   0.06            0.76                   -0.03
           118.51                 112.04                 6.47           98.76                         19.75   ADR                                                    114.24                   109.40                   4.84           93.18                   21.06
            92.95                  83.01                 9.94           81.13                         11.82   RevPar                                                  84.22                    74.27                   9.95           71.11                   13.11

                                                                                                              Summary
                                                                                                              Revenue:
       265,102.86    99.43%   236,746.51   99.22%    28,356.35     231,394.80     97.86%          33,708.06   Rooms                                             1,169,943.62   99.30%    1,031,724.23    99.18%   138,219.39     987,850.14    98.87%    182,093.48
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Food                                                      0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Beverage                                                  0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Other F&B Revenue                                         0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Telephone                                                 0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         1,513.31     0.57%     1,850.85    0.78%      -337.54       5,068.97      2.14%          -3,555.66   Other                                                 8,199.35    0.70%        8,535.35     0.82%      -336.00      11,308.38     1.13%     -3,109.03

       266,616.17   100.00%   238,597.36   100.00%   28,018.81     236,463.77     100.00%         30,152.40   Total Revenue                                     1,178,142.97   100.00%   1,040,259.58   100.00%   137,883.39     999,158.52    100.00%   178,984.45



                                                                                                              Cost of Sales:
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%              0.00    Food                                                      0.00     0.00%           0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%              0.00    Beverage                                                  0.00     0.00%           0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%              0.00    Other F&B                                                 0.00     0.00%           0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%              0.00    Telephone                                                 0.00     0.00%           0.00     0.00%         0.00           0.00     0.00%          0.00
         2,027.68   133.99%     1,125.55   60.81%      902.13        1,293.22     25.51%            734.46    Other                                                 8,356.90   101.92%       5,160.48    60.46%     3,196.42       6,424.94    56.82%      1,931.96

         2,027.68   133.99%     1,125.55   60.81%      902.13        1,293.22     25.51%            734.46    Total Cost of Sales                                   8,356.90   101.92%       5,160.48    60.46%     3,196.42       6,424.94    56.82%      1,931.96



                                                                                                              Payroll:
        24,430.88     9.22%    23,981.22   10.13%       449.66      21,658.48      9.36%           2,772.40   Rooms                                              111,920.86     9.57%     114,569.37     11.10%    -2,648.51      98,469.36     9.97%     13,451.50
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   F&B                                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Other                                                    0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         9,625.96     3.61%     9,851.44    4.13%      -225.48      11,873.07      5.02%          -2,247.11   A&G                                                 48,064.58     4.08%      47,417.97      4.56%       646.61      21,178.06     2.12%     26,886.52
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   IT                                                       0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         4,945.04     1.85%     5,051.18    2.12%      -106.14      -1,511.09     -0.64%           6,456.13   S&M                                                 24,725.24     2.10%      24,575.93      2.36%       149.31      13,599.77     1.36%     11,125.47
         3,696.08     1.39%     6,278.16    2.63%    -2,582.08       4,529.51      1.92%            -833.43   R&M                                                 17,871.88     1.52%      30,245.33      2.91%   -12,373.45      13,186.81     1.32%      4,685.07
        42,697.96    16.01%    45,162.00   18.93%    -2,464.04      36,549.97     15.46%           6,147.99   Total Salaries and Wages                           202,582.56    17.20%     216,808.60     20.84%   -14,226.04     146,434.00    14.66%     56,148.56

         7,053.46     2.65%     8,291.29    3.48%    -1,237.83       5,040.43      2.13%           2,013.03   Total Taxes and Benefits                            69,227.84     5.88%      72,013.40      6.92%    -2,785.56      25,337.50     2.54%     43,890.34
        49,751.42    18.66%    53,453.29   22.40%    -3,701.87      41,590.40     17.59%           8,161.02   Total Labor Costs                                  271,810.40    23.07%     288,822.00     27.76%   -17,011.60     171,771.50    17.19%    100,038.90



                                                                                                              Direct Expenses:
        28,155.22    10.62%    33,787.60   14.27%    -5,632.38      27,444.44     11.86%             710.78   Rooms                                              142,574.18    12.19%     155,090.40     15.03%   -12,516.22      73,400.93      7.43%    69,173.25
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   F&B                                                  3,249.03     0.00%           0.00      0.00%     3,249.03           0.00      0.00%     3,249.03
             0.00     0.00%         0.00    0.00%         0.00       4,033.07     79.56%          -4,033.07   Telephone                                                0.00     0.00%           0.00      0.00%         0.00      26,649.00    235.66%   -26,649.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Other                                                    0.00     0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
        33,042.74    12.39%    22,609.29    9.48%    10,433.45      23,572.38      9.97%           9,470.36   Franchise Fees                                     115,223.99     9.78%      98,529.68      9.47%    16,694.31     113,605.44     11.37%     1,618.55
        10,091.81     3.79%     8,933.28    3.74%     1,158.53      11,128.93      4.71%          -1,037.12   A&G                                                 59,781.50     5.07%      46,164.56      4.44%    13,616.94      57,078.66      5.71%     2,702.84
         5,002.11     1.88%     6,666.37    2.79%    -1,664.26           0.00      0.00%           5,002.11   IT                                                  22,950.77     1.95%      27,251.85      2.62%    -4,301.08           0.00      0.00%    22,950.77
         2,239.80     0.84%     6,369.50    2.67%    -4,129.70       3,363.51      1.42%          -1,123.71   S&M                                                 13,989.64     1.19%      32,462.50      3.12%   -18,472.86      13,291.60      1.33%       698.04
        17,026.87     6.39%     4,996.66    2.09%    12,030.21      13,138.82      5.56%           3,888.05   R&M                                                 62,743.86     5.33%      32,241.30      3.10%    30,502.56      41,368.96      4.14%    21,374.90
         6,336.36     2.38%     7,411.89    3.11%    -1,075.53       3,976.21      1.68%           2,360.15   Utilities                                           25,625.56     2.18%      33,509.19      3.22%    -7,883.63      23,165.66      2.32%     2,459.90

       101,894.91    38.22%    90,774.59   38.05%    11,120.32      86,657.36     36.65%          15,237.55   Total Direct Expense                               446,138.53    37.87%     425,249.48     40.88%    20,889.05     348,560.25    34.89%     97,578.28

       112,942.16    42.36%    93,243.93   39.08%    19,698.23     106,922.79     45.22%           6,019.37   Gross Operating Profit                             451,837.14    38.35%     321,027.62     30.86%   130,809.52     472,401.83    47.28%    -20,564.69

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                                                                                  Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 467 of 776
                                                                                            Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %              Variance                                                            YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance




                                                                                                              Fixed Costs
       102,986.51    38.63%     20,496.00    8.59%   82,490.51       40,985.00     17.33%         62,001.51   Taxes                                                8,763.47    0.74%   102,480.00      9.85%    -93,716.53     102,470.90    10.26%   -93,707.43
         6,738.63     2.53%      5,520.09    2.31%    1,218.54          192.00      0.08%          6,546.63   Insurance                                           20,348.49    1.73%    27,600.45      2.65%     -7,251.96         960.00     0.10%    19,388.49
        31,889.00    11.96%     32,846.10   13.77%     -957.10       31,889.00     13.49%              0.00   Leases & Rent                                      159,446.68   13.53%   160,403.78     15.42%       -957.10     155,733.00    15.59%     3,713.68
         8,499.80     3.19%      7,157.92    3.00%    1,341.88        7,004.62      2.96%          1,495.18   Management Fees                                     37,854.88    3.21%    31,207.79      3.00%      6,647.09      31,912.00     3.19%     5,942.88

       150,113.94    56.30%     66,020.11   27.67%   84,093.83       80,070.62     33.86%         70,043.32   Total Fixed Expenses                               226,413.52   19.22%   321,692.02     30.92%    -95,278.50     291,075.90    29.13%   -64,662.38

       -37,171.78    -13.94%    27,223.82   11.41%   -64,395.60      26,852.17     11.36%        -64,023.95   Net Operating Profit                               225,423.62   19.13%      -664.40     -0.06%   226,088.02      181,325.93    18.15%   44,097.69



             0.00     0.00%          0.00   0.00%         0.00        9,558.37      4.04%         -9,558.37   Non Recurring Cost                                       0.00   0.00%           0.00    0.00%           0.00       9,558.37    0.96%     -9,558.37



       -37,171.78    -13.94%    27,223.82   11.41%   -64,395.60      17,293.80      7.31%        -54,465.58   Net Operating Income                               225,423.62   19.13%      -664.40     -0.06%   226,088.02      171,767.56    17.19%   53,656.06

        10,998.20     4.13%     35,000.00   14.67%   -24,001.80           0.00      0.00%         10,998.20   Capital Reserve                                     62,278.32   5.29%    234,000.00     22.49%   -171,721.68      19,016.44    1.90%    43,261.88

       -48,169.98    -18.07%    -7,776.18   -3.26%   -40,393.80      17,293.80      7.31%        -65,463.78   Adjusted NOI                                       163,145.30   13.85%   -234,664.40   -22.56%   397,809.70      152,751.12    15.29%   10,394.18




       -48,169.98    -18.07%    -7,776.18   -3.26%   -40,393.80      17,293.80      7.31%        -65,463.78   Net Profit/(Loss)                                  163,145.30   13.85%   -234,664.40   -22.56%   397,809.70      152,751.12    15.29%   10,394.18




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                                                                                    Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 468 of 776
                                                                                               Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                                          P&L - Dual Summary Pages
                                                                                                                               As of 5/31/2022
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %               Variance                                                             YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                 Rooms
                                                                                                                 Room Revenue
                                                                                                                 Transient Room Revenue
        33,355.76    12.58%     39,897.00     16.85%    -6,541.24      89,395.34     38.63%         -56,039.58   Corporate Transient                                150,689.16     12.88%     155,775.00     15.10%    -5,085.84      245,448.61    24.85%    -94,759.45
         4,574.57     1.73%          0.00      0.00%     4,574.57           0.00      0.00%           4,574.57   Advanced Purchase                                   22,119.86      1.89%      14,796.58      1.43%     7,323.28            0.00     0.00%     22,119.86
         8,775.10     3.31%     21,364.00      9.02%   -12,588.90       2,438.17      1.05%           6,336.93   Qualified Discounts                                 28,410.94      2.43%     101,295.10      9.82%   -72,884.16        9,692.66     0.98%     18,718.28
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%               0.00   FIT(Flexible Independent Travel)                         0.00      0.00%           0.00      0.00%         0.00        2,371.51     0.24%     -2,371.51
         3,802.34     1.43%     10,006.00      4.23%    -6,203.66       1,362.15      0.59%           2,440.19   Consortia Transient                                 20,875.13      1.78%      45,308.10      4.39%   -24,432.97       15,090.44     1.53%      5,784.69
           595.00     0.22%      1,400.00      0.59%      -805.00         385.01      0.17%             209.99   Employee                                             4,577.75      0.39%       6,545.00      0.63%    -1,967.25        1,443.23     0.15%      3,134.52
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%               0.00   Leisure Transient                                        0.00      0.00%           0.00      0.00%         0.00          167.79     0.02%       -167.79
         1,638.85     0.62%      2,514.00      1.06%      -875.15       1,579.83      0.68%              59.02   Travel Agent/Friends & Family                       10,892.05      0.93%      12,325.51      1.19%    -1,433.46        4,041.14     0.41%      6,850.91
             0.00     0.00%          0.00      0.00%         0.00         135.00      0.06%            -135.00   Leisure Package Transient                              390.00      0.03%           0.00      0.00%       390.00          135.00     0.01%        255.00
         7,330.32     2.77%      2,673.21      1.13%     4,657.11       5,347.98      2.31%           1,982.34   Member Reward Stay                                  36,385.79      3.11%       9,793.21      0.95%    26,592.58       14,028.45     1.42%     22,357.34
           116.01     0.04%          0.00      0.00%       116.01           0.00      0.00%             116.01   Non Qualified Discounts                                566.02      0.05%           0.00      0.00%       566.02           65.13     0.01%        500.89
        28,454.69    10.73%     31,178.30     13.17%    -2,723.61      21,165.98      9.15%           7,288.71   Internet/E-Commerce                                121,988.72     10.43%     143,703.06     13.93%   -21,714.34       49,798.19     5.04%     72,190.53
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%               0.00   E-Commerce Opaque                                        0.00      0.00%           0.00      0.00%         0.00          689.44     0.07%       -689.44
             0.00     0.00%          0.00      0.00%         0.00      34,838.01     15.06%         -34,838.01   Other Transient                                          0.00      0.00%           0.00      0.00%         0.00      134,945.86    13.66%   -134,945.86
        16,743.40     6.32%     28,314.00     11.96%   -11,570.60      17,654.26      7.63%            -910.86   Government Transient                               104,153.63      8.90%     117,541.00     11.39%   -13,387.37      100,547.24    10.18%      3,606.39
       120,164.16    45.33%     60,515.00     25.56%    59,649.16      30,389.67     13.13%          89,774.49   Rack Transient                                     458,281.68     39.17%     277,963.00     26.94%   180,318.68      238,448.81    24.14%    219,832.87
        24,535.68     9.26%     38,285.00     16.17%   -13,749.32      23,628.40     10.21%             907.28   Local Negotiated Transient                         142,567.82     12.19%     132,808.00     12.87%     9,759.82      153,013.02    15.49%    -10,445.20

      250,085.88     94.34%    236,146.51    99.75%    13,939.37     228,319.80      98.67%         21,766.08    Total Transient Room Revenue                     1,101,898.55    94.18%    1,017,853.56   98.66%      84,044.99     969,926.52     98.19%   131,972.03

                                                                                                                 Group Room Revenue
             0.00     0.00%           0.00     0.00%        0.00        2,725.00      1.18%          -2,725.00   Corporate Group                                     16,676.00      1.43%       4,880.00     0.47%     11,796.00        2,857.39     0.29%    13,818.61
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%               0.00   Government Group                                         0.00      0.00%         737.99     0.07%       -737.99          164.00     0.02%      -164.00
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%               0.00   Association Group                                        0.00      0.00%           0.00     0.00%          0.00        3,819.00     0.39%    -3,819.00
        12,974.50     4.89%           0.00     0.00%   12,974.50            0.00      0.00%          12,974.50   SMERF Group                                         28,215.50      2.41%       1,935.00     0.19%     26,280.50        6,474.00     0.66%    21,741.50
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%               0.00   Sports Group                                        14,632.26      1.25%       3,317.68     0.32%     11,314.58        3,317.80     0.34%    11,314.46

       12,974.50      4.89%          0.00     0.00%    12,974.50       2,725.00       1.18%         10,249.50    Total Group Room Revenue                            59,523.76     5.09%      10,870.67      1.05%     48,653.09      16,632.19     1.68%     42,891.57

                                                                                                                 Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%              0.00    Total Contract Room Revenue                              0.00     0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                                 Other Room Revenue
           935.14     0.35%        250.00      0.11%      685.14            0.00      0.00%            935.14    No-Show Rooms                                         2,016.40     0.17%       1,250.00     0.12%        766.40          467.43     0.05%      1,548.97
           357.34     0.13%          0.00      0.00%      357.34            0.00      0.00%            357.34    Early/Late Departure Fees                             1,057.91     0.09%           0.00     0.00%      1,057.91            0.00     0.00%      1,057.91
           750.00     0.28%        350.00      0.15%      400.00          350.00      0.15%            400.00    Pet/Smoking/Damage Fees                               5,447.00     0.47%       1,750.00     0.17%      3,697.00          700.00     0.07%      4,747.00

        2,042.48      0.77%        600.00     0.25%     1,442.48         350.00       0.15%          1,692.48    Total Other Room Revenue                             8,521.31     0.73%        3,000.00     0.29%      5,521.31       1,167.43     0.12%      7,353.88

             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%               0.00   Less: Allowances                                          0.00     0.00%           0.00     0.00%          0.00          124.00     0.01%      -124.00

      265,102.86    100.00%    236,746.51    100.00%   28,356.35     231,394.80     100.00%         33,708.06    Total Room Revenue                               1,169,943.62    100.00%   1,031,724.23 100.00%      138,219.39     987,850.14 100.00%      182,093.48

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
             0.00      0.00%          0.00     0.00%         0.00           0.00       0.00%              0.00   Front Office Management                               1,916.20     0.16%           0.00      0.00%     1,916.20        6,857.61     0.69%     -4,941.41
         1,094.97      0.41%          0.00     0.00%     1,094.97           0.00       0.00%          1,094.97   Revenue Management                                    2,189.94     0.19%           0.00      0.00%     2,189.94            0.00     0.00%      2,189.94
         3,497.36      1.32%      3,619.47     1.53%      -122.11           0.00       0.00%          3,497.36   Housekeeping Management                              18,113.96     1.55%      17,610.12      1.71%       503.84        6,614.40     0.67%     11,499.56
        4,592.33      1.73%      3,619.47     1.53%       972.86            0.00      0.00%          4,592.33    Total Rooms Management                              22,220.10     1.90%      17,610.12      1.71%     4,609.98       13,472.01     1.36%      8,748.09
         6,391.28      2.41%      5,456.00     2.30%       935.28      11,263.33       4.87%         -4,872.05   Front Office Agents                                  46,876.83     4.01%      26,576.00      2.58%    20,300.83       44,834.78     4.54%      2,042.05
         2,470.63      0.93%      2,976.00     1.26%      -505.37           0.00       0.00%          2,470.63   Night Auditors                                       11,088.67     0.95%      14,496.00      1.41%    -3,407.33            0.00     0.00%     11,088.67
         4,672.91      1.76%      2,852.00     1.20%     1,820.91           0.00       0.00%          4,672.91   Breakfast Attendant                                   4,672.91     0.40%      13,892.00      1.35%    -9,219.09            0.00     0.00%      4,672.91
       13,534.82      5.11%     11,284.00     4.77%     2,250.82      11,263.33       4.87%          2,271.49    Total Rooms Front Office                            62,638.41     5.35%      54,964.00      5.33%     7,674.41       44,834.78     4.54%     17,803.63
         6,303.73      2.38%      6,349.75     2.68%       -46.02      10,395.15       4.49%         -4,091.42   Room Attendants                                      27,062.35     2.31%      28,707.25      2.78%    -1,644.90       40,162.57     4.07%    -13,100.22
             0.00      0.00%        779.43     0.33%      -779.43           0.00       0.00%              0.00   Housepersons                                              0.00     0.00%       3,796.58      0.37%    -3,796.58            0.00     0.00%          0.00
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                                                                                              Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %               Variance                                                             YTD     %       YTD Budget %               Variance   YTD Last Year    %         Variance

            0.00       0.00%      1,948.57    0.82%    -1,948.57          0.00        0.00%             0.00    Laundry Attendants                                       0.00     0.00%      9,491.42     0.92%     -9,491.42          0.00      0.00%         0.00
        6,303.73      2.38%      9,077.75    3.83%    -2,774.02      10,395.15       4.49%         -4,091.42    Total Rooms Housekeeping                            27,062.35    2.31%     41,995.25     4.07%    -14,932.90      40,162.57     4.07%    -13,100.22

       24,430.88      9.22%     23,981.22    10.13%     449.66       21,658.48       9.36%          2,772.40    Total Rooms Salary and Wages                       111,920.86    9.57%    114,569.37    11.10%     -2,648.51      98,469.36     9.97%    13,451.50

                                                                                                                PR Taxes and Benefits
         1,892.92      0.71%      1,857.12    0.78%        35.80       1,634.32       0.71%            258.60   FICA                                                  9,570.65    0.82%      9,328.02     0.90%        242.63       7,442.83     0.75%     2,127.82
            26.02      0.01%         21.85    0.01%         4.17          54.63       0.02%            -28.61   Federal Unemployment Tax                                385.23    0.03%        322.89     0.03%         62.34         399.02     0.04%       -13.79
           240.25      0.09%        131.09    0.06%       109.16         284.52       0.12%            -44.27   State Unemployment Tax                                2,078.89    0.18%      2,818.57     0.27%       -739.68       2,020.77     0.20%        58.12
        2,159.19      0.81%      2,010.06    0.85%       149.13       1,973.47       0.85%            185.72    Total Payroll Taxes                                 12,034.77    1.03%     12,469.48     1.21%       -434.71       9,862.62     1.00%     2,172.15
            69.87      0.03%        150.00    0.06%       -80.13           0.00       0.00%             69.87   Holiday                                               1,328.86    0.11%        300.00     0.03%      1,028.86           0.00     0.00%     1,328.86
             0.00      0.00%        141.58    0.06%      -141.58           0.00       0.00%              0.00   Vacation                                              1,215.20    0.10%        600.30     0.06%        614.90         360.00     0.04%       855.20
            69.87     0.03%        291.58    0.12%      -221.71            0.00      0.00%              69.87   Total Supplemental Pay                               2,544.06    0.22%        900.30     0.09%      1,643.76         360.00     0.04%     2,184.06
           345.40      0.13%      1,577.56    0.67%    -1,232.16       1,462.05       0.63%         -1,116.65   Worker's Compensation                                 5,571.52    0.48%      7,553.80     0.73%     -1,982.28       8,399.32     0.85%    -2,827.80
          -265.68     -0.10%        469.00    0.20%      -734.68        -322.15      -0.14%             56.47   Group Insurance                                       3,966.80    0.34%      2,345.00     0.23%      1,621.80        -868.46    -0.09%     4,835.26
             0.00      0.00%          0.00    0.00%         0.00           0.00       0.00%              0.00   Bonus and Incentive Pay                                   0.00    0.00%      6,450.00     0.63%     -6,450.00           0.00     0.00%         0.00
            79.72     0.03%      2,046.56    0.86%    -1,966.84       1,139.90       0.49%         -1,060.18    Total Other Benefits                                 9,538.32    0.82%     16,348.80     1.58%     -6,810.48       7,530.86     0.76%     2,007.46

        2,308.78      0.87%      4,348.20    1.84%    -2,039.42       3,113.37       1.35%           -804.59    Total Rooms PR Taxes and Benefits                   24,117.15    2.06%     29,718.58     2.88%     -5,601.43      17,753.48     1.80%     6,363.67

       26,739.66     10.09%     28,329.42    11.97%   -1,589.76      24,771.85      10.71%          1,967.81    Total Rooms Labor Costs                            136,038.01    11.63%   144,287.95    13.99%     -8,249.94     116,222.84     11.77%   19,815.17

                                                                                                                Other Expenses
        13,984.31      5.28%    16,578.62     7.00%    -2,594.31      13,821.23      5.97%             163.08   Breakfast /Comp Cost                                61,012.65     5.22%    74,952.02     7.26%     -13,939.37      28,478.79     2.88%    32,533.86
           538.12      0.20%     1,731.75     0.73%    -1,193.63         344.04      0.15%             194.08   Cleaning Supplies                                    3,748.06     0.32%     7,829.25     0.76%      -4,081.19       4,101.05     0.42%      -352.99
         8,929.99      3.37%     3,000.00     1.27%     5,929.99           0.00      0.00%           8,929.99   Contract Labor                                      29,579.66     2.53%    15,000.00     1.45%      14,579.66           0.00     0.00%    29,579.66
           206.89      0.08%         0.00     0.00%       206.89         160.11      0.07%              46.78   Dues and Subscriptions                                 881.84     0.08%         0.00     0.00%         881.84       3,064.85     0.31%    -2,183.01
             0.00      0.00%         0.00     0.00%         0.00          54.79      0.02%             -54.79   Glassware                                                0.00     0.00%         0.00     0.00%           0.00          54.79     0.01%       -54.79
         2,425.56      0.91%     2,770.80     1.17%      -345.24       4,337.05      1.87%          -1,911.49   Guest Supplies                                      10,974.88     0.94%    12,526.80     1.21%      -1,551.92       7,804.79     0.79%     3,170.09
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%               0.00   Internet/Web Expense                                     0.00     0.00%         0.00     0.00%           0.00         323.10     0.03%      -323.10
             0.00      0.00%       577.25     0.24%      -577.25         646.33      0.28%            -646.33   Laundry                                                375.45     0.03%     2,609.75     0.25%      -2,234.30         646.33     0.07%      -270.88
         1,380.88      0.52%     1,385.40     0.59%        -4.52       2,276.31      0.98%            -895.43   Linen                                                5,592.91     0.48%     6,263.40     0.61%        -670.49       6,817.29     0.69%    -1,224.38
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%               0.00   Miscellaneous Expense                                  189.00     0.02%         0.00     0.00%         189.00           0.00     0.00%       189.00
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%               0.00   Office Equipment                                         0.00     0.00%         0.00     0.00%           0.00         164.17     0.02%      -164.17
           309.89      0.12%        50.00     0.02%       259.89           0.00      0.00%             309.89   Operating Supplies                                     963.73     0.08%       250.00     0.02%         713.73           0.00     0.00%       963.73
             0.00      0.00%        50.00     0.02%       -50.00           0.00      0.00%               0.00   Printing and Stationery                                  0.00     0.00%       250.00     0.02%        -250.00           0.00     0.00%         0.00
         3,310.28      1.25%       753.33     0.32%     2,556.95           0.00      0.00%           3,310.28   Reservation Expense                                 10,292.02     0.88%     3,766.65     0.37%       6,525.37           0.00     0.00%    10,292.02
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%               0.00   Rooms Promotion                                        403.50     0.03%         0.00     0.00%         403.50          75.70     0.01%       327.80
         1,229.87      0.46%     1,213.00     0.51%        16.87       2,425.14      1.05%          -1,195.27   Television Cable                                     6,136.50     0.52%     6,065.00     0.59%          71.50       6,043.29     0.61%        93.21
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%               0.00   Travel Agent Comm - Group Rooms                          0.00     0.00%       217.41     0.02%        -217.41           0.00     0.00%         0.00
        -4,160.57     -1.57%     5,577.45     2.36%    -9,738.02       3,379.44      1.46%          -7,540.01   Travel Agent Comm - Transient Rooms                 12,143.51     1.04%    24,860.12     2.41%     -12,716.61      15,490.08     1.57%    -3,346.57
             0.00      0.00%       100.00     0.04%      -100.00           0.00      0.00%               0.00   Uniforms                                               141.24     0.01%       500.00     0.05%        -358.76         336.70     0.03%      -195.46
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%               0.00   Walked Guests                                          139.23     0.01%         0.00     0.00%         139.23           0.00     0.00%       139.23

       28,155.22     10.62%     33,787.60    14.27%   -5,632.38      27,444.44      11.86%           710.78     Total Rooms Other Expenses                         142,574.18    12.19%   155,090.40    15.03%    -12,516.22      73,400.93     7.43%    69,173.25

       54,894.88     20.71%     62,117.02    26.24%   -7,222.14      52,216.29      22.57%          2,678.59    Total Rooms Expenses                               278,612.19    23.81%   299,378.35    29.02%    -20,766.16     189,623.77     19.20%   88,988.42

      210,207.98     79.29%    174,629.49    73.76%   35,578.49     179,178.51      77.43%         31,029.47    Total Rooms Profit (Loss)                          891,331.43    76.19%   732,345.88    70.98%    158,985.55     798,226.37     80.80%   93,105.06




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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %          Variance                                                             YTD    %   YTD Budget %   Variance   YTD Last Year   %    Variance

                                                                                               Room Sale Stats
                                                                                               Tranisent Rooms
           320.00              403.00        -83.00          980.00                  -660.00   Room Stat - Corporate Transient                       1,424.00         1,550.00      -126.00       2,850.00        -1,426.00
            35.00                0.00         35.00            0.00                    35.00   Room Stat - Advanced Purchase                           178.00           156.00        22.00           0.00           178.00
            67.00                0.00         67.00           19.00                    48.00   Room Stat - Qualified Discounts                         224.00             0.00       224.00          83.00           141.00
             0.00                0.00           0.00           0.00                     0.00   Room Stat - FIT(Flexible Independent Travel)              0.00             0.00         0.00          39.00           -39.00
            37.00               89.00        -52.00           11.00                    26.00   Room Stat - Consortia Rate Transient                    178.00           424.00      -246.00         121.00            57.00
            17.00               40.00        -23.00           12.00                     5.00   Room Stat - Employee                                    133.00           187.00       -54.00          54.00            79.00
             0.00                0.00           0.00           1.00                    -1.00   Room Stat - Leisure Transient                             0.00             0.00         0.00           1.00            -1.00
             0.00                0.00           0.00           0.00                     0.00   Room Stat - Package Transient                             4.00             0.00         4.00           0.00             4.00
            17.00               26.00          -9.00          21.00                    -4.00   Room Stat - Travel Agent/Friends & Family               120.00           149.00       -29.00          54.00            66.00
            97.00              111.00        -14.00           94.00                     3.00   Room Stat - Member Reward Stay                          508.00           467.00        41.00         244.00           264.00
             1.00                0.00           1.00           0.00                     1.00   Room Stat - Non-Qualified Discounts                       4.00             0.00         4.00           0.00             4.00
           211.00              292.00        -81.00          174.00                    37.00   Room Stat - Internet                                    934.00         1,517.00      -583.00         409.00           525.00
             0.00                0.00           0.00         288.00                  -288.00   Room Stat - Other Transient                               0.00             0.00         0.00       1,350.00        -1,350.00
             0.00                0.00           0.00           0.00                     0.00   Room Stat - E-Commerce Opaque                             0.00             0.00         0.00           7.00            -7.00
           137.00              234.00        -97.00          149.00                   -12.00   Room Stat - Government Rate Transient                   859.00         1,031.00      -172.00         882.00           -23.00
           951.00              515.00        436.00          288.00                   663.00   Room Stat - Rack Rate Transient                       3,689.00         2,427.00     1,262.00       2,485.00         1,204.00
           251.00              403.00       -152.00          281.00                   -30.00   Room Stat - Local Negotiated Transient                1,492.00         1,428.00        64.00       1,865.00          -373.00
        2,141.00            2,113.00          28.00       2,318.00                  -177.00    Total Transient Rooms Sold                           9,747.00         9,336.00       411.00      10,444.00          -697.00

                                                                                               Group Rooms
            0.00                0.00           0.00           25.00                  -25.00    Room Stat - Corporate Group Rooms                       149.00           40.00        109.00         26.00           123.00
            0.00                0.00           0.00            0.00                    0.00    Room Stat - Government Group                              0.00            8.00         -8.00          2.00            -2.00
            0.00                0.00           0.00            0.00                    0.00    Room Stat - Association Group                             0.00            0.00          0.00         36.00           -36.00
           96.00                0.00          96.00            0.00                   96.00    Room Stat - SMERF Group                                 222.00           15.00        207.00         61.00           161.00
            0.00                0.00           0.00            0.00                    0.00    Room Stat - Sports Group                                123.00           32.00         91.00         32.00            91.00
           96.00                0.00          96.00           25.00                  71.00     Total Group Rooms Sold                                 494.00            95.00       399.00         157.00          337.00

                                                                                               Contract Rooms
             0.00               0.00           0.00            0.00                    0.00    Total Contract Rooms Sold                                0.00             0.00         0.00            0.00            0.00

        2,237.00            2,113.00        124.00        2,343.00                  -106.00    Total Rooms Sold                                    10,241.00         9,431.00       810.00      10,601.00          -360.00
             0.00               0.00           0.00            1.00                    -1.00   Room Stat - Comp Rooms                                    2.00            0.00          2.00          17.00           -15.00
        2,237.00            2,113.00        124.00        2,344.00                  -107.00    Total Rooms Occupied                                10,243.00         9,431.00       812.00      10,618.00          -375.00
           110.00               0.00         110.00          327.00                  -217.00   Room Stat - Out of Order                                853.00            0.00        853.00       2,007.00        -1,154.00

                                                                                               ADR
           104.24               99.00          5.24           91.22                   13.02    Corporate Transient ADR                                 105.82           100.50        5.32           86.12           19.70
           130.70                0.00        130.70            0.00                  130.70    Advanced Purchase ADR                                   124.27            94.85       29.42            0.00          124.27
           130.97                0.00        130.97          128.32                    2.65    Qualified Discount ADR                                  126.83             0.00      126.83          116.78           10.06
             0.00                0.00          0.00            0.00                    0.00    FIT ADR                                                   0.00             0.00        0.00           60.81          -60.81
           102.77              112.43         -9.66          123.83                  -21.07    Consortia ADR                                           117.28           106.86       10.42          124.71            -7.44
            35.00               35.00          0.00           32.08                    2.92    Employee ADR                                             34.42            35.00       -0.58           26.73             7.69
             0.00                0.00          0.00            0.00                    0.00    Leisure ADR                                               0.00             0.00        0.00          167.79         -167.79
            96.40               96.69         -0.29           75.23                   21.17    Travel Agent/Friends & Family ADR                        90.77            82.72        8.05           74.84           15.93
             0.00                0.00          0.00          135.00                 -135.00    Leisure Package ADR                                       0.00             0.00        0.00          135.00         -135.00
            75.57               24.08         51.49           56.89                   18.68    Member Reward Stay ADR                                   71.63            20.97       50.66           57.49           14.13
             0.00                0.00          0.00            0.00                    0.00    Golf Pkg ADR                                              0.00             0.00        0.00            0.00             0.00
           116.01                0.00        116.01            0.00                  116.01    Non Qualified ADR                                       141.51             0.00      141.51            0.00          141.51
           134.86              106.78         28.08          121.64                   13.21    Internet ADR                                            130.61            94.73       35.88          121.76             8.85
             0.00                0.00          0.00            0.00                    0.00    E-Commerce Opaque ADR                                     0.00             0.00        0.00           98.49          -98.49
             0.00                0.00          0.00          120.97                 -120.97    Other Transient ADR                                       0.00             0.00        0.00           99.96          -99.96
             0.00                0.00          0.00            0.00                    0.00    Airline Distressed Passenger ADR                          0.00             0.00        0.00            0.00             0.00
           122.21              121.00          1.21          118.48                    3.73    Government ADR                                          121.25           114.01        7.24          114.00             7.25
           126.36              117.50          8.85          105.52                   20.84    Rack ADR                                                124.23           114.53        9.70           95.96           28.27
            97.75               95.00          2.75           84.09                   13.66    Local Negotiated ADR                                     95.55            93.00        2.55           82.04           13.51
          116.81              111.76           5.05           98.50                   18.31    Total Transient ADR                                    113.05           109.02         4.03           92.87           20.18

             0.00                0.00          0.00          109.00                 -109.00    Corporate Group ADR                                    111.92           122.00        -10.08         109.90            2.02
             0.00                0.00          0.00            0.00                    0.00    Leisure Group ADR                                        0.00             0.00          0.00           0.00            0.00
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                                                                             Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %          Variance                                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00           0.00                     0.00    Government Group ADR                                     0.00            92.25      -92.25           82.00         -82.00
             0.00               0.00           0.00           0.00                     0.00    Tour & Travel Group ADR                                  0.00             0.00        0.00            0.00           0.00
             0.00               0.00           0.00           0.00                     0.00    Association Group ADR                                    0.00             0.00        0.00          106.08        -106.08
             0.00               0.00           0.00           0.00                     0.00    City Wide Group ADR                                      0.00             0.00        0.00            0.00           0.00
           135.15               0.00         135.15           0.00                   135.15    SMERF Group ADR                                        127.10           129.00       -1.90          106.13          20.97
             0.00               0.00           0.00           0.00                     0.00    Sports Group ADR                                       118.96           103.68       15.28          103.68          15.28
             0.00               0.00           0.00           0.00                     0.00    Other Group ADR                                          0.00             0.00        0.00            0.00           0.00
          135.15                0.00        135.15          109.00                    26.15    Total Group ADR                                       120.49           114.43         6.07         105.94           14.56

             0.00               0.00           0.00            0.00                    0.00    Airline Crew ADR                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Other Contract ADR                                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Contract ADR                                      0.00             0.00         0.00            0.00           0.00

          118.51              112.04           6.47           98.76                   19.75    Total ADR                                             114.24           109.40         4.84           93.18          21.06




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             F&B Summary
                                                                                                             Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Outlet Food Revenue                                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Banquet and Catering Food Revenue                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Outlet Beverage Revenue                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Banquet and Catering Beverage Revenue                   0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Outlet Other Revenue                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Banquet and Catering Other Revenue                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total F&B Revenue                                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Food Purchases                                          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Beverage Purchases                                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Cedit Employee Meals                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Credit House Charges                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Credit In-House Promotions                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Audio Visual Cost of Sales                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Other Cost of Sales                                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total F&B Cost of Sales                                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    F&B Gross Profit                                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll
                                                                                                             Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Management                                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Non-Management                                          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total F&B Salaries and Wages                            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                             PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Payroll Taxes                                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Supplemental Pay                                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Other Benefits                                          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total F&B PR Taxes and Benefits                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total F&B Payroll                                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Audio Visual Supplies                                    0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Banquet Expense                                          0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Bar Expense/Promos                                       0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Bar Supplies                                             0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    China                                                2,213.76   0.00%          0.00     0.00%    2,213.76           0.00    0.00%    2,213.76
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Cleaning Supplies                                        0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Communication Expense                                    0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Contract Cleaning                                        0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Contract Labor                                           0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Decorations & Plants                                     0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Dues and Subscriptions                                   0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Equipment Rental                                         0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Food and Beverage Advertising                            0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Glassware                                                0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Guest Loss/Damage                                        0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Guest Supplies                                         397.99   0.00%          0.00     0.00%      397.99           0.00    0.00%      397.99
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    In-House Entertainment                                   0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Kitchen/Cooking Fuel                                     0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Kitchen Equipment                                      354.26   0.00%          0.00     0.00%      354.26           0.00    0.00%      354.26
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Laundry - Outside Expense                                0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Laundry Allocation                                       0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Licenses/Permits                                       283.02   0.00%          0.00     0.00%      283.02           0.00    0.00%      283.02
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Linen                                                    0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%              0.00    Linen Rental                                             0.00   0.00%          0.00     0.00%        0.00           0.00    0.00%        0.00
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                                                                                Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 473 of 776
                                                                                           Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                            YTD    %        YTD Budget %             Variance   YTD Last Year   %         Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Maintenance Contracts                                   0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Meals and Entertainment                                 0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Menus                                                   0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Miscellaneous Expense                                   0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Music and Entertainment                                 0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Office Equipment                                        0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Office Supplies                                         0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Operating Supplies                                      0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Paper/Plastic Supplies                                  0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Printing and Stationery                                 0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Silverware                                              0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Software Expense/Maintenance                            0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Television Cable                                        0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Training                                                0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Travel                                                  0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Uniforms                                                0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Utensils                                                0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total F&B Other Expenses                            3,249.03    0.00%         0.00      0.00%    3,249.03            0.00    0.00%    3,249.03

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total F&B Expenses                                  3,249.03    0.00%         0.00      0.00%    3,249.03            0.00    0.00%    3,249.03

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total F&B Profit (Loss)                             -3,249.03   0.00%         0.00      0.00%    -3,249.03           0.00    0.00%    -3,249.03




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                                                                             Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %          Variance                                                           YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                               F&B Stats
                                                                                               Restaurant 1
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 1 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 1 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 2
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 2 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 2 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Room Service
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Room Service Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Room Service Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Banquets
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Banquets Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Banquets Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Catering
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Catering Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Catering Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 3
             0.00                0.00          0.00            0.00                    0.00    Breakfast Avg Check                                     0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Lunch Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Dinner Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Brunch Avg Check                                        0.00             0.00        0.00            0.00           0.00
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                                                                             Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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                                                                                                             As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %          Variance                                                           YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 3 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 3 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 4
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 4 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 4 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 5
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 5 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 5 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Bar 1
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Bar 1 Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Bar 1 Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                               Bar 2
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Bar 2 Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Bar 2 Avg Check                                         0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                    0.00    Total Covers                                            0.00            0.00         0.00            0.00           0.00




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                                                                                        Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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                                                                                                                        As of 5/31/2022
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %              Variance                                                            YTD    %       YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Food Admin
                                                                                                          Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Food Admin Cost of Sales                          0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Food Admin Management                             0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Food Admin Non-Management                         0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Food Admin Salaries and Wages                     0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Payroll Taxes                                     0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Supplemental Pay                                  0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Other Benefits                                    0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Food Admin PR Taxes and Benefits                  0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Food Admin Payroll                                0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%             0.00    China                                                2,213.76   0.00%         0.00     0.00%   2,213.76            0.00    0.00%   2,213.76
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%             0.00    Guest Supplies                                         397.99   0.00%         0.00     0.00%     397.99            0.00    0.00%     397.99
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%             0.00    Kitchen Equipment                                      354.26   0.00%         0.00     0.00%     354.26            0.00    0.00%     354.26
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%             0.00    Licenses/Permits                                       283.02   0.00%         0.00     0.00%     283.02            0.00    0.00%     283.02

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Food Admin Other Expenses                     3,249.03    0.00%        0.00      0.00%   3,249.03            0.00    0.00%   3,249.03

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Food Admin Expenses                           3,249.03    0.00%        0.00      0.00%   3,249.03            0.00    0.00%   3,249.03

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Departmental Costs                                  3,249.03    0.00%        0.00      0.00%   3,249.03            0.00    0.00%   3,249.03




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %              Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                          Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%             0.00    Less Adjustments                                        0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Beverage Admin Revenue                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Beverage Admin Cost of Sales                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          Expenses
                                                                                                          Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Beverage Admin Other Expenses                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Beverage Admin Expenses                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Departmental Costs                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                           Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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                                                                                                                           As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Restaurant 1
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 1 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 1 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 1 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 1 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Restaurant 2
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 2 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 2 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 2 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 2 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Room Service
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Room Service Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Room Service Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Other Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Room Service Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Room Service Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Banquets
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Banquets Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Banquets Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                         0.00    Total Banquets Salaries and Wages                       0.00                 0.00                  0.00            0.00                0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                         0.00    Total Banquet Benefits                                  0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Banquets Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Catering
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Catering Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Catering Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Catering Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Catering Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Restaurant 3
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 3 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 3 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 3 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Payroll Taxes and Benefits           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 3 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Restaurant 4
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 4 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restauarnt 4 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 4 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Restaurant 5
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 5 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 5 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Restaurant 5 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Restaurant 5 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Bar 1
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Bar 1 Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Bar 1 Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 1 Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                             Bar 2
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Bar 2 Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Bar 2 Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Expenses
                                                                                                             Payroll Expenses
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                             Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Bar 2 Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %               Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %           Variance

                                                                                                             Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Telephone Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%             0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Telephone Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00

                                                                                                             Cost of Sales
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Total Telephone Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%              0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%          0.00

                                                                                                             Other Expenses
             0.00      0.00%        0.00     0.00%      0.00        2,406.22       0.00%         -2,406.22   Internet/Web Expense                                    0.00    0.00%        0.00       0.00%      0.00        7,864.95     0.00%     -7,864.95
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%              0.00   Software Expense/Maintenance                            0.00    0.00%        0.00       0.00%      0.00          213.17     0.00%       -213.17
             0.00      0.00%        0.00     0.00%      0.00        1,626.85       0.00%         -1,626.85   Telephone Equipment                                     0.00    0.00%        0.00       0.00%      0.00       18,570.88     0.00%    -18,570.88
             0.00     0.00%         0.00    0.00%       0.00       4,033.07       0.00%         -4,033.07    Total Telephone Other Expenses                          0.00   0.00%         0.00      0.00%       0.00      26,649.00     0.00%    -26,649.00

             0.00     0.00%         0.00    0.00%       0.00      -4,033.07       0.00%          4,033.07    Total Telephone Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00     -26,649.00     0.00%    26,649.00




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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %               Variance                                                            YTD      %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                                Minor Operating
                                                                                                                Income
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%              0.00   Rental Income - Other                                  400.00      4.88%         0.00   0.00%         400.00           0.00      0.00%       400.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%               0.00   Total Rental Income                                   400.00      4.88%          0.00  0.00%         400.00            0.00     0.00%       400.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%              0.00   Vending Commissions-Soda & Snack Machines                0.00      0.00%         0.00   0.00%           0.00         420.00      3.71%      -420.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%               0.00   Total Vending Commission Income                          0.00     0.00%          0.00  0.00%            0.00        420.00      3.71%      -420.00
           323.52     21.38%         0.00      0.00%      323.52         476.04       9.39%           -152.52   Cancellation Fee - Rooms                             1,112.02     13.56%         0.00   0.00%       1,112.02         711.66      6.29%       400.36
          323.52     21.38%          0.00     0.00%      323.52         476.04       9.39%           -152.52    Total Cancellation Fee Income                       1,112.02     13.56%          0.00  0.00%       1,112.02         711.66      6.29%       400.36
             0.00      0.00%       300.00     16.21%     -300.00         764.55      15.08%           -764.55   Guest Laundry                                          527.12      6.43%     1,500.00  17.57%        -972.88         794.29      7.02%      -267.17
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%              0.00   Interest Earned                                          0.00      0.00%         0.00   0.00%           0.00           9.90      0.09%        -9.90
            94.95      6.27%        50.00      2.70%       44.95       2,445.82      48.25%         -2,350.87   Internet Access                                        242.55      2.96%       250.00   2.93%          -7.45       2,985.37     26.40%    -2,742.82
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%              0.00   Telephone Revenue                                        0.00      0.00%         0.00   0.00%           0.00         484.65      4.29%      -484.65
         1,094.84     72.35%     1,500.85     81.09%     -406.01       1,382.56      27.27%           -287.72   Gift Shop Sales                                      5,917.66     72.17%     6,785.35  79.50%        -867.69       5,652.51     49.99%       265.15
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%              0.00   Pet Fees                                                 0.00      0.00%         0.00   0.00%           0.00         250.00      2.21%      -250.00
        1,189.79     78.62%     1,850.85    100.00%     -661.06       4,592.93      90.61%         -3,403.14    Total Other Income                                  6,687.33     81.56%     8,535.35 100.00%      -1,848.02      10,176.72     89.99%    -3,489.39

        1,513.31    100.00%     1,850.85    100.00%     -337.54       5,068.97     100.00%         -3,555.66    Total Minor Operating Income                        8,199.35    100.00%     8,535.35 100.00%       -336.00       11,308.38 100.00%       -3,109.03

                                                                                                                Cost of Sales
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%             0.00    Cost of Sales - Internet Access                          0.00      0.00%         0.00     0.00%        0.00          646.18      5.71%     -646.18
           533.34     35.24%       150.00      8.10%      383.34           0.00       0.00%           533.34    Cost of Sales - Guest Laundry                          868.96     10.60%       750.00     8.79%      118.96            0.00      0.00%      868.96
         1,494.34     98.75%       975.55     52.71%      518.79       1,293.22      25.51%           201.12    Cost of Sales - Gift Shop                            7,487.94     91.32%     4,410.48    51.67%    3,077.46        5,778.76     51.10%    1,709.18
        2,027.68    133.99%     1,125.55     60.81%      902.13       1,293.22      25.51%           734.46     Total Minor Operated Cost of Sales                  8,356.90    101.92%     5,160.48    60.46%    3,196.42        6,424.94     56.82%    1,931.96

         -514.37    -33.99%       725.30     39.19%    -1,239.67      3,775.75      74.49%         -4,290.12    Total Minor Operated Profit (Loss)                   -157.55     -1.92%     3,374.87    39.54%    -3,532.42       4,883.44     43.18%    -5,040.99




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                                                                                                                        As of 5/31/2022
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %              Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                          Arcade
                                                                                                          Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Arcade Revenue                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Arcade Non-Management                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Arcade Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Arcade PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Arcade Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Arcade Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Arcade Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Arcade Profit (Loss)                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %              Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                          Waterpark
                                                                                                          Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Waterpark Revenue                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Waterpark Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Waterpark Non-Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Waterpark Salaries and Wages                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Waterpark PR Taxes and Benefits                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Waterpark Payroll                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Waterpark Other Expenses                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Waterpark Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%             0.00    Total Waterpark Profit (Loss)                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %         Variance   PTD Last Year     %               Variance                                                            YTD    %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                             Franchise Fees
             0.00     0.00%         0.00   0.00%        0.00        1,296.69       0.55%         -1,296.69   Franchise Fees - IT Fees                                 0.00   0.00%         0.00     0.00%        0.00        6,483.45     0.65%    -6,483.45
        14,545.92     5.46%    13,139.43   5.51%    1,406.49       20,836.88       8.81%         -6,290.96   Franchise Fees - Royalty & Licenses                 55,077.80   4.67%    57,260.70     5.50%   -2,182.90       78,846.16     7.89%   -23,768.36
             0.00     0.00%         0.00   0.00%        0.00            0.00       0.00%              0.00   Franchise Fees - Other                                   0.00   0.00%         0.00     0.00%        0.00       -1,911.95    -0.19%     1,911.95
             0.00     0.00%         0.00   0.00%        0.00        1,389.42       0.59%         -1,389.42   Franchise Fees - Reservations-GDS                        0.00   0.00%         0.00     0.00%        0.00        5,129.41     0.51%    -5,129.41
         9,240.32     3.47%     4,734.93   1.98%    4,505.39          -50.73      -0.02%          9,291.05   Franchise Fees - Frequent Guest                     23,500.55   1.99%    20,634.49     1.98%    2,866.06       14,135.03     1.41%     9,365.52
         9,256.50     3.47%     4,734.93   1.98%    4,521.57            0.00       0.00%          9,256.50   Franchise Fees - Marketing Contributions            36,645.64   3.11%    20,634.49     1.98%   16,011.15       10,173.25     1.02%    26,472.39
             0.00     0.00%         0.00   0.00%        0.00          100.12       0.04%           -100.12   Franchise Fees - Reservations-Central                    0.00   0.00%         0.00     0.00%        0.00          750.09     0.08%      -750.09

       33,042.74     12.39%   22,609.29    9.48%   10,433.45      23,572.38       9.97%          9,470.36    Total Franchise Fees                               115,223.99   9.78%   98,529.68      9.47%   16,694.31     113,605.44     11.37%    1,618.55




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             PTD      %        PTD Budget   %          Variance    PTD Last Year     %               Variance                                                             YTD     %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                                A&G
                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
         9,625.96      3.61%     9,851.44    4.13%      -225.48       11,873.07       5.02%         -2,247.11   Management- A&G                                      48,064.58     4.08%     47,417.97     4.56%       646.61      21,178.06     2.12%    26,886.52
        9,625.96      3.61%     9,851.44    4.13%      -225.48       11,873.07       5.02%         -2,247.11    Total A&G Management                                48,064.58     4.08%     47,417.97     4.56%       646.61      21,178.06     2.12%    26,886.52
             0.00     0.00%          0.00   0.00%          0.00            0.00      0.00%               0.00   Total A&G Non-Management                                  0.00    0.00%           0.00    0.00%          0.00           0.00    0.00%          0.00
        9,625.96      3.61%     9,851.44    4.13%      -225.48       11,873.07       5.02%         -2,247.11    Total A&G Salaries and Wages                        48,064.58     4.08%     47,417.97     4.56%       646.61      21,178.06     2.12%    26,886.52
                                                                                                                PR Taxes and Benefits
           721.97      0.27%       792.70    0.33%        -70.73         894.70       0.38%           -172.73   FICA                                                  4,035.60     0.34%      5,113.93     0.49%    -1,078.33       1,591.83     0.16%     2,443.77
             5.87      0.00%         9.33    0.00%         -3.46          31.57       0.01%            -25.70   Federal Unemployment Tax                                157.52     0.01%        166.51     0.02%        -8.99          61.49     0.01%        96.03
            76.61      0.03%        55.96    0.02%         20.65         164.56       0.07%            -87.95   State Unemployment Tax                                  856.09     0.07%      1,612.74     0.16%      -756.65         321.37     0.03%       534.72
          804.45      0.30%       857.99    0.36%        -53.54       1,090.83       0.46%           -286.38    Total Payroll Taxes                                  5,049.21     0.43%      6,893.18     0.66%    -1,843.97       1,974.69     0.20%     3,074.52
             0.00      0.00%       127.00    0.05%      -127.00            0.00       0.00%              0.00   Holiday                                                   0.00     0.00%        254.00     0.02%      -254.00           0.00     0.00%         0.00
             0.00      0.00%       383.65    0.16%      -383.65            0.00       0.00%              0.00   Vacation                                                  0.00     0.00%      1,626.68     0.16%    -1,626.68           0.00     0.00%         0.00
             0.00     0.00%       510.65    0.21%      -510.65             0.00      0.00%               0.00   Total Supplemental Pay                                    0.00    0.00%      1,880.68     0.18%    -1,880.68            0.00    0.00%          0.00
           146.43      0.05%       673.37    0.28%      -526.94          688.77       0.29%           -542.34   Worker's Compensation                                 2,548.82     0.22%      3,853.10     0.37%    -1,304.28       1,374.84     0.14%     1,173.98
          -265.78     -0.10%         0.00    0.00%      -265.78         -408.12      -0.17%            142.34   Group Insurance                                       3,771.70     0.32%          0.00     0.00%     3,771.70        -699.24    -0.07%     4,470.94
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%              0.00   Bonus and Incentive Pay                              18,686.83     1.59%     17,550.00     1.69%     1,136.83           0.00     0.00%    18,686.83
         -119.35     -0.04%       673.37    0.28%      -792.72          280.65       0.12%           -400.00    Total Other Benefits                                25,007.35     2.12%     21,403.10     2.06%     3,604.25         675.60     0.07%    24,331.75
          685.10      0.26%     2,042.01    0.86%    -1,356.91        1,371.48       0.58%           -686.38    Total A&G PR Taxes and Benefits                     30,056.56     2.55%     30,176.96     2.90%      -120.40       2,650.29     0.27%    27,406.27
       10,311.06      3.87%    11,893.45    4.98%    -1,582.39       13,244.55       5.60%         -2,933.49    Total A&G Payroll                                   78,121.14     6.63%     77,594.93     7.46%       526.21      23,828.35     2.38%    54,292.79
                                                                                                                Other Expenses
             0.00      0.00%         0.00    0.00%        0.00         1,000.00       0.42%         -1,000.00   Accounting/Audit Fees                                   424.64     0.04%          0.00     0.00%       424.64       5,000.00     0.50%    -4,575.36
           662.24      0.25%         0.00    0.00%      662.24             0.00       0.00%            662.24   Bad Debt Provision                                    1,380.08     0.12%          0.00     0.00%     1,380.08         167.43     0.02%     1,212.65
           652.91      0.24%       900.00    0.38%     -247.09           558.85       0.24%             94.06   Bank Charges                                          3,742.58     0.32%      4,500.00     0.43%      -757.42       3,250.42     0.33%       492.16
        -8,948.94     -3.36%         0.00    0.00%   -8,948.94           512.52       0.22%         -9,461.46   Cash Over/Short                                        -731.54    -0.06%          0.00     0.00%      -731.54       7,124.97     0.71%    -7,856.51
             0.00      0.00%        50.00    0.02%      -50.00             0.00       0.00%              0.00   Central Office - Travel Rebilled                          0.00     0.00%        250.00     0.02%      -250.00           0.00     0.00%         0.00
         1,000.00      0.38%     1,000.00    0.42%        0.00             0.00       0.00%          1,000.00   Central Office - Accounting Fees                      5,000.00     0.42%      5,000.00     0.48%         0.00           0.00     0.00%     5,000.00
             0.00      0.00%         0.00    0.00%        0.00           160.00       0.07%           -160.00   Central Office - IT Fees                                  0.00     0.00%          0.00     0.00%         0.00       3,433.07     0.34%    -3,433.07
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%              0.00   Communication Expense                                     0.00     0.00%          0.00     0.00%         0.00         100.01     0.01%      -100.01
        14,413.57      5.41%     5,249.14    2.20%    9,164.43         6,168.76       2.61%          8,244.81   Credit Card Commission                               30,203.94     2.56%     22,885.71     2.20%     7,318.23      21,638.99     2.17%     8,564.95
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%              0.00   Dues and Subscriptions                                2,287.79     0.19%          0.00     0.00%     2,287.79           0.00     0.00%     2,287.79
            80.00      0.03%       350.00    0.15%     -270.00           114.62       0.05%            -34.62   Employee Relations                                    1,348.01     0.11%      2,275.00     0.22%      -926.99         769.18     0.08%       578.83
             0.00      0.00%       156.00    0.07%     -156.00             0.00       0.00%              0.00   Equipment Rental                                          0.00     0.00%        780.00     0.07%      -780.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           440.00       0.19%           -440.00   Internet/Web Expense                                      0.00     0.00%          0.00     0.00%         0.00         440.00     0.04%      -440.00
             0.00      0.00%         0.00    0.00%        0.00           377.06       0.16%           -377.06   Licenses/Permits                                        288.87     0.02%          0.00     0.00%       288.87       1,109.65     0.11%      -820.78
             0.00      0.00%        25.00    0.01%      -25.00             0.00       0.00%              0.00   Meals and Entertainment                                   0.00     0.00%        125.00     0.01%      -125.00           0.00     0.00%         0.00
           116.58      0.04%         0.00    0.00%      116.58          -195.01      -0.08%            311.59   Miscellaneous Expense                                   929.01     0.08%          0.00     0.00%       929.01       1,007.32     0.10%       -78.31
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%              0.00   Office Equipment                                          0.00     0.00%          0.00     0.00%         0.00         780.00     0.08%      -780.00
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%              0.00   Office Supplies                                           0.00     0.00%          0.00     0.00%         0.00       1,372.89     0.14%    -1,372.89
             0.00      0.00%       100.00    0.04%     -100.00             0.00       0.00%              0.00   Operating Supplies                                    1,330.39     0.11%        500.00     0.05%       830.39           0.00     0.00%     1,330.39
             0.00      0.00%       503.14    0.21%     -503.14           127.69       0.05%           -127.69   Payroll Service Fees                                    975.57     0.08%      2,508.85     0.24%    -1,533.28         648.75     0.06%       326.82
             0.00      0.00%        75.00    0.03%      -75.00            37.40       0.02%            -37.40   Postage                                                 267.74     0.02%        375.00     0.04%      -107.26          78.10     0.01%       189.64
             0.00      0.00%       150.00    0.06%     -150.00             0.00       0.00%              0.00   Professional Fees - Legal                                 0.00     0.00%        750.00     0.07%      -750.00       2,585.93     0.26%    -2,585.93
         2,115.45      0.79%         0.00    0.00%    2,115.45           117.04       0.05%          1,998.41   Professional Fees - Other                             9,639.42     0.82%        650.00     0.06%     8,989.42       1,831.61     0.18%     7,807.81
             0.00      0.00%        75.00    0.03%      -75.00             0.00       0.00%              0.00   Recruitment Advertising                                   0.00     0.00%        375.00     0.04%      -375.00         190.00     0.02%      -190.00
             0.00      0.00%         0.00    0.00%        0.00           190.00       0.08%           -190.00   Recruitment - Other                                       0.00     0.00%          0.00     0.00%         0.00         698.45     0.07%      -698.45
             0.00      0.00%       300.00    0.13%     -300.00             0.00       0.00%              0.00   Security - Outside                                        0.00     0.00%      1,500.00     0.14%    -1,500.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00         1,520.00       0.64%         -1,520.00   Software Expense/Maintenance                              0.00     0.00%          0.00     0.00%         0.00       1,520.00     0.15%    -1,520.00
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%              0.00   Training                                              2,695.00     0.23%      3,690.00     0.35%      -995.00         995.00     0.10%     1,700.00
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%              0.00   Travel                                                    0.00     0.00%          0.00     0.00%         0.00       2,336.89     0.23%    -2,336.89
       10,091.81      3.79%     8,933.28    3.74%    1,158.53        11,128.93       4.71%         -1,037.12    Total A&G Other Expenses                            59,781.50     5.07%     46,164.56     4.44%    13,616.94      57,078.66     5.71%     2,702.84
       20,402.87      7.65%    20,826.73    8.73%     -423.86        24,373.48      10.31%         -3,970.61    Total A&G Expenses                                 137,902.64    11.71%    123,759.49    11.90%    14,143.15      80,907.01     8.10%    56,995.63




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                                                                                                                             As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %               Variance                                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                               IT
                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wags
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total IT Management                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total IT Non-Management                                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total IT Salaries and Wages                              0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                               PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total Payroll Taxes                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total Supplemental Pay                                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total Other Benefits                                     0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total IT PR Taxes and Benefits                           0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total IT Payroll                                         0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                               Cost of Services
            60.00      0.02%       260.00    0.11%      -200.00           0.00       0.00%             60.00   Cost of Cell Phones                                     360.00    0.03%     1,300.00      0.12%      -940.00           0.00     0.00%       360.00
         1,470.62      0.55%     1,237.00    0.52%       233.62           0.00       0.00%          1,470.62   Cost of Internet Services                             8,583.17    0.73%     6,185.00      0.59%     2,398.17           0.00     0.00%     8,583.17
           816.10      0.31%     2,405.00    1.01%    -1,588.90           0.00       0.00%            816.10   Cost of Calls                                         4,229.14    0.36%    12,025.00      1.16%    -7,795.86           0.00     0.00%     4,229.14
        2,346.72      0.88%     3,902.00    1.64%    -1,555.28            0.00      0.00%          2,346.72    Total IT Cost of Services                           13,172.31    1.12%    19,510.00      1.88%    -6,337.69            0.00    0.00%    13,172.31

                                                                                                               System Costs
         2,134.87      0.80%     2,040.70    0.86%       94.17            0.00       0.00%          2,134.87   Administrative & General                              4,416.01    0.37%     4,123.50      0.40%      292.51            0.00     0.00%     4,416.01
        -1,123.52     -0.42%         0.00    0.00%   -1,123.52            0.00       0.00%         -1,123.52   Hardware                                                145.29    0.01%         0.00      0.00%      145.29            0.00     0.00%       145.29
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%              0.00   Human Resources                                           0.00    0.00%       250.00      0.02%     -250.00            0.00     0.00%         0.00
         1,545.97      0.58%       180.00    0.08%    1,365.97            0.00       0.00%          1,545.97   Information Systems                                   4,614.09    0.39%       900.00      0.09%    3,714.09            0.00     0.00%     4,614.09
            98.07      0.04%       133.67    0.06%      -35.60            0.00       0.00%             98.07   Property Ops & Maintenance                              603.07    0.05%       668.35      0.06%      -65.28            0.00     0.00%       603.07
             0.00      0.00%       360.00    0.15%     -360.00            0.00       0.00%              0.00   Sales & Marketing                                         0.00    0.00%     1,800.00      0.17%   -1,800.00            0.00     0.00%         0.00
        2,655.39      1.00%     2,764.37    1.16%     -108.98             0.00      0.00%          2,655.39    Total IT Systems                                     9,778.46    0.83%     7,741.85      0.74%    2,036.61             0.00    0.00%     9,778.46

                                                                                                               Other Expenses
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%              0.00    Total IT Other Expenses                                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        5,002.11      1.88%     6,666.37    2.79%    -1,664.26            0.00      0.00%          5,002.11    Total IT Expenses                                   22,950.77    1.95%    27,251.85      2.62%    -4,301.08            0.00    0.00%    22,950.77




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                                                                                                                             As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %               Variance                                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                               S&M
                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
         4,945.04      1.85%     5,051.18    2.12%     -106.14       -1,511.09      -0.64%          6,456.13   Division Management                                  24,725.24    2.10%    24,575.93      2.36%        149.31      13,599.77     1.36%    11,125.47
        4,945.04      1.85%     5,051.18    2.12%     -106.14       -1,511.09      -0.64%          6,456.13    Total S&M Management                                24,725.24    2.10%    24,575.93      2.36%        149.31      13,599.77     1.36%    11,125.47
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%               0.00   Total S&M Non-Management                                  0.00   0.00%          0.00     0.00%           0.00           0.00    0.00%          0.00

        4,945.04      1.85%     5,051.18    2.12%     -106.14       -1,511.09      -0.64%          6,456.13    Total S&M Salaries and Wages                        24,725.24    2.10%    24,575.93      2.36%        149.31      13,599.77     1.36%    11,125.47

                                                                                                               PR Taxes and Benefits
           624.73      0.23%       401.53    0.17%      223.20         -113.01      -0.05%            737.74   FICA                                                  2,331.20    0.20%     2,081.85      0.20%        249.35       1,032.88     0.10%     1,298.32
             5.40      0.00%         4.72    0.00%        0.68           -5.23       0.00%             10.63   Federal Unemployment Tax                                 83.65    0.01%        72.58      0.01%         11.07          66.08     0.01%        17.57
            66.42      0.02%        28.34    0.01%       38.08          -27.71      -0.01%             94.13   State Unemployment Tax                                  468.74    0.04%       635.37      0.06%       -166.63         328.25     0.03%       140.49
          696.55      0.26%       434.59    0.18%      261.96         -145.95      -0.06%            842.50    Total Payroll Taxes                                  2,883.59    0.24%     2,789.80      0.27%          93.79      1,427.21     0.14%     1,456.38
             0.00      0.00%       197.59    0.08%     -197.59            0.00       0.00%              0.00   Vacation                                                  0.00    0.00%       837.78      0.08%       -837.78           0.00     0.00%         0.00
             0.00     0.00%       197.59    0.08%     -197.59             0.00      0.00%               0.00   Total Supplemental Pay                                    0.00   0.00%       837.78      0.08%       -837.78            0.00    0.00%          0.00
           123.51      0.05%       341.09    0.14%     -217.58            0.00       0.00%            123.51   Worker's Compensation                                 1,366.08    0.12%     1,680.73      0.16%       -314.65       1,298.52     0.13%        67.56
          -135.80     -0.05%         0.00    0.00%     -135.80            0.00       0.00%           -135.80   Group Insurance                                       1,922.08    0.16%         0.00      0.00%      1,922.08        -204.06    -0.02%     2,126.14
         3,000.00      1.13%         0.00    0.00%    3,000.00            0.00       0.00%          3,000.00   Bonus and Incentive Pay                               6,000.00    0.51%     1,800.00      0.17%      4,200.00           0.00     0.00%     6,000.00
        2,987.71      1.12%       341.09    0.14%    2,646.62             0.00      0.00%          2,987.71    Total Other Benefits                                 9,288.16    0.79%     3,480.73      0.33%      5,807.43       1,094.46     0.11%     8,193.70
        3,684.26      1.38%       973.27    0.41%    2,710.99         -145.95      -0.06%          3,830.21    Total S&M PR Taxes and Benefits                     12,171.75    1.03%     7,108.31      0.68%      5,063.44       2,521.67     0.25%     9,650.08

        8,629.30      3.24%     6,024.45    2.52%    2,604.85       -1,657.04      -0.70%         10,286.34    Total S&M Payroll                                   36,896.99    3.13%    31,684.24      3.05%      5,212.75      16,121.44     1.61%    20,775.55

                                                                                                               Other Expenses
             0.00      0.00%       250.00    0.10%      -250.00           0.00       0.00%              0.00   Advertising Production                                    0.00    0.00%     1,250.00      0.12%     -1,250.00           0.00     0.00%         0.00
           562.84      0.21%       815.00    0.34%      -252.16           0.00       0.00%            562.84   Advertising-Web/Internet                              3,060.40    0.26%     2,980.00      0.29%         80.40         980.00     0.10%     2,080.40
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00   Brochures                                                 0.00    0.00%         0.00      0.00%          0.00         190.90     0.02%      -190.90
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00   Communication Expense                                     0.00    0.00%         0.00      0.00%          0.00          50.00     0.01%       -50.00
         1,598.15      0.60%     4,962.50    2.08%    -3,364.35       3,326.45       1.41%         -1,728.30   Dues and Subscriptions                               10,373.34    0.88%    24,452.50      2.35%    -14,079.16      11,976.56     1.20%    -1,603.22
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00   Meals and Entertainment                                  30.00    0.00%         0.00      0.00%         30.00           0.00     0.00%        30.00
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%              0.00   Operating Supplies                                        0.00    0.00%       250.00      0.02%       -250.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00          37.06       0.02%            -37.06   Printing and Stationery                                   0.00    0.00%        75.00      0.01%        -75.00          37.06     0.00%       -37.06
             0.00      0.00%        75.00    0.03%       -75.00           0.00       0.00%              0.00   Promotions - In-house                                     0.00    0.00%       375.00      0.04%       -375.00           0.00     0.00%         0.00
             0.00      0.00%       167.00    0.07%      -167.00           0.00       0.00%              0.00   Promotion - Outside                                     310.10    0.03%       835.00      0.08%       -524.90          57.08     0.01%       253.02
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00   Training                                                  0.00    0.00%       995.00      0.10%       -995.00           0.00     0.00%         0.00
            78.81      0.03%        50.00    0.02%        28.81           0.00       0.00%             78.81   Travel                                                  215.80    0.02%     1,250.00      0.12%     -1,034.20           0.00     0.00%       215.80
        2,239.80      0.84%     6,369.50    2.67%    -4,129.70       3,363.51       1.42%         -1,123.71    Total S&M Other Expenses                            13,989.64    1.19%    32,462.50      3.12%    -18,472.86      13,291.60     1.33%       698.04

       10,869.10      4.08%    12,393.95    5.19%    -1,524.85       1,706.47       0.72%          9,162.63    Total S&M Expenses                                  50,886.63    4.32%    64,146.74      6.17%    -13,260.11      29,413.04     2.94%    21,473.59




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             PTD      %        PTD Budget   %          Variance   PTD Last Year     %               Variance                                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                                R&M
                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
         3,696.08      1.39%     3,621.02    1.52%        75.06           0.00       0.00%          3,696.08    Division Management                                 17,871.88    1.52%    17,302.48      1.66%        569.40           0.00     0.00%     17,871.88
        3,696.08      1.39%     3,621.02    1.52%         75.06           0.00      0.00%          3,696.08     Total R&M Management                               17,871.88    1.52%    17,302.48      1.66%        569.40            0.00    0.00%     17,871.88
             0.00      0.00%     2,657.14    1.11%    -2,657.14       4,529.51       1.92%         -4,529.51    Engineers 1                                              0.00    0.00%    12,942.85      1.24%    -12,942.85      13,186.81     1.32%    -13,186.81
             0.00     0.00%     2,657.14    1.11%    -2,657.14       4,529.51       1.92%         -4,529.51     Total R&M Non-Management                                 0.00   0.00%    12,942.85      1.24%    -12,942.85      13,186.81     1.32%    -13,186.81

        3,696.08      1.39%     6,278.16    2.63%    -2,582.08       4,529.51       1.92%           -833.43     Total R&M Salaries and Wages                       17,871.88    1.52%    30,245.33      2.91%    -12,373.45      13,186.81     1.32%      4,685.07

                                                                                                                PR Taxes and Benefits
           277.20      0.10%       480.28    0.20%      -203.08         341.53       0.14%             -64.33   FICA                                                 1,500.17    0.13%     2,313.77      0.22%       -813.60         994.21     0.10%        505.96
              2.36     0.00%         5.65    0.00%        -3.29          11.95       0.01%              -9.59   Federal Unemployment Tax                                58.44    0.00%        83.01      0.01%        -24.57          49.74     0.00%          8.70
            44.80      0.02%        33.90    0.01%        10.90          61.87       0.03%             -17.07   State Unemployment Tax                                 350.49    0.03%       700.41      0.07%       -349.92         255.79     0.03%         94.70
          324.36      0.12%       519.83    0.22%      -195.47         415.35       0.18%             -90.99    Total Payroll Taxes                                 1,909.10    0.16%     3,097.19      0.30%     -1,188.09       1,299.74     0.13%        609.36
              0.00    0.00%          0.00   0.00%          0.00           0.00      0.00%                0.00   Total Supplemental Pay                                   0.00   0.00%          0.00     0.00%           0.00           0.00    0.00%           0.00
            55.25      0.02%       407.98    0.17%      -352.73         286.18       0.12%           -230.93    Worker's Compensation                                  945.75    0.08%     1,912.36      0.18%       -966.61       1,112.32     0.11%       -166.57
             -4.29     0.00%         0.00    0.00%        -4.29           0.00       0.00%              -4.29   Group Insurance                                         27.53    0.00%         0.00      0.00%         27.53           0.00     0.00%         27.53
            50.96     0.02%       407.98    0.17%      -357.02         286.18       0.12%           -235.22     Total Other Benefits                                  973.28    0.08%     1,912.36      0.18%       -939.08       1,112.32     0.11%       -139.04
          375.32      0.14%       927.81    0.39%      -552.49         701.53       0.30%           -326.21     Total R&M PR Taxes and Benefits                     2,882.38    0.24%     5,009.55      0.48%     -2,127.17       2,412.06     0.24%        470.32

        4,071.40      1.53%     7,205.97    3.02%    -3,134.57       5,231.04       2.21%         -1,159.64     Total R&M Payroll                                  20,754.26    1.76%    35,254.88      3.39%    -14,500.62      15,598.87     1.56%      5,155.39

                                                                                                                Other Expenses
           487.66      0.18%       500.00    0.21%       -12.34         736.25       0.31%           -248.59    Air Conditioning and Refrigeration                   3,592.04    0.30%     2,500.00      0.24%     1,092.04        1,578.68     0.16%     2,013.36
         4,885.55      1.83%       400.00    0.17%     4,485.55         175.92       0.07%          4,709.63    Building                                            13,763.99    1.17%     2,000.00      0.19%    11,763.99        2,989.94     0.30%    10,774.05
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00    Contract Labor                                           0.00    0.00%     3,000.00      0.29%    -3,000.00            0.00     0.00%         0.00
           157.22      0.06%        50.00    0.02%       107.22           0.00       0.00%            157.22    Electric Bulbs                                         356.86    0.03%       250.00      0.02%       106.86          283.98     0.03%        72.88
             0.00      0.00%       100.00    0.04%      -100.00           0.00       0.00%              0.00    Electrical and Mechanical                              207.93    0.02%       500.00      0.05%      -292.07          713.39     0.07%      -505.46
           152.26      0.06%       258.33    0.11%      -106.07           0.00       0.00%            152.26    Elevator Maintenance Contracts                         852.31    0.07%     1,291.65      0.12%      -439.34            0.00     0.00%       852.31
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00    Equipment Maintenance                                    0.00    0.00%         0.00      0.00%         0.00            3.88     0.00%        -3.88
         4,168.62      1.56%       458.33    0.19%     3,710.29       5,557.56       2.35%         -1,388.94    Fire Safety Equipment                               11,187.51    0.95%     5,049.65      0.49%     6,137.86        6,708.43     0.67%     4,479.08
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%              0.00    Floor and Carpet Maintenance                             0.00    0.00%       250.00      0.02%      -250.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00         458.53       0.19%           -458.53    Furniture                                               39.28    0.00%         0.00      0.00%        39.28          587.93     0.06%      -548.65
         1,028.38      0.39%       975.00    0.41%        53.38         947.19       0.40%             81.19    Grounds and Landscaping                              6,072.66    0.52%     4,875.00      0.47%     1,197.66        6,276.23     0.63%      -203.57
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%              0.00    Kitchen Equipment Repairs                              129.90    0.01%       250.00      0.02%      -120.10          293.63     0.03%      -163.73
           171.40      0.06%       150.00    0.06%        21.40         567.83       0.24%           -396.43    Laundry Equipment Repairs                            1,306.86    0.11%       750.00      0.07%       556.86          951.04     0.10%       355.82
           237.25      0.09%         0.00    0.00%       237.25           0.00       0.00%            237.25    Licenses/Permits                                       237.25    0.02%         0.00      0.00%       237.25            0.00     0.00%       237.25
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00    Locks and Keys                                           0.00    0.00%         0.00      0.00%         0.00        1,503.66     0.15%    -1,503.66
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00    Miscellaneous Expense                                    0.00    0.00%         0.00      0.00%         0.00        2,246.50     0.22%    -2,246.50
             0.00      0.00%         0.00    0.00%         0.00         505.76       0.21%           -505.76    Office Supplies                                          0.00    0.00%         0.00      0.00%         0.00          505.76     0.05%      -505.76
            47.21      0.02%         0.00    0.00%        47.21         147.95       0.06%           -100.74    Operating Supplies                                     127.75    0.01%         0.00      0.00%       127.75          694.18     0.07%      -566.43
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%              0.00    Painting and Decorating                                152.37    0.01%       250.00      0.02%       -97.63          374.40     0.04%      -222.03
           189.44      0.07%       450.00    0.19%      -260.56         189.44       0.08%              0.00    Pest Control                                         1,552.83    0.13%     2,250.00      0.22%      -697.17        1,388.23     0.14%       164.60
         2,311.86      0.87%       200.00    0.08%     2,111.86         379.47       0.16%          1,932.39    Plumbing and Heating                                13,341.77    1.13%     1,000.00      0.10%    12,341.77        3,022.54     0.30%    10,319.23
             0.00      0.00%         0.00    0.00%         0.00       1,312.66       0.56%         -1,312.66    Pool Chemicals                                           0.00    0.00%         0.00      0.00%         0.00        2,152.38     0.22%    -2,152.38
         2,661.31      1.00%       650.00    0.27%     2,011.31           0.00       0.00%          2,661.31    Pool Service- Contract                               5,923.70    0.50%     3,250.00      0.31%     2,673.70        3,559.35     0.36%     2,364.35
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00    Signage                                                  0.00    0.00%         0.00      0.00%         0.00          116.71     0.01%      -116.71
             0.00      0.00%        50.00    0.02%       -50.00       1,832.82       0.78%         -1,832.82    Tools                                                  461.77    0.04%       250.00      0.02%       211.77        2,485.49     0.25%    -2,023.72
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00    Travel                                                   0.00    0.00%       500.00      0.05%      -500.00            0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%              0.00    Uniforms                                               161.44    0.01%       250.00      0.02%       -88.56          222.98     0.02%       -61.54
           528.71      0.20%       555.00    0.23%       -26.29         327.44       0.14%            201.27    Waste Removal                                        3,275.64    0.28%     2,775.00      0.27%       500.64        2,709.65     0.27%       565.99
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00    Window Cleaning                                          0.00    0.00%     1,000.00      0.10%    -1,000.00            0.00     0.00%         0.00
       17,026.87      6.39%     4,996.66    2.09%    12,030.21      13,138.82       5.56%          3,888.05     Total R&M Other Expenses                           62,743.86    5.33%    32,241.30      3.10%    30,502.56       41,368.96     4.14%    21,374.90

       21,098.27      7.91%    12,202.63    5.11%     8,895.64      18,369.86       7.77%          2,728.41     Total R&M Expenses                                 83,498.12    7.09%    67,496.18      6.49%    16,001.94       56,967.83     5.70%    26,530.29




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                                                                                             Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                                        P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %               Variance                                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                               Utilities
         1,369.28      0.51%     1,293.04    0.54%        76.24       2,597.55       1.10%         -1,228.27   Water                                                 4,647.26    0.39%     5,845.84      0.56%    -1,198.58       3,662.53     0.37%      984.73
         4,276.98      1.60%     4,964.35    2.08%      -687.37         347.78       0.15%          3,929.20   Electricity                                          14,621.04    1.24%    22,443.85      2.16%    -7,822.81      15,838.48     1.59%   -1,217.44
           690.10      0.26%     1,154.50    0.48%      -464.40         608.90       0.26%             81.20   Gas - Natural HLP                                     6,357.26    0.54%     5,219.50      0.50%     1,137.76       2,711.94     0.27%    3,645.32
             0.00      0.00%         0.00    0.00%         0.00         421.98       0.18%           -421.98   Sewer                                                     0.00    0.00%         0.00      0.00%         0.00         952.71     0.10%     -952.71
        6,336.36      2.38%     7,411.89    3.11%    -1,075.53       3,976.21       1.68%          2,360.15    Total Utilities                                     25,625.56    2.18%    33,509.19      3.22%    -7,883.63      23,165.66     2.32%    2,459.90




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                                                                                               Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                                          P&L - Dual Summary Pages
                                                                                                                               As of 5/31/2022
             PTD      %        PTD Budget    %           Variance   PTD Last Year     %               Variance                                                             YTD     %        YTD Budget %                Variance    YTD Last Year    %           Variance

                                                                                                                 Fixed
         1,305.87      0.49%         0.00     0.00%      1,305.87           0.00       0.00%          1,305.87   Personal Property Taxes                               6,527.35     0.55%          0.00     0.00%        6,527.35           0.00      0.00%      6,527.35
        81,845.62     30.70%    20,496.00     8.59%     61,349.62      40,985.00      17.33%         40,860.62   Real Estate Taxes                                   -17,598.90    -1.49%    102,480.00     9.85%    -120,078.90      102,470.90     10.26%   -120,069.80
        19,835.02      7.44%         0.00     0.00%     19,835.02           0.00       0.00%         19,835.02   Other Business Taxes                                 19,835.02     1.68%          0.00     0.00%       19,835.02           0.00      0.00%     19,835.02
      102,986.51     38.63%    20,496.00     8.59%     82,490.51      40,985.00      17.33%         62,001.51    Total Taxes                                          8,763.47     0.74%    102,480.00     9.85%     -93,716.53      102,470.90     10.26%    -93,707.43
           142.00      0.05%         0.00     0.00%        142.00           0.00       0.00%            142.00   Insurance - Crime                                       710.00     0.06%          0.00     0.00%          710.00           0.00      0.00%        710.00
           296.17      0.11%       296.17     0.12%          0.00          56.00       0.02%            240.17   Insurance - Employment                                1,480.85     0.13%      1,480.85     0.14%            0.00         280.00      0.03%      1,200.85
         3,927.68      1.47%       966.00     0.40%      2,961.68         136.00       0.06%          3,791.68   Insurance - General Liability                         4,678.30     0.40%      4,830.00     0.46%         -151.70         680.00      0.07%      3,998.30
         2,372.78      0.89%     2,586.17     1.08%       -213.39           0.00       0.00%          2,372.78   Insurance - Property                                 13,219.78     1.12%     12,930.85     1.24%          288.93           0.00      0.00%     13,219.78
             0.00      0.00%     1,671.75     0.70%     -1,671.75           0.00       0.00%              0.00   Insurance - Umbrella                                    259.56     0.02%      8,358.75     0.80%       -8,099.19           0.00      0.00%        259.56
        6,738.63      2.53%     5,520.09     2.31%      1,218.54         192.00       0.08%          6,546.63    Total Insurance                                     20,348.49     1.73%     27,600.45     2.65%       -7,251.96         960.00      0.10%     19,388.49
        31,889.00     11.96%    32,846.10    13.77%       -957.10      31,889.00      13.49%              0.00   Ground Lease Expense                                159,446.68    13.53%    160,403.78    15.42%         -957.10     155,733.00     15.59%      3,713.68
       31,889.00     11.96%    32,846.10    13.77%       -957.10      31,889.00      13.49%               0.00   Total Leases & Rent                                159,446.68    13.53%    160,403.78    15.42%         -957.10     155,733.00     15.59%      3,713.68
         8,499.80      3.19%     7,157.92     3.00%      1,341.88       7,004.62       2.96%          1,495.18   Management Fee - Base                                37,854.88     3.21%     31,207.79     3.00%        6,647.09      31,912.00      3.19%      5,942.88
        8,499.80      3.19%     7,157.92     3.00%      1,341.88       7,004.62       2.96%          1,495.18    Total Management Fees                               37,854.88     3.21%     31,207.79     3.00%        6,647.09      31,912.00      3.19%      5,942.88
        10,998.20      4.13%    35,000.00    14.67%    -24,001.80           0.00       0.00%         10,998.20   Capital Reserve                                      62,278.32     5.29%    234,000.00    22.49%    -171,721.68       19,016.44      1.90%     43,261.88
             0.00      0.00%         0.00     0.00%          0.00       9,558.37       4.04%         -9,558.37   Non Recurring Cost                                        0.00     0.00%          0.00     0.00%            0.00       9,558.37      0.96%     -9,558.37
       10,998.20      4.13%    35,000.00    14.67%    -24,001.80       9,558.37       4.04%          1,439.83    Total Other Non-Operating                           62,278.32     5.29%    234,000.00    22.49%    -171,721.68       28,574.81      2.86%     33,703.51




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                                                                                                Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                                             As of 5/31/2022
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %             Variance                                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                                Statistics
           126.00                   126.00                   0.00          126.00                        0.00   # Rooms                                                 126.00                    126.00                     0.00         126.00                     0.00
         3,906.00                 3,906.00                   0.00        3,906.00                        0.00   Available Rooms                                      19,026.00                 19,026.00                     0.00      19,026.00                     0.00
         2,723.00                 2,306.00                 417.00        2,284.00                      439.00   Room Nights Sold                                     14,673.00                 10,435.00                 4,238.00      11,133.00                 3,540.00
          69.71%                   59.04%                 10.68%          58.47%                      11.24%    Occupancy %                                            77.12%                    54.85%                   22.27%         58.51%                   18.61%
           116.35                   121.95                  -5.60          103.45                       12.91   ADR                                                     133.42                    135.41                    -1.99         108.61                    24.81
            81.11                    72.00                   9.12           60.49                       20.63   RevPar                                                  102.90                     74.27                    28.63          63.55                    39.34

                                                                                                                Summary V.11
                                                                                                                Revenue
       316,834.31    98.13%    281,220.50     98.56%    35,613.81      236,269.01     95.97%        80,565.30   Rooms                                              1,957,690.28    98.72%    1,412,977.50    98.59%    544,712.78   1,209,128.31    97.22%     748,561.97
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%             0.00   F&B                                                        0.00     0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
         6,032.61     1.87%      4,106.00      1.44%     1,926.61        9,926.64      4.03%        -3,894.03   Other Departments                                     25,478.72     1.28%       20,150.95     1.41%      5,327.77      34,578.08     2.78%      -9,099.36

      322,866.92    100.00%    285,326.50    100.00%   37,540.42      246,195.65     100.00%       76,671.27    Total Operating Revenue                           1,983,169.00    100.00%   1,433,128.45 100.00%      550,040.55    1,243,706.39 100.00%      739,462.61

                                                                                                                Departmental Expenses
        93,171.98    29.41%     82,513.42     29.34%    10,658.56       71,468.36     30.25%        21,703.62   Rooms                                               442,922.98     22.62%     410,582.43     29.06%     32,340.55     295,179.27    24.41%     147,743.71
             0.00     0.00%          0.00      0.00%         0.00         -256.00      0.00%           256.00   F&B                                                       0.00      0.00%           0.00      0.00%          0.00           0.00     0.00%           0.00
         3,760.55    62.34%      1,758.55     42.83%     2,002.00        4,519.24     45.53%          -758.69   Other Departments                                    11,831.92     46.44%       8,546.37     42.41%      3,285.55      19,213.33    55.57%      -7,381.41

       96,932.53     30.02%     84,271.97    29.54%    12,660.56       75,731.60      30.76%       21,200.93    Total Departmental Expenses                        454,754.90     22.93%     419,128.80     29.25%     35,626.10     314,392.60     25.28%    140,362.30

      225,934.39     69.98%    201,054.53    70.46%    24,879.86      170,464.05      69.24%       55,470.34    Total Departmental Profit                         1,528,414.10    77.07%    1,013,999.65    70.75%    514,414.45     929,313.79     74.72%    599,100.31

                                                                                                                Undistributed Operating Expenses
        33,111.99    10.26%     26,751.53      9.38%     6,360.46       31,327.73     12.72%         1,784.26   A&G                                                 186,519.60      9.41%     151,969.12     10.60%     34,550.48     165,634.60    13.32%      20,885.00
         6,049.56     1.87%      7,406.03      2.60%    -1,356.47            0.00      0.00%         6,049.56   IT                                                   23,053.48      1.16%      27,758.15      1.94%     -4,704.67           0.00     0.00%      23,053.48
         3,098.20     0.96%     12,712.79      4.46%    -9,614.59        3,623.75      1.47%          -525.55   S&M                                                  18,996.91      0.96%      56,248.30      3.92%    -37,251.39      41,190.72     3.31%     -22,193.81
        56,752.12    17.58%     30,512.43     10.69%    26,239.69       23,956.66      9.73%        32,795.46   Franchise Fees                                      246,483.44     12.43%     153,308.08     10.70%     93,175.36     124,580.03    10.02%     121,903.41
        20,565.47     6.37%     13,128.56      4.60%     7,436.91       13,005.82      5.28%         7,559.65   R&M                                                  88,537.40      4.46%      65,349.95      4.56%     23,187.45      73,034.54     5.87%      15,502.86
        21,269.60     6.59%     19,151.60      6.71%     2,118.00       15,446.51      6.27%         5,823.09   Utilities                                            76,756.43      3.87%      93,036.06      6.49%    -16,279.63      67,006.86     5.39%       9,749.57

      140,846.94     43.62%    109,662.94    38.43%    31,184.00       87,360.47      35.48%       53,486.47    Total Undistributed Expenses                       640,347.26     32.29%     547,669.66     38.21%     92,677.60     471,446.75     37.91%    168,900.51

       85,087.45     26.35%     91,391.59    32.03%     -6,304.14      83,103.58      33.76%        1,983.87    Gross Operating Profit                             888,066.84     44.78%     466,329.99     32.54%    421,736.85     457,867.04     36.81%    430,199.80
        10,186.01      3.15%      8,559.80     3.00%      1,626.21       7,885.87       3.20%        2,300.14   Management Fees                                      61,990.32      3.13%      42,993.86      3.00%     18,996.46      39,811.20      3.20%     22,179.12
       74,901.44     23.20%     82,831.79    29.03%     -7,930.35      75,217.71      30.55%         -316.27    Income Before Non-Operating Income and Expenses    826,076.52     41.65%     423,336.13     29.54%    402,740.39     418,055.84     33.61%    408,020.68

                                                                                                                Non-Operating Income and Expenses
         4,702.36      1.46%      6,179.00     2.17%    -1,476.64          261.00       0.11%        4,441.36   Insurance                                            30,678.90      1.55%      30,895.00      2.16%       -216.10       1,304.98      0.10%     29,373.92
        15,071.00      4.67%     15,070.56     5.28%         0.44       14,205.00       5.77%          866.00   Leases & Rent                                        73,599.00      3.71%      73,597.00      5.14%          2.00      71,862.00      5.78%      1,737.00
         3,863.20      1.20%          0.00     0.00%     3,863.20        2,420.00       0.98%        1,443.20   Other                                                22,278.93      1.12%      59,000.00      4.12%    -36,721.07       2,420.00      0.19%     19,858.93
       23,636.56      7.32%     21,249.56     7.45%     2,387.00       16,886.00       6.86%        6,750.56    Total Non-Operating Income and Expenses            126,556.83      6.38%     163,492.00     11.41%    -36,935.17      75,586.98      6.08%     50,969.85

       51,264.88     15.88%     61,582.23    21.58%    -10,317.35      58,331.71      23.69%       -7,066.83    EBITDA                                             699,519.69     35.27%     259,844.13     18.13%    439,675.56     342,468.86     27.54%    357,050.83
             0.00      0.00%          0.00     0.00%         0.00            0.00       0.00%            0.00   Interest                                                  0.00      0.00%           0.00      0.00%         0.00            0.00      0.00%          0.00
        15,058.93      4.66%     15,058.93     5.28%         0.00       15,135.65       6.15%          -76.72   Taxes                                                75,294.65      3.80%      75,294.65      5.25%         0.00       75,678.25      6.08%       -383.60
       15,058.93      4.66%     15,058.93     5.28%          0.00      15,135.65       6.15%          -76.72    Interest, Taxes, Depreciation and Amortization      75,294.65      3.80%      75,294.65      5.25%          0.00      75,678.25      6.08%       -383.60

       36,205.95     11.21%     46,523.30    16.31%    -10,317.35      43,196.06      17.55%       -6,990.11    Net Income                                         624,225.04     31.48%     184,549.48     12.88%    439,675.56     266,790.61     21.45%    357,434.43




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                                                                                            Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %       PTD Budget    %         Variance   PTD Last Year     %             Variance                                                              YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                            Statistics
           126.00                 126.00                 0.00          126.00                       0.00    # Rooms                                                 126.00                   126.00                    0.00         126.00                    0.00
         3,906.00               3,906.00                 0.00        3,906.00                       0.00    Available Rooms                                      19,026.00                19,026.00                    0.00      19,026.00                    0.00
         2,723.00               2,306.00               417.00        2,284.00                     439.00    Room Nights Sold                                     14,673.00                10,435.00                4,238.00      11,133.00                3,540.00
             0.70                   0.59                 0.11            0.58                       0.11    Occupancy %                                               0.77                     0.55                    0.22           0.59                    0.19
           116.35                 121.95                -5.60          103.45                      12.91    ADR                                                     133.42                   135.41                   -1.99         108.61                   24.81
            81.11                  72.00                 9.12           60.49                      20.63    RevPar                                                  102.90                    74.27                   28.63          63.55                   39.34

                                                                                                            Summary
                                                                                                            Revenue:
       316,834.31    98.13%   281,220.50   98.56%    35,613.81     236,269.01     95.97%        80,565.30   Rooms                                              1,957,690.28   98.72%    1,412,977.50    98.59%   544,712.78   1,209,128.31    97.22%    748,561.97
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Food                                                       0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Beverage                                                   0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Other F&B Revenue                                          0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Telephone                                                  0.00    0.00%            0.00     0.00%         0.00         542.50     0.04%       -542.50
         6,032.61     1.87%     4,106.00    1.44%     1,926.61       9,926.64      4.03%        -3,894.03   Other                                                 25,478.72    1.28%       20,150.95     1.41%     5,327.77      34,035.58     2.74%     -8,556.86

       322,866.92   100.00%   285,326.50   100.00%   37,540.42     246,195.65     100.00%       76,671.27   Total Revenue                                      1,983,169.00   100.00%   1,433,128.45   100.00%   550,040.55   1,243,706.39    100.00%   739,462.61



                                                                                                            Cost of Sales:
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Food                                                      0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Beverage                                                  0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Other F&B                                                 0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00         517.23      5.21%          -517.23   Telephone                                                 0.00     0.00%            0.00     0.00%         0.00       2,598.11     7.51%     -2,598.11
         3,760.55    62.34%     1,758.55   42.83%     2,002.00       2,372.56     23.90%         1,387.99   Other                                                11,831.92    46.44%        8,546.37    42.41%     3,285.55       6,566.97    18.99%      5,264.95

         3,760.55    62.34%     1,758.55   42.83%     2,002.00       2,889.79     29.11%          870.76    Total Cost of Sales                                  11,831.92    46.44%        8,546.37    42.41%     3,285.55       9,165.08    26.51%      2,666.84



                                                                                                            Payroll:
        48,501.43    15.31%    38,027.77   13.52%    10,473.66      34,634.23     14.66%        13,867.20   Rooms                                               198,520.66    10.14%     185,168.87     13.10%    13,351.79     141,796.26    11.73%     56,724.40
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   F&B                                                       0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Other                                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        12,442.43     3.85%    11,033.06    3.87%     1,409.37       9,044.67      3.67%         3,397.76   A&G                                                  59,008.92     2.98%      54,014.70      3.77%     4,994.22      48,710.50     3.92%     10,298.42
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   IT                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
           416.67     0.13%     5,557.39    1.95%    -5,140.72           0.00      0.00%           416.67   S&M                                                   2,083.35     0.11%      27,207.39      1.90%   -25,124.04      17,260.32     1.39%    -15,176.97
         5,064.47     1.57%     7,737.87    2.71%    -2,673.40       5,365.39      2.18%          -300.92   R&M                                                  25,251.54     1.27%      37,812.26      2.64%   -12,560.72      15,992.75     1.29%      9,258.79
        66,425.00    20.57%    62,356.09   21.85%     4,068.91      49,044.29     19.92%        17,380.71   Total Salaries and Wages                            284,864.47    14.36%     304,203.22     21.23%   -19,338.75     223,759.83    17.99%     61,104.64

        11,196.52     3.47%    13,552.43    4.75%    -2,355.91       7,968.18      3.24%         3,228.34   Total Taxes and Benefits                             69,425.32     3.50%      85,706.54      5.98%   -16,281.22      41,719.04     3.35%     27,706.28
        77,621.52    24.04%    75,908.52   26.60%     1,713.00      57,012.47     23.16%        20,609.05   Total Labor Costs                                   354,289.79    17.86%     389,909.76     27.21%   -35,619.97     265,478.87    21.35%     88,810.92



                                                                                                            Direct Expenses:
        38,570.93    12.17%    38,138.22   13.56%       432.71      31,380.93     13.28%         7,190.00   Rooms                                               212,102.79    10.83%     183,614.89     12.99%    28,487.90     127,637.01    10.56%     84,465.78
             0.00     0.00%         0.00    0.00%         0.00        -256.00      0.00%           256.00   F&B                                                       0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00       1,629.45     16.41%        -1,629.45   Telephone                                                 0.00     0.00%           0.00      0.00%         0.00      10,048.25    29.06%    -10,048.25
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Other                                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        56,752.12    17.58%    30,512.43   10.69%    26,239.69      23,956.66      9.73%        32,795.46   Franchise Fees                                      246,483.44    12.43%     153,308.08     10.70%    93,175.36     124,580.03    10.02%    121,903.41
        17,980.05     5.57%    13,259.89    4.65%     4,720.16      20,427.99      8.30%        -2,447.94   A&G                                                 101,204.90     5.10%      71,571.80      4.99%    29,633.10     107,346.17     8.63%     -6,141.27
         6,049.56     1.87%     7,406.03    2.60%    -1,356.47           0.00      0.00%         6,049.56   IT                                                   23,053.48     1.16%      27,758.15      1.94%    -4,704.67           0.00     0.00%     23,053.48
         2,681.53     0.83%     3,459.67    1.21%      -778.14       3,623.75      1.47%          -942.22   S&M                                                  16,913.56     0.85%      17,203.35      1.20%      -289.79      19,543.30     1.57%     -2,629.74
        13,093.61     4.06%     4,340.00    1.52%     8,753.61       6,980.52      2.84%         6,113.09   R&M                                                  52,465.85     2.65%      21,850.00      1.52%    30,615.85      55,033.78     4.42%     -2,567.93
        21,269.60     6.59%    19,151.60    6.71%     2,118.00      15,446.51      6.27%         5,823.09   Utilities                                            76,756.43     3.87%      93,036.06      6.49%   -16,279.63      67,006.86     5.39%      9,749.57

       156,397.40    48.44%   116,267.84   40.75%    40,129.56     103,189.81     41.91%        53,207.59   Total Direct Expense                                728,980.45    36.76%     568,342.33     39.66%   160,638.12     511,195.40    41.10%    217,785.05

        85,087.45    26.35%    91,391.59   32.03%    -6,304.14      83,103.58     33.76%         1,983.87   Gross Operating Profit                              888,066.84    44.78%     466,329.99     32.54%   421,736.85     457,867.04    36.81%    430,199.80

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                                                                                           Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                        As of 5/31/2022
             PTD      %       PTD Budget   %          Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance




                                                                                                           Fixed Costs
        15,058.93     4.66%    15,058.93   5.28%          0.00      15,135.65      6.15%          -76.72   Taxes                                                75,294.65   3.80%     75,294.65     5.25%          0.00      75,678.25    6.08%       -383.60
         4,702.36     1.46%     6,179.00   2.17%     -1,476.64         261.00      0.11%        4,441.36   Insurance                                            30,678.90   1.55%     30,895.00     2.16%       -216.10       1,304.98    0.10%     29,373.92
        15,071.00     4.67%    15,070.56   5.28%          0.44      14,205.00      5.77%          866.00   Leases & Rent                                        73,599.00   3.71%     73,597.00     5.14%          2.00      71,862.00    5.78%      1,737.00
        10,186.01     3.15%     8,559.80   3.00%      1,626.21       7,885.87      3.20%        2,300.14   Management Fees                                      61,990.32   3.13%     42,993.86     3.00%     18,996.46      39,811.20    3.20%     22,179.12

        45,018.30    13.94%    44,868.29   15.73%      150.01       37,487.52     15.23%        7,530.78   Total Fixed Expenses                                241,562.87   12.18%   222,780.51     15.55%    18,782.36     188,656.43    15.17%    52,906.44

        40,069.15    12.41%    46,523.30   16.31%    -6,454.15      45,616.06     18.53%       -5,546.91   Net Operating Profit                                646,503.97   32.60%   243,549.48     16.99%   402,954.49     269,210.61    21.65%   377,293.36




        40,069.15    12.41%    46,523.30   16.31%    -6,454.15      45,616.06     18.53%       -5,546.91   Net Operating Income                                646,503.97   32.60%   243,549.48     16.99%   402,954.49     269,210.61    21.65%   377,293.36

         3,863.20     1.20%         0.00   0.00%     3,863.20        2,420.00      0.98%        1,443.20   Capital Reserve                                      22,278.93   1.12%     59,000.00     4.12%    -36,721.07       2,420.00    0.19%     19,858.93

        36,205.95    11.21%    46,523.30   16.31%   -10,317.35      43,196.06     17.55%       -6,990.11   Adjusted NOI                                        624,225.04   31.48%   184,549.48     12.88%   439,675.56     266,790.61    21.45%   357,434.43




        36,205.95    11.21%    46,523.30   16.31%   -10,317.35      43,196.06     17.55%       -6,990.11   Net Profit/(Loss)                                   624,225.04   31.48%   184,549.48     12.88%   439,675.56     266,790.61    21.45%   357,434.43




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                                                                                               Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %             Variance                                                             YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
         9,147.06     2.89%     73,520.00     26.14%   -64,372.94           0.00      0.00%         9,147.06   Corporate Transient                                  14,316.15     0.73%     243,112.00     17.21%   -228,795.85      65,987.73     5.46%    -51,671.58
             0.00     0.00%     16,895.00      6.01%   -16,895.00     195,220.04     82.63%      -195,220.04   Qualified Discounts                                 489,521.09    25.01%     180,691.00     12.79%    308,830.09     872,434.27    72.15%   -382,913.18
           111.00     0.04%      2,205.00      0.78%    -2,094.00      13,886.07      5.88%       -13,775.07   Consortia Transient                                  13,794.83     0.70%      64,026.00      4.53%    -50,231.17      33,047.97     2.73%    -19,253.14
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%             0.00   Leisure Transient                                         0.00     0.00%           0.00      0.00%          0.00       9,494.92     0.79%     -9,494.92
             0.00     0.00%      7,860.50      2.80%    -7,860.50           0.00      0.00%             0.00   Non Qualified Discounts                                   0.00     0.00%      22,697.50      1.61%    -22,697.50           0.00     0.00%          0.00
       253,822.68    80.11%     72,540.00     25.79%   181,282.68           0.00      0.00%       253,822.68   Internet/E-Commerce                                 963,147.87    49.20%     239,030.00     16.92%    724,117.87         364.10     0.03%    962,783.77
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%             0.00   E-Commerce Opaque                                       403.74     0.02%           0.00      0.00%        403.74           0.00     0.00%        403.74
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%             0.00   Other Transient                                           0.00     0.00%           0.00      0.00%          0.00        -139.02    -0.01%        139.02
             0.00     0.00%      3,100.00      1.10%    -3,100.00         192.00      0.08%          -192.00   Government Transient                                      0.00     0.00%      17,984.00      1.27%    -17,984.00         288.00     0.02%       -288.00
        37,845.14    11.94%    100,945.00     35.90%   -63,099.86      24,042.95     10.18%        13,802.19   Rack Transient                                      366,592.51    18.73%     587,820.00     41.60%   -221,227.49     182,463.03    15.09%    184,129.48
        11,362.71     3.59%        505.00      0.18%    10,857.71           0.00      0.00%        11,362.71   Local Negotiated Transient                           77,127.59     3.94%       4,357.00      0.31%     72,770.59       5,198.88     0.43%     71,928.71

      312,288.59     98.57%    277,570.50    98.70%    34,718.09     233,341.06      98.76%       78,947.53    Total Transient Room Revenue                      1,924,903.78   98.33%    1,359,717.50   96.23%     565,186.28    1,169,139.88    96.69%   755,763.90

                                                                                                               Group Room Revenue
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%             0.00   Corporate Group                                           0.00     0.00%      16,610.00     1.18%     -16,610.00           0.00     0.00%          0.00
             0.00     0.00%       3,150.00     1.12%    -3,150.00       2,868.00      1.21%        -2,868.00   SMERF Group                                          21,475.00     1.10%      34,150.00     2.42%     -12,675.00      31,720.00     2.62%    -10,245.00
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%             0.00   To Be Group - Do Not Post                                 0.00     0.00%           0.00     0.00%           0.00       4,141.20     0.34%     -4,141.20

             0.00     0.00%      3,150.00     1.12%    -3,150.00       2,868.00       1.21%       -2,868.00    Total Group Room Revenue                            21,475.00     1.10%      50,760.00      3.59%    -29,285.00      35,861.20     2.97%    -14,386.20

                                                                                                               Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00    Total Contract Room Revenue                               0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                               Other Room Revenue
         2,220.72     0.70%        250.00      0.09%     1,970.72           0.00      0.00%         2,220.72   No-Show Rooms                                         7,127.83     0.36%       1,250.00     0.09%       5,877.83       4,145.98     0.34%      2,981.85
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%             0.00   Early/Late Departure Fees                               258.01     0.01%           0.00     0.00%         258.01           0.00     0.00%        258.01
         2,325.00     0.73%        250.00      0.09%     2,075.00           0.00      0.00%         2,325.00   Pet/Smoking/Damage Fees                               4,871.13     0.25%       1,250.00     0.09%       3,621.13           0.00     0.00%      4,871.13

        4,545.72      1.43%        500.00     0.18%     4,045.72            0.00      0.00%        4,545.72    Total Other Room Revenue                            12,256.97     0.63%        2,500.00     0.18%      9,756.97        4,145.98    0.34%      8,110.99

             0.00     0.00%           0.00     0.00%         0.00          59.95      0.03%           -59.95   Less: Allowances                                       -945.47    -0.05%           0.00     0.00%       -945.47          -18.75     0.00%      -926.72

      316,834.31    100.00%    281,220.50    100.00%   35,613.81     236,269.01     100.00%       80,565.30    Total Room Revenue                                1,957,690.28   100.00%   1,412,977.50 100.00%      544,712.78    1,209,128.31 100.00%     748,561.97

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
         4,452.36      1.41%          0.00     0.00%     4,452.36           0.00       0.00%        4,452.36   Front Office Management                               4,452.36     0.23%           0.00      0.00%      4,452.36           0.00     0.00%      4,452.36
         4,258.27      1.34%      4,168.05     1.48%        90.22       4,540.84       1.92%         -282.57   Housekeeping Management                              20,881.99     1.07%      20,405.57      1.44%        476.42      16,065.69     1.33%      4,816.30
        8,710.63      2.75%      4,168.05     1.48%     4,542.58       4,540.84       1.92%        4,169.79    Total Rooms Management                              25,334.35     1.29%      20,405.57      1.44%      4,928.78      16,065.69     1.33%      9,268.66
         8,989.69      2.84%      6,448.00     2.29%     2,541.69       8,940.48       3.78%           49.21   Front Office Agents                                  48,141.22     2.46%      31,408.00      2.22%     16,733.22      45,159.13     3.73%      2,982.09
             0.00      0.00%      3,720.00     1.32%    -3,720.00           0.00       0.00%            0.00   Night Auditors                                            0.00     0.00%      18,120.00      1.28%    -18,120.00           0.00     0.00%          0.00
         8,674.15      2.74%      3,480.86     1.24%     5,193.29           0.00       0.00%        8,674.15   Breakfast Attendant                                  23,044.62     1.18%      16,955.15      1.20%      6,089.47           0.00     0.00%     23,044.62
       17,663.84      5.58%     13,648.86     4.85%     4,014.98       8,940.48       3.78%        8,723.36    Total Rooms Front Office                            71,185.84     3.64%      66,483.15      4.71%      4,702.69      45,159.13     3.73%     26,026.71
             0.00      0.00%      1,062.86     0.38%    -1,062.86           0.00       0.00%            0.00   Housekeeping Supervisors                                  0.00     0.00%       5,177.15      0.37%     -5,177.15           0.00     0.00%          0.00
        22,126.96      6.98%     12,700.00     4.52%     9,426.96      21,152.91       8.95%          974.05   Room Attendants                                      91,890.00     4.69%      61,695.00      4.37%     30,195.00      80,571.44     6.66%     11,318.56
             0.00      0.00%      3,224.00     1.15%    -3,224.00           0.00       0.00%            0.00   Housepersons                                              0.00     0.00%      15,704.00      1.11%    -15,704.00           0.00     0.00%          0.00
             0.00      0.00%      3,224.00     1.15%    -3,224.00           0.00       0.00%            0.00   Laundry Attendants                                   10,110.47     0.52%      15,704.00      1.11%     -5,593.53           0.00     0.00%     10,110.47
       22,126.96      6.98%     20,210.86     7.19%     1,916.10      21,152.91       8.95%          974.05    Total Rooms Housekeeping                           102,000.47     5.21%      98,280.15      6.96%      3,720.32      80,571.44     6.66%     21,429.03

       48,501.43     15.31%     38,027.77    13.52%    10,473.66      34,634.23      14.66%       13,867.20    Total Rooms Salary and Wages                       198,520.66    10.14%     185,168.87    13.10%      13,351.79     141,796.26     11.73%    56,724.40

                                                                                                               PR Taxes and Benefits
         3,636.07     1.15%       2,933.53     1.04%      702.54        2,653.00      1.12%          983.07    FICA                                                 14,916.74     0.76%      14,828.73     1.05%         88.01       10,874.92     0.90%      4,041.82

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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %             Variance                                                             YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

            79.78      0.03%         34.51    0.01%        45.27          80.42       0.03%           -0.64   Federal Unemployment Tax                                686.59    0.04%         509.10      0.04%        177.49         535.99     0.04%        150.60
           265.89      0.08%        153.39    0.05%       112.50         268.00       0.11%           -2.11   State Unemployment Tax                                2,288.84    0.12%       3,298.10      0.23%     -1,009.26       1,786.56     0.15%        502.28
        3,981.74      1.26%      3,121.43    1.11%       860.31       3,001.42       1.27%          980.32    Total Payroll Taxes                                 17,892.17    0.91%      18,635.93      1.32%       -743.76      13,197.47     1.09%      4,694.70
             0.00      0.00%        150.00    0.05%      -150.00           0.00       0.00%            0.00   Holiday                                                 684.00    0.03%         300.00      0.02%        384.00       1,219.20     0.10%       -535.20
             0.00      0.00%        163.46    0.06%      -163.46           0.00       0.00%            0.00   Vacation                                                118.00    0.01%         693.07      0.05%       -575.07           0.00     0.00%        118.00
           124.00      0.04%          0.00    0.00%       124.00         224.00       0.09%         -100.00   Sick Pay                                                248.00    0.01%           0.00      0.00%        248.00         892.00     0.07%       -644.00
          124.00      0.04%        313.46    0.11%      -189.46         224.00       0.09%         -100.00    Total Supplemental Pay                               1,050.00    0.05%         993.07      0.07%          56.93      2,111.20     0.17%     -1,061.20
         1,498.97      0.47%      2,085.54    0.74%      -586.57       1,250.81       0.53%          248.16   Worker's Compensation                                10,214.60    0.52%      10,384.67      0.73%       -170.07       5,684.26     0.47%      4,530.34
           494.91      0.16%        827.00    0.29%      -332.09         976.97       0.41%         -482.06   Group Insurance                                       3,142.76    0.16%       4,135.00      0.29%       -992.24       4,753.07     0.39%     -1,610.31
             0.00      0.00%          0.00    0.00%         0.00           0.00       0.00%            0.00   Bonus and Incentive Pay                                   0.00    0.00%       7,650.00      0.54%     -7,650.00           0.00     0.00%          0.00
        1,993.88      0.63%      2,912.54    1.04%      -918.66       2,227.78       0.94%         -233.90    Total Other Benefits                                13,357.36    0.68%      22,169.67      1.57%     -8,812.31      10,437.33     0.86%      2,920.03

        6,099.62      1.93%      6,347.43    2.26%      -247.81       5,453.20       2.31%          646.42    Total Rooms PR Taxes and Benefits                   32,299.53    1.65%      41,798.67      2.96%     -9,499.14      25,746.00     2.13%      6,553.53

       54,601.05     17.23%     44,375.20    15.78%   10,225.85      40,087.43      16.97%       14,513.62    Total Rooms Labor Costs                            230,820.19    11.79%    226,967.54    16.06%       3,852.65     167,542.26     13.86%    63,277.93

                                                                                                              Other Expenses
        12,955.84     4.09%     10,795.00     3.84%     2,160.84       9,974.72      4.22%         2,981.12   Breakfast /Comp Cost                                 73,310.19    3.74%      52,440.75     3.71%     20,869.44       33,919.45     2.81%    39,390.74
         1,422.65     0.45%      1,397.00     0.50%        25.65       1,697.28      0.72%          -274.63   Cleaning Supplies                                     9,373.89    0.48%       6,786.45     0.48%      2,587.44        6,957.69     0.58%     2,416.20
             0.00     0.00%         55.00     0.02%       -55.00           0.00      0.00%             0.00   Dues and Subscriptions                                   55.39    0.00%         275.00     0.02%       -219.61           55.39     0.00%         0.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%             0.00   Glassware                                                 0.00    0.00%           0.00     0.00%          0.00          362.78     0.03%      -362.78
           846.77     0.27%      2,667.00     0.95%    -1,820.23          21.65      0.01%           825.12   Guest Supplies                                       17,677.65    0.90%      12,955.95     0.92%      4,721.70        9,706.96     0.80%     7,970.69
             0.00     0.00%          0.00     0.00%         0.00         441.00      0.19%          -441.00   Internet/Web Expense                                      0.00    0.00%           0.00     0.00%          0.00        1,764.00     0.15%    -1,764.00
             0.00     0.00%        889.00     0.32%      -889.00         395.47      0.17%          -395.47   Laundry                                                 708.48    0.04%       4,318.65     0.31%     -3,610.17        5,326.13     0.44%    -4,617.65
             0.00     0.00%      1,397.00     0.50%    -1,397.00           0.00      0.00%             0.00   Linen                                                10,422.37    0.53%       6,786.45     0.48%      3,635.92        6,852.49     0.57%     3,569.88
             0.00     0.00%          0.00     0.00%         0.00         428.42      0.18%          -428.42   Operating Supplies                                        0.00    0.00%           0.00     0.00%          0.00          760.16     0.06%      -760.16
             0.00     0.00%        100.00     0.04%      -100.00           0.00      0.00%             0.00   Printing and Stationery                                   0.00    0.00%         500.00     0.04%       -500.00          452.50     0.04%      -452.50
         4,294.17     1.36%      1,406.10     0.50%     2,888.07           0.00      0.00%         4,294.17   Reservation Expense                                  14,327.08    0.73%       7,064.89     0.50%      7,262.19            0.00     0.00%    14,327.08
             0.00     0.00%          0.00     0.00%         0.00         281.09      0.12%          -281.09   Software Expense/Maintenance                              0.00    0.00%           0.00     0.00%          0.00          805.45     0.07%      -805.45
         1,319.68     0.42%      1,275.00     0.45%        44.68       1,298.64      0.55%            21.04   Television Cable                                      8,920.19    0.46%       6,375.00     0.45%      2,545.19        7,486.66     0.62%     1,433.53
            38.85     0.01%          0.00     0.00%        38.85           0.00      0.00%            38.85   Training                                              1,738.85    0.09%           0.00     0.00%      1,738.85            0.00     0.00%     1,738.85
             0.00     0.00%         63.00     0.02%       -63.00       3,779.14      1.60%        -3,779.14   Travel Agent Comm - Group Rooms                           0.00    0.00%       8,515.20     0.60%     -8,515.20        5,164.18     0.43%    -5,164.18
        15,785.93     4.98%     17,994.12     6.40%    -2,208.19      12,411.15      5.25%         3,374.78   Travel Agent Comm - Transient Rooms                  71,600.09    3.66%      77,096.55     5.46%     -5,496.46       47,370.80     3.92%    24,229.29
            42.86     0.01%        100.00     0.04%       -57.14         652.37      0.28%          -609.51   Uniforms                                                525.35    0.03%         500.00     0.04%         25.35          652.37     0.05%      -127.02
         1,864.18     0.59%          0.00     0.00%     1,864.18           0.00      0.00%         1,864.18   Walked Guests                                         3,443.26    0.18%           0.00     0.00%      3,443.26            0.00     0.00%     3,443.26

       38,570.93     12.17%     38,138.22    13.56%     432.71       31,380.93      13.28%        7,190.00    Total Rooms Other Expenses                         212,102.79    10.83%    183,614.89    12.99%      28,487.90     127,637.01     10.56%    84,465.78

       93,171.98     29.41%     82,513.42    29.34%   10,658.56      71,468.36      30.25%       21,703.62    Total Rooms Expenses                               442,922.98    22.62%    410,582.43    29.06%      32,340.55     295,179.27     24.41%   147,743.71

      223,662.33     70.59%    198,707.08    70.66%   24,955.25     164,800.65      69.75%       58,861.68    Total Rooms Profit (Loss)                         1,514,767.30   77.38%   1,002,395.07   70.94%     512,372.23     913,949.04     75.59%   600,818.26




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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                             YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
           370.00              620.00        -250.00         247.00                  123.00   Room Stat - Corporate Transient                       2,880.00         2,086.00         794.00       1,720.00          1,160.00
            15.00                0.00          15.00       1,805.00               -1,790.00   Room Stat - Qualified Discounts                       3,873.00             0.00       3,873.00       8,037.00         -4,164.00
             0.00               21.00         -21.00         198.00                 -198.00   Room Stat - Consortia Rate Transient                    186.00           590.00        -404.00         731.00           -545.00
             0.00                0.00           0.00           0.00                    0.00   Room Stat - Leisure Transient                             0.00             0.00           0.00          54.00            -54.00
         2,338.00              806.00       1,532.00           0.00                2,338.00   Room Stat - Internet                                  6,967.00         2,510.00       4,457.00           0.00          6,967.00
             0.00                0.00           0.00           0.00                    0.00   Room Stat - E-Commerce Opaque                             3.00             0.00           3.00           2.00              1.00
             0.00               31.00         -31.00           2.00                   -2.00   Room Stat - Government Rate Transient                     0.00           153.00        -153.00           3.00             -3.00
             0.00              788.00        -788.00           0.00                    0.00   Room Stat - Rack Rate Transient                           2.00         4,608.00      -4,606.00         273.00           -271.00
             0.00                5.00          -5.00           0.00                    0.00   Room Stat - Local Negotiated Transient                  562.00            53.00         509.00           0.00            562.00
        2,723.00            2,271.00         452.00       2,252.00                  471.00    Total Transient Rooms Sold                          14,473.00        10,000.00       4,473.00      10,820.00          3,653.00

                                                                                              Group Rooms
             0.00               0.00            0.00           0.00                    0.00   Room Stat - Corporate Group Rooms                         0.00           150.00        -150.00           0.00              0.00
             0.00              35.00          -35.00          32.00                  -32.00   Room Stat - SMERF Group                                 200.00           285.00         -85.00         255.00            -55.00
             0.00               0.00            0.00           0.00                    0.00   Room Stat - Sports Group                                  0.00             0.00           0.00          10.00            -10.00
             0.00               0.00            0.00           0.00                    0.00   Room Stat - Other Group                                   0.00             0.00           0.00          48.00            -48.00
             0.00              35.00         -35.00           32.00                 -32.00    Total Group Rooms Sold                                 200.00           435.00        -235.00         313.00           -113.00

                                                                                              Contract Rooms
             0.00               0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                                0.00             0.00           0.00            0.00             0.00

        2,723.00            2,306.00         417.00       2,284.00                 439.00     Total Rooms Sold                                    14,673.00        10,435.00       4,238.00      11,133.00          3,540.00
            22.00               0.00           22.00          62.00                 -40.00    Room Stat - Comp Rooms                                   79.00            0.00           79.00          90.00            -11.00
        2,745.00            2,306.00         439.00       2,346.00                 399.00     Total Rooms Occupied                                14,752.00        10,435.00       4,317.00      11,223.00          3,529.00
           480.00               0.00          480.00         888.00                -408.00    Room Stat - Out of Order                              2,387.00            0.00        2,387.00       4,895.00         -2,508.00

                                                                                              ADR
            24.72              118.58        -93.86            0.00                  24.72    Corporate Transient ADR                                   4.97           116.54        -111.57          38.36            -33.39
             0.00                0.00          0.00            0.00                   0.00    Advanced Purchase ADR                                     0.00             0.00           0.00           0.00              0.00
             0.00                0.00          0.00          108.16                -108.16    Qualified Discount ADR                                  126.39             0.00         126.39         108.55             17.84
             0.00                0.00          0.00            0.00                   0.00    FIT ADR                                                   0.00             0.00           0.00           0.00              0.00
             0.00              105.00       -105.00           70.13                 -70.13    Consortia ADR                                            74.17           108.52         -34.35          45.21             28.96
             0.00                0.00          0.00            0.00                   0.00    Employee ADR                                              0.00             0.00           0.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Leisure ADR                                               0.00             0.00           0.00         175.83           -175.83
             0.00                0.00          0.00            0.00                   0.00    Travel Agent/Friends & Family ADR                         0.00             0.00           0.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Leisure Package ADR                                       0.00             0.00           0.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Member Reward Stay ADR                                    0.00             0.00           0.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Golf Pkg ADR                                              0.00             0.00           0.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Non Qualified ADR                                         0.00             0.00           0.00           0.00              0.00
           108.56               90.00         18.56            0.00                 108.56    Internet ADR                                            138.24            95.23          43.01           0.00            138.24
             0.00                0.00          0.00            0.00                   0.00    E-Commerce Opaque ADR                                   134.58             0.00         134.58           0.00            134.58
             0.00                0.00          0.00            0.00                   0.00    Other Transient ADR                                       0.00             0.00           0.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Airline Distressed Passenger ADR                          0.00             0.00           0.00           0.00              0.00
             0.00              100.00       -100.00           96.00                 -96.00    Government ADR                                            0.00           117.54        -117.54          96.00            -96.00
             0.00              128.10       -128.10            0.00                   0.00    Rack ADR                                            183,296.26           127.57     183,168.69         668.36        182,627.89
             0.00              101.00       -101.00            0.00                   0.00    Local Negotiated ADR                                    137.24            82.21          55.03           0.00            137.24
          114.69              122.22          -7.54         103.62                   11.07    Total Transient ADR                                    133.00           135.97           -2.97        108.05              24.95

             0.00               0.00            0.00           0.00                    0.00   Corporate Group ADR                                       0.00           110.73        -110.73           0.00              0.00
             0.00               0.00            0.00           0.00                    0.00   Leisure Group ADR                                         0.00             0.00           0.00           0.00              0.00
             0.00               0.00            0.00           0.00                    0.00   Government Group ADR                                      0.00             0.00           0.00           0.00              0.00
             0.00               0.00            0.00           0.00                    0.00   Tour & Travel Group ADR                                   0.00             0.00           0.00           0.00              0.00
             0.00               0.00            0.00           0.00                    0.00   Association Group ADR                                     0.00             0.00           0.00           0.00              0.00
             0.00               0.00            0.00           0.00                    0.00   City Wide Group ADR                                       0.00             0.00           0.00           0.00              0.00
             0.00              90.00          -90.00          89.63                  -89.63   SMERF Group ADR                                         107.38           119.82         -12.45         124.39            -17.02
             0.00               0.00            0.00           0.00                    0.00   Sports Group ADR                                          0.00             0.00           0.00           0.00              0.00
             0.00               0.00            0.00           0.00                    0.00   Other Group ADR                                           0.00             0.00           0.00          86.28            -86.28
             0.00              90.00         -90.00           89.63                 -89.63    Total Group ADR                                        107.38           116.69           -9.31        114.57              -7.20

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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance


             0.00               0.00           0.00            0.00                   0.00    Airline Crew ADR                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Other Contract ADR                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Contract ADR                                       0.00            0.00         0.00            0.00           0.00

          116.35              121.95          -5.60         103.45                   12.91    Total ADR                                              133.42          135.41        -1.99         108.61           24.81




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           F&B Summary
                                                                                                           Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Food Revenue                                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Food Revenue                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Beverage Revenue                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Beverage Revenue                   0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Outlet Other Revenue                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Banquet and Catering Other Revenue                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Revenue                                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Food Purchases                                          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Beverage Purchases                                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Cedit Employee Meals                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Credit House Charges                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Credit In-House Promotions                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Audio Visual Cost of Sales                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Other Cost of Sales                                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Cost of Sales                                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    F&B Gross Profit                                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll
                                                                                                           Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Management                                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Non-Management                                          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Salaries and Wages                            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Payroll Taxes                                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Supplemental Pay                                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Other Benefits                                          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B PR Taxes and Benefits                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total F&B Payroll                                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Audio Visual Supplies                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Banquet Expense                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Bar Expense/Promos                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Bar Supplies                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    China                                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Cleaning Supplies                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Communication Expense                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Contract Cleaning                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Contract Labor                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Decorations & Plants                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Dues and Subscriptions                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Equipment Rental                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Food and Beverage Advertising                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Glassware                                                0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Loss/Damage                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Supplies                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    In-House Entertainment                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen/Cooking Fuel                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen Equipment                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Laundry - Outside Expense                                0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Laundry Allocation                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Licenses/Permits                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Linen                                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Linen Rental                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                           Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                                        As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Maintenance Contracts                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Meals and Entertainment                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Menus                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Miscellaneous Expense                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Music and Entertainment                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Office Equipment                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Office Supplies                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Operating Supplies                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00         -256.00       0.00%          256.00   Paper/Plastic Supplies                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Printing and Stationery                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Silverware                                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Software Expense/Maintenance                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Television Cable                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Training                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Travel                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Uniforms                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00   Utensils                                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00        -256.00       0.00%          256.00    Total F&B Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00        -256.00       0.00%          256.00    Total F&B Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00         256.00       0.00%         -256.00    Total F&B Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                              Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                           As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers                               0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                                  0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                               0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                  0.00             0.00         0.00            0.00           0.00

                                                                                              Room Service
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Room Service Covers                               0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Room Service Avg Check                                  0.00             0.00         0.00            0.00           0.00

                                                                                              Banquets
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Banquets Covers                                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Banquets Avg Check                                      0.00             0.00         0.00            0.00           0.00

                                                                                              Catering
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Catering Covers                                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Catering Avg Check                                      0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                0.00          0.00            0.00                   0.00    Breakfast Avg Check                                      0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Lunch Avg Check                                          0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Dinner Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Brunch Avg Check                                         0.00             0.00        0.00            0.00           0.00
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %         Variance                                                            YTD   %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                              Bar 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                              Bar 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                         0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                   0.00    Total Covers                                            0.00            0.00         0.00            0.00           0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Cost of Sales                          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Management                             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Non-Management                         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Salaries and Wages                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin PR Taxes and Benefits                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Payroll                                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00   0.00%      0.00         -256.00      0.00%         256.00    Paper/Plastic Supplies                                   0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00        -256.00       0.00%         256.00    Total Food Admin Other Expenses                         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00        -256.00       0.00%         256.00    Total Food Admin Expenses                               0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00        -256.00       0.00%         256.00    Departmental Costs                                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Less Adjustments                                         0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Revenue                            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Cost of Sales                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Other Expenses                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Expenses                           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 1 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 1 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 2 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 2 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Room Service
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Other Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Room Service Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Room Service Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Banquets
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Banquets Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Banquets Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                       0.00    Total Banquets Salaries and Wages                       0.00                 0.00                  0.00            0.00                0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                       0.00    Total Banquet Benefits                                  0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Banquets Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Catering
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Catering Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Catering Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 3 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Payroll Taxes and Benefits           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 3 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 4 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restauarnt 4 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 4 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                                        As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Restaurant 5 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Restaurant 5 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 1 Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 1 Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 1 Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 2 Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Bar 2 Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Bar 2 Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year    %           Variance

                                                                                                           Telephone
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%            0.00    Local and Long Distance Revenue                          0.00   0.00%          0.00     0.00%       0.00          556.91    102.66%      -556.91

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Telephone Revenue                                       0.00    0.00%         0.00      0.00%       0.00         556.91 102.66%          -556.91
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Adjustments Long Distance                               0.00     0.00%        0.00       0.00%      0.00          -14.41  -2.66%           14.41
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%           0.00    Less: Adjustments                                       0.00     0.00%        0.00       0.00%      0.00          -14.41  -2.66%           14.41
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Telephone Revenue                                 0.00    0.00%         0.00      0.00%       0.00         542.50 100.00%          -542.50

                                                                                                           Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00          517.23       0.00%         -517.23   Cost of Sales - Long Distance                           0.00     0.00%        0.00       0.00%      0.00        2,598.11 478.91%        -2,598.11
             0.00     0.00%         0.00    0.00%       0.00         517.23       0.00%         -517.23    Total Telephone Cost of Sales                           0.00    0.00%         0.00      0.00%       0.00       2,598.11 478.91%        -2,598.11

             0.00     0.00%         0.00    0.00%       0.00        -517.23       0.00%          517.23    Gross Profit                                            0.00    0.00%         0.00      0.00%       0.00      -2,055.61 -378.91%        2,055.61

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%      0.00        1,400.00       0.00%       -1,400.00   Internet/Web Expense                                    0.00     0.00%        0.00       0.00%      0.00        8,901.00 1,640.74%      -8,901.00
             0.00      0.00%        0.00     0.00%      0.00          229.45       0.00%         -229.45   Software Expense/Maintenance                            0.00     0.00%        0.00       0.00%      0.00        1,147.25 211.47%        -1,147.25
             0.00     0.00%         0.00    0.00%       0.00       1,629.45       0.00%       -1,629.45    Total Telephone Other Expenses                          0.00    0.00%         0.00      0.00%       0.00      10,048.251,852.21%      -10,048.25

             0.00     0.00%         0.00    0.00%       0.00      -2,146.68       0.00%        2,146.68    Total Telephone Profit (Loss)                           0.00    0.00%         0.00      0.00%       0.00     -12,103.86
                                                                                                                                                                                                                                 -2,231.13%      12,103.86




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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %             Variance                                                             YTD     %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                              Minor Operating
                                                                                                              Income
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%             0.00   Total Rental Income                                       0.00    0.00%          0.00  0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%             0.00   Total Vending Commission Income                           0.00    0.00%          0.00  0.00%           0.00           0.00     0.00%          0.00
           386.21      6.40%         0.00      0.00%      386.21       1,752.91      17.66%       -1,366.70   Cancellation Fee - Rooms                              2,382.15     9.35%         0.00   0.00%      2,382.15       3,236.96      9.51%      -854.81
          386.21      6.40%          0.00     0.00%      386.21       1,752.91      17.66%       -1,366.70    Total Cancellation Fee Income                        2,382.15     9.35%          0.00  0.00%      2,382.15       3,236.96      9.51%      -854.81
             0.00      0.00%        50.00      1.22%      -50.00         370.00       3.73%         -370.00   Guest Laundry                                           220.00     0.86%       250.00   1.24%        -30.00         513.25      1.51%      -293.25
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%            0.00   Interest Earned                                           0.00     0.00%         0.00   0.00%          0.00         135.87      0.40%      -135.87
           212.85      3.53%         0.00      0.00%      212.85         138.60       1.40%           74.25   Internet Access                                         668.25     2.62%         0.00   0.00%        668.25         882.61      2.59%      -214.36
             0.00      0.00%         0.00      0.00%        0.00       4,324.82      43.57%       -4,324.82   Telephone Revenue                                     3,030.96    11.90%         0.00   0.00%      3,030.96      13,470.29     39.58%   -10,439.33
         1,857.00     30.78%     1,389.00     33.83%      468.00           0.00       0.00%        1,857.00   Other Revenue 3                                       5,023.76    19.72%     6,945.00  34.46%     -1,921.24         160.75      0.47%     4,863.01
         3,576.55     59.29%     2,667.00     64.95%      909.55       2,665.31      26.85%          911.24   Gift Shop Sales                                      14,153.60    55.55%    12,955.95  64.29%      1,197.65      12,812.98     37.65%     1,340.62
             0.00      0.00%         0.00      0.00%        0.00         675.00       6.80%         -675.00   Pet Fees                                                  0.00     0.00%         0.00   0.00%          0.00       2,822.87      8.29%    -2,822.87
        5,646.40     93.60%     4,106.00    100.00%    1,540.40       8,173.73      82.34%       -2,527.33    Total Other Income                                  23,096.57    90.65%    20,150.95 100.00%      2,945.62      30,798.62     90.49%    -7,702.05

        6,032.61    100.00%     4,106.00    100.00%    1,926.61       9,926.64     100.00%       -3,894.03    Total Minor Operating Income                        25,478.72    100.00%   20,150.95 100.00%      5,327.77      34,035.58 100.00%        -8,556.86

                                                                                                              Cost of Sales
             0.00      0.00%        25.00      0.61%      -25.00           0.00       0.00%            0.00   Cost of Sales - Guest Laundry                             0.00     0.00%       125.00     0.62%     -125.00          12.00      0.04%       -12.00
         3,760.55     62.34%     1,733.55     42.22%    2,027.00       2,372.56      23.90%        1,387.99   Cost of Sales - Gift Shop                            11,831.92    46.44%     8,421.37    41.79%    3,410.55       6,554.97     19.26%     5,276.95
        3,760.55     62.34%     1,758.55     42.83%    2,002.00       2,372.56      23.90%        1,387.99    Total Minor Operated Cost of Sales                  11,831.92    46.44%     8,546.37    42.41%    3,285.55       6,566.97     19.29%     5,264.95

        2,272.06     37.66%     2,347.45     57.17%      -75.39       7,554.08      76.10%       -5,282.02    Total Minor Operated Profit (Loss)                  13,646.80    53.56%    11,604.58    57.59%    2,042.22      27,468.61     80.71%    -13,821.81




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                            YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Revenue                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Non-Management                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Profit (Loss)                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                                            YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Revenue                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Non-Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Salaries and Wages                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark PR Taxes and Benefits                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Payroll                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Other Expenses                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Profit (Loss)                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %         Variance   PTD Last Year     %             Variance                                                             YTD     %       YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                            Franchise Fees
             0.00     0.00%         0.00    0.00%        0.00        1,327.53       0.54%       -1,327.53   Franchise Fees - IT Fees                                  0.00    0.00%         0.00     0.00%        0.00        8,136.55     0.65%    -8,136.55
        17,276.33     5.35%    15,326.52    5.37%    1,949.81       13,137.94       5.34%        4,138.39   Franchise Fees - Royalty & Licenses                 107,117.07    5.40%    77,007.28     5.37%   30,109.79       66,750.33     5.37%    40,366.74
             0.00     0.00%         0.00    0.00%        0.00        1,377.62       0.56%       -1,377.62   Franchise Fees - Other                                    0.00    0.00%         0.00     0.00%        0.00        2,918.71     0.23%    -2,918.71
        28,481.77     8.82%     5,343.19    1.87%   23,138.58         -246.94      -0.10%       28,728.71   Franchise Fees - Frequent Guest                      70,642.87    3.56%    26,846.58     1.87%   43,796.29        3,570.03     0.29%    67,072.84
        10,994.02     3.41%     9,842.72    3.45%    1,151.30        8,360.51       3.40%        2,633.51   Franchise Fees - Marketing Contributions             68,723.50    3.47%    49,454.22     3.45%   19,269.28       42,185.00     3.39%    26,538.50
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Franchise Fees - Reservations-Central                     0.00    0.00%         0.00     0.00%        0.00        1,019.41     0.08%    -1,019.41

       56,752.12     17.58%   30,512.43    10.69%   26,239.69      23,956.66       9.73%       32,795.46    Total Franchise Fees                               246,483.44    12.43%   153,308.08   10.70%    93,175.36     124,580.03     10.02%   121,903.41




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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %             Variance                                                             YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
        12,442.43      3.85%    11,033.06    3.87%    1,409.37       9,044.67       3.67%        3,397.76    Management- A&G                                     59,008.92    2.98%     54,014.70     3.77%     4,994.22      48,710.50      3.92%    10,298.42
       12,442.43      3.85%    11,033.06    3.87%    1,409.37       9,044.67       3.67%        3,397.76     Total A&G Management                               59,008.92    2.98%     54,014.70     3.77%     4,994.22      48,710.50      3.92%    10,298.42
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%             0.00    Total A&G Non-Management                                 0.00   0.00%           0.00    0.00%          0.00           0.00     0.00%          0.00
       12,442.43      3.85%    11,033.06    3.87%    1,409.37       9,044.67       3.67%        3,397.76     Total A&G Salaries and Wages                       59,008.92    2.98%     54,014.70     3.77%     4,994.22      48,710.50      3.92%    10,298.42
                                                                                                             PR Taxes and Benefits
           501.22      0.16%       877.13    0.31%     -375.91         385.48       0.16%          115.74    FICA                                                 5,293.77    0.27%      5,190.48     0.36%       103.29       3,673.34      0.30%     1,620.43
             7.68      0.00%        10.32    0.00%       -2.64          12.14       0.00%            -4.46   Federal Unemployment Tax                               236.91    0.01%        200.26     0.01%        36.65         171.21      0.01%        65.70
            25.58      0.01%        45.86    0.02%      -20.28          40.43       0.02%          -14.85    State Unemployment Tax                                 789.75    0.04%      1,200.16     0.08%      -410.41         625.26      0.05%       164.49
          534.48      0.17%       933.31    0.33%     -398.83         438.05       0.18%            96.43    Total Payroll Taxes                                 6,320.43    0.32%      6,590.90     0.46%      -270.47       4,469.81      0.36%     1,850.62
             0.00      0.00%       432.69    0.15%     -432.69           0.00       0.00%             0.00   Vacation                                                 0.00    0.00%      1,834.61     0.13%    -1,834.61           0.00      0.00%         0.00
             0.00     0.00%       432.69    0.15%     -432.69            0.00      0.00%              0.00   Total Supplemental Pay                                   0.00   0.00%      1,834.61     0.13%    -1,834.61            0.00     0.00%          0.00
         1,241.85      0.38%       623.58    0.22%      618.27         316.72       0.13%          925.13    Worker's Compensation                                3,948.74    0.20%      3,612.11     0.25%       336.63       2,019.21      0.16%     1,929.53
           913.18      0.28%       469.00    0.16%      444.18       1,100.30       0.45%         -187.12    Group Insurance                                      3,693.28    0.19%      2,345.00     0.16%     1,348.28       3,088.91      0.25%       604.37
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%             0.00   Bonus and Incentive Pay                             12,343.33    0.62%     12,000.00     0.84%       343.33           0.00      0.00%    12,343.33
        2,155.03      0.67%     1,092.58    0.38%    1,062.45       1,417.02       0.58%          738.01     Total Other Benefits                               19,985.35    1.01%     17,957.11     1.25%     2,028.24       5,108.12      0.41%    14,877.23
        2,689.51      0.83%     2,458.58    0.86%      230.93       1,855.07       0.75%          834.44     Total A&G PR Taxes and Benefits                    26,305.78    1.33%     26,382.62     1.84%        -76.84      9,577.93      0.77%    16,727.85
       15,131.94      4.69%    13,491.64    4.73%    1,640.30      10,899.74       4.43%        4,232.20     Total A&G Payroll                                  85,314.70    4.30%     80,397.32     5.61%     4,917.38      58,288.43      4.69%    27,026.27
                                                                                                             Other Expenses
             0.00      0.00%         0.00    0.00%        0.00       1,000.00       0.41%       -1,000.00    Accounting/Audit Fees                                    0.00    0.00%          0.00     0.00%         0.00       7,000.00      0.56%    -7,000.00
         4,563.11      1.41%         0.00    0.00%    4,563.11       2,544.30       1.03%        2,018.81    Bad Debt Provision                                  18,107.86    0.91%          0.00     0.00%    18,107.86       4,961.70      0.40%    13,146.16
         1,115.39      0.35%     1,200.00    0.42%      -84.61         766.67       0.31%          348.72    Bank Charges                                         4,543.25    0.23%      6,000.00     0.42%    -1,456.75       3,498.53      0.28%     1,044.72
           -41.60     -0.01%         0.00    0.00%      -41.60           3.75       0.00%          -45.35    Cash Over/Short                                        -23.29    0.00%          0.00     0.00%       -23.29          93.12      0.01%      -116.41
             0.00      0.00%       350.00    0.12%     -350.00         745.28       0.30%         -745.28    Central Office - Travel Rebilled                         0.00    0.00%      1,750.00     0.12%    -1,750.00       4,274.72      0.34%    -4,274.72
         1,000.00      0.31%     1,000.00    0.35%        0.00           0.00       0.00%        1,000.00    Central Office - Accounting Fees                     5,000.00    0.25%      5,000.00     0.35%         0.00           0.00      0.00%     5,000.00
             0.00      0.00%         0.00    0.00%        0.00         160.00       0.06%         -160.00    Central Office - IT Fees                                 0.00    0.00%          0.00     0.00%         0.00       1,750.00      0.14%    -1,750.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%            0.00    Communication Expense                                    0.00    0.00%          0.00     0.00%         0.00          60.00      0.00%       -60.00
         8,222.22      2.55%     6,334.25    2.22%    1,887.97       4,595.02       1.87%        3,627.20    Credit Card Commission                              48,439.72    2.44%     31,815.45     2.22%    16,624.27      30,801.69      2.48%    17,638.03
           541.89      0.17%         0.00    0.00%      541.89           0.00       0.00%          541.89    Dues and Subscriptions                               2,137.19    0.11%          0.00     0.00%     2,137.19       2,555.39      0.21%      -418.20
           349.88      0.11%       200.00    0.07%      149.88          25.14       0.01%          324.74    Employee Relations                                   1,762.72    0.09%      1,795.00     0.13%       -32.28         229.08      0.02%     1,533.64
           100.84      0.03%       104.00    0.04%       -3.16           0.00       0.00%          100.84    Equipment Rental                                       100.84    0.01%        520.00     0.04%      -419.16         207.76      0.02%      -106.92
           105.00      0.03%       347.50    0.12%     -242.50       1,025.00       0.42%         -920.00    Licenses/Permits                                       797.50    0.04%      1,737.50     0.12%      -940.00       2,068.06      0.17%    -1,270.56
             0.00      0.00%         0.00    0.00%        0.00         108.02       0.04%         -108.02    Meals and Entertainment                                153.67    0.01%          0.00     0.00%       153.67         131.89      0.01%        21.78
           163.53      0.05%         0.00    0.00%      163.53          36.84       0.01%          126.69    Miscellaneous Expense                                  802.96    0.04%          0.00     0.00%       802.96         320.71      0.03%       482.25
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%            0.00    Office Equipment                                         0.00    0.00%          0.00     0.00%         0.00         509.56      0.04%      -509.56
             0.00      0.00%         0.00    0.00%        0.00         317.26       0.13%         -317.26    Office Supplies                                          0.00    0.00%          0.00     0.00%         0.00       1,269.42      0.10%    -1,269.42
         1,309.59      0.41%         0.00    0.00%    1,309.59          68.03       0.03%        1,241.56    Operating Supplies                                   3,601.82    0.18%          0.00     0.00%     3,601.82         323.49      0.03%     3,278.33
             0.00      0.00%       449.14    0.16%     -449.14         138.56       0.06%         -138.56    Payroll Service Fees                                 1,082.79    0.05%      2,238.85     0.16%    -1,156.06         686.02      0.06%       396.77
             0.00      0.00%        50.00    0.02%      -50.00          24.08       0.01%          -24.08    Postage                                                299.90    0.02%        250.00     0.02%        49.90         404.56      0.03%      -104.66
            12.50      0.00%       150.00    0.05%     -137.50       1,143.00       0.46%       -1,130.50    Professional Fees - Legal                            2,858.77    0.14%        750.00     0.05%     2,108.77       5,917.55      0.48%    -3,058.78
             0.00      0.00%         0.00    0.00%        0.00         780.00       0.32%         -780.00    Professional Fees - Other                            3,400.00    0.17%        650.00     0.05%     2,750.00      10,617.69      0.85%    -7,217.69
           357.90      0.11%         0.00    0.00%      357.90         640.00       0.26%         -282.10    Recruitment Advertising                              3,975.00    0.20%          0.00     0.00%     3,975.00       3,091.00      0.25%       884.00
             0.00      0.00%         0.00    0.00%        0.00         324.75       0.13%         -324.75    Recruitment - Other                                      0.00    0.00%          0.00     0.00%         0.00         911.75      0.07%      -911.75
             0.00      0.00%     3,050.00    1.07%   -3,050.00       2,560.00       1.04%       -2,560.00    Security - Outside                                   2,816.00    0.14%     15,250.00     1.06%   -12,434.00      17,700.00      1.42%   -14,884.00
             0.00      0.00%         0.00    0.00%        0.00       1,962.69       0.80%       -1,962.69    Software Expense/Maintenance                             0.00    0.00%          0.00     0.00%         0.00       4,878.45      0.39%    -4,878.45
            14.95      0.00%         0.00    0.00%       14.95         995.00       0.40%         -980.05    Training                                               564.95    0.03%      3,690.00     0.26%    -3,125.05       1,745.00      0.14%    -1,180.05
            69.48      0.02%        25.00    0.01%       44.48         464.60       0.19%         -395.12    Travel                                                 456.54    0.02%        125.00     0.01%       331.54       1,226.06      0.10%      -769.52
            95.37      0.03%         0.00    0.00%       95.37           0.00       0.00%           95.37    Uniforms                                               326.71    0.02%          0.00     0.00%       326.71         112.97      0.01%       213.74
       17,980.05      5.57%    13,259.89    4.65%    4,720.16      20,427.99       8.30%       -2,447.94     Total A&G Other Expenses                          101,204.90    5.10%     71,571.80     4.99%    29,633.10     107,346.17      8.63%    -6,141.27
       33,111.99     10.26%    26,751.53    9.38%    6,360.46      31,327.73      12.72%        1,784.26     Total A&G Expenses                                186,519.60    9.41%    151,969.12    10.60%    34,550.48     165,634.60     13.32%    20,885.00




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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %             Variance                                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            IT
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Management                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Non-Management                                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Salaries and Wages                              0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total Payroll Taxes                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total Supplemental Pay                                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total Other Benefits                                     0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT PR Taxes and Benefits                           0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Payroll                                         0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            Cost of Services
           -60.00     -0.02%       170.00    0.06%     -230.00           0.00       0.00%          -60.00   Cost of Cell Phones                                     420.00    0.02%       850.00      0.06%      -430.00           0.00     0.00%       420.00
         1,527.25      0.47%     1,841.00    0.65%     -313.75           0.00       0.00%        1,527.25   Cost of Internet Services                             6,659.64    0.34%     9,205.00      0.64%    -2,545.36           0.00     0.00%     6,659.64
           733.59      0.23%       742.00    0.26%       -8.41           0.00       0.00%          733.59   Cost of Calls                                         3,286.24    0.17%     3,710.00      0.26%      -423.76           0.00     0.00%     3,286.24
        2,200.84      0.68%     2,753.00    0.96%     -552.16            0.00      0.00%        2,200.84    Total IT Cost of Services                           10,365.88    0.52%    13,765.00      0.96%    -3,399.12            0.00    0.00%    10,365.88

                                                                                                            System Costs
         2,002.69      0.62%     2,040.70    0.72%      -38.01           0.00       0.00%        2,002.69   Administrative & General                              3,883.45    0.20%     4,123.50      0.29%      -240.05           0.00     0.00%     3,883.45
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%            0.00   Human Resources                                           0.00    0.00%       250.00      0.02%      -250.00           0.00     0.00%         0.00
           260.00      0.08%       180.00    0.06%       80.00           0.00       0.00%          260.00   Information Systems                                   1,300.00    0.07%       900.00      0.06%       400.00           0.00     0.00%     1,300.00
           126.00      0.04%       126.00    0.04%        0.00           0.00       0.00%          126.00   Property Ops & Maintenance                              630.00    0.03%       630.00      0.04%         0.00           0.00     0.00%       630.00
         1,316.03      0.41%     1,458.33    0.51%     -142.30           0.00       0.00%        1,316.03   Rooms                                                 6,580.15    0.33%     7,291.65      0.51%      -711.50           0.00     0.00%     6,580.15
             0.00      0.00%       798.00    0.28%     -798.00           0.00       0.00%            0.00   Sales & Marketing                                         0.00    0.00%       798.00      0.06%      -798.00           0.00     0.00%         0.00
           144.00      0.04%         0.00    0.00%      144.00           0.00       0.00%          144.00   Telecommunications                                      294.00    0.01%         0.00      0.00%       294.00           0.00     0.00%       294.00
        3,848.72      1.19%     4,653.03    1.63%     -804.31            0.00      0.00%        3,848.72    Total IT Systems                                    12,687.60    0.64%    13,993.15      0.98%    -1,305.55            0.00    0.00%    12,687.60

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00    Total IT Other Expenses                                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        6,049.56      1.87%     7,406.03    2.60%    -1,356.47           0.00      0.00%        6,049.56    Total IT Expenses                                   23,053.48    1.16%    27,758.15      1.94%    -4,704.67            0.00    0.00%    23,053.48




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             PTD      %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
           416.67      0.13%     5,557.39    1.95%    -5,140.72           0.00       0.00%          416.67   Division Management                                   2,083.35    0.11%    27,207.39      1.90%    -25,124.04      17,260.32     1.39%    -15,176.97
          416.67      0.13%     5,557.39    1.95%    -5,140.72            0.00      0.00%          416.67    Total S&M Management                                 2,083.35    0.11%    27,207.39      1.90%    -25,124.04      17,260.32     1.39%    -15,176.97
             0.00     0.00%          0.00   0.00%          0.00           0.00      0.00%             0.00   Total S&M Non-Management                                  0.00   0.00%          0.00     0.00%           0.00           0.00    0.00%           0.00

          416.67      0.13%     5,557.39    1.95%    -5,140.72            0.00      0.00%          416.67    Total S&M Salaries and Wages                         2,083.35    0.11%    27,207.39      1.90%    -25,124.04      17,260.32     1.39%    -15,176.97

                                                                                                             PR Taxes and Benefits
             0.00      0.00%       594.81    0.21%      -594.81           0.00       0.00%           0.00    FICA                                                     0.00     0.00%     2,458.05      0.17%     -2,458.05       1,296.97     0.10%     -1,296.97
             0.00      0.00%         7.00    0.00%        -7.00           0.00       0.00%           0.00    Federal Unemployment Tax                                 0.00     0.00%        86.90      0.01%        -86.90          82.91     0.01%        -82.91
             0.00      0.00%        31.10    0.01%       -31.10           0.00       0.00%           0.00    State Unemployment Tax                                   0.00     0.00%       531.64      0.04%       -531.64         276.43     0.02%       -276.43
             0.00     0.00%       632.91    0.22%      -632.91            0.00      0.00%            0.00    Total Payroll Taxes                                      0.00    0.00%     3,076.59      0.21%     -3,076.59       1,656.31     0.13%     -1,656.31
             0.00      0.00%       217.95    0.08%      -217.95           0.00       0.00%           0.00    Vacation                                                 0.00     0.00%       924.11      0.06%       -924.11           0.00     0.00%          0.00
             0.00     0.00%       217.95    0.08%      -217.95            0.00      0.00%            0.00    Total Supplemental Pay                                   0.00    0.00%       924.11      0.06%       -924.11            0.00    0.00%           0.00
             0.00      0.00%       422.87    0.15%      -422.87           0.00       0.00%           0.00    Worker's Compensation                                    0.00     0.00%     1,726.86      0.12%     -1,726.86         665.76     0.05%       -665.76
             0.00      0.00%       422.00    0.15%      -422.00           0.00       0.00%           0.00    Group Insurance                                          0.00     0.00%     2,110.00      0.15%     -2,110.00       2,065.03     0.17%     -2,065.03
             0.00      0.00%     2,000.00    0.70%    -2,000.00           0.00       0.00%           0.00    Bonus and Incentive Pay                                  0.00     0.00%     4,000.00      0.28%     -4,000.00           0.00     0.00%          0.00
             0.00     0.00%     2,844.87    1.00%    -2,844.87            0.00      0.00%            0.00    Total Other Benefits                                     0.00    0.00%     7,836.86      0.55%     -7,836.86       2,730.79     0.22%     -2,730.79
             0.00     0.00%     3,695.73    1.30%    -3,695.73            0.00      0.00%            0.00    Total S&M PR Taxes and Benefits                          0.00    0.00%    11,837.56      0.83%    -11,837.56       4,387.10     0.35%     -4,387.10

          416.67      0.13%     9,253.12    3.24%    -8,836.45            0.00      0.00%          416.67    Total S&M Payroll                                    2,083.35    0.11%    39,044.95      2.72%    -36,961.60      21,647.42     1.74%    -19,564.07

                                                                                                             Other Expenses
             0.00      0.00%         0.00    0.00%        0.00          887.88       0.36%         -887.88   Advertising General                                       0.00    0.00%         0.00      0.00%          0.00       3,710.91     0.30%     -3,710.91
           815.00      0.25%       815.00    0.29%        0.00          448.16       0.18%          366.84   Advertising-Web/Internet                              2,980.00    0.15%     2,980.00      0.21%          0.00       1,896.32     0.15%      1,083.68
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Agency Fees                                           3,252.72    0.16%         0.00      0.00%      3,252.72           0.00     0.00%      3,252.72
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%            0.00   Brochures                                                 0.00    0.00%       250.00      0.02%       -250.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Contract Labor                                          500.00    0.03%         0.00      0.00%        500.00           0.00     0.00%        500.00
         1,866.53      0.58%     2,388.00    0.84%     -521.47        1,847.71       0.75%           18.82   Dues and Subscriptions                                9,060.32    0.46%    11,940.00      0.83%     -2,879.68      10,975.87     0.88%     -1,915.55
             0.00      0.00%        40.00    0.01%      -40.00            0.00       0.00%            0.00   Meals and Entertainment                                   0.00    0.00%       200.00      0.01%       -200.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Printing and Stationery                                   0.00    0.00%         0.00      0.00%          0.00       1,140.20     0.09%     -1,140.20
             0.00      0.00%       166.67    0.06%     -166.67            0.00       0.00%            0.00   Promotion - Outside                                     125.52    0.01%       833.35      0.06%       -707.83           0.00     0.00%        125.52
             0.00      0.00%         0.00    0.00%        0.00          440.00       0.18%         -440.00   Regional Sales & Marketing                                0.00    0.00%         0.00      0.00%          0.00       1,420.00     0.11%     -1,420.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Training                                                995.00    0.05%     1,000.00      0.07%         -5.00         400.00     0.03%        595.00
        2,681.53      0.83%     3,459.67    1.21%     -778.14        3,623.75       1.47%         -942.22    Total S&M Other Expenses                            16,913.56    0.85%    17,203.35      1.20%       -289.79      19,543.30     1.57%     -2,629.74

        3,098.20      0.96%    12,712.79    4.46%    -9,614.59       3,623.75       1.47%         -525.55    Total S&M Expenses                                  18,996.91    0.96%    56,248.30      3.92%    -37,251.39      41,190.72     3.31%    -22,193.81




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             PTD      %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                              R&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         5,064.47      1.57%     4,903.58    1.72%       160.89       5,365.39       2.18%         -300.92    Division Management                                 25,251.54    1.27%    24,006.53      1.68%      1,245.01      13,673.10     1.10%    11,578.44
        5,064.47      1.57%     4,903.58    1.72%       160.89       5,365.39       2.18%         -300.92     Total R&M Management                               25,251.54    1.27%    24,006.53      1.68%      1,245.01      13,673.10     1.10%    11,578.44
             0.00      0.00%     2,834.29    0.99%    -2,834.29           0.00       0.00%            0.00    Engineers 1                                              0.00    0.00%    13,805.73      0.96%    -13,805.73       2,319.65     0.19%    -2,319.65
             0.00     0.00%     2,834.29    0.99%    -2,834.29            0.00      0.00%             0.00    Total R&M Non-Management                                 0.00   0.00%    13,805.73      0.96%    -13,805.73       2,319.65     0.19%    -2,319.65

        5,064.47      1.57%     7,737.87    2.71%    -2,673.40       5,365.39       2.18%         -300.92     Total R&M Salaries and Wages                       25,251.54    1.27%    37,812.26      2.64%    -12,560.72      15,992.75     1.29%     9,258.79

                                                                                                              PR Taxes and Benefits
           352.70      0.11%       591.95    0.21%     -239.25          406.63       0.17%           -53.93   FICA                                                 1,500.01    0.08%     2,892.65      0.20%     -1,392.64       1,210.45     0.10%       289.56
             6.92      0.00%         6.96    0.00%       -0.04           12.22       0.00%            -5.30   Federal Unemployment Tax                               144.69    0.01%       104.05      0.01%         40.64          49.04     0.00%        95.65
            23.06      0.01%        30.95    0.01%       -7.89           40.73       0.02%           -17.67   State Unemployment Tax                                 482.38    0.02%       650.47      0.05%       -168.09         163.46     0.01%       318.92
          382.68      0.12%       629.86    0.22%     -247.18          459.58       0.19%           -76.90    Total Payroll Taxes                                 2,127.08    0.11%     3,647.17      0.25%     -1,520.09       1,422.95     0.11%       704.13
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%              0.00   Total Supplemental Pay                                   0.00   0.00%          0.00     0.00%           0.00           0.00    0.00%          0.00
           603.68      0.19%       420.83    0.15%      182.85          200.33       0.08%          403.35    Worker's Compensation                                2,559.16    0.13%     2,040.52      0.14%        518.64         585.06     0.05%     1,974.10
         1,421.03      0.44%         0.00    0.00%    1,421.03            0.00       0.00%        1,421.03    Group Insurance                                      6,133.77    0.31%         0.00      0.00%      6,133.77           0.00     0.00%     6,133.77
        2,024.71      0.63%       420.83    0.15%    1,603.88          200.33       0.08%        1,824.38     Total Other Benefits                                8,692.93    0.44%     2,040.52      0.14%      6,652.41         585.06     0.05%     8,107.87
        2,407.39      0.75%     1,050.69    0.37%    1,356.70          659.91       0.27%        1,747.48     Total R&M PR Taxes and Benefits                    10,820.01    0.55%     5,687.69      0.40%      5,132.32       2,008.01     0.16%     8,812.00

        7,471.86      2.31%     8,788.56    3.08%    -1,316.70       6,025.30       2.45%        1,446.56     Total R&M Payroll                                  36,071.55    1.82%    43,499.95      3.04%     -7,428.40      18,000.76     1.45%    18,070.79

                                                                                                              Other Expenses
         3,214.64      1.00%       200.00    0.07%    3,014.64          383.40       0.16%        2,831.24    Air Conditioning and Refrigeration                  11,470.79    0.58%     1,000.00      0.07%    10,470.79          892.69     0.07%    10,578.10
           921.75      0.29%       600.00    0.21%      321.75          529.68       0.22%          392.07    Building                                             5,213.04    0.26%     3,000.00      0.21%     2,213.04       14,341.03     1.15%    -9,127.99
             0.00      0.00%         0.00    0.00%        0.00        3,000.00       1.22%       -3,000.00    Contract Labor                                           0.00    0.00%         0.00      0.00%         0.00        3,000.00     0.24%    -3,000.00
             0.00      0.00%       100.00    0.04%     -100.00          142.91       0.06%         -142.91    Electric Bulbs                                         393.48    0.02%       500.00      0.03%      -106.52          865.67     0.07%      -472.19
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Electrical and Mechanical                            1,554.29    0.08%         0.00      0.00%     1,554.29          202.21     0.02%     1,352.08
             0.00      0.00%         0.00    0.00%        0.00          395.28       0.16%         -395.28    Elevator Maintenance Contracts                           0.00    0.00%         0.00      0.00%         0.00          790.56     0.06%      -790.56
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Equipment Maintenance                                    0.00    0.00%         0.00      0.00%         0.00           13.51     0.00%       -13.51
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Equipment Rental                                       159.25    0.01%         0.00      0.00%       159.25            0.00     0.00%       159.25
         1,550.32      0.48%       100.00    0.04%    1,450.32          377.92       0.15%        1,172.40    Fire Safety Equipment                                2,239.92    0.11%       650.00      0.05%     1,589.92        8,936.40     0.72%    -6,696.48
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Floor and Carpet Maintenance                             0.00    0.00%         0.00      0.00%         0.00          246.21     0.02%      -246.21
           831.00      0.26%       800.00    0.28%       31.00            0.00       0.00%          831.00    Grounds and Landscaping                              4,986.00    0.25%     4,000.00      0.28%       986.00        1,720.51     0.14%     3,265.49
             0.00      0.00%       100.00    0.04%     -100.00            0.00       0.00%            0.00    Kitchen Equipment Repairs                                0.00    0.00%       500.00      0.03%      -500.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Laundry Equipment Repairs                              409.13    0.02%         0.00      0.00%       409.13          579.80     0.05%      -170.67
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Office Equipment                                         0.00    0.00%         0.00      0.00%         0.00           93.11     0.01%       -93.11
         1,264.61      0.39%         0.00    0.00%    1,264.61            0.00       0.00%        1,264.61    Operating Supplies                                   3,183.09    0.16%         0.00      0.00%     3,183.09          903.52     0.07%     2,279.57
            10.16      0.00%         0.00    0.00%       10.16           42.80       0.02%          -32.64    Painting and Decorating                                 51.15    0.00%         0.00      0.00%        51.15           64.62     0.01%       -13.47
           351.28      0.11%       800.00    0.28%     -448.72          250.00       0.10%          101.28    Pest Control                                         4,133.34    0.21%     4,000.00      0.28%       133.34        4,082.30     0.33%        51.04
         1,391.00      0.43%       300.00    0.11%    1,091.00        1,115.33       0.45%          275.67    Plumbing and Heating                                 2,082.68    0.11%     1,500.00      0.10%       582.68       10,294.68     0.83%    -8,212.00
             0.00      0.00%         0.00    0.00%        0.00          159.46       0.06%         -159.46    Pool Chemicals                                           0.00    0.00%         0.00      0.00%         0.00          499.71     0.04%      -499.71
           865.65      0.27%       590.00    0.21%      275.65          583.74       0.24%          281.91    Pool Service- Contract                               4,347.71    0.22%     2,950.00      0.21%     1,397.71        1,977.61     0.16%     2,370.10
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%            0.00    Radio and Television Repair                          1,698.65    0.09%       250.00      0.02%     1,448.65            0.00     0.00%     1,698.65
           327.92      0.10%         0.00    0.00%      327.92            0.00       0.00%          327.92    Tools                                                1,318.58    0.07%         0.00      0.00%     1,318.58            0.00     0.00%     1,318.58
            14.95      0.00%         0.00    0.00%       14.95            0.00       0.00%           14.95    Training                                                14.95    0.00%         0.00      0.00%        14.95            0.00     0.00%        14.95
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Uniforms                                                77.82    0.00%         0.00      0.00%        77.82            0.00     0.00%        77.82
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00    Vehicle Maintenance & Repairs                          260.00    0.01%         0.00      0.00%       260.00            0.00     0.00%       260.00
         2,350.33      0.73%       700.00    0.25%    1,650.33            0.00       0.00%        2,350.33    Waste Removal                                        8,871.98    0.45%     3,500.00      0.24%     5,371.98        5,529.64     0.44%     3,342.34
       13,093.61      4.06%     4,340.00    1.52%    8,753.61        6,980.52       2.84%        6,113.09     Total R&M Other Expenses                           52,465.85    2.65%    21,850.00      1.52%    30,615.85       55,033.78     4.42%    -2,567.93

       20,565.47      6.37%    13,128.56    4.60%    7,436.91       13,005.82       5.28%        7,559.65     Total R&M Expenses                                 88,537.40    4.46%    65,349.95      4.56%    23,187.45       73,034.54     5.87%    15,502.86




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                                                                                            Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget   %         Variance   PTD Last Year     %             Variance                                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %         Variance

                                                                                                            Utilities
         3,566.89      1.10%     3,479.80    1.22%       87.09       3,105.76       1.26%          461.13   Water                                                15,918.42    0.80%    16,904.43      1.18%       -986.01       9,270.79     0.75%    6,647.63
        16,290.48      5.05%    13,462.00    4.72%    2,828.48      14,013.66       5.69%        2,276.82   Electricity                                          52,568.27    2.65%    65,396.70      4.56%    -12,828.43      46,535.99     3.74%    6,032.28
         1,412.23      0.44%     2,209.80    0.77%     -797.57      -2,658.24      -1.08%        4,070.47   Gas - Natural HLP                                     8,269.74    0.42%    10,734.93      0.75%     -2,465.19       5,652.86     0.45%    2,616.88
             0.00      0.00%         0.00    0.00%        0.00         985.33       0.40%         -985.33   Sewer                                                     0.00    0.00%         0.00      0.00%          0.00       5,547.22     0.45%   -5,547.22
       21,269.60      6.59%    19,151.60    6.71%    2,118.00      15,446.51       6.27%        5,823.09    Total Utilities                                     76,756.43    3.87%    93,036.06      6.49%    -16,279.63      67,006.86     5.39%    9,749.57




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                                                                                             Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %             Variance                                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                              Fixed
        15,058.93      4.66%    15,058.93    5.28%         0.00      15,135.65       6.15%           -76.72   Real Estate Taxes                                   75,294.65    3.80%    75,294.65      5.25%          0.00      75,678.25     6.08%      -383.60
       15,058.93      4.66%    15,058.93    5.28%          0.00     15,135.65       6.15%           -76.72    Total Taxes                                        75,294.65    3.80%    75,294.65      5.25%           0.00     75,678.25     6.08%      -383.60
         1,051.80      0.33%         0.00    0.00%     1,051.80           0.00       0.00%        1,051.80    Insurance                                            5,259.00    0.27%         0.00      0.00%      5,259.00           0.00     0.00%     5,259.00
             0.00      0.00%        35.92    0.01%       -35.92           0.00       0.00%             0.00   Insurance - Crime                                        0.00    0.00%       179.60      0.01%       -179.60           0.00     0.00%         0.00
           411.33      0.13%       411.33    0.14%         0.00          74.71       0.03%          336.62    Insurance - Employment                               2,056.65    0.10%     2,056.65      0.14%          0.00         373.56     0.03%     1,683.09
         1,219.23      0.38%     1,515.75    0.53%      -296.52         186.29       0.08%        1,032.94    Insurance - General Liability                       13,263.25    0.67%     7,578.75      0.53%      5,684.50         931.42     0.07%    12,331.83
         2,020.00      0.63%     1,926.42    0.68%        93.58           0.00       0.00%        2,020.00    Insurance - Property                                10,100.00    0.51%     9,632.10      0.67%        467.90           0.00     0.00%    10,100.00
             0.00      0.00%     2,289.58    0.80%    -2,289.58           0.00       0.00%             0.00   Insurance - Umbrella                                     0.00    0.00%    11,447.90      0.80%    -11,447.90           0.00     0.00%         0.00
        4,702.36      1.46%     6,179.00    2.17%    -1,476.64         261.00       0.11%        4,441.36     Total Insurance                                    30,678.90    1.55%    30,895.00      2.16%       -216.10       1,304.98     0.10%    29,373.92
        15,071.00      4.67%    15,070.56    5.28%         0.44      14,205.00       5.77%          866.00    Ground Lease Expense                                73,599.00    3.71%    73,597.00      5.14%          2.00      71,862.00     5.78%     1,737.00
       15,071.00      4.67%    15,070.56    5.28%          0.44     14,205.00       5.77%          866.00     Total Leases & Rent                                73,599.00    3.71%    73,597.00      5.14%           2.00     71,862.00     5.78%     1,737.00
        10,186.01      3.15%     8,559.80    3.00%     1,626.21       7,885.87       3.20%        2,300.14    Management Fee - Base                               61,990.32    3.13%    42,993.86      3.00%     18,996.46      39,811.20     3.20%    22,179.12
       10,186.01      3.15%     8,559.80    3.00%     1,626.21       7,885.87       3.20%        2,300.14     Total Management Fees                              61,990.32    3.13%    42,993.86      3.00%     18,996.46      39,811.20     3.20%    22,179.12
         3,863.20      1.20%         0.00    0.00%     3,863.20       2,420.00       0.98%        1,443.20    Capital Reserve                                     22,278.93    1.12%    59,000.00      4.12%    -36,721.07       2,420.00     0.19%    19,858.93
        3,863.20      1.20%          0.00   0.00%     3,863.20       2,420.00       0.98%        1,443.20     Total Other Non-Operating                          22,278.93    1.12%    59,000.00      4.12%    -36,721.07       2,420.00     0.19%    19,858.93




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                                                                                                   Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                                            P&L - Dual Summary Pages
                                                                                                                                 As of 5/31/2022
              PTD     %           PTD Budget      %          Variance   PTD Last Year     %              Variance                                                               YTD     %          YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                                    Statistics
           137.00                      137.00                   0.00          137.00                         0.00   # Rooms                                                  137.00                    137.00                    0.00         137.00                     0.00
         4,247.00                    4,247.00                   0.00        4,247.00                         0.00   Available Rooms                                       20,687.00                 20,687.00                    0.00      20,687.00                     0.00
         3,192.00                    3,009.00                 183.00        2,483.00                       709.00   Room Nights Sold                                      13,862.00                 13,332.00                  530.00      10,212.00                 3,650.00
          75.16%                      70.85%                  4.31%          58.46%                       16.69%    Occupancy %                                             67.01%                    64.45%                   2.56%         49.36%                   17.64%
           118.02                      126.79                  -8.77          105.61                        12.41   ADR                                                      114.38                    118.18                   -3.80          97.70                    16.68
            88.70                       89.83                  -1.13           61.74                        26.96   RevPar                                                    76.64                     76.16                    0.48          48.23                    28.42

                                                                                                                    Summary V.11
                                                                                                                    Revenue
       376,706.47     98.26%       381,500.00    98.27%     -4,793.53     262,217.86     97.99%        114,488.61   Rooms                                               1,585,547.81    97.17%    1,575,556.10    98.29%     9,991.71     997,698.01    97.36%     587,849.80
         1,660.18      0.43%             0.00     0.00%      1,660.18         610.00      0.23%          1,050.18   F&B                                                    12,575.45     0.77%            0.00     0.00%    12,575.45       2,608.68     0.25%       9,966.77
         5,022.63      1.31%         6,725.00     1.73%     -1,702.37       4,771.70      1.78%            250.93   Other Departments                                      33,635.88     2.06%       27,450.00     1.71%     6,185.88      24,400.82     2.38%       9,235.06

      383,389.28    100.00%       388,225.00    100.00%    -4,835.72     267,599.56     100.00%       115,789.72    Total Operating Revenue                            1,631,759.14    100.00%   1,603,006.10 100.00%      28,753.04    1,024,707.51 100.00%      607,051.63

                                                                                                                    Departmental Expenses
       106,437.55    28.25%        101,157.94    26.52%     5,279.61       66,019.78     25.18%         40,417.77   Rooms                                                467,361.64     29.48%     463,146.12     29.40%     4,215.52     276,438.13    27.71%     190,923.51
         1,964.36   118.32%              0.00     0.00%     1,964.36            0.00      0.00%          1,964.36   F&B                                                    7,407.80     58.91%           0.00      0.00%     7,407.80         125.07     4.79%       7,282.73
         2,444.42    48.67%          2,405.00    35.76%        39.42        3,157.78     66.18%           -713.36   Other Departments                                     12,164.29     36.16%      10,920.00     39.78%     1,244.29      19,129.19    78.40%      -6,964.90

      110,846.33     28.91%       103,562.94    26.68%      7,283.39      69,177.56      25.85%        41,668.77    Total Departmental Expenses                         486,933.73     29.84%     474,066.12     29.57%    12,867.61     295,692.39     28.86%    191,241.34

      272,542.95     71.09%       284,662.06    73.32%    -12,119.11     198,422.00      74.15%        74,120.95    Total Departmental Profit                          1,144,825.41    70.16%    1,128,939.98    70.43%    15,885.43     729,015.12     71.14%    415,810.29

                                                                                                                    Undistributed Operating Expenses
        12,560.63         3.28%     22,400.69     5.77%    -9,840.06       26,897.60     10.05%        -14,336.97   A&G                                                  113,858.43      6.98%     122,705.34      7.65%    -8,846.91     108,285.90    10.57%       5,572.53
         7,404.10         1.93%      6,533.70     1.68%       870.40          189.61      0.07%          7,214.49   IT                                                    29,538.31      1.81%      21,564.50      1.35%     7,973.81         266.96     0.03%      29,271.35
        16,191.59         4.22%     13,792.74     3.55%     2,398.85       12,110.71      4.53%          4,080.88   S&M                                                   60,243.45      3.69%      74,638.06      4.66%   -14,394.61      72,494.39     7.07%     -12,250.94
        36,336.14         9.48%     40,830.34    10.52%    -4,494.20       32,812.89     12.26%          3,523.25   Franchise Fees                                       162,262.01      9.94%     176,353.72     11.00%   -14,091.71     124,597.29    12.16%      37,664.72
        16,932.72         4.42%     24,280.54     6.25%    -7,347.82       19,080.80      7.13%         -2,148.08   R&M                                                   95,643.35      5.86%     108,934.32      6.80%   -13,290.97      62,541.57     6.10%      33,101.78
        13,780.28         3.59%     23,820.80     6.14%   -10,040.52       10,757.92      4.02%          3,022.36   Utilities                                             69,389.20      4.25%     102,886.40      6.42%   -33,497.20      74,488.49     7.27%      -5,099.29

      103,205.46     26.92%       131,658.81    33.91%    -28,453.35     101,849.53      38.06%         1,355.93    Total Undistributed Expenses                        530,934.75     32.54%     607,082.34     37.87%    -76,147.59    442,674.60     43.20%     88,260.15

      169,337.49     44.17%       153,003.25    39.41%    16,334.24       96,572.47      36.09%        72,765.02    Gross Operating Profit                              613,890.66     37.62%     521,857.64     32.55%    92,033.02     286,340.52     27.94%    327,550.14
        12,001.67      3.13%        11,646.75     3.00%       354.92        8,459.27       3.16%         3,542.40   Management Fees                                       51,450.42      3.15%      48,090.18      3.00%     3,360.24      32,653.85      3.19%     18,796.57
      157,335.82     41.04%       141,356.50    36.41%    15,979.32       88,113.20      32.93%        69,222.62    Income Before Non-Operating Income and Expenses     562,440.24     34.47%     473,767.46     29.55%    88,672.78     253,686.67     24.76%    308,753.57

                                                                                                                    Non-Operating Income and Expenses
         7,111.39      1.85%         3,526.99     0.91%     3,584.40        6,754.27       2.52%           357.12   Insurance                                             29,613.97      1.81%      17,634.95      1.10%    11,979.02      31,849.27      3.11%     -2,235.30
        41,993.00     10.95%        41,993.36    10.82%        -0.36       39,776.00      14.86%         2,217.00   Leases & Rent                                        205,470.35     12.59%     205,471.16     12.82%        -0.81     198,880.00     19.41%      6,590.35
        51,182.52     13.35%             0.00     0.00%    51,182.52       11,272.77       4.21%        39,909.75   Other                                                 53,383.02      3.27%      44,000.00      2.74%     9,383.02      26,508.73      2.59%     26,874.29
      100,286.91     26.16%        45,520.35    11.73%    54,766.56       57,803.04      21.60%        42,483.87    Total Non-Operating Income and Expenses             288,467.34     17.68%     267,106.11     16.66%    21,361.23     257,238.00     25.10%     31,229.34

       57,048.91     14.88%        95,836.15    24.69%    -38,787.24      30,310.16      11.33%        26,738.75    EBITDA                                              273,972.90     16.79%     206,661.35     12.89%    67,311.55      -3,551.33     -0.35%    277,524.23
             0.00      0.00%             0.00     0.00%          0.00           0.00       0.00%             0.00   Interest                                                   0.00      0.00%           0.00      0.00%         0.00           0.00      0.00%          0.00
        11,617.00      3.03%        11,399.14     2.94%        217.86      14,997.14       5.60%        -3,380.14   Taxes                                                 57,757.96      3.54%      56,995.70      3.56%       762.26      61,179.80      5.97%     -3,421.84
       11,617.00      3.03%        11,399.14     2.94%        217.86      14,997.14       5.60%        -3,380.14    Interest, Taxes, Depreciation and Amortization       57,757.96      3.54%      56,995.70      3.56%       762.26      61,179.80      5.97%     -3,421.84

       45,431.91     11.85%        84,437.01    21.75%    -39,005.10      15,313.02       5.72%        30,118.89    Net Income                                          216,214.94     13.25%     149,665.65      9.34%    66,549.29     -64,731.13     -6.32%    280,946.07




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                                                                                              Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %              Variance                                                               YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                               Statistics
           137.00                  137.00                  0.00          137.00                        0.00    # Rooms                                                  137.00                   137.00                   0.00          137.00                    0.00
         4,247.00                4,247.00                  0.00        4,247.00                        0.00    Available Rooms                                       20,687.00                20,687.00                   0.00       20,687.00                    0.00
         3,192.00                3,009.00                183.00        2,483.00                      709.00    Room Nights Sold                                      13,862.00                13,332.00                 530.00       10,212.00                3,650.00
             0.75                    0.71                  0.04            0.58                        0.17    Occupancy %                                                0.67                     0.64                   0.03            0.49                    0.18
           118.02                  126.79                 -8.77          105.61                       12.41    ADR                                                      114.38                   118.18                  -3.80           97.70                   16.68
            88.70                   89.83                 -1.13           61.74                       26.96    RevPar                                                    76.64                    76.16                   0.48           48.23                   28.42

                                                                                                               Summary
                                                                                                               Revenue:
       376,706.47     98.26%   381,500.00   98.27%     -4,793.53     262,217.86     97.99%        114,488.61   Rooms                                               1,585,547.81   97.17%    1,575,556.10    98.29%    9,991.71      997,698.01    97.36%    587,849.80
           382.05      0.10%         0.00    0.00%        382.05           0.00      0.00%            382.05   Food                                                    2,376.50    0.15%            0.00     0.00%    2,376.50            0.00     0.00%      2,376.50
           241.13      0.06%         0.00    0.00%        241.13           0.00      0.00%            241.13   Beverage                                                2,081.21    0.13%            0.00     0.00%    2,081.21            0.00     0.00%      2,081.21
         1,037.00      0.27%         0.00    0.00%      1,037.00         610.00      0.23%            427.00   Other F&B Revenue                                       8,117.74    0.50%            0.00     0.00%    8,117.74        2,608.68     0.25%      5,509.06
             0.00      0.00%         0.00    0.00%          0.00          12.00      0.00%            -12.00   Telephone                                                   0.00    0.00%            0.00     0.00%        0.00          103.50     0.01%       -103.50
         5,022.63      1.31%     6,725.00    1.73%     -1,702.37       4,759.70      1.78%            262.93   Other                                                  33,635.88    2.06%       27,450.00     1.71%    6,185.88       24,297.32     2.37%      9,338.56

       383,389.28   100.00%    388,225.00   100.00%    -4,835.72     267,599.56     100.00%       115,789.72   Total Revenue                                       1,631,759.14   100.00%   1,603,006.10   100.00%   28,753.04    1,024,707.51    100.00%   607,051.63



                                                                                                               Cost of Sales:
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%              0.00   Food                                                       0.00      0.00%          0.00      0.00%        0.00            0.00     0.00%          0.00
         1,318.98   547.00%          0.00    0.00%     1,318.98            0.00      0.00%          1,318.98   Beverage                                               4,628.63    222.40%          0.00      0.00%    4,628.63            0.00     0.00%      4,628.63
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%              0.00   Other F&B                                                  0.00      0.00%          0.00      0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%              0.00   Telephone                                                  0.00      0.00%          0.00      0.00%        0.00        2,673.71    10.96%     -2,673.71
         2,444.42    48.67%      2,405.00   35.76%        39.42        1,375.04     28.82%          1,069.38   Other                                                 12,164.29     36.16%     10,920.00     39.78%    1,244.29        7,518.10    30.81%      4,646.19

         3,763.40     74.93%     2,405.00   35.76%     1,358.40        1,375.04     28.82%          2,388.36   Total Cost of Sales                                   16,792.92    49.93%      10,920.00     39.78%    5,872.92       10,191.81    41.77%      6,601.11



                                                                                                               Payroll:
        44,284.23     11.76%    52,318.71   13.71%     -8,034.48      39,436.06     15.04%          4,848.17   Rooms                                                200,920.99    12.67%     243,517.19     15.46%   -42,596.20     151,765.48    15.21%     49,155.51
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%              0.00   F&B                                                        0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%              0.00   Other                                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        -2,094.08     -0.55%     7,760.18    2.00%     -9,854.26      12,277.02      4.59%        -14,371.10   A&G                                                   32,521.29     1.99%      37,994.12      2.37%    -5,472.83      38,482.75     3.76%     -5,961.46
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%              0.00   IT                                                         0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        10,162.08      2.65%     8,741.17    2.25%      1,420.91       8,343.55      3.12%          1,818.53   S&M                                                   37,645.56     2.31%      42,628.30      2.66%    -4,982.74      42,642.46     4.16%     -4,996.90
         4,570.05      1.19%    12,796.91    3.30%     -8,226.86      10,471.17      3.91%         -5,901.12   R&M                                                   51,804.96     3.17%      62,438.51      3.90%   -10,633.55      24,101.96     2.35%     27,703.00
        56,922.28     14.85%    81,616.97   21.02%    -24,694.69      70,527.80     26.36%        -13,605.52   Total Salaries and Wages                             322,892.80    19.79%     386,578.12     24.12%   -63,685.32     256,992.65    25.08%     65,900.15

        12,213.35      3.19%    12,227.13    3.15%        -13.78      11,523.40      4.31%            689.95   Total Taxes and Benefits                              80,689.11     4.94%      85,428.20      5.33%    -4,739.09      48,084.51     4.69%     32,604.60
        69,135.63     18.03%    93,844.10   24.17%    -24,708.47      82,051.20     30.66%        -12,915.57   Total Labor Costs                                    403,581.91    24.73%     472,006.32     29.45%   -68,424.41     305,077.16    29.77%     98,504.75



                                                                                                               Direct Expenses:
        53,651.71     14.24%    41,670.72   10.92%     11,980.99      20,341.41      7.76%         33,310.30   Rooms                                                221,545.97    13.97%     179,993.54     11.42%    41,552.43      97,746.03     9.80%    123,799.94
           645.38     38.87%         0.00    0.00%        645.38           0.00      0.00%            645.38   F&B                                                    2,779.17    22.10%           0.00      0.00%     2,779.17         125.07     4.79%      2,654.10
             0.00      0.00%         0.00    0.00%          0.00       1,782.74     37.36%         -1,782.74   Telephone                                                  0.00     0.00%           0.00      0.00%         0.00       8,937.38    36.63%     -8,937.38
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%              0.00   Other                                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        36,336.14      9.48%    40,830.34   10.52%     -4,494.20      32,812.89     12.26%          3,523.25   Franchise Fees                                       162,262.01     9.94%     176,353.72     11.00%   -14,091.71     124,597.29    12.16%     37,664.72
        14,543.37      3.79%    12,968.09    3.34%      1,575.28      12,490.03      4.67%          2,053.34   A&G                                                   67,584.79     4.14%      62,429.98      3.89%     5,154.81      61,990.68     6.05%      5,594.11
         7,404.10      1.93%     6,533.70    1.68%        870.40         189.61      0.07%          7,214.49   IT                                                    29,538.31     1.81%      21,564.50      1.35%     7,973.81         266.96     0.03%     29,271.35
         3,193.83      0.83%     3,714.00    0.96%       -520.17       1,923.00      0.72%          1,270.83   S&M                                                   11,889.94     0.73%      18,619.00      1.16%    -6,729.06      19,768.63     1.93%     -7,878.69
        11,597.95      3.03%     9,435.00    2.43%      2,162.95       7,303.25      2.73%          4,294.70   R&M                                                   32,504.26     1.99%      36,375.00      2.27%    -3,870.74      35,177.49     3.43%     -2,673.23
        13,780.28      3.59%    23,820.80    6.14%    -10,040.52      10,757.92      4.02%          3,022.36   Utilities                                             69,389.20     4.25%     102,886.40      6.42%   -33,497.20      74,488.49     7.27%     -5,099.29

       141,152.76     36.82%   138,972.65   35.80%     2,180.11       87,600.85     32.74%         53,551.91   Total Direct Expense                                 597,493.65    36.62%     598,222.14     37.32%     -728.49      423,098.02    41.29%    174,395.63

       169,337.49     44.17%   153,003.25   39.41%    16,334.24       96,572.47     36.09%         72,765.02   Gross Operating Profit                               613,890.66    37.62%     521,857.64     32.55%   92,033.02      286,340.52    27.94%    327,550.14

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                                                                                               Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                                             As of 5/31/2022
              PTD     %           PTD Budget   %          Variance   PTD Last Year     %             Variance                                                              YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance




                                                                                                                Fixed Costs
        11,617.00      3.03%       11,399.14    2.94%      217.86       14,997.14      5.60%        -3,380.14   Taxes                                                 57,757.96    3.54%    56,995.70      3.56%      762.26      61,179.80     5.97%    -3,421.84
         7,111.39      1.85%        3,526.99    0.91%    3,584.40        6,754.27      2.52%           357.12   Insurance                                             29,613.97    1.81%    17,634.95      1.10%   11,979.02      31,849.27     3.11%    -2,235.30
        41,993.00     10.95%       41,993.36   10.82%       -0.36       39,776.00     14.86%         2,217.00   Leases & Rent                                        205,470.35   12.59%   205,471.16     12.82%       -0.81     198,880.00    19.41%     6,590.35
        12,001.67      3.13%       11,646.75    3.00%      354.92        8,459.27      3.16%         3,542.40   Management Fees                                       51,450.42    3.15%    48,090.18      3.00%    3,360.24      32,653.85     3.19%    18,796.57

        72,723.06     18.97%       68,566.24   17.66%    4,156.82       69,986.68     26.15%         2,736.38   Total Fixed Expenses                                 344,292.70   21.10%   328,191.99     20.47%   16,100.71     324,562.92    31.67%    19,729.78

        96,614.43     25.20%       84,437.01   21.75%   12,177.42       26,585.79      9.93%        70,028.64   Net Operating Profit                                 269,597.96   16.52%   193,665.65     12.08%   75,932.31     -38,222.40    -3.73%   307,820.36



             0.00         0.00%         0.00   0.00%         0.00            0.00      0.00%             0.00   Owner's Expense                                            0.00   0.00%          0.00     0.00%         0.00         949.17    0.09%       -949.17
             0.00         0.00%         0.00   0.00%         0.00            0.00      0.00%             0.00   Prior Owner's Expense                                      0.00   0.00%          0.00     0.00%         0.00      10,072.96    0.98%    -10,072.96



        96,614.43     25.20%       84,437.01   21.75%   12,177.42       26,585.79      9.93%        70,028.64   Net Operating Income                                 269,597.96   16.52%   193,665.65     12.08%   75,932.31     -49,244.53    -4.81%   318,842.49

        51,182.52     13.35%            0.00   0.00%    51,182.52       11,272.77      4.21%        39,909.75   Capital Reserve                                       53,383.02   3.27%     44,000.00     2.74%     9,383.02      15,486.60    1.51%     37,896.42

        45,431.91     11.85%       84,437.01   21.75%   -39,005.10      15,313.02      5.72%        30,118.89   Adjusted NOI                                         216,214.94   13.25%   149,665.65     9.34%    66,549.29     -64,731.13    -6.32%   280,946.07




        45,431.91     11.85%       84,437.01   21.75%   -39,005.10      15,313.02      5.72%        30,118.89   Net Profit/(Loss)                                    216,214.94   13.25%   149,665.65     9.34%    66,549.29     -64,731.13    -6.32%   280,946.07




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                                                                                                  Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                                           P&L - Dual Summary Pages
                                                                                                                                As of 5/31/2022
              PTD     %           PTD Budget      %         Variance   PTD Last Year     %              Variance                                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                   Rooms
                                                                                                                   Room Revenue
                                                                                                                   Transient Room Revenue
        30,138.73      8.00%       25,048.00      6.57%     5,090.73      17,327.29      6.61%         12,811.44   Corporate Transient                                  151,192.59     9.54%     103,493.00      6.57%     47,699.59      74,365.16     7.45%     76,827.43
         8,654.74      2.30%        3,348.00      0.88%     5,306.74           0.00      0.00%          8,654.74   Advanced Purchase                                     21,069.87     1.33%      41,225.10      2.62%    -20,155.23           0.00     0.00%     21,069.87
        12,982.26      3.45%       45,570.00     11.94%   -32,587.74      59,061.07     22.52%        -46,078.81   Qualified Discounts                                   64,834.37     4.09%     156,515.00      9.93%    -91,680.63      59,061.07     5.92%      5,773.30
             0.00      0.00%        3,038.00      0.80%    -3,038.00       3,779.46      1.44%         -3,779.46   FIT(Flexible Independent Travel)                         126.75     0.01%       8,647.00      0.55%     -8,520.25       3,969.21     0.40%     -3,842.46
         3,356.34      0.89%        6,014.00      1.58%    -2,657.66       3,480.07      1.33%           -123.73   Consortia Transient                                   15,410.04     0.97%      21,058.00      1.34%     -5,647.96      16,735.88     1.68%     -1,325.84
         3,640.00      0.97%        1,610.00      0.42%     2,030.00       2,761.80      1.05%            878.20   Employee                                              14,829.56     0.94%       5,810.00      0.37%      9,019.56       6,236.35     0.63%      8,593.21
             0.00      0.00%            0.00      0.00%         0.00      26,454.86     10.09%        -26,454.86   Leisure Transient                                          0.00     0.00%           0.00      0.00%          0.00     383,301.79    38.42%   -383,301.79
         2,275.65      0.60%        1,376.00      0.36%       899.65           0.00      0.00%          2,275.65   Travel Agent/Friends & Family                          7,256.65     0.46%       8,458.00      0.54%     -1,201.35           0.00     0.00%      7,256.65
         2,755.25      0.73%            0.00      0.00%     2,755.25           0.00      0.00%          2,755.25   Leisure Package Transient                              5,924.85     0.37%           0.00      0.00%      5,924.85           0.00     0.00%      5,924.85
        18,249.48      4.84%        6,355.00      1.67%    11,894.48       6,047.99      2.31%         12,201.49   Member Reward Stay                                    58,915.24     3.72%      22,714.00      1.44%     36,201.24       9,601.67     0.96%     49,313.57
           927.35      0.25%       30,411.00      7.97%   -29,483.65      14,072.19      5.37%        -13,144.84   Non Qualified Discounts                               10,111.05     0.64%     118,724.50      7.54%   -108,613.45      22,850.89     2.29%    -12,739.84
        27,511.28      7.30%       53,690.00     14.07%   -26,178.72      47,243.07     18.02%        -19,731.79   Internet/E-Commerce                                  128,282.93     8.09%     212,408.50     13.48%    -84,125.57      92,401.09     9.26%     35,881.84
        11,536.52      3.06%       16,541.00      4.34%    -5,004.48      12,466.41      4.75%           -929.89   Government Transient                                  40,389.41     2.55%      67,949.00      4.31%    -27,559.59      44,471.13     4.46%     -4,081.72
        92,051.67     24.44%       70,029.00     18.36%    22,022.67      55,131.08     21.02%         36,920.59   Rack Transient                                       414,231.56    26.13%     249,066.00     15.81%    165,165.56     160,293.58    16.07%    253,937.98
        24,249.20      6.44%       21,080.00      5.53%     3,169.20      12,510.45      4.77%         11,738.75   Local Negotiated Transient                           106,230.71     6.70%      83,502.00      5.30%     22,728.71      88,894.99     8.91%     17,335.72

      238,328.47     63.27%       284,110.00    74.47%    -45,781.53    260,335.74      99.28%       -22,007.27    Total Transient Room Revenue                       1,038,805.58   65.52%    1,099,570.10   69.79%     -60,764.52     962,182.81     96.44%    76,622.77

                                                                                                                   Group Room Revenue
       122,291.00     32.46%        3,510.00      0.92%   118,781.00         695.00      0.27%        121,596.00   Corporate Group                                      489,952.00    30.90%      27,665.00      1.76%    462,287.00      21,393.59     2.14%   468,558.41
             0.00      0.00%       86,490.00     22.67%   -86,490.00           0.00      0.00%              0.00   Leisure Group                                            318.00     0.02%     421,290.00     26.74%   -420,972.00           0.00     0.00%       318.00
        11,439.00      3.04%            0.00      0.00%    11,439.00         314.00      0.12%         11,125.00   Government Group                                      14,637.00     0.92%           0.00      0.00%     14,637.00         453.00     0.05%    14,184.00
             0.00      0.00%            0.00      0.00%         0.00           0.00      0.00%              0.00   Association Group                                      1,071.00     0.07%       1,780.00      0.11%       -709.00           0.00     0.00%     1,071.00
         3,898.00      1.03%        4,560.00      1.20%      -662.00         297.00      0.11%          3,601.00   SMERF Group                                           19,643.00     1.24%      20,421.00      1.30%       -778.00      13,484.47     1.35%     6,158.53
             0.00      0.00%        2,280.00      0.60%    -2,280.00           0.00      0.00%              0.00   Sports Group                                          16,060.00     1.01%       2,280.00      0.14%     13,780.00           0.00     0.00%    16,060.00

      137,628.00     36.53%        96,840.00    25.38%    40,788.00       1,306.00       0.50%       136,322.00    Total Group Room Revenue                            541,681.00    34.16%     473,436.00    30.05%     68,245.00       35,331.06     3.54%    506,349.94

                                                                                                                   Contract Room Revenue

             0.00     0.00%             0.00     0.00%         0.00            0.00      0.00%             0.00    Total Contract Room Revenue                                0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                                   Other Room Revenue
             0.00         0.00%       250.00      0.07%      -250.00         493.12      0.19%           -493.12   No-Show Rooms                                            548.17     0.03%       1,050.00     0.07%        -501.83         493.12     0.05%         55.05
           750.00         0.20%       300.00      0.08%       450.00           0.00      0.00%            750.00   Pet/Smoking/Damage Fees                                4,475.00     0.28%       1,500.00     0.10%       2,975.00           0.00     0.00%      4,475.00

          750.00      0.20%           550.00     0.14%       200.00         493.12       0.19%           256.88    Total Other Room Revenue                               5,023.17    0.32%        2,550.00     0.16%      2,473.17         493.12     0.05%      4,530.05

             0.00         0.00%          0.00     0.00%         0.00          83.00      0.03%            -83.00   Less: Allowances                                          38.06     0.00%           0.00     0.00%         38.06         -308.98    -0.03%       347.04

      376,706.47    100.00%       381,500.00    100.00%    -4,793.53    262,217.86     100.00%       114,488.61    Total Room Revenue                                 1,585,547.81   100.00%   1,575,556.10 100.00%        9,991.71     997,698.01 100.00%      587,849.80

                                                                                                                   Expenses
                                                                                                                   Payroll Expense
                                                                                                                   Salaries and Wages
         3,770.61      1.00%         3,267.77     0.86%       502.84      -2,049.14      -0.78%         5,819.75   Front Office Management                               17,781.64     1.12%      15,998.91      1.02%      1,782.73           0.00     0.00%     17,781.64
         2,747.25      0.73%         3,673.46     0.96%      -926.21       3,612.56       1.38%          -865.31   Housekeeping Management                               19,230.74     1.21%      17,986.98      1.14%      1,243.76      16,623.03     1.67%      2,607.71
        6,517.86      1.73%         6,941.23     1.82%      -423.37       1,563.42       0.60%         4,954.44    Total Rooms Management                               37,012.38     2.33%      33,985.89      2.16%      3,026.49      16,623.03     1.67%     20,389.35
         4,308.46      1.14%         6,696.00     1.76%    -2,387.54       9,094.40       3.47%        -4,785.94   Front Office Agents                                   37,964.72     2.39%      32,616.00      2.07%      5,348.72      40,498.11     4.06%     -2,533.39
         5,014.06      1.33%         3,596.00     0.94%     1,418.06       3,647.21       1.39%         1,366.85   Night Auditors                                        12,675.50     0.80%      17,516.00      1.11%     -4,840.50      14,280.91     1.43%     -1,605.41
         5,324.79      1.41%         4,889.14     1.28%       435.65       3,674.73       1.40%         1,650.06   Breakfast Attendant                                   18,271.78     1.15%      23,814.85      1.51%     -5,543.07       6,646.72     0.67%     11,625.06
       14,647.31      3.89%        15,181.14     3.98%      -533.83      16,416.34       6.26%        -1,769.03    Total Rooms Front Office                             68,912.00     4.35%      73,946.85      4.69%     -5,034.85      61,425.74     6.16%      7,486.26
         5,413.79      1.44%         2,657.14     0.70%     2,756.65       3,173.38       1.21%         2,240.41   Housekeeping Supervisors                              13,919.69     0.88%      12,942.85      0.82%        976.84      10,360.67     1.04%      3,559.02
         3,862.96      1.03%        20,843.20     5.46%   -16,980.24      13,331.51       5.08%        -9,468.55   Room Attendants                                       45,905.86     2.90%      90,025.60      5.71%    -44,119.74      45,794.11     4.59%        111.75
        10,147.63      2.69%         3,348.00     0.88%     6,799.63       4,317.14       1.65%         5,830.49   Housepersons                                          24,509.78     1.55%      16,308.00      1.04%      8,201.78      15,236.14     1.53%      9,273.64
         3,694.68      0.98%         3,348.00     0.88%       346.68         634.27       0.24%         3,060.41   Laundry Attendants                                    10,661.28     0.67%      16,308.00      1.04%     -5,646.72       2,325.79     0.23%      8,335.49
       23,119.06      6.14%        30,196.34     7.92%    -7,077.28      21,456.30       8.18%         1,662.76    Total Rooms Housekeeping                             94,996.61     5.99%     135,584.45      8.61%    -40,587.84      73,716.71     7.39%     21,279.90
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                                                                                                 Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                                               As of 5/31/2022
              PTD     %           PTD Budget     %         Variance   PTD Last Year     %              Variance                                                              YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance


       44,284.23     11.76%        52,318.71    13.71%    -8,034.48     39,436.06      15.04%         4,848.17    Total Rooms Salary and Wages                        200,920.99    12.67%    243,517.19    15.46%     -42,596.20     151,765.48     15.21%    49,155.51

                                                                                                                  PR Taxes and Benefits
         3,606.22      0.96%         4,035.76    1.06%      -429.54       3,068.50       1.17%           537.72   FICA                                                  15,938.42    1.01%      19,051.01      1.21%     -3,112.59      11,738.28     1.18%      4,200.14
            55.55      0.01%            47.48    0.01%         8.07         105.78       0.04%           -50.23   Federal Unemployment Tax                                 667.68    0.04%         660.83      0.04%          6.85         594.35     0.06%         73.33
           463.32      0.12%           105.51    0.03%       357.81         399.45       0.15%            63.87   State Unemployment Tax                                 2,059.03    0.13%       2,097.50      0.13%        -38.47       1,506.14     0.15%        552.89
        4,125.09      1.10%         4,188.75    1.10%        -63.66      3,573.73       1.36%           551.36    Total Payroll Taxes                                  18,665.13    1.18%      21,809.34      1.38%     -3,144.21      13,838.77     1.39%      4,826.36
             0.00      0.00%           150.00    0.04%      -150.00           0.00       0.00%             0.00   Holiday                                                1,374.32    0.09%         300.00      0.02%      1,074.32           0.00     0.00%      1,374.32
         2,689.54      0.71%           277.95    0.07%     2,411.59          71.08       0.03%         2,618.46   Vacation                                               5,070.54    0.32%       1,178.51      0.07%      3,892.03          71.08     0.01%      4,999.46
        2,689.54      0.71%           427.95    0.11%     2,261.59           71.08      0.03%         2,618.46    Total Supplemental Pay                                6,444.86    0.41%       1,478.51      0.09%      4,966.35           71.08    0.01%      6,373.78
         2,165.13      0.57%         1,591.81    0.42%       573.32       1,785.44       0.68%           379.69   Worker's Compensation                                  6,630.90    0.42%       7,547.54      0.48%       -916.64       7,497.94     0.75%       -867.04
          -478.15     -0.13%           960.00    0.25%    -1,438.15         812.06       0.31%        -1,290.21   Group Insurance                                        7,359.12    0.46%       4,800.00      0.30%      2,559.12       5,518.83     0.55%      1,840.29
             0.00      0.00%             0.00    0.00%         0.00           0.00       0.00%             0.00   Bonus and Incentive Pay                                5,794.67    0.37%       4,000.00      0.25%      1,794.67           0.00     0.00%      5,794.67
        1,686.98      0.45%         2,551.81    0.67%      -864.83       2,597.50       0.99%          -910.52    Total Other Benefits                                 19,784.69    1.25%      16,347.54      1.04%      3,437.15      13,016.77     1.30%      6,767.92

        8,501.61      2.26%         7,168.51    1.88%     1,333.10       6,242.31       2.38%         2,259.30    Total Rooms PR Taxes and Benefits                    44,894.68    2.83%      39,635.39      2.52%     5,259.29       26,926.62     2.70%     17,968.06

       52,785.84     14.01%        59,487.22    15.59%    -6,701.38     45,678.37      17.42%         7,107.47    Total Rooms Labor Costs                             245,815.67    15.50%    283,152.58    17.97%     -37,336.91     178,692.10     17.91%    67,123.57

                                                                                                                  Other Expenses
        15,742.91         4.18%    16,749.00     4.39%    -1,006.09       2,884.51      1.10%         12,858.40   Breakfast /Comp Cost                                  71,945.50    4.54%      72,342.00     4.59%       -396.50       21,578.92     2.16%    50,366.58
         2,556.12         0.68%     2,307.64     0.60%       248.48       1,510.06      0.58%          1,046.06   Cleaning Supplies                                     11,765.79    0.74%       9,967.12     0.63%      1,798.67        5,945.54     0.60%     5,820.25
        26,394.17         7.01%         0.00     0.00%    26,394.17         908.32      0.35%         25,485.85   Contract Labor                                        78,740.63    4.97%           0.00     0.00%     78,740.63        3,307.43     0.33%    75,433.20
             0.00         0.00%       250.00     0.07%      -250.00         132.56      0.05%           -132.56   Equipment Rental                                          72.21    0.00%       1,250.00     0.08%     -1,177.79          132.56     0.01%       -60.35
             0.00         0.00%         0.00     0.00%         0.00           0.00      0.00%              0.00   Guest Loss/Damage                                          0.00    0.00%           0.00     0.00%          0.00            4.16     0.00%        -4.16
           361.06         0.10%     4,466.40     1.17%    -4,105.34       2,307.83      0.88%         -1,946.77   Guest Supplies                                         7,826.91    0.49%      19,291.20     1.22%    -11,464.29       10,979.37     1.10%    -3,152.46
             0.00         0.00%         0.00     0.00%         0.00           0.00      0.00%              0.00   Internet/Web Expense                                       0.00    0.00%           0.00     0.00%          0.00        5,551.10     0.56%    -5,551.10
             0.00         0.00%     1,116.60     0.29%    -1,116.60         747.46      0.29%           -747.46   Laundry                                                1,600.12    0.10%       4,822.80     0.31%     -3,222.68        3,601.89     0.36%    -2,001.77
           484.93         0.13%     2,679.84     0.70%    -2,194.91       3,511.01      1.34%         -3,026.08   Linen                                                  7,188.10    0.45%      11,574.72     0.73%     -4,386.62        8,427.69     0.84%    -1,239.59
             0.00         0.00%         0.00     0.00%         0.00           0.00      0.00%              0.00   Linen Rental                                               0.00    0.00%           0.00     0.00%          0.00          403.45     0.04%      -403.45
             0.00         0.00%         0.00     0.00%         0.00          26.92      0.01%            -26.92   Office Equipment                                           0.00    0.00%           0.00     0.00%          0.00           26.92     0.00%       -26.92
            74.49         0.02%       350.00     0.09%      -275.51           0.00      0.00%             74.49   Operating Supplies                                       187.81    0.01%       1,750.00     0.11%     -1,562.19            0.00     0.00%       187.81
             0.00         0.00%       200.00     0.05%      -200.00         203.78      0.08%           -203.78   Printing and Stationery                                  155.94    0.01%       1,000.00     0.06%       -844.06          203.78     0.02%       -47.84
           250.00         0.07%     1,488.80     0.39%    -1,238.80           0.00      0.00%            250.00   Reservation Expense                                     -982.98   -0.06%       6,430.40     0.41%     -7,413.38            0.00     0.00%      -982.98
             0.00         0.00%       446.64     0.12%      -446.64          43.05      0.02%            -43.05   Rooms Promotion                                        2,503.11    0.16%       1,929.12     0.12%        573.99          342.11     0.03%     2,161.00
         1,941.46         0.52%     1,900.00     0.50%        41.46       1,916.54      0.73%             24.92   Television Cable                                       9,688.93    0.61%       9,500.00     0.60%        188.93        9,255.00     0.93%       433.93
             0.00         0.00%       186.10     0.05%      -186.10           0.00      0.00%              0.00   Transportation                                             0.00    0.00%         803.80     0.05%       -803.80            0.00     0.00%         0.00
             0.00         0.00%     1,936.80     0.51%    -1,936.80           0.00      0.00%              0.00   Travel Agent Comm - Group Rooms                            0.00    0.00%       9,468.72     0.60%     -9,468.72          677.18     0.07%      -677.18
         5,828.03         1.55%     7,292.90     1.91%    -1,464.87       5,381.35      2.05%            446.68   Travel Agent Comm - Transient Rooms                   30,425.16    1.92%      28,363.66     1.80%      2,061.50       24,807.35     2.49%     5,617.81
            18.54         0.00%       300.00     0.08%      -281.46         417.32      0.16%           -398.78   Uniforms                                                 232.82    0.01%       1,500.00     0.10%     -1,267.18        2,040.26     0.20%    -1,807.44
             0.00         0.00%         0.00     0.00%         0.00         350.70      0.13%           -350.70   Walked Guests                                            195.92    0.01%           0.00     0.00%        195.92          461.32     0.05%      -265.40

       53,651.71     14.24%        41,670.72    10.92%   11,980.99      20,341.41       7.76%        33,310.30    Total Rooms Other Expenses                          221,545.97    13.97%    179,993.54    11.42%     41,552.43       97,746.03     9.80%    123,799.94

      106,437.55     28.25%       101,157.94    26.52%    5,279.61      66,019.78      25.18%        40,417.77    Total Rooms Expenses                                467,361.64    29.48%    463,146.12    29.40%      4,215.52      276,438.13     27.71%   190,923.51

      270,268.92     71.75%       280,342.06    73.48%   -10,073.14    196,198.08      74.82%        74,070.84    Total Rooms Profit (Loss)                          1,118,186.17   70.52%   1,112,409.98   70.60%      5,776.19      721,259.88     72.29%   396,926.29




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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                              YTD    %   YTD Budget %    Variance   YTD Last Year   %     Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
           235.00             248.00         -13.00         179.00                   56.00   Room Stat - Corporate Transient                        1,177.00         1,001.00        176.00         620.00            557.00
            57.00              31.00          26.00           0.00                   57.00   Room Stat - Advanced Purchase                            129.00           395.00       -266.00           0.00            129.00
            68.00               0.00          68.00         488.00                 -420.00   Room Stat - Qualified Discounts                          475.00             0.00        475.00         488.00            -13.00
            -5.00              31.00         -36.00          29.00                  -34.00   Room Stat - FIT(Flexible Independent Travel)              -4.00            92.00        -96.00          31.00            -35.00
            23.00              62.00         -39.00          43.00                  -20.00   Room Stat - Consortia Rate Transient                     107.00           222.00       -115.00         180.00            -73.00
           104.00              46.00          58.00          58.00                   46.00   Room Stat - Employee                                     421.00           166.00        255.00         145.00            276.00
             0.00               0.00           0.00         254.00                 -254.00   Room Stat - Leisure Transient                              0.00             0.00          0.00       4,053.00         -4,053.00
            16.00               0.00          16.00           0.00                   16.00   Room Stat - Package Transient                             43.00             0.00         43.00           0.00             43.00
            21.00              16.00           5.00           0.00                   21.00   Room Stat - Travel Agent/Friends & Family                 72.00            99.00        -27.00           0.00             72.00
           170.00             155.00          15.00         132.00                   38.00   Room Stat - Member Reward Stay                           771.00           554.00        217.00         230.00            541.00
             6.00               0.00           6.00         149.00                 -143.00   Room Stat - Non-Qualified Discounts                      115.00             0.00        115.00         219.00           -104.00
           162.00             455.00        -293.00         373.00                 -211.00   Room Stat - Internet                                     801.00         2,028.00     -1,227.00         787.00             14.00
            93.00             139.00         -46.00         123.00                  -30.00   Room Stat - Government Rate Transient                    329.00           615.00       -286.00         450.00           -121.00
           570.00             558.00          12.00         475.00                   95.00   Room Stat - Rack Rate Transient                        2,699.00         2,180.00        519.00       1,367.00          1,332.00
           213.00             248.00         -35.00         169.00                   44.00   Room Stat - Local Negotiated Transient                 1,051.00           976.00         75.00       1,179.00           -128.00
        1,733.00           1,989.00        -256.00       2,472.00                 -739.00    Total Transient Rooms Sold                            8,186.00         8,328.00       -142.00       9,749.00         -1,563.00

                                                                                             Group Rooms
         1,319.00              30.00       1,289.00           5.00                1,314.00   Room Stat - Corporate Group Rooms                      5,235.00           255.00      4,980.00         334.00         4,901.00
             0.00             930.00        -930.00           0.00                    0.00   Room Stat - Leisure Group                                  0.00         4,530.00     -4,530.00           0.00             0.00
           107.00               0.00         107.00           3.00                  104.00   Room Stat - Government Group                             131.00             0.00        131.00           4.00           127.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Association Group                              9.00            20.00        -11.00           0.00             9.00
            33.00              40.00          -7.00           3.00                   30.00   Room Stat - SMERF Group                                  171.00           179.00         -8.00         125.00            46.00
             0.00              20.00         -20.00           0.00                    0.00   Room Stat - Sports Group                                 130.00            20.00        110.00           0.00           130.00
        1,459.00           1,020.00         439.00           11.00               1,448.00    Total Group Rooms Sold                                5,676.00         5,004.00        672.00         463.00         5,213.00

                                                                                             Contract Rooms
             0.00              0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                                 0.00             0.00          0.00            0.00             0.00

        3,192.00           3,009.00         183.00       2,483.00                 709.00     Total Rooms Sold                                     13,862.00        13,332.00       530.00       10,212.00         3,650.00
             1.00              0.00            1.00           9.00                  -8.00    Room Stat - Comp Rooms                                    29.00            0.00         29.00           25.00             4.00
        3,193.00           3,009.00         184.00       2,492.00                 701.00     Total Rooms Occupied                                 13,891.00        13,332.00       559.00       10,237.00         3,654.00
           714.00              0.00          714.00         925.00                -211.00    Room Stat - Out of Order                               4,049.00            0.00      4,049.00        5,763.00        -1,714.00

                                                                                             ADR
           128.25             101.00         27.25           96.80                  31.45    Corporate Transient ADR                                  128.46           103.39        25.07          119.94              8.51
           151.84             108.00         43.84            0.00                 151.84    Advanced Purchase ADR                                    163.33           104.37        58.96            0.00           163.33
           190.92               0.00        190.92          121.03                  69.89    Qualified Discount ADR                                   136.49             0.00       136.49          121.03            15.47
             0.00              98.00        -98.00          130.33                -130.33    FIT ADR                                                  -31.69            93.99      -125.68          128.04          -159.73
           145.93              97.00         48.93           80.93                  65.00    Consortia ADR                                            144.02            94.86        49.16           92.98            51.04
            35.00              35.00          0.00           47.62                 -12.62    Employee ADR                                              35.22            35.00         0.22           43.01             -7.78
             0.00               0.00          0.00          104.15                -104.15    Leisure ADR                                                0.00             0.00         0.00           94.57           -94.57
           108.36              86.00         22.36            0.00                 108.36    Travel Agent/Friends & Family ADR                        100.79            85.43        15.35            0.00           100.79
             0.00               0.00          0.00            0.00                   0.00    Leisure Package ADR                                        0.00             0.00         0.00            0.00              0.00
           107.35              41.00         66.35           45.82                  61.53    Member Reward Stay ADR                                    76.41            41.00        35.41           41.75            34.67
             0.00               0.00          0.00            0.00                   0.00    Golf Pkg ADR                                               0.00             0.00         0.00            0.00              0.00
           154.56               0.00        154.56           94.44                  60.11    Non Qualified ADR                                         87.92             0.00        87.92          104.34           -16.42
           169.82             118.00         51.82          126.66                  43.17    Internet ADR                                             160.15           104.74        55.42          117.41            42.74
             0.00               0.00          0.00            0.00                   0.00    E-Commerce Opaque ADR                                      0.00             0.00         0.00            0.00              0.00
             0.00               0.00          0.00            0.00                   0.00    Other Transient ADR                                        0.00             0.00         0.00            0.00              0.00
             0.00               0.00          0.00            0.00                   0.00    Airline Distressed Passenger ADR                           0.00             0.00         0.00            0.00              0.00
           124.05             119.00          5.05          101.35                  22.70    Government ADR                                           122.76           110.49        12.28           98.82            23.94
           161.49             125.50         35.99          116.07                  45.43    Rack ADR                                                 153.48           114.25        39.23          117.26            36.22
           113.85              85.00         28.85           74.03                  39.82    Local Negotiated ADR                                     101.08            85.56        15.52           75.40            25.68
          137.52             142.84          -5.32         105.31                   32.21    Total Transient ADR                                     126.90           132.03         -5.13           98.70            28.20

            92.71            117.00         -24.29          139.00                 -46.29    Corporate Group ADR                                      93.59           108.49        -14.90           64.05            29.54
             0.00             93.00         -93.00            0.00                   0.00    Leisure Group ADR                                         0.00            93.00        -93.00            0.00             0.00
           106.91              0.00         106.91          104.67                   2.24    Government Group ADR                                    111.73             0.00        111.73          113.25            -1.52
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                             YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00           0.00                    0.00    Tour & Travel Group ADR                                   0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00           0.00                    0.00    Association Group ADR                                   119.00           89.00        30.00            0.00         119.00
             0.00              0.00           0.00           0.00                    0.00    City Wide Group ADR                                       0.00            0.00         0.00            0.00           0.00
           118.12            114.00           4.12          99.00                   19.12    SMERF Group ADR                                         114.87          114.08         0.79          107.88           7.00
             0.00            114.00        -114.00           0.00                    0.00    Sports Group ADR                                        123.54          114.00         9.54            0.00         123.54
             0.00              0.00           0.00           0.00                    0.00    Other Group ADR                                           0.00            0.00         0.00            0.00           0.00
            94.33             94.94          -0.61         118.73                  -24.40    Total Group ADR                                          95.43           94.61         0.82           76.31          19.12

             0.00              0.00           0.00            0.00                   0.00    Airline Crew ADR                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Other Contract ADR                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Contract ADR                                        0.00            0.00         0.00            0.00           0.00

          118.02             126.79          -8.77         105.61                   12.41    Total ADR                                               114.38          118.18        -3.80           97.70          16.68




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              PTD     %           PTD Budget   %         Variance   PTD Last Year     %              Variance                                                              YTD      %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                                F&B Summary
                                                                                                                Revenue
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Outlet Food Revenue                                        0.00      0.00%        0.00       0.00%         0.00           0.00   0.00%          0.00
           382.05     23.01%           0.00     0.00%      382.05           0.00       0.00%           382.05   Banquet and Catering Food Revenue                      2,376.50     18.90%        0.00       0.00%     2,376.50           0.00   0.00%      2,376.50
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Outlet Beverage Revenue                                    0.00      0.00%        0.00       0.00%         0.00           0.00   0.00%          0.00
           241.13     14.52%           0.00     0.00%      241.13           0.00       0.00%           241.13   Banquet and Catering Beverage Revenue                  2,081.21     16.55%        0.00       0.00%     2,081.21           0.00   0.00%      2,081.21
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Outlet Other Revenue                                       0.00      0.00%        0.00       0.00%         0.00           0.00   0.00%          0.00
         1,037.00     62.46%           0.00     0.00%    1,037.00         610.00     100.00%           427.00   Banquet and Catering Other Revenue                     8,117.74     64.55%        0.00       0.00%     8,117.74       2,608.68 100.00%      5,509.06
        1,660.18    100.00%            0.00    0.00%    1,660.18         610.00     100.00%         1,050.18    Total F&B Revenue                                    12,575.45    100.00%         0.00      0.00%    12,575.45       2,608.68 100.00%      9,966.77

                                                                                                                Cost of Sales
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Food Purchases                                             0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
         1,318.98     79.45%           0.00     0.00%    1,318.98           0.00       0.00%         1,318.98   Beverage Purchases                                     4,628.63     36.81%        0.00       0.00%     4,628.63           0.00     0.00%    4,628.63
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Cedit Employee Meals                                       0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Credit House Charges                                       0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Credit In-House Promotions                                 0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Audio Visual Cost of Sales                                 0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
             0.00      0.00%           0.00     0.00%        0.00           0.00       0.00%             0.00   Other Cost of Sales                                        0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
        1,318.98     79.45%            0.00    0.00%    1,318.98            0.00      0.00%         1,318.98    Total F&B Cost of Sales                               4,628.63     36.81%         0.00      0.00%     4,628.63            0.00    0.00%    4,628.63

          341.20     20.55%            0.00    0.00%     341.20          610.00     100.00%          -268.80    F&B Gross Profit                                      7,946.82     63.19%         0.00      0.00%     7,946.82       2,608.68 100.00%      5,338.14

                                                                                                                Expenses
                                                                                                                Payroll
                                                                                                                Salaries and Wages
             0.00      0.00%           0.00     0.00%       0.00            0.00       0.00%            0.00    Management                                                0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%       0.00            0.00       0.00%            0.00    Non-Management                                            0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%       0.00
             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total F&B Salaries and Wages                              0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
                                                                                                                PR Taxes and Benefits
             0.00      0.00%           0.00     0.00%       0.00            0.00       0.00%            0.00    Payroll Taxes                                             0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%       0.00            0.00       0.00%            0.00    Supplemental Pay                                          0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%       0.00
             0.00      0.00%           0.00     0.00%       0.00            0.00       0.00%            0.00    Other Benefits                                            0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%       0.00
             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total F&B PR Taxes and Benefits                           0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total F&B Payroll                                         0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

                                                                                                                Other Expenses
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Audio Visual Supplies                                      0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Banquet Expense                                        1,670.26    13.28%          0.00     0.00%      1,670.26           0.00    0.00%    1,670.26
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Bar Expense/Promos                                         0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Bar Supplies                                               0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    China                                                      0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Cleaning Supplies                                          0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Communication Expense                                      0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Contract Cleaning                                          0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Contract Labor                                             0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Decorations & Plants                                       0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Dues and Subscriptions                                     0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Equipment Rental                                         262.14     2.08%          0.00     0.00%        262.14           0.00    0.00%      262.14
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Food and Beverage Advertising                              0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Glassware                                                  0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Guest Loss/Damage                                          0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Guest Supplies                                             0.00     0.00%          0.00     0.00%          0.00         125.07    4.79%     -125.07
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    In-House Entertainment                                     0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Kitchen/Cooking Fuel                                     132.81     1.06%          0.00     0.00%        132.81           0.00    0.00%      132.81
            26.43         1.59%         0.00   0.00%       26.43            0.00      0.00%            26.43    Kitchen Equipment                                         26.43     0.21%          0.00     0.00%         26.43           0.00    0.00%       26.43
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Laundry - Outside Expense                                  0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Laundry Allocation                                         0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Licenses/Permits                                           0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
            29.52         1.78%         0.00   0.00%       29.52            0.00      0.00%            29.52    Linen                                                     98.10     0.78%          0.00     0.00%         98.10           0.00    0.00%       98.10
             0.00         0.00%         0.00   0.00%        0.00            0.00      0.00%             0.00    Linen Rental                                               0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%        0.00
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                                                                                           Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                              YTD     %        YTD Budget %             Variance   YTD Last Year    %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Maintenance Contracts                                      0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Meals and Entertainment                                    0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Menus                                                      0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Miscellaneous Expense                                      0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Music and Entertainment                                    0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Office Equipment                                           0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Office Supplies                                            0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Operating Supplies                                         0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
           589.43     35.50%        0.00     0.00%    589.43            0.00       0.00%          589.43    Paper/Plastic Supplies                                   589.43     4.69%        0.00       0.00%      589.43          0.00      0.00%      589.43
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Printing and Stationery                                    0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Silverware                                                 0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Software Expense/Maintenance                               0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Television Cable                                           0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Training                                                   0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Travel                                                     0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Uniforms                                                   0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Utensils                                                   0.00     0.00%        0.00       0.00%        0.00          0.00      0.00%        0.00
          645.38     38.87%         0.00    0.00%    645.38             0.00      0.00%          645.38     Total F&B Other Expenses                              2,779.17    22.10%         0.00      0.00%    2,779.17         125.07     4.79%    2,654.10

          645.38     38.87%         0.00    0.00%    645.38             0.00      0.00%          645.38     Total F&B Expenses                                    2,779.17    22.10%         0.00      0.00%    2,779.17         125.07     4.79%    2,654.10

         -304.18    -18.32%         0.00    0.00%    -304.18         610.00     100.00%          -914.18    Total F&B Profit (Loss)                               5,167.65    41.09%         0.00      0.00%    5,167.65       2,483.61     95.21%   2,684.04




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                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                             YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                             Room Service
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Room Service Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Room Service Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                             Banquets
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Banquets Covers                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Banquets Avg Check                                        0.00            0.00         0.00            0.00           0.00

                                                                                             Catering
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Catering Covers                                     0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Catering Avg Check                                        0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 3
             0.00               0.00          0.00            0.00                   0.00    Breakfast Avg Check                                       0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Lunch Avg Check                                           0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Dinner Avg Check                                          0.00             0.00        0.00            0.00           0.00
             0.00               0.00          0.00            0.00                   0.00    Brunch Avg Check                                          0.00             0.00        0.00            0.00           0.00
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                                                                            Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                             YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 4
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 5
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                                 0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                    0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 1
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                           0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                        0.00            0.00         0.00            0.00           0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                           0.00            0.00         0.00            0.00           0.00

             0.00              0.00           0.00            0.00                   0.00    Total Covers                                              0.00            0.00         0.00            0.00           0.00




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                                                                                                                        As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                                              YTD     %       YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Food Admin
                                                                                                           Cost of Sales
         1,318.98     79.45%         0.00   0.00%   1,318.98            0.00      0.00%         1,318.98   Beverage Purchases                                     4,628.63   36.81%         0.00     0.00%   4,628.63            0.00    0.00%   4,628.63

        1,318.98     79.45%         0.00    0.00%   1,318.98            0.00      0.00%        1,318.98    Total Food Admin Cost of Sales                        4,628.63    36.81%        0.00      0.00%   4,628.63            0.00    0.00%   4,628.63

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Food Admin Management                               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Food Admin Non-Management                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Food Admin Salaries and Wages                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Payroll Taxes                                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Supplemental Pay                                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Other Benefits                                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Food Admin PR Taxes and Benefits                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%            0.00    Total Food Admin Payroll                                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Banquet Expense                                        1,670.26   13.28%         0.00     0.00%   1,670.26            0.00    0.00%   1,670.26
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Equipment Rental                                         262.14    2.08%         0.00     0.00%     262.14            0.00    0.00%     262.14
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Guest Supplies                                             0.00    0.00%         0.00     0.00%       0.00          125.07    4.79%    -125.07
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%            0.00    Kitchen/Cooking Fuel                                     132.81    1.06%         0.00     0.00%     132.81            0.00    0.00%     132.81
            26.43      1.59%         0.00   0.00%      26.43            0.00      0.00%           26.43    Kitchen Equipment                                         26.43    0.21%         0.00     0.00%      26.43            0.00    0.00%      26.43
            29.52      1.78%         0.00   0.00%      29.52            0.00      0.00%           29.52    Linen                                                     98.10    0.78%         0.00     0.00%      98.10            0.00    0.00%      98.10
           589.43     35.50%         0.00   0.00%     589.43            0.00      0.00%          589.43    Paper/Plastic Supplies                                   589.43    4.69%         0.00     0.00%     589.43            0.00    0.00%     589.43

          645.38     38.87%         0.00    0.00%    645.38             0.00      0.00%          645.38    Total Food Admin Other Expenses                       2,779.17    22.10%        0.00      0.00%   2,779.17         125.07     4.79%   2,654.10

          645.38     38.87%         0.00    0.00%    645.38             0.00      0.00%          645.38    Total Food Admin Expenses                             2,779.17    22.10%        0.00      0.00%   2,779.17         125.07     4.79%   2,654.10

        1,964.36    118.32%         0.00    0.00%   1,964.36            0.00      0.00%        1,964.36    Departmental Costs                                    7,407.80    58.91%        0.00      0.00%   7,407.80         125.07     4.79%   7,282.73




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              PTD     %           PTD Budget   %       Variance   PTD Last Year     %             Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                             Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%            0.00    Less Adjustments                                          0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%            0.00    Total Beverage Admin Revenue                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                             Cost of Sales

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%            0.00    Total Beverage Admin Cost of Sales                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                             Expenses
                                                                                                             Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%            0.00    Total Beverage Admin Other Expenses                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%            0.00    Total Beverage Admin Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%            0.00    Departmental Costs                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 1
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 1 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 1 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 1 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 1 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 2
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 2 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 2 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 2 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 2 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Room Service
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Room Service Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Room Service Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Other Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Room Service Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Room Service Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %         Variance   PTD Last Year     %              Variance                                                              YTD     %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                                Banquets
                                                                                                                Food Revenue
           382.05     23.01%            0.00   0.00%      382.05            0.00      0.00%           382.05    Food-Dinner                                            2,376.50    18.90%         0.00     0.00%     2,376.50            0.00    0.00%    2,376.50

          382.05     23.01%            0.00    0.00%     382.05             0.00      0.00%          382.05     Banquets Food Revenue                                 2,376.50    18.90%         0.00      0.00%     2,376.50            0.00    0.00%    2,376.50
            0.00       0.00%           0.00     0.00%      0.00             0.00       0.00%           0.00     Less: Allowances                                          0.00      0.00%        0.00       0.00%        0.00            0.00     0.00%       0.00

          382.05     23.01%            0.00    0.00%     382.05             0.00      0.00%          382.05     Total Banquets Food Revenue                           2,376.50    18.90%         0.00      0.00%     2,376.50            0.00    0.00%    2,376.50

                                                                                                                Beverage Revenue
           116.40         7.01%         0.00   0.00%      116.40            0.00      0.00%           116.40    Liquor                                                 1,292.84    10.28%         0.00     0.00%     1,292.84            0.00    0.00%    1,292.84
            78.53         4.73%         0.00   0.00%       78.53            0.00      0.00%            78.53    Beer                                                     356.59     2.84%         0.00     0.00%       356.59            0.00    0.00%      356.59
            46.20         2.78%         0.00   0.00%       46.20            0.00      0.00%            46.20    Wine                                                      99.78     0.79%         0.00     0.00%        99.78            0.00    0.00%       99.78

          241.13     14.52%            0.00    0.00%     241.13             0.00      0.00%          241.13     Banquets Beverage Revenue                             1,749.21    13.91%         0.00      0.00%     1,749.21            0.00    0.00%    1,749.21
            0.00       0.00%           0.00     0.00%      0.00             0.00       0.00%           0.00     Beverage-Adjustments-A&G                                 332.00     2.64%        0.00       0.00%       332.00           0.00     0.00%      332.00
            0.00       0.00%           0.00     0.00%      0.00             0.00       0.00%           0.00     Less: Allowances                                         332.00     2.64%        0.00       0.00%       332.00           0.00     0.00%      332.00

          241.13     14.52%            0.00    0.00%     241.13             0.00      0.00%          241.13     Total Banquets Beverage Revenue                       2,081.21    16.55%         0.00      0.00%     2,081.21            0.00    0.00%    2,081.21

                                                                                                                Other Revenue
             0.00      0.00%            0.00   0.00%        0.00            0.00       0.00%            0.00    Audio/Visual Income                                      595.00     4.73%         0.00     0.00%       595.00          135.00     5.18%      460.00
             0.00      0.00%            0.00   0.00%        0.00            0.00       0.00%            0.00    Other Revenue                                          4,783.21    38.04%         0.00     0.00%     4,783.21            0.00     0.00%    4,783.21
           187.00     11.26%            0.00   0.00%      187.00            0.00       0.00%          187.00    Setup Fee                                              1,889.53    15.03%         0.00     0.00%     1,889.53          194.68     7.46%    1,694.85
           850.00     51.20%            0.00   0.00%      850.00          610.00     100.00%          240.00    Public Room Rental                                       850.00     6.76%         0.00     0.00%       850.00        2,279.00    87.36%   -1,429.00

        1,037.00     62.46%            0.00    0.00%    1,037.00         610.00     100.00%          427.00     Total Banquets Other Revenue                          8,117.74    64.55%         0.00      0.00%     8,117.74       2,608.68 100.00%      5,509.06

        1,660.18    100.00%            0.00    0.00%    1,660.18         610.00     100.00%         1,050.18    Total Banquets Revenue                               12,575.45    100.00%        0.00      0.00%    12,575.45       2,608.68 100.00%      9,966.77

                                                                                                                Cost of Sales

             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Banquets Cost of Sales                              0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

        1,660.18    100.00%            0.00    0.00%    1,660.18         610.00     100.00%         1,050.18    Gross Profit                                         12,575.45    100.00%        0.00      0.00%    12,575.45       2,608.68 100.00%      9,966.77

                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Banquets Management                                 0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Banquets Non-Management                             0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

             0.00                      0.00                 0.00            0.00                        0.00    Total Banquets Salaries and Wages                         0.00                   0.00                    0.00            0.00                 0.00

                                                                                                                PR Taxes and Benefits
             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

             0.00                      0.00                 0.00            0.00                        0.00    Total Banquet Benefits                                    0.00                   0.00                    0.00            0.00                 0.00

             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Banquets Payroll                                    0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

                                                                                                                Other Expenses
             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Banquets Other Expenses                             0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

             0.00     0.00%            0.00    0.00%        0.00            0.00      0.00%             0.00    Total Banquets Expenses                                   0.00     0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

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              PTD     %       PTD Budget   %        Variance   PTD Last Year     %             Variance                                                             YTD     %        YTD Budget %             Variance   YTD Last Year   %      Variance


        1,660.18    100.00%        0.00    0.00%   1,660.18         610.00     100.00%        1,050.18    Total Banquets Profit (Loss)                         12,575.45   100.00%        0.00      0.00%   12,575.45       2,608.68 100.00%   9,966.77




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Catering
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Catering Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Catering Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Other Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Catering Gross Profit                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Non-Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Salaries and Wages                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering PR Taxes and Benefits                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Payroll                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Other Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Catering Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 3
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 3 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 3 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 3 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Payroll Taxes and Benefits             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 3 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 4
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 4 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restauarnt 4 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 4 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Restaurant 5
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 5 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 5 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Restaurant 5 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Restaurant 5 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Bar 1
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Bar 1 Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Bar 1 Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 1 Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                            Bar 2
                                                                                                            Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Bar 2 Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Bar 2 Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expenses
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%             0.00    Total Bar 2 Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget   %        Variance   PTD Last Year     %              Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                               Telephone
             0.00         0.00%         0.00   0.00%       0.00           12.00     100.00%          -12.00    Local and Long Distance Revenue                           0.00   0.00%          0.00     0.00%       0.00          103.50    100.00%     -103.50

             0.00     0.00%            0.00    0.00%       0.00           12.00    100.00%           -12.00    Telephone Revenue                                         0.00   0.00%         0.00      0.00%       0.00         103.50 100.00%         -103.50
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%            0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00           0.00    0.00%           0.00
             0.00     0.00%            0.00    0.00%       0.00           12.00    100.00%           -12.00    Total Telephone Revenue                                   0.00   0.00%         0.00      0.00%       0.00         103.50 100.00%         -103.50

                                                                                                               Cost of Sales
             0.00      0.00%           0.00     0.00%      0.00            0.00       0.00%            0.00    Cost of Sales - Local Calls                               0.00    0.00%        0.00       0.00%      0.00        2,673.71 2,583.29%     -2,673.71
             0.00     0.00%            0.00    0.00%       0.00            0.00      0.00%             0.00    Total Telephone Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00       2,673.712,583.29%      -2,673.71

             0.00     0.00%            0.00    0.00%       0.00           12.00    100.00%           -12.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00      -2,570.21
                                                                                                                                                                                                                                      -2,483.29%       2,570.21

                                                                                                               Other Expenses
             0.00      0.00%           0.00     0.00%      0.00        1,692.7414,106.17%          -1,692.74   Internet/Web Expense                                      0.00    0.00%        0.00       0.00%      0.00        8,757.38 8,461.24%     -8,757.38
             0.00      0.00%           0.00     0.00%      0.00           90.00   750.00%             -90.00   Telephone Equipment                                       0.00    0.00%        0.00       0.00%      0.00          180.00 173.91%         -180.00
             0.00     0.00%            0.00    0.00%       0.00       1,782.7414,856.17%          -1,782.74    Total Telephone Other Expenses                            0.00   0.00%         0.00      0.00%       0.00       8,937.388,635.15%      -8,937.38

             0.00     0.00%            0.00    0.00%       0.00      -1,770.74
                                                                            -14,756.17%            1,770.74    Total Telephone Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00     -11,507.59
                                                                                                                                                                                                                                     -11,118.44%      11,507.59




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              PTD     %        PTD Budget     %         Variance   PTD Last Year     %              Variance                                                              YTD     %        YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                               Minor Operating
                                                                                                               Income
             0.00      0.00%     2,000.00    29.74%    -2,000.00           0.00       0.00%             0.00   Rental Income - Other                                  8,136.00    24.19%     6,900.00    25.14%    1,236.00           0.00      0.00%    8,136.00
             0.00     0.00%     2,000.00    29.74%    -2,000.00            0.00      0.00%              0.00   Total Rental Income                                   8,136.00    24.19%     6,900.00    25.14%    1,236.00            0.00     0.00%    8,136.00
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%             0.00   Vending Commissions-Soda & Snack Machines                883.50     2.63%         0.00     0.00%      883.50           0.00      0.00%      883.50
           585.00     11.65%       375.00     5.58%       210.00         148.50       3.12%           436.50   Vending Commissions Other                              2,283.75     6.79%     1,700.00     6.19%      583.75       1,042.00      4.29%    1,241.75
          585.00     11.65%       375.00     5.58%       210.00         148.50       3.12%           436.50    Total Vending Commission Income                       3,167.25     9.42%     1,700.00     6.19%    1,467.25       1,042.00      4.29%    2,125.25
           372.69      7.42%         0.00     0.00%       372.69         622.57      13.08%          -249.88   Cancellation Fee - Rooms                               1,644.35     4.89%         0.00     0.00%    1,644.35       1,656.56      6.82%       -12.21
          372.69      7.42%          0.00    0.00%       372.69         622.57      13.08%          -249.88    Total Cancellation Fee Income                         1,644.35     4.89%          0.00    0.00%    1,644.35       1,656.56      6.82%       -12.21
           143.55      2.86%        50.00     0.74%        93.55           9.90       0.21%           133.65   Internet Access                                          895.95     2.66%       250.00     0.91%      645.95       1,103.65      4.54%     -207.70
             0.00      0.00%         0.00     0.00%         0.00         600.00      12.61%          -600.00   Telephone Revenue                                      1,840.92     5.47%         0.00     0.00%    1,840.92       2,813.22     11.58%     -972.30
           500.85      9.97%         0.00     0.00%       500.85          35.00       0.74%           465.85   Other Revenue 3                                        1,580.16     4.70%         0.00     0.00%    1,580.16         835.00      3.44%      745.16
             0.00      0.00%       600.00     8.92%      -600.00           0.00       0.00%             0.00   Other Revenue 4                                            0.00     0.00%     1,800.00     6.56%   -1,800.00           0.00      0.00%         0.00
         3,420.54     68.10%     3,700.00    55.02%      -279.46       3,343.73      70.25%            76.81   Gift Shop Sales                                       16,371.25    48.67%    16,800.00    61.20%     -428.75      13,976.89     57.52%    2,394.36
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%             0.00   Pet Fees                                                   0.00     0.00%         0.00     0.00%        0.00       2,870.00     11.81%   -2,870.00
        4,064.94     80.93%     4,350.00    64.68%      -285.06       3,988.63      83.80%             76.31   Total Other Income                                   20,688.28    61.51%    18,850.00    68.67%    1,838.28      21,598.76     88.89%     -910.48

        5,022.63    100.00%     6,725.00    100.00%   -1,702.37       4,759.70     100.00%          262.93     Total Minor Operating Income                         33,635.88    100.00%   27,450.00 100.00%      6,185.88      24,297.32 100.00%       9,338.56

                                                                                                               Cost of Sales
         2,444.42     48.67%     2,405.00    35.76%       39.42        1,375.04      28.89%         1,069.38   Cost of Sales - Gift Shop                             12,164.29    36.16%    10,920.00    39.78%    1,244.29       7,518.10     30.94%    4,646.19
        2,444.42     48.67%     2,405.00    35.76%        39.42       1,375.04      28.89%         1,069.38    Total Minor Operated Cost of Sales                   12,164.29    36.16%    10,920.00    39.78%    1,244.29       7,518.10     30.94%    4,646.19

        2,578.21     51.33%     4,320.00    64.24%    -1,741.79       3,384.66      71.11%          -806.45    Total Minor Operated Profit (Loss)                   21,471.59    63.84%    16,530.00    60.22%    4,941.59      16,779.22     69.06%    4,692.37




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %             Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Arcade
                                                                                                         Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Revenue                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Non-Management                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Salaries and Wages                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade PR Taxes and Benefits                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Payroll                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Other Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Expenses                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Arcade Profit (Loss)                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %             Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Waterpark
                                                                                                         Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Revenue                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Waterpark Management                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Waterpark Non-Management                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Salaries and Wages                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark PR Taxes and Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Payroll                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Other Expenses                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%            0.00    Total Waterpark Profit (Loss)                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %           PTD Budget    %        Variance   PTD Last Year     %             Variance                                                              YTD    %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                               Franchise Fees
             0.00         0.00%         0.00    0.00%        0.00       1,005.20      0.38%        -1,005.20   Franchise Fees - IT Fees                                   0.00   0.00%         0.00     0.00%         0.00       2,010.40     0.20%   -2,010.40
        20,677.64         5.39%    20,247.68    5.22%      429.96      15,641.32      5.85%         5,036.32   Franchise Fees - Royalty & Licenses                   88,425.18   5.42%    87,453.44     5.46%       971.74      55,047.44     5.37%   33,377.74
             0.00         0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Franchise Fees - Other                                     0.00   0.00%         0.00     0.00%         0.00         120.00     0.01%     -120.00
             0.00         0.00%         0.00    0.00%        0.00       2,414.43      0.90%        -2,414.43   Franchise Fees - Reservations-GDS                          0.00   0.00%         0.00     0.00%         0.00       7,260.94     0.71%   -7,260.94
             0.00         0.00%         0.00    0.00%        0.00         370.00      0.14%          -370.00   Franchise Fees - Equipment                                 0.00   0.00%         0.00     0.00%         0.00       6,438.59     0.63%   -6,438.59
         2,500.00         0.65%     7,741.76    1.99%   -5,241.76       3,003.17      1.12%          -503.17   Franchise Fees - Frequent Guest                       17,139.90   1.05%    33,438.08     2.09%   -16,298.18      18,686.32     1.82%   -1,546.42
        13,158.50         3.43%    12,840.90    3.31%      317.60      10,378.77      3.88%         2,779.73   Franchise Fees - Marketing Contributions              56,696.93   3.47%    55,462.20     3.46%     1,234.73      35,033.60     3.42%   21,663.33

       36,336.14      9.48%       40,830.34    10.52%   -4,494.20     32,812.89      12.26%        3,523.25    Total Franchise Fees                                162,262.01    9.94%   176,353.72   11.00%    -14,091.71    124,597.29     12.16%   37,664.72




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              PTD     %        PTD Budget   %           Variance   PTD Last Year     %              Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               A&G
                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
        -2,094.08     -0.55%     7,760.18    2.00%     -9,854.26      12,277.02       4.59%       -14,371.10   Management- A&G                                       32,521.29    1.99%     37,994.12     2.37%     -5,472.83      38,482.75      3.76%    -5,961.46
       -2,094.08     -0.55%     7,760.18    2.00%     -9,854.26      12,277.02       4.59%       -14,371.10    Total A&G Management                                 32,521.29    1.99%     37,994.12     2.37%     -5,472.83      38,482.75      3.76%    -5,961.46
             0.00     0.00%          0.00   0.00%           0.00           0.00      0.00%              0.00   Total A&G Non-Management                                   0.00   0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
       -2,094.08     -0.55%     7,760.18    2.00%     -9,854.26      12,277.02       4.59%       -14,371.10    Total A&G Salaries and Wages                         32,521.29    1.99%     37,994.12     2.37%     -5,472.83      38,482.75      3.76%    -5,961.46
                                                                                                               PR Taxes and Benefits
           -27.57     -0.01%       617.24    0.16%       -644.81         952.68       0.36%          -980.25   FICA                                                   2,693.11    0.17%      3,962.81     0.25%     -1,269.70       2,984.04      0.29%     -290.93
            -3.49      0.00%         7.26    0.00%        -10.75          31.47       0.01%           -34.96   Federal Unemployment Tax                                 132.88    0.01%        130.48     0.01%          2.40         141.53      0.01%        -8.65
            -1.75      0.00%        16.14    0.00%        -17.89         123.85       0.05%          -125.60   State Unemployment Tax                                   350.42    0.02%        462.84     0.03%       -112.42         831.99      0.08%     -481.57
          -32.81     -0.01%       640.64    0.17%       -673.45       1,108.00       0.41%        -1,140.81    Total Payroll Taxes                                   3,176.41    0.19%      4,556.13     0.28%     -1,379.72       3,957.56      0.39%     -781.15
             0.00      0.00%       308.32    0.08%       -308.32           0.00       0.00%             0.00   Vacation                                                   0.00    0.00%      1,307.28     0.08%     -1,307.28         284.76      0.03%     -284.76
             0.00     0.00%       308.32    0.08%       -308.32            0.00      0.00%              0.00   Total Supplemental Pay                                     0.00   0.00%      1,307.28     0.08%     -1,307.28         284.76      0.03%     -284.76
           144.15      0.04%       243.46    0.06%        -99.31         564.30       0.21%          -420.15   Worker's Compensation                                    845.69    0.05%      1,517.83     0.09%       -672.14       1,533.51      0.15%     -687.82
             0.00      0.00%       480.00    0.12%       -480.00         458.25       0.17%          -458.25   Group Insurance                                        4,349.00    0.27%      2,400.00     0.15%      1,949.00       2,036.64      0.20%    2,312.36
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%             0.00   Bonus and Incentive Pay                                5,381.25    0.33%     12,500.00     0.78%     -7,118.75           0.00      0.00%    5,381.25
          144.15      0.04%       723.46    0.19%       -579.31       1,022.55       0.38%          -878.40    Total Other Benefits                                 10,575.94    0.65%     16,417.83     1.02%     -5,841.89       3,570.15      0.35%    7,005.79
          111.34      0.03%     1,672.42    0.43%     -1,561.08       2,130.55       0.80%        -2,019.21    Total A&G PR Taxes and Benefits                      13,752.35    0.84%     22,281.24     1.39%     -8,528.89       7,812.47      0.76%    5,939.88
       -1,982.74     -0.52%     9,432.60    2.43%    -11,415.34      14,407.57       5.38%       -16,390.31    Total A&G Payroll                                    46,273.64    2.84%     60,275.36     3.76%    -14,001.72      46,295.22      4.52%       -21.58
                                                                                                               Other Expenses
             0.00      0.00%         0.00    0.00%          0.00       1,000.00       0.37%        -1,000.00   Accounting/Audit Fees                                      0.00    0.00%          0.00     0.00%          0.00       7,000.00      0.68%   -7,000.00
             7.26      0.00%         0.00    0.00%          7.26         703.03       0.26%          -695.77   Bad Debt Provision                                       982.97    0.06%          0.00     0.00%        982.97       1,531.92      0.15%     -548.95
         1,423.92      0.37%       950.00    0.24%        473.92         636.90       0.24%           787.02   Bank Charges                                           5,586.66    0.34%      4,750.00     0.30%        836.66       2,732.55      0.27%    2,854.11
           -18.00      0.00%         0.00    0.00%        -18.00          14.50       0.01%           -32.50   Cash Over/Short                                          884.51    0.05%          0.00     0.00%        884.51        -259.86     -0.03%    1,144.37
             0.00      0.00%       150.00    0.04%       -150.00           0.00       0.00%             0.00   Central Office - Travel Rebilled                           0.00    0.00%        750.00     0.05%       -750.00           0.00      0.00%        0.00
         1,000.00      0.26%     1,000.00    0.26%          0.00           0.00       0.00%         1,000.00   Central Office - Accounting Fees                       5,000.00    0.31%      5,000.00     0.31%          0.00           0.00      0.00%    5,000.00
             0.00      0.00%         0.00    0.00%          0.00       1,520.00       0.57%        -1,520.00   Central Office - IT Fees                                   0.00    0.00%          0.00     0.00%          0.00       2,470.00      0.24%   -2,470.00
         6,628.49      1.73%     8,540.95    2.20%     -1,912.46       5,456.05       2.04%         1,172.44   Credit Card Commission                                28,623.81    1.75%     35,266.13     2.20%     -6,642.32      20,814.98      2.03%    7,808.83
             0.00      0.00%       500.00    0.13%       -500.00         160.00       0.06%          -160.00   Dues and Subscriptions                                     0.00    0.00%      1,000.00     0.06%     -1,000.00       3,165.00      0.31%   -3,165.00
           855.64      0.22%       300.00    0.08%        555.64         160.75       0.06%           694.89   Employee Relations                                     3,319.75    0.20%      2,295.00     0.14%      1,024.75         451.32      0.04%    2,868.43
             0.00      0.00%        45.00    0.01%        -45.00         128.27       0.05%          -128.27   Equipment Rental                                         282.02    0.02%        225.00     0.01%         57.02         128.27      0.01%      153.75
           245.97      0.06%         0.00    0.00%        245.97           0.00       0.00%           245.97   Licenses/Permits                                         711.85    0.04%      1,400.00     0.09%       -688.15       1,479.00      0.14%     -767.15
           144.21      0.04%         0.00    0.00%        144.21           0.00       0.00%           144.21   Meals and Entertainment                                  507.91    0.03%          0.00     0.00%        507.91          85.46      0.01%      422.45
           341.07      0.09%         0.00    0.00%        341.07         986.55       0.37%          -645.48   Miscellaneous Expense                                  1,478.16    0.09%          0.00     0.00%      1,478.16       4,340.21      0.42%   -2,862.05
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%             0.00   Office Equipment                                           0.00    0.00%          0.00     0.00%          0.00         175.88      0.02%     -175.88
             0.00      0.00%         0.00    0.00%          0.00         254.88       0.10%          -254.88   Office Supplies                                            0.00    0.00%          0.00     0.00%          0.00       1,904.49      0.19%   -1,904.49
           710.50      0.19%       300.00    0.08%        410.50           0.00       0.00%           710.50   Operating Supplies                                     2,950.29    0.18%      1,500.00     0.09%      1,450.29           0.00      0.00%    2,950.29
             0.00      0.00%       557.14    0.14%       -557.14         152.54       0.06%          -152.54   Payroll Service Fees                                   1,179.82    0.07%      2,778.85     0.17%     -1,599.03         790.37      0.08%      389.45
             0.00      0.00%        25.00    0.01%        -25.00          44.55       0.02%           -44.55   Postage                                                  265.24    0.02%        125.00     0.01%        140.24         513.73      0.05%     -248.49
         1,507.00      0.39%       150.00    0.04%      1,357.00         237.50       0.09%         1,269.50   Professional Fees - Legal                              1,798.50    0.11%        750.00     0.05%      1,048.50       1,538.38      0.15%      260.12
             0.00      0.00%         0.00    0.00%          0.00         537.00       0.20%          -537.00   Professional Fees - Other                              4,817.77    0.30%        650.00     0.04%      4,167.77       3,842.00      0.37%      975.77
         1,623.35      0.42%       150.00    0.04%      1,473.35           0.00       0.00%         1,623.35   Recruitment Advertising                                3,198.35    0.20%        750.00     0.05%      2,448.35         830.00      0.08%    2,368.35
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%             0.00   Recruitment - Other                                        0.00    0.00%          0.00     0.00%          0.00         747.85      0.07%     -747.85
             0.00      0.00%       300.00    0.08%       -300.00           0.00       0.00%             0.00   Security - Outside                                         0.00    0.00%      1,500.00     0.09%     -1,500.00           0.00      0.00%        0.00
             0.00      0.00%         0.00    0.00%          0.00         497.51       0.19%          -497.51   Software Expense/Maintenance                               0.00    0.00%          0.00     0.00%          0.00       4,567.48      0.45%   -4,567.48
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%             0.00   Training                                               4,195.00    0.26%      3,690.00     0.23%        505.00           0.00      0.00%    4,195.00
            73.96      0.02%         0.00    0.00%         73.96           0.00       0.00%            73.96   Travel                                                 1,802.18    0.11%          0.00     0.00%      1,802.18       2,153.66      0.21%     -351.48
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%             0.00   Uniforms                                                   0.00    0.00%          0.00     0.00%          0.00         987.99      0.10%     -987.99
       14,543.37      3.79%    12,968.09    3.34%      1,575.28      12,490.03       4.67%         2,053.34    Total A&G Other Expenses                             67,584.79    4.14%     62,429.98     3.89%      5,154.81      61,990.68      6.05%    5,594.11
       12,560.63      3.28%    22,400.69    5.77%     -9,840.06      26,897.60      10.05%       -14,336.97    Total A&G Expenses                                  113,858.43    6.98%    122,705.34     7.65%     -8,846.91     108,285.90     10.57%    5,572.53




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                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %              Variance                                                              YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                             IT
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00    Total IT Management                                       0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00    Total IT Non-Management                                   0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00    Total IT Salaries and Wages                               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00    Total Payroll Taxes                                       0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00    Total Supplemental Pay                                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00    Total Other Benefits                                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00    Total IT PR Taxes and Benefits                            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00    Total IT Payroll                                          0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                             Cost of Services
           120.00      0.03%       180.00    0.05%      -60.00           0.00       0.00%           120.00   Cost of Cell Phones                                      280.00    0.02%       900.00      0.06%     -620.00           0.00     0.00%       280.00
         1,136.27      0.30%     1,600.00    0.41%     -463.73           0.00       0.00%         1,136.27   Cost of Internet Services                              5,281.03    0.32%     8,000.00      0.50%   -2,718.97           0.00     0.00%     5,281.03
           320.21      0.08%         0.00    0.00%      320.21           0.00       0.00%           320.21   Cost of Calls                                          3,632.57    0.22%         0.00      0.00%    3,632.57           0.00     0.00%     3,632.57
        1,576.48      0.41%     1,780.00    0.46%     -203.52            0.00      0.00%         1,576.48    Total IT Cost of Services                             9,193.60    0.56%     8,900.00      0.56%      293.60            0.00    0.00%     9,193.60

                                                                                                             System Costs
         2,222.45      0.58%     2,040.70    0.53%      181.75           0.00       0.00%         2,222.45   Administrative & General                               4,982.25    0.31%     4,123.50      0.26%      858.75           0.00     0.00%     4,982.25
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%             0.00   Energy Management                                        300.00    0.02%         0.00      0.00%      300.00           0.00     0.00%       300.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%             0.00   Food & Beverage                                          152.99    0.01%         0.00      0.00%      152.99           0.00     0.00%       152.99
         2,344.15      0.61%         0.00    0.00%    2,344.15           0.00       0.00%         2,344.15   Hardware                                               3,252.16    0.20%         0.00      0.00%    3,252.16           0.00     0.00%     3,252.16
             0.00      0.00%        50.00    0.01%      -50.00           0.00       0.00%             0.00   Human Resources                                            0.00    0.00%       250.00      0.02%     -250.00           0.00     0.00%         0.00
           260.00      0.07%       180.00    0.05%       80.00           0.00       0.00%           260.00   Information Systems                                    1,300.00    0.08%       900.00      0.06%      400.00           0.00     0.00%     1,300.00
           137.00      0.04%       137.00    0.04%        0.00           0.00       0.00%           137.00   Property Ops & Maintenance                               685.00    0.04%       685.00      0.04%        0.00           0.00     0.00%       685.00
           825.40      0.22%       750.00    0.19%       75.40           0.00       0.00%           825.40   Rooms                                                  3,595.08    0.22%     3,750.00      0.23%     -154.92           0.00     0.00%     3,595.08
             0.00      0.00%     1,596.00    0.41%   -1,596.00           0.00       0.00%             0.00   Sales & Marketing                                      3,080.40    0.19%     2,956.00      0.18%      124.40           0.00     0.00%     3,080.40
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%             0.00   Telecommunications                                     2,958.21    0.18%         0.00      0.00%    2,958.21           0.00     0.00%     2,958.21
        5,789.00      1.51%     4,753.70    1.22%    1,035.30            0.00      0.00%         5,789.00    Total IT Systems                                     20,306.09    1.24%    12,664.50      0.79%    7,641.59            0.00    0.00%    20,306.09

                                                                                                             Other Expenses
           38.62       0.01%        0.00     0.00%      38.62            0.00       0.00%            38.62   Dues & Subscriptions                                     38.62     0.00%        0.00       0.00%      38.62            0.00     0.00%        38.62
            0.00       0.00%        0.00     0.00%       0.00          189.61       0.07%          -189.61   Travel                                                    0.00     0.00%        0.00       0.00%       0.00          266.96     0.03%      -266.96
           38.62      0.01%         0.00    0.00%       38.62         189.61       0.07%          -150.99    Total IT Other Expenses                                  38.62    0.00%         0.00      0.00%       38.62         266.96     0.03%      -228.34

        7,404.10      1.93%     6,533.70    1.68%     870.40          189.61       0.07%         7,214.49    Total IT Expenses                                    29,538.31    1.81%    21,564.50      1.35%    7,973.81         266.96     0.03%    29,271.35




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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %              Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                              S&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00      0.00%     5,472.11    1.41%    -5,472.11           0.00       0.00%             0.00   Division Management                                    8,270.28    0.51%    26,623.93      1.66%    -18,353.65       4,960.00     0.48%      3,310.28
         7,239.00      1.89%     3,269.06    0.84%     3,969.94       5,624.29       2.10%         1,614.71   Sales Managers                                        23,375.28    1.43%    16,004.37      1.00%      7,370.91      24,391.94     2.38%     -1,016.66
        7,239.00      1.89%     8,741.17    2.25%    -1,502.17       5,624.29       2.10%         1,614.71    Total S&M Management                                 31,645.56    1.94%    42,628.30      2.66%    -10,982.74      29,351.94     2.86%      2,293.62
         2,923.08      0.76%         0.00    0.00%     2,923.08       2,719.26       1.02%           203.82   Administrative Assistant                               6,000.00    0.37%         0.00      0.00%      6,000.00      13,290.52     1.30%     -7,290.52
        2,923.08      0.76%          0.00   0.00%     2,923.08       2,719.26       1.02%           203.82    Total S&M Non-Management                              6,000.00    0.37%          0.00     0.00%      6,000.00      13,290.52     1.30%     -7,290.52

       10,162.08      2.65%     8,741.17    2.25%    1,420.91        8,343.55       3.12%         1,818.53    Total S&M Salaries and Wages                         37,645.56    2.31%    42,628.30      2.66%     -4,982.74      42,642.46     4.16%     -4,996.90

                                                                                                              PR Taxes and Benefits
           955.02      0.25%       694.88    0.18%      260.14          439.17       0.16%           515.85   FICA                                                   2,952.41    0.18%     3,831.08      0.24%       -878.67       2,278.47     0.22%       673.94
            14.78      0.00%         8.18    0.00%         6.60          18.49       0.01%            -3.71   Federal Unemployment Tax                                 149.00    0.01%       142.19      0.01%          6.81         132.79     0.01%        16.21
           122.67      0.03%        18.17    0.00%      104.50           69.48       0.03%            53.19   State Unemployment Tax                                   448.09    0.03%       440.67      0.03%          7.42         954.01     0.09%      -505.92
        1,092.47      0.28%       721.23    0.19%      371.24          527.14       0.20%           565.33    Total Payroll Taxes                                   3,549.50    0.22%     4,413.94      0.28%       -864.44       3,365.27     0.33%       184.23
           307.69      0.08%       342.26    0.09%       -34.57           0.00       0.00%           307.69   Vacation                                                 307.69    0.02%     1,451.18      0.09%     -1,143.49           0.00     0.00%       307.69
          307.69      0.08%       342.26    0.09%       -34.57            0.00      0.00%           307.69    Total Supplemental Pay                                  307.69    0.02%     1,451.18      0.09%     -1,143.49            0.00    0.00%       307.69
           664.46      0.17%       274.08    0.07%      390.38          482.72       0.18%           181.74   Worker's Compensation                                  1,870.30    0.11%     1,525.64      0.10%        344.66       1,686.52     0.16%       183.78
          -228.94     -0.06%         0.00    0.00%     -228.94          834.30       0.31%        -1,063.24   Group Insurance                                        3,980.46    0.24%         0.00      0.00%      3,980.46       5,031.51     0.49%    -1,051.05
         1,000.00      0.26%         0.00    0.00%    1,000.00            0.00       0.00%         1,000.00   Bonus and Incentive Pay                                1,000.00    0.06%     6,000.00      0.37%     -5,000.00           0.00     0.00%     1,000.00
        1,435.52      0.37%       274.08    0.07%    1,161.44        1,317.02       0.49%           118.50    Total Other Benefits                                  6,850.76    0.42%     7,525.64      0.47%       -674.88       6,718.03     0.66%       132.73
        2,835.68      0.74%     1,337.57    0.34%    1,498.11        1,844.16       0.69%           991.52    Total S&M PR Taxes and Benefits                      10,707.95    0.66%    13,390.76      0.84%     -2,682.81      10,083.30     0.98%       624.65

       12,997.76      3.39%    10,078.74    2.60%    2,919.02       10,187.71       3.81%         2,810.05    Total S&M Payroll                                    48,353.51    2.96%    56,019.06      3.49%     -7,665.55      52,725.76     5.15%     -4,372.25

                                                                                                              Other Expenses
           815.00      0.21%     1,565.00    0.40%     -750.00          835.00       0.31%           -20.00   Advertising-Web/Internet                               2,980.00    0.18%     4,730.00      0.30%     -1,750.00       2,315.00     0.23%        665.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Brochures                                                  0.00    0.00%       300.00      0.02%       -300.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Communication Expense                                      0.00    0.00%         0.00      0.00%          0.00         240.00     0.02%       -240.00
         2,046.83      0.53%     1,574.00    0.41%      472.83        1,088.00       0.41%           958.83   Dues and Subscriptions                                 8,458.35    0.52%    10,274.00      0.64%     -1,815.65       9,878.40     0.96%     -1,420.05
            59.98      0.02%        75.00    0.02%      -15.02            0.00       0.00%            59.98   Meals and Entertainment                                   59.98    0.00%       375.00      0.02%       -315.02          25.93     0.00%         34.05
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Miscellaneous Expense                                      0.00    0.00%         0.00      0.00%          0.00          40.58     0.00%        -40.58
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Office Supplies                                            0.00    0.00%         0.00      0.00%          0.00          40.00     0.00%        -40.00
           216.75      0.06%         0.00    0.00%      216.75            0.00       0.00%           216.75   Operating Supplies                                       259.64    0.02%         0.00      0.00%        259.64           0.00     0.00%        259.64
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Postage                                                    0.00    0.00%        40.00      0.00%        -40.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Printing and Stationery                                    0.00    0.00%       250.00      0.02%       -250.00           0.00     0.00%          0.00
             0.00      0.00%       100.00    0.03%     -100.00            0.00       0.00%             0.00   Promotions - In-house                                      0.00    0.00%       500.00      0.03%       -500.00          75.06     0.01%        -75.06
             0.00      0.00%       350.00    0.09%     -350.00            0.00       0.00%             0.00   Promotion - Outside                                       76.70    0.00%     1,000.00      0.06%       -923.30         105.28     0.01%        -28.58
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Software Expense/Maintenance                               0.00    0.00%         0.00      0.00%          0.00       5,249.62     0.51%     -5,249.62
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Trade Shows                                                0.00    0.00%       150.00      0.01%       -150.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00   Training                                                   0.00    0.00%       750.00      0.05%       -750.00       1,745.00     0.17%     -1,745.00
            55.27      0.01%        50.00    0.01%        5.27            0.00       0.00%            55.27   Travel                                                    55.27    0.00%       250.00      0.02%       -194.73          53.76     0.01%          1.51
        3,193.83      0.83%     3,714.00    0.96%     -520.17        1,923.00       0.72%         1,270.83    Total S&M Other Expenses                             11,889.94    0.73%    18,619.00      1.16%     -6,729.06      19,768.63     1.93%     -7,878.69

       16,191.59      4.22%    13,792.74    3.55%    2,398.85       12,110.71       4.53%         4,080.88    Total S&M Expenses                                   60,243.45    3.69%    74,638.06      4.66%    -14,394.61      72,494.39     7.07%    -12,250.94




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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %              Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                               R&M
                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00      0.00%     4,249.77    1.09%    -4,249.77       3,824.15       1.43%        -3,824.15    Division Management                                  10,417.56    0.64%     20,805.66     1.30%    -10,388.10       3,824.15     0.37%     6,593.41
             0.00     0.00%     4,249.77    1.09%    -4,249.77       3,824.15       1.43%        -3,824.15     Total R&M Management                                10,417.56    0.64%     20,805.66     1.30%    -10,388.10       3,824.15     0.37%     6,593.41
             0.00      0.00%     3,055.71    0.79%    -3,055.71       5,063.03       1.89%        -5,063.03    Engineering Supervisor                                6,275.38    0.38%     14,884.27     0.93%     -8,608.89      11,666.67     1.14%    -5,391.29
         4,570.05      1.19%     5,491.43    1.41%      -921.38       1,583.99       0.59%         2,986.06    Engineers 1                                          35,112.02    2.15%     26,748.58     1.67%      8,363.44       8,611.14     0.84%    26,500.88
        4,570.05      1.19%     8,547.14    2.20%    -3,977.09       6,647.02       2.48%        -2,076.97     Total R&M Non-Management                            41,387.40    2.54%     41,632.85     2.60%       -245.45      20,277.81     1.98%    21,109.59

        4,570.05      1.19%    12,796.91    3.30%    -8,226.86      10,471.17       3.91%        -5,901.12     Total R&M Salaries and Wages                        51,804.96    3.17%     62,438.51     3.90%    -10,633.55      24,101.96     2.35%    27,703.00

                                                                                                               PR Taxes and Benefits
           385.08      0.10%       990.44    0.26%      -605.36         815.07       0.30%          -429.99    FICA                                                  4,104.79    0.25%      4,799.49     0.30%       -694.70       1,866.48     0.18%     2,238.31
             3.90      0.00%        11.65    0.00%        -7.75          27.71       0.01%            -23.81   Federal Unemployment Tax                                192.98    0.01%        172.72     0.01%         20.26          86.16     0.01%       106.82
            50.66      0.01%        25.89    0.01%        24.77         106.18       0.04%            -55.52   State Unemployment Tax                                  535.42    0.03%        539.59     0.03%         -4.17         243.61     0.02%       291.81
          439.64      0.11%     1,027.98    0.26%      -588.34         948.96       0.35%          -509.32     Total Payroll Taxes                                  4,833.19    0.30%      5,511.80     0.34%       -678.61       2,196.25     0.21%     2,636.94
             0.00      0.00%       150.00    0.04%      -150.00           0.00       0.00%              0.00   Holiday                                               1,259.50    0.08%        300.00     0.02%        959.50           0.00     0.00%     1,259.50
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%              0.00   Vacation                                                448.50    0.03%          0.00     0.00%        448.50           0.00     0.00%       448.50
             0.00     0.00%       150.00    0.04%      -150.00            0.00      0.00%               0.00   Total Supplemental Pay                               1,708.00    0.10%        300.00     0.02%      1,408.00            0.00    0.00%     1,708.00
           408.52      0.11%       390.65    0.10%        17.87         357.42       0.13%             51.10   Worker's Compensation                                 1,260.43    0.08%      1,909.01     0.12%       -648.58       1,065.87     0.10%       194.56
           -83.44     -0.02%       480.00    0.12%      -563.44           0.00       0.00%            -83.44   Group Insurance                                       3,532.51    0.22%      2,400.00     0.15%      1,132.51           0.00     0.00%     3,532.51
          325.08      0.08%       870.65    0.22%      -545.57         357.42       0.13%            -32.34    Total Other Benefits                                 4,792.94    0.29%      4,309.01     0.27%        483.93       1,065.87     0.10%     3,727.07
          764.72      0.20%     2,048.63    0.53%    -1,283.91       1,306.38       0.49%          -541.66     Total R&M PR Taxes and Benefits                     11,334.13    0.69%     10,120.81     0.63%      1,213.32       3,262.12     0.32%     8,072.01

        5,334.77      1.39%    14,845.54    3.82%    -9,510.77      11,777.55       4.40%        -6,442.78     Total R&M Payroll                                   63,139.09    3.87%     72,559.32     4.53%     -9,420.23      27,364.08     2.67%    35,775.01

                                                                                                               Other Expenses
         2,014.48      0.53%       700.00    0.18%    1,314.48            0.00       0.00%         2,014.48    Air Conditioning and Refrigeration                    2,033.59    0.12%      3,500.00     0.22%     -1,466.41       2,765.83     0.27%      -732.24
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00    Audio Visual Repair                                     122.97    0.01%          0.00     0.00%        122.97           0.00     0.00%       122.97
           766.98      0.20%       340.00    0.09%      426.98            0.00       0.00%           766.98    Building                                              3,723.38    0.23%      1,700.00     0.11%      2,023.38       1,188.49     0.12%     2,534.89
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00    Contract Labor                                            0.00    0.00%      3,000.00     0.19%     -3,000.00           0.00     0.00%         0.00
           110.56      0.03%       575.00    0.15%     -464.44          819.01       0.31%          -708.45    Electric Bulbs                                          884.88    0.05%      2,875.00     0.18%     -1,990.12       2,892.84     0.28%    -2,007.96
             0.00      0.00%       285.00    0.07%     -285.00            0.00       0.00%             0.00    Electrical and Mechanical                               134.93    0.01%      1,425.00     0.09%     -1,290.07       1,053.50     0.10%      -918.57
           430.96      0.11%       415.00    0.11%       15.96          414.37       0.15%            16.59    Elevator Maintenance Contracts                        1,749.80    0.11%      2,075.00     0.13%       -325.20       1,657.48     0.16%        92.32
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00    Equipment Maintenance                                     0.00    0.00%          0.00     0.00%          0.00         526.74     0.05%      -526.74
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00    Equipment Rental                                          2.98    0.00%          0.00     0.00%          2.98           0.00     0.00%         2.98
         6,317.18      1.65%     3,000.00    0.77%    3,317.18        1,078.05       0.40%         5,239.13    Fire Safety Equipment                                 9,516.43    0.58%      3,000.00     0.19%      6,516.43       5,223.10     0.51%     4,293.33
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00    Floor and Carpet Maintenance                              0.00    0.00%          0.00     0.00%          0.00          19.62     0.00%       -19.62
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00    Furniture                                                 0.00    0.00%          0.00     0.00%          0.00         471.98     0.05%      -471.98
         1,413.00      0.37%       755.00    0.19%      658.00          786.96       0.29%           626.04    Grounds and Landscaping                               4,558.93    0.28%      3,775.00     0.24%        783.93       2,544.90     0.25%     2,014.03
             0.00      0.00%       200.00    0.05%     -200.00            0.00       0.00%             0.00    Kitchen Equipment Repairs                               414.58    0.03%      1,000.00     0.06%       -585.42       1,486.15     0.15%    -1,071.57
             0.00      0.00%       500.00    0.13%     -500.00            0.00       0.00%             0.00    Laundry Equipment Repairs                                 0.00    0.00%      2,500.00     0.16%     -2,500.00         518.06     0.05%      -518.06
           100.00      0.03%       300.00    0.08%     -200.00            0.00       0.00%           100.00    Licenses/Permits                                        409.15    0.03%        300.00     0.02%        109.15           0.00     0.00%       409.15
             0.00      0.00%         0.00    0.00%        0.00           69.03       0.03%           -69.03    Locks and Keys                                            0.00    0.00%          0.00     0.00%          0.00         518.34     0.05%      -518.34
             0.00      0.00%       150.00    0.04%     -150.00            0.00       0.00%             0.00    Painting and Decorating                                  16.50    0.00%        750.00     0.05%       -733.50         401.13     0.04%      -384.63
           300.00      0.08%       300.00    0.08%        0.00        2,662.74       1.00%        -2,362.74    Pest Control                                          3,075.00    0.19%      1,500.00     0.09%      1,575.00       6,130.24     0.60%    -3,055.24
             0.00      0.00%       285.00    0.07%     -285.00            0.00       0.00%             0.00    Plumbing and Heating                                  1,106.66    0.07%      1,425.00     0.09%       -318.34       1,873.07     0.18%      -766.41
             0.00      0.00%         0.00    0.00%        0.00          749.58       0.28%          -749.58    Pool Chemicals                                            0.00    0.00%          0.00     0.00%          0.00         749.58     0.07%      -749.58
           144.79      0.04%       500.00    0.13%     -355.21            0.00       0.00%           144.79    Pool Service- Contract                                  715.79    0.04%        500.00     0.03%        215.79           0.00     0.00%       715.79
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00    Radio and Television Repair                               0.00    0.00%          0.00     0.00%          0.00       1,638.94     0.16%    -1,638.94
             0.00      0.00%       170.00    0.04%     -170.00            0.00       0.00%             0.00    Tools                                                 1,334.78    0.08%        850.00     0.05%        484.78         874.03     0.09%       460.75
             0.00      0.00%         0.00    0.00%        0.00           61.98       0.02%           -61.98    Training                                                  0.00    0.00%        900.00     0.06%       -900.00         298.98     0.03%      -298.98
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%             0.00    Travel                                                    0.00    0.00%        500.00     0.03%       -500.00           0.00     0.00%         0.00
             0.00      0.00%       150.00    0.04%     -150.00            0.00       0.00%             0.00    Uniforms                                                  0.00    0.00%        750.00     0.05%       -750.00           0.00     0.00%         0.00
             0.00      0.00%       250.00    0.06%     -250.00            0.00       0.00%             0.00    Vehicle Maintenance & Repairs                          -115.00   -0.01%      1,250.00     0.08%     -1,365.00           0.00     0.00%      -115.00
             0.00      0.00%       560.00    0.14%     -560.00          661.53       0.25%          -661.53    Waste Removal                                         2,818.91    0.17%      2,800.00     0.17%         18.91       2,344.49     0.23%       474.42
       11,597.95      3.03%     9,435.00    2.43%    2,162.95        7,303.25       2.73%         4,294.70     Total R&M Other Expenses                            32,504.26    1.99%     36,375.00     2.27%     -3,870.74      35,177.49     3.43%    -2,673.23

       16,932.72      4.42%    24,280.54    6.25%    -7,347.82      19,080.80       7.13%        -2,148.08     Total R&M Expenses                                  95,643.35    5.86%    108,934.32     6.80%    -13,290.97      62,541.57     6.10%    33,101.78

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                                                                                              Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD     %        PTD Budget   %           Variance   PTD Last Year     %              Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                               Utilities
         5,088.71      1.33%     8,374.50    2.16%     -3,285.79       6,048.19       2.26%          -959.48   Water                                                 18,458.84    1.13%     36,171.00     2.26%    -17,712.16      34,728.72     3.39%   -16,269.88
         6,909.95      1.80%    12,654.80    3.26%     -5,744.85       3,028.80       1.13%         3,881.15   Electricity                                           37,523.51    2.30%     54,658.40     3.41%    -17,134.89      29,116.52     2.84%     8,406.99
         1,781.62      0.46%     2,791.50    0.72%     -1,009.88       1,680.93       0.63%           100.69   Gas - Natural HLP                                     13,406.85    0.82%     12,057.00     0.75%      1,349.85      10,511.25     1.03%     2,895.60
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%             0.00   Propane Tanks/Fuel                                         0.00    0.00%          0.00     0.00%          0.00         132.00     0.01%      -132.00
       13,780.28      3.59%    23,820.80    6.14%    -10,040.52      10,757.92       4.02%         3,022.36    Total Utilities                                      69,389.20    4.25%    102,886.40     6.42%    -33,497.20      74,488.49     7.27%    -5,099.29




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                                                                                    Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 567 of 776
                                                                                               Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                                        P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD     %        PTD Budget    %          Variance    PTD Last Year     %              Variance                                                              YTD     %        YTD Budget %              Variance    YTD Last Year    %          Variance

                                                                                                                Fixed
         2,428.76      0.63%     2,396.81     0.62%        31.95          672.61       0.25%         1,756.15   Personal Property Taxes                               12,967.44     0.79%     11,984.05     0.75%       983.39        4,149.22      0.40%     8,818.22
         9,188.24      2.40%     9,002.33     2.32%       185.91       14,324.53       5.35%        -5,136.29   Real Estate Taxes                                     44,790.52     2.74%     45,011.65     2.81%      -221.13       57,030.58      5.57%   -12,240.06
       11,617.00      3.03%    11,399.14     2.94%       217.86       14,997.14       5.60%        -3,380.14    Total Taxes                                          57,757.96     3.54%     56,995.70     3.56%       762.26       61,179.80      5.97%    -3,421.84
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%             0.00   Insurance                                                  0.00     0.00%          0.00     0.00%          0.00       4,832.21      0.47%    -4,832.21
           640.25      0.17%       282.00     0.07%       358.25          400.27       0.15%           239.98   Insurance - Automobile                                 1,895.78     0.12%      1,410.00     0.09%       485.78        1,601.06      0.16%       294.72
           228.58      0.06%       228.58     0.06%          0.00           0.00       0.00%           228.58   Insurance - Crime                                      1,142.90     0.07%      1,142.90     0.07%          0.00           0.00      0.00%     1,142.90
             0.00      0.00%       477.08     0.12%      -477.08          125.00       0.05%          -125.00   Insurance - Employment                                 1,968.56     0.12%      2,385.40     0.15%      -416.84          500.00      0.05%     1,468.56
           324.92      0.08%       358.00     0.09%       -33.08        1,438.50       0.54%        -1,113.58   Insurance - General Liability                          1,164.25     0.07%      1,790.00     0.11%      -625.75        5,754.00      0.56%    -4,589.75
         5,849.85      1.53%     2,108.83     0.54%     3,741.02        2,301.00       0.86%         3,548.85   Insurance - Property                                  23,103.51     1.42%     10,544.15     0.66%    12,559.36        9,204.00      0.90%    13,899.51
            67.79      0.02%        72.50     0.02%         -4.71       2,489.50       0.93%        -2,421.71   Insurance - Umbrella                                     338.97     0.02%        362.50     0.02%       -23.53        9,958.00      0.97%    -9,619.03
        7,111.39      1.85%     3,526.99     0.91%     3,584.40        6,754.27       2.52%           357.12    Total Insurance                                      29,613.97     1.81%     17,634.95     1.10%    11,979.02       31,849.27      3.11%    -2,235.30
        41,993.00     10.95%    41,993.36    10.82%         -0.36      39,776.00      14.86%         2,217.00   Ground Lease Expense                                 205,470.35    12.59%    205,471.16    12.82%         -0.81     198,880.00     19.41%     6,590.35
       41,993.00     10.95%    41,993.36    10.82%         -0.36      39,776.00      14.86%         2,217.00    Total Leases & Rent                                 205,470.35    12.59%    205,471.16    12.82%         -0.81     198,880.00     19.41%     6,590.35
        12,001.67      3.13%    11,646.75     3.00%       354.92        8,459.27       3.16%         3,542.40   Management Fee - Base                                 51,450.42     3.15%     48,090.18     3.00%     3,360.24       32,653.85      3.19%    18,796.57
       12,001.67      3.13%    11,646.75     3.00%       354.92        8,459.27       3.16%         3,542.40    Total Management Fees                                51,450.42     3.15%     48,090.18     3.00%     3,360.24       32,653.85      3.19%    18,796.57
        51,182.52     13.35%         0.00     0.00%    51,182.52       11,272.77       4.21%        39,909.75   Capital Reserve                                       53,383.02     3.27%     44,000.00     2.74%     9,383.02       15,486.60      1.51%    37,896.42
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%             0.00   Owner's Expense                                            0.00     0.00%          0.00     0.00%          0.00         949.17      0.09%      -949.17
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%             0.00   Prior Owner's Expense                                      0.00     0.00%          0.00     0.00%          0.00      10,072.96      0.98%   -10,072.96
       51,182.52     13.35%          0.00    0.00%    51,182.52       11,272.77       4.21%        39,909.75    Total Other Non-Operating                            53,383.02     3.27%     44,000.00     2.74%     9,383.02       26,508.73      2.59%    26,874.29




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                                                                                                      Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                                                    YTD     %          YTD Budget %                Variance   YTD Last Year    %           Variance

                                                                                                              Statistics
           102.00                   102.00                    0.00         102.00                      0.00   # Rooms                                                        102.00                   102.00                     0.00          102.00                     0.00
         3,162.00                 3,162.00                    0.00       3,162.00                      0.00   Available Rooms                                             15,402.00                15,402.00                     0.00       15,402.00                     0.00
         1,688.00                 1,855.00                 -167.00       2,021.00                   -333.00   Room Nights Sold                                            11,250.00                10,031.00                 1,219.00        9,489.00                 1,761.00
          53.38%                   58.67%                  -5.28%         63.92%                   -10.53%    Occupancy %                                                   73.04%                   65.13%                    7.91%          61.61%                   11.43%
           125.71                   110.11                   15.60         106.84                     18.87   ADR                                                            166.42                   166.29                     0.12          124.64                    41.77
            67.11                    64.60                    2.51          68.29                     -1.18   RevPar                                                         121.55                   108.30                    13.25           76.79                    44.76

                                                                                                              Summary V.11
                                                                                                              Revenue
       212,203.13    97.95%    204,258.00     98.94%      7,945.13     215,920.27     98.51%      -3,717.14   Rooms                                                 1,872,172.55       98.77%    1,668,097.00    99.26%    204,075.55    1,182,725.86    98.21%     689,446.69
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%           0.00   F&B                                                           0.00        0.00%            0.00     0.00%          0.00            0.00     0.00%           0.00
         4,444.13     2.05%      2,178.60      1.06%      2,265.53       3,260.56      1.49%       1,183.57   Other Departments                                        23,313.85        1.23%       12,503.20     0.74%     10,810.65       21,521.62     1.79%       1,792.23

      216,647.26    100.00%    206,436.60    100.00%    10,210.66     219,180.83     100.00%     -2,533.57    Total Operating Revenue                              1,895,486.40       100.00%   1,680,600.20 100.00%      214,886.20     1,204,247.48 100.00%      691,238.92

                                                                                                              Departmental Expenses
        79,925.61    37.66%     75,379.27     36.90%      4,546.34      49,402.76     22.88%     30,522.85    Rooms                                                      394,788.99    21.09%     401,962.46     24.10%     -7,173.47      253,715.53    21.45%     141,073.46
             0.00     0.00%          0.00      0.00%          0.00         268.13      0.00%       -268.13    F&B                                                              0.00     0.00%           0.00      0.00%          0.00        4,331.19     0.00%      -4,331.19
         2,259.12    50.83%        601.80     27.62%      1,657.32       3,006.72     92.21%       -747.60    Other Departments                                           13,341.92    57.23%       3,314.13     26.51%     10,027.79       14,699.27    68.30%      -1,357.35

       82,184.73     37.93%     75,981.07    36.81%      6,203.66      52,677.61      24.03%    29,507.12     Total Departmental Expenses                               408,130.91    21.53%     405,276.59     24.11%       2,854.32     272,745.99     22.65%    135,384.92

      134,462.53     62.07%    130,455.53    63.19%      4,007.00     166,503.22      75.97%    -32,040.69    Total Departmental Profit                            1,487,355.49       78.47%    1,275,323.61    75.89%    212,031.88      931,501.49     77.35%    555,854.00

                                                                                                              Undistributed Operating Expenses
        21,820.50    10.07%     26,607.03     12.89%     -4,786.53      22,486.93     10.26%        -666.43   A&G                                                        178,668.79     9.43%     156,044.16      9.29%     22,624.63      113,911.82     9.46%      64,756.97
         5,103.44     2.36%      4,998.70      2.42%        104.74           0.00      0.00%       5,103.44   IT                                                          25,503.62     1.35%      18,913.50      1.13%      6,590.12            0.00     0.00%      25,503.62
         9,361.83     4.32%     11,473.52      5.56%     -2,111.69       6,546.06      2.99%       2,815.77   S&M                                                         50,071.10     2.64%      54,647.40      3.25%     -4,576.30       45,395.29     3.77%       4,675.81
        23,728.17    10.95%     22,560.67     10.93%      1,167.50      27,688.60     12.63%      -3,960.43   Franchise Fees                                              46,081.28     2.43%     179,507.88     10.68%   -133,426.60      145,554.76    12.09%     -99,473.48
        13,704.44     6.33%     17,982.41      8.71%     -4,277.97      12,372.11      5.64%       1,332.33   R&M                                                         83,122.57     4.39%      85,460.54      5.09%     -2,337.97       67,065.28     5.57%      16,057.29
        12,744.59     5.88%     13,099.18      6.35%       -354.59      11,334.56      5.17%       1,410.03   Utilities                                                   59,467.38     3.14%      72,136.91      4.29%    -12,669.53       55,252.71     4.59%       4,214.67

       86,462.97     39.91%     96,721.51    46.85%     -10,258.54     80,428.26      36.69%      6,034.71    Total Undistributed Expenses                              442,914.74    23.37%     566,710.39     33.72%    -123,795.65     427,179.86     35.47%     15,734.88

       47,999.56     22.16%     33,734.02    16.34%     14,265.54      86,074.96      39.27%    -38,075.40    Gross Operating Profit                               1,044,440.75       55.10%     708,613.22     42.16%    335,827.53      504,321.63     41.88%    540,119.12
         6,999.42      3.23%      6,193.10     3.00%        806.32       7,075.42       3.23%        -76.00   Management Fees                                          59,364.59        3.13%      50,418.01      3.00%      8,946.58       37,090.45      3.08%     22,274.14
       41,000.14     18.92%     27,540.92    13.34%     13,459.22      78,999.54      36.04%    -37,999.40    Income Before Non-Operating Income and Expenses        985,076.16       51.97%     658,195.21     39.16%    326,880.95      467,231.18     38.80%    517,844.98

                                                                                                              Non-Operating Income and Expenses
         6,114.26      2.82%      7,106.33     3.44%       -992.07       5,991.71       2.73%        122.55   Insurance                                                   36,461.05     1.92%      41,293.32      2.46%      -4,832.27      29,958.55      2.49%      6,502.50
        27,580.00     12.73%     27,580.00    13.36%          0.00      26,842.00      12.25%        738.00   Leases & Rent                                              142,901.62     7.54%     143,210.00      8.52%        -308.38     134,210.00     11.14%      8,691.62
             0.00      0.00%          0.00     0.00%          0.00           0.00       0.00%          0.00   Other                                                        3,987.00     0.21%           0.00      0.00%       3,987.00         949.17      0.08%      3,037.83
       33,694.26     15.55%     34,686.33    16.80%       -992.07      32,833.71      14.98%        860.55    Total Non-Operating Income and Expenses                   183,349.67     9.67%     184,503.32     10.98%      -1,153.65     165,117.72     13.71%     18,231.95

        7,305.88      3.37%     -7,145.41     -3.46%    14,451.29      46,165.83      21.06%    -38,859.95    EBITDA                                                    801,726.49    42.30%     473,691.89     28.19%    328,034.60      302,113.46     25.09%    499,613.03
             0.00      0.00%          0.00      0.00%         0.00           0.00       0.00%          0.00   Interest                                                         0.00     0.00%           0.00      0.00%          0.00            0.00      0.00%          0.00
         6,308.00      2.91%      6,308.33      3.06%        -0.33       8,724.00       3.98%     -2,416.00   Taxes                                                       31,540.00     1.66%      31,541.65      1.88%         -1.65       45,118.67      3.75%    -13,578.67
        6,308.00      2.91%      6,308.33      3.06%        -0.33       8,724.00       3.98%     -2,416.00    Interest, Taxes, Depreciation and Amortization             31,540.00     1.66%      31,541.65      1.88%         -1.65       45,118.67      3.75%    -13,578.67

          997.88      0.46%    -13,453.74     -6.52%    14,451.62      37,441.83      17.08%    -36,443.95    Net Income                                                770,186.49    40.63%     442,150.24     26.31%    328,036.25      256,994.79     21.34%    513,191.70




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                                                                                                                       As of 5/31/2022
             PTD      %       PTD Budget    %         Variance   PTD Last Year     %          Variance                                                                   YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                         Statistics
           102.00                 102.00                  0.00         102.00                    0.00    # Rooms                                                       102.00                  102.00                     0.00         102.00                    0.00
         3,162.00               3,162.00                  0.00       3,162.00                    0.00    Available Rooms                                            15,402.00               15,402.00                     0.00      15,402.00                    0.00
         1,688.00               1,855.00               -167.00       2,021.00                 -333.00    Room Nights Sold                                           11,250.00               10,031.00                 1,219.00       9,489.00                1,761.00
             0.53                   0.59                 -0.05           0.64                   -0.11    Occupancy %                                                     0.73                    0.65                     0.08           0.62                    0.11
           125.71                 110.11                 15.60         106.84                   18.87    ADR                                                           166.42                  166.29                     0.12         124.64                   41.77
            67.11                  64.60                  2.51          68.29                   -1.18    RevPar                                                        121.55                  108.30                    13.25          76.79                   44.76

                                                                                                         Summary
                                                                                                         Revenue:
       212,203.13    97.95%   204,258.00   98.94%     7,945.13     215,920.27     98.51%     -3,717.14   Rooms                                                 1,872,172.55     98.77%    1,668,097.00    99.26%   204,075.55    1,182,725.86    98.21%    689,446.69
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Food                                                          0.00      0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Beverage                                                      0.00      0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Other F&B Revenue                                             0.00      0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Telephone                                                     0.00      0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
         4,444.13     2.05%     2,178.60    1.06%     2,265.53       3,260.56      1.49%      1,183.57   Other                                                    23,313.85      1.23%       12,503.20     0.74%    10,810.65       21,521.62     1.79%      1,792.23

       216,647.26   100.00%   206,436.60   100.00%   10,210.66     219,180.83     100.00%    -2,533.57   Total Revenue                                         1,895,486.40     100.00%   1,680,600.20   100.00%   214,886.20    1,204,247.48    100.00%   691,238.92



                                                                                                         Cost of Sales:
             0.00     0.00%        0.00     0.00%         0.00           0.00      0.00%         0.00    Food                                                            0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00           0.00      0.00%         0.00    Beverage                                                        0.00    0.00%            0.00     0.00%         0.00          796.80     0.00%       -796.80
             0.00     0.00%        0.00     0.00%         0.00           0.00      0.00%         0.00    Other F&B                                                       0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00         818.11     25.09%      -818.11    Telephone                                                       0.00    0.00%            0.00     0.00%         0.00        3,852.65    17.90%     -3,852.65
         2,259.12    50.83%      601.80    27.62%     1,657.32         743.17     22.79%     1,515.95    Other                                                      13,341.92   57.23%        3,314.13    26.51%    10,027.79        4,938.97    22.95%      8,402.95

         2,259.12    50.83%      601.80    27.62%     1,657.32       1,561.28     47.88%       697.84    Total Cost of Sales                                        13,341.92   57.23%        3,314.13    26.51%    10,027.79        9,588.42    44.55%      3,753.50



                                                                                                         Payroll:
        37,815.56    17.82%    40,625.49   19.89%    -2,809.93      29,119.88     13.49%     8,695.68    Rooms                                                     206,857.22   11.05%     205,215.93     12.30%      1,641.29     138,520.50    11.71%     68,336.72
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    F&B                                                             0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    Other                                                           0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         7,283.85     3.36%     9,700.51    4.70%    -2,416.66       7,734.15      3.53%      -450.30    A&G                                                        45,790.62    2.42%      47,493.32      2.83%     -1,702.70      40,937.06     3.40%      4,853.56
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    IT                                                              0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         4,088.96     1.89%     4,752.16    2.30%      -663.20       4,575.70      2.09%      -486.74    S&M                                                        23,220.09    1.23%      22,855.11      1.36%        364.98      18,846.89     1.57%      4,373.20
         6,842.60     3.16%     8,173.90    3.96%    -1,331.30       5,579.07      2.55%     1,263.53    R&M                                                        36,893.02    1.95%      39,878.05      2.37%     -2,985.03      28,639.50     2.38%      8,253.52
        56,030.97    25.86%    63,252.06   30.64%    -7,221.09      47,008.80     21.45%     9,022.17    Total Salaries and Wages                                  312,760.95   16.50%     315,442.41     18.77%     -2,681.46     226,943.95    18.85%     85,817.00

        16,105.37     7.43%    17,586.88    8.52%    -1,481.51       4,029.94      1.84%    12,075.43    Total Taxes and Benefits                                   90,179.05    4.76%     102,882.00      6.12%    -12,702.95      25,462.74     2.11%     64,716.31
        72,136.34    33.30%    80,838.94   39.16%    -8,702.60      51,038.74     23.29%    21,097.60    Total Labor Costs                                         402,940.00   21.26%     418,324.41     24.89%    -15,384.41     252,406.69    20.96%    150,533.31



                                                                                                         Direct Expenses:
        32,349.97    15.24%    24,530.34   12.01%     7,819.63      17,672.34      8.18%    14,677.63    Rooms                                                     148,268.68    7.92%     143,266.61      8.59%      5,002.07      97,670.48     8.26%     50,598.20
             0.00     0.00%         0.00    0.00%         0.00         268.13      0.00%      -268.13    F&B                                                             0.00    0.00%           0.00      0.00%          0.00       3,534.39     0.00%     -3,534.39
             0.00     0.00%         0.00    0.00%         0.00       1,445.44     44.33%    -1,445.44    Telephone                                                       0.00    0.00%           0.00      0.00%          0.00       5,907.65    27.45%     -5,907.65
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%         0.00    Other                                                           0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        23,728.17    10.95%    22,560.67   10.93%     1,167.50      27,688.60     12.63%    -3,960.43    Franchise Fees                                             46,081.28    2.43%     179,507.88     10.68%   -133,426.60     145,554.76    12.09%    -99,473.48
        12,717.74     5.87%    14,189.06    6.87%    -1,471.32      14,161.12      6.46%    -1,443.38    A&G                                                       101,511.80    5.36%      77,988.86      4.64%     23,522.94      69,649.15     5.78%     31,862.65
         5,103.44     2.36%     4,998.70    2.42%       104.74           0.00      0.00%     5,103.44    IT                                                         25,503.62    1.35%      18,913.50      1.13%      6,590.12           0.00     0.00%     25,503.62
         2,237.34     1.03%     3,942.71    1.91%    -1,705.37       1,765.50      0.81%       471.84    S&M                                                        17,041.17    0.90%      22,226.27      1.32%     -5,185.10      24,529.19     2.04%     -7,488.02
         5,370.99     2.48%     7,941.18    3.85%    -2,570.19       6,170.16      2.82%      -799.17    R&M                                                        36,889.80    1.95%      36,308.41      2.16%        581.39      35,832.41     2.98%      1,057.39
        12,744.59     5.88%    13,099.18    6.35%      -354.59      11,334.56      5.17%     1,410.03    Utilities                                                  59,467.38    3.14%      72,136.91      4.29%    -12,669.53      55,252.71     4.59%      4,214.67

        94,252.24    43.50%    91,261.84   44.21%     2,990.40      80,505.85     36.73%    13,746.39    Total Direct Expense                                      434,763.73   22.94%     550,348.44     32.75%   -115,584.71     437,930.74    36.37%     -3,167.01

        47,999.56    22.16%    33,734.02   16.34%    14,265.54      86,074.96     39.27%    -38,075.40   Gross Operating Profit                                1,044,440.75     55.10%     708,613.22     42.16%   335,827.53      504,321.63    41.88%    540,119.12

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             PTD      %       PTD Budget   %         Variance   PTD Last Year     %         Variance                                                                   YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance




                                                                                                       Fixed Costs
         6,308.00     2.91%     6,308.33    3.06%       -0.33       8,724.00      3.98%    -2,416.00   Taxes                                                      31,540.00   1.66%     31,541.65     1.88%         -1.65      45,118.67     3.75%   -13,578.67
         6,114.26     2.82%     7,106.33    3.44%     -992.07       5,991.71      2.73%       122.55   Insurance                                                  36,461.05   1.92%     41,293.32     2.46%     -4,832.27      29,958.55     2.49%     6,502.50
        27,580.00    12.73%    27,580.00   13.36%        0.00      26,842.00     12.25%       738.00   Leases & Rent                                             142,901.62   7.54%    143,210.00     8.52%       -308.38     134,210.00    11.14%     8,691.62
         6,999.42     3.23%     6,193.10    3.00%      806.32       7,075.42      3.23%       -76.00   Management Fees                                            59,364.59   3.13%     50,418.01     3.00%      8,946.58      37,090.45     3.08%    22,274.14

        47,001.68    21.70%    47,187.76   22.86%     -186.08      48,633.13     22.19%    -1,631.45   Total Fixed Expenses                                      270,267.26   14.26%   266,462.98     15.86%     3,804.28     246,377.67    20.46%    23,889.59

           997.88     0.46%   -13,453.74   -6.52%   14,451.62      37,441.83     17.08%   -36,443.95   Net Operating Profit                                      774,173.49   40.84%   442,150.24     26.31%   332,023.25     257,943.96    21.42%   516,229.53



             0.00     0.00%         0.00   0.00%         0.00           0.00      0.00%        0.00    Owner's Expense                                                 0.00   0.00%          0.00     0.00%          0.00         949.17    0.08%       -949.17



           997.88     0.46%   -13,453.74   -6.52%   14,451.62      37,441.83     17.08%   -36,443.95   Net Operating Income                                      774,173.49   40.84%   442,150.24     26.31%   332,023.25     256,994.79    21.34%   517,178.70

             0.00     0.00%         0.00   0.00%         0.00           0.00      0.00%        0.00    Capital Reserve                                             3,987.00   0.21%          0.00     0.00%      3,987.00           0.00    0.00%      3,987.00

           997.88     0.46%   -13,453.74   -6.52%   14,451.62      37,441.83     17.08%   -36,443.95   Adjusted NOI                                              770,186.49   40.63%   442,150.24     26.31%   328,036.25     256,994.79    21.34%   513,191.70




           997.88     0.46%   -13,453.74   -6.52%   14,451.62      37,441.83     17.08%   -36,443.95   Net Profit/(Loss)                                         770,186.49   40.63%   442,150.24     26.31%   328,036.25     256,994.79    21.34%   513,191.70




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             PTD      %        PTD Budget      %         Variance   PTD Last Year     %          Variance                                                                    YTD     %          YTD Budget %               Variance    YTD Last Year    %          Variance

                                                                                                            Rooms
                                                                                                            Room Revenue
                                                                                                            Transient Room Revenue
        32,666.80    15.39%     27,962.00     13.69%     4,704.80      27,861.00     12.90%      4,805.80   Corporate Transient                                       330,855.05     17.67%     153,841.00      9.22%    177,014.05      131,156.90    11.09%   199,698.15
        12,299.35     5.80%     17,404.00      8.52%    -5,104.65      22,536.70     10.44%    -10,237.35   Advanced Purchase                                         159,904.05      8.54%     152,800.00      9.16%      7,104.05      134,798.03    11.40%    25,106.02
        17,435.05     8.22%     15,560.00      7.62%     1,875.05      16,822.75      7.79%        612.30   Qualified Discounts                                       236,604.20     12.64%     156,744.00      9.40%     79,860.20      102,945.30     8.70%   133,658.90
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%          0.00   FIT(Flexible Independent Travel)                                0.00      0.00%           0.00      0.00%          0.00          245.00     0.02%      -245.00
         5,680.00     2.68%      3,249.00      1.59%     2,431.00       3,978.00      1.84%      1,702.00   Employee                                                   17,787.35      0.95%      16,974.00      1.02%        813.35       18,247.45     1.54%      -460.10
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%          0.00   Leisure Transient                                               0.00      0.00%           0.00      0.00%          0.00        1,488.45     0.13%    -1,488.45
           805.80     0.38%      2,133.00      1.04%    -1,327.20           0.00      0.00%        805.80   Travel Agent/Friends & Family                               1,853.80      0.10%      15,767.00      0.95%    -13,913.20        3,231.10     0.27%    -1,377.30
        12,340.60     5.82%     10,504.00      5.14%     1,836.60      17,302.57      8.01%     -4,961.97   Leisure Package Transient                                  52,397.40      2.80%      43,587.00      2.61%      8,810.40       47,752.69     4.04%     4,644.71
         8,470.00     3.99%      8,200.00      4.01%       270.00      11,140.90      5.16%     -2,670.90   Member Reward Stay                                         81,793.30      4.37%      62,402.00      3.74%     19,391.30       66,527.55     5.62%    15,265.75
        23,343.38    11.00%     21,774.00     10.66%     1,569.38      33,318.77     15.43%     -9,975.39   Internet/E-Commerce                                       162,545.96      8.68%     330,200.00     19.80%   -167,654.04      126,794.43    10.72%    35,751.53
         2,238.50     1.05%          0.00      0.00%     2,238.50         484.25      0.22%      1,754.25   E-Commerce Opaque                                           4,415.65      0.24%           0.00      0.00%      4,415.65        5,783.90     0.49%    -1,368.25
         1,865.75     0.88%      2,759.00      1.35%      -893.25       3,787.30      1.75%     -1,921.55   Government Transient                                       18,337.95      0.98%      40,264.00      2.41%    -21,926.05       33,522.30     2.83%   -15,184.35
        54,364.00    25.62%     79,980.00     39.16%   -25,616.00      60,822.47     28.17%     -6,458.47   Rack Transient                                            595,876.27     31.83%     488,882.00     29.31%    106,994.27      353,294.61    29.87%   242,581.66
             0.00     0.00%          0.00      0.00%         0.00       1,028.00      0.48%     -1,028.00   Local Negotiated Transient                                      0.00      0.00%           0.00      0.00%          0.00        1,028.00     0.09%    -1,028.00

      171,509.23     80.82%    189,525.00    92.79%    -18,015.77    199,082.71      92.20%    -27,573.48   Total Transient Room Revenue                         1,662,370.98       88.79%    1,461,461.00   87.61%     200,909.98     1,026,815.71    86.82%   635,555.27

                                                                                                            Group Room Revenue
        39,598.00    18.66%          0.00      0.00%    39,598.00       6,995.00      3.24%     32,603.00   Corporate Group                                           182,886.00      9.77%           0.00      0.00%    182,886.00       13,135.00     1.11%    169,751.00
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%          0.00   SMERF Group                                                     0.00      0.00%      23,880.00      1.43%    -23,880.00            0.00     0.00%          0.00
             0.00     0.00%     13,483.00      6.60%   -13,483.00      11,436.00      5.30%    -11,436.00   Sports Group                                               37,034.00      1.98%     176,656.00     10.59%   -139,622.00      148,851.81    12.59%   -111,817.81
             0.00     0.00%          0.00      0.00%         0.00         178.00      0.08%       -178.00   To Be Group - Do Not Post                                       0.00      0.00%           0.00      0.00%          0.00        4,948.00     0.42%     -4,948.00

       39,598.00     18.66%     13,483.00     6.60%    26,115.00      18,609.00       8.62%    20,989.00    Total Group Room Revenue                                  219,920.00    11.75%     200,536.00    12.02%      19,384.00      166,934.81     14.11%    52,985.19

                                                                                                            Contract Room Revenue
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%          0.00   Other Contract                                                  0.00      0.00%           0.00     0.00%           0.00          952.40     0.08%      -952.40

             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Total Contract Room Revenue                                     0.00     0.00%            0.00     0.00%           0.00         952.40     0.08%       -952.40

                                                                                                            Other Room Revenue
         1,297.14     0.61%       1,250.00     0.61%        47.14       1,116.86      0.52%        180.28   No-Show Rooms                                               8,831.04      0.47%       6,100.00     0.37%       2,731.04        6,366.61     0.54%      2,464.43
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%          0.00   Early/Late Departure Fees                                       0.00      0.00%           0.00     0.00%           0.00        2,656.46     0.22%     -2,656.46
           500.00     0.24%           0.00     0.00%       500.00           0.00      0.00%        500.00   Pet/Smoking/Damage Fees                                     1,300.00      0.07%           0.00     0.00%       1,300.00            0.00     0.00%      1,300.00

        1,797.14      0.85%      1,250.00     0.61%       547.14       1,116.86       0.52%       680.28    Total Other Room Revenue                                   10,131.04     0.54%        6,100.00     0.37%      4,031.04         9,023.07    0.76%      1,107.97

          -701.24     -0.33%          0.00     0.00%      -701.24      -2,888.30      -1.34%     2,187.06   Less: Allowances                                           -20,249.47    -1.08%           0.00     0.00%     -20,249.47      -21,000.13    -1.78%       750.66

      212,203.13    100.00%    204,258.00    100.00%    7,945.13     215,920.27     100.00%     -3,717.14   Total Room Revenue                                   1,872,172.55       100.00%   1,668,097.00 100.00%      204,075.55     1,182,725.86 100.00%     689,446.69

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         1,854.39      0.87%      2,104.84     1.03%      -250.45       2,129.11       0.99%      -274.72   Housekeeping Management                                    10,096.25      0.54%      10,183.21      0.61%         -86.96      13,497.69     1.14%     -3,401.44
        1,854.39      0.87%      2,104.84     1.03%      -250.45       2,129.11       0.99%      -274.72    Total Rooms Management                                    10,096.25      0.54%      10,183.21      0.61%         -86.96      13,497.69     1.14%     -3,401.44
         7,311.54      3.45%      7,068.00     3.46%       243.54      11,099.78       5.14%    -3,788.24   Front Office Agents                                        55,987.99      2.99%      34,428.00      2.06%     21,559.99       49,361.72     4.17%      6,626.27
         2,407.06      1.13%          0.00     0.00%     2,407.06           0.00       0.00%     2,407.06   Front Office Agents Overtime                                2,407.06      0.13%           0.00      0.00%      2,407.06            0.00     0.00%      2,407.06
             0.00      0.00%      1,505.71     0.74%    -1,505.71           0.00       0.00%         0.00   Front Office Supervisors                                        0.00      0.00%       7,334.27      0.44%     -7,334.27            0.00     0.00%          0.00
         2,422.45      1.14%      3,968.00     1.94%    -1,545.55           0.00       0.00%     2,422.45   Night Auditors                                              7,378.04      0.39%      19,328.00      1.16%    -11,949.96            0.00     0.00%      7,378.04
         1,164.15      0.55%          0.00     0.00%     1,164.15           0.00       0.00%     1,164.15   Night Auditors Overtime                                     1,164.15      0.06%           0.00      0.00%      1,164.15            0.00     0.00%      1,164.15
         2,333.00      1.10%      3,246.14     1.59%      -913.14           0.00       0.00%     2,333.00   Breakfast Attendant                                         5,968.44      0.32%      15,811.85      0.95%     -9,843.41            0.00     0.00%      5,968.44
       15,638.20      7.37%     15,787.85     7.73%      -149.65      11,099.78       5.14%     4,538.42    Total Rooms Front Office                                  72,905.68      3.89%      76,902.12      4.61%     -3,996.44       49,361.72     4.17%     23,543.96
         1,235.29      0.58%      3,968.00     1.94%    -2,732.71           0.00       0.00%     1,235.29   Housekeeping Supervisors                                    3,585.08      0.19%      19,328.00      1.16%    -15,742.92            0.00     0.00%      3,585.08
           560.14      0.26%          0.00     0.00%       560.14           0.00       0.00%       560.14   Housekeeping Supervisors Overtime                             560.14      0.03%           0.00      0.00%        560.14            0.00     0.00%        560.14
        13,085.24      6.17%     11,634.80     5.70%     1,450.44      15,890.99       7.36%    -2,805.75   Room Attendants                                           104,448.02      5.58%      64,072.60      3.84%     40,375.42       75,661.09     6.40%     28,786.93
           339.19      0.16%          0.00     0.00%       339.19           0.00       0.00%       339.19   Room Attendants Overtime                                      339.19      0.02%           0.00      0.00%        339.19            0.00     0.00%        339.19
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                                                                                                    Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
             PTD      %        PTD Budget     %          Variance   PTD Last Year     %          Variance                                                                    YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

         3,004.74      1.42%      3,534.00     1.73%      -529.26          0.00        0.00%     3,004.74   Housepersons                                                 8,683.36    0.46%      17,214.00      1.03%     -8,530.64          0.00      0.00%      8,683.36
           260.62      0.12%          0.00     0.00%       260.62          0.00        0.00%       260.62   Housepersons Overtime                                          260.62    0.01%           0.00      0.00%        260.62          0.00      0.00%        260.62
         1,837.75      0.87%      3,596.00     1.76%    -1,758.25          0.00        0.00%     1,837.75   Laundry Attendants                                           5,978.88    0.32%      17,516.00      1.05%    -11,537.12          0.00      0.00%      5,978.88
       20,322.97      9.58%     22,732.80    11.13%    -2,409.83      15,890.99       7.36%     4,431.98    Total Rooms Housekeeping                                  123,855.29    6.62%     118,130.60      7.08%      5,724.69      75,661.09     6.40%     48,194.20

       37,815.56     17.82%     40,625.49    19.89%    -2,809.93      29,119.88      13.49%     8,695.68    Total Rooms Salary and Wages                              206,857.22    11.05%    205,215.93    12.30%       1,641.29     138,520.50     11.71%    68,336.72

                                                                                                            PR Taxes and Benefits
         3,166.16      1.49%      3,256.77     1.59%       -90.61       2,335.84       1.08%       830.32   FICA                                                        15,511.76    0.83%      16,310.56      0.98%       -798.80      11,654.12     0.99%      3,857.64
            26.53      0.01%         38.31     0.02%       -11.78          26.17       0.01%         0.36   Federal Unemployment Tax                                       633.82    0.03%         596.83      0.04%         36.99         512.63     0.04%        121.19
           124.33      0.06%        229.89     0.11%      -105.56         117.74       0.05%         6.59   State Unemployment Tax                                       2,857.16    0.15%       5,014.46      0.30%     -2,157.30       2,306.80     0.20%        550.36
        3,317.02      1.56%      3,524.97     1.73%      -207.95       2,479.75       1.15%       837.27    Total Payroll Taxes                                        19,002.74    1.02%      21,921.85      1.31%     -2,919.11      14,473.55     1.22%      4,529.19
             0.00      0.00%      1,560.00     0.76%    -1,560.00           0.00       0.00%         0.00   Holiday                                                          0.00    0.00%       3,120.00      0.19%     -3,120.00           0.00     0.00%          0.00
         2,482.31      1.17%        382.14     0.19%     2,100.17           0.00       0.00%     2,482.31   Vacation                                                     2,482.31    0.13%       1,848.27      0.11%        634.04           0.00     0.00%      2,482.31
           228.00      0.11%          0.00     0.00%       228.00           0.00       0.00%       228.00   Sick Pay                                                       228.00    0.01%           0.00      0.00%        228.00           0.00     0.00%        228.00
        2,710.31      1.28%      1,942.14     0.95%       768.17            0.00      0.00%     2,710.31    Total Supplemental Pay                                      2,710.31    0.14%       4,968.27      0.30%     -2,257.96            0.00    0.00%      2,710.31
         3,103.80      1.46%      2,947.33     1.44%       156.47       1,415.43       0.66%     1,688.37   Worker's Compensation                                       12,763.86    0.68%      14,544.80      0.87%     -1,780.94       7,522.70     0.64%      5,241.16
             0.00      0.00%          0.00     0.00%         0.00        -233.14      -0.11%       233.14   Payroll Tax/Benefit Allocation                                   0.00    0.00%           0.00      0.00%          0.00        -989.44    -0.08%        989.44
           628.95      0.30%      1,809.00     0.89%    -1,180.05      -1,051.50      -0.49%     1,680.45   Group Insurance                                              1,540.34    0.08%       9,045.00      0.54%     -7,504.66      -3,482.26    -0.29%      5,022.60
             0.00      0.00%          0.00     0.00%         0.00           0.00       0.00%         0.00   Bonus and Incentive Pay                                      3,645.84    0.19%       3,000.00      0.18%        645.84           0.00     0.00%      3,645.84
        3,732.75      1.76%      4,756.33     2.33%    -1,023.58         130.79       0.06%     3,601.96    Total Other Benefits                                       17,950.04    0.96%      26,589.80      1.59%     -8,639.76       3,051.00     0.26%     14,899.04

        9,760.08      4.60%     10,223.44     5.01%     -463.36        2,610.54       1.21%     7,149.54    Total Rooms PR Taxes and Benefits                          39,663.09    2.12%      53,479.92      3.21%    -13,816.83      17,524.55     1.48%     22,138.54

       47,575.64     22.42%     50,848.93    24.89%    -3,273.29      31,730.42      14.70%    15,845.22    Total Rooms Labor Costs                                   246,520.31    13.17%    258,695.85    15.51%     -12,175.54     156,045.05     13.19%    90,475.26

                                                                                                            Other Expenses
         9,117.47     4.30%     11,411.00     5.59%    -2,293.53        9,452.82       4.38%      -335.35   Breakfast /Comp Cost                                        66,419.21    3.55%      59,731.00     3.58%       6,688.21      38,546.17     3.26%    27,873.04
         1,131.20     0.53%      1,303.90     0.64%      -172.70          -39.16      -0.02%     1,170.36   Cleaning Supplies                                            7,915.31    0.42%       7,180.55     0.43%         734.76       2,920.89     0.25%     4,994.42
             0.00     0.00%          0.00     0.00%         0.00            0.00       0.00%         0.00   Contract Cleaning                                                0.00    0.00%       3,000.00     0.18%      -3,000.00           0.00     0.00%         0.00
             0.00     0.00%         76.00     0.04%       -76.00            0.00       0.00%         0.00   Dues and Subscriptions                                           0.00    0.00%       1,385.00     0.08%      -1,385.00           0.00     0.00%         0.00
            55.24     0.03%         37.00     0.02%        18.24            0.00       0.00%        55.24   Equipment Rental                                                55.24    0.00%         185.00     0.01%        -129.76           0.00     0.00%        55.24
         3,059.30     1.44%      2,106.30     1.03%       953.00        1,157.48       0.54%     1,901.82   Guest Supplies                                              14,520.56    0.78%      11,599.35     0.70%       2,921.21       8,110.16     0.69%     6,410.40
           904.60     0.43%        702.10     0.34%       202.50          188.22       0.09%       716.38   Laundry                                                        904.60    0.05%       3,866.45     0.23%      -2,961.85       3,940.26     0.33%    -3,035.66
         6,081.86     2.87%      1,685.04     0.82%     4,396.82          117.62       0.05%     5,964.24   Linen                                                        8,538.65    0.46%       9,279.48     0.56%        -740.83       8,393.26     0.71%       145.39
           838.62     0.40%          0.00     0.00%       838.62            0.00       0.00%       838.62   Miscellaneous Expense                                          731.76    0.04%           0.00     0.00%         731.76           0.00     0.00%       731.76
           809.25     0.38%        802.40     0.39%         6.85            0.00       0.00%       809.25   Operating Supplies                                           5,007.66    0.27%       5,118.80     0.31%        -111.14           0.00     0.00%     5,007.66
             0.00     0.00%        120.36     0.06%      -120.36            0.00       0.00%         0.00   Printing and Stationery                                          0.00    0.00%       1,462.82     0.09%      -1,462.82           0.00     0.00%         0.00
         1,118.95     0.53%        941.32     0.46%       177.63            0.00       0.00%     1,118.95   Reservation Expense                                          2,237.93    0.12%       4,930.34     0.30%      -2,692.41           0.00     0.00%     2,237.93
             0.00     0.00%         80.24     0.04%       -80.24            0.00       0.00%         0.00   Rooms Promotion                                                  0.00    0.00%         441.88     0.03%        -441.88           0.00     0.00%         0.00
         1,337.88     0.63%      1,440.00     0.70%      -102.12        1,309.26       0.61%        28.62   Television Cable                                             6,718.02    0.36%       7,200.00     0.43%        -481.98       6,677.46     0.56%        40.56
             0.00     0.00%          0.00     0.00%         0.00            0.00       0.00%         0.00   Training                                                         0.00    0.00%         250.00     0.01%        -250.00           0.00     0.00%         0.00
         4,775.85     2.25%        269.66     0.13%     4,506.19        2,107.67       0.98%     2,668.18   Travel Agent Comm - Group Rooms                              8,130.92    0.43%       4,010.72     0.24%       4,120.20       7,163.45     0.61%       967.47
         2,978.55     1.40%      3,355.02     1.64%      -376.47        3,378.43       1.56%      -399.88   Travel Agent Comm - Transient Rooms                         25,875.95    1.38%      22,625.22     1.36%       3,250.73      21,428.27     1.81%     4,447.68
           141.20     0.07%        200.00     0.10%       -58.80            0.00       0.00%       141.20   Uniforms                                                     1,212.87    0.06%       1,000.00     0.06%         212.87           0.00     0.00%     1,212.87
             0.00     0.00%          0.00     0.00%         0.00            0.00       0.00%         0.00   Walked Guests                                                    0.00    0.00%           0.00     0.00%           0.00         490.56     0.04%      -490.56

       32,349.97     15.24%     24,530.34    12.01%    7,819.63       17,672.34       8.18%    14,677.63    Total Rooms Other Expenses                                148,268.68    7.92%     143,266.61      8.59%      5,002.07      97,670.48     8.26%     50,598.20

       79,925.61     37.66%     75,379.27    36.90%    4,546.34       49,402.76      22.88%    30,522.85    Total Rooms Expenses                                      394,788.99    21.09%    401,962.46    24.10%      -7,173.47     253,715.53     21.45%   141,073.46

      132,277.52     62.34%    128,878.73    63.10%    3,398.79      166,517.51      77.12%    -34,239.99   Total Rooms Profit (Loss)                            1,477,383.56       78.91%   1,266,134.54   75.90%     211,249.02     929,010.33     78.55%   548,373.23




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                                                                                     Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                     P&L - Dual Summary Pages
                                                                                                           As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                                   YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
           302.00              341.00         -39.00         334.00                 -32.00    Room Stat - Corporate Transient                            2,252.00         1,163.00      1,089.00       1,047.00         1,205.00
            81.00              184.00        -103.00         181.00                -100.00    Room Stat - Advanced Purchase                                656.00         1,018.00       -362.00         892.00          -236.00
           106.00                0.00         106.00         123.00                 -17.00    Room Stat - Qualified Discounts                              943.00             0.00        943.00         674.00           269.00
             0.00                0.00           0.00          -5.00                   5.00    Room Stat - FIT(Flexible Independent Travel)                   0.00             0.00          0.00           0.00             0.00
            95.00               57.00          38.00          70.00                  25.00    Room Stat - Employee                                         272.00           314.00        -42.00         351.00           -79.00
             0.00                0.00           0.00          -9.00                   9.00    Room Stat - Leisure Transient                                  0.00             0.00          0.00           0.00             0.00
             0.00              112.00        -112.00         156.00                -156.00    Room Stat - Package Transient                                146.00           309.00       -163.00         410.00          -264.00
             6.00               27.00         -21.00           0.00                   6.00    Room Stat - Travel Agent/Friends & Family                     13.00           133.00       -120.00          22.00            -9.00
           238.00              200.00          38.00         246.00                  -8.00    Room Stat - Member Reward Stay                             2,269.00         1,522.00        747.00       1,604.00           665.00
           140.00              186.00         -46.00         276.00                -136.00    Room Stat - Internet                                         666.00         1,700.00     -1,034.00         940.00          -274.00
             0.00                0.00           0.00         -14.00                  14.00    Room Stat - Other Transient                                    0.00             0.00          0.00           1.00            -1.00
            22.00                0.00          22.00          11.00                  11.00    Room Stat - E-Commerce Opaque                                 35.00             0.00         35.00          78.00           -43.00
            15.00               31.00         -16.00          31.00                 -16.00    Room Stat - Government Rate Transient                         81.00           246.00       -165.00         244.00          -163.00
           441.00              620.00        -179.00         444.00                  -3.00    Room Stat - Rack Rate Transient                            2,729.00         2,512.00        217.00       1,939.00           790.00
        1,446.00            1,758.00        -312.00       1,844.00                -398.00     Total Transient Rooms Sold                               10,062.00         8,917.00      1,145.00       8,202.00         1,860.00

                                                                                              Group Rooms
           242.00               0.00         242.00          55.00                 187.00     Room Stat - Corporate Group Rooms                            961.00             0.00       961.00          148.00           813.00
             0.00               0.00           0.00           0.00                    0.00    Room Stat - SMERF Group                                        0.00           120.00      -120.00            0.00             0.00
             0.00              97.00         -97.00          90.00                 -90.00     Room Stat - Sports Group                                     186.00           994.00      -808.00        1,075.00          -889.00
             0.00               0.00           0.00           2.00                   -2.00    Room Stat - Other Group                                        0.00             0.00         0.00           32.00           -32.00
          242.00               97.00        145.00          147.00                  95.00     Total Group Rooms Sold                                    1,147.00         1,114.00         33.00       1,255.00          -108.00

                                                                                              Contract Rooms
             0.00               0.00           0.00           30.00                 -30.00    Room Stat - Other Contract                                   41.00             0.00         41.00           32.00            9.00
             0.00               0.00           0.00           30.00                -30.00     Total Contract Rooms Sold                                    41.00             0.00         41.00           32.00            9.00

        1,688.00            1,855.00        -167.00       2,021.00                -333.00     Total Rooms Sold                                         11,250.00        10,031.00      1,219.00       9,489.00         1,761.00
            14.00               0.00           14.00           5.00                   9.00    Room Stat - Comp Rooms                                       160.00            0.00         160.00          30.00           130.00
        1,702.00            1,855.00        -153.00       2,026.00                -324.00     Total Rooms Occupied                                     11,410.00        10,031.00      1,379.00       9,519.00         1,891.00
           243.00               0.00          243.00         294.00                 -51.00    Room Stat - Out of Order                                     814.00            0.00         814.00         703.00           111.00

                                                                                              ADR
           108.17               82.00         26.17           83.42                  24.75    Corporate Transient ADR                                      146.92           132.28        14.64          125.27           21.65
           151.84               94.59         57.26          124.51                  27.33    Advanced Purchase ADR                                        243.76           150.10        93.66          151.12           92.64
           164.48                0.00        164.48          136.77                  27.71    Qualified Discount ADR                                       250.91             0.00       250.91          152.74           98.17
             0.00                0.00           0.00           0.00                    0.00   FIT ADR                                                        0.00             0.00         0.00            0.00             0.00
             0.00                0.00           0.00           0.00                    0.00   Consortia ADR                                                  0.00             0.00         0.00            0.00             0.00
            59.79               57.00           2.79          56.83                    2.96   Employee ADR                                                  65.39            54.06        11.34           51.99           13.41
             0.00                0.00           0.00           0.00                    0.00   Leisure ADR                                                    0.00             0.00         0.00            0.00             0.00
           134.30               79.00         55.30            0.00                 134.30    Travel Agent/Friends & Family ADR                            142.60           118.55        24.05          146.87            -4.27
             0.00                0.00           0.00      -1,922.51               1,922.51    Leisure Package ADR                                            0.00             0.00         0.00            0.00             0.00
            35.59               41.00          -5.41          45.29                   -9.70   Member Reward Stay ADR                                        36.05            41.00        -4.95           41.48            -5.43
             0.00                0.00           0.00           0.00                    0.00   Golf Pkg ADR                                                   0.00             0.00         0.00            0.00             0.00
             0.00                0.00           0.00           0.00                    0.00   Non Qualified ADR                                              0.00             0.00         0.00            0.00             0.00
           166.74              117.06         49.67          120.72                  46.02    Internet ADR                                                 244.06           194.24        49.83          134.89          109.18
           101.75                0.00        101.75           44.02                  57.73    E-Commerce Opaque ADR                                        126.16             0.00       126.16           74.15           52.01
             0.00                0.00           0.00           0.00                    0.00   Other Transient ADR                                            0.00             0.00         0.00            0.00             0.00
             0.00                0.00           0.00           0.00                    0.00   Airline Distressed Passenger ADR                               0.00             0.00         0.00            0.00             0.00
           124.38               89.00         35.38          122.17                    2.21   Government ADR                                               226.39           163.67        62.72          137.39           89.01
           123.27              129.00          -5.73         136.99                 -13.71    Rack ADR                                                     218.35           194.62        23.73          182.20           36.15
             0.00                0.00           0.00           0.00                    0.00   Local Negotiated ADR                                           0.00             0.00         0.00            0.00             0.00
          118.61              107.81          10.80         107.96                   10.65    Total Transient ADR                                         165.21           163.90          1.32         125.19            40.02

           163.63                0.00        163.63          127.18                  36.45    Corporate Group ADR                                         190.31              0.00       190.31           88.75          101.56
             0.00                0.00          0.00            0.00                   0.00    Leisure Group ADR                                             0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    Government Group ADR                                          0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    Tour & Travel Group ADR                                       0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                   0.00    Association Group ADR                                         0.00              0.00         0.00            0.00            0.00
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                                                                                    Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                          As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                 0.00          0.00            0.00                  0.00    City Wide Group ADR                                         0.00             0.00        0.00            0.00           0.00
            0.00                 0.00          0.00            0.00                  0.00    SMERF Group ADR                                             0.00           199.00     -199.00            0.00           0.00
            0.00               139.00       -139.00          127.07               -127.07    Sports Group ADR                                          199.11           177.72       21.39          138.47          60.64
            0.00                 0.00          0.00           89.00                -89.00    Other Group ADR                                             0.00             0.00        0.00          154.63        -154.63
          163.63              139.00          24.63         126.59                  37.04    Total Group ADR                                          191.73           180.01        11.72         133.02           58.72

             0.00               0.00           0.00            0.00                  0.00    Airline Crew ADR                                           0.00             0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                  0.00    Other Contract ADR                                         0.00             0.00         0.00           29.76          -29.76
             0.00               0.00           0.00            0.00                  0.00    Total Contract ADR                                         0.00             0.00         0.00           29.76         -29.76

          125.71              110.11          15.60         106.84                  18.87    Total ADR                                                166.42           166.29         0.12         124.64           41.77




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                                                                                             Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                             P&L - Dual Summary Pages
                                                                                                                   As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      F&B Summary
                                                                                                      Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Food Revenue                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Food Revenue                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Beverage Revenue                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Beverage Revenue                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Other Revenue                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Other Revenue                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Food Purchases                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Beverage Purchases                                       0.00    0.00%        0.00       0.00%      0.00          796.80     0.00%    -796.80
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Cedit Employee Meals                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Credit House Charges                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Credit In-House Promotions                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Audio Visual Cost of Sales                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Other Cost of Sales                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Cost of Sales                                  0.00   0.00%         0.00      0.00%       0.00         796.80     0.00%    -796.80

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    F&B Gross Profit                                         0.00   0.00%         0.00      0.00%       0.00        -796.80     0.00%    796.80

                                                                                                      Expenses
                                                                                                      Payroll
                                                                                                      Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Management                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Non-Management                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Salaries and Wages                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Payroll Taxes                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Supplemental Pay                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Other Benefits                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B PR Taxes and Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Payroll                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Audio Visual Supplies                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Banquet Expense                                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Bar Expense/Promos                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Bar Supplies                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    China                                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Cleaning Supplies                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Communication Expense                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Contract Cleaning                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Contract Labor                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Decorations & Plants                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Dues and Subscriptions                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Equipment Rental                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Food and Beverage Advertising                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Glassware                                                0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Guest Loss/Damage                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Guest Supplies                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    In-House Entertainment                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Kitchen/Cooking Fuel                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Kitchen Equipment                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Laundry - Outside Expense                                0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Laundry Allocation                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Licenses/Permits                                         0.00   0.00%          0.00     0.00%       0.00           37.00    0.00%     -37.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Linen                                                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Linen Rental                                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                             Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Maintenance Contracts                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Meals and Entertainment                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Menus                                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00          268.13       0.00%    -268.13   Miscellaneous Expense                                    0.00    0.00%        0.00       0.00%      0.00        3,497.39     0.00%    -3,497.39
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Music and Entertainment                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Office Equipment                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Office Supplies                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Operating Supplies                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Paper/Plastic Supplies                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Printing and Stationery                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Silverware                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Software Expense/Maintenance                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Television Cable                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Training                                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Travel                                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Uniforms                                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%       0.00   Utensils                                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00         268.13       0.00%    -268.13    Total F&B Other Expenses                                 0.00   0.00%         0.00      0.00%       0.00       3,534.39     0.00%    -3,534.39

             0.00     0.00%         0.00    0.00%       0.00         268.13       0.00%    -268.13    Total F&B Expenses                                       0.00   0.00%         0.00      0.00%       0.00       3,534.39     0.00%    -3,534.39

             0.00     0.00%         0.00    0.00%       0.00        -268.13       0.00%    268.13     Total F&B Profit (Loss)                                  0.00   0.00%         0.00      0.00%       0.00      -4,331.19     0.00%    4,331.19




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                                                                                    Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                          As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 2
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                             Room Service
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Room Service Covers                                0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Room Service Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                             Banquets
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Banquets Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Banquets Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                             Catering
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Catering Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Catering Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 3
             0.00                0.00          0.00            0.00                  0.00    Breakfast Avg Check                                      0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Lunch Avg Check                                          0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Dinner Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Brunch Avg Check                                         0.00             0.00        0.00            0.00           0.00
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                                                                                    Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                          As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 4
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 5
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 1
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 2
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                          0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                  0.00    Total Covers                                             0.00            0.00         0.00            0.00           0.00




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                                                                                           Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                                 As of 5/31/2022
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Food Admin
                                                                                                    Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Cost of Sales                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Management                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Non-Management                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Salaries and Wages                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin PR Taxes and Benefits                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Payroll                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Other Expenses                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %        Variance

                                                                                                    Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Less Adjustments                                         0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%        0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Revenue                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%       0.00

                                                                                                    Cost of Sales
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Beverage Purchases                                       0.00   0.00%         0.00     0.00%      0.00          796.80    0.00%     -796.80

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Cost of Sales                       0.00   0.00%        0.00      0.00%      0.00         796.80     0.00%    -796.80

                                                                                                    Expenses
                                                                                                    Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Licenses/Permits                                         0.00   0.00%         0.00     0.00%      0.00           37.00    0.00%      -37.00
             0.00     0.00%         0.00   0.00%      0.00          268.13      0.00%    -268.13    Miscellaneous Expense                                    0.00   0.00%         0.00     0.00%      0.00        3,497.39    0.00%   -3,497.39

             0.00     0.00%        0.00    0.00%      0.00         268.13       0.00%    -268.13    Total Beverage Admin Other Expenses                      0.00   0.00%        0.00      0.00%      0.00       3,534.39     0.00%   -3,534.39

             0.00     0.00%        0.00    0.00%      0.00         268.13       0.00%    -268.13    Total Beverage Admin Expenses                            0.00   0.00%        0.00      0.00%      0.00       3,534.39     0.00%   -3,534.39

             0.00     0.00%        0.00    0.00%      0.00        -268.13       0.00%    268.13     Departmental Costs                                       0.00   0.00%        0.00      0.00%      0.00      -3,534.39     0.00%   3,534.39




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Gross Profit                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 PR Taxes and Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Gross Profit                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 PR Taxes and Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Room Service
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Gross Profit                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service PR Taxes and Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Banquets
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Banquets Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Banquets Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Other Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                  0.00    Total Banquets Salaries and Wages                        0.00                 0.00                  0.00            0.00                0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                  0.00    Total Banquet Benefits                                   0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Catering
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                             Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 3
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Gross Profit                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll Taxes and Benefits            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                             Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 4
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 4 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restauarnt 4 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 PR Taxes and Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 5
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Gross Profit                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 PR Taxes and Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Food Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Beverage Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Non-Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Salaries and Wages                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 PR Taxes and Benefits                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Food Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Beverage Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expenses
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Non-Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Salaries and Wages                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 PR Taxes and Benefits                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %          Variance

                                                                                                        Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Telephone Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Telephone Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

                                                                                                        Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00          818.11       0.00%     -818.11    Cost of Sales - Local Calls                              0.00    0.00%        0.00       0.00%      0.00        3,852.65     0.00%    -3,852.65
             0.00     0.00%         0.00    0.00%       0.00         818.11       0.00%     -818.11     Total Telephone Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00       3,852.65     0.00%    -3,852.65

             0.00     0.00%         0.00    0.00%       0.00        -818.11       0.00%      818.11     Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00      -3,852.65     0.00%    3,852.65

                                                                                                        Other Expenses
             0.00      0.00%        0.00     0.00%      0.00        1,257.44       0.00%    -1,257.44   Internet/Web Expense                                     0.00    0.00%        0.00       0.00%      0.00        5,335.65     0.00%    -5,335.65
             0.00      0.00%        0.00     0.00%      0.00           90.00       0.00%       -90.00   Miscellaneous Expense                                    0.00    0.00%        0.00       0.00%      0.00          180.00     0.00%      -180.00
             0.00      0.00%        0.00     0.00%      0.00           98.00       0.00%       -98.00   Software Expense/Maintenance                             0.00    0.00%        0.00       0.00%      0.00          392.00     0.00%      -392.00
             0.00     0.00%         0.00    0.00%       0.00       1,445.44       0.00%    -1,445.44    Total Telephone Other Expenses                           0.00   0.00%         0.00      0.00%       0.00       5,907.65     0.00%    -5,907.65

             0.00     0.00%         0.00    0.00%       0.00      -2,263.55       0.00%    2,263.55     Total Telephone Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00      -9,760.30     0.00%    9,760.30




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             PTD      %        PTD Budget     %        Variance   PTD Last Year     %         Variance                                                                   YTD     %        YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                         Minor Operating
                                                                                                         Income
           598.84     13.47%       200.00     9.18%      398.84         175.00       5.37%      423.84   Rental Income - Other                                       3,018.70    12.95%     1,000.00     8.00%    2,018.70        1,250.00      5.81%    1,768.70
          598.84     13.47%       200.00     9.18%      398.84         175.00       5.37%      423.84    Total Rental Income                                        3,018.70    12.95%     1,000.00     8.00%    2,018.70        1,250.00      5.81%    1,768.70
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%        0.00   Vending Commissions-Soda & Snack Machines                       0.00     0.00%         0.00     0.00%        0.00            9.81      0.05%       -9.81
            30.00      0.68%         0.00     0.00%       30.00         266.50       8.17%     -236.50   Vending Commissions Other                                     411.50     1.77%         0.00     0.00%      411.50          516.75      2.40%     -105.25
            30.00     0.68%          0.00    0.00%        30.00        266.50       8.17%     -236.50    Total Vending Commission Income                              411.50     1.77%          0.00    0.00%      411.50          526.56      2.45%     -115.06
         1,242.30     27.95%       750.00    34.43%      492.30          87.00       2.67%    1,155.30   Cancellation Fee - Rooms                                    4,154.40    17.82%     4,750.00    37.99%     -595.60        4,436.30     20.61%     -281.90
        1,242.30     27.95%       750.00    34.43%      492.30           87.00      2.67%    1,155.30    Total Cancellation Fee Income                              4,154.40    17.82%     4,750.00    37.99%     -595.60        4,436.30     20.61%     -281.90
             0.00      0.00%       200.60     9.21%     -200.60           0.00       0.00%        0.00   Guest Laundry                                                   0.00     0.00%     1,104.70     8.84%   -1,104.70            0.00      0.00%        0.00
             0.00      0.00%        25.00     1.15%      -25.00           0.00       0.00%        0.00   Internet Access                                                 0.00     0.00%       125.00     1.00%     -125.00            0.00      0.00%        0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%        0.00   Telephone Revenue                                              76.32     0.33%         0.00     0.00%       76.32           35.00      0.16%       41.32
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%        0.00   Other Revenue 3                                               -61.03    -0.26%         0.00     0.00%      -61.03            0.00      0.00%      -61.03
         2,572.99     57.90%     1,003.00    46.04%    1,569.99       2,732.06      83.79%     -159.07   Gift Shop Sales                                            15,713.96    67.40%     5,523.50    44.18%   10,190.46       15,273.76     70.97%      440.20
        2,572.99     57.90%     1,228.60    56.39%    1,344.39       2,732.06      83.79%     -159.07    Total Other Income                                        15,729.25    67.47%     6,753.20    54.01%    8,976.05       15,308.76     71.13%      420.49

        4,444.13    100.00%     2,178.60    100.00%   2,265.53       3,260.56     100.00%    1,183.57    Total Minor Operating Income                              23,313.85    100.00%   12,503.20 100.00%      10,810.65      21,521.62 100.00%       1,792.23

                                                                                                         Cost of Sales
             0.00      0.00%        50.15     2.30%      -50.15           0.00       0.00%        0.00   Cost of Sales - Guest Laundry                                   0.00     0.00%       276.19     2.21%      -276.19           0.00      0.00%        0.00
         2,259.12     50.83%       551.65    25.32%    1,707.47         743.17      22.79%    1,515.95   Cost of Sales - Gift Shop                                  13,341.92    57.23%     3,037.94    24.30%    10,303.98       4,938.97     22.95%    8,402.95
        2,259.12     50.83%       601.80    27.62%    1,657.32         743.17      22.79%    1,515.95    Total Minor Operated Cost of Sales                        13,341.92    57.23%     3,314.13    26.51%    10,027.79       4,938.97     22.95%    8,402.95

        2,185.01     49.17%     1,576.80    72.38%     608.21        2,517.39      77.21%     -332.38    Total Minor Operated Profit (Loss)                         9,971.93    42.77%     9,189.07    73.49%       782.86      16,582.65     77.05%    -6,610.72




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Arcade
                                                                                                    Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Revenue                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Non-Management                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Profit (Loss)                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Waterpark
                                                                                                    Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Revenue                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Management                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Non-Management                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Salaries and Wages                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark PR Taxes and Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Payroll                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Other Expenses                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Profit (Loss)                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %        Variance   PTD Last Year     %        Variance                                                                    YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                      Franchise Fees
             0.00     0.00%         0.00    0.00%       0.00           24.78      0.01%      -24.78   Franchise Fees - IT Fees                                         0.00    0.00%         0.00     0.00%          0.00          142.80     0.01%       -142.80
        11,643.68     5.37%    11,234.19    5.44%     409.49       11,875.65      5.42%     -231.97   Franchise Fees - Royalty & Licenses                        102,595.99    5.41%    91,745.34     5.46%     10,850.65       65,050.24     5.40%     37,545.75
             0.00     0.00%         0.00    0.00%       0.00          445.00      0.20%     -445.00   Franchise Fees - Other                                           0.00    0.00%         0.00     0.00%          0.00        4,009.65     0.33%     -4,009.65
             0.00     0.00%         0.00    0.00%       0.00          565.00      0.26%     -565.00   Franchise Fees - Reservations-GDS                                0.00    0.00%         0.00     0.00%          0.00      -22,646.08    -1.88%     22,646.08
         1,230.83     0.57%     2,103.86    1.02%    -873.03        4,404.50      2.01%   -3,173.67   Franchise Fees - Frequent Guest                           -141,847.21   -7.48%    18,364.40     1.09%   -160,211.61       42,800.20     3.55%   -184,647.41
        10,853.66     5.01%     9,222.62    4.47%   1,631.04       10,373.67      4.73%      479.99   Franchise Fees - Marketing Contributions                    85,332.50    4.50%    69,398.14     4.13%     15,934.36       56,197.95     4.67%     29,134.55

       23,728.17     10.95%   22,560.67    10.93%   1,167.50      27,688.60      12.63%   -3,960.43   Total Franchise Fees                                      46,081.28     2.43%    179,507.88   10.68%    -133,426.60     145,554.76     12.09%   -99,473.48




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             PTD      %        PTD Budget    %          Variance   PTD Last Year     %          Variance                                                                   YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         7,283.85      3.36%     9,700.51     4.70%    -2,416.66       7,734.15       3.53%     -450.30    Management- A&G                                            45,790.62    2.42%     47,493.32     2.83%    -1,702.70      40,937.06     3.40%     4,853.56
        7,283.85      3.36%     9,700.51     4.70%    -2,416.66       7,734.15       3.53%     -450.30     Total A&G Management                                      45,790.62    2.42%     47,493.32     2.83%    -1,702.70      40,937.06     3.40%     4,853.56
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%         0.00    Total A&G Non-Management                                        0.00   0.00%           0.00    0.00%          0.00           0.00    0.00%          0.00
        7,283.85      3.36%     9,700.51     4.70%    -2,416.66       7,734.15       3.53%     -450.30     Total A&G Salaries and Wages                              45,790.62    2.42%     47,493.32     2.83%    -1,702.70      40,937.06     3.40%     4,853.56
                                                                                                           PR Taxes and Benefits
           612.05      0.28%       771.48     0.37%      -159.43           0.00       0.00%      612.05    FICA                                                        4,957.35    0.26%      4,842.79     0.29%       114.56         491.86     0.04%     4,465.49
             0.00      0.00%         9.08     0.00%        -9.08           0.00       0.00%        0.00    Federal Unemployment Tax                                      177.93    0.01%        190.28     0.01%       -12.35           0.00     0.00%       177.93
             0.00      0.00%        54.46     0.03%       -54.46           0.00       0.00%        0.00    State Unemployment Tax                                        800.64    0.04%      1,523.01     0.09%      -722.37           0.00     0.00%       800.64
          612.05      0.28%       835.02     0.40%      -222.97            0.00      0.00%      612.05     Total Payroll Taxes                                        5,935.92    0.31%      6,556.08     0.39%      -620.16         491.86     0.04%     5,444.06
             0.00      0.00%       384.26     0.19%      -384.26           0.00       0.00%        0.00    Vacation                                                        0.00    0.00%      1,629.26     0.10%    -1,629.26           0.00     0.00%         0.00
           221.84      0.10%         0.00     0.00%       221.84           0.00       0.00%      221.84    Sick Pay                                                      221.84    0.01%          0.00     0.00%       221.84           0.00     0.00%       221.84
          221.84      0.10%       384.26     0.19%      -162.42            0.00      0.00%      221.84     Total Supplemental Pay                                       221.84    0.01%      1,629.26     0.10%    -1,407.42            0.00    0.00%       221.84
           545.68      0.25%       698.18     0.34%      -152.50           0.00       0.00%      545.68    Worker's Compensation                                       2,974.38    0.16%      4,194.64     0.25%    -1,220.26         115.00     0.01%     2,859.38
             0.00      0.00%         0.00     0.00%         0.00         591.66       0.27%     -591.66    Payroll Tax/Benefit Allocation                                  0.00    0.00%          0.00     0.00%         0.00       2,718.75     0.23%    -2,718.75
           439.34      0.20%       800.00     0.39%      -360.66           0.00       0.00%      439.34    Group Insurance                                             3,911.32    0.21%      4,000.00     0.24%       -88.68           0.00     0.00%     3,911.32
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%        0.00    Bonus and Incentive Pay                                    18,322.91    0.97%     14,182.00     0.84%     4,140.91           0.00     0.00%    18,322.91
          985.02      0.45%     1,498.18     0.73%      -513.16         591.66       0.27%      393.36     Total Other Benefits                                      25,208.61    1.33%     22,376.64     1.33%     2,831.97       2,833.75     0.24%    22,374.86
        1,818.91      0.84%     2,717.46     1.32%      -898.55         591.66       0.27%    1,227.25     Total A&G PR Taxes and Benefits                           31,366.37    1.65%     30,561.98     1.82%       804.39       3,325.61     0.28%    28,040.76
        9,102.76      4.20%    12,417.97     6.02%    -3,315.21       8,325.81       3.80%      776.95     Total A&G Payroll                                         77,156.99    4.07%     78,055.30     4.64%      -898.31      44,262.67     3.68%    32,894.32
                                                                                                           Other Expenses
             0.00      0.00%         0.00     0.00%         0.00       1,000.00       0.46%    -1,000.00   Accounting/Audit Fees                                           0.00    0.00%          0.00     0.00%         0.00       5,000.00     0.42%    -5,000.00
         2,429.33      1.12%       500.00     0.24%     1,929.33         169.12       0.08%     2,260.21   Bad Debt Provision                                         11,038.17    0.58%      2,500.00     0.15%     8,538.17       2,299.80     0.19%     8,738.37
           560.40      0.26%       795.00     0.39%      -234.60         650.06       0.30%       -89.66   Bank Charges                                                4,266.44    0.23%      3,975.00     0.24%       291.44       3,546.55     0.29%       719.89
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Cash Over/Short                                               -55.60    0.00%          0.00     0.00%       -55.60          46.79     0.00%      -102.39
           231.66      0.11%       250.00     0.12%       -18.34           0.00       0.00%       231.66   Central Office - Travel Rebilled                              933.96    0.05%        500.00     0.03%       433.96           0.00     0.00%       933.96
         1,000.00      0.46%     1,000.00     0.48%         0.00         260.00       0.12%       740.00   Central Office - Accounting Fees                            5,000.00    0.26%      5,000.00     0.30%         0.00         260.00     0.02%     4,740.00
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Central Office - IT Fees                                        0.00    0.00%          0.00     0.00%         0.00         940.00     0.08%      -940.00
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Communication Expense                                           0.00    0.00%          0.00     0.00%         0.00         110.00     0.01%      -110.00
         3,996.76      1.84%     5,160.92     2.50%    -1,164.16       7,217.49       3.29%    -3,220.73   Credit Card Commission                                     57,449.92    3.03%     42,015.01     2.50%    15,434.91      26,634.08     2.21%    30,815.84
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Data Processing                                                 0.00    0.00%          0.00     0.00%         0.00         206.49     0.02%      -206.49
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Donations                                                     214.00    0.01%        300.00     0.02%       -86.00           0.00     0.00%       214.00
           174.25      0.08%         0.00     0.00%       174.25          76.25       0.03%        98.00   Dues and Subscriptions                                      1,855.50    0.10%          0.00     0.00%     1,855.50       3,997.99     0.33%    -2,142.49
           816.00      0.38%       775.00     0.38%        41.00         606.52       0.28%       209.48   Employee Relations                                          4,925.72    0.26%      2,820.00     0.17%     2,105.72       1,141.93     0.09%     3,783.79
             0.00      0.00%         0.00     0.00%         0.00          80.66       0.04%       -80.66   Equipment Rental                                                0.00    0.00%          0.00     0.00%         0.00         161.03     0.01%      -161.03
           375.00      0.17%       700.00     0.34%      -325.00         375.00       0.17%         0.00   Licenses/Permits                                              817.00    0.04%        700.00     0.04%       117.00       1,488.75     0.12%      -671.75
             0.00      0.00%        50.00     0.02%       -50.00           0.00       0.00%         0.00   Meals and Entertainment                                         0.00    0.00%        250.00     0.01%      -250.00         135.33     0.01%      -135.33
          -108.32     -0.05%        90.00     0.04%      -198.32        -100.15      -0.05%        -8.17   Miscellaneous Expense                                         -23.02    0.00%        450.00     0.03%      -473.02        -319.05    -0.03%       296.03
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Office Equipment                                                0.00    0.00%          0.00     0.00%         0.00         558.54     0.05%      -558.54
             0.00      0.00%         0.00     0.00%         0.00         560.55       0.26%      -560.55   Office Supplies                                                 0.00    0.00%          0.00     0.00%         0.00       2,723.95     0.23%    -2,723.95
           370.42      0.17%       100.00     0.05%       270.42           0.00       0.00%       370.42   Operating Supplies                                          2,999.36    0.16%        575.00     0.03%     2,424.36           0.00     0.00%     2,999.36
           491.83      0.23%       413.14     0.20%        78.69         119.94       0.05%       371.89   Payroll Service Fees                                        1,362.22    0.07%      2,058.85     0.12%      -696.63         666.68     0.06%       695.54
             0.00      0.00%        10.00     0.00%       -10.00          56.09       0.03%       -56.09   Postage                                                       231.71    0.01%         50.00     0.00%       181.71         132.54     0.01%        99.17
           253.50      0.12%       725.00     0.35%      -471.50         125.00       0.06%       128.50   Professional Fees - Legal                                   2,345.76    0.12%      3,625.00     0.22%    -1,279.24       5,739.14     0.48%    -3,393.38
            44.01      0.02%     1,200.00     0.58%    -1,155.99           0.00       0.00%        44.01   Professional Fees - Other                                   3,209.01    0.17%      6,650.00     0.40%    -3,440.99       1,510.22     0.13%     1,698.79
         2,082.90      0.96%         0.00     0.00%     2,082.90         940.00       0.43%     1,142.90   Recruitment Advertising                                     2,798.70    0.15%        300.00     0.02%     2,498.70       1,730.00     0.14%     1,068.70
             0.00      0.00%         0.00     0.00%         0.00          61.90       0.03%       -61.90   Recruitment - Other                                             0.00    0.00%          0.00     0.00%         0.00         560.05     0.05%      -560.05
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%         0.00   Security - In-house Expense                                     0.00    0.00%          0.00     0.00%         0.00         395.00     0.03%      -395.00
             0.00      0.00%       600.00     0.29%      -600.00           0.00       0.00%         0.00   Security - Outside                                              0.00    0.00%      2,400.00     0.14%    -2,400.00           0.00     0.00%         0.00
             0.00      0.00%         0.00     0.00%         0.00       1,962.69       0.90%    -1,962.69   Software Expense/Maintenance                                    0.00    0.00%          0.00     0.00%         0.00       9,118.45     0.76%    -9,118.45
             0.00      0.00%       995.00     0.48%      -995.00           0.00       0.00%         0.00   Training                                                    2,142.95    0.11%      2,695.00     0.16%      -552.05          90.78     0.01%     2,052.17
             0.00      0.00%       775.00     0.38%      -775.00           0.00       0.00%         0.00   Travel                                                          0.00    0.00%        875.00     0.05%      -875.00         523.79     0.04%      -523.79
             0.00      0.00%        50.00     0.02%       -50.00           0.00       0.00%         0.00   Uniforms                                                        0.00    0.00%        250.00     0.01%      -250.00         250.32     0.02%      -250.32
       12,717.74      5.87%    14,189.06     6.87%    -1,471.32      14,161.12       6.46%    -1,443.38    Total A&G Other Expenses                                 101,511.80    5.36%     77,988.86     4.64%    23,522.94      69,649.15     5.78%    31,862.65
       21,820.50     10.07%    26,607.03    12.89%    -4,786.53      22,486.93      10.26%      -666.43    Total A&G Expenses                                       178,668.79    9.43%    156,044.16     9.29%    22,624.63     113,911.82     9.46%    64,756.97




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                                                                                               Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                               P&L - Dual Summary Pages
                                                                                                                     As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                                   YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Management                                            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Non-Management                                        0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Salaries and Wages                                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Payroll Taxes                                            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Supplemental Pay                                         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Other Benefits                                           0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT PR Taxes and Benefits                                 0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Payroll                                               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                       Cost of Services
            50.00      0.02%       110.00    0.05%    -60.00            0.00       0.00%       50.00   Cost of Cell Phones                                           110.00    0.01%       550.00      0.03%     -440.00           0.00     0.00%       110.00
         1,168.63      0.54%     1,192.00    0.58%    -23.37            0.00       0.00%    1,168.63   Cost of Internet Services                                  10,812.16    0.57%     5,960.00      0.35%    4,852.16           0.00     0.00%    10,812.16
         1,317.62      0.61%     1,115.00    0.54%    202.62            0.00       0.00%    1,317.62   Cost of Calls                                               5,961.51    0.31%     5,575.00      0.33%      386.51           0.00     0.00%     5,961.51
        2,536.25      1.17%     2,417.00    1.17%    119.25             0.00      0.00%    2,536.25    Total IT Cost of Services                                 16,883.67    0.89%    12,085.00      0.72%    4,798.67            0.00    0.00%    16,883.67

                                                                                                       System Costs
         2,077.69      0.96%     2,040.70    0.99%      36.99           0.00       0.00%    2,077.69   Administrative & General                                    5,128.83    0.27%     4,123.50      0.25%    1,005.33           0.00     0.00%     5,128.83
             0.00      0.00%        50.00    0.02%     -50.00           0.00       0.00%        0.00   Human Resources                                                 0.00    0.00%       250.00      0.01%     -250.00           0.00     0.00%         0.00
           360.00      0.17%       389.00    0.19%     -29.00           0.00       0.00%      360.00   Information Systems                                         1,700.00    0.09%     1,945.00      0.12%     -245.00           0.00     0.00%     1,700.00
           102.00      0.05%       102.00    0.05%       0.00           0.00       0.00%      102.00   Property Ops & Maintenance                                    510.00    0.03%       510.00      0.03%        0.00           0.00     0.00%       510.00
            27.50      0.01%         0.00    0.00%      27.50           0.00       0.00%       27.50   Rooms                                                       1,281.12    0.07%         0.00      0.00%    1,281.12           0.00     0.00%     1,281.12
        2,567.19      1.18%     2,581.70    1.25%     -14.51            0.00      0.00%    2,567.19    Total IT Systems                                           8,619.95    0.45%     6,828.50      0.41%    1,791.45            0.00    0.00%     8,619.95

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total IT Other Expenses                                        0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

        5,103.44      2.36%     4,998.70    2.42%    104.74             0.00      0.00%    5,103.44    Total IT Expenses                                         25,503.62    1.35%    18,913.50      1.13%    6,590.12            0.00    0.00%    25,503.62




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                                                                                                 Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                                   YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                         S&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         3,266.81      1.51%         0.00    0.00%    3,266.81        3,193.69       1.46%       73.12   Division Management                                        15,629.48    0.82%         0.00      0.00%    15,629.48      19,052.02     1.58%     -3,422.54
             0.00      0.00%     3,157.87    1.53%   -3,157.87            0.00       0.00%        0.00   Sales Managers                                                  0.00    0.00%    15,089.38      0.90%   -15,089.38      -3,400.00    -0.28%      3,400.00
        3,266.81      1.51%     3,157.87    1.53%      108.94        3,193.69       1.46%        73.12   Total S&M Management                                      15,629.48    0.82%    15,089.38      0.90%       540.10      15,652.02     1.30%         -22.54
           702.15      0.32%     1,594.29    0.77%     -892.14        1,382.01       0.63%     -679.86   Administrative Assistant                                    7,470.61    0.39%     7,765.73      0.46%      -295.12       3,194.87     0.27%      4,275.74
           120.00      0.06%         0.00    0.00%      120.00            0.00       0.00%      120.00   Sales Admin Overtime                                          120.00    0.01%         0.00      0.00%       120.00           0.00     0.00%        120.00
          822.15      0.38%     1,594.29    0.77%     -772.14        1,382.01       0.63%     -559.86    Total S&M Non-Management                                   7,590.61    0.40%     7,765.73      0.46%      -175.12       3,194.87     0.27%      4,395.74

        4,088.96      1.89%     4,752.16    2.30%     -663.20        4,575.70       2.09%     -486.74    Total S&M Salaries and Wages                              23,220.09    1.23%    22,855.11      1.36%       364.98      18,846.89     1.57%      4,373.20

                                                                                                         PR Taxes and Benefits
           423.83      0.20%       473.52    0.23%      -49.69          672.73       0.31%     -248.90   FICA                                                        1,986.48    0.10%     1,989.39      0.12%        -2.91       2,463.90      0.20%      -477.42
             -8.11     0.00%         5.57    0.00%      -13.68            7.62       0.00%      -15.73   Federal Unemployment Tax                                       67.28    0.00%        70.66      0.00%        -3.38         106.52      0.01%       -39.24
           -36.51     -0.02%        33.42    0.02%      -69.93           34.29       0.02%      -70.80   State Unemployment Tax                                        302.76    0.02%       585.69      0.03%      -282.93         479.41      0.04%      -176.65
          379.21      0.18%       512.51    0.25%     -133.30          714.64       0.33%     -335.43    Total Payroll Taxes                                        2,356.52    0.12%     2,645.74      0.16%      -289.22       3,049.83      0.25%      -693.31
              0.00     0.00%       140.00    0.07%     -140.00            0.00       0.00%        0.00   Holiday                                                         0.00    0.00%       280.00      0.02%      -280.00           0.00      0.00%         0.00
            67.34      0.03%       122.61    0.06%      -55.27            0.00       0.00%       67.34   Vacation                                                       67.34    0.00%       519.87      0.03%      -452.53           0.00      0.00%        67.34
            67.34     0.03%       262.61    0.13%     -195.27             0.00      0.00%        67.34   Total Supplemental Pay                                         67.34   0.00%       799.87      0.05%      -732.53            0.00     0.00%         67.34
           499.62      0.23%       428.53    0.21%       71.09          425.54       0.19%       74.08   Worker's Compensation                                       2,178.06    0.11%     1,770.41      0.11%       407.65       1,633.17      0.14%       544.89
              0.00     0.00%         0.00    0.00%        0.00         -501.04      -0.23%      501.04   Payroll Tax/Benefit Allocation                                  0.00    0.00%         0.00      0.00%         0.00      -1,322.39     -0.11%     1,322.39
           448.73      0.21%       400.00    0.19%       48.73         -434.28      -0.20%      883.01   Group Insurance                                             2,161.04    0.11%     2,000.00      0.12%       161.04      -1,341.40     -0.11%     3,502.44
         1,640.63      0.76%     1,175.00    0.57%      465.63            0.00       0.00%    1,640.63   Bonus and Incentive Pay                                     3,046.88    0.16%     2,350.00      0.14%       696.88           0.00      0.00%     3,046.88
        2,588.98      1.20%     2,003.53    0.97%      585.45         -509.78      -0.23%    3,098.76    Total Other Benefits                                       7,385.98    0.39%     6,120.41      0.36%     1,265.57      -1,030.62     -0.09%     8,416.60
        3,035.53      1.40%     2,778.65    1.35%      256.88          204.86       0.09%    2,830.67    Total S&M PR Taxes and Benefits                            9,809.84    0.52%     9,566.02      0.57%       243.82       2,019.21      0.17%     7,790.63

        7,124.49      3.29%     7,530.81    3.65%     -406.32        4,780.56       2.18%    2,343.93    Total S&M Payroll                                         33,029.93    1.74%    32,421.13      1.93%       608.80      20,866.10     1.73%     12,163.83

                                                                                                         Other Expenses
             0.00      0.00%         0.00    0.00%         0.00         440.00       0.20%    -440.00    Advertising General                                             0.00    0.00%         0.00      0.00%         0.00       1,420.00     0.12%     -1,420.00
           815.00      0.38%       815.00    0.39%         0.00           0.00       0.00%     815.00    Advertising-Web/Internet                                    3,497.00    0.18%     2,980.00      0.18%       517.00         321.00     0.03%      3,176.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Agency Fees                                                     0.00    0.00%         0.00      0.00%         0.00         144.69     0.01%       -144.69
           150.00      0.07%         0.00    0.00%       150.00           0.00       0.00%     150.00    Billboards                                                    750.00    0.04%         0.00      0.00%       750.00           0.00     0.00%        750.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Brochures                                                       0.00    0.00%       500.00      0.03%      -500.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Communication Expense                                           0.00    0.00%         0.00      0.00%         0.00          50.00     0.00%        -50.00
         1,458.00      0.67%     1,632.00    0.79%      -174.00       1,088.00       0.50%     370.00    Dues and Subscriptions                                      9,343.40    0.49%    11,362.00      0.68%    -2,018.60      10,324.98     0.86%       -981.58
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    GDS Marketing Advert & Sales                                  764.53    0.04%         0.00      0.00%       764.53           0.00     0.00%        764.53
             0.00      0.00%        25.00    0.01%       -25.00           0.00       0.00%       0.00    Meals and Entertainment                                         0.00    0.00%       125.00      0.01%      -125.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Miscellaneous Expense                                         776.50    0.04%         0.00      0.00%       776.50           0.00     0.00%        776.50
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Office Equipment                                                0.00    0.00%         0.00      0.00%         0.00       1,171.05     0.10%     -1,171.05
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Office Supplies                                                 0.00    0.00%         0.00      0.00%         0.00          13.69     0.00%        -13.69
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%       0.00    Operating Supplies                                            851.33    0.04%       250.00      0.01%       601.33           0.00     0.00%        851.33
             0.00      0.00%        10.00    0.00%       -10.00           0.00       0.00%       0.00    Postage                                                         0.00    0.00%        50.00      0.00%       -50.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Printing and Stationery                                         0.00    0.00%        75.00      0.00%       -75.00           0.00     0.00%          0.00
           200.00      0.09%       200.00    0.10%         0.00           0.00       0.00%     200.00    Promotions - In-house                                         719.69    0.04%     1,000.00      0.06%      -280.31           3.15     0.00%        716.54
          -407.89     -0.19%     1,160.71    0.56%    -1,568.60         237.50       0.11%    -645.39    Promotion - Outside                                           246.49    0.01%     2,839.27      0.17%    -2,592.78         237.50     0.02%          8.99
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Regional Sales & Marketing                                      0.00    0.00%         0.00      0.00%         0.00          20.00     0.00%        -20.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Software Expense/Maintenance                                    0.00    0.00%         0.00      0.00%         0.00       8,923.57     0.74%     -8,923.57
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Trade Shows                                                     0.00    0.00%     1,800.00      0.11%    -1,800.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%       0.00    Training                                                       70.00    0.00%       995.00      0.06%      -925.00       1,745.00     0.14%     -1,675.00
            22.23      0.01%        50.00    0.02%       -27.77           0.00       0.00%      22.23    Travel                                                         22.23    0.00%       250.00      0.01%      -227.77         154.56     0.01%       -132.33
        2,237.34      1.03%     3,942.71    1.91%    -1,705.37       1,765.50       0.81%     471.84     Total S&M Other Expenses                                  17,041.17    0.90%    22,226.27      1.32%    -5,185.10      24,529.19     2.04%     -7,488.02

        9,361.83      4.32%    11,473.52    5.56%    -2,111.69       6,546.06       2.99%    2,815.77    Total S&M Expenses                                        50,071.10    2.64%    54,647.40      3.25%    -4,576.30      45,395.29     3.77%      4,675.81




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                                                                                                                       As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                                   YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                         R&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         2,631.92      1.21%     2,549.61    1.24%        82.31       2,555.28       1.17%       76.64   Division Management                                        13,383.02    0.71%    12,482.32      0.74%       900.70      12,088.07     1.00%     1,294.95
        2,631.92      1.21%     2,549.61    1.24%         82.31      2,555.28       1.17%        76.64   Total R&M Management                                      13,383.02    0.71%    12,482.32      0.74%       900.70      12,088.07     1.00%     1,294.95
             0.00      0.00%     1,594.29    0.77%    -1,594.29           0.00       0.00%        0.00   Engineering Supervisor                                          0.00    0.00%     7,765.73      0.46%    -7,765.73           0.00     0.00%         0.00
         3,208.52      1.48%     4,030.00    1.95%      -821.48       3,023.79       1.38%      184.73   Engineers 1                                                22,507.84    1.19%    19,630.00      1.17%     2,877.84      16,551.43     1.37%     5,956.41
         1,002.16      0.46%         0.00    0.00%     1,002.16           0.00       0.00%    1,002.16   Engineers 1 Overtime                                        1,002.16    0.05%         0.00      0.00%     1,002.16           0.00     0.00%     1,002.16
        4,210.68      1.94%     5,624.29    2.72%    -1,413.61       3,023.79       1.38%    1,186.89    Total R&M Non-Management                                  23,510.00    1.24%    27,395.73      1.63%    -3,885.73      16,551.43     1.37%     6,958.57

        6,842.60      3.16%     8,173.90    3.96%    -1,331.30       5,579.07       2.55%    1,263.53    Total R&M Salaries and Wages                              36,893.02    1.95%    39,878.05      2.37%    -2,985.03      28,639.50     2.38%     8,253.52

                                                                                                         PR Taxes and Benefits
           494.93      0.23%       640.22    0.31%     -145.29           67.68       0.03%     427.25    FICA                                                        3,045.23    0.16%     3,080.50      0.18%      -35.27          690.44     0.06%     2,354.79
             5.22      0.00%         7.53    0.00%        -2.31           0.76       0.00%       4.46    Federal Unemployment Tax                                      113.36    0.01%       110.99      0.01%        2.37           14.26     0.00%        99.10
            13.44      0.01%        45.19    0.02%       -31.75           3.41       0.00%      10.03    State Unemployment Tax                                        556.97    0.03%       935.30      0.06%     -378.33           64.17     0.01%       492.80
          513.59      0.24%       692.94    0.34%     -179.35            71.85      0.03%     441.74     Total Payroll Taxes                                        3,715.56    0.20%     4,126.79      0.25%     -411.23          768.87     0.06%     2,946.69
             0.00      0.00%       195.00    0.09%     -195.00            0.00       0.00%       0.00    Holiday                                                         0.00    0.00%       390.00      0.02%     -390.00            0.00     0.00%         0.00
            68.00      0.03%         0.00    0.00%        68.00           0.00       0.00%      68.00    Sick Pay                                                       68.00    0.00%         0.00      0.00%       68.00            0.00     0.00%        68.00
            68.00     0.03%       195.00    0.09%     -127.00             0.00      0.00%       68.00    Total Supplemental Pay                                         68.00   0.00%       390.00      0.02%     -322.00             0.00    0.00%         68.00
           451.28      0.21%       579.39    0.28%     -128.11           39.03       0.02%     412.25    Worker's Compensation                                       1,571.82    0.08%     2,757.29      0.16%   -1,185.47          244.13     0.02%     1,327.69
             0.00      0.00%         0.00    0.00%         0.00         512.00       0.23%    -512.00    Payroll Tax/Benefit Allocation                                  0.00    0.00%         0.00      0.00%        0.00        1,580.37     0.13%    -1,580.37
           457.98      0.21%       400.00    0.19%        57.98           0.00       0.00%     457.98    Group Insurance                                             3,984.37    0.21%     2,000.00      0.12%    1,984.37            0.00     0.00%     3,984.37
          909.26      0.42%       979.39    0.47%       -70.13         551.03       0.25%     358.23     Total Other Benefits                                       5,556.19    0.29%     4,757.29      0.28%      798.90        1,824.50     0.15%     3,731.69
        1,490.85      0.69%     1,867.33    0.90%     -376.48          622.88       0.28%     867.97     Total R&M PR Taxes and Benefits                            9,339.75    0.49%     9,274.08      0.55%        65.67       2,593.37     0.22%     6,746.38

        8,333.45      3.85%    10,041.23    4.86%    -1,707.78       6,201.95       2.83%    2,131.50    Total R&M Payroll                                         46,232.77    2.44%    49,152.13      2.92%    -2,919.36      31,232.87     2.59%    14,999.90

                                                                                                         Other Expenses
             0.00      0.00%     2,800.90    1.36%    -2,800.90           0.00       0.00%        0.00   Air Conditioning and Refrigeration                          1,794.39    0.09%     6,657.05      0.40%   -4,862.66        5,438.39     0.45%    -3,644.00
           232.16      0.11%       501.50    0.24%      -269.34       3,032.08       1.38%   -2,799.92   Building                                                    1,820.51    0.10%     2,761.75      0.16%     -941.24        8,570.73     0.71%    -6,750.22
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Contract Labor                                                  0.00    0.00%     3,000.00      0.18%   -3,000.00            0.00     0.00%         0.00
             0.00      0.00%       280.84    0.14%      -280.84           0.00       0.00%        0.00   Electric Bulbs                                                  0.00    0.00%     1,546.58      0.09%   -1,546.58          546.56     0.05%      -546.56
             0.00      0.00%       260.78    0.13%      -260.78           0.00       0.00%        0.00   Electrical and Mechanical                                       0.00    0.00%     1,436.11      0.09%   -1,436.11           55.61     0.00%       -55.61
         1,371.35      0.63%     1,200.00    0.58%       171.35       2,922.37       1.33%   -1,551.02   Elevator Maintenance Contracts                              4,244.10    0.22%     2,900.00      0.17%    1,344.10        4,796.43     0.40%      -552.33
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Equipment Rental                                                0.00    0.00%       400.00      0.02%     -400.00            0.00     0.00%         0.00
           240.90      0.11%        50.00    0.02%       190.90           0.00       0.00%      240.90   Fire Safety Equipment                                       4,564.78    0.24%       905.00      0.05%    3,659.78        6,196.39     0.51%    -1,631.61
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Floor and Carpet Maintenance                                  -33.11    0.00%         0.00      0.00%      -33.11            0.00     0.00%       -33.11
            58.84      0.03%         0.00    0.00%        58.84           0.00       0.00%       58.84   Furniture                                                   2,360.73    0.12%         0.00      0.00%    2,360.73            0.00     0.00%     2,360.73
           970.00      0.45%     1,000.00    0.48%       -30.00         975.00       0.44%       -5.00   Grounds and Landscaping                                     6,312.85    0.33%     5,600.00      0.33%      712.85        4,920.00     0.41%     1,392.85
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Kitchen Equipment Repairs                                      21.81    0.00%       500.00      0.03%     -478.19            0.00     0.00%        21.81
             0.00      0.00%       100.00    0.05%      -100.00           0.00       0.00%        0.00   Laundry Equipment Repairs                                     189.04    0.01%       500.00      0.03%     -310.96            0.00     0.00%       189.04
             0.00      0.00%         0.00    0.00%         0.00      -1,134.20      -0.52%    1,134.20   Locks and Keys                                                  0.00    0.00%         0.00      0.00%        0.00            5.98     0.00%        -5.98
           160.00      0.07%         0.00    0.00%       160.00          33.99       0.02%      126.01   Miscellaneous Expense                                         249.62    0.01%         0.00      0.00%      249.62           33.99     0.00%       215.63
             0.00      0.00%        50.00    0.02%       -50.00          52.05       0.02%      -52.05   Operating Supplies                                             36.36    0.00%       250.00      0.01%     -213.64           52.05     0.00%       -15.69
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Painting and Decorating                                         0.00    0.00%         0.00      0.00%        0.00           59.14     0.00%       -59.14
           240.19      0.11%       350.00    0.17%      -109.81           0.00       0.00%      240.19   Pest Control                                                1,810.29    0.10%     1,750.00      0.10%       60.29        1,464.22     0.12%       346.07
             0.00      0.00%       100.00    0.05%      -100.00          13.87       0.01%      -13.87   Plumbing and Heating                                        2,010.28    0.11%       500.00      0.03%    1,510.28           36.10     0.00%     1,974.18
           397.55      0.18%       425.00    0.21%       -27.45         275.00       0.13%      122.55   Pool Service- Contract                                      1,740.20    0.09%     2,125.00      0.13%     -384.80        1,375.00     0.11%       365.20
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%        0.00   Tools                                                          51.93    0.00%       750.00      0.04%     -698.07           13.47     0.00%        38.46
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Travel                                                          0.00    0.00%       500.00      0.03%     -500.00            0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%       -50.00           0.00       0.00%        0.00   Uniforms                                                        0.00    0.00%       250.00      0.01%     -250.00            0.00     0.00%         0.00
         1,700.00      0.78%       722.16    0.35%       977.84           0.00       0.00%    1,700.00   Waste Removal                                               9,716.02    0.51%     3,976.92      0.24%    5,739.10        2,268.35     0.19%     7,447.67
        5,370.99      2.48%     7,941.18    3.85%    -2,570.19       6,170.16       2.82%     -799.17    Total R&M Other Expenses                                  36,889.80    1.95%    36,308.41      2.16%      581.39       35,832.41     2.98%     1,057.39

       13,704.44      6.33%    17,982.41    8.71%    -4,277.97      12,372.11       5.64%    1,332.33    Total R&M Expenses                                        83,122.57    4.39%    85,460.54      5.09%    -2,337.97      67,065.28     5.57%    16,057.29




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                                                                                               Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %         Variance                                                                   YTD    %        YTD Budget %               Variance   YTD Last Year   %         Variance

                                                                                                       Utilities
         3,841.84      1.77%     4,413.20    2.14%    -571.36       2,355.59       1.07%    1,486.25   Water                                                      18,818.52    0.99%    24,303.40      1.45%     -5,484.88      19,528.06     1.62%     -709.54
         6,773.18      3.13%     6,880.58    3.33%    -107.40       5,824.17       2.66%      949.01   Electricity                                                31,271.41    1.65%    37,891.21      2.25%     -6,619.80      22,126.61     1.84%    9,144.80
         2,129.57      0.98%     1,805.40    0.87%     324.17           0.00       0.00%    2,129.57   Fuel - Other                                                9,377.45    0.49%     9,942.30      0.59%       -564.85           0.00     0.00%    9,377.45
             0.00      0.00%         0.00    0.00%       0.00         852.66       0.39%     -852.66   Propane Tanks/Fuel                                              0.00    0.00%         0.00      0.00%          0.00       8,743.86     0.73%   -8,743.86
             0.00      0.00%         0.00    0.00%       0.00       2,302.14       1.05%   -2,302.14   Sewer                                                           0.00    0.00%         0.00      0.00%          0.00       4,854.18     0.40%   -4,854.18
       12,744.59      5.88%    13,099.18    6.35%    -354.59      11,334.56       5.17%    1,410.03    Total Utilities                                           59,467.38    3.14%    72,136.91      4.29%    -12,669.53      55,252.71     4.59%    4,214.67




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                                                                                                   Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                                         As of 5/31/2022
             PTD      %        PTD Budget    %         Variance    PTD Last Year     %          Variance                                                                    YTD    %        YTD Budget %              Variance    YTD Last Year    %           Variance

                                                                                                            Fixed
           475.00      0.22%       475.00     0.23%         0.00       1,421.00       0.65%      -946.00    Personal Property Taxes                                     2,375.00    0.13%      2,375.00     0.14%          0.00       8,603.67      0.71%     -6,228.67
         5,833.00      2.69%     5,833.33     2.83%        -0.33       7,303.00       3.33%    -1,470.00    Real Estate Taxes                                          29,165.00    1.54%     29,166.65     1.74%         -1.65      36,515.00      3.03%     -7,350.00
        6,308.00      2.91%     6,308.33     3.06%        -0.33       8,724.00       3.98%    -2,416.00     Total Taxes                                               31,540.00    1.66%     31,541.65     1.88%         -1.65      45,118.67      3.75%    -13,578.67
           388.83      0.18%       388.83     0.19%         0.00           0.00       0.00%       388.83    Insurance                                                   1,944.15    0.10%      1,944.15     0.12%          0.00           0.00      0.00%      1,944.15
            40.25      0.02%        40.25     0.02%         0.00           0.00       0.00%         40.25   Insurance - Crime                                             201.25    0.01%        201.25     0.01%          0.00           0.00      0.00%        201.25
           460.67      0.21%       460.67     0.22%         0.00          56.00       0.03%       404.67    Insurance - Employment                                      2,303.35    0.12%      2,303.35     0.14%          0.00         280.00      0.02%      2,023.35
         1,938.83      0.89%     1,227.00     0.59%      711.83        1,000.71       0.46%       938.12    Insurance - General Liability                              11,476.90    0.61%      6,135.00     0.37%     5,341.90        5,003.55      0.42%      6,473.35
         3,231.76      1.49%     3,082.08     1.49%      149.68        3,082.00       1.41%       149.76    Insurance - Property                                       20,265.80    1.07%     15,410.40     0.92%     4,855.40       15,410.00      1.28%      4,855.80
            53.92      0.02%     1,907.50     0.92%   -1,853.58        1,853.00       0.85%    -1,799.08    Insurance - Umbrella                                          269.60    0.01%     15,299.17     0.91%   -15,029.57        9,265.00      0.77%     -8,995.40
        6,114.26      2.82%     7,106.33     3.44%     -992.07        5,991.71       2.73%       122.55     Total Insurance                                           36,461.05    1.92%     41,293.32     2.46%    -4,832.27       29,958.55      2.49%      6,502.50
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00   POA Dues                                                    5,001.62    0.26%      5,310.00     0.32%      -308.38            0.00      0.00%      5,001.62
        27,580.00     12.73%    27,580.00    13.36%         0.00      26,842.00      12.25%       738.00    Ground Lease Expense                                      137,900.00    7.28%    137,900.00     8.21%          0.00     134,210.00     11.14%      3,690.00
       27,580.00     12.73%    27,580.00    13.36%          0.00     26,842.00      12.25%       738.00     Total Leases & Rent                                      142,901.62    7.54%    143,210.00     8.52%      -308.38      134,210.00     11.14%      8,691.62
         6,999.42      3.23%     6,193.10     3.00%      806.32        7,075.42       3.23%        -76.00   Management Fee - Base                                      59,364.59    3.13%     50,418.01     3.00%     8,946.58       37,090.45      3.08%     22,274.14
        6,999.42      3.23%     6,193.10     3.00%      806.32        7,075.42       3.23%        -76.00    Total Management Fees                                     59,364.59    3.13%     50,418.01     3.00%     8,946.58       37,090.45      3.08%     22,274.14
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00   Capital Reserve                                             3,987.00    0.21%          0.00     0.00%     3,987.00            0.00      0.00%      3,987.00
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00   Owner's Expense                                                 0.00    0.00%          0.00     0.00%          0.00         949.17      0.08%       -949.17
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   Total Other Non-Operating                                  3,987.00    0.21%           0.00    0.00%     3,987.00          949.17      0.08%      3,037.83




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                                                                                         Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 602 of 776
                                                                                                    Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                                           P&L - Dual Summary Pages
                                                                                                                                As of 5/31/2022
              PTD     %           PTD Budget      %           Variance   PTD Last Year     %            Variance                                                               YTD      %          YTD Budget %                Variance   YTD Last Year     %           Variance

                                                                                                                   Statistics
           203.00                      203.00                    0.00          203.00                       0.00   # Rooms                                                  203.00                     203.00                      0.00         203.00                     0.00
         6,293.00                    6,293.00                    0.00        6,293.00                       0.00   Available Rooms                                       30,653.00                  30,653.00                      0.00      30,653.00                     0.00
         4,263.00                    4,040.00                  223.00        1,663.00                   2,600.00   Room Nights Sold                                      15,419.00                  15,371.00                     48.00      14,654.00                   765.00
          67.74%                      64.20%                   3.54%          26.43%                     41.32%    Occupancy %                                             50.30%                     50.15%                     0.16%         47.81%                    2.50%
           139.30                      120.43                   18.87           82.10                      57.20   ADR                                                      116.32                     112.46                      3.86          83.35                    32.98
            94.37                       77.31                   17.05           21.70                      72.67   RevPar                                                    58.51                      56.39                      2.12          39.84                    18.67

                                                                                                                   Summary V.11
                                                                                                                   Revenue
       593,848.03    87.89%        486,531.55    79.46%    107,316.48      136,531.70     71.55%      457,316.33   Rooms                                               1,793,570.51    86.51%     1,728,656.30    78.05%      64,914.21    1,221,338.88    88.62%    572,231.63
        30,420.49     4.50%         71,850.14    11.73%    -41,429.65        3,886.88      2.04%       26,533.61   F&B                                                    63,994.18     3.09%       264,208.39    11.93%    -200,214.21        9,036.20     0.66%     54,957.98
        51,381.26     7.60%         53,931.50     8.81%     -2,550.24       50,388.58     26.41%          992.68   Other Departments                                     215,597.64    10.40%       221,990.00    10.02%      -6,392.36      147,764.50    10.72%     67,833.14

      675,649.78    100.00%       612,313.19    100.00%     63,336.59     190,807.16     100.00%     484,842.62    Total Operating Revenue                            2,073,162.33    100.00%    2,214,854.69 100.00%      -141,692.36    1,378,139.58 100.00%      695,022.75

                                                                                                                   Departmental Expenses
       139,710.63    23.53%        117,318.35    24.11%      22,392.28      58,458.50     42.82%       81,252.13   Rooms                                                564,289.16     31.46%      531,538.25     30.75%      32,750.91     267,220.33     21.88%    297,068.83
        44,785.99   147.22%         55,746.52    77.59%     -10,960.53       2,191.20     56.37%       42,594.79   F&B                                                  149,110.25    233.01%      244,668.61     92.60%     -95,558.36       3,515.05     38.90%    145,595.20
         2,593.68     5.05%          3,920.88     7.27%      -1,327.20         552.31      1.10%        2,041.37   Other Departments                                     11,630.68      5.39%       15,977.51      7.20%      -4,346.83       1,871.19      1.27%      9,759.49

      187,090.30     27.69%       176,985.75    28.90%      10,104.55      61,202.01      32.08%     125,888.29    Total Departmental Expenses                         725,030.09     34.97%      792,184.37     35.77%     -67,154.28     272,606.57     19.78%    452,423.52

      488,559.48     72.31%       435,327.44    71.10%      53,232.04     129,605.15      67.92%     358,954.33    Total Departmental Profit                          1,348,132.24    65.03%     1,422,670.32    64.23%     -74,538.08    1,105,533.01    80.22%    242,599.23

                                                                                                                   Undistributed Operating Expenses
        40,523.48         6.00%     40,294.53     6.58%         228.95      25,936.98     13.59%       14,586.50   A&G                                                  161,263.10      7.78%      190,241.24      8.59%     -28,978.14     118,288.68      8.58%      42,974.42
         7,885.01         1.17%      6,644.07     1.09%       1,240.94      12,184.41      6.39%       -4,299.40   IT                                                    37,859.21      1.83%       27,140.35      1.23%      10,718.86      67,534.36      4.90%     -29,675.15
        15,190.80         2.25%     34,481.28     5.63%     -19,290.48      12,457.30      6.53%        2,733.50   S&M                                                   96,739.02      4.67%      175,544.93      7.93%     -78,805.91      95,755.27      6.95%         983.75
        63,568.84         9.41%     52,220.48     8.53%      11,348.36      12,436.07      6.52%       51,132.77   Franchise Fees                                       199,425.76      9.62%      194,222.34      8.77%       5,203.42     108,846.99      7.90%      90,578.77
        28,782.62         4.26%     39,538.72     6.46%     -10,756.10      38,757.00     20.31%       -9,974.38   R&M                                                  146,919.42      7.09%      209,237.40      9.45%     -62,317.98     191,451.34     13.89%     -44,531.92
        27,075.99         4.01%     38,361.40     6.26%     -11,285.41      27,408.93     14.36%         -332.94   Utilities                                            133,894.77      6.46%      152,844.00      6.90%     -18,949.23     126,310.95      9.17%       7,583.82

      183,026.74     27.09%       211,540.48    34.55%     -28,513.74     129,180.69      67.70%      53,846.05    Total Undistributed Expenses                        776,101.28     37.44%      949,230.26     42.86%    -173,128.98     708,187.59     51.39%      67,913.69

      305,532.74     45.22%       223,786.96    36.55%      81,745.78         424.46       0.22%     305,108.28    Gross Operating Profit                              572,030.96     27.59%      473,440.06     21.38%     98,590.90      397,345.42     28.83%    174,685.54
        20,769.49      3.07%        18,369.39     3.00%       2,400.10       5,724.22       3.00%      15,045.27   Management Fees                                       64,694.86      3.12%       66,445.63      3.00%     -1,750.77       41,344.19      3.00%     23,350.67
      284,763.25     42.15%       205,417.57    33.55%      79,345.68      -5,299.76      -2.78%     290,063.01    Income Before Non-Operating Income and Expenses     507,336.10     24.47%      406,994.43     18.38%    100,341.67      356,001.23     25.83%    151,334.87

                                                                                                                   Non-Operating Income and Expenses
        -5,836.92     -0.86%         9,761.24     1.59%     -15,598.16      16,177.48       8.48%     -22,014.40   Insurance                                              52,554.44      2.53%      48,806.20      2.20%       3,748.24      81,049.52      5.88%     -28,495.08
        50,201.00      7.43%        50,200.90     8.20%           0.10      47,411.18      24.85%       2,789.82   Leases & Rent                                         251,005.00     12.11%     251,004.50     11.33%           0.50     237,055.90     17.20%      13,949.10
      -240,116.88    -35.54%             0.00     0.00%    -240,116.88         300.00       0.16%    -240,416.88   Other                                                -230,985.88    -11.14%      67,000.00      3.03%    -297,985.88       3,184.65      0.23%    -234,170.53
     -195,752.80    -28.97%        59,962.14     9.79%    -255,714.94      63,888.66      33.48%    -259,641.46    Total Non-Operating Income and Expenses               72,573.56      3.50%     366,810.70     16.56%    -294,237.14     321,290.07     23.31%    -248,716.51

      480,516.05     71.12%       145,455.43    23.76%    335,060.62      -69,188.42     -36.26%     549,704.47    EBITDA                                              434,762.54     20.97%       40,183.73      1.81%    394,578.81       34,711.16      2.52%     400,051.38
             0.00      0.00%             0.00     0.00%          0.00       69,649.17      36.50%     -69,649.17   Interest                                                   0.00      0.00%            0.00      0.00%          0.00      348,245.85     25.27%    -348,245.85
        14,208.98      2.10%        15,000.00     2.45%       -791.02       20,822.00      10.91%      -6,613.02   Taxes                                                 74,208.98      3.58%       75,000.00      3.39%       -791.02      104,110.00      7.55%     -29,901.02
       14,208.98      2.10%        15,000.00     2.45%       -791.02       90,471.17      47.41%     -76,262.19    Interest, Taxes, Depreciation and Amortization       74,208.98      3.58%       75,000.00      3.39%       -791.02      452,355.85     32.82%    -378,146.87

      466,307.07     69.02%       130,455.43    21.31%    335,851.64     -159,659.59     -83.68%     625,966.66    Net Income                                          360,553.56     17.39%       -34,816.27     -1.57%   395,369.83     -417,644.69     -30.30%   778,198.25




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                                                                                             Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
              PTD     %       PTD Budget    %          Variance   PTD Last Year     %            Variance                                                               YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                            Statistics
           203.00                 203.00                  0.00          203.00                       0.00   # Rooms                                                  203.00                   203.00                    0.00          203.00                   0.00
         6,293.00               6,293.00                  0.00        6,293.00                       0.00   Available Rooms                                       30,653.00                30,653.00                    0.00       30,653.00                   0.00
         4,263.00               4,040.00                223.00        1,663.00                   2,600.00   Room Nights Sold                                      15,419.00                15,371.00                   48.00       14,654.00                 765.00
             0.68                   0.64                  0.04            0.26                       0.41   Occupancy %                                                0.50                     0.50                    0.00            0.48                   0.02
           139.30                 120.43                 18.87           82.10                      57.20   ADR                                                      116.32                   112.46                    3.86           83.35                  32.98
            94.37                  77.31                 17.05           21.70                      72.67   RevPar                                                    58.51                    56.39                    2.12           39.84                  18.67

                                                                                                            Summary
                                                                                                            Revenue:
       593,848.03    87.89%   486,531.55   79.46%    107,316.48     136,531.70     71.55%      457,316.33   Rooms                                               1,793,570.51   86.51%    1,728,656.30    78.05%     64,914.21   1,221,338.88    88.62%    572,231.63
        19,364.82     2.87%    43,652.46    7.13%    -24,287.64       3,413.52      1.79%       15,951.30   Food                                                   50,075.25    2.42%      159,157.61     7.19%   -109,082.36       6,485.22     0.47%     43,590.03
         4,911.37     0.73%    19,697.68    3.22%    -14,786.31          88.00      0.05%        4,823.37   Beverage                                                7,274.63    0.35%       77,600.78     3.50%    -70,326.15         552.86     0.04%      6,721.77
         6,144.30     0.91%     8,500.00    1.39%     -2,355.70         385.36      0.20%        5,758.94   Other F&B Revenue                                       6,644.30    0.32%       27,450.00     1.24%    -20,805.70       1,998.12     0.14%      4,646.18
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Telephone                                                   0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
        51,381.26     7.60%    53,931.50    8.81%     -2,550.24      50,388.58     26.41%          992.68   Other                                                 215,597.64   10.40%      221,990.00    10.02%     -6,392.36     147,764.50    10.72%     67,833.14

       675,649.78   100.00%   612,313.19   100.00%    63,336.59     190,807.16     100.00%     484,842.62   Total Revenue                                       2,073,162.33   100.00%   2,214,854.69   100.00%   -141,692.36   1,378,139.58    100.00%   695,022.75



                                                                                                            Cost of Sales:
        11,327.04    58.49%    14,841.84   34.00%     -3,514.80       1,429.65     41.88%        9,897.39   Food                                                  40,082.99    80.05%      54,113.59     34.00%    -14,030.60       2,388.65    36.83%     37,694.34
         1,702.75    34.67%     4,727.44   24.00%     -3,024.69           0.00      0.00%        1,702.75   Beverage                                               3,029.82    41.65%      18,624.18     24.00%    -15,594.36         156.82    28.37%      2,873.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other F&B                                                  0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Telephone                                                  0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         2,593.68     5.05%     3,920.88    7.27%     -1,327.20         552.31      1.10%        2,041.37   Other                                                 11,630.68     5.39%      15,977.51      7.20%     -4,346.83       1,871.19     1.27%      9,759.49

        15,623.47    30.41%    23,490.16   43.56%     -7,866.69       1,981.96      3.93%       13,641.51   Total Cost of Sales                                   54,743.49    25.39%      88,715.28     39.96%    -33,971.79       4,416.66     2.99%     50,326.83



                                                                                                            Payroll:
        65,882.21    11.09%    73,029.60   15.01%     -7,147.39      37,350.39     27.36%       28,531.82   Rooms                                                253,503.16     14.13%    331,396.62     19.17%    -77,893.46     173,290.12    14.19%     80,213.04
        22,325.43    73.39%    28,012.38   38.99%     -5,686.95         356.49      9.17%       21,968.94   F&B                                                   77,232.09    120.69%    129,726.80     49.10%    -52,494.71         443.79     4.91%     76,788.30
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other                                                      0.00      0.00%          0.00      0.00%          0.00           0.00     0.00%          0.00
         9,368.18     1.39%     8,989.90    1.47%        378.28       8,803.24      4.61%          564.94   A&G                                                   45,631.78      2.20%     44,011.97      1.99%      1,619.81      46,217.00     3.35%       -585.22
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   IT                                                         0.00      0.00%          0.00      0.00%          0.00           0.00     0.00%          0.00
        10,390.16     1.54%    17,096.16    2.79%     -6,706.00       4,131.07      2.17%        6,259.09   S&M                                                   66,097.41      3.19%     83,588.31      3.77%    -17,490.90      44,990.14     3.26%     21,107.27
        12,743.50     1.89%    15,466.11    2.53%     -2,722.61       8,832.82      4.63%        3,910.68   R&M                                                   60,587.71      2.92%     75,496.71      3.41%    -14,909.00      43,756.36     3.18%     16,831.35
       120,709.48    17.87%   142,594.15   23.29%    -21,884.67      59,474.01     31.17%       61,235.47   Total Salaries and Wages                             503,052.15     24.26%    664,220.41     29.99%   -161,168.26     308,697.41    22.40%    194,354.74

        23,430.66     3.47%    30,078.60    4.91%     -6,647.94      15,081.48      7.90%        8,349.18   Total Taxes and Benefits                             110,888.79     5.35%     171,545.57      7.75%    -60,656.78      76,407.95     5.54%     34,480.84
       144,140.14    21.33%   172,672.75   28.20%    -28,532.61      74,555.49     39.07%       69,584.65   Total Labor Costs                                    613,940.94    29.61%     835,765.98     37.73%   -221,825.04     385,105.36    27.94%    228,835.58



                                                                                                            Direct Expenses:
        61,012.07    10.27%    30,897.22    6.35%     30,114.85      13,866.45     10.16%       47,145.62   Rooms                                                254,974.32    14.22%     129,597.62     7.50%    125,376.70       61,200.99     5.01%    193,773.33
         4,171.05    13.71%     1,050.00    1.46%      3,121.05         343.44      8.84%        3,827.61   F&B                                                    8,176.27    12.78%       3,750.00     1.42%      4,426.27          432.88     4.79%      7,743.39
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Telephone                                                  0.00     0.00%           0.00     0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other                                                      0.00     0.00%           0.00     0.00%          0.00            0.00     0.00%          0.00
        63,568.84     9.41%    52,220.48    8.53%     11,348.36      12,436.07      6.52%       51,132.77   Franchise Fees                                       199,425.76     9.62%     194,222.34     8.77%      5,203.42      108,846.99     7.90%     90,578.77
        29,643.00     4.39%    28,669.49    4.68%        973.51      13,820.09      7.24%       15,822.91   A&G                                                  105,880.59     5.11%     128,789.96     5.81%    -22,909.37       55,278.21     4.01%     50,602.38
         7,885.01     1.17%     6,644.07    1.09%      1,240.94      12,184.41      6.39%       -4,299.40   IT                                                    37,859.21     1.83%      27,140.35     1.23%     10,718.86       67,534.36     4.90%    -29,675.15
         3,062.00     0.45%    13,414.09    2.19%    -10,352.09       6,112.09      3.20%       -3,050.09   S&M                                                   17,554.84     0.85%      65,339.45     2.95%    -47,784.61       34,574.91     2.51%    -17,020.07
        13,935.47     2.06%    21,106.57    3.45%     -7,171.10      27,673.77     14.50%      -13,738.30   R&M                                                   74,681.18     3.60%     115,249.65     5.20%    -40,568.47      137,092.85     9.95%    -62,411.67
        27,075.99     4.01%    38,361.40    6.26%    -11,285.41      27,408.93     14.36%         -332.94   Utilities                                            133,894.77     6.46%     152,844.00     6.90%    -18,949.23      126,310.95     9.17%      7,583.82

       210,353.43    31.13%   192,363.32   31.42%     17,990.11     113,845.25     59.67%       96,508.18   Total Direct Expense                                 832,446.94    40.15%     816,933.37     36.88%    15,513.57      591,272.14    42.90%    241,174.80

       305,532.74    45.22%   223,786.96   36.55%     81,745.78         424.46      0.22%      305,108.28   Gross Operating Profit                               572,030.96    27.59%     473,440.06     21.38%    98,590.90      397,345.42    28.83%    174,685.54

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                                                                                                 Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                                        P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD     %           PTD Budget   %           Variance   PTD Last Year     %            Variance                                                               YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance




                                                                                                                Fixed Costs
        14,208.98      2.10%       15,000.00   2.45%        -791.02      20,822.00     10.91%       -6,613.02   Taxes                                                 74,208.98     3.58%     75,000.00      3.39%       -791.02     104,110.00     7.55%     -29,901.02
        -5,836.92     -0.86%        9,761.24   1.59%     -15,598.16      16,177.48      8.48%      -22,014.40   Insurance                                             52,554.44     2.53%     48,806.20      2.20%      3,748.24      81,049.52     5.88%     -28,495.08
        50,201.00      7.43%       50,200.90   8.20%           0.10      47,411.18     24.85%        2,789.82   Leases & Rent                                        251,005.00    12.11%    251,004.50     11.33%          0.50     237,055.90    17.20%      13,949.10
        20,769.49      3.07%       18,369.39   3.00%       2,400.10       5,724.22      3.00%       15,045.27   Management Fees                                       64,694.86     3.12%     66,445.63      3.00%     -1,750.77      41,344.19     3.00%      23,350.67

        79,342.55    11.74%        93,331.53   15.24%    -13,988.98      90,134.88     47.24%      -10,792.33   Total Fixed Expenses                                 442,463.28    21.34%    441,256.33     19.92%      1,206.95     463,559.61    33.64%     -21,096.33

       226,190.19    33.48%       130,455.43   21.31%    95,734.76      -89,710.42     -47.02%     315,900.61   Net Operating Profit                                 129,567.68     6.25%     32,183.73     1.45%     97,383.95      -66,214.19     -4.80%   195,781.87



             0.00      0.00%            0.00   0.00%           0.00      54,149.17     28.38%      -54,149.17   Interest - First Mortgage                                   0.00     0.00%         0.00     0.00%           0.00     270,745.85    19.65%    -270,745.85
             0.00      0.00%            0.00   0.00%           0.00      15,500.00      8.12%      -15,500.00   Interest - Notes Payable                                    0.00     0.00%         0.00     0.00%           0.00      77,500.00     5.62%     -77,500.00
      -244,578.48    -36.20%            0.00   0.00%    -244,578.48           0.00      0.00%     -244,578.48   Extraordinary Expense                                -244,578.48   -11.80%         0.00     0.00%    -244,578.48           0.00     0.00%    -244,578.48
             0.00      0.00%            0.00   0.00%           0.00         300.00      0.16%         -300.00   Prior Owner's Expense                                       0.00     0.00%         0.00     0.00%           0.00       3,184.65     0.23%      -3,184.65



       470,768.67    69.68%       130,455.43   21.31%   340,313.24     -159,659.59     -83.68%     630,428.26   Net Operating Income                                 374,146.16    18.05%     32,183.73     1.45%    341,962.43     -417,644.69    -30.30%   791,790.85

         4,461.60         0.66%         0.00   0.00%       4,461.60           0.00      0.00%        4,461.60   Capital Reserve                                       13,592.60     0.66%     67,000.00     3.03%     -53,407.40           0.00     0.00%     13,592.60

       466,307.07    69.02%       130,455.43   21.31%   335,851.64     -159,659.59     -83.68%     625,966.66   Adjusted NOI                                         360,553.56    17.39%    -34,816.27     -1.57%   395,369.83     -417,644.69    -30.30%   778,198.25




       466,307.07    69.02%       130,455.43   21.31%   335,851.64     -159,659.59     -83.68%     625,966.66   Net Profit/(Loss)                                    360,553.56    17.39%    -34,816.27     -1.57%   395,369.83     -417,644.69    -30.30%   778,198.25




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                                                                                                   Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                                          P&L - Dual Summary Pages
                                                                                                                               As of 5/31/2022
              PTD     %           PTD Budget      %          Variance   PTD Last Year     %            Variance                                                              YTD     %          YTD Budget %                Variance   YTD Last Year    %           Variance

                                                                                                                  Rooms
                                                                                                                  Room Revenue
                                                                                                                  Transient Room Revenue
             0.00     0.00%             0.00      0.00%          0.00      14,916.00     10.92%      -14,916.00   Corporate Transient                                   75,999.10     4.24%           0.00      0.00%     75,999.10       14,916.00     1.22%     61,083.10
        23,932.80     4.03%         3,564.00      0.73%     20,368.80       2,987.30      2.19%       20,945.50   Advanced Purchase                                     90,292.40     5.03%      73,414.00      4.25%     16,878.40        7,399.45     0.61%     82,892.95
         3,260.00     0.55%         3,877.78      0.80%       -617.78       3,877.75      2.84%         -617.75   Qualified Discounts                                   36,335.48     2.03%      82,439.78      4.77%    -46,104.30       11,941.53     0.98%     24,393.95
             0.00     0.00%             0.00      0.00%          0.00           0.00      0.00%            0.00   FIT(Flexible Independent Travel)                         356.00     0.02%           0.00      0.00%        356.00          139.30     0.01%        216.70
             0.00     0.00%             0.00      0.00%          0.00           0.00      0.00%            0.00   Consortia Transient                                    2,014.30     0.11%           0.00      0.00%      2,014.30            0.00     0.00%      2,014.30
        18,694.15     3.15%         7,623.05      1.57%     11,071.10       7,623.00      5.58%       11,071.15   Employee                                              42,117.01     2.35%      34,698.05      2.01%      7,418.96       19,122.00     1.57%     22,995.01
           143.65     0.02%         5,509.97      1.13%     -5,366.32       5,510.00      4.04%       -5,366.35   Travel Agent/Friends & Family                         12,028.25     0.67%       5,509.97      0.32%      6,518.28        6,752.00     0.55%      5,276.25
        11,787.00     1.98%         7,041.71      1.45%      4,745.29       7,041.60      5.16%        4,745.40   Leisure Package Transient                             26,408.40     1.47%      40,990.96      2.37%    -14,582.56       29,075.41     2.38%     -2,667.01
         1,279.00     0.22%         1,715.04      0.35%       -436.04       1,715.00      1.26%         -436.00   Member Reward Stay                                     7,808.00     0.44%      20,090.04      1.16%    -12,282.04        6,029.40     0.49%      1,778.60
       119,378.37    20.10%        39,600.00      8.14%     79,778.37      30,936.14     22.66%       88,442.23   Internet/E-Commerce                                  285,901.71    15.94%     219,568.00     12.70%     66,333.71       70,320.37     5.76%    215,581.34
        13,133.05     2.21%         5,500.00      1.13%      7,633.05           0.00      0.00%       13,133.05   E-Commerce Opaque                                     53,057.27     2.96%      28,575.00      1.65%     24,482.27        8,519.25     0.70%     44,538.02
        22,511.00     3.79%        52,000.00     10.69%    -29,489.00      15,718.61     11.51%        6,792.39   Government Transient                                  53,754.69     3.00%     158,327.50      9.16%   -104,572.81       32,310.86     2.65%     21,443.83
       143,922.47    24.24%       196,075.00     40.30%    -52,152.53      39,298.31     28.78%      104,624.16   Rack Transient                                       449,518.79    25.06%     682,545.00     39.48%   -233,026.21       93,399.50     7.65%    356,119.29
        22,242.71     3.75%        12,900.00      2.65%      9,342.71       3,466.41      2.54%       18,776.30   Local Negotiated Transient                            63,180.05     3.52%      97,547.00      5.64%    -34,366.95       16,568.76     1.36%     46,611.29

      380,284.20     64.04%       335,406.55    68.94%     44,877.65     133,090.12      97.48%     247,194.08    Total Transient Room Revenue                       1,198,771.45   66.84%    1,443,705.30   83.52%     -244,933.85     316,493.83     25.91%   882,277.62

                                                                                                                  Group Room Revenue
             0.00     0.00%             0.00      0.00%          0.00           0.00      0.00%            0.00   Corporate Group                                       11,996.00     0.67%       4,450.00     0.26%       7,546.00            0.00     0.00%     11,996.00
             0.00     0.00%             0.00      0.00%          0.00           0.00      0.00%            0.00   Government Group                                           0.00     0.00%       5,743.00     0.33%      -5,743.00      884,726.00    72.44%   -884,726.00
             0.00     0.00%        43,665.00      8.97%    -43,665.00           0.00      0.00%            0.00   Tour & Travel Group                                        0.00     0.00%     156,800.00     9.07%    -156,800.00       14,875.00     1.22%    -14,875.00
             0.00     0.00%       107,460.00     22.09%   -107,460.00           0.00      0.00%            0.00   Association Group                                          0.00     0.00%     107,460.00     6.22%    -107,460.00            0.00     0.00%          0.00
       213,598.00    35.97%             0.00      0.00%    213,598.00       1,173.00      0.86%      212,425.00   SMERF Group                                          575,540.69    32.09%       1,780.00     0.10%     573,760.69        1,173.00     0.10%    574,367.69
             0.00     0.00%             0.00      0.00%          0.00           0.00      0.00%            0.00   Sports Group                                               0.00     0.00%       8,718.00     0.50%      -8,718.00           74.00     0.01%        -74.00

      213,598.00     35.97%       151,125.00    31.06%     62,473.00       1,173.00       0.86%     212,425.00    Total Group Room Revenue                            587,536.69    32.76%     284,951.00    16.48%     302,585.69      900,848.00     73.76%   -313,311.31

                                                                                                                  Contract Room Revenue
             0.00         0.00%          0.00     0.00%          0.00         750.00      0.55%         -750.00   Other Contract                                             0.00     0.00%           0.00     0.00%           0.00        4,395.75     0.36%      -4,395.75

             0.00     0.00%             0.00     0.00%          0.00         750.00       0.55%        -750.00    Total Contract Room Revenue                                0.00    0.00%            0.00     0.00%           0.00       4,395.75     0.36%      -4,395.75

                                                                                                                  Other Room Revenue
         2,931.53         0.49%          0.00     0.00%      2,931.53           0.00      0.00%        2,931.53   No-Show Rooms                                         11,138.44     0.62%           0.00     0.00%      11,138.44            0.00     0.00%     11,138.44
           250.00         0.04%          0.00     0.00%        250.00       2,277.00      1.67%       -2,027.00   Early/Late Departure Fees                                250.00     0.01%           0.00     0.00%         250.00        4,091.00     0.33%     -3,841.00
           268.85         0.05%          0.00     0.00%        268.85          18.85      0.01%          250.00   Pet/Smoking/Damage Fees                                  718.85     0.04%           0.00     0.00%         718.85           68.85     0.01%        650.00

        3,450.38      0.58%             0.00     0.00%      3,450.38       2,295.85       1.68%       1,154.53    Total Other Room Revenue                             12,107.29     0.68%            0.00     0.00%     12,107.29        4,159.85     0.34%       7,947.44

        -3,484.55     -0.59%             0.00     0.00%     -3,484.55        -777.27      -0.57%      -2,707.28   Less: Allowances                                      -4,844.92    -0.27%           0.00     0.00%       -4,844.92      -4,558.55    -0.37%       -286.37

      593,848.03    100.00%       486,531.55    100.00%   107,316.48     136,531.70     100.00%     457,316.33    Total Room Revenue                                 1,793,570.51   100.00%   1,728,656.30 100.00%       64,914.21     1,221,338.88 100.00%     572,231.63

                                                                                                                  Expenses
                                                                                                                  Payroll Expense
                                                                                                                  Salaries and Wages
         5,109.89      0.86%         4,903.58     1.01%       206.31            0.00       0.00%       5,109.89   Front Office Management                               24,890.07     1.39%      24,006.53      1.39%         883.54           0.00     0.00%     24,890.07
             0.00      0.00%           980.72     0.20%      -980.72            0.00       0.00%           0.00   Revenue Management                                         0.00     0.00%       4,801.32      0.28%      -4,801.32           0.00     0.00%          0.00
         5,535.71      0.93%         5,312.22     1.09%       223.49        3,757.44       2.75%       1,778.27   Housekeeping Management                               26,964.28     1.50%      26,007.09      1.50%         957.19      19,973.76     1.64%      6,990.52
       10,645.60      1.79%        11,196.52     2.30%      -550.92        3,757.44       2.75%       6,888.16    Total Rooms Management                               51,854.35     2.89%      54,814.94      3.17%      -2,960.59      19,973.76     1.64%     31,880.59
        15,560.79      2.62%         5,420.57     1.11%    10,140.22        9,586.59       7.02%       5,974.20   Front Office Agents                                   91,098.94     5.08%      26,403.42      1.53%      64,695.52      40,515.26     3.32%     50,583.68
         2,205.92      0.37%             0.00     0.00%     2,205.92            0.00       0.00%       2,205.92   Front Office Agents Overtime                           2,205.92     0.12%           0.00      0.00%       2,205.92           0.00     0.00%      2,205.92
             0.00      0.00%         4,428.57     0.91%    -4,428.57        2,196.75       1.61%      -2,196.75   Front Office Supervisors                                   0.00     0.00%      21,571.42      1.25%     -21,571.42       9,581.10     0.78%     -9,581.10
         2,945.12      0.50%         4,960.00     1.02%    -2,014.88        4,579.09       3.35%      -1,633.97   Night Auditors                                         8,385.27     0.47%      24,160.00      1.40%     -15,774.73      22,197.59     1.82%    -13,812.32
           772.82      0.13%             0.00     0.00%       772.82            0.00       0.00%         772.82   Night Auditors Overtime                                  772.82     0.04%           0.00      0.00%         772.82           0.00     0.00%        772.82
         9,600.40      1.62%         4,216.00     0.87%     5,384.40            0.00       0.00%       9,600.40   Drivers                                               26,991.96     1.50%      20,536.00      1.19%       6,455.96           0.00     0.00%     26,991.96
         2,104.46      0.35%             0.00     0.00%     2,104.46            0.00       0.00%       2,104.46   Drivers Overtime                                       2,104.46     0.12%           0.00      0.00%       2,104.46           0.00     0.00%      2,104.46
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                                                                                               Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget     %          Variance   PTD Last Year     %            Variance                                                              YTD     %         YTD Budget %                Variance   YTD Last Year    %          Variance

       33,189.51      5.59%     19,025.14    3.91%     14,164.37      16,362.43      11.98%      16,827.08    Total Rooms Front Office                            131,559.37    7.34%      92,670.84     5.36%       38,888.53      72,293.95     5.92%     59,265.42
         4,777.14      0.80%      3,365.71    0.69%      1,411.43       2,953.50       2.16%       1,823.64   Housekeeping Supervisors                               4,777.14    0.27%      16,394.27     0.95%      -11,617.13      12,893.80     1.06%     -8,116.66
         1,793.25      0.30%          0.00    0.00%      1,793.25           0.00       0.00%       1,793.25   Housekeeping Supervisors Overtime                      1,793.25    0.10%           0.00     0.00%        1,793.25           0.00     0.00%      1,793.25
        13,019.78      2.19%     27,750.80    5.70%    -14,731.02      11,326.82       8.30%       1,692.96   Room Attendants                                       61,062.12    3.40%     110,568.00     6.40%      -49,505.88      53,861.79     4.41%      7,200.33
         2,456.93      0.41%          0.00    0.00%      2,456.93           0.00       0.00%       2,456.93   Room Attendants Overtime                               2,456.93    0.14%           0.00     0.00%        2,456.93           0.00     0.00%      2,456.93
             0.00      0.00%      5,668.57    1.17%     -5,668.57       2,950.20       2.16%      -2,950.20   Housepersons                                               0.00    0.00%      27,611.42     1.60%      -27,611.42      14,266.82     1.17%    -14,266.82
             0.00      0.00%      6,022.86    1.24%     -6,022.86           0.00       0.00%           0.00   Laundry Attendants                                         0.00    0.00%      29,337.15     1.70%      -29,337.15           0.00     0.00%          0.00
       22,047.10      3.71%     42,807.94    8.80%    -20,760.84      17,230.52      12.62%       4,816.58    Total Rooms Housekeeping                             70,089.44    3.91%     183,910.84    10.64%     -113,821.40      81,022.41     6.63%    -10,932.97

       65,882.21     11.09%     73,029.60    15.01%    -7,147.39      37,350.39      27.36%      28,531.82    Total Rooms Salary and Wages                        253,503.16    14.13%    331,396.62    19.17%      -77,893.46     173,290.12     14.19%    80,213.04

                                                                                                              PR Taxes and Benefits
         4,913.12      0.83%      5,644.01    1.16%       -730.89       1,534.49       1.12%       3,378.63   FICA                                                  19,099.88    1.06%      25,711.35      1.49%      -6,611.47       6,948.98     0.57%     12,150.90
           123.02      0.02%         66.40    0.01%         56.62           0.96       0.00%         122.06   Federal Unemployment Tax                                 643.42    0.04%         870.69      0.05%        -227.27         315.14     0.03%        328.28
           538.80      0.09%        398.40    0.08%        140.40         101.46       0.07%         437.34   State Unemployment Tax                                 3,148.41    0.18%       7,486.90      0.43%      -4,338.49       1,422.05     0.12%      1,726.36
        5,574.94      0.94%      6,108.81    1.26%       -533.87       1,636.91       1.20%       3,938.03    Total Payroll Taxes                                  22,891.71    1.28%      34,068.94      1.97%     -11,177.23       8,686.17     0.71%     14,205.54
             0.00      0.00%        300.00    0.06%       -300.00       1,030.08       0.75%      -1,030.08   Holiday                                                    0.00    0.00%         600.00      0.03%        -600.00       2,031.71     0.17%     -2,031.71
             0.00      0.00%        439.10    0.09%       -439.10         606.52       0.44%        -606.52   Vacation                                                   0.00    0.00%       1,861.78      0.11%      -1,861.78       2,980.31     0.24%     -2,980.31
           200.00      0.03%          0.00    0.00%        200.00           0.00       0.00%         200.00   Sick Pay                                                 200.00    0.01%           0.00      0.00%         200.00           0.00     0.00%        200.00
          200.00      0.03%        739.10    0.15%       -539.10       1,636.60       1.20%      -1,436.60    Total Supplemental Pay                                  200.00    0.01%       2,461.78      0.14%      -2,261.78       5,012.02     0.41%     -4,812.02
         5,334.83      0.90%      4,793.62    0.99%        541.21       1,675.76       1.23%       3,659.07   Worker's Compensation                                 25,097.27    1.40%      23,063.29      1.33%       2,033.98       7,703.60     0.63%     17,393.67
         1,706.58      0.29%      1,750.00    0.36%        -43.42       2,292.39       1.68%        -585.81   Group Insurance                                        6,937.93    0.39%       8,750.00      0.51%      -1,812.07      11,327.43     0.93%     -4,389.50
             0.00      0.00%          0.00    0.00%          0.00           0.00       0.00%           0.00   Employee Meals                                             1.44    0.00%           0.00      0.00%           1.44           0.00     0.00%          1.44
             0.00      0.00%          0.00    0.00%          0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                                  683.33    0.04%       2,200.00      0.13%      -1,516.67           0.00     0.00%        683.33
        7,041.41      1.19%      6,543.62    1.34%        497.79       3,968.15       2.91%       3,073.26    Total Other Benefits                                 32,719.97    1.82%      34,013.29      1.97%      -1,293.32      19,031.03     1.56%     13,688.94

       12,816.35      2.16%     13,391.53    2.75%       -575.18       7,241.66       5.30%       5,574.69    Total Rooms PR Taxes and Benefits                    55,811.68    3.11%      70,544.01      4.08%     -14,732.33      32,729.22     2.68%     23,082.46

       78,698.56     13.25%     86,421.13    17.76%    -7,722.57      44,592.05      32.66%      34,106.51    Total Rooms Labor Costs                             309,314.84    17.25%    401,940.63    23.25%      -92,625.79     206,019.34     16.87%   103,295.50

                                                                                                              Other Expenses
             4.00      0.00%         0.00     0.00%         4.00            0.00      0.00%            4.00   Breakfast /Comp Cost                                       4.00    0.00%           0.00     0.00%           4.00            0.00     0.00%         4.00
         1,716.68      0.29%     2,040.50     0.42%      -323.82          578.78      0.42%        1,137.90   Cleaning Supplies                                      2,200.95    0.12%       8,130.00     0.47%      -5,929.05        3,776.55     0.31%    -1,575.60
        35,204.78      5.93%         0.00     0.00%    35,204.78            0.00      0.00%       35,204.78   Contract Labor                                       145,442.52    8.11%           0.00     0.00%     145,442.52            0.00     0.00%   145,442.52
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%            0.00   Decorations & Plants                                      85.44    0.00%           0.00     0.00%          85.44            0.00     0.00%        85.44
             0.00      0.00%       216.00     0.04%      -216.00            0.00      0.00%            0.00   Dues and Subscriptions                                     0.00    0.00%       1,080.00     0.06%      -1,080.00            0.00     0.00%         0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%            0.00   Guest Loss/Damage                                          2.00    0.00%           0.00     0.00%           2.00            0.00     0.00%         2.00
         5,355.05      0.90%     4,162.62     0.86%     1,192.43        1,889.07      1.38%        3,465.98   Guest Supplies                                        35,656.78    1.99%      16,585.20     0.96%      19,071.58       12,319.88     1.01%    23,336.90
         1,441.71      0.24%     1,509.97     0.31%       -68.26        1,037.52      0.76%          404.19   Laundry                                                5,919.12    0.33%       6,016.20     0.35%         -97.08        4,777.38     0.39%     1,141.74
         1,925.47      0.32%     1,020.25     0.21%       905.22          716.53      0.52%        1,208.94   Linen                                                  2,444.73    0.14%       4,065.00     0.24%      -1,620.27        4,717.91     0.39%    -2,273.18
            54.38      0.01%     1,958.88     0.40%    -1,904.50          685.89      0.50%         -631.51   Operating Supplies                                       703.64    0.04%       7,804.80     0.45%      -7,101.16        5,620.86     0.46%    -4,917.22
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%            0.00   Printing and Stationery                                   84.65    0.00%           0.00     0.00%          84.65            0.00     0.00%        84.65
           750.22      0.13%     1,216.33     0.25%      -466.11          284.70      0.21%          465.52   Reservation Expense                                    3,003.59    0.17%       4,321.65     0.25%      -1,318.06          642.40     0.05%     2,361.19
            16.35      0.00%         0.00     0.00%        16.35            0.00      0.00%           16.35   Rooms Promotion                                           16.35    0.00%           0.00     0.00%          16.35            0.00     0.00%        16.35
         3,144.40      0.53%     3,144.00     0.65%         0.40        3,081.67      2.26%           62.73   Television Cable                                      16,082.94    0.90%      15,720.00     0.91%         362.94       15,408.35     1.26%       674.59
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%            0.00   Training                                                  12.95    0.00%           0.00     0.00%          12.95          180.67     0.01%      -167.72
           636.42      0.11%     2,190.04     0.45%    -1,553.62        2,352.03      1.72%       -1,715.61   Transportation                                         6,986.10    0.39%      10,950.20     0.63%      -3,964.10        5,215.89     0.43%     1,770.21
         2,375.31      0.40%     3,022.50     0.62%      -647.19          974.60      0.71%        1,400.71   Travel Agent Comm - Group Rooms                        7,165.27    0.40%       5,699.02     0.33%       1,466.25        1,367.90     0.11%     5,797.37
         8,442.78      1.42%    10,316.13     2.12%    -1,873.35        2,075.67      1.52%        6,367.11   Travel Agent Comm - Transient Rooms                   29,118.77    1.62%      48,725.55     2.82%     -19,606.78        6,747.70     0.55%    22,371.07
           -55.48     -0.01%       100.00     0.02%      -155.48          189.99      0.14%         -245.47   Uniforms                                                  44.52    0.00%         500.00     0.03%        -455.48          425.50     0.03%      -380.98

       61,012.07     10.27%     30,897.22    6.35%    30,114.85       13,866.45      10.16%      47,145.62    Total Rooms Other Expenses                          254,974.32    14.22%    129,597.62      7.50%    125,376.70       61,200.99     5.01%    193,773.33

      139,710.63     23.53%    117,318.35    24.11%   22,392.28       58,458.50      42.82%      81,252.13    Total Rooms Expenses                                564,289.16    31.46%    531,538.25    30.75%       32,750.91     267,220.33     21.88%   297,068.83

      454,137.40     76.47%    369,213.20    75.89%   84,924.20       78,073.20      57.18%     376,064.20    Total Rooms Profit (Loss)                          1,229,281.35   68.54%   1,197,118.05   69.25%       32,163.30     954,118.55     78.12%   275,162.80




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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                              YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
             0.00               0.00           0.00           4.00                   -4.00   Room Stat - Corporate Transient                          748.00             0.00         748.00           4.00            744.00
           166.00              36.00         130.00          36.00                  130.00   Room Stat - Advanced Purchase                            759.00           736.00          23.00          96.00            663.00
            20.00               0.00          20.00          41.00                  -21.00   Room Stat - Qualified Discounts                          355.00             0.00         355.00         123.00            232.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - FIT(Flexible Independent Travel)               2.00             0.00           2.00           1.00              1.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Consortia Rate Transient                      11.00             0.00          11.00           0.00             11.00
           256.00             130.00         126.00         130.00                  126.00   Room Stat - Employee                                     598.00           605.00          -7.00         346.00            252.00
            68.00              68.00           0.00          68.00                    0.00   Room Stat - Package Transient                            168.00           408.00        -240.00         293.00           -125.00
             1.00              78.00         -77.00          78.00                  -77.00   Room Stat - Travel Agent/Friends & Family                164.00            78.00          86.00          95.00             69.00
           172.00              48.00         124.00          48.00                  124.00   Room Stat - Member Reward Stay                           455.00           573.00        -118.00         173.00            282.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Non-Qualified Discounts                        1.00             0.00           1.00           0.00              1.00
           857.00             400.00         457.00         397.00                  460.00   Room Stat - Internet                                   2,524.00         2,111.00         413.00         922.00          1,602.00
             0.00               0.00           0.00           1.00                   -1.00   Room Stat - Other Transient                                0.00             0.00           0.00          13.00            -13.00
             0.00               0.00           0.00          10.00                  -10.00   Room Stat - Airline Distressed Passenger                   0.00             0.00           0.00          45.00            -45.00
           149.00             100.00          49.00           0.00                  149.00   Room Stat - E-Commerce Opaque                            572.00           525.00          47.00         165.00            407.00
           127.00             500.00        -373.00         161.00                  -34.00   Room Stat - Government Rate Transient                    392.00         1,593.00      -1,201.00         331.00             61.00
           974.00           1,705.00        -731.00         421.00                  553.00   Room Stat - Rack Rate Transient                        3,991.00         5,845.00      -1,854.00         986.00          3,005.00
           170.00             150.00          20.00          41.00                  129.00   Room Stat - Local Negotiated Transient                   541.00         1,073.00        -532.00         221.00            320.00
        2,960.00           3,215.00        -255.00       1,436.00                1,524.00    Total Transient Rooms Sold                           11,281.00        13,547.00      -2,266.00       3,814.00          7,467.00

                                                                                             Group Rooms
             0.00               0.00           0.00         210.00                 -210.00   Room Stat - Corporate Group Rooms                        164.00            50.00        114.00          210.00            -46.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Leisure Group                                 97.00             0.00         97.00            0.00             97.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Government Group                               0.00            47.00        -47.00       10,469.00        -10,469.00
             0.00             285.00        -285.00           0.00                    0.00   Room Stat - Tour & Travel Group                            1.00         1,074.00     -1,073.00          130.00           -129.00
             0.00             540.00        -540.00           0.00                    0.00   Room Stat - Association Group                              0.00           540.00       -540.00            0.00              0.00
         1,303.00               0.00       1,303.00          17.00                1,286.00   Room Stat - SMERF Group                                3,876.00            20.00      3,856.00           17.00          3,859.00
             0.00               0.00           0.00           0.00                    0.00   Room Stat - Sports Group                                   0.00            93.00        -93.00            1.00             -1.00
        1,303.00             825.00         478.00         227.00                1,076.00    Total Group Rooms Sold                                4,138.00         1,824.00      2,314.00       10,827.00         -6,689.00

                                                                                             Contract Rooms
             0.00              0.00           0.00            0.00                   0.00    Room Stat - Airline Crews Contract                        0.00             0.00           0.00           13.00            -13.00
             0.00              0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                                 0.00             0.00           0.00           13.00           -13.00

        4,263.00           4,040.00         223.00       1,663.00                2,600.00    Total Rooms Sold                                     15,419.00        15,371.00          48.00      14,654.00           765.00
             0.00              0.00            0.00          0.00                     0.00   Room Stat - Comp Rooms                                    36.00            0.00          36.00           0.00             36.00
        4,263.00           4,040.00         223.00       1,663.00                2,600.00    Total Rooms Occupied                                 15,455.00        15,371.00          84.00      14,654.00           801.00
           319.00              0.00          319.00          0.00                   319.00   Room Stat - Out of Order                               2,129.00            0.00       2,129.00           0.00          2,129.00

                                                                                             ADR
             0.00               0.00          0.00        3,729.00               -3,729.00   Corporate Transient ADR                                  101.60             0.00        101.60        3,729.00         -3,627.40
           144.17              99.00         45.17           82.98                   61.19   Advanced Purchase ADR                                    118.96            99.75         19.22           77.08             41.88
           163.00               0.00        163.00           94.58                   68.42   Qualified Discount ADR                                   102.35             0.00        102.35           97.09              5.27
             0.00               0.00          0.00            0.00                    0.00   FIT ADR                                                  178.00             0.00        178.00          139.30             38.70
             0.00               0.00          0.00            0.00                    0.00   Consortia ADR                                            183.12             0.00        183.12            0.00            183.12
            73.02              58.64         14.39           58.64                   14.39   Employee ADR                                              70.43            57.35         13.08           55.27             15.16
             0.00               0.00          0.00            0.00                    0.00   Leisure ADR                                                0.00             0.00           0.00           0.00              0.00
           143.65              70.64         73.01           70.64                   73.01   Travel Agent/Friends & Family ADR                         73.34            70.64           2.70          71.07              2.27
             0.00               0.00          0.00            0.00                    0.00   Leisure Package ADR                                        0.00             0.00           0.00           0.00              0.00
             7.44              35.73        -28.29           35.73                  -28.29   Member Reward Stay ADR                                    17.16            35.06        -17.90           34.85            -17.69
             0.00               0.00          0.00            0.00                    0.00   Golf Pkg ADR                                               0.00             0.00           0.00           0.00              0.00
             0.00               0.00          0.00            0.00                    0.00   Non Qualified ADR                                          0.00             0.00           0.00           0.00              0.00
           139.30              99.00         40.30           77.92                   61.37   Internet ADR                                             113.27           104.01           9.26          76.27             37.00
            88.14              55.00         33.14            0.00                   88.14   E-Commerce Opaque ADR                                     92.76            54.43         38.33           51.63             41.13
             0.00               0.00          0.00            0.00                    0.00   Other Transient ADR                                        0.00             0.00           0.00           0.00              0.00
             0.00               0.00          0.00            0.00                    0.00   Airline Distressed Passenger ADR                           0.00             0.00           0.00           0.00              0.00
           177.25             104.00         73.25           97.63                   79.62   Government ADR                                           137.13            99.39         37.74           97.62             39.51
           147.76             115.00         32.76           93.35                   54.42   Rack ADR                                                 112.63           116.77          -4.14          94.73             17.91
           130.84              86.00         44.84           84.55                   46.29   Local Negotiated ADR                                     116.78            90.91         25.87           74.97             41.81
          128.47             104.33          24.15           92.68                   35.79   Total Transient ADR                                     106.26           106.57          -0.31           82.98             23.28
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance


             0.00               0.00          0.00            0.00                  0.00     Corporate Group ADR                                       73.15            89.00       -15.85           0.00          73.15
             0.00               0.00          0.00            0.00                  0.00     Leisure Group ADR                                          0.00             0.00         0.00           0.00           0.00
             0.00               0.00          0.00            0.00                  0.00     Government Group ADR                                       0.00           122.19     -122.19           84.51         -84.51
             0.00             153.21       -153.21            0.00                  0.00     Tour & Travel Group ADR                                    0.00           146.00     -146.00          114.42        -114.42
             0.00             199.00       -199.00            0.00                  0.00     Association Group ADR                                      0.00           199.00     -199.00            0.00           0.00
             0.00               0.00          0.00            0.00                  0.00     City Wide Group ADR                                        0.00             0.00         0.00           0.00           0.00
           163.93               0.00        163.93           69.00                 94.93     SMERF Group ADR                                          148.49            89.00        59.49          69.00          79.49
             0.00               0.00          0.00            0.00                  0.00     Sports Group ADR                                           0.00            93.74       -93.74          74.00         -74.00
             0.00               0.00          0.00            0.00                  0.00     Other Group ADR                                            0.00             0.00         0.00           0.00           0.00
          163.93             183.18         -19.25            5.17                158.76     Total Group ADR                                         141.99           156.22       -14.24           83.20          58.78

             0.00              0.00           0.00            0.00                   0.00    Airline Crew ADR                                          0.00             0.00         0.00           0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Other Contract ADR                                        0.00             0.00         0.00           0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Contract ADR                                        0.00             0.00         0.00         338.13         -338.13

          139.30             120.43          18.87           82.10                  57.20    Total ADR                                               116.32           112.46         3.86           83.35          32.98




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              PTD     %           PTD Budget     %           Variance   PTD Last Year     %            Variance                                                              YTD      %        YTD Budget %                Variance   YTD Last Year    %          Variance

                                                                                                                  F&B Summary
                                                                                                                  Revenue
        16,268.87     53.48%       31,829.46     44.30%    -15,560.59         818.32      21.05%      15,450.55   Outlet Food Revenue                                   46,786.30     73.11%    127,334.61  48.19%       -80,548.31         914.80  10.12%       45,871.50
         3,095.95     10.18%       11,823.00     16.46%     -8,727.05       2,595.20      66.77%         500.75   Banquet and Catering Food Revenue                      3,288.95      5.14%     31,823.00  12.04%       -28,534.05       5,570.42  61.65%       -2,281.47
         4,911.37     16.14%       19,097.68     26.58%    -14,186.31           0.00       0.00%       4,911.37   Outlet Beverage Revenue                                7,274.63     11.37%     76,400.78  28.92%       -69,126.15           0.00   0.00%        7,274.63
             0.00      0.00%          600.00      0.84%       -600.00          88.00       2.26%         -88.00   Banquet and Catering Beverage Revenue                      0.00      0.00%      1,200.00   0.45%        -1,200.00         552.86   6.12%         -552.86
             0.00      0.00%            0.00      0.00%          0.00           0.00       0.00%           0.00   Outlet Other Revenue                                       0.00      0.00%          0.00   0.00%             0.00           0.00   0.00%            0.00
         6,144.30     20.20%        8,500.00     11.83%     -2,355.70         385.36       9.91%       5,758.94   Banquet and Catering Other Revenue                     6,644.30     10.38%     27,450.00  10.39%       -20,805.70       1,998.12  22.11%        4,646.18
       30,420.49    100.00%       71,850.14    100.00%    -41,429.65       3,886.88     100.00%      26,533.61    Total F&B Revenue                                    63,994.18    100.00%    264,208.39 100.00%      -200,214.21       9,036.20 100.00%       54,957.98

                                                                                                                  Cost of Sales
        11,327.04     37.23%       14,841.84     20.66%     -3,514.80       1,429.65      36.78%       9,897.39   Food Purchases                                        40,082.99     62.64%     54,113.59    20.48%     -14,030.60       2,388.65     26.43%    37,694.34
         1,702.75      5.60%        4,727.44      6.58%     -3,024.69           0.00       0.00%       1,702.75   Beverage Purchases                                     3,029.82      4.73%     18,624.18     7.05%     -15,594.36         156.82      1.74%     2,873.00
             0.00      0.00%            0.00      0.00%          0.00           0.00       0.00%           0.00   Cedit Employee Meals                                       0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%          0.00           0.00       0.00%           0.00   Credit House Charges                                       0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%          0.00           0.00       0.00%           0.00   Credit In-House Promotions                                 0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%          0.00           0.00       0.00%           0.00   Audio Visual Cost of Sales                                 0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%          0.00           0.00       0.00%           0.00   Other Cost of Sales                                        0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%         0.00
       13,029.79     42.83%       19,569.28     27.24%     -6,539.49       1,429.65      36.78%      11,600.14    Total F&B Cost of Sales                              43,112.81     67.37%     72,737.77    27.53%     -29,624.96       2,545.47     28.17%    40,567.34

       17,390.70     57.17%       52,280.86     72.76%    -34,890.16       2,457.23      63.22%      14,933.47    F&B Gross Profit                                     20,881.37     32.63%    191,470.62    72.47%    -170,589.25       6,490.73     71.83%    14,390.64

                                                                                                                  Expenses
                                                                                                                  Payroll
                                                                                                                  Salaries and Wages
         6,387.37     21.00%        6,129.48      8.53%        257.89           0.00       0.00%       6,387.37   Management                                            31,112.69     48.62%     30,008.17    11.36%       1,104.52           0.00      0.00%    31,112.69
        15,938.06     52.39%       21,882.90     30.46%     -5,944.84         356.49       9.17%      15,581.57   Non-Management                                        46,119.40     72.07%     99,718.63    37.74%     -53,599.23         443.79      4.91%    45,675.61
       22,325.43     73.39%       28,012.38     38.99%     -5,686.95         356.49       9.17%      21,968.94    Total F&B Salaries and Wages                         77,232.09    120.69%    129,726.80    49.10%     -52,494.71         443.79      4.91%    76,788.30
                                                                                                                  PR Taxes and Benefits
         2,652.13      8.72%        3,133.78      4.36%       -481.65          26.77       0.69%       2,625.36   Payroll Taxes                                          9,723.09     15.19%     17,193.96     6.51%      -7,470.87          33.24      0.37%     9,689.85
             0.00      0.00%        1,052.38      1.46%     -1,052.38           0.00       0.00%           0.00   Supplemental Pay                                           0.00      0.00%      2,643.21     1.00%      -2,643.21           0.00      0.00%         0.00
         2,607.59      8.57%        2,928.70      4.08%       -321.11          34.85       0.90%       2,572.74   Other Benefits                                        10,865.99     16.98%     18,616.87     7.05%      -7,750.88          59.67      0.66%    10,806.32
        5,259.72     17.29%        7,114.86      9.90%     -1,855.14           61.62      1.59%       5,198.10    Total F&B PR Taxes and Benefits                      20,589.08     32.17%     38,454.04    14.55%     -17,864.96           92.91     1.03%    20,496.17

       27,585.15     90.68%       35,127.24     48.89%     -7,542.09         418.11      10.76%      27,167.04    Total F&B Payroll                                    97,821.17    152.86%    168,180.84    63.65%     -70,359.67         536.70      5.94%    97,284.47

                                                                                                                  Other Expenses
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Audio Visual Supplies                                      0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Banquet Expense                                            0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Bar Expense/Promos                                         0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Bar Supplies                                               0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
           705.78         2.32%        0.00      0.00%        705.78            0.00      0.00%          705.78   China                                                    705.78     1.10%           0.00    0.00%          705.78           0.00     0.00%        705.78
            15.36         0.05%      200.00      0.28%       -184.64            0.00      0.00%           15.36   Cleaning Supplies                                        202.80     0.32%       1,000.00    0.38%         -797.20           0.00     0.00%        202.80
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Communication Expense                                      0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Contract Cleaning                                          0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Contract Labor                                             0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Decorations & Plants                                       0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
         1,200.00         3.94%        0.00      0.00%      1,200.00            0.00      0.00%        1,200.00   Dues and Subscriptions                                 1,200.00     1.88%           0.00    0.00%        1,200.00           0.00     0.00%      1,200.00
           219.40         0.72%      200.00      0.28%         19.40            0.00      0.00%          219.40   Equipment Rental                                       1,235.85     1.93%       1,000.00    0.38%          235.85           0.00     0.00%      1,235.85
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Food and Beverage Advertising                              0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
            93.56         0.31%        0.00      0.00%         93.56            0.00      0.00%           93.56   Glassware                                                 93.56     0.15%           0.00    0.00%           93.56           0.00     0.00%         93.56
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Guest Loss/Damage                                          0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Guest Supplies                                             0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   In-House Entertainment                                     0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Kitchen/Cooking Fuel                                       0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Kitchen Equipment                                          0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Laundry - Outside Expense                                  0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Laundry Allocation                                         0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Licenses/Permits                                           0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Linen                                                      0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00         0.00%        0.00      0.00%          0.00            0.00      0.00%            0.00   Linen Rental                                               0.00     0.00%           0.00    0.00%            0.00           0.00     0.00%          0.00
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                                                                                                                         As of 5/31/2022
              PTD     %        PTD Budget    %         Variance   PTD Last Year     %            Variance                                                              YTD      %        YTD Budget %                Variance   YTD Last Year    %          Variance

             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Maintenance Contracts                                      0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Meals and Entertainment                                    0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Menus                                                    378.53      0.59%          0.00     0.00%         378.53           0.00     0.00%        378.53
           163.62      0.54%         0.00    0.00%       163.62         343.44       8.84%        -179.82   Miscellaneous Expense                                    163.62      0.26%          0.00     0.00%         163.62         432.88     4.79%       -269.26
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Music and Entertainment                                    0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Office Equipment                                           0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Office Supplies                                            0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Operating Supplies                                         0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
         1,773.33      5.83%       150.00    0.21%     1,623.33           0.00       0.00%       1,773.33   Paper/Plastic Supplies                                 2,878.18      4.50%        750.00     0.28%       2,128.18           0.00     0.00%      2,878.18
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Printing and Stationery                                    0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Silverware                                                 0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Software Expense/Maintenance                               0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Television Cable                                           0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Training                                                 320.00      0.50%          0.00     0.00%         320.00           0.00     0.00%        320.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Travel                                                     0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%       500.00    0.70%      -500.00           0.00       0.00%           0.00   Uniforms                                                 997.95      1.56%      1,000.00     0.38%          -2.05           0.00     0.00%        997.95
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Utensils                                                   0.00      0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
        4,171.05     13.71%     1,050.00    1.46%     3,121.05         343.44       8.84%       3,827.61    Total F&B Other Expenses                              8,176.27     12.78%      3,750.00     1.42%       4,426.27         432.88     4.79%      7,743.39

       31,756.20    104.39%    36,177.24    50.35%    -4,421.04        761.55      19.59%      30,994.65    Total F&B Expenses                                  105,997.44    165.64%    171,930.84    65.07%     -65,933.40         969.58     10.73%   105,027.86

      -14,365.50    -47.22%    16,103.62    22.41%   -30,469.12      1,695.68      43.63%     -16,061.18    Total F&B Profit (Loss)                              -85,116.07   -133.01%    19,539.78     7.40%    -104,655.85       5,521.15     61.10%   -90,637.22




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                                                                                                          As of 5/31/2022
              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                              YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
           770.00              0.00         770.00            0.00                 770.00    Food Stat- Food-Breakfast                              1,346.00            0.00       1,346.00           0.00         1,346.00
             9.41              0.00           9.41            0.00                   9.41    Breakfast Avg Check                                       19.20            0.00          19.20           0.00            19.20
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                            0.00            0.00           0.00           0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                           0.00            0.00           0.00           0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                           0.00            0.00           0.00           0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                       0.00            0.00           0.00           0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                           0.00            0.00           0.00           0.00             0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                        0.00            0.00           0.00           0.00             0.00
          770.00               0.00        770.00             0.00                770.00     Total Restaurant 1 Covers                             1,346.00             0.00      1,346.00            0.00        1,346.00
            15.08              0.00          15.08            0.00                  15.08    Restaurant 1 Avg Check                                    23.56            0.00          23.56           0.00            23.56

                                                                                             Restaurant 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers                                 0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                                    0.00             0.00          0.00            0.00            0.00

                                                                                             Room Service
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Room Service Covers                                 0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Room Service Avg Check                                    0.00             0.00          0.00            0.00            0.00

                                                                                             Banquets
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Banquets Covers                                     0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Banquets Avg Check                                        0.00             0.00          0.00            0.00            0.00

                                                                                             Catering
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Catering Covers                                     0.00             0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Catering Avg Check                                        0.00             0.00          0.00            0.00            0.00

                                                                                             Restaurant 3
             0.00               0.00          0.00            0.00                   0.00    Breakfast Avg Check                                       0.00              0.00         0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Lunch Avg Check                                           0.00              0.00         0.00            0.00            0.00
             0.00               0.00          0.00            0.00                   0.00    Dinner Avg Check                                          0.00              0.00         0.00            0.00            0.00
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              PTD     %   PTD Budget   %   Variance   PTD Last Year     %         Variance                                                             YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers                                 0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                                    0.00            0.00          0.00            0.00            0.00

                                                                                             Restaurant 4
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers                                 0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                                    0.00            0.00          0.00            0.00            0.00

                                                                                             Restaurant 5
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers                                 0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                                    0.00            0.00          0.00            0.00            0.00

                                                                                             Bar 1
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 1 Covers                                        0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 1 Avg Check                                           0.00            0.00          0.00            0.00            0.00

                                                                                             Bar 2
             0.00              0.00           0.00            0.00                   0.00    Breakfast Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Lunch Avg Check                                           0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Dinner Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Brunch Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Late Night Avg Check                                      0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Breaks Avg Check                                          0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Reception Avg Check                                       0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Total Bar 2 Covers                                        0.00            0.00          0.00            0.00            0.00
             0.00              0.00           0.00            0.00                   0.00    Bar 2 Avg Check                                           0.00            0.00          0.00            0.00            0.00

          770.00               0.00        770.00             0.00                770.00     Total Covers                                          1,346.00            0.00      1,346.00            0.00        1,346.00




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                                                                                                  Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                              As of 5/31/2022
              PTD     %           PTD Budget    %           Variance   PTD Last Year     %            Variance                                                              YTD     %        YTD Budget %                Variance   YTD Last Year    %         Variance

                                                                                                                 Food Admin
                                                                                                                 Cost of Sales
        11,327.04    37.23%        14,841.84   20.66%     -3,514.80        1,429.65     36.78%       9,897.39    Food Purchases                                        40,082.99    62.64%    54,113.59     20.48%     -14,030.60       2,388.65    26.43%   37,694.34
         1,702.75     5.60%         4,727.44    6.58%     -3,024.69            0.00      0.00%       1,702.75    Beverage Purchases                                     3,029.82     4.73%    18,624.18      7.05%     -15,594.36         156.82     1.74%    2,873.00

       13,029.79     42.83%       19,569.28    27.24%     -6,539.49       1,429.65      36.78%      11,600.14    Total Food Admin Cost of Sales                       43,112.81    67.37%     72,737.77    27.53%     -29,624.96       2,545.47     28.17%   40,567.34

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
         5,769.24     18.96%        6,129.48     8.53%       -360.24           0.00       0.00%       5,769.24   Division Management                                    5,769.24     9.02%     30,008.17    11.36%     -24,238.93           0.00     0.00%     5,769.24
        5,769.24     18.96%        6,129.48     8.53%       -360.24            0.00      0.00%       5,769.24    Total Food Admin Management                           5,769.24     9.02%     30,008.17    11.36%     -24,238.93            0.00    0.00%     5,769.24
         3,510.60     11.54%            0.00     0.00%      3,510.60           0.00       0.00%       3,510.60   Cooks-Line Cooks                                       3,786.95     5.92%          0.00     0.00%       3,786.95           0.00     0.00%     3,786.95
             0.00      0.00%        6,058.29     8.43%     -6,058.29           0.00       0.00%           0.00   Cooks-1                                                    0.00     0.00%     29,509.73    11.17%     -29,509.73           0.00     0.00%         0.00
         1,896.15      6.23%        2,480.00     3.45%       -583.85           0.00       0.00%       1,896.15   Stewards-Warewashing                                   3,214.91     5.02%     12,080.00     4.57%      -8,865.09           0.00     0.00%     3,214.91
        5,406.75     17.77%        8,538.29    11.88%     -3,131.54            0.00      0.00%       5,406.75    Total Food Admin Non-Management                       7,001.86    10.94%     41,589.73    15.74%     -34,587.87            0.00    0.00%     7,001.86

       11,175.99     36.74%       14,667.77    20.41%     -3,491.78            0.00      0.00%      11,175.99    Total Food Admin Salaries and Wages                  12,771.10    19.96%     71,597.90    27.10%     -58,826.80            0.00    0.00%    12,771.10

                                                                                                                 PR Taxes and Benefits

           875.75      2.88%        1,179.64     1.64%      -303.89           19.91       0.51%         855.84   FICA                                                     875.75     1.37%      5,761.07     2.18%      -4,885.32          24.58     0.27%       851.17
            46.41      0.15%           13.88     0.02%        32.53            0.81       0.02%          45.60   Federal Unemployment Tax                                  46.41     0.07%        205.06     0.08%        -158.65           1.18     0.01%        45.23
           301.13      0.99%           83.27     0.12%       217.86            6.05       0.16%         295.08   State Unemployment Tax                                   301.13     0.47%      1,732.78     0.66%      -1,431.65           7.48     0.08%       293.65
        1,223.29      4.02%        1,276.79     1.78%        -53.50           26.77      0.69%       1,196.52    Total Payroll Taxes                                   1,223.29     1.91%      7,698.91     2.91%      -6,475.62           33.24    0.37%     1,190.05
             0.00      0.00%          512.00     0.71%      -512.00            0.00       0.00%           0.00   Holiday                                                    0.00     0.00%      1,024.00     0.39%      -1,024.00           0.00     0.00%         0.00
             0.00      0.00%          240.38     0.33%      -240.38            0.00       0.00%           0.00   Vacation                                                   0.00     0.00%      1,019.21     0.39%      -1,019.21           0.00     0.00%         0.00
             0.00     0.00%          752.38     1.05%      -752.38             0.00      0.00%            0.00   Total Supplemental Pay                                     0.00    0.00%      2,043.21     0.77%      -2,043.21            0.00    0.00%          0.00
         2,051.85      6.74%        1,001.90     1.39%     1,049.95           34.16       0.88%       2,017.69   Worker's Compensation                                  2,051.85     3.21%      5,189.29     1.96%      -3,137.44          58.98     0.65%     1,992.87
           -24.91     -0.08%          700.00     0.97%      -724.91            0.69       0.02%         -25.60   Group Insurance                                          -24.91    -0.04%      3,500.00     1.32%      -3,524.91           0.69     0.01%       -25.60
             5.14      0.02%            0.00     0.00%         5.14            0.00       0.00%           5.14   Employee Meals                                             8.48     0.01%          0.00     0.00%           8.48           0.00     0.00%         8.48
             0.00      0.00%            0.00     0.00%         0.00            0.00       0.00%           0.00   Bonus and Incentive Pay                                    0.00     0.00%      1,667.00     0.63%      -1,667.00           0.00     0.00%         0.00
        2,032.08      6.68%        1,701.90     2.37%       330.18            34.85      0.90%       1,997.23    Total Other Benefits                                  2,035.42     3.18%     10,356.29     3.92%      -8,320.87           59.67    0.66%     1,975.75

       14,431.36     47.44%       18,398.84    25.61%     -3,967.48           61.62      1.59%      14,369.74    Total Food Admin PR Taxes and Benefits               16,029.81    25.05%     91,696.31    34.71%     -75,666.50           92.91    1.03%    15,936.90

       25,607.35     84.18%       33,066.61    46.02%     -7,459.26           61.62      1.59%      25,545.73    Total Food Admin Payroll                             28,800.91    45.01%    163,294.21    61.81%    -134,493.30           92.91    1.03%    28,708.00

                                                                                                                 Other Expenses
           705.78         2.32%        0.00     0.00%        705.78            0.00      0.00%         705.78    China                                                    705.78     1.10%          0.00    0.00%         705.78            0.00     0.00%      705.78
            15.36         0.05%      200.00     0.28%       -184.64            0.00      0.00%          15.36    Cleaning Supplies                                        202.80     0.32%      1,000.00    0.38%        -797.20            0.00     0.00%      202.80
         1,200.00         3.94%        0.00     0.00%      1,200.00            0.00      0.00%       1,200.00    Dues and Subscriptions                                 1,200.00     1.88%          0.00    0.00%       1,200.00            0.00     0.00%    1,200.00
           219.40         0.72%      200.00     0.28%         19.40            0.00      0.00%         219.40    Equipment Rental                                       1,235.85     1.93%      1,000.00    0.38%         235.85            0.00     0.00%    1,235.85
            93.56         0.31%        0.00     0.00%         93.56            0.00      0.00%          93.56    Glassware                                                 93.56     0.15%          0.00    0.00%          93.56            0.00     0.00%       93.56
             0.00         0.00%        0.00     0.00%          0.00            0.00      0.00%           0.00    Menus                                                    378.53     0.59%          0.00    0.00%         378.53            0.00     0.00%      378.53
           163.62         0.54%        0.00     0.00%        163.62          343.44      8.84%        -179.82    Miscellaneous Expense                                    163.62     0.26%          0.00    0.00%         163.62          432.88     4.79%     -269.26
         1,773.33         5.83%      150.00     0.21%      1,623.33            0.00      0.00%       1,773.33    Paper/Plastic Supplies                                 2,878.18     4.50%        750.00    0.28%       2,128.18            0.00     0.00%    2,878.18
             0.00         0.00%        0.00     0.00%          0.00            0.00      0.00%           0.00    Training                                                 320.00     0.50%          0.00    0.00%         320.00            0.00     0.00%      320.00
             0.00         0.00%      500.00     0.70%       -500.00            0.00      0.00%           0.00    Uniforms                                                 997.95     1.56%      1,000.00    0.38%          -2.05            0.00     0.00%      997.95

        4,171.05     13.71%        1,050.00     1.46%     3,121.05          343.44       8.84%       3,827.61    Total Food Admin Other Expenses                       8,176.27    12.78%      3,750.00     1.42%       4,426.27         432.88     4.79%     7,743.39

       29,778.40     97.89%       34,116.61    47.48%     -4,338.21         405.06      10.42%      29,373.34    Total Food Admin Expenses                            36,977.18    57.78%    167,044.21    63.22%    -130,067.03         525.79     5.82%    36,451.39

       42,808.19    140.72%       53,685.89    74.72%    -10,877.70       1,834.71      47.20%      40,973.48    Departmental Costs                                   80,089.99    125.15%   239,781.98    90.75%    -159,691.99       3,071.26     33.99%   77,018.73




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                                                                                                                        As of 5/31/2022
              PTD     %           PTD Budget   %       Variance   PTD Last Year     %           Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                           Beverage Admin
             0.00         0.00%         0.00   0.00%      0.00            0.00      0.00%          0.00    Less Adjustments                                          0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Revenue                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                           Cost of Sales

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Cost of Sales                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                           Expenses
                                                                                                           Other Expenses

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Other Expenses                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Total Beverage Admin Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%            0.00    0.00%      0.00            0.00      0.00%          0.00    Departmental Costs                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                               Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                           As of 5/31/2022
              PTD     %        PTD Budget     %          Variance   PTD Last Year     %            Variance                                                              YTD     %        YTD Budget %                Variance   YTD Last Year    %          Variance

                                                                                                              Restaurant 1
                                                                                                              Food Revenue
         7,247.45    43.86%     14,747.46    28.96%    -7,500.01          809.23     98.89%        6,438.22   Food-Breakfast                                        25,848.48    66.30%    58,997.61     28.96%     -33,149.13         902.23    98.63%    24,946.25
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Food-Lunch                                                20.25     0.05%         0.00      0.00%          20.25           2.50     0.27%        17.75
         4,060.85    24.57%     17,082.00    33.54%   -13,021.15            0.00      0.00%        4,060.85   Food-Dinner                                            6,324.80    16.22%    68,337.00     33.54%     -62,012.20           0.98     0.11%     6,323.82

       11,308.30     68.43%    31,829.46    62.50%    -20,521.16         809.23      98.89%      10,499.07    Restaurant 1 Food Revenue                            32,193.53    82.57%    127,334.61    62.50%     -95,141.08         905.71     99.01%    31,287.82
           306.12      1.85%        0.00      0.00%        306.12          9.09        1.11%         297.03   Food-Adjustments-A&G                                    -481.13    -1.23%         0.00      0.00%        -481.13          9.09       0.99%      -490.22
           306.12      1.85%        0.00      0.00%        306.12          9.09        1.11%         297.03   Less: Allowances                                        -481.13    -1.23%         0.00      0.00%        -481.13          9.09       0.99%      -490.22

       11,614.42     70.28%    31,829.46    62.50%    -20,215.04         818.32     100.00%      10,796.10    Total Restaurant 1 Food Revenue                      31,712.40    81.34%    127,334.61    62.50%     -95,622.21         914.80 100.00%       30,797.60

                                                                                                              Beverage Revenue
         2,720.62    16.46%      6,365.89    12.50%     -3,645.27           0.00      0.00%        2,720.62   Liquor                                                 3,894.37     9.99%    25,466.93     12.50%     -21,572.56           0.00     0.00%      3,894.37
         1,308.25     7.92%      9,548.84    18.75%     -8,240.59           0.00      0.00%        1,308.25   Beer                                                   1,945.25     4.99%    38,200.39     18.75%     -36,255.14           0.00     0.00%      1,945.25
           882.50     5.34%      3,182.95     6.25%     -2,300.45           0.00      0.00%          882.50   Wine                                                   1,502.00     3.85%    12,733.46      6.25%     -11,231.46           0.00     0.00%      1,502.00

        4,911.37     29.72%    19,097.68    37.50%    -14,186.31            0.00      0.00%       4,911.37    Restaurant 1 Beverage Revenue                         7,341.62    18.83%     76,400.78    37.50%     -69,059.16            0.00     0.00%     7,341.62
            0.00       0.00%        0.00      0.00%         0.00            0.00       0.00%          0.00    Beverage-Adjustments-A&G                                 -66.99    -0.17%         0.00      0.00%         -66.99           0.00      0.00%       -66.99
            0.00       0.00%        0.00      0.00%         0.00            0.00       0.00%          0.00    Less: Allowances                                         -66.99    -0.17%         0.00      0.00%         -66.99           0.00      0.00%       -66.99

        4,911.37     29.72%    19,097.68    37.50%    -14,186.31            0.00      0.00%       4,911.37    Total Restaurant 1 Beverage Revenue                   7,274.63    18.66%     76,400.78    37.50%     -69,126.15            0.00     0.00%     7,274.63

       16,525.79    100.00%    50,927.14    100.00%   -34,401.35         818.32     100.00%      15,707.47    Total Restaurant 1 Revenue                           38,987.03    100.00%   203,735.39 100.00%      -164,748.36         914.80 100.00%       38,072.23

                                                                                                              Cost of Sales

             0.00     0.00%         0.00     0.00%          0.00            0.00      0.00%           0.00    Total Restaurant 1 Cost of Sales                          0.00     0.00%          0.00     0.00%           0.00            0.00     0.00%         0.00

       16,525.79    100.00%    50,927.14    100.00%   -34,401.35         818.32     100.00%      15,707.47    Restaurant 1 Gross Profit                            38,987.03    100.00%   203,735.39 100.00%      -164,748.36         914.80 100.00%       38,072.23

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
           618.13      3.74%         0.00     0.00%        618.13           0.00       0.00%         618.13   Restaurant Management                                 25,343.45    65.00%          0.00     0.00%      25,343.45           0.00      0.00%    25,343.45
          618.13      3.74%          0.00    0.00%        618.13            0.00      0.00%         618.13    Total Restaurant 1 Management                        25,343.45    65.00%           0.00    0.00%      25,343.45            0.00     0.00%    25,343.45
         2,879.51     17.42%     3,542.86     6.96%       -663.35           0.00       0.00%       2,879.51   Supervisors                                           17,982.93    46.13%     17,257.15     8.47%         725.78           0.00      0.00%    17,982.93
           611.28      3.70%         0.00     0.00%        611.28           0.00       0.00%         611.28   Supervisors Overtime - Rest. 1                           611.28     1.57%          0.00     0.00%         611.28           0.00      0.00%       611.28
             0.00      0.00%     4,216.00     8.28%     -4,216.00           0.00       0.00%           0.00   Bartenders                                                 0.00     0.00%     20,536.00    10.08%     -20,536.00           0.00      0.00%         0.00
         6,981.71     42.25%     2,480.00     4.87%      4,501.71         356.49      43.56%       6,625.22   Servers                                               13,415.58    34.41%     12,080.00     5.93%       1,335.58         443.79     48.51%    12,971.79
       10,472.50     63.37%    10,238.86    20.10%        233.64         356.49      43.56%      10,116.01    Total Restaurant 1 Non-Management                    32,009.79    82.10%     49,873.15    24.48%     -17,863.36         443.79     48.51%    31,566.00

       11,090.63     67.11%    10,238.86    20.10%        851.77         356.49      43.56%      10,734.14    Total Restaurant 1 Salaries and Wages                57,353.24    147.11%    49,873.15    24.48%       7,480.09         443.79     48.51%    56,909.45

                                                                                                              PR Taxes and Benefits
           941.20      5.70%     1,390.61     2.73%       -449.41           0.00       0.00%         941.20   FICA                                                   7,046.86    18.07%      6,199.07     3.04%         847.79           0.00      0.00%     7,046.86
            63.91      0.39%        16.36     0.03%         47.55           0.00       0.00%          63.91   Federal Unemployment Tax                                 224.67     0.58%        211.07     0.10%          13.60           0.00      0.00%       224.67
           208.69      1.26%        98.16     0.19%        110.53           0.00       0.00%         208.69   State Unemployment Tax                                 1,013.23     2.60%      1,807.92     0.89%        -794.69           0.00      0.00%     1,013.23
        1,213.80      7.34%     1,505.13     2.96%       -291.33            0.00      0.00%       1,213.80    Total Payroll Taxes                                   8,284.76    21.25%      8,218.06     4.03%           66.70           0.00     0.00%     8,284.76
             0.00      0.00%       300.00     0.59%       -300.00           0.00       0.00%           0.00   Holiday                                                    0.00     0.00%        600.00     0.29%        -600.00           0.00      0.00%         0.00
             0.00     0.00%       300.00     0.59%       -300.00            0.00      0.00%            0.00   Total Supplemental Pay                                     0.00    0.00%        600.00     0.29%        -600.00            0.00     0.00%          0.00
             0.00      0.00%       665.26     1.31%       -665.26           0.00       0.00%           0.00   Worker's Compensation                                  6,064.54    15.56%      3,445.34     1.69%       2,619.20           0.00      0.00%     6,064.54
           575.51      3.48%       350.00     0.69%        225.51           0.00       0.00%         575.51   Group Insurance                                        2,252.22     5.78%      1,750.00     0.86%         502.22           0.00      0.00%     2,252.22
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                                  500.00     1.28%          0.00     0.00%         500.00           0.00      0.00%       500.00
          575.51      3.48%     1,015.26     1.99%       -439.75            0.00      0.00%         575.51    Total Other Benefits                                  8,816.76    22.61%      5,195.34     2.55%       3,621.42            0.00     0.00%     8,816.76

        1,789.31     10.83%     2,820.39     5.54%     -1,031.08            0.00      0.00%       1,789.31    Total Restaurant 1 PR Taxes and Benefits             17,101.52    43.86%     14,013.40     6.88%       3,088.12            0.00     0.00%    17,101.52

       12,879.94     77.94%    13,059.25    25.64%       -179.31         356.49      43.56%      12,523.45    Total Restaurant 1 Payroll                           74,454.76    190.97%    63,886.55    31.36%     10,568.21          443.79     48.51%    74,010.97

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                                                                                                                       As of 5/31/2022
              PTD     %       PTD Budget    %         Variance   PTD Last Year     %           Variance                                                              YTD     %        YTD Budget %               Variance   YTD Last Year    %         Variance


                                                                                                          Other Expenses
             0.00     0.00%        0.00    0.00%         0.00            0.00      0.00%          0.00    Total Restaurant 1 Other Expenses                         0.00     0.00%          0.00     0.00%          0.00            0.00    0.00%         0.00

       12,879.94     77.94%   13,059.25    25.64%     -179.31         356.49      43.56%     12,523.45    Total Restaurant 1 Expenses                          74,454.76    190.97%    63,886.55   31.36%     10,568.21          443.79     48.51%   74,010.97

        3,645.85     22.06%   37,867.89    74.36%   -34,222.04        461.83      56.44%      3,184.02    Total Restaurant 1 Profit (Loss)                     -35,467.73   -90.97%   139,848.84   68.64%    -175,316.57         471.01     51.49%   -35,938.74




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                                              YTD      %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue
         4,654.45   100.00%          0.00   0.00%    4,654.45            0.00      0.00%       4,654.45    Food-Breakfast                                        15,073.90   100.00%          0.00     0.00%    15,073.90            0.00    0.00%    15,073.90

        4,654.45    100.00%         0.00    0.00%    4,654.45            0.00      0.00%       4,654.45    Restaurant 2 Food Revenue                            15,073.90    100.00%         0.00      0.00%    15,073.90            0.00    0.00%    15,073.90
            0.00       0.00%        0.00     0.00%       0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00

        4,654.45    100.00%         0.00    0.00%    4,654.45            0.00      0.00%       4,654.45    Total Restaurant 2 Food Revenue                      15,073.90    100.00%         0.00      0.00%    15,073.90            0.00    0.00%    15,073.90

                                                                                                           Beverage Revemue

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Restaurant 2 Beverage Revenue                             0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 Beverage Revenue                       0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        4,654.45    100.00%         0.00    0.00%    4,654.45            0.00      0.00%       4,654.45    Total Restaurant 2 Revenue                           15,073.90    100.00%         0.00      0.00%    15,073.90            0.00    0.00%    15,073.90

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 Cost of Sales                          0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        4,654.45    100.00%         0.00    0.00%    4,654.45            0.00      0.00%       4,654.45    Restaurant 2 Gross Profit                            15,073.90    100.00%         0.00      0.00%    15,073.90            0.00    0.00%    15,073.90

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 Management                             0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 Non-Management                         0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 Salaries and Wages                     0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00       0.00%          0.00    Employee Meals                                           10.10       0.07%        0.00       0.00%       10.10            0.00     0.00%       10.10
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Other Benefits                                     10.10      0.07%         0.00      0.00%        10.10            0.00    0.00%        10.10

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits                 10.10      0.07%         0.00      0.00%        10.10            0.00    0.00%        10.10

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 Payroll                               10.10      0.07%         0.00      0.00%        10.10            0.00    0.00%        10.10

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 Other Expenses                         0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Restaurant 2 Expenses                              10.10      0.07%         0.00      0.00%        10.10            0.00    0.00%        10.10

        4,654.45    100.00%         0.00    0.00%    4,654.45            0.00      0.00%       4,654.45    Total Restaurant 2 Profit (Loss)                     15,063.80     99.93%         0.00      0.00%    15,063.80            0.00    0.00%    15,063.80




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Room Service
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %           PTD Budget     %          Variance   PTD Last Year     %            Variance                                                              YTD     %        YTD Budget %               Variance   YTD Last Year    %         Variance

                                                                                                                 Banquets
                                                                                                                 Food Revenue
           132.00     1.43%        10,323.00    49.34%   -10,191.00          490.24     15.98%        -358.24    Food-Breakfast                                           132.00     1.33%    24,323.00     40.22%   -24,191.00        3,472.86    42.76%    -3,340.86
             0.00     0.00%           500.00     2.39%      -500.00          807.36     26.31%        -807.36    Food-Lunch                                               193.00     1.94%     2,500.00      4.13%    -2,307.00          807.36     9.94%      -614.36
         2,963.95    32.08%         1,000.00     4.78%     1,963.95        1,297.60     42.29%       1,666.35    Food-Dinner                                            2,963.95    29.84%     5,000.00      8.27%    -2,036.05        1,297.60    15.98%     1,666.35
             0.00     0.00%             0.00     0.00%         0.00            0.00      0.00%           0.00    Food-Breaks                                                0.00     0.00%         0.00      0.00%         0.00           -7.40    -0.09%         7.40

        3,095.95     33.51%       11,823.00    56.51%     -8,727.05       2,595.20      84.57%        500.75     Banquets Food Revenue                                 3,288.95    33.11%    31,823.00    52.62%     -28,534.05       5,570.42     68.59%    -2,281.47
            0.00       0.00%           0.00      0.00%         0.00           0.00        0.00%         0.00     Less: Allowances                                          0.00      0.00%        0.00      0.00%          0.00           0.00       0.00%        0.00

        3,095.95     33.51%       11,823.00    56.51%     -8,727.05       2,595.20      84.57%        500.75     Total Banquets Food Revenue                           3,288.95    33.11%    31,823.00    52.62%     -28,534.05       5,570.42     68.59%    -2,281.47

                                                                                                                 Beverage Revenue
             0.00         0.00%      300.00      1.43%      -300.00           88.00      2.87%         -88.00    Liquor                                                     0.00     0.00%      600.00      0.99%       -600.00          552.86     6.81%      -552.86
             0.00         0.00%      200.00      0.96%      -200.00            0.00      0.00%           0.00    Beer                                                       0.00     0.00%      400.00      0.66%       -400.00            0.00     0.00%         0.00
             0.00         0.00%      100.00      0.48%      -100.00            0.00      0.00%           0.00    Wine                                                       0.00     0.00%      200.00      0.33%       -200.00            0.00     0.00%         0.00

             0.00     0.00%          600.00     2.87%      -600.00            88.00      2.87%         -88.00    Banquets Beverage Revenue                                 0.00     0.00%     1,200.00      1.98%     -1,200.00         552.86      6.81%     -552.86
             0.00      0.00%           0.00      0.00%        0.00             0.00       0.00%          0.00    Less: Allowances                                          0.00      0.00%        0.00       0.00%         0.00           0.00       0.00%       0.00

             0.00     0.00%          600.00     2.87%      -600.00            88.00      2.87%         -88.00    Total Banquets Beverage Revenue                           0.00     0.00%     1,200.00      1.98%     -1,200.00         552.86      6.81%     -552.86

                                                                                                                 Other Revenue
             0.00     0.00%           500.00     2.39%      -500.00            0.00      0.00%           0.00    Audio/Visual Income                                        0.00     0.00%     1,450.00      2.40%    -1,450.00            0.00     0.00%         0.00
         3,544.30    38.36%         6,000.00    28.68%    -2,455.70           85.36      2.78%       3,458.94    Setup Fee                                              3,544.30    35.68%    15,000.00     24.80%   -11,455.70          189.12     2.33%     3,355.18
         2,600.00    28.14%         2,000.00     9.56%       600.00          300.00      9.78%       2,300.00    Public Room Rental                                     3,100.00    31.21%    11,000.00     18.19%    -7,900.00        1,809.00    22.27%     1,291.00

        6,144.30     66.49%        8,500.00    40.63%     -2,355.70         385.36      12.56%       5,758.94    Total Banquets Other Revenue                          6,644.30    66.89%    27,450.00    45.39%     -20,805.70       1,998.12     24.60%    4,646.18

        9,240.25    100.00%       20,923.00    100.00%   -11,682.75       3,068.56     100.00%       6,171.69    Total Banquets Revenue                                9,933.25    100.00%   60,473.00 100.00%       -50,539.75       8,121.40 100.00%       1,811.85

                                                                                                                 Cost of Sales

             0.00     0.00%            0.00     0.00%          0.00            0.00      0.00%           0.00    Total Banquets Cost of Sales                              0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00

        9,240.25    100.00%       20,923.00    100.00%   -11,682.75       3,068.56     100.00%       6,171.69    Gross Profit                                          9,933.25    100.00%   60,473.00 100.00%       -50,539.75       8,121.40 100.00%       1,811.85

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
             0.00     0.00%            0.00     0.00%          0.00            0.00      0.00%           0.00    Total Banquets Management                                 0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00

           58.81       0.64%        1,863.45     8.91%     -1,804.64           0.00       0.00%         58.81    Servers                                                7,107.75    71.56%     4,953.45     8.19%       2,154.30           0.00      0.00%    7,107.75
            0.00       0.00%        1,242.30     5.94%     -1,242.30           0.00       0.00%          0.00    Housemen                                                   0.00     0.00%     3,302.30     5.46%      -3,302.30           0.00      0.00%        0.00
           58.81      0.64%        3,105.75    14.84%     -3,046.94            0.00      0.00%          58.81    Total Banquets Non-Management                         7,107.75    71.56%     8,255.75    13.65%      -1,148.00            0.00     0.00%    7,107.75

           58.81                   3,105.75               -3,046.94            0.00                     58.81    Total Banquets Salaries and Wages                     7,107.75               8,255.75                -1,148.00            0.00              7,107.75

                                                                                                                 PR Taxes and Benefits
           215.04      2.33%          325.09     1.55%      -110.05            0.00       0.00%        215.04    FICA                                                     215.04     2.16%     1,047.86      1.73%       -832.82           0.00      0.00%      215.04
             0.00      0.00%            3.82     0.02%        -3.82            0.00       0.00%          0.00    Federal Unemployment Tax                                   0.00     0.00%        22.93      0.04%        -22.93           0.00      0.00%        0.00
             0.00      0.00%           22.95     0.11%       -22.95            0.00       0.00%          0.00    State Unemployment Tax                                     0.00     0.00%       206.20      0.34%       -206.20           0.00      0.00%        0.00
          215.04      2.33%          351.86     1.68%      -136.82             0.00      0.00%        215.04     Total Payroll Taxes                                     215.04     2.16%     1,276.99      2.11%     -1,061.95            0.00     0.00%      215.04
             0.00     0.00%             0.00    0.00%          0.00            0.00      0.00%           0.00    Total Supplemental Pay                                     0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%         0.00
             0.00      0.00%          211.54     1.01%      -211.54            0.00       0.00%          0.00    Worker's Compensation                                      0.00     0.00%       565.24      0.93%       -565.24           0.00      0.00%        0.00
             0.00      0.00%            0.00     0.00%         0.00            0.00       0.00%          0.00    Bonus and Incentive Pay                                    0.00     0.00%     2,500.00      4.13%     -2,500.00           0.00      0.00%        0.00
             0.00     0.00%          211.54     1.01%      -211.54             0.00      0.00%           0.00    Total Other Benefits                                       0.00    0.00%     3,065.24      5.07%     -3,065.24            0.00     0.00%         0.00

          215.04                     563.40                -348.36             0.00                   215.04     Total Banquet Benefits                                  215.04               4,342.23                -4,127.19            0.00                215.04
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              PTD     %       PTD Budget    %        Variance   PTD Last Year     %           Variance                                                             YTD     %       YTD Budget %             Variance   YTD Last Year   %        Variance


          273.85      2.96%    3,669.15    17.54%   -3,395.30           0.00      0.00%       273.85     Total Banquets Payroll                                7,322.79   73.72%   12,597.98   20.83%      -5,275.19           0.00    0.00%   7,322.79

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%        0.00            0.00      0.00%          0.00    Total Banquets Other Expenses                             0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

          273.85      2.96%    3,669.15    17.54%   -3,395.30           0.00      0.00%       273.85     Total Banquets Expenses                               7,322.79   73.72%   12,597.98   20.83%      -5,275.19           0.00    0.00%   7,322.79

        8,966.40     97.04%   17,253.85    82.46%   -8,287.45      3,068.56     100.00%      5,897.84    Total Banquets Profit (Loss)                          2,610.46   26.28%   47,875.02   79.17%     -45,264.56      8,121.40 100.00%     -5,510.94




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Catering
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Gross Profit                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Management                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Non-Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Salaries and Wages                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering PR Taxes and Benefits                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Payroll                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 3
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 4
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 4 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restauarnt 4 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Employee Meals                                            3.71    0.00%        0.00       0.00%      3.71            0.00     0.00%      3.71
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      3.71   0.00%         0.00      0.00%       3.71            0.00    0.00%       3.71

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits                  3.71   0.00%         0.00      0.00%       3.71            0.00    0.00%       3.71

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Payroll                                3.71   0.00%         0.00      0.00%       3.71            0.00    0.00%       3.71

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Expenses                               3.71   0.00%         0.00      0.00%       3.71            0.00    0.00%       3.71

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Profit (Loss)                         -3.71   0.00%         0.00      0.00%      -3.71            0.00    0.00%      -3.71




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 5
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Food Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Beverage Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Gross Profit                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Non-Management                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Salaries and Wages                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Payroll                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                       As of 5/31/2022
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Food Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Beverage Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Cost of Sales                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expenses
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Non-Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Salaries and Wages                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 PR Taxes and Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Payroll                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Expenses                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Profit (Loss)                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                           Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Telephone Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Telephone Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Telephone Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Telephone Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Telephone Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget     %          Variance   PTD Last Year     %            Variance                                                               YTD     %        YTD Budget %               Variance    YTD Last Year    %           Variance

                                                                                                              Minor Operating
                                                                                                              Income
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Rental Income - Gift Shop                                 68.25      0.03%          0.00   0.00%           68.25            0.00      0.00%         68.25
             0.00     0.00%          0.00     0.00%          0.00           0.00      0.00%            0.00   Total Rental Income                                       68.25     0.03%           0.00  0.00%            68.25            0.00     0.00%          68.25
            59.08      0.11%         0.00      0.00%        59.08           0.00       0.00%          59.08   Vending Commissions-Soda & Snack Machines                 73.32      0.03%          0.00   0.00%           73.32          299.10      0.20%       -225.78
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Vending Commissions Other                                105.39      0.05%          0.00   0.00%          105.39           30.05      0.02%         75.34
            59.08     0.11%          0.00     0.00%         59.08           0.00      0.00%           59.08   Total Vending Commission Income                         178.71      0.08%           0.00  0.00%          178.71          329.15      0.22%       -150.44
         3,777.45      7.35%         0.00      0.00%     3,777.45           0.00       0.00%       3,777.45   Cancellation Fee - Rooms                               9,384.73      4.35%          0.00   0.00%        9,384.73            0.00      0.00%      9,384.73
             0.00      0.00%         0.00      0.00%         0.00      21,268.64      42.21%     -21,268.64   Cancellation Fee - Other                                    0.00     0.00%          0.00   0.00%             0.00      28,929.84     19.58%    -28,929.84
        3,777.45      7.35%          0.00     0.00%     3,777.45      21,268.64      42.21%     -17,491.19    Total Cancellation Fee Income                         9,384.73      4.35%           0.00  0.00%        9,384.73       28,929.84     19.58%    -19,545.11
           276.30      0.54%         0.00      0.00%       276.30         108.90       0.22%         167.40   Internet Access                                        1,101.78      0.51%          0.00   0.00%        1,101.78          358.20      0.24%        743.58
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Fax/Copies                                               -13.00     -0.01%          0.00   0.00%          -13.00            0.00      0.00%        -13.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Telephone Revenue                                        -91.61     -0.04%          0.00   0.00%          -91.61            0.00      0.00%        -91.61
             0.00      0.00%         0.00      0.00%         0.00          35.00       0.07%         -35.00   Other Revenue 3                                          642.11      0.30%          0.00   0.00%          642.11           53.66      0.04%        588.45
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Other Revenue 4                                            -0.50     0.00%          0.00   0.00%            -0.50         489.01      0.33%       -489.51
        41,494.37     80.76%    51,891.00     96.22%   -10,396.63      27,835.01      55.24%      13,659.36   Parking Revenue                                      181,640.87     84.25%    213,860.00  96.34%      -32,219.13      113,023.70     76.49%     68,617.17
         5,774.06     11.24%     2,040.50      3.78%     3,733.56       1,141.03       2.26%       4,633.03   Gift Shop Sales                                       22,686.30     10.52%      8,130.00   3.66%       14,556.30        4,580.94      3.10%     18,105.36
       47,544.73     92.53%    53,931.50    100.00%    -6,386.77      29,119.94      57.79%      18,424.79    Total Other Income                                  205,965.95     95.53%    221,990.00 100.00%      -16,024.05      118,505.51     80.20%     87,460.44

       51,381.26    100.00%    53,931.50    100.00%    -2,550.24      50,388.58     100.00%         992.68    Total Minor Operating Income                        215,597.64     100.00%   221,990.00 100.00%       -6,392.36      147,764.50 100.00%       67,833.14

                                                                                                              Cost of Sales
             0.00      0.00%     2,594.55      4.81%    -2,594.55           0.00       0.00%           0.00   Cost of Sales - Valet Parking Revenue                      0.00      0.00%     10,693.00     4.82%    -10,693.00            0.00      0.00%          0.00
         2,593.68      5.05%     1,326.33      2.46%     1,267.35         552.31       1.10%       2,041.37   Cost of Sales - Gift Shop                             11,630.68      5.39%      5,284.51     2.38%      6,346.17        1,871.19      1.27%      9,759.49
        2,593.68      5.05%     3,920.88      7.27%    -1,327.20         552.31       1.10%       2,041.37    Total Minor Operated Cost of Sales                   11,630.68      5.39%     15,977.51     7.20%     -4,346.83        1,871.19      1.27%      9,759.49

       48,787.58     94.95%    50,010.62     92.73%    -1,223.04      49,836.27      98.90%      -1,048.69    Total Minor Operated Profit (Loss)                  203,966.96     94.61%    206,012.49    92.80%     -2,045.53      145,893.31     98.73%    58,073.65




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Arcade
                                                                                                       Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Revenue                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Non-Management                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Salaries and Wages                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade PR Taxes and Benefits                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Payroll                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Other Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Expenses                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Arcade Profit (Loss)                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                        Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                    As of 5/31/2022
              PTD     %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Waterpark
                                                                                                       Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Revenue                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Waterpark Management                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Waterpark Non-Management                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Salaries and Wages                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Payroll Taxes                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Supplemental Pay                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Other Benefits                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark PR Taxes and Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Payroll                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Other Expenses                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%          0.00    Total Waterpark Profit (Loss)                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                                                          As of 5/31/2022
              PTD     %           PTD Budget   %         Variance   PTD Last Year     %           Variance                                                              YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                             Franchise Fees
        35,689.15         5.28%    29,191.88   4.77%     6,497.27       8,193.18      4.29%      27,495.97   Franchise Fees - Royalty & Licenses                  108,050.28   5.21%   103,719.37     4.68%     4,330.91      76,287.65    5.54%   31,762.63
         3,398.94         0.50%     7,297.97   1.19%    -3,899.03         971.83      0.51%       2,427.11   Franchise Fees - Frequent Guest                        8,275.88   0.40%    25,929.84     1.17%   -17,653.96       4,430.07    0.32%    3,845.81
        24,480.75         3.62%    15,730.63   2.57%     8,750.12       3,271.06      1.71%      21,209.69   Franchise Fees - Marketing Contributions              83,099.60   4.01%    64,573.13     2.92%    18,526.47      28,129.27    2.04%   54,970.33

       63,568.84      9.41%       52,220.48    8.53%   11,348.36      12,436.07       6.52%     51,132.77    Total Franchise Fees                                199,425.76    9.62%   194,222.34     8.77%    5,203.42     108,846.99     7.90%   90,578.77




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                                                                                              Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %          Variance    PTD Last Year     %            Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                              A&G
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         9,368.18      1.39%     8,989.90    1.47%       378.28        8,803.24       4.61%         564.94    Management- A&G                                      45,631.78    2.20%     44,011.97     1.99%      1,619.81      46,217.00     3.35%      -585.22
        9,368.18      1.39%     8,989.90    1.47%       378.28        8,803.24       4.61%         564.94     Total A&G Management                                45,631.78    2.20%     44,011.97     1.99%      1,619.81      46,217.00     3.35%      -585.22
             0.00     0.00%          0.00   0.00%          0.00            0.00      0.00%            0.00    Total A&G Non-Management                                  0.00   0.00%           0.00    0.00%           0.00           0.00    0.00%          0.00
        9,368.18      1.39%     8,989.90    1.47%       378.28        8,803.24       4.61%         564.94     Total A&G Salaries and Wages                        45,631.78    2.20%     44,011.97     1.99%      1,619.81      46,217.00     3.35%      -585.22
                                                                                                              PR Taxes and Benefits
           721.18      0.11%       728.16    0.12%         -6.98         725.46       0.38%           -4.28   FICA                                                  3,481.37    0.17%      3,788.64     0.17%       -307.27       3,551.80     0.26%       -70.43
            -4.63      0.00%         8.57    0.00%        -13.20           0.00       0.00%           -4.63   Federal Unemployment Tax                                102.80    0.00%        130.66     0.01%        -27.86          42.00     0.00%        60.80
           -24.99      0.00%        51.40    0.01%        -76.39           0.00       0.00%          -24.99   State Unemployment Tax                                  511.17    0.02%      1,114.24     0.05%       -603.07         167.81     0.01%       343.36
          691.56      0.10%       788.13    0.13%        -96.57         725.46       0.38%          -33.90    Total Payroll Taxes                                  4,095.34    0.20%      5,033.54     0.23%       -938.20       3,761.61     0.27%       333.73
             0.00      0.00%       176.00    0.03%      -176.00          440.16       0.23%        -440.16    Holiday                                                   0.00    0.00%        352.00     0.02%       -352.00         880.32     0.06%      -880.32
             0.00      0.00%       352.56    0.06%      -352.56          846.87       0.44%        -846.87    Vacation                                                  0.00    0.00%      1,494.86     0.07%     -1,494.86       5,850.27     0.42%    -5,850.27
             0.00     0.00%       528.56    0.09%      -528.56        1,287.03       0.67%      -1,287.03     Total Supplemental Pay                                    0.00   0.00%      1,846.86     0.08%     -1,846.86       6,730.59     0.49%    -6,730.59
           820.74      0.12%       618.45    0.10%       202.29          817.39       0.43%            3.35   Worker's Compensation                                 4,762.00    0.23%      3,392.91     0.15%      1,369.09       3,882.42     0.28%       879.58
             0.00      0.00%       700.00    0.11%      -700.00          483.77       0.25%        -483.77    Group Insurance                                         435.06    0.02%      3,500.00     0.16%     -3,064.94       2,418.85     0.18%    -1,983.79
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%            0.00   Bonus and Incentive Pay                                 458.33    0.02%      3,666.00     0.17%     -3,207.67           0.00     0.00%       458.33
          820.74      0.12%     1,318.45    0.22%      -497.71        1,301.16       0.68%        -480.42     Total Other Benefits                                 5,655.39    0.27%     10,558.91     0.48%     -4,903.52       6,301.27     0.46%      -645.88
        1,512.30      0.22%     2,635.14    0.43%    -1,122.84        3,313.65       1.74%      -1,801.35     Total A&G PR Taxes and Benefits                      9,750.73    0.47%     17,439.31     0.79%     -7,688.58      16,793.47     1.22%    -7,042.74
       10,880.48      1.61%    11,625.04    1.90%      -744.56       12,116.89       6.35%      -1,236.41     Total A&G Payroll                                   55,382.51    2.67%     61,451.28     2.77%     -6,068.77      63,010.47     4.57%    -7,627.96
                                                                                                              Other Expenses
             0.00      0.00%     1,500.00    0.24%   -1,500.00             0.00       0.00%           0.00    Accounting/Audit Fees                                     0.00    0.00%      7,500.00     0.34%     -7,500.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00             2.96       0.00%          -2.96    Bad Debt Provision                                        0.00    0.00%          0.00     0.00%          0.00         247.90     0.02%      -247.90
         1,378.48      0.20%       800.00    0.13%      578.48         1,343.38       0.70%          35.10    Bank Charges                                          5,020.12    0.24%      4,000.00     0.18%      1,020.12       5,409.69     0.39%      -389.57
          -320.39     -0.05%         0.00    0.00%     -320.39            -2.62       0.00%        -317.77    Cash Over/Short                                        -491.17   -0.02%          0.00     0.00%       -491.17         -29.72     0.00%      -461.45
           386.46      0.06%       200.00    0.03%      186.46             0.00       0.00%         386.46    Central Office - Travel Rebilled                      2,423.06    0.12%      1,000.00     0.05%      1,423.06           0.00     0.00%     2,423.06
         1,000.00      0.15%     1,000.00    0.16%        0.00         3,060.00       1.60%      -2,060.00    Central Office - Accounting Fees                      5,000.00    0.24%      5,000.00     0.23%          0.00      15,300.00     1.11%   -10,300.00
        18,042.95      2.67%    13,838.27    2.26%    4,204.68         5,009.33       2.63%      13,033.62    Credit Card Commission                               49,439.76    2.38%     50,055.71     2.26%       -615.95      14,267.33     1.04%    35,172.43
           168.09      0.02%        50.00    0.01%      118.09             0.00       0.00%         168.09    Dues and Subscriptions                                1,077.14    0.05%        250.00     0.01%        827.14           0.00     0.00%     1,077.14
             0.00      0.00%         0.00    0.00%        0.00           636.93       0.33%        -636.93    Employee Relations                                    1,280.06    0.06%        795.00     0.04%        485.06       2,034.39     0.15%      -754.33
           165.00      0.02%     3,103.08    0.51%   -2,938.08         1,136.39       0.60%        -971.39    Licenses/Permits                                      1,301.88    0.06%     15,765.40     0.71%    -14,463.52       8,017.75     0.58%    -6,715.87
            28.84      0.00%         0.00    0.00%       28.84             0.00       0.00%          28.84    Meals and Entertainment                                  86.52    0.00%          0.00     0.00%         86.52           0.00     0.00%        86.52
          -338.80     -0.05%         0.00    0.00%     -338.80           776.59       0.41%      -1,115.39    Miscellaneous Expense                                -5,035.23   -0.24%          0.00     0.00%     -5,035.23       1,415.59     0.10%    -6,450.82
           936.71      0.14%       750.00    0.12%      186.71           598.94       0.31%         337.77    Operating Supplies                                    5,052.33    0.24%      3,750.00     0.17%      1,302.33       2,189.76     0.16%     2,862.57
           576.30      0.09%       503.14    0.08%       73.16           810.00       0.42%        -233.70    Payroll Service Fees                                  2,290.28    0.11%      2,508.85     0.11%       -218.57       4,050.00     0.29%    -1,759.72
             0.00      0.00%        75.00    0.01%      -75.00            30.16       0.02%         -30.16    Postage                                                 181.79    0.01%        375.00     0.02%       -193.21          96.57     0.01%        85.22
            87.50      0.01%       350.00    0.06%     -262.50             0.00       0.00%          87.50    Professional Fees - Legal                             2,662.26    0.13%      1,750.00     0.08%        912.26           0.00     0.00%     2,662.26
           899.51      0.13%         0.00    0.00%      899.51             0.00       0.00%         899.51    Professional Fees - Other                             5,328.47    0.26%        650.00     0.03%      4,678.47           0.00     0.00%     5,328.47
           382.35      0.06%         0.00    0.00%      382.35             0.00       0.00%         382.35    Recruitment Advertising                               2,311.10    0.11%          0.00     0.00%      2,311.10           0.00     0.00%     2,311.10
         6,250.00      0.93%     6,500.00    1.06%     -250.00           418.03       0.22%       5,831.97    Security - Outside                                   24,100.00    1.16%     31,700.00     1.43%     -7,600.00       2,233.70     0.16%    21,866.30
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%           0.00    Training                                              2,964.59    0.14%      3,690.00     0.17%       -725.41           0.00     0.00%     2,964.59
             0.00      0.00%         0.00    0.00%        0.00             0.00       0.00%           0.00    Travel                                                  887.63    0.04%          0.00     0.00%        887.63          45.25     0.00%       842.38
       29,643.00      4.39%    28,669.49    4.68%      973.51        13,820.09       7.24%      15,822.91     Total A&G Other Expenses                           105,880.59    5.11%    128,789.96     5.81%    -22,909.37      55,278.21     4.01%    50,602.38
       40,523.48      6.00%    40,294.53    6.58%      228.95        25,936.98      13.59%      14,586.50     Total A&G Expenses                                 161,263.10    7.78%    190,241.24     8.59%    -28,978.14     118,288.68     8.58%    42,974.42




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                                              YTD    %        YTD Budget %              Variance   YTD Last Year   %           Variance

                                                                                                           IT
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Management                                       0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Non-Management                                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Salaries and Wages                               0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Payroll Taxes                                       0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Supplemental Pay                                    0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total Other Benefits                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT PR Taxes and Benefits                            0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Payroll                                          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

                                                                                                           Cost of Services
         1,190.67      0.18%       300.00    0.05%     890.67           85.00       0.04%       1,105.67   Cost of Cell Phones                                    3,149.87    0.15%     1,500.00      0.07%     1,649.87         425.00     0.03%      2,724.87
         1,772.16      0.26%     1,400.00    0.23%     372.16        1,399.99       0.73%         372.17   Cost of Internet Services                              8,768.55    0.42%     7,000.00      0.32%     1,768.55       6,999.95     0.51%      1,768.60
           602.23      0.09%     1,050.00    0.17%    -447.77          995.98       0.52%        -393.75   Cost of Calls                                          3,169.24    0.15%     5,250.00      0.24%    -2,080.76       4,889.93     0.35%     -1,720.69
        3,565.06      0.53%     2,750.00    0.45%     815.06        2,480.97       1.30%       1,084.09    Total IT Cost of Services                            15,087.66    0.73%    13,750.00      0.62%     1,337.66      12,314.88     0.89%      2,772.78

                                                                                                           System Costs
         2,101.69      0.31%     2,058.07    0.34%      43.62          308.31       0.16%       1,793.38   Administrative & General                               4,628.45    0.22%     4,210.35      0.19%       418.10       1,541.67     0.11%      3,086.78
             0.00      0.00%       130.00    0.02%    -130.00          130.64       0.07%        -130.64   Food & Beverage                                            0.00    0.00%       650.00      0.03%      -650.00       1,853.20     0.13%     -1,853.20
             0.00      0.00%        50.00    0.01%     -50.00            0.00       0.00%           0.00   Human Resources                                            0.00    0.00%       250.00      0.01%      -250.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%       0.00          197.25       0.10%        -197.25   Information Security                                   4,405.00    0.21%         0.00      0.00%     4,405.00       1,167.19     0.08%      3,237.81
         1,613.32      0.24%       180.00    0.03%   1,433.32          949.81       0.50%         663.51   Information Systems                                    8,066.63    0.39%       900.00      0.04%     7,166.63       5,296.55     0.38%      2,770.08
           203.00      0.03%       203.00    0.03%       0.00            0.00       0.00%         203.00   Property Ops & Maintenance                             1,390.00    0.07%     1,015.00      0.05%       375.00           0.00     0.00%      1,390.00
           401.94      0.06%       450.00    0.07%     -48.06        7,303.57       3.83%      -6,901.63   Rooms                                                  4,281.47    0.21%     2,250.00      0.10%     2,031.47      41,221.21     2.99%    -36,939.74
             0.00      0.00%       323.00    0.05%    -323.00          298.11       0.16%        -298.11   Sales & Marketing                                          0.00    0.00%     1,615.00      0.07%    -1,615.00       1,490.55     0.11%     -1,490.55
             0.00      0.00%       500.00    0.08%    -500.00          515.75       0.27%        -515.75   Telecommunications                                         0.00    0.00%     2,500.00      0.11%    -2,500.00       2,593.92     0.19%     -2,593.92
        4,319.95      0.64%     3,894.07    0.64%     425.88        9,703.44       5.09%      -5,383.49    Total IT Systems                                     22,771.55    1.10%    13,390.35      0.60%     9,381.20      55,164.29     4.00%    -32,392.74

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%       0.00            0.00       0.00%          0.00    Contract Labor                                            0.00     0.00%        0.00       0.00%        0.00           55.19     0.00%        -55.19
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Total IT Other Expenses                                   0.00    0.00%         0.00      0.00%         0.00           55.19    0.00%        -55.19

        7,885.01      1.17%     6,644.07    1.09%    1,240.94      12,184.41       6.39%      -4,299.40    Total IT Expenses                                    37,859.21    1.83%    27,140.35      1.23%    10,718.86      67,534.36     4.90%    -29,675.15




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              PTD     %        PTD Budget   %           Variance   PTD Last Year     %            Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
        10,390.16      1.54%     8,172.64    1.33%      2,217.52           0.00       0.00%      10,390.16   Division Management                                   50,609.81    2.44%     40,010.90     1.81%     10,598.91      24,540.00     1.78%    26,069.81
             0.00      0.00%     4,494.95    0.73%     -4,494.95       4,131.07       2.17%      -4,131.07   Sales Managers                                        15,487.60    0.75%     22,005.99     0.99%     -6,518.39      20,450.14     1.48%    -4,962.54
       10,390.16      1.54%    12,667.59    2.07%     -2,277.43       4,131.07       2.17%       6,259.09    Total S&M Management                                 66,097.41    3.19%     62,016.89     2.80%      4,080.52      44,990.14     3.26%    21,107.27
             0.00      0.00%     4,428.57    0.72%     -4,428.57           0.00       0.00%           0.00   Administrative Assistant                                   0.00    0.00%     21,571.42     0.97%    -21,571.42           0.00     0.00%         0.00
             0.00     0.00%     4,428.57    0.72%     -4,428.57            0.00      0.00%            0.00   Total S&M Non-Management                                   0.00   0.00%     21,571.42     0.97%    -21,571.42            0.00    0.00%          0.00

       10,390.16      1.54%    17,096.16    2.79%     -6,706.00       4,131.07       2.17%       6,259.09    Total S&M Salaries and Wages                         66,097.41    3.19%     83,588.31     3.77%    -17,490.90      44,990.14     3.26%    21,107.27

                                                                                                             PR Taxes and Benefits
           799.85      0.12%     1,357.49    0.22%       -557.64         286.71       0.15%         513.14   FICA                                                   4,985.15    0.24%      6,974.11     0.31%     -1,988.96       3,475.09     0.25%      1,510.06
             3.57      0.00%        15.97    0.00%        -12.40           0.00       0.00%           3.57   Federal Unemployment Tax                                 173.03    0.01%        242.71     0.01%        -69.68          84.00     0.01%         89.03
            11.89      0.00%        95.82    0.02%        -83.93           0.00       0.00%          11.89   State Unemployment Tax                                   854.49    0.04%      2,066.03     0.09%     -1,211.54         347.66     0.03%        506.83
          815.31      0.12%     1,469.28    0.24%       -653.97         286.71       0.15%         528.60    Total Payroll Taxes                                   6,012.67    0.29%      9,282.85     0.42%     -3,270.18       3,906.75     0.28%      2,105.92
             0.00      0.00%       152.00    0.02%       -152.00         187.84       0.10%        -187.84   Holiday                                                    0.00    0.00%        304.00     0.01%       -304.00         738.08     0.05%       -738.08
             0.00      0.00%       496.79    0.08%       -496.79         172.30       0.09%        -172.30   Vacation                                                   0.00    0.00%      2,106.39     0.10%     -2,106.39       2,304.34     0.17%     -2,304.34
             0.00     0.00%       648.79    0.11%       -648.79         360.14       0.19%        -360.14    Total Supplemental Pay                                     0.00   0.00%      2,410.39     0.11%     -2,410.39       3,042.42     0.22%     -3,042.42
           923.33      0.14%     1,152.96    0.19%       -229.63         367.69       0.19%         555.64   Worker's Compensation                                  7,074.10    0.34%      6,257.93     0.28%        816.17       3,732.49     0.27%      3,341.61
             0.00      0.00%       700.00    0.11%       -700.00       1,199.60       0.63%      -1,199.60   Group Insurance                                            0.00    0.00%      3,500.00     0.16%     -3,500.00       5,508.56     0.40%     -5,508.56
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                                    0.00    0.00%      5,166.00     0.23%     -5,166.00           0.00     0.00%          0.00
          923.33      0.14%     1,852.96    0.30%       -929.63       1,567.29       0.82%        -643.96    Total Other Benefits                                  7,074.10    0.34%     14,923.93     0.67%     -7,849.83       9,241.05     0.67%     -2,166.95
        1,738.64      0.26%     3,971.03    0.65%     -2,232.39       2,214.14       1.16%        -475.50    Total S&M PR Taxes and Benefits                      13,086.77    0.63%     26,617.17     1.20%    -13,530.40      16,190.22     1.17%     -3,103.45

       12,128.80      1.80%    21,067.19    3.44%     -8,938.39       6,345.21       3.33%       5,783.59    Total S&M Payroll                                    79,184.18    3.82%    110,205.48     4.98%    -31,021.30      61,180.36     4.44%    18,003.82

                                                                                                             Other Expenses
             0.00      0.00%         0.00    0.00%          0.00        -971.00      -0.51%         971.00   Advertising General                                        0.00    0.00%          0.00     0.00%          0.00         445.00     0.03%       -445.00
             0.00      0.00%       450.00    0.07%       -450.00           0.00       0.00%           0.00   Advertising Production                                     0.00    0.00%      2,250.00     0.10%     -2,250.00           0.00     0.00%          0.00
             0.00      0.00%       348.00    0.06%       -348.00           0.00       0.00%           0.00   Advertising Telephone Directory                            0.00    0.00%      1,740.00     0.08%     -1,740.00           0.00     0.00%          0.00
           840.00      0.12%       815.00    0.13%         25.00         658.19       0.34%         181.81   Advertising-Web/Internet                               3,583.13    0.17%      2,980.00     0.13%        603.13        -480.16    -0.03%      4,063.29
             0.00      0.00%     4,929.00    0.80%     -4,929.00           0.00       0.00%           0.00   Agency Fees                                                0.00    0.00%     24,009.00     1.08%    -24,009.00           0.00     0.00%          0.00
             0.00      0.00%        75.00    0.01%        -75.00           0.00       0.00%           0.00   Billboards                                                 0.00    0.00%        375.00     0.02%       -375.00           0.00     0.00%          0.00
             0.00      0.00%        37.00    0.01%        -37.00           0.00       0.00%           0.00   Brochures                                                  0.00    0.00%        185.00     0.01%       -185.00           0.00     0.00%          0.00
             0.00      0.00%        25.00    0.00%        -25.00           0.00       0.00%           0.00   Direct Mail                                                0.00    0.00%        125.00     0.01%       -125.00           0.00     0.00%          0.00
             0.00      0.00%        25.00    0.00%        -25.00           0.00       0.00%           0.00   Directories                                                0.00    0.00%        125.00     0.01%       -125.00           0.00     0.00%          0.00
         2,222.00      0.33%     3,859.42    0.63%     -1,637.42       6,424.90       3.37%      -4,202.90   Dues and Subscriptions                                12,847.00    0.62%     19,297.10     0.87%     -6,450.10      34,490.82     2.50%    -21,643.82
             0.00      0.00%     1,851.50    0.30%     -1,851.50           0.00       0.00%           0.00   GDS Marketing Advert & Sales                             -21.83    0.00%      9,257.50     0.42%     -9,279.33           0.00     0.00%        -21.83
             0.00      0.00%        25.00    0.00%        -25.00           0.00       0.00%           0.00   Magazine - Advertising                                     0.00    0.00%        125.00     0.01%       -125.00           0.00     0.00%          0.00
             0.00      0.00%       125.00    0.02%       -125.00           0.00       0.00%           0.00   Meals and Entertainment                                    0.00    0.00%        625.00     0.03%       -625.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   Miscellaneous Expense                                     31.24    0.00%          0.00     0.00%         31.24           0.00     0.00%         31.24
             0.00      0.00%       100.00    0.02%       -100.00           0.00       0.00%           0.00   Newspaper Advertising                                      0.00    0.00%        500.00     0.02%       -500.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   Office Equipment                                           0.00    0.00%          0.00     0.00%          0.00         116.69     0.01%       -116.69
             0.00      0.00%        75.00    0.01%        -75.00           0.00       0.00%           0.00   Operating Supplies                                         5.30    0.00%        375.00     0.02%       -369.70           0.00     0.00%          5.30
             0.00      0.00%        50.00    0.01%        -50.00           0.00       0.00%           0.00   Postage                                                    0.00    0.00%        250.00     0.01%       -250.00           0.00     0.00%          0.00
             0.00      0.00%       100.00    0.02%       -100.00           0.00       0.00%           0.00   Printing and Stationery                                    0.00    0.00%        500.00     0.02%       -500.00           0.00     0.00%          0.00
             0.00      0.00%       100.00    0.02%       -100.00           0.00       0.00%           0.00   Promotions - In-house                                      0.00    0.00%        500.00     0.02%       -500.00           0.00     0.00%          0.00
             0.00      0.00%       300.00    0.05%       -300.00           0.00       0.00%           0.00   Promotion - Outside                                        0.00    0.00%      1,500.00     0.07%     -1,500.00           2.56     0.00%         -2.56
             0.00      0.00%        13.00    0.00%        -13.00           0.00       0.00%           0.00   Radio & Television Advertising                             0.00    0.00%         65.00     0.00%        -65.00           0.00     0.00%          0.00
             0.00      0.00%        11.17    0.00%        -11.17           0.00       0.00%           0.00   Trade Shows                                                0.00    0.00%         55.85     0.00%        -55.85           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   Training                                               1,110.00    0.05%          0.00     0.00%      1,110.00           0.00     0.00%      1,110.00
             0.00      0.00%       100.00    0.02%       -100.00           0.00       0.00%           0.00   Travel                                                     0.00    0.00%        500.00     0.02%       -500.00           0.00     0.00%          0.00
        3,062.00      0.45%    13,414.09    2.19%    -10,352.09       6,112.09       3.20%      -3,050.09    Total S&M Other Expenses                             17,554.84    0.85%     65,339.45     2.95%    -47,784.61      34,574.91     2.51%    -17,020.07

       15,190.80      2.25%    34,481.28    5.63%    -19,290.48      12,457.30       6.53%       2,733.50    Total S&M Expenses                                   96,739.02    4.67%    175,544.93     7.93%    -78,805.91      95,755.27     6.95%        983.75




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                                                                                              Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %           Variance   PTD Last Year     %            Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              R&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         6,813.18      1.01%     6,538.11    1.07%        275.07           0.00       0.00%       6,813.18    Division Management                                  33,186.78    1.60%     32,008.71     1.45%      1,178.07           0.00     0.00%     33,186.78
        6,813.18      1.01%     6,538.11    1.07%        275.07            0.00      0.00%       6,813.18     Total R&M Management                                33,186.78    1.60%     32,008.71     1.45%      1,178.07            0.00    0.00%     33,186.78
         5,309.23      0.79%     8,928.00    1.46%     -3,618.77       8,832.82       4.63%      -3,523.59    Engineers 1                                          26,779.84    1.29%     43,488.00     1.96%    -16,708.16      43,756.36     3.18%    -16,976.52
           621.09      0.09%         0.00    0.00%        621.09           0.00       0.00%         621.09    Engineers 1 Overtime                                    621.09    0.03%          0.00     0.00%        621.09           0.00     0.00%        621.09
        5,930.32      0.88%     8,928.00    1.46%     -2,997.68       8,832.82       4.63%      -2,902.50     Total R&M Non-Management                            27,400.93    1.32%     43,488.00     1.96%    -16,087.07      43,756.36     3.18%    -16,355.43

       12,743.50      1.89%    15,466.11    2.53%     -2,722.61       8,832.82       4.63%       3,910.68     Total R&M Salaries and Wages                        60,587.71    2.92%     75,496.71     3.41%    -14,909.00      43,756.36     3.18%    16,831.35

                                                                                                              PR Taxes and Benefits
           980.88      0.15%     1,205.19    0.20%      -224.31          673.30       0.35%         307.58    FICA                                                  4,577.27    0.22%      6,026.12     0.27%     -1,448.85       3,327.78     0.24%      1,249.49
            -6.16      0.00%        14.18    0.00%       -20.34           -3.03       0.00%           -3.13   Federal Unemployment Tax                                132.84    0.01%        212.87     0.01%        -80.03         126.00     0.01%          6.84
             0.41      0.00%        85.07    0.01%       -84.66            1.97       0.00%           -1.56   State Unemployment Tax                                  693.83    0.03%      1,803.41     0.08%     -1,109.58         557.94     0.04%        135.89
          975.13      0.14%     1,304.44    0.21%      -329.31          672.24       0.35%         302.89     Total Payroll Taxes                                  5,403.94    0.26%      8,042.40     0.36%     -2,638.46       4,011.72     0.29%      1,392.22
             0.00      0.00%       288.00    0.05%      -288.00          285.28       0.15%        -285.28    Holiday                                                   0.00    0.00%        576.00     0.03%       -576.00         570.56     0.04%       -570.56
             0.00      0.00%         0.00    0.00%         0.00          132.49       0.07%        -132.49    Vacation                                                  0.00    0.00%          0.00     0.00%          0.00         635.62     0.05%       -635.62
             0.00     0.00%       288.00    0.05%      -288.00          417.77       0.22%        -417.77     Total Supplemental Pay                                    0.00   0.00%        576.00     0.03%       -576.00       1,206.18     0.09%     -1,206.18
         1,128.52      0.17%     1,023.60    0.17%       104.92          776.24       0.41%         352.28    Worker's Compensation                                 6,246.59    0.30%      5,422.64     0.24%        823.95       3,608.85     0.26%      2,637.74
             0.00      0.00%       350.00    0.06%      -350.00          384.16       0.20%        -384.16    Group Insurance                                           0.00    0.00%      1,750.00     0.08%     -1,750.00       1,775.38     0.13%     -1,775.38
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   Bonus and Incentive Pay                                   0.00    0.00%      2,700.00     0.12%     -2,700.00           0.00     0.00%          0.00
        1,128.52      0.17%     1,373.60    0.22%      -245.08        1,160.40       0.61%          -31.88    Total Other Benefits                                 6,246.59    0.30%      9,872.64     0.45%     -3,626.05       5,384.23     0.39%        862.36
        2,103.65      0.31%     2,966.04    0.48%      -862.39        2,250.41       1.18%        -146.76     Total R&M PR Taxes and Benefits                     11,650.53    0.56%     18,491.04     0.83%     -6,840.51      10,602.13     0.77%      1,048.40

       14,847.15      2.20%    18,432.15    3.01%     -3,585.00      11,083.23       5.81%       3,763.92     Total R&M Payroll                                   72,238.24    3.48%     93,987.75     4.24%    -21,749.51      54,358.49     3.94%    17,879.75

                                                                                                              Other Expenses
             0.00      0.00%     1,733.42    0.28%     -1,733.42         839.72       0.44%        -839.72    Air Conditioning and Refrigeration                        0.00    0.00%      8,667.10     0.39%     -8,667.10      15,640.80     1.13%    -15,640.80
             0.00      0.00%       100.00    0.02%       -100.00           0.00       0.00%           0.00    Audio Visual Repair                                       0.00    0.00%        500.00     0.02%       -500.00           0.00     0.00%          0.00
         2,673.78      0.40%     1,000.00    0.16%      1,673.78       3,067.75       1.61%        -393.97    Building                                             21,112.29    1.02%      5,000.00     0.23%     16,112.29       9,630.02     0.70%     11,482.27
             0.00      0.00%         0.00    0.00%          0.00       1,435.00       0.75%      -1,435.00    Contract Labor                                       10,309.40    0.50%      5,500.00     0.25%      4,809.40       7,175.00     0.52%      3,134.40
             0.00      0.00%       300.00    0.05%       -300.00           0.00       0.00%           0.00    Electric Bulbs                                          219.60    0.01%      1,500.00     0.07%     -1,280.40         555.17     0.04%       -335.57
             0.00      0.00%       500.00    0.08%       -500.00         254.30       0.13%        -254.30    Electrical and Mechanical                                 0.00    0.00%      2,500.00     0.11%     -2,500.00       3,849.40     0.28%     -3,849.40
         2,083.21      0.31%     3,842.50    0.63%     -1,759.29       2,804.80       1.47%        -721.59    Elevator Maintenance Contracts                        9,411.10    0.45%     19,212.50     0.87%     -9,801.40      16,607.13     1.21%     -7,196.03
             0.00      0.00%     1,967.33    0.32%     -1,967.33       3,536.36       1.85%      -3,536.36    Fire Safety Equipment                                 3,172.78    0.15%      9,836.65     0.44%     -6,663.87      13,987.06     1.01%    -10,814.28
             0.00      0.00%       200.00    0.03%       -200.00           0.00       0.00%           0.00    Floor and Carpet Maintenance                              0.00    0.00%      1,000.00     0.05%     -1,000.00           0.00     0.00%          0.00
             0.00      0.00%       100.00    0.02%       -100.00           0.00       0.00%           0.00    Furniture                                                 0.00    0.00%        500.00     0.02%       -500.00           0.00     0.00%          0.00
             0.00      0.00%     1,635.67    0.27%     -1,635.67       1,126.38       0.59%      -1,126.38    Grounds and Landscaping                              11,088.26    0.53%     13,178.35     0.59%     -2,090.09       7,585.57     0.55%      3,502.69
             0.00      0.00%     1,278.08    0.21%     -1,278.08       1,165.00       0.61%      -1,165.00    Kitchen Equipment Repairs                               302.01    0.01%      6,390.40     0.29%     -6,088.39       3,999.89     0.29%     -3,697.88
             0.00      0.00%       400.00    0.07%       -400.00           0.00       0.00%           0.00    Laundry Equipment Repairs                               756.71    0.04%      2,000.00     0.09%     -1,243.29       1,296.73     0.09%       -540.02
             0.00      0.00%       500.00    0.08%       -500.00         -77.06      -0.04%          77.06    Operating Supplies                                       50.60    0.00%      2,500.00     0.11%     -2,449.40       3,430.68     0.25%     -3,380.08
           856.28      0.13%       336.17    0.05%        520.11          20.45       0.01%         835.83    Painting and Decorating                                 924.98    0.04%      1,680.85     0.08%       -755.87       1,578.04     0.11%       -653.06
           225.00      0.03%       750.00    0.12%       -525.00           0.00       0.00%         225.00    Pest Control                                          2,923.00    0.14%      3,750.00     0.17%       -827.00           0.00     0.00%      2,923.00
         6,488.00      0.96%       809.58    0.13%      5,678.42      12,290.97       6.44%      -5,802.97    Plumbing and Heating                                  9,003.18    0.43%      4,047.90     0.18%      4,955.28      42,865.42     3.11%    -33,862.24
             0.00      0.00%     3,690.42    0.60%     -3,690.42           0.00       0.00%           0.00    Pool Service- Contract                                    0.00    0.00%     18,452.10     0.83%    -18,452.10           0.00     0.00%          0.00
             0.00      0.00%       100.00    0.02%       -100.00           0.00       0.00%           0.00    Tools                                                     0.00    0.00%        500.00     0.02%       -500.00           0.00     0.00%          0.00
           275.14      0.04%         0.00    0.00%        275.14           0.00       0.00%         275.14    Travel                                                  288.08    0.01%        500.00     0.02%       -211.92         121.60     0.01%        166.48
             0.00      0.00%       100.00    0.02%       -100.00           0.00       0.00%           0.00    Uniforms                                                  0.00    0.00%        500.00     0.02%       -500.00           0.00     0.00%          0.00
             0.00      0.00%       300.00    0.05%       -300.00           0.00       0.00%           0.00    Vehicle Maintenance & Repairs                             0.00    0.00%      1,500.00     0.07%     -1,500.00           0.00     0.00%          0.00
         1,334.06      0.20%     1,263.40    0.21%         70.66       1,210.10       0.63%         123.96    Waste Removal                                         5,119.19    0.25%      5,033.80     0.23%         85.39       8,770.34     0.64%     -3,651.15
             0.00      0.00%       200.00    0.03%       -200.00           0.00       0.00%           0.00    Water Treatment                                           0.00    0.00%      1,000.00     0.05%     -1,000.00           0.00     0.00%          0.00
       13,935.47      2.06%    21,106.57    3.45%     -7,171.10      27,673.77      14.50%     -13,738.30     Total R&M Other Expenses                            74,681.18    3.60%    115,249.65     5.20%    -40,568.47     137,092.85     9.95%    -62,411.67

       28,782.62      4.26%    39,538.72    6.46%    -10,756.10      38,757.00      20.31%      -9,974.38     Total R&M Expenses                                 146,919.42    7.09%    209,237.40     9.45%    -62,317.98     191,451.34     13.89%   -44,531.92




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                                                                                              Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD     %        PTD Budget   %           Variance   PTD Last Year     %            Variance                                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             Utilities
        17,263.55      2.56%    13,263.25    2.17%      4,000.30      14,688.73       7.70%       2,574.82   Water                                                 56,405.38    2.72%     52,845.00     2.39%      3,560.38      43,344.12     3.15%    13,061.26
         5,988.33      0.89%    19,588.80    3.20%    -13,600.47       6,465.13       3.39%        -476.80   Electricity                                           54,545.35    2.63%     78,048.00     3.52%    -23,502.65      49,057.04     3.56%     5,488.31
         3,824.11      0.57%     5,509.35    0.90%     -1,685.24       6,255.07       3.28%      -2,430.96   Gas - Natural HLP                                     22,944.04    1.11%     21,951.00     0.99%        993.04      33,909.79     2.46%   -10,965.75
       27,075.99      4.01%    38,361.40    6.26%    -11,285.41      27,408.93      14.36%        -332.94    Total Utilities                                     133,894.77    6.46%    152,844.00     6.90%    -18,949.23     126,310.95     9.17%     7,583.82




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                                                                                                Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD      %        PTD Budget   %            Variance   PTD Last Year     %            Variance                                                               YTD      %        YTD Budget %                Variance    YTD Last Year    %            Variance

                                                                                                                Fixed
          5,083.00      0.75%     5,083.33    0.83%          -0.33           0.00       0.00%        5,083.00   Personal Property Taxes                               25,415.00      1.23%     25,416.65     1.15%           -1.65           0.00      0.00%      25,415.00
          9,125.98      1.35%     9,916.67    1.62%        -790.69      20,822.00      10.91%     -11,696.02    Real Estate Taxes                                     48,793.98      2.35%     49,583.35     2.24%         -789.37     104,110.00      7.55%     -55,316.02
       14,208.98       2.10%    15,000.00    2.45%        -791.02      20,822.00      10.91%       -6,613.02    Total Taxes                                          74,208.98      3.58%     75,000.00     3.39%         -791.02     104,110.00      7.55%     -29,901.02
              0.00      0.00%         0.00    0.00%           0.00         483.00       0.25%         -483.00   Insurance                                                  0.00      0.00%          0.00     0.00%            0.00       2,415.00      0.18%      -2,415.00
            643.27      0.10%       590.08    0.10%          53.19           0.00       0.00%          643.27   Insurance - Automobile                                 3,216.35      0.16%      2,950.40     0.13%          265.95           0.00      0.00%       3,216.35
              0.00      0.00%       348.83    0.06%        -348.83           0.00       0.00%            0.00   Insurance - Crime                                          0.00      0.00%      1,744.15     0.08%       -1,744.15           0.00      0.00%           0.00
            380.55      0.06%         0.00    0.00%         380.55           0.00       0.00%          380.55   Insurance - Employment                                 1,902.75      0.09%          0.00     0.00%        1,902.75           0.00      0.00%       1,902.75
          3,872.73      0.57%     3,550.33    0.58%         322.40       6,797.86       3.56%       -2,925.13   Insurance - General Liability                         19,363.65      0.93%     17,751.65     0.80%        1,612.00      33,989.30      2.47%     -14,625.65
       -10,733.47      -1.59%     5,272.00    0.86%     -16,005.47       8,896.62       4.66%     -19,630.09    Insurance - Property                                  28,071.69      1.35%     26,360.00     1.19%        1,711.69      44,645.22      3.24%     -16,573.53
        -5,836.92     -0.86%     9,761.24    1.59%     -15,598.16      16,177.48       8.48%     -22,014.40     Total Insurance                                      52,554.44      2.53%     48,806.20     2.20%        3,748.24      81,049.52      5.88%     -28,495.08
         50,201.00      7.43%    50,200.90    8.20%           0.10      47,411.18      24.85%        2,789.82   Ground Lease Expense                                 251,005.00     12.11%    251,004.50    11.33%            0.50     237,055.90     17.20%      13,949.10
       50,201.00       7.43%    50,200.90    8.20%            0.10     47,411.18      24.85%        2,789.82    Total Leases & Rent                                 251,005.00     12.11%    251,004.50    11.33%             0.50    237,055.90     17.20%      13,949.10
         20,769.49      3.07%    18,369.39    3.00%       2,400.10       5,724.22       3.00%       15,045.27   Management Fee - Base                                 64,694.86      3.12%     66,445.63     3.00%       -1,750.77      41,344.19      3.00%      23,350.67
       20,769.49       3.07%    18,369.39    3.00%       2,400.10       5,724.22       3.00%      15,045.27     Total Management Fees                                64,694.86      3.12%     66,445.63     3.00%       -1,750.77      41,344.19      3.00%      23,350.67
          4,461.60      0.66%         0.00    0.00%       4,461.60           0.00       0.00%        4,461.60   Capital Reserve                                       13,592.60      0.66%     67,000.00     3.03%     -53,407.40            0.00      0.00%      13,592.60
      -244,578.48     -36.20%         0.00    0.00%    -244,578.48           0.00       0.00%    -244,578.48    Extraordinary Expense                               -244,578.48    -11.80%          0.00     0.00%    -244,578.48            0.00      0.00%    -244,578.48
              0.00      0.00%         0.00    0.00%           0.00         300.00       0.16%         -300.00   Prior Owner's Expense                                      0.00      0.00%          0.00     0.00%            0.00       3,184.65      0.23%      -3,184.65
     -240,116.88     -35.54%          0.00   0.00%    -240,116.88         300.00       0.16%    -240,416.88     Total Other Non-Operating                          -230,985.88    -11.14%     67,000.00     3.03%    -297,985.88        3,184.65      0.23%    -234,170.53




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                                                                                                          Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                                           P&L - Dual Summary Pages
                                                                                                                                 As of 5/31/2022
              PTD        %        PTD Budget      %           Variance   PTD Last Year     %            Variance                                                                   YTD     %          YTD Budget %                 Variance   YTD Last Year     %            Variance

                                                                                                                   Statistics
           142.00                      142.00                    0.00          142.00                      0.00    # Rooms                                                       142.00                    142.00                      0.00         142.00                      0.00
         4,402.00                    4,402.00                    0.00        4,402.00                      0.00    Available Rooms                                            21,442.00                 21,442.00                      0.00      21,442.00                      0.00
         3,731.00                    3,432.00                  299.00        3,353.00                    378.00    Room Nights Sold                                           16,006.00                 13,070.00                  2,936.00      12,134.00                  3,872.00
          84.76%                      77.96%                   6.79%          76.17%                     8.59%     Occupancy %                                                  74.65%                    60.96%                    13.69%         56.59%                    18.06%
           178.82                      193.49                  -14.67          159.11                     19.71    ADR                                                           168.55                    188.65                    -20.10         154.05                     14.50
           151.56                      150.85                    0.71          121.19                     30.37    RevPar                                                        125.82                    114.99                     10.83          87.18                     38.64

                                                                                                                   Summary V.11
                                                                                                                   Revenue
       667,163.78        98.80%    664,043.73    98.50%       3,120.05     533,483.80     99.23%     133,679.98    Rooms                                                 2,697,822.48      98.27%    2,465,706.19    98.13%     232,116.29     1,869,274.15    98.88%     828,548.33
         4,602.00         0.68%      6,344.00     0.94%      -1,742.00           0.00      0.00%       4,602.00    F&B                                                      30,874.33       1.12%       31,624.00     1.26%        -749.67           721.58     0.04%      30,152.75
         3,530.46         0.52%      3,782.40     0.56%        -251.94       4,135.18      0.77%        -604.72    Other Departments                                        16,735.85       0.61%       15,348.80     0.61%       1,387.05        20,382.14     1.08%      -3,646.29

      675,296.24    100.00%       674,170.13    100.00%      1,126.11     537,618.98     100.00%    137,677.26     Total Operating Revenue                              2,745,432.66      100.00%   2,512,678.99 100.00%       232,753.67     1,890,377.87 100.00%       855,054.79

                                                                                                                   Departmental Expenses
       135,089.69        20.25%    156,279.95    23.53%     -21,190.26     118,358.82     22.19%      16,730.87    Rooms                                                     688,227.11    25.51%     667,134.86     27.06%       21,092.25     474,616.71     25.39%     213,610.40
           694.03        15.08%      4,291.39    67.64%      -3,597.36         124.31      0.00%         569.72    F&B                                                         6,472.84    20.97%      21,375.92     67.59%      -14,903.08         896.17    124.20%       5,576.67
         2,435.08        68.97%      2,128.56    56.28%         306.52         983.92     23.79%       1,451.16    Other Departments                                          10,012.06    59.82%       8,326.73     54.25%        1,685.33       6,370.78     31.26%       3,641.28

      138,218.80     20.47%       162,699.90    24.13%     -24,481.10     119,467.05      22.22%      18,751.75    Total Departmental Expenses                           704,712.01       25.67%     696,837.51     27.73%        7,874.50     481,883.66     25.49%     222,828.35

      537,077.44     79.53%       511,470.23    75.87%      25,607.21     418,151.93      77.78%    118,925.51     Total Departmental Profit                            2,040,720.65      74.33%    1,815,841.48    72.27%     224,879.17     1,408,494.21    74.51%     632,226.44

                                                                                                                   Undistributed Operating Expenses
        39,446.12        5.84%      39,893.07     5.92%       -446.95       42,614.50      7.93%      -3,168.38    A&G                                                       227,158.43     8.27%     197,038.32      7.84%       30,120.11     194,339.27     10.28%      32,819.16
        14,061.79        2.08%       6,222.70     0.92%      7,839.09        5,670.88      1.05%       8,390.91    IT                                                         60,684.99     2.21%      25,033.50      1.00%       35,651.49      31,194.05      1.65%      29,490.94
        12,289.39        1.82%      13,319.43     1.98%     -1,030.04        4,740.49      0.88%       7,548.90    S&M                                                        44,458.83     1.62%      57,565.21      2.29%      -13,106.38      27,652.82      1.46%      16,806.01
        51,707.60        7.66%      54,907.06     8.14%     -3,199.46       46,733.40      8.69%       4,974.20    Franchise Fees                                            243,566.33     8.87%     205,287.42      8.17%       38,278.91     164,362.54      8.69%      79,203.79
        42,026.23        6.22%      24,476.78     3.63%     17,549.45       15,231.95      2.83%      26,794.28    R&M                                                       137,432.87     5.01%     133,487.79      5.31%        3,945.08      90,521.69      4.79%      46,911.18
        23,456.50        3.47%      28,229.76     4.19%     -4,773.26       20,831.29      3.87%       2,625.21    Utilities                                                  95,238.47     3.47%     109,541.12      4.36%      -14,302.65      76,458.82      4.04%      18,779.65

      182,987.63     27.10%       167,048.80    24.78%      15,938.83     135,822.51      25.26%      47,165.12    Total Undistributed Expenses                          808,539.92       29.45%     727,953.36     28.97%       80,586.56     584,529.19     30.92%     224,010.73

      354,089.81     52.43%       344,421.43    51.09%       9,668.38     282,329.42      52.51%      71,760.39    Gross Operating Profit                               1,232,180.73      44.88%    1,087,888.12    43.30%     144,292.61      823,965.02     43.59%     408,215.71
        20,758.89      3.07%        20,225.10     3.00%         533.79      16,128.57       3.00%       4,630.32   Management Fees                                          84,832.71       3.09%       75,380.36     3.00%       9,452.35       56,711.34      3.00%      28,121.37
      333,330.92     49.36%       324,196.33    48.09%       9,134.59     266,200.85      49.51%      67,130.07    Income Before Non-Operating Income and Expenses      1,147,348.02      41.79%    1,012,507.76    40.30%     134,840.26      767,253.68     40.59%     380,094.34

                                                                                                                   Non-Operating Income and Expenses
        19,260.83      2.85%        15,230.42     2.26%       4,030.41      14,979.93       2.79%       4,280.90   Insurance                                               96,304.15        3.51%       76,152.10     3.03%       20,152.05      75,070.32      3.97%      21,233.83
       100,819.00     14.93%       100,819.31    14.95%          -0.31      97,977.95      18.22%       2,841.05   Leases & Rent                                          504,095.00       18.36%      504,096.55    20.06%           -1.55     489,889.75     25.91%      14,205.25
      -318,541.53    -47.17%             0.00     0.00%    -318,541.53         300.00       0.06%    -318,841.53   Other                                                 -264,280.83       -9.63%      470,000.00    18.71%     -734,280.83       1,184.65      0.06%    -265,465.48
     -198,461.70    -29.39%       116,049.73    17.21%    -314,511.43     113,257.88      21.07%    -311,719.58    Total Non-Operating Income and Expenses               336,118.32       12.24%    1,050,248.65    41.80%     -714,130.33     566,144.72     29.95%    -230,026.40

      531,792.62     78.75%       208,146.60    30.87%    323,646.02      152,942.97      28.45%     378,849.65    EBITDA                                                811,229.70       29.55%     -37,740.89      -1.50%    848,970.59      201,108.96     10.64%     610,120.74
             0.00      0.00%             0.00     0.00%          0.00      107,673.87      20.03%    -107,673.87   Interest                                                     0.00        0.00%           0.00       0.00%          0.00      538,369.35     28.48%    -538,369.35
        18,830.84      2.79%        47,743.99     7.08%    -28,913.15       71,011.00      13.21%     -52,180.16   Taxes                                                  178,841.56        6.51%     238,719.95       9.50%    -59,878.39      355,091.15     18.78%    -176,249.59
       18,830.84      2.79%        47,743.99     7.08%    -28,913.15      178,684.87      33.24%    -159,854.03    Interest, Taxes, Depreciation and Amortization        178,841.56        6.51%     238,719.95       9.50%    -59,878.39      893,460.50     47.26%    -714,618.94

      512,961.78     75.96%       160,402.61    23.79%    352,559.17      -25,741.90      -4.79%    538,703.68     Net Income                                            632,388.14       23.03%     -276,460.84 -11.00%       908,848.98     -692,351.54     -36.63%   1,324,739.68




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                                                                                                     Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD        %        PTD Budget    %          Variance   PTD Last Year     %          Variance                                                                   YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                              Statistics
           142.00                     142.00                  0.00          142.00                    0.00    # Rooms                                                       142.00                  142.00                    0.00         142.00                    0.00
         4,402.00                   4,402.00                  0.00        4,402.00                    0.00    Available Rooms                                            21,442.00               21,442.00                    0.00      21,442.00                    0.00
         3,731.00                   3,432.00                299.00        3,353.00                  378.00    Room Nights Sold                                           16,006.00               13,070.00                2,936.00      12,134.00                3,872.00
             0.85                       0.78                  0.07            0.76                    0.09    Occupancy %                                                     0.75                    0.61                    0.14           0.57                    0.18
           178.82                     193.49                -14.67          159.11                   19.71    ADR                                                           168.55                  188.65                  -20.10         154.05                   14.50
           151.56                     150.85                  0.71          121.19                   30.37    RevPar                                                        125.82                  114.99                   10.83          87.18                   38.64

                                                                                                              Summary
                                                                                                              Revenue:
       667,163.78        98.80%   664,043.73   98.50%      3,120.05     533,483.80     99.23%    133,679.98   Rooms                                                 2,697,822.48     98.27%    2,465,706.19    98.13%   232,116.29   1,869,274.15    98.88%    828,548.33
           718.20         0.11%     1,694.00    0.25%       -975.80           0.00      0.00%        718.20   Food                                                      2,130.68      0.08%        8,374.00     0.33%    -6,243.32          81.00     0.00%      2,049.68
         1,513.29         0.22%     2,550.00    0.38%     -1,036.71           0.00      0.00%      1,513.29   Beverage                                                  9,539.78      0.35%       12,750.00     0.51%    -3,210.22           0.00     0.00%      9,539.78
         2,370.51         0.35%     2,100.00    0.31%        270.51           0.00      0.00%      2,370.51   Other F&B Revenue                                        19,203.87      0.70%       10,500.00     0.42%     8,703.87         640.58     0.03%     18,563.29
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Telephone                                                     0.00      0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         3,530.46         0.52%     3,782.40    0.56%       -251.94       4,135.18      0.77%       -604.72   Other                                                    16,735.85      0.61%       15,348.80     0.61%     1,387.05      20,382.14     1.08%     -3,646.29

       675,296.24    100.00%      674,170.13   100.00%    1,126.11      537,618.98     100.00%   137,677.26   Total Revenue                                         2,745,432.66     100.00%   2,512,678.99   100.00%   232,753.67   1,890,377.87    100.00%   855,054.79



                                                                                                              Cost of Sales:
             0.00         0.00%       609.84   36.00%      -609.84            0.00      0.00%          0.00   Food                                                          115.37    5.41%        3,014.64    36.00%    -2,899.27           0.00     0.00%        115.37
           694.03        45.86%       612.00   24.00%        82.03            0.00      0.00%        694.03   Beverage                                                    5,996.54   62.86%        3,060.00    24.00%     2,936.54           0.00     0.00%      5,996.54
             0.00         0.00%         0.00    0.00%         0.00            0.00      0.00%          0.00   Other F&B                                                       0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00         0.00%         0.00    0.00%         0.00            0.00      0.00%          0.00   Telephone                                                       0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         2,435.08        68.97%     2,128.56   56.28%       306.52          983.92     23.79%      1,451.16   Other                                                      10,012.06   59.82%        8,326.73    54.25%     1,685.33       6,370.78    31.26%      3,641.28

         3,129.11        88.63%     3,350.40   88.58%      -221.29          983.92     23.79%      2,145.19   Total Cost of Sales                                        16,123.97   96.34%      14,401.37     93.83%     1,722.60       6,370.78    31.26%      9,753.19



                                                                                                              Payroll:
        76,712.08        11.50%    67,029.68   10.09%      9,682.40      61,575.41     11.54%     15,136.67   Rooms                                                     299,527.93   11.10%     300,698.35     12.20%    -1,170.42     253,747.36    13.57%     45,780.57
             0.00         0.00%     2,604.00   41.05%     -2,604.00           0.00      0.00%          0.00   F&B                                                           -18.48   -0.06%      12,684.00     40.11%   -12,702.48           0.00     0.00%        -18.48
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Other                                                           0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         5,715.52         0.85%     8,068.49    1.20%     -2,352.97       9,134.64      1.70%     -3,419.12   A&G                                                        36,329.13    1.32%      39,301.36      1.56%    -2,972.23      57,129.80     3.02%    -20,800.67
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   IT                                                              0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         7,238.06         1.07%     5,520.55    0.82%      1,717.51         586.63      0.11%      6,651.43   S&M                                                        24,344.17    0.89%      26,890.42      1.07%    -2,546.25       5,326.97     0.28%     19,017.20
         6,376.20         0.94%    11,514.28    1.71%     -5,138.08       5,920.51      1.10%        455.69   R&M                                                        31,319.66    1.14%      56,085.69      2.23%   -24,766.03      29,518.85     1.56%      1,800.81
        96,041.86        14.22%    94,737.00   14.05%      1,304.86      77,217.19     14.36%     18,824.67   Total Salaries and Wages                                  391,502.41   14.26%     435,659.82     17.34%   -44,157.41     345,722.98    18.29%     45,779.43

        14,522.06         2.15%    16,362.65    2.43%     -1,840.59      14,635.37      2.72%       -113.31   Total Taxes and Benefits                                   68,779.86    2.51%      88,429.42      3.52%   -19,649.56      71,172.53     3.76%     -2,392.67
       110,563.92        16.37%   111,099.65   16.48%       -535.73      91,852.56     17.09%     18,711.36   Total Labor Costs                                         460,282.27   16.77%     524,089.24     20.86%   -63,806.97     416,895.51    22.05%     43,386.76



                                                                                                              Direct Expenses:
        48,862.38        7.32%     80,190.73   12.08%    -31,328.35      47,261.17      8.86%      1,601.21   Rooms                                                     342,252.43   12.69%     314,598.39     12.76%    27,654.04     177,968.62      9.52%   164,283.81
             0.00        0.00%        160.00    2.52%       -160.00         124.31      0.00%       -124.31   F&B                                                             0.00    0.00%         800.00      2.53%      -800.00         896.17    124.20%      -896.17
             0.00        0.00%          0.00    0.00%          0.00           0.00      0.00%          0.00   Telephone                                                       0.00    0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00        0.00%          0.00    0.00%          0.00           0.00      0.00%          0.00   Other                                                           0.00    0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
        51,707.60        7.66%     54,907.06    8.14%     -3,199.46      46,733.40      8.69%      4,974.20   Franchise Fees                                            243,566.33    8.87%     205,287.42      8.17%    38,278.91     164,362.54      8.69%    79,203.79
        32,496.24        4.81%     30,394.40    4.51%      2,101.84      30,221.85      5.62%      2,274.39   A&G                                                       183,457.30    6.68%     144,509.83      5.75%    38,947.47     118,949.49      6.29%    64,507.81
        14,061.79        2.08%      6,222.70    0.92%      7,839.09       5,670.88      1.05%      8,390.91   IT                                                         60,684.99    2.21%      25,033.50      1.00%    35,651.49      31,194.05      1.65%    29,490.94
         2,552.18        0.38%      3,994.00    0.59%     -1,441.82       3,645.78      0.68%     -1,093.60   S&M                                                        11,645.68    0.42%      19,125.00      0.76%    -7,479.32      19,058.38      1.01%    -7,412.70
        34,376.71        5.09%     11,200.00    1.66%     23,176.71       7,964.40      1.48%     26,412.31   R&M                                                       100,000.49    3.64%      67,405.00      2.68%    32,595.49      54,258.49      2.87%    45,742.00
        23,456.50        3.47%     28,229.76    4.19%     -4,773.26      20,831.29      3.87%      2,625.21   Utilities                                                  95,238.47    3.47%     109,541.12      4.36%   -14,302.65      76,458.82      4.04%    18,779.65

       207,513.40        30.73%   215,298.65   31.94%     -7,785.25     162,453.08     30.22%     45,060.32   Total Direct Expense                                  1,036,845.69     37.77%     886,300.26     35.27%   150,545.43     643,146.56    34.02%    393,699.13

       354,089.81        52.43%   344,421.43   51.09%     9,668.38      282,329.42     52.51%     71,760.39   Gross Operating Profit                                1,232,180.73     44.88%    1,087,888.12    43.30%   144,292.61     823,965.02    43.59%    408,215.71

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                                                                                                      Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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                                                                                                                             As of 5/31/2022
              PTD        %        PTD Budget   %           Variance   PTD Last Year     %           Variance                                                                   YTD     %        YTD Budget %               Variance   YTD Last Year    %            Variance




                                                                                                               Fixed Costs
        18,830.84         2.79%    47,743.99    7.08%    -28,913.15      71,011.00     13.21%     -52,180.16   Taxes                                                     178,841.56    6.51%    238,719.95      9.50%    -59,878.39     355,091.15    18.78%    -176,249.59
        19,260.83         2.85%    15,230.42    2.26%      4,030.41      14,979.93      2.79%       4,280.90   Insurance                                                  96,304.15    3.51%     76,152.10      3.03%     20,152.05      75,070.32     3.97%      21,233.83
       100,819.00        14.93%   100,819.31   14.95%         -0.31      97,977.95     18.22%       2,841.05   Leases & Rent                                             504,095.00   18.36%    504,096.55     20.06%         -1.55     489,889.75    25.91%      14,205.25
        20,758.89         3.07%    20,225.10    3.00%        533.79      16,128.57      3.00%       4,630.32   Management Fees                                            84,832.71    3.09%     75,380.36      3.00%      9,452.35      56,711.34     3.00%      28,121.37

       159,669.56        23.64%   184,018.82   27.30%    -24,349.26     200,097.45     37.22%     -40,427.89   Total Fixed Expenses                                      864,073.42   31.47%    894,348.96     35.59%    -30,275.54     976,762.56    51.67%    -112,689.14

       194,420.25        28.79%   160,402.61   23.79%    34,017.64       82,231.97     15.30%    112,188.28    Net Operating Profit                                      368,107.31   13.41%    193,539.16     7.70%    174,568.15     -152,797.54     -8.08%    520,904.85



             0.00      0.00%            0.00   0.00%           0.00      83,673.87     15.56%     -83,673.87   Interest - First Mortgage                                    0.00        0.00%          0.00    0.00%           0.00     418,369.35    22.13%    -418,369.35
             0.00      0.00%            0.00   0.00%           0.00      24,000.00      4.46%     -24,000.00   Interest - Notes Payable                                     0.00        0.00%          0.00    0.00%           0.00     120,000.00     6.35%    -120,000.00
             0.00      0.00%            0.00   0.00%           0.00           0.00      0.00%           0.00   Owner's Expense                                         49,314.42        1.80%          0.00    0.00%      49,314.42           0.00     0.00%      49,314.42
      -318,541.53    -47.17%            0.00   0.00%    -318,541.53           0.00      0.00%    -318,541.53   Extraordinary Expense                                 -318,541.53      -11.60%          0.00    0.00%    -318,541.53           0.00     0.00%    -318,541.53
             0.00      0.00%            0.00   0.00%           0.00         300.00      0.06%        -300.00   Prior Owner's Expense                                    4,946.28        0.18%          0.00    0.00%       4,946.28       1,184.65     0.06%       3,761.63



       512,961.78        75.96%   160,402.61   23.79%   352,559.17      -25,741.90      -4.79%   538,703.68    Net Operating Income                                      632,388.14   23.03%    193,539.16     7.70%    438,848.98     -692,351.54    -36.63%   1,324,739.68

             0.00        0.00%          0.00   0.00%           0.00           0.00      0.00%           0.00   Capital Reserve                                                 0.00    0.00%    470,000.00     18.71%   -470,000.00           0.00     0.00%            0.00

       512,961.78        75.96%   160,402.61   23.79%   352,559.17      -25,741.90      -4.79%   538,703.68    Adjusted NOI                                              632,388.14   23.03%    -276,460.84   -11.00%   908,848.98     -692,351.54    -36.63%   1,324,739.68




       512,961.78        75.96%   160,402.61   23.79%   352,559.17      -25,741.90      -4.79%   538,703.68    Net Profit/(Loss)                                         632,388.14   23.03%    -276,460.84   -11.00%   908,848.98     -692,351.54    -36.63%   1,324,739.68




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                                                                                                       Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                                        P&L - Dual Summary Pages
                                                                                                                              As of 5/31/2022
              PTD        %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                                                  YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                 Rooms
                                                                                                                 Room Revenue
                                                                                                                 Transient Room Revenue
             0.00         0.00%         0.00      0.00%          0.00      33,408.10      6.26%    -33,408.10    Corporate Transient                                            0.00     0.00%           0.00      0.00%          0.00     164,385.22     8.79%   -164,385.22
        48,060.52         7.20%    44,940.19      6.77%      3,120.33      70,033.20     13.13%    -21,972.68    Advanced Purchase                                        350,132.26    12.98%     210,583.75      8.54%    139,548.51     193,680.41    10.36%    156,451.85
        63,974.42         9.59%    53,888.64      8.12%     10,085.78     146,073.76     27.38%    -82,099.34    Qualified Discounts                                      153,891.37     5.70%     244,012.41      9.90%    -90,121.04     398,280.64    21.31%   -244,389.27
           510.75         0.08%         0.00      0.00%        510.75           0.00      0.00%        510.75    FIT(Flexible Independent Travel)                           3,696.25     0.14%           0.00      0.00%      3,696.25           0.00     0.00%      3,696.25
         9,754.00         1.46%     7,366.32      1.11%      2,387.68         885.00      0.17%      8,869.00    Consortia Transient                                       30,496.00     1.13%      27,311.28      1.11%      3,184.72       9,667.00     0.52%     20,829.00
         5,987.50         0.90%         0.00      0.00%      5,987.50       1,157.00      0.22%      4,830.50    Employee                                                  12,258.50     0.45%           0.00      0.00%     12,258.50       2,492.00     0.13%      9,766.50
           599.50         0.09%    22,070.50      3.32%    -21,471.00       1,952.00      0.37%     -1,352.50    Travel Agent/Friends & Family                             22,086.50     0.82%      89,928.54      3.65%    -67,842.04       5,074.00     0.27%     17,012.50
        10,684.58         1.60%    20,311.06      3.06%     -9,626.48       8,362.38      1.57%      2,322.20    Member Reward Stay                                        45,010.16     1.67%      79,241.30      3.21%    -34,231.14      40,559.10     2.17%      4,451.06
             0.00         0.00%         0.00      0.00%          0.00           0.00      0.00%          0.00    Non Qualified Discounts                                   77,293.70     2.87%           0.00      0.00%     77,293.70           0.00     0.00%     77,293.70
       108,484.91        16.26%         0.00      0.00%    108,484.91      81,744.34     15.32%     26,740.57    Internet/E-Commerce                                      477,713.81    17.71%           0.00      0.00%    477,713.81     314,196.16    16.81%    163,517.65
             0.00         0.00%   108,803.68     16.39%   -108,803.68       5,712.00      1.07%     -5,712.00    E-Commerce Opaque                                              0.00     0.00%     465,747.04     18.89%   -465,747.04       6,681.00     0.36%     -6,681.00
        14,187.00         2.13%     8,182.62      1.23%      6,004.38         483.00      0.09%     13,704.00    Government Transient                                      73,139.00     2.71%      36,214.58      1.47%     36,924.42       4,375.00     0.23%     68,764.00
       201,467.09        30.20%   248,425.32     37.41%    -46,958.23      91,546.89     17.16%    109,920.20    Rack Transient                                           699,609.74    25.93%     720,742.30     29.23%    -21,132.56     363,751.68    19.46%    335,858.06
       162,629.85        24.38%   127,747.40     19.24%     34,882.45      76,677.90     14.37%     85,951.95    Local Negotiated Transient                               663,120.61    24.58%     475,629.99     19.29%    187,490.62     303,754.51    16.25%    359,366.10

      626,340.12     93.88%       641,735.73    96.64%    -15,395.61     518,035.57      97.10%    108,304.55    Total Transient Room Revenue                        2,608,447.90      96.69%    2,349,411.19   95.28%     259,036.71    1,806,896.72    96.66%   801,551.18

                                                                                                                 Group Room Revenue
        30,592.00        4.59%     12,168.00      1.83%    18,424.00            0.00      0.00%     30,592.00    Corporate Group                                           54,919.00     2.04%      63,489.00     2.57%      -8,570.00           0.00     0.00%    54,919.00
         2,550.00        0.38%          0.00      0.00%     2,550.00            0.00      0.00%      2,550.00    Leisure Group                                              2,550.00     0.09%           0.00     0.00%       2,550.00           0.00     0.00%     2,550.00
             0.00        0.00%      5,364.00      0.81%    -5,364.00            0.00      0.00%          0.00    Government Group                                               0.00     0.00%      28,652.00     1.16%     -28,652.00           0.00     0.00%         0.00
         1,040.00        0.16%      4,476.00      0.67%    -3,436.00            0.00      0.00%      1,040.00    SMERF Group                                                2,123.00     0.08%      22,654.00     0.92%     -20,531.00           0.00     0.00%     2,123.00
             0.00        0.00%          0.00      0.00%         0.00            0.00      0.00%          0.00    Sports Group                                               2,704.00     0.10%           0.00     0.00%       2,704.00           0.00     0.00%     2,704.00

       34,182.00         5.12%     22,008.00     3.31%    12,174.00             0.00      0.00%     34,182.00    Total Group Room Revenue                                 62,296.00     2.31%     114,795.00      4.66%    -52,499.00            0.00    0.00%     62,296.00

                                                                                                                 Contract Room Revenue

             0.00        0.00%          0.00     0.00%          0.00            0.00      0.00%          0.00    Total Contract Room Revenue                                   0.00     0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                                 Other Room Revenue
         5,778.01        0.87%        250.00      0.04%      5,528.01       4,927.23      0.92%         850.78   No-Show Rooms                                             17,268.28     0.64%       1,250.00     0.05%     16,018.28       12,080.00     0.65%      5,188.28
           519.50        0.08%          0.00      0.00%        519.50       7,302.00      1.37%      -6,782.50   Early/Late Departure Fees                                  2,011.70     0.07%           0.00     0.00%      2,011.70       41,181.60     2.20%    -39,169.90
           985.00        0.15%         50.00      0.01%        935.00       3,219.00      0.60%      -2,234.00   Pet/Smoking/Damage Fees                                    8,835.00     0.33%         250.00     0.01%      8,585.00        9,594.00     0.51%       -759.00

        7,282.51         1.09%        300.00     0.05%      6,982.51      15,448.23       2.90%     -8,165.72    Total Other Room Revenue                                 28,114.98     1.04%        1,500.00     0.06%     26,614.98      62,855.60     3.36%    -34,740.62

          -640.85        -0.10%          0.00     0.00%      -640.85            0.00      0.00%       -640.85    Less: Allowances                                          -1,036.40    -0.04%           0.00     0.00%      -1,036.40        -478.17    -0.03%      -558.23

      667,163.78    100.00%       664,043.73    100.00%     3,120.05     533,483.80     100.00%    133,679.98    Total Room Revenue                                  2,697,822.48      100.00%   2,465,706.19 100.00%      232,116.29    1,869,274.15 100.00%     828,548.33

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
         4,936.85         0.74%      5,435.62     0.82%       -498.77       4,153.76       0.78%        783.09   Front Office Management                                33,468.27        1.24%      26,476.72      1.07%      6,991.55       4,153.76     0.22%     29,314.51
         5,831.54         0.87%      5,838.45     0.88%         -6.91       5,267.20       0.99%        564.34   Housekeeping Management                                28,598.31        1.06%      28,438.90      1.15%        159.41      25,019.20     1.34%      3,579.11
       10,768.39         1.61%     11,274.07     1.70%       -505.68       9,420.96       1.77%      1,347.43    Total Rooms Management                                62,066.58        2.30%      54,915.62      2.23%      7,150.96      29,172.96     1.56%     32,893.62
         7,118.50         1.07%      7,688.00     1.16%       -569.50       5,502.66       1.03%      1,615.84   Front Office Agents                                    33,507.74        1.24%      37,448.00      1.52%     -3,940.26      32,482.22     1.74%      1,025.52
         4,967.21         0.74%      3,277.14     0.49%      1,690.07       3,676.41       0.69%      1,290.80   Front Office Supervisors                                9,441.16        0.35%      15,962.85      0.65%     -6,521.69      10,236.76     0.55%       -795.60
         6,941.04         1.04%      4,750.97     0.72%      2,190.07       3,934.78       0.74%      3,006.26   Night Auditors                                         25,458.38        0.94%      23,141.82      0.94%      2,316.56      21,117.39     1.13%      4,340.99
         6,822.06         1.02%      5,491.43     0.83%      1,330.63       3,579.58       0.67%      3,242.48   Breakfast Attendant                                    29,997.06        1.11%      26,748.58      1.08%      3,248.48      15,845.32     0.85%     14,151.74
       25,848.81         3.87%     21,207.54     3.19%      4,641.27      16,693.43       3.13%      9,155.38    Total Rooms Front Office                              98,404.34        3.65%     103,301.25      4.19%     -4,896.91      79,681.69     4.26%     18,722.65
         7,386.81         1.11%      5,845.71     0.88%      1,541.10       4,695.10       0.88%      2,691.71   Housekeeping Supervisors                               32,616.49        1.21%      28,474.27      1.15%      4,142.22      20,811.56     1.11%     11,804.93
        28,267.05         4.24%     26,045.22     3.92%      2,221.83      27,648.39       5.18%        618.66   Room Attendants                                       101,999.50        3.78%     101,064.36      4.10%        935.14     111,016.86     5.94%     -9,017.36
             0.00         0.00%          0.00     0.00%          0.00       3,117.53       0.58%     -3,117.53   Housepersons                                                0.00        0.00%           0.00      0.00%          0.00      13,064.29     0.70%    -13,064.29
         4,441.02         0.67%      2,657.14     0.40%      1,783.88           0.00       0.00%      4,441.02   Laundry Attendants                                      4,441.02        0.16%      12,942.85      0.52%     -8,501.83           0.00     0.00%      4,441.02
       40,094.88         6.01%     34,548.07     5.20%      5,546.81      35,461.02       6.65%      4,633.86    Total Rooms Housekeeping                             139,057.01        5.15%     142,481.48      5.78%     -3,424.47     144,892.71     7.75%     -5,835.70
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                                                                                                     Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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                                                                                                                            As of 5/31/2022
              PTD        %        PTD Budget     %         Variance   PTD Last Year     %           Variance                                                                  YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance


       76,712.08     11.50%        67,029.68    10.09%    9,682.40      61,575.41      11.54%     15,136.67    Total Rooms Salary and Wages                         299,527.93       11.10%    300,698.35    12.20%      -1,170.42     253,747.36     13.57%    45,780.57

                                                                                                               PR Taxes and Benefits
         5,514.99         0.83%      5,139.95    0.77%       375.04       2,950.28       0.55%      2,564.71   FICA                                                      22,269.46    0.83%      23,289.26      0.94%     -1,019.80      12,072.80     0.65%     10,196.66
           122.95         0.02%         60.47    0.01%        62.48          36.00       0.01%         86.95   Federal Unemployment Tax                                     918.32    0.03%         808.78      0.03%        109.54         502.28     0.03%        416.04
           708.50         0.11%        403.13    0.06%       305.37         349.96       0.07%        358.54   State Unemployment Tax                                     5,328.89    0.20%       7,677.06      0.31%     -2,348.17       2,220.44     0.12%      3,108.45
        6,346.44         0.95%      5,603.55    0.84%       742.89       3,336.24       0.63%      3,010.20    Total Payroll Taxes                                      28,516.67    1.06%      31,775.10      1.29%     -3,258.43      14,795.52     0.79%     13,721.15
             0.00         0.00%        150.00    0.02%      -150.00       1,253.01       0.23%     -1,253.01   Holiday                                                        0.00    0.00%         300.00      0.01%       -300.00       2,355.73     0.13%     -2,355.73
             0.00         0.00%          0.00    0.00%         0.00       1,521.26       0.29%     -1,521.26   Vacation                                                       0.00    0.00%           0.00      0.00%          0.00       8,753.87     0.47%     -8,753.87
             0.00        0.00%        150.00    0.02%      -150.00       2,774.27       0.52%     -2,774.27    Total Supplemental Pay                                         0.00   0.00%         300.00      0.01%       -300.00      11,109.60     0.59%    -11,109.60
         2,312.57         0.35%      1,850.99    0.28%       461.58       1,622.43       0.30%        690.14   Worker's Compensation                                     10,989.53    0.41%       9,088.02      0.37%      1,901.51       7,865.06     0.42%      3,124.47
           856.22         0.13%      1,455.00    0.22%      -598.78       1,789.30       0.34%       -933.08   Group Insurance                                            6,940.55    0.26%       7,275.00      0.30%       -334.45       9,130.55     0.49%     -2,190.00
             0.00         0.00%          0.00    0.00%         0.00           0.00       0.00%          0.00   Bonus and Incentive Pay                                        0.00    0.00%       3,400.00      0.14%     -3,400.00           0.00     0.00%          0.00
        3,168.79         0.47%      3,305.99    0.50%      -137.20       3,411.73       0.64%       -242.94    Total Other Benefits                                     17,930.08    0.66%      19,763.02      0.80%     -1,832.94      16,995.61     0.91%        934.47

        9,515.23         1.43%      9,059.54    1.36%       455.69       9,522.24       1.78%         -7.01    Total Rooms PR Taxes and Benefits                        46,446.75    1.72%      51,838.12      2.10%     -5,391.37      42,900.73     2.30%      3,546.02

       86,227.31     12.92%        76,089.22    11.46%   10,138.09      71,097.65      13.33%     15,129.66    Total Rooms Labor Costs                              345,974.68       12.82%    352,536.47    14.30%      -6,561.79     296,648.09     15.87%    49,326.59

                                                                                                               Other Expenses
        13,265.13         1.99%    14,040.00     2.11%      -774.87       8,237.53      1.54%       5,027.60   Breakfast /Comp Cost                                      57,199.29    2.12%      54,480.00     2.21%      2,719.29       33,197.07     1.78%    24,002.22
         1,505.27         0.23%     2,433.60     0.37%      -928.33         979.54      0.18%         525.73   Cleaning Supplies                                          8,641.80    0.32%       9,443.20     0.38%       -801.40        4,893.67     0.26%     3,748.13
             0.00         0.00%         0.00     0.00%         0.00         167.00      0.03%        -167.00   Contract Cleaning                                              0.00    0.00%           0.00     0.00%          0.00        1,581.76     0.08%    -1,581.76
             0.00         0.00%    14,976.00     2.26%   -14,976.00           0.00      0.00%           0.00   Contract Labor                                            16,769.80    0.62%      58,112.00     2.36%    -41,342.20            0.00     0.00%    16,769.80
           225.00         0.03%        79.55     0.01%       145.45           0.00      0.00%         225.00   Dues and Subscriptions                                       -25.00    0.00%         397.75     0.02%       -422.75            0.00     0.00%       -25.00
        -1,295.66        -0.19%         0.00     0.00%    -1,295.66           0.00      0.00%      -1,295.66   Guest Loss/Damage                                            109.24    0.00%           0.00     0.00%        109.24            0.00     0.00%       109.24
         2,566.98         0.38%     4,492.80     0.68%    -1,925.82       2,071.42      0.39%         495.56   Guest Supplies                                            14,228.40    0.53%      17,433.60     0.71%     -3,205.20        9,526.79     0.51%     4,701.61
         2,197.47         0.33%     2,208.96     0.33%       -11.49       1,525.27      0.29%         672.20   Laundry                                                    7,106.99    0.26%       8,571.52     0.35%     -1,464.53        6,039.59     0.32%     1,067.40
         3,412.27         0.51%     2,246.40     0.34%     1,165.87       1,805.57      0.34%       1,606.70   Linen                                                     14,303.84    0.53%       8,716.80     0.35%      5,587.04       16,402.87     0.88%    -2,099.03
             0.00         0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Miscellaneous Expense                                         30.75    0.00%           0.00     0.00%         30.75            0.00     0.00%        30.75
            94.00         0.01%         0.00     0.00%        94.00       1,893.61      0.35%      -1,799.61   Operating Supplies                                         1,370.34    0.05%           0.00     0.00%      1,370.34        7,004.09     0.37%    -5,633.75
           120.68         0.02%       187.20     0.03%       -66.52           0.00      0.00%         120.68   Printing and Stationery                                      120.68    0.00%         726.40     0.03%       -605.72            0.00     0.00%       120.68
         3,189.80         0.48%    13,280.87     2.00%   -10,091.07       9,517.67      1.78%      -6,327.87   Reservation Expense                                       12,907.26    0.48%      49,314.11     2.00%    -36,406.85       32,866.56     1.76%   -19,959.30
             0.00         0.00%         0.00     0.00%         0.00          47.29      0.01%         -47.29   Rooms Promotion                                                0.00    0.00%           0.00     0.00%          0.00         -615.19    -0.03%       615.19
         2,130.51         0.32%     2,120.00     0.32%        10.51       2,116.31      0.40%          14.20   Television Cable                                          10,656.28    0.39%      10,600.00     0.43%         56.28       10,561.89     0.57%        94.39
             0.00         0.00%        50.00     0.01%       -50.00          40.01      0.01%         -40.01   Transportation                                               846.72    0.03%         250.00     0.01%        596.72           40.01     0.00%       806.71
            96.56         0.01%     1,320.48     0.20%    -1,223.92           0.00      0.00%          96.56   Travel Agent Comm - Group Rooms                            1,945.46    0.07%       6,887.70     0.28%     -4,942.24            0.00     0.00%     1,945.46
        20,503.71         3.07%    22,604.87     3.40%    -2,101.16      18,083.97      3.39%       2,419.74   Travel Agent Comm - Transient Rooms                      193,575.31    7.18%      88,015.31     3.57%    105,560.00       54,469.65     2.91%   139,105.66
           850.66         0.13%       150.00     0.02%       700.66         775.98      0.15%          74.68   Uniforms                                                   2,465.27    0.09%       1,650.00     0.07%        815.27        1,999.86     0.11%       465.41

       48,862.38         7.32%     80,190.73    12.08%   -31,328.35     47,261.17       8.86%      1,601.21    Total Rooms Other Expenses                           342,252.43       12.69%    314,598.39    12.76%      27,654.04     177,968.62     9.52%    164,283.81

      135,089.69     20.25%       156,279.95    23.53%   -21,190.26    118,358.82      22.19%     16,730.87    Total Rooms Expenses                                 688,227.11       25.51%    667,134.86    27.06%      21,092.25     474,616.71     25.39%   213,610.40

      532,074.09     79.75%       507,763.78    76.47%   24,310.31     415,124.98      77.81%    116,949.11    Total Rooms Profit (Loss)                           2,009,595.37      74.49%   1,798,571.33   72.94%     211,024.04    1,394,657.44    74.61%   614,937.93




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              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                                  YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                               Room Sale Stats
                                                                                               Tranisent Rooms
             0.00                  0.00          0.00          172.00               -172.00    Room Stat - Corporate Transient                                3.00             0.00          3.00         732.00          -729.00
           282.00                261.00         21.00          432.00               -150.00    Room Stat - Advanced Purchase                              2,183.00         1,200.00        983.00       1,193.00           990.00
           309.00                  0.00        309.00          214.00                 95.00    Room Stat - Qualified Discounts                              817.00             0.00        817.00         893.00           -76.00
             3.00                  0.00          3.00            0.00                  3.00    Room Stat - FIT(Flexible Independent Travel)                  22.00             0.00         22.00           0.00            22.00
            60.00                 36.00         24.00            5.00                 55.00    Room Stat - Consortia Rate Transient                         198.00           158.00         40.00          61.00           137.00
            58.00                  0.00         58.00           13.00                 45.00    Room Stat - Employee                                         116.00             0.00        116.00          28.00            88.00
             6.00                185.00       -179.00           18.00                -12.00    Room Stat - Travel Agent/Friends & Family                    220.00           765.00       -545.00          46.00           174.00
           137.00                242.00       -105.00          107.00                 30.00    Room Stat - Member Reward Stay                               579.00           973.00       -394.00         527.00            52.00
             0.00                  0.00          0.00          665.00               -665.00    Room Stat - Non-Qualified Discounts                          487.00             0.00        487.00       1,531.00        -1,044.00
           571.00                  0.00        571.00          492.00                 79.00    Room Stat - Internet                                       2,709.00             0.00      2,709.00       2,035.00           674.00
             0.00                  0.00          0.00           30.00                -30.00    Room Stat - Other Transient                                    0.00             0.00          0.00          78.00           -78.00
             0.00                556.00       -556.00           42.00                -42.00    Room Stat - E-Commerce Opaque                                  0.00         2,549.00     -2,549.00          50.00           -50.00
            81.00                 54.00         27.00            3.00                 78.00    Room Stat - Government Rate Transient                        447.00           234.00        213.00          31.00           416.00
         1,106.00              1,222.00       -116.00          545.00                561.00    Room Stat - Rack Rate Transient                            3,946.00         3,660.00        286.00       2,330.00         1,616.00
           942.00                740.00        202.00          575.00                367.00    Room Stat - Local Negotiated Transient                     3,880.00         2,822.00      1,058.00       2,263.00         1,617.00
        3,555.00              3,296.00        259.00        3,313.00                242.00     Total Transient Rooms Sold                               15,607.00        12,361.00      3,246.00      11,798.00         3,809.00

                                                                                               Group Rooms
           148.00                72.00          76.00           40.00                108.00    Room Stat - Corporate Group Rooms                            348.00           371.00        -23.00         336.00           12.00
            15.00                 0.00          15.00            0.00                 15.00    Room Stat - Leisure Group                                     15.00             0.00         15.00           0.00           15.00
             7.00                36.00         -29.00            0.00                  7.00    Room Stat - Government Group                                   7.00           188.00       -181.00           0.00            7.00
             6.00                28.00         -22.00            0.00                  6.00    Room Stat - SMERF Group                                       13.00           150.00       -137.00           0.00           13.00
             0.00                 0.00           0.00            0.00                  0.00    Room Stat - Sports Group                                      16.00             0.00         16.00           0.00           16.00
          176.00                136.00         40.00            40.00               136.00     Total Group Rooms Sold                                      399.00           709.00       -310.00         336.00            63.00

                                                                                               Contract Rooms
             0.00                 0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                                     0.00             0.00          0.00            0.00            0.00

        3,731.00              3,432.00        299.00        3,353.00                378.00     Total Rooms Sold                                         16,006.00        13,070.00      2,936.00      12,134.00         3,872.00
            60.00                 0.00          60.00           0.00                  60.00    Room Stat - Comp Rooms                                        76.00            0.00          76.00          0.00             76.00
        3,791.00              3,432.00        359.00        3,353.00                438.00     Total Rooms Occupied                                     16,082.00        13,070.00      3,012.00      12,134.00         3,948.00
           355.00                 0.00         355.00           0.00                 355.00    Room Stat - Out of Order                                   2,219.00            0.00       2,219.00          0.00          2,219.00

                                                                                               ADR
             0.00                  0.00           0.00         194.23               -194.23    Corporate Transient ADR                                        0.00             0.00          0.00         224.57         -224.57
           170.43                172.18          -1.76         162.11                   8.31   Advanced Purchase ADR                                        160.39           175.49        -15.10         162.35            -1.96
           207.04                  0.00        207.04          682.59               -475.55    Qualified Discount ADR                                       188.36             0.00       188.36          446.00         -257.64
           170.25                  0.00        170.25            0.00                170.25    FIT ADR                                                      168.01             0.00       168.01            0.00          168.01
           162.57                204.62         -42.05         177.00                -14.43    Consortia ADR                                                154.02           172.86        -18.84         158.48            -4.46
           103.23                  0.00        103.23           89.00                 14.23    Employee ADR                                                 105.68             0.00       105.68           89.00           16.68
             0.00                  0.00           0.00           0.00                   0.00   Leisure ADR                                                    0.00             0.00          0.00           0.00             0.00
            99.92                119.30         -19.38         108.44                  -8.53   Travel Agent/Friends & Family ADR                            100.39           117.55        -17.16         110.30            -9.91
             0.00                  0.00           0.00           0.00                   0.00   Leisure Package ADR                                            0.00             0.00          0.00           0.00             0.00
            77.99                 83.93          -5.94          78.15                  -0.16   Member Reward Stay ADR                                        77.74            81.44         -3.70          76.96             0.78
             0.00                  0.00           0.00           0.00                   0.00   Golf Pkg ADR                                                   0.00             0.00          0.00           0.00             0.00
             0.00                  0.00           0.00           0.00                   0.00   Non Qualified ADR                                            158.71             0.00       158.71            0.00          158.71
           189.99                  0.00        189.99          166.15                 23.84    Internet ADR                                                 176.34             0.00       176.34          154.40           21.95
             0.00                195.69       -195.69          136.00               -136.00    E-Commerce Opaque ADR                                          0.00           182.72      -182.72          133.62         -133.62
             0.00                  0.00           0.00           0.00                   0.00   Other Transient ADR                                            0.00             0.00          0.00           0.00             0.00
             0.00                  0.00           0.00           0.00                   0.00   Airline Distressed Passenger ADR                               0.00             0.00          0.00           0.00             0.00
           175.15                151.53          23.62         161.00                 14.15    Government ADR                                               163.62           154.76          8.86         141.13           22.49
           182.16                203.29         -21.14         167.98                 14.18    Rack ADR                                                     177.30           196.92        -19.63         156.12           21.18
           172.64                172.63           0.01         133.35                 39.29    Local Negotiated ADR                                         170.91           168.54          2.36         134.23           36.68
          176.19                194.70         -18.52         156.36                  19.82    Total Transient ADR                                         167.13           190.07        -22.93         153.15            13.98

           206.70               169.00          37.70            0.00                206.70    Corporate Group ADR                                         157.81           171.13        -13.32            0.00          157.81
           170.00                 0.00         170.00            0.00                170.00    Leisure Group ADR                                           170.00             0.00        170.00            0.00          170.00
             0.00               149.00        -149.00            0.00                  0.00    Government Group ADR                                          0.00           152.40       -152.40            0.00            0.00
             0.00                 0.00           0.00            0.00                  0.00    Tour & Travel Group ADR                                       0.00             0.00          0.00            0.00            0.00
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              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                  0.00          0.00            0.00                  0.00    Association Group ADR                                       0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    City Wide Group ADR                                         0.00             0.00        0.00            0.00           0.00
           173.33                159.86         13.48            0.00                173.33    SMERF Group ADR                                           163.31           151.03       12.28            0.00         163.31
             0.00                  0.00          0.00            0.00                  0.00    Sports Group ADR                                          169.00             0.00      169.00            0.00         169.00
             0.00                  0.00          0.00            0.00                  0.00    Other Group ADR                                             0.00             0.00        0.00            0.00           0.00
          194.22                161.82          32.39            0.00               194.22     Total Group ADR                                          156.13           161.91        -5.78            0.00        156.13

             0.00                 0.00           0.00            0.00                  0.00    Airline Crew ADR                                           0.00             0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Other Contract ADR                                         0.00             0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Contract ADR                                         0.00             0.00         0.00            0.00           0.00

          178.82                193.49         -14.67         159.11                  19.71    Total ADR                                                168.55           188.65       -20.10         154.05           14.50




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              PTD        %        PTD Budget     %          Variance   PTD Last Year     %         Variance                                                                  YTD      %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                              F&B Summary
                                                                                                              Revenue
             0.00      0.00%          744.00     11.73%      -744.00           0.00       0.00%        0.00   Outlet Food Revenue                                            3.13      0.01%     3,624.00  11.46%        -3,620.87           0.00   0.00%           3.13
           718.20     15.61%          950.00     14.97%      -231.80           0.00       0.00%      718.20   Banquet and Catering Food Revenue                          2,127.55      6.89%     4,750.00  15.02%        -2,622.45          81.00  11.23%       2,046.55
         1,513.29     32.88%        2,550.00     40.20%    -1,036.71           0.00       0.00%    1,513.29   Outlet Beverage Revenue                                    9,539.78     30.90%    12,750.00  40.32%        -3,210.22           0.00   0.00%       9,539.78
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%        0.00   Banquet and Catering Beverage Revenue                          0.00      0.00%         0.00   0.00%             0.00           0.00   0.00%           0.00
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%        0.00   Outlet Other Revenue                                           0.00      0.00%         0.00   0.00%             0.00           0.00   0.00%           0.00
         2,370.51     51.51%        2,100.00     33.10%       270.51           0.00       0.00%    2,370.51   Banquet and Catering Other Revenue                        19,203.87     62.20%    10,500.00  33.20%         8,703.87         640.58  88.77%      18,563.29
        4,602.00    100.00%        6,344.00    100.00%    -1,742.00            0.00      0.00%    4,602.00    Total F&B Revenue                                        30,874.33    100.00%    31,624.00 100.00%          -749.67         721.58 100.00%      30,152.75

                                                                                                              Cost of Sales
             0.00      0.00%          609.84      9.61%     -609.84            0.00       0.00%       0.00    Food Purchases                                               115.37      0.37%     3,014.64     9.53%      -2,899.27           0.00     0.00%       115.37
           694.03     15.08%          612.00      9.65%       82.03            0.00       0.00%     694.03    Beverage Purchases                                         5,996.54     19.42%     3,060.00     9.68%       2,936.54           0.00     0.00%     5,996.54
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%       0.00    Cedit Employee Meals                                           0.00      0.00%         0.00     0.00%           0.00           0.00     0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%       0.00    Credit House Charges                                           0.00      0.00%         0.00     0.00%           0.00           0.00     0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%       0.00    Credit In-House Promotions                                     0.00      0.00%         0.00     0.00%           0.00           0.00     0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%       0.00    Audio Visual Cost of Sales                                     0.00      0.00%         0.00     0.00%           0.00           0.00     0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%       0.00    Other Cost of Sales                                            0.00      0.00%         0.00     0.00%           0.00           0.00     0.00%         0.00
          694.03     15.08%        1,221.84     19.26%     -527.81             0.00      0.00%     694.03     Total F&B Cost of Sales                                   6,111.91     19.80%     6,074.64    19.21%           37.27           0.00    0.00%     6,111.91

        3,907.97     84.92%        5,122.16     80.74%    -1,214.19            0.00      0.00%    3,907.97    F&B Gross Profit                                         24,762.42     80.20%    25,549.36    80.79%        -786.94         721.58 100.00%      24,040.84

                                                                                                              Expenses
                                                                                                              Payroll
                                                                                                              Salaries and Wages
             0.00         0.00%         0.00      0.00%         0.00           0.00       0.00%       0.00    Management                                                     0.00      0.00%         0.00     0.00%           0.00           0.00     0.00%         0.00
             0.00         0.00%     2,604.00     41.05%    -2,604.00           0.00       0.00%       0.00    Non-Management                                               -18.48     -0.06%    12,684.00    40.11%     -12,702.48           0.00     0.00%       -18.48
             0.00        0.00%     2,604.00     41.05%    -2,604.00            0.00      0.00%        0.00    Total F&B Salaries and Wages                                -18.48     -0.06%    12,684.00    40.11%     -12,702.48            0.00    0.00%       -18.48
                                                                                                              PR Taxes and Benefits
             0.00         0.00%       233.81      3.69%     -233.81            0.00       0.00%       0.00    Payroll Taxes                                                322.72      1.05%     1,437.08      4.54%     -1,114.36           0.00     0.00%       322.72
             0.00         0.00%         0.00      0.00%        0.00            0.00       0.00%       0.00    Supplemental Pay                                               0.00      0.00%         0.00      0.00%          0.00           0.00     0.00%         0.00
             0.00         0.00%        71.74      1.13%      -71.74            0.00       0.00%       0.00    Other Benefits                                                56.69      0.18%       380.20      1.20%       -323.51           0.00     0.00%        56.69
             0.00        0.00%       305.55      4.82%     -305.55             0.00      0.00%        0.00    Total F&B PR Taxes and Benefits                             379.41      1.23%     1,817.28      5.75%     -1,437.87            0.00    0.00%       379.41

             0.00        0.00%     2,909.55     45.86%    -2,909.55            0.00      0.00%        0.00    Total F&B Payroll                                           360.93      1.17%    14,501.28    45.86%     -14,140.35            0.00    0.00%       360.93

                                                                                                              Other Expenses
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Audio Visual Supplies                                          0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Banquet Expense                                                0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Bar Expense/Promos                                             0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Bar Supplies                                                   0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    China                                                          0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Cleaning Supplies                                              0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Communication Expense                                          0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Contract Cleaning                                              0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Contract Labor                                                 0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Decorations & Plants                                           0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Dues and Subscriptions                                         0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%       160.00      2.52%      -160.00          124.31      0.00%     -124.31    Equipment Rental                                               0.00     0.00%       800.00      2.53%       -800.00          619.27    85.82%     -619.27
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Food and Beverage Advertising                                  0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Glassware                                                      0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Guest Loss/Damage                                              0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Guest Supplies                                                 0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    In-House Entertainment                                         0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Kitchen/Cooking Fuel                                           0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Kitchen Equipment                                              0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Laundry - Outside Expense                                      0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Laundry Allocation                                             0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Licenses/Permits                                               0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Linen                                                          0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%         0.00            0.00      0.00%        0.00    Linen Rental                                                   0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
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                                                                                                 Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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                                                                                                                        As of 5/31/2022
              PTD        %        PTD Budget    %        Variance   PTD Last Year     %         Variance                                                                 YTD     %       YTD Budget %              Variance   YTD Last Year     %         Variance

             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Maintenance Contracts                                         0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Meals and Entertainment                                       0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Menus                                                         0.00    0.00%        0.00       0.00%        0.00          276.90  38.37%         -276.90
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Miscellaneous Expense                                         0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Music and Entertainment                                       0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Office Equipment                                              0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Office Supplies                                               0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Operating Supplies                                            0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Paper/Plastic Supplies                                        0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Printing and Stationery                                       0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Silverware                                                    0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Software Expense/Maintenance                                  0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Television Cable                                              0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Training                                                      0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Travel                                                        0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Uniforms                                                      0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00         0.00%        0.00     0.00%       0.00           0.00        0.00%      0.00     Utensils                                                      0.00    0.00%        0.00       0.00%        0.00            0.00   0.00%            0.00
             0.00        0.00%       160.00    2.52%     -160.00         124.31       0.00%    -124.31     Total F&B Other Expenses                                      0.00   0.00%       800.00      2.53%      -800.00         896.17 124.20%         -896.17

             0.00        0.00%     3,069.55    48.39%   -3,069.55        124.31       0.00%    -124.31     Total F&B Expenses                                         360.93    1.17%    15,301.28   48.39%      -14,940.35        896.17 124.20%         -535.24

        3,907.97     84.92%        2,052.61    32.36%   1,855.36        -124.31       0.00%    4,032.28    Total F&B Profit (Loss)                                  24,401.49   79.03%   10,248.08   32.41%      14,153.41        -174.59     -24.20%   24,576.08




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                                                                                     Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                      P&L - Dual Summary Pages
                                                                                                            As of 5/31/2022
              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                               F&B Stats
                                                                                               Restaurant 1
             0.00                 0.00           0.00            0.00                  0.00    Food Stat- Food-Breakfast                                3.00            0.00         3.00            0.00           3.00
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.04            0.00         0.04            0.00           0.04
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                                3.00            0.00         3.00            0.00           3.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                   1.04            0.00         1.04            0.00           1.04

                                                                                               Restaurant 2
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                               Room Service
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Room Service Covers                                0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Room Service Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                               Banquets
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Banquets Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Banquets Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                               Catering
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Catering Covers                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Catering Avg Check                                       0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 3
             0.00                  0.00          0.00            0.00                  0.00    Breakfast Avg Check                                      0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    Lunch Avg Check                                          0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    Dinner Avg Check                                         0.00             0.00        0.00            0.00           0.00
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                                                                                     Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 4
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 5
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                                0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                   0.00            0.00         0.00            0.00           0.00

                                                                                               Bar 1
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                               Bar 2
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                          0.00            0.00         0.00            0.00           0.00

             0.00                 0.00           0.00            0.00                  0.00    Total Covers                                             3.00            0.00         3.00            0.00           3.00




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              PTD        %        PTD Budget    %       Variance   PTD Last Year     %        Variance                                                                YTD     %       YTD Budget %            Variance   YTD Last Year   %         Variance

                                                                                                         Food Admin
                                                                                                         Cost of Sales
             0.00         0.00%      609.84     9.61%   -609.84            0.00      0.00%       0.00    Food Purchases                                             115.37    0.37%     3,014.64     9.53%   -2,899.27           0.00    0.00%      115.37
           694.03        15.08%      612.00     9.65%     82.03            0.00      0.00%     694.03    Beverage Purchases                                       5,996.54   19.42%     3,060.00     9.68%    2,936.54           0.00    0.00%    5,996.54

          694.03     15.08%        1,221.84    19.26%   -527.81            0.00      0.00%    694.03     Total Food Admin Cost of Sales                           6,111.91   19.80%    6,074.64    19.21%       37.27            0.00    0.00%    6,111.91

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Food Admin Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Food Admin Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Food Admin Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

                                                                                                         PR Taxes and Benefits

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Food Admin PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Food Admin Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

                                                                                                         Other Expenses
             0.00        0.00%       160.00     2.52%   -160.00          124.31      0.00%    -124.31    Equipment Rental                                             0.00    0.00%      800.00      2.53%    -800.00          619.27    85.82%    -619.27
             0.00        0.00%         0.00     0.00%      0.00            0.00      0.00%       0.00    Menus                                                        0.00    0.00%        0.00      0.00%       0.00          276.90    38.37%    -276.90

             0.00        0.00%       160.00    2.52%    -160.00         124.31       0.00%    -124.31    Total Food Admin Other Expenses                              0.00   0.00%       800.00      2.53%    -800.00         896.17 124.20%      -896.17

             0.00        0.00%       160.00    2.52%    -160.00         124.31       0.00%    -124.31    Total Food Admin Expenses                                    0.00   0.00%       800.00      2.53%    -800.00         896.17 124.20%      -896.17

          694.03     15.08%        1,381.84    21.78%   -687.81         124.31       0.00%    569.72     Departmental Costs                                       6,111.91   19.80%    6,874.64    21.74%     -762.73         896.17 124.20%      5,215.74




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              PTD        %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Beverage Admin
             0.00        0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Less Adjustments                                         0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Revenue                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Sales

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Cost of Sales                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Other Expenses

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Other Expenses                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Expenses                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %        PTD Budget     %         Variance   PTD Last Year     %         Variance                                                                 YTD     %         YTD Budget %               Variance   YTD Last Year   %         Variance

                                                                                                             Restaurant 1
                                                                                                             Food Revenue
             0.00        0.00%         0.00      0.00%        0.00            0.00      0.00%        0.00    Food-Breakfast                                               0.13      0.00%          0.00      0.00%          0.13           0.00    0.00%        0.13
             0.00        0.00%         0.00      0.00%        0.00            0.00      0.00%        0.00    Food-Lunch                                                   3.00      0.03%          0.00      0.00%          3.00           0.00    0.00%        3.00
             0.00        0.00%       744.00     22.59%     -744.00            0.00      0.00%        0.00    Food-Dinner                                                  0.00      0.00%      3,624.00     22.13%     -3,624.00           0.00    0.00%        0.00

             0.00        0.00%       744.00    22.59%     -744.00             0.00      0.00%        0.00    Restaurant 1 Food Revenue                                    3.13     0.03%      3,624.00    22.13%      -3,620.87            0.00    0.00%        3.13
             0.00         0.00%        0.00      0.00%       0.00             0.00       0.00%       0.00    Less: Allowances                                             0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%       0.00

             0.00        0.00%       744.00    22.59%     -744.00             0.00      0.00%        0.00    Total Restaurant 1 Food Revenue                              3.13     0.03%      3,624.00    22.13%      -3,620.87            0.00    0.00%        3.13

                                                                                                             Beverage Revenue
           189.35        12.51%     1,000.00    30.36%     -810.65            0.00      0.00%      189.35    Liquor                                                     285.45      2.99%      5,000.00     30.54%     -4,714.55           0.00    0.00%      285.45
           469.94        31.05%     1,000.00    30.36%     -530.06            0.00      0.00%      469.94    Beer                                                     2,322.41     24.34%      5,000.00     30.54%     -2,677.59           0.00    0.00%    2,322.41
           854.00        56.43%       550.00    16.70%      304.00            0.00      0.00%      854.00    Wine                                                     6,931.92     72.64%      2,750.00     16.79%      4,181.92           0.00    0.00%    6,931.92

        1,513.29    100.00%        2,550.00    77.41%    -1,036.71            0.00      0.00%    1,513.29    Restaurant 1 Beverage Revenue                            9,539.78    99.97%     12,750.00    77.87%      -3,210.22            0.00    0.00%    9,539.78
            0.00       0.00%           0.00      0.00%        0.00            0.00       0.00%       0.00    Less: Allowances                                             0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%       0.00

        1,513.29    100.00%        2,550.00    77.41%    -1,036.71            0.00      0.00%    1,513.29    Total Restaurant 1 Beverage Revenue                      9,539.78    99.97%     12,750.00    77.87%      -3,210.22            0.00    0.00%    9,539.78

        1,513.29    100.00%        3,294.00    100.00%   -1,780.71            0.00      0.00%    1,513.29    Total Restaurant 1 Revenue                               9,542.91    100.00%    16,374.00 100.00%        -6,831.09            0.00    0.00%    9,542.91

                                                                                                             Cost of Sales

             0.00        0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Total Restaurant 1 Cost of Sales                             0.00     0.00%          0.00      0.00%          0.00            0.00    0.00%        0.00

        1,513.29    100.00%        3,294.00    100.00%   -1,780.71            0.00      0.00%    1,513.29    Restaurant 1 Gross Profit                                9,542.91    100.00%    16,374.00 100.00%        -6,831.09            0.00    0.00%    9,542.91

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00        0.00%          0.00    0.00%          0.00           0.00      0.00%        0.00    Total Restaurant 1 Management                                 0.00     0.00%          0.00    0.00%            0.00           0.00    0.00%         0.00
             0.00         0.00%     2,604.00    79.05%    -2,604.00           0.00       0.00%       0.00    Bartenders                                                  -18.48     -0.19%    12,684.00    77.46%     -12,702.48           0.00     0.00%      -18.48
             0.00        0.00%     2,604.00    79.05%    -2,604.00            0.00      0.00%        0.00    Total Restaurant 1 Non-Management                          -18.48     -0.19%    12,684.00    77.46%     -12,702.48            0.00    0.00%      -18.48

             0.00        0.00%     2,604.00    79.05%    -2,604.00            0.00      0.00%        0.00    Total Restaurant 1 Salaries and Wages                      -18.48     -0.19%    12,684.00    77.46%     -12,702.48            0.00    0.00%      -18.48

                                                                                                             PR Taxes and Benefits
             0.00         0.00%       199.21     6.05%     -199.21            0.00       0.00%       0.00    FICA                                                       158.85      1.66%        970.34      5.93%       -811.49           0.00     0.00%     158.85
             0.00         0.00%         2.34     0.07%        -2.34           0.00       0.00%       0.00    Federal Unemployment Tax                                     4.09      0.04%         34.84      0.21%        -30.75           0.00     0.00%       4.09
             0.00         0.00%        15.62     0.47%       -15.62           0.00       0.00%       0.00    State Unemployment Tax                                      23.51      0.25%        327.09      2.00%       -303.58           0.00     0.00%      23.51
             0.00        0.00%       217.17     6.59%     -217.17             0.00      0.00%        0.00    Total Payroll Taxes                                       186.45      1.95%      1,332.27      8.14%     -1,145.82            0.00    0.00%     186.45
             0.00        0.00%          0.00    0.00%          0.00           0.00      0.00%        0.00    Total Supplemental Pay                                       0.00     0.00%           0.00     0.00%           0.00           0.00    0.00%        0.00
             0.00         0.00%        71.74     2.18%       -71.74           0.00       0.00%       0.00    Worker's Compensation                                       56.69      0.59%        380.20      2.32%       -323.51           0.00     0.00%      56.69
             0.00        0.00%         71.74    2.18%       -71.74            0.00      0.00%        0.00    Total Other Benefits                                        56.69     0.59%        380.20      2.32%       -323.51            0.00    0.00%       56.69

             0.00        0.00%       288.91     8.77%     -288.91             0.00      0.00%        0.00    Total Restaurant 1 PR Taxes and Benefits                  243.14      2.55%      1,712.47    10.46%      -1,469.33            0.00    0.00%     243.14

             0.00        0.00%     2,892.91    87.82%    -2,892.91            0.00      0.00%        0.00    Total Restaurant 1 Payroll                                224.66      2.35%     14,396.47    87.92%     -14,171.81            0.00    0.00%     224.66

                                                                                                             Other Expenses
             0.00        0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Total Restaurant 1 Other Expenses                            0.00     0.00%          0.00      0.00%          0.00            0.00    0.00%        0.00

             0.00        0.00%     2,892.91    87.82%    -2,892.91            0.00      0.00%        0.00    Total Restaurant 1 Expenses                               224.66      2.35%     14,396.47    87.92%     -14,171.81            0.00    0.00%     224.66

        1,513.29    100.00%          401.09    12.18%    1,112.20             0.00      0.00%    1,513.29    Total Restaurant 1 Profit (Loss)                         9,318.25    97.65%      1,977.53    12.08%       7,340.72            0.00    0.00%    9,318.25


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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 2
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revemue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Gross Profit                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 PR Taxes and Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Room Service
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Gross Profit                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service PR Taxes and Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                                                        As of 5/31/2022
              PTD        %        PTD Budget     %       Variance   PTD Last Year     %         Variance                                                                 YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                           Banquets
                                                                                                           Food Revenue
           377.10        12.21%        0.00      0.00%    377.10            0.00      0.00%      377.10    Food-Breakfast                                              565.65     2.65%         0.00      0.00%      565.65           0.00     0.00%       565.65
           341.10        11.04%      900.00     29.51%   -558.90            0.00      0.00%      341.10    Food-Lunch                                                1,561.90     7.32%     4,500.00     29.51%   -2,938.10          81.00    11.23%     1,480.90
             0.00         0.00%       50.00      1.64%    -50.00            0.00      0.00%        0.00    Food-Breaks                                                   0.00     0.00%       250.00      1.64%     -250.00           0.00     0.00%         0.00

          718.20     23.25%          950.00    31.15%    -231.80            0.00      0.00%     718.20     Banquets Food Revenue                                     2,127.55    9.97%     4,750.00    31.15%     -2,622.45          81.00    11.23%     2,046.55
            0.00       0.00%           0.00      0.00%      0.00            0.00       0.00%      0.00     Less: Allowances                                              0.00     0.00%        0.00      0.00%         0.00           0.00      0.00%        0.00

          718.20     23.25%          950.00    31.15%    -231.80            0.00      0.00%     718.20     Total Banquets Food Revenue                               2,127.55    9.97%     4,750.00    31.15%     -2,622.45          81.00    11.23%     2,046.55

                                                                                                           Beverage Revenue

             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00    Banquets Beverage Revenue                                     0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00
             0.00         0.00%        0.00      0.00%      0.00            0.00       0.00%       0.00    Less: Allowances                                              0.00     0.00%        0.00       0.00%       0.00            0.00      0.00%        0.00

             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00    Total Banquets Beverage Revenue                               0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

                                                                                                           Other Revenue
           150.00         4.86%       250.00     8.20%   -100.00            0.00      0.00%      150.00    Audio/Visual Income                                         600.00     2.81%     1,250.00      8.20%     -650.00         200.00    27.72%       400.00
             0.01         0.00%         0.00     0.00%      0.01            0.00      0.00%        0.01    Other Revenue                                                75.01     0.35%         0.00      0.00%       75.01           0.00     0.00%        75.01
           470.50        15.23%       350.00    11.48%    120.50            0.00      0.00%      470.50    Setup Fee                                                 2,603.86    12.21%     1,750.00     11.48%      853.86         140.58    19.48%     2,463.28
         1,750.00        56.66%     1,500.00    49.18%    250.00            0.00      0.00%    1,750.00    Public Room Rental                                       15,925.00    74.66%     7,500.00     49.18%    8,425.00         300.00    41.58%    15,625.00

        2,370.51     76.75%        2,100.00    68.85%    270.51             0.00      0.00%    2,370.51    Total Banquets Other Revenue                             19,203.87   90.03%    10,500.00    68.85%     8,703.87         640.58     88.77%    18,563.29

        3,088.71    100.00%        3,050.00    100.00%     38.71            0.00      0.00%    3,088.71    Total Banquets Revenue                                   21,331.42   100.00%   15,250.00 100.00%       6,081.42         721.58 100.00%       20,609.84

                                                                                                           Cost of Sales

             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00    Total Banquets Cost of Sales                                  0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

        3,088.71    100.00%        3,050.00    100.00%     38.71            0.00      0.00%    3,088.71    Gross Profit                                             21,331.42   100.00%   15,250.00 100.00%       6,081.42         721.58 100.00%       20,609.84

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00    Total Banquets Management                                     0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00    Total Banquets Non-Management                                 0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

             0.00                      0.00                 0.00            0.00                   0.00    Total Banquets Salaries and Wages                             0.00                  0.00                   0.00            0.00                   0.00

                                                                                                           PR Taxes and Benefits
             0.00         0.00%       15.26      0.50%     -15.26           0.00       0.00%       0.00    FICA                                                          0.00     0.00%       76.30       0.50%      -76.30           0.00      0.00%        0.00
             0.00         0.00%        0.18      0.01%      -0.18           0.00       0.00%       0.00    Federal Unemployment Tax                                      0.00     0.00%        2.76       0.02%       -2.76           0.00      0.00%        0.00
             0.00         0.00%        1.20      0.04%      -1.20           0.00       0.00%       0.00    State Unemployment Tax                                        0.00     0.00%       25.75       0.17%      -25.75           0.00      0.00%        0.00
             0.00        0.00%        16.64     0.55%     -16.64            0.00      0.00%        0.00    Total Payroll Taxes                                           0.00    0.00%       104.81      0.69%     -104.81            0.00     0.00%         0.00
             0.00        0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00    Total Supplemental Pay                                        0.00    0.00%         0.00      0.00%         0.00           0.00     0.00%         0.00
             0.00        0.00%         0.00     0.00%        0.00           0.00      0.00%        0.00    Total Other Benefits                                          0.00    0.00%         0.00      0.00%         0.00           0.00     0.00%         0.00

             0.00                     16.64               -16.64            0.00                   0.00    Total Banquet Benefits                                        0.00                104.81                -104.81            0.00                   0.00

             0.00        0.00%        16.64     0.55%     -16.64            0.00      0.00%        0.00    Total Banquets Payroll                                        0.00    0.00%       104.81      0.69%     -104.81            0.00     0.00%         0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00    Total Banquets Other Expenses                                 0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00


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              PTD        %       PTD Budget    %       Variance   PTD Last Year     %        Variance                                                                 YTD     %        YTD Budget %            Variance   YTD Last Year   %         Variance

             0.00        0.00%       16.64    0.55%     -16.64            0.00      0.00%       0.00    Total Banquets Expenses                                       0.00    0.00%       104.81      0.69%   -104.81             0.00    0.00%        0.00

        3,088.71    100.00%       3,033.36    99.45%     55.35            0.00      0.00%   3,088.71    Total Banquets Profit (Loss)                             21,331.42   100.00%   15,145.19   99.31%     6,186.23         721.58 100.00%     20,609.84




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Catering
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Cost of Sales                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Gross Profit                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Management                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Non-Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Salaries and Wages                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering PR Taxes and Benefits                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Payroll                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Profit (Loss)                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 3
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Gross Profit                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll Taxes and Benefits            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                               Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 4
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 4 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Food Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restauarnt 4 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Beverage Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Cost of Sales                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Management                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Non-Management                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Salaries and Wages                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 PR Taxes and Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Payroll                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Other Expenses                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Profit (Loss)                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 5
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    FICA                                                      67.85     0.00%        0.00       0.00%    67.85             0.00     0.00%    67.85
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Federal Unemployment Tax                                  10.15     0.00%        0.00       0.00%    10.15             0.00     0.00%    10.15
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    State Unemployment Tax                                    58.27     0.00%        0.00       0.00%    58.27             0.00     0.00%    58.27
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      136.27    0.00%         0.00      0.00%    136.27             0.00    0.00%    136.27
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                     0.00    0.00%         0.00      0.00%      0.00             0.00    0.00%      0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                       0.00    0.00%         0.00      0.00%      0.00             0.00    0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 PR Taxes and Benefits                 136.27    0.00%         0.00      0.00%    136.27             0.00    0.00%    136.27

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Payroll                               136.27    0.00%         0.00      0.00%    136.27             0.00    0.00%    136.27

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Expenses                              136.27    0.00%         0.00      0.00%    136.27             0.00    0.00%    136.27

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Profit (Loss)                         -136.27   0.00%         0.00      0.00%    -136.27            0.00    0.00%    -136.27




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 1
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Food Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Beverage Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Non-Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Salaries and Wages                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 PR Taxes and Benefits                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 2
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Food Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Food Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Beverage Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Beverage Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expenses
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Non-Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Salaries and Wages                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 PR Taxes and Benefits                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Expenses                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Telephone

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Telephone Revenue                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %     PTD Budget     %        Variance   PTD Last Year     %         Variance                                                                   YTD     %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                         Minor Operating
                                                                                                         Income
             0.00     0.00%          0.00     0.00%        0.00           0.00      0.00%         0.00   Total Rental Income                                             0.00    0.00%          0.00  0.00%           0.00           0.00     0.00%          0.00
            28.25      0.80%         0.00      0.00%      28.25           0.00       0.00%       28.25   Vending Commissions Other                                     155.95     0.93%         0.00   0.00%        155.95          73.20      0.36%        82.75
            28.25     0.80%          0.00     0.00%       28.25           0.00      0.00%        28.25   Total Vending Commission Income                              155.95     0.93%          0.00  0.00%        155.95           73.20     0.36%         82.75
           229.00      6.49%         0.00      0.00%     229.00           0.00       0.00%      229.00   Cancellation Fee - Rooms                                    1,552.29     9.28%         0.00   0.00%      1,552.29           0.00      0.00%     1,552.29
          229.00      6.49%          0.00     0.00%     229.00            0.00      0.00%      229.00    Total Cancellation Fee Income                              1,552.29     9.28%          0.00  0.00%      1,552.29            0.00     0.00%     1,552.29
             8.00      0.23%       600.00     15.86%    -592.00          43.00       1.04%      -35.00   Guest Laundry                                               2,619.00    15.65%     3,000.00  19.55%       -381.00         119.00      0.58%     2,500.00
             0.00      0.00%         0.00      0.00%       0.00       1,180.00      28.54%   -1,180.00   Other Revenue 3                                                 0.00     0.00%         0.00   0.00%          0.00       2,750.50     13.49%    -2,750.50
             0.00      0.00%         0.00      0.00%       0.00           0.00       0.00%        0.00   Other Revenue 4                                                 0.00     0.00%         0.00   0.00%          0.00       6,350.18     31.16%    -6,350.18
            73.40      2.08%         0.00      0.00%      73.40           0.00       0.00%       73.40   Parking Revenue                                                73.40     0.44%         0.00   0.00%         73.40           0.00      0.00%        73.40
         3,191.81     90.41%     3,182.40     84.14%       9.41       2,912.18      70.42%      279.63   Gift Shop Sales                                            12,335.21    73.71%    12,348.80  80.45%        -13.59      11,089.26     54.41%     1,245.95
        3,273.21     92.71%     3,782.40    100.00%    -509.19       4,135.18     100.00%     -861.97    Total Other Income                                        15,027.61    89.79%    15,348.80 100.00%       -321.19      20,308.94     99.64%    -5,281.33

        3,530.46    100.00%     3,782.40    100.00%    -251.94       4,135.18     100.00%     -604.72    Total Minor Operating Income                              16,735.85    100.00%   15,348.80 100.00%      1,387.05      20,382.14 100.00%       -3,646.29

                                                                                                         Cost of Sales
             0.00      0.00%        60.00      1.59%    -60.00            0.00       0.00%        0.00   Cost of Sales - Guest Laundry                                   0.00     0.00%       300.00     1.95%     -300.00           0.00      0.00%        0.00
         2,435.08     68.97%     2,068.56     54.69%    366.52          983.92      23.79%    1,451.16   Cost of Sales - Gift Shop                                  10,012.06    59.82%     8,026.73    52.30%    1,985.33       6,370.78     31.26%    3,641.28
        2,435.08     68.97%     2,128.56     56.28%    306.52          983.92      23.79%    1,451.16    Total Minor Operated Cost of Sales                        10,012.06    59.82%     8,326.73    54.25%    1,685.33       6,370.78     31.26%    3,641.28

        1,095.38     31.03%     1,653.84     43.72%    -558.46       3,151.26      76.21%    -2,055.88   Total Minor Operated Profit (Loss)                         6,723.79    40.18%     7,022.07    45.75%     -298.28      14,011.36     68.74%    -7,287.57




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              PTD        %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Arcade
                                                                                                       Revenue

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Revenue                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Non-Management                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Profit (Loss)                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Waterpark
                                                                                                       Revenue
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Revenue                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Management                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Non-Management                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Salaries and Wages                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark PR Taxes and Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Payroll                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Other Expenses                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Profit (Loss)                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %       PTD Budget   %        Variance   PTD Last Year     %        Variance                                                                  YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                        Franchise Fees
        33,227.11        4.92%    33,202.19   4.92%       24.92      25,192.35      4.69%    8,034.76   Franchise Fees - Royalty & Licenses                      135,394.98   4.93%   123,285.31     4.91%   12,109.67       90,921.13    4.81%   44,473.85
         3,294.69        0.49%     8,424.00   1.25%   -5,129.31       9,203.26      1.71%   -5,908.57   Franchise Fees - Frequent Guest                           46,283.19   1.69%    32,688.00     1.30%   13,595.19       29,565.67    1.56%   16,717.52
        15,185.80        2.25%    13,280.87   1.97%    1,904.93      12,337.79      2.29%    2,848.01   Franchise Fees - Marketing Contributions                  61,888.16   2.25%    49,314.11     1.96%   12,574.05       43,875.74    2.32%   18,012.42

       51,707.60         7.66%   54,907.06    8.14%   -3,199.46     46,733.40       8.69%   4,974.20    Total Franchise Fees                                 243,566.33       8.87%   205,287.42     8.17%   38,278.91     164,362.54     8.69%   79,203.79




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              PTD        %        PTD Budget   %          Variance    PTD Last Year     %          Variance                                                                  YTD    %        YTD Budget %              Variance    YTD Last Year    %           Variance

                                                                                                              A&G
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         5,715.52         0.85%     8,068.49    1.20%    -2,352.97        9,134.64       1.70%    -3,419.12   Management- A&G                                           36,329.13    1.32%     39,301.36     1.56%    -2,972.23       57,129.80      3.02%    -20,800.67
        5,715.52         0.85%     8,068.49    1.20%    -2,352.97        9,134.64       1.70%    -3,419.12    Total A&G Management                                     36,329.13    1.32%     39,301.36     1.56%    -2,972.23       57,129.80      3.02%    -20,800.67
             0.00        0.00%          0.00   0.00%          0.00            0.00      0.00%          0.00   Total A&G Non-Management                                       0.00   0.00%           0.00    0.00%          0.00            0.00     0.00%           0.00
        5,715.52         0.85%     8,068.49    1.20%    -2,352.97        9,134.64       1.70%    -3,419.12    Total A&G Salaries and Wages                             36,329.13    1.32%     39,301.36     1.56%    -2,972.23       57,129.80      3.02%    -20,800.67
                                                                                                              PR Taxes and Benefits
           314.76         0.05%       620.68    0.09%      -305.92          777.02       0.14%      -462.26   FICA                                                       2,536.19    0.09%      3,376.81     0.13%      -840.62        4,538.89      0.24%     -2,002.70
            12.97         0.00%         7.30    0.00%          5.67           0.00       0.00%        12.97   Federal Unemployment Tax                                     125.20    0.00%        116.84     0.00%          8.36          63.00      0.00%         62.20
            62.06         0.01%        48.68    0.01%         13.38           0.00       0.00%        62.06   State Unemployment Tax                                       798.62    0.03%      1,158.43     0.05%      -359.81          -95.38     -0.01%        894.00
          389.79         0.06%       676.66    0.10%      -286.87          777.02       0.14%      -387.23    Total Payroll Taxes                                       3,460.01    0.13%      4,652.08     0.19%    -1,192.07        4,506.51      0.24%     -1,046.50
             0.00         0.00%        45.00    0.01%        -45.00         480.77       0.09%      -480.77   Holiday                                                        0.00    0.00%         90.00     0.00%        -90.00       1,108.66      0.06%     -1,108.66
             0.00         0.00%         0.00    0.00%          0.00         554.80       0.10%      -554.80   Vacation                                                       0.00    0.00%          0.00     0.00%          0.00       3,817.82      0.20%     -3,817.82
             0.00        0.00%         45.00   0.01%        -45.00       1,035.57       0.19%    -1,035.57    Total Supplemental Pay                                         0.00   0.00%          90.00    0.00%        -90.00       4,926.48      0.26%     -4,926.48
           135.10         0.02%       223.52    0.03%        -88.42         497.18       0.09%      -362.08   Worker's Compensation                                      1,390.96    0.05%      1,310.05     0.05%         80.91       3,298.02      0.17%     -1,907.06
           709.47         0.11%       485.00    0.07%       224.47          948.24       0.18%      -238.77   Group Insurance                                            1,887.70    0.07%      2,425.00     0.10%      -537.30        5,528.97      0.29%     -3,641.27
             0.00         0.00%         0.00    0.00%          0.00           0.00       0.00%         0.00   Bonus and Incentive Pay                                      633.33    0.02%      4,750.00     0.19%    -4,116.67            0.00      0.00%        633.33
          844.57         0.13%       708.52    0.11%       136.05        1,445.42       0.27%      -600.85    Total Other Benefits                                      3,911.99    0.14%      8,485.05     0.34%    -4,573.06        8,826.99      0.47%     -4,915.00
        1,234.36         0.18%     1,430.18    0.21%      -195.82        3,258.01       0.61%    -2,023.65    Total A&G PR Taxes and Benefits                           7,372.00    0.27%     13,227.13     0.53%    -5,855.13       18,259.98      0.97%    -10,887.98
        6,949.88         1.03%     9,498.67    1.41%    -2,548.79       12,392.65       2.31%    -5,442.77    Total A&G Payroll                                        43,701.13    1.59%     52,528.49     2.09%    -8,827.36       75,389.78      3.99%    -31,688.65
                                                                                                              Other Expenses
        -2,158.14        -0.32%         0.00    0.00%   -2,158.14         1,594.11       0.30%    -3,752.25   Bad Debt Provision                                     12,603.29       0.46%          0.00     0.00%    12,603.29        8,377.67      0.44%     4,225.62
         1,093.03         0.16%       900.00    0.13%      193.03           951.29       0.18%       141.74   Bank Charges                                            4,732.04       0.17%      4,500.00     0.18%       232.04        4,668.80      0.25%        63.24
           -10.00         0.00%         0.00    0.00%      -10.00             9.49       0.00%       -19.49   Cash Over/Short                                           -43.97       0.00%          0.00     0.00%       -43.97            5.94      0.00%       -49.91
           301.20         0.04%       500.00    0.07%     -198.80             0.00       0.00%       301.20   Central Office - Travel Rebilled                          301.20       0.01%      1,000.00     0.04%      -698.80            0.00      0.00%       301.20
         1,000.00         0.15%     1,000.00    0.15%        0.00         3,337.00       0.62%    -2,337.00   Central Office - Accounting Fees                        5,000.00       0.18%      5,000.00     0.20%         0.00       16,685.00      0.88%   -11,685.00
             0.00         0.00%         0.00    0.00%        0.00             0.00       0.00%         0.00   Collection Expense                                        167.82       0.01%          0.00     0.00%       167.82            0.00      0.00%       167.82
         1,721.44         0.25%         0.00    0.00%    1,721.44             0.00       0.00%     1,721.44   Contract Labor                                          1,721.44       0.06%          0.00     0.00%     1,721.44            0.00      0.00%     1,721.44
        17,693.17         2.62%    17,663.26    2.62%       29.91        14,540.71       2.70%     3,152.46   Credit Card Commission                                 73,794.37       2.69%     65,832.19     2.62%     7,962.18       33,477.22      1.77%    40,317.15
            38.62         0.01%         0.00    0.00%       38.62             0.00       0.00%        38.62   Dues and Subscriptions                                     38.62       0.00%      1,700.00     0.07%    -1,661.38            0.00      0.00%        38.62
           202.66         0.03%       200.00    0.03%        2.66           484.08       0.09%      -281.42   Employee Relations                                      1,400.49       0.05%      1,795.00     0.07%      -394.51        2,221.73      0.12%      -821.24
            25.26         0.00%       112.00    0.02%      -86.74             0.00       0.00%        25.26   Equipment Rental                                          162.69       0.01%        560.00     0.02%      -397.31            0.00      0.00%       162.69
           573.62         0.08%         0.00    0.00%      573.62           384.38       0.07%       189.24   Licenses/Permits                                        3,274.69       0.12%      9,693.79     0.39%    -6,419.10        5,877.93      0.31%    -2,603.24
             0.00         0.00%        50.00    0.01%      -50.00             0.00       0.00%         0.00   Meals and Entertainment                                     0.00       0.00%        250.00     0.01%      -250.00          200.00      0.01%      -200.00
            79.07         0.01%         0.00    0.00%       79.07           158.86       0.03%       -79.79   Miscellaneous Expense                                   2,256.37       0.08%          0.00     0.00%     2,256.37         -828.50     -0.04%     3,084.87
            63.93         0.01%       450.00    0.07%     -386.07            10.87       0.00%        53.06   Operating Supplies                                      2,886.22       0.11%      2,250.00     0.09%       636.22          474.85      0.03%     2,411.37
           171.10         0.03%       449.14    0.07%     -278.04           615.00       0.11%      -443.90   Payroll Service Fees                                    1,858.18       0.07%      2,238.85     0.09%      -380.67        3,075.00      0.16%    -1,216.82
            77.25         0.01%        75.00    0.01%        2.25            12.63       0.00%        64.62   Postage                                                   351.64       0.01%        375.00     0.01%       -23.36          124.90      0.01%       226.74
           203.50         0.03%       150.00    0.02%       53.50             0.00       0.00%       203.50   Professional Fees - Legal                                 685.00       0.02%        750.00     0.03%       -65.00            0.00      0.00%       685.00
         1,625.00         0.24%         0.00    0.00%    1,625.00             0.00       0.00%     1,625.00   Professional Fees - Other                              23,703.33       0.86%        650.00     0.03%    23,053.33          635.02      0.03%    23,068.31
           490.00         0.07%       150.00    0.02%      340.00             0.00       0.00%       490.00   Recruitment Advertising                                 1,812.95       0.07%        750.00     0.03%     1,062.95            0.00      0.00%     1,812.95
         8,800.00         1.30%     8,660.00    1.28%      140.00         8,123.43       1.51%       676.57   Security - Outside                                     42,900.00       1.56%     43,300.00     1.72%      -400.00       43,953.93      2.33%    -1,053.93
             0.00         0.00%         0.00    0.00%        0.00             0.00       0.00%         0.00   Training                                                2,935.00       0.11%      3,690.00     0.15%      -755.00            0.00      0.00%     2,935.00
           505.53         0.07%        35.00    0.01%      470.53             0.00       0.00%       505.53   Travel                                                    505.53       0.02%        175.00     0.01%       330.53            0.00      0.00%       505.53
             0.00         0.00%         0.00    0.00%        0.00             0.00       0.00%         0.00   Uniforms                                                  410.40       0.01%          0.00     0.00%       410.40            0.00      0.00%       410.40
       32,496.24         4.81%    30,394.40    4.51%    2,101.84        30,221.85       5.62%     2,274.39    Total A&G Other Expenses                             183,457.30       6.68%    144,509.83     5.75%    38,947.47      118,949.49      6.29%    64,507.81
       39,446.12         5.84%    39,893.07    5.92%     -446.95        42,614.50       7.93%    -3,168.38    Total A&G Expenses                                   227,158.43       8.27%    197,038.32     7.84%    30,120.11      194,339.27     10.28%    32,819.16




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                                                                                                                        As of 5/31/2022
              PTD        %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                                  YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           IT
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wags
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Management                                           0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Non-Management                                       0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Salaries and Wages                                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total Payroll Taxes                                           0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total Supplemental Pay                                        0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total Other Benefits                                          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT PR Taxes and Benefits                                0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Payroll                                              0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                           Cost of Services
           260.00         0.04%       210.00    0.03%       50.00          50.00       0.01%     210.00    Cost of Cell Phones                                        1,090.00    0.04%     1,050.00      0.04%        40.00         477.50     0.03%       612.50
         1,299.99         0.19%     1,685.00    0.25%     -385.01       1,399.99       0.26%    -100.00    Cost of Internet Services                                  7,956.83    0.29%     8,425.00      0.34%      -468.17       6,999.95     0.37%       956.88
           703.09         0.10%       700.00    0.10%        3.09         668.95       0.12%      34.14    Cost of Calls                                              3,572.57    0.13%     3,500.00      0.14%        72.57       3,029.91     0.16%       542.66
        2,263.08         0.34%     2,595.00    0.38%     -331.92       2,118.94       0.39%     144.14     Total IT Cost of Services                                12,619.40    0.46%    12,975.00      0.52%      -355.60      10,507.36     0.56%     2,112.04

                                                                                                           System Costs
         1,977.69         0.29%     2,040.70    0.30%      -63.01         308.31       0.06%    1,669.38   Administrative & General                                   7,543.07    0.27%     4,123.50      0.16%     3,419.57       1,541.67     0.08%     6,001.40
             0.00         0.00%        50.00    0.01%      -50.00           0.00       0.00%        0.00   Human Resources                                                0.00    0.00%       250.00      0.01%      -250.00           0.00     0.00%         0.00
             0.00         0.00%         0.00    0.00%        0.00         322.75       0.06%     -322.75   Information Security                                           0.00    0.00%         0.00      0.00%         0.00       2,447.64     0.13%    -2,447.64
         1,725.34         0.26%       180.00    0.03%    1,545.34       1,317.39       0.25%      407.95   Information Systems                                        7,450.56    0.27%       900.00      0.04%     6,550.56       7,255.00     0.38%       195.56
           142.00         0.02%       142.00    0.02%        0.00           0.00       0.00%      142.00   Property Ops & Maintenance                                   568.00    0.02%       710.00      0.03%      -142.00           0.00     0.00%       568.00
         7,953.68         1.18%       950.00    0.14%    7,003.68       1,340.38       0.25%    6,613.30   Rooms                                                     32,290.77    1.18%     4,750.00      0.19%    27,540.77       7,533.84     0.40%    24,756.93
             0.00         0.00%       265.00    0.04%     -265.00         263.11       0.05%     -263.11   Sales & Marketing                                              0.00    0.00%     1,325.00      0.05%    -1,325.00       1,315.55     0.07%    -1,315.55
       11,798.71         1.75%     3,627.70    0.54%    8,171.01       3,551.94       0.66%    8,246.77    Total IT Systems                                         47,852.40    1.74%    12,058.50      0.48%    35,793.90      20,093.70     1.06%    27,758.70

                                                                                                           Other Expenses
             0.00         0.00%        0.00     0.00%       0.00            0.00       0.00%       0.00    Contract Labor                                                 0.00    0.00%        0.00       0.00%         0.00         592.99     0.03%      -592.99
             0.00         0.00%        0.00     0.00%       0.00            0.00       0.00%       0.00    Travel                                                       213.19    0.01%        0.00       0.00%       213.19           0.00     0.00%       213.19
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Other Expenses                                     213.19    0.01%         0.00      0.00%       213.19         592.99     0.03%      -379.80

       14,061.79         2.08%     6,222.70    0.92%    7,839.09       5,670.88       1.05%    8,390.91    Total IT Expenses                                        60,684.99    2.21%    25,033.50      1.00%    35,651.49      31,194.05     1.65%    29,490.94




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                                                                                                                           As of 5/31/2022
              PTD        %        PTD Budget   %          Variance    PTD Last Year     %          Variance                                                                  YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                              S&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         7,238.06         1.07%     5,520.55    0.82%    1,717.51             0.00       0.00%    7,238.06    Division Management                                       24,344.17    0.89%    26,890.42      1.07%     -2,546.25           0.00     0.00%    24,344.17
        7,238.06         1.07%     5,520.55    0.82%    1,717.51              0.00      0.00%    7,238.06     Total S&M Management                                     24,344.17    0.89%    26,890.42      1.07%     -2,546.25            0.00    0.00%    24,344.17
             0.00         0.00%         0.00    0.00%        0.00           586.63       0.11%     -586.63    Administrative Assistant                                       0.00    0.00%         0.00      0.00%          0.00       5,326.97     0.28%    -5,326.97
             0.00        0.00%          0.00   0.00%         0.00          586.63       0.11%     -586.63     Total S&M Non-Management                                       0.00   0.00%          0.00     0.00%           0.00      5,326.97     0.28%    -5,326.97

        7,238.06         1.07%     5,520.55    0.82%    1,717.51           586.63       0.11%    6,651.43     Total S&M Salaries and Wages                             24,344.17    0.89%    26,890.42      1.07%     -2,546.25       5,326.97     0.28%    19,017.20

                                                                                                              PR Taxes and Benefits
           550.76         0.08%       608.75    0.09%        -57.99          79.11       0.01%      471.65    FICA                                                       1,846.37    0.07%     2,429.97      0.10%       -583.60         455.02     0.02%     1,391.35
            12.04         0.00%         7.16    0.00%          4.88           -1.13      0.00%       13.17    Federal Unemployment Tax                                      74.02    0.00%        85.58      0.00%        -11.56          29.85     0.00%        44.17
            69.29         0.01%        47.75    0.01%         21.54         -16.28       0.00%       85.57    State Unemployment Tax                                       428.70    0.02%       781.20      0.03%       -352.50          65.23     0.00%       363.47
          632.09         0.09%       663.66    0.10%        -31.57           61.70      0.01%      570.39     Total Payroll Taxes                                       2,349.09    0.09%     3,296.75      0.13%       -947.66         550.10     0.03%     1,798.99
             0.00         0.00%         0.00    0.00%          0.00            0.00      0.00%        0.00    Holiday                                                        0.00    0.00%         0.00      0.00%          0.00         161.54     0.01%      -161.54
             0.00         0.00%         0.00    0.00%          0.00            0.00      0.00%        0.00    Vacation                                                       0.00    0.00%         0.00      0.00%          0.00         143.72     0.01%      -143.72
             0.00        0.00%          0.00   0.00%           0.00            0.00     0.00%         0.00    Total Supplemental Pay                                         0.00   0.00%          0.00     0.00%           0.00        305.26     0.02%      -305.26
           241.73         0.04%       219.22    0.03%         22.51          90.79       0.02%      150.94    Worker's Compensation                                        855.62    0.03%       954.04      0.04%        -98.42         478.95     0.03%       376.67
           625.33         0.09%       485.00    0.07%       140.33          355.59       0.07%      269.74    Group Insurance                                            2,180.40    0.08%     2,425.00      0.10%       -244.60       1,933.16     0.10%       247.24
         1,000.00         0.15%     2,437.00    0.36%    -1,437.00             0.00      0.00%    1,000.00    Bonus and Incentive Pay                                    3,083.87    0.11%     4,874.00      0.19%     -1,790.13           0.00     0.00%     3,083.87
        1,867.06         0.28%     3,141.22    0.47%    -1,274.16          446.38       0.08%    1,420.68     Total Other Benefits                                      6,119.89    0.22%     8,253.04      0.33%     -2,133.15       2,412.11     0.13%     3,707.78
        2,499.15         0.37%     3,804.88    0.56%    -1,305.73          508.08       0.09%    1,991.07     Total S&M PR Taxes and Benefits                           8,468.98    0.31%    11,549.79      0.46%     -3,080.81       3,267.47     0.17%     5,201.51

        9,737.21         1.44%     9,325.43    1.38%       411.78        1,094.71       0.20%    8,642.50     Total S&M Payroll                                        32,813.15    1.20%    38,440.21      1.53%     -5,627.06       8,594.44     0.45%    24,218.71

                                                                                                              Other Expenses
             0.00         0.00%         0.00    0.00%         0.00            0.00       0.00%         0.00   Advertising General                                            0.00    0.00%         0.00      0.00%          0.00      -1,200.00    -0.06%     1,200.00
           450.00         0.07%     1,815.00    0.27%    -1,365.00            5.74       0.00%       444.26   Advertising-Web/Internet                                   3,427.50    0.12%     7,980.00      0.32%     -4,552.50      -1,285.88    -0.07%     4,713.38
             0.00         0.00%       100.00    0.01%      -100.00            0.00       0.00%         0.00   Brochures                                                      0.00    0.00%       500.00      0.02%       -500.00           0.00     0.00%         0.00
             0.00         0.00%        50.00    0.01%       -50.00            0.00       0.00%         0.00   Direct Mail                                                    0.00    0.00%       250.00      0.01%       -250.00           0.00     0.00%         0.00
         2,042.09         0.30%     1,564.00    0.23%       478.09        3,584.00       0.67%    -1,541.91   Dues and Subscriptions                                     7,990.09    0.29%     7,820.00      0.31%        170.09      21,448.38     1.13%   -13,458.29
             0.00         0.00%        65.00    0.01%       -65.00            2.65       0.00%        -2.65   Meals and Entertainment                                        0.00    0.00%       325.00      0.01%       -325.00           2.65     0.00%        -2.65
             0.00         0.00%         0.00    0.00%         0.00            0.80       0.00%        -0.80   Office Equipment                                               0.00    0.00%         0.00      0.00%          0.00           0.80     0.00%        -0.80
            60.09         0.01%        50.00    0.01%        10.09            0.00       0.00%        60.09   Operating Supplies                                            60.09    0.00%       250.00      0.01%       -189.91           0.00     0.00%        60.09
             0.00         0.00%        50.00    0.01%       -50.00            0.00       0.00%         0.00   Postage                                                        0.00    0.00%       250.00      0.01%       -250.00           0.00     0.00%         0.00
             0.00         0.00%       100.00    0.01%      -100.00            0.00       0.00%         0.00   Promotions - In-house                                          0.00    0.00%       500.00      0.02%       -500.00           0.00     0.00%         0.00
             0.00         0.00%       100.00    0.01%      -100.00            4.90       0.00%        -4.90   Promotion - Outside                                          168.00    0.01%       750.00      0.03%       -582.00          44.74     0.00%       123.26
             0.00         0.00%       100.00    0.01%      -100.00           47.69       0.01%       -47.69   Travel                                                         0.00    0.00%       500.00      0.02%       -500.00          47.69     0.00%       -47.69
        2,552.18         0.38%     3,994.00    0.59%    -1,441.82        3,645.78       0.68%    -1,093.60    Total S&M Other Expenses                                 11,645.68    0.42%    19,125.00      0.76%     -7,479.32      19,058.38     1.01%    -7,412.70

       12,289.39         1.82%    13,319.43    1.98%    -1,030.04        4,740.49       0.88%    7,548.90     Total S&M Expenses                                       44,458.83    1.62%    57,565.21      2.29%    -13,106.38      27,652.82     1.46%    16,806.01




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              PTD        %        PTD Budget   %          Variance   PTD Last Year     %          Variance                                                                   YTD    %         YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                              R&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Division Management                                       -2,252.64    -0.08%          0.00     0.00%     -2,252.64           0.00     0.00%    -2,252.64
             0.00        0.00%          0.00   0.00%          0.00           0.00      0.00%          0.00    Total R&M Management                                     -2,252.64    -0.08%           0.00    0.00%     -2,252.64            0.00    0.00%    -2,252.64
             0.00         0.00%     4,428.57    0.66%    -4,428.57           0.00       0.00%         0.00    Engineering Supervisor                                         0.00     0.00%     21,571.42     0.86%    -21,571.42           0.00     0.00%         0.00
         6,376.20         0.94%     7,085.71    1.05%      -709.51       5,920.51       1.10%       455.69    Engineers 1                                               33,572.30     1.22%     34,514.27     1.37%       -941.97      29,518.85     1.56%     4,053.45
        6,376.20         0.94%    11,514.28    1.71%    -5,138.08       5,920.51       1.10%       455.69     Total R&M Non-Management                                 33,572.30     1.22%     56,085.69     2.23%    -22,513.39      29,518.85     1.56%     4,053.45

        6,376.20         0.94%    11,514.28    1.71%    -5,138.08       5,920.51       1.10%       455.69     Total R&M Salaries and Wages                             31,319.66    1.14%      56,085.69     2.23%    -24,766.03      29,518.85     1.56%     1,800.81

                                                                                                              PR Taxes and Benefits
           485.06         0.07%       880.84    0.13%      -395.78         435.45       0.08%         49.61   FICA                                                       2,362.20    0.09%       4,290.55     0.17%     -1,928.35       1,747.43     0.09%       614.77
            10.63         0.00%        10.36    0.00%         0.27          -3.59       0.00%         14.22   Federal Unemployment Tax                                     103.28    0.00%         154.11     0.01%        -50.83          83.28     0.00%        20.00
            96.08         0.01%        69.09    0.01%        26.99         -40.68      -0.01%       136.76    State Unemployment Tax                                       633.34    0.02%       1,446.35     0.06%       -813.01         551.12     0.03%        82.22
          591.77         0.09%       960.29    0.14%      -368.52         391.18       0.07%       200.59     Total Payroll Taxes                                       3,098.82    0.11%       5,891.01     0.23%     -2,792.19       2,381.83     0.13%       716.99
             0.00         0.00%         0.00    0.00%         0.00         266.00       0.05%      -266.00    Holiday                                                        0.00    0.00%           0.00     0.00%          0.00         392.00     0.02%      -392.00
             0.00         0.00%         0.00    0.00%         0.00         -88.09      -0.02%         88.09   Vacation                                                       0.00    0.00%           0.00     0.00%          0.00         435.19     0.02%      -435.19
             0.00        0.00%          0.00   0.00%          0.00        177.91       0.03%      -177.91     Total Supplemental Pay                                         0.00   0.00%            0.00    0.00%           0.00        827.19     0.04%      -827.19
           210.78         0.03%       317.21    0.05%      -106.43         274.94       0.05%        -64.16   Worker's Compensation                                      1,208.10    0.04%       1,681.09     0.07%       -472.99       1,277.83     0.07%       -69.73
           470.77         0.07%       485.00    0.07%       -14.23         503.01       0.09%        -32.24   Group Insurance                                            1,805.80    0.07%       2,425.00     0.10%       -619.20       2,257.50     0.12%      -451.70
          681.55         0.10%       802.21    0.12%      -120.66         777.95       0.14%        -96.40    Total Other Benefits                                      3,013.90    0.11%       4,106.09     0.16%     -1,092.19       3,535.33     0.19%      -521.43
        1,273.32         0.19%     1,762.50    0.26%      -489.18       1,347.04       0.25%        -73.72    Total R&M PR Taxes and Benefits                           6,112.72    0.22%       9,997.10     0.40%     -3,884.38       6,744.35     0.36%      -631.63

        7,649.52         1.13%    13,276.78    1.97%    -5,627.26       7,267.55       1.35%       381.97     Total R&M Payroll                                        37,432.38    1.36%      66,082.79     2.63%    -28,650.41      36,263.20     1.92%     1,169.18

                                                                                                              Other Expenses
        10,239.94         1.52%     2,326.00    0.35%     7,913.94          79.00       0.01%    10,160.94    Air Conditioning and Refrigeration                     19,207.89       0.70%      11,630.00     0.46%     7,577.89          851.09     0.05%    18,356.80
           880.08         0.13%       850.00    0.13%        30.08         754.02       0.14%       126.06    Building                                                9,194.63       0.33%       4,250.00     0.17%     4,944.63        8,874.63     0.47%       320.00
             0.00         0.00%        90.00    0.01%       -90.00       1,174.50       0.22%    -1,174.50    Contract Labor                                            150.00       0.01%         450.00     0.02%      -300.00        5,872.50     0.31%    -5,722.50
           251.60         0.04%       200.00    0.03%        51.60         147.04       0.03%       104.56    Electric Bulbs                                          1,244.85       0.05%       1,000.00     0.04%       244.85          284.77     0.02%       960.08
         2,900.00         0.43%       200.00    0.03%     2,700.00           0.00       0.00%     2,900.00    Electrical and Mechanical                               4,800.54       0.17%       1,000.00     0.04%     3,800.54            0.00     0.00%     4,800.54
             0.00         0.00%       460.00    0.07%      -460.00         651.24       0.12%      -651.24    Elevator Maintenance Contracts                          2,310.78       0.08%       2,705.00     0.11%      -394.22        6,193.33     0.33%    -3,882.55
         1,342.38         0.20%       550.00    0.08%       792.38         722.92       0.13%       619.46    Fire Safety Equipment                                   7,138.96       0.26%       2,750.00     0.11%     4,388.96        4,085.66     0.22%     3,053.30
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Floor and Carpet Maintenance                            1,048.19       0.04%           0.00     0.00%     1,048.19        2,350.00     0.12%    -1,301.81
             0.00         0.00%       100.00    0.01%      -100.00           0.00       0.00%         0.00    Furniture                                               1,927.14       0.07%         500.00     0.02%     1,427.14          727.36     0.04%     1,199.78
         7,122.68         1.05%       765.00    0.11%     6,357.68         725.00       0.13%     6,397.68    Grounds and Landscaping                                10,577.31       0.39%      14,825.00     0.59%    -4,247.69        3,631.00     0.19%     6,946.31
         5,160.26         0.76%        50.00    0.01%     5,110.26         403.13       0.07%     4,757.13    Kitchen Equipment Repairs                               9,405.77       0.34%         250.00     0.01%     9,155.77          403.13     0.02%     9,002.64
             0.00         0.00%       500.00    0.07%      -500.00           0.00       0.00%         0.00    Laundry Equipment Repairs                                -250.02      -0.01%       2,500.00     0.10%    -2,750.02          932.50     0.05%    -1,182.52
             0.00         0.00%         0.00    0.00%         0.00         105.50       0.02%      -105.50    Licenses/Permits                                            0.00       0.00%           0.00     0.00%         0.00          207.00     0.01%      -207.00
           164.84         0.02%       200.00    0.03%       -35.16         337.16       0.06%      -172.32    Operating Supplies                                      1,103.34       0.04%       1,000.00     0.04%       103.34        2,960.03     0.16%    -1,856.69
            58.67         0.01%       200.00    0.03%      -141.33           0.00       0.00%        58.67    Painting and Decorating                                   492.40       0.02%       1,000.00     0.04%      -507.60           11.05     0.00%       481.35
         2,040.00         0.30%       240.00    0.04%     1,800.00           0.00       0.00%     2,040.00    Pest Control                                            3,559.68       0.13%       1,200.00     0.05%     2,359.68            0.00     0.00%     3,559.68
           927.78         0.14%       600.00    0.09%       327.78           0.00       0.00%       927.78    Plumbing and Heating                                    6,129.26       0.22%       3,000.00     0.12%     3,129.26           27.70     0.00%     6,101.56
           188.81         0.03%       944.00    0.14%      -755.19         636.25       0.12%      -447.44    Pool Service- Contract                                  5,302.90       0.19%       4,720.00     0.19%       582.90        2,618.84     0.14%     2,684.06
             0.00         0.00%       200.00    0.03%      -200.00           0.00       0.00%         0.00    Tools                                                   1,046.65       0.04%       1,000.00     0.04%        46.65            0.00     0.00%     1,046.65
             0.00         0.00%       100.00    0.01%      -100.00           0.00       0.00%         0.00    Uniforms                                                    0.00       0.00%         500.00     0.02%      -500.00            0.00     0.00%         0.00
             0.00         0.00%       150.00    0.02%      -150.00           0.00       0.00%         0.00    Vehicle Maintenance & Repairs                               0.00       0.00%         750.00     0.03%      -750.00            0.00     0.00%         0.00
         2,999.67         0.44%     2,375.00    0.35%       624.67       2,228.64       0.41%       771.03    Waste Removal                                          15,410.22       0.56%      11,875.00     0.47%     3,535.22       14,227.90     0.75%     1,182.32
           100.00         0.01%       100.00    0.01%         0.00           0.00       0.00%       100.00    Window Cleaning                                           200.00       0.01%         500.00     0.02%      -300.00            0.00     0.00%       200.00
       34,376.71         5.09%    11,200.00    1.66%    23,176.71       7,964.40       1.48%    26,412.31     Total R&M Other Expenses                             100,000.49       3.64%      67,405.00     2.68%    32,595.49       54,258.49     2.87%    45,742.00

       42,026.23         6.22%    24,476.78    3.63%    17,549.45      15,231.95       2.83%    26,794.28     Total R&M Expenses                                   137,432.87       5.01%     133,487.79     5.31%      3,945.08      90,521.69     4.79%    46,911.18




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                                                                                                  Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
              PTD        %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                                  YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                            Utilities
         3,559.60         0.53%     5,428.80    0.81%    -1,869.20       6,725.63       1.25%   -3,166.03   Water                                                     17,492.09    0.64%     21,065.60     0.84%     -3,573.51      17,110.97     0.91%       381.12
        15,178.74         2.25%    19,656.00    2.92%    -4,477.26      11,820.70       2.20%    3,358.04   Electricity                                               58,105.50    2.12%     76,272.00     3.04%    -18,166.50      45,992.62     2.43%    12,112.88
         4,718.16         0.70%     3,144.96    0.47%     1,573.20       2,284.96       0.43%    2,433.20   Gas - Natural HLP                                         19,640.88    0.72%     12,203.52     0.49%      7,437.36      13,355.23     0.71%     6,285.65
       23,456.50         3.47%    28,229.76    4.19%    -4,773.26      20,831.29       3.87%    2,625.21    Total Utilities                                          95,238.47    3.47%    109,541.12     4.36%    -14,302.65      76,458.82     4.04%    18,779.65




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                                                                                       Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 672 of 776
                                                                                                        Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                                         P&L - Dual Summary Pages
                                                                                                                               As of 5/31/2022
              PTD        %     PTD Budget     %            Variance    PTD Last Year     %            Variance                                                                YTD     %        YTD Budget %                Variance    YTD Last Year    %            Variance

                                                                                                                 Fixed
         2,885.53      0.43%          0.00     0.00%       2,885.53            0.00       0.00%       2,885.53   Personal Property Taxes                                 14,427.65     0.53%          0.00     0.00%      14,427.65            0.00      0.00%      14,427.65
        15,945.31      2.36%     47,743.99     7.08%     -31,798.68       71,011.00      13.21%     -55,065.69   Real Estate Taxes                                      164,413.91     5.99%    238,719.95     9.50%     -74,306.04      355,055.00     18.78%    -190,641.09
             0.00      0.00%          0.00     0.00%            0.00           0.00       0.00%           0.00   Other Business Taxes                                         0.00     0.00%          0.00     0.00%            0.00          36.15      0.00%         -36.15
       18,830.84      2.79%     47,743.99     7.08%     -28,913.15       71,011.00      13.21%     -52,180.16    Total Taxes                                           178,841.56     6.51%    238,719.95     9.50%     -59,878.39      355,091.15     18.78%    -176,249.59
             0.00      0.00%          0.00     0.00%            0.00         339.00       0.06%        -339.00   Insurance                                                    0.00     0.00%          0.00     0.00%            0.00       1,695.00      0.09%      -1,695.00
           321.55      0.05%        322.42     0.05%           -0.87           0.00       0.00%         321.55   Insurance - Automobile                                   1,607.75     0.06%      1,612.10     0.06%           -4.35           0.00      0.00%       1,607.75
            91.36      0.01%        438.00     0.06%        -346.64            0.00       0.00%          91.36   Insurance - Employment                                     456.80     0.02%      2,190.00     0.09%      -1,733.20            0.00      0.00%         456.80
         2,708.91      0.40%      2,714.00     0.40%           -5.09       4,755.20       0.88%      -2,046.29   Insurance - General Liability                           13,544.55     0.49%     13,570.00     0.54%         -25.45       23,776.04      1.26%     -10,231.49
        16,139.01      2.39%     10,809.33     1.60%       5,329.68        9,885.73       1.84%       6,253.28   Insurance - Property                                    80,695.05     2.94%     54,046.65     2.15%      26,648.40       49,599.28      2.62%      31,095.77
             0.00      0.00%        946.67     0.14%        -946.67            0.00       0.00%           0.00   Insurance - Umbrella                                         0.00     0.00%      4,733.35     0.19%      -4,733.35            0.00      0.00%           0.00
       19,260.83      2.85%     15,230.42     2.26%       4,030.41       14,979.93       2.79%       4,280.90    Total Insurance                                        96,304.15     3.51%     76,152.10     3.03%      20,152.05       75,070.32      3.97%      21,233.83
       100,819.00     14.93%    100,819.31    14.95%           -0.31      97,977.95      18.22%       2,841.05   Ground Lease Expense                                   504,095.00    18.36%    504,096.55    20.06%           -1.55     489,889.75     25.91%      14,205.25
      100,819.00     14.93%    100,819.31    14.95%           -0.31      97,977.95      18.22%       2,841.05    Total Leases & Rent                                   504,095.00    18.36%    504,096.55    20.06%           -1.55     489,889.75     25.91%      14,205.25
        20,758.89      3.07%     20,225.10     3.00%         533.79       16,128.57       3.00%       4,630.32   Management Fee - Base                                   84,832.71     3.09%     75,380.36     3.00%       9,452.35       56,711.34      3.00%      28,121.37
       20,758.89      3.07%     20,225.10     3.00%         533.79       16,128.57       3.00%       4,630.32    Total Management Fees                                  84,832.71     3.09%     75,380.36     3.00%       9,452.35       56,711.34      3.00%      28,121.37
             0.00      0.00%          0.00     0.00%            0.00           0.00       0.00%           0.00   Capital Reserve                                              0.00     0.00%    470,000.00    18.71%    -470,000.00            0.00      0.00%           0.00
             0.00      0.00%          0.00     0.00%            0.00           0.00       0.00%           0.00   Owner's Expense                                         49,314.42     1.80%          0.00     0.00%      49,314.42            0.00      0.00%      49,314.42
      -318,541.53    -47.17%          0.00     0.00%    -318,541.53            0.00       0.00%    -318,541.53   Extraordinary Expense                                 -318,541.53   -11.60%          0.00     0.00%    -318,541.53            0.00      0.00%    -318,541.53
             0.00      0.00%          0.00     0.00%            0.00         300.00       0.06%        -300.00   Prior Owner's Expense                                    4,946.28     0.18%          0.00     0.00%       4,946.28        1,184.65      0.06%       3,761.63
     -318,541.53    -47.17%           0.00    0.00%    -318,541.53          300.00       0.06%    -318,841.53    Total Other Non-Operating                            -264,280.83    -9.63%    470,000.00    18.71%    -734,280.83        1,184.65      0.06%    -265,465.48




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                                                                                                           Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                           P&L - Dual Summary Pages
                                                                                                                                 As of 5/31/2022
              PTD        %        PTD Budget      %           Variance   PTD Last Year     %            Variance                                                                  YTD     %          YTD Budget %                Variance   YTD Last Year     %             Variance

                                                                                                                   Statistics
           128.00                      128.00                     0.00         128.00                       0.00   # Rooms                                                      128.00                   128.00                      0.00         128.00                        0.00
         3,968.00                    3,968.00                     0.00       3,968.00                       0.00   Available Rooms                                           19,328.00                19,328.00                      0.00      19,328.00                        0.00
         3,570.00                    2,499.00                 1,071.00       2,802.00                     768.00   Room Nights Sold                                          15,776.00                 9,275.00                  6,501.00       9,749.00                    6,027.00
          89.97%                      62.98%                   26.99%         70.61%                     19.35%    Occupancy %                                                 81.62%                   47.99%                    33.64%         50.44%                      31.18%
           158.12                      167.01                    -8.89         133.09                      25.03   ADR                                                          146.92                   155.70                     -8.79         132.24                       14.68
           142.26                      105.18                    37.08          93.98                      48.28   RevPar                                                       119.92                    74.72                     45.20          66.70                       53.22

                                                                                                                   Summary V.11
                                                                                                                   Revenue
       564,502.15        97.83%    417,355.53    97.76%    147,146.62      372,920.90     98.83%     191,581.25    Rooms                                               2,317,744.16       98.65%    1,444,154.92    96.80%    873,589.24    1,289,190.14     98.84%     1,028,554.02
         6,995.94         1.21%      7,060.00     1.65%        -64.06        2,101.91      0.56%       4,894.03    F&B                                                    14,166.49        0.60%       35,204.00     2.36%    -21,037.51        4,755.41      0.36%         9,411.08
         5,503.46         0.95%      2,500.00     0.59%      3,003.46        2,306.43      0.61%       3,197.03    Other Departments                                      17,552.28        0.75%       12,500.00     0.84%      5,052.28       10,422.07      0.80%         7,130.21

      577,001.55    100.00%       426,915.53    100.00%   150,086.02      377,329.24     100.00%    199,672.31     Total Operating Revenue                            2,349,462.93       100.00%   1,491,858.92 100.00%      857,604.01     1,304,367.62 100.00%       1,045,095.31

                                                                                                                   Departmental Expenses
       153,687.66        27.23%    126,263.78    30.25%     27,423.88       84,636.89      22.70%     69,050.77    Rooms                                                    814,507.30    35.14%     509,965.53     35.31%    304,541.77      366,812.01     28.45%      447,695.29
           865.94        12.38%      5,696.24    80.68%     -4,830.30        2,151.67     102.37%     -1,285.73    F&B                                                        2,234.97    15.78%      28,412.95     80.71%    -26,177.98        2,280.95     47.97%          -45.98
           472.94         8.59%      1,405.00    56.20%       -932.06        1,411.62      61.20%       -938.68    Other Departments                                          6,346.64    36.16%       7,025.00     56.20%       -678.36        4,732.26     45.41%        1,614.38

      155,026.54     26.87%       133,365.02    31.24%      21,661.52      88,200.18      23.37%      66,826.36    Total Departmental Expenses                             823,088.91    35.03%     545,403.48     36.56%    277,685.43      373,825.22     28.66%      449,263.69

      421,975.01     73.13%       293,550.51    68.76%    128,424.50      289,129.06      76.63%    132,845.95     Total Departmental Profit                          1,526,374.02       64.97%     946,455.44     63.44%    579,918.58      930,542.40     71.34%      595,831.62

                                                                                                                   Undistributed Operating Expenses
        37,759.01        6.54%      27,645.05     6.48%     10,113.96       28,501.83      7.55%       9,257.18    A&G                                                      181,808.80     7.74%     135,983.32     9.12%      45,825.48      123,540.77      9.47%       58,268.03
        13,273.80        2.30%       6,628.70     1.55%      6,645.10        7,617.78      2.02%       5,656.02    IT                                                        53,676.25     2.28%      27,063.50     1.81%      26,612.75       33,802.37      2.59%       19,873.88
        12,631.41        2.19%      12,875.54     3.02%       -244.13        9,447.84      2.50%       3,183.57    S&M                                                       53,529.77     2.28%      56,731.11     3.80%      -3,201.34       39,452.29      3.02%       14,077.48
        52,542.57        9.11%      36,021.14     8.44%     16,521.43       34,518.75      9.15%      18,023.82    Franchise Fees                                           203,149.99     8.65%     124,821.59     8.37%      78,328.40      121,563.85      9.32%       81,586.14
        29,554.59        5.12%      15,762.49     3.69%     13,792.10       19,677.53      5.21%       9,877.06    R&M                                                      146,723.39     6.24%      78,658.12     5.27%      68,065.27       81,408.02      6.24%       65,315.37
        20,335.74        3.52%      25,682.25     6.02%     -5,346.51       15,696.18      4.16%       4,639.56    Utilities                                                103,895.47     4.42%      89,544.03     6.00%      14,351.44       60,374.38      4.63%       43,521.09

      166,097.12     28.79%       124,615.17    29.19%      41,481.95     115,459.91      30.60%      50,637.21    Total Undistributed Expenses                            742,783.67    31.62%     512,801.67     34.37%    229,982.00      460,141.68     35.28%      282,641.99

      255,877.89     44.35%       168,935.34    39.57%      86,942.55     173,669.15      46.03%      82,208.74    Gross Operating Profit                                  783,590.35    33.35%     433,653.77     29.07%    349,936.58      470,400.72     36.06%      313,189.63
        17,810.04      3.09%        12,807.47     3.00%       5,002.57      11,319.88       3.00%       6,490.16   Management Fees                                           72,990.16     3.11%      44,755.78      3.00%     28,234.38       39,131.03      3.00%       33,859.13
      238,067.85     41.26%       156,127.87    36.57%      81,939.98     162,349.27      43.03%      75,718.58    Income Before Non-Operating Income and Expenses         710,600.19    30.25%     388,897.99     26.07%    321,702.20      431,269.69     33.06%      279,330.50

                                                                                                                   Non-Operating Income and Expenses
        18,260.95      3.16%        13,847.92     3.24%       4,413.03      15,371.51       4.07%       2,889.44   Insurance                                                 91,304.83     3.89%      69,239.60      4.64%      22,065.23      77,043.07      5.91%       14,261.76
       102,769.00     17.81%       104,471.97    24.47%      -1,702.97      99,873.03      26.47%       2,895.97   Leases & Rent                                            513,845.00    21.87%     522,359.85     35.01%      -8,514.85     499,365.20     38.28%       14,479.80
      -291,360.84    -50.50%             0.00     0.00%    -291,360.84         300.00       0.08%    -291,660.84   Other                                                   -283,856.84   -12.08%           0.00      0.00%    -283,856.84       1,184.64      0.09%     -285,041.48
     -170,330.89    -29.52%       118,319.89    27.72%    -288,650.78     115,544.54      30.62%    -285,875.43    Total Non-Operating Income and Expenses                 321,292.99    13.68%     591,599.45     39.66%    -270,306.46     577,592.91     44.28%     -256,299.92

      408,398.74     70.78%        37,807.98     8.86%    370,590.76       46,804.73      12.40%     361,594.01    EBITDA                                                  389,307.20    16.57%    -202,701.46 -13.59%       592,008.66     -146,323.22     -11.22%     535,630.42
             0.00      0.00%             0.00     0.00%          0.00      117,850.30      31.23%    -117,850.30   Interest                                                       0.00     0.00%           0.00   0.00%             0.00      589,251.50      45.18%    -589,251.50
        29,426.10      5.10%        47,229.00    11.06%    -17,802.90       47,123.00      12.49%     -17,696.90   Taxes                                                    194,999.03     8.30%     236,145.00  15.83%       -41,145.97      235,615.00      18.06%     -40,615.97
       29,426.10      5.10%        47,229.00    11.06%    -17,802.90      164,973.30      43.72%    -135,547.20    Interest, Taxes, Depreciation and Amortization          194,999.03     8.30%     236,145.00 15.83%        -41,145.97      824,866.50      63.24%    -629,867.47

      378,972.64     65.68%        -9,421.02     -2.21%   388,393.66     -118,168.57     -31.32%    497,141.21     Net Income                                              194,308.17     8.27%    -438,846.46 -29.42%       633,154.63     -971,189.72     -74.46%    1,165,497.89




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                                                                                                      Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD        %        PTD Budget    %          Variance   PTD Last Year     %          Variance                                                                 YTD     %         YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                              Statistics
           128.00                     128.00                   0.00         128.00                    0.00    # Rooms                                                     128.00                  128.00                    0.00         128.00                      0.00
         3,968.00                   3,968.00                   0.00       3,968.00                    0.00    Available Rooms                                          19,328.00               19,328.00                    0.00      19,328.00                      0.00
         3,570.00                   2,499.00               1,071.00       2,802.00                  768.00    Room Nights Sold                                         15,776.00                9,275.00                6,501.00       9,749.00                  6,027.00
             0.90                       0.63                   0.27           0.71                    0.19    Occupancy %                                                   0.82                    0.48                    0.34           0.50                      0.31
           158.12                     167.01                  -8.89         133.09                   25.03    ADR                                                         146.92                  155.70                   -8.79         132.24                     14.68
           142.26                     105.18                  37.08          93.98                   48.28    RevPar                                                      119.92                   74.72                   45.20          66.70                     53.22

                                                                                                              Summary
                                                                                                              Revenue:
       564,502.15        97.83%   417,355.53   97.76%    147,146.62     372,920.90     98.83%    191,581.25   Rooms                                               2,317,744.16     98.65%    1,444,154.92    96.80%   873,589.24   1,289,190.14    98.84%    1,028,554.02
           915.57         0.16%     1,660.00    0.39%       -744.43          79.00      0.02%        836.57   Food                                                    2,313.57      0.10%        8,204.00     0.55%    -5,890.43          79.00     0.01%        2,234.57
         2,034.45         0.35%     3,500.00    0.82%     -1,465.55         558.91      0.15%      1,475.54   Beverage                                                2,401.60      0.10%       17,500.00     1.17%   -15,098.40         558.91     0.04%        1,842.69
         4,045.92         0.70%     1,900.00    0.45%      2,145.92       1,464.00      0.39%      2,581.92   Other F&B Revenue                                       9,451.32      0.40%        9,500.00     0.64%       -48.68       4,117.50     0.32%        5,333.82
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Telephone                                                   0.00      0.00%            0.00     0.00%         0.00           0.00     0.00%            0.00
         5,503.46         0.95%     2,500.00    0.59%      3,003.46       2,306.43      0.61%      3,197.03   Other                                                  17,552.28      0.75%       12,500.00     0.84%     5,052.28      10,422.07     0.80%        7,130.21

       577,001.55   100.00%       426,915.53   100.00%   150,086.02     377,329.24     100.00%   199,672.31   Total Revenue                                       2,349,462.93     100.00%   1,491,858.92   100.00%   857,604.01   1,304,367.62    100.00%   1,045,095.31



                                                                                                              Cost of Sales:
           101.83        11.12%       597.60   36.00%       -495.77       1,204.43 1,524.59%      -1,102.60   Food                                                        333.85   14.43%        2,953.44    36.00%    -2,619.59       1,204.43 1,524.59%         -870.58
           600.54        29.52%       840.00   24.00%       -239.46         573.02   102.52%          27.52   Beverage                                                  1,230.24   51.23%        4,200.00    24.00%    -2,969.76         573.02 102.52%            657.22
             0.00         0.00%         0.00    0.00%          0.00           0.00     0.00%           0.00   Other F&B                                                     0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%            0.00
             0.00         0.00%         0.00    0.00%          0.00           0.00     0.00%           0.00   Telephone                                                     0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%            0.00
           472.94         8.59%     1,405.00   56.20%       -932.06       1,411.62    61.20%        -938.68   Other                                                     6,346.64   36.16%        7,025.00    56.20%      -678.36       4,732.26    45.41%        1,614.38

         1,175.31        21.36%     2,842.60   113.70%    -1,667.29       3,189.07     138.27%    -2,013.76   Total Cost of Sales                                       7,910.73   45.07%      14,178.44    113.43%    -6,267.71       6,509.71    62.46%        1,401.02



                                                                                                              Payroll:
        48,100.42         8.52%    31,754.10    7.61%     16,346.32      48,778.44     13.08%       -678.02   Rooms                                                   204,380.84    8.82%     154,673.20     10.71%    49,707.64     217,252.53    16.85%      -12,871.69
             0.00         0.00%     3,720.00   52.69%     -3,720.00         286.76     13.64%       -286.76   F&B                                                           0.00    0.00%      18,120.00     51.47%   -18,120.00         286.76     6.03%         -286.76
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Other                                                         0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%            0.00
        10,549.72         1.83%    10,459.93    2.45%         89.79       7,130.76      1.89%      3,418.96   A&G                                                      52,748.57    2.25%      51,209.51      3.43%     1,539.06      44,191.67     3.39%        8,556.90
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   IT                                                            0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%            0.00
         5,225.14         0.91%     5,312.22    1.24%        -87.08       3,199.26      0.85%      2,025.88   S&M                                                      26,684.07    1.14%      26,007.09      1.74%       676.98       9,855.57     0.76%       16,828.50
        10,918.37         1.89%     9,382.84    2.20%      1,535.53       8,377.81      2.22%      2,540.56   R&M                                                      42,315.96    1.80%      45,837.27      3.07%    -3,521.31      34,695.77     2.66%        7,620.19
        74,793.65        12.96%    60,629.09   14.20%     14,164.56      67,773.03     17.96%      7,020.62   Total Salaries and Wages                                326,129.44   13.88%     295,847.07     19.83%    30,282.37     306,282.30    23.48%       19,847.14

        10,352.12         1.79%    13,910.37    3.26%     -3,558.25      14,202.79      3.76%     -3,850.67   Total Taxes and Benefits                                 54,014.63    2.30%      71,436.98      4.79%   -17,422.35      67,326.03     5.16%      -13,311.40
        85,145.77        14.76%    74,539.46   17.46%     10,606.31      81,975.82     21.73%      3,169.95   Total Labor Costs                                       380,144.07   16.18%     367,284.05     24.62%    12,860.02     373,608.33    28.64%        6,535.74



                                                                                                              Direct Expenses:
       100,182.75        17.75%    88,882.21   21.30%     11,300.54      27,319.85      7.33%     72,862.90   Rooms                                                   581,667.55   25.10%     320,536.12     22.20%   261,131.43     107,519.07     8.34%     474,148.48
           163.57         2.34%        42.00    0.59%        121.57          32.32      1.54%        131.25   F&B                                                         670.88    4.74%         210.00      0.60%       460.88         161.60     3.40%         509.28
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Telephone                                                     0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Other                                                         0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
        52,542.57         9.11%    36,021.14    8.44%     16,521.43      34,518.75      9.15%     18,023.82   Franchise Fees                                          203,149.99    8.65%     124,821.59      8.37%    78,328.40     121,563.85     9.32%      81,586.14
        24,952.98         4.32%    15,022.48    3.52%      9,930.50      19,243.60      5.10%      5,709.38   A&G                                                     115,557.49    4.92%      72,315.67      4.85%    43,241.82      67,023.51     5.14%      48,533.98
        13,273.80         2.30%     6,628.70    1.55%      6,645.10       7,617.78      2.02%      5,656.02   IT                                                       53,676.25    2.28%      27,063.50      1.81%    26,612.75      33,802.37     2.59%      19,873.88
         6,525.27         1.13%     3,504.00    0.82%      3,021.27       4,461.00      1.18%      2,064.27   S&M                                                      22,292.17    0.95%      18,175.00      1.22%     4,117.17      23,101.46     1.77%        -809.29
        16,825.90         2.92%     4,815.35    1.13%     12,010.55       9,605.72      2.55%      7,220.18   R&M                                                      96,907.98    4.12%      24,076.75      1.61%    72,831.23      40,302.62     3.09%      56,605.36
        20,335.74         3.52%    25,682.25    6.02%     -5,346.51      15,696.18      4.16%      4,639.56   Utilities                                               103,895.47    4.42%      89,544.03      6.00%    14,351.44      60,374.38     4.63%      43,521.09

       234,802.58        40.69%   180,598.13   42.30%     54,204.45     118,495.20     31.40%    116,307.38   Total Direct Expense                                1,177,817.78     50.13%     676,742.66     45.36%   501,075.12     453,848.86    34.79%     723,968.92

       255,877.89        44.35%   168,935.34   39.57%     86,942.55     173,669.15     46.03%     82,208.74   Gross Operating Profit                                  783,590.35   33.35%     433,653.77     29.07%   349,936.58     470,400.72    36.06%     313,189.63

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                                                                                                       Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD        %        PTD Budget   %           Variance   PTD Last Year     %           Variance                                                                  YTD     %        YTD Budget %               Variance   YTD Last Year    %            Variance




                                                                                                               Fixed Costs
        29,426.10         5.10%    47,229.00   11.06%    -17,802.90      47,123.00     12.49%     -17,696.90   Taxes                                                   194,999.03     8.30%    236,145.00     15.83%    -41,145.97     235,615.00    18.06%      -40,615.97
        18,260.95         3.16%    13,847.92    3.24%      4,413.03      15,371.51      4.07%       2,889.44   Insurance                                                91,304.83     3.89%     69,239.60      4.64%     22,065.23      77,043.07     5.91%       14,261.76
       102,769.00        17.81%   104,471.97   24.47%     -1,702.97      99,873.03     26.47%       2,895.97   Leases & Rent                                           513,845.00    21.87%    522,359.85     35.01%     -8,514.85     499,365.20    38.28%       14,479.80
        17,810.04         3.09%    12,807.47    3.00%      5,002.57      11,319.88      3.00%       6,490.16   Management Fees                                          72,990.16     3.11%     44,755.78      3.00%     28,234.38      39,131.03     3.00%       33,859.13

       168,266.09        29.16%   178,356.36   41.78%    -10,090.27     173,687.42     46.03%      -5,421.33   Total Fixed Expenses                                    873,139.02    37.16%    872,500.23     58.48%       638.79      851,154.30    65.25%      21,984.72

        87,611.80        15.18%    -9,421.02   -2.21%    97,032.82          -18.27      0.00%     87,630.07    Net Operating Profit                                     -89,548.67    -3.81%   -438,846.46   -29.42%   349,297.79     -380,753.58    -29.19%    291,204.91



             0.00        0.00%          0.00   0.00%           0.00      91,850.30     24.34%     -91,850.30   Interest - First Mortgage                                      0.00    0.00%           0.00    0.00%           0.00     459,251.50    35.21%    -459,251.50
             0.00        0.00%          0.00   0.00%           0.00      26,000.00      6.89%     -26,000.00   Interest - Notes Payable                                       0.00    0.00%           0.00    0.00%           0.00     130,000.00     9.97%    -130,000.00
             0.00        0.00%          0.00   0.00%           0.00         300.00      0.08%        -300.00   Prior Owner's Expense                                          0.00    0.00%           0.00    0.00%           0.00       1,184.64     0.09%      -1,184.64



        87,611.80        15.18%    -9,421.02   -2.21%    97,032.82     -118,168.57     -31.32%   205,780.37    Net Operating Income                                     -89,548.67    -3.81%   -438,846.46   -29.42%   349,297.79     -971,189.72    -74.46%    881,641.05

             0.00      0.00%            0.00   0.00%           0.00           0.00      0.00%           0.00   Capital Reserve                                            7,504.00     0.32%          0.00    0.00%       7,504.00           0.00     0.00%       7,504.00
      -291,360.84    -50.50%            0.00   0.00%    -291,360.84           0.00      0.00%    -291,360.84   Extraordinary Expense                                   -291,360.84   -12.40%          0.00    0.00%    -291,360.84           0.00     0.00%    -291,360.84

       378,972.64        65.68%    -9,421.02   -2.21%   388,393.66     -118,168.57     -31.32%   497,141.21    Adjusted NOI                                            194,308.17     8.27%    -438,846.46   -29.42%   633,154.63     -971,189.72    -74.46%   1,165,497.89




       378,972.64        65.68%    -9,421.02   -2.21%   388,393.66     -118,168.57     -31.32%   497,141.21    Net Profit/(Loss)                                       194,308.17     8.27%    -438,846.46   -29.42%   633,154.63     -971,189.72    -74.46%   1,165,497.89




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                                                                                                         Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                         P&L - Dual Summary Pages
                                                                                                                               As of 5/31/2022
              PTD        %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                                                  YTD     %          YTD Budget %               Variance   YTD Last Year    %            Variance

                                                                                                                 Rooms
                                                                                                                 Room Revenue
                                                                                                                 Transient Room Revenue
       115,714.29        20.50%    20,785.10      4.98%     94,929.19       2,239.55      0.60%    113,474.74    Corporate Transient                                     340,091.35     14.67%     164,536.02     11.39%    175,555.33      21,141.52     1.64%     318,949.83
        43,118.22         7.64%    31,341.31      7.51%     11,776.91      28,744.23      7.71%     14,373.99    Advanced Purchase                                       180,556.34      7.79%      72,821.70      5.04%    107,734.64      63,028.44     4.89%     117,527.90
        22,332.22         3.96%    17,374.88      4.16%      4,957.34      81,990.65     21.99%    -59,658.43    Qualified Discounts                                      89,433.49      3.86%      74,612.80      5.17%     14,820.69     318,648.60    24.72%    -229,215.11
             0.00         0.00%     5,123.52      1.23%     -5,123.52       1,441.00      0.39%     -1,441.00    Consortia Transient                                           0.00      0.00%      21,457.08      1.49%    -21,457.08       7,540.00     0.58%      -7,540.00
             0.00         0.00%         0.00      0.00%          0.00         823.00      0.22%       -823.00    Employee                                                     79.00      0.00%           0.00      0.00%         79.00       1,697.00     0.13%      -1,618.00
             0.00         0.00%         0.00      0.00%          0.00         432.00      0.12%       -432.00    Leisure Package Transient                                     0.00      0.00%           0.00      0.00%          0.00         432.00     0.03%        -432.00
         6,997.32         1.24%    15,432.42      3.70%     -8,435.10       8,047.71      2.16%     -1,050.39    Member Reward Stay                                       22,896.80      0.99%      56,964.70      3.94%    -34,067.90      50,704.41     3.93%     -27,807.61
             0.00         0.00%    58,330.20     13.98%    -58,330.20           0.00      0.00%          0.00    Non Qualified Discounts                                   3,389.94      0.15%     103,909.32      7.20%   -100,519.38           0.00     0.00%       3,389.94
        80,273.25        14.22%    61,344.00     14.70%     18,929.25      58,175.44     15.60%     22,097.81    Internet/E-Commerce                                     335,767.69     14.49%     289,499.48     20.05%     46,268.21     278,371.16    21.59%      57,396.53
        26,012.00         4.61%         0.00      0.00%     26,012.00       1,240.00      0.33%     24,772.00    Government Transient                                     52,685.00      2.27%           0.00      0.00%     52,685.00       5,380.00     0.42%      47,305.00
       157,697.98        27.94%   102,982.00     24.67%     54,715.98      93,229.14     25.00%     64,468.84    Rack Transient                                          612,772.04     26.44%     365,249.93     25.29%    247,522.11     323,981.55    25.13%     288,790.49
             0.00         0.00%    72,233.10     17.31%    -72,233.10      68,870.84     18.47%    -68,870.84    Local Negotiated Transient                               42,674.56      1.84%     197,099.89     13.65%   -154,425.33     171,539.05    13.31%    -128,864.49

      452,145.28     80.10%       384,946.53    92.23%     67,198.75     345,233.56      92.58%    106,911.72    Total Transient Room Revenue                       1,680,346.21       72.50%    1,346,150.92   93.21%     334,195.29    1,242,463.73    96.38%    437,882.48

                                                                                                                 Group Room Revenue
        74,562.00        13.21%     8,340.00      2.00%    66,222.00            0.00      0.00%     74,562.00    Corporate Group                                         539,190.00     23.26%      30,270.00     2.10%    508,920.00            0.00     0.00%     539,190.00
             0.00         0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Tour & Travel Group                                           0.00      0.00%           0.00     0.00%          0.00          472.60     0.04%        -472.60
        30,255.00         5.36%    23,769.00      5.70%     6,486.00       23,448.15      6.29%      6,806.85    SMERF Group                                              70,565.50      3.04%      66,234.00     4.59%      4,331.50       22,655.77     1.76%      47,909.73
             0.00         0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Sports Group                                                  0.00      0.00%           0.00     0.00%          0.00        6,320.00     0.49%      -6,320.00

      104,817.00     18.57%        32,109.00     7.69%     72,708.00      23,448.15       6.29%     81,368.85    Total Group Room Revenue                                609,755.50    26.31%      96,504.00      6.68%    513,251.50      29,448.37     2.28%     580,307.13

                                                                                                                 Contract Room Revenue

             0.00        0.00%          0.00     0.00%          0.00            0.00      0.00%          0.00    Total Contract Room Revenue                                   0.00     0.00%            0.00     0.00%          0.00            0.00    0.00%            0.00

                                                                                                                 Other Room Revenue
         3,266.46        0.58%        250.00      0.06%     3,016.46        2,609.71      0.70%         656.75   No-Show Rooms                                            11,221.07      0.48%       1,250.00     0.09%      9,971.07        7,564.14     0.59%       3,656.93
           271.41        0.05%          0.00      0.00%       271.41        1,585.00      0.43%      -1,313.59   Early/Late Departure Fees                                 2,034.02      0.09%           0.00     0.00%      2,034.02        2,209.00     0.17%        -174.98
         4,002.00        0.71%         50.00      0.01%     3,952.00          875.00      0.23%       3,127.00   Pet/Smoking/Damage Fees                                  13,871.00      0.60%         250.00     0.02%     13,621.00        9,330.89     0.72%       4,540.11

        7,539.87         1.34%        300.00     0.07%      7,239.87       5,069.71       1.36%      2,470.16    Total Other Room Revenue                                 27,126.09     1.17%        1,500.00     0.10%     25,626.09      19,104.03     1.48%        8,022.06

             0.00        0.00%           0.00     0.00%         0.00         -830.52      -0.22%       830.52    Less: Allowances                                            516.36      0.02%           0.00     0.00%        516.36       -1,825.99    -0.14%       2,342.35

      564,502.15    100.00%       417,355.53    100.00%   147,146.62     372,920.90     100.00%    191,581.25    Total Room Revenue                                 2,317,744.16       100.00%   1,444,154.92 100.00%      873,589.24    1,289,190.14 100.00%     1,028,554.02

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
         4,835.24         0.86%      4,246.58     1.02%       588.66            0.00       0.00%      4,835.24   Front Office Management                                   36,751.36     1.59%      20,684.95      1.43%     16,066.41           0.00     0.00%      36,751.36
         5,806.18         1.03%      5,520.55     1.32%       285.63        5,000.00       1.34%        806.18   Housekeeping Management                                   29,909.41     1.29%      26,890.42      1.86%      3,018.99      25,750.00     2.00%       4,159.41
       10,641.42         1.89%      9,767.13     2.34%       874.29        5,000.00       1.34%      5,641.42    Total Rooms Management                                   66,660.77     2.88%      47,575.37      3.29%     19,085.40      25,750.00     2.00%      40,910.77
         7,236.44         1.28%      5,898.86     1.41%     1,337.58        3,878.23       1.04%      3,358.21   Front Office Agents                                       34,072.48     1.47%      28,733.15      1.99%      5,339.33      19,390.79     1.50%      14,681.69
        10,232.07         1.81%        177.14     0.04%    10,054.93        5,454.27       1.46%      4,777.80   Front Office Supervisors                                  25,176.37     1.09%         862.85      0.06%     24,313.52      25,703.35     1.99%        -526.98
         5,632.10         1.00%      6,200.00     1.49%      -567.90        3,457.47       0.93%      2,174.63   Night Auditors                                            21,737.63     0.94%      30,200.00      2.09%     -8,462.37      21,093.52     1.64%         644.11
             0.00         0.00%      3,968.00     0.95%    -3,968.00            0.00       0.00%          0.00   Breakfast Attendant                                        2,917.45     0.13%      19,328.00      1.34%    -16,410.55           0.00     0.00%       2,917.45
       23,100.61         4.09%     16,244.00     3.89%     6,856.61       12,789.97       3.43%     10,310.64    Total Rooms Front Office                                 83,903.93     3.62%      79,124.00      5.48%      4,779.93      66,187.66     5.13%      17,716.27
         6,188.09         1.10%      3,029.14     0.73%     3,158.95            0.00       0.00%      6,188.09   Housekeeping Supervisors                                  28,933.40     1.25%      14,754.85      1.02%     14,178.55       6,696.89     0.52%      22,236.51
         1,541.49         0.27%          0.00     0.00%     1,541.49       29,868.42       8.01%    -28,326.93   Room Attendants                                           11,126.61     0.48%           0.00      0.00%     11,126.61     116,371.95     9.03%    -105,245.34
         6,628.81         1.17%      2,713.83     0.65%     3,914.98        1,120.05       0.30%      5,508.76   Laundry Attendants                                        13,756.13     0.59%      13,218.98      0.92%        537.15       2,246.03     0.17%      11,510.10
       14,358.39         2.54%      5,742.97     1.38%     8,615.42       30,988.47       8.31%    -16,630.08    Total Rooms Housekeeping                                 53,816.14     2.32%      27,973.83      1.94%     25,842.31     125,314.87     9.72%     -71,498.73

       48,100.42         8.52%     31,754.10     7.61%     16,346.32      48,778.44      13.08%       -678.02    Total Rooms Salary and Wages                            204,380.84     8.82%     154,673.20    10.71%      49,707.64     217,252.53     16.85%     -12,871.69



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              PTD        %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                                                  YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                PR Taxes and Benefits
         2,350.04         0.42%      2,440.66    0.58%        -90.62       2,256.14       0.60%         93.90   FICA                                                      11,090.82    0.48%     12,127.94     0.84%     -1,037.12      10,206.33     0.79%        884.49
             2.82         0.00%         28.71    0.01%        -25.89          30.23       0.01%        -27.41   Federal Unemployment Tax                                     377.25    0.02%        432.44     0.03%        -55.19         466.23     0.04%        -88.98
            14.00         0.00%        191.42    0.05%       -177.42         249.70       0.07%       -235.70   State Unemployment Tax                                     2,187.03    0.09%      4,103.68     0.28%     -1,916.65       2,260.04     0.18%        -73.01
        2,366.86         0.42%      2,660.79    0.64%       -293.93       2,536.07       0.68%       -169.21    Total Payroll Taxes                                      13,655.10    0.59%     16,664.06     1.15%     -3,008.96      12,932.60     1.00%        722.50
             0.00         0.00%        150.00    0.04%       -150.00       1,230.05       0.33%     -1,230.05   Holiday                                                        0.00    0.00%        300.00     0.02%       -300.00       2,568.05     0.20%     -2,568.05
             0.00         0.00%          0.00    0.00%          0.00         954.18       0.26%       -954.18   Vacation                                                       0.00    0.00%          0.00     0.00%          0.00       6,100.64     0.47%     -6,100.64
             0.00        0.00%        150.00    0.04%       -150.00       2,184.23       0.59%     -2,184.23    Total Supplemental Pay                                         0.00   0.00%        300.00     0.02%       -300.00       8,668.69     0.67%     -8,668.69
         1,626.48         0.29%      1,005.68    0.24%        620.80       1,417.35       0.38%        209.13   Worker's Compensation                                      7,808.79    0.34%      5,175.15     0.36%      2,633.64       7,304.62     0.57%        504.17
         1,411.15         0.25%      1,811.00    0.43%       -399.85       1,944.95       0.52%       -533.80   Group Insurance                                            6,995.02    0.30%      9,055.00     0.63%     -2,059.98      12,678.50     0.98%     -5,683.48
             0.00         0.00%          0.00    0.00%          0.00           0.00       0.00%          0.00   Bonus and Incentive Pay                                        0.00    0.00%      3,562.00     0.25%     -3,562.00           0.00     0.00%          0.00
             0.00         0.00%          0.00    0.00%          0.00         456.00       0.12%       -456.00   Other Benefits                                                 0.00    0.00%          0.00     0.00%          0.00         456.00     0.04%       -456.00
        3,037.63         0.54%      2,816.68    0.67%        220.95       3,818.30       1.02%       -780.67    Total Other Benefits                                     14,803.81    0.64%     17,792.15     1.23%     -2,988.34      20,439.12     1.59%     -5,635.31

        5,404.49         0.96%      5,627.47    1.35%       -222.98       8,538.60       2.29%     -3,134.11    Total Rooms PR Taxes and Benefits                        28,458.91    1.23%     34,756.21     2.41%     -6,297.30      42,040.41     3.26%    -13,581.50

       53,504.91         9.48%     37,381.57    8.96%     16,123.34      57,317.04      15.37%     -3,812.13    Total Rooms Labor Costs                                 232,839.75    10.05%   189,429.41    13.12%     43,410.34     259,292.94     20.11%   -26,453.19

                                                                                                                Other Expenses
        13,452.51        2.38%     10,587.50     2.54%      2,865.01       3,400.70      0.91%     10,051.81    Breakfast /Comp Cost                                     76,959.87     3.32%    36,914.50      2.56%    40,045.37       11,454.10     0.89%    65,505.77
         3,081.70        0.55%      1,966.25     0.47%      1,115.45         732.76      0.20%      2,348.94    Cleaning Supplies                                        13,313.65     0.57%     6,855.55      0.47%     6,458.10        2,014.68     0.16%    11,298.97
        50,773.55        8.99%     45,375.00    10.87%      5,398.55           0.00      0.00%     50,773.55    Contract Labor                                          299,000.18    12.90%   158,205.00     10.95%   140,795.18            0.00     0.00%   299,000.18
           122.37        0.02%         55.00     0.01%         67.37           0.00      0.00%        122.37    Dues and Subscriptions                                      611.85     0.03%       275.00      0.02%       336.85            0.00     0.00%       611.85
             0.00        0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00    Equipment Rental                                             29.06     0.00%         0.00      0.00%        29.06            0.00     0.00%        29.06
         5,474.35        0.97%      3,025.00     0.72%      2,449.35       2,064.78      0.55%      3,409.57    Guest Supplies                                           26,796.40     1.16%    10,547.00      0.73%    16,249.40        7,918.85     0.61%    18,877.55
           471.29        0.08%      1,028.50     0.25%       -557.21         770.28      0.21%       -298.99    Laundry                                                   8,215.32     0.35%     3,585.98      0.25%     4,629.34        1,795.93     0.14%     6,419.39
         2,689.20        0.48%      1,512.50     0.36%      1,176.70       1,662.17      0.45%      1,027.03    Linen                                                    17,930.47     0.77%     5,273.50      0.37%    12,656.97        6,693.51     0.52%    11,236.96
             0.00        0.00%          0.00     0.00%          0.00       1,594.13      0.43%     -1,594.13    Operating Supplies                                        4,040.78     0.17%         0.00      0.00%     4,040.78        5,017.36     0.39%      -976.58
             0.00        0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00    Printing and Stationery                                     649.16     0.03%         0.00      0.00%       649.16            0.00     0.00%       649.16
         2,689.29        0.48%      9,390.50     2.25%     -6,701.21       6,627.84      1.78%     -3,938.55    Reservation Expense                                      11,089.89     0.48%    32,493.50      2.25%   -21,403.61       22,876.12     1.77%   -11,786.23
             0.00        0.00%          0.00     0.00%          0.00          28.80      0.01%        -28.80    Rooms Promotion                                             277.16     0.01%         0.00      0.00%       277.16         -344.47    -0.03%       621.63
         1,940.67        0.34%      1,927.87     0.46%         12.80       1,927.87      0.52%         12.80    Television Cable                                          9,706.72     0.42%     9,639.35      0.67%        67.37        9,621.14     0.75%        85.58
             0.00        0.00%         50.00     0.01%        -50.00           0.00      0.00%          0.00    Transportation                                                0.00     0.00%       250.00      0.02%      -250.00            0.00     0.00%         0.00
         4,991.84        0.88%        577.96     0.14%      4,413.88       1,787.94      0.48%      3,203.90    Travel Agent Comm - Group Rooms                          30,998.90     1.34%     1,737.07      0.12%    29,261.83        3,630.04     0.28%    27,368.86
        14,081.22        2.49%     13,186.13     3.16%        895.09       6,722.58      1.80%      7,358.64    Travel Agent Comm - Transient Rooms                      79,567.94     3.43%    53,759.67      3.72%    25,808.27       36,355.11     2.82%    43,212.83
           414.76        0.07%        200.00     0.05%        214.76           0.00      0.00%        414.76    Uniforms                                                  2,288.07     0.10%     1,000.00      0.07%     1,288.07          486.70     0.04%     1,801.37
             0.00        0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00    Walked Guests                                               192.13     0.01%         0.00      0.00%       192.13            0.00     0.00%       192.13

      100,182.75     17.75%        88,882.21    21.30%    11,300.54      27,319.85       7.33%     72,862.90    Total Rooms Other Expenses                              581,667.55    25.10%   320,536.12    22.20%    261,131.43     107,519.07     8.34%    474,148.48

      153,687.66     27.23%       126,263.78    30.25%    27,423.88      84,636.89      22.70%     69,050.77    Total Rooms Expenses                                    814,507.30    35.14%   509,965.53    35.31%    304,541.77     366,812.01     28.45%   447,695.29

      410,814.49     72.77%       291,091.75    69.75%   119,722.74     288,284.01      77.30%    122,530.48    Total Rooms Profit (Loss)                          1,503,236.86       64.86%   934,189.39    64.69%    569,047.47     922,378.13     71.55%   580,858.73




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              PTD        %   PTD Budget   %    Variance   PTD Last Year     %        Variance                                                                 YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                                Room Sale Stats
                                                                                                Tranisent Rooms
           790.00                161.00         629.00            4.00                786.00    Room Stat - Corporate Transient                           2,507.00         1,095.00      1,412.00           8.00         2,499.00
           272.00                217.00          55.00          202.00                 70.00    Room Stat - Advanced Purchase                             1,158.00           523.00        635.00         453.00           705.00
           136.00                  0.00         136.00          114.00                 22.00    Room Stat - Qualified Discounts                             546.00             0.00        546.00         387.00           159.00
             0.00                 32.00         -32.00            9.00                 -9.00    Room Stat - Consortia Rate Transient                          0.00           151.00       -151.00          50.00           -50.00
             0.00                  0.00           0.00            7.00                 -7.00    Room Stat - Employee                                          1.00             0.00          1.00          15.00           -14.00
             0.00                  0.00           0.00            3.00                 -3.00    Room Stat - Package Transient                                 0.00             0.00          0.00           3.00            -3.00
             0.00                  0.00           0.00            0.00                  0.00    Room Stat - Travel Agent/Friends & Family                     1.00             0.00          1.00           0.00             1.00
            45.00                186.00        -141.00           97.00                -52.00    Room Stat - Member Reward Stay                              237.00           517.00       -280.00         441.00          -204.00
             0.00                  0.00           0.00          501.00               -501.00    Room Stat - Non-Qualified Discounts                           0.00             0.00          0.00       2,108.00        -2,108.00
           475.00                432.00          43.00          430.00                 45.00    Room Stat - Internet                                      2,042.00         2,116.00        -74.00       2,029.00            13.00
             0.00                  0.00           0.00           34.00                -34.00    Room Stat - Other Transient                                   0.00             0.00          0.00          82.00           -82.00
           148.00                  0.00         148.00           10.00                138.00    Room Stat - Government Rate Transient                       321.00             0.00        321.00          40.00           281.00
           934.00                682.00         252.00          666.00                268.00    Room Stat - Rack Rate Transient                           3,849.00         2,611.00      1,238.00       2,377.00         1,472.00
             0.00                558.00        -558.00          540.00               -540.00    Room Stat - Local Negotiated Transient                      271.00         1,526.00     -1,255.00       1,349.00        -1,078.00
        2,800.00              2,268.00         532.00        2,617.00                183.00     Total Transient Rooms Sold                              10,933.00         8,539.00      2,394.00       9,342.00         1,591.00

                                                                                                Group Rooms
           584.00                 60.00         524.00           14.00                570.00    Room Stat - Corporate Group Rooms                         4,395.00           230.00      4,165.00         187.00         4,208.00
             0.00                  0.00           0.00            0.00                  0.00    Room Stat - Tour & Travel Group                               0.00             0.00          0.00           4.00            -4.00
           186.00                171.00          15.00          171.00                 15.00    Room Stat - SMERF Group                                     448.00           506.00        -58.00         171.00           277.00
             0.00                  0.00           0.00            0.00                  0.00    Room Stat - Sports Group                                      0.00             0.00          0.00          45.00           -45.00
          770.00                231.00         539.00          185.00                585.00     Total Group Rooms Sold                                   4,843.00           736.00      4,107.00         407.00         4,436.00

                                                                                                Contract Rooms
             0.00                 0.00            0.00            0.00                  0.00    Total Contract Rooms Sold                                    0.00             0.00          0.00            0.00            0.00

        3,570.00              2,499.00        1,071.00       2,802.00                768.00     Total Rooms Sold                                        15,776.00         9,275.00      6,501.00       9,749.00         6,027.00
             6.00                 0.00             6.00          0.00                   6.00    Room Stat - Comp Rooms                                       44.00            0.00          44.00          0.00             44.00
        3,576.00              2,499.00        1,077.00       2,802.00                774.00     Total Rooms Occupied                                    15,820.00         9,275.00      6,545.00       9,749.00         6,071.00
           174.00                 0.00           174.00          0.00                 174.00    Room Stat - Out of Order                                  1,064.00            0.00       1,064.00          0.00          1,064.00

                                                                                                ADR
           146.47                129.10          17.37          559.89               -413.41    Corporate Transient ADR                                     135.66           150.26       -14.60        2,642.69        -2,507.03
           158.52                144.43          14.09          142.30                 16.22    Advanced Purchase ADR                                       155.92           139.24        16.68          139.14            16.79
           164.21                  0.00         164.21          719.22               -555.01    Qualified Discount ADR                                      163.80             0.00       163.80          823.38          -659.58
             0.00                  0.00           0.00            0.00                  0.00    FIT ADR                                                       0.00             0.00         0.00            0.00             0.00
             0.00                160.11        -160.11          160.11               -160.11    Consortia ADR                                                 0.00           142.10      -142.10          150.80          -150.80
             0.00                  0.00           0.00          117.57               -117.57    Employee ADR                                                 79.00             0.00        79.00          113.13           -34.13
             0.00                  0.00           0.00            0.00                  0.00    Leisure ADR                                                   0.00             0.00         0.00            0.00             0.00
             0.00                  0.00           0.00            0.00                  0.00    Travel Agent/Friends & Family ADR                             0.00             0.00         0.00            0.00             0.00
             0.00                  0.00           0.00            0.00                  0.00    Leisure Package ADR                                           0.00             0.00         0.00            0.00             0.00
           155.50                 82.97          72.53           82.97                 72.53    Member Reward Stay ADR                                       96.61           110.18       -13.57          114.98           -18.37
             0.00                  0.00           0.00            0.00                  0.00    Golf Pkg ADR                                                  0.00             0.00         0.00            0.00             0.00
             0.00                  0.00           0.00            0.00                  0.00    Non Qualified ADR                                             0.00             0.00         0.00            0.00             0.00
           169.00                142.00          27.00          135.29                 33.70    Internet ADR                                                164.43           136.81        27.62          137.20            27.23
             0.00                  0.00           0.00            0.00                  0.00    E-Commerce Opaque ADR                                         0.00             0.00         0.00            0.00             0.00
             0.00                  0.00           0.00            0.00                  0.00    Other Transient ADR                                           0.00             0.00         0.00            0.00             0.00
             0.00                  0.00           0.00            0.00                  0.00    Airline Distressed Passenger ADR                              0.00             0.00         0.00            0.00             0.00
           175.76                  0.00         175.76          124.00                 51.76    Government ADR                                              164.13             0.00       164.13          134.50            29.63
           168.84                151.00          17.84          139.98                 28.86    Rack ADR                                                    159.20           139.89        19.31          136.30            22.90
             0.00                129.45        -129.45          127.54               -127.54    Local Negotiated ADR                                        157.47           129.16        28.31          127.16            30.31
          161.48                169.73           -8.25         131.92                  29.56    Total Transient ADR                                        153.69           157.65         -3.95         133.00             20.70

           127.67               139.00          -11.33            0.00                127.67    Corporate Group ADR                                        122.68           131.61          -8.93           0.00          122.68
             0.00                 0.00            0.00            0.00                  0.00    Leisure Group ADR                                            0.00             0.00           0.00           0.00            0.00
             0.00                 0.00            0.00            0.00                  0.00    Government Group ADR                                         0.00             0.00           0.00           0.00            0.00
             0.00                 0.00            0.00            0.00                  0.00    Tour & Travel Group ADR                                      0.00             0.00           0.00         118.15         -118.15
             0.00                 0.00            0.00            0.00                  0.00    Association Group ADR                                        0.00             0.00           0.00           0.00            0.00
             0.00                 0.00            0.00            0.00                  0.00    City Wide Group ADR                                          0.00             0.00           0.00           0.00            0.00
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                                                                                                       P&L - Dual Summary Pages
                                                                                                             As of 5/31/2022
              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                              YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

           162.66                139.00         23.66          137.12                 25.54    SMERF Group ADR                                          157.51           130.90       26.62          132.49          25.02
             0.00                  0.00          0.00            0.00                  0.00    Sports Group ADR                                           0.00             0.00        0.00          140.44        -140.44
             0.00                  0.00          0.00            0.00                  0.00    Other Group ADR                                            0.00             0.00        0.00            0.00           0.00
          136.13                139.00          -2.87         126.75                   9.38    Total Group ADR                                         125.90           131.12        -5.22           72.35          53.55

             0.00                 0.00           0.00            0.00                  0.00    Airline Crew ADR                                          0.00             0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Other Contract ADR                                        0.00             0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Contract ADR                                        0.00             0.00         0.00            0.00           0.00

          158.12                167.01          -8.89         133.09                  25.03    Total ADR                                               146.92           155.70        -8.79         132.24           14.68




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                                                                                                       Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD        %        PTD Budget     %          Variance   PTD Last Year     %          Variance                                                                 YTD      %        YTD Budget %               Variance   YTD Last Year    %         Variance

                                                                                                               F&B Summary
                                                                                                               Revenue
             0.00      0.00%          744.00     10.54%     -744.00           79.00       3.76%      -79.00    Outlet Food Revenue                                           0.00      0.00%     3,624.00  10.29%        -3,624.00          79.00   1.66%         -79.00
           915.57     13.09%          916.00     12.97%        -0.43           0.00       0.00%      915.57    Banquet and Catering Food Revenue                         2,313.57     16.33%     4,580.00  13.01%        -2,266.43           0.00   0.00%       2,313.57
         2,034.45     29.08%        3,500.00     49.58%   -1,465.55          558.91      26.59%    1,475.54    Outlet Beverage Revenue                                   2,401.60     16.95%    17,500.00  49.71%       -15,098.40         558.91  11.75%       1,842.69
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%        0.00    Banquet and Catering Beverage Revenue                         0.00      0.00%         0.00   0.00%             0.00           0.00   0.00%           0.00
             0.00      0.00%            0.00      0.00%         0.00           0.00       0.00%        0.00    Outlet Other Revenue                                          0.00      0.00%         0.00   0.00%             0.00           0.00   0.00%           0.00
         4,045.92     57.83%        1,900.00     26.91%    2,145.92        1,464.00      69.65%    2,581.92    Banquet and Catering Other Revenue                        9,451.32     66.72%     9,500.00  26.99%           -48.68       4,117.50  86.59%       5,333.82
        6,995.94    100.00%        7,060.00    100.00%       -64.06       2,101.91     100.00%    4,894.03     Total F&B Revenue                                       14,166.49    100.00%    35,204.00 100.00%       -21,037.51       4,755.41 100.00%       9,411.08

                                                                                                               Cost of Sales
           101.83      1.46%          597.60      8.46%     -495.77        1,204.43      57.30%    -1,102.60   Food Purchases                                              333.85      2.36%     2,953.44     8.39%      -2,619.59       1,204.43     25.33%     -870.58
           600.54      8.58%          840.00     11.90%     -239.46          573.02      27.26%        27.52   Beverage Purchases                                        1,230.24      8.68%     4,200.00    11.93%      -2,969.76         573.02     12.05%      657.22
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Cedit Employee Meals                                          0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%        0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Credit House Charges                                          0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%        0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Credit In-House Promotions                                    0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%        0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Audio Visual Cost of Sales                                    0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%        0.00
             0.00      0.00%            0.00      0.00%        0.00            0.00       0.00%         0.00   Other Cost of Sales                                           0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%        0.00
          702.37     10.04%        1,437.60     20.36%     -735.23        1,777.45      84.56%    -1,075.08    Total F&B Cost of Sales                                  1,564.09     11.04%     7,153.44    20.32%      -5,589.35       1,777.45     37.38%     -213.36

        6,293.57     89.96%        5,622.40     79.64%      671.17          324.46      15.44%    5,969.11     F&B Gross Profit                                        12,602.40     88.96%    28,050.56    79.68%     -15,448.16       2,977.96     62.62%    9,624.44

                                                                                                               Expenses
                                                                                                               Payroll
                                                                                                               Salaries and Wages
             0.00         0.00%         0.00      0.00%         0.00           0.00       0.00%        0.00    Management                                                   0.00       0.00%         0.00     0.00%           0.00           0.00      0.00%        0.00
             0.00         0.00%     3,720.00     52.69%    -3,720.00         286.76      13.64%     -286.76    Non-Management                                               0.00       0.00%    18,120.00    51.47%     -18,120.00         286.76      6.03%     -286.76
             0.00        0.00%     3,720.00     52.69%    -3,720.00         286.76      13.64%     -286.76     Total F&B Salaries and Wages                                 0.00      0.00%    18,120.00    51.47%     -18,120.00         286.76      6.03%     -286.76
                                                                                                               PR Taxes and Benefits
             0.00         0.00%       379.38      5.37%     -379.38            0.00       0.00%         0.00   Payroll Taxes                                                0.00       0.00%     2,337.18      6.64%     -2,337.18           0.00      0.00%        0.00
             0.00         0.00%         0.00      0.00%        0.00            0.00       0.00%         0.00   Supplemental Pay                                             0.00       0.00%         0.00      0.00%          0.00           0.00      0.00%        0.00
             0.00         0.00%       117.26      1.66%     -117.26           55.14       2.62%       -55.14   Other Benefits                                               0.00       0.00%       592.33      1.68%       -592.33          55.14      1.16%      -55.14
             0.00        0.00%       496.64      7.03%     -496.64            55.14      2.62%       -55.14    Total F&B PR Taxes and Benefits                              0.00      0.00%     2,929.51      8.32%     -2,929.51           55.14     1.16%      -55.14

             0.00        0.00%     4,216.64     59.73%    -4,216.64         341.90      16.27%     -341.90     Total F&B Payroll                                            0.00      0.00%    21,049.51    59.79%     -21,049.51         341.90      7.19%     -341.90

                                                                                                               Other Expenses
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Audio Visual Supplies                                        0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Banquet Expense                                              0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Bar Expense/Promos                                           0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Bar Supplies                                                 0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    China                                                        0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Cleaning Supplies                                            0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Communication Expense                                        0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Contract Cleaning                                            0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Contract Labor                                               0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Decorations & Plants                                         0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Dues and Subscriptions                                       0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
           163.57        2.34%          0.00     0.00%       163.57           32.32      1.54%       131.25    Equipment Rental                                           637.66      4.50%         0.00      0.00%        637.66          161.60     3.40%      476.06
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Food and Beverage Advertising                                0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%         25.00     0.35%       -25.00            0.00      0.00%         0.00    Glassware                                                   33.22      0.23%       125.00      0.36%        -91.78            0.00     0.00%       33.22
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Guest Loss/Damage                                            0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Guest Supplies                                               0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    In-House Entertainment                                       0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Kitchen/Cooking Fuel                                         0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Kitchen Equipment                                            0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Laundry - Outside Expense                                    0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Laundry Allocation                                           0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Licenses/Permits                                             0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Linen                                                        0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
             0.00        0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00    Linen Rental                                                 0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00
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                                                                                                   Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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              PTD        %        PTD Budget    %        Variance   PTD Last Year     %         Variance                                                                YTD     %       YTD Budget %              Variance   YTD Last Year    %        Variance

            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Maintenance Contracts                                       0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Meals and Entertainment                                     0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Menus                                                       0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Miscellaneous Expense                                       0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Music and Entertainment                                     0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Office Equipment                                            0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Office Supplies                                             0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Operating Supplies                                          0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Paper/Plastic Supplies                                      0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Printing and Stationery                                     0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Silverware                                                  0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Software Expense/Maintenance                                0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Television Cable                                            0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%       17.00     0.24%      -17.00           0.00       0.00%      0.00     Training                                                    0.00     0.00%       85.00       0.24%       -85.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Travel                                                      0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Uniforms                                                    0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
            0.00          0.00%        0.00     0.00%        0.00           0.00       0.00%      0.00     Utensils                                                    0.00     0.00%        0.00       0.00%         0.00          0.00      0.00%      0.00
          163.57         2.34%        42.00    0.59%      121.57           32.32      1.54%     131.25     Total F&B Other Expenses                                  670.88    4.74%       210.00      0.60%       460.88         161.60     3.40%     509.28

          163.57         2.34%     4,258.64    60.32%   -4,095.07        374.22      17.80%    -210.65     Total F&B Expenses                                        670.88    4.74%    21,259.51   60.39%      -20,588.63        503.50     10.59%    167.38

        6,130.00     87.62%        1,363.76    19.32%   4,766.24          -49.76     -2.37%    6,179.76    Total F&B Profit (Loss)                                 11,931.52   84.22%    6,791.05   19.29%       5,140.47       2,474.46     52.03%   9,457.06




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                                                                                       Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                           YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                               F&B Stats
                                                                                               Restaurant 1
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 2
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Room Service
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Room Service Covers                               0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Room Service Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Banquets
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Banquets Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Banquets Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Catering
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Catering Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Catering Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 3
             0.00                  0.00          0.00            0.00                  0.00    Breakfast Avg Check                                     0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    Lunch Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    Dinner Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    Brunch Avg Check                                        0.00             0.00        0.00            0.00           0.00
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                                                                                       Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                           YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 4
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 5
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                               0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                  0.00            0.00         0.00            0.00           0.00

                                                                                               Bar 1
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                         0.00            0.00         0.00            0.00           0.00

                                                                                               Bar 2
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                     0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                      0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                         0.00            0.00         0.00            0.00           0.00

             0.00                 0.00           0.00            0.00                  0.00    Total Covers                                            0.00            0.00         0.00            0.00           0.00




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                                                                                                  Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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                                                                                                                        As of 5/31/2022
              PTD        %        PTD Budget    %       Variance   PTD Last Year     %         Variance                                                               YTD     %       YTD Budget %             Variance   YTD Last Year    %       Variance

                                                                                                          Food Admin
                                                                                                          Cost of Sales
           101.83        1.46%       597.60     8.46%   -495.77        1,204.43     57.30%    -1,102.60   Food Purchases                                            333.85    2.36%     2,953.44      8.39%   -2,619.59       1,204.43    25.33%   -870.58
           600.54        8.58%       840.00    11.90%   -239.46          573.02     27.26%        27.52   Beverage Purchases                                      1,230.24    8.68%     4,200.00     11.93%   -2,969.76         573.02    12.05%    657.22

          702.37     10.04%        1,437.60    20.36%   -735.23       1,777.45      84.56%    -1,075.08   Total Food Admin Cost of Sales                          1,564.09   11.04%    7,153.44    20.32%     -5,589.35      1,777.45     37.38%   -213.36

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Food Admin Management                                 0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Food Admin Non-Management                             0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%        0.00    Total Food Admin Salaries and Wages                         0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00   Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00   Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00         0.00%        0.00     0.00%      0.00           55.14       2.62%      -55.14   Worker's Compensation                                       0.00    0.00%        0.00       0.00%       0.00           55.14     1.16%     -55.14
             0.00        0.00%         0.00    0.00%       0.00           55.14      2.62%      -55.14    Total Other Benefits                                        0.00   0.00%         0.00      0.00%        0.00           55.14    1.16%     -55.14

             0.00        0.00%         0.00    0.00%       0.00           55.14      2.62%      -55.14    Total Food Admin PR Taxes and Benefits                      0.00   0.00%         0.00      0.00%        0.00           55.14    1.16%     -55.14

             0.00        0.00%         0.00    0.00%       0.00           55.14      2.62%      -55.14    Total Food Admin Payroll                                    0.00   0.00%         0.00      0.00%        0.00           55.14    1.16%     -55.14

                                                                                                          Other Expenses
           163.57        2.34%          0.00    0.00%    163.57           32.32      1.54%       131.25   Equipment Rental                                          637.66    4.50%        0.00      0.00%       637.66         161.60     3.40%    476.06
             0.00        0.00%         25.00    0.35%    -25.00            0.00      0.00%         0.00   Glassware                                                  33.22    0.23%      125.00      0.36%       -91.78           0.00     0.00%     33.22
             0.00        0.00%         17.00    0.24%    -17.00            0.00      0.00%         0.00   Training                                                    0.00    0.00%       85.00      0.24%       -85.00           0.00     0.00%      0.00

          163.57         2.34%        42.00    0.59%    121.57            32.32      1.54%      131.25    Total Food Admin Other Expenses                          670.88    4.74%       210.00      0.60%      460.88         161.60     3.40%    509.28

          163.57         2.34%        42.00    0.59%    121.57            87.46      4.16%       76.11    Total Food Admin Expenses                                670.88    4.74%       210.00      0.60%      460.88         216.74     4.56%    454.14

          865.94     12.38%        1,479.60    20.96%   -613.66       1,864.91      88.72%     -998.97    Departmental Costs                                      2,234.97   15.78%    7,363.44    20.92%     -5,128.47      1,994.19     41.94%   240.78




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              PTD        %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Beverage Admin
             0.00        0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Less Adjustments                                        0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Revenue                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Sales

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Cost of Sales                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Other Expenses

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Other Expenses                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Expenses                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %        PTD Budget     %         Variance   PTD Last Year     %         Variance                                                               YTD      %        YTD Budget %               Variance   YTD Last Year    %         Variance

                                                                                                             Restaurant 1
                                                                                                             Food Revenue
             0.00        0.00%       744.00     17.53%     -744.00            0.00      0.00%        0.00    Food-Dinner                                                 0.00     0.00%      3,624.00     17.16%     -3,624.00           0.00     0.00%        0.00
             0.00        0.00%         0.00      0.00%        0.00           79.00     12.38%      -79.00    Food-Late Night                                             0.00     0.00%          0.00      0.00%          0.00          79.00    12.38%      -79.00

             0.00        0.00%       744.00    17.53%     -744.00            79.00     12.38%      -79.00    Restaurant 1 Food Revenue                                   0.00     0.00%     3,624.00    17.16%      -3,624.00           79.00    12.38%      -79.00
             0.00         0.00%        0.00      0.00%       0.00             0.00       0.00%       0.00    Less: Allowances                                            0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%       0.00

             0.00        0.00%       744.00    17.53%     -744.00            79.00     12.38%      -79.00    Total Restaurant 1 Food Revenue                             0.00     0.00%     3,624.00    17.16%      -3,624.00           79.00    12.38%      -79.00

                                                                                                             Beverage Revenue
         1,332.98        65.52%     1,500.00    35.34%     -167.02          278.50     43.66%    1,054.48    Liquor                                                  1,465.98    61.04%      7,500.00     35.50%     -6,034.02         278.50    43.66%    1,187.48
           652.49        32.07%     1,500.00    35.34%     -847.51          215.00     33.70%      437.49    Beer                                                      874.49    36.41%      7,500.00     35.50%     -6,625.51         215.00    33.70%      659.49
            48.98         2.41%       500.00    11.78%     -451.02           64.00     10.03%      -15.02    Wine                                                       61.13     2.55%      2,500.00     11.83%     -2,438.87          64.00    10.03%       -2.87

        2,034.45    100.00%        3,500.00    82.47%    -1,465.55         557.50      87.39%    1,476.95    Restaurant 1 Beverage Revenue                           2,401.60   100.00%    17,500.00    82.84%     -15,098.40         557.50     87.39%    1,844.10
            0.00       0.00%           0.00      0.00%        0.00           1.41        0.22%       -1.41   Beverage-Adjustments-A&G                                    0.00      0.00%        0.00      0.00%          0.00           1.41       0.22%       -1.41
            0.00       0.00%           0.00      0.00%        0.00           1.41        0.22%       -1.41   Less: Allowances                                            0.00      0.00%        0.00      0.00%          0.00           1.41       0.22%       -1.41

        2,034.45    100.00%        3,500.00    82.47%    -1,465.55         558.91      87.62%    1,475.54    Total Restaurant 1 Beverage Revenue                     2,401.60   100.00%    17,500.00    82.84%     -15,098.40         558.91     87.62%    1,842.69

        2,034.45    100.00%        4,244.00    100.00%   -2,209.55         637.91     100.00%    1,396.54    Total Restaurant 1 Revenue                              2,401.60   100.00%    21,124.00 100.00%       -18,722.40         637.91 100.00%       1,763.69

                                                                                                             Cost of Sales

             0.00        0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Total Restaurant 1 Cost of Sales                            0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00

        2,034.45    100.00%        4,244.00    100.00%   -2,209.55         637.91     100.00%    1,396.54    Restaurant 1 Gross Profit                               2,401.60   100.00%    21,124.00 100.00%       -18,722.40         637.91 100.00%       1,763.69

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00        0.00%          0.00    0.00%          0.00           0.00      0.00%         0.00   Total Restaurant 1 Management                               0.00     0.00%          0.00    0.00%            0.00           0.00     0.00%         0.00
             0.00         0.00%     3,720.00    87.65%    -3,720.00           0.00       0.00%        0.00   Bartenders                                                  0.00      0.00%    18,120.00    85.78%     -18,120.00           0.00      0.00%        0.00
             0.00         0.00%         0.00     0.00%         0.00         286.76      44.95%     -286.76   Servers                                                     0.00      0.00%         0.00     0.00%           0.00         286.76     44.95%     -286.76
             0.00        0.00%     3,720.00    87.65%    -3,720.00         286.76      44.95%     -286.76    Total Restaurant 1 Non-Management                           0.00     0.00%    18,120.00    85.78%     -18,120.00         286.76     44.95%     -286.76

             0.00        0.00%     3,720.00    87.65%    -3,720.00         286.76      44.95%     -286.76    Total Restaurant 1 Salaries and Wages                       0.00     0.00%    18,120.00    85.78%     -18,120.00         286.76     44.95%     -286.76

                                                                                                             PR Taxes and Benefits
             0.00         0.00%       333.28     7.85%     -333.28            0.00       0.00%       0.00    FICA                                                        0.00      0.00%     1,628.57     7.71%      -1,628.57           0.00      0.00%       0.00
             0.00         0.00%         3.92     0.09%       -3.92            0.00       0.00%       0.00    Federal Unemployment Tax                                    0.00      0.00%        58.52     0.28%         -58.52           0.00      0.00%       0.00
             0.00         0.00%        26.14     0.62%      -26.14            0.00       0.00%       0.00    State Unemployment Tax                                      0.00      0.00%       549.03     2.60%        -549.03           0.00      0.00%       0.00
             0.00        0.00%       363.34     8.56%     -363.34             0.00      0.00%        0.00    Total Payroll Taxes                                         0.00     0.00%     2,236.12    10.59%      -2,236.12            0.00     0.00%        0.00
             0.00        0.00%          0.00    0.00%         0.00            0.00      0.00%        0.00    Total Supplemental Pay                                      0.00     0.00%          0.00    0.00%            0.00           0.00     0.00%        0.00
             0.00         0.00%       117.26     2.76%     -117.26            0.00       0.00%       0.00    Worker's Compensation                                       0.00      0.00%       592.33     2.80%        -592.33           0.00      0.00%       0.00
             0.00        0.00%       117.26     2.76%     -117.26             0.00      0.00%        0.00    Total Other Benefits                                        0.00     0.00%       592.33     2.80%        -592.33            0.00     0.00%        0.00

             0.00        0.00%       480.60    11.32%     -480.60             0.00      0.00%        0.00    Total Restaurant 1 PR Taxes and Benefits                    0.00     0.00%     2,828.45    13.39%      -2,828.45            0.00     0.00%        0.00

             0.00        0.00%     4,200.60    98.98%    -4,200.60         286.76      44.95%     -286.76    Total Restaurant 1 Payroll                                  0.00     0.00%    20,948.45    99.17%     -20,948.45         286.76     44.95%     -286.76

                                                                                                             Other Expenses
             0.00        0.00%         0.00     0.00%         0.00            0.00      0.00%        0.00    Total Restaurant 1 Other Expenses                           0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%        0.00

             0.00        0.00%     4,200.60    98.98%    -4,200.60         286.76      44.95%     -286.76    Total Restaurant 1 Expenses                                 0.00     0.00%    20,948.45    99.17%     -20,948.45         286.76     44.95%     -286.76

        2,034.45    100.00%           43.40     1.02%    1,991.05          351.15      55.05%    1,683.30    Total Restaurant 1 Profit (Loss)                        2,401.60   100.00%       175.55      0.83%      2,226.05         351.15     55.05%    2,050.45

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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 2
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revemue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Room Service
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget     %        Variance   PTD Last Year     %         Variance                                                                YTD     %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                            Banquets
                                                                                                            Food Revenue
           167.57         3.38%        0.00      0.00%     167.57            0.00      0.00%      167.57    Food-Breakfast                                             477.57     4.06%         0.00      0.00%      477.57           0.00    0.00%      477.57
           610.00        12.29%      916.00     32.53%    -306.00            0.00      0.00%      610.00    Food-Lunch                                               1,410.00    11.98%     4,580.00     32.53%   -3,170.00           0.00    0.00%    1,410.00
           138.00         2.78%        0.00      0.00%     138.00            0.00      0.00%      138.00    Food-Brunch                                                198.00     1.68%         0.00      0.00%      198.00           0.00    0.00%      198.00
             0.00         0.00%        0.00      0.00%       0.00            0.00      0.00%        0.00    Food-Breaks                                                228.00     1.94%         0.00      0.00%      228.00           0.00    0.00%      228.00

          915.57     18.45%          916.00    32.53%       -0.43            0.00      0.00%     915.57     Banquets Food Revenue                                    2,313.57   19.67%     4,580.00    32.53%     -2,266.43           0.00    0.00%    2,313.57
            0.00       0.00%           0.00      0.00%       0.00            0.00       0.00%      0.00     Less: Allowances                                             0.00     0.00%        0.00      0.00%         0.00           0.00     0.00%       0.00

          915.57     18.45%          916.00    32.53%       -0.43            0.00      0.00%     915.57     Total Banquets Food Revenue                              2,313.57   19.67%     4,580.00    32.53%     -2,266.43           0.00    0.00%    2,313.57

                                                                                                            Beverage Revenue

             0.00        0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Banquets Beverage Revenue                                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00         0.00%        0.00      0.00%       0.00            0.00       0.00%       0.00    Less: Allowances                                             0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00        0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Beverage Revenue                              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                            Other Revenue
           675.00        13.60%       250.00     8.88%     425.00            0.00      0.00%      675.00    Audio/Visual Income                                      1,295.00    11.01%     1,250.00      8.88%       45.00         525.00    12.75%     770.00
           920.92        18.56%       450.00    15.98%     470.92          264.00     18.03%      656.92    Setup Fee                                                1,706.32    14.50%     2,250.00     15.98%     -543.68         742.50    18.03%     963.82
         2,450.00        49.38%     1,200.00    42.61%   1,250.00        1,200.00     81.97%    1,250.00    Public Room Rental                                       6,450.00    54.82%     6,000.00     42.61%      450.00       2,850.00    69.22%   3,600.00

        4,045.92     81.55%        1,900.00    67.47%    2,145.92       1,464.00     100.00%    2,581.92    Total Banquets Other Revenue                             9,451.32   80.33%     9,500.00    67.47%       -48.68       4,117.50 100.00%      5,333.82

        4,961.49    100.00%        2,816.00    100.00%   2,145.49       1,464.00     100.00%    3,497.49    Total Banquets Revenue                                  11,764.89   100.00%   14,080.00 100.00%       -2,315.11      4,117.50 100.00%      7,647.39

                                                                                                            Cost of Sales

             0.00        0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Cost of Sales                                 0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        4,961.49    100.00%        2,816.00    100.00%   2,145.49       1,464.00     100.00%    3,497.49    Gross Profit                                            11,764.89   100.00%   14,080.00 100.00%       -2,315.11      4,117.50 100.00%      7,647.39

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00        0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Management                                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00        0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Non-Management                                0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00                      0.00                  0.00            0.00                   0.00    Total Banquets Salaries and Wages                            0.00                  0.00                   0.00            0.00                 0.00

                                                                                                            PR Taxes and Benefits
             0.00         0.00%       14.72      0.52%      -14.72           0.00       0.00%       0.00    FICA                                                         0.00     0.00%       73.60       0.52%      -73.60           0.00     0.00%       0.00
             0.00         0.00%        0.17      0.01%       -0.17           0.00       0.00%       0.00    Federal Unemployment Tax                                     0.00     0.00%        2.65       0.02%       -2.65           0.00     0.00%       0.00
             0.00         0.00%        1.15      0.04%       -1.15           0.00       0.00%       0.00    State Unemployment Tax                                       0.00     0.00%       24.81       0.18%      -24.81           0.00     0.00%       0.00
             0.00        0.00%        16.04     0.57%      -16.04            0.00      0.00%        0.00    Total Payroll Taxes                                          0.00    0.00%       101.06      0.72%     -101.06            0.00    0.00%        0.00
             0.00        0.00%         0.00     0.00%         0.00           0.00      0.00%        0.00    Total Supplemental Pay                                       0.00    0.00%         0.00      0.00%         0.00           0.00    0.00%        0.00
             0.00        0.00%         0.00     0.00%         0.00           0.00      0.00%        0.00    Total Other Benefits                                         0.00    0.00%         0.00      0.00%         0.00           0.00    0.00%        0.00

             0.00                     16.04                -16.04            0.00                   0.00    Total Banquet Benefits                                       0.00                101.06                -101.06            0.00                 0.00

             0.00        0.00%        16.04     0.57%      -16.04            0.00      0.00%        0.00    Total Banquets Payroll                                       0.00    0.00%       101.06      0.72%     -101.06            0.00    0.00%        0.00

                                                                                                            Other Expenses
             0.00        0.00%         0.00     0.00%        0.00            0.00      0.00%        0.00    Total Banquets Other Expenses                                0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00


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              PTD        %       PTD Budget    %        Variance   PTD Last Year     %        Variance                                                                YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00        0.00%       16.04    0.57%      -16.04            0.00      0.00%       0.00    Total Banquets Expenses                                      0.00    0.00%       101.06      0.72%    -101.06            0.00    0.00%       0.00

        4,961.49    100.00%       2,799.96    99.43%   2,161.53       1,464.00     100.00%   3,497.49    Total Banquets Profit (Loss)                            11,764.89   100.00%   13,978.94   99.28%     -2,214.05      4,117.50 100.00%     7,647.39




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Catering
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                                 Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 3
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll Taxes and Benefits           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 4
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 4 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restauarnt 4 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 5
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Food Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Beverage Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Cost of Sales                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Non-Management                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Salaries and Wages                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 PR Taxes and Benefits                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Payroll                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Other Expenses                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Profit (Loss)                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 1
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 2
                                                                                                         Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Food Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Food Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Beverage Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Beverage Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expenses
                                                                                                         Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Non-Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Salaries and Wages                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 PR Taxes and Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Payroll                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Expenses                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Telephone

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Telephone Revenue                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget     %         Variance   PTD Last Year     %         Variance                                                                 YTD      %        YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                             Minor Operating
                                                                                                             Income
             0.00     0.00%             0.00     0.00%         0.00           0.00      0.00%         0.00   Total Rental Income                                           0.00     0.00%          0.00  0.00%           0.00           0.00  0.00%            0.00
             0.00     0.00%             0.00     0.00%         0.00           0.00      0.00%         0.00   Total Vending Commission Income                               0.00     0.00%          0.00  0.00%           0.00           0.00  0.00%            0.00
             0.00     0.00%             0.00     0.00%         0.00           0.00      0.00%         0.00   Total Cancellation Fee Income                                 0.00     0.00%          0.00  0.00%           0.00           0.00  0.00%            0.00
           840.00     15.26%          400.00     16.00%      440.00           0.00       0.00%      840.00   Guest Laundry                                             3,808.00     21.70%     2,000.00  16.00%      1,808.00           0.00   0.00%       3,808.00
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%        0.00   Interest Earned                                               1.23      0.01%         0.00   0.00%          1.23           0.00   0.00%           1.23
            21.05      0.38%            0.00      0.00%       21.05           3.18       0.14%       17.87   Telephone Revenue                                           102.79      0.59%         0.00   0.00%        102.79          81.71   0.78%          21.08
             0.00      0.00%            0.00      0.00%        0.00         303.00      13.14%     -303.00   Other Revenue 3                                               0.00      0.00%         0.00   0.00%          0.00       1,724.28  16.54%      -1,724.28
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%        0.00   Other Revenue 4                                               0.00      0.00%         0.00   0.00%          0.00       1,186.15  11.38%      -1,186.15
         4,642.41     84.35%        2,100.00     84.00%    2,542.41       2,000.25      86.72%    2,642.16   Gift Shop Sales                                          13,640.26     77.71%    10,500.00  84.00%      3,140.26       7,429.93  71.29%       6,210.33
        5,503.46    100.00%        2,500.00    100.00%    3,003.46       2,306.43     100.00%    3,197.03    Total Other Income                                      17,552.28    100.00%    12,500.00 100.00%      5,052.28      10,422.07 100.00%       7,130.21

        5,503.46    100.00%        2,500.00    100.00%    3,003.46       2,306.43     100.00%    3,197.03    Total Minor Operating Income                            17,552.28    100.00%    12,500.00 100.00%      5,052.28      10,422.07 100.00%       7,130.21

                                                                                                             Cost of Sales
             0.00         0.00%        40.00      1.60%      -40.00           0.00       0.00%        0.00   Cost of Sales - Guest Laundry                                 0.00      0.00%       200.00     1.60%     -200.00           0.00      0.00%        0.00
           472.94         8.59%     1,365.00     54.60%     -892.06       1,411.62      61.20%     -938.68   Cost of Sales - Gift Shop                                 6,346.64     36.16%     6,825.00    54.60%     -478.36       4,732.26     45.41%    1,614.38
          472.94         8.59%     1,405.00     56.20%     -932.06       1,411.62      61.20%     -938.68    Total Minor Operated Cost of Sales                       6,346.64     36.16%     7,025.00    56.20%     -678.36       4,732.26     45.41%    1,614.38

        5,030.52     91.41%        1,095.00     43.80%    3,935.52         894.81      38.80%    4,135.71    Total Minor Operated Profit (Loss)                      11,205.64     63.84%     5,475.00    43.80%    5,730.64       5,689.81     54.59%    5,515.83




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              PTD        %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Arcade
                                                                                                       Revenue

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Revenue                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Non-Management                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Salaries and Wages                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade PR Taxes and Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Payroll                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Other Expenses                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Expenses                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Profit (Loss)                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Waterpark
                                                                                                       Revenue
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Revenue                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Non-Management                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Salaries and Wages                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark PR Taxes and Benefits                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Payroll                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Other Expenses                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Expenses                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Profit (Loss)                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %       PTD Budget   %         Variance   PTD Last Year     %         Variance                                                                 YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                          Franchise Fees
        28,013.43        4.86%    20,867.78   4.89%    7,145.65       17,600.53      4.66%   10,412.90    Franchise Fees - Royalty & Licenses                     119,070.88   5.07%    72,207.75     4.84%   46,863.13       62,451.11    4.79%   56,619.77
        12,222.22        2.12%     6,806.25   1.59%    5,415.97        8,073.73      2.14%    4,148.49    Franchise Fees - Frequent Guest                          33,455.84   1.42%    23,730.75     1.59%    9,725.09       27,649.38    2.12%    5,806.46
        12,306.92        2.13%     8,347.11   1.96%    3,959.81        8,844.49      2.34%    3,462.43    Franchise Fees - Marketing Contributions                 50,623.27   2.15%    28,883.09     1.94%   21,740.18       31,463.36    2.41%   19,159.91

       52,542.57         9.11%   36,021.14    8.44%   16,521.43      34,518.75       9.15%   18,023.82    Total Franchise Fees                                    203,149.99   8.65%   124,821.59     8.37%   78,328.40     121,563.85     9.32%   81,586.14




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              PTD        %        PTD Budget   %          Variance    PTD Last Year     %         Variance                                                                  YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
        10,549.72         1.83%    10,459.93    2.45%       89.79         7,130.76       1.89%    3,418.96   Management- A&G                                           52,748.57    2.25%     51,209.51     3.43%     1,539.06      44,191.67     3.39%     8,556.90
       10,549.72         1.83%    10,459.93    2.45%        89.79        7,130.76       1.89%    3,418.96    Total A&G Management                                     52,748.57    2.25%     51,209.51     3.43%     1,539.06      44,191.67     3.39%     8,556.90
             0.00        0.00%          0.00   0.00%         0.00             0.00      0.00%         0.00   Total A&G Non-Management                                       0.00   0.00%           0.00    0.00%          0.00           0.00    0.00%          0.00
       10,549.72         1.83%    10,459.93    2.45%        89.79        7,130.76       1.89%    3,418.96    Total A&G Salaries and Wages                             52,748.57    2.25%     51,209.51     3.43%     1,539.06      44,191.67     3.39%     8,556.90
                                                                                                             PR Taxes and Benefits
         1,317.94         0.23%       831.65    0.19%       486.29          591.51       0.16%      726.43   FICA                                                       5,594.62    0.24%      4,112.14     0.28%     1,482.48       3,566.61     0.27%     2,028.01
             2.45         0.00%         9.78    0.00%         -7.33           0.00       0.00%        2.45   Federal Unemployment Tax                                     177.63    0.01%        146.93     0.01%        30.70          63.00     0.00%       114.63
            12.85         0.00%        65.23    0.02%       -52.38            0.00       0.00%       12.85   State Unemployment Tax                                     1,029.05    0.04%      1,389.58     0.09%      -360.53         -95.39    -0.01%     1,124.44
        1,333.24         0.23%       906.66    0.21%       426.58          591.51       0.16%      741.73    Total Payroll Taxes                                       6,801.30    0.29%      5,648.65     0.38%     1,152.65       3,534.22     0.27%     3,267.08
             0.00         0.00%         0.00    0.00%          0.00         356.54       0.09%     -356.54   Holiday                                                        0.00    0.00%          0.00     0.00%         0.00         849.80     0.07%      -849.80
             0.00         0.00%       411.30    0.10%      -411.30          466.36       0.12%     -466.36   Vacation                                                       0.00    0.00%      1,743.91     0.12%    -1,743.91       2,974.28     0.23%    -2,974.28
             0.00        0.00%       411.30    0.10%      -411.30          822.90       0.22%     -822.90    Total Supplemental Pay                                         0.00   0.00%      1,743.91     0.12%    -1,743.91       3,824.08     0.29%    -3,824.08
           366.32         0.06%       342.68    0.08%        23.64          323.17       0.09%       43.15   Worker's Compensation                                      2,046.21    0.09%      1,755.58     0.12%       290.63       2,243.14     0.17%      -196.93
           556.75         0.10%       502.00    0.12%        54.75          389.89       0.10%      166.86   Group Insurance                                            4,655.23    0.20%      2,510.00     0.17%     2,145.23       2,724.15     0.21%     1,931.08
             0.00         0.00%         0.00    0.00%          0.00           0.00       0.00%        0.00   Bonus and Incentive Pay                                        0.00    0.00%        800.00     0.05%      -800.00           0.00     0.00%         0.00
          923.07         0.16%       844.68    0.20%         78.39         713.06       0.19%      210.01    Total Other Benefits                                      6,701.44    0.29%      5,065.58     0.34%     1,635.86       4,967.29     0.38%     1,734.15
        2,256.31         0.39%     2,162.64    0.51%         93.67       2,127.47       0.56%      128.84    Total A&G PR Taxes and Benefits                          13,502.74    0.57%     12,458.14     0.84%     1,044.60      12,325.59     0.94%     1,177.15
       12,806.03         2.22%    12,622.57    2.96%       183.46        9,258.23       2.45%    3,547.80    Total A&G Payroll                                        66,251.31    2.82%     63,667.65     4.27%     2,583.66      56,517.26     4.33%     9,734.05
                                                                                                             Other Expenses
         4,757.27         0.82%         0.00    0.00%     4,757.27        2,318.78       0.61%    2,438.49   Bad Debt Provision                                         7,760.76    0.33%          0.00     0.00%     7,760.76       7,167.91     0.55%       592.85
         1,030.00         0.18%       900.00    0.21%       130.00          897.36       0.24%      132.64   Bank Charges                                               4,549.47    0.19%      4,500.00     0.30%        49.47       4,509.10     0.35%        40.37
             0.30         0.00%         0.00    0.00%         0.30           35.39       0.01%      -35.09   Cash Over/Short                                                0.25    0.00%          0.00     0.00%         0.25          45.98     0.00%       -45.73
             0.00         0.00%         0.00    0.00%         0.00            0.00       0.00%        0.00   Central Office - Travel Rebilled                               0.00    0.00%      1,000.00     0.07%    -1,000.00           0.00     0.00%         0.00
         1,000.00         0.17%     1,000.00    0.23%         0.00        3,401.00       0.90%   -2,401.00   Central Office - Accounting Fees                           5,000.00    0.21%      5,000.00     0.34%         0.00      17,005.00     1.30%   -12,005.00
        15,463.84         2.68%    11,441.34    2.68%     4,022.50        8,973.73       2.38%    6,490.11   Credit Card Commission                                    61,988.83    2.64%     39,981.82     2.68%    22,007.01      18,674.91     1.43%    43,313.92
             0.00         0.00%        50.00    0.01%       -50.00        1,702.73       0.45%   -1,702.73   Dues and Subscriptions                                         0.00    0.00%        250.00     0.02%      -250.00       8,513.65     0.65%    -8,513.65
           326.58         0.06%       200.00    0.05%       126.58          447.67       0.12%     -121.09   Employee Relations                                         1,328.57    0.06%      1,795.00     0.12%      -466.43       2,068.70     0.16%      -740.13
             0.00         0.00%       112.00    0.03%      -112.00            0.00       0.00%        0.00   Equipment Rental                                               0.00    0.00%        560.00     0.04%      -560.00           0.00     0.00%         0.00
           103.00         0.02%         0.00    0.00%       103.00          396.92       0.11%     -293.92   Licenses/Permits                                           4,966.00    0.21%      6,700.00     0.45%    -1,734.00       3,535.17     0.27%     1,430.83
             0.00         0.00%        50.00    0.01%       -50.00            0.00       0.00%        0.00   Meals and Entertainment                                        0.00    0.00%        250.00     0.02%      -250.00           0.00     0.00%         0.00
            55.06         0.01%         0.00    0.00%        55.06          141.62       0.04%      -86.56   Miscellaneous Expense                                        471.31    0.02%          0.00     0.00%       471.31          93.53     0.01%       377.78
           214.09         0.04%       400.00    0.09%      -185.91          186.38       0.05%       27.71   Operating Supplies                                         1,121.31    0.05%      2,000.00     0.13%      -878.69         986.30     0.08%       135.01
           377.84         0.07%       269.14    0.06%       108.70          450.00       0.12%      -72.16   Payroll Service Fees                                       1,688.88    0.07%      1,338.85     0.09%       350.03       2,250.00     0.17%      -561.12
             0.00         0.00%        75.00    0.02%       -75.00           49.40       0.01%      -49.40   Postage                                                      630.09    0.03%        375.00     0.03%       255.09         201.13     0.02%       428.96
             0.00         0.00%       150.00    0.04%      -150.00            0.00       0.00%        0.00   Professional Fees - Legal                                 18,625.83    0.79%        750.00     0.05%    17,875.83           0.00     0.00%    18,625.83
         1,625.00         0.28%         0.00    0.00%     1,625.00            0.00       0.00%    1,625.00   Professional Fees - Other                                  4,518.00    0.19%        650.00     0.04%     3,868.00         237.23     0.02%     4,280.77
             0.00         0.00%        75.00    0.02%       -75.00            0.00       0.00%        0.00   Recruitment Advertising                                        0.00    0.00%      1,975.00     0.13%    -1,975.00           0.00     0.00%         0.00
             0.00         0.00%       300.00    0.07%      -300.00          242.62       0.06%     -242.62   Security - Outside                                             0.00    0.00%      1,500.00     0.10%    -1,500.00       1,734.90     0.13%    -1,734.90
             0.00         0.00%         0.00    0.00%         0.00            0.00       0.00%        0.00   Training                                                   2,908.19    0.12%      3,690.00     0.25%      -781.81           0.00     0.00%     2,908.19
       24,952.98         4.32%    15,022.48    3.52%     9,930.50       19,243.60       5.10%    5,709.38    Total A&G Other Expenses                                115,557.49    4.92%     72,315.67     4.85%    43,241.82      67,023.51     5.14%    48,533.98
       37,759.01         6.54%    27,645.05    6.48%    10,113.96       28,501.83       7.55%    9,257.18    Total A&G Expenses                                      181,808.80    7.74%    135,983.32     9.12%    45,825.48     123,540.77     9.47%    58,268.03




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                                                                                                    Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD        %        PTD Budget   %         Variance   PTD Last Year     %          Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            IT
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wags
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT Management                                          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT Non-Management                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT Salaries and Wages                                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Payroll Taxes                                          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Supplemental Pay                                       0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Other Benefits                                         0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT PR Taxes and Benefits                               0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT Payroll                                             0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            Cost of Services
             0.00         0.00%       210.00    0.05%    -210.00           85.00       0.02%      -85.00    Cost of Cell Phones                                           0.00    0.00%     1,050.00      0.07%    -1,050.00         407.50     0.03%      -407.50
         1,299.99         0.23%     1,656.00    0.39%    -356.01        1,399.99       0.37%     -100.00    Cost of Internet Services                                 7,267.95    0.31%     8,280.00      0.56%    -1,012.05       6,999.95     0.54%       268.00
         1,472.49         0.26%       850.00    0.20%     622.49          758.59       0.20%      713.90    Cost of Calls                                             4,571.39    0.19%     4,250.00      0.28%       321.39       3,420.61     0.26%     1,150.78
        2,772.48         0.48%     2,716.00    0.64%       56.48       2,243.58       0.59%      528.90     Total IT Cost of Services                               11,839.34    0.50%    13,580.00      0.91%    -1,740.66      10,828.06     0.83%     1,011.28

                                                                                                            System Costs
         1,995.38         0.35%     2,040.70    0.48%      -45.32         308.31       0.08%    1,687.07    Administrative & General                                  7,596.14    0.32%     4,123.50      0.28%     3,472.64       1,541.67     0.12%     6,054.47
             0.00         0.00%       299.00    0.07%     -299.00           0.00       0.00%        0.00    Food & Beverage                                               0.00    0.00%     1,495.00      0.10%    -1,495.00           0.00     0.00%         0.00
             0.00         0.00%        50.00    0.01%      -50.00           0.00       0.00%        0.00    Human Resources                                               0.00    0.00%       250.00      0.02%      -250.00           0.00     0.00%         0.00
             0.00         0.00%         0.00    0.00%        0.00         302.25       0.08%     -302.25    Information Security                                          0.00    0.00%         0.00      0.00%         0.00       2,242.32     0.17%    -2,242.32
         1,590.67         0.28%       180.00    0.04%    1,410.67       1,280.39       0.34%      310.28    Information Systems                                       5,366.94    0.23%       900.00      0.06%     4,466.94       7,048.89     0.54%    -1,681.95
           128.00         0.02%       128.00    0.03%        0.00           0.00       0.00%      128.00    Property Ops & Maintenance                                  640.00    0.03%       640.00      0.04%         0.00           0.00     0.00%       640.00
         6,787.27         1.18%       950.00    0.22%    5,837.27       1,219.28       0.32%    5,567.99    Rooms                                                    28,143.16    1.20%     4,750.00      0.32%    23,393.16       6,096.40     0.47%    22,046.76
             0.00         0.00%       265.00    0.06%     -265.00         263.11       0.07%     -263.11    Sales & Marketing                                             0.00    0.00%     1,325.00      0.09%    -1,325.00       1,315.55     0.10%    -1,315.55
       10,501.32         1.82%     3,912.70    0.92%    6,588.62       3,373.34       0.89%    7,127.98     Total IT Systems                                        41,746.24    1.78%    13,483.50      0.90%    28,262.74      18,244.83     1.40%    23,501.41

                                                                                                            Other Expenses
             0.00         0.00%        0.00     0.00%       0.00        2,000.86       0.53%    -2,000.86   Contract Labor                                               0.00     0.00%        0.00       0.00%        0.00        4,729.48     0.36%    -4,729.48
             0.00         0.00%        0.00     0.00%       0.00            0.00       0.00%         0.00   Contract Services                                           90.67     0.00%        0.00       0.00%       90.67            0.00     0.00%        90.67
             0.00        0.00%         0.00    0.00%        0.00       2,000.86       0.53%    -2,000.86    Total IT Other Expenses                                     90.67    0.00%         0.00      0.00%        90.67       4,729.48     0.36%    -4,638.81

       13,273.80         2.30%     6,628.70    1.55%    6,645.10       7,617.78       2.02%    5,656.02     Total IT Expenses                                       53,676.25    2.28%    27,063.50      1.81%    26,612.75      33,802.37     2.59%    19,873.88




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                                                                                                     Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD        %        PTD Budget   %          Variance    PTD Last Year     %         Variance                                                                 YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         5,225.14         0.91%     5,312.22    1.24%       -87.08            0.00       0.00%    5,225.14   Division Management                                      26,684.07    1.14%    26,007.09      1.74%      676.98           -0.01     0.00%    26,684.08
             0.00         0.00%         0.00    0.00%         0.00        2,307.60       0.61%   -2,307.60   Sales Managers                                                0.00    0.00%         0.00      0.00%        0.00        2,307.60     0.18%    -2,307.60
        5,225.14         0.91%     5,312.22    1.24%       -87.08        2,307.60       0.61%    2,917.54    Total S&M Management                                    26,684.07    1.14%    26,007.09      1.74%      676.98        2,307.59     0.18%    24,376.48
             0.00         0.00%         0.00    0.00%         0.00          891.66       0.24%     -891.66   Administrative Assistant                                      0.00    0.00%         0.00      0.00%        0.00        7,547.98     0.58%    -7,547.98
             0.00        0.00%          0.00   0.00%          0.00         891.66       0.24%     -891.66    Total S&M Non-Management                                      0.00   0.00%          0.00     0.00%         0.00       7,547.98     0.58%    -7,547.98

        5,225.14         0.91%     5,312.22    1.24%       -87.08        3,199.26       0.85%    2,025.88    Total S&M Salaries and Wages                            26,684.07    1.14%    26,007.09      1.74%      676.98        9,855.57     0.76%    16,828.50

                                                                                                             PR Taxes and Benefits
           669.25         0.12%       609.75    0.14%        59.50          124.11       0.03%      545.14   FICA                                                      2,840.95    0.12%     2,431.97      0.16%       408.98         625.64     0.05%     2,215.31
             1.25         0.00%         7.17    0.00%         -5.92           -1.56      0.00%        2.81   Federal Unemployment Tax                                     90.21    0.00%        85.64      0.01%         4.57          39.09     0.00%        51.12
             6.53         0.00%        47.82    0.01%       -41.29          -24.52      -0.01%       31.05   State Unemployment Tax                                      522.56    0.02%       781.66      0.05%      -259.10         102.36     0.01%       420.20
          677.03         0.12%       664.74    0.16%         12.29           98.03      0.03%      579.00    Total Payroll Taxes                                      3,453.72    0.15%     3,299.27      0.22%       154.45         767.09     0.06%     2,686.63
             0.00         0.00%         0.00    0.00%          0.00         230.77       0.06%     -230.77   Holiday                                                       0.00    0.00%         0.00      0.00%         0.00         568.31     0.04%      -568.31
             0.00         0.00%       208.33    0.05%      -208.33          680.34       0.18%     -680.34   Vacation                                                      0.00    0.00%       883.32      0.06%      -883.32       1,449.06     0.11%    -1,449.06
             0.00        0.00%       208.33    0.05%      -208.33          911.11       0.24%     -911.11    Total Supplemental Pay                                        0.00   0.00%       883.32      0.06%      -883.32       2,017.37     0.15%    -2,017.37
           186.01         0.03%       251.25    0.06%       -65.24          102.95       0.03%       83.06   Worker's Compensation                                     1,039.05    0.04%     1,041.43      0.07%        -2.38         475.23     0.04%       563.82
            17.96         0.00%       485.00    0.11%      -467.04          675.49       0.18%     -657.53   Group Insurance                                              60.76    0.00%     2,425.00      0.16%    -2,364.24       3,235.57     0.25%    -3,174.81
             0.00         0.00%     2,450.00    0.57%    -2,450.00             0.00      0.00%        0.00   Bonus and Incentive Pay                                       0.00    0.00%     4,900.00      0.33%    -4,900.00           0.00     0.00%         0.00
          203.97         0.04%     3,186.25    0.75%    -2,982.28          778.44       0.21%     -574.47    Total Other Benefits                                     1,099.81    0.05%     8,366.43      0.56%    -7,266.62       3,710.80     0.28%    -2,610.99
          881.00         0.15%     4,059.32    0.95%    -3,178.32        1,787.58       0.47%     -906.58    Total S&M PR Taxes and Benefits                          4,553.53    0.19%    12,549.02      0.84%    -7,995.49       6,495.26     0.50%    -1,941.73

        6,106.14         1.06%     9,371.54    2.20%    -3,265.40        4,986.84       1.32%    1,119.30    Total S&M Payroll                                       31,237.60    1.33%    38,556.11      2.58%    -7,318.51      16,350.83     1.25%    14,886.77

                                                                                                             Other Expenses
           700.00         0.12%     1,815.00    0.43%   -1,115.00             5.18       0.00%      694.82   Advertising-Web/Internet                                  3,677.50    0.16%     7,980.00      0.53%   -4,302.50           50.59     0.00%     3,626.91
         5,473.60         0.95%     1,564.00    0.37%    3,909.60         4,399.78       1.17%    1,073.82   Dues and Subscriptions                                   18,263.00    0.78%     9,320.00      0.62%    8,943.00       22,992.27     1.76%    -4,729.27
             0.00         0.00%        50.00    0.01%      -50.00             2.65       0.00%       -2.65   Meals and Entertainment                                       0.00    0.00%       250.00      0.02%     -250.00            2.65     0.00%        -2.65
             0.00         0.00%         0.00    0.00%        0.00             0.80       0.00%       -0.80   Office Equipment                                              0.00    0.00%         0.00      0.00%        0.00            0.80     0.00%        -0.80
             0.00         0.00%        25.00    0.01%      -25.00             0.00       0.00%        0.00   Postage                                                       0.00    0.00%       125.00      0.01%     -125.00            0.00     0.00%         0.00
           351.67         0.06%         0.00    0.00%      351.67             0.00       0.00%      351.67   Promotions - In-house                                       351.67    0.01%         0.00      0.00%      351.67            0.00     0.00%       351.67
             0.00         0.00%         0.00    0.00%        0.00             4.90       0.00%       -4.90   Promotion - Outside                                           0.00    0.00%       250.00      0.02%     -250.00            7.46     0.00%        -7.46
             0.00         0.00%        50.00    0.01%      -50.00            47.69       0.01%      -47.69   Travel                                                        0.00    0.00%       250.00      0.02%     -250.00           47.69     0.00%       -47.69
        6,525.27         1.13%     3,504.00    0.82%    3,021.27         4,461.00       1.18%    2,064.27    Total S&M Other Expenses                                22,292.17    0.95%    18,175.00      1.22%    4,117.17       23,101.46     1.77%      -809.29

       12,631.41         2.19%    12,875.54    3.02%      -244.13        9,447.84       2.50%    3,183.57    Total S&M Expenses                                      53,529.77    2.28%    56,731.11      3.80%    -3,201.34      39,452.29     3.02%    14,077.48




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                                                                                                    Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD        %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                                  YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            R&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         5,604.38         0.97%     5,308.55    1.24%       295.83       5,000.00       1.33%      604.38   Division Management                                       25,817.03    1.10%    25,991.54      1.74%      -174.51      19,734.88     1.51%     6,082.15
        5,604.38         0.97%     5,308.55    1.24%       295.83       5,000.00       1.33%      604.38    Total R&M Management                                     25,817.03    1.10%    25,991.54      1.74%      -174.51      19,734.88     1.51%     6,082.15
         5,313.99         0.92%     4,074.29    0.95%     1,239.70       3,377.81       0.90%    1,936.18   Engineers 1                                               16,498.93    0.70%    19,845.73      1.33%    -3,346.80      14,960.89     1.15%     1,538.04
        5,313.99         0.92%     4,074.29    0.95%     1,239.70       3,377.81       0.90%    1,936.18    Total R&M Non-Management                                 16,498.93    0.70%    19,845.73      1.33%    -3,346.80      14,960.89     1.15%     1,538.04

       10,918.37         1.89%     9,382.84    2.20%     1,535.53       8,377.81       2.22%    2,540.56    Total R&M Salaries and Wages                             42,315.96    1.80%    45,837.27      3.07%    -3,521.31      34,695.77     2.66%     7,620.19

                                                                                                            PR Taxes and Benefits
         1,352.34         0.23%       717.79    0.17%       634.55         685.52       0.18%      666.82   FICA                                                       4,646.32    0.20%     3,506.56      0.24%     1,139.76       2,663.43     0.20%     1,982.89
             3.45         0.00%         8.44    0.00%        -4.99           0.00       0.00%        3.45   Federal Unemployment Tax                                     109.78    0.00%       126.12      0.01%       -16.34          84.00     0.01%        25.78
            18.92         0.00%        56.30    0.01%       -37.38           0.00       0.00%       18.92   State Unemployment Tax                                       641.48    0.03%     1,182.73      0.08%      -541.25         509.47     0.04%       132.01
        1,374.71         0.24%       782.53    0.18%       592.18         685.52       0.18%      689.19    Total Payroll Taxes                                       5,397.58    0.23%     4,815.41      0.32%       582.17       3,256.90     0.25%     2,140.68
             0.00         0.00%         0.00    0.00%         0.00         380.00       0.10%     -380.00   Holiday                                                        0.00    0.00%         0.00      0.00%         0.00         510.00     0.04%      -510.00
             0.00         0.00%         0.00    0.00%         0.00         279.01       0.07%     -279.01   Vacation                                                       0.00    0.00%         0.00      0.00%         0.00       1,010.34     0.08%    -1,010.34
             0.00        0.00%          0.00   0.00%          0.00        659.01       0.17%     -659.01    Total Supplemental Pay                                         0.00   0.00%          0.00     0.00%          0.00      1,520.34     0.12%    -1,520.34
             0.00         0.00%       295.77    0.07%      -295.77         344.49       0.09%     -344.49   Worker's Compensation                                          0.00    0.00%     1,498.69      0.10%    -1,498.69       1,617.27     0.12%    -1,617.27
           435.61         0.08%       486.00    0.11%       -50.39           4.98       0.00%      430.63   Group Insurance                                            1,801.87    0.08%     2,430.00      0.16%      -628.13          15.12     0.00%     1,786.75
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Bonus and Incentive Pay                                      300.00    0.01%         0.00      0.00%       300.00           0.00     0.00%       300.00
          435.61         0.08%       781.77    0.18%      -346.16         349.47       0.09%        86.14   Total Other Benefits                                      2,101.87    0.09%     3,928.69      0.26%    -1,826.82       1,632.39     0.13%       469.48
        1,810.32         0.31%     1,564.30    0.37%       246.02       1,694.00       0.45%      116.32    Total R&M PR Taxes and Benefits                           7,499.45    0.32%     8,744.10      0.59%    -1,244.65       6,409.63     0.49%     1,089.82

       12,728.69         2.21%    10,947.14    2.56%     1,781.55      10,071.81       2.67%    2,656.88    Total R&M Payroll                                        49,815.41    2.12%    54,581.37      3.66%    -4,765.96      41,105.40     3.15%     8,710.01

                                                                                                            Other Expenses
           858.33         0.15%       150.00    0.04%       708.33         362.28       0.10%      496.05   Air Conditioning and Refrigeration                         6,354.71    0.27%       750.00      0.05%     5,604.71         734.56     0.06%     5,620.15
         3,707.14         0.64%       200.00    0.05%     3,507.14           0.00       0.00%    3,707.14   Building                                                  30,126.23    1.28%     1,000.00      0.07%    29,126.23       1,343.96     0.10%    28,782.27
         2,970.00         0.51%         0.00    0.00%     2,970.00       1,062.67       0.28%    1,907.33   Contract Labor                                            11,223.50    0.48%         0.00      0.00%    11,223.50       5,313.35     0.41%     5,910.15
           375.61         0.07%       100.00    0.02%       275.61           0.00       0.00%      375.61   Electric Bulbs                                             1,408.89    0.06%       500.00      0.03%       908.89         604.83     0.05%       804.06
             0.00         0.00%       100.00    0.02%      -100.00           0.00       0.00%        0.00   Electrical and Mechanical                                      0.00    0.00%       500.00      0.03%      -500.00           0.00     0.00%         0.00
             0.00         0.00%         0.00    0.00%         0.00       1,866.86       0.49%   -1,866.86   Elevator Maintenance Contracts                                 0.00    0.00%         0.00      0.00%         0.00       4,106.86     0.31%    -4,106.86
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Equipment Rental                                               0.00    0.00%         0.00      0.00%         0.00         104.88     0.01%      -104.88
            70.25         0.01%       360.00    0.08%      -289.75       1,319.14       0.35%   -1,248.89   Fire Safety Equipment                                      2,810.27    0.12%     1,800.00      0.12%     1,010.27       5,593.13     0.43%    -2,782.86
           491.00         0.09%        81.59    0.02%       409.41           0.00       0.00%      491.00   Floor and Carpet Maintenance                                 491.00    0.02%       407.95      0.03%        83.05           0.00     0.00%       491.00
            40.00         0.01%       765.00    0.18%      -725.00           0.00       0.00%       40.00   Grounds and Landscaping                                   10,840.00    0.46%     3,825.00      0.26%     7,015.00          77.31     0.01%    10,762.69
         1,984.26         0.34%         0.00    0.00%     1,984.26         313.10       0.08%    1,671.16   Laundry Equipment Repairs                                  2,325.40    0.10%         0.00      0.00%     2,325.40         411.50     0.03%     1,913.90
           523.17         0.09%         0.00    0.00%       523.17         414.64       0.11%      108.53   Operating Supplies                                           694.06    0.03%         0.00      0.00%       694.06       2,540.41     0.19%    -1,846.35
           221.29         0.04%         0.00    0.00%       221.29           0.00       0.00%      221.29   Painting and Decorating                                      584.28    0.02%         0.00      0.00%       584.28           0.00     0.00%       584.28
           250.00         0.04%       485.00    0.11%      -235.00           0.00       0.00%      250.00   Pest Control                                               1,130.00    0.05%     2,425.00      0.16%    -1,295.00           0.00     0.00%     1,130.00
         1,783.80         0.31%       100.00    0.02%     1,683.80       1,228.02       0.33%      555.78   Plumbing and Heating                                      13,229.12    0.56%       500.00      0.03%    12,729.12       4,363.62     0.33%     8,865.50
           896.28         0.16%       598.76    0.14%       297.52         327.52       0.09%      568.76   Pool Service- Contract                                     4,571.76    0.19%     2,993.80      0.20%     1,577.96       1,550.76     0.12%     3,021.00
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Radio and Television Repair                                  386.92    0.02%         0.00      0.00%       386.92           0.00     0.00%       386.92
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Tools                                                        258.01    0.01%         0.00      0.00%       258.01           0.00     0.00%       258.01
             0.00         0.00%        75.00    0.02%       -75.00           0.00       0.00%        0.00   Uniforms                                                     190.15    0.01%       375.00      0.03%      -184.85           0.00     0.00%       190.15
         2,654.77         0.46%     1,800.00    0.42%       854.77       2,711.49       0.72%      -56.72   Waste Removal                                             10,283.68    0.44%     9,000.00      0.60%     1,283.68      13,557.45     1.04%    -3,273.77
       16,825.90         2.92%     4,815.35    1.13%    12,010.55       9,605.72       2.55%    7,220.18    Total R&M Other Expenses                                 96,907.98    4.12%    24,076.75      1.61%    72,831.23      40,302.62     3.09%    56,605.36

       29,554.59         5.12%    15,762.49    3.69%    13,792.10      19,677.53       5.21%    9,877.06    Total R&M Expenses                                      146,723.39    6.24%    78,658.12      5.27%    68,065.27      81,408.02     6.24%    65,315.37




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                                                                                                    Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD        %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                                  YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            Utilities
         3,553.84         0.62%     8,016.25    1.88%    -4,462.41       6,672.18       1.77%   -3,118.34   Water                                                     20,369.79    0.87%    27,949.55      1.87%    -7,579.76      13,325.56     1.02%     7,044.23
        13,518.33         2.34%    15,820.75    3.71%    -2,302.42       7,484.52       1.98%    6,033.81   Electricity                                               63,242.58    2.69%    55,160.81      3.70%     8,081.77      36,609.26     2.81%    26,633.32
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Fuel - Other                                                  20.00    0.00%         0.00      0.00%        20.00           0.00     0.00%        20.00
         3,263.57         0.57%     1,845.25    0.43%     1,418.32       1,539.48       0.41%    1,724.09   Gas - Natural HLP                                         20,263.10    0.86%     6,433.67      0.43%    13,829.43      10,439.56     0.80%     9,823.54
       20,335.74         3.52%    25,682.25    6.02%    -5,346.51      15,696.18       4.16%    4,639.56    Total Utilities                                         103,895.47    4.42%    89,544.03      6.00%    14,351.44      60,374.38     4.63%    43,521.09




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                                                                                                         Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                         P&L - Dual Summary Pages
                                                                                                                               As of 5/31/2022
              PTD        %     PTD Budget     %            Variance    PTD Last Year     %            Variance                                                               YTD      %        YTD Budget %                Variance    YTD Last Year    %            Variance

                                                                                                                 Fixed
        29,426.10      5.10%     47,229.00    11.06%     -17,802.90       47,123.00      12.49%     -17,696.90   Real Estate Taxes                                     193,507.53      8.24%    236,145.00    15.83%     -42,637.47      235,615.00     18.06%     -42,107.47
             0.00      0.00%          0.00     0.00%            0.00           0.00       0.00%           0.00   Other Business Taxes                                    1,491.50      0.06%          0.00     0.00%        1,491.50           0.00      0.00%       1,491.50
       29,426.10      5.10%     47,229.00    11.06%     -17,802.90       47,123.00      12.49%     -17,696.90    Total Taxes                                          194,999.03      8.30%    236,145.00    15.83%     -41,145.97      235,615.00     18.06%     -40,615.97
             0.00      0.00%          0.00     0.00%            0.00         305.00       0.08%        -305.00   Insurance                                                   0.00      0.00%          0.00     0.00%            0.00       1,525.00      0.12%      -1,525.00
           321.55      0.06%        322.42     0.08%           -0.87           0.00       0.00%         321.55   Insurance - Automobile                                  1,607.75      0.07%      1,612.10     0.11%           -4.35           0.00      0.00%       1,607.75
            91.36      0.02%        438.00     0.10%         -346.64           0.00       0.00%          91.36   Insurance - Employment                                    456.80      0.02%      2,190.00     0.15%       -1,733.20           0.00      0.00%         456.80
         2,441.91      0.42%      2,446.42     0.57%           -4.51       4,286.33       1.14%      -1,844.42   Insurance - General Liability                          12,209.55      0.52%     12,232.10     0.82%          -22.55      21,431.65      1.64%      -9,222.10
        15,406.13      2.67%      9,787.75     2.29%        5,618.38      10,780.18       2.86%       4,625.95   Insurance - Property                                   77,030.73      3.28%     48,938.75     3.28%       28,091.98      54,086.42      4.15%      22,944.31
             0.00      0.00%        853.33     0.20%         -853.33           0.00       0.00%           0.00   Insurance - Umbrella                                        0.00      0.00%      4,266.65     0.29%       -4,266.65           0.00      0.00%           0.00
       18,260.95      3.16%     13,847.92     3.24%        4,413.03      15,371.51       4.07%       2,889.44    Total Insurance                                       91,304.83      3.89%     69,239.60     4.64%      22,065.23       77,043.07      5.91%      14,261.76
             0.00      0.00%      1,702.63     0.40%       -1,702.63           0.00       0.00%           0.00   POA Dues                                                    0.00      0.00%      8,513.15     0.57%       -8,513.15           0.00      0.00%           0.00
       102,769.00     17.81%    102,769.34    24.07%           -0.34      99,873.03      26.47%       2,895.97   Ground Lease Expense                                  513,845.00     21.87%    513,846.70    34.44%           -1.70     499,365.20     38.28%      14,479.80
      102,769.00     17.81%    104,471.97    24.47%       -1,702.97      99,873.03      26.47%       2,895.97    Total Leases & Rent                                  513,845.00     21.87%    522,359.85    35.01%       -8,514.85     499,365.20     38.28%      14,479.80
        17,810.04      3.09%     12,807.47     3.00%        5,002.57      11,319.88       3.00%       6,490.16   Management Fee - Base                                  72,990.16      3.11%     44,755.78     3.00%       28,234.38      39,131.03      3.00%      33,859.13
       17,810.04      3.09%     12,807.47     3.00%        5,002.57      11,319.88       3.00%       6,490.16    Total Management Fees                                 72,990.16      3.11%     44,755.78     3.00%      28,234.38       39,131.03      3.00%      33,859.13
             0.00      0.00%          0.00     0.00%            0.00           0.00       0.00%           0.00   Capital Reserve                                         7,504.00      0.32%          0.00     0.00%        7,504.00           0.00      0.00%       7,504.00
             0.00      0.00%          0.00     0.00%            0.00         300.00       0.08%        -300.00   Prior Owner's Expense                                       0.00      0.00%          0.00     0.00%            0.00       1,184.64      0.09%      -1,184.64
      -291,360.84    -50.50%          0.00     0.00%    -291,360.84            0.00       0.00%    -291,360.84   Extraordinary Expense                                -291,360.84    -12.40%          0.00     0.00%    -291,360.84            0.00      0.00%    -291,360.84
     -291,360.84    -50.50%           0.00    0.00%    -291,360.84          300.00       0.08%    -291,660.84    Total Other Non-Operating                           -283,856.84    -12.08%           0.00    0.00%    -283,856.84        1,184.64      0.09%    -285,041.48




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                                                                                                     Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                                                As of 5/31/2022
              PTD        %        PTD Budget      %           Variance   PTD Last Year     %            Variance                                                              YTD     %          YTD Budget %                 Variance   YTD Last Year    %             Variance

                                                                                                                   Statistics
           164.00                      164.00                     0.00         164.00                      0.00    # Rooms                                                  164.00                    164.00                      0.00          164.00                      0.00
         5,084.00                    5,084.00                     0.00       5,084.00                      0.00    Available Rooms                                       24,764.00                 24,764.00                      0.00       24,764.00                      0.00
         3,129.00                    3,531.00                  -402.00       3,015.00                    114.00    Room Nights Sold                                      19,016.00                 15,126.00                  3,890.00       13,329.00                  5,687.00
          61.55%                      69.45%                   -7.91%         59.30%                     2.24%     Occupancy %                                             76.79%                    61.08%                    15.71%          53.82%                    22.96%
           191.77                      166.90                    24.87         157.01                     34.76    ADR                                                      231.30                    214.56                     16.74          215.03                     16.27
           118.03                      115.92                     2.11          93.11                     24.92    RevPar                                                   177.61                    131.05                     46.56          115.74                     61.88

                                                                                                                   Summary V.11
                                                                                                                   Revenue
       600,050.99        96.33%    589,322.00    98.13%     10,728.99      473,373.84     97.92%     126,677.15    Rooms                                              4,398,433.11    97.12%    3,245,385.00    98.19%    1,153,048.11    2,866,112.89   97.59%     1,532,320.22
        12,452.88         2.00%      6,715.00     1.12%      5,737.88        1,769.00      0.37%      10,683.88    F&B                                                   78,630.63     1.74%       39,478.00     1.19%       39,152.63       28,564.48    0.97%        50,066.15
        10,437.48         1.68%      4,545.85     0.76%      5,891.63        8,292.82      1.72%       2,144.66    Other Departments                                     51,932.40     1.15%       20,349.90     0.62%       31,582.50       42,364.67    1.44%         9,567.73

      622,941.35    100.00%       600,582.85    100.00%     22,358.50     483,435.66     100.00%    139,505.69     Total Operating Revenue                           4,528,996.14    100.00%   3,305,212.90 100.00%      1,223,783.24    2,937,042.04 100.00%      1,591,954.10

                                                                                                                   Departmental Expenses
       136,200.82        22.70%    127,853.37    21.69%       8,347.45      83,217.30     17.58%      52,983.52    Rooms                                              1,002,282.08    22.79%     618,274.42     19.05%     384,007.66      471,490.26    16.45%      530,791.82
         8,643.57        69.41%      5,102.19    75.98%       3,541.38         902.56     51.02%       7,741.01    F&B                                                   32,141.19    40.88%      26,574.23     67.31%       5,566.96        4,456.52    15.60%       27,684.67
         4,264.18        40.85%      2,975.18    65.45%       1,289.00       3,439.48     41.48%         824.70    Other Departments                                     17,600.71    33.89%      13,257.94     65.15%       4,342.77       15,866.71    37.45%        1,734.00

      149,108.57     23.94%       135,930.74    22.63%      13,177.83      87,559.34      18.11%      61,549.23    Total Departmental Expenses                       1,052,023.98    23.23%     658,106.59     19.91%     393,917.39      491,813.49     16.75%     560,210.49

      473,832.78     76.06%       464,652.11    77.37%       9,180.67     395,876.32      81.89%      77,956.46    Total Departmental Profit                         3,476,972.16    76.77%    2,647,106.31    80.09%     829,865.85     2,445,228.55    83.25%    1,031,743.61

                                                                                                                   Undistributed Operating Expenses
        58,824.57         9.44%     35,542.07     5.92%     23,282.50       40,396.24      8.36%      18,428.33    A&G                                                 275,933.76      6.09%     203,421.31     6.15%       72,512.45      187,825.50     6.40%       88,108.26
        13,923.43         2.24%      6,848.70     1.14%      7,074.73        6,951.41      1.44%       6,972.02    IT                                                   82,463.55      1.82%      28,163.50     0.85%       54,300.05       34,733.20     1.18%       47,730.35
        20,618.82         3.31%     18,609.61     3.10%      2,009.21       11,800.58      2.44%       8,818.24    S&M                                                  81,068.72      1.79%      82,417.43     2.49%       -1,348.71       57,049.25     1.94%       24,019.47
       117,698.20        18.89%     46,556.43     7.75%     71,141.77       46,551.71      9.63%      71,146.49    Franchise Fees                                      363,363.73      8.02%     256,385.40     7.76%      106,978.33      249,388.20     8.49%      113,975.53
        29,371.12         4.71%     26,828.04     4.47%      2,543.08       21,445.09      4.44%       7,926.03    R&M                                                 156,584.27      3.46%     131,433.89     3.98%       25,150.38      103,153.14     3.51%       53,431.13
        26,000.67         4.17%     23,467.59     3.91%      2,533.08       25,439.78      5.26%         560.89    Utilities                                            99,710.87      2.20%     104,489.46     3.16%       -4,778.59       91,427.79     3.11%        8,283.08

      266,436.81     42.77%       157,852.44    26.28%    108,584.37      152,584.81      31.56%    113,852.00     Total Undistributed Expenses                      1,059,124.90    23.39%     806,310.99     24.40%     252,813.91      723,577.08     24.64%     335,547.82

      207,395.97     33.29%       306,799.67    51.08%     -99,403.70     243,291.51      50.33%     -35,895.54    Gross Operating Profit                            2,417,847.26    53.39%    1,840,795.32    55.69%     577,051.94     1,721,651.47    58.62%     696,195.79
        19,188.00      3.08%        18,017.49     3.00%       1,170.51      14,503.58       3.00%       4,684.42   Management Fees                                      138,367.51     3.06%       99,156.39     3.00%      39,211.12        88,114.63     3.00%      50,252.88
      188,207.97     30.21%       288,782.18    48.08%    -100,574.21     228,787.93      47.33%     -40,579.96    Income Before Non-Operating Income and Expenses   2,279,479.75    50.33%    1,741,638.93    52.69%     537,840.82     1,633,536.84    55.62%     645,942.91

                                                                                                                   Non-Operating Income and Expenses
        10,636.23      1.71%         8,026.00     1.34%       2,610.23      12,854.90       2.66%      -2,218.67   Insurance                                            53,181.15      1.17%      40,130.00      1.21%      13,051.15       64,411.03      2.19%     -11,229.88
        84,557.00     13.57%        84,557.28    14.08%          -0.28      83,652.91      17.30%         904.09   Leases & Rent                                       422,785.00      9.34%     422,786.40     12.79%          -1.40      416,785.82     14.19%       5,999.18
      -250,320.68    -40.18%             0.00     0.00%    -250,320.68         300.00       0.06%    -250,620.68   Other                                              -120,536.98     -2.66%           0.00      0.00%    -120,536.98        1,184.65      0.04%    -121,721.63
     -155,127.45    -24.90%        92,583.28    15.42%    -247,710.73      96,807.81      20.02%    -251,935.26    Total Non-Operating Income and Expenses            355,429.17      7.85%     462,916.40     14.01%    -107,487.23      482,381.50     16.42%    -126,952.33

      343,335.42     55.12%       196,198.90    32.67%    147,136.52      131,980.12      27.30%    211,355.30     EBITDA                                            1,924,050.58    42.48%    1,278,722.53    38.69%     645,328.05     1,151,155.34    39.19%     772,895.24
             0.00      0.00%             0.00     0.00%          0.00       85,161.78      17.62%    -85,161.78    Interest                                                   0.00     0.00%            0.00     0.00%           0.00       425,808.90    14.50%    -425,808.90
        31,547.06      5.06%        29,903.00     4.98%      1,644.06       29,903.00       6.19%      1,644.06    Taxes                                                 53,812.18     1.19%      149,515.00     4.52%     -95,702.82       149,515.00     5.09%     -95,702.82
       31,547.06      5.06%        29,903.00     4.98%      1,644.06      115,064.78      23.80%    -83,517.72     Interest, Taxes, Depreciation and Amortization       53,812.18     1.19%      149,515.00     4.52%     -95,702.82       575,323.90    19.59%    -521,511.72

      311,788.36     50.05%       166,295.90    27.69%    145,492.46       16,915.34       3.50%    294,873.02     Net Income                                        1,870,238.40    41.29%    1,129,207.53    34.16%     741,030.87      575,831.44     19.61%    1,294,406.96




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                                                                                                 Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD        %        PTD Budget    %          Variance   PTD Last Year     %          Variance                                                               YTD     %         YTD Budget %                Variance   YTD Last Year    %            Variance

                                                                                                              Statistics
           164.00                     164.00                   0.00         164.00                    0.00    # Rooms                                                  164.00                   164.00                      0.00         164.00                      0.00
         5,084.00                   5,084.00                   0.00       5,084.00                    0.00    Available Rooms                                       24,764.00                24,764.00                      0.00      24,764.00                      0.00
         3,129.00                   3,531.00                -402.00       3,015.00                  114.00    Room Nights Sold                                      19,016.00                15,126.00                  3,890.00      13,329.00                  5,687.00
             0.62                       0.69                  -0.08           0.59                    0.02    Occupancy %                                                0.77                     0.61                      0.16           0.54                      0.23
           191.77                     166.90                  24.87         157.01                   34.76    ADR                                                      231.30                   214.56                     16.74         215.03                     16.27
           118.03                     115.92                   2.11          93.11                   24.92    RevPar                                                   177.61                   131.05                     46.56         115.74                     61.88

                                                                                                              Summary
                                                                                                              Revenue:
       600,050.99        96.33%   589,322.00   98.13%     10,728.99     473,373.84     97.92%    126,677.15   Rooms                                               4,398,433.11   97.12%    3,245,385.00    98.19%   1,153,048.11   2,866,112.89    97.59%    1,532,320.22
           707.25         0.11%     1,496.00    0.25%       -788.75         200.00      0.04%        507.25   Food                                                   11,212.35    0.25%        5,416.00     0.16%       5,796.35       6,117.80     0.21%        5,094.55
         8,985.13         1.44%     2,819.00    0.47%      6,166.13           0.00      0.00%      8,985.13   Beverage                                               42,528.63    0.94%       22,062.00     0.67%      20,466.63       1,600.02     0.05%       40,928.61
         2,760.50         0.44%     2,400.00    0.40%        360.50       1,569.00      0.32%      1,191.50   Other F&B Revenue                                      24,889.65    0.55%       12,000.00     0.36%      12,889.65      20,846.66     0.71%        4,042.99
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Telephone                                                   0.00    0.00%            0.00     0.00%           0.00           0.00     0.00%            0.00
        10,437.48         1.68%     4,545.85    0.76%      5,891.63       8,292.82      1.72%      2,144.66   Other                                                  51,932.40    1.15%       20,349.90     0.62%      31,582.50      42,364.67     1.44%        9,567.73

       622,941.35   100.00%       600,582.85   100.00%    22,358.50     483,435.66     100.00%   139,505.69   Total Revenue                                       4,528,996.14   100.00%   3,305,212.90   100.00%   1,223,783.24   2,937,042.04    100.00%   1,591,954.10



                                                                                                              Cost of Sales:
           343.72        48.60%       598.40   40.00%       -254.68           0.00      0.00%        343.72   Food                                                     343.72     3.07%       2,166.40     40.00%      -1,822.68         311.37     5.09%          32.35
         3,999.96        44.52%       676.56   24.00%      3,323.40          30.00      0.00%      3,969.96   Beverage                                              13,599.49    31.98%       5,294.88     24.00%       8,304.61          30.00     1.87%      13,569.49
             0.00         0.00%         0.00    0.00%          0.00         274.61     17.50%       -274.61   Other F&B                                                  0.00     0.00%           0.00      0.00%           0.00       3,458.84    16.59%      -3,458.84
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Telephone                                                  0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%           0.00
         4,264.18        40.85%     2,975.18   65.45%      1,289.00       3,439.48     41.48%        824.70   Other                                                 17,600.71    33.89%      13,257.94     65.15%       4,342.77      15,866.71    37.45%       1,734.00

         8,607.86        82.47%     4,250.14   93.49%      4,357.72       3,744.09     45.15%      4,863.77   Total Cost of Sales                                   31,543.92    60.74%      20,719.22    101.81%     10,824.70       19,666.92    46.42%      11,877.00



                                                                                                              Payroll:
        41,804.00         6.97%    34,136.16    5.79%      7,667.84      44,684.24      9.44%     -2,880.24   Rooms                                                194,366.67     4.42%     170,976.14      5.27%      23,390.53     221,458.81     7.73%      -27,092.14
         2,756.84        22.14%     2,604.00   38.78%        152.84           0.00      0.00%      2,756.84   F&B                                                    7,236.14     9.20%      12,684.00     32.13%      -5,447.86           0.00     0.00%        7,236.14
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Other                                                      0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%            0.00
        13,616.09         2.19%    13,076.22    2.18%        539.87      11,231.27      2.32%      2,384.82   A&G                                                   62,884.14     1.39%      64,017.42      1.94%      -1,133.28      62,104.78     2.11%          779.36
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   IT                                                         0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%            0.00
        16,782.70         2.69%     9,726.68    1.62%      7,056.02       5,769.24      1.19%     11,013.46   S&M                                                   57,365.99     1.27%      47,540.13      1.44%       9,825.86      25,990.95     0.88%       31,375.04
        14,462.31         2.32%    16,403.76    2.73%     -1,941.45       5,957.50      1.23%      8,504.81   R&M                                                   64,327.75     1.42%      80,053.87      2.42%     -15,726.12      41,627.07     1.42%       22,700.68
        89,421.94        14.35%    75,946.82   12.65%     13,475.12      67,642.25     13.99%     21,779.69   Total Salaries and Wages                             386,180.69     8.53%     375,271.56     11.35%      10,909.13     351,181.61    11.96%       34,999.08

        11,148.35         1.79%    16,336.00    2.72%     -5,187.65       9,647.94      2.00%      1,500.41   Total Taxes and Benefits                              62,032.30     1.37%      89,166.58      2.70%     -27,134.28      52,193.32     1.78%       9,838.98
       100,570.29        16.14%    92,282.82   15.37%      8,287.47      77,290.19     15.99%     23,280.10   Total Labor Costs                                    448,212.99     9.90%     464,438.14     14.05%     -16,225.15     403,374.93    13.73%      44,838.06



                                                                                                              Direct Expenses:
        89,070.66        14.84%    87,777.48   14.89%      1,293.18      34,902.69      7.37%     54,167.97   Rooms                                                781,372.99    17.76%     410,447.81     12.65%    370,925.18      233,505.26     8.15%     547,867.73
         1,065.98         8.56%       854.00   12.72%        211.98         597.95     33.80%        468.03   F&B                                                    8,019.39    10.20%       4,270.00     10.82%      3,749.39          597.95     2.09%       7,421.44
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Telephone                                                  0.00     0.00%           0.00      0.00%          0.00            0.00     0.00%           0.00
             0.00         0.00%         0.00    0.00%          0.00           0.00      0.00%          0.00   Other                                                      0.00     0.00%           0.00      0.00%          0.00            0.00     0.00%           0.00
       117,698.20        18.89%    46,556.43    7.75%     71,141.77      46,551.71      9.63%     71,146.49   Franchise Fees                                       363,363.73     8.02%     256,385.40      7.76%    106,978.33      249,388.20     8.49%     113,975.53
        43,647.19         7.01%    19,203.02    3.20%     24,444.17      25,807.55      5.34%     17,839.64   A&G                                                  200,942.36     4.44%     115,914.05      3.51%     85,028.31      105,433.82     3.59%      95,508.54
        13,923.43         2.24%     6,848.70    1.14%      7,074.73       6,951.41      1.44%      6,972.02   IT                                                    82,463.55     1.82%      28,163.50      0.85%     54,300.05       34,733.20     1.18%      47,730.35
         1,937.00         0.31%     4,195.00    0.70%     -2,258.00       4,682.74      0.97%     -2,745.74   S&M                                                   12,263.40     0.27%      20,130.00      0.61%     -7,866.60       25,334.88     0.86%     -13,071.48
        13,024.10         2.09%     8,348.00    1.39%      4,676.10      14,176.04      2.93%     -1,151.94   R&M                                                   83,255.68     1.84%      39,460.00      1.19%     43,795.68       51,927.62     1.77%      31,328.06
        26,000.67         4.17%    23,467.59    3.91%      2,533.08      25,439.78      5.26%        560.89   Utilities                                             99,710.87     2.20%     104,489.46      3.16%     -4,778.59       91,427.79     3.11%       8,283.08

       306,367.23        49.18%   197,250.22   32.84%    109,117.01     159,109.87     32.91%    147,257.36   Total Direct Expense                                1,631,391.97   36.02%     979,260.22     29.63%    652,131.75      792,348.72    26.98%     839,043.25

       207,395.97        33.29%   306,799.67   51.08%    -99,403.70     243,291.51     50.33%    -35,895.54   Gross Operating Profit                              2,417,847.26   53.39%    1,840,795.32    55.69%    577,051.94    1,721,651.47    58.62%     696,195.79

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                                                                                                Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                                           As of 5/31/2022
              PTD        %        PTD Budget   %           Variance   PTD Last Year     %          Variance                                                              YTD    %         YTD Budget %               Variance   YTD Last Year   %            Variance




                                                                                                              Fixed Costs
        31,547.06         5.06%    29,903.00    4.98%      1,644.06      29,903.00      6.19%      1,644.06   Taxes                                                53,812.18    1.19%     149,515.00      4.52%    -95,702.82     149,515.00     5.09%     -95,702.82
        10,636.23         1.71%     8,026.00    1.34%      2,610.23      12,854.90      2.66%     -2,218.67   Insurance                                            53,181.15    1.17%      40,130.00      1.21%     13,051.15      64,411.03     2.19%     -11,229.88
        84,557.00        13.57%    84,557.28   14.08%         -0.28      83,652.91     17.30%        904.09   Leases & Rent                                       422,785.00    9.34%     422,786.40     12.79%         -1.40     416,785.82    14.19%       5,999.18
        19,188.00         3.08%    18,017.49    3.00%      1,170.51      14,503.58      3.00%      4,684.42   Management Fees                                     138,367.51    3.06%      99,156.39      3.00%     39,211.12      88,114.63     3.00%      50,252.88

       145,928.29        23.43%   140,503.77   23.39%      5,424.52     140,914.39     29.15%      5,013.90   Total Fixed Expenses                                668,145.84    14.75%    711,587.79     21.53%    -43,441.95     718,826.48    24.47%     -50,680.64

        61,467.68        9.87%    166,295.90   27.69%   -104,828.22     102,377.12     21.18%    -40,909.44   Net Operating Profit                               1,749,701.42   38.63%   1,129,207.53    34.16%   620,493.89    1,002,824.99    34.14%    746,876.43



             0.00      0.00%            0.00   0.00%           0.00      66,161.78     13.69%    -66,161.78   Interest - First Mortgage                                 0.00     0.00%           0.00    0.00%           0.00     330,808.90    11.26%   -330,808.90
             0.00      0.00%            0.00   0.00%           0.00      19,000.00      3.93%    -19,000.00   Interest - Notes Payable                                  0.00     0.00%           0.00    0.00%           0.00      95,000.00     3.23%    -95,000.00
      -255,414.33    -41.00%            0.00   0.00%    -255,414.33           0.00      0.00%   -255,414.33   Extraordinary Expense                              -255,414.33    -5.64%           0.00    0.00%    -255,414.33           0.00     0.00%   -255,414.33
             0.00      0.00%            0.00   0.00%           0.00         300.00      0.06%       -300.00   Prior Owner's Expense                                13,149.32     0.29%           0.00    0.00%      13,149.32       1,184.65     0.04%     11,964.67



       316,882.01        50.87%   166,295.90   27.69%   150,586.11       16,915.34      3.50%   299,966.67    Net Operating Income                               1,991,966.43   43.98%   1,129,207.53    34.16%   862,758.90      575,831.44    19.61%   1,416,134.99

         5,093.65        0.82%          0.00   0.00%       5,093.65           0.00      0.00%      5,093.65   Capital Reserve                                     121,728.03    2.69%            0.00    0.00%    121,728.03            0.00    0.00%     121,728.03

       311,788.36        50.05%   166,295.90   27.69%   145,492.46       16,915.34      3.50%   294,873.02    Adjusted NOI                                       1,870,238.40   41.29%   1,129,207.53    34.16%   741,030.87      575,831.44    19.61%   1,294,406.96




       311,788.36        50.05%   166,295.90   27.69%   145,492.46       16,915.34      3.50%   294,873.02    Net Profit/(Loss)                                  1,870,238.40   41.29%   1,129,207.53    34.16%   741,030.87      575,831.44    19.61%   1,294,406.96




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                                                                                                   Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                                        P&L - Dual Summary Pages
                                                                                                                              As of 5/31/2022
              PTD        %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                                              YTD     %          YTD Budget %                 Variance   YTD Last Year    %            Variance

                                                                                                                 Rooms
                                                                                                                 Room Revenue
                                                                                                                 Transient Room Revenue
        46,635.93         7.77%    73,656.00     12.50%   -27,020.07       18,454.57      3.90%      28,181.36   Corporate Transient                                 374,647.12      8.52%     301,796.00      9.30%      72,851.12      105,448.50     3.68%     269,198.62
        51,004.37         8.50%    47,120.00      8.00%     3,884.37       49,222.98     10.40%       1,781.39   Advanced Purchase                                   280,963.10      6.39%     202,442.00      6.24%      78,521.10      208,262.43     7.27%      72,700.67
        38,305.61         6.38%    22,940.00      3.89%    15,365.61       50,163.49     10.60%     -11,857.88   Qualified Discounts                                 264,761.88      6.02%     158,620.00      4.89%     106,141.88      265,569.60     9.27%        -807.72
       126,796.45        21.13%    95,046.00     16.13%    31,750.45       80,052.39     16.91%      46,744.06   FIT(Flexible Independent Travel)                    800,880.51     18.21%     457,799.00     14.11%     343,081.51      364,013.45    12.70%     436,867.06
        34,841.59         5.81%         0.00      0.00%    34,841.59        1,114.00      0.24%      33,727.59   Consortia Transient                                  96,228.69      2.19%           0.00      0.00%      96,228.69        5,592.15     0.20%      90,636.54
             0.00         0.00%     1,068.00      0.18%    -1,068.00          603.00      0.13%        -603.00   Employee                                                  0.00      0.00%       5,429.00      0.17%      -5,429.00        5,625.00     0.20%      -5,625.00
           847.26         0.14%         0.00      0.00%       847.26        4,814.00      1.02%      -3,966.74   Travel Agent/Friends & Family                           847.26      0.02%           0.00      0.00%         847.26       15,783.00     0.55%     -14,935.74
           345.45         0.06%         0.00      0.00%       345.45            0.00      0.00%         345.45   Leisure Package Transient                               345.45      0.01%           0.00      0.00%         345.45          625.80     0.02%        -280.35
        58,492.15         9.75%    10,075.00      1.71%    48,417.15       15,754.31      3.33%      42,737.84   Member Reward Stay                                  176,916.61      4.02%     127,583.00      3.93%      49,333.61      101,809.16     3.55%      75,107.45
             0.00         0.00%    16,740.00      2.84%   -16,740.00            0.00      0.00%           0.00   Non Qualified Discounts                                   0.00      0.00%     199,050.00      6.13%    -199,050.00            0.00     0.00%           0.00
       111,755.67        18.62%   133,796.00     22.70%   -22,040.33      120,170.11     25.39%      -8,414.44   Internet/E-Commerce                                 851,024.60     19.35%     453,464.00     13.97%     397,560.60      663,144.27    23.14%     187,880.33
             0.00         0.00%         0.00      0.00%         0.00            0.00      0.00%           0.00   E-Commerce Opaque                                         0.00      0.00%           0.00      0.00%           0.00          279.24     0.01%        -279.24
         5,285.00         0.88%    13,020.00      2.21%    -7,735.00        7,511.50      1.59%      -2,226.50   Government Transient                                 74,513.90      1.69%      69,507.00      2.14%       5,006.90       28,740.72     1.00%      45,773.18
       101,741.07        16.96%   125,736.00     21.34%   -23,994.93       85,969.43     18.16%      15,771.64   Rack Transient                                      955,040.01     21.71%     626,695.00     19.31%     328,345.01      394,756.77    13.77%     560,283.24
         5,780.00         0.96%         0.00      0.00%     5,780.00       21,911.74      4.63%     -16,131.74   Local Negotiated Transient                           72,679.08      1.65%           0.00      0.00%      72,679.08      448,693.67    15.66%    -376,014.59

      581,830.55     96.96%       539,197.00    91.49%    42,633.55      455,741.52      96.28%    126,089.03    Total Transient Room Revenue                      3,948,848.21    89.78%    2,602,385.00   80.19%     1,346,463.21    2,608,343.76    91.01%   1,340,504.45

                                                                                                                 Group Room Revenue
         4,436.00        0.74%     27,027.00      4.59%   -22,591.00            0.00      0.00%       4,436.00   Corporate Group                                      49,417.00      1.12%     125,452.00      3.87%     -76,035.00            0.00     0.00%      49,417.00
             0.00        0.00%          0.00      0.00%         0.00            0.00      0.00%           0.00   Government Group                                          0.00      0.00%       5,340.00      0.16%      -5,340.00            0.00     0.00%           0.00
         1,656.00        0.28%          0.00      0.00%     1,656.00            0.00      0.00%       1,656.00   Tour & Travel Group                                   1,656.00      0.04%           0.00      0.00%       1,656.00            0.00     0.00%       1,656.00
             0.00        0.00%          0.00      0.00%         0.00            0.00      0.00%           0.00   Association Group                                    17,099.00      0.39%           0.00      0.00%      17,099.00            0.00     0.00%      17,099.00
         8,176.00        1.36%          0.00      0.00%     8,176.00          144.00      0.03%       8,032.00   SMERF Group                                         169,723.00      3.86%      45,990.00      1.42%     123,733.00       22,922.00     0.80%     146,801.00
         2,099.00        0.35%     22,748.00      3.86%   -20,649.00       13,204.00      2.79%     -11,105.00   Sports Group                                        198,078.04      4.50%     464,468.00     14.31%    -266,389.96      213,563.25     7.45%     -15,485.21

       16,367.00         2.73%     49,775.00     8.45%    -33,408.00      13,348.00       2.82%      3,019.00    Total Group Room Revenue                           435,973.04      9.91%     641,250.00    19.76%     -205,276.96      236,485.25     8.25%     199,487.79

                                                                                                                 Contract Room Revenue

             0.00        0.00%          0.00     0.00%          0.00            0.00      0.00%          0.00    Total Contract Room Revenue                                0.00    0.00%            0.00     0.00%            0.00            0.00    0.00%            0.00

                                                                                                                 Other Room Revenue
           167.98        0.03%        250.00      0.04%       -82.02        1,814.14      0.38%      -1,646.16   No-Show Rooms                                        10,832.55      0.25%       1,250.00     0.04%        9,582.55       10,048.82     0.35%         783.73
           425.00        0.07%          0.00      0.00%       425.00        1,365.05      0.29%        -940.05   Early/Late Departure Fees                             1,238.51      0.03%           0.00     0.00%        1,238.51        4,007.60     0.14%      -2,769.09
         1,560.46        0.26%        100.00      0.02%     1,460.46        1,105.13      0.23%         455.33   Pet/Smoking/Damage Fees                               4,163.13      0.09%         500.00     0.02%        3,663.13        7,227.46     0.25%      -3,064.33

        2,153.44         0.36%        350.00     0.06%     1,803.44        4,284.32       0.91%     -2,130.88    Total Other Room Revenue                            16,234.19      0.37%        1,750.00     0.05%      14,484.19       21,283.88     0.74%       -5,049.69

          -300.00        -0.05%          0.00     0.00%      -300.00            0.00      0.00%       -300.00    Less: Allowances                                     -2,622.33     -0.06%           0.00     0.00%        -2,622.33           0.00     0.00%      -2,622.33

      600,050.99    100.00%       589,322.00    100.00%   10,728.99      473,373.84     100.00%    126,677.15    Total Room Revenue                                4,398,433.11    100.00%   3,245,385.00 100.00%      1,153,048.11    2,866,112.89 100.00%     1,532,320.22

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
         2,098.45         0.35%      3,567.12     0.61%     -1,468.67       2,846.16       0.60%       -747.71   Front Office Management                              16,836.06      0.38%      17,375.34      0.54%         -539.28      14,107.98     0.49%       2,728.08
         5,045.05         0.84%      5,095.89     0.86%        -50.84       3,692.32       0.78%      1,352.73   Housekeeping Management                              24,825.25      0.56%      24,821.92      0.76%            3.33      17,538.52     0.61%       7,286.73
        7,143.50         1.19%      8,663.01     1.47%     -1,519.51       6,538.48       1.38%        605.02    Total Rooms Management                              41,661.31      0.95%      42,197.26      1.30%         -535.95      31,646.50     1.10%      10,014.81
         6,191.48         1.03%      8,432.00     1.43%     -2,240.52       4,856.81       1.03%      1,334.67   Front Office Agents                                  23,318.94      0.53%      45,772.00      1.41%      -22,453.06      21,649.24     0.76%       1,669.70
         4,836.84         0.81%      4,464.00     0.76%        372.84       4,201.60       0.89%        635.24   Night Auditors                                       22,076.36      0.50%      21,744.00      0.67%          332.36      19,162.13     0.67%       2,914.23
         2,821.88         0.47%      5,314.29     0.90%     -2,492.41       4,435.55       0.94%     -1,613.67   Breakfast Attendant                                  15,179.73      0.35%      25,885.73      0.80%      -10,706.00      24,121.60     0.84%      -8,941.87
       13,850.20         2.31%     18,210.29     3.09%     -4,360.09      13,493.96       2.85%        356.24    Total Rooms Front Office                            60,575.03      1.38%      93,401.73      2.88%      -32,826.70      64,932.97     2.27%      -4,357.94
         7,527.25         1.25%      3,542.86     0.60%      3,984.39           0.00       0.00%      7,527.25   Housekeeping Supervisors                             19,657.06      0.45%      17,257.15      0.53%        2,399.91           0.00     0.00%      19,657.06
         5,481.59         0.91%          0.00     0.00%      5,481.59      16,029.27       3.39%    -10,547.68   Room Attendants                                      35,247.07      0.80%           0.00      0.00%       35,247.07      90,764.49     3.17%     -55,517.42
         3,254.36         0.54%          0.00     0.00%      3,254.36       8,622.53       1.82%     -5,368.17   Housepersons                                         17,600.18      0.40%           0.00      0.00%       17,600.18      34,114.85     1.19%     -16,514.67
         4,547.10         0.76%      3,720.00     0.63%        827.10           0.00       0.00%      4,547.10   Laundry Attendants                                   19,626.02      0.45%      18,120.00      0.56%        1,506.02           0.00     0.00%      19,626.02
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                                                                                                 Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD        %        PTD Budget     %         Variance   PTD Last Year     %          Variance                                                               YTD    %         YTD Budget %               Variance   YTD Last Year    %            Variance

       20,810.30         3.47%      7,262.86    1.23%    13,547.44      24,651.80       5.21%    -3,841.50    Total Rooms Housekeeping                             92,130.33    2.09%      35,377.15      1.09%     56,753.18     124,879.34     4.36%      -32,749.01

       41,804.00         6.97%     34,136.16    5.79%     7,667.84      44,684.24       9.44%    -2,880.24    Total Rooms Salary and Wages                        194,366.67    4.42%     170,976.14      5.27%     23,390.53     221,458.81     7.73%      -27,092.14

                                                                                                              PR Taxes and Benefits
         3,190.43         0.53%      2,622.89    0.45%       567.54         873.98       0.18%     2,316.45   FICA                                                  14,831.32    0.34%      13,355.08      0.41%      1,476.24        4,472.41    0.16%      10,358.91
            90.89         0.02%         30.86    0.01%        60.03           7.62       0.00%        83.27   Federal Unemployment Tax                                 593.95    0.01%         476.94      0.01%        117.01          260.67    0.01%         333.28
           302.95         0.05%        205.72    0.03%        97.23           3.06       0.00%       299.89   State Unemployment Tax                                 1,979.86    0.05%       4,536.05      0.14%     -2,556.19           20.42    0.00%       1,959.44
        3,584.27         0.60%      2,859.47    0.49%       724.80         884.66       0.19%     2,699.61    Total Payroll Taxes                                  17,405.13    0.40%      18,368.07      0.57%       -962.94        4,753.50    0.17%      12,651.63
             0.00         0.00%        150.00    0.03%      -150.00         540.37       0.11%      -540.37   Holiday                                                    0.00    0.00%         300.00      0.01%       -300.00        1,174.82    0.04%      -1,174.82
             0.00         0.00%          0.00    0.00%         0.00         466.51       0.10%      -466.51   Vacation                                                   0.00    0.00%           0.00      0.00%          0.00        1,959.51    0.07%      -1,959.51
             0.00        0.00%        150.00    0.03%      -150.00       1,006.88       0.21%    -1,006.88    Total Supplemental Pay                                     0.00   0.00%         300.00      0.01%       -300.00        3,134.33    0.11%      -3,134.33
         1,741.89         0.29%      1,480.26    0.25%       261.63         589.17       0.12%     1,152.72   Worker's Compensation                                  8,259.33    0.19%       7,632.40      0.24%        626.93        2,916.36    0.10%       5,342.97
             0.00         0.00%      1,450.00    0.25%    -1,450.00       1,149.66       0.24%    -1,149.66   Group Insurance                                          877.96    0.02%       7,250.00      0.22%     -6,372.04        5,722.00    0.20%      -4,844.04
             0.00         0.00%          0.00    0.00%         0.00           0.00       0.00%         0.00   Bonus and Incentive Pay                                    0.00    0.00%       3,300.00      0.10%     -3,300.00            0.00    0.00%           0.00
        1,741.89         0.29%      2,930.26    0.50%    -1,188.37       1,738.83       0.37%          3.06   Total Other Benefits                                  9,137.29    0.21%      18,182.40      0.56%     -9,045.11        8,638.36    0.30%         498.93

        5,326.16         0.89%      5,939.73    1.01%      -613.57       3,630.37       0.77%     1,695.79    Total Rooms PR Taxes and Benefits                    26,542.42    0.60%      36,850.47      1.14%    -10,308.05      16,526.19     0.58%      10,016.23

       47,130.16         7.85%     40,075.89    6.80%     7,054.27      48,314.61      10.21%    -1,184.45    Total Rooms Labor Costs                             220,909.09    5.02%     207,826.61      6.40%     13,082.48     237,985.00     8.30%      -17,075.91

                                                                                                              Other Expenses
        17,999.48        3.00%     12,281.75     2.08%     5,717.73       6,856.33      1.45%     11,143.15   Breakfast /Comp Cost                                 110,296.75    2.51%      54,684.50     1.68%     55,612.25       38,646.00     1.35%      71,650.75
           251.42        0.04%      1,744.55     0.30%    -1,493.13         761.61      0.16%       -510.19   Cleaning Supplies                                      9,772.38    0.22%       7,791.70     0.24%      1,980.68        5,418.26     0.19%       4,354.12
             0.00        0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Contract Cleaning                                        162.58    0.00%           0.00     0.00%        162.58          424.82     0.01%        -262.24
        43,074.50        7.18%     34,011.00     5.77%     9,063.50           0.00      0.00%     43,074.50   Contract Labor                                       366,730.35    8.34%     151,434.00     4.67%    215,296.35            0.00     0.00%     366,730.35
           122.77        0.02%        199.00     0.03%       -76.23           0.00      0.00%        122.77   Dues and Subscriptions                                   613.85    0.01%         995.00     0.03%       -381.15            0.00     0.00%         613.85
         1,756.17        0.29%      4,534.80     0.77%    -2,778.63       1,196.81      0.25%        559.36   Guest Supplies                                        27,594.66    0.63%      20,191.20     0.62%      7,403.46       13,600.35     0.47%      13,994.31
           478.24        0.08%      1,133.70     0.19%      -655.46       1,790.90      0.38%     -1,312.66   Laundry                                                8,179.76    0.19%       5,047.80     0.16%      3,131.96        6,892.43     0.24%       1,287.33
         2,980.87        0.50%      2,531.93     0.43%       448.94         717.54      0.15%      2,263.33   Linen                                                 25,828.55    0.59%      11,273.42     0.35%     14,555.13       14,090.49     0.49%      11,738.06
             0.00        0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Miscellaneous Expense                                  8,709.85    0.20%           0.00     0.00%      8,709.85            0.00     0.00%       8,709.85
           261.10        0.04%          0.00     0.00%       261.10         809.44      0.17%       -548.34   Operating Supplies                                     5,360.62    0.12%           0.00     0.00%      5,360.62        7,059.06     0.25%      -1,698.44
             0.00        0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Printing and Stationery                                   20.66    0.00%           0.00     0.00%         20.66            0.00     0.00%          20.66
         2,866.69        0.48%     10,018.47     1.70%    -7,151.78       8,941.94      1.89%     -6,075.25   Reservation Expense                                   21,089.49    0.48%      55,171.54     1.70%    -34,082.05       49,668.50     1.73%     -28,579.01
             0.00        0.00%          0.00     0.00%         0.00         530.38      0.11%       -530.38   Rooms Promotion                                            0.00    0.00%           0.00     0.00%          0.00        1,069.50     0.04%      -1,069.50
         3,054.28        0.51%      2,730.00     0.46%       324.28       2,793.67      0.59%        260.61   Television Cable                                      15,407.90    0.35%      13,650.00     0.42%      1,757.90       13,998.52     0.49%       1,409.38
             0.00        0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Transportation                                             0.00    0.00%           0.00     0.00%          0.00            9.00     0.00%          -9.00
             0.00        0.00%      1,941.23     0.33%    -1,941.23       1,151.48      0.24%     -1,151.48   Travel Agent Comm - Group Rooms                       11,003.50    0.25%      25,008.76     0.77%    -14,005.26       18,366.65     0.64%      -7,363.15
        16,225.14        2.70%     16,501.05     2.80%      -275.91       8,822.80      1.86%      7,402.34   Travel Agent Comm - Transient Rooms                  168,021.66    3.82%      64,449.89     1.99%    103,571.77       62,093.43     2.17%     105,928.23
             0.00        0.00%        150.00     0.03%      -150.00         529.79      0.11%       -529.79   Uniforms                                               1,684.57    0.04%         750.00     0.02%        934.57        1,736.96     0.06%         -52.39
             0.00        0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Walked Guests                                            895.86    0.02%           0.00     0.00%        895.86          431.29     0.02%         464.57

       89,070.66     14.84%        87,777.48    14.89%    1,293.18      34,902.69       7.37%    54,167.97    Total Rooms Other Expenses                          781,372.99    17.76%    410,447.81    12.65%     370,925.18     233,505.26     8.15%     547,867.73

      136,200.82     22.70%       127,853.37    21.69%    8,347.45      83,217.30      17.58%    52,983.52    Total Rooms Expenses                               1,002,282.08   22.79%    618,274.42    19.05%     384,007.66     471,490.26     16.45%    530,791.82

      463,850.17     77.30%       461,468.63    78.31%    2,381.54     390,156.54      82.42%    73,693.63    Total Rooms Profit (Loss)                          3,396,151.03   77.21%   2,627,110.58   80.95%     769,040.45    2,394,622.63    83.55%   1,001,528.40




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                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                             As of 5/31/2022
              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                               Room Sale Stats
                                                                                               Tranisent Rooms
           243.00                558.00        -315.00         149.00                 94.00    Room Stat - Corporate Transient                        1,680.00          1,818.00       -138.00         432.00         1,248.00
           253.00                248.00           5.00         274.00                -21.00    Room Stat - Advanced Purchase                          1,116.00            857.00        259.00         880.00           236.00
           207.00                  0.00         207.00          65.00                142.00    Room Stat - Qualified Discounts                        1,093.00              0.00      1,093.00         368.00           725.00
           932.00                651.00         281.00         554.00                378.00    Room Stat - FIT(Flexible Independent Travel)           3,395.00          2,076.00      1,319.00       1,565.00         1,830.00
           168.00                  0.00         168.00           6.00                162.00    Room Stat - Consortia Rate Transient                     417.00              0.00        417.00          28.00           389.00
             0.00                 12.00         -12.00           7.00                  -7.00   Room Stat - Employee                                       0.00             61.00        -61.00          43.00           -43.00
             2.00                  0.00           2.00           0.00                   2.00   Room Stat - Package Transient                              2.00              0.00          2.00           0.00             2.00
             0.00                  0.00           0.00          46.00                -46.00    Room Stat - Travel Agent/Friends & Family                  0.00              0.00          0.00         116.00          -116.00
           151.00                155.00          -4.00         131.00                 20.00    Room Stat - Member Reward Stay                         1,451.00          1,434.00         17.00       1,028.00           423.00
             0.00                  0.00           0.00         258.00               -258.00    Room Stat - Non-Qualified Discounts                        0.00              0.00          0.00         685.00          -685.00
           559.00                806.00        -247.00         728.00               -169.00    Room Stat - Internet                                   3,552.00          2,450.00      1,102.00       2,968.00           584.00
             0.00                  0.00           0.00          27.00                -27.00    Room Stat - Other Transient                                0.00              0.00          0.00         130.00          -130.00
             0.00                  0.00           0.00           0.00                   0.00   Room Stat - E-Commerce Opaque                              0.00              0.00          0.00           2.00            -2.00
            35.00                 93.00         -58.00          55.00                -20.00    Room Stat - Government Rate Transient                    475.00            452.00         23.00         182.00           293.00
           436.00                744.00        -308.00         460.00                -24.00    Room Stat - Rack Rate Transient                        3,473.00          3,032.00        441.00       1,553.00         1,920.00
            37.00                  0.00          37.00         173.00               -136.00    Room Stat - Local Negotiated Transient                   356.00              0.00        356.00       2,263.00        -1,907.00
        3,023.00              3,267.00        -244.00       2,933.00                  90.00    Total Transient Rooms Sold                           17,010.00         12,180.00      4,830.00      12,243.00         4,767.00

                                                                                               Group Rooms
           13.00                 143.00        -130.00           1.00                 12.00    Room Stat - Corporate Group Rooms                        258.00            719.00       -461.00         121.00          137.00
            0.00                   0.00           0.00           0.00                  0.00    Room Stat - Government Group                               0.00             60.00        -60.00           0.00            0.00
           24.00                   0.00          24.00           0.00                 24.00    Room Stat - Tour & Travel Group                           24.00              0.00         24.00           0.00           24.00
            0.00                   0.00           0.00           0.00                  0.00    Room Stat - Association Group                            109.00              0.00        109.00           0.00          109.00
           56.00                   0.00          56.00           1.00                 55.00    Room Stat - SMERF Group                                  730.00            210.00        520.00         105.00          625.00
           13.00                 121.00        -108.00          80.00                -67.00    Room Stat - Sports Group                                 885.00          1,957.00     -1,072.00         860.00           25.00
          106.00                264.00        -158.00           82.00                24.00     Total Group Rooms Sold                                2,006.00          2,946.00       -940.00       1,086.00          920.00

                                                                                               Contract Rooms
             0.00                 0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                                   0.00            0.00          0.00            0.00            0.00

        3,129.00              3,531.00        -402.00       3,015.00                114.00     Total Rooms Sold                                     19,016.00         15,126.00      3,890.00      13,329.00         5,687.00
             1.00                 0.00            1.00          0.00                   1.00    Room Stat - Comp Rooms                                    20.00             0.00          20.00          0.00             20.00
        3,130.00              3,531.00        -401.00       3,015.00                115.00     Total Rooms Occupied                                 19,036.00         15,126.00      3,910.00      13,329.00         5,707.00
           340.00                 0.00          340.00          0.00                 340.00    Room Stat - Out of Order                               1,460.00             0.00       1,460.00          0.00          1,460.00

                                                                                               ADR
           191.92                132.00         59.92          123.86                 68.06    Corporate Transient ADR                                  223.00            166.00        57.00          244.09          -21.09
           201.60                190.00         11.60          179.65                 21.95    Advanced Purchase ADR                                    251.76            236.22        15.54          236.66           15.10
           185.05                  0.00        185.05          771.75               -586.69    Qualified Discount ADR                                   242.23              0.00       242.23          721.66         -479.42
           136.05                146.00          -9.95         144.50                  -8.45   FIT ADR                                                  235.90            220.52        15.38          232.60             3.30
           207.39                  0.00        207.39          185.67                 21.72    Consortia ADR                                            230.76              0.00       230.76          199.72           31.04
             0.00                 89.00        -89.00           86.14                -86.14    Employee ADR                                               0.00             89.00       -89.00          130.81         -130.81
             0.00                  0.00           0.00           0.00                   0.00   Leisure ADR                                                0.00              0.00         0.00            0.00             0.00
             0.00                  0.00           0.00         104.65               -104.65    Travel Agent/Friends & Family ADR                          0.00              0.00         0.00          136.06         -136.06
             0.00                  0.00           0.00           0.00                   0.00   Leisure Package ADR                                        0.00              0.00         0.00            0.00             0.00
           387.37                 65.00        322.37          120.26                267.10    Member Reward Stay ADR                                   121.93             88.97        32.96           99.04           22.89
             0.00                  0.00           0.00           0.00                   0.00   Golf Pkg ADR                                               0.00              0.00         0.00            0.00             0.00
             0.00                  0.00           0.00           0.00                   0.00   Non Qualified ADR                                          0.00              0.00         0.00            0.00             0.00
           199.92                166.00         33.92          165.07                 34.85    Internet ADR                                             239.59            185.09        54.50          223.43           16.16
             0.00                  0.00           0.00           0.00                   0.00   E-Commerce Opaque ADR                                      0.00              0.00         0.00          139.62         -139.62
             0.00                  0.00           0.00           0.00                   0.00   Other Transient ADR                                        0.00              0.00         0.00            0.00             0.00
             0.00                  0.00           0.00           0.00                   0.00   Airline Distressed Passenger ADR                           0.00              0.00         0.00            0.00             0.00
           151.00                140.00         11.00          136.57                 14.43    Government ADR                                           156.87            153.78         3.09          157.92            -1.04
           233.35                169.00         64.35          186.89                 46.46    Rack ADR                                                 274.99            206.69        68.30          254.19           20.80
           156.22                  0.00        156.22          126.66                 29.56    Local Negotiated ADR                                     204.15              0.00       204.15          198.27             5.88
          192.47                165.04          27.42         155.38                  37.08    Total Transient ADR                                     232.15            213.66         18.49         213.05            19.10

           341.23               189.00         152.23            0.00                341.23    Corporate Group ADR                                     191.54            174.48         17.06            0.00          191.54
             0.00                 0.00           0.00            0.00                  0.00    Leisure Group ADR                                         0.00              0.00          0.00            0.00            0.00
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                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                       P&L - Dual Summary Pages
                                                                                                             As of 5/31/2022
              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                  0.00           0.00           0.00                   0.00   Government Group ADR                                      0.00              89.00      -89.00            0.00           0.00
            69.00                  0.00          69.00           0.00                 69.00    Tour & Travel Group ADR                                  69.00               0.00       69.00            0.00          69.00
             0.00                  0.00           0.00           0.00                   0.00   Association Group ADR                                   156.87               0.00      156.87            0.00         156.87
             0.00                  0.00           0.00           0.00                   0.00   City Wide Group ADR                                       0.00               0.00        0.00            0.00           0.00
           146.00                  0.00        146.00          144.00                   2.00   SMERF Group ADR                                         232.50             219.00       13.50          218.30          14.19
           161.46                188.00         -26.54         165.05                  -3.59   Sports Group ADR                                        223.82             237.34      -13.52          248.33         -24.51
             0.00                  0.00           0.00           0.00                   0.00   Other Group ADR                                           0.00               0.00        0.00            0.00           0.00
          154.41                188.54         -34.14         162.78                  -8.37    Total Group ADR                                        217.33             217.67        -0.33         217.76           -0.42

             0.00                 0.00           0.00            0.00                  0.00    Airline Crew ADR                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Other Contract ADR                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Contract ADR                                          0.00            0.00         0.00            0.00           0.00

          191.77                166.90          24.87         157.01                  34.76    Total ADR                                              231.30             214.56        16.74         215.03           16.27




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                                                                                                 Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
              PTD        %        PTD Budget     %         Variance   PTD Last Year     %          Variance                                                               YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                              F&B Summary
                                                                                                              Revenue
            32.25      0.26%          496.00      7.39%     -463.75           0.00       0.00%        32.25   Outlet Food Revenue                                    1,536.60      1.95%     2,416.00   6.12%         -879.40           0.00   0.00%        1,536.60
           675.00      5.42%        1,000.00     14.89%     -325.00         200.00      11.31%       475.00   Banquet and Catering Food Revenue                      9,675.75     12.31%     3,000.00   7.60%        6,675.75       6,117.80  21.42%        3,557.95
         8,985.13     72.15%        2,819.00     41.98%    6,166.13           0.00       0.00%     8,985.13   Outlet Beverage Revenue                               39,802.63     50.62%    22,062.00  55.88%       17,740.63          37.02   0.13%       39,765.61
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%         0.00   Banquet and Catering Beverage Revenue                  2,726.00      3.47%         0.00   0.00%        2,726.00       1,563.00   5.47%        1,163.00
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%         0.00   Outlet Other Revenue                                       0.00      0.00%         0.00   0.00%            0.00           0.00   0.00%            0.00
         2,760.50     22.17%        2,400.00     35.74%      360.50       1,569.00      88.69%     1,191.50   Banquet and Catering Other Revenue                    24,889.65     31.65%    12,000.00  30.40%       12,889.65      20,846.66  72.98%        4,042.99
       12,452.88    100.00%        6,715.00    100.00%    5,737.88       1,769.00     100.00%    10,683.88    Total F&B Revenue                                    78,630.63    100.00%    39,478.00 100.00%       39,152.63      28,564.48 100.00%       50,066.15

                                                                                                              Cost of Sales
           343.72      2.76%          598.40      8.91%     -254.68           0.00       0.00%       343.72   Food Purchases                                           343.72      0.44%     2,166.40     5.49%     -1,822.68         311.37      1.09%        32.35
         3,999.96     32.12%          676.56     10.08%    3,323.40          30.00       1.70%     3,969.96   Beverage Purchases                                    13,599.49     17.30%     5,294.88    13.41%      8,304.61          30.00      0.11%    13,569.49
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%         0.00   Cedit Employee Meals                                       0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%         0.00   Credit House Charges                                       0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%         0.00   Credit In-House Promotions                                 0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00           0.00       0.00%         0.00   Audio Visual Cost of Sales                                 0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%         0.00
             0.00      0.00%            0.00      0.00%        0.00         274.61      15.52%      -274.61   Other Cost of Sales                                        0.00      0.00%         0.00     0.00%          0.00       3,458.84     12.11%    -3,458.84
        4,343.68     34.88%        1,274.96     18.99%    3,068.72         304.61      17.22%     4,039.07    Total F&B Cost of Sales                              13,943.21     17.73%     7,461.28    18.90%      6,481.93       3,800.21     13.30%    10,143.00

        8,109.20     65.12%        5,440.04     81.01%    2,669.16       1,464.39      82.78%     6,644.81    F&B Gross Profit                                     64,687.42     82.27%    32,016.72    81.10%     32,670.70      24,764.27     86.70%    39,923.15

                                                                                                              Expenses
                                                                                                              Payroll
                                                                                                              Salaries and Wages
             0.00      0.00%            0.00      0.00%       0.00            0.00       0.00%         0.00   Management                                                 0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%         0.00
         2,756.84     22.14%        2,604.00     38.78%     152.84            0.00       0.00%     2,756.84   Non-Management                                         7,236.14      9.20%    12,684.00    32.13%     -5,447.86           0.00      0.00%     7,236.14
        2,756.84     22.14%        2,604.00     38.78%     152.84             0.00      0.00%     2,756.84    Total F&B Salaries and Wages                          7,236.14      9.20%    12,684.00    32.13%     -5,447.86            0.00     0.00%     7,236.14
                                                                                                              PR Taxes and Benefits
           284.64         2.29%       256.81      3.82%     27.83             0.00       0.00%       284.64   Payroll Taxes                                          1,341.69      1.71%     1,602.78      4.06%      -261.09           0.00      0.00%     1,341.69
             0.00         0.00%         0.00      0.00%      0.00             0.00       0.00%         0.00   Supplemental Pay                                           0.00      0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00
           192.43         1.55%       112.42      1.67%     80.01             0.00       0.00%       192.43   Other Benefits                                         1,600.76      2.04%       556.17      1.41%     1,044.59          58.36      0.20%     1,542.40
          477.07         3.83%       369.23      5.50%     107.84             0.00      0.00%       477.07    Total F&B PR Taxes and Benefits                       2,942.45      3.74%     2,158.95      5.47%       783.50           58.36     0.20%     2,884.09

        3,233.91     25.97%        2,973.23     44.28%     260.68             0.00      0.00%     3,233.91    Total F&B Payroll                                    10,178.59     12.94%    14,842.95    37.60%     -4,664.36           58.36     0.20%    10,120.23

                                                                                                              Other Expenses
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Audio Visual Supplies                                      0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Banquet Expense                                        5,968.14     7.59%         0.00      0.00%      5,968.14           0.00     0.00%      5,968.14
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Bar Expense/Promos                                         0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Bar Supplies                                               0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    China                                                      0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
           933.27        7.49%         25.00     0.37%      908.27            0.00      0.00%       933.27    Cleaning Supplies                                        933.27     1.19%       125.00      0.32%        808.27           0.00     0.00%        933.27
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Communication Expense                                      0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Contract Cleaning                                          0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Contract Labor                                             0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Decorations & Plants                                       0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Dues and Subscriptions                                     0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
            91.89        0.74%         79.00     1.18%       12.89          152.96      8.65%       -61.07    Equipment Rental                                         498.22     0.63%       395.00      1.00%        103.22         152.96     0.54%        345.26
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Food and Beverage Advertising                              0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Glassware                                                 36.10     0.05%         0.00      0.00%         36.10           0.00     0.00%         36.10
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Guest Loss/Damage                                          0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Guest Supplies                                           227.74     0.29%         0.00      0.00%        227.74           0.00     0.00%        227.74
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    In-House Entertainment                                     0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Kitchen/Cooking Fuel                                       0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
            40.82        0.33%          0.00     0.00%       40.82            0.00      0.00%        40.82    Kitchen Equipment                                        355.92     0.45%         0.00      0.00%        355.92           0.00     0.00%        355.92
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Laundry - Outside Expense                                  0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Laundry Allocation                                         0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Licenses/Permits                                           0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Linen                                                      0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00        0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00    Linen Rental                                               0.00     0.00%         0.00      0.00%          0.00           0.00     0.00%          0.00
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                                                                                                Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                                           As of 5/31/2022
              PTD        %        PTD Budget    %         Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %             Variance   YTD Last Year    %         Variance

            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Maintenance Contracts                                     0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Meals and Entertainment                                   0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Menus                                                     0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%       750.00    11.17%    -750.00          444.99      25.15%     -444.99    Miscellaneous Expense                                     0.00      0.00%     3,750.00     9.50%    -3,750.00         444.99     1.56%      -444.99
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Music and Entertainment                                   0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Office Equipment                                          0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Office Supplies                                           0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Operating Supplies                                        0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Paper/Plastic Supplies                                    0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Printing and Stationery                                   0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Silverware                                                0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Software Expense/Maintenance                              0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Television Cable                                          0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Training                                                  0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Travel                                                    0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Uniforms                                                  0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
            0.00          0.00%         0.00     0.00%       0.00            0.00       0.00%        0.00    Utensils                                                  0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
        1,065.98         8.56%       854.00    12.72%     211.98          597.95      33.80%      468.03     Total F&B Other Expenses                              8,019.39    10.20%     4,270.00    10.82%     3,749.39         597.95     2.09%     7,421.44

        4,299.89     34.53%        3,827.23    57.00%     472.66          597.95      33.80%     3,701.94    Total F&B Expenses                                   18,197.98    23.14%    19,112.95    48.41%      -914.97         656.31     2.30%    17,541.67

        3,809.31     30.59%        1,612.81    24.02%    2,196.50         866.44      48.98%     2,942.87    Total F&B Profit (Loss)                              46,489.44    59.12%    12,903.77    32.69%    33,585.67      24,107.96     84.40%   22,381.48




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                                                                                                       P&L - Dual Summary Pages
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              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                               F&B Stats
                                                                                               Restaurant 1
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 2
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Room Service
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Room Service Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Room Service Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Banquets
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Banquets Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Banquets Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                               Catering
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Catering Covers                                       0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Catering Avg Check                                          0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 3
             0.00                  0.00          0.00            0.00                  0.00    Breakfast Avg Check                                         0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    Lunch Avg Check                                             0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    Dinner Avg Check                                            0.00             0.00        0.00            0.00           0.00
             0.00                  0.00          0.00            0.00                  0.00    Brunch Avg Check                                            0.00             0.00        0.00            0.00           0.00
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                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                             As of 5/31/2022
              PTD        %   PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 4
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Restaurant 5
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                                   0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                      0.00            0.00         0.00            0.00           0.00

                                                                                               Bar 1
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                             0.00            0.00         0.00            0.00           0.00

                                                                                               Bar 2
             0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                                             0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                                            0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                                         0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                          0.00            0.00         0.00            0.00           0.00
             0.00                 0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                             0.00            0.00         0.00            0.00           0.00

             0.00                 0.00           0.00            0.00                  0.00    Total Covers                                                0.00            0.00         0.00            0.00           0.00




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                                                                                               Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                                          As of 5/31/2022
              PTD        %        PTD Budget    %        Variance   PTD Last Year     %          Variance                                                               YTD     %       YTD Budget %              Variance   YTD Last Year    %         Variance

                                                                                                            Food Admin
                                                                                                            Cost of Sales
           343.72         2.76%      598.40     8.91%    -254.68            0.00      0.00%        343.72   Food Purchases                                           343.72     0.44%     2,166.40      5.49%    -1,822.68         311.37     1.09%       32.35
         3,999.96        32.12%      676.56    10.08%   3,323.40           30.00      1.70%      3,969.96   Beverage Purchases                                    13,599.49    17.30%     5,294.88     13.41%     8,304.61          30.00     0.11%   13,569.49
             0.00         0.00%        0.00     0.00%       0.00          274.61     15.52%       -274.61   Other Cost of Sales                                        0.00     0.00%         0.00      0.00%         0.00       3,458.84    12.11%   -3,458.84

        4,343.68     34.88%        1,274.96    18.99%   3,068.72         304.61      17.22%     4,039.07    Total Food Admin Cost of Sales                       13,943.21     17.73%    7,461.28    18.90%      6,481.93       3,800.21     13.30%   10,143.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Food Admin Management                                 0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Food Admin Non-Management                             0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Food Admin Salaries and Wages                         0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            PR Taxes and Benefits

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00         0.00%        0.00     0.00%       0.00            0.00       0.00%        0.00    Worker's Compensation                                       0.00    0.00%        0.00       0.00%        0.00           58.36     0.20%       -58.36
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%         0.00           58.36    0.20%       -58.36

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Food Admin PR Taxes and Benefits                      0.00   0.00%         0.00      0.00%         0.00           58.36    0.20%       -58.36

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Food Admin Payroll                                    0.00   0.00%         0.00      0.00%         0.00           58.36    0.20%       -58.36

                                                                                                            Other Expenses
             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%         0.00    Banquet Expense                                        5,968.14     7.59%         0.00     0.00%      5,968.14           0.00     0.00%    5,968.14
           933.27        7.49%        25.00     0.37%     908.27            0.00      0.00%       933.27    Cleaning Supplies                                        933.27     1.19%       125.00     0.32%        808.27           0.00     0.00%      933.27
            91.89        0.74%        79.00     1.18%      12.89          152.96      8.65%       -61.07    Equipment Rental                                         498.22     0.63%       395.00     1.00%        103.22         152.96     0.54%      345.26
             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%         0.00    Glassware                                                 36.10     0.05%         0.00     0.00%         36.10           0.00     0.00%       36.10
             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%         0.00    Guest Supplies                                           227.74     0.29%         0.00     0.00%        227.74           0.00     0.00%      227.74
            40.82        0.33%         0.00     0.00%      40.82            0.00      0.00%        40.82    Kitchen Equipment                                        355.92     0.45%         0.00     0.00%        355.92           0.00     0.00%      355.92
             0.00        0.00%       750.00    11.17%    -750.00          444.99     25.15%      -444.99    Miscellaneous Expense                                      0.00     0.00%     3,750.00     9.50%     -3,750.00         444.99     1.56%     -444.99

        1,065.98         8.56%       854.00    12.72%    211.98          597.95      33.80%       468.03    Total Food Admin Other Expenses                       8,019.39     10.20%    4,270.00    10.82%      3,749.39         597.95     2.09%     7,421.44

        1,065.98         8.56%       854.00    12.72%    211.98          597.95      33.80%       468.03    Total Food Admin Expenses                             8,019.39     10.20%    4,270.00    10.82%      3,749.39         656.31     2.30%     7,363.08

        5,409.66     43.44%        2,128.96    31.70%   3,280.70         902.56      51.02%     4,507.10    Departmental Costs                                   21,962.60     27.93%   11,731.28    29.72%     10,231.32       4,456.52     15.60%   17,506.08




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                                                                                           Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                                      As of 5/31/2022
              PTD        %       PTD Budget   %       Variance   PTD Last Year     %         Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Beverage Admin
             0.00        0.00%         0.00   0.00%      0.00            0.00      0.00%        0.00    Less Adjustments                                            0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Beverage Admin Revenue                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Sales

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Beverage Admin Cost of Sales                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Other Expenses

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Beverage Admin Other Expenses                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Beverage Admin Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Departmental Costs                                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %        PTD Budget     %        Variance   PTD Last Year     %          Variance                                                               YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                             Restaurant 1
                                                                                                             Food Revenue
             0.00        0.00%         0.00      0.00%       0.00            0.00      0.00%         0.00    Food-Breakfast                                          209.40       0.52%         0.00     0.00%        209.40           0.00     0.00%       209.40
            25.25        0.28%         0.00      0.00%      25.25            0.00      0.00%        25.25    Food-Lunch                                              216.75       0.53%         0.00     0.00%        216.75           0.00     0.00%       216.75
             7.00        0.08%       496.00     14.96%    -489.00            0.00      0.00%         7.00    Food-Dinner                                             332.75       0.82%     2,416.00     9.87%     -2,083.25           0.00     0.00%       332.75

           32.25         0.36%       496.00    14.96%    -463.75             0.00      0.00%        32.25    Restaurant 1 Food Revenue                               758.90      1.87%     2,416.00      9.87%    -1,657.10            0.00     0.00%      758.90
            0.00          0.00%        0.00      0.00%      0.00             0.00       0.00%        0.00    Less: Allowances                                          0.00       0.00%        0.00       0.00%        0.00            0.00      0.00%       0.00

           32.25         0.36%       496.00    14.96%    -463.75             0.00      0.00%        32.25    Total Restaurant 1 Food Revenue                         758.90      1.87%     2,416.00      9.87%    -1,657.10            0.00     0.00%      758.90

                                                                                                             Beverage Revenue
         4,293.75        47.62%     1,600.00    48.27%   2,693.75            0.00      0.00%      4,293.75   Liquor                                                21,893.00     53.97%    11,495.00     46.96%   10,398.00           37.02    100.00%   21,855.98
         3,718.63        41.24%     1,000.00    30.17%   2,718.63            0.00      0.00%      3,718.63   Beer                                                  13,077.13     32.24%     7,629.00     31.17%    5,448.13            0.00      0.00%   13,077.13
           972.75        10.79%       219.00     6.61%     753.75            0.00      0.00%        972.75   Wine                                                   4,832.50     11.91%     2,938.00     12.00%    1,894.50            0.00      0.00%    4,832.50

        8,985.13     99.64%        2,819.00    85.04%    6,166.13            0.00      0.00%     8,985.13    Restaurant 1 Beverage Revenue                        39,802.63     98.13%    22,062.00    90.13%     17,740.63           37.02 100.00%      39,765.61
            0.00       0.00%           0.00      0.00%       0.00            0.00       0.00%        0.00    Less: Allowances                                          0.00       0.00%        0.00      0.00%         0.00            0.00    0.00%          0.00

        8,985.13     99.64%        2,819.00    85.04%    6,166.13            0.00      0.00%     8,985.13    Total Restaurant 1 Beverage Revenue                  39,802.63     98.13%    22,062.00    90.13%     17,740.63           37.02 100.00%      39,765.61

        9,017.38    100.00%        3,315.00    100.00%   5,702.38            0.00      0.00%     9,017.38    Total Restaurant 1 Revenue                           40,561.53     100.00%   24,478.00 100.00%       16,083.53           37.02 100.00%      40,524.51

                                                                                                             Cost of Sales

             0.00        0.00%         0.00     0.00%        0.00            0.00      0.00%         0.00    Total Restaurant 1 Cost of Sales                            0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

        9,017.38    100.00%        3,315.00    100.00%   5,702.38            0.00      0.00%     9,017.38    Restaurant 1 Gross Profit                            40,561.53     100.00%   24,478.00 100.00%       16,083.53           37.02 100.00%      40,524.51

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%             0.00    0.00%        0.00            0.00      0.00%          0.00   Total Restaurant 1 Management                              0.00     0.00%          0.00    0.00%           0.00           0.00     0.00%          0.00
         2,756.84     30.57%        2,604.00    78.55%     152.84            0.00       0.00%     2,756.84   Bartenders                                             7,236.14     17.84%    12,684.00    51.82%     -5,447.86           0.00      0.00%     7,236.14
        2,756.84     30.57%        2,604.00    78.55%     152.84             0.00      0.00%     2,756.84    Total Restaurant 1 Non-Management                     7,236.14     17.84%    12,684.00    51.82%     -5,447.86            0.00     0.00%     7,236.14

        2,756.84     30.57%        2,604.00    78.55%     152.84             0.00      0.00%     2,756.84    Total Restaurant 1 Salaries and Wages                 7,236.14     17.84%    12,684.00    51.82%     -5,447.86            0.00     0.00%     7,236.14

                                                                                                             PR Taxes and Benefits
           254.39         2.82%       219.49     6.62%      34.90            0.00       0.00%       254.39   FICA                                                   1,147.79      2.83%     1,120.12      4.58%        27.67           0.00      0.00%     1,147.79
             6.98         0.08%         2.58     0.08%       4.40            0.00       0.00%         6.98   Federal Unemployment Tax                                  44.76      0.11%        39.89      0.16%         4.87           0.00      0.00%        44.76
            23.27         0.26%        17.22     0.52%       6.05            0.00       0.00%        23.27   State Unemployment Tax                                   149.14      0.37%       378.85      1.55%      -229.71           0.00      0.00%       149.14
          284.64         3.16%       239.29     7.22%       45.35            0.00      0.00%       284.64    Total Payroll Taxes                                   1,341.69      3.31%     1,538.86      6.29%      -197.17            0.00     0.00%     1,341.69
             0.00        0.00%          0.00    0.00%        0.00            0.00      0.00%          0.00   Total Supplemental Pay                                     0.00     0.00%          0.00     0.00%          0.00           0.00     0.00%          0.00
           192.43         2.13%       112.42     3.39%      80.01            0.00       0.00%       192.43   Worker's Compensation                                    696.62      1.72%       556.17      2.27%       140.45           0.00      0.00%       696.62
             0.00         0.00%         0.00     0.00%       0.00            0.00       0.00%         0.00   Bonus and Incentive Pay                                  904.14      2.23%         0.00      0.00%       904.14           0.00      0.00%       904.14
          192.43         2.13%       112.42     3.39%       80.01            0.00      0.00%       192.43    Total Other Benefits                                  1,600.76      3.95%       556.17      2.27%     1,044.59            0.00     0.00%     1,600.76

          477.07         5.29%       351.71    10.61%     125.36             0.00      0.00%       477.07    Total Restaurant 1 PR Taxes and Benefits              2,942.45      7.25%     2,095.03      8.56%      847.42             0.00     0.00%     2,942.45

        3,233.91     35.86%        2,955.71    89.16%     278.20             0.00      0.00%     3,233.91    Total Restaurant 1 Payroll                           10,178.59     25.09%    14,779.03    60.38%     -4,600.44            0.00     0.00%    10,178.59

                                                                                                             Other Expenses
             0.00        0.00%         0.00     0.00%        0.00            0.00      0.00%         0.00    Total Restaurant 1 Other Expenses                           0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

        3,233.91     35.86%        2,955.71    89.16%     278.20             0.00      0.00%     3,233.91    Total Restaurant 1 Expenses                          10,178.59     25.09%    14,779.03    60.38%     -4,600.44            0.00     0.00%    10,178.59

        5,783.47     64.14%          359.29    10.84%    5,424.18            0.00      0.00%     5,783.47    Total Restaurant 1 Profit (Loss)                     30,382.94     74.91%     9,698.97    39.62%     20,683.97           37.02 100.00%      30,345.92

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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 2 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 2 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 2 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 2 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Room Service
                                                                                                           Food Revenue
             0.00        0.00%          0.00   0.00%       0.00            0.00      0.00%         0.00    Food-Breakfast                                          149.70      19.25%          0.00     0.00%     149.70            0.00    0.00%     149.70
             0.00        0.00%          0.00   0.00%       0.00            0.00      0.00%         0.00    Food-Lunch                                              628.00      80.75%          0.00     0.00%     628.00            0.00    0.00%     628.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Room Service Food Revenue                              777.70      100.00%         0.00      0.00%    777.70             0.00    0.00%    777.70
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                         0.00         0.00%        0.00       0.00%     0.00             0.00     0.00%     0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Food Revenue                        777.70      100.00%         0.00      0.00%    777.70             0.00    0.00%    777.70

                                                                                                           Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Room Service Beverage Revenue                               0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                            0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Beverage Revenue                         0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Other Revenue                            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Revenue                             777.70      100.00%         0.00      0.00%    777.70             0.00    0.00%    777.70

                                                                                                           Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Cost of Sales                            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Room Service Gross Profit                              777.70      100.00%         0.00      0.00%    777.70             0.00    0.00%    777.70

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Management                               0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Non-Management                           0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Salaries and Wages                       0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service PR Taxes and Benefits                    0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Payroll                                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Other Expenses                           0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Expenses                                 0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Room Service Profit (Loss)                       777.70      100.00%         0.00      0.00%    777.70             0.00    0.00%    777.70




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              PTD        %        PTD Budget     %       Variance   PTD Last Year     %          Variance                                                               YTD     %        YTD Budget %              Variance   YTD Last Year    %         Variance

                                                                                                            Banquets
                                                                                                            Food Revenue
           322.90         9.40%         0.00     0.00%    322.90            0.00      0.00%       322.90    Food-Breakfast                                           658.35      1.79%         0.00      0.00%      658.35            0.00     0.00%      658.35
           352.10        10.25%     1,000.00    29.41%   -647.90          200.00     11.31%       152.10    Food-Lunch                                             7,567.25     20.57%     3,000.00     20.00%    4,567.25        6,117.80    21.45%    1,449.45
             0.00         0.00%         0.00     0.00%      0.00            0.00      0.00%         0.00    Food-Dinner                                              697.95      1.90%         0.00      0.00%      697.95            0.00     0.00%      697.95
             0.00         0.00%         0.00     0.00%      0.00            0.00      0.00%         0.00    Food-Breaks                                              549.05      1.49%         0.00      0.00%      549.05            0.00     0.00%      549.05

          675.00     19.65%        1,000.00    29.41%    -325.00         200.00      11.31%      475.00     Banquets Food Revenue                                 9,472.60     25.75%     3,000.00    20.00%      6,472.60       6,117.80     21.45%    3,354.80
            0.00       0.00%           0.00      0.00%      0.00           0.00        0.00%       0.00     Less: Allowances                                          0.00       0.00%        0.00      0.00%         0.00           0.00       0.00%       0.00

          675.00     19.65%        1,000.00    29.41%    -325.00         200.00      11.31%      475.00     Total Banquets Food Revenue                           9,472.60     25.75%     3,000.00    20.00%      6,472.60       6,117.80     21.45%    3,354.80

                                                                                                            Beverage Revenue
             0.00        0.00%          0.00     0.00%      0.00            0.00      0.00%         0.00    Liquor                                                 2,726.00      7.41%         0.00     0.00%     2,726.00        1,472.00     5.16%    1,254.00
             0.00        0.00%          0.00     0.00%      0.00            0.00      0.00%         0.00    Beer                                                       0.00      0.00%         0.00     0.00%         0.00           91.00     0.32%      -91.00

             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%         0.00    Banquets Beverage Revenue                             2,726.00      7.41%         0.00      0.00%     2,726.00       1,563.00      5.48%    1,163.00
             0.00         0.00%        0.00      0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                          0.00       0.00%        0.00       0.00%        0.00           0.00       0.00%       0.00

             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%         0.00    Total Banquets Beverage Revenue                       2,726.00      7.41%         0.00      0.00%     2,726.00       1,563.00      5.48%    1,163.00

                                                                                                            Other Revenue
           150.00         4.37%       250.00     7.35%   -100.00            0.00      0.00%       150.00    Audio/Visual Income                                    2,950.00      8.02%     1,250.00      8.33%    1,700.00        1,830.00     6.41%     1,120.00
             0.00         0.00%         0.00     0.00%      0.00            0.00      0.00%         0.00    Other Revenue                                          3,494.73      9.50%         0.00      0.00%    3,494.73            0.00     0.00%     3,494.73
           610.50        17.77%       450.00    13.24%    160.50          319.00     18.03%       291.50    Setup Fee                                              3,344.92      9.09%     2,250.00     15.00%    1,094.92        5,131.64    17.99%    -1,786.72
         2,000.00        58.22%     1,700.00    50.00%    300.00        1,250.00     70.66%       750.00    Public Room Rental                                    14,800.00     40.23%     8,500.00     56.67%    6,300.00       13,885.02    48.67%       914.98

        2,760.50     80.35%        2,400.00    70.59%    360.50        1,569.00      88.69%     1,191.50    Total Banquets Other Revenue                         24,589.65     66.84%    12,000.00    80.00%     12,589.65      20,846.66     73.08%    3,742.99

        3,435.50    100.00%        3,400.00    100.00%     35.50       1,769.00     100.00%     1,666.50    Total Banquets Revenue                               36,788.25     100.00%   15,000.00 100.00%       21,788.25      28,527.46 100.00%       8,260.79

                                                                                                            Cost of Sales

             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%         0.00    Total Banquets Cost of Sales                                0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

        3,435.50    100.00%        3,400.00    100.00%     35.50       1,769.00     100.00%     1,666.50    Gross Profit                                         36,788.25     100.00%   15,000.00 100.00%       21,788.25      28,527.46 100.00%       8,260.79

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%         0.00    Total Banquets Management                                   0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

             0.00        0.00%         0.00     0.00%       0.00            0.00      0.00%         0.00    Total Banquets Non-Management                               0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

             0.00                      0.00                 0.00            0.00                    0.00    Total Banquets Salaries and Wages                           0.00                  0.00                    0.00            0.00                  0.00

                                                                                                            PR Taxes and Benefits
             0.00         0.00%       16.07      0.47%     -16.07           0.00       0.00%        0.00    FICA                                                        0.00     0.00%       48.19       0.32%       -48.19           0.00      0.00%       0.00
             0.00         0.00%        0.19      0.01%      -0.19           0.00       0.00%        0.00    Federal Unemployment Tax                                    0.00     0.00%        1.55       0.01%        -1.55           0.00      0.00%       0.00
             0.00         0.00%        1.26      0.04%      -1.26           0.00       0.00%        0.00    State Unemployment Tax                                      0.00     0.00%       14.18       0.09%       -14.18           0.00      0.00%       0.00
             0.00        0.00%        17.52     0.52%     -17.52            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00    0.00%        63.92      0.43%       -63.92            0.00     0.00%        0.00
             0.00        0.00%         0.00     0.00%        0.00           0.00      0.00%         0.00    Total Supplemental Pay                                      0.00    0.00%         0.00      0.00%          0.00           0.00     0.00%        0.00
             0.00        0.00%         0.00     0.00%        0.00           0.00      0.00%         0.00    Total Other Benefits                                        0.00    0.00%         0.00      0.00%          0.00           0.00     0.00%        0.00

             0.00                     17.52               -17.52            0.00                    0.00    Total Banquet Benefits                                      0.00                 63.92                  -63.92            0.00                  0.00

             0.00        0.00%        17.52     0.52%     -17.52            0.00      0.00%         0.00    Total Banquets Payroll                                      0.00    0.00%        63.92      0.43%       -63.92            0.00     0.00%        0.00


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                                                                                                                       As of 5/31/2022
              PTD        %       PTD Budget    %       Variance   PTD Last Year     %         Variance                                                               YTD     %        YTD Budget %             Variance   YTD Last Year   %        Variance

                                                                                                         Other Expenses
             0.00        0.00%        0.00    0.00%       0.00            0.00      0.00%        0.00    Total Banquets Other Expenses                               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%       0.00

             0.00        0.00%       17.52    0.52%     -17.52            0.00      0.00%        0.00    Total Banquets Expenses                                     0.00    0.00%        63.92      0.43%      -63.92            0.00    0.00%       0.00

        3,435.50    100.00%       3,382.48    99.48%     53.02       1,769.00     100.00%    1,666.50    Total Banquets Profit (Loss)                         36,788.25     100.00%   14,936.08   99.57%     21,852.17      28,527.46 100.00%     8,260.79




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Catering
                                                                                                           Food Revenue
             0.00        0.00%          0.00   0.00%       0.00            0.00      0.00%         0.00    Food-Breakfast                                          203.15      40.38%         0.00     0.00%     203.15            0.00    0.00%     203.15

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Catering Food Revenue                                  203.15      40.38%         0.00      0.00%    203.15             0.00    0.00%    203.15
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                        0.00        0.00%        0.00       0.00%     0.00             0.00     0.00%     0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Food Revenue                            203.15      40.38%         0.00      0.00%    203.15             0.00    0.00%    203.15

                                                                                                           Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Catering Beverage Revenue                                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Beverage Revenue                             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00        0.00%          0.00   0.00%       0.00            0.00      0.00%         0.00    Public Room Rental                                      300.00      59.62%         0.00     0.00%     300.00            0.00    0.00%     300.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Other Revenue                           300.00      59.62%         0.00      0.00%    300.00             0.00    0.00%    300.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Revenue                                 503.15      100.00%        0.00      0.00%    503.15             0.00    0.00%    503.15

                                                                                                           Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Cost of Sales                                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Catering Gross Profit                                  503.15      100.00%        0.00      0.00%    503.15             0.00    0.00%    503.15

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Management                                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Non-Management                               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Salaries and Wages                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering PR Taxes and Benefits                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Payroll                                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Other Expenses                               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Expenses                                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Catering Profit (Loss)                           503.15      100.00%        0.00      0.00%    503.15             0.00    0.00%    503.15




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                                                                                                                         As of 5/31/2022
              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 3 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 3 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 3 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Payroll Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 3 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 4 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restauarnt 4 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 4 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                              Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                                         As of 5/31/2022
              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 5 Food Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Food Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 5 Beverage Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Allowances                                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Beverage Revenue                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Cost of Sales                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Restaurant 5 Gross Profit                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Management                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Non-Management                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Salaries and Wages                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 PR Taxes and Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Payroll                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Other Expenses                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Expenses                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Restaurant 5 Profit (Loss)                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 1
                                                                                                           Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Bar 1 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Bar 1 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 1 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                              Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Bar 2 Food Revenue                                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Food Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Bar 2 Beverage Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Beverage Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Other Revenue                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Revenue                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Cost of Sales                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Non-Management                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Salaries and Wages                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 PR Taxes and Benefits                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Payroll                                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Other Expenses                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Expenses                                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Bar 2 Profit (Loss)                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %        PTD Budget   %        Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Telephone

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Telephone Revenue                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00         0.00%        0.00     0.00%      0.00            0.00       0.00%        0.00    Less: Adjustments                                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Telephone Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Telephone Cost of Sales                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Gross Profit                                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Telephone Other Expenses                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00        0.00%         0.00    0.00%       0.00            0.00      0.00%         0.00    Total Telephone Profit (Loss)                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD        %     PTD Budget     %         Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                           Minor Operating
                                                                                                           Income
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00   Total Rental Income                                        0.00    0.00%          0.00  0.00%            0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Vending Commissions-Soda & Snack Machines                 85.78     0.17%         0.00   0.00%          85.78       1,153.13      2.72%    -1,067.35
           218.24      2.09%         0.00      0.00%      218.24           0.00       0.00%       218.24   Vending Commissions Other                                218.24     0.42%         0.00   0.00%         218.24          32.80      0.08%       185.44
          218.24      2.09%          0.00     0.00%      218.24            0.00      0.00%       218.24    Total Vending Commission Income                         304.02     0.59%          0.00  0.00%         304.02       1,185.93      2.80%      -881.91
             0.00      0.00%         0.00      0.00%        0.00         875.06      10.55%      -875.06   Cancellation Fee - Other                                   0.00     0.00%         0.00   0.00%           0.00       2,241.37      5.29%    -2,241.37
             0.00     0.00%          0.00     0.00%         0.00        875.06      10.55%      -875.06    Total Cancellation Fee Income                              0.00    0.00%          0.00  0.00%            0.00      2,241.37      5.29%    -2,241.37
           430.65      4.13%       200.00      4.40%      230.65         216.00       2.60%       214.65   Guest Laundry                                          2,077.64     4.00%     1,000.00   4.91%       1,077.64       1,115.80      2.63%       961.84
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Telephone Revenue                                         14.61     0.03%         0.00   0.00%          14.61           0.00      0.00%        14.61
            23.98      0.23%         0.00      0.00%       23.98           0.00       0.00%        23.98   Other Revenue 3                                          201.98     0.39%         0.00   0.00%         201.98           0.00      0.00%       201.98
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%         0.00   Other Revenue 4                                            0.00     0.00%         0.00   0.00%           0.00       1,353.81      3.20%    -1,353.81
         9,764.61     93.55%     4,345.85     95.60%    5,418.76       7,201.76      86.84%     2,562.85   Gift Shop Sales                                       49,334.15    95.00%    19,349.90  95.09%      29,984.25      36,467.76     86.08%    12,866.39
       10,219.24     97.91%     4,545.85    100.00%    5,673.39       7,417.76      89.45%     2,801.48    Total Other Income                                   51,628.38    99.41%    20,349.90 100.00%      31,278.48      38,937.37     91.91%    12,691.01

       10,437.48    100.00%     4,545.85    100.00%    5,891.63       8,292.82     100.00%     2,144.66    Total Minor Operating Income                         51,932.40    100.00%   20,349.90 100.00%      31,582.50      42,364.67 100.00%        9,567.73

                                                                                                           Cost of Sales
           162.40      1.56%        20.00      0.44%      142.40         281.86       3.40%     -119.46    Cost of Sales - Guest Laundry                          1,544.29     2.97%       100.00     0.49%     1,444.29       1,006.62      2.38%       537.67
         4,101.78     39.30%     2,955.18     65.01%    1,146.60       3,157.62      38.08%      944.16    Cost of Sales - Gift Shop                             16,056.42    30.92%    13,157.94    64.66%     2,898.48      14,860.09     35.08%     1,196.33
        4,264.18     40.85%     2,975.18     65.45%    1,289.00       3,439.48      41.48%      824.70     Total Minor Operated Cost of Sales                   17,600.71    33.89%    13,257.94    65.15%     4,342.77      15,866.71     37.45%     1,734.00

        6,173.30     59.15%     1,570.67     34.55%    4,602.63       4,853.34      58.52%     1,319.96    Total Minor Operated Profit (Loss)                   34,331.69    66.11%     7,091.96    34.85%    27,239.73      26,497.96     62.55%     7,833.73




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                                                                                                                      As of 5/31/2022
              PTD        %       PTD Budget   %       Variance   PTD Last Year     %         Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Arcade Revenue                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Arcade Non-Management                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Arcade Salaries and Wages                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Arcade PR Taxes and Benefits                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Arcade Payroll                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Arcade Other Expenses                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Arcade Expenses                                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Arcade Profit (Loss)                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %       PTD Budget   %       Variance   PTD Last Year     %         Variance                                                               YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Waterpark Revenue                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Waterpark Management                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Waterpark Non-Management                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Waterpark Salaries and Wages                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Payroll Taxes                                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Supplemental Pay                                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Other Benefits                                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Waterpark PR Taxes and Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Waterpark Payroll                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Waterpark Other Expenses                              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Waterpark Expenses                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00        0.00%        0.00    0.00%      0.00            0.00      0.00%        0.00    Total Waterpark Profit (Loss)                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD        %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                               YTD   %       YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           Franchise Fees
        29,861.33         4.79%    27,698.13   4.61%    2,163.20       29,902.92      6.19%       -41.59   Franchise Fees - Royalty & Licenses                  220,772.77   4.87%   152,533.08     4.61%    68,239.69      148,150.42    5.04%    72,622.35
        75,256.16        12.08%     7,071.86   1.18%   68,184.30        5,184.75      1.07%    70,071.41   Franchise Fees - Frequent Guest                       45,681.00   1.01%    38,944.62     1.18%     6,736.38       36,038.70    1.23%     9,642.30
        12,580.71         2.02%    11,786.44   1.96%      794.27       11,464.04      2.37%     1,116.67   Franchise Fees - Marketing Contributions              96,909.96   2.14%    64,907.70     1.96%    32,002.26       65,199.08    2.22%    31,710.88

      117,698.20     18.89%       46,556.43    7.75%   71,141.77      46,551.71       9.63%   71,146.49    Total Franchise Fees                                363,363.73    8.02%   256,385.40     7.76%   106,978.33     249,388.20     8.49%   113,975.53




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              PTD        %        PTD Budget   %          Variance   PTD Last Year     %          Variance                                                               YTD   %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
        13,616.09         2.19%    13,076.22    2.18%       539.87      11,231.27       2.32%     2,384.82   Management- A&G                                       62,884.14    1.39%     64,017.42     1.94%     -1,133.28      62,104.78     2.11%       779.36
       13,616.09         2.19%    13,076.22    2.18%       539.87      11,231.27       2.32%     2,384.82    Total A&G Management                                 62,884.14    1.39%     64,017.42     1.94%     -1,133.28      62,104.78     2.11%       779.36
             0.00        0.00%          0.00   0.00%          0.00           0.00      0.00%          0.00   Total A&G Non-Management                                   0.00   0.00%           0.00    0.00%           0.00           0.00    0.00%          0.00
       13,616.09         2.19%    13,076.22    2.18%       539.87      11,231.27       2.32%     2,384.82    Total A&G Salaries and Wages                         62,884.14    1.39%     64,017.42     1.94%     -1,133.28      62,104.78     2.11%       779.36
                                                                                                             PR Taxes and Benefits
         1,026.79         0.16%     1,039.56    0.17%       -12.77         974.10       0.20%        52.69   FICA                                                   5,127.12    0.11%      5,484.42     0.17%       -357.30       4,953.70     0.17%       173.42
            29.24         0.00%        12.23    0.00%        17.01          -2.41       0.00%        31.65   Federal Unemployment Tax                                 221.28    0.00%        191.77     0.01%         29.51         126.00     0.00%        95.28
            97.45         0.02%        81.53    0.01%        15.92          -0.32       0.00%        97.77   State Unemployment Tax                                   737.58    0.02%      1,871.95     0.06%     -1,134.37           5.74     0.00%       731.84
        1,153.48         0.19%     1,133.32    0.19%         20.16        971.37       0.20%       182.11    Total Payroll Taxes                                   6,085.98    0.13%      7,548.14     0.23%     -1,462.16       5,085.44     0.17%     1,000.54
             0.00         0.00%         0.00    0.00%         0.00         602.55       0.12%      -602.55   Holiday                                                    0.00    0.00%          0.00     0.00%          0.00       1,219.03     0.04%    -1,219.03
             0.00         0.00%       512.82    0.09%      -512.82         555.36       0.11%      -555.36   Vacation                                                   0.00    0.00%      2,174.36     0.07%     -2,174.36       6,421.03     0.22%    -6,421.03
             0.00        0.00%       512.82    0.09%      -512.82       1,157.91       0.24%    -1,157.91    Total Supplemental Pay                                     0.00   0.00%      2,174.36     0.07%     -2,174.36       7,640.06     0.26%    -7,640.06
           407.81         0.07%       586.69    0.10%      -178.88         563.86       0.12%      -156.05   Worker's Compensation                                  2,882.89    0.06%      3,117.34     0.09%       -234.45       2,826.84     0.10%        56.05
             0.00         0.00%     1,030.00    0.17%    -1,030.00         664.28       0.14%      -664.28   Group Insurance                                        3,138.39    0.07%      5,150.00     0.16%     -2,011.61       4,734.56     0.16%    -1,596.17
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Bonus and Incentive Pay                                    0.00    0.00%      5,500.00     0.17%     -5,500.00           0.00     0.00%         0.00
          407.81         0.07%     1,616.69    0.27%    -1,208.88       1,228.14       0.25%      -820.33    Total Other Benefits                                  6,021.28    0.13%     13,767.34     0.42%     -7,746.06       7,561.40     0.26%    -1,540.12
        1,561.29         0.25%     3,262.83    0.54%    -1,701.54       3,357.42       0.69%    -1,796.13    Total A&G PR Taxes and Benefits                      12,107.26    0.27%     23,489.84     0.71%    -11,382.58      20,286.90     0.69%    -8,179.64
       15,177.38         2.44%    16,339.05    2.72%    -1,161.67      14,588.69       3.02%       588.69    Total A&G Payroll                                    74,991.40    1.66%     87,507.26     2.65%    -12,515.86      82,391.68     2.81%    -7,400.28
                                                                                                             Other Expenses
         2,645.57         0.42%         0.00    0.00%     2,645.57       3,447.94       0.71%      -802.37   Bad Debt Provision                                    14,478.55    0.32%          0.00     0.00%    14,478.55        4,981.14     0.17%     9,497.41
         1,230.63         0.20%       900.00    0.15%       330.63         973.94       0.20%       256.69   Bank Charges                                           5,234.33    0.12%      4,500.00     0.14%       734.33        4,789.72     0.16%       444.61
            -5.93         0.00%         0.00    0.00%        -5.93           0.00       0.00%        -5.93   Cash Over/Short                                           -0.79    0.00%          0.00     0.00%        -0.79           -9.00     0.00%         8.21
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Central Office - Travel Rebilled                           0.00    0.00%      1,000.00     0.03%    -1,000.00            0.00     0.00%         0.00
         1,000.00         0.16%     1,000.00    0.17%         0.00       3,400.00       0.70%    -2,400.00   Central Office - Accounting Fees                       5,000.00    0.11%      5,000.00     0.15%         0.00       17,000.00     0.58%   -12,000.00
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Contract Labor                                         7,856.80    0.17%          0.00     0.00%     7,856.80            0.00     0.00%     7,856.80
        30,302.48         4.86%    13,272.88    2.21%    17,029.60      13,164.82       2.72%    17,137.66   Credit Card Commission                               129,856.85    2.87%     73,045.20     2.21%    56,811.65       56,098.18     1.91%    73,758.67
           408.68         0.07%       250.00    0.04%       158.68         725.99       0.15%      -317.31   Employee Relations                                     2,679.87    0.06%      2,045.00     0.06%       634.87        2,355.85     0.08%       324.02
             0.00         0.00%       112.00    0.02%      -112.00           0.00       0.00%         0.00   Equipment Rental                                       1,249.76    0.03%        560.00     0.02%       689.76            0.00     0.00%     1,249.76
         1,566.67         0.25%         0.00    0.00%     1,566.67         660.00       0.14%       906.67   Licenses/Permits                                       2,228.35    0.05%      6,790.00     0.21%    -4,561.65        3,243.92     0.11%    -1,015.57
             0.00         0.00%         0.00    0.00%         0.00          36.10       0.01%       -36.10   Miscellaneous Expense                                  1,547.77    0.03%          0.00     0.00%     1,547.77            4.63     0.00%     1,543.14
           323.59         0.05%       300.00    0.05%        23.59         738.21       0.15%      -414.62   Operating Supplies                                     3,622.17    0.08%      1,500.00     0.05%     2,122.17        3,355.80     0.11%       266.37
             0.00         0.00%       539.14    0.09%      -539.14         360.00       0.07%      -360.00   Payroll Service Fees                                   1,664.02    0.04%      2,688.85     0.08%    -1,024.83        1,800.00     0.06%      -135.98
             0.00         0.00%         0.00    0.00%         0.00          23.48       0.00%       -23.48   Postage                                                  297.50    0.01%          0.00     0.00%       297.50          307.25     0.01%        -9.75
           300.00         0.05%       150.00    0.02%       150.00           0.00       0.00%       300.00   Professional Fees - Legal                              1,862.50    0.04%        750.00     0.02%     1,112.50          730.00     0.02%     1,132.50
         5,650.50         0.91%         0.00    0.00%     5,650.50           0.00       0.00%     5,650.50   Professional Fees - Other                             12,802.76    0.28%        650.00     0.02%    12,152.76          270.76     0.01%    12,532.00
           225.00         0.04%        75.00    0.01%       150.00           0.00       0.00%       225.00   Recruitment Advertising                                2,199.25    0.05%        375.00     0.01%     1,824.25            0.00     0.00%     2,199.25
             0.00         0.00%     2,604.00    0.43%    -2,604.00       2,277.07       0.47%    -2,277.07   Security - Outside                                     1,728.00    0.04%     13,020.00     0.39%   -11,292.00       10,375.91     0.35%    -8,647.91
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Training                                               4,308.66    0.10%      3,690.00     0.11%       618.66          129.66     0.00%     4,179.00
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Travel                                                 2,326.01    0.05%        300.00     0.01%     2,026.01            0.00     0.00%     2,326.01
       43,647.19         7.01%    19,203.02    3.20%    24,444.17      25,807.55       5.34%    17,839.64    Total A&G Other Expenses                            200,942.36    4.44%    115,914.05     3.51%    85,028.31      105,433.82     3.59%    95,508.54
       58,824.57         9.44%    35,542.07    5.92%    23,282.50      40,396.24       8.36%    18,428.33    Total A&G Expenses                                  275,933.76    6.09%    203,421.31     6.15%    72,512.45      187,825.50     6.40%    88,108.26




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              PTD        %        PTD Budget   %         Variance   PTD Last Year     %          Variance                                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            IT
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wags
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT Management                                         0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT Non-Management                                     0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT Salaries and Wages                                 0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            PR Taxes and Benefits
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Payroll Taxes                                         0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Supplemental Pay                                      0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total Other Benefits                                        0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT PR Taxes and Benefits                              0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00        0.00%         0.00    0.00%        0.00            0.00      0.00%         0.00    Total IT Payroll                                            0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            Cost of Services
            60.00         0.01%       230.00    0.04%     -170.00          85.00       0.02%       -25.00   Cost of Cell Phones                                      540.00     0.01%     1,150.00      0.03%      -610.00         740.00     0.03%      -200.00
         1,764.99         0.28%     1,700.00    0.28%       64.99       1,627.74       0.34%       137.25   Cost of Internet Services                              8,824.95     0.19%     8,500.00      0.26%       324.95       7,227.70     0.25%     1,597.25
           997.31         0.16%     1,050.00    0.17%      -52.69       1,227.26       0.25%      -229.95   Cost of Calls                                          5,046.19     0.11%     5,250.00      0.16%      -203.81       4,748.81     0.16%       297.38
        2,822.30         0.45%     2,980.00    0.50%     -157.70       2,940.00       0.61%      -117.70    Total IT Cost of Services                            14,411.14     0.32%    14,900.00      0.45%      -488.86      12,716.51     0.43%     1,694.63

                                                                                                            System Costs
         1,977.69         0.32%     2,040.70    0.34%      -63.01         308.31       0.06%     1,669.38   Administrative & General                               7,900.76     0.17%     4,123.50      0.12%     3,777.26       1,541.67     0.05%     6,359.09
             0.00         0.00%       150.00    0.02%     -150.00           0.00       0.00%         0.00   Food & Beverage                                            0.00     0.00%       750.00      0.02%      -750.00           0.00     0.00%         0.00
             0.00         0.00%        50.00    0.01%      -50.00           0.00       0.00%         0.00   Human Resources                                            0.00     0.00%       250.00      0.01%      -250.00           0.00     0.00%         0.00
             0.00         0.00%         0.00    0.00%        0.00         285.83       0.06%      -285.83   Information Security                                       0.00     0.00%         0.00      0.00%         0.00       2,212.49     0.08%    -2,212.49
         1,770.67         0.28%       180.00    0.03%    1,590.67       1,317.38       0.27%       453.29   Information Systems                                    6,779.16     0.15%       900.00      0.03%     5,879.16       7,212.75     0.25%      -433.59
           164.00         0.03%       164.00    0.03%        0.00           0.00       0.00%       164.00   Property Ops & Maintenance                               820.00     0.02%       820.00      0.02%         0.00           0.00     0.00%       820.00
         7,047.27         1.13%     1,000.00    0.17%    6,047.27       1,555.60       0.32%     5,491.67   Rooms                                                 51,844.99     1.14%     5,000.00      0.15%    46,844.99       8,745.64     0.30%    43,099.35
             0.00         0.00%       284.00    0.05%     -284.00         284.29       0.06%      -284.29   Sales & Marketing                                          0.00     0.00%     1,420.00      0.04%    -1,420.00       1,421.45     0.05%    -1,421.45
       10,959.63         1.76%     3,868.70    0.64%    7,090.93       3,751.41       0.78%     7,208.22    Total IT Systems                                     67,344.91     1.49%    13,263.50      0.40%    54,081.41      21,134.00     0.72%    46,210.91

                                                                                                            Other Expenses
             0.00         0.00%        0.00     0.00%       0.00          260.00       0.05%      -260.00   Contract Labor                                             0.00     0.00%        0.00       0.00%         0.00         882.69     0.03%      -882.69
           141.50         0.02%        0.00     0.00%     141.50            0.00       0.00%       141.50   Dues & Subscriptions                                     707.50     0.02%        0.00       0.00%       707.50           0.00     0.00%       707.50
          141.50         0.02%         0.00    0.00%     141.50          260.00       0.05%      -118.50    Total IT Other Expenses                                 707.50     0.02%         0.00      0.00%       707.50         882.69     0.03%      -175.19

       13,923.43         2.24%     6,848.70    1.14%    7,074.73       6,951.41       1.44%     6,972.02    Total IT Expenses                                    82,463.55     1.82%    28,163.50      0.85%    54,300.05      34,733.20     1.18%    47,730.35




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                                                                                                Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD        %        PTD Budget   %          Variance   PTD Last Year     %          Variance                                                               YTD   %        YTD Budget %              Variance   YTD Last Year   %           Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
        13,684.34         2.20%     6,538.11    1.09%    7,146.23        5,769.24       1.19%     7,915.10   Division Management                                   41,366.68    0.91%    32,008.71      0.97%    9,357.97       19,038.47     0.65%    22,328.21
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Sales Managers                                             0.00    0.00%         0.00      0.00%        0.00        6,952.48     0.24%    -6,952.48
       13,684.34         2.20%     6,538.11    1.09%    7,146.23        5,769.24       1.19%     7,915.10    Total S&M Management                                 41,366.68    0.91%    32,008.71      0.97%    9,357.97       25,990.95     0.88%    15,375.73
         3,098.36         0.50%     3,188.57    0.53%       -90.21           0.00       0.00%     3,098.36   Administrative Assistant                              15,999.31    0.35%    15,531.42      0.47%      467.89            0.00     0.00%    15,999.31
        3,098.36         0.50%     3,188.57    0.53%       -90.21            0.00      0.00%     3,098.36    Total S&M Non-Management                             15,999.31    0.35%    15,531.42      0.47%      467.89             0.00    0.00%    15,999.31

       16,782.70         2.69%     9,726.68    1.62%    7,056.02        5,769.24       1.19%    11,013.46    Total S&M Salaries and Wages                         57,365.99    1.27%    47,540.13      1.44%    9,825.86       25,990.95     0.88%    31,375.04

                                                                                                             PR Taxes and Benefits
         1,234.00         0.20%       978.82    0.16%       255.18         570.59       0.12%       663.41   FICA                                                   4,228.41    0.09%     4,150.23      0.13%        78.18       2,116.41     0.07%      2,112.00
            36.68         0.01%        11.52    0.00%        25.16           0.00       0.00%        36.68   Federal Unemployment Tax                                 164.41    0.00%       147.11      0.00%        17.30          84.00     0.00%         80.41
           131.19         0.02%        76.77    0.01%        54.42           0.00       0.00%       131.19   State Unemployment Tax                                   592.52    0.01%     1,355.24      0.04%      -762.72           5.64     0.00%        586.88
        1,401.87         0.23%     1,067.11    0.18%       334.76         570.59       0.12%       831.28    Total Payroll Taxes                                   4,985.34    0.11%     5,652.58      0.17%      -667.24       2,206.05     0.08%      2,779.29
             0.00         0.00%         0.00    0.00%         0.00         288.46       0.06%      -288.46   Holiday                                                    0.00    0.00%         0.00      0.00%         0.00         471.42     0.02%       -471.42
             0.00         0.00%       256.41    0.04%      -256.41         222.11       0.05%      -222.11   Vacation                                                   0.00    0.00%     1,087.18      0.03%    -1,087.18         960.03     0.03%       -960.03
             0.00        0.00%       256.41    0.04%      -256.41         510.57       0.11%      -510.57    Total Supplemental Pay                                     0.00   0.00%     1,087.18      0.03%    -1,087.18       1,431.45     0.05%     -1,431.45
           497.25         0.08%       552.41    0.09%       -55.16         264.65       0.05%       232.60   Worker's Compensation                                  2,453.99    0.05%     2,383.54      0.07%        70.45       1,193.41     0.04%      1,260.58
             0.00         0.00%         0.00    0.00%         0.00           2.79       0.00%        -2.79   Group Insurance                                            0.00    0.00%         0.00      0.00%         0.00         892.51     0.03%       -892.51
             0.00         0.00%     2,812.00    0.47%    -2,812.00           0.00       0.00%         0.00   Bonus and Incentive Pay                                4,000.00    0.09%     5,624.00      0.17%    -1,624.00           0.00     0.00%      4,000.00
          497.25         0.08%     3,364.41    0.56%    -2,867.16         267.44       0.06%       229.81    Total Other Benefits                                  6,453.99    0.14%     8,007.54      0.24%    -1,553.55       2,085.92     0.07%      4,368.07
        1,899.12         0.30%     4,687.93    0.78%    -2,788.81       1,348.60       0.28%       550.52    Total S&M PR Taxes and Benefits                      11,439.33    0.25%    14,747.30      0.45%    -3,307.97       5,723.42     0.19%      5,715.91

       18,681.82         3.00%    14,414.61    2.40%    4,267.21        7,117.84       1.47%    11,563.98    Total S&M Payroll                                    68,805.32    1.52%    62,287.43      1.88%    6,517.89       31,714.37     1.08%    37,090.95

                                                                                                             Other Expenses
             0.00         0.00%       166.00    0.03%      -166.00         644.50       0.13%      -644.50   Advertising General                                        0.00    0.00%       830.00      0.03%      -830.00       3,222.50     0.11%     -3,222.50
           450.00         0.07%     1,815.00    0.30%    -1,365.00           6.62       0.00%       443.38   Advertising-Web/Internet                               2,615.00    0.06%     7,980.00      0.24%    -5,365.00          64.80     0.00%      2,550.20
             0.00         0.00%       100.00    0.02%      -100.00           0.00       0.00%         0.00   Brochures                                                  0.00    0.00%       500.00      0.02%      -500.00           0.00     0.00%          0.00
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Contract Labor                                           500.00    0.01%         0.00      0.00%       500.00           0.00     0.00%        500.00
             0.00         0.00%        50.00    0.01%       -50.00           0.00       0.00%         0.00   Direct Mail                                                0.00    0.00%       250.00      0.01%      -250.00           0.00     0.00%          0.00
         1,487.00         0.24%     1,564.00    0.26%       -77.00       4,029.47       0.83%    -2,542.47   Dues and Subscriptions                                 7,435.00    0.16%     7,820.00      0.24%      -385.00      21,675.25     0.74%    -14,240.25
             0.00         0.00%       100.00    0.02%      -100.00           0.00       0.00%         0.00   Meals and Entertainment                                  240.34    0.01%       500.00      0.02%      -259.66          18.13     0.00%        222.21
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Office Equipment                                           0.00    0.00%         0.00      0.00%         0.00         164.78     0.01%       -164.78
             0.00         0.00%       100.00    0.02%      -100.00           0.00       0.00%         0.00   Operating Supplies                                       385.25    0.01%       500.00      0.02%      -114.75           0.00     0.00%        385.25
             0.00         0.00%         0.00    0.00%         0.00           2.15       0.00%        -2.15   Postage                                                    0.00    0.00%         0.00      0.00%         0.00           2.15     0.00%         -2.15
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Printing and Stationery                                  120.68    0.00%         0.00      0.00%       120.68           0.00     0.00%        120.68
             0.00         0.00%       100.00    0.02%      -100.00           0.00       0.00%         0.00   Promotions - In-house                                      0.00    0.00%       500.00      0.02%      -500.00           0.00     0.00%          0.00
             0.00         0.00%       100.00    0.02%      -100.00           0.00       0.00%         0.00   Promotion - Outside                                        0.00    0.00%       750.00      0.02%      -750.00         187.27     0.01%       -187.27
             0.00         0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Trade Shows                                              645.00    0.01%         0.00      0.00%       645.00           0.00     0.00%        645.00
             0.00         0.00%       100.00    0.02%      -100.00           0.00       0.00%         0.00   Travel                                                   322.13    0.01%       500.00      0.02%      -177.87           0.00     0.00%        322.13
        1,937.00         0.31%     4,195.00    0.70%    -2,258.00       4,682.74       0.97%    -2,745.74    Total S&M Other Expenses                             12,263.40    0.27%    20,130.00      0.61%    -7,866.60      25,334.88     0.86%    -13,071.48

       20,618.82         3.31%    18,609.61    3.10%    2,009.21       11,800.58       2.44%     8,818.24    Total S&M Expenses                                   81,068.72    1.79%    82,417.43      2.49%    -1,348.71      57,049.25     1.94%    24,019.47




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                                                                                                Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                                     P&L - Dual Summary Pages
                                                                                                                           As of 5/31/2022
              PTD        %        PTD Budget   %          Variance   PTD Last Year     %          Variance                                                               YTD   %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             R&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         6,510.98         1.05%     6,129.48    1.02%       381.50       5,000.00       1.03%     1,510.98   Division Management                                   24,524.71    0.54%     30,008.17     0.91%     -5,483.46      26,000.00     0.89%    -1,475.29
        6,510.98         1.05%     6,129.48    1.02%       381.50       5,000.00       1.03%     1,510.98    Total R&M Management                                 24,524.71    0.54%     30,008.17     0.91%     -5,483.46      26,000.00     0.89%    -1,475.29
             0.00         0.00%     3,897.14    0.65%    -3,897.14           0.00       0.00%         0.00   Engineering Supervisor                                     0.00    0.00%     18,982.85     0.57%    -18,982.85           0.00     0.00%         0.00
         7,951.33         1.28%     6,377.14    1.06%     1,574.19         957.50       0.20%     6,993.83   Engineers 1                                           39,803.04    0.88%     31,062.85     0.94%      8,740.19      15,627.07     0.53%    24,175.97
        7,951.33         1.28%    10,274.28    1.71%    -2,322.95         957.50       0.20%     6,993.83    Total R&M Non-Management                             39,803.04    0.88%     50,045.70     1.51%    -10,242.66      15,627.07     0.53%    24,175.97

       14,462.31         2.32%    16,403.76    2.73%    -1,941.45       5,957.50       1.23%     8,504.81    Total R&M Salaries and Wages                         64,327.75    1.42%     80,053.87     2.42%    -15,726.12      41,627.07     1.42%    22,700.68

                                                                                                             PR Taxes and Benefits
         1,103.75         0.18%     1,254.89    0.21%     -151.14          658.73       0.14%       445.02   FICA                                                   4,908.74    0.11%      6,124.12     0.19%     -1,215.38       2,755.10     0.09%     2,153.64
            31.07         0.00%        14.76    0.00%       16.31           23.04       0.00%         8.03   Federal Unemployment Tax                                 193.55    0.00%        220.16     0.01%        -26.61         116.14     0.00%        77.41
           103.56         0.02%        98.42    0.02%        5.14            5.36       0.00%        98.20   State Unemployment Tax                                   645.17    0.01%      2,065.18     0.06%     -1,420.01           7.59     0.00%       637.58
        1,238.38         0.20%     1,368.07    0.23%     -129.69          687.13       0.14%       551.25    Total Payroll Taxes                                   5,747.46    0.13%      8,409.46     0.25%     -2,662.00       2,878.83     0.10%     2,868.63
             0.00         0.00%         0.00    0.00%        0.00          250.00       0.05%      -250.00   Holiday                                                    0.00    0.00%          0.00     0.00%          0.00         668.00     0.02%      -668.00
             0.00         0.00%         0.00    0.00%        0.00         -753.88      -0.16%       753.88   Vacation                                                   0.00    0.00%          0.00     0.00%          0.00         520.18     0.02%      -520.18
             0.00        0.00%          0.00   0.00%         0.00        -503.88      -0.10%       503.88    Total Supplemental Pay                                     0.00   0.00%           0.00    0.00%           0.00      1,188.18     0.04%    -1,188.18
           572.32         0.09%       708.21    0.12%     -135.89          256.15       0.05%       316.17   Worker's Compensation                                  2,765.67    0.06%      3,510.56     0.11%       -744.89       1,744.17     0.06%     1,021.50
            74.01         0.01%         0.00    0.00%       74.01          872.15       0.18%      -798.14   Group Insurance                                          487.71    0.01%          0.00     0.00%        487.71       3,787.27     0.13%    -3,299.56
          646.33         0.10%       708.21    0.12%       -61.88       1,128.30       0.23%      -481.97    Total Other Benefits                                  3,253.38    0.07%      3,510.56     0.11%       -257.18       5,531.44     0.19%    -2,278.06
        1,884.71         0.30%     2,076.28    0.35%     -191.57        1,311.55       0.27%       573.16    Total R&M PR Taxes and Benefits                       9,000.84    0.20%     11,920.02     0.36%     -2,919.18       9,598.45     0.33%      -597.61

       16,347.02         2.62%    18,480.04    3.08%    -2,133.02       7,269.05       1.50%     9,077.97    Total R&M Payroll                                    73,328.59    1.62%     91,973.89     2.78%    -18,645.30      51,225.52     1.74%    22,103.07

                                                                                                             Other Expenses
         1,761.59         0.28%       700.00    0.12%    1,061.59        5,352.00       1.11%    -3,590.41   Air Conditioning and Refrigeration                     8,837.39    0.20%      3,500.00     0.11%     5,337.39        7,568.56     0.26%     1,268.83
           335.91         0.05%       750.00    0.12%     -414.09          467.09       0.10%      -131.18   Building                                              10,778.16    0.24%      3,750.00     0.11%     7,028.16        1,488.15     0.05%     9,290.01
         2,096.08         0.34%         0.00    0.00%    2,096.08        1,390.08       0.29%       706.00   Contract Labor                                         2,096.08    0.05%          0.00     0.00%     2,096.08        6,950.40     0.24%    -4,854.32
         1,124.97         0.18%       200.00    0.03%      924.97          276.79       0.06%       848.18   Electric Bulbs                                         2,747.68    0.06%      1,000.00     0.03%     1,747.68        1,343.12     0.05%     1,404.56
             0.00         0.00%       300.00    0.05%     -300.00            0.00       0.00%         0.00   Electrical and Mechanical                                402.16    0.01%      1,500.00     0.05%    -1,097.84          159.35     0.01%       242.81
             0.00         0.00%         0.00    0.00%        0.00           80.50       0.02%       -80.50   Elevator Maintenance Contracts                             0.00    0.00%          0.00     0.00%         0.00        1,624.75     0.06%    -1,624.75
             0.00         0.00%       889.00    0.15%     -889.00            0.00       0.00%         0.00   Fire Safety Equipment                                  4,124.05    0.09%      2,165.00     0.07%     1,959.05        2,263.25     0.08%     1,860.80
         2,540.00         0.41%     2,363.00    0.39%      177.00        4,263.00       0.88%    -1,723.00   Grounds and Landscaping                               13,955.00    0.31%     11,815.00     0.36%     2,140.00       15,063.28     0.51%    -1,108.28
             0.00         0.00%       100.00    0.02%     -100.00            0.00       0.00%         0.00   Kitchen Equipment Repairs                                108.10    0.00%        500.00     0.02%      -391.90        1,494.69     0.05%    -1,386.59
         3,081.00         0.49%       200.00    0.03%    2,881.00            0.00       0.00%     3,081.00   Laundry Equipment Repairs                              5,955.50    0.13%      1,000.00     0.03%     4,955.50        1,589.99     0.05%     4,365.51
             0.00         0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Licenses/Permits                                          10.00    0.00%          0.00     0.00%        10.00            0.00     0.00%        10.00
             0.00         0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Miscellaneous Expense                                  4,112.15    0.09%          0.00     0.00%     4,112.15            0.00     0.00%     4,112.15
           790.74         0.13%       100.00    0.02%      690.74           74.10       0.02%       716.64   Operating Supplies                                     5,832.46    0.13%        500.00     0.02%     5,332.46        1,066.81     0.04%     4,765.65
             0.00         0.00%       100.00    0.02%     -100.00           99.34       0.02%       -99.34   Painting and Decorating                                    0.00    0.00%        500.00     0.02%      -500.00          264.82     0.01%      -264.82
             0.00         0.00%       276.00    0.05%     -276.00            0.00       0.00%         0.00   Pest Control                                             750.00    0.02%      1,380.00     0.04%      -630.00            0.00     0.00%       750.00
             0.00         0.00%       300.00    0.05%     -300.00          410.90       0.08%      -410.90   Plumbing and Heating                                   4,568.58    0.10%      1,500.00     0.05%     3,068.58        3,943.93     0.13%       624.65
         1,143.22         0.18%     1,011.00    0.17%      132.22        1,087.91       0.23%        55.31   Pool Service- Contract                                 8,473.80    0.19%      5,055.00     0.15%     3,418.80        4,097.15     0.14%     4,376.65
             0.00         0.00%         0.00    0.00%        0.00            0.00       0.00%         0.00   Radio and Television Repair                            3,507.23    0.08%          0.00     0.00%     3,507.23            0.00     0.00%     3,507.23
           130.59         0.02%         0.00    0.00%      130.59            0.00       0.00%       130.59   Tools                                                    511.40    0.01%          0.00     0.00%       511.40            0.00     0.00%       511.40
             0.00         0.00%       100.00    0.02%     -100.00            0.00       0.00%         0.00   Uniforms                                                  36.36    0.00%        500.00     0.02%      -463.64            0.00     0.00%        36.36
            20.00         0.00%         0.00    0.00%       20.00            0.00       0.00%        20.00   Vehicle Maintenance & Repairs                             30.00    0.00%          0.00     0.00%        30.00            0.00     0.00%        30.00
             0.00         0.00%       959.00    0.16%     -959.00          674.33       0.14%      -674.33   Waste Removal                                          6,419.58    0.14%      4,795.00     0.15%     1,624.58        3,009.37     0.10%     3,410.21
       13,024.10         2.09%     8,348.00    1.39%    4,676.10       14,176.04       2.93%    -1,151.94    Total R&M Other Expenses                             83,255.68    1.84%     39,460.00     1.19%    43,795.68       51,927.62     1.77%    31,328.06

       29,371.12         4.71%    26,828.04    4.47%    2,543.08       21,445.09       4.44%     7,926.03    Total R&M Expenses                                  156,584.27    3.46%    131,433.89     3.98%    25,150.38      103,153.14     3.51%    53,431.13




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                                                                                    Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 741 of 776
                                                                                               Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                                    P&L - Dual Summary Pages
                                                                                                                          As of 5/31/2022
              PTD        %        PTD Budget   %         Variance   PTD Last Year     %          Variance                                                               YTD   %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                            Utilities
         4,802.48         0.77%     6,424.30    1.07%   -1,621.82       7,805.57       1.61%    -3,003.09   Water                                                 25,826.38    0.57%     28,604.20     0.87%    -2,777.82      29,474.97     1.00%   -3,648.59
        17,919.88         2.88%    14,171.25    2.36%    3,748.63      14,516.17       3.00%     3,403.71   Electricity                                           53,554.77    1.18%     63,097.50     1.91%    -9,542.73      46,240.22     1.57%    7,314.55
         3,278.31         0.53%     2,872.04    0.48%      406.27       3,118.04       0.64%       160.27   Gas - Natural HLP                                     20,329.72    0.45%     12,787.76     0.39%     7,541.96      15,712.60     0.53%    4,617.12
       26,000.67         4.17%    23,467.59    3.91%    2,533.08      25,439.78       5.26%       560.89    Total Utilities                                      99,710.87    2.20%    104,489.46     3.16%    -4,778.59      91,427.79     3.11%    8,283.08




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                                                                                      Case 1:20-cv-06089-JGK Document 110 Filed 06/27/22 Page 742 of 776
                                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
              PTD        %     PTD Budget    %            Variance    PTD Last Year     %            Variance                                                              YTD   %         YTD Budget %                Variance    YTD Last Year    %            Variance

                                                                                                                 Fixed
           781.74      0.13%         0.00     0.00%         781.74            0.00       0.00%          781.74   Personal Property Taxes                              3,908.70     0.09%          0.00     0.00%       3,908.70            0.00      0.00%       3,908.70
        30,765.32      4.94%    29,903.00     4.98%         862.32       29,903.00       6.19%          862.32   Real Estate Taxes                                   49,903.48     1.10%    149,515.00     4.52%     -99,611.52      149,515.00      5.09%     -99,611.52
       31,547.06      5.06%    29,903.00     4.98%       1,644.06       29,903.00       6.19%        1,644.06    Total Taxes                                        53,812.18     1.19%    149,515.00     4.52%     -95,702.82      149,515.00      5.09%     -95,702.82
             0.00      0.00%         0.00     0.00%            0.00         390.00       0.08%         -390.00   Insurance                                                0.00     0.00%          0.00     0.00%            0.00       1,950.00      0.07%      -1,950.00
           321.70      0.05%       322.42     0.05%           -0.72           0.00       0.00%          321.70   Insurance - Automobile                               1,608.50     0.04%      1,612.10     0.05%           -3.60           0.00      0.00%       1,608.50
           142.10      0.02%       681.33     0.11%        -539.23            0.00       0.00%          142.10   Insurance - Employment                                 710.50     0.02%      3,406.65     0.10%      -2,696.15            0.00      0.00%         710.50
         3,128.70      0.50%     3,134.42     0.52%           -5.72       5,491.89       1.14%       -2,363.19   Insurance - General Liability                       15,643.50     0.35%     15,672.10     0.47%         -28.60       27,459.45      0.93%     -11,815.95
         7,043.73      1.13%     2,794.50     0.47%       4,249.23        6,973.01       1.44%           70.72   Insurance - Property                                35,218.65     0.78%     13,972.50     0.42%      21,246.15       35,001.58      1.19%         217.07
             0.00      0.00%     1,093.33     0.18%      -1,093.33            0.00       0.00%            0.00   Insurance - Umbrella                                     0.00     0.00%      5,466.65     0.17%      -5,466.65            0.00      0.00%           0.00
       10,636.23      1.71%     8,026.00     1.34%       2,610.23       12,854.90       2.66%       -2,218.67    Total Insurance                                    53,181.15     1.17%     40,130.00     1.21%      13,051.15       64,411.03      2.19%     -11,229.88
        84,557.00     13.57%    84,557.28    14.08%           -0.28      83,652.91      17.30%          904.09   Ground Lease Expense                               422,785.00     9.34%    422,786.40    12.79%           -1.40     416,785.82     14.19%       5,999.18
       84,557.00     13.57%    84,557.28    14.08%           -0.28      83,652.91      17.30%          904.09    Total Leases & Rent                               422,785.00     9.34%    422,786.40    12.79%           -1.40     416,785.82     14.19%       5,999.18
        19,188.00      3.08%    18,017.49     3.00%       1,170.51       14,503.58       3.00%        4,684.42   Management Fee - Base                              138,367.51     3.06%     99,156.39     3.00%      39,211.12       88,114.63      3.00%      50,252.88
       19,188.00      3.08%    18,017.49     3.00%       1,170.51       14,503.58       3.00%        4,684.42    Total Management Fees                             138,367.51     3.06%     99,156.39     3.00%      39,211.12       88,114.63      3.00%      50,252.88
         5,093.65      0.82%         0.00     0.00%       5,093.65            0.00       0.00%        5,093.65   Capital Reserve                                    121,728.03     2.69%          0.00     0.00%     121,728.03            0.00      0.00%     121,728.03
      -255,414.33    -41.00%         0.00     0.00%    -255,414.33            0.00       0.00%    -255,414.33    Extraordinary Expense                             -255,414.33    -5.64%          0.00     0.00%    -255,414.33            0.00      0.00%    -255,414.33
             0.00      0.00%         0.00     0.00%            0.00         300.00       0.06%         -300.00   Prior Owner's Expense                               13,149.32     0.29%          0.00     0.00%      13,149.32        1,184.65      0.04%      11,964.67
     -250,320.68    -40.18%          0.00    0.00%    -250,320.68          300.00       0.06%    -250,620.68     Total Other Non-Operating                        -120,536.98    -2.66%           0.00    0.00%    -120,536.98        1,184.65      0.04%    -121,721.63




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                                                                                                       Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                                       P&L - Dual Summary Pages
                                                                                                                             As of 5/31/2022
             PTD      %        PTD Budget      %           Variance   PTD Last Year     %            Variance                                                                 YTD       %          YTD Budget %                 Variance   YTD Last Year     %             Variance

                                                                                                                Statistics
           120.00                   120.00                     0.00         120.00                       0.00   # Rooms                                                     120.00                     120.00                       0.00         120.00                        0.00
         3,720.00                 3,720.00                     0.00       3,720.00                       0.00   Available Rooms                                          18,120.00                  18,120.00                       0.00      18,120.00                        0.00
         2,248.00                 2,473.00                  -225.00       2,858.00                    -610.00   Room Nights Sold                                          7,451.00                   9,312.00                  -1,861.00      10,575.00                   -3,124.00
          60.43%                   66.48%                   -6.05%         76.83%                    -16.40%    Occupancy %                                                41.12%                     51.39%                    -10.27%         58.36%                     -17.24%
           131.85                   192.89                   -61.04         130.23                       1.62   ADR                                                         127.94                     158.93                     -30.99         120.43                        7.51
            79.68                   128.23                   -48.56         100.05                     -20.38   RevPar                                                       52.61                      81.68                     -29.06          70.29                      -17.67

                                                                                                                Summary V.11
                                                                                                                Revenue
       296,398.55    98.98%     477,026.00    99.66%    -180,627.45     372,194.32     99.81%      -75,795.77   Rooms                                                   953,308.48     99.11%     1,479,954.00    99.59%     -526,645.52    1,273,572.00    99.48%     -320,263.52
             0.00     0.00%           0.00     0.00%           0.00           0.00      0.00%            0.00   F&B                                                           0.00      0.00%             0.00     0.00%            0.00            0.00     0.00%            0.00
         3,068.04     1.02%       1,640.10     0.34%       1,427.94         701.84      0.19%        2,366.20   Other Departments                                         8,606.89      0.89%         6,047.80     0.41%        2,559.09        6,622.88     0.52%        1,984.01

      299,466.59    100.00%    478,666.10    100.00%   -179,199.51     372,896.16     100.00%     -73,429.57    Total Operating Revenue                             961,915.37       100.00%     1,486,001.80 100.00%       -524,086.43    1,280,194.88 100.00%       -318,279.51

                                                                                                                Departmental Expenses
        80,599.14    27.19%     100,769.78    21.12%     -20,170.64      46,605.68     12.52%      33,993.46    Rooms                                                   365,699.91     38.36%      426,087.06     28.79%      -60,387.15     234,545.76     18.42%      131,154.15
             0.00     0.00%           0.00     0.00%           0.00           0.00      0.00%           0.00    F&B                                                           0.00      0.00%            0.00      0.00%            0.00           5.30      0.00%           -5.30
         1,458.77    47.55%       1,070.54    65.27%         388.23          67.36      9.60%       1,391.41    Other Departments                                         5,702.32     66.25%        3,947.58     65.27%        1,754.74       2,217.12     33.48%        3,485.20

       82,057.91     27.40%    101,840.32    21.28%     -19,782.41      46,673.04      12.52%      35,384.87    Total Departmental Expenses                         371,402.23        38.61%      430,034.64     28.94%      -58,632.41     236,768.18     18.49%      134,634.05

      217,408.68     72.60%    376,825.78    78.72%    -159,417.10     326,223.12      87.48%    -108,814.44    Total Departmental Profit                           590,513.14        61.39%     1,055,967.16    71.06%     -465,454.02    1,043,426.70    81.51%     -452,913.56

                                                                                                                Undistributed Operating Expenses
        32,228.47    10.76%      36,480.50     7.62%      -4,252.03      34,518.88      9.26%       -2,290.41   A&G                                                     142,999.15     14.87%      169,451.01     11.40%      -26,451.86     156,359.69     12.21%       -13,360.54
         8,706.59     2.91%       2,390.70     0.50%       6,315.89       5,211.82      1.40%        3,494.77   IT                                                       34,892.39      3.63%        5,873.50      0.40%       29,018.89      25,234.89      1.97%         9,657.50
        11,007.75     3.68%      10,847.66     2.27%         160.09      11,307.09      3.03%         -299.34   S&M                                                      55,895.82      5.81%       64,891.40      4.37%       -8,995.58      56,102.72      4.38%          -206.90
        28,588.55     9.55%      42,932.34     8.97%     -14,343.79      31,250.57      8.38%       -2,662.02   Franchise Fees                                           94,788.74      9.85%      133,195.86      8.96%      -38,407.12     121,094.17      9.46%       -26,305.43
        18,453.20     6.16%      20,467.69     4.28%      -2,014.49      10,658.83      2.86%        7,794.37   R&M                                                      92,007.18      9.56%       91,030.45      6.13%          976.73      53,081.21      4.15%        38,925.97
        17,081.99     5.70%      19,289.13     4.03%      -2,207.14      12,119.00      3.25%        4,962.99   Utilities                                                75,658.39      7.87%       71,127.87      4.79%        4,530.52      81,626.78      6.38%        -5,968.39

      116,066.55     38.76%    132,408.02    27.66%     -16,341.47     105,066.19      28.18%      11,000.36    Total Undistributed Expenses                        496,241.67        51.59%      535,570.09     36.04%      -39,328.42     493,499.46     38.55%         2,742.21

      101,342.13     33.84%    244,417.76    51.06%    -143,075.63     221,156.93      59.31%    -119,814.80    Gross Operating Profit                                  94,271.47       9.80%     520,397.07     35.02%     -426,125.60     549,927.24     42.96%     -455,655.77
         9,484.00      3.17%     14,359.98     3.00%      -4,875.98      11,189.83       3.00%      -1,705.83   Management Fees                                          32,292.61       3.36%      44,580.05      3.00%      -12,287.44      38,416.21      3.00%       -6,123.60
       91,858.13     30.67%    230,057.78    48.06%    -138,199.65     209,967.10      56.31%    -118,108.97    Income Before Non-Operating Income and Expenses         61,978.86       6.44%     475,817.02     32.02%     -413,838.16     511,511.03     39.96%     -449,532.17

                                                                                                                Non-Operating Income and Expenses
        12,068.69      4.03%      5,967.59     1.25%       6,101.10       7,357.55       1.97%       4,711.14   Insurance                                              45,138.85        4.69%       29,837.95      2.01%       15,300.90      35,917.13      2.81%        9,221.72
        89,116.00     29.76%    100,949.33    21.09%     -11,833.33      84,163.63      22.57%       4,952.37   Leases & Rent                                         445,580.00       46.32%      504,746.65     33.97%      -59,166.65     420,818.15     32.87%       24,761.85
        70,096.47     23.41%          0.00     0.00%      70,096.47       3,316.13       0.89%      66,780.34   Other                                                 770,274.87       80.08%            0.00      0.00%      770,274.87      23,731.75      1.85%      746,543.12
      171,281.16     57.20%    106,916.92    22.34%      64,364.24      94,837.31      25.43%      76,443.85    Total Non-Operating Income and Expenses            1,260,993.72      131.09%      534,584.60     35.97%      726,409.12     480,467.03     37.53%      780,526.69

      -79,423.03    -26.52%    123,140.86    25.73%    -202,563.89     115,129.79      30.87%    -194,552.82    EBITDA                                            -1,199,014.86      -124.65%     -58,767.58     -3.95%    -1,140,247.28     31,044.00      2.42%    -1,230,058.86
             0.00      0.00%          0.00     0.00%          0.00       85,052.93      22.81%     -85,052.93   Interest                                                    0.00         0.00%           0.00      0.00%            0.00     425,264.65     33.22%      -425,264.65
        52,000.00     17.36%     52,000.00    10.86%          0.00       52,000.00      13.94%           0.00   Taxes                                                 260,000.00        27.03%     260,000.00     17.50%            0.00     260,000.00     20.31%             0.00
       52,000.00     17.36%     52,000.00    10.86%           0.00     137,052.93      36.75%     -85,052.93    Interest, Taxes, Depreciation and Amortization       260,000.00        27.03%     260,000.00     17.50%             0.00    685,264.65     53.53%      -425,264.65

     -131,423.03    -43.89%     71,140.86    14.86%    -202,563.89     -21,923.14      -5.88%    -109,499.89    Net Income                                        -1,459,014.86      -151.68%    -318,767.58 -21.45%       -1,140,247.28   -654,220.65     -51.10%    -804,794.21




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                                                                                                   Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                                   P&L - Dual Summary Pages
                                                                                                                         As of 5/31/2022
             PTD      %       PTD Budget    %           Variance   PTD Last Year     %           Variance                                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                            Statistics
           120.00                 120.00                   0.00          120.00                     0.00    # Rooms                                                     120.00                  120.00                     0.00         120.00                     0.00
         3,720.00               3,720.00                   0.00        3,720.00                     0.00    Available Rooms                                          18,120.00               18,120.00                     0.00      18,120.00                     0.00
         2,248.00               2,473.00                -225.00        2,858.00                  -610.00    Room Nights Sold                                          7,451.00                9,312.00                -1,861.00      10,575.00                -3,124.00
             0.60                   0.66                  -0.06            0.77                    -0.16    Occupancy %                                                   0.41                    0.51                    -0.10           0.58                    -0.17
           131.85                 192.89                 -61.04          130.23                     1.62    ADR                                                         127.94                  158.93                   -30.99         120.43                     7.51
            79.68                 128.23                 -48.56          100.05                   -20.38    RevPar                                                       52.61                   81.68                   -29.06          70.29                   -17.67

                                                                                                            Summary
                                                                                                            Revenue:
       296,398.55    98.98%   477,026.00   99.66%    -180,627.45     372,194.32     99.81%     -75,795.77   Rooms                                                   953,308.48   99.11%    1,479,954.00    99.59%   -526,645.52   1,273,572.00    99.48%    -320,263.52
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%           0.00   Food                                                          0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%           0.00   Beverage                                                      0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%           0.00   Other F&B Revenue                                             0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%           0.00   Telephone                                                     0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
         3,068.04     1.02%     1,640.10    0.34%       1,427.94         701.84      0.19%       2,366.20   Other                                                     8,606.89    0.89%        6,047.80     0.41%      2,559.09       6,622.88     0.52%       1,984.01

       299,466.59   100.00%   478,666.10   100.00%   -179,199.51     372,896.16     100.00%    -73,429.57   Total Revenue                                           961,915.37   100.00%   1,486,001.80   100.00%   -524,086.43   1,280,194.88    100.00%   -318,279.51



                                                                                                            Cost of Sales:
             0.00     0.00%         0.00    0.00%          0.00            0.00      0.00%           0.00   Food                                                          0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%          0.00            0.00      0.00%           0.00   Beverage                                                      0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%          0.00            0.00      0.00%           0.00   Other F&B                                                     0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%          0.00            0.00      0.00%           0.00   Telephone                                                     0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
         1,458.77    47.55%     1,070.54   65.27%        388.23           67.36      9.60%       1,391.41   Other                                                     5,702.32   66.25%        3,947.58    65.27%      1,754.74       2,217.12    33.48%       3,485.20

         1,458.77    47.55%     1,070.54   65.27%        388.23           67.36      9.60%       1,391.41   Total Cost of Sales                                       5,702.32   66.25%        3,947.58    65.27%      1,754.74       2,217.12    33.48%       3,485.20



                                                                                                            Payroll:
        31,564.21    10.65%    56,615.40   11.87%     -25,051.19      33,579.19      9.02%      -2,014.98   Rooms                                                   127,989.47   13.43%     254,459.62     17.19%   -126,470.15     150,024.76    11.78%     -22,035.29
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%           0.00   F&B                                                           0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%           0.00   Other                                                         0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%           0.00
         8,176.11     2.73%    12,749.32    2.66%      -4,573.21       9,949.59      2.67%      -1,773.48   A&G                                                      39,823.88    4.14%      62,417.00      4.20%    -22,593.12      50,019.04     3.91%     -10,195.16
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%           0.00   IT                                                            0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%           0.00
         7,537.08     2.52%     6,252.07    1.31%       1,285.01       5,728.00      1.54%       1,809.08   S&M                                                      36,712.97    3.82%      30,608.34      2.06%      6,104.63      30,072.00     2.35%       6,640.97
         9,014.99     3.01%     9,754.89    2.04%        -739.90       3,454.95      0.93%       5,560.04   R&M                                                      46,960.63    4.88%      47,616.87      3.20%       -656.24      18,674.92     1.46%      28,285.71
        56,292.39    18.80%    85,371.68   17.84%     -29,079.29      52,711.73     14.14%       3,580.66   Total Salaries and Wages                                251,486.95   26.14%     395,101.83     26.59%   -143,614.88     248,790.72    19.43%       2,696.23

         8,257.38     2.76%    14,556.63    3.04%      -6,299.25       8,268.60      2.22%         -11.22   Total Taxes and Benefits                                 40,382.72    4.20%      84,534.26      5.69%    -44,151.54      40,850.39     3.19%        -467.67
        64,549.77    21.55%    99,928.31   20.88%     -35,378.54      60,980.33     16.35%       3,569.44   Total Labor Costs                                       291,869.67   30.34%     479,636.09     32.28%   -187,766.42     289,641.11    22.62%       2,228.56



                                                                                                            Direct Expenses:
        44,417.58    14.99%    35,513.89    7.44%       8,903.69      10,129.54      2.72%     34,288.04    Rooms                                                   218,136.52   22.88%     126,530.69     8.55%      91,605.83      70,069.93     5.50%    148,066.59
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%          0.00    F&B                                                           0.00    0.00%           0.00     0.00%           0.00           5.30     0.00%         -5.30
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%          0.00    Telephone                                                     0.00    0.00%           0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00      0.00%          0.00    Other                                                         0.00    0.00%           0.00     0.00%           0.00           0.00     0.00%          0.00
        28,588.55     9.55%    42,932.34    8.97%     -14,343.79      31,250.57      8.38%     -2,662.02    Franchise Fees                                           94,788.74    9.85%     133,195.86     8.96%     -38,407.12     121,094.17     9.46%    -26,305.43
        23,056.01     7.70%    19,917.26    4.16%       3,138.75      21,818.88      5.85%      1,237.13    A&G                                                      95,000.34    9.88%      87,007.29     5.86%       7,993.05      93,141.91     7.28%      1,858.43
         8,706.59     2.91%     2,390.70    0.50%       6,315.89       5,211.82      1.40%      3,494.77    IT                                                       34,892.39    3.63%       5,873.50     0.40%      29,018.89      25,234.89     1.97%      9,657.50
         2,583.96     0.86%     3,608.00    0.75%      -1,024.04       4,328.32      1.16%     -1,744.36    S&M                                                      14,258.16    1.48%      21,445.00     1.44%      -7,186.84      19,797.70     1.55%     -5,539.54
         7,681.24     2.56%     9,598.17    2.01%      -1,916.93       5,833.41      1.56%      1,847.83    R&M                                                      37,337.37    3.88%      36,840.85     2.48%         496.52      27,438.73     2.14%      9,898.64
        17,081.99     5.70%    19,289.13    4.03%      -2,207.14      12,119.00      3.25%      4,962.99    Utilities                                                75,658.39    7.87%      71,127.87     4.79%       4,530.52      81,626.78     6.38%     -5,968.39

       132,115.92    44.12%   133,249.49   27.84%      -1,133.57      90,691.54     24.32%     41,424.38    Total Direct Expense                                    570,071.91   59.26%     482,021.06     32.44%    88,050.85      438,409.41    34.25%    131,662.50

       101,342.13    33.84%   244,417.76   51.06%    -143,075.63     221,156.93     59.31%    -119,814.80   Gross Operating Profit                                   94,271.47    9.80%     520,397.07     35.02%   -426,125.60     549,927.24    42.96%    -455,655.77

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                                                                                                   Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %           Variance   PTD Last Year     %           Variance                                                                 YTD      %        YTD Budget %                 Variance   YTD Last Year    %           Variance




                                                                                                            Fixed Costs
        52,000.00    17.36%     52,000.00   10.86%          0.00      52,000.00     13.94%           0.00   Taxes                                                   260,000.00    27.03%    260,000.00     17.50%           0.00      260,000.00    20.31%          0.00
        12,068.69     4.03%      5,967.59    1.25%      6,101.10       7,357.55      1.97%       4,711.14   Insurance                                                45,138.85     4.69%     29,837.95      2.01%      15,300.90       35,917.13     2.81%      9,221.72
        89,116.00    29.76%    100,949.33   21.09%    -11,833.33      84,163.63     22.57%       4,952.37   Leases & Rent                                           445,580.00    46.32%    504,746.65     33.97%     -59,166.65      420,818.15    32.87%     24,761.85
         9,484.00     3.17%     14,359.98    3.00%     -4,875.98      11,189.83      3.00%      -1,705.83   Management Fees                                          32,292.61     3.36%     44,580.05      3.00%     -12,287.44       38,416.21     3.00%     -6,123.60

       162,668.69    54.32%    173,276.90   36.20%    -10,608.21     154,711.01     41.49%       7,957.68   Total Fixed Expenses                                    783,011.46    81.40%    839,164.65     56.47%     -56,153.19      755,151.49    58.99%     27,859.97

       -61,326.56    -20.48%    71,140.86   14.86%   -132,467.42      66,445.92     17.82%    -127,772.48   Net Operating Profit                                -688,739.99       -71.60%   -318,767.58   -21.45%    -369,972.41     -205,224.25    -16.03%   -483,515.74



             0.00      0.00%         0.00   0.00%           0.00      65,052.93     17.45%     -65,052.93   Interest - First Mortgage                                  0.00         0.00%          0.00    0.00%            0.00      325,264.65    25.41%    -325,264.65
             0.00      0.00%         0.00   0.00%           0.00      20,000.00      5.36%     -20,000.00   Interest - Notes Payable                                   0.00         0.00%          0.00    0.00%            0.00      100,000.00     7.81%    -100,000.00
      -156,770.94    -52.35%         0.00   0.00%    -156,770.94           0.00      0.00%    -156,770.94   Extraordinary Expense                               -156,770.94       -16.30%          0.00    0.00%     -156,770.94            0.00     0.00%    -156,770.94
             0.00      0.00%         0.00   0.00%           0.00       3,316.13      0.89%      -3,316.13   Prior Owner's Expense                                      0.00         0.00%          0.00    0.00%            0.00       23,731.75     1.85%     -23,731.75



        95,444.38    31.87%     71,140.86   14.86%    24,303.52      -21,923.14      -5.88%   117,367.52    Net Operating Income                                -531,969.05       -55.30%   -318,767.58   -21.45%    -213,201.47     -654,220.65    -51.10%   122,251.60

       226,867.41    75.76%          0.00   0.00%    226,867.41            0.00      0.00%    226,867.41    Capital Reserve                                         927,045.81    96.37%           0.00    0.00%      927,045.81            0.00     0.00%    927,045.81

      -131,423.03    -43.89%    71,140.86   14.86%   -202,563.89     -21,923.14      -5.88%   -109,499.89   Adjusted NOI                                       -1,459,014.86     -151.68%   -318,767.58   -21.45%   -1,140,247.28    -654,220.65    -51.10%   -804,794.21




      -131,423.03    -43.89%    71,140.86   14.86%   -202,563.89     -21,923.14      -5.88%   -109,499.89   Net Profit/(Loss)                                  -1,459,014.86     -151.68%   -318,767.58   -21.45%   -1,140,247.28    -654,220.65    -51.10%   -804,794.21




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                                                                                                      Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                                            As of 5/31/2022
             PTD      %        PTD Budget      %           Variance   PTD Last Year     %           Variance                                                                 YTD     %          YTD Budget %                Variance   YTD Last Year    %           Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
        78,131.82    26.36%    120,690.00     25.30%     -42,558.18       1,006.20      0.27%      77,125.62   Corporate Transient                                     298,265.55    31.29%     379,190.00     25.62%    -80,924.45        3,256.20     0.26%    295,009.35
        11,145.05     3.76%      7,740.00      1.62%       3,405.05       4,451.60      1.20%       6,693.45   Advanced Purchase                                        34,912.36     3.66%      18,977.00      1.28%     15,935.36       45,015.65     3.53%    -10,103.29
        37,953.72    12.80%     60,957.00     12.78%     -23,003.28      21,755.85      5.85%      16,197.87   Qualified Discounts                                      78,480.09     8.23%     166,822.00     11.27%    -88,341.91       64,804.99     5.09%     13,675.10
             0.00     0.00%          0.00      0.00%           0.00         858.60      0.23%        -858.60   FIT(Flexible Independent Travel)                              0.00     0.00%           0.00      0.00%          0.00        5,059.28     0.40%     -5,059.28
         2,007.00     0.68%      6,237.00      1.31%      -4,230.00       3,122.00      0.84%      -1,115.00   Employee                                                 10,248.35     1.08%      35,091.00      2.37%    -24,842.65       38,937.75     3.06%    -28,689.40
         4,084.25     1.38%      2,970.00      0.62%       1,114.25       2,176.10      0.58%       1,908.15   Travel Agent/Friends & Family                             9,565.40     1.00%      22,254.00      1.50%    -12,688.60        8,894.15     0.70%        671.25
             0.00     0.00%          0.00      0.00%           0.00           0.00      0.00%           0.00   Leisure Package Transient                                     0.00     0.00%           0.00      0.00%          0.00          988.00     0.08%       -988.00
         3,434.00     1.16%      2,400.00      0.50%       1,034.00       2,852.00      0.77%         582.00   Member Reward Stay                                        6,596.00     0.69%       8,000.00      0.54%     -1,404.00       10,717.00     0.84%     -4,121.00
             0.00     0.00%     21,464.00      4.50%     -21,464.00           0.00      0.00%           0.00   Non Qualified Discounts                                  10,385.00     1.09%      55,024.00      3.72%    -44,639.00            0.00     0.00%     10,385.00
        17,601.29     5.94%     33,475.00      7.02%     -15,873.71      13,744.72      3.69%       3,856.57   Internet/E-Commerce                                      77,447.79     8.12%      85,105.00      5.75%     -7,657.21       86,279.53     6.77%     -8,831.74
           557.95     0.19%          0.00      0.00%         557.95           0.00      0.00%         557.95   E-Commerce Opaque                                           557.95     0.06%           0.00      0.00%        557.95          804.63     0.06%       -246.68
        17,608.92     5.94%     47,413.00      9.94%     -29,804.08      34,635.45      9.31%     -17,026.53   Government Transient                                     61,767.79     6.48%     188,423.00     12.73%   -126,655.21       98,371.74     7.72%    -36,603.95
        94,442.05    31.86%    138,770.00     29.09%     -44,327.95      35,688.96      9.59%      58,753.09   Rack Transient                                          273,062.29    28.64%     405,553.00     27.40%   -132,490.71      180,889.85    14.20%     92,172.44
             0.00     0.00%     30,545.00      6.40%     -30,545.00     210,657.51     56.60%    -210,657.51   Local Negotiated Transient                                4,995.40     0.52%      42,542.00      2.87%    -37,546.60      545,301.31    42.82%   -540,305.91

      266,966.05     90.07%    472,661.00    99.08%    -205,694.95     330,948.99      88.92%    -63,982.94    Total Transient Room Revenue                        866,283.97       90.87%    1,406,981.00   95.07%     -540,697.03    1,089,320.08    85.53%   -223,036.11

                                                                                                               Group Room Revenue
        24,775.00     8.36%           0.00     0.00%     24,775.00            0.00      0.00%      24,775.00   Corporate Group                                          67,635.00     7.09%       3,129.00     0.21%       64,506.00           0.00     0.00%     67,635.00
             0.00     0.00%           0.00     0.00%          0.00            0.00      0.00%           0.00   Leisure Group                                                 0.00     0.00%       2,380.00     0.16%       -2,380.00           0.00     0.00%          0.00
             0.00     0.00%           0.00     0.00%          0.00       40,912.00     10.99%     -40,912.00   Government Group                                          2,737.00     0.29%      43,784.00     2.96%      -41,047.00     180,524.00    14.17%   -177,787.00
         3,537.50     1.19%       3,075.00     0.64%        462.50            0.00      0.00%       3,537.50   SMERF Group                                              10,960.50     1.15%      22,390.00     1.51%      -11,429.50           0.00     0.00%     10,960.50
             0.00     0.00%       1,290.00     0.27%     -1,290.00            0.00      0.00%           0.00   Sports Group                                                  0.00     0.00%       1,290.00     0.09%       -1,290.00           0.00     0.00%          0.00

       28,312.50      9.55%      4,365.00     0.92%     23,947.50       40,912.00      10.99%    -12,599.50    Total Group Room Revenue                                81,332.50     8.53%      72,973.00      4.93%       8,359.50     180,524.00     14.17%    -99,191.50

                                                                                                               Contract Room Revenue

             0.00     0.00%          0.00     0.00%           0.00            0.00      0.00%          0.00    Total Contract Room Revenue                                  0.00     0.00%            0.00     0.00%           0.00            0.00    0.00%           0.00

                                                                                                               Other Room Revenue
         1,120.00     0.38%           0.00     0.00%      1,120.00          728.12      0.20%        391.88    Pet/Smoking/Damage Fees                                   5,838.01     0.61%           0.00     0.00%       5,838.01        6,328.12     0.50%       -490.11

        1,120.00      0.38%          0.00     0.00%       1,120.00         728.12       0.20%        391.88    Total Other Room Revenue                                 5,838.01     0.61%            0.00     0.00%       5,838.01        6,328.12    0.50%       -490.11

             0.00     0.00%           0.00     0.00%          0.00         -394.79      -0.11%       394.79    Less: Allowances                                           -146.00    -0.02%           0.00     0.00%        -146.00       -2,600.20    -0.20%      2,454.20

      296,398.55    100.00%    477,026.00    100.00%   -180,627.45     372,194.32     100.00%    -75,795.77    Total Room Revenue                                  953,308.48       100.00%   1,479,954.00 100.00%      -526,645.52    1,273,572.00 100.00%     -320,263.52

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00      0.00%          0.00     0.00%           0.00           0.00       0.00%          0.00   Division Management                                        -782.97    -0.08%           0.00      0.00%        -782.97           0.00     0.00%       -782.97
         4,258.33      1.44%          0.00     0.00%       4,258.33           0.00       0.00%      4,258.33   Front Office Management                                  20,741.72     2.18%           0.00      0.00%      20,741.72           0.00     0.00%     20,741.72
         4,854.41      1.64%      4,658.40     0.98%         196.01       4,307.68       1.16%        546.73   Housekeeping Management                                  24,428.58     2.56%      22,806.20      1.54%       1,622.38       4,307.68     0.34%     20,120.90
        9,112.74      3.07%      4,658.40     0.98%       4,454.34       4,307.68       1.16%      4,805.06    Total Rooms Management                                  44,387.33     4.66%      22,806.20      1.54%      21,581.13       4,307.68     0.34%     40,079.65
        10,609.34      3.58%      8,556.00     1.79%       2,053.34       3,199.46       0.86%      7,409.88   Front Office Agents                                      59,111.65     6.20%      41,676.00      2.82%      17,435.65      14,458.08     1.14%     44,653.57
           374.26      0.13%          0.00     0.00%         374.26           0.00       0.00%        374.26   Front Office Agents Overtime                                374.26     0.04%           0.00      0.00%         374.26           0.00     0.00%        374.26
         4,012.07      1.35%          0.00     0.00%       4,012.07       2,673.44       0.72%      1,338.63   Front Office Supervisors                                  4,012.07     0.42%           0.00      0.00%       4,012.07      13,591.84     1.07%     -9,579.77
         2,830.05      0.95%      5,208.00     1.09%      -2,377.95       3,760.61       1.01%       -930.56   Night Auditors                                            3,908.26     0.41%      25,368.00      1.71%     -21,459.74      19,224.02     1.51%    -15,315.76
           188.59      0.06%          0.00     0.00%         188.59           0.00       0.00%        188.59   Night Auditors Overtime                                     188.59     0.02%           0.00      0.00%         188.59           0.00     0.00%        188.59
             0.00      0.00%      4,278.00     0.90%      -4,278.00           0.00       0.00%          0.00   Drivers                                                       0.00     0.00%      20,838.00      1.41%     -20,838.00           0.00     0.00%          0.00
         1,355.96      0.46%      4,118.57     0.86%      -2,762.61           0.00       0.00%      1,355.96   Breakfast Attendant                                       3,212.42     0.34%      20,061.42      1.36%     -16,849.00           0.00     0.00%      3,212.42
       19,370.27      6.54%     22,160.57     4.65%      -2,790.30       9,633.51       2.59%      9,736.76    Total Rooms Front Office                                70,807.25     7.43%     107,943.42      7.29%     -37,136.17      47,273.94     3.71%     23,533.31
         3,079.85      1.04%      3,188.57     0.67%        -108.72       3,541.50       0.95%       -461.65   Housekeeping Supervisors                                  6,872.53     0.72%      15,531.42      1.05%      -8,658.89      31,279.17     2.46%    -24,406.64
             1.35      0.00%          0.00     0.00%           1.35           0.00       0.00%          1.35   Housekeeping Supervisors Overtime                             1.35     0.00%           0.00      0.00%           1.35           0.00     0.00%          1.35
             0.00      0.00%     18,105.00     3.80%     -18,105.00       6,730.60       1.81%     -6,730.60   Room Attendants                                           5,921.01     0.62%      66,761.43      4.51%     -60,840.42      26,628.22     2.09%    -20,707.21
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                                                                                                      Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                                            As of 5/31/2022
             PTD      %        PTD Budget     %           Variance   PTD Last Year     %            Variance                                                                 YTD     %         YTD Budget %                Variance   YTD Last Year    %           Variance

            0.00       0.00%      5,668.57    1.19%      -5,668.57       3,518.60       0.95%      -3,518.60   Housepersons                                                 0.00     0.00%      27,611.42      1.87%     -27,611.42      16,963.18     1.33%     -16,963.18
            0.00       0.00%      2,834.29    0.59%      -2,834.29       5,847.30       1.57%      -5,847.30   Laundry Attendants                                           0.00     0.00%      13,805.73      0.93%     -13,805.73      23,572.57     1.85%     -23,572.57
        3,081.20      1.04%     29,796.43    6.25%     -26,715.23      19,638.00       5.28%     -16,556.80    Total Rooms Housekeeping                                12,794.89    1.34%     123,710.00      8.36%    -110,915.11      98,443.14     7.73%     -85,648.25

       31,564.21     10.65%     56,615.40    11.87%    -25,051.19      33,579.19       9.02%      -2,014.98    Total Rooms Salary and Wages                        127,989.47       13.43%    254,459.62    17.19%     -126,470.15     150,024.76     11.78%    -22,035.29

                                                                                                               PR Taxes and Benefits
         2,457.02      0.83%      4,356.99    0.91%      -1,899.97       1,193.35       0.32%       1,263.67   FICA                                                      9,771.26    1.02%      19,550.10      1.32%      -9,778.84        5,532.03    0.43%       4,239.23
            84.11      0.03%         51.26    0.01%          32.85           3.92       0.00%          80.19   Federal Unemployment Tax                                    381.18    0.04%         680.01      0.05%        -298.83          209.67    0.02%         171.51
           302.12      0.10%        341.72    0.07%         -39.60          62.87       0.02%         239.25   State Unemployment Tax                                    1,612.23    0.17%       6,397.74      0.43%      -4,785.51        2,455.76    0.19%        -843.53
        2,843.25      0.96%      4,749.97    1.00%      -1,906.72       1,260.14       0.34%       1,583.11    Total Payroll Taxes                                     11,764.67    1.23%      26,627.85      1.80%     -14,863.18        8,197.46    0.64%       3,567.21
             0.00      0.00%        150.00    0.03%        -150.00         632.76       0.17%        -632.76   Holiday                                                       0.00    0.00%         300.00      0.02%        -300.00        1,182.14    0.09%      -1,182.14
           342.56      0.12%        182.69    0.04%         159.87         516.12       0.14%        -173.56   Vacation                                                    342.56    0.04%         774.61      0.05%        -432.05        2,424.11    0.19%      -2,081.55
          342.56      0.12%        332.69    0.07%            9.87      1,148.88       0.31%        -806.32    Total Supplemental Pay                                     342.56    0.04%       1,074.61      0.07%        -732.05        3,606.25    0.28%      -3,263.69
         1,431.54      0.48%      1,757.83    0.37%        -326.29         477.19       0.13%         954.35   Worker's Compensation                                     6,664.19    0.70%       8,394.29      0.57%      -1,730.10        2,600.08    0.20%       4,064.11
             0.00      0.00%      1,800.00    0.38%      -1,800.00          10.74       0.00%         -10.74   Group Insurance                                               0.00    0.00%       9,000.00      0.61%      -9,000.00           47.28    0.00%         -47.28
             0.00      0.00%          0.00    0.00%           0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                                     802.50    0.08%           0.00      0.00%         802.50            0.00    0.00%         802.50
        1,431.54      0.48%      3,557.83    0.75%      -2,126.29         487.93       0.13%         943.61    Total Other Benefits                                     7,466.69    0.78%      17,394.29      1.18%      -9,927.60        2,647.36    0.21%       4,819.33

        4,617.35      1.56%      8,640.49    1.81%      -4,023.14       2,896.95       0.78%       1,720.40    Total Rooms PR Taxes and Benefits                       19,573.92    2.05%      45,096.75      3.05%     -25,522.83      14,451.07     1.13%       5,122.85

       36,181.56     12.21%     65,255.89    13.68%    -29,074.33      36,476.14       9.80%        -294.58    Total Rooms Labor Costs                             147,563.39       15.48%    299,556.37    20.24%     -151,992.98     164,475.83     12.91%    -16,912.44

                                                                                                               Other Expenses
        12,302.12     4.15%     14,079.63     2.95%     -1,777.51        1,205.41       0.32%     11,096.71    Breakfast /Comp Cost                                     43,078.58    4.52%      51,918.05     3.51%      -8,839.47        6,257.13     0.49%     36,821.45
           609.81     0.21%      1,938.30     0.41%     -1,328.49          293.45       0.08%        316.36    Cleaning Supplies                                         2,242.17    0.24%       7,147.40     0.48%      -4,905.23        1,801.06     0.14%        441.11
        21,825.50     7.36%          0.00     0.00%     21,825.50            0.00       0.00%     21,825.50    Contract Labor                                          104,600.85   10.97%           0.00     0.00%     104,600.85            0.00     0.00%    104,600.85
             0.00     0.00%        198.00     0.04%       -198.00            0.00       0.00%          0.00    Dues and Subscriptions                                        0.00    0.00%         990.00     0.07%        -990.00            0.00     0.00%          0.00
           212.70     0.07%          0.00     0.00%        212.70            0.00       0.00%        212.70    Equipment Rental                                            398.46    0.04%           0.00     0.00%         398.46            0.00     0.00%        398.46
           852.39     0.29%      1,640.10     0.34%       -787.71          426.34       0.11%        426.05    Guest Supplies                                           10,207.02    1.07%       6,047.80     0.41%       4,159.22        4,728.48     0.37%      5,478.54
         1,596.89     0.54%      1,341.90     0.28%        254.99        1,695.00       0.46%        -98.11    Laundry                                                   5,888.21    0.62%       4,948.20     0.33%         940.01        4,705.68     0.37%      1,182.53
             0.00     0.00%        775.32     0.16%       -775.32       -1,619.59      -0.44%      1,619.59    Linen                                                     6,295.77    0.66%       2,858.96     0.19%       3,436.81        1,588.40     0.12%      4,707.37
           800.00     0.27%          0.00     0.00%        800.00            0.00       0.00%        800.00    Miscellaneous Expense                                       800.00    0.08%           0.00     0.00%         800.00            0.00     0.00%        800.00
         1,102.55     0.37%         50.00     0.01%      1,052.55          313.39       0.08%        789.16    Operating Supplies                                        4,723.27    0.50%         250.00     0.02%       4,473.27        1,460.95     0.11%      3,262.32
             0.00     0.00%          0.00     0.00%          0.00            0.00       0.00%          0.00    Printing and Stationery                                     145.34    0.02%           0.00     0.00%         145.34            0.00     0.00%        145.34
           413.12     0.14%        590.54     0.12%       -177.42          196.65       0.05%        216.47    Reservation Expense                                       1,549.40    0.16%       2,177.60     0.15%        -628.20        1,008.90     0.08%        540.50
           212.53     0.07%        150.00     0.03%         62.53          319.57       0.09%       -107.04    Rooms Promotion                                             460.25    0.05%         750.00     0.05%        -289.75          712.27     0.06%       -252.02
         1,990.00     0.67%      1,896.83     0.40%         93.17        3,907.40       1.05%     -1,917.40    Television Cable                                          9,936.60    1.04%       9,484.15     0.64%         452.45        7,644.80     0.60%      2,291.80
             0.00     0.00%          0.00     0.00%          0.00            0.00       0.00%          0.00    Training                                                    600.00    0.06%           0.00     0.00%         600.00          106.80     0.01%        493.20
            24.01     0.01%        300.00     0.06%       -275.99            0.00       0.00%         24.01    Transportation                                              130.00    0.01%       1,500.00     0.10%      -1,370.00            0.00     0.00%        130.00
             0.00     0.00%         87.30     0.02%        -87.30            0.60       0.00%         -0.60    Travel Agent Comm - Group Rooms                           1,454.66    0.15%       1,459.46     0.10%          -4.80          219.33     0.02%      1,235.33
         2,475.96     0.84%     12,465.97     2.61%     -9,990.01        3,391.32       0.91%       -915.36    Travel Agent Comm - Transient Rooms                      25,283.06    2.65%      35,799.07     2.42%     -10,516.01       39,256.78     3.08%    -13,973.72
             0.00     0.00%          0.00     0.00%          0.00            0.00       0.00%          0.00    Uniforms                                                    342.88    0.04%       1,200.00     0.08%        -857.12          579.35     0.05%       -236.47

       44,417.58     14.99%     35,513.89    7.44%       8,903.69      10,129.54       2.72%     34,288.04     Total Rooms Other Expenses                          218,136.52       22.88%    126,530.69      8.55%      91,605.83      70,069.93     5.50%    148,066.59

       80,599.14     27.19%    100,769.78    21.12%    -20,170.64      46,605.68      12.52%     33,993.46     Total Rooms Expenses                                365,699.91       38.36%    426,087.06    28.79%      -60,387.15     234,545.76     18.42%   131,154.15

      215,799.41     72.81%    376,256.22    78.88%   -160,456.81     325,588.64      87.48%    -109,789.23    Total Rooms Profit (Loss)                           587,608.57       61.64%   1,053,866.94   71.21%     -466,258.37    1,039,026.24    81.58%   -451,417.67




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                                                                                   Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                               YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
           707.00              810.00        -103.00           6.00                 701.00   Room Stat - Corporate Transient                         2,529.00         2,820.00        -291.00          25.00          2,504.00
            72.00               60.00          12.00          48.00                  24.00   Room Stat - Advanced Purchase                             217.00           153.00          64.00         449.00           -232.00
           233.00                0.00         233.00          82.00                 151.00   Room Stat - Qualified Discounts                           531.00             0.00         531.00         378.00            153.00
             0.00                0.00           0.00           8.00                  -8.00   Room Stat - FIT(Flexible Independent Travel)                0.00             0.00           0.00          57.00            -57.00
            32.00               99.00         -67.00          54.00                 -22.00   Room Stat - Employee                                      165.00           557.00        -392.00         702.00           -537.00
             5.00                0.00           5.00           0.00                   5.00   Room Stat - Package Transient                               5.00             0.00           5.00           7.00             -2.00
            29.00               22.00           7.00          24.00                   5.00   Room Stat - Travel Agent/Friends & Family                  72.00           208.00        -136.00         105.00            -33.00
           101.00               60.00          41.00          62.00                  39.00   Room Stat - Member Reward Stay                            194.00           200.00          -6.00         215.00            -21.00
             0.00                0.00           0.00          43.00                 -43.00   Room Stat - Non-Qualified Discounts                        52.00             0.00          52.00          98.00            -46.00
           125.00              175.00         -50.00         105.00                  20.00   Room Stat - Internet                                      610.00           595.00          15.00         790.00           -180.00
             0.00                0.00           0.00           0.00                   0.00   Room Stat - Other Transient                                 0.00             0.00           0.00           3.00             -3.00
             5.00                0.00           5.00           0.00                   5.00   Room Stat - E-Commerce Opaque                               5.00             0.00           5.00          11.00             -6.00
           109.00              277.00        -168.00         233.00                -124.00   Room Stat - Government Rate Transient                     423.00         1,317.00        -894.00         728.00           -305.00
           555.00              730.00        -175.00         196.00                 359.00   Room Stat - Rack Rate Transient                         1,794.00         2,577.00        -783.00       1,239.00            555.00
             0.00              205.00        -205.00       1,629.00              -1,629.00   Room Stat - Local Negotiated Transient                     33.00           298.00        -265.00       4,123.00         -4,090.00
        1,973.00            2,438.00        -465.00       2,490.00                -517.00    Total Transient Rooms Sold                             6,630.00         8,725.00      -2,095.00       8,930.00         -2,300.00

                                                                                             Group Rooms
           255.00               0.00         255.00            0.00                255.00    Room Stat - Corporate Group Rooms                        715.00             21.00        694.00           13.00           702.00
             0.00               0.00           0.00            0.00                  0.00    Room Stat - Leisure Group                                  0.00             20.00        -20.00            0.00             0.00
             0.00               0.00           0.00          368.00               -368.00    Room Stat - Government Group                              23.00            336.00       -313.00        1,632.00        -1,609.00
            20.00              25.00          -5.00            0.00                 20.00    Room Stat - SMERF Group                                   83.00            200.00       -117.00            0.00            83.00
             0.00              10.00         -10.00            0.00                  0.00    Room Stat - Sports Group                                   0.00             10.00        -10.00            0.00             0.00
          275.00               35.00        240.00          368.00                 -93.00    Total Group Rooms Sold                                  821.00            587.00        234.00        1,645.00          -824.00

                                                                                             Contract Rooms
             0.00               0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                                  0.00             0.00           0.00            0.00             0.00

        2,248.00            2,473.00        -225.00       2,858.00                -610.00    Total Rooms Sold                                       7,451.00         9,312.00      -1,861.00      10,575.00         -3,124.00
             6.00               0.00            6.00          0.00                    6.00   Room Stat - Comp Rooms                                    650.00            0.00          650.00          0.00             650.00
        2,254.00            2,473.00        -219.00       2,858.00                -604.00    Total Rooms Occupied                                   8,101.00         9,312.00      -1,211.00      10,575.00         -2,474.00
           359.00               0.00          359.00          0.00                  359.00   Room Stat - Out of Order                                6,872.00            0.00        6,872.00          0.00           6,872.00

                                                                                             ADR
           110.51              149.00         -38.49         167.70                -57.19    Corporate Transient ADR                                  117.94            134.46         -16.53         130.25           -12.31
           154.79              129.00          25.79          92.74                 62.05    Advanced Purchase ADR                                    160.89            124.03          36.85         100.26            60.63
           162.89                0.00        162.89          265.32               -102.42    Qualified Discount ADR                                   147.80              0.00        147.80          171.44           -23.64
             0.00                0.00           0.00         107.33               -107.33    FIT ADR                                                    0.00              0.00           0.00          88.76           -88.76
             0.00                0.00           0.00           0.00                  0.00    Consortia ADR                                              0.00              0.00           0.00           0.00             0.00
            62.72               63.00          -0.28          57.81                  4.90    Employee ADR                                              62.11             63.00          -0.89          55.47             6.64
             0.00                0.00           0.00           0.00                  0.00    Leisure ADR                                                0.00              0.00           0.00           0.00             0.00
           140.84              135.00           5.84          90.67                 50.17    Travel Agent/Friends & Family ADR                        132.85            106.99          25.86          84.71            48.15
             0.00                0.00           0.00           0.00                  0.00    Leisure Package ADR                                        0.00              0.00           0.00           0.00             0.00
            34.00               40.00          -6.00          46.00                -12.00    Member Reward Stay ADR                                    34.00             40.00          -6.00          49.85           -15.85
             0.00                0.00           0.00           0.00                  0.00    Golf Pkg ADR                                               0.00              0.00           0.00           0.00             0.00
             0.00                0.00           0.00           0.00                  0.00    Non Qualified ADR                                        199.71              0.00        199.71            0.00           199.71
           140.81              191.29         -50.48         130.90                  9.91    Internet ADR                                             126.96            143.03         -16.07         109.21            17.75
           111.59                0.00        111.59            0.00                111.59    E-Commerce Opaque ADR                                    111.59              0.00        111.59           73.15            38.44
             0.00                0.00           0.00           0.00                  0.00    Other Transient ADR                                        0.00              0.00           0.00           0.00             0.00
             0.00                0.00           0.00           0.00                  0.00    Airline Distressed Passenger ADR                           0.00              0.00           0.00           0.00             0.00
           161.55              171.17          -9.62         148.65                 12.90    Government ADR                                           146.02            143.07           2.95         135.13            10.90
           170.17              190.10         -19.93         182.09                -11.92    Rack ADR                                                 152.21            157.37          -5.17         146.00             6.21
             0.00              149.00       -149.00          129.32               -129.32    Local Negotiated ADR                                     151.38            142.76           8.62         132.26            19.12
          135.31              193.87         -58.56         132.91                   2.40    Total Transient ADR                                     130.66            161.26         -30.60         121.98              8.68

            97.16                0.00         97.16            0.00                 97.16    Corporate Group ADR                                       94.59           149.00         -54.41            0.00            94.59
             0.00                0.00          0.00            0.00                  0.00    Leisure Group ADR                                          0.00           119.00        -119.00            0.00             0.00
             0.00                0.00          0.00          111.17               -111.17    Government Group ADR                                     119.00           130.31         -11.31          110.62             8.38
             0.00                0.00          0.00            0.00                  0.00    Tour & Travel Group ADR                                    0.00             0.00           0.00            0.00             0.00
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                                                                                   Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                0.00          0.00           0.00                   0.00    Association Group ADR                                    0.00             0.00        0.00           0.00            0.00
             0.00                0.00          0.00           0.00                   0.00    City Wide Group ADR                                      0.00             0.00        0.00           0.00            0.00
           176.88              123.00         53.88           0.00                 176.88    SMERF Group ADR                                        132.05           111.95       20.10           0.00          132.05
             0.00              129.00       -129.00           0.00                   0.00    Sports Group ADR                                         0.00           129.00     -129.00           0.00            0.00
             0.00                0.00          0.00           0.00                   0.00    Other Group ADR                                          0.00             0.00        0.00           0.00            0.00
          102.95              124.71         -21.76         111.17                  -8.22    Total Group ADR                                         99.07          124.32       -25.25         109.74          -10.68

             0.00               0.00           0.00            0.00                  0.00    Airline Crew ADR                                         0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Other Contract ADR                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Contract ADR                                       0.00            0.00         0.00            0.00           0.00

          131.85              192.89         -61.04         130.23                   1.62    Total ADR                                              127.94          158.93       -30.99         120.43            7.51




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                                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      F&B Summary
                                                                                                      Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Food Revenue                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Food Revenue                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Beverage Revenue                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Beverage Revenue                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Outlet Other Revenue                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Banquet and Catering Other Revenue                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Food Purchases                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Beverage Purchases                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Cedit Employee Meals                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Credit House Charges                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Credit In-House Promotions                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Audio Visual Cost of Sales                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Other Cost of Sales                                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Cost of Sales                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    F&B Gross Profit                                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll
                                                                                                      Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Management                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Non-Management                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Salaries and Wages                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Payroll Taxes                                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Supplemental Pay                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Other Benefits                                         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B PR Taxes and Benefits                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Payroll                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Audio Visual Supplies                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Banquet Expense                                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Bar Expense/Promos                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Bar Supplies                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    China                                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Cleaning Supplies                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Communication Expense                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Contract Cleaning                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Contract Labor                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Decorations & Plants                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Dues and Subscriptions                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Equipment Rental                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Food and Beverage Advertising                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Glassware                                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Guest Loss/Damage                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Guest Supplies                                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    In-House Entertainment                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Kitchen/Cooking Fuel                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Kitchen Equipment                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Laundry - Outside Expense                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Laundry Allocation                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Licenses/Permits                                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Linen                                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%       0.00    Linen Rental                                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                                  As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Maintenance Contracts                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Meals and Entertainment                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Menus                                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Miscellaneous Expense                                  0.00    0.00%        0.00       0.00%      0.00            5.30     0.00%      -5.30
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Music and Entertainment                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Office Equipment                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Office Supplies                                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Operating Supplies                                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Paper/Plastic Supplies                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Printing and Stationery                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Silverware                                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Software Expense/Maintenance                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Television Cable                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Training                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Travel                                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Uniforms                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Utensils                                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Other Expenses                               0.00   0.00%         0.00      0.00%       0.00            5.30    0.00%      -5.30

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Expenses                                     0.00   0.00%         0.00      0.00%       0.00            5.30    0.00%      -5.30

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total F&B Profit (Loss)                                0.00   0.00%         0.00      0.00%       0.00           -5.30    0.00%       5.30




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                                                                                   Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                   P&L - Dual Summary Pages
                                                                                                         As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                          YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                                 0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 2
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                                 0.00            0.00         0.00            0.00           0.00

                                                                                             Room Service
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Room Service Covers                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Room Service Avg Check                                 0.00            0.00         0.00            0.00           0.00

                                                                                             Banquets
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Banquets Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Banquets Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                             Catering
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Catering Covers                                  0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Catering Avg Check                                     0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 3
             0.00                0.00          0.00            0.00                  0.00    Breakfast Avg Check                                    0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Lunch Avg Check                                        0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Dinner Avg Check                                       0.00             0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Brunch Avg Check                                       0.00             0.00        0.00            0.00           0.00
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                                                                                   Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                         As of 5/31/2022
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %        Variance                                                          YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                                 0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 4
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                                 0.00            0.00         0.00            0.00           0.00

                                                                                             Restaurant 5
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers                              0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                                 0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 1
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Bar 1 Covers                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Bar 1 Avg Check                                        0.00            0.00         0.00            0.00           0.00

                                                                                             Bar 2
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                                        0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                                   0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                                       0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                                    0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Bar 2 Covers                                     0.00            0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Bar 2 Avg Check                                        0.00            0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                  0.00    Total Covers                                           0.00            0.00         0.00            0.00           0.00




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                                                                                          Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                          P&L - Dual Summary Pages
                                                                                                                As of 5/31/2022
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                          YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Food Admin
                                                                                                    Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Cost of Sales                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Management                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Non-Management                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Salaries and Wages                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin PR Taxes and Benefits                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Payroll                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Miscellaneous Expense                                  0.00   0.00%         0.00     0.00%      0.00            5.30    0.00%     -5.30

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Other Expenses                        0.00   0.00%        0.00      0.00%      0.00            5.30    0.00%     -5.30

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Food Admin Expenses                              0.00   0.00%        0.00      0.00%      0.00            5.30    0.00%     -5.30

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                     0.00   0.00%        0.00      0.00%      0.00            5.30    0.00%     -5.30




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                          YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%       0.00    Less Adjustments                                       0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Revenue                           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Cost of Sales                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Other Expenses                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Beverage Admin Expenses                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Departmental Costs                                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Food Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Beverage Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Cost of Sales                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 1 Gross Profit                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Non-Management                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Salaries and Wages                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 PR Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Payroll                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Other Expenses                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 1 Profit (Loss)                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Food Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Beverage Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Cost of Sales                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 2 Gross Profit                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Non-Management                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Salaries and Wages                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 PR Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Payroll                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Other Expenses                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 2 Profit (Loss)                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Room Service
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Food Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Beverage Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Cost of Sales                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Room Service Gross Profit                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Non-Management                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Salaries and Wages                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service PR Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Payroll                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Other Expenses                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Room Service Profit (Loss)                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Banquets
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Banquets Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Banquets Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Other Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                  0.00    Total Banquets Salaries and Wages                      0.00                 0.00                  0.00            0.00                0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                  0.00    Total Banquet Benefits                                 0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Banquets Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Catering
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Food Revenue                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Food Revenue                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Beverage Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Beverage Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Cost of Sales                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Catering Gross Profit                                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Management                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Non-Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Salaries and Wages                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering PR Taxes and Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Payroll                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Other Expenses                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Expenses                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Catering Profit (Loss)                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 3
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Food Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Beverage Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Cost of Sales                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 3 Gross Profit                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Non-Management                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Salaries and Wages                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll Taxes and Benefits          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Payroll                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Other Expenses                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 3 Profit (Loss)                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 4
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 4 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Food Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restauarnt 4 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Beverage Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Cost of Sales                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Non-Management                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Salaries and Wages                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 PR Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Payroll                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Other Expenses                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 4 Profit (Loss)                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                                  As of 5/31/2022
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 5
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Food Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Food Revenue                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Beverage Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Allowances                                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Beverage Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Revenue                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Cost of Sales                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Restaurant 5 Gross Profit                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Management                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Non-Management                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Salaries and Wages                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 PR Taxes and Benefits               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Payroll                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Other Expenses                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Expenses                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Restaurant 5 Profit (Loss)                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 1 Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Non-Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Salaries and Wages                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 PR Taxes and Benefits                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Payroll                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Other Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 1 Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Food Revenue                                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Food Revenue                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Bar 2 Beverage Revenue                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Beverage Revenue                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Revenue                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Revenue                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Cost of Sales                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expenses
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Non-Management                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Salaries and Wages                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 PR Taxes and Benefits                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Payroll                                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Other Expenses                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Expenses                                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Bar 2 Profit (Loss)                              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %        Variance                                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Telephone Revenue                                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%      0.00    Less: Adjustments                                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Revenue                                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Cost of Sales                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Gross Profit                                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Other Expenses                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%       0.00    Total Telephone Profit (Loss)                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget     %         Variance    PTD Last Year     %         Variance                                                               YTD     %        YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                           Minor Operating
                                                                                                           Income
         1,035.00     33.73%         0.00      0.00%    1,035.00            0.00       0.00%    1,035.00   Rental Income - Other                                   2,940.00    34.16%         0.00   0.00%       2,940.00         150.00      2.26%    2,790.00
        1,035.00     33.73%          0.00     0.00%    1,035.00             0.00      0.00%    1,035.00    Total Rental Income                                    2,940.00    34.16%          0.00  0.00%       2,940.00         150.00      2.26%    2,790.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%        0.00   Vending Commissions-Soda & Snack Machines                   0.00     0.00%         0.00   0.00%           0.00       1,654.37     24.98%   -1,654.37
           194.05      6.32%         0.00      0.00%      194.05            0.00       0.00%      194.05   Vending Commissions Other                                 730.94     8.49%         0.00   0.00%         730.94          30.80      0.47%      700.14
          194.05      6.32%          0.00     0.00%      194.05             0.00      0.00%      194.05    Total Vending Commission Income                          730.94     8.49%          0.00  0.00%         730.94       1,685.17     25.44%     -954.23
           213.57      6.96%         0.00      0.00%      213.57            0.00       0.00%      213.57   Cancellation Fee - Rooms                                  213.57     2.48%         0.00   0.00%         213.57           0.00      0.00%      213.57
          213.57      6.96%          0.00     0.00%      213.57             0.00      0.00%      213.57    Total Cancellation Fee Income                            213.57     2.48%          0.00  0.00%         213.57            0.00     0.00%      213.57
             0.00      0.00%       149.10      9.09%     -149.10            0.00       0.00%        0.00   Guest Laundry                                               0.00     0.00%       549.80   9.09%        -549.80           0.00      0.00%        0.00
           113.85      3.71%         0.00      0.00%      113.85          158.40      22.57%      -44.55   Internet Access                                           346.50     4.03%         0.00   0.00%         346.50         781.85     11.81%     -435.35
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%        0.00   Telephone Revenue                                         216.12     2.51%         0.00   0.00%         216.12           0.00      0.00%      216.12
            84.94      2.77%         0.00      0.00%        84.94          46.19       6.58%       38.75   Other Revenue 3                                            84.94     0.99%         0.00   0.00%          84.94       1,618.00     24.43%   -1,533.06
         1,426.63     46.50%     1,491.00     90.91%       -64.37         497.25      70.85%      929.38   Gift Shop Sales                                         4,074.82    47.34%     5,498.00  90.91%      -1,423.18       2,387.86     36.05%    1,686.96
        1,625.42     52.98%     1,640.10    100.00%       -14.68         701.84     100.00%      923.58    Total Other Income                                     4,722.38    54.87%     6,047.80 100.00%      -1,325.42       4,787.71     72.29%       -65.33

        3,068.04    100.00%     1,640.10    100.00%    1,427.94          701.84     100.00%    2,366.20    Total Minor Operating Income                           8,606.89    100.00%    6,047.80 100.00%      2,559.09        6,622.88 100.00%       1,984.01

                                                                                                           Cost of Sales
             0.00      0.00%       101.39      6.18%    -101.39             0.00       0.00%        0.00   Cost of Sales - Guest Laundry                               0.00     0.00%       373.87     6.18%     -373.87            0.00      0.00%        0.00
         1,458.77     47.55%       969.15     59.09%     489.62            67.36       9.60%    1,391.41   Cost of Sales - Gift Shop                               5,702.32    66.25%     3,573.71    59.09%    2,128.61        2,217.12     33.48%    3,485.20
        1,458.77     47.55%     1,070.54     65.27%     388.23             67.36      9.60%    1,391.41    Total Minor Operated Cost of Sales                     5,702.32    66.25%     3,947.58    65.27%    1,754.74        2,217.12     33.48%    3,485.20

        1,609.27     52.45%       569.56     34.73%    1,039.71          634.48      90.40%     974.79     Total Minor Operated Profit (Loss)                     2,904.57    33.75%     2,100.22    34.73%      804.35        4,405.76     66.52%    -1,501.19




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                                                                                                                As of 5/31/2022
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                          YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Arcade
                                                                                                    Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Revenue                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Non-Management                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Salaries and Wages                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade PR Taxes and Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Payroll                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Other Expenses                            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Expenses                                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Arcade Profit (Loss)                             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %        Variance                                                          YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Waterpark
                                                                                                    Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Revenue                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Management                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Waterpark Non-Management                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Salaries and Wages                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Payroll Taxes                                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Supplemental Pay                                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Other Benefits                                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark PR Taxes and Benefits                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Payroll                                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Other Expenses                         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Expenses                               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%       0.00    Total Waterpark Profit (Loss)                          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %         Variance   PTD Last Year     %         Variance                                                                YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                       Franchise Fees
        17,782.72     5.94%    23,851.30   4.98%    -6,068.58      22,425.97       6.01%   -4,643.25   Franchise Fees - Royalty & Licenses                     57,114.11   5.94%    73,997.70     4.98%   -16,883.59      76,424.57    5.97%   -19,310.46
         2,067.58     0.69%     9,540.52   1.99%    -7,472.94        -971.71      -0.26%    3,039.29   Franchise Fees - Frequent Guest                          7,551.99   0.79%    29,599.08     1.99%   -22,047.09      10,566.95    0.83%    -3,014.96
         8,738.25     2.92%     9,540.52   1.99%      -802.27       9,796.31       2.63%   -1,058.06   Franchise Fees - Marketing Contributions                30,122.64   3.13%    29,599.08     1.99%       523.56      34,102.65    2.66%    -3,980.01

       28,588.55      9.55%   42,932.34    8.97%   -14,343.79     31,250.57       8.38%    -2,662.02   Total Franchise Fees                                    94,788.74   9.85%   133,195.86     8.96%   -38,407.12    121,094.17     9.46%   -26,305.43




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             PTD      %        PTD Budget   %          Variance   PTD Last Year     %          Variance                                                                 YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         8,176.11      2.73%    12,749.32    2.66%    -4,573.21       6,867.24       1.84%     1,308.87    Management- A&G                                         39,823.88     4.14%     62,417.00     4.20%    -22,593.12      32,962.74      2.57%      6,861.14
        8,176.11      2.73%    12,749.32    2.66%    -4,573.21       6,867.24       1.84%     1,308.87     Total A&G Management                                   39,823.88     4.14%     62,417.00     4.20%    -22,593.12      32,962.74      2.57%      6,861.14
             0.00      0.00%         0.00    0.00%         0.00       3,082.35       0.83%    -3,082.35    Security Agents                                              0.00     0.00%          0.00     0.00%          0.00      17,056.30      1.33%    -17,056.30
             0.00     0.00%          0.00   0.00%          0.00      3,082.35       0.83%    -3,082.35     Total A&G Non-Management                                     0.00    0.00%           0.00    0.00%           0.00     17,056.30      1.33%    -17,056.30
        8,176.11      2.73%    12,749.32    2.66%    -4,573.21       9,949.59       2.67%    -1,773.48     Total A&G Salaries and Wages                           39,823.88     4.14%     62,417.00     4.20%    -22,593.12      50,019.04      3.91%    -10,195.16
                                                                                                           PR Taxes and Benefits
           542.34      0.18%     1,013.57    0.21%      -471.23         546.80       0.15%         -4.46   FICA                                                     2,977.34     0.31%      4,937.07     0.33%     -1,959.73       2,708.78      0.21%        268.56
            -0.30      0.00%        11.92    0.00%       -12.22           0.00       0.00%         -0.30   Federal Unemployment Tax                                    96.75     0.01%        177.33     0.01%        -80.58          42.00      0.00%         54.75
            -7.73      0.00%        79.50    0.02%       -87.23           0.00       0.00%         -7.73   State Unemployment Tax                                     423.18     0.04%      1,664.29     0.11%     -1,241.11         518.50      0.04%        -95.32
          534.31      0.18%     1,104.99    0.23%      -570.68         546.80       0.15%        -12.49    Total Payroll Taxes                                     3,497.27     0.36%      6,778.69     0.46%     -3,281.42       3,269.28      0.26%        227.99
             0.00      0.00%         0.00    0.00%         0.00         343.36       0.09%      -343.36    Holiday                                                      0.00     0.00%          0.00     0.00%          0.00         686.72      0.05%       -686.72
             0.00      0.00%       500.00    0.10%      -500.00         581.66       0.16%      -581.66    Vacation                                                     0.00     0.00%      2,120.00     0.14%     -2,120.00       3,296.88      0.26%     -3,296.88
             0.00     0.00%       500.00    0.10%      -500.00         925.02       0.25%      -925.02     Total Supplemental Pay                                       0.00    0.00%      2,120.00     0.14%     -2,120.00       3,983.60      0.31%     -3,983.60
           397.65      0.13%       408.93    0.09%       -11.28         287.49       0.08%       110.16    Worker's Compensation                                    2,137.39     0.22%      2,128.03     0.14%          9.36       1,390.16      0.11%        747.23
            64.39      0.02%     1,800.00    0.38%    -1,735.61         991.10       0.27%      -926.71    Group Insurance                                          1,820.27     0.19%      9,000.00     0.61%     -7,179.73       4,555.70      0.36%     -2,735.43
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%          0.00   Bonus and Incentive Pay                                    720.00     0.07%          0.00     0.00%        720.00           0.00      0.00%        720.00
          462.04      0.15%     2,208.93    0.46%    -1,746.89       1,278.59       0.34%      -816.55     Total Other Benefits                                    4,677.66     0.49%     11,128.03     0.75%     -6,450.37       5,945.86      0.46%     -1,268.20
          996.35      0.33%     3,813.92    0.80%    -2,817.57       2,750.41       0.74%    -1,754.06     Total A&G PR Taxes and Benefits                         8,174.93     0.85%     20,026.72     1.35%    -11,851.79      13,198.74      1.03%     -5,023.81
        9,172.46      3.06%    16,563.24    3.46%    -7,390.78      12,700.00       3.41%    -3,527.54     Total A&G Payroll                                      47,998.81     4.99%     82,443.72     5.55%    -34,444.91      63,217.78      4.94%    -15,218.97
                                                                                                           Other Expenses
             0.00      0.00%         0.00    0.00%         0.00       1,009.57       0.27%    -1,009.57    Bad Debt Provision                                     -718.68       -0.07%          0.00     0.00%       -718.68       2,915.64      0.23%     -3,634.32
         1,083.22      0.36%       750.00    0.16%       333.22       1,369.12       0.37%      -285.90    Bank Charges                                          4,598.63        0.48%      3,750.00     0.25%        848.63       5,768.21      0.45%     -1,169.58
             0.95      0.00%         0.00    0.00%         0.95           0.00       0.00%         0.95    Cash Over/Short                                         -66.31       -0.01%          0.00     0.00%        -66.31           1.11      0.00%        -67.42
           386.46      0.13%         0.00    0.00%       386.46           0.00       0.00%       386.46    Central Office - Travel Rebilled                      2,465.75        0.26%          0.00     0.00%      2,465.75           0.00      0.00%      2,465.75
         1,000.00      0.33%     1,000.00    0.21%         0.00       3,060.00       0.82%    -2,060.00    Central Office - Accounting Fees                      5,000.00        0.52%      5,000.00     0.34%          0.00      15,300.00      1.20%    -10,300.00
        13,803.86      4.61%    12,876.12    2.69%       927.74       9,812.85       2.63%     3,991.01    Credit Card Commission                               35,493.03        3.69%     39,973.44     2.69%     -4,480.41      32,100.87      2.51%      3,392.16
           192.24      0.06%         0.00    0.00%       192.24           0.00       0.00%       192.24    Dues and Subscriptions                                  484.48        0.05%          0.00     0.00%        484.48           0.00      0.00%        484.48
           283.79      0.09%         0.00    0.00%       283.79         290.17       0.08%        -6.38    Employee Relations                                    1,274.45        0.13%        795.00     0.05%        479.45       1,317.95      0.10%        -43.50
           537.00      0.18%         0.00    0.00%       537.00         270.42       0.07%       266.58    Licenses/Permits                                      6,708.39        0.70%      2,300.00     0.15%      4,408.39       4,195.40      0.33%      2,512.99
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Meals and Entertainment                                  89.00        0.01%          0.00     0.00%         89.00           0.00      0.00%         89.00
            -8.11      0.00%         0.00    0.00%        -8.11         -98.31      -0.03%        90.20    Miscellaneous Expense                                   296.66        0.03%          0.00     0.00%        296.66         334.86      0.03%        -38.20
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Operating Supplies                                      147.47        0.02%          0.00     0.00%        147.47         258.37      0.02%       -110.90
           250.00      0.08%       341.14    0.07%       -91.14         330.00       0.09%       -80.00    Payroll Service Fees                                  1,127.23        0.12%      1,698.85     0.11%       -571.62       1,650.00      0.13%       -522.77
            72.34      0.02%         0.00    0.00%        72.34          25.97       0.01%        46.37    Postage                                                 335.67        0.03%          0.00     0.00%        335.67         228.37      0.02%        107.30
           293.80      0.10%         0.00    0.00%       293.80           0.00       0.00%       293.80    Professional Fees - Legal                             3,558.27        0.37%      5,000.00     0.34%     -1,441.73          36.00      0.00%      3,522.27
           169.01      0.06%         0.00    0.00%       169.01           0.00       0.00%       169.01    Professional Fees - Other                             6,585.48        0.68%        650.00     0.04%      5,935.48           0.00      0.00%      6,585.48
            28.95      0.01%         0.00    0.00%        28.95           0.00       0.00%        28.95    Recruitment Advertising                                  86.85        0.01%          0.00     0.00%         86.85           0.00      0.00%         86.85
         4,962.50      1.66%     4,950.00    1.03%        12.50       5,749.09       1.54%      -786.59    Security - Outside                                   25,575.00        2.66%     24,150.00     1.63%      1,425.00      28,721.12      2.24%     -3,146.12
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Training                                              1,958.97        0.20%      3,690.00     0.25%     -1,731.03         278.00      0.02%      1,680.97
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00    Travel                                                    0.00        0.00%          0.00     0.00%          0.00          36.01      0.00%        -36.01
       23,056.01      7.70%    19,917.26    4.16%     3,138.75      21,818.88       5.85%     1,237.13     Total A&G Other Expenses                            95,000.34        9.88%     87,007.29     5.86%      7,993.05      93,141.91      7.28%      1,858.43
       32,228.47     10.76%    36,480.50    7.62%    -4,252.03      34,518.88       9.26%    -2,290.41     Total A&G Expenses                                 142,999.15       14.87%    169,451.01    11.40%    -26,451.86     156,359.69     12.21%    -13,360.54




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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %         Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                        IT
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Management                                         0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Non-Management                                     0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Salaries and Wages                                 0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total Payroll Taxes                                         0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total Supplemental Pay                                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total Other Benefits                                        0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT PR Taxes and Benefits                              0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Payroll                                            0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

                                                                                                        Cost of Services
             0.00      0.00%        0.00     0.00%        0.00          85.00       0.02%      -85.00   Cost of Cell Phones                                          0.00    0.00%        0.00       0.00%         0.00         425.00     0.03%     -425.00
         1,717.63      0.57%        0.00     0.00%    1,717.63       1,399.99       0.38%     317.64    Cost of Internet Services                                8,510.86    0.88%        0.00       0.00%     8,510.86       6,999.95     0.55%    1,510.91
           763.15      0.25%        0.00     0.00%      763.15       1,095.26       0.29%    -332.11    Cost of Calls                                            3,958.06    0.41%        0.00       0.00%     3,958.06       5,529.43     0.43%   -1,571.37
        2,480.78      0.83%         0.00    0.00%    2,480.78       2,580.25       0.69%      -99.47    Total IT Cost of Services                              12,468.92    1.30%         0.00      0.00%    12,468.92      12,954.38     1.01%     -485.46

                                                                                                        System Costs
         1,977.69      0.66%     2,040.70    0.43%      -63.01         308.33       0.08%    1,669.36   Administrative & General                                 3,758.45    0.39%     4,123.50      0.28%      -365.05       1,541.65     0.12%    2,216.80
             0.00      0.00%        50.00    0.01%      -50.00           0.00       0.00%        0.00   Human Resources                                              0.00    0.00%       250.00      0.02%      -250.00           0.00     0.00%        0.00
             0.00      0.00%         0.00    0.00%        0.00         179.67       0.05%     -179.67   Information Security                                         0.00    0.00%         0.00      0.00%         0.00         950.75     0.07%     -950.75
         1,500.00      0.50%       180.00    0.04%    1,320.00         849.38       0.23%      650.62   Information Systems                                      7,500.00    0.78%       900.00      0.06%     6,600.00       4,737.73     0.37%    2,762.27
           120.00      0.04%       120.00    0.03%        0.00           0.00       0.00%      120.00   Property Ops & Maintenance                                 600.00    0.06%       600.00      0.04%         0.00           0.00     0.00%      600.00
         2,628.12      0.88%         0.00    0.00%    2,628.12       1,259.19       0.34%    1,368.93   Rooms                                                    4,377.08    0.46%         0.00      0.00%     4,377.08       4,820.19     0.38%     -443.11
             0.00      0.00%         0.00    0.00%        0.00          35.00       0.01%      -35.00   Sales & Marketing                                            0.00    0.00%         0.00      0.00%         0.00         175.00     0.01%     -175.00
        6,225.81      2.08%     2,390.70    0.50%    3,835.11       2,631.57       0.71%    3,594.24    Total IT Systems                                       16,235.53    1.69%     5,873.50      0.40%    10,362.03      12,225.32     0.95%    4,010.21

                                                                                                        Other Expenses
             0.00      0.00%        0.00     0.00%       0.00            0.00       0.00%       0.00    Contract Labor                                               0.00    0.00%        0.00       0.00%         0.00          55.19     0.00%      -55.19
             0.00      0.00%        0.00     0.00%       0.00            0.00       0.00%       0.00    Contract Services                                        6,187.94    0.64%        0.00       0.00%     6,187.94           0.00     0.00%    6,187.94
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%        0.00    Total IT Other Expenses                                 6,187.94    0.64%         0.00      0.00%     6,187.94           55.19    0.00%    6,132.75

        8,706.59      2.91%     2,390.70    0.50%    6,315.89       5,211.82       1.40%    3,494.77    Total IT Expenses                                      34,892.39    3.63%     5,873.50      0.40%    29,018.89      25,234.89     1.97%    9,657.50




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                                                                                                Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                                      As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %          Variance                                                                YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          S&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         7,537.08      2.52%     6,252.07    1.31%    1,285.01        5,728.00       1.54%    1,809.08    Division Management                                     36,712.97    3.82%    30,608.34      2.06%    6,104.63       30,072.00     2.35%    6,640.97
        7,537.08      2.52%     6,252.07    1.31%    1,285.01        5,728.00       1.54%    1,809.08     Total S&M Management                                   36,712.97    3.82%    30,608.34      2.06%    6,104.63       30,072.00     2.35%    6,640.97
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%         0.00    Total S&M Non-Management                                     0.00   0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00

        7,537.08      2.52%     6,252.07    1.31%    1,285.01        5,728.00       1.54%    1,809.08     Total S&M Salaries and Wages                           36,712.97    3.82%    30,608.34      2.06%    6,104.63       30,072.00     2.35%    6,640.97

                                                                                                          PR Taxes and Benefits
           574.27      0.19%       497.04    0.10%       77.23          485.17       0.13%       89.10    FICA                                                     2,769.10    0.29%     2,918.32      0.20%      -149.22       2,370.93     0.19%       398.17
             3.11      0.00%         5.85    0.00%        -2.74           0.00       0.00%        3.11    Federal Unemployment Tax                                    91.37    0.01%       110.37      0.01%       -19.00          42.00     0.00%        49.37
             5.84      0.00%        38.98    0.01%      -33.14            0.00       0.00%        5.84    State Unemployment Tax                                     396.11    0.04%     1,020.89      0.07%      -624.78         518.48     0.04%      -122.37
          583.22      0.19%       541.87    0.11%        41.35         485.17       0.13%        98.05    Total Payroll Taxes                                     3,256.58    0.34%     4,049.58      0.27%      -793.00       2,931.41     0.23%       325.17
             0.00      0.00%         0.00    0.00%         0.00         286.40       0.08%     -286.40    Holiday                                                      0.00    0.00%         0.00      0.00%         0.00         572.80     0.04%      -572.80
             0.00      0.00%       245.19    0.05%     -245.19          264.63       0.07%     -264.63    Vacation                                                     0.00    0.00%     1,039.61      0.07%    -1,039.61       1,499.99     0.12%    -1,499.99
             0.00     0.00%       245.19    0.05%     -245.19          551.03       0.15%     -551.03     Total Supplemental Pay                                       0.00   0.00%     1,039.61      0.07%    -1,039.61       2,072.79     0.16%    -2,072.79
           371.14      0.12%       200.53    0.04%      170.61          211.78       0.06%      159.36    Worker's Compensation                                    1,937.39    0.20%     1,248.87      0.08%       688.52       1,212.79     0.09%       724.60
           -67.65     -0.02%         0.00    0.00%      -67.65            2.79       0.00%      -70.44    Group Insurance                                           -269.28   -0.03%         0.00      0.00%      -269.28          16.03     0.00%      -285.31
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00    Bonus and Incentive Pay                                      0.00    0.00%     6,500.00      0.44%    -6,500.00           0.00     0.00%         0.00
          303.49      0.10%       200.53    0.04%      102.96          214.57       0.06%        88.92    Total Other Benefits                                    1,668.11    0.17%     7,748.87      0.52%    -6,080.76       1,228.82     0.10%       439.29
          886.71      0.30%       987.59    0.21%     -100.88        1,250.77       0.34%     -364.06     Total S&M PR Taxes and Benefits                         4,924.69    0.51%    12,838.06      0.86%    -7,913.37       6,233.02     0.49%    -1,308.33

        8,423.79      2.81%     7,239.66    1.51%    1,184.13        6,978.77       1.87%    1,445.02     Total S&M Payroll                                      41,637.66    4.33%    43,446.40      2.92%    -1,808.74      36,305.02     2.84%    5,332.64

                                                                                                          Other Expenses
             0.00      0.00%         0.00    0.00%         0.00         472.00       0.13%      -472.00   Advertising General                                          0.00    0.00%         0.00      0.00%         0.00         472.00     0.04%      -472.00
           815.00      0.27%     1,815.00    0.38%    -1,000.00           4.86       0.00%       810.14   Advertising-Web/Internet                                 3,285.00    0.34%     7,980.00      0.54%    -4,695.00          47.43     0.00%     3,237.57
         1,768.96      0.59%     1,568.00    0.33%       200.96       3,851.46       1.03%    -2,082.50   Dues and Subscriptions                                  10,024.14    1.04%     9,540.00      0.64%       484.14      19,275.71     1.51%    -9,251.57
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   GDS Marketing Advert & Sales                              -244.82   -0.03%         0.00      0.00%      -244.82           0.00     0.00%      -244.82
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Miscellaneous Expense                                      163.84    0.02%         0.00      0.00%       163.84           0.00     0.00%       163.84
             0.00      0.00%        25.00    0.01%       -25.00           0.00       0.00%         0.00   Printing and Stationery                                      0.00    0.00%       125.00      0.01%      -125.00           0.00     0.00%         0.00
             0.00      0.00%        50.00    0.01%       -50.00           0.00       0.00%         0.00   Promotions - In-house                                        0.00    0.00%     1,300.00      0.09%    -1,300.00           0.00     0.00%         0.00
             0.00      0.00%       100.00    0.02%      -100.00           0.00       0.00%         0.00   Promotion - Outside                                          0.00    0.00%       750.00      0.05%      -750.00           2.56     0.00%        -2.56
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%         0.00   Training                                                 1,030.00    0.11%     1,500.00      0.10%      -470.00           0.00     0.00%     1,030.00
             0.00      0.00%        50.00    0.01%       -50.00           0.00       0.00%         0.00   Travel                                                       0.00    0.00%       250.00      0.02%      -250.00           0.00     0.00%         0.00
        2,583.96      0.86%     3,608.00    0.75%    -1,024.04       4,328.32       1.16%    -1,744.36    Total S&M Other Expenses                               14,258.16    1.48%    21,445.00      1.44%    -7,186.84      19,797.70     1.55%    -5,539.54

       11,007.75      3.68%    10,847.66    2.27%      160.09       11,307.09       3.03%     -299.34     Total S&M Expenses                                     55,895.82    5.81%    64,891.40      4.37%    -8,995.58      56,102.72     4.38%     -206.90




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                                                                                               Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                               P&L - Dual Summary Pages
                                                                                                                     As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                                YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                         R&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         3,598.91      1.20%     4,086.32    0.85%     -487.41        2,193.36       0.59%    1,405.55   Division Management                                     20,082.45    2.09%    20,005.45      1.35%       77.00      16,534.56     1.29%     3,547.89
        3,598.91      1.20%     4,086.32    0.85%     -487.41        2,193.36       0.59%    1,405.55    Total R&M Management                                   20,082.45    2.09%    20,005.45      1.35%        77.00     16,534.56     1.29%     3,547.89
         5,283.62      1.76%     5,668.57    1.18%     -384.95        1,261.59       0.34%    4,022.03   Engineers 1                                             26,745.72    2.78%    27,611.42      1.86%     -865.70       2,140.36     0.17%    24,605.36
           132.46      0.04%         0.00    0.00%      132.46            0.00       0.00%      132.46   Engineers 1 Overtime                                       132.46    0.01%         0.00      0.00%      132.46           0.00     0.00%       132.46
        5,416.08      1.81%     5,668.57    1.18%     -252.49        1,261.59       0.34%    4,154.49    Total R&M Non-Management                               26,878.18    2.79%    27,611.42      1.86%     -733.24       2,140.36     0.17%    24,737.82

        9,014.99      3.01%     9,754.89    2.04%     -739.90        3,454.95       0.93%    5,560.04    Total R&M Salaries and Wages                           46,960.63    4.88%    47,616.87      3.20%     -656.24      18,674.92     1.46%    28,285.71

                                                                                                         PR Taxes and Benefits
           745.60      0.25%       746.25    0.16%       -0.65          506.72       0.14%     238.88    FICA                                                     3,628.39    0.38%     3,642.69      0.25%      -14.30       2,451.24     0.19%     1,177.15
            -3.68      0.00%         8.78    0.00%      -12.46            0.00       0.00%       -3.68   Federal Unemployment Tax                                   112.22    0.01%       130.97      0.01%      -18.75          84.00     0.01%        28.22
           -12.54      0.00%        58.53    0.01%      -71.07            0.00       0.00%      -12.54   State Unemployment Tax                                     500.62    0.05%     1,228.45      0.08%     -727.83       1,011.70     0.08%      -511.08
          729.38      0.24%       813.56    0.17%      -84.18          506.72       0.14%     222.66     Total Payroll Taxes                                     4,241.23    0.44%     5,002.11      0.34%     -760.88       3,546.94     0.28%       694.29
             0.00      0.00%         0.00    0.00%        0.00          288.72       0.08%    -288.72    Holiday                                                      0.00    0.00%         0.00      0.00%        0.00         577.44     0.05%      -577.44
           576.92      0.19%         0.00    0.00%      576.92          339.03       0.09%     237.89    Vacation                                                   576.92    0.06%         0.00      0.00%      576.92       1,695.15     0.13%    -1,118.23
          576.92      0.19%          0.00   0.00%      576.92          627.75       0.17%      -50.83    Total Supplemental Pay                                    576.92    0.06%          0.00     0.00%      576.92       2,272.59     0.18%    -1,695.67
           450.67      0.15%       301.07    0.06%      149.60          231.02       0.06%     219.65    Worker's Compensation                                    2,516.03    0.26%     1,570.62      0.11%      945.41       1,121.05     0.09%     1,394.98
             0.00      0.00%         0.00    0.00%        0.00            4.98       0.00%       -4.98   Group Insurance                                              0.00    0.00%         0.00      0.00%        0.00          26.98     0.00%       -26.98
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%        0.00   Bonus and Incentive Pay                                    375.00    0.04%         0.00      0.00%      375.00           0.00     0.00%       375.00
          450.67      0.15%       301.07    0.06%      149.60          236.00       0.06%     214.67     Total Other Benefits                                    2,891.03    0.30%     1,570.62      0.11%    1,320.41       1,148.03     0.09%     1,743.00
        1,756.97      0.59%     1,114.63    0.23%      642.34        1,370.47       0.37%     386.50     Total R&M PR Taxes and Benefits                         7,709.18    0.80%     6,572.73      0.44%    1,136.45       6,967.56     0.54%       741.62

       10,771.96      3.60%    10,869.52    2.27%       -97.56       4,825.42       1.29%    5,946.54    Total R&M Payroll                                      54,669.81    5.68%    54,189.60      3.65%     480.21       25,642.48     2.00%    29,027.33

                                                                                                         Other Expenses
             0.00      0.00%       100.00    0.02%      -100.00          15.53       0.00%      -15.53   Air Conditioning and Refrigeration                       3,324.38    0.35%       500.00      0.03%    2,824.38          15.53     0.00%     3,308.85
         3,590.17      1.20%       200.00    0.04%     3,390.17         705.09       0.19%    2,885.08   Building                                                 8,813.21    0.92%     1,000.00      0.07%    7,813.21       3,381.06     0.26%     5,432.15
             0.00      0.00%         0.00    0.00%         0.00       1,044.25       0.28%   -1,044.25   Contract Labor                                               0.00    0.00%     3,000.00      0.20%   -3,000.00       5,221.25     0.41%    -5,221.25
             0.00      0.00%       123.42    0.03%      -123.42         168.44       0.05%     -168.44   Electric Bulbs                                             261.81    0.03%       617.10      0.04%     -355.29         495.08     0.04%      -233.27
         1,235.86      0.41%       200.00    0.04%     1,035.86           0.00       0.00%    1,235.86   Electrical and Mechanical                                1,751.58    0.18%     1,000.00      0.07%      751.58       2,417.96     0.19%      -666.38
             0.00      0.00%       708.67    0.15%      -708.67       1,398.91       0.38%   -1,398.91   Elevator Maintenance Contracts                               0.00    0.00%     3,543.35      0.24%   -3,543.35       5,096.55     0.40%    -5,096.55
           328.82      0.11%     1,233.33    0.26%      -904.51       1,095.70       0.29%     -766.88   Fire Safety Equipment                                    3,960.38    0.41%     6,166.65      0.41%   -2,206.27       4,199.21     0.33%      -238.83
             0.00      0.00%        25.00    0.01%       -25.00           0.00       0.00%        0.00   Floor and Carpet Maintenance                                 0.00    0.00%       125.00      0.01%     -125.00           0.00     0.00%         0.00
           450.00      0.15%     1,797.50    0.38%    -1,347.50         293.00       0.08%      157.00   Grounds and Landscaping                                  5,147.35    0.54%     8,987.50      0.60%   -3,840.15       1,979.00     0.15%     3,168.35
             0.00      0.00%        50.00    0.01%       -50.00          76.31       0.02%      -76.31   Kitchen Equipment Repairs                                  235.62    0.02%       250.00      0.02%      -14.38         806.81     0.06%      -571.19
           340.33      0.11%        50.00    0.01%       290.33           0.00       0.00%      340.33   Laundry Equipment Repairs                                2,755.49    0.29%       250.00      0.02%    2,505.49           0.00     0.00%     2,755.49
           674.74      0.23%        75.00    0.02%       599.74         259.78       0.07%      414.96   Operating Supplies                                       1,721.40    0.18%       375.00      0.03%    1,346.40         651.69     0.05%     1,069.71
             0.00      0.00%        50.00    0.01%       -50.00          12.54       0.00%      -12.54   Painting and Decorating                                      0.00    0.00%       250.00      0.02%     -250.00          12.54     0.00%       -12.54
           175.00      0.06%       189.00    0.04%       -14.00           0.00       0.00%      175.00   Pest Control                                             3,665.50    0.38%       945.00      0.06%    2,720.50           0.00     0.00%     3,665.50
           150.56      0.05%       120.00    0.03%        30.56           0.00       0.00%      150.56   Plumbing and Heating                                       548.96    0.06%       600.00      0.04%      -51.04         224.33     0.02%       324.63
             0.00      0.00%     3,800.00    0.79%    -3,800.00           0.00       0.00%        0.00   Pool Service- Contract                                   1,000.00    0.10%     4,800.00      0.32%   -3,800.00           0.00     0.00%     1,000.00
            69.35      0.02%         0.00    0.00%        69.35           0.00       0.00%       69.35   Tools                                                      819.64    0.09%         0.00      0.00%      819.64           0.00     0.00%       819.64
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%        0.00   Travel                                                       0.00    0.00%       500.00      0.03%     -500.00          56.95     0.00%       -56.95
             0.00      0.00%       150.00    0.03%      -150.00           0.00       0.00%        0.00   Uniforms                                                     0.00    0.00%       300.00      0.02%     -300.00           0.00     0.00%         0.00
             0.00      0.00%       300.00    0.06%      -300.00         259.41       0.07%     -259.41   Vehicle Maintenance & Repairs                                0.00    0.00%     1,500.00      0.10%   -1,500.00         413.36     0.03%      -413.36
           666.41      0.22%       426.25    0.09%       240.16         504.45       0.14%      161.96   Waste Removal                                            3,332.05    0.35%     2,131.25      0.14%    1,200.80       2,467.41     0.19%       864.64
        7,681.24      2.56%     9,598.17    2.01%    -1,916.93       5,833.41       1.56%    1,847.83    Total R&M Other Expenses                               37,337.37    3.88%    36,840.85      2.48%      496.52      27,438.73     2.14%     9,898.64

       18,453.20      6.16%    20,467.69    4.28%    -2,014.49      10,658.83       2.86%    7,794.37    Total R&M Expenses                                     92,007.18    9.56%    91,030.45      6.13%     976.73       53,081.21     4.15%    38,925.97




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                                                                                               Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                                     As of 5/31/2022
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %         Variance                                                                YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                         Utilities
         4,616.34      1.54%     4,822.28    1.01%      -205.94       6,897.18       1.85%   -2,280.84   Water                                                   23,617.43    2.46%    17,781.96      1.20%    5,835.47      31,772.48     2.48%    -8,155.05
        12,131.63      4.05%    12,345.06    2.58%      -213.43       4,213.28       1.13%    7,918.35   Electricity                                             47,142.59    4.90%    45,521.88      3.06%    1,620.71      43,484.65     3.40%     3,657.94
           334.02      0.11%     2,121.79    0.44%    -1,787.77       1,008.54       0.27%     -674.52   Gas - Natural HLP                                        4,898.37    0.51%     7,824.03      0.53%   -2,925.66       6,369.65     0.50%    -1,471.28
       17,081.99      5.70%    19,289.13    4.03%    -2,207.14      12,119.00       3.25%    4,962.99    Total Utilities                                        75,658.39    7.87%    71,127.87      4.79%    4,530.52      81,626.78     6.38%    -5,968.39




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                                                                                                      Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                                      P&L - Dual Summary Pages
                                                                                                                            As of 5/31/2022
             PTD      %        PTD Budget     %           Variance    PTD Last Year     %           Variance                                                              YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                                Fixed
        52,000.00     17.36%     52,000.00    10.86%           0.00      52,000.00      13.94%           0.00   Real Estate Taxes                                   260,000.00    27.03%    260,000.00    17.50%          0.00     260,000.00     20.31%           0.00
       52,000.00     17.36%     52,000.00    10.86%            0.00     52,000.00      13.94%            0.00   Total Taxes                                        260,000.00    27.03%    260,000.00    17.50%           0.00    260,000.00     20.31%            0.00
             0.00      0.00%          0.00     0.00%           0.00         285.33       0.08%        -285.33   Insurance                                                 0.00     0.00%          0.00     0.00%          0.00       1,426.65      0.11%      -1,426.65
           321.55      0.11%        321.82     0.07%          -0.27           0.00       0.00%         321.55   Insurance - Automobile                                1,607.75     0.17%      1,609.10     0.11%         -1.35           0.00      0.00%       1,607.75
             0.00      0.00%        121.82     0.03%        -121.82           0.00       0.00%           0.00   Insurance - Crime                                         0.00     0.00%        609.10     0.04%       -609.10           0.00      0.00%           0.00
           121.82      0.04%          0.00     0.00%         121.82           0.00       0.00%         121.82   Insurance - Employment                                  609.10     0.06%          0.00     0.00%        609.10           0.00      0.00%         609.10
         8,371.02      2.80%      2,289.55     0.48%       6,081.47       4,018.45       1.08%       4,352.57   Insurance - General Liability                        26,650.50     2.77%     11,447.75     0.77%     15,202.75      20,092.25      1.57%       6,558.25
         3,254.30      1.09%      3,234.40     0.68%          19.90       3,053.77       0.82%         200.53   Insurance - Property                                 16,271.50     1.69%     16,172.00     1.09%         99.50      14,398.23      1.12%       1,873.27
       12,068.69      4.03%      5,967.59     1.25%       6,101.10       7,357.55       1.97%       4,711.14    Total Insurance                                     45,138.85     4.69%     29,837.95     2.01%     15,300.90      35,917.13      2.81%       9,221.72
        89,116.00     29.76%     89,116.00    18.62%           0.00      84,163.63      22.57%       4,952.37   Ground Lease Expense                                445,580.00    46.32%    445,580.00    29.99%          0.00     420,818.15     32.87%      24,761.85
             0.00      0.00%     11,833.33     2.47%    -11,833.33            0.00       0.00%           0.00   Vehicle Leases                                            0.00     0.00%     59,166.65     3.98%    -59,166.65           0.00      0.00%           0.00
       89,116.00     29.76%    100,949.33    21.09%    -11,833.33       84,163.63      22.57%       4,952.37    Total Leases & Rent                                445,580.00    46.32%    504,746.65    33.97%    -59,166.65     420,818.15     32.87%     24,761.85
         9,484.00      3.17%     14,359.98     3.00%      -4,875.98      11,189.83       3.00%      -1,705.83   Management Fee - Base                                32,292.61     3.36%     44,580.05     3.00%    -12,287.44      38,416.21      3.00%      -6,123.60
        9,484.00      3.17%     14,359.98     3.00%      -4,875.98      11,189.83       3.00%      -1,705.83    Total Management Fees                               32,292.61     3.36%     44,580.05     3.00%    -12,287.44      38,416.21      3.00%      -6,123.60
       226,867.41     75.76%          0.00     0.00%    226,867.41            0.00       0.00%    226,867.41    Capital Reserve                                     927,045.81    96.37%          0.00     0.00%    927,045.81           0.00      0.00%    927,045.81
      -156,770.94    -52.35%          0.00     0.00%   -156,770.94            0.00       0.00%   -156,770.94    Extraordinary Expense                              -156,770.94   -16.30%          0.00     0.00%   -156,770.94           0.00      0.00%   -156,770.94
             0.00      0.00%          0.00     0.00%           0.00       3,316.13       0.89%      -3,316.13   Prior Owner's Expense                                     0.00     0.00%          0.00     0.00%          0.00      23,731.75      1.85%    -23,731.75
       70,096.47     23.41%           0.00    0.00%     70,096.47        3,316.13       0.89%     66,780.34     Total Other Non-Operating                          770,274.87    80.08%           0.00    0.00%    770,274.87      23,731.75      1.85%    746,543.12




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